Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 1 of 807




              EXHIBIT 1 -
            SUMMONS AND
             COMPLAINT
     Case 2:21-cv-02120-JCM-BNW10/29/2021
                                  Document9:541-1
                                              AM Filed 11/29/21 Page 2 of 807




       SE!
 1
       WRIGHT,FINLAY & ZAK,LLP
2      Darren T. Brenner, Esq.
       Nevada Bar No. 8386
3      Lindsay D. Dragon, Esq.
       Nevada Bar No. 13474
4
      7785 W. Sahara Ave., Suite 200
5      Las Vegas, NV 89117
      (702)637-2345; Fax:(702)946-1345
6      ldragon@wrightlegal.net
       Attorneysfor Plaintiff Mariners Pac Ventures, LLC
7
8                                  EIGHTH JUDICIAL DISTRICT COURT
                                       CLARK COUNTY,NEVADA
9
10     MARINERS PAC VENTURES,LLC,                       Case No.: A-21-837293-C
                                                        Dept. No.: 1
11                            Plaintiff,
              VS.
12                                                      SUMMONS
       STEWART TITLE GUARANTY
13
       COMPANY;STEWART TITLE OF
14     NEVADA — LAS VEGAS DIVISION; DOE
       INDIVIDUALS I through X; and ROE
15     CORPORATIONS XI through XX,inclusive,
16                         Defendants.
17
       NOTICE! YOU HAVE BEEN SUED. THE COURT MAY DECIDE AGAINST YOU
18     WITHOUT YOUR BEING HEARD UNLESS YOU RESPOND WITHIN 21 DAYS.
       READ THE INFORMATION BELOW.
19
20     TO THE DEFENDANT: A Civil Complaint has been filed by the Plaintiff against you for the
       relief set forth in the Complaint.
21
                                STEWART TITLE GUARANTY COMPANY
22
23            1.     If you intend to defend this lawsuit, within 21 days after this Summons is served
       on you exclusive of the day of service, you must do the following:
24
25                    a.      File with the Clerk of the Court, whose address is shown below, a formal
       written response to the Complaint in accordance with the rules of the Court.
26
                     b.        Serve a copy of your response upon the attorney whose name and address
27     is shown below.    .
28




                                                  Page 1 of2
     Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 3 of 807



              2.     Unless you respond, your default will be entered upon application of the
 1
      Plaintiff, and this Court may enter a judgment against you for the relief demanded in the
2     Complaint, which could result in the taking of money or property or other relief requested in the
      Complaint.
3
            3.      If you intend to seek the advice of an attorney in this matter, you should do so
4
      promptly so that your response may be filed on time.
5
6
7
8
      Issued at direction of:

       WRIGHT,FINLAY & ZAK,LLP

       /s/Lindsay D. Dragon
                                                                 iti,t
                                                                    ;
                                                                 NV 7.
                                                                         0p




                                                                        1 00 '•

                                                                       -,'
                                                                         "a (.6 '
                                                                            •-l
                                                                                 Fp. „. ,.
                                                                              pftftirApop.o.,
                                                                     .01.:SPNIElit op':



                                                                                if
                                                                                    -lee'. IV',
                                                                                  O. 'lrk6
                                                                               stin MIA*
                                                                                         - '.-0
                                                                                           .7   .- .4---41--U2021
                                                                                                0

       Lindsay D. Dragon, Esq.                                 Dt2uVx.LTERK4c: z
9      Nevada Bar No. 13474                                                       ;  ,„"
10     7785 W. Sahara Ave., Suite 200                          coun7tKilithoriVez
       Las Vegas, NV 89117                                         ' - ,06,e4esde-0-
11     Attorneysfor Plaintiff, Mariners                               Demond Palmer
       Pac Ventures, LLC
12
13
14
15
16
17
18
19
20
21
22
23
24

25
26
27
28




                                                 Page 2 of 2
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 4 of 807
                                                                             Electronically Filed
                                                                             7/1/2021 7:27 PM
                                                                             Steven D. Grierson
                                                                             CLERK OF THE COURT

     COMP
 1
     WRIGHT, FINLAY & ZAK, LLP
 2   Darren T. Brenner, Esq.
     Nevada Bar No. 8386
 3   Christina V. Miller, Esq.                                          CASE NO: A-21-837293-C
     Nevada Bar No. 12448                                                         Department 1
 4
     7785 W. Sahara Ave., Suite 200
 5   Las Vegas, NV 89117
     (702) 637-2345; Fax: (702) 946-1345
 6   dbrenner@wrightlegal.net
 7   cmiller@wrightlegal.net
     Attorneys for Plaintiff, Mariners Pac Ventures, LLC
 8
                               EIGHTH JUDICIAL DISTRICT COURT
 9                                 CLARK COUNTY, NEVADA
10
     MARINERS PAC VENTURES, LLC,                         Case No.:
11                                                       Dept. No.:
                          Plaintiff,
12          vs.
13                                                       COMPLAINT
     STEWART TITLE GUARANTY
14   COMPANY; STEWART TITLE OF                           ARBITRATION EXEMPT: ACTION
     NEVADA – LAS VEGAS DIVISION; DOE                    FOR DECLARATORY RELIEF
15   INDIVIDUALS I through X; and ROE
16   CORPORATIONS XI through XX, inclusive,

17                        Defendants.

18
            Plaintiff Mariners Pac Ventures, LLC (“Mariners”), by and through its attorneys of
19
     record, Darren T. Brenner, Esq. and Christina V. Miller, Esq., of the law firm of Wright, Finlay
20
     & Zak, LLP, submits its Complaint against Stewart Title Guaranty Company (“Stewart”),
21
     Stewart Title of Nevada – Las Vegas Division (“Stewart Nevada”), Doe Individuals I through X
22
     (“Does”) and Roe Corporations XI through XX, inclusive (“Roes”) (collectively,
23
     “Defendants”), for breach of their obligations to defend and indemnify Mariners under a title
24
     insurance policy issued to insure a deed of trust on real property located in Nevada.
25
            Title insurers, like Defendants, have known since the early 1990’s that homeowners
26
     associations in some states, including Nevada, impose liens that can attain superpriority over
27
28




                                                 Page 1 of 27
                                   Case Number: A-21-837293-C
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 5 of 807




 1   senior mortgages and deeds of trust. Title insurers are the experts on title, and lenders like
 2   Mariners rely upon and pay them handsomely for their expertise and protection.
 3           Title insurers, like Defendants, have acknowledged the coverage that Mariners claims is
 4   due and owing in their manuals. These insurers themselves developed the trade usage describing
 5   the endorsements at issue in this case as providing coverage to an insured lender for losses
 6   caused by the enforcement of an association’s superpriority lien.
 7           Defendants’ coverage position in this specific case is directly at odds with the trade
 8   usage they developed globally. This factual background must be considered when interpreting
 9   the title insurance contract drafted and issued by the insurers to Mariners’ predecessor-in-
10   interest.
11                                   Parties, Jurisdiction and Venue
12           1.     Plaintiff Mariners is a California limited liability company with its principal
13   place of business in California and doing business in Clark County, Nevada.
14           2.     Defendant Stewart is a Delaware corporation with its principal place of business
15   in Texas and doing business in Clark County, Nevada.
16           3.     Defendant Stewart Nevada is a Nevada corporation with its principal place of
17   business in Nevada and doing business in Clark County, Nevada. Upon information and belief
18   Stewart Nevada merged with Stewart and is a wholly owned subsidiary of Stewart.
19           4.     Mariners does not know the true names, capacities or bases of liability of
20   fictitious defendants sued as Does I through X and Roe Corporations XI through XX, inclusive
21   (collectively “fictitious Defendants”). Each fictitiously named defendant is in some way liable
22   to Mariners. Mariners will amend this Complaint to reflect the true names of said defendants
23   when the same have been ascertained.
24           5.     This matter is exempt from Arbitration as Mariners has requested a declaration
25   that the Policy provided coverage for all losses or damages, up to the Amount of Insurance,
26   sustained by Mariners as a result of the HOA’s foreclosure sale.
27           6.     This Court has personal jurisdiction over Defendants because they have engaged
28   in the business of issuing title insurance policies insuring deeds of trust on land located in the




                                                Page 2 of 27
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 6 of 807




 1   State of Nevada and therefore have sufficient contacts with the State to have availed themselves
 2   of the State’s jurisdiction.
 3           7.      This Court has personal jurisdiction over Stewart because it has purposefully
 4   availed itself of this forum by intentionally directing its subsidiaries to tortiously deny coverage
 5   under the insurance policies described below and by making or facilitating the coverage
 6   decisions of Stewart Nevada regarding thousands of claims upon policies affecting insured
 7   interests on real property located in Nevada.
 8           8.      Venue is appropriate in this Court because this judicial district is where a
 9   substantial part of the events giving rise to Mariners’ claims took place, and it is the location of
10   the property subject to the insured deed of trust that is at the core of this lawsuit.
11                                          Nature of Title Insurance
12           9.      A title insurance policy is a contract through which the insurer is paid one sum in
13   consideration for agreeing to indemnify the insured up to a specified amount against loss caused
14   by encumbrances upon or defects in the title to real property in which the insured has an
15   interest.
16           10.     Lenders such as Mariners often seek to obtain title insurance policies in
17   connection with loans they advance that are secured by interests in real property. The title
18   insurance policy generally protects the lender against risks associated with loss of title or
19   practical use of the property, subject to the policy’s terms, exclusions, and conditions.
20           11.     This lawsuit concerns the issuance of a title insurance policy in favor of the
21   original lender, Mountain View Mortgage Company, its successors and assigns.1 Mariners is
22   the insured entity under the Policy.
23           12.     Before 2014, Defendants issued to Mariners (or Mariners’ predecessors-in-
24   interest) a number of title insurance policies.
25
26
     1
27    A true and correct copy of the Title Insurance Policy is attached as Exhibit 1. See id. at
     Schedule A.
28




                                                  Page 3 of 27
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 7 of 807




 1            13.     The large majority of insurance policies issued by Stewart and its issuing agents
 2   use standard forms promulgated by the American Land Title Association (“ALTA”) and the
 3   California Land Title Association (“CLTA”).
 4            14.     ALTA and CLTA are trade groups made up of representatives from the major
 5   title insurance underwriters and issuers, including Defendants.
 6            15.     These standard ALTA and CLTA forms are used by multiple title insurers, which
 7   publish guides concerning the coverage (and exceptions thereto) provided by the standard
 8   policy. The standard ALTA policy form has been revised from time to time, including changes
 9   in 1992, 2006, and 2012.
10            16.     There are a number of ALTA standardized endorsement forms that can be issued
11   with the standard policy to modify the scope of coverage available. Defendants have also used
12   CLTA standardized endorsement forms from time to time.
13            17.     Non-party Chicago Title Insurance Company, who is also a subsidiary of Fidelity
14   National Title Group (“Fidelity”), issued a 2013 Endorsement Manual which states that
15   “endorsements will provide additional coverage for matters which would ordinarily be excluded
16   by the Exclusions From Coverage, or excepted from coverage shown in Schedule B of” a title
17   insurance policy.2
18            18.     This is consistent with trade usage of the term “endorsement” among title
19   insurers and their insureds. See, e.g., Joyce D. Palomar, Title Insurance Law § 9:1 (2013-14
20   ed.) (explaining that endorsements serve two primary purposes: (1) “they may provide
21   affirmative coverage for facts that exist in a transaction which standard title insurance policies
22   have not traditionally addressed,” or (2) they “may ‘insure over’ or modify the effect of
23   preprinted policy exclusions or exceptions”).
24            19.     Lenders commonly request that title insurers issue ALTA Endorsement Form 9
25   (“Form 9”), or its CLTA equivalent, CLTA Endorsement Form 100 (“Form 100”). These
26   “comprehensive” endorsements provide a range of guarantees to the insured relating to the
27
     2
         A true and correct copy of Chicago Title’s 2013 Endorsement Manual is attached as Exhibit 2.
28




                                                 Page 4 of 27
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 8 of 807




 1   existence of covenants, conditions, or restrictions affecting or governing the property which
 2   could cause damage to the insured lender’s interest at the time the policy is issued or in the
 3   future.
 4             20.   ALTA Form 9-06 is the equivalent of ALTA Form 9 and CLTA Form 100 is the
 5   equivalent of Form 9.3
 6             21.   It is commonly understood between title insurers and their insureds that Form
 7   9/Form 100 “[p]rovides comprehensive coverage for [an] insured ALTA lender against loss by
 8   reason of present or future [covenants, conditions and restrictions] violations[.]”4
 9             22.   Stewart exerts control over its subsidiaries, including Stewart Nevada, by
10   determining the terms and conditions upon which they will insure title to real property, dictating
11   policies and procedures that govern how they will evaluate claims, and directing them to deny
12   certain categories of claims.
13             23.   Stewart’s Claims Department processes claims submitted under title insurance
14   policies underwritten by all of Stewart’s wholly owned subsidiaries, including Stewart Nevada.
15   To promote consistent coverage positions among its subsidiaries, Stewart provides its Claims
16   Department with instructions and other claims handling guidance, including directives as to
17   which position the subsidiaries should take as to coverage on a claim.
18              Defendants Issued Policies Understood to Cover Nevada Superpriority Liens
19             24.   In 1982, the Uniform Law Commission promulgated the Uniform Common
20   Interest Ownership Act (“UCIOA”). UCIOA provided a number of standardized terms
21   governing the formation of common interest associations, including condominium associations
22   and homeowners associations.
23             25.   As relevant here, UCIOA provided that homeowners associations’ covenants,
24   conditions, and restrictions included a “superpriority” lien for unpaid assessments, which came
25   into existence when the association was formed (i.e., when its declaration of covenants,
26   3
      See id. at 3.
27   4
      A true and correct copy of Fidelity’s Endorsement Guide is attached as Exhibit 3 (emphasis
     added).
28




                                                Page 5 of 27
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 9 of 807




 1   conditions, and restrictions were recorded), and would take priority over a subsequently
 2   recorded mortgage or deed of trust even if no assessments were due at the time the mortgage or
 3   deed of trust was recorded.
 4           26.     In 1991, the Nevada Legislature adopted the 1982 version of UCIOA, codifying
 5   it in Chapter 116 of the Nevada Revised Statutes.
 6           27.     Chapter 116 includes NRS 116.3116, which, at the time of the events relevant to
 7   this suit, stated in relevant part:
 8
             1. The association has a lien on a unit for any construction penalty that is
 9           imposed against the unit’s owner pursuant to NRS 116.310305, any assessment
             levied against that unit or any fines imposed against the unit’s owner from the
10           time the construction penalty, assessment or fine becomes due. . . .
11
             2. A lien under this section is prior to all other liens and encumbrances on a
12           unit except:
             ...
13           (b) A first security interest on the unit recorded before the date on which the
14           assessment sought to be enforced became delinquent . . . ;
             ...
15           The lien is also prior to all security interests described in paragraph (b) to the
             extent of any charges incurred by the association on a unit pursuant to NRS
16           116.310312 and to the extent of the assessments for common expenses based on
17           the periodic budget adopted by the association pursuant to NRS 116.3115 which
             would have become due in the absence of acceleration during the 9 months
18           immediately preceding institution of an action to enforce the lien . . . .
             ...
19           4. Recording of the declaration constitutes record notice and perfection of the
20           lien. No further recordation of any claim of lien for assessment under this section
             is required.
21
             28.     Under NRS 116.3116, from the time an association’s covenants, conditions, and
22
     restrictions are recorded, the properties governed by the association are encumbered by a lien
23
     that secures all assessments. Chapter 116 does not require that an association record a separate
24
     lien before the lien is foreclosed.
25
             29.     As part of its adoption of UCIOA, the Nevada Legislature also enacted NRS
26
     116.1104:
27
28




                                                Page 6 of 27
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 10 of 807




              Except as expressly provided in this chapter, [NRS 116’s] provisions may not be
 1
              varied by agreement, and rights conferred by it may not be waived. Except as
 2            otherwise provided in paragraph (b) of subsection 2 of NRS 116.12075, a
              declarant may not act under a power of attorney, or use any other device, to
 3            evade the limitations or prohibitions of this chapter or the declaration.
 4
              30.    The Nevada Legislature also enacted NRS 116.1206(1):
 5
              Any provision contained in a declaration, bylaw or other governing document of
 6            a common-interest community that violates the provisions of this chapter shall be
 7            deemed to conform with those provisions by operation of law, and any such
              declaration, bylaw or other governing document is not required to be amended to
 8            conform to those provisions.
 9            31.    Defendants and other title insurers were aware of Nevada’s adoption of NRS

10   116, including its provision of a “superpriority” lien in a homeowners association’s covenants,

11   conditions, and restrictions.

12            32.    Defendants and other title insurers believed they could be liable for an insured’s

13   losses caused by the enforcement of an association’s superpriority lien if the policy at issue

14   contained in Form 9-06/Form 100.

15            33.    On information and belief, between 1991 and 2014, Defendants provided

16   instructions to their issuing agents to modify Form 9-06/Form 100 before issuing any policy in

17   Nevada for a property governed by a homeowners association in recognition of the coverage

18   provided under these forms.

19            34.    In 2007, non-party LandAmerica Financial Group, Inc. issued to its subsidiaries,

20   subsidiaries which have since been acquired by Fidelity, an Underwriting Manual which quotes

21   Paragraph 1(a) of Form 9 and provides the following underwriting guidelines for issuing a

22   policy with Form 9:5

23   ///

24   ///

25   ///

26   ///

27
     5
         A true and correct copy of LandAmerica’s Underwriting Manual is attached as Exhibit 4.
28




                                                Page 7 of 27
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 11 of 807




 1
 2
 3
 4
 5
 6
 7
 8           35.     Defendants have published and/or follow similar underwriting manuals and
 9   instructions indicating that Paragraph 1(a) of Form 9-06/Form 100 provides coverage for losses
10   due to “provision[s] [in recorded covenants, conditions and restrictions] permitting a home
11   owners or civic association to levy an assessment, secured by a lien with priority over the
12   insured deed of trust.”
13           36.     From 1991 until the present, Defendants have provided endorsement manuals for
14   their issuing agents explaining the scope of coverage provided by Form 9-06/Form 100.
15           37.     On information and belief, Defendants’ pre-2014 endorsement manuals informed
16   their issuing agents that Form 9-06/Form 100 would provide coverage to an insured that
17   suffered loss or damage due to an association’s lien for assessments that became delinquent
18   after the date of policy.
19           38.     Even after the amendments to Form 9-06/Form 100, however, Defendants have
20   promulgated endorsement manuals indicating that the operative language in earlier versions of
21   the forms – including the earlier version of Form 100 at issue in this case – would provide
22   coverage to an insured for losses or damages suffered as a result of the enforcement of an
23   association’s superpriority lien.
24           39.     In the 2013 Endorsement Manual that Fidelity provided for the use of all of its
25   subsidiary underwriters and their agents, Fidelity explained that certain language from Form
26   9/Form 100 should not be used in policies where “a FUTURE violation might result in the loss
27
28




                                               Page 8 of 27
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 12 of 807




 1   of priority or enforceability of the lien of the Insured Mortgage,” indicating Fidelity’s belief that
 2   the language created coverage for the insured.6
 3          40.     Contemporary trade usage describing the terms and scope of Form 9/Form 100
 4   indicates that those endorsements provide coverage for an insured lender in the event that
 5   covenants, conditions, and restrictions of record at the date of the policy allow an association’s
 6   lien to take priority over the insured mortgage or deed of trust. See, e.g., Barlow Burke, LAW OF
 7   TITLE INSURANCE § 10.05[B] (3d ed., 2002 Supp.) (in describing Form 9: “A second type of
 8   endorsement of interest to an insured lender is one covering the loss of lien priority because of
 9   the enforcement of a private covenant applicable to the title. … The priority of these covenants,
10   restrictions, and conditions is particularly important to mortgage lenders with loan policies
11   because their supporting documents, also recorded, typically include the power to compel the
12   payment of amounts for the maintenance and repair of the common facilities in a large
13   subdivision. Often the exercise of these maintenance and repair functions is put in the hands of
14   a subdivision homeowner’s association. It also typically holds a lien to compel the payment of
15   these amounts, and that lien also has priority over later recorded mortgage.”); id. (“Future
16   violations [of covenants, conditions, and restrictions] are also insured against, but only to the
17   extent that the violations occur between the policy date and the acquisition of title in any
18   foreclosure action, provided the violation causes the insured to be insecure or results in loss or
19   damage to the title acquired by the insured in satisfaction of the secured debt, as where the
20   insured takes a deed in lieu of foreclosure.” (citing ALTA Form 9 ¶¶ 1(a), 2)).
21          41.     Defendants represented to the public and to Mariners’ predecessor-in-interest
22   that Form 9-06/Form 100 provided coverage against losses caused by an association’s
23   superpriority lien.
24          42.     Despite having actual knowledge of the possibility that Mariners could lose its
25   security interest in properties that were governed by homeowners associations, at no time did
26
27   6
      A true and correct copy of Fidelity’s 2013 Endorsement Manual is attached as Exhibit 5. Id. at
     66.
28




                                                 Page 9 of 27
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 13 of 807




 1   Defendants inform Mariners or its predecessors-in-interest of the danger of losing its security
 2   interests in such properties.
 3            43.     Defendants implemented patterns and practices which call for the denial of
 4   claims stemming from Nevada HOA foreclosure sales despite Defendants’ actual knowledge
 5   that the claims fell under the insuring provisions and policy endorsements.
 6                         The Nevada Supreme Court Interprets NRS 116.3116
 7            44.     In SFR Investments Pool 1, LLC v. U.S. Bank, N.A., 130 Nev. 742, 334 P.3d 408
 8   (2014), the Nevada Supreme Court confirmed that a portion of the lien included in a Nevada
 9   homeowners association’s covenants, conditions, and restrictions has superpriority over a
10   recorded first deed of trust.
11            45.     The Court further held that NRS 116.1104 rendered inoperative clauses in
12   associations’ covenants, conditions, and restrictions that purported to allow senior deeds of trust
13   to survive an association’s foreclosure of the superpriority lien provided in its covenants,
14   conditions, and restrictions.
15            46.     SFR Investments confirmed that the proper foreclosure of an association’s
16   superpriority lien extinguishes a recorded senior deed of trust on the same property.
17            47.     Following SFR Investments, non-party Stewart Title Guaranty Company
18   (“Stewart Title”) issued a bulletin to its agents in Nevada indicating that “in lieu of issuing a[]
19   [Form 9] for a lender’s policy,” its agents should “issue the ALTA 9.10.”7
20            48.     Other title insurance companies have issued similar bulletins as a result of the
21   decision in SFR Investments.
22            49.     Upon information and belief, Fidelity and Fidelity National sent similar bulletins
23   to their agents following SFR Investments, indicating their belief that Form 9-06/Form 100
24   provided coverage for losses caused by superpriority liens.
25            50.     In K&P Homes v. Christiana Trust, 133 Nev. 364, 398 P.3d 292 (2017), the
26   Nevada Supreme Court held that SFR Investments “did not create new law or overrule existing
27
     7
         A true and correct copy of Stewart Title Bulletin NV2014002 is attached as Exhibit 6.
28




                                                Page 10 of 27
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 14 of 807




 1   precedent; rather, that decision declared what NRS 116.3116 has required since the statute’s
 2   inception” in 1991.
 3          51.     Under controlling Nevada law, the covenants, conditions, and restrictions at issue
 4   here have provided the association with a lien that could attain priority over a senior deed of
 5   trust since 1991.
                                        Facts Specific to this Case
 6
            52.     This action concerns real property located at 5733 Oasis Ridge Street, North Las
 7
     Vegas, Nevada 89031, APN 124-27-412-049 (“Property”).
 8
            53.     The Property is subject to Declaration of Covenants, Conditions, and Restrictions
 9
     (“CC&Rs”) for Santa Rosa Homeowners Association (“HOA”).8
10
            54.     The CC&Rs, including Article V, section 5.01, creates the HOA’s lien and
11
     establishes that the owner of property governed by the HOA “covenants and agrees” to pay all
12
     assessments made pursuant to the Declaration.9
13
            55.     Additionally, the Declaration recitals establish the HOA’s intent that the
14
     covenants in the CC&RS are to run with the land:
15
16          1.05 Covenants Running With Land. This Declaration shall run with the
            Property and all parts and parcels thereof and shall be binding on all parties
17          having any right, title or interest in the Property and their heirs, successors,
            successors-in-title, and assigns[.]10
18
            56.     Moreover, Article VII, Section 1 of the CC&Rs specifically states: “The annual
19
     Assessment, special Assessment, interest, costs, and reasonable attorneys; fees shall be a charge
20
     on the Lot and shall be a continuing lien upon the Lot against which each such Assessment is
21
     made until paid.”11
22
23
24
25
     8
       A true and correct copy of the HOA’s 2002 CC&Rs are attached as Exhibit 7.
26   9
       Id. at 31.
     10
27      Id. at 6.
     11
        Id. at 31.
28




                                               Page 11 of 27
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 15 of 807




 1          57.     Thus, pursuant to the CC&Rs, an owner of property governed by the HOA
 2   covenants to pay assessments, and those assessments constitute a charge on the land secured by
 3   a continuing lien that has encumbered the property since the CC&Rs were recorded.
 4          58.     Additionally, Section 5.07 states that “[s]uch lien shall be created in accordance
 5   with NRS 116.3116 and shall be foreclosed in the manner provided for in NRS 116.31162-
 6   116.31168 as is now or hereafter may be in effect.”12
 7          59.     Regardless of whether the CC&Rs incorporate NRS 116.3116 by reference, the
 8   CC&Rs are deemed to “conform” and incorporate NRS 116.3116 by operation of law. See NRS
 9   116.1206(1) (“Any provision contained in a declaration, bylaw or other governing document of
10   a common-interest community that violates the provisions of this chapter shall be deemed to
11   conform with those provisions by operation of law, and any such declaration, bylaw or other
12   governing document is not required to be amended to conform to those provisions.”).
13          60.     Thus, the CC&Rs provided the HOA with a superpriority lien over the lien of the
14   insured mortgage as of the Date of Policy.
15          61.     June 8, 2009, Mountain View Mortgage Company (“Lender”) provided a
16   $108,007.00 loan to Ken E. Gregory (“Borrower”) to finance the purchase of the Property.
17          62.     By purchasing the Property, Borrower covenanted “to pay to [the HOA] annual
18   assessments or charges[.]”
19          63.     On or about May 26, 2009, Borrower executed a deed of trust (“Deed of Trust”),
20   providing a security interest in the Property in favor of Lender.13
21          64.     The Trustee under the Deed of Trust is identified as “Stewart Title of Nevada.”14
22          65.     The Deed of Trust, along with the promissory note and all indebtedness due
23   thereunder, was subsequently assigned to Mariners.15
24
25
     12
        Id. at 34-35.
26   13
        A true and correct copy of the recorded Deed of Trust is attached as Exhibit 8.
     14
27      Id. at 1.
     15
        A true and correct copy of the recorded Assignment of Deed of Trust is attached as Exhibit 9.
28




                                                Page 12 of 27
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 16 of 807




 1           66.    As part of the loan origination, Stewart and Stewart Nevada entered into a
 2   contractual relationship with Lender as the insured on a lender’s title insurance policy,
 3   numbered M-9302-1363434 (“Policy”), to insure that the Deed of Trust was superior to
 4   competing liens, including the HOA’s lien.16
 5           67.    While the Policy identifies Stewart on the cover page, Stewart Nevada is
 6   identified as the Title Insurance Company.17
 7           68.    Defendants are responsible for providing coverage that insured the Deed of Trust
 8   in first position over all other liens, and other representations contained in the Policy.
 9           69.    Additionally, Stewart Nevada agreed to undertake the obligation of procuring,
10   issuing, and/or providing coverage that insured the Lender’s Deed of Trust was in superior
11   position over the HOA’s lien.
12           70.    On information and belief, Stewart and Stewart Nevada acted in conjunction
13   with procuring, issuing, and insuring the Policy, and are jointly and severally liable for the
14   same.
15           71.    On information and belief, Lender intended that the loan would be transferred to
16   Mariners shortly after origination and, therefore, intended that all rights, promises and
17   protections guaranteed to it during the escrow and origination process, as reflected in the escrow
18   and origination documents, including but not limited to the HUD-1 Settlement, Preliminary
19   Title Report, Lender’s Closing Instructions and Title Policy, would be for the benefit of
20   Mariners and would transfer to Mariners as if Mariners had been a party to the escrow and
21   origination of the loan.
22           72.    The Policy obligates Stewart and Stewart Nevada to pay the costs, attorneys’
23   fees, and expenses incurred in defense of the title or the lien of the Deed of Trust, as insured.
24           73.    The Policy includes a standard endorsement ALTA Form 9-06.18
25
26   16
        See Ex. 1 (Title Policy) at Schedule A.
     17
27      Id.
     18
        Id.
28




                                                  Page 13 of 27
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 17 of 807




 1          74.     Pursuant to Form 9-06, Stewart and Stewart Nevada promised to insure Lender
 2   and its successors:
 3          against loss or damages sustained by reason of:
 4
            1.      The existence, at Date of Policy, of any of the following:
 5
                    (a) Covenants, conditions or restrictions under which the lien of the
 6                  Insured Mortgage can be divested, subordinated, or extinguished, or its
                    validity, priority, or enforceability impaired;
 7
            …
 8          2.      Any future violation on the Land of any existing covenants, conditions or
                    restrictions occurring prior to acquisition of title to the estate or interest in
 9                  the Land by the Insured, provided the violation results in
                    a.       the invalidity, loss of priority, or unenforceability of the lien of the
10
                    Insured Mortgage; or
11                  b.       the loss of Title if the Insured shall acquire Title in satisfaction of
                    the Indebtedness secured by the Insured Mortgage;
12
            75.     At the time they provided the Policy to Lender, Stewart and Stewart Nevada
13
     were aware of the HOA’s CC&Rs, the HOA’s lien for unpaid assessments, and the fact that the
14
     lien could take priority over the Deed of Trust pursuant to NRS Chapter 116.
15
            76.     In or around 2012, Borrower ceased making payments to the HOA for monthly
16
     assessments, in violation of his covenant under Section 5.01 of the CC&Rs.
17
            77.     On December 18, 2012, the HOA, through its foreclosure agent, Nevada
18
     Association Services, Inc. (“NAS”), recorded a Notice of Delinquent Assessment Lien against
19
     the Property (“Notice of Delinquency”).19 The Notice of Delinquency states that it is being
20
     given “[i]n accordance with” Nevada Revised Statutes and the CC&Rs.20
21
            78.     On June 21, 2013, the HOA, through its agent, NAS, recorded a Notice of
22
     Default and Election to Sell Under Homeowners Association Lien against the Property.21
23
            79.     On October 28, 2013, the HOA, through its agent, NAS, recorded a Notice of
24
     Foreclosure Sale.22
25
26   19
        A true and correct copy of the Notice of Delinquency is attached as Exhibit 10.
     20
27      See id.
     21
        A true and correct copy of the Notice of Default is attached as Exhibit 11.
28




                                                 Page 14 of 27
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 18 of 807




 1          80.    On November 22, 2013, the HOA sold the Property at foreclosure, conveying it
 2   the Saticoy Bay LLC Series 5733 Oasis Ridge (“HOA Buyer”) for the amount of $25,000.00
 3   (“HOA Sale”).23 The Foreclosure Deed confirms that the Property was conveyed to the HOA
 4   Buyer pursuant to NRS Chapter 116 and the CC&Rs.24
 5          81.    On January 1, 2014, HOA Buyer filed a Complaint against Mariners’
 6   predecessors in interest in the Eighth Judicial District Court, State of Nevada, Case No. A-14-
 7   693884-C, seeking a declaration that the Deed of Trust was extinguished by the HOA Sale
 8   (“Litigation”).25 Mariners’ predecessor filed an answer to the Complaint, which was
 9   subsequently amended in March 2018 to add Counterclaims against HOA Buyer seeking a
10   declaration that the Deed of Trust was not extinguished by the HOA Sale.26
11          82.    The Litigation is still pending and Mariners continues to expend attorney’s fees
12   and costs to defend itself against HOA Buyer’s claims.
13          83.    As of the Date of Policy, there existed “[c]ovenants, conditions, or restrictions
14   under which the [Deed of Trust] c[ould] be divested, subordinated, or extinguished, or its
15   validity, priority, or enforceability impaired,”27 including the payment covenant contained in
16   Section 5.01 of the HOA’s CC&Rs.
17          84.    The HOA Sale, conducted “pursuant to the powers conferred” by the HOA’s
18   CC&Rs, resulted in the purported extinguishment of the Deed of Trust.
19          85.    Mariners has suffered losses or damages as a result of the existence of the
20   HOA’s CC&Rs – including Borrower’s violation of his covenant to pay assessments28 – which
21
22
23   22
        A true and correct copy of the Notice of Foreclosure Sale is attached as Exhibit 12.
24
     23
        A true and correct copy of the Trustee’s Deed Upon Sale is attached as Exhibit 13.
     24
        Id.
25   25
        A true and correct copy of the Complaint is attached as Exhibit 14.
     26
        A true and correct copy of the Answer to Amended Complaint and Counterclaim is attached as
26
     Exhibit 15.
     27
27      See Ex. 1 (Title Policy), at Paragraph 1(a) of Form 100.
     28
        See Ex. 7 (CC&Rs), at 18.
28




                                              Page 15 of 27
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 19 of 807




 1   were recorded prior to issuance of the Policy and resulted in the “impairment or loss of the lien”
 2   of the Deed of Trust.29
 3          86.     Mariners has suffered losses or damages as a result of “future” (i.e., post-Date of
 4   Policy) “violation[s] on the land of” the HOA’s CC&Rs – including Borrower’s violation of his
 5   covenant to pay assessments30 – which occurred prior to Mariners’ acquisition of title to the
 6   Property and resulted in the “invalidity, loss of priority, or unenforceability of the lien” of the
 7   Deed of Trust.31
 8          87.     Additionally, Mariners has suffered loss or damage sustained by reason of the
 9   HOA’s priority lien provided for in the HOA’s CC&Rs over the Deed of Trust.
10          88.     A claim was submitted under the Policy to Stewart (“Claim”). In the Claim,
11   Mariners requested that the Company fulfill its obligations to cure the title defects and
12   indemnify Mariners against losses.
13          89.     On May 7, 2017, Tiki Velazquez, Claims Representative for Stewart, sent
14   Mariners’ counsel a letter denying coverage under the Policy based Exclusion 3(d) and
15   Condition and Stipulation No. 3 only.32
16          90.     Nevada law and the CC&Rs establish that the HOA’s priority lien arises upon
17   the recording of the HOA’s CC&Rs.
18          91.     Because the CC&Rs were recorded prior to Date of Policy, Paragraph 2(a) of
19   Form 9 extends coverage of the Claim.
20          92.     The Foreclosure Deed stated the HOA’s foreclosure sale was conducted
21   “pursuant to the powers conferred” by NRS 116 and the HOA’s CC&Rs.33
22          93.     Exclusion 3(d) cannot be interpreted to remove coverage provided by Form 9-06.
23   See Nat’l Union Fire Ins. Co. of the State of Pa., Inc. v. Reno’s Exec. Air, Inc., 100 Nev. 360,
24
25   29
        See Ex. 1 (Title Policy).
     30
        See Ex. 7 (CC&Rs), at 5.01.
26   31
        See Ex. 1 (Title Policy), at Paragraph 2(a) of Form 9-06.
27   32
        A true and correct copy of Stewart’s claim denial is attached as Exhibit 16.
     33
        See Ex. 13 (Trustee’s Deed).
28




                                               Page 16 of 27
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 20 of 807




 1   365 (1984) (“Clauses providing coverage are broadly interpreted so as to afford the greatest
 2   possible coverage to the insured, [and] clauses excluding coverage are interpreted narrowly
 3   against the insurer.”).
 4           94.     On information and belief, Defendants developed specific coverage positions and
 5   claims handling guidance for claims related to Nevada association foreclosure sales.
 6           95.     Defendants implemented and engaged in patterns and practices which call for the
 7   denial of claims stemming from Nevada HOA foreclosure sales despite Defendants’ actual
 8   knowledge that the claims fell under the insuring provisions and policy endorsements. These
 9   patterns and practices demonstrate that Defendants did not simply make a reasonable mistake
10   but engaged in a systemic and reckless and/or intentional practice of mishandling and denying
11   otherwise valid claims in order to avoid their obligations.
12           96.     On information and belief, the coverage positions as to such claims nominally
13   taken by Defendants and its affiliates reflect the claims handling and coverage positions adopted
14   by Stewart.
15           97.     Because Defendants disregard their status as distinct organizations in the
16   handling of claims, Defendants are alter egos for the purpose of liability related to issuance of
17   the Policy and their handling of Mariners’ Claim.
18           98.     Defendants are responsible for the acts and omissions related to the Policy
19   because Defendants acted or failed to act at one another’s direction. Additionally, because
20   Stewart and Stewart Nevada entered into a contractual relationship with Mariners’ predecessor
21   in interest to procure coverage of the priority of the Deed of Trust over the HOA’s lien—to the
22   extent coverage is not afforded under the Policy, Stewart Nevada is an alter ego of Stewart as a
23   result of its failure to procure coverage as requested.
24           99.     Because Stewart and Stewart Nevada breached their contract with Mariners’
25   predecessor-in-interest and made material representations to the Insured, Stewart and Stewart
26   Nevada are alter egos of Fidelity for the purpose of liability.
27           100.    To the extent the Defendants are not alter-egos, Defendants were involved in a
28   joint venture that subjects Stewart and the other Defendants to liability equal to that of Stewart




                                                Page 17 of 27
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 21 of 807




 1   Nevada. The individuals responsible for handling Mariners’ Claim were/are employed by or
 2   otherwise directed by Stewart. Stewart has a vested pecuniary interest in the outcome of its
 3   claim decisions. Stewart was further responsible for the development of Stewart Nevada’s
 4   claim-handling and/or underwriting practices, and for otherwise directing which policies were
 5   sold to whom and how claims were to be handled.
 6                                    FIRST CAUSE OF ACTION
 7                              (Declaratory Judgment – all Defendants)
            101.    The allegations in Paragraphs 1 through 100 above are expressly incorporated by
 8
     reference.
 9
            102.    This Court has the power and authority to declare Mariners and Defendants’
10
     rights and legal relations in connection with the Policy.
11
            103.    An actual controversy has arisen between Mariners, on the one hand, and
12
     Defendants, on the other, as to whether the Policy provides coverage to Mariners for losses
13
     caused by the HOA’s foreclosure of its purportedly senior lien.
14
            104.    The Policy states that Stewart and Stewart Nevada insured Lender and its
15
     successors, including Mariners:
16
17          against loss or damages sustained by reason of:

18          1.      The existence, at Date of Policy, of any of the following:
19                  (a) Covenants, conditions or restrictions under which the lien of the
20                  Insured Mortgage can be divested, subordinated, or extinguished, or its
                    validity, priority, or enforceability impaired;
21          …
            2.      Any future violation on the Land of any existing covenants, conditions or
22                  restrictions occurring prior to acquisition of title to the estate or interest in
23                  the Land by the Insured, provided the violation results in
                    a.       the invalidity, loss of priority, or unenforceability of the lien of the
24                  Insured Mortgage; or
                    b.       the loss of Title if the Insured shall acquire Title in satisfaction of
25
                    the Indebtedness secured by the Insured Mortgage;
26          105.    The foreclosure of the superpriority portion of the HOA’s lien imposed by the
27   CC&Rs would “cut off” and “impair[]” the Deed of Trust.
28




                                                 Page 18 of 27
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 22 of 807




 1          106.    Thus, as of the Date of Policy, there existed “[c]ovenants, conditions, or
 2   restrictions under which the [Deed of Trust]…[could] be divested, subordinated, or
 3   extinguished.”34
 4          107.    After the Date of Policy, Borrower violated his covenant to pay HOA
 5   assessments. The CC&Rs states that a homeowner’s covenant to pay assessments is an
 6   obligation that runs with the Property.35
 7          108.    The Borrower’s post-Policy violation of his payment covenant thus constituted a
 8   “future violation[] on the land of [the HOA’s] covenants, conditions or restrictions,” which
 9   occurred “prior to the acquisition of title to the” Property by Mariners.36
10          109.    The foreclosure of that lien purportedly “result[ed] in impairment and loss” of
11   the Deed of Trust.37
12          110.    For these reasons, under Paragraphs 1(a) and 2(a) of Form 9-06, the Policy
13   provides coverage for all losses and damages sustained by Mariners as a result of the HOA Sale.
14          111.    Additionally, the insured complied with all material obligations under the Policy,
15   including Condition and Stipulation 3.
16          112.    Stewart nevertheless denied coverage under the Policy.38
17          113.    When the Policy was issued, it was the intent of Mariners’s predecessor-in-
18   interest, Stewart and Stewart Nevada that Form 9-06 would provide coverage for losses or
19   damages sustained as a result of the CC&Rs.
20          114.    Contemporary trade usage describing the terms and scope of Form 9-06 indicates
21   the endorsement provides coverage for an insured lender for losses and damages sustained as a
22   result of covenants, conditions, and restrictions.
23
24
25   34
        See Ex. 1 (Title Policy), at Paragraph 1(a) of Form 9-06.
     35
        See Ex. 7 (CC&Rs), at 5.01.
26   36
        See Ex. 1 (Title Policy), at Paragraph 2(a) of Form 9-06.
     37
27      See id.
     38
        See Ex 16 (Denial Letter).
28




                                                 Page 19 of 27
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 23 of 807




 1          115.    Exclusions under the Policy cannot be interpreted to remove coverage provided
 2   by Form 9. See Nat’l Union Fire Ins. Co. of the State of Pa., Inc. v. Reno’s Exec. Air, Inc., 100
 3   Nev. 360, 365 (1984) (“Clauses providing coverage are broadly interpreted so as to afford the
 4   greatest possible coverage to the insured, [and] clauses excluding coverage are interpreted
 5   narrowly against the insurer.”).
 6          116.    Mariners is entitled to a declaration that the Policy provided coverage for all
 7   losses or damages, up to the Amount of Insurance, sustained by Mariners as a result of the
 8   HOA’s foreclosure sale.
 9          117.    Mariners was required to retain counsel to prosecute this action and is entitled to
10   recover its corresponding attorneys’ fees.
11                                  SECOND CAUSE OF ACTION
12                                (Breach of Contract – all Defendants)
            118.    The allegations in Paragraphs 1 through 117 above are expressly incorporated by
13
     reference.
14
            119.    Mariners Trustee is the insured under the Policy by reason of an assignment of
15
     all rights and interest under the Deed of Trust and indebtedness under the promissory note
16
     secured by the Deed of Trust.
17
            120.    Mariners complied with all material conditions under the Policy, including
18
     Condition and Stipulation 3.
19
            121.    As described above, Stewart and Stewart Nevada issued the Policy to Mariners’
20
     predecessor-in-interest, which provides coverage for any loss or damage sustained by Mariners
21
     as a result of covenants, conditions, or restrictions under which the Deed of Trust could “be
22
     divested, subordinated or extinguished or its validity, priority or enforceability impaired,” or
23
     “any future violations on the land of any covenants, conditions, or restrictions” which result in
24
     the impairment or loss of the Deed of Trust.
25
            122.    The Policy, issued by Stewart and Stewart Nevada, also provides coverage for
26
     any loss or damage sustained by reason of the priority of the HOA’s lien provided for in the
27
     CC&Rs over the lien of the insured mortgage.
28




                                                  Page 20 of 27
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 24 of 807




 1             123.   The Policy gave rise to a duty to defend Mariners in any litigation arising from a
 2   challenge to the validity or priority of Mariners’ Deed of Trust and to either cure the defects on
 3   title or indemnify Mariners for any losses it sustained as a result of the loss of priority or
 4   extinguishment of its Deed of Trust.
 5             124.   Defendants also owed special duties to Lender as the Trustee under the Deed of
 6   Trust.
 7             125.   As described above, Defendants are alter egos for the purpose of liability for the
 8   handling and denial of Mariners’ Claim, or are otherwise engaged in a joint venture.
 9             126.   Additionally, because Stewart and Stewart Nevada entered into a contractual
10   relationship with Mariners’ predecessor-in-interest in order to insure the Deed of Trust in senior
11   position over the HOA’s Lien, to the extent coverage is not afforded under the Policy, Fidelity
12   National and Fidelity Nevada breached their contract with Mariners’ predecessor.
13             127.   As described above, Mariners has suffered an insured loss or damages under the
14   Policy.
15             128.   Stewart and Stewart Nevada breached the Policy by refusing to indemnify
16   Mariners for its covered losses.
17             129.   These breaches of the Policy at Stewart’s direction have proximately resulted in
18   general and special damages to Mariners, including attorneys’ fees and litigation expenses,
19   which Mariners has incurred and will continue to incur. Such damages and expenses should be
20   paid by the Insurer under the Policy’s terms.
21             130.   As a result of these breaches of the Policy at Stewart’s direction, Mariners was
22   required to retain counsel to prosecute this action and is entitled to recover its corresponding
23   attorneys’ fees.
24                                 THIRD CAUSE OF ACTION
25     (Bad Faith / Breach of the Covenant of Good Faith and Fair Dealing – all Defendants)
               131.   The allegations in Paragraphs 1 through 130 above are expressly incorporated by
26
     reference.
27
28




                                                Page 21 of 27
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 25 of 807




 1           132.   As described above, Defendants are alter egos for the purpose of liability for the
 2   handling of Mariners’ Claim, or are otherwise engaged in a joint venture.
 3           133.   All Defendants owed Mariners a duty to act in good faith and in a manner
 4   consistent with fair dealing in their considerations of Mariners’ claims under the Policy,
 5   including a duty of candor and to avoid denials of claims without reasonable basis.
 6           134.   Additionally, as the Trustee under the Deed of Trust, Defendants owed special
 7   duties to Lender.
 8           135.   All Defendants knew that industry materials and expert commentators routinely
 9   described the “comprehensive” Form 100/Form 9-06 endorsement as providing coverage for an
10   insured that suffered a loss as a result of the enforcement of a superpriority lien provided for in
11   an association’s covenants, conditions, and restrictions at the time the Policy was issued.
12           136.   All Defendants knew that their own underwriting manuals, bulletins, and
13   endorsement guides indicated that Form 100/Form 9-06 provided coverage to an insured that
14   suffered a loss as a result of the enforcement of a superpriority lien provided in an association’s
15   covenants, conditions, and restrictions at the time the Policy was issued.
16           137.   In light of the foregoing, and on information and belief, Stewart and Stewart
17   Nevada issued the Policy with the belief that it would provide coverage if the Deed of Trust was
18   impaired or extinguished by the enforcement of the HOA’s lien.
19           138.   On information and belief, Defendants knew or had reason to know that
20   Mariners’ predecessor purchased the Policy with the expectation that such coverage would be
21   provided.
22           139.   On information and belief, Defendants knew or had reason to know that
23   Mariners’ predecessor’s expectation was reasonable in light of the trade usage and industry
24   standards regarding Form 100/Form 9-06.
25           140.   On information and belief, Defendants knew or had reason to know that the
26   HOA’s CC&Rs did not include a mortgage savings clause, yet represented to the Insured that
27   the CC&Rs did protect the Deed of Trust from extinguishment by enforcement of the HOA’s
28   lien.




                                               Page 22 of 27
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 26 of 807




 1          141.    All Defendants acted with malice, fraud, and/or oppression by allowing
 2   Mariners’ predecessor to obtain a title insurance policy that included an endorsement known
 3   and described as providing coverage against the enforcement of an association’s superpriority
 4   lien, then denying coverage for losses arising from the HOA’s enforcement of its superpriority
 5   lien despite internal documents, guidelines, and bulletins indicating that coverage was due.
 6          142.    Defendants have implemented and engaged in patterns and practices which call
 7   for the denial of claims stemming from Nevada HOA foreclosure sales despite Defendants’
 8   actual knowledge that the claims fell under the insuring provisions and policy endorsements,
 9   including Mariners’ Claim. These patterns and practices demonstrate that Defendants did not
10   simply make a reasonable mistake, but engaged in a systemic and reckless and/or intentional
11   practice of mishandling and denying otherwise valid claims in order to avoid their obligations.
12          143.    Defendants intentionally breached their duties and acted in bad faith by denying
13   Mariners’ claims for coverage under the Policy.
14          144.    Mariners has suffered damages as a result of Defendants’ bad faith and breach of
15   their duty of good faith and fair dealing.
16          145.    As a result of Defendants’ bad faith, Mariners was required to retain counsel to
17   prosecute this action and is entitled to recover its corresponding attorneys’ fees.
18                               FOURTH CAUSE OF ACTION
19          (Deceptive Trade Practices (NRS 41.600 and NRS 598.0915) – all Defendants)
            146.    The allegations in Paragraphs 1 through 145 above are expressly incorporated by
20
     reference.
21
            147.    As described above, Defendants are alter egos for the purpose of liability for the
22
     handling and denial of Mariners’ Claim, or are otherwise engaged in a joint venture.
23
            148.    All Defendants received valuable consideration in exchange for providing the
24
     Policy to Mariners’ predecessor.
25
            149.    All Defendants exchanged memoranda, bulletins, underwriting guides, and other
26
     communications indicating that Form 100/Form 9-06 would provide coverage if an insured
27
     mortgage lien was impaired or otherwise affected by the enforcement of an association’s
28




                                                  Page 23 of 27
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 27 of 807




 1   superpriority lien.
 2            150.   All Defendants knew that public descriptions of Form 100/Form 9-06 indicated
 3   that coverage would be available if an insured mortgage lien was impaired or otherwise affected
 4   by the enforcement of an association’s superpriority lien.
 5            151.   Defendants knew the Property was subject to the HOA’s CC&Rs.
 6            152.   The Policy Mariners’ predecessor-in-interest obtained from Stewart and Stewart
 7   Nevada contained endorsement language plainly intended to provide coverage in the event the
 8   Deed of Trust lost priority or was otherwise impaired by operation of the HOA’s CC&Rs.
 9            153.   On information and belief, Stewart and Stewart Nevada knew or had reason to
10   know that the HOA’s CC&Rs did not include a mortgage savings clause, yet represented to the
11   Insured that the CC&Rs did protect the Deed of Trust from extinguishment by enforcement of
12   the HOA’s lien.
13            154.   Mariners relied to its detriment upon Defendant’s representations that Form
14   100/Form 9-06 would provide such coverage by originating the mortgage loan in reliance on
15   those representations.
16            155.   Mariners relied to its detriment upon Defendant’s representations that the
17   CC&Rs contained a mortgage savings clause when in fact the CC&Rs via operation of law and
18   incorporation of NRS 116 by reference, provided that the HOA lien was superior to the Deed of
19   Trust.
20            156.   By representing that Form 100/Form 9-06 provided such coverage at origination,
21   then failing to accept coverage under either Form 100/Form 9-06, Defendants engaged in
22   consumer fraud as that term is defined in NRS 598.0915(5), (15) and NRS 41.600(2)(e) by
23   misrepresenting the quality and characteristics of the Policy furnished to Mariners’ predecessor
24   and making false representations in the transaction.
25            157.   By representing that Deed of Trust was protected by the mortgage savings clause
26   in the HOA’s CC&Rs, then failing to accept coverage under the Policy, Defendants engaged in
27   consumer fraud as that term is defined in NRS 598.0915(5), (15) and NRS 41.600(2)(e) by
28




                                               Page 24 of 27
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 28 of 807




 1   misrepresenting the quality and characteristics of the Policy furnished to Mariners’ predecessor
 2   and making false representations in the transaction.
 3          158.    Mariners has suffered damages as a result of Defendants’ consumer fraud,
 4   including the damages described above.
 5          159.    As a result of Defendants’ deceptive practices, Mariners was required to retain
 6   counsel to prosecute this action and is entitled to recover its corresponding attorneys’ fees.
 7                                    FIFTH CAUSE OF ACTION
 8                            (Violation of NRS 686A.310 – all Defendants)
            160.    The allegations in Paragraphs 1 through 159 above are expressly incorporated by
 9
     reference.
10
            161.    On information and belief, Stewart’s Claims Department handles claims made on
11
     policies underwritten by all of its subsidiaries, including Stewart and Stewart Nevada, and
12
     directs the coverage positions to be taken by its subsidiaries to promote consistency in claims
13
     handling.
14
            162.    As described above, Defendants are alter egos for the purpose of liability for the
15
     handling and denial of Mariners’ Claim.
16
            163.    All Defendants exchanged memoranda, bulletins, underwriting guides, and other
17
     communications indicating that Form 100/Form 9-06 would provide coverage if an insured
18
     mortgage lien was impaired or otherwise affected by the enforcement of an association’s
19
     superpriority lien.
20
            164.    All Defendants knew that public descriptions of Form 100/Form 9-06 indicated
21
     that coverage would be available if an insured mortgage lien was impaired or otherwise affected
22
     by the enforcement of an association’s superpriority lien.
23
            165.    Defendants represented to the Insured that Form 100/Form 9-06 provided
24
     coverage in the event that the Deed of Trust lost priority or was otherwise impaired by operation
25
     of the HOA’s CC&Rs.
26
27
28




                                                Page 25 of 27
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 29 of 807




 1          166.    Defendants represented to the Insured that the Deed of Trust was protected by
 2   the mortgage savings clause in the HOA’s CC&Rs when in fact the CC&Rs provide for an
 3   HOA lien that could extinguish a first deed of trust.
 4          167.    The Insured relied to its detriment upon Defendants’ knowing misrepresentations
 5   regarding the protection afforded by the CC&Rs.
 6          168.    The Insured relied to its detriment upon Defendant’s knowing misrepresentations
 7   regarding the characteristics and scope of coverage provided by the Policy with Form 9-06 by
 8   originating the mortgage loan in reliance on those misrepresentations.
 9          169.    By representing that Form 100/Form 9-06 provided coverage in the event the
10   Deed of Trust lost priority or was otherwise impaired by operation of the HOA’s CC&Rs, and
11   then denying coverage for losses related to the HOA’s foreclosure sale, Defendants breached
12   NRS 686A.310(1)(a).
13          170.    In light of Defendants’ knowledge that Form 100/Form 9-06 provided coverage
14   in the event a senior deed of trust was impaired by a Nevada association’s superpriority lien,
15   Defendants were required to adopt and implement reasonable claims handling procedures to
16   provide such coverage. Defendants failed to do so, and instead implemented claims handling
17   procedures that called for the denial of claims under policies with an endorsement Form 9-06 by
18   insured lenders whose deeds of trust were impaired by Nevada association’s liens, in violation
19   of NRS 686A.310(1)(c).
20          171.    The Insurer’s liability under the Policy for the extinguishment of the Deed of
21   Trust was “reasonably clear,” as shown by Defendants’ internal memoranda, bulletins,
22   underwriting guides, and other communications. By failing “to effectuate [a] prompt, fair, and
23   equitable settlement[]” of Mariners’ Claim, Defendants violated NRS 686A.310(1)(e).
24          172.    By compelling Mariners’ “to institute litigation to recover amounts due under”
25   the Policy, Defendants violated NRS 686A.310(1)(f).
26          173.    In light of Defendants’ internal documents and representations that Form
27   100/Form 9-06 provided coverage if an insured lien was impaired or otherwise affected by the
28   enforcement of an association’s superpriority lien, Defendants’ violations of NRS 686A.310




                                                Page 26 of 27
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 30 of 807




 1   arising for their denial of coverage under the Policy for that exact scenario have been
 2   oppressive, willful, and malicious.
 3          174.     Indeed, Defendants implemented patterns and practices which call for the denial
 4   of claims stemming from Nevada HOA foreclosure sales, including Mariners’ Claim, despite
 5   Defendants’ actual knowledge that the claims fell under the insuring provisions and policy
 6   endorsements.
 7          175.     As a result of Defendants’ deceptive practices, Mariners was required to retain
 8   counsel to prosecute this action and is entitled to recover its corresponding attorneys’ fees.
 9                                         PRAYER FOR RELIEF
10          WHEREFORE, Mariners requests that this Court grant judgment in its favor and against
11   the Defendants, and award Mariners:
12          A.       a declaration establishing (1) that the Policy provided coverage for all losses or
13   damages, up to the Amount of Insurance, sustained by Mariners as a result of the HOA’s
14   foreclosure sale; and (2) which of Defendants is responsible for coverage under the Policy;
15          B.       compensatory damages;
16          C.       punitive damages;
17          D.       attorneys’ fees;
18          E.       costs; and
19          F.       any other relief deemed to be just.
20          DATED this 1st day of July, 2021.
21                                                 WRIGHT, FINLAY & ZAK, LLP
22
                                                   /s/ Christina V. Miller
23                                                 Darren T. Brenner, Esq.
                                                   Nevada Bar No. 8386
24                                                 Christina V. Miller, Esq.
                                                   Nevada Bar No. 12448
25
                                                   7785 W. Sahara Ave., Suite 200
26                                                 Las Vegas, NV 89117
                                                   Attorneys for Plaintiff, Mariners Pac Ventures,
27                                                 LLC
28




                                                Page 27 of 27
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 31 of 807




                        EXHIBIT 1




                        EXHIBIT 1
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 32 of 807
              Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 33 of 807
• ,ou--�atiouaweragea needas:;is&ance ro,ewtwe � plea:wcallou -•eeturm: 1"800-729-1902. If ,oumalfea daimUll8" }'IV" pwcy, ywmusl brab�oolim
in accordaraWilh$etibl3 ol lleCondilions.                                                          VlSitourWOl'ld Wide Website al     .sleWM.com


      ALTA Loan Policy (6-17-06)

                                                  LOAN POLICY OF TITLE INSURANCE
                                                            ISSUED BY



                                                  LsJ!'!'f!fa!.
      An'/ notice of claim and any 01her nolice a, Slalemenl In writing required lo be gi"8Jl lhe Company under this Polley must be
      giYen to the Company al Ille -& shown In Seclion 17 of the Conditions.

                                                              COVERED RISKS

      SUBJECT TO THE EXCLUSIONS FROM COVERAGE. THE EXCEPTIONS FROM COVERAGE CONTAINED IN SCHEDULE
      B, AND THE CONDITIONS, STEWART TITLE GUARANTY COMPANY, a Texas co,poralion (lhe "Company") insures as of Date of
      Poley and, to Ille extent slaled in Covered Risks 11, 13, and 14, atter Dale of Policy, against loss or damage, not exceeding Ille
      Amount of Insurance, suslained or incurred by lhe lnsired by reason ol:

      1.    Tllo being vesled olher lhan as slaled in Schedule A.
      2.    Any defect in or lien or encumi.ance on the 1ide. This Covered Risk in:ludes bul is not limiled 10 insurance againsl loss korn
            (a) A def eel in Ille TIiie caused by
                 �) forgery, fraud, uno,e inlllence, duress, i""°"""tency, i.-.::apacity. or irnperoonalion:
                 (ii) failure ol any person or Enlily to have aulhorized a lransfer or conveyance;
                 (iii) a documenl affecting Tolle nol prq,e�y crealed. executed, witnessed, sealed, ackoowledged, nolarized, or delivered;
                 (iv) failure 10 perform !hose acts necessary to creale a document by electroric means authorized by law;
                 (v) a <bcumenl execuied under a falsified. expired. or otherwise invalid power of attorney:
                 (vi) a documenl nol property filed, recorded. or indexed in Ille Ptblic Records includng lailure to perlorm lhose acts by
                       eleclronic means aultorized by law; or
                 (vii) a defective judicial or adminislrative proceeding.
            (bl The lien ol real esla1e laXes or assessmenls imposed on the Tolle by a govemmenlal authority due or payable. bul u'l)aid.
            (c) Any encroachment, ero;umbrance, violation. variation, or adverse circumslance affecting lhe Tolle that would be disclosed by
                 an accurale and cornptele land survey of the land. The term ·encmachmenl" irnides encroa:hmenls of existing
                 improvements located on lhe land onlo adjoining land, and encroachments MO the land of exisling improvements localed on
                 aqoining land.
      3.     Unmarkelable Tolle.
      4.     No righl of access lo and from lhe land.
      5.     The violalion or enforcement of any law, ordnance, permil, or governmental reglAalion Qncluding !hose relating lo buiking and
             zoning) reslricting, regulaling, prohibiting. or relaling to
             (a) lhe occupancy, use. or enjoymenl of lhe land;
             (bl lhe chamcter, dimensions, or location of any improvement erecled on lhe land;
             (c) the subdivision of land: or
             (d) environmental proleclion




           Counlersigned by:
                                                               csstewart
                                                                  __ _
             £-1cD
           Autllori;,.ed Coun1ersipature

           S1ewan Ti1lc or Nevada-Las Vegas Division




                                                      ·
                                                                                                         President




                                                  I �
                                                   .Serial..,_
                                                     -,        Serial No. ll-9302·1363434


ALTA Loan Poley (6/17/06)
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 34 of 807
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 35 of 807
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 36 of 807
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 37 of 807
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 38 of 807
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 39 of 807
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 40 of 807
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 41 of 807
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 42 of 807
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 43 of 807
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 44 of 807
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 45 of 807




                        EXHIBIT 2




                        EXHIBIT 2
               Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 46 of 807




                                            NATIONAL COMMERCIAL SERVICES




                    National Commercial Services
           ENDORSEMENT GUIDE




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 47 of 807

(1'256(0(176

*HQHUDOO\HQGRUVHPHQWVZLOOSURYLGHDGGLWLRQDOFRYHUDJHIRUPDWWHUVZKLFKZRXOGRUGLQDULO\EH
H[FOXGHGE\WKH([FOXVLRQV)URP&RYHUDJHRUH[FHSWHGIURPFRYHUDJHVKRZQLQ6FKHGXOH%RIWKH
SROLF\HLWKHUE\WKHUHJLRQDOJHQHUDOH[FHSWLRQVLIDSSOLFDEOHRUE\VSHFLILFH[FHSWLRQV$PDMRULW\RI
WKHHQGRUVHPHQWVDUHQRWJHQHUDOLQQDWXUHEXWDUHVSHFLILFDVWRLWHPVIRUZKLFKWKHLQVXUHG
GHVLUHVFRYHUDJH6RPHDUHVSHFLILFDOO\GHVLJQHGIRURZQHU¶VSROLFLHVDQGRWKHUVIRUORDQSROLFLHV
6RPHHQGRUVHPHQWVDUHQRWDYDLODEOHLQDOOFLUFXPVWDQFHV

7KHLVVXDQFHRIDQ\HQGRUVHPHQWLVFRQGLWLRQHGXSRQWKHFLUFXPVWDQFHVVXUURXQGLQJWKHSURSHUW\
LQYROYHGDQGXSRQWKHIXOILOOPHQWRIWKHXQGHUZULWLQJFULWHULDHVWDEOLVKHGE\&KLFDJR7LWOH,QVXUDQFH
&RPSDQ\LVVXEMHFWWRWKHWHUPVDQGFRQGLWLRQVRIWKHSROLF\WRZKLFKWKH\DUHDWWDFKHG7KH
IROORZLQJGHVFULSWLRQVGRQRWGHILQHWKHFRPSOHWHFRYHUDJHRIWKHHQGRUVHPHQWVZKLFKFDQRQO\EH
GHWHUPLQHGE\UHDGLQJWKHVDPH7KLVOLVWLVSURYLGHGDVDFRQYHQLHQFHLQORFDWHGWKHHQGRUVHPHQW
ZKLFKPD\ILWDSDUWLFXODUVHWRIIDFWV7KLVOLVWGRHVQRWLQFOXGHDOOHQGRUVHPHQWVWKDWPD\EHILOHGLQ
&DOLIRUQLDEXWUDWKHULQFOXGHVWKHVWDQGDUG$/7$HQGRUVHPHQWV

  $OOLQIRUPDWLRQLVSURYLGHGDVDFRXUWHV\DQGLVGHHPHGUHOLDEOHEXWQRWJXDUDQWHHG3OHDVH
FRQWDFW\RXUORFDO6DOHV([HFXWLYHWROHDUQPRUH 




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 48 of 807

                          $/7$&/7$(1'256(0(17&219(56,21&+$57$62)


ALTA              CLTA                     Description                                                                       Adoption
                                                                                                                                 p
                                                                                                                             (Rev.)
1-06                                       Street Assessments                                                                6-17-06
2-06              125-06                   Truth in Lending                                                                  6-17-06
3-06              123.1-06                 Zoning – Unimproved Land                                                          6-17-06
3.1-06            123.2-06                 Zoning – Improved Land                                                            (10-22-09)
3.2-06            123.3-06                 Zoning – Land Under Development (OP or LP)                                        04-02-12 (Tech.
                                                                                                                             Correction 12-3-12)
4-06              115.1-06                 Condominium                                                                       (02-03-10)
4.1-06            115.3-06                 Condominium (for NV & HI not CA)                                                  (10-16-08)
5-06              115.2-06                 Planned Unit Development                                                          (02-03-10)
5.1-06            115.4-06                 Planned Unit Development (for NV & HI not CA)                                     (10-16-08)
6-06              111.5-06                 Variable rate                                                                     (10-16-08)
6.2-06            111.8-06                 Variable Rate - Negative Amortization                                             (10-16-08)
7-06              116.5-06                 Manufactured Housing Unit                                                         6-17-06
7.1-06            116.5. 1-06              Manufactured Housing Unit-Conversion; Loan                                        6-17-06
7.2-06            116.5. 2-06              Manufactured Housing Unit-Conversion; Owner’s                                     6-17-06
8.1-06            110.9-06                 Environmental Protection Lien                                                     6-17-06
8.2-06            110.9.1-06               Commercial Environmental Protection Lien                                          10-16-08
9-06              100.2-06                 Restrictions, Encroachments & Minerals-Loan                                       (04-02-12)
9.1-06            100.9-06                 Covenants, Conditions and Restrictions                                            (04-02-12)
                                           (Owner's Policy - Unimproved Land)
9.2-06            100.10-06                Covenants, Conditions and Restrictions                                            (04-02-12)
                                           (Owner's Policy - Improved Land)
9.3-06            100.2.1-06               Covenants, Conditions and Restrictions-Loan                                       (04-02-12)
9.4-06            100.2.2-06               Restrictions, Encroachments, Minerals-Future Improvements re Minerals             Withdrawn 04-02-
                                           Extraction– OP-Unimproved Land                                                    12)
9.5-06            100.2.3-06               Restrictions, Encroachments, Minerals –Future Improvements re Minerals            (Withdrawn 04-
                                           Extraction- OP– Improved Land                                                     02-12)
9.6-06            (100.2.6-06)             Private Rights - Loan                                                             04-02-13
9.7-06            (100.2.7-06)             Restrictions, Encroachments, Minerals – Land under Development-Loan               04-02-12
9.8-06            (100.2.8-06)             Covenants, Conditions and Restrictions-Land under Development-Owners              04-02-12 (Tech.
                                                                                                                             Correction 12-3-12)
9.9-06            100.2.9-06               Private Rights – Owner’s                                                          (04-02-13)
9.10-06           100.2.10-06              Restrictions, Encroachments, Minerals – Current Violations - Loan                 (04-02-13)
10-06             104.12-06                Assignment of Mortgage                                                            (02-03-10)
10.1-06           104.13-06                Assignment and Date Down                                                          (02-03-10)
11-06             110.11-06                Mortgage Modification                                                             6-17-06
11.1-06           110.11.1-06              Mortgage Modification with Subordination                                          10-22-09
12-06             117-06                   Aggregation - Loan                                                                (04-02-13)
12.1-06           117.1-06                 Aggregation – State Limits – Loan                                                 04-02-13
13-06             119.5-06                 Leasehold – Owner’s                                                               04-02-12
13.1-06           119.6-06                 Leasehold – Loan                                                                  04-02-12
14-06             111.14-06                Future Advance-Priority [Note: Version A gives ML Coverage: Version B Does Not]    (02-03-11)

14.1-06           111.14.1-06              Future Advance-Knowledge [See Note for ALTA 14]                                    (02-03-11)
14.2-06           111.14.2-06              Future Advance-Letter of Credit [See Note for ALTA 14]                             (02-03-11)
14.3-06           111.14.3 -06             Future Advance-Reverse Mortgage [See Note for ALTA 14]                            (02-03-11) (Tech.
                                                                                                                             Correction 12-3-12)
15-06             127-06                   Non-imputation-Full Equity Transfer [Owner’s Policy Only]                         6-17-06
15.1-06           127.1-06                 Non-imputation-Additional Insured [Owner’s Policy Only]                           6-17-06
15.2-06           127.2-06                 Non-imputation-Partial Equity Transfer [Owner’s Policy Only]                      6-17-06
16-06             128-06                   Mezzanine Financing [Owner’s Policy Only]                                         6-17-06
17-06             103.11-06                Access and Entry                                                                  6-17-06
17.1-06           103.12-06                Indirect Access and Entry                                                         6-17-06
17.2-06           103.13-06                Utility Access                                                                    10-16-08
18-06             129-06                   Single Tax Parcel                                                                 6-17-06
18.1-06           129.1-06                 Multiple Tax Parcels                                                              6-17-06
19-06             116.4.1-06               Contiguity-Multiple Parcels                                                       6-17-06
19.1-06           116.4-06                 Contiguity-Single Parcel                                                          6-17-06
20-06             130-06                   First Loss-(Multiple Parcels) Transaction [Loan Policy Only]                      6-17-06
21-06             131-06                   Creditors’ Rights (Decertification effective 03-08-10)                            6-17-06
22-06             116.01-06                Location                                                                          6-17-06

          © 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 49 of 807

22.1-06           116.02-06                Location & Map                                                              6-17-06
23-06             114.3-06                 Co-Insurance – Single Policy (01-01-08)                                     10-16-08
24-06             133-06                   Doing Business                                                              10-16-08
25-06             116.1-06                 Same as Survey                                                              10-16-08
25.1-06           116.1.2-06               Same as Portion of Survey                                                   10-16-08
26-06             116.8-06                 Subdivision                                                                 10-16-08
27-06             132-06                   Usury                                                                       10-16-08
28-06             103.1-06                 Easement – Damage or Enforced Removal                                       02-03-10
28.1-06           103.14-06                Encroachments-Boundaries and Easements                                      04-02-12
28.2-06           103.15-06                Encroachments-Boundaries and Easements – Described Improvements             04-02-13
29-06             134-06                   Interest Rate SWAP-Direct Obligation                                        02-03-10
29.1-06           134.1-06                 Interest Rate SWAP-Additional Interest                                      02-03-10
29.2-06           134.2-06                 Interest Rate SWAP-Direct Obligation – Defined Amount                       08-01-11
29.3-06           134.3-06                 Interest Rate SWAP-Additional Interest – Defined Amount                     08-01-11
30-06             135-06                   Shared Appreciation Mortgage                                                07-26-10
30.1-06           135.1-06                 Commercial Participation Interest                                           08-01-12
31-06             136-06                   Severable Improvements                                                      02-03-11
32-06             137-06                   Construction Loan – Loss of Priority                                        02-03-11
32.1-06           137.1-06                 Construction Loan – Loss of Priority – Direct Payment                       (04-02-13)
32.2-06           137.2-06                 Construction Loan – Loss of Priority – Insured’s Direct Payment             (04-02-13)
33-06             138-06                   Disbursement Endorsement                                                    02-03-11
34-06             139-06                   Identified Risk Coverage                                                    08-01-11
35-06             140-06                   Minerals and Other Subsurface Substances – Buildings-OP or LP               04-02-12
35.1-06           140.1-06                 Minerals and Other Subsurface Substances-Described Improvements –OP or LP   04-02-12
35.2-06           140.2-06                 Minerals and Other Subsurface Substances-Improvements- OP or LP_            04-02-12
35.3-06           140.3-06                 Minerals and Other Subsurface Substances-Land Under Development-OP or LP    04-02-12
36-06             141-06                   Energy Project-Leasehold/Easement-OP                                        04-02-12
36.1-06           141.1-06                 Energy Project-Leasehold/Easement-LP                                        04-02-12
36.2-06           141.2-06                 Energy Project-Leasehold-OP                                                 04-02-12
36.3-06           141.3-06                 Energy Project-Leasehold-LP                                                 04-02-12
36.4-06           141.4-06                 Energy Project- CC and Rs- Land Under Development-OP                        04-02-12
36.5-06           141.5-06                 Energy Project- CC and Rs- Land Under Development-LP                        04-02-12
36.6-06           141.6-06                 Energy Project-Encroachments- LP or OP                                      04-02-12
37-06             104.6-06                 Assignment of Rents or Leases                                               12-03-12
39-06             142-06                   Policy Authentication                                                       04-02-13
JR 1                                       ALTA Res. Limited Cov. Jr. Loan Policy                                      08-01-12
JR 2                                       ALTA Res. Limited Cov. Jr. Loan Policy                                      08-01-12
                                                                       
                                                                       
                                                                       
                                                                       
                                                                       
                                                                       
                                                                       
                                                                       
                                                                       
                                                                       
                                                                       
                                                                       
                                                                       
                                                                       
                                                                       
                                                                       
                                                                       
                                                                       
                                                                       
                                                                       
                                                                       
                                                                       
                                                                       
                                                                       
                                                                       
                                                                       
                                                                       
          © 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 50 of 807

                                                
                                       675((7$66(660(176
                               $/7$(1'256(0(17)250  
                                                
 7KHUHSDLUDQGPDLQWHQDQFHRISXEOLFVWUHHWVLVHLWKHUFRQWUDFWHGIRUE\DJRYHUQPHQWDOERG\RU
 GRQH GLUHFWO\ E\ JRYHUQPHQW HPSOR\HHV 7KH SURSHUW\ RZQHUV DGMRLQLQJ WKH VWUHHWV RU LQ WKH
 JHQHUDOO\ EHQHILWHG DUHD DUH XVXDOO\ DVVHVVHG WKH FRVWV RI WKH ZRUN RQ VRPH EDVLV 7KH
 JRYHUQPHQWDOERG\LVDOPRVWXQLYHUVDOO\JLYHQDOLHQWRVHFXUHWKHSD\PHQWRIWKLVDVVHVVPHQW

 
 7KLV HQGRUVHPHQW LV FRQFHUQHG ZLWK WKH SULRULW\ RI WKDW OLHQ LI WKH LPSURYHPHQWV DUH HLWKHU LQ
 SURFHVVRUFRPSOHWHGDWWKH'DWHRI3ROLF\,IWKLVOLHQLVSULRUWRWKHOLHQRIWKH,QVXUHG0RUWJDJH
 DQGWKHDVVHVVPHQWVDUHQRWSDLGE\WKHERUURZHUWKHOHQGHUZLOOKDYHWRSD\WKHPLQRUGHUWR
 VWRS D WD[ IRUHFORVXUH 7KLV HQGRUVHPHQW FRYHUV WKH ORVV RU GDPDJH ZKLFK WKH OHQGHU PD\
 VXVWDLQE\KDYLQJWRSD\WKHDVVHVVPHQWVZKLFKKDYHJDLQHGSULRULW\RYHUWKH,QVXUHG0RUWJDJH

 
 7KLVHQGRUVHPHQWLVQRWILOHGLQ&DOLIRUQLD

                                                           




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 51 of 807



 (1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB          
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\


           7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRIWKH
 ODFN RI SULRULW\ RI WKH OLHQ RI WKH ,QVXUHG 0RUWJDJH RYHU WKH OLHQ RI DQ\ DVVHVVPHQWV IRU VWUHHW
 LPSURYHPHQWVXQGHUFRQVWUXFWLRQRUFRPSOHWHGDW'DWHRI3ROLF\


           7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
 RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
 HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


 >:LWQHVV&ODXVH2SWLRQDO@


 '$7('

 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\

 %<B             B
     $87+25,=('6,*1$725<




 $/7$(QGRUVHPHQW)RUP
 6WUHHW$VVHVVPHQWV   
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
    Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 52 of 807



                                              7587+,1/(1',1*
                                              $/7$ 

    7KLVHQGRUVHPHQWLVIRUORDQSROLFLHVRQO\,WSURYLGHVLQVXUDQFHDJDLQVWVRPHORVVHVWKH,QVXUHG
    PD\VXIIHULIWKHERUURZHUH[HUFLVHVDULJKWRIUHVFLVVLRQXQGHU5HJXODWLRQ=RIWKH)HGHUDO7UXWK
    LQ/HQGLQJ$FW




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 53 of 807


(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB           
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\

         7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI

         DQ\ ILQDO MXGJPHQW RI D FRXUW RI FRPSHWHQW MXULVGLFWLRQ WKDW HLWKHU WKH OLHQ RI WKH ,QVXUHG
         0RUWJDJHKDVEHHQWHUPLQDWHGRUWKH7LWOHRIDQ,QVXUHGZKRKDVDFTXLUHGDOORUDQ\SDUW
         RIWKH/DQGE\IRUHFORVXUHWUXVWHH VVDOHFRQYH\DQFHLQOLHXRIIRUHFORVXUHRURWKHUOHJDO
         PDQQHUZKLFKGLVFKDUJHVWKHOLHQRI WKH,QVXUHG0RUWJDJHKDV EHHQGHIHDWHGE\DYDOLG
         H[HUFLVH RI WKH ULJKW RI UHVFLVVLRQ FRQIHUUHG E\ WKH )HGHUDO 7UXWKLQ/HQGLQJ $FW DQG WKDW
         WKH ULJKW RU ULJKWV RI UHVFLVVLRQ H[LVWHG EHFDXVH QHLWKHU WKH FUHGLW WUDQVDFWLRQ HYLGHQFHG
         E\ WKH ,QVXUHG 0RUWJDJH QRU WKH ULJKW RI UHVFLVVLRQ ZDV H[HPSWHG RU H[FHSWHG E\ WKH
         SURYLVLRQVRI5HJXODWLRQ= &)5 

           7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
 RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
 HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


 >:LWQHVV2SWLRQDO@


 '$7('

 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\

 %<B             B
     $87+25,=('6,*1$725<




 $/7$(QGRUVHPHQW)RUP
 7UXWKLQ/HQGLQJ   
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 54 of 807


                                               =21,1*
                     $/7$    DQG 

 7KHVHIRUPVDUHXVHGWRSURYLGHFHUWDLQ]RQLQJFRYHUDJH7KH\GRQRWSURYLGHXQOLPLWHG]RQLQJ
 LQVXUDQFH




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 55 of 807


(1'256(0(17
                                           $WWDFKHGWR3ROLF\1RB         
                                                     ,VVXHGE\
                                              &KLFDJR7LWOH,QVXUDQFH
                                                     &RPSDQ\

                7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGLQWKH
           HYHQWWKDWDW'DWHRI3ROLF\

                     D     $FFRUGLQJWRDSSOLFDEOH]RQLQJRUGLQDQFHVDQGDPHQGPHQWVWKH/DQGLV
                     QRWFODVVLILHG=RQH>),//,1@

                     E      7KHIROORZLQJXVHRUXVHVDUHQRWDOORZHGXQGHUWKDWFODVVLILFDWLRQ

                              >),//,1@

                  7KHUHVKDOOEHQROLDELOLW\XQGHUWKLVHQGRUVHPHQWEDVHGRQ
                     D      /DFNRIFRPSOLDQFHZLWKDQ\FRQGLWLRQVUHVWULFWLRQVRUUHTXLUHPHQWV
                     FRQWDLQHGLQWKH]RQLQJRUGLQDQFHVDQGDPHQGPHQWVLQFOXGLQJEXWQRWOLPLWHGWR
                     WKHIDLOXUHWRVHFXUHQHFHVVDU\FRQVHQWVRUDXWKRUL]DWLRQVDVDSUHUHTXLVLWHWR
                     WKHXVHRUXVHV 7KLVSDUDJUDSKDGRHVQRWPRGLI\RUOLPLWWKHFRYHUDJH
                     SURYLGHGLQ&RYHUHG5LVN
                     E     7KHLQYDOLGLW\RIWKH]RQLQJRUGLQDQFHVDQGDPHQGPHQWVXQWLODIWHUDILQDO
                     GHFUHHRIDFRXUWRIFRPSHWHQWMXULVGLFWLRQDGMXGLFDWLQJWKHLQYDOLGLW\WKHHIIHFWRI
                     ZKLFKLVWRSURKLELWWKHXVHRUXVHV
                     F     7KHUHIXVDORIDQ\SHUVRQWRSXUFKDVHOHDVHRUOHQGPRQH\RQWKH
                     HVWDWHRULQWHUHVWFRYHUHGE\WKLVSROLF\



 7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW L 
 PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL  PRGLI\ DQ\ SULRU HQGRUVHPHQWV LLL 
 H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH 7RWKHH[WHQWDSURYLVLRQRI
 WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
 HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWVWRLW


 >:LWQHVV2SWLRQDO@


 '$7('

 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\

 %<B             B
     $87+25,=('6,*1$725<




 $/7$(QGRUVHPHQW)RUP
 =RQLQJ±8QLPSURYHG/DQG   
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 56 of 807



(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB          
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\

       7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGLQWKHHYHQWWKDW
      DW'DWHRI3ROLF\
           D       DFFRUGLQJ WR DSSOLFDEOH ]RQLQJ RUGLQDQFHV DQG DPHQGPHQWV WKH /DQG LV QRW
                     FODVVLILHG=RQH),//,1
           E       WKHIROORZLQJXVHRUXVHVDUHQRWDOORZHGXQGHUWKDWFODVVLILFDWLRQ
                     ),//,1
           F       7KHUHVKDOOEHQROLDELOLW\XQGHUSDUDJUDSKELIWKHXVHRUXVHVDUHQRWDOORZHG
                     DV WKH UHVXOW RI DQ\ ODFNRI FRPSOLDQFH ZLWK DQ\ FRQGLWLRQV UHVWULFWLRQV RU
                     UHTXLUHPHQWVFRQWDLQHGLQWKH]RQLQJRUGLQDQFHVDQGDPHQGPHQWVLQFOXGLQJEXW
                     QRW OLPLWHG WR WKH IDLOXUH WR VHFXUH QHFHVVDU\ FRQVHQWV RU DXWKRUL]DWLRQV DV D
                     SUHUHTXLVLWHWRWKHXVHRUXVHV 7KLVSDUDJUDSKFGRHVQRWPRGLI\RUOLPLWWKH
                     FRYHUDJHSURYLGHGLQ&RYHUHG5LVN

       7KH&RPSDQ\IXUWKHULQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQ
      RIDILQDOGHFUHHRIDFRXUWRIFRPSHWHQWMXULVGLFWLRQHLWKHUSURKLELWLQJWKHXVHRIWKH/DQG
      ZLWKDQ\H[LVWLQJVWUXFWXUHDVVSHFLILHGLQSDUDJUDSKERUUHTXLULQJWKHUHPRYDORU
      DOWHUDWLRQRIWKHVWUXFWXUHEHFDXVHDW'DWHRI3ROLF\WKH]RQLQJRUGLQDQFHVDQG
      DPHQGPHQWVKDYHEHHQYLRODWHGZLWKUHVSHFWWRDQ\RIWKHIROORZLQJPDWWHUV
                     D      $UHDZLGWKRUGHSWKRIWKH/DQGDVDEXLOGLQJVLWHIRUWKHVWUXFWXUH
                     E      )ORRUVSDFHDUHDRIWKHVWUXFWXUH
                     F      6HWEDFNRIWKHVWUXFWXUHIURPWKHSURSHUW\OLQHVRIWKH/DQG
                     G      +HLJKWRIWKHVWUXFWXUHRU
                     H      1XPEHURISDUNLQJVSDFHV

       7KHUHVKDOOEHQROLDELOLW\XQGHUWKLVHQGRUVHPHQWEDVHGRQ
           D       WKHLQYDOLGLW\RIWKH]RQLQJRUGLQDQFHVDQGDPHQGPHQWVXQWLODIWHUDILQDOGHFUHH
                     RIDFRXUWRIFRPSHWHQWMXULVGLFWLRQDGMXGLFDWLQJWKHLQYDOLGLW\WKHHIIHFWRIZKLFK
                     LVWRSURKLELWWKHXVHRUXVHV
           E       WKHUHIXVDORIDQ\SHUVRQWRSXUFKDVHOHDVHRUOHQGPRQH\RQWKH7LWOHFRYHUHG
                     E\WKLVSROLF\

 7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW L 
 PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL  PRGLI\ DQ\ SULRU HQGRUVHPHQWV LLL 
 H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH 7RWKHH[WHQWDSURYLVLRQRI
 WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
 HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWVWRLW
 >:LWQHVV2SWLRQDO@

 '$7('
 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\
 %<B                   B
     $87+25,=('6,*1$725<

 $/7$(QGRUVHPHQW)RUP
 =RQLQJ&RPSOHWHG6WUXFWXUH  UHY 
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 57 of 807


(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB          
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\

  )RUSXUSRVHVRIWKLVHQGRUVHPHQW
     D ³,PSURYHPHQW´PHDQVDEXLOGLQJVWUXFWXUHURDGZDONZD\GULYHZD\FXUEVXEVXUIDFH
            XWLOLW\RU ZDWHUZHOOH[LVWLQJDW'DWHRI3ROLF\RUWREHEXLOWRUFRQVWUXFWHGDFFRUGLQJWR
            WKH3ODQVWKDWLVRU ZLOOEHORFDWHGRQWKH/DQGEXWH[FOXGLQJFURSVODQGVFDSLQJ
            ODZQVVKUXEEHU\RUWUHHV
      E ³3ODQV´PHDQVWKRVHVLWHDQGHOHYDWLRQSODQVPDGHE\>QDPHRIDUFKLWHFWRUHQJLQHHU@
            GDWHG                B ODVWUHYLVHG                                      GHVLJQDWHGDV>QDPH
            RISURMHFW@FRQVLVWLQJRI                                                   VKHHWV
  7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGLQWKHHYHQWWKDW
      DW'DWHRI 3ROLF\
      D DFFRUGLQJWRDSSOLFDEOH]RQLQJRUGLQDQFHVDQGDPHQGPHQWVWKH/DQGLVQRWFODVVLILHG
          =RQH
                                
      E WKHIROORZLQJXVHRUXVHVDUHQRWDOORZHGXQGHUWKDWFODVVLILFDWLRQ
      F 7KHUHVKDOOEHQROLDELOLW\XQGHUSDUDJUDSKELIWKHXVHRUXVHVDUHQRWDOORZHGDVWKH
            UHVXOWRI DQ\ODFNRIFRPSOLDQFHZLWKDQ\FRQGLWLRQUHVWULFWLRQRUUHTXLUHPHQWFRQWDLQHG
            LQWKH]RQLQJ RUGLQDQFHVDQGDPHQGPHQWVLQFOXGLQJEXWQRWOLPLWHGWRWKHIDLOXUHWR
            VHFXUHQHFHVVDU\FRQVHQWV RUDXWKRUL]DWLRQVDVDSUHUHTXLVLWHWRWKHXVHRUXVHV 7KLV
            SDUDJUDSKFGRHVQRWPRGLI\RUOLPLW WKHFRYHUDJHSURYLGHGLQ&RYHUHG5LVN
  7KH&RPSDQ\IXUWKHULQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI
      DILQDO GHFUHHRIDFRXUWRIFRPSHWHQWMXULVGLFWLRQHLWKHUSURKLELWLQJWKHXVHRIWKH/DQGZLWK
      DQ\H[LVWLQJ ,PSURYHPHQWDVVSHFLILHGLQSDUDJUDSKERUUHTXLULQJWKHUHPRYDORU
      DOWHUDWLRQRIWKH,PSURYHPHQW EHFDXVHRIDYLRODWLRQRIWKH]RQLQJRUGLQDQFHVDQG
      DPHQGPHQWVLQHIIHFWDW'DWHRI3ROLF\ZLWK UHVSHFWWRDQ\RIWKHIROORZLQJPDWWHUV
      D           $UHDZLGWKRUGHSWKRIWKH/DQGDVDEXLOGLQJVLWHIRUWKH,PSURYHPHQW
      E              )ORRUVSDFHDUHDRIWKH,PSURYHPHQW
      F              6HWEDFNRIWKH,PSURYHPHQWIURPWKHSURSHUW\OLQHVRIWKH/DQG
      G              +HLJKWRIWKH,PSURYHPHQWRU
      H              1XPEHURISDUNLQJVSDFHV
  7KHUHVKDOOEHQROLDELOLW\XQGHUWKLVHQGRUVHPHQWEDVHGRQ
     D WKHLQYDOLGLW\RIWKH]RQLQJRUGLQDQFHVDQGDPHQGPHQWVXQWLODIWHUDILQDOGHFUHHRID
            FRXUWRI FRPSHWHQWMXULVGLFWLRQDGMXGLFDWLQJWKHLQYDOLGLW\WKHHIIHFWRIZKLFKLVWR
            SURKLELWWKHXVHRUXVHV
      E WKHUHIXVDORIDQ\SHUVRQWRSXUFKDVHOHDVHRUOHQGPRQH\RQWKH7LWOHFRYHUHGE\WKLV
            SROLF\
 7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW L 
 PRGLI\DQ\RIWKHWHUPVDQG SURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV LLL 
 H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI ,QVXUDQFH7RWKHH[WHQWDSURYLVLRQRI
 WKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRI WKLV
 HQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKH
 WHUPVDQGSURYLVLRQVRI WKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV
 >:LWQHVV2SWLRQDO@

 '$7('
 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\
 %<B                   B
     $87+25,=('6,*1$725<
 
© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 58 of 807


 $/7$(QGRUVHPHQW)RUP
 =RQLQJ&RPSOHWHG6WUXFWXUH  UHY 
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ
 
 


 
                                                 
                                                 
                                                 
                                                 
                                                 
                                                 
                                                 
                                                 
                                                 
                                                 
                                                 
                                                 
                                                 
                                                 
                                                 
                                                 
                                                 
                                                 
                                                 
                                                 
                                                 
                                                 
                                                 
                                                 
                                                 
                                                 
                                                 
                                                 
                                                 
                                                 
                                                 
                                                 
                                                 
                                                 
                                                 
                                                 
                                                 
                                                 
                                                 
                                                 
                                                 
                                                 
                                                 
                                                 
                                                 
                                                 
                                                 
                                                 
                                                 
                                                 
                                                 
                                                 

© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 59 of 807




                                                 &21'20,1,80
                                $/7$  DQG  
                                                           
7KHVHHQGRUVHPHQWVSURYLGHDIILUPDWLYHLQVXUDQFHWRPRUWJDJHOHQGHUVORDQLQJRQWKHVHFXULW\RI
FRQGRPLQLXPXQLWV7KHUHDUHVHYHQPDWWHUVVHOHFWHGIRULQVXUDQFHLQWKHVHHQGRUVHPHQWV7KH
$/7$  GLIIHUV IURP WKH $/7$  RQO\ LQ KDW WKHUH LV QR LQVXUDQFH RI SULRULW\ RYHU IXWXUH
DVVHVVPHQWV LQ SDUDJUDSK  RI WKH HQGRUVHPHQW  7KH $/7$  PD\ EH XVHG ZLWK HLWKHU DQ
2ZQHU¶VRU/HQGHU¶V3ROLF\
                                                               
                                                               
                                                               
                                                               
                                                               
                                                               
                                                               
                                                               
                                                               
                                                               
                                                               
                                                               
                                                               
                                                               
                                                               
                                                               
                                                               
                                                               
                                                               
                                                               
                                                               
                                                               
                                                               
                                                               
                                                               
                                                               
                                                               
                                                               
                                                               
                                                               
                                                               
                                                               
                                                               
                                                               
                                                               
                                                               
                                                               
                                                               
                                                               
                                                               
                                                               
                                                               
                                                               
                                                               
                                                               

© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 60 of 807


(1'256(0(17
                                 $WWDFKHGWR3ROLF\1RB    
                                           ,VVXHGE\
                                    &KLFDJR7LWOH,QVXUDQFH
                                           &RPSDQ\
                                                
 7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI

        7KHIDLOXUHRI WKHXQLWLGHQWLILHGLQ6FKHGXOH$DQGLWVFRPPRQHOHPHQWVWREHSDUWRID
           FRQGRPLQLXPZLWKLQWKHPHDQLQJRIWKHFRQGRPLQLXPVWDWXWHVRIWKHMXULVGLFWLRQLQZKLFK
           WKHXQLWDQGLWVFRPPRQHOHPHQWVDUHORFDWHG

        7KH IDLOXUH RI WKH GRFXPHQWV UHTXLUHG E\ WKH FRQGRPLQLXP VWDWXWHV WR FRPSO\ ZLWK WKH
           UHTXLUHPHQWVRIWKHVWDWXWHVWRWKHH[WHQWWKDWVXFKIDLOXUHDIIHFWVWKH7LWOHWRWKHXQLWDQG
           LWVFRPPRQHOHPHQWV

        3UHVHQW YLRODWLRQV RI DQ\ UHVWULFWLYH FRYHQDQWV WKDW UHVWULFW WKH XVH RI WKH XQLW DQG LWV
           FRPPRQHOHPHQWVDQGWKDWDUHFRQWDLQHGLQWKHFRQGRPLQLXPGRFXPHQWVRUWKHIRUIHLWXUH
           RUUHYHUVLRQRI7LWOHE\UHDVRQRIDQ\SURYLVLRQFRQWDLQHGLQWKHUHVWULFWLYHFRYHQDQWV$V
           XVHGLQWKLVSDUDJUDSKWKHZRUGV³UHVWULFWLYHFRYHQDQWV´GRQRWUHIHUWRRULQFOXGHDQ\
           FRYHQDQW FRQGLWLRQ RU UHVWULFWLRQ D  UHODWLQJ WR REOLJDWLRQV RI DQ\ W\SH WR SHUIRUP
           PDLQWHQDQFH UHSDLU RU UHPHGLDWLRQ RQ WKH /DQG RU E  SHUWDLQLQJ WR HQYLURQPHQWDO
           SURWHFWLRQ RI DQ\ NLQG RU QDWXUH LQFOXGLQJ KD]DUGRXV RU WR[LF PDWWHUV FRQGLWLRQV RU
           VXEVWDQFHVH[FHSWWRWKHH[WHQWWKDWDQRWLFH RIDYLRODWLRQRUDOOHJHG YLRODWLRQDIIHFWLQJ
           WKH/DQGKDVEHHQUHFRUGHGLQWKH3XEOLF5HFRUGVDW'DWHRI3ROLF\DQGLVQRWH[FHSWHG
           LQ6FKHGXOH%

        7KHSULRULW\RIDQ\OLHQIRUFKDUJHVDQGDVVHVVPHQWVSURYLGHGIRULQWKHFRQGRPLQLXP
           VWDWXWHVDQGFRQGRPLQLXPGRFXPHQWVDW'DWHRI3ROLF\RYHUWKHOLHQRIDQ\,QVXUHG
           0RUWJDJHLGHQWLILHGLQ6FKHGXOH$

        7KHIDLOXUHRIWKHXQLWDQGLWVFRPPRQHOHPHQWVWREHHQWLWOHGE\ODZWREHDVVHVVHGIRU
           UHDOSURSHUW\WD[HVDVDVHSDUDWHSDUFHO

        $Q\REOLJDWLRQWRUHPRYHDQ\LPSURYHPHQWVWKDWH[LVWDW'DWHRI3ROLF\EHFDXVHRIDQ\
           SUHVHQWHQFURDFKPHQWVRUEHFDXVHRIDQ\IXWXUHXQLQWHQWLRQDOHQFURDFKPHQWRIWKH
           FRPPRQHOHPHQWVXSRQDQ\XQLWRURIDQ\XQLWXSRQWKHFRPPRQHOHPHQWVRUDQRWKHU
           XQLW

        7KHIDLOXUHRIWKH7LWOHE\UHDVRQRIDULJKWRIILUVWUHIXVDOWRSXUFKDVHWKHXQLWDQGLWV
           FRPPRQHOHPHQWVWKDWZDVH[HUFLVHGRUFRXOGKDYHEHHQH[HUFLVHGDW'DWHRI3ROLF\

 7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
 RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
 HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

 >:LWQHVVFODXVHRSWLRQDO@ 
 '$7('
 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\
 %<B                     B
     $87+25,=('6,*1$725<
 
 $/7$(QGRUVHPHQW)RUP
   &RQGRPLQLXP  5HY 
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 61 of 807


(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB           
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\

 7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI

        7KHIDLOXUHRIWKHXQLWLGHQWLILHGLQ6FKHGXOH$DQGLWVFRPPRQHOHPHQWVWREHSDUWRID
           FRQGRPLQLXPZLWKLQWKHPHDQLQJRIWKHFRQGRPLQLXPVWDWXWHVRIWKHMXULVGLFWLRQLQZKLFK
           WKHXQLWDQGLWVFRPPRQHOHPHQWVDUHORFDWHG

        7KH IDLOXUH RI WKH GRFXPHQWV UHTXLUHG E\ WKH FRQGRPLQLXP VWDWXWHV WR FRPSO\ ZLWK WKH
           UHTXLUHPHQWVRIWKHVWDWXWHVWRWKHH[WHQWWKDWVXFKIDLOXUHDIIHFWVWKH7LWOHWRWKHXQLWDQG
           LWVFRPPRQHOHPHQWV

        3UHVHQW YLRODWLRQV RI DQ\ UHVWULFWLYH FRYHQDQWV WKDW UHVWULFW WKH XVH RI WKH XQLW DQG LWV
           FRPPRQHOHPHQWVDQGWKDWDUHFRQWDLQHGLQWKHFRQGRPLQLXPGRFXPHQWVRUWKHIRUIHLWXUH
           RUUHYHUVLRQRI7LWOHE\UHDVRQRIDQ\SURYLVLRQFRQWDLQHGLQWKHUHVWULFWLYHFRYHQDQWV$V
           XVHGLQWKLVSDUDJUDSKWKHZRUGV³UHVWULFWLYHFRYHQDQWV´GRQRWUHIHUWRRULQFOXGHDQ\
           FRYHQDQW FRQGLWLRQ RU UHVWULFWLRQ D  UHODWLQJ WR REOLJDWLRQV RI DQ\ W\SH WR SHUIRUP
           PDLQWHQDQFH UHSDLU RU UHPHGLDWLRQ RQ WKH /DQG RU E  SHUWDLQLQJ WR HQYLURQPHQWDO
           SURWHFWLRQ RI DQ\ NLQG RU QDWXUH LQFOXGLQJ KD]DUGRXV RU WR[LF PDWWHUV FRQGLWLRQV RU
           VXEVWDQFHVH[FHSWWRWKHH[WHQWWKDWDQRWLFH RIDYLRODWLRQRUDOOHJHG YLRODWLRQDIIHFWLQJ
           WKH/DQGKDVEHHQUHFRUGHGLQWKH3XEOLF5HFRUGVDW'DWHRI3ROLF\DQGLVQRWH[FHSWHG
           LQ6FKHGXOH%

        $Q\FKDUJHVRUDVVHVVPHQWVSURYLGHGIRULQWKHFRQGRPLQLXPVWDWXWHVDQGFRQGRPLQLXP
           GRFXPHQWVGXHDQGXQSDLGDW'DWHRI3ROLF\

        7KHIDLOXUHRIWKHXQLWDQGLWVFRPPRQHOHPHQWVWREHHQWLWOHGE\ODZWREHDVVHVVHGIRU
           UHDOSURSHUW\WD[HVDVDVHSDUDWHSDUFHO

        $Q\REOLJDWLRQ WR UHPRYH DQ\LPSURYHPHQWV WKDW H[LVW DW 'DWH RI 3ROLF\EHFDXVH RI DQ\
           SUHVHQW HQFURDFKPHQWV RU EHFDXVH RI DQ\ IXWXUH XQLQWHQWLRQDO HQFURDFKPHQW RI WKH
           FRPPRQ HOHPHQWV XSRQ DQ\ XQLW RU RI DQ\ XQLW XSRQ WKH FRPPRQ HOHPHQWV RU DQRWKHU
           XQLW

        7KH IDLOXUH RI WKH 7LWOH E\ UHDVRQ RI D ULJKW RI ILUVW UHIXVDO WR SXUFKDVH WKH XQLW DQG LWV
           FRPPRQHOHPHQWVZKLFKZDVH[HUFLVHGRUFRXOGKDYHEHHQH[HUFLVHGDW'DWHRI3ROLF\

 7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
 RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
 HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

 >:LWQHVVFODXVHRSWLRQDO@ 
 '$7('
 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\
 %<B                     B
     $87+25,=('6,*1$725<
 
 $/7$(QGRUVHPHQW)RUP
 &RQGRPLQLXP  5HY 
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 62 of 807



                               3/$11('81,7'(9(/230(17
                         $/7$  DQG  
                                               
7KHVHHQGRUVHPHQWVSURYLGHDIILUPDWLYHFRYHUDJHIRUOHQGHUVORDQLQJRQWKHVHFXULW\RIXQLWVLQD
3ODQQHG 8QLW 'HYHORSPHQW RU 38' $IILUPDWLYH FRYHUDJH LV SURYLGHG DJDLQVW ORVV FDXVHG E\
YLRODWLRQ RI UHVWULFWLRQV RU E\ WKH H[LVWHQFH RI FHUWDLQ NLQGV RI UHVWULFWLRQV ,Q DGGLWLRQ ERWK FRYHU
ORVVIURPHQIRUFHGUHPRYDORIEXLOGLQJVE\UHDVRQRIHQFURDFKPHQWVDQGIURPIDLOXUHRI7LWOHDV
GHILQHGE\WKHSROLFLHVFDXVHGE\WKHH[HUFLVHRIDQ\ULJKWRIILUVWUHIXVDO7KH$/7$LQVXUHV
DJDLQVW ORVV IURP ODFN RI SULRULW\ RI WKH PRUWJDJH OLHQ RYHU WKH OLHQ IRU KRPHRZQHUV¶ DVVRFLDWLRQ
DVVHVVPHQWV 7KH $/7$  GLIIHUV LQ WKDW WKHUH LV QR LQVXUDQFH RI SULRULW\ RYHU IXWXUH
DVVHVVPHQWV LQ 3DUDJUDSK  RI WKH  LQVWHDG LW RQO\ FRYHUV XQSDLG DVVHVVPHQWV DW GDWH RI
SROLF\  7KH $/7$  PD\ EH XVHG ZLWK HLWKHU DQ 2ZQHU¶V RU /HQGHU¶V 3ROLF\




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 63 of 807


(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB          
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\


 7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI

        3UHVHQW YLRODWLRQV RI DQ\UHVWULFWLYHFRYHQDQWV UHIHUUHGWR LQ 6FKHGXOH %WKDWUHVWULFW WKH
           XVHRIWKH/DQGRUWKHIRUIHLWXUHRUUHYHUVLRQRI7LWOHE\UHDVRQRIDQ\SURYLVLRQFRQWDLQHG
           LQWKHUHVWULFWLYHFRYHQDQWV$VXVHGLQWKLVSDUDJUDSKWKHZRUGV³UHVWULFWLYHFRYHQDQWV´
           GRQRWUHIHUWRRU LQFOXGHDQ\FRYHQDQWFRQGLWLRQRUUHVWULFWLRQ D UHODWLQJWRREOLJDWLRQV
           RIDQ\W\SHWRSHUIRUPPDLQWHQDQFHUHSDLURUUHPHGLDWLRQRQWKH/DQGRU E SHUWDLQLQJ
           WR HQYLURQPHQWDO SURWHFWLRQ RI DQ\ NLQG RU QDWXUH LQFOXGLQJ KD]DUGRXV RU WR[LF PDWWHUV
           FRQGLWLRQV RU VXEVWDQFHV H[FHSW WR WKH H[WHQW WKDW D QRWLFH RI D YLRODWLRQ RU DOOHJHG
           YLRODWLRQ DIIHFWLQJ WKH /DQG KDV EHHQ UHFRUGHG LQ WKH 3XEOLF 5HFRUGV DW 'DWH RI 3ROLF\
           DQGLVQRWH[FHSWHGLQ6FKHGXOH%

        7KH SULRULW\ RI DQ\ OLHQ IRU FKDUJHV DQG DVVHVVPHQWV LQ IDYRU RI DQ\ DVVRFLDWLRQ RI
           KRPHRZQHUV ZKLFK DUH SURYLGHG IRU LQ DQ\ GRFXPHQW DW 'DWH RI 3ROLF\ UHIHUUHG WR LQ
           6FKHGXOH%RYHUWKHOLHQRIDQ\,QVXUHG0RUWJDJHLGHQWLILHGLQ6FKHGXOH$

        7KHHQIRUFHGUHPRYDORI DQ\H[LVWLQJVWUXFWXUHRQWKH /DQG RWKHU WKDQDERXQGDU\ZDOO
           RUIHQFH EHFDXVHLWHQFURDFKHVRQWRDGMRLQLQJODQGRURQWRDQ\HDVHPHQWV

        7KHIDLOXUHRIWKH7LWOHE\UHDVRQRIDULJKWRIILUVWUHIXVDOWRSXUFKDVHWKH/DQGZKLFKZDV
           H[HUFLVHGRUFRXOGKDYHEHHQH[HUFLVHGDW'DWHRI3ROLF\

 7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
 RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
 HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


 >:LWQHVVFODXVHRSWLRQDO@




 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\

 %<                           B                




 $/7$(QGRUVHPHQW)RUP
 3ODQQHG8QLW'HYHORSPHQW  5HY 
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 64 of 807


(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB          
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\


 7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI

        3UHVHQW YLRODWLRQV RI DQ\UHVWULFWLYHFRYHQDQWV UHIHUUHGWR LQ 6FKHGXOH %WKDW UHVWULFWWKH
           XVHRIWKH/DQGRUWKHIRUIHLWXUHRUUHYHUVLRQRI7LWOHE\UHDVRQRIDQ\SURYLVLRQFRQWDLQHG
           LQWKHUHVWULFWLYHFRYHQDQWV$VXVHGLQWKLVSDUDJUDSKWKHZRUGV³UHVWULFWLYHFRYHQDQWV´
           GRQRWUHIHUWRRULQFOXGHDQ\FRYHQDQWFRQGLWLRQRUUHVWULFWLRQ D UHODWLQJWRREOLJDWLRQV
           RIDQ\W\SHWRSHUIRUPPDLQWHQDQFHUHSDLURUUHPHGLDWLRQRQWKH/DQGRU E SHUWDLQLQJ
           WR HQYLURQPHQWDO SURWHFWLRQ RI DQ\ NLQG RU QDWXUH LQFOXGLQJ KD]DUGRXV RU WR[LF PDWWHUV
           FRQGLWLRQV RU VXEVWDQFHV H[FHSW WR WKH H[WHQW WKDW D QRWLFH RI D YLRODWLRQ RU DOOHJHG
           YLRODWLRQ DIIHFWLQJ WKH /DQG KDV EHHQ UHFRUGHG LQ WKH 3XEOLF 5HFRUGV DW 'DWH RI 3ROLF\
           DQGLVQRWH[FHSWHGLQ6FKHGXOH%

        $Q\ FKDUJHV RU DVVHVVPHQWV LQ IDYRU RI DQ\ DVVRFLDWLRQ RI KRPHRZQHUV ZKLFK DUH
           SURYLGHGIRULQDQ\GRFXPHQWUHIHUUHGWRLQ6FKHGXOH%GXHDQGXQSDLGDW'DWHRI3ROLF\

        7KHHQIRUFHGUHPRYDORIDQ\H[LVWLQJVWUXFWXUHRQWKH/DQG RWKHUWKDQDERXQGDU\ZDOO
           RUIHQFH EHFDXVHLWHQFURDFKHVRQWRDGMRLQLQJODQGRURQWRDQ\HDVHPHQWV

        7KHIDLOXUHRIWKH7LWOHE\UHDVRQRIDULJKWRIILUVWUHIXVDOWRSXUFKDVHWKH/DQGWKDWZDV
           H[HUFLVHGRUFRXOGKDYHEHHQH[HUFLVHGDW'DWHRI3ROLF\

 7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
 RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
 HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


 >:LWQHVVFODXVHRSWLRQDO@




 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\

 %<                           B                




 $/7$(QGRUVHPHQW)RUP
 3ODQQHG8QLW'HYHORSPHQW  5HY 
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 65 of 807


                                     9$5,$%/(5$7(0257*$*(
                                $/7$  DQG 

 7KHVH HQGRUVHPHQWV ZHUH FUHDWHG WR LQVXUH WKH YDOLGLW\ DQG SULRULW\ RI WKH PRUWJDJH OLHQV
 VHFXULQJ ORDQV ZLWK YDULDEOH LQWHUHVW UDWHV 7KH $/7$  LV WKH EDVLF YDULDEOH LQWHUHVW UDWH
 HQGRUVHPHQW7KH$/7$LVQRWILOHGLQ&DOLIRUQLDDQGLVGHVLJQHGIRUXVHZKHUHOHQGHUVIDFH
 UHJXODWRU\UHTXLUHPHQWVZKLFKPXVWEHIROORZHGLQRUGHUWRPDNHVXFKORDQV7KH$/7$
 ZDVFUHDWHGWRLQVXUHWKHYDOLGLW\DQGSULRULW\RIPRUWJDJHOLHQVDVVHFXULW\IRULQWHUHVWDWYDULDEOH
 UDWHV DQG DV VHFXULW\ IRU DGGLWLRQDO SULQFLSDO FUHDWHG E\ WKH QHJDWLYH DPRUWL]DWLRQ RI XQSDLG
 LQWHUHVW




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 66 of 807


(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB          
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\


 7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI

        7KH LQYDOLGLW\ RU XQHQIRUFHDELOLW\ RI WKH OLHQ RI WKH ,QVXUHG 0RUWJDJH UHVXOWLQJ IURP LWV
           SURYLVLRQVWKDWSURYLGHIRUFKDQJHVLQWKHUDWHRILQWHUHVW

        /RVV RI SULRULW\ RI WKH OLHQ RI WKH ,QVXUHG 0RUWJDJH DV VHFXULW\ IRU WKH XQSDLG SULQFLSDO
           EDODQFHRI WKHORDQWRJHWKHUZLWKLQWHUHVWDVFKDQJHG LQDFFRUGDQFH ZLWKWKHSURYLVLRQV
           RI WKH ,QVXUHG 0RUWJDJH ZKLFK ORVV RI SULRULW\ LV FDXVHG E\ WKH FKDQJHV LQ WKH UDWH RI
           LQWHUHVW

 &KDQJHVLQWKHUDWHRILQWHUHVWDVXVHGLQWKLVHQGRUVHPHQWVKDOOPHDQRQO\WKRVHFKDQJHVLQ
 WKHUDWHRILQWHUHVWFDOFXODWHGSXUVXDQWWRWKHIRUPXODSURYLGHGLQWKHGRFXPHQWVVHFXUHGE\WKH
 ,QVXUHG0RUWJDJHDW'DWHRI3ROLF\

 7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJHEDVHGXSRQ

                  XVXU\RU

                  DQ\FRQVXPHUFUHGLWSURWHFWLRQRUWUXWKLQOHQGLQJODZ

 7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
 RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
 HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


 >:LWQHVVFODXVHRSWLRQDO@
 '$7('
 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\
 %<B                     B
     $87+25,=('6,*1$725<




 $/7$(QGRUVHPHQW)RUP
 9DULDEOH5DWH  5HY 
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 67 of 807



)RUXVHZLWKSROLFLHVRUROGHU


(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB          
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\

 7KH &RPSDQ\ LQVXUHV WKH RZQHU RI WKH LQGHEWHGQHVV VHFXUHG E\ WKH LQVXUHG PRUWJDJH
 DJDLQVW ORVV RU GDPDJHVXVWDLQHGE\UHDVRQRI


         7KHLQYDOLGLW\RUXQHQIRUFHDELOLW\RIWKHOLHQRIWKHLQVXUHGPRUWJDJHUHVXOWLQJIURPWKH
            SURYLVLRQV WKHUHLQZKLFKSURYLGHIRUFKDQJHVLQWKHUDWHRILQWHUHVW


         /RVV RI SULRULW\ RI WKH OLHQ RI WKH LQVXUHG PRUWJDJH DV VHFXULW\ IRU WKH XQSDLG SULQFLSDO
            EDODQFHRIWKH ORDQWRJHWKHUZLWKLQWHUHVWDVFKDQJHGLQDFFRUGDQFHZLWKWKHSURYLVLRQV
            RI WKH LQVXUHG PRUWJDJH ZKLFK ORVV RI SULRULW\ LV FDXVHG E\ WKH FKDQJHV LQ WKH UDWH RI
            LQWHUHVW


 ³&KDQJHVLQWKHUDWHRILQWHUHVW´DVXVHGLQWKLVHQGRUVHPHQWVKDOOPHDQRQO\WKRVHFKDQJHVLQ
 WKHUDWHRI LQWHUHVWFDOFXODWHGSXUVXDQWWRWKHIRUPXODSURYLGHGLQWKHLQVXUHGPRUWJDJHDW'DWHRI
 3ROLF\


 7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJHE\UHDVRQRIWKHIDLOXUHRIWKHLQVXUHG
 WRFRPSO\ ZLWKWKHIROORZLQJVWDWXWHVRUUHJXODWLRQVFRQFHUQLQJYDULDEOHUDWHPRUWJDJHV


 7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJHEDVHGXSRQ D XVXU\RU E DQ\
 FRQVXPHUFUHGLW SURWHFWLRQRUWUXWKLQOHQGLQJODZ


 7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW L 
 PRGLI\DQ\RI WKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV LLL 
 H[WHQGWKH'DWHRI3ROLF\RU
  LY  LQFUHDVH WKH $PRXQW RI ,QVXUDQFH 7R WKH H[WHQW D SURYLVLRQ RI WKH SROLF\ RU D SUHYLRXV
 HQGRUVHPHQWLV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV HQGRUVHPHQW WKLV HQGRUVHPHQW
 FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQWLVVXEMHFWWRDOORIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\
 DQGRIDQ\SULRUHQGRUVHPHQWV

 >:LWQHVVFODXVHRSWLRQDO@
 '$7('
 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\
 %<B                     B
     $87+25,=('6,*1$725<

 $/7$(QGRUVHPHQW)RUP
 9DULDEOH5DWH0RUWJDJH   
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ

© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 68 of 807


(1'256(0(17
                                           $WWDFKHGWR3ROLF\1RB         
                                                     ,VVXHGE\
                                              &KLFDJR7LWOH,QVXUDQFH
                                                     &RPSDQ\


 7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI

        7KH LQYDOLGLW\ RU XQHQIRUFHDELOLW\ RI WKH OLHQ RI WKH ,QVXUHG 0RUWJDJH UHVXOWLQJ IURP LWV
           SURYLVLRQVWKDWSURYLGHIRU D LQWHUHVWRQLQWHUHVW E FKDQJHVLQWKHUDWHRILQWHUHVWRU F 
           WKHDGGLWLRQRIXQSDLGLQWHUHVWWRWKHSULQFLSDOEDODQFHRIWKHORDQ

        /RVVRISULRULW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJHDVVHFXULW\IRUWKHSULQFLSDOEDODQFHRI
           WKH ORDQ LQFOXGLQJ DQ\ XQSDLG LQWHUHVW ZKLFK ZDV DGGHG WR SULQFLSDO LQ DFFRUGDQFH ZLWK
           WKH SURYLVLRQV RI WKH ,QVXUHG 0RUWJDJH LQWHUHVW RQ LQWHUHVW RU LQWHUHVW DV FKDQJHG LQ
           DFFRUGDQFHZLWKWKHSURYLVLRQV RIWKH,QVXUHG0RUWJDJHZKLFK ORVVRISULRULW\LV FDXVHG
           E\ D  FKDQJHV LQ WKH UDWH RI LQWHUHVW E  LQWHUHVW RQ LQWHUHVW RU F  LQFUHDVHV LQ WKH
           XQSDLGSULQFLSDOEDODQFHRIWKHORDQUHVXOWLQJIURPWKHDGGLWLRQRIXQSDLGLQWHUHVW

 &KDQJHVLQWKHUDWHRILQWHUHVWDVXVHGLQWKLVHQGRUVHPHQWVKDOOPHDQRQO\WKRVHFKDQJHVLQ
 WKHUDWHRILQWHUHVWFDOFXODWHGSXUVXDQWWRWKHIRUPXODSURYLGHGLQWKHORDQGRFXPHQWVVHFXUHGE\
 WKH,QVXUHG0RUWJDJHDW'DWHRI3ROLF\

 7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJHEDVHGXSRQ

                  XVXU\RU

                  DQ\FRQVXPHUFUHGLWSURWHFWLRQRUWUXWKLQOHQGLQJODZ

 7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
 RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
 HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


 >:LWQHVVFODXVHRSWLRQDO@
 '$7('
 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\
 %<B                     B
     $87+25,=('6,*1$725<




 $/7$(QGRUVHPHQW)RUP
 9DULDEOH5DWH1HJDWLYH$PRUWL]DWLRQ  5HY 
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
    Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 69 of 807



                                    0$18)$&785('+286,1*
                     $/7$    DQG  

    7KHVHHQGRUVHPHQWVFODULI\ZKHWKHURUQRWDPDQXIDFWXUHGKRXVLQJXQLW ³0+8´ ORFDWHGRQWKH
    /DQGLVFRYHUHGE\WKHLQVXUDQFHSROLF\7KH$/7$DGGVWKH0+8WRWKHGHILQLWLRQRI/DQG
    ,QDGGLWLRQWKH$/7$DQGWKH$/7$LQVXUHDJDLQVWORVVRUGDPDJHLIWKH0+8LVQRW
    ORFDWHGRQWKHVXEMHFWSUHPLVHVLIWKHUHDUH8&&W\SHOLHQVILOHGDJDLQVWWKH0+8DQGLIWKH0+8
    GRHVQRWFRQVWLWXWHUHDOSURSHUW\XQGHUVWDWHODZ7KH$/7$ZKLFKLVWKHIRUPWREHXVHG
    ZLWKD/RDQ3ROLF\DOVRLQVXUHVWKDWWKH,QVXUHG0RUWJDJHFDQEHHQIRUFHGLQDVLQJOHIRUHFORVXUH
    DFWLRQDJDLQVWERWKWKH0+8DQGWKH/DQG




                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           

© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 70 of 807


(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB          
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\


 7KH WHUP/DQGLQFOXGHV WKH PDQXIDFWXUHG KRXVLQJ XQLWORFDWHG RQ WKHODQG GHVFULEHGLQ
 6FKHGXOH$DW'DWHRI3ROLF\

           7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
 RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
 HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


 >:LWQHVVFODXVHRSWLRQDO@
 '$7('
 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\
 %<B                     B
     $87+25,=('6,*1$725<




 $/7$(QGRUVHPHQW)RUP
 0DQXIDFWXUHG+RXVLQJ8QLW   
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 71 of 807


(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB          
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\


        7KHWHUP/DQGDVGHILQHGLQWKLVSROLF\LQFOXGHVWKHPDQXIDFWXUHGKRXVLQJXQLWORFDWHG
           RQWKHODQGGHVFULEHGLQ6FKHGXOH$DW'DWHRI3ROLF\

        8QOHVVH[FHSWHGLQ6FKHGXOH%WKH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHG
           E\WKH,QVXUHGLIDW'DWHRI3ROLF\

            D       $PDQXIDFWXUHGKRXVLQJXQLWLVQRWORFDWHGRQWKHODQGGHVFULEHGLQ6FKHGXOH$

            E       7KHPDQXIDFWXUHGKRXVLQJXQLWORFDWHGRQWKHODQGLVQRWUHDOSURSHUW\XQGHUWKH
                     ODZRIWKHVWDWHZKHUHWKH/DQGGHVFULEHGLQ6FKHGXOH$LVORFDWHG

            F       7KHRZQHURIWKH/DQGLVQRWWKHRZQHURIWKHPDQXIDFWXUHGKRXVLQJXQLW

            G       $Q\ OLHQ LV DWWDFKHG WR WKH PDQXIDFWXUHG KRXVLQJ XQLW DV SHUVRQDO SURSHUW\
                     LQFOXGLQJ

                     L       DIHGHUDOVWDWHRURWKHUJRYHUQPHQWDOWD[OLHQ

                     LL      8&&VHFXULW\LQWHUHVW

                     LLL     DPRWRUYHKLFXODUOLHQ

                     LY      RWKHUSHUVRQDOSURSHUW\OLHQ

            H       7KHOLHQRIWKH,QVXUHG0RUWJDJHLVQRWHQIRUFHDEOHDJDLQVWWKH/DQG

            I       7KH OLHQ RI WKH ,QVXUHG 0RUWJDJH LV QRW HQIRUFHDEOH LQ D VLQJOH IRUHFORVXUH
                     SURFHGXUH

 7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
 RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
 HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV
 
 >:LWQHVVFODXVHRSWLRQDO@
 '$7('
 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\
 %<B                     B
     $87+25,=('6,*1$725<


 
 $/7$(QGRUVHPHQW)RUP
 0DQXIDFWXUHG+RXVLQJ±&RQYHUVLRQ/RDQ   
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 72 of 807


(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB          
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\


        7KHWHUP/DQGDVGHILQHGLQWKLVSROLF\LQFOXGHVWKHPDQXIDFWXUHGKRXVLQJXQLWORFDWHG
           RQWKHODQGGHVFULEHGLQ6FKHGXOH$DW'DWHRI3ROLF\

        8QOHVVH[FHSWHGLQ6FKHGXOH%WKH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHG
           E\WKH,QVXUHGLIDW'DWHRI3ROLF\

            D       $PDQXIDFWXUHGKRXVLQJXQLWLVQRWORFDWHGRQWKH/DQGGHVFULEHGLQ6FKHGXOH$

            E       7KHPDQXIDFWXUHGKRXVLQJXQLWORFDWHGRQWKH/DQGLVQRWUHDOSURSHUW\XQGHUWKH
                     ODZRIWKHVWDWHZKHUHWKH/DQGGHVFULEHGLQ6FKHGXOH$LVORFDWHG

            F       7KH,QVXUHGLVQRWWKHRZQHURIWKHPDQXIDFWXUHGKRXVLQJXQLW

            G       $Q\ OLHQ LV DWWDFKHG WR WKH PDQXIDFWXUHG KRXVLQJ XQLW DV SHUVRQDO SURSHUW\
                     LQFOXGLQJ

                     L       DIHGHUDOVWDWHRURWKHUJRYHUQPHQWDOWD[OLHQ

                     LL      8&&VHFXULW\LQWHUHVW

                     LLL     DPRWRUYHKLFXODUOLHQ

                     LY      RWKHUSHUVRQDOSURSHUW\OLHQ

 7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
 RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
 HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


 >:LWQHVVFODXVHRSWLRQDO@
 '$7('
 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\
 %<B                     B
     $87+25,=('6,*1$725<



 $/7$(QGRUVHPHQW)RUP
 0DQXIDFWXUHG+RXVLQJ±&RQYHUVLRQ2ZQHUV   
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 73 of 807



 
          (19,5210(17$/3527(&7,21/,(1&200(5&,$/(19,5210(17$//,(1
                               $/7$  DQG  
 
 7KHVH HQGRUVHPHQWV SURYLGH DIILUPDWLYH LQVXUDQFH WKDW WKH OLHQ RI WKH ,QVXUHG 0RUWJDJH KDV
 SULRULW\RYHUXQUHFRUGHGRUXQILOHGHQYLURQPHQWDOSURWHFWLRQOLHQV




 




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 74 of 807


(1'256(0(17
                                             $WWDFKHGWR3ROLF\1RB       
                                                       ,VVXHGE\
                                                &KLFDJR7LWOH,QVXUDQFH
                                                       &RPSDQ\

        7KHLQVXUDQFHDIIRUGHGE\WKLVHQGRUVHPHQWLVRQO\HIIHFWLYHLIWKH/DQGLVXVHGRULVWR
 EHXVHGSULPDULO\IRUUHVLGHQWLDOSXUSRVHV

           7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRIODFN
 RISULRULW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJHRYHU

            D       DQ\ HQYLURQPHQWDO SURWHFWLRQ OLHQ WKDW DW 'DWH RI 3ROLF\ LV UHFRUGHG LQ WKRVH
                     UHFRUGV HVWDEOLVKHG XQGHU VWDWH VWDWXWHV DW 'DWH RI 3ROLF\ IRU WKH SXUSRVH RI
                     LPSDUWLQJFRQVWUXFWLYHQRWLFHRIPDWWHUVUHODWLQJWRUHDOSURSHUW\WRSXUFKDVHUVIRU
                     YDOXHDQG ZLWKRXWNQRZOHGJHRULVILOHGLQWKHUHFRUGVRIWKHFOHUNRIWKH8QLWHG
                     6WDWHV GLVWULFW FRXUW IRU WKH GLVWULFW LQ ZKLFK WKH /DQG LV ORFDWHG H[FHSW DV VHW
                     IRUWKLQ6FKHGXOH%RU

            E       DQ\HQYLURQPHQWDOSURWHFWLRQ OLHQ SURYLGHGE\DQ\VWDWHVWDWXWH LQHIIHFWDW 'DWH
                     RI 3ROLF\ H[FHSW HQYLURQPHQWDO SURWHFWLRQ OLHQV SURYLGHG E\ WKH IROORZLQJ VWDWH
                     VWDWXWHV

                     ),//,1

 7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
 RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
 HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


 >:LWQHVVFODXVHRSWLRQDO@
 '$7('
 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\
 %<B                     B
     $87+25,=('6,*1$725<




 $/7$(QGRUVHPHQW)RUP
 (QYLURQPHQWDO3URWHFWLRQ/LHQ   
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 75 of 807


(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB          
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\


          7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRIDQ
 HQYLURQPHQWDOSURWHFWLRQOLHQWKDWDW'DWHRI3ROLF\LVUHFRUGHGLQWKH3XEOLF5HFRUGVRUILOHGLQ
 WKH UHFRUGV RI WKH FOHUN RI WKH 8QLWHG 6WDWHV GLVWULFW FRXUW IRU WKH GLVWULFW LQ ZKLFK WKH /DQG LV
 ORFDWHGXQOHVVWKHHQYLURQPHQWDOSURWHFWLRQOLHQLVVHWIRUWKDVDQH[FHSWLRQLQ6FKHGXOH%

           7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
 RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
 HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


 >:LWQHVVFODXVHRSWLRQDO@
 '$7('
 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\
 %<B                     B
     $87+25,=('6,*1$725<




 $/7$(QGRUVHPHQW)RUP
 &RPPHUFLDO(QYLURQPHQWDO/LHQ   
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
              Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 76 of 807


              
                                                           ALTA 9
                                                          SERIES 9
                                                    ALTA 9-06 to 9.10-06
                                  [ALTA 9.4-06 AND 9.5-06 WITHDRAWN EFFECTIVE 4/2/2012]


              ,W LV FRPPRQ IRU LQVWLWXWLRQDO OHQGHUV WR UHTXLUH FHUWDLQ DGGLWLRQDO WLWOH LQVXUDQFH FRYHUDJHV IRU
              ORDQVVHFXUHGE\ILUVWPRUWJDJHVRQLPSURYHGUHDOSURSHUW\ZKHQWKHVHPRUWJDJHVDUHWREHVROG
              RQWKHVHFRQGDU\PDUNHW7KHRULJLQDO$/7$)RUPZDVGHVLJQHGWRSURYLGHWKRVHFRYHUDJHVLQD
              VLQJOH LQFOXVLYH IRUP ,W DIIRUGHG WKH OHQGHU YDULRXV SURWHFWLRQV ZLWK UHVSHFW WR SULYDWH SURSHUW\
              UHVWULFWLRQV EXLOGLQJ VHWEDFN OLQHV HQFURDFKPHQWV DQG H[FHSWHG PLQHUDOV )RUPV IRU XVH ZLWK
              RZQHU¶VSROLFLHVZHUHVXEVHTXHQWO\DGRSWHGDOVR
              
              ,QDQG$/7$FRPSOHWHO\UHYLVHGDOORIWKHHQGRUVHPHQWVLQWKHVHULHVZLWKGUDZLQJWKH
              DQGDQGDGGLQJQHZIRUPVWKHDQG
          

                                         $/7$6HULHV6XPPDU\
              $FWXDO(QGRUVHPHQW$YDLODELOLW\'HSHQGV8SRQ&DVHE\&DVH7LWOH,QVXUHU¶V8QGHUZULWLQJ
                                                    $QDO\VLV


        &RYHUDJH                         /RDQ3ROLF\                                      2ZQHUV3ROLF\
         5HTXHVWHG
                                           8VH                                            7RJHWWKLVFRYHUDJHIRU
                                             $/7$ïIRUH[LVWLQJ                          YDFDQWODQGFRPELQH$/7$
    $   5HVWULFWLRQV                      LPSURYHPHQWV                                   ï$/7$ðDQG$/7$
    /   (QFURDFKPHQWV                     $/7$ïIRU/DQGXQGHU                      
                                             'HYHORSPHQWDQG                                LPSURYHGODQGFRPELQH$/7$
    7   0LQHUDOV                           $/7$ïZKHUHD                            ï$/7$ðDQG$/7$
    $                                       SRVVLELOLW\RIIRUIHLWXUHH[LVWVEXW             
                                             WKHUHLVQRFXUUHQWYLRODWLRQ               
     
                                           8VH                                8VH
                                           $/7$ï ,WKDVWKHVDPH       $/7$ïIRUXQLPSURYHG
        &RYHQDQWV                         FRYHUDJHDV6HFWLRQRIWKH$/7$   ODQG
    6   &RQGLWLRQV                        VRWKH$/7$LVPRUH      $/7$ïDYDLODEOHIRU
                                             LQFOXVLYHZLWKLWVHQFURDFKPHQW     LPSURYHG/DQGRU
    (   5HVWULFWLRQV                       DQGPLQHUDOFRYHUDJHVLQ6HFWLRQ    $/7$ðIRU/DQG8QGHU
                                                                             'HYHORSPHQW
    5
                                           8VH                                             8VH
    ,
                                            $/7$ $SULYDWHFKDUJHRU                  $/7$ $QRSWLRQULJKW
    (   3ULYDWH5LJKWV                    DVVHVVPHQWRSWLRQULJKWRIILUVW                RIILUVWUHIXVDORUULJKWRISULRU
    6                                      UHIXVDORUULJKWRISULRUDSSURYDO               DSSURYDO 


          © 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 77 of 807

(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB          
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\

  7KHLQVXUDQFHSURYLGHGE\WKLVHQGRUVHPHQWLVVXEMHFWWRWKHH[FOXVLRQVLQ6HFWLRQRIWKLV
     HQGRUVHPHQWDQGWKH([FOXVLRQVIURP&RYHUDJHWKH([FHSWLRQVIURP&RYHUDJHFRQWDLQHGLQ
     6FKHGXOH%DQGWKH&RQGLWLRQVLQWKHSROLF\
  )RUWKHSXUSRVHVRIWKLVHQGRUVHPHQWRQO\
      D ³&RYHQDQW´PHDQVDFRYHQDQWFRQGLWLRQOLPLWDWLRQRUUHVWULFWLRQLQDGRFXPHQWRU
          LQVWUXPHQWLQHIIHFWDW'DWHRI3ROLF\
      E ³,PSURYHPHQW´PHDQVDQLPSURYHPHQWLQFOXGLQJDQ\ODZQVKUXEEHU\RUWUHHVDIIL[HGWR
          HLWKHUWKH/DQGRUDGMRLQLQJODQGDW'DWHRI3ROLF\WKDWE\ODZFRQVWLWXWHVUHDOSURSHUW\
  7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI
      D $YLRODWLRQRID&RYHQDQWWKDW
                           L GLYHVWVVXERUGLQDWHVRUH[WLQJXLVKHVWKHOLHQRIWKH,QVXUHG0RUWJDJH
                          LL UHVXOWVLQWKHLQYDOLGLW\XQHQIRUFHDELOLW\RUODFNRISULRULW\RIWKHOLHQRIWKH
                               ,QVXUHG0RUWJDJHRU
                         LLL FDXVHVDORVVRIWKH,QVXUHG¶V7LWOHDFTXLUHGLQVDWLVIDFWLRQRUSDUWLDO
                               VDWLVIDFWLRQRIWKH,QGHEWHGQHVV
      E $YLRODWLRQRQWKH/DQGDW'DWHRI3ROLF\RIDQHQIRUFHDEOH&RYHQDQWXQOHVVDQ
          H[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\LGHQWLILHVWKHYLRODWLRQ
      F (QIRUFHGUHPRYDORIDQ,PSURYHPHQWORFDWHGRQWKH/DQGDVDUHVXOWRIDYLRODWLRQDW
          'DWHRI3ROLF\RIDEXLOGLQJVHWEDFNOLQHVKRZQRQDSODWRIVXEGLYLVLRQUHFRUGHGRUILOHG
          LQWKH3XEOLF5HFRUGVXQOHVVDQH[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\LGHQWLILHVWKH
          YLRODWLRQRU
      G $QRWLFHRIDYLRODWLRQUHFRUGHGLQWKH3XEOLF5HFRUGVDW'DWHRI3ROLF\RIDQHQIRUFHDEOH
          &RYHQDQWUHODWLQJWRHQYLURQPHQWDOSURWHFWLRQGHVFULELQJDQ\SDUWRIWKH/DQGDQG
          UHIHUULQJWRWKDW&RYHQDQWEXWRQO\WRWKHH[WHQWRIWKHYLRODWLRQRIWKH&RYHQDQWUHIHUUHG
          WRLQWKDWQRWLFHXQOHVVDQH[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\LGHQWLILHVWKHQRWLFHRI
          WKHYLRODWLRQ
  7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\UHDVRQRI
      D $QHQFURDFKPHQWRI
                L DQ,PSURYHPHQWORFDWHGRQWKH/DQGDW'DWHRI3ROLF\RQWRDGMRLQLQJODQGRU
                RQWRWKDWSRUWLRQRIWKH/DQGVXEMHFWWRDQHDVHPHQWRU
                LL DQ,PSURYHPHQWORFDWHGRQDGMRLQLQJODQGRQWRWKH/DQGDW'DWHRI3ROLF\
 XQOHVVDQH[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\LGHQWLILHVWKHHQFURDFKPHQWRWKHUZLVHLQVXUHG
 DJDLQVWLQ6HFWLRQVDLRUDLL
      E $ILQDOFRXUWRUGHURUMXGJPHQWUHTXLULQJWKHUHPRYDOIURPDQ\ODQGDGMRLQLQJWKH/DQGRI
          DQHQFURDFKPHQWLGHQWLILHGLQ6FKHGXOH%RU
      F 'DPDJHWRDQ,PSURYHPHQWORFDWHGRQWKH/DQGDW'DWHRI3ROLF\
              L WKDWLVORFDWHGRQRUHQFURDFKHVRQWRWKDWSRUWLRQRIWKH/DQGVXEMHFWWRDQ
           HDVHPHQWH[FHSWHGLQ6FKHGXOH%ZKLFKGDPDJHUHVXOWVIURPWKHH[HUFLVHRIWKHULJKWWR
           PDLQWDLQWKHHDVHPHQWIRUWKHSXUSRVHIRUZKLFKLWZDVJUDQWHGRUUHVHUYHGRU




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 78 of 807




                     LL     UHVXOWLQJIURPWKHIXWXUHH[HUFLVHRIDULJKWWRXVHWKHVXUIDFHRIWKH/DQG
                     IRUWKHH[WUDFWLRQRUGHYHORSPHQWRIPLQHUDOVRUDQ\RWKHUVXEVXUIDFHVXEVWDQFHV
                     H[FHSWHGIURPWKHGHVFULSWLRQRIWKH/DQGRUH[FHSWHGLQ6FKHGXOH%
  7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJH DQGWKH&RPSDQ\ZLOOQRWSD\
     FRVWVDWWRUQH\V IHHVRUH[SHQVHV UHVXOWLQJIURP
      D DQ\&RYHQDQWFRQWDLQHGLQDQLQVWUXPHQWFUHDWLQJDOHDVH
      E DQ\&RYHQDQWUHODWLQJWRREOLJDWLRQVRIDQ\W\SHWRSHUIRUPPDLQWHQDQFHUHSDLU
          RUUHPHGLDWLRQRQWKH/DQG
      F H[FHSWDVSURYLGHGLQ6HFWLRQGDQ\&RYHQDQWUHODWLQJWRHQYLURQPHQWDOSURWHFWLRQRI
          DQ\NLQGRUQDWXUHLQFOXGLQJKD]DUGRXVRUWR[LFPDWWHUVFRQGLWLRQVRUVXEVWDQFHV
      G FRQWDPLQDWLRQH[SORVLRQILUHIUDFWXULQJYLEUDWLRQHDUWKTXDNHRUVXEVLGHQFHRU
      H QHJOLJHQFHE\DSHUVRQRUDQ(QWLW\H[HUFLVLQJDULJKWWRH[WUDFWRUGHYHORSPLQHUDOVRU
          RWKHUVXEVXUIDFHVXEVWDQFHV
 7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW
   L PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV
   LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
 RIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLV
 HQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV
 
 >:LWQHVVFODXVHRSWLRQDO@ 
 '$7('
 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\
 %<B                       B
         $87+25,=('6,*1$725<
 




 $/7$(QGRUVHPHQW)RUP
 5HVWULFWLRQV(QFURDFKPHQWV0LQHUDOV/RDQ3ROLF\  5HY 
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 79 of 807


(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB          
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\

       7KHLQVXUDQFHSURYLGHGE\WKLVHQGRUVHPHQWLVVXEMHFWWRWKHH[FOXVLRQV LQ 6HFWLRQRI
 WKLVHQGRUVHPHQWDQGWKH([FOXVLRQVIURP&RYHUDJHWKH([FHSWLRQVIURP&RYHUDJHFRQWDLQHGLQ
 6FKHGXOH%DQGWKH&RQGLWLRQVLQWKHSROLF\
       )RU WKH SXUSRVHV RI WKLV HQGRUVHPHQW RQO\ ³&RYHQDQW´ PHDQV D FRYHQDQW FRQGLWLRQ
 OLPLWDWLRQRUUHVWULFWLRQLQDGRFXPHQWRULQVWUXPHQWLQHIIHFWDW'DWHRI3ROLF\
       7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI
            D $ YLRODWLRQ RQ WKH /DQG DW 'DWH RI 3ROLF\ RI DQ HQIRUFHDEOH &RYHQDQW XQOHVV DQ
                H[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\LGHQWLILHVWKHYLRODWLRQRU
            E $ QRWLFH RI D YLRODWLRQ UHFRUGHG LQ WKH 3XEOLF 5HFRUGV DW 'DWH RI 3ROLF\ RI DQ
                HQIRUFHDEOH&RYHQDQWUHODWLQJWRHQYLURQPHQWDOSURWHFWLRQGHVFULELQJDQ\SDUWRIWKH
                /DQG DQG UHIHUULQJ WR WKDW &RYHQDQW EXW RQO\ WR WKH H[WHQW RI WKH YLRODWLRQ RI WKH
                &RYHQDQWUHIHUUHGWRLQWKDWQRWLFHXQOHVVDQH[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\
                LGHQWLILHVWKHQRWLFHRIWKHYLRODWLRQ
       7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJH DQGWKH&RPSDQ\ZLOOQRWSD\
 FRVWVDWWRUQH\V IHHVRUH[SHQVHV UHVXOWLQJIURP
            D DQ\&RYHQDQWFRQWDLQHGLQDQLQVWUXPHQWFUHDWLQJDOHDVH
            E DQ\&RYHQDQWUHODWLQJWRREOLJDWLRQVRIDQ\W\SHWRSHUIRUPPDLQWHQDQFH
                 UHSDLURUUHPHGLDWLRQRQWKH/DQGRU
            F H[FHSW DV SURYLGHG LQ 6HFWLRQ E DQ\&RYHQDQW UHODWLQJ WR HQYLURQPHQWDO
 SURWHFWLRQRIDQ\NLQGRUQDWXUHLQFOXGLQJKD]DUGRXVRUWR[LFPDWWHUVFRQGLWLRQVRUVXEVWDQFHV

 7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
 RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
 HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

 >:LWQHVVFODXVHRSWLRQDO@
 '$7('
 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\
 %<B                   B
     $87+25,=('6,*1$725<



 $/7$(QGRUVHPHQW)RUP
 &RYHQDQWV&RQGLWLRQVDQG5HVWULFWLRQV8QLPSURYHG/DQG±2ZQHU V3ROLF\±  5HY 
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 80 of 807


(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB           
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\

            7KHLQVXUDQFHSURYLGHGE\WKLVHQGRUVHPHQWLVVXEMHFWWRWKHH[FOXVLRQVLQ6HFWLRQ
               RIWKLVHQGRUVHPHQWDQGWKH([FOXVLRQVIURP&RYHUDJHWKH([FHSWLRQVIURP
               &RYHUDJHFRQWDLQHGLQ6FKHGXOH%DQGWKH&RQGLWLRQVLQWKHSROLF\
            )RUWKHSXUSRVHVRIWKLVHQGRUVHPHQWRQO\
               D ³&RYHQDQW´PHDQVDFRYHQDQWFRQGLWLRQOLPLWDWLRQRUUHVWULFWLRQLQDGRFXPHQWRU
                    LQVWUXPHQWLQHIIHFWDW'DWHRI3ROLF\
               E ³,PSURYHPHQW´PHDQVDEXLOGLQJVWUXFWXUHORFDWHGRQWKHVXUIDFHRIWKH/DQG
                    URDGZDONZD\GULYHZD\RUFXUEDIIL[HGWRWKH/DQGDW'DWHRI3ROLF\DQGWKDW
                    E\ODZFRQVWLWXWHVUHDOSURSHUW\EXWH[FOXGLQJDQ\FURSVODQGVFDSLQJODZQ
                    VKUXEEHU\RUWUHHV
            7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI
               D $YLRODWLRQRQWKH/DQGDW'DWHRI3ROLF\RIDQHQIRUFHDEOH&RYHQDQWXQOHVVDQ
                    H[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\LGHQWLILHVWKHYLRODWLRQ
               E (QIRUFHGUHPRYDORIDQ,PSURYHPHQWDVDUHVXOWRIDYLRODWLRQDW'DWHRI3ROLF\
                    RIDEXLOGLQJVHWEDFNOLQHVKRZQRQDSODWRIVXEGLYLVLRQUHFRUGHGRUILOHGLQWKH
                    3XEOLF5HFRUGVXQOHVVDQH[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\LGHQWLILHVWKH
                    YLRODWLRQRU
               F $QRWLFHRIDYLRODWLRQUHFRUGHGLQWKH3XEOLF5HFRUGVDW'DWHRI3ROLF\RIDQ
                    HQIRUFHDEOH&RYHQDQWUHODWLQJWRHQYLURQPHQWDOSURWHFWLRQGHVFULELQJDQ\SDUWRI
                    WKH/DQGDQGUHIHUULQJWRWKDW&RYHQDQWEXWRQO\WRWKHH[WHQWRIWKHYLRODWLRQRI
                    WKH&RYHQDQWUHIHUUHGWRLQWKDWQRWLFHXQOHVVDQH[FHSWLRQLQ6FKHGXOH%RIWKH
                    SROLF\LGHQWLILHVWKHQRWLFHRIWKHYLRODWLRQ
            7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJH DQGWKH&RPSDQ\ZLOOQRW
               SD\FRVWVDWWRUQH\V IHHVRUH[SHQVHV UHVXOWLQJIURP
               D DQ\&RYHQDQWFRQWDLQHGLQDQLQVWUXPHQWFUHDWLQJDOHDVH
               E DQ\&RYHQDQWUHODWLQJWRREOLJDWLRQVRIDQ\W\SHWRSHUIRUPPDLQWHQDQFHUHSDLU
                    RUUHPHGLDWLRQRQWKH/DQGRU
               F H[FHSWDVSURYLGHGLQ6HFWLRQFDQ\&RYHQDQWUHODWLQJWRHQYLURQPHQWDO
                    SURWHFWLRQRIDQ\NLQGRUQDWXUHLQFOXGLQJKD]DUGRXVRUWR[LFPDWWHUVFRQGLWLRQV
                    RUVXEVWDQFHV

            7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW
   L PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV
   LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
 RIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLV
 HQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV
 
 >:LWQHVVFODXVHRSWLRQDO@
 '$7('
 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\
 %<B                       B
         $87+25,=('6,*1$725<


 $/7$(QGRUVHPHQW)RUP
 &RYHQDQWV&RQGLWLRQVDQG5HVWULFWLRQV±,PSURYHG/DQG2ZQHU V3ROLF\ 5HY 
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 81 of 807



(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB          
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\

  7KHLQVXUDQFHSURYLGHGE\WKLVHQGRUVHPHQWLVVXEMHFWWRWKHH[FOXVLRQVLQ6HFWLRQRIWKLV
 HQGRUVHPHQWDQGWKH([FOXVLRQVIURP&RYHUDJHWKH([FHSWLRQVIURP&RYHUDJHFRQWDLQHGLQ
 6FKHGXOH%DQGWKH&RQGLWLRQVLQWKHSROLF\
  )RUWKHSXUSRVHVRIWKLVHQGRUVHPHQWRQO\
      D ³&RYHQDQW´PHDQVDFRYHQDQWFRQGLWLRQOLPLWDWLRQRUUHVWULFWLRQLQDGRFXPHQWRU
 LQVWUXPHQWLQHIIHFWDW'DWHRI3ROLF\
     E ³,PSURYHPHQW´PHDQVDQLPSURYHPHQWLQFOXGLQJDQ\ODZQVKUXEEHU\RUWUHHVDIIL[HGWR
 WKH/DQGDW'DWHRI3ROLF\WKDWE\ODZFRQVWLWXWHVUHDOSURSHUW\
  7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI
      D $YLRODWLRQRID&RYHQDQWWKDW
                L    GLYHVWVVXERUGLQDWHVRUH[WLQJXLVKHVWKHOLHQRIWKH,QVXUHG0RUWJDJH
                LL       UHVXOWVLQWKHLQYDOLGLW\XQHQIRUFHDELOLW\RUODFNRISULRULW\RIWKHOLHQRIWKH
                           ,QVXUHG0RUWJDJHRU
                LLL FDXVHVDORVVRIWKH,QVXUHG¶V7LWOHDFTXLUHGLQVDWLVIDFWLRQRUSDUWLDOVDWLVIDFWLRQ
                      RIWKH,QGHEWHGQHVV
      E   $YLRODWLRQRQWKH/DQGDW'DWHRI3ROLF\RIDQHQIRUFHDEOH&RYHQDQWXQOHVVDQ
            H[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\LGHQWLILHVWKHYLRODWLRQ
      F   (QIRUFHGUHPRYDORIDQ,PSURYHPHQWDVDUHVXOWRIDYLRODWLRQDW'DWHRI3ROLF\RID
            EXLOGLQJVHWEDFNOLQHVKRZQRQDSODWRIVXEGLYLVLRQUHFRUGHGRUILOHGLQWKH3XEOLF
            5HFRUGVXQOHVVDQH[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\LGHQWLILHVWKHYLRODWLRQRU
     G $QRWLFHRIDYLRODWLRQUHFRUGHGLQWKH3XEOLF5HFRUGVDW'DWHRI3ROLF\RIDQHQIRUFHDEOH
 &RYHQDQWUHODWLQJWRHQYLURQPHQWDOSURWHFWLRQGHVFULELQJDQ\SDUWRIWKH/DQGDQGUHIHUULQJWRWKDW
 &RYHQDQWEXWRQO\WRWKHH[WHQWRIWKHYLRODWLRQRIWKH&RYHQDQWUHIHUUHGWRLQWKDWQRWLFHXQOHVV
 DQH[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\LGHQWLILHVWKHQRWLFHRIWKHYLRODWLRQ
  7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJH DQGWKH&RPSDQ\ZLOOQRWSD\
     FRVWVDWWRUQH\V IHHVRUH[SHQVHV UHVXOWLQJIURP
      D DQ\&RYHQDQWFRQWDLQHGLQDQLQVWUXPHQWFUHDWLQJDOHDVH
      E DQ\&RYHQDQWUHODWLQJWRREOLJDWLRQVRIDQ\W\SHWRSHUIRUPPDLQWHQDQFHUHSDLU
          RUUHPHGLDWLRQRQWKH/DQGRU




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 82 of 807




      F H[FHSWDVSURYLGHGLQ6HFWLRQFDQ\&RYHQDQWSHUWDLQLQJWRHQYLURQPHQWDOSURWHFWLRQRI
          DQ\NLQGRUQDWXUHLQFOXGLQJKD]DUGRXVRUWR[LFPDWWHUVFRQGLWLRQVRUVXEVWDQFHV
           7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
 RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
 HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

 >:LWQHVVFODXVHRSWLRQDO@ 
 '$7('
 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\
 %<B                     B
     $87+25,=('6,*1$725<
 
 

 $/7$(QGRUVHPHQW)RUP
 &RYHQDQWV&RQGLWLRQVDQG5HVWULFWLRQV/RDQ3ROLF\  5HY 
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 83 of 807



(1'256(0(17
                                              $WWDFKHGWR3ROLF\1RB      
                                                        ,VVXHGE\
                                                 &KLFDJR7LWOH,QVXUDQFH
                                                        &RPSDQ\

  7KHLQVXUDQFHSURYLGHGE\WKLVHQGRUVHPHQWLVVXEMHFWWRWKHH[FOXVLRQVLQ6HFWLRQRIWKLV
 HQGRUVHPHQWDQGWKH([FOXVLRQVIURP&RYHUDJHWKH([FHSWLRQVIURP&RYHUDJHFRQWDLQHGLQ
 6FKHGXOH%DQGWKH&RQGLWLRQVLQWKHSROLF\
  )RUSXUSRVHVRIWKLVHQGRUVHPHQWRQO\
      D ³&RYHQDQW´PHDQVDFRYHQDQWFRQGLWLRQOLPLWDWLRQRUUHVWULFWLRQLQDGRFXPHQWRU
          LQVWUXPHQWLQHIIHFWDW'DWHRI3ROLF\
      E   ³3ULYDWH5LJKW´PHDQV L DSULYDWHFKDUJHRUDVVHVVPHQW LL DQRSWLRQWRSXUFKDVH LLL 
            DULJKWRIILUVWUHIXVDORU LY DULJKWRISULRUDSSURYDORIDIXWXUHSXUFKDVHURURFFXSDQW
  7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGXQGHUWKLV/RDQ
 3ROLF\LIHQIRUFHPHQWRID3ULYDWH5LJKWLQD&RYHQDQWDIIHFWLQJWKH7LWOHDW'DWHRI3ROLF\ D 
 UHVXOWVLQWKHLQYDOLGLW\XQHQIRUFHDELOLW\RUODFNRISULRULW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJHRU
  E FDXVHVDORVVRIWKH,QVXUHG¶V7LWOHDFTXLUHGLQVDWLVIDFWLRQRUSDUWLDOVDWLVIDFWLRQRIWKH
 ,QGHEWHGQHVV
       7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJH DQGWKH&RPSDQ\ZLOOQRWSD\
 FRVWVDWWRUQH\V IHHVRUH[SHQVHV UHVXOWLQJIURP
      D DQ\&RYHQDQWFRQWDLQHGLQDQLQVWUXPHQWFUHDWLQJDOHDVH
      E DQ\&RYHQDQWUHODWLQJWRREOLJDWLRQVRIDQ\W\SHWRSHUIRUPPDLQWHQDQFHUHSDLU
          RUUHPHGLDWLRQRQWKH/DQG
      F DQ\&RYHQDQWUHODWLQJWRHQYLURQPHQWDOSURWHFWLRQRIDQ\NLQGRUQDWXUHLQFOXGLQJ
          KD]DUGRXVRUWR[LFPDWWHUVFRQGLWLRQVRUVXEVWDQFHVRU
      G DQ\3ULYDWH5LJKWLQDQLQVWUXPHQWLGHQWLILHGLQ([FHSWLRQ V                   LQ6FKHGXOH%
 7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW
  L PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
 RIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLV
 HQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

 >:LWQHVVFODXVHRSWLRQDO@
 '$7('
 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\
 %<B                     B
     $87+25,=('6,*1$725<
 
 
 $/7$(QGRUVHPHQW)RUP
 3ULYDWH5LJKWV/RDQ3ROLF\  5HY 
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 84 of 807




(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB          
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\

        7KHLQVXUDQFHSURYLGHGE\WKLVHQGRUVHPHQWLVVXEMHFWWRWKHH[FOXVLRQVLQ6HFWLRQRI
           WKLVHQGRUVHPHQWDQGWKH([FOXVLRQVIURP&RYHUDJHWKH([FHSWLRQVIURP&RYHUDJH
           FRQWDLQHGLQ6FKHGXOH%DQGWKH&RQGLWLRQVLQWKHSROLF\
        )RUSXUSRVHVRIWKLVHQGRUVHPHQWRQO\
           D     ³&RYHQDQW´PHDQVDFRYHQDQWFRQGLWLRQOLPLWDWLRQRUUHVWULFWLRQLQDGRFXPHQWRU
           LQVWUXPHQWLQHIIHFWDW'DWHRI3ROLF\
            E     ³)XWXUH,PSURYHPHQW´PHDQVDEXLOGLQJVWUXFWXUHURDGZDONZD\GULYHZD\
           FXUEODZQVKUXEEHU\RUWUHHVWREHFRQVWUXFWHGRQRUDIIL[HGWRWKH/DQGLQWKH
           ORFDWLRQVDFFRUGLQJWR WKH3ODQVDQGWKDWE\ODZZLOOFRQVWLWXWHUHDOSURSHUW\
            F     ³,PSURYHPHQW´PHDQVDQLPSURYHPHQWLQFOXGLQJDQ\ODZQVKUXEEHU\RUWUHHV
           DIIL[HGWR HLWKHUWKH/DQGRUDGMRLQLQJODQGDW'DWHRI3ROLF\WKDWE\ODZFRQVWLWXWHV
           UHDOSURSHUW\
            G      ³3ODQV´PHDQVWKHVXUYH\VLWHDQGHOHYDWLRQSODQVRURWKHUGHSLFWLRQVRU
           GUDZLQJVSUHSDUHGE\
             LQVHUWQDPHRIDUFKLWHFWRUHQJLQHHU  GDWHG    BODVWUHYLVHGB      BGHVLJQDWHGDV
            LQVHUWQDPHRISURMHFWRUSURMHFWQXPEHU  FRQVLVWLQJRI      VKHHWV
  7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI
            D         $YLRODWLRQRID&RYHQDQWWKDW
                  L   GLYHVWVVXERUGLQDWHVRUH[WLQJXLVKHVWKHOLHQRIWKH,QVXUHG0RUWJDJH
                  LL UHVXOWVLQWKHLQYDOLGLW\XQHQIRUFHDELOLW\RUODFNRISULRULW\RIWKHOLHQRIWKH,QVXUHG
                  0RUWJDJHRU
                  LLL FDXVHVDORVVRIWKH,QVXUHG¶V7LWOHDFTXLUHGLQVDWLVIDFWLRQRUSDUWLDOVDWLVIDFWLRQ
                  RIWKH,QGHEWHGQHVV
           E      $YLRODWLRQRIDQHQIRUFHDEOH&RYHQDQWE\DQ,PSURYHPHQWRQWKH/DQGDW'DWH
           RI3ROLF\RUE\D)XWXUH,PSURYHPHQWXQOHVVDQH[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\
           LGHQWLILHVWKHYLRODWLRQ
           F     (QIRUFHGUHPRYDORIDQ,PSURYHPHQWORFDWHGRQWKH/DQGRURID)XWXUH
           ,PSURYHPHQWDVDUHVXOWRIDYLRODWLRQRIDEXLOGLQJVHWEDFNOLQHVKRZQRQDSODWRI
           VXEGLYLVLRQUHFRUGHGRUILOHGLQWKH3XEOLF5HFRUGVDW'DWHRI3ROLF\XQOHVVDQH[FHSWLRQ
           LQ6FKHGXOH%RIWKHSROLF\LGHQWLILHVWKHYLRODWLRQRU
           G      $QRWLFHRIDYLRODWLRQUHFRUGHGLQWKH3XEOLF5HFRUGVDW'DWHRI3ROLF\RIDQ
           HQIRUFHDEOH&RYHQDQWUHODWLQJWRHQYLURQPHQWDOSURWHFWLRQGHVFULELQJDQ\SDUWRIWKH
           /DQGDQGUHIHUULQJWRWKDW&RYHQDQWEXWRQO\WRWKHH[WHQWRIWKHYLRODWLRQRIWKH
           &RYHQDQWUHIHUUHGWRLQWKDWQRWLFHXQOHVVDQH[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\
           LGHQWLILHVWKHQRWLFHRIWKHYLRODWLRQ
  7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\UHDVRQRI
           D          $QHQFURDFKPHQWRI
                                L      DQ,PSURYHPHQWORFDWHGRQWKH/DQGDW'DWHRI3ROLF\RUD
                                )XWXUH,PSURYHPHQWRQWRDGMRLQLQJODQGRURQWRWKDWSRUWLRQRIWKH/DQG
                                VXEMHFWWRDQHDVHPHQWRU



© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 85 of 807




                     LL     DQ,PSURYHPHQWORFDWHGRQDGMRLQLQJODQGRQWRWKH/DQGDW'DWHRI
                              3ROLF\
 XQOHVVDQH[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\LGHQWLILHVWKHHQFURDFKPHQWRWKHUZLVHLQVXUHG
 DJDLQVWLQ6HFWLRQVDLRUDLL
           E    'DPDJHWRDQ,PSURYHPHQWORFDWHGRQWKH/DQGDW'DWHRI3ROLF\RUD)XWXUH
           ,PSURYHPHQW
                    L       WKDWHQFURDFKHVRQWRWKDWSRUWLRQRIWKH/DQGVXEMHFWWRDQHDVHPHQW
                              H[FHSWHGLQ6FKHGXOH%ZKLFKGDPDJHUHVXOWVIURPWKHH[HUFLVHRIWKH
                              ULJKWWRPDLQWDLQWKHHDVHPHQWIRUWKHSXUSRVHIRUZKLFKLWZDVJUDQWHG
                              RUUHVHUYHGRU
                     LL     UHVXOWLQJIURPWKHIXWXUHH[HUFLVHRIDULJKWWRXVHWKHVXUIDFHRIWKH/DQG
                              IRUWKHH[WUDFWLRQRUGHYHORSPHQWRIPLQHUDOVRUDQ\RWKHUVXEVXUIDFH
                              VXEVWDQFHVH[FHSWHGIURPWKHGHVFULSWLRQRIWKH/DQGRUH[FHSWHGLQ
                              6FKHGXOH%
       7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJH DQGWKH&RPSDQ\ZLOOQRWSD\
 FRVWVDWWRUQH\V IHHVRUH[SHQVHV UHVXOWLQJIURP
           D       DQ\&RYHQDQWFRQWDLQHGLQDQLQVWUXPHQWFUHDWLQJDOHDVH
           E       DQ\&RYHQDQWUHODWLQJWRREOLJDWLRQVRIDQ\W\SHWRSHUIRUPPDLQWHQDQFHUHSDLU
                     RUUHPHGLDWLRQRQWKH/DQG
           F       H[FHSWDVSURYLGHGLQ6HFWLRQGDQ\&RYHQDQWUHODWLQJWRHQYLURQPHQWDO
                     SURWHFWLRQRI   DQ\NLQGRUQDWXUHLQFOXGLQJKD]DUGRXVRUWR[LFPDWWHUV
                     FRQGLWLRQVRUVXEVWDQFH
           G       FRQWDPLQDWLRQH[SORVLRQILUHYLEUDWLRQIUDFWXULQJHDUWKTXDNHRUVXEVLGHQFHRU
           H       QHJOLJHQFHE\DSHUVRQRUDQ(QWLW\H[HUFLVLQJDULJKWWRH[WUDFWRUGHYHORS
                     PLQHUDOVRURWKHUVXEVXUIDFHVXEVWDQFHV
           7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW
  L PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
 RIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLV
 HQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

 >:LWQHVVFODXVHRSWLRQDO@
 
 '$7('
 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\
 %<B                     B
     $87+25,=('6,*1$725<
 




 $/7$(QGRUVHPHQW)RUP
 5HVWULFWLRQV(QFURDFKPHQWV0LQHUDOV/DQG8QGHU'HYHORSPHQW/RDQ3ROLF\   
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 86 of 807



(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB          
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\

        7KHLQVXUDQFHSURYLGHGE\WKLVHQGRUVHPHQWLVVXEMHFWWRWKHH[FOXVLRQVLQ6HFWLRQRI
           WKLVHQGRUVHPHQWDQGWKH([FOXVLRQVIURP&RYHUDJHWKH([FHSWLRQVIURP&RYHUDJH
           FRQWDLQHGLQ6FKHGXOH%DQGWKH&RQGLWLRQVLQWKHSROLF\
        )RUSXUSRVHVRIWKLVHQGRUVHPHQWRQO\
          D        ³&RYHQDQW´PHDQVDFRYHQDQWFRQGLWLRQOLPLWDWLRQRUUHVWULFWLRQLQDGRFXPHQWRU
                     LQVWUXPHQWLQHIIHFWDW'DWHRI3ROLF\
          E        ³)XWXUH,PSURYHPHQW´PHDQVDEXLOGLQJVWUXFWXUHURDGZDONZD\GULYHZD\FXUE
                     WREHFRQVWUXFWHGRQRUDIIL[HGWRWKH/DQGLQWKHORFDWLRQVDFFRUGLQJWRWKH3ODQV
                     DQGWKDWE\ODZZLOOFRQVWLWXWHUHDOSURSHUW\EXWH[FOXGLQJDQ\FURSV
                     ODQGVFDSLQJODZQVKUXEEHU\RUWUHHV
          F        ³,PSURYHPHQW´PHDQVDEXLOGLQJVWUXFWXUHORFDWHGRQWKHVXUIDFHRIWKH/DQG
                     URDGZDONZD\GULYHZD\RUFXUEDIIL[HGWRWKH/DQGDW'DWHRI3ROLF\DQGWKDW
                     E\ODZFRQVWLWXWHVUHDOSURSHUW\EXWH[FOXGLQJDQ\FURSVODQGVFDSLQJODZQ
                     VKUXEEHU\RUWUHHV
          G        ³3ODQV´PHDQVWKHVXUYH\VLWHDQGHOHYDWLRQSODQVRURWKHUGHSLFWLRQVRU
                     GUDZLQJVSUHSDUHGE\ LQVHUWQDPHRIDUFKLWHFWRUHQJLQHHU GDWHG      BODVW
                     UHYLVHGB       BGHVLJQDWHGDV LQVHUWQDPHRISURMHFWRUSURMHFWQXPEHU 
                     FRQVLVWLQJRI VKHHWV
  7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI
          D        $YLRODWLRQRIDQHQIRUFHDEOH&RYHQDQWE\DQ,PSURYHPHQWRQWKH/DQGDW'DWH
                     RI3ROLF\RUE\D)XWXUH,PSURYHPHQWXQOHVVDQH[FHSWLRQLQ6FKHGXOH%RIWKH
                     SROLF\LGHQWLILHVWKHYLRODWLRQ
          E        (QIRUFHGUHPRYDORIDQ,PSURYHPHQWORFDWHGRQWKH/DQGRURID)XWXUH
                     ,PSURYHPHQWDVDUHVXOWRIDYLRODWLRQRIDEXLOGLQJVHWEDFNOLQHVKRZQRQDSODW
                     RIVXEGLYLVLRQUHFRUGHGRUILOHGLQWKH3XEOLF5HFRUGVDW'DWHRI3ROLF\XQOHVVDQ
                     H[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\LGHQWLILHVWKHYLRODWLRQRU
          F        $QRWLFHRIDYLRODWLRQUHFRUGHGLQWKH3XEOLF5HFRUGVDW'DWHRI3ROLF\RIDQ
                     HQIRUFHDEOH&RYHQDQWUHODWLQJWRHQYLURQPHQWDOSURWHFWLRQGHVFULELQJDQ\SDUWRI
                     WKH/DQGDQGUHIHUULQJWRWKDW&RYHQDQWEXWRQO\WRWKHH[WHQWRIWKHYLRODWLRQRI
                     WKH&RYHQDQWUHIHUUHG WRLQWKDWQRWLFHXQOHVVDQH[FHSWLRQLQ6FKHGXOH%RI
                     WKHSROLF\LGHQWLILHVWKHQRWLFHRIWKHYLRODWLRQ
  7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJH DQGWKH&RPSDQ\ZLOOQRWSD\
     FRVWVDWWRUQH\V IHHVRUH[SHQVHV UHVXOWLQJIURP
          D        DQ\&RYHQDQWFRQWDLQHGLQDQLQVWUXPHQWFUHDWLQJDOHDVH
          E        DQ\&RYHQDQWUHODWLQJWRREOLJDWLRQVRIDQ\W\SHWRSHUIRUPPDLQWHQDQFHUHSDLU
                     RUUHPHGLDWLRQRQWKH/DQGRU
          F        H[FHSWDVSURYLGHGLQ6HFWLRQFDQ\&RYHQDQWUHODWLQJWRHQYLURQPHQWDO
                     SURWHFWLRQRIDQ\NLQGRUQDWXUHLQFOXGLQJKD]DUGRXVRUWR[LFPDWWHUVFRQGLWLRQV
                     RUVXEVWDQFHV




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 87 of 807




 7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW
  L PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
 RIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLV
 HQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

 >:LWQHVVFODXVHRSWLRQDO@


 '$7('
 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\
 %<B                   B
     $87+25,=('6,*1$725<




 $/7$(QGRUVHPHQW)RUP
 &RYHQDQWV&RQGLWLRQVDQG5HVWULFWLRQV/DQG8QGHU'HYHORSPHQW2ZQHUV3ROLF\   
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ
                                                                             >LQFOXGHVWHFKQLFDOFRUUHFWLRQRI@




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 88 of 807



(1'256(0(17
                                             $WWDFKHGWR3ROLF\1RB       
                                                       ,VVXHGE\
                                                &KLFDJR7LWOH,QVXUDQFH
                                                       &RPSDQ\

  7KHLQVXUDQFHSURYLGHGE\WKLVHQGRUVHPHQWLVVXEMHFWWRWKHH[FOXVLRQVLQ6HFWLRQRIWKLV
 HQGRUVHPHQWDQGWKH([FOXVLRQVIURP&RYHUDJHWKH([FHSWLRQVIURP&RYHUDJHFRQWDLQHGLQ
 6FKHGXOH%DQGWKH&RQGLWLRQVLQWKHSROLF\
  )RUSXUSRVHVRIWKLVHQGRUVHPHQWRQO\
            D ³&RYHQDQW´PHDQVDFRYHQDQWFRQGLWLRQOLPLWDWLRQRUUHVWULFWLRQLQDGRFXPHQWRU
                LQVWUXPHQWLQHIIHFWDW'DWHRI3ROLF\
            E ³3ULYDWH5LJKW´PHDQV L DQRSWLRQWRSXUFKDVH LL DULJKWRIILUVWUHIXVDORU LLL D
                ULJKWRISULRUDSSURYDORIDIXWXUHSXUFKDVHURURFFXSDQW
  7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGXQGHUWKLV2ZQHU¶V
 3ROLF\LIHQIRUFHPHQWRID3ULYDWH5LJKWLQD&RYHQDQWDIIHFWLQJWKH7LWOHDW'DWHRI3ROLF\EDVHG
 RQDWUDQVIHURI7LWOHRQRUEHIRUH'DWHRI3ROLF\FDXVHVDORVVRIWKH,QVXUHG¶V7LWOH
       7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJH DQGWKH&RPSDQ\ZLOOQRWSD\
 FRVWVDWWRUQH\V IHHVRUH[SHQVHV UHVXOWLQJIURPUHVWULFWLRQ
      D       DQ\&RYHQDQW FRQWDLQHGLQDQLQVWUXPHQWFUHDWLQJDOHDVH
      E    DQ\&RYHQDQWUHODWLQJWRREOLJDWLRQVRIDQ\W\SHWRSHUIRUPPDLQWHQDQFHUHSDLU
      RUUHPHGLDWLRQRQWKH/DQG
      F    DQ\&RYHQDQWUHODWLQJWRHQYLURQPHQWDOSURWHFWLRQRIDQ\NLQGRUQDWXUHLQFOXGLQJ
      KD]DUGRXVRUWR[LFPDWWHUVFRQGLWLRQVRUVXEVWDQFHVRU
      G       DQ\3ULYDWH5LJKWLQDQLQVWUXPHQWLGHQWLILHGLQ([FHSWLRQ V                  LQ6FKHGXOH%
 7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW
  L PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
 RIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLV
 HQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

 >:LWQHVVFODXVHRSWLRQDO@ 
 
 '$7('
 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\
 %<B                     B
     $87+25,=('6,*1$725<
 

 $/7$(QGRUVHPHQW)RUP
 3ULYDWH5LJKWV2ZQHU¶V3ROLF\   
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 89 of 807


(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB          
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\

 7KHLQVXUDQFHSURYLGHGE\WKLVHQGRUVHPHQWLVVXEMHFWWRWKHH[FOXVLRQVLQ6HFWLRQRIWKLV
 HQGRUVHPHQWDQGWKH([FOXVLRQVIURP&RYHUDJHWKH([FHSWLRQVIURP&RYHUDJHFRQWDLQHGLQ
 6FKHGXOH%DQGWKH&RQGLWLRQVLQWKHSROLF\
  )RUWKHSXUSRVHVRIWKLVHQGRUVHPHQWRQO\
      D ³&RYHQDQW´PHDQVDFRYHQDQWFRQGLWLRQOLPLWDWLRQRUUHVWULFWLRQLQDGRFXPHQWRU
          LQVWUXPHQWLQHIIHFWDW'DWHRI3ROLF\
      E ³,PSURYHPHQW´PHDQVDQLPSURYHPHQWLQFOXGLQJDQ\ODZQVKUXEEHU\RUWUHHVDIIL[HGWR
          HLWKHUWKH/DQGRUDGMRLQLQJODQGDW'DWHRI3ROLF\WKDWE\ODZFRQVWLWXWHVUHDOSURSHUW\
  7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI
      D $YLRODWLRQDW'DWHRI3ROLF\RID&RYHQDQWWKDW
                     LGLYHVWVVXERUGLQDWHVRUH[WLQJXLVKHVWKHOLHQRIWKH,QVXUHG0RUWJDJH
                     LLUHVXOWVLQWKHLQYDOLGLW\XQHQIRUFHDELOLW\RUODFNRISULRULW\RIWKHOLHQRIWKH
                     ,QVXUHG0RUWJDJHRU
                     LLLFDXVHVDORVVRIWKH,QVXUHG¶V7LWOHDFTXLUHGLQVDWLVIDFWLRQRUSDUWLDO
                     VDWLVIDFWLRQRIWKH,QGHEWHGQHVV
      E $YLRODWLRQRQWKH/DQGDW'DWHRI3ROLF\RIDQHQIRUFHDEOH&RYHQDQWXQOHVVDQ
          H[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\LGHQWLILHVWKHYLRODWLRQ
      F (QIRUFHGUHPRYDORIDQ,PSURYHPHQWORFDWHGRQWKH/DQGDVDUHVXOWRIDYLRODWLRQDW
          'DWHRI3ROLF\RIDEXLOGLQJVHWEDFNOLQHVKRZQRQDSODWRIVXEGLYLVLRQUHFRUGHGRUILOHG
          LQWKH3XEOLF5HFRUGVXQOHVVDQH[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\LGHQWLILHVWKH
          YLRODWLRQRU
      G $QRWLFHRIDYLRODWLRQUHFRUGHGLQWKH3XEOLF5HFRUGVDW'DWHRI3ROLF\RIDQHQIRUFHDEOH
          &RYHQDQWUHODWLQJWRHQYLURQPHQWDOSURWHFWLRQGHVFULELQJDQ\SDUWRIWKH/DQGDQG
          UHIHUULQJWRWKDW&RYHQDQWEXWRQO\WRWKHH[WHQWRIWKHYLRODWLRQRIWKH&RYHQDQWUHIHUUHG
          WRLQWKDWQRWLFHXQOHVVDQH[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\LGHQWLILHVWKHQRWLFHRI
          WKHYLRODWLRQ
  7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\UHDVRQRI
      D $QHQFURDFKPHQWRI
                L DQ,PSURYHPHQWORFDWHGRQWKH/DQGDW'DWHRI3ROLF\RQWRDGMRLQLQJODQGRU
                RQWRWKDWSRUWLRQRIWKH/DQGVXEMHFWWRDQHDVHPHQWRU
                LL DQ,PSURYHPHQWORFDWHGRQDGMRLQLQJODQGRQWRWKH/DQGDW'DWHRI3ROLF\
 XQOHVVDQH[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\LGHQWLILHVWKHHQFURDFKPHQWRWKHUZLVHLQVXUHG
 DJDLQVWLQ6HFWLRQVDLRUDLL
      E $ILQDOFRXUWRUGHURUMXGJPHQWUHTXLULQJWKHUHPRYDOIURPDQ\ODQGDGMRLQLQJWKH/DQGRI
 DQHQFURDFKPHQWLGHQWLILHGLQ6FKHGXOH%RU
       F 'DPDJHWRDQ,PSURYHPHQWORFDWHGRQWKH/DQGDW'DWHRI3ROLF\
                L WKDWLVORFDWHGRQRUHQFURDFKHVRQWRWKDWSRUWLRQRIWKH/DQGVXEMHFWWR
                DQHDVHPHQWH[FHSWHGLQ6FKHGXOH%ZKLFKGDPDJHUHVXOWVIURPWKHH[HUFLVHRI




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 90 of 807




                WKHULJKWWRPDLQWDLQWKHHDVHPHQWIRUWKHSXUSRVHIRUZKLFKLWZDVJUDQWHG
                RUUHVHUYHGRU
                LL UHVXOWLQJIURPWKHIXWXUHH[HUFLVHRIDULJKWWRXVHWKHVXUIDFHRIWKH/DQG IRUWKH
                      H[WUDFWLRQRUGHYHORSPHQWRIPLQHUDOVRUDQ\RWKHUVXEVXUIDFHVXEVWDQFHV
                      H[FHSWHGIURPWKHGHVFULSWLRQRIWKH/DQGRUH[FHSWHGLQ6FKHGXOH%


        7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJH DQGWKH&RPSDQ\ZLOOQRWSD\
           FRVWVDWWRUQH\V IHHVRUH[SHQVHV UHVXOWLQJIURP
           DDQ\&RYHQDQWFRQWDLQHGLQDQLQVWUXPHQWFUHDWLQJDOHDVH
           EDQ\&RYHQDQWUHODWLQJWRREOLJDWLRQVRIDQ\W\SHWRSHUIRUPPDLQWHQDQFHUHSDLU
           RUUHPHGLDWLRQRQWKH/DQG
           FH[FHSWDVSURYLGHGLQ6HFWLRQGDQ\&RYHQDQWUHODWLQJWRHQYLURQPHQWDOSURWHFWLRQRI
           DQ\NLQGRUQDWXUHLQFOXGLQJKD]DUGRXVRUWR[LFPDWWHUVFRQGLWLRQVRUVXEVWDQFHV
           GFRQWDPLQDWLRQH[SORVLRQILUHIUDFWXULQJYLEUDWLRQHDUWKTXDNHRUVXEVLGHQFHRU
           HQHJOLJHQFHE\DSHUVRQRUDQ(QWLW\H[HUFLVLQJDULJKWWRH[WUDFWRUGHYHORSPLQHUDOVRU
           RWKHUVXEVXUIDFHVXEVWDQFHV
 7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW
   L PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV
   LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
 RIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLV
 HQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV
 
 >:LWQHVVFODXVHRSWLRQDO@
 
 '$7('
 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\
 %<B                       B
         $87+25,=('6,*1$725<
 




 $/7$(QGRUVHPHQW)RUP
 5HVWULFWLRQV(QFURDFKPHQWV0LQHUDOV&XUUHQW9LRODWLRQV/RDQ3ROLF\   
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 91 of 807

                                    $66,*10(172)0257*$*(
                              $/7$  $1' 


 7KH $/7$  HQGRUVHPHQW LQVXUHV WKH HIIHFWLYHQHVV RI WKH DVVLJQPHQW RI WKH ,QVXUHG
 0RUWJDJHDQGWKDWWKHUHKDYHEHHQQRUHOHDVHVRUUHFRQYH\DQFHVSODFHGRIUHFRUGRWKHUWKDQDV
 VKRZQ 7KH $/7$  SURYLGHV WKH VDPH FRYHUDJH DV WKH  DQG JLYHV DGGLWLRQDO
 FRYHUDJHRYHURQO\FHUWDLQPDWWHUVRFFXUULQJDIWHUWKHRULJLQDO'DWHRI3ROLF\DQGEHIRUHWKH'DWH
 RI(QGRUVHPHQWZKLFKLVDGHILQHGWHUPZLWKLQWKHHQGRUVHPHQW
 
 7KH SROLF\ LV PRGLILHG E\ QDPLQJ WKH DVVLJQHH XQGHU WKH DVVLJQPHQW DV WKH ,QVXUHG 7KH
 HQGRUVHPHQW SURYLGHV DGGLWLRQDO DIILUPDWLYH FRYHUDJH DJDLQVW WKH LQHIIHFWLYHQHVV RI WKH
 DVVLJQPHQWDQGWKHHIIHFWRIDQ\IXOORUSDUWLDOUHOHDVHVRUUHFRQYH\DQFHVUHFRUGHGDIWHUWKH'DWH
 RI3ROLF\DQGEHIRUHWKH'DWHRI(QGRUVHPHQW,QDGGLWLRQWKH$/7$SURYLGHVFRYHUDJH
 IRU WKH PDWWHUV GHVFULEHG DERYH %RWK IRUPV RI HQGRUVHPHQW DUH FRQGLWLRQHG XSRQ WKH SURSHU
 GHOLYHU\DQGHQGRUVHPHQWRIWKHXQGHUO\LQJQRWHV
 




 




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 92 of 807


(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB          
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\


        7KHQDPHRIWKH,QVXUHGDW'DWHRI(QGRUVHPHQWDQGUHIHUUHGWRLQWKLVHQGRUVHPHQWDV
           WKH³$VVLJQHH´LVDPHQGHGWRUHDG

        7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH$VVLJQHHE\UHDVRQRI

           D       7KHIDLOXUHRIWKHIROORZLQJDVVLJQPHQWWRYHVWWLWOHWRWKH,QVXUHG0RUWJDJHLQWKH
                     $VVLJQHH

           E       $Q\PRGLILFDWLRQSDUWLDORUIXOOUHFRQYH\DQFHUHOHDVHRUGLVFKDUJHRIWKHOLHQRI
                     WKH,QVXUHG0RUWJDJHUHFRUGHGRQRUSULRUWR'DWHRI(QGRUVHPHQWLQWKH3XEOLF
                     5HFRUGVRWKHUWKDQWKRVHVKRZQLQWKHSROLF\RUDSULRUHQGRUVHPHQWH[FHSW


 7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJHDQGWKH&RPSDQ\ZLOOQRWSD\FRVWV
 DWWRUQH\V¶ IHHV RU H[SHQVHV E\ UHDVRQ RI DQ\ FODLP WKDW DULVHV RXW RI WKH WUDQVDFWLRQ FUHDWLQJ
 WKHDVVLJQPHQW E\ UHDVRQ RI WKH RSHUDWLRQ RI IHGHUDO EDQNUXSWF\ VWDWH LQVROYHQF\ RU VLPLODU
 FUHGLWRUV¶ULJKWVODZVWKDWLVEDVHGRQ

            WKHDVVLJQPHQWEHLQJGHHPHGDIUDXGXOHQWFRQYH\DQFHRUIUDXGXOHQWWUDQVIHURU

           WKHDVVLJQPHQWEHLQJGHHPHGDSUHIHUHQWLDOWUDQVIHU

 7KLVHQGRUVHPHQWVKDOOEHHIIHFWLYHSURYLGHGWKDWDW'DWHRI(QGRUVHPHQW  WKHQRWHRUQRWHV
 VHFXUHG E\ WKH OLHQ RI WKH ,QVXUHG 0RUWJDJH KDYH EHHQ SURSHUO\ HQGRUVHG DQG GHOLYHUHG WR WKH
 $VVLJQHH RU   LI WKH QRWH RU QRWHV DUH WUDQVIHUDEOH UHFRUGV WKH $VVLJQHH KDV ³FRQWURO´ RI WKH
 VLQJOH DXWKRULWDWLYH FRS\ RI HDFK ³WUDQVIHUDEOH UHFRUG´ DV WKHVH WHUPV DUH GHILQHG E\ DSSOLFDEOH
 HOHFWURQLFWUDQVDFWLRQODZV

 7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
 RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
 HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

 'DWHRI(QGRUVHPHQW                                            
 
 
 
 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\
 %<B                   B
     $87+25,=('6,*1$725<



 $/7$(QGRUVHPHQW)RUP
 $VVLJQPHQW  5HY 
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 93 of 807



(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB          
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\
                                                         

        7KH QDPH RI WKH ,QVXUHG DW 'DWH RI (QGRUVHPHQW DQG UHIHUUHG WR LQ WKLV
           HQGRUVHPHQW DV WKH ³$VVLJQHH´LVDPHQGHGWRUHDG

        7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH$VVLJQHHE\UHDVRQRI

           D       7KHIDLOXUHRIWKHIROORZLQJDVVLJQPHQWWRYHVWWLWOHWRWKH,QVXUHG
                     0RUWJDJHLQWKH $VVLJQHH
           E       $Q\OLHQVIRUWD[HVRUDVVHVVPHQWVWKDWDUHGXHDQGSD\DEOHRQ'DWHRI
                     (QGRUVHPHQW H[FHSW
           F       /DFNRISULRULW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJHRYHUGHIHFWVOLHQVRU
                     HQFXPEUDQFHV RWKHUWKDQWKRVHVKRZQLQWKHSROLF\RUDSULRUHQGRUVHPHQW
                     H[FHSW

           G       1RWLFHVRIIHGHUDOWD[OLHQVRUQRWLFHVRISHQGLQJEDQNUXSWF\SURFHHGLQJV
                     DIIHFWLQJWKH 7LWOHDQGUHFRUGHGVXEVHTXHQWWR'DWHRI3ROLF\LQWKH3XEOLF
                     5HFRUGVDQGRQRUSULRUWR 'DWHRI(QGRUVHPHQWH[FHSW
           H       $Q\PRGLILFDWLRQSDUWLDORUIXOOUHFRQYH\DQFHUHOHDVHRUGLVFKDUJHRIWKH
                     OLHQRIWKH ,QVXUHG0RUWJDJHUHFRUGHGRQRUSULRUWR'DWHRI(QGRUVHPHQWLQ
                     WKH3XEOLF5HFRUGV RWKHUWKDQWKRVHVKRZQLQWKHSROLF\RUDSULRU
                     HQGRUVHPHQWH[FHSW
 7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJHDQGWKH&RPSDQ\ZLOOQRWSD\FRVWV
 DWWRUQH\V¶ IHHV RU H[SHQVHV E\ UHDVRQ RI DQ\ FODLP WKDW DULVHV RXW RI WKH WUDQVDFWLRQ FUHDWLQJ
 WKH DVVLJQPHQW E\ UHDVRQ RI WKH RSHUDWLRQ RI IHGHUDO EDQNUXSWF\ VWDWH LQVROYHQF\ RU VLPLODU
 FUHGLWRUV¶ULJKWVODZVWKDWLVEDVHG RQ

            WKHDVVLJQPHQWEHLQJGHHPHGDIUDXGXOHQWFRQYH\DQFHRUIUDXGXOHQWWUDQVIHURU

           WKHDVVLJQPHQWEHLQJGHHPHGDSUHIHUHQWLDOWUDQVIHU


 7KLVHQGRUVHPHQWVKDOOEHHIIHFWLYHSURYLGHGWKDWDW'DWHRI(QGRUVHPHQW  WKHQRWHRUQRWHV
 VHFXUHGE\ WKH OLHQ RI WKH ,QVXUHG 0RUWJDJH KDYH EHHQ SURSHUO\ HQGRUVHG DQG GHOLYHUHG WR WKH
 $VVLJQHHRU  LIWKH QRWH RUQRWHV DUH WUDQVIHUDEOHUHFRUGV WKH $VVLJQHH KDV ³FRQWURO´RI WKH
 VLQJOH DXWKRULWDWLYH FRS\ RI HDFK ³WUDQVIHUDEOHUHFRUG´DVWKHVHWHUPVDUHGHILQHGE\DSSOLFDEOH
 HOHFWURQLFWUDQVDFWLRQODZV

 7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW L 
 PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL  PRGLI\ DQ\ SULRU HQGRUVHPHQWV LLL 
 H[WHQGWKH'DWHRI3ROLF\RU
  LY  LQFUHDVH WKH $PRXQW RI ,QVXUDQFH 7R WKH H[WHQW D SURYLVLRQ RI WKH SROLF\ RU D SUHYLRXV
 HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV HQGRUVHPHQW WKLV
 HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQWLVVXEMHFWWRDOORIWKHWHUPVDQGSURYLVLRQV
 RIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

 'DWHRI(QGRUVHPHQW                         
 >:LWQHVVFODXVHRSWLRQDO@
 
 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\
© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 94 of 807

 %<B             B
     $87+25,=('6,*1$725<
 


 $/7$(QGRUVHPHQW)RUP
 $VVLJQPHQWDQG'DWH'RZQ  5HY 
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 95 of 807


                                      0257*$*(02',),&$7,21
                                 $/7$     
                                                     
 7KHVHHQGRUVHPHQWVZHUHFUHDWHGWRLQVXUHOHQGHUVWKDWWKHPRGLILFDWLRQRIWKH,QVXUHG0RUWJDJH
 HYLGHQFHG E\ WKH GRFXPHQW UHIHUUHG WR ZLWKLQ WKH HQGRUVHPHQW GRHV QRW LPSDLU WKH YDOLGLW\
 HQIRUFHDELOLW\ RU SULRULW\ RI WKH ,QVXUHG 0RUWJDJH DV RI WKH 'DWH RI (QGRUVHPHQW ZKLFK LV D
 GHILQHGWHUPZLWKLQWKHHQGRUVHPHQWV,QDGGLWLRQWKHLQVXUHVDJDLQVWORVVEDVHGXSRQD
 VSHFLILFPDWWHUQRWEHLQJVXERUGLQDWHWRWKHOLHQRIWKH,QVXUHG0RUWJDJH

 
 




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 96 of 807


(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB          
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\


 7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI

        7KH LQYDOLGLW\ RU XQHQIRUFHDELOLW\ RI WKH OLHQ RI WKH ,QVXUHG 0RUWJDJH XSRQ WKH 7LWOH DW
           'DWH RI (QGRUVHPHQW DV D UHVXOW RI WKH DJUHHPHQW GDWHG  UHFRUGHG           
            0RGLILFDWLRQ DQG

        7KH ODFN RI SULRULW\ RI WKH OLHQ RI WKH ,QVXUHG 0RUWJDJH DW 'DWH RI (QGRUVHPHQW RYHU
           GHIHFWVLQRUOLHQVRUHQFXPEUDQFHVRQWKH7LWOHH[FHSWIRUWKRVHVKRZQLQWKH SROLF\RU
           DQ\SULRUHQGRUVHPHQWDQGH[FHSW $''(;&(37,216+(5(


 7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJHDQGWKH&RPSDQ\ZLOOQRWSD\FRVWV
 DWWRUQH\V IHHVRUH[SHQVHVE\UHDVRQRIDQ\FODLPWKDWDULVHVRXWRIWKHWUDQVDFWLRQFUHDWLQJWKH
 0RGLILFDWLRQ E\ UHDVRQ RI WKH RSHUDWLRQ RI IHGHUDO EDQNUXSWF\ VWDWH LQVROYHQF\ RU VLPLODU
 FUHGLWRUV ULJKWVODZVWKDWLVEDVHGRQ

        WKH0RGLILFDWLRQEHLQJGHHPHGDIUDXGXOHQWFRQYH\DQFHRUIUDXGXOHQWWUDQVIHURU

        WKH 0RGLILFDWLRQ EHLQJ GHHPHG D SUHIHUHQWLDO WUDQVIHU H[FHSWZKHUH WKH SUHIHUHQWLDO
           WUDQVIHUUHVXOWVIURPWKHIDLOXUH

           D       WRWLPHO\UHFRUGWKHLQVWUXPHQWRIWUDQVIHURU

           E       RIVXFKUHFRUGDWLRQWRLPSDUWQRWLFHWRDSXUFKDVHUIRUYDOXHRUWRDMXGJPHQWRU
                     OLHQFUHGLWRU

 7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
 RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
 HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

 'DWHRI(QGRUVHPHQW                                 

 >:LWQHVVFODXVHRSWLRQDO@
 
 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\
 %<B                     B
     $87+25,=('6,*1$725<


 $/7$(QGRUVHPHQW)RUP
 0RUWJDJH0RGLILFDWLRQ   
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 97 of 807



(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB          
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\


 7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI

        7KH LQYDOLGLW\ RU XQHQIRUFHDELOLW\ RI WKH OLHQ RI WKH ,QVXUHG 0RUWJDJH XSRQ WKH 7LWOH DW
           'DWHRI(QGRUVHPHQWDVDUHVXOWRIWKHDJUHHPHQWGDWHG              BUHFRUGHG       B
            0RGLILFDWLRQ DQG

        7KH ODFN RI SULRULW\ RI WKH OLHQ RI WKH ,QVXUHG 0RUWJDJH DW 'DWH RI (QGRUVHPHQW RYHU
           GHIHFWVLQRUOLHQVRUHQFXPEUDQFHVRQWKH7LWOHH[FHSWIRUWKRVHVKRZQLQWKH SROLF\RU
           DQ\SULRUHQGRUVHPHQWDQGH[FHSW $''(;&(37,216+(5(

        7KHIROORZLQJPDWWHUVQRWEHLQJVXERUGLQDWHWRWKHOLHQRIWKH,QVXUHG0RUWJDJH
           $''68%25',1$7(0$77(56+(5(

          7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJHDQGWKH&RPSDQ\ZLOOQRWSD\
 FRVWV DWWRUQH\V  IHHV RU H[SHQVHV E\ UHDVRQ RI DQ\ FODLP WKDW DULVHV RXW RI WKH WUDQVDFWLRQ
 FUHDWLQJ WKH 0RGLILFDWLRQ E\ UHDVRQ RI WKH RSHUDWLRQ RI IHGHUDO EDQNUXSWF\ VWDWH LQVROYHQF\ RU
 VLPLODUFUHGLWRUV ULJKWVODZVWKDWLVEDVHGRQ

        WKH0RGLILFDWLRQEHLQJGHHPHGDIUDXGXOHQWFRQYH\DQFHRUIUDXGXOHQWWUDQVIHURU

        WKH 0RGLILFDWLRQ EHLQJ GHHPHG D SUHIHUHQWLDO WUDQVIHU H[FHSWZKHUH WKH SUHIHUHQWLDO
           WUDQVIHUUHVXOWVIURPWKHIDLOXUH

           D       WRWLPHO\UHFRUGWKHLQVWUXPHQWRIWUDQVIHURU

           E       RIVXFKUHFRUGDWLRQWRLPSDUWQRWLFHWRDSXUFKDVHUIRUYDOXHRUWRDMXGJPHQWRU
                     OLHQFUHGLWRU

           7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
 RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
 HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


 'DWHRI(QGRUVHPHQW                                    B


 >:LWQHVVFODXVHRSWLRQDO@

 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\

 %<                           B                 


 $/7$(QGRUVHPHQW)RUP
 0RUWJDJH0RGLILFDWLRQZLWK6XERUGLQDWLRQ   
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
    Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 98 of 807

                                     $**5(*$7,21 7,(,1 
                            $/7$  DQG  


    0RUWJDJHVFRYHULQJPDQ\SDUFHOVLQGLIIHUHQWUHFRUGLQJGLVWULFWVRUMXULVGLFWLRQVPD\HDFKEH
    UHFRUGHGIRUWKHIXOODPRXQWRIWKHVHFXUHGLQGHEWHGQHVVRUWKHDOORFDWHGFROODWHUDOYDOXHRIHDFK
    VLWHRUDFRPELQDWLRQRIIXOODQGDOORFDWHGYDOXHV
    
    7KHDOORFDWHGDPRXQWLVRIWHQXVHGLQVWDWHVZKLFKLPSRVHDPRUWJDJHWD[,QDQ\FDVHWKH
    OHQGHUYLHZVWKHWUDQVDFWLRQDVRQHGHEWDQGZDQWVLQVXUDQFHFRYHUDJHIRUWKHWRWDODPRXQWRI
    WKHVHFXUHGLQGHEWHGQHVV,QVWHDGRIFRPELQLQJDOORIWKHSDUFHOVLQWRRQHODUJHORDQSROLF\WKH
    DJJUHJDWLRQHQGRUVHPHQWDOORZVDQLQVXUHUWRLVVXHDQXPEHURISROLFLHVIRUOHVVHUDPRXQWVEXW
    WRWLHWKHSROLFLHVWRJHWKHUVRWKDWWKH,QVXUHGFDQDJJUHJDWHWKHFRYHUDJHDQGWDNHDGYDQWDJHRI
    DQ\LQFUHDVHVLQWKHYDOXHRIDSDUWLFXODUSDUFHOVKRXOGWKHUHEHDORVV)RUPFDQEHXVHG
    IRUDJJUHJDWLQJSROLFLHVRQVLWHVDOOORFDWHGLQDVLQJOHVWDWHRUVLWHVORFDWHGLQPXOWLSOHVWDWHV
    QRQHRIZKLFKKDYHVWDWHVWDWXWRU\OLPLWDWLRQVRQWKHDPRXQWZKLFKFDQEHLQVXUHG)RUP
    LVLQWHQGHGWREHXVHGIRUDJJUHJDWLQJSROLFLHVLQPXOWLSOHVWDWHVRQHRUPRUHRIZKLFKKDYH
    VWDWHVWDWXWRU\OLPLWDWLRQVRQWKHDPRXQWZKLFKFDQEHLQVXUHG
    
    7KLVHQGRUVHPHQWFKDQJHVWKHSURYLVLRQVRI&RQGLWLRQV D L RIWKH$/7$/RDQ3ROLF\VRWKDW
    WKH$PRXQWRI,QVXUDQFHDYDLODEOHWRFRYHUDORVVLVWKHDJJUHJDWHRIWKH$PRXQWRI,QVXUDQFH
    DYDLODEOHXQGHUWKHSROLF\WRZKLFKWKLVHQGRUVHPHQWLVDWWDFKHGSOXVWKH$PRXQWVRI,QVXUDQFH
    DYDLODEOHXQGHUWKHRWKHUSROLFLHVLGHQWLILHGLQWKLVHQGRUVHPHQW(IIHFWLYH$SULO)RUP
    ZDVPRGLILHGE\DGGLQJQHZSDUDJUDSKVZKLFKFKDQJHWKHSURYLVLRQVRI6HFWLRQV D L  D 
     E RIWKH&RQGLWLRQVRIWKH$/7$/RDQ3ROLF\1HZ)RUPDOVRFRQWDLQVWKHQHZ
    SDUDJUDSKV7KHVHQHZSDUDJUDSKVFODULI\WKHHIIHFWRIWKHHQGRUVHPHQWRQWKHRSWLRQVRIWKH
    &RPSDQ\XQGHUWKHSROLF\LQWKHHYHQWRIDFODLPDQGWKHH[WHQWRIWKH&RPSDQ\¶VOLDELOLW\

    
    




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 99 of 807


(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB             
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\



       7KHIROORZLQJSROLFLHVDUHLVVXHGLQFRQMXQFWLRQZLWKRQHDQRWKHU
                     32/,&<180%(5                   67$7(                      $028172),1685$1&(
                                                                           
                                                                           
                                                                           


       7KHDPRXQWRILQVXUDQFHDYDLODEOHWRFRYHUWKH&RPSDQ\¶VOLDELOLW\IRUORVVRUGDPDJH
          XQGHUWKLVSROLF\DWWKHWLPHRISD\PHQWRIORVVVKDOOEHWKH$JJUHJDWH$PRXQWRI
          ,QVXUDQFHGHILQHGLQ6HFWLRQRIWKLVHQGRUVHPHQW

       6XEMHFWWRWKHOLPLWVLQ6HFWLRQRIWKLVHQGRUVHPHQWWKH$JJUHJDWH$PRXQWRI,QVXUDQFH
          XQGHUWKHVHSROLFLHVLV                             
       6HFWLRQ D L RIWKH&RQGLWLRQVRIWKLVSROLF\LVDPHQGHGWRUHDG
                      237,216723$<2527+(5:,6(6(77/(&/$,067(50,1$7,212)
                     /,$%,/,7<
                     ,QFDVHRIDFODLPXQGHUWKLVSROLF\WKH&RPSDQ\VKDOOKDYHWKHIROORZLQJ
                     DGGLWLRQDORSWLRQV
                         D  WRSD\RUWHQGHUSD\PHQWRIWKHOHVVHURIWKHYDOXHRI WKH7LWOHDVLQVXUHG
                             RUWKH$JJUHJDWH$PRXQWRI,QVXUDQFHDSSOLFDEOHXQGHUWKLVSROLF\DWWKH
                             GDWHWKHFODLPZDVPDGHE\WKH,QVXUHG&ODLPDQWRUWRSXUFKDVHWKH
                             ,QGHEWHGQHVV
                               L       WRSD\RUWHQGHUSD\PHQWRIWKHOHVVHURIWKHYDOXHRIWKH7LWOHDV
                                        LQVXUHGDWWKHGDWHWKHFODLPZDVPDGHE\WKH,QVXUHG&ODLPDQW
                                        RUWKH$JJUHJDWH$PRXQWRI,QVXUDQFHDSSOLFDEOHXQGHUWKLV
                                        SROLF\WRJHWKHUZLWKDQ\FRVWDWWRUQH\V¶IHHVDQGFRVWVDQG
                                        H[SHQVHVLQFXUUHGE\WKH,QVXUHG&ODLPDQWWKDWZHUHDXWKRUL]HG
                                        E\WKH&RPSDQ\XSWRWKHWLPHRISD\PHQWRUWHQGHURISD\PHQW
                                        DQGWKDWWKH&RPSDQ\LVREOLJDWHGWRSD\RU
       6HFWLRQ D DQG E RIWKH&RQGLWLRQVRIWKLVSROLF\DUHDPHQGHGWRUHDG
                     '(7(50,1$7,21$1'(;7(172)/,$%,/,7<

                     7KLV SROLF\ LV D FRQWUDFW RI LQGHPQLW\ DJDLQVW DFWXDO PRQHWDU\ ORVV RU
                     GDPDJHVXVWDLQHGRULQFXUUHGE\WKH,QVXUHG&ODLPDQWZKRKDVVXIIHUHG
                     ORVVRUGDPDJHE\UHDVRQRIPDWWHUVLQVXUHGDJDLQVWE\WKLVSROLF\

                          D 7KHH[WHQWRIOLDELOLW\RIWKH&RPSDQ\IRUORVVRUGDPDJHXQGHU
                             WKLVSROLF\VKDOOQRWH[FHHGWKHOHDVWRI




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 100 of 807




                                L  WKH$JJUHJDWH$PRXQWRI,QVXUDQFH
                                LL  WKH,QGHEWHGQHVV
                                LLL  WKHGLIIHUHQFHEHWZHHQWKHYDOXHRIWKH7LWOHDVLQVXUHGDQG
                                      WKHYDOXHRIWKH7LWOHVXEMHFWWRWKHULVNLQVXUHGDJDLQVWE\
                                      WKLVSROLF\RU
                                LY  LIDJRYHUQPHQWDJHQF\RULQVWUXPHQWDOLW\LVWKH,QVXUHG
                                     &ODLPDQWWKHDPRXQWLWSDLGLQWKHDFTXLVLWLRQRIWKH7LWOHRU
                                     WKH,QVXUHG0RUWJDJHLQVDWLVIDFWLRQRILWVLQVXUDQFHFRQWUDFW
                                     RUJXDUDQW\
                           E  ,IWKH&RPSDQ\SXUVXHVLWVULJKWVXQGHU6HFWLRQRIWKHVH
                               &RQGLWLRQVDQGLVXQVXFFHVVIXOLQHVWDEOLVKLQJWKH7LWOHRUWKH
                               OLHQRIWKH,QVXUHG0RUWJDJHDVLQVXUHGWKH,QVXUHG&ODLPDQW
                               VKDOOKDYHWKHULJKWWRKDYHWKHORVVRUGDPDJHGHWHUPLQHGHLWKHU
                               DVRIWKHGDWHWKHFODLPZDVPDGHE\WKH,QVXUHG&ODLPDQWRUDV
                               WKHGDWHLWLVVHWWOHGDQGSDLG
       6HFWLRQ RIWKH&RQGLWLRQVRIWKLVSROLF\LVDPHQGHGWRUHDG
                      5('8&7,212),1685$1&(5('8&7,21257(50,1$7,212)
                     /,$%,/,7<
                           D  $OOSD\PHQWVXQGHUWKLVSROLF\H[FHSWSD\PHQWVPDGHIRUFRVWV
                               DWWRUQH\V¶IHHVDQGH[SHQVHVVKDOOUHGXFHWKH$JJUHJDWH
                               $PRXQWRI,QVXUDQFHE\WKHDPRXQWRIWKHSD\PHQW
                           E +RZHYHUDQ\SD\PHQWVPDGHSULRUWRWKHDFTXLVLWLRQRI7LWOHDV
                              SURYLGHGLQ6HFWLRQRIWKHVH&RQGLWLRQVVKDOOQRWUHGXFHWKH
                              $JJUHJDWH$PRXQWRI,QVXUDQFHDIIRUGHGXQGHUWKLV
                              HQGRUVHPHQWH[FHSWWRWKHH[WHQWWKDWWKHSD\PHQWVUHGXFHWKH
                              ,QGHEWHGQHVV
                           F 7KHYROXQWDU\VDWLVIDFWLRQRUUHOHDVHRIWKH,QVXUHG0RUWJDJHVKDOO
                               WHUPLQDWHDOOOLDELOLW\RIWKH&RPSDQ\XQGHUWKLVSROLF\H[FHSWDV
                               SURYLGHGLQ6HFWLRQRIWKHVH&RQGLWLRQVEXWLWZLOOQRWUHGXFHWKH
                               $JJUHJDWH$PRXQWRI,QVXUDQFHIRUWKHRWKHUSROLFLHVLGHQWLILHGLQ6HFWLRQ
                               RIWKLVHQGRUVHPHQW



            7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\ ([FHSWDVLWH[SUHVVO\VWDWHVLWGRHV
 QRW L PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRU HQGRUVHPHQWV
   LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH 7RWKHH[WHQWDSURYLVLRQ
 RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
 HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV
 
 >:LWQHVVFODXVHRSWLRQDO@ 
 
 '$7('
 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\
 %<B                      B
         $87+25,=('6,*1$725<
 
 
 
 $/7$(QGRUVHPHQW)RUP
 $JJUHJDWLRQ/RDQ  UHY 
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ
© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 101 of 807


(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB             
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\




      7KHIROORZLQJSROLFLHVDUHLVVXHGLQFRQMXQFWLRQZLWKRQHDQRWKHU
                       32/,&<180%(5                 67$7(                      $028172),1685$1&(
                                                                           
                                                                           
                                                                           


       7KHDPRXQWRILQVXUDQFHDYDLODEOHWRFRYHUWKH&RPSDQ\¶VOLDELOLW\IRUORVVRUGDPDJH
          XQGHUWKLVSROLF\DWWKHWLPHRISD\PHQWRIORVVVKDOOEHWKH$JJUHJDWH$PRXQWRI
          ,QVXUDQFHGHILQHGLQ6HFWLRQRIWKLVHQGRUVHPHQW

       7KH$JJUHJDWH$PRXQWRI,QVXUDQFHXQGHUWKLVSROLF\LVHLWKHU

          DRU
          E ,I WKH /DQG LV ORFDWHG LQ RQH RI WKH VWDWHV LGHQWLILHG LQ WKLV VXEVHFWLRQ WKHQ WKH
              $JJUHJDWH$PRXQWRI,QVXUDQFHLVUHVWULFWHGWRWKHDPRXQWVKRZQEHORZ
                       67$7(                           $**5(*$7($028172),1685$1&(
                                                       
                                                       


       6HFWLRQ D L RIWKH&RQGLWLRQVRIWKLVSROLF\LVDPHQGHGWRUHDG
                        237,216723$<2527+(5:,6(6(77/(&/$,067(50,1$7,212)
                       /,$%,/,7<
                       ,QFDVHRIDFODLPXQGHUWKLVSROLF\WKH&RPSDQ\VKDOOKDYHWKHIROORZLQJ
                       DGGLWLRQDORSWLRQV
                                 D      WRSD\RUWHQGHUSD\PHQWRIWKHOHVVHURIWKHYDOXHRI WKH7LWOH
                                DVLQVXUHGRUWKH$JJUHJDWH$PRXQWRI,QVXUDQFHDSSOLFDEOHXQGHUWKLV
                                SROLF\DWWKHGDWHWKHFODLPZDVPDGHE\WKH,QVXUHG&ODLPDQWRUWR
                                SXUFKDVHWKH,QGHEWHGQHVV
                                      L 7RSD\RUWHQGHUSD\PHQWRIWKHOHVVHURIWKHYDOXHRIWKH7LWOHDV
                                     LQVXUHGDWWKHGDWHWKHFODLPZDVPDGHE\WKH,QVXUHG&ODLPDQWRU
                                     WKH$JJUHJDWH$PRXQWRI,QVXUDQFHDSSOLFDEOHXQGHUWKLVSROLF\
                                     WRJHWKHUZLWKDQ\FRVWDWWRUQH\V¶IHHVDQGFRVWVDQGH[SHQVHV
                                     LQFXUUHGE\WKH,QVXUHG&ODLPDQWWKDWZHUHDXWKRUL]HGE\WKH
                                     &RPSDQ\XSWRWKHWLPHRISD\PHQWRUWHQGHURISD\PHQWDQGWKDW
                                     WKH&RPSDQ\LVREOLJDWHGWRSD\RU




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 102 of 807




       6HFWLRQ D DQG E RIWKH&RQGLWLRQVRIWKLVSROLF\DUHDPHQGHGWRUHDG
                     '(7(50,1$7,21$1'(;7(172)/,$%,/,7<

                     7KLV SROLF\ LV D FRQWUDFW RI LQGHPQLW\ DJDLQVW DFWXDO PRQHWDU\ ORVV RU
                     GDPDJHVXVWDLQHGRULQFXUUHGE\WKH,QVXUHG&ODLPDQWZKRKDVVXIIHUHG
                     ORVVRUGDPDJHE\UHDVRQRIPDWWHUVLQVXUHGDJDLQVWE\WKLVSROLF\
                          D 7KHH[WHQWRIOLDELOLW\RIWKH&RPSDQ\IRUORVVRUGDPDJHXQGHU
                              WKLVSROLF\VKDOOQRWH[FHHGWKHOHDVWRI
                               L  WKH$JJUHJDWH$PRXQWRI,QVXUDQFHIRUWKH6WDWHZKHUHWKH
                                   /DQGLVORFDWHG
                               LL  WKH,QGHEWHGQHVV
                               LLL  WKHGLIIHUHQFHEHWZHHQWKHYDOXHRIWKH7LWOHDVLQVXUHGDQG
                                     WKHYDOXHRIWKH7LWOHVXEMHFWWRWKHULVNLQVXUHGDJDLQVWE\
                                     WKLVSROLF\RU
                               LY  LIDJRYHUQPHQWDJHQF\RULQVWUXPHQWDOLW\LVWKH,QVXUHG
                                    &ODLPDQWWKHDPRXQWLWSDLGLQWKHDFTXLVLWLRQRIWKH7LWOHRU
                                    WKH,QVXUHG0RUWJDJHLQVDWLVIDFWLRQRILWVLQVXUDQFHFRQWUDFW
                                    RUJXDUDQW\
                          E  ,IWKH&RPSDQ\SXUVXHVLWVULJKWVXQGHU6HFWLRQRIWKHVH
                              &RQGLWLRQVDQGLVXQVXFFHVVIXOLQHVWDEOLVKLQJWKH7LWOHRUWKH
                              OLHQRIWKH,QVXUHG0RUWJDJHDVLQVXUHGWKH,QVXUHG&ODLPDQW
                              VKDOOKDYHWKHULJKWWRKDYHWKHORVVRUGDPDJHGHWHUPLQHGHLWKHU
                              DVRIWKHGDWHWKHFODLPZDVPDGHE\WKH,QVXUHG&ODLPDQWRUDV
                              WKHGDWHLWLVVHWWOHGDQGSDLG
            6HFWLRQRIWKH&RQGLWLRQVRIWKLVSROLF\LVDPHQGHGWRUHDG
                      5('8&7,212),1685$1&(5('8&7,21257(50,1$7,212)
                     /,$%,/,7<
                          D  $OOSD\PHQWVXQGHUWKLVSROLF\H[FHSWSD\PHQWVPDGHIRUFRVWV
                              DWWRUQH\V¶IHHVDQGH[SHQVHVVKDOOUHGXFHWKHDSSOLFDEOH
                              $JJUHJDWH$PRXQWRI,QVXUDQFHE\WKHDPRXQWRIWKHSD\PHQW
                          E  ,IWKLVSROLF\LQVXUHVWKH7LWOHWR/DQGORFDWHGLQDVWDWHLGHQWLILHG
                              LQ6HFWLRQERIWKLVHQGRUVHPHQW
                               L  DOOSD\PHQWVXQGHUWKLVSROLF\H[FHSWSD\PHQWVPDGHIRU
                                   FRVWVDWWRUQH\V¶IHHVDQGH[SHQVHVVKDOOUHGXFHWKH
                                   $JJUHJDWH$PRXQWRI,QVXUDQFH E\WKHDPRXQWRIWKH
                                   SD\PHQWEXW
                               LL  DSD\PHQWPDGHIRUORVVRUGDPDJHRQ/DQGLQVXUHGLQRQH
                                    RIWKHSROLFLHVLGHQWLILHGLQ6HFWLRQRQ/DQGORFDWHGRXWVLGH
                                    WKLVVWDWHVKDOOQRWUHGXFHWKH$JJUHJDWH$PRXQWRI
                                    ,QVXUDQFHLQ6HFWLRQERIWKLVHQGRUVHPHQWXQWLOWKH
                                    $JJUHJDWH$PRXQWRI,QVXUDQFHLQ6HFWLRQDLVUHGXFHG
                                    EHORZWKH $JJUHJDWH$PRXQWRI,QVXUDQFHLQ6HFWLRQE
                          F  +RZHYHUDQ\SD\PHQWVPDGHSULRUWRWKHDFTXLVLWLRQRI7LWOHDV
                              SURYLGHGLQ6HFWLRQRIWKHVH&RQGLWLRQVVKDOOQRWUHGXFHWKH
                              $JJUHJDWH$PRXQWRI,QVXUDQFHDIIRUGHGXQGHUWKLV
                              HQGRUVHPHQWH[FHSWWRWKHH[WHQWWKDWWKHSD\PHQWVUHGXFHWKH
                              ,QGHEWHGQHVV
                          G 7KHYROXQWDU\VDWLVIDFWLRQRUUHOHDVHRIWKH,QVXUHG0RUWJDJHVKDOO
                             WHUPLQDWHDOOOLDELOLW\RIWKH&RPSDQ\XQGHUWKLVSROLF\H[FHSWDV
© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 103 of 807




                               SURYLGHGLQ6HFWLRQRIWKHVH&RQGLWLRQVEXWLWZLOOQRWUHGXFHWKH
                               $JJUHJDWH$PRXQWRI,QVXUDQFHIRUWKHRWKHUSROLFLHVLGHQWLILHGLQ6HFWLRQ
                               RIWKLVHQGRUVHPHQW

 7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW L 
 PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV LLL 
 H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQRI
 WKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLV
 HQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


 >:LWQHVVFODXVHRSWLRQDO@ 
 
 '$7('
 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\
 %<B                     B
     $87+25,=('6,*1$725<




 $/7$(QGRUVHPHQW)RUP
 $JJUHJDWLRQ6WDWH/LPLWV/RDQ   
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 104 of 807


 
                            /($6(+2/'2:1(5¶6$1'/($6(+2/'/2$1
                              $/7$  $1'  


 7KH $/7$ (QGRUVHPHQW )RUPV  DQG  ZHUH FUHDWHG WR EH DWWDFKHG WR WKH $/7$

 2ZQHU¶V 3ROLF\ DQG $/7$ /RDQ 3ROLF\ UHVSHFWLYHO\ 7KH\ ZHUH UHYLVHG $SULO   7KH\ DUH

 LQWHQGHGWREHXVHGHLWKHUZLWKSROLFLHVFRYHULQJRQO\ /HDVHKROG (VWDWHVRUIRUWKRVHWKDWLQVXUH

 ERWK/HDVHKROG(VWDWHVDQGWKHRZQHUVKLSRILPSURYHPHQWVORFDWHGRQWKHP


 




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 105 of 807


(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB          
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\


  $VXVHGLQWKLVHQGRUVHPHQWWKHIROORZLQJWHUPVVKDOOPHDQ

      D (YLFWHGRU(YLFWLRQ D WKHODZIXOGHSULYDWLRQLQZKROHRULQSDUWRIWKHULJKWRI
          SRVVHVVLRQLQVXUHGE\WKLVSROLF\FRQWUDU\WRWKHWHUPVRIWKH/HDVHRU E WKHODZIXO
          SUHYHQWLRQRIWKHXVHRIWKH/DQGRUWKH7HQDQW/HDVHKROG,PSURYHPHQWVIRUWKH
          SXUSRVHVSHUPLWWHGE\WKH/HDVHLQHLWKHUFDVHDVDUHVXOWRIDPDWWHUFRYHUHGE\WKLV
          SROLF\
      E /HDVHWKHOHDVHGHVFULEHGLQ6FKHGXOH$
      F /HDVHKROG(VWDWHWKHULJKWRISRVVHVVLRQJUDQWHGLQWKH/HDVHIRUWKH/HDVH7HUP
      G /HDVH7HUPWKHGXUDWLRQRIWKH/HDVHKROG(VWDWHDVVHWIRUWKLQWKH/HDVHLQFOXGLQJ
          DQ\UHQHZDORUH[WHQGHGWHUPLIDYDOLGRSWLRQWRUHQHZRUH[WHQGLVFRQWDLQHGLQWKH
          /HDVH
      H 3HUVRQDO3URSHUW\ SURSHUW\LQZKLFKDQGWRWKHH[WHQWWKH,QVXUHGKDVULJKWVORFDWHG
          RQRUDIIL[HGWRWKH/DQGRQRUDIWHU'DWHRI3ROLF\WKDWE\ODZGRHVQRWFRQVWLWXWHUHDO
          SURSHUW\EHFDXVH L RILWVFKDUDFWHUDQGPDQQHURIDWWDFKPHQWWRWKH/DQGDQG LL WKH
          SURSHUW\FDQEHVHYHUHGIURPWKH/DQGZLWKRXWFDXVLQJPDWHULDOGDPDJHWRLWRUWRWKH
          /DQG
      I 5HPDLQLQJ/HDVH7HUPWKHSRUWLRQRIWKH/HDVH7HUPUHPDLQLQJDIWHUWKH,QVXUHGKDV
          EHHQ(YLFWHG
      J 7HQDQW/HDVHKROG,PSURYHPHQWV7KRVHLPSURYHPHQWVLQZKLFKDQGWRWKHH[WHQWWKH
          ,QVXUHGKDVULJKWVLQFOXGLQJODQGVFDSLQJUHTXLUHGRUSHUPLWWHGWREHEXLOWRQWKH/DQGE\
          WKH/HDVHWKDWKDYHEHHQEXLOWDWWKH,QVXUHG VH[SHQVHRULQZKLFKWKH,QVXUHGKDVDQ
          LQWHUHVWJUHDWHUWKDQWKHULJKWWRSRVVHVVLRQGXULQJWKH/HDVH7HUP

  9DOXDWLRQRI(VWDWHRU,QWHUHVW,QVXUHG

 ,ILQFRPSXWLQJORVVRUGDPDJHLWEHFRPHVQHFHVVDU\WRYDOXHWKH7LWOHRUDQ\SRUWLRQRILWDVWKH
 UHVXOWRIDQ(YLFWLRQRIWKH,QVXUHGWKHQDVWRWKDWSRUWLRQRIWKH/DQGIURPZKLFKWKH,QVXUHGLV
 (YLFWHGWKDWYDOXHVKDOOFRQVLVWRIWKHYDOXHIRUWKH5HPDLQLQJ/HDVH7HUPRIWKH/HDVHKROG
 (VWDWHDQGDQ\7HQDQW/HDVHKROG,PSURYHPHQWVH[LVWLQJRQWKHGDWHRIWKH(YLFWLRQ 7KH
 ,QVXUHG&ODLPDQWVKDOOKDYHWKHULJKWWRKDYHWKH/HDVHKROG(VWDWHDQGWKH7HQDQW/HDVHKROG
 ,PSURYHPHQWVDIIHFWHGE\DGHIHFWLQVXUHGDJDLQVWE\WKHSROLF\YDOXHGHLWKHUDVDZKROHRU
 VHSDUDWHO\ ,QHLWKHUHYHQWWKLVGHWHUPLQDWLRQRIYDOXHVKDOOWDNHLQWRDFFRXQWUHQWQRORQJHU
 UHTXLUHGWREHSDLGIRUWKH5HPDLQLQJ/HDVH7HUP

  $GGLWLRQDOLWHPVRIORVVFRYHUHGE\WKLVHQGRUVHPHQW

 ,IWKH,QVXUHGLV(YLFWHGWKHIROORZLQJLWHPVRIORVVLIDSSOLFDEOHWRWKDWSRUWLRQRIWKH/DQGIURP
 ZKLFKWKH,QVXUHGLV(YLFWHGVKDOOEHLQFOXGHGZLWKRXWGXSOLFDWLRQLQFRPSXWLQJORVVRUGDPDJH
 LQFXUUHGE\WKH,QVXUHGEXWQRWWRWKHH[WHQWWKDWWKHVDPHDUHLQFOXGHGLQWKHYDOXDWLRQRIWKH
 7LWOHGHWHUPLQHGSXUVXDQWWR6HFWLRQRIWKLVHQGRUVHPHQWDQ\RWKHUHQGRUVHPHQWWRWKHSROLF\
 RU6HFWLRQ D LL RIWKH&RQGLWLRQV

      D 7KHUHDVRQDEOHFRVWRI L UHPRYLQJDQGUHORFDWLQJDQ\3HUVRQDO3URSHUW\WKDWWKH
          ,QVXUHGKDVWKHULJKWWRUHPRYHDQGUHORFDWHVLWXDWHGRQWKH/DQGDWWKHWLPHRI
          (YLFWLRQ LL WUDQVSRUWDWLRQRIWKDW3HUVRQDO3URSHUW\IRUWKHLQLWLDORQHKXQGUHGPLOHV
          LQFXUUHGLQFRQQHFWLRQZLWKWKHUHORFDWLRQ LLL UHSDLULQJWKH3HUVRQDO3URSHUW\GDPDJHG
          E\UHDVRQRI WKHUHPRYDODQGUHORFDWLRQDQG LY UHVWRULQJWKH /DQG WRWKHH[WHQW
          GDPDJHGDVDUHVXOWRIWKHUHPRYDODQGUHORFDWLRQRIWKH3HUVRQDO3URSHUW\DQGUHTXLUHG
          RIWKH,QVXUHGVROHO\EHFDXVHRIWKH(YLFWLRQ


© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 106 of 807




      E 5HQWRUGDPDJHVIRUXVHDQGRFFXSDQF\RIWKH/DQGSULRUWRWKH(YLFWLRQWKDWWKH,QVXUHG
          DVRZQHURIWKH/HDVHKROG(VWDWHPD\EHREOLJDWHGWRSD\WRDQ\SHUVRQKDYLQJ
          SDUDPRXQWWLWOHWRWKDWRIWKHOHVVRULQWKH/HDVH

      F 7KHDPRXQWRIUHQWWKDWE\WKHWHUPVRIWKH/HDVHWKH,QVXUHGPXVWFRQWLQXHWRSD\WR
          WKHOHVVRUDIWHU(YLFWLRQZLWKUHVSHFWWRWKHSRUWLRQRIWKH/HDVHKROG(VWDWHDQG7HQDQW
          /HDVHKROG,PSURYHPHQWVIURPZKLFKWKH,QVXUHGKDVEHHQ(YLFWHG

      G 7KHIDLUPDUNHWYDOXHDWWKHWLPHRIWKH(YLFWLRQRIWKHHVWDWHRULQWHUHVWRIWKH,QVXUHGLQ
          DQ\OHDVHRUVXEOHDVHSHUPLWWHGE\WKH/HDVHDQGPDGHE\,QVXUHGDVOHVVRURIDOORU
          SDUWRIWKH/HDVHKROG(VWDWHRUWKH7HQDQW/HDVHKROG,PSURYHPHQWV

      H 'DPDJHVFDXVHGE\WKH(YLFWLRQWKDWWKH,QVXUHGLVREOLJDWHGWRSD\WROHVVHHVRU
          VXEOHVVHHVRQDFFRXQWRIWKHEUHDFKRIDQ\OHDVHRUVXEOHDVHSHUPLWWHGE\WKH/HDVH
          DQGPDGHE\WKH,QVXUHGDVOHVVRURIDOORUSDUWRIWKH/HDVHKROG(VWDWHRUWKH7HQDQW
          /HDVHKROG,PSURYHPHQWV

      I 7KHUHDVRQDEOHFRVWWRREWDLQODQGXVH]RQLQJEXLOGLQJDQGRFFXSDQF\SHUPLWV
          DUFKLWHFWXUDODQGHQJLQHHULQJVHUYLFHVDQGHQYLURQPHQWDOWHVWLQJDQGUHYLHZVIRU
          OHDVHKROGUHDVRQDEO\HTXLYDOHQWWRWKH/HDVHKROG(VWDWH

      J ,I7HQDQW/HDVHKROG,PSURYHPHQWVDUHQRWVXEVWDQWLDOO\FRPSOHWHGDWWKHWLPHRI
          (YLFWLRQWKHDFWXDOFRVWLQFXUUHGE\WKH,QVXUHGOHVVWKHVDOYDJHYDOXHIRUWKH7HQDQW
          /HDVHKROG,PSURYHPHQWVXSWRWKHWLPHRI(YLFWLRQ 7KRVHFRVWVLQFOXGHFRVWVLQFXUUHG
          WRREWDLQODQGXVH]RQLQJEXLOGLQJDQGRFFXSDQF\SHUPLWVDUFKLWHFWXUDODQGHQJLQHHULQJ
          VHUYLFHVFRQVWUXFWLRQPDQDJHPHQWVHUYLFHVHQYLURQPHQWDOWHVWLQJDQGUHYLHZVDQG
          ODQGVFDSLQJ
  7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVGDPDJHRUFRVWVRIUHPHGLDWLRQ DQGWKH
 &RPSDQ\ZLOOQRWSD\FRVWDWWRUQH\V¶IHHVRUH[SHQVHV UHVXOWLQJIURPHQYLURQPHQWDOGDPDJHRU
 FRQWDPLQDWLRQ

 7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW
  L PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
 RIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLV
 HQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


 >:LWQHVVFODXVHRSWLRQDO@


 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\

 %<                           B                

 $/7$(QGRUVHPHQW)RUP
 /HDVHKROG±2ZQHUV  5HY 
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 107 of 807


(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB          
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\

        
        $VXVHGLQWKLVHQGRUVHPHQWWKHIROORZLQJWHUPVVKDOOPHDQ

           D       (YLFWHGRU(YLFWLRQ D WKHODZIXOGHSULYDWLRQLQZKROHRULQSDUWRIWKHULJKWRI
                     SRVVHVVLRQ LQVXUHG E\ WKLV SROLF\ FRQWUDU\ WR WKH WHUPV RI WKH /HDVH RU E  WKH
                     ODZIXOSUHYHQWLRQRI WKHXVHRI WKH/DQGRUWKH7HQDQW/HDVHKROG,PSURYHPHQWV
                     IRU WKH SXUSRVHV SHUPLWWHG E\ WKH /HDVH LQ HLWKHU FDVH DV D UHVXOW RI D PDWWHU
                     FRYHUHGE\WKLVSROLF\
           E        /HDVHWKHOHDVHGHVFULEHGLQ6FKHGXOH$
           F       /HDVHKROG (VWDWH WKH ULJKW RI SRVVHVVLRQ JUDQWHG LQ WKH /HDVH IRU WKH /HDVH
                     7HUP
           G       /HDVH 7HUP WKH GXUDWLRQ RI WKH /HDVHKROG (VWDWH DV VHW IRUWK LQ WKH /HDVH
                     LQFOXGLQJ DQ\ UHQHZDO RU H[WHQGHG WHUP LI D YDOLG RSWLRQ WR UHQHZ RU H[WHQG LV
                     FRQWDLQHGLQWKH/HDVH
           H       3HUVRQDO3URSHUW\ SURSHUW\LQ ZKLFKDQGWR WKH H[WHQWWKH ,QVXUHGKDV ULJKWV
                     ORFDWHGRQRUDIIL[HGWRWKH/DQGRQRUDIWHU'DWHRI3ROLF\WKDWE\ODZGRHVQRW
                     FRQVWLWXWHUHDOSURSHUW\EHFDXVH L RILWVFKDUDFWHUDQGPDQQHURIDWWDFKPHQWWR
                     WKH /DQG DQG LL  WKH SURSHUW\ FDQ EH VHYHUHG IURP WKH /DQG ZLWKRXW FDXVLQJ
                     PDWHULDOGDPDJHWRWKHSURSHUW\RUWRWKH/DQG
           I       5HPDLQLQJ /HDVH 7HUP WKH SRUWLRQ RI WKH /HDVH 7HUP UHPDLQLQJ DIWHU WKH
                     7HQDQWKDVEHHQ(YLFWHG
           J       7HQDQW WKH WHQDQW XQGHU WKH /HDVH DQG DIWHU DFTXLVLWLRQ RI DOO RU DQ\ SDUW RI
                     WKH7LWOH LQDFFRUGDQFH ZLWKWKH SURYLVLRQV RI 6HFWLRQ RI WKH&RQGLWLRQV RI WKH
                     SROLF\WKH,QVXUHG&ODLPDQW
           K       7HQDQW /HDVHKROG ,PSURYHPHQWV 7KRVH LPSURYHPHQWV LQ ZKLFK DQG WR WKH
                     H[WHQWWKH ,QVXUHG KDV ULJKWV LQFOXGLQJ ODQGVFDSLQJUHTXLUHG RU SHUPLWWHG WR EH
                     EXLOWRQWKH/DQGE\WKH/HDVHWKDWKDYHEHHQEXLOWDWWKH7HQDQW¶VH[SHQVHRULQ
                     ZKLFKWKH7HQDQWKDVDQ LQWHUHVWJUHDWHUWKDQWKHULJKWWRSRVVHVVLRQGXULQJWKH
                     /HDVH7HUP

       9DOXDWLRQRI(VWDWHRU,QWHUHVW,QVXUHG

  ,ILQFRPSXWLQJORVVRUGDPDJHLWEHFRPHVQHFHVVDU\WRYDOXHWKH7LWOHRUDQ\SRUWLRQRILWDV
  WKHUHVXOWRIDQ(YLFWLRQRIWKH7HQDQWWKHQDVWRWKDWSRUWLRQRIWKH/DQGIURPZKLFKWKH7HQDQW
  LV(YLFWHGWKDWYDOXHVKDOOFRQVLVWRIWKHYDOXHIRUWKH5HPDLQLQJ/HDVH7HUPRIWKH/HDVHKROG
  (VWDWH DQG DQ\ 7HQDQW /HDVHKROG ,PSURYHPHQWV H[LVWLQJ RQ WKH GDWH RI WKH (YLFWLRQ 7KH
  ,QVXUHG &ODLPDQW VKDOO KDYH WKH ULJKW WR KDYH WKH /HDVHKROG (VWDWH DQG WKH 7HQDQW /HDVHKROG
  ,PSURYHPHQWV DIIHFWHG E\ D GHIHFW LQVXUHG DJDLQVW E\ WKH SROLF\ YDOXHG HLWKHU DV D ZKROH RU
  VHSDUDWHO\ ,Q HLWKHU HYHQW WKLV GHWHUPLQDWLRQ RI YDOXH VKDOO WDNH LQWR DFFRXQW UHQW QR ORQJHU
  UHTXLUHGWREHSDLGIRUWKH5HPDLQLQJ/HDVH7HUP

       $GGLWLRQDOLWHPVRIORVVFRYHUHGE\WKLVHQGRUVHPHQW

  ,IWKH,QVXUHGDFTXLUHVDOORUDQ\SDUWRIWKH7LWOHLQDFFRUGDQFHZLWKWKHSURYLVLRQVRI6HFWLRQ
  RIWKH&RQGLWLRQVRIWKLVSROLF\DQGWKHUHDIWHULV(YLFWHGWKHIROORZLQJLWHPVRIORVVLIDSSOLFDEOH
  WR WKDW SRUWLRQ RI WKH /DQG IURP ZKLFK WKH ,QVXUHG LV (YLFWHG VKDOO EH LQFOXGHG ZLWKRXW
  GXSOLFDWLRQLQFRPSXWLQJORVVRUGDPDJHLQFXUUHGE\WKH,QVXUHGEXWQRWWRWKHH[WHQWWKDWWKH
  VDPH DUH LQFOXGHG LQ WKH YDOXDWLRQ RI WKH 7LWOH GHWHUPLQHG SXUVXDQW WR 6HFWLRQ  RI WKLV
  HQGRUVHPHQWDQ\RWKHUHQGRUVHPHQWWRWKHSROLF\RU6HFWLRQ D LLL RIWKH&RQGLWLRQV

           D       7KH UHDVRQDEOH FRVW RI L  UHPRYLQJ DQG UHORFDWLQJ DQ\ 3HUVRQDO 3URSHUW\ WKDW
                     WKH,QVXUHGKDVWKHULJKWWRUHPRYHDQGUHORFDWHVLWXDWHGRQWKH/DQGDWWKHWLPH

© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 108 of 807




                     RI(YLFWLRQ LL WUDQVSRUWDWLRQRIWKDW3HUVRQDO3URSHUW\IRUWKHLQLWLDORQHKXQGUHG
                     PLOHV LQFXUUHG LQ FRQQHFWLRQ ZLWK WKH UHORFDWLRQ LLL  UHSDLULQJ WKH 3HUVRQDO
                     3URSHUW\GDPDJHGE\UHDVRQRIWKHUHPRYDODQGUHORFDWLRQDQG LY UHVWRULQJWKH
                     /DQG WR WKH H[WHQW GDPDJHG DV D UHVXOW RI WKH UHPRYDO DQG UHORFDWLRQ RI WKH
                     3HUVRQDO3URSHUW\DQGUHTXLUHGRIWKH,QVXUHGVROHO\EHFDXVHRIWKH(YLFWLRQ

           E       5HQWRUGDPDJHVIRUXVHDQGRFFXSDQF\RIWKH/DQGSULRUWRWKH(YLFWLRQWKDWWKH
                     ,QVXUHGDVRZQHURIWKH/HDVHKROG(VWDWHPD\EHREOLJDWHGWRSD\WRDQ\SHUVRQ
                     KDYLQJSDUDPRXQWWLWOHWRWKDWRIWKHOHVVRULQWKH/HDVH

           F       7KHDPRXQWRIUHQWWKDWE\WKHWHUPVRIWKH/HDVHWKH,QVXUHGPXVWFRQWLQXHWR
                     SD\WRWKHOHVVRUDIWHU(YLFWLRQZLWKUHVSHFWWRWKHSRUWLRQRIWKH/HDVHKROG(VWDWH
                     DQG7HQDQW/HDVHKROG,PSURYHPHQWVIURPZKLFKWKH,QVXUHGKDVEHHQ(YLFWHG

           G       7KHIDLUPDUNHWYDOXHDWWKHWLPHRI WKH(YLFWLRQRIWKHHVWDWHRULQWHUHVWRIWKH
                     ,QVXUHGLQDQ\OHDVHRUVXEOHDVHSHUPLWWHGE\WKH/HDVHDQGPDGHE\7HQDQWDV
                     OHVVRU RI DOO RU SDUW RI WKH /HDVHKROG (VWDWH RU WKH 7HQDQW /HDVHKROG
                     ,PSURYHPHQWV

           H       'DPDJHVFDXVHGE\WKH(YLFWLRQ WKDW WKH ,QVXUHG LV REOLJDWHG WRSD\WR OHVVHHV
                     RU VXEOHVVHHV RQ DFFRXQW RI WKH EUHDFK RI DQ\ OHDVH RU VXEOHDVH SHUPLWWHG E\
                     WKH /HDVH DQG PDGH E\ WKH 7HQDQW DV OHVVRU RI DOO RU SDUW RI WKH /HDVHKROG
                     (VWDWHRUWKH7HQDQW/HDVHKROG,PSURYHPHQWV

           I       7KHUHDVRQDEOHFRVWWRREWDLQODQGXVH]RQLQJEXLOGLQJDQGRFFXSDQF\SHUPLWV
                     DUFKLWHFWXUDODQGHQJLQHHULQJVHUYLFHVDQGHQYLURQPHQWDOWHVWLQJDQGUHYLHZVIRU
                     DUHSODFHPHQWOHDVHKROGUHDVRQDEO\HTXLYDOHQWWRWKH/HDVHKROG(VWDWH

           J       ,I7HQDQW/HDVHKROG,PSURYHPHQWVDUHQRWVXEVWDQWLDOO\FRPSOHWHGDWWKHWLPHRI
                     (YLFWLRQ WKH DFWXDO FRVW LQFXUUHG E\WKH ,QVXUHG OHVV WKH VDOYDJH YDOXH IRU WKH
                     7HQDQW/HDVHKROG,PSURYHPHQWVXSWRWKHWLPHRI(YLFWLRQ7KRVHFRVWVLQFOXGH
                     FRVWV LQFXUUHG WR REWDLQ ODQG XVH ]RQLQJ EXLOGLQJ DQG RFFXSDQF\ SHUPLWV
                     DUFKLWHFWXUDO DQG HQJLQHHULQJ VHUYLFHV FRQVWUXFWLRQ PDQDJHPHQW VHUYLFHV
                     HQYLURQPHQWDOWHVWLQJDQGUHYLHZVDQGODQGVFDSLQJ

    7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVGDPDJHVRUFRVWVRIUHPHGLDWLRQ DQGWKH
 &RPSDQ\ZLOOQRWSD\FRVWDWWRUQH\V¶IHHVRUH[SHQVHV UHVXOWLQJIURPHQYLURQPHQWDOGDPDJHRU
 FRQWDPLQDWLRQ

 7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
 RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
 HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

 >:LWQHVVFODXVHRSWLRQDO@
 '$7('
 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\
 %<B                     B
     $87+25,=('6,*1$725<
  


 $/7$(QGRUVHPHQW)RUP
 /HDVHKROG±/RDQ  5HY 
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ


© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 109 of 807


     )8785($'9$1&(6$/7$(1'256(0(17±)2506    
                    DQG WHFKFRUUHFWLRQ 
 
 7KHVHHQGRUVHPHQWVDIILUPDWLYHO\LQVXUHWKHSULRULW\DQGHQIRUFHDELOLW\RIWKHOLHQRIWKH,QVXUHG
 0RUWJDJHZLWKUHVSHFWWRIXWXUHDGYDQFHVDQGUHSD\PHQWVDQGUHDGYDQFHVRI,QGHEWHGQHVV,Q
 DGGLWLRQ WKH\ LQFOXGH FRYHUDJH IRU WKH FRQVHTXHQFHV RI D YDULDEOH UDWH LQFOXGLQJ SRVVLEOH
 QHJDWLYHDPRUWL]DWLRQ RULQWHUHVWRQLQWHUHVW DVGLVFXVVHGDERYHLQWKH$/7$HQGRUVHPHQW
 VHFWLRQ7KHVHHQGRUVHPHQWVDOVRFRYHUWKHHIIHFWRQWKHSULRULW\DQGHQIRUFHDELOLW\RIWKH,QVXUHG
 0RUWJDJH RI WKH ,QGHEWHGQHVV KDYLQJ EHHQ UHGXFHG WR ]HUR EHIRUH EHLQJ LQFUHDVHG E\
 VXEVHTXHQWDGYDQFHV ³]HUREDODQFH´ DQGVWDWHODZUHTXLUHPHQWVWRVHFXUHWKHVHDGYDQFHVQRW
 KDYLQJEHHQPHW8QLTXHWRWKH 5HYHUVH0RUWJDJHV LVDGGLWLRQDOFRYHUDJHIRUIDLOXUHRI
 WKH,QVXUHG0RUWJDJHWRVWDWHDWHUPRUPD[LPXPGROODUDPRXQWDQGIDLOXUHRIWKHPRUWJDJRUVWR
 EHDWOHDVW\HDUVROG
 

 




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 110 of 807


(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB          
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\


        7KHLQVXUDQFHIRU$GYDQFHVDGGHGE\6HFWLRQVDQGRIWKLVHQGRUVHPHQWLVVXEMHFWWR
           WKHH[FOXVLRQVLQ6HFWLRQRIWKLVHQGRUVHPHQWDQGWKH([FOXVLRQVIURP&RYHUDJHLQWKH
           3ROLF\ H[FHSW ([FOXVLRQ  G  WKH SURYLVLRQV RI WKH &RQGLWLRQV DQG WKH H[FHSWLRQV
           FRQWDLQHGLQ6FKHGXOH%

           D       $JUHHPHQW DV XVHG LQ WKLV HQGRUVHPHQW VKDOO PHDQ WKH QRWH RU ORDQ
                     DJUHHPHQW WKH UHSD\PHQW RI $GYDQFHV XQGHU ZKLFK LV VHFXUHG E\ WKH ,QVXUHG
                     0RUWJDJH

           E       $GYDQFHDVXVHGLQWKLVHQGRUVHPHQWVKDOOPHDQRQO\DQDGYDQFHRISULQFLSDO
                     PDGHDIWHUWKH'DWHRI3ROLF\DVSURYLGHGLQWKH$JUHHPHQWLQFOXGLQJH[SHQVHV
                     RIIRUHFORVXUHDPRXQWVDGYDQFHGSXUVXDQWWRWKH,QVXUHG0RUWJDJHWRSD\WD[HV
                     DQGLQVXUDQFHDVVXUHFRPSOLDQFHZLWKODZVRUWRSURWHFWWKHOLHQRIWKH,QVXUHG
                     0RUWJDJH EHIRUH WKH WLPH RI DFTXLVLWLRQ RI WKH 7LWOH DQG UHDVRQDEOH DPRXQWV
                     H[SHQGHG WR SUHYHQW GHWHULRUDWLRQ RI LPSURYHPHQWV WRJHWKHU ZLWK LQWHUHVW RQ
                     WKRVHDGYDQFHV

           F       ³&KDQJHV LQ WKH UDWH RI LQWHUHVW´ DV XVHG LQ WKLV HQGRUVHPHQW VKDOOPHDQ RQO\
                     WKRVHFKDQJHVLQWKHUDWHRILQWHUHVWFDOFXODWHGSXUVXDQWWRDIRUPXODSURYLGHGLQ
                     WKH,QVXUHG0RUWJDJHRUWKH$JUHHPHQWDW'DWHRI3ROLF\

        7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI

           D       7KHLQYDOLGLW\RU XQHQIRUFHDELOLW\RI WKHOLHQRI WKH,QVXUHG 0RUWJDJHDV VHFXULW\
                     IRUHDFK$GYDQFH

           E       7KH ODFN RI SULRULW\ RI WKH OLHQ RI WKH ,QVXUHG 0RUWJDJH DV VHFXULW\ IRU HDFK
                     $GYDQFHRYHUDQ\OLHQRUHQFXPEUDQFHRQWKH7LWOH

           F       7KH LQYDOLGLW\ RU XQHQIRUFHDELOLW\ RU ODFN RI SULRULW\ RI WKH OLHQ RI WKH ,QVXUHG
                     0RUWJDJH DV VHFXULW\ IRU WKH ,QGHEWHGQHVV $GYDQFHV DQG XQSDLG LQWHUHVW
                     UHVXOWLQJ IURP L  UH$GYDQFHV DQG UHSD\PHQWV RI ,QGHEWHGQHVV LL  HDUOLHU
                     SHULRGVRIQRLQGHEWHGQHVVRZLQJGXULQJWKHWHUPRIWKH,QVXUHG0RUWJDJHRU LLL 
                     WKH ,QVXUHG 0RUWJDJH QRW FRPSO\LQJ ZLWK WKH UHTXLUHPHQWV RI VWDWH ODZ RI WKH
                     VWDWHLQZKLFKWKH/DQGLVORFDWHGWRVHFXUH$GYDQFHV

        7KH &RPSDQ\DOVR LQVXUHV DJDLQVW ORVV RU GDPDJH VXVWDLQHG E\WKH ,QVXUHG E\ UHDVRQ
           RI

           D       7KH LQYDOLGLW\ RU XQHQIRUFHDELOLW\ RI WKH OLHQ RI WKH ,QVXUHG 0RUWJDJH UHVXOWLQJ
                     IURP DQ\SURYLVLRQV RI WKH $JUHHPHQWWKDWSURYLGH IRU L LQWHUHVWRQLQWHUHVW LL 
                     FKDQJHV LQ WKH UDWH RI LQWHUHVW RU LLL  WKH DGGLWLRQ RI XQSDLG LQWHUHVW WR WKH
                     ,QGHEWHGQHVV

           E       /DFN RI SULRULW\ RI WKH OLHQ RI WKH ,QVXUHG 0RUWJDJH DV VHFXULW\ IRU WKH
                     ,QGHEWHGQHVV LQFOXGLQJ DQ\ XQSDLG LQWHUHVW WKDW ZDV DGGHG WR SULQFLSDO LQ
                     DFFRUGDQFHZLWKDQ\SURYLVLRQVRIWKH$JUHHPHQWLQWHUHVWRQLQWHUHVWRULQWHUHVW
                     DV FKDQJHG LQ DFFRUGDQFH ZLWK WKH SURYLVLRQV RI WKH ,QVXUHG 0RUWJDJH ZKLFK
                     ODFN RI SULRULW\ LV FDXVHG E\ L  FKDQJHV LQ WKH UDWH RI LQWHUHVW LL  LQWHUHVW RQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 111 of 807




                     LQWHUHVW RU LLL  LQFUHDVHVLQ WKH ,QGHEWHGQHVV UHVXOWLQJ IURPWKH DGGLWLRQ RI
                     XQSDLGLQWHUHVW

        7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJH DQGWKH&RPSDQ\ZLOOQRWSD\
           FRVWVDWWRUQH\V IHHVRUH[SHQVHV UHVXOWLQJIURP

           D       7KH LQYDOLGLW\ XQHQIRUFHDELOLW\ RU ODFN RI SULRULW\ RI WKH OLHQ RI WKH ,QVXUHG
                     0RUWJDJHDVVHFXULW\IRUDQ\$GYDQFHPDGHDIWHUD3HWLWLRQIRU5HOLHI XQGHUWKH
                     %DQNUXSWF\&RGH 86& KDVEHHQILOHGE\RURQEHKDOIRIWKHPRUWJDJRU

           E       7KH OLHQ RI UHDO HVWDWH WD[HV RU DVVHVVPHQWV RQ WKH 7LWOH LPSRVHG E\
                     JRYHUQPHQWDODXWKRULW\DULVLQJDIWHU'DWHRI3ROLF\

           F       7KH ODFNRI SULRULW\ RI WKH OLHQ RI WKH ,QVXUHG 0RUWJDJH DV VHFXULW\ IRU DQ\
                     $GYDQFHWRDIHGHUDOWD[OLHQZKLFK$GYDQFHLVPDGHDIWHUWKHHDUOLHURI L DFWXDO
                     NQRZOHGJHRIWKH,QVXUHGWKDWDIHGHUDOWD[OLHQ ZDVILOHGDJDLQVWWKHPRUWJDJRU
                     RU LL WKHH[SLUDWLRQDIWHUQRWLFHRIDIHGHUDOWD[OLHQILOHGDJDLQVWWKHPRUWJDJRU
                     RI DQ\ JUDFH SHULRG IRU PDNLQJ GLVEXUVHPHQWV ZLWK SULRULW\ RYHU WKH IHGHUDO WD[
                     OLHQSURYLGHGLQWKH,QWHUQDO5HYHQXH&RGH 86& 

           G       $Q\IHGHUDORUVWDWHHQYLURQPHQWDOSURWHFWLRQOLHQ>RU@

           H       8VXU\RUDQ\FRQVXPHUFUHGLWSURWHFWLRQRUWUXWKLQOHQGLQJODZ>RU

           I       $Q\PHFKDQLF¶VRUPDWHULDOPHQ¶VOLHQ@

        7KH,QGHEWHGQHVVLQFOXGHV$GYDQFHV

           7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
 RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
 HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


 >:LWQHVVFODXVHRSWLRQDO@

 '$7('
 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\
 %<B                   B
     $87+25,=('6,*1$725<




 $/7$(QGRUVHPHQW)RUP
 )XWXUH$GYDQFH3ULRULW\  5HY 
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 112 of 807



(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB          
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\


        7KHLQVXUDQFHIRU$GYDQFHVDGGHGE\6HFWLRQVDQGRIWKLVHQGRUVHPHQWLVVXEMHFWWR
           WKHH[FOXVLRQVLQ6HFWLRQRIWKLVHQGRUVHPHQWDQGWKH([FOXVLRQVIURP&RYHUDJHLQWKH
           3ROLF\ H[FHSW ([FOXVLRQ  G  WKH SURYLVLRQV RI WKH &RQGLWLRQV DQG WKH H[FHSWLRQV
           FRQWDLQHGLQ6FKHGXOH%

           D       $JUHHPHQW DV XVHG LQ WKLV HQGRUVHPHQW VKDOO PHDQ WKH QRWH RU ORDQ
                     DJUHHPHQW WKH UHSD\PHQW RI $GYDQFHV XQGHU ZKLFK LV VHFXUHG E\ WKH ,QVXUHG
                     0RUWJDJH

           E       $GYDQFHDVXVHGLQWKLVHQGRUVHPHQWVKDOOPHDQRQO\DQDGYDQFHRISULQFLSDO
                     PDGHDIWHUWKH'DWHRI3ROLF\DVSURYLGHGLQWKH$JUHHPHQWLQFOXGLQJH[SHQVHV
                     RIIRUHFORVXUHDPRXQWVDGYDQFHGSXUVXDQWWRWKH,QVXUHG0RUWJDJHWRSD\WD[HV
                     DQGLQVXUDQFHDVVXUHFRPSOLDQFHZLWKODZVRUWRSURWHFWWKHOLHQRIWKH,QVXUHG
                     0RUWJDJH EHIRUH WKH WLPH RI DFTXLVLWLRQ RI WKH 7LWOH DQG UHDVRQDEOH DPRXQWV
                     H[SHQGHG WR SUHYHQW GHWHULRUDWLRQ RI LPSURYHPHQWV WRJHWKHU ZLWK LQWHUHVW RQ
                     WKRVHDGYDQFHV

           F       ³&KDQJHV LQ WKH UDWH RI LQWHUHVW´ DV XVHG LQ WKLV HQGRUVHPHQW VKDOOPHDQ RQO\
                     WKRVHFKDQJHVLQWKHUDWHRILQWHUHVWFDOFXODWHGSXUVXDQWWRDIRUPXODSURYLGHGLQ
                     WKH,QVXUHG0RUWJDJHRUWKH$JUHHPHQWDW'DWHRI3ROLF\

        7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI

           D       7KHLQYDOLGLW\RU XQHQIRUFHDELOLW\RI WKHOLHQRI WKH,QVXUHG 0RUWJDJHDV VHFXULW\
                     IRUHDFK$GYDQFH

           E       7KH ODFN RI SULRULW\ RI WKH OLHQ RI WKH ,QVXUHG 0RUWJDJH DV VHFXULW\ IRU HDFK
                     $GYDQFHRYHUDQ\OLHQRUHQFXPEUDQFHRQWKH7LWOH

           F       7KH LQYDOLGLW\ RU XQHQIRUFHDELOLW\ RU ODFN RI SULRULW\ RI WKH OLHQ RI WKH ,QVXUHG
                     0RUWJDJH DV VHFXULW\ IRU WKH ,QGHEWHGQHVV $GYDQFHV DQG XQSDLG LQWHUHVW
                     UHVXOWLQJ IURP L  UH$GYDQFHV DQG UHSD\PHQWV RI ,QGHEWHGQHVV LL  HDUOLHU
                     SHULRGVRIQR,QGHEWHGQHVVRZLQJGXULQJWKHWHUPRIWKH,QVXUHG0RUWJDJHRU LLL 
                     WKH ,QVXUHG 0RUWJDJH QRW FRPSO\LQJ ZLWK WKH UHTXLUHPHQWV RI VWDWH ODZ RI WKH
                     VWDWHLQZKLFKWKH/DQGLVORFDWHGWRVHFXUH$GYDQFHV

        7KH&RPSDQ\DOVRLQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQ
           RI

           D       7KH LQYDOLGLW\ RU XQHQIRUFHDELOLW\ RI WKH OLHQ RI WKH ,QVXUHG 0RUWJDJH UHVXOWLQJ
                     IURP DQ\SURYLVLRQV RI WKH $JUHHPHQWWKDWSURYLGH IRU L LQWHUHVWRQLQWHUHVW LL 
                     FKDQJHV LQ WKH UDWH RI LQWHUHVW RU LLL  WKH DGGLWLRQ RI XQSDLG LQWHUHVW WR WKH
                     ,QGHEWHGQHVV

           E       /DFN RI SULRULW\ RI WKH OLHQ RI WKH ,QVXUHG 0RUWJDJH DV VHFXULW\ IRU WKH
                     ,QGHEWHGQHVV LQFOXGLQJ DQ\ XQSDLG LQWHUHVW WKDW ZDV DGGHG WR SULQFLSDO LQ
                     DFFRUGDQFHZLWKDQ\SURYLVLRQVRIWKH$JUHHPHQWLQWHUHVWRQLQWHUHVWRULQWHUHVW
                     DV FKDQJHG LQ DFFRUGDQFH ZLWK WKH SURYLVLRQV RI WKH ,QVXUHG 0RUWJDJH ZKLFK



© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 113 of 807




                     ODFN RI SULRULW\ LV FDXVHG E\ L  FKDQJHV LQ WKH UDWH RI LQWHUHVW LL  LQWHUHVW RQ
                     LQWHUHVW RU LLL  LQFUHDVHVLQ WKH ,QGHEWHGQHVV UHVXOWLQJ IURPWKH DGGLWLRQ RI
                     XQSDLGLQWHUHVW

        7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJH DQGWKH&RPSDQ\ZLOOQRWSD\
           FRVWVDWWRUQH\V¶IHHVRUH[SHQVHV UHVXOWLQJIURP

           D       7KH LQYDOLGLW\ XQHQIRUFHDELOLW\ RU ODFN RI SULRULW\ RI WKH OLHQ RI WKH ,QVXUHG
                     0RUWJDJHDVVHFXULW\IRUDQ\$GYDQFHPDGHDIWHUD3HWLWLRQIRU5HOLHI XQGHUWKH
                     %DQNUXSWF\&RGH 86& KDVEHHQILOHGE\RURQEHKDOIRIWKHPRUWJDJRU

           E       7KH OLHQ RI UHDO HVWDWH WD[HV RU DVVHVVPHQWV RQ WKH 7LWOH LPSRVHG E\
                     JRYHUQPHQWDODXWKRULW\DULVLQJDIWHU'DWHRI3ROLF\

           F       7KH ODFNRI SULRULW\ RI WKH OLHQ RI WKH ,QVXUHG 0RUWJDJH DV VHFXULW\ IRU DQ\
                     $GYDQFHWRDIHGHUDOWD[OLHQZKLFK$GYDQFHLVPDGHDIWHUWKHHDUOLHURI L DFWXDO
                     NQRZOHGJHRIWKH,QVXUHGWKDWDIHGHUDOWD[OLHQ ZDVILOHGDJDLQVWWKHPRUWJDJRU
                     RU LL WKHH[SLUDWLRQDIWHUQRWLFHRIDIHGHUDOWD[OLHQILOHGDJDLQVWWKHPRUWJDJRU
                     RI DQ\ JUDFH SHULRG IRU PDNLQJ GLVEXUVHPHQWV ZLWK SULRULW\ RYHU WKH IHGHUDO WD[
                     OLHQSURYLGHGLQWKH,QWHUQDO5HYHQXH&RGH 86& 

           G       $Q\IHGHUDORUVWDWHHQYLURQPHQWDOSURWHFWLRQOLHQ

           H       7KHODFNRISULRULW\RIDQ\$GYDQFHPDGHDIWHUWKH,QVXUHGKDV.QRZOHGJHRIWKH
                     H[LVWHQFHRIOLHQVHQFXPEUDQFHVRURWKHUPDWWHUVDIIHFWLQJWKH/DQGLQWHUYHQLQJ
                     EHWZHHQ 'DWH RI 3ROLF\ DQG WKH $GYDQFH DV  WR WKH LQWHUYHQLQJ OLHQ
                     HQFXPEUDQFHRURWKHUPDWWHU>RU@

           I       8VXU\RUDQ\FRQVXPHUFUHGLWSURWHFWLRQRUWUXWKLQOHQGLQJODZ>RU

           J       $Q\PHFKDQLF¶VRUPDWHULDOPHQ¶VOLHQ@

        7KH,QGHEWHGQHVVLQFOXGHV$GYDQFHV

 7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
 RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
 HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

 >:LWQHVVFODXVHRSWLRQDO@
 
 '$7('
 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\
 %<B                     B
     $87+25,=('6,*1$725<



 $/7$(QGRUVHPHQW)RUP
 )XWXUH$GYDQFH.QRZOHGJH  5HY 
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 114 of 807


(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB          
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\

        7KH LQVXUDQFH IRU $GYDQFHV DGGHG E\ 6HFWLRQ  RI WKLV HQGRUVHPHQW LV VXEMHFW WR WKH
           H[FOXVLRQV LQ 6HFWLRQ  RI WKLV HQGRUVHPHQW DQG WKH ([FOXVLRQV IURP &RYHUDJH LQ WKH
           3ROLF\ H[FHSW ([FOXVLRQ  G  WKH SURYLVLRQV RI WKH &RQGLWLRQV DQG WKH H[FHSWLRQV
           FRQWDLQHGLQ6FKHGXOH%

           D       $JUHHPHQW DV XVHG LQ WKLV HQGRUVHPHQW VKDOO PHDQ WKH OHWWHU RI FUHGLW DQG
                     LWV UHLPEXUVHPHQW DJUHHPHQW WKH UHSD\PHQW RI $GYDQFHV XQGHU ZKLFK LV
                     VHFXUHGE\WKH,QVXUHG0RUWJDJH

           E       $GYDQFH DV XVHG LQ WKLV HQGRUVHPHQW VKDOO PHDQ RQO\ DQ DGYDQFH PDGH
                     DIWHU WKH 'DWH RI 3ROLF\ DV SURYLGHG LQ WKH $JUHHPHQW LQFOXGLQJ H[SHQVHV RI
                     IRUHFORVXUH DPRXQWV DGYDQFHG SXUVXDQW WR WKH ,QVXUHG 0RUWJDJH WR SD\ WD[HV
                     DQGLQVXUDQFHDVVXUHFRPSOLDQFHZLWKODZVRUWRSURWHFWWKHOLHQRI WKH,QVXUHG
                     0RUWJDJH EHIRUH WKH WLPH RI DFTXLVLWLRQ RI WKH 7LWOH DQG UHDVRQDEOH DPRXQWV
                     H[SHQGHG WR SUHYHQW GHWHULRUDWLRQ RI LPSURYHPHQWV WRJHWKHU ZLWK LQWHUHVW RQ
                     WKRVHDGYDQFHV

        7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI

           D       7KHLQYDOLGLW\RUXQHQIRUFHDELOLW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJHDVVHFXULW\IRU
                     HDFK$GYDQFH

           E       7KH ODFN RI SULRULW\ RI WKH OLHQ RI WKH ,QVXUHG 0RUWJDJH DV VHFXULW\ IRU HDFK
                     $GYDQFHRYHUDQ\OLHQRU HQFXPEUDQFHRQWKH7LWOH

           F       7KH LQYDOLGLW\ RU XQHQIRUFHDELOLW\ RU ORVV RI SULRULW\ RI WKH OLHQ RI WKH ,QVXUHG
                     0RUWJDJH DV VHFXULW\ IRU WKH ,QGHEWHGQHVV $GYDQFHV DQG XQSDLG LQWHUHVW
                     UHVXOWLQJ IURP L  UH$GYDQFHV DQG UHSD\PHQWV RI ,QGHEWHGQHVV LL  HDUOLHU
                     SHULRGV RI QR LQGHEWHGQHVV RZLQJ GXULQJ WKH WHUP RI WKH ,QVXUHG 0RUWJDJH RU
                      LLL WKH,QVXUHG0RUWJDJHQRWFRPSO\LQJZLWKWKHUHTXLUHPHQWVRIVWDWHODZRIWKH
                     VWDWHLQZKLFKWKH /DQGLVORFDWHGWRVHFXUH$GYDQFHV

        7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJH DQGWKH&RPSDQ\ZLOOQRWSD\
           FRVWVDWWRUQH\V IHHV RUH[SHQVHV UHVXOWLQJIURP

           D       7KH OLHQ RI UHDO HVWDWH WD[HV RU DVVHVVPHQWV RQ WKH 7LWOH LPSRVHG E\
                     JRYHUQPHQWDODXWKRULW\DULVLQJ DIWHU'DWHRI3ROLF\RU

           E       $Q\IHGHUDORUVWDWHHQYLURQPHQWDOSURWHFWLRQOLHQRU

           F       /LPLWDWLRQV LI DQ\ LPSRVHG XQGHU WKH %DQNUXSWF\ &RGH  86&  RQ WKH
                     DPRXQW WKDW PD\ EH UHFRYHUHGIURPWKHPRUWJDJRU¶VHVWDWH>RU

           G       $Q\PHFKDQLF¶VRUPDWHULDOPHQ¶VOLHQ@

        7KH,QGHEWHGQHVVLQFOXGHV$GYDQFHV

            7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV
 QRW L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL  H[WHQG WKH 'DWH RI 3ROLF\ RU LY  LQFUHDVH WKH $PRXQW RI ,QVXUDQFH 7R WKH H[WHQW D
 SURYLVLRQ RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI
 WKLVHQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKH
 WHUPVDQG SURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

 >:LWQHVVFODXVHRSWLRQDO@
© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 115 of 807


 '$7('
 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\
 %<B                   B
     $87+25,=('6,*1$725<


 $/7$(QGRUVHPHQW)RUP
 )XWXUH$GYDQFH±/HWWHURI&UHGLW  5HY 
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 116 of 807


(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB          
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\
                                                                                                       
        7KHLQVXUDQFHIRU$GYDQFHVDGGHGE\6HFWLRQVDQGRIWKLVHQGRUVHPHQWLVVXEMHFWWR
           WKHH[FOXVLRQVLQ6HFWLRQRIWKLVHQGRUVHPHQWDQGWKH([FOXVLRQVLQWKH3ROLF\H[FHSW
           ([FOXVLRQ  G  WKH SURYLVLRQV RI WKH &RQGLWLRQV DQG WKH H[FHSWLRQV FRQWDLQHG LQ
           6FKHGXOH%

           D       $JUHHPHQW DV XVHG LQ WKLV HQGRUVHPHQW VKDOO PHDQ WKH QRWH RU ORDQ
                     DJUHHPHQW UHSD\PHQW RI $GYDQFHV  XQGHU ZKLFK LV  VHFXUHG E\ WKH ,QVXUHG
                     0RUWJDJH

           E       $GYDQFHDVXVHGLQWKLVHQGRUVHPHQWVKDOOPHDQRQO\DQDGYDQFHRISULQFLSDO
                     PDGHDIWHUWKH'DWHRI3ROLF\DVSURYLGHGLQWKH$JUHHPHQWLQFOXGLQJH[SHQVHV
                     RIIRUHFORVXUHDPRXQWVDGYDQFHGSXUVXDQWWRWKH,QVXUHG0RUWJDJHWRSD\WD[HV
                     DQGLQVXUDQFHDVVXUHFRPSOLDQFHZLWKODZVRUWRSURWHFWWKHOLHQRIWKH,QVXUHG
                     0RUWJDJH EHIRUH WKH WLPH RI DFTXLVLWLRQ RI WKH 7LWOH DQG UHDVRQDEOH DPRXQWV
                     H[SHQGHG WR SUHYHQW GHWHULRUDWLRQ RI LPSURYHPHQWV WRJHWKHU ZLWK LQWHUHVW RQ
                     WKRVHDGYDQFHV

           F       ³&KDQJHV LQ WKH UDWH RI LQWHUHVW´ DV XVHG LQ WKLV HQGRUVHPHQW VKDOOPHDQ RQO\
                     WKRVHFKDQJHVLQWKHUDWHRILQWHUHVWFDOFXODWHGSXUVXDQWWRDIRUPXODSURYLGHGLQ
                     WKH,QVXUHG0RUWJDJHRUWKH$JUHHPHQWDW'DWHRI3ROLF\

        7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI

           D       7KHLQYDOLGLW\RU XQHQIRUFHDELOLW\RI WKHOLHQRI WKH,QVXUHG 0RUWJDJHDV VHFXULW\
                     IRUHDFK$GYDQFH

           E       7KH ODFN RI SULRULW\ RI WKH OLHQ RI WKH ,QVXUHG 0RUWJDJH DV VHFXULW\ IRU HDFK
                     $GYDQFHRYHUDQ\OLHQRUHQFXPEUDQFHRQWKH7LWOH

           F       7KH LQYDOLGLW\ RU XQHQIRUFHDELOLW\ RU ODFN RI SULRULW\ RI WKH OLHQ RI WKH ,QVXUHG
                     0RUWJDJH DV VHFXULW\ IRU WKH ,QGHEWHGQHVV $GYDQFHV DQG XQSDLG LQWHUHVW
                     UHVXOWLQJ IURP L  UH$GYDQFHV DQG UHSD\PHQWV RI ,QGHEWHGQHVV LL  HDUOLHU
                     SHULRGV RI QR LQGHEWHGQHVV RZLQJ GXULQJ WKH WHUP RI WKH ,QVXUHG 0RUWJDJH
                      LLL WKH,QVXUHG0RUWJDJHQRWFRPSO\LQJZLWKWKHUHTXLUHPHQWVRIVWDWHODZRIWKH
                     VWDWHLQZKLFKWKH/DQGLVORFDWHGWRVHFXUH$GYDQFHV LY IDLOXUHRIWKH,QVXUHG
                     0RUWJDJHWRVWDWHWKHWHUPIRU$GYDQFHVRU Y IDLOXUHRIWKH,QVXUHG0RUWJDJHWR
                     VWDWHWKHPD[LPXPDPRXQWVHFXUHGE\WKH,QVXUHG0RUWJDJH

           G       7KHLQYDOLGLW\RU XQHQIRUFHDELOLW\RI WKH OLHQ RIWKH ,QVXUHG 0RUWJDJH EHFDXVHRI
                     WKHIDLOXUHRIWKHPRUWJDJRUVWREHDWOHDVW\HDUVRIDJHDW'DWHRI3ROLF\

        7KH&RPSDQ\DOVRLQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQ
           RI

           D       7KH LQYDOLGLW\ RU XQHQIRUFHDELOLW\ RI WKH OLHQ RI WKH ,QVXUHG 0RUWJDJH UHVXOWLQJ
                     IURP DQ\ SURYLVLRQV RI WKH $JUHHPHQW WKDW SURYLGH IRU L LQWHUHVW RQ LQWHUHVW
                      LL FKDQJHV LQ WKH UDWH RI LQWHUHVW RU LLL WKH DGGLWLRQ RI XQSDLG LQWHUHVW WR WKH
                     SULQFLSDOSRUWLRQRIWKH,QGHEWHGQHVV




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 117 of 807




           E       /DFN RI SULRULW\ RI WKH OLHQ RI WKH ,QVXUHG 0RUWJDJH DV VHFXULW\ IRU WKH
                     ,QGHEWHGQHVV LQFOXGLQJ DQ\ XQSDLG LQWHUHVW WKDW ZDV DGGHG WR SULQFLSDO LQ
                     DFFRUGDQFHZLWKDQ\SURYLVLRQVRIWKH$JUHHPHQWLQWHUHVWRQLQWHUHVWRULQWHUHVW
                     DV FKDQJHG LQ DFFRUGDQFH ZLWK WKH SURYLVLRQV RI WKH ,QVXUHG 0RUWJDJH ZKLFK
                     ODFN RI SULRULW\ LV FDXVHG E\ L FKDQJHV LQ WKH UDWH RI LQWHUHVW LL LQWHUHVW RQ
                     LQWHUHVW RU LLL  LQFUHDVHV LQ WKH ,QGHEWHGQHVV UHVXOWLQJ IURP WKH DGGLWLRQ  RI
                     XQSDLGLQWHUHVW

           ,QWHUHVWDVXVHGLQWKLV3DUDJUDSKVKDOOLQFOXGHODZIXOLQWHUHVWEDVHGRQDSSUHFLDWHG
           YDOXH

        7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJH DQGWKH&RPSDQ\ZLOOQRWSD\
           FRVWVDWWRUQH\V IHHVRUH[SHQVHV UHVXOWLQJIURP

           D       7KH LQYDOLGLW\ XQHQIRUFHDELOLW\ RU ODFN RI SULRULW\ RI WKH OLHQ RI WKH ,QVXUHG
                     0RUWJDJHDVVHFXULW\IRUDQ\$GYDQFHPDGHDIWHUD3HWLWLRQIRU5HOLHI XQGHUWKH
                     %DQNUXSWF\&RGH 86& KDVEHHQILOHGE\RURQEHKDOIRIWKHPRUWJDJRU

           E       7KH OLHQ RI UHDO HVWDWH WD[HV RU DVVHVVPHQWV RQ WKH 7LWOH LPSRVHG E\
                     JRYHUQPHQWDODXWKRULW\DULVLQJDIWHU'DWHRI3ROLF\

           F       7KH ODFNRI SULRULW\ RI WKH OLHQ RI WKH ,QVXUHG 0RUWJDJH DV VHFXULW\ IRU DQ\
                     $GYDQFHWRDIHGHUDOWD[OLHQZKLFK$GYDQFHLVPDGHDIWHUWKHHDUOLHURI L DFWXDO
                     NQRZOHGJHRIWKH,QVXUHGWKDWDIHGHUDOWD[OLHQ ZDVILOHGDJDLQVWWKHPRUWJDJRU
                     RU LL WKHH[SLUDWLRQDIWHUQRWLFHRIDIHGHUDOWD[OLHQILOHGDJDLQVWWKHPRUWJDJRU
                     RI DQ\ JUDFH SHULRG IRU PDNLQJ GLVEXUVHPHQWV ZLWK SULRULW\ RYHU WKH IHGHUDO WD[
                     OLHQSURYLGHGLQWKH,QWHUQDO5HYHQXH&RGH 86& 

           G       $Q\IHGHUDORUVWDWHHQYLURQPHQWDOSURWHFWLRQOLHQ>RU@

           H       8VXU\RUDQ\FRQVXPHUFUHGLWSURWHFWLRQRUWUXWKLQOHQGLQJODZ>RU

           I       $Q\PHFKDQLF¶VRUPDWHULDOPHQ¶VOLHQ@


        7KH,QGHEWHGQHVVLQFOXGHV$GYDQFHV

 7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
 RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
 HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

 >:LWQHVVFODXVHRSWLRQDO@

 >%5$&.(7('0$7(5,$/237,21$/@


 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\

 %<                           B                  

 $/7$(QGRUVHPHQW)RUP
 )XWXUH$GYDQFH±5HYHUVH0RUWJDJH  5HY 
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ                                                        >LQFOXGHVWHFKQLFDOFRUUHFWLRQVRI@


© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 118 of 807



                                                121,0387$7,21
                           $/7$ )8//(48,7<75$16)(5   
                                 $'',7,21$/,1685('   
                                     3$57,$/(48,7<   



 7KHVH $/7$ IRUPV JLYH FRYHUDJH RYHU PDWWHUVNQRZQ WR VSHFLILHG SDUWLHV WKDW ZRXOG RWKHUZLVH
 EHH[FOXGHGIURPFRYHUDJHRQWKHEDVLVRILPSXWHGNQRZOHGJHEXWDOVRRYHUWKHFRQVHTXHQFHV
 RIWKHDFWLRQVRULQDFWLRQVRIWKRVHSDUWLHVZKLFKDIIHFWWKH7LWOH)RUPLVWREHXVHGZKHQ
 WKHHQWLUHEHQHILFLDOLQWHUHVWRIWKHHQWLW\KROGLQJ7LWOHDQGQDPHGDVWKHLQVXUHGRQ6FKHGXOH$
     HJSDUWQHUVKLSLQWHUHVW FRUSRUDWHVWRFNPHPEHUVKLSLQWHUHVWRIOLPLWHGOLDELOLW\FRPSDQ\ KDV
 EHHQ WUDQVIHUUHG IRU YDOXH )RUP  LV WR EH XVHG ZKHQ RQO\ D SRUWLRQ RI WKH EHQHILFLDO
 LQWHUHVWRIWKHHQWLW\KROGLQJ7LWOHDQGQDPHGRQ6FKHGXOH$DVWKHLQVXUHGKDVEHHQWUDQVIHUUHG
 DQGWKHLQFRPLQJEHQHILFLDORZQHULVLGHQWLILHGRQWKHIRUPDVDQDGGLWLRQDOLQVXUHG)RUP
 LVWREHXVHGZKHQWKHLQFRPLQJEHQHILFLDORZQHUUHTXHVWVWREHWKHLQVXUHGLQLWVRZQSROLF\
 DQGLWVLQWHUHVWKDVEHHQWUDQVIHUUHGIRUYDOXH
 
 ([FOXVLRQV IURP &RYHUDJH  D  DQG E  LQ WKH $/7$ 2ZQHU¶V 3ROLF\ DQG $/7$ /RDQ 3ROLF\
 H[FOXGHIURPFRYHUDJHPDWWHUVFUHDWHGVXIIHUHGDVVXPHGRUDJUHHGWRE\WKHLQVXUHGRUNQRZQ
 WRWKHLQVXUHGEXWQRWWRWKH&RPSDQ\DQGQRWGLVFORVHGE\WKHSXEOLFUHFRUGV




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 119 of 807

(1'256(0(17
                                           $WWDFKHGWR3ROLF\1RB         
                                                     ,VVXHGE\
                                              &KLFDJR7LWOH,QVXUDQFH
                                                     &RPSDQ\


 7KH&RPSDQ\DJUHHVWKDWLWZLOOQRWDVVHUWWKHSURYLVLRQVRI([FOXVLRQVIURP&RYHUDJH D  E 
 RU H WRGHQ\OLDELOLW\IRUORVVRUGDPDJHRWKHUZLVHLQVXUHGDJDLQVWXQGHUWKHWHUPVRIWKHSROLF\
 VROHO\E\UHDVRQRIWKHDFWLRQRULQDFWLRQRU.QRZOHGJHDVRI'DWHRI3ROLF\RI                        B
 ZKHWKHURUQRWLPSXWHGWRWKH,QVXUHGE\RSHUDWLRQRIODZSURYLGHG                           DFTXLUHG WKH
 ,QVXUHG DV D SXUFKDVHU IRU YDOXH ZLWKRXW .QRZOHGJH RI WKH DVVHUWHG GHIHFW OLHQ HQFXPEUDQFH
 DGYHUVHFODLPRURWKHUPDWWHULQVXUHGDJDLQVWE\WKHSROLF\

 7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
 RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
 HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


 >:LWQHVVFODXVHRSWLRQDO@




 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\

 %<                            B                                  




 $/7$(QGRUVHPHQW)RUP
 1RQLPSXWDWLRQ±)XOO(TXLW\7UDQVIHU   
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 120 of 807


(1'256(0(17
                                           $WWDFKHGWR3ROLF\1RB         
                                                     ,VVXHGE\
                                              &KLFDJR7LWOH,QVXUDQFH
                                                     &RPSDQ\


 )RUSXUSRVHVRIWKHFRYHUDJHSURYLGHGE\ WKLVHQGRUVHPHQW                       B  $GGLWLRQDO
 ,QVXUHG  LV DGGHG DV DQ ,QVXUHG XQGHU WKH SROLF\ %\ H[HFXWLRQ EHORZ WKH ,QVXUHG QDPHG LQ
 6FKHGXOH$ DFNQRZOHGJHV WKDW DQ\ SD\PHQW PDGH XQGHU WKLV HQGRUVHPHQW VKDOO UHGXFH WKH
 $PRXQWRI,QVXUDQFHDVSURYLGHGLQ6HFWLRQRIWKH&RQGLWLRQV

 7KH&RPSDQ\DJUHHVWKDWLWZLOOQRWDVVHUWWKHSURYLVLRQVRI([FOXVLRQVIURP&RYHUDJH D  E 
 RU H WRGHQ\OLDELOLW\IRUORVVRUGDPDJHRWKHUZLVHLQVXUHGDJDLQVWXQGHUWKHWHUPVRIWKHSROLF\
 VROHO\E\UHDVRQRIWKHDFWLRQRULQDFWLRQRU.QRZOHGJHDVRI'DWHRI3ROLF\RI                       B
 ZKHWKHU RU QRW LPSXWHG WR WKH $GGLWLRQDO ,QVXUHG E\ RSHUDWLRQ RI ODZ WR WKH H[WHQW RI WKH
 SHUFHQWDJHLQWHUHVWLQWKH,QVXUHGDFTXLUHGE\$GGLWLRQDO,QVXUHGDVDSXUFKDVHUIRUYDOXHZLWKRXW
 .QRZOHGJH RI WKH DVVHUWHG GHIHFW OLHQ HQFXPEUDQFH DGYHUVH FODLP RU RWKHU PDWWHU LQVXUHG
 DJDLQVWE\WKHSROLF\

 7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
 RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
 HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV



 $*5(('$1'&216(17('72



 ,1685('


 >:LWQHVVFODXVHRSWLRQDO@




 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\

 %<                           B                




 $/7$(QGRUVHPHQW)RUP
 1RQLPSXWDWLRQ±$GGLWLRQDO,QVXUHG   
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 121 of 807


(1'256(0(17
                                           $WWDFKHGWR3ROLF\1RB         
                                                     ,VVXHGE\
                                              &KLFDJR7LWOH,QVXUDQFH
                                                     &RPSDQ\


 7KH&RPSDQ\DJUHHVWKDWLWZLOOQRWDVVHUWWKHSURYLVLRQVRI([FOXVLRQVIURP&RYHUDJH D  E 
 RU H WRGHQ\OLDELOLW\IRUORVVRUGDPDJHRWKHUZLVHLQVXUHGDJDLQVWXQGHUWKHWHUPVRIWKHSROLF\
 VROHO\E\UHDVRQRIWKHDFWLRQRULQDFWLRQRU.QRZOHGJHDVRI'DWHRI3ROLF\RI                   B
 ZKHWKHURUQRWLPSXWHGWRWKHHQWLW\LGHQWLILHGLQSDUDJUDSKRI6FKHGXOH$RUWRWKH,QVXUHGE\
 RSHUDWLRQRIODZEXWRQO\WRWKHH[WHQWWKDWWKH,QVXUHGDFTXLUHGWKH,QVXUHG VLQWHUHVWLQHQWLW\DV
 D SXUFKDVHU IRU YDOXH ZLWKRXW .QRZOHGJH RI WKH DVVHUWHG GHIHFW OLHQ HQFXPEUDQFH DGYHUVH
 FODLPRURWKHUPDWWHULQVXUHGDJDLQVWE\WKHSROLF\

 7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
 RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
 HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


 >:LWQHVVFODXVHRSWLRQDO@




 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\

 %<                            B                   




 $/7$(QGRUVHPHQW)RUP
 1RQLPSXWDWLRQ±3DUWLDO(TXLW\7UDQVIHU   
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 122 of 807


 
                                            0(==$1,1(),1$1&,1*
                                             $/7$ 


 7KLVHQGRUVHPHQWSURYLGHVLQVXUDQFHWRDOHQGHUZKRVHORDQLVVHFXUHGQRWE\DOLHQDJDLQVWWKH
 ODQGEXWUDWKHUE\VRPHIRUPRIVHFXULW\DJDLQVWWKHEHQHILFLDOLQWHUHVWRIWKHEXVLQHVVHQWLW\WKDW
 RZQV WKH /DQG 7KH VHFXULW\ PD\ EH D SOHGJH RI  DQG VHFXULW\ LQWHUHVW LQ  WKH VWRFN LQ D
 FRUSRUDWLRQ SDUWQHUVKLS LQWHUHVW LQ D SDUWQHUVKLS RU PHPEHUVKLS LQWHUHVW LQ D OLPLWHG OLDELOLW\
 FRPSDQ\ 7KH HQGRUVHPHQW LV PDGH D SDUW RI DQ 2ZQHU¶V 3ROLF\ UDWKHU WKDQ D /RDQ 3ROLF\
 EHFDXVHWKHOHQGHU¶VSHUVRQDOSURSHUW\VHFXULW\LQWHUHVWLVQRWEHLQJLQVXUHGVRQR/RDQ3ROLF\LV
 LVVXHGWRWKHOHQGHU7KHHQGRUVHPHQWDVVLJQVWKHULJKWVXQGHUWKHSROLF\RIWKH,QVXUHGRZQHURI
 WKH/DQGWRWKHGHILQHG0H]]DQLQH/HQGHU7KHHQGRUVHPHQWSURYLGHVWKDWWKH&RPSDQ\ZLOOQRW
 DVVHUWDVDGHIHQVHPDWWHUVNQRZQWRWKH,QVXUHGRZQHUDVORQJDVWKH\ZHUHQRWNQRZQWRWKH
 0H]]DQLQH /HQGHU ,W IXUWKHU SURYLGHV WKDW WKH &RPSDQ\ ZLOO QRW GHQ\ OLDELOLW\ RQ WKH EDVLV WKDW
 RZQHUVKLSLQWHUHVWVLQWKH,QVXUHGKDYHEHHQWUDQVIHUUHGWRRUDFTXLUHGE\WKH0H]]DQLQH/HQGHU
 
 &RQGLWLRQV SDUDJUDSK  E  LV DPHQGHG WR SURYLGH WKDW WKH &RPSDQ\ FDQ WHUPLQDWH LWV OLDELOLW\
 XQGHU WKH SROLF\ E\ SD\LQJ WKH 0H]]DQLQH /HQGHU UDWKHU WKDQ WKH ,QVXUHG ([FOXVLRQV IURP
 &RYHUDJH 1RV  D  E  F  RU H  DUH DPHQGHG ZLWK UHVSHFW WR GHIHFWV OLHQV HQFXPEUDQFHV
 DGYHUVHFODLPVRURWKHUPDWWHUVZKLFKZHUHQRWNQRZQWRWKH0H]]DQLQH/HQGHURUIDLOXUHRIWKH
 0H]]DQLQH/HQGHUWRSD\YDOXH
 

  

  


 




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 123 of 807


(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB          
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\



        7KH0H]]DQLQH/HQGHULV                              B           DQG HDFK VXFFHVVRU LQ
           RZQHUVKLSRILWV ORDQ 0H]]DQLQH/RDQ UHVHUYLQJKRZHYHUDOOULJKWVDQGGHIHQVHVDV
           WR DQ\ VXFFHVVRU WKDW WKH &RPSDQ\ ZRXOG KDYH KDG DJDLQVW WKH 0H]]DQLQH /HQGHU
           XQOHVV WKH VXFFHVVRU DFTXLUHG WKH ,QGHEWHGQHVV DV D SXUFKDVHU IRU YDOXH ZLWKRXW
           .QRZOHGJH RI WKH DVVHUWHG GHIHFW OLHQ HQFXPEUDQFH DGYHUVH FODLP RU RWKHU PDWWHU
           LQVXUHGDJDLQVWE\WKLVSROLF\DVDIIHFWLQJ7LWOH

        7KH,QVXUHG

           D       DVVLJQV WR WKH 0H]]DQLQH /HQGHU WKH ULJKW WR UHFHLYH DQ\ DPRXQWV RWKHUZLVH
                     SD\DEOH WR WKH ,QVXUHG XQGHU WKLV SROLF\ QRW WR H[FHHG WKH RXWVWDQGLQJ
                     LQGHEWHGQHVVXQGHUWKH0H]]DQLQH/RDQDQG

           E       DJUHHVWKDWQRDPHQGPHQWRIRUHQGRUVHPHQWWRWKLVSROLF\FDQEHPDGHZLWKRXW
                     WKHZULWWHQFRQVHQWRIWKH0H]]DQLQH/HQGHU

        7KH&RPSDQ\GRHVQRWZDLYHDQ\GHIHQVHVWKDWLWPD\KDYHDJDLQVWWKH,QVXUHGH[FHSW
           DVH[SUHVVO\VWDWHGLQWKLVHQGRUVHPHQW

        ,Q WKH HYHQW RI D ORVV XQGHU WKH SROLF\ WKH &RPSDQ\ DJUHHV WKDW LW ZLOO QRW DVVHUW WKH
           SURYLVLRQV RI ([FOXVLRQV IURP &RYHUDJH  D  E  RU H  WR UHIXVH SD\PHQW WR WKH
           0H]]DQLQH/HQGHUVROHO\E\UHDVRQRIWKHDFWLRQRULQDFWLRQRU.QRZOHGJHDVRI'DWHRI
           3ROLF\RIWKH,QVXUHGSURYLGHG

           D       WKH0H]]DQLQH/HQGHUKDGQRDFWXDO.QRZOHGJHRIWKHGHIHFWOLHQHQFXPEUDQFH
                     RURWKHUPDWWHUFUHDWLQJRUFDXVLQJORVVRQ'DWHRI3ROLF\

           E       WKLV OLPLWDWLRQ RQ WKH DSSOLFDWLRQ RI ([FOXVLRQV IURP &RYHUDJH  D  E  DQG H 
                     VKDOO

                     L      DSSO\ ZKHWKHU RU QRW WKH 0H]]DQLQH /HQGHU KDV DFTXLUHG DQ LQWHUHVW
                               GLUHFWRULQGLUHFW  LQWKH,QVXUHGHLWKHURQRUDIWHU'DWHRI3ROLF\DQG

                     LL     EHQHILWWKH0H]]DQLQH/HQGHURQO\ZLWKRXWEHQHILWLQJDQ\RWKHULQGLYLGXDO
                              RU HQWLW\ WKDW KROGV DQ LQWHUHVW GLUHFW RU LQGLUHFW  LQ WKH ,QVXUHG RU WKH
                              /DQG

        ,Q WKH HYHQW RI D ORVV XQGHU WKH 3ROLF\ WKH &RPSDQ\ DOVR DJUHHV WKDW LW ZLOO QRW GHQ\
           OLDELOLW\WRWKH0H]]DQLQH/HQGHURQWKHJURXQGWKDWDQ\RUDOORIWKHRZQHUVKLSLQWHUHVWV
             GLUHFWRULQGLUHFW LQWKH,QVXUHGKDYHEHHQWUDQVIHUUHGWRRUDFTXLUHGE\WKH0H]]DQLQH
           /HQGHUHLWKHURQRUDIWHUWKH'DWHRI3ROLF\

        7KH0H]]DQLQH/HQGHUDFNQRZOHGJHV

           D       WKDW WKH DPRXQW RI LQVXUDQFH XQGHU WKLV SROLF\ VKDOO EH UHGXFHG E\ DQ\ DPRXQW
                     WKH&RPSDQ\PD\SD\XQGHUDQ\SROLF\LQVXULQJDPRUWJDJHWRZKLFKH[FHSWLRQ
                     LV WDNHQ LQ 6FKHGXOH% RU WR ZKLFK WKH ,QVXUHG KDV DJUHHG DVVXPHG RU WDNHQ
                     VXEMHFWRUZKLFKLVKHUHDIWHUH[HFXWHGE\DQ,QVXUHGDQGZKLFKLVDFKDUJHRU



© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 124 of 807




                     OLHQ RQ WKH HVWDWH RU LQWHUHVW GHVFULEHG RU UHIHUUHG WR LQ 6FKHGXOH$ DQG WKH
                     DPRXQWVRSDLGVKDOOEHGHHPHGDSD\PHQWXQGHUWKLVSROLF\DQG

           E       WKDWWKH&RPSDQ\VKDOOKDYHWKHULJKWWRLQVXUHPRUWJDJHVRURWKHUFRQYH\DQFHV
                     RIDQLQWHUHVWLQWKH/DQGZLWKRXWWKHFRQVHQWRIWKH0H]]DQLQH/HQGHU

        ,IWKH,QVXUHGWKH0H]]DQLQH/HQGHURURWKHUVKDYHFRQIOLFWLQJFODLPVWRDOORUSDUWRIWKH
           ORVV SD\DEOHXQGHU WKH3ROLF\ WKH&RPSDQ\PD\ LQWHUSOHDGWKH DPRXQW RI WKHORVV LQWR
           &RXUW7KH,QVXUHGDQGWKH0H]]DQLQH/HQGHUVKDOOEHMRLQWO\DQGVHYHUDOO\OLDEOHIRUWKH
           &RPSDQ\ V FRVW IRU WKH LQWHUSOHDGHU DQG VXEVHTXHQW SURFHHGLQJV LQFOXGLQJ DWWRUQH\V 
           IHHV 7KH&RPSDQ\VKDOO EHHQWLWOHG WRSD\PHQWRI WKHVXPV IRUZKLFK WKH ,QVXUHGDQG
           0H]]DQLQH/HQGHUDUHOLDEOHXQGHUWKHSUHFHGLQJVHQWHQFHIURPWKHIXQGVGHSRVLWHGLQWR
           &RXUWDQGLWPD\DSSO\WRWKH&RXUWIRUWKHLUSD\PHQW

        :KHQHYHUWKH&RPSDQ\KDVVHWWOHGDFODLPDQGSDLGWKH0H]]DQLQH/HQGHUSXUVXDQWWR
           WKLV HQGRUVHPHQW WKH &RPSDQ\ VKDOO EH VXEURJDWHG DQG HQWLWOHG WR DOO ULJKWV DQG
           UHPHGLHV WKDW WKH 0H]]DQLQH /HQGHU PD\ KDYH DJDLQVW DQ\ SHUVRQ RU SURSHUW\ DULVLQJ
           IURP WKH 0H]]DQLQH /RDQ +RZHYHU WKH &RPSDQ\ DJUHHV ZLWK WKH 0H]]DQLQH /HQGHU
           WKDW LW VKDOO RQO\ H[HUFLVH WKHVH ULJKWV RU DQ\ ULJKW RI WKH &RPSDQ\ WR LQGHPQLILFDWLRQ
           DJDLQVWWKH ,QVXUHG WKH 0H]]DQLQH /RDQ ERUURZHU RU DQ\ JXDUDQWRUV RI WKH 0H]]DQLQH
           /RDQ DIWHU WKH 0H]]DQLQH /HQGHU KDV UHFRYHUHG LWV SULQFLSDO LQWHUHVW DQG FRVWV RI
           FROOHFWLRQ

 7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
 RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
 HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV



 $*5(('$1'&216(17('72


  1DPHRI,QVXUHG                                            1DPHRI0H]]DQLQH/HQGHU 



 %\                                                    %\                                                  


 >:LWQHVVFODXVHRSWLRQDO@



 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\

 %<                           B                




 $/7$(QGRUVHPHQW)RUP
 0H]]DQLQH)LQDQFLQJ   
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ


© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 125 of 807


                                                  $&&(66
                                 $/7$ $FFHVV (QWU\   
                              ,QGLUHFW$FFHVV (QWU\   DQG
                                     8WLOLW\$FFHVV   

 7KHVHHQGRUVHPHQWVDUHGHVLJQHGWRSURYLGHLQVXUDQFHDJDLQVWORVVLIWKH/DQGGRHVQRWDEXWRU
 KDYHDFWXDOYHKLFXODUDQGSHGHVWULDQDFFHVVWRDQGIURPDVSHFLILFRSHQDQGSXEOLFO\PDLQWDLQHG
 VWUHHW E\ ZD\ RI H[LVWLQJ FXUE FXWV RU HQWULHV ,Q DGGLWLRQ $/7$  SURYLGHV WKH VDPH
 FRYHUDJHZLWKUHVSHFWWRDVSHFLILFHDVHPHQWLQVXUHGLQ6FKHGXOH$ZKLFKFRQQHFWVWKH/DQGWRD
 VSHFLILF SXEOLF VWUHHW 7KH $/7$  DGRSWV D YHUVLRQ RI WKH JHQHULF ³8WLOLWLHV )DFLOLWLHV´
 HQGRUVHPHQWZKLFKFRYHUVDFFHVVWRXWLOLW\LQVWDOODWLRQVLQDSXEOLFVWUHHW

 
 


 




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 126 of 807


(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB          
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\


 7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGLIDW'DWHRI3ROLF\ L WKH
 /DQG GRHV QRW DEXW DQG KDYH ERWK DFWXDO YHKLFXODU DQG SHGHVWULDQ DFFHVV WRDQG IURP ),// ,1
  WKH6WUHHW  LL WKH6WUHHWLVQRWSK\VLFDOO\RSHQDQGSXEOLFO\PDLQWDLQHGRU LLL WKH,QVXUHGKDV
 QRULJKWWRXVHH[LVWLQJFXUEFXWVRUHQWULHVDORQJWKDWSRUWLRQRIWKH6WUHHWDEXWWLQJWKH/DQG

 7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
 RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
 HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


 >:LWQHVVFODXVHRSWLRQDO@




 '$7('
 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\
 %<B                   B
     $87+25,=('6,*1$725<




 $/7$(QGRUVHPHQW)RUP
 $FFHVVDQG(QWU\   
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 127 of 807



(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB           
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\


 7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGLIDW'DWHRI3ROLF\ L WKH
 HDVHPHQWLGHQWLILHGDV),//,1LQ6FKHGXOH),//,1 WKH³(DVHPHQW´ GRHVQRWSURYLGHWKDWSRUWLRQ
 RIWKH/DQGLGHQWLILHGDV),//,1LQ6FKHGXOH),//,1ERWKDFWXDOYHKLFXODUDQGSHGHVWULDQDFFHVV
 WRDQGIURP),//,1 WKH³6WUHHW´  LL WKH6WUHHWLVQRWSK\VLFDOO\RSHQDQGSXEOLFO\PDLQWDLQHGRU
  LLL  WKH ,QVXUHG KDV QR ULJKW WR XVH H[LVWLQJ FXUE FXWV RU HQWULHV DORQJ WKDW SRUWLRQ RI WKH 6WUHHW
 DEXWWLQJWKH(DVHPHQW

 7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
 RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
 HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


 >:LWQHVVFODXVHRSWLRQDO@



 '$7('
 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\
 %<B                   B
     $87+25,=('6,*1$725<




 $/7$(QGRUVHPHQW)RUP
 ,QGLUHFW$FFHVVDQG(QWU\   
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
   Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 128 of 807


(1'256(0(17
                                           $WWDFKHGWR3ROLF\1RB           
                                                     ,VVXHGE\
                                              &KLFDJR7LWOH,QVXUDQFH
                                                     &RPSDQ\



    7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRIWKHODFNRID
    ULJKWRIDFFHVVWRWKHIROORZLQJXWLOLWLHVRUVHUYLFHV >&+(&.$//7+$7$33/<@


    F :DWHUVHUYLFH                       F 1DWXUDOJDVVHUYLFH                 F 7HOHSKRQHVHUYLFH
    F (OHFWULFDOSRZHUVHUYLFH            F 6DQLWDU\VHZHU                      F 6WRUPZDWHUGUDLQDJH
    >F                                  >F                                  >F

    HLWKHURYHUXQGHURUXSRQULJKWVRIZD\RUHDVHPHQWVIRUWKHEHQHILWRIWKH/DQGEHFDXVHRI
                DJDSRUJRUHEHWZHHQWKHERXQGDULHVRIWKH/DQGDQGWKHULJKWVRIZD\RU
              HDVHPHQWV
                 DJDSEHWZHHQWKHERXQGDULHVRIWKHULJKWVRIZD\RUHDVHPHQWVRU
                 DWHUPLQDWLRQE\DJUDQWRURULWVVXFFHVVRURIWKHULJKWVRIZD\RUHDVHPHQWV


    7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
     L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
     LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
    RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
    HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
    WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

    >:LWQHVVFODXVHRSWLRQDO@




    &KLFDJR7LWOH,QVXUDQFH&RPSDQ\

    %<                           B                




    $/7$(QGRUVHPHQW)RUP
    8WLOLW\$FFHVV   
    $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 129 of 807


 
                                               7$;3$5&(/
                                     $/7$ 6LQJOH   
                            0XOWLSOH >ZLWKWD[VDOHSURWHFWLRQ@  
 
 7KHVH HQGRUVHPHQWV FRYHU WKH WD[ SDUFHO RU WD[ LGHQWLILFDWLRQ QXPEHUV RIWHQ LQFOXGHG LQ WKH
 SROLF\ IRU LQIRUPDWLRQDO )RUP  LQVXUHV DJDLQVW ORVV LI WKH WD[ QXPEHU VKRZQ GRHV QRW
 LQFOXGH DOO WKH /DQG GHVFULEHG LQ WKH SROLF\ RU LQFOXGHV ODQG QRW GHVFULEHG LQ WKH SROLF\ )RUP
 LVIRUXVHZKHQWKHUHDUHPXOWLSOHSDUFHOVDQGPXOWLSOHQXPEHUV,QDGGLWLRQ)RUP
 LQVXUHVWKDWDQ\HDVHPHQWLQFOXGHGDVDQLQVXUHGSDUFHOLQ6FKHGXOH$RU&ZLOOQRWEHZLSHG
 RXWE\WKHVXEVHTXHQWIRUHFORVXUHRIWD[HVRQWKHVHUYLHQWWHQHPHQW

 




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 130 of 807


(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB          
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\


 7KH &RPSDQ\ LQVXUHV DJDLQVW ORVV RU GDPDJH VXVWDLQHG E\WKH ,QVXUHG E\ UHDVRQ RI WKH /DQG
 EHLQJWD[HGDVSDUWRIDODUJHUSDUFHORIODQGRUIDLOLQJWRFRQVWLWXWHDVHSDUDWHWD[SDUFHOIRUUHDO
 HVWDWHWD[HV

 7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
 RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
 HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


 >:LWQHVVFODXVHRSWLRQDO@




 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\

 %<                           B                




 $/7$(QGRUVHPHQW)RUP
 6LQJOH7D[3DUFHO   
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 131 of 807


(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB          
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\


 7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI

        WKRVHSRUWLRQVRIWKH/DQGLGHQWLILHGEHORZQRWEHLQJDVVHVVHGIRUUHDOHVWDWHWD[HVXQGHU
           WKH OLVWHG WD[ LGHQWLILFDWLRQ QXPEHUV RU WKRVH WD[ LGHQWLILFDWLRQ QXPEHUV LQFOXGLQJ DQ\
           DGGLWLRQDOODQG

           3DUFHO                               3$5&(/
           7D[,GHQWLILFDWLRQ1XPEHU V          7$;,'


           3DUFHO                               3$5&(/
           7D[,GHQWLILFDWLRQ1XPEHU V          7$;,'


           3DUFHO                               3$5&(/
           7D[,GHQWLILFDWLRQ1XPEHU V          7$;,'


        WKH HDVHPHQWV LI DQ\ GHVFULEHG LQ 6FKHGXOH $ EHLQJ FXW RII RU GLVWXUEHG E\ WKH
           QRQSD\PHQWRIUHDOHVWDWHWD[HVDVVHVVPHQWVRURWKHUFKDUJHVLPSRVHGRQWKHVHUYLHQW
           HVWDWHE\DJRYHUQPHQWDODXWKRULW\

 7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
 RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
 HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


 >:LWQHVVFODXVHRSWLRQDO@




 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\

 %<                           B                




 $/7$(QGRUVHPHQW)RUP
 0XOWLSOH7D[3DUFHO   
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ
 
 
 


                                                   &217,*8,7<
© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 132 of 807




               $/7$ 08/7,3/(3$5&(/6 >ZLWKLQ/DQG@$1'  
           )250 6,1*/(3$5&(/ >ZLWKSURSHUW\RWKHUWKDQ/DQG@  

 $/7$ )RUP  LV GHVLJQHG WR SURYLGH LQVXUDQFH WKDW   HDFK SDUFHO LQ D SROLF\ ZKLFK
 LQVXUHVPXOWLSOHSDUFHOVLVFRQWLJXRXVWRDWOHDVWRQHRWKHUSDUFHOLQVXUHGE\WKHSROLF\RU  LI
 VRPH SDUFHOV DUH QRW FRQWLJXRXV WR DW OHDVW RQH RWKHU SDUFHO WKDW FHUWDLQ SDUFHOV DUH
 FRQWLJXRXVWRFHUWDLQRWKHUSDUFHOV7KH$/7$)RUPSURYLGHVFRYHUDJHWKDWWKH/DQG
 LQWKHSROLF\LVFRQWLJXRXVWRVRPHRWKHUVSHFLILFSDUFHOQRWLQVXUHGLQWKHSROLF\




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 133 of 807


(1'256(0(17
                                             $WWDFKHGWR3ROLF\1RB       
                                                       ,VVXHGE\
                                                &KLFDJR7LWOH,QVXUDQFH
                                                       &RPSDQ\


 7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI

                  7KHIDLOXUH>RIWKHB     ERXQGDU\OLQHRI3DUFHO$@RIWKH/DQGWREH
                     FRQWLJXRXVWR>WKH       B ERXQGDU\ OLQH RI 3DUFHO %@ >IRU PRUH WKDQ WZR
                     SDUFHOVFRQWLQXHDVIROORZV³RI>WKH           ERXQGDU\ OLQH RI 3DUFHO%@ RI
                     WKH/DQGWREHFRQWLJXRXVWR>WKHB           ERXQGDU\OLQHRI3DUFHO&@ DQG VR
                     RQ XQWLO DOO FRQWLJXRXV SDUFHOV GHVFULEHG LQ WKH SROLF\ KDYH EHHQ
                     DFFRXQWHGIRU@RU

                  7KH SUHVHQFH RI DQ\ JDSV VWULSV RU JRUHV VHSDUDWLQJ DQ\ RI WKH FRQWLJXRXV
                     ERXQGDU\OLQHVGHVFULEHGDERYH

 7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
 RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
 HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


 >:LWQHVVFODXVHRSWLRQDO@




 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\

 %<                            B                




 $/7$(QGRUVHPHQW)RUP
 &RQWLJXLW\±0XOWLSOH3DUFHOV   
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 134 of 807


(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB          
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\


 7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI

                  7KH IDLOXUH RI WKH /DQG WR EH FRQWLJXRXV WR >GHVFULEH WKH ODQG WKDW LV
                     FRQWLJXRXV WR WKH /DQG E\ LWV OHJDO GHVFULSWLRQ RU E\ UHIHUHQFH WR D
                     UHFRUGHG LQVWUXPHQW ± HJ ³   WKDW FHUWDLQ SDUFHO RI UHDO SURSHUW\ OHJDOO\
                     GHVFULEHGLQWKHGHHGUHFRUGHGDV,QVWUXPHQW1R                             UHFRUGVRI
                     &RXQW\6WDWHRI                                          @DORQJWKHB      ERXQGDU\
                     OLQH>V@RU

                  7KH SUHVHQFH RI DQ\JDSV VWULSV RU JRUHV VHSDUDWLQJ WKH FRQWLJXRXV ERXQGDU\
                     OLQHVGHVFULEHGDERYH

 7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
 RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
 HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


 >:LWQHVVFODXVHRSWLRQDO@




 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\

 %<                            B               




 $/7$(QGRUVHPHQW)RUP
 &RQWLJXLW\±6LQJOH3DUFHO   
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 135 of 807




 
                                                ),567/266
                                             $/7$ 

 
 7KLV HQGRUVHPHQW LV GHVLJQHG WR DOWHU WKH HVWDEOLVKHG FULWHULD IRU GHWHUPLQLQJ ZKHQ D ORVV LV
 UHFRJQL]HG XQGHU D ORDQ SROLF\ /RVV LV QRUPDOO\ WKH GLIIHUHQFH EHWZHHQ WKH YDOXH RI WKH
 SURSHUW\ ZLWK RU ZLWKRXW WKH GHIHFW OLHQ RU HQFXPEUDQFH LQVXUHG DJDLQVW 8QGHU QRUPDO
 FLUFXPVWDQFHVDORVVZRXOGEHGLIILFXOWWRGHWHUPLQHXQWLOWKHODQGZDVVROGDIWHUIRUHFORVXUH,I
 WKHVDOHZDVIRUDQDPRXQWOHVVWKDQWKHGHEWDQGWKHGLIIHUHQFHEHWZHHQWKHVDOHVSULFHDQG
 WKHLQGHEWHGQHVVZDVFDXVHGE\DPDWWHUFRYHUHGE\WKHSROLF\WKHOHQGHUFRXOGFODLPDORVV
 &RQVHTXHQWO\ DQ LQVXUHG OHQGHU ZRXOG QRUPDOO\ EH UHTXLUHG WR IRUHFORVH WR SURYH WKLV ORVV
 EHIRUH EHLQJ DEOH WR PDNH D FODLP 7KLV HQGRUVHPHQW WR EH LVVXHG RQO\ ZKHQ WKHUH LV PRUH
 WKDQ RQH LQVXUHG SDUFHO DOORZV D ORVV WR EH UHFRJQL]HG ZKHQHYHU D WLWOH GHIHFW PDWHULDOO\
 LPSDLUV WKH YDOXH RI D SDUFHO VHFXULQJ WKH ORDQ ZLWKRXW UHTXLULQJ DFFHOHUDWLRQ RI WKH GHEW DQG
 IRUHFORVXUHDJDLQVWDQ\RIWKHSDUFHOVVHFXULQJWKHORDQ

 




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 136 of 807


(1'256(0(17
                                            $WWDFKHGWR3ROLF\1RB        
                                                      ,VVXHGE\
                                               &KLFDJR7LWOH,QVXUDQFH
                                                      &RPSDQ\


 7KLVHQGRUVHPHQWLVHIIHFWLYHRQO\LIWKH&ROODWHUDOLQFOXGHVDWOHDVWWZRSDUFHOVRIUHDOSURSHUW\

        )RUWKHSXUSRVHVRIWKLVHQGRUVHPHQW

           D       ³&ROODWHUDO´ PHDQV DOO SURSHUW\ LQFOXGLQJ WKH /DQG JLYHQ DV VHFXULW\ IRU WKH
                     ,QGHEWHGQHVV
           E       ³0DWHULDO ,PSDLUPHQW $PRXQW´ PHDQV WKH DPRXQW E\ ZKLFK DQ\ PDWWHU FRYHUHG
                     E\ WKH SROLF\ IRU ZKLFK D FODLP LV PDGH GLPLQLVKHV WKH YDOXH RI WKH &ROODWHUDO
                     EHORZWKH,QGHEWHGQHVV

         ,QWKHHYHQWRIDFODLPUHVXOWLQJIURPDPDWWHULQVXUHGDJDLQVWE\WKHSROLF\WKH&RPSDQ\
 DJUHHVWRSD\WKDWSRUWLRQRIWKH0DWHULDO,PSDLUPHQW$PRXQWWKDWGRHVQRWH[FHHGWKHH[WHQWRI
 OLDELOLW\LPSRVHGE\6HFWLRQRIWKH&RQGLWLRQVZLWKRXWUHTXLULQJ
         D      PDWXULW\RIWKH,QGHEWHGQHVVE\DFFHOHUDWLRQRURWKHUZLVH
         E      SXUVXLWE\WKH,QVXUHGRILWVUHPHGLHVDJDLQVWWKH&ROODWHUDORU
         F      SXUVXLWE\WKH,QVXUHGRILWVUHPHGLHVXQGHUDQ\JXDUDQW\ERQGRURWKHU
 LQVXUDQFHSROLF\

       1RWKLQJLQWKLVHQGRUVHPHQWVKDOOLPSDLUWKH&RPSDQ\¶VULJKWRIVXEURJDWLRQ+RZHYHU
 WKH&RPSDQ\DJUHHVWKDWLWVULJKWRIVXEURJDWLRQVKDOOEHVXERUGLQDWHWRWKHULJKWVDQGUHPHGLHV
 RIWKH,QVXUHG7KH&RPSDQ\¶VULJKWRIVXEURJDWLRQVKDOOLQFOXGHWKHULJKWWRUHFRYHUWKHDPRXQW
 SDLGWRWKH,QVXUHGSXUVXDQWWR6HFWLRQRIWKLVHQGRUVHPHQWIURPDQ\GHEWRURUJXDUDQWRURIWKH
 ,QGHEWHGQHVVDIWHUSD\PHQWRURWKHUVDWLVIDFWLRQRIWKHUHPDLQGHURIWKH,QGHEWHGQHVVDQGRWKHU
 REOLJDWLRQVVHFXUHGE\WKHOLHQRIWKH,QVXUHG0RUWJDJH7KH&RPSDQ\VKDOOKDYHWKHULJKWWR
 UHFRXSIURPWKH,QVXUHG&ODLPDQWDQ\DPRXQWUHFHLYHGE\LWLQH[FHVVRIWKH,QGHEWHGQHVVXSWR
 WKHDPRXQWRIWKHSD\PHQWXQGHU6HFWLRQ

 7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
 RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
 HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


 >:LWQHVVFODXVHRSWLRQDO@




 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\

 %<                            B                     

 $/7$(QGRUVHPHQW)RUP
 )LUVW/RVV±0XOWLSOH3DUFHO7UDQVDFWLRQV   
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 137 of 807



 
                                              &5(',7256¶5,*+76
                                     $/7$(1'256(0(17)250


 7KLVHQGRUVHPHQWZDVGHFHUWLILHGE\$/7$RQDQGLVQRORQJHUDYDLODEOH


 




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 138 of 807



                                                       
                                                 /2&$7,21
                                                 $/7$
                                      )RUP ZLWKPDS   


 7KHVHHQGRUVHPHQWVLQVXUHDJDLQVWORVVRUGDPDJHLIDQLPSURYHPHQWRIWKHW\SHLGHQWLILHGLQ
 WKHHQGRUVHPHQWKDYLQJWKHDGGUHVVVHWIRUWKLQWKHHQGRUVHPHQWLVQRWORFDWHGRQWKH/DQG,Q
 DGGLWLRQWKHLQVXUHVWKDWDFRS\RIDUHFRUGHGSODWRUPDSWKDWPD\EHDWWDFKHGDVDQ
 H[KLELWWRWKHHQGRUVHPHQWDFFXUDWHO\UHIOHFWVWKHORFDWLRQDQGGLPHQVLRQVRIWKH/DQGDVVKRZQ
 LQWKHSXEOLFUHFRUGV




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 139 of 807


(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB          
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\


 7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRIWKHIDLOXUHRI
 D),//,1NQRZQDV),//,1WREHORFDWHGRQWKH/DQGDW'DWHRI3ROLF\

 7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
 RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
 HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


 >:LWQHVVFODXVHRSWLRQDO@




 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\

 %<                           B                




 $/7$(QGRUVHPHQW)RUP
 /RFDWLRQ   
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 140 of 807


(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB          
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\


 7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRIWKHIDLOXUHRI
  L D),//,1NQRZQDV),//,1WREHORFDWHGRQWKH/DQGDW'DWHRI3ROLF\RU LL WKHPDSLIDQ\
 DWWDFKHGWRWKLVSROLF\WRFRUUHFWO\VKRZWKHORFDWLRQDQGGLPHQVLRQVRIWKH/DQGDFFRUGLQJWRWKH
 3XEOLF5HFRUGV

 7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
 RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
 HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


 >:LWQHVVFODXVHRSWLRQDO@




 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\

 %<                           B                




 $/7$(QGRUVHPHQW)RUP
 /RFDWLRQDQG0DS   
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 141 of 807


                                      &2,1685$1&(6,1*/(32/,&<
                                           $/7$ 


 7KLVHQGRUVHPHQWZDVGHVLJQHGWRIDFLOLWDWHWKHGHOLYHU\RIDVLQJOHSROLF\ZKHQFRLQVXUDQFH
 ZLWKRWKHUXQGHUZULWHUVLVLQYROYHGZLWKDOORFDWLRQRIOLDELOLW\E\HQGRUVHPHQWIURPHDFKFR
 LQVXUHU


 




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
   Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 142 of 807


                                                    (1'256(0(17


                                          $WWDFKHGWR3ROLF\1R>OHDGSROLF\@
                                                       ,VVXHGE\
                                     >OHDGSROLF\LVVXUHU@ ³,VVXLQJ&R,QVXUHU´ 

                                         &2,1685$1&((1'256(0(17

    $WWDFKHGWRDQGPDGHDSDUWRI,VVXLQJ&R,QVXUHU¶V3ROLF\1R>OHDGSROLF\@ ³&R,QVXUDQFH
    3ROLF\´  (DFKWLWOHLQVXUDQFHFRPSDQ\H[HFXWLQJWKLV&R,QVXUDQFH(QGRUVHPHQWRWKHUWKDQWKH
    ,VVXLQJ&R,QVXUHUVKDOOEHUHIHUUHGWRDV³&R,QVXUHU´ ,VVXLQJ&R,QVXUHUDQGHDFK&R,QVXUHU
    DUHFROOHFWLYHO\UHIHUUHGWRDV³&R,QVXULQJ&RPSDQLHV´

     %\LVVXLQJWKLVHQGRUVHPHQWWRWKH&R,QVXUDQFH3ROLF\HDFKRIWKH&R,QVXULQJ&RPSDQLHV
    DGRSWVWKH&R,QVXUDQFH3ROLF\¶V&RYHUHG5LVNV([FOXVLRQV&RQGLWLRQV6FKHGXOHVDQG
    HQGRUVHPHQWVVXEMHFWWRWKHOLPLWDWLRQVRIWKLVHQGRUVHPHQW

    &R,QVXULQJ&RPSDQLHV        1DPHDQG           3ROLF\1XPEHU>)LOH        $PRXQWRI        3HUFHQWDJHRI
                                  $GGUHVV            1XPEHU@                    ,QVXUDQFH        /LDELOLW\
    ,VVXLQJ&R,QVXUHU                                                           
    &R,QVXUHU                                                                   
    &R,QVXUHU                                                                   
    &R,QVXUHU                                                                   
    $JJUHJDWH$PRXQWRI                                                          
    ,QVXUDQFH


    (DFKRIWKH&R,QVXULQJ&RPSDQLHVVKDOOEHOLDEOHWRWKH,QVXUHGRQO\IRULWV3HUFHQWDJHRI
    /LDELOLW\RI D WKHWRWDORIWKHORVVRUGDPDJHXQGHUWKH&R,QVXUDQFH3ROLF\LQQRHYHQWJUHDWHU
    WKDQLWVUHVSHFWLYH$PRXQWRI,QVXUDQFHVHWIRUWKLQWKLVHQGRUVHPHQWDQG E FRVWVDWWRUQH\V¶
    IHHVDQGH[SHQVHVSURYLGHGIRULQWKH&RQGLWLRQV

    $Q\QRWLFHRIFODLPDQGDQ\RWKHUQRWLFHRUVWDWHPHQWLQZULWLQJUHTXLUHGWREHJLYHQXQGHUWKH
    &R,QVXUDQFH3ROLF\PXVWEHJLYHQWRHDFKRIWKH&R,QVXULQJ&RPSDQLHVDWLWVDGGUHVVVHWIRUWK
    DERYH

    $Q\HQGRUVHPHQWWRWKH&R,QVXUDQFH3ROLF\LVVXHGDIWHUWKHGDWHRIWKLV&R,QVXUDQFH
    (QGRUVHPHQWPXVWEHVLJQHGRQEHKDOIRIHDFK&R,QVXULQJ&RPSDQ\E\LWVDXWKRUL]HGRIILFHURU
    DJHQW

    7KLV&R,QVXUDQFH(QGRUVHPHQWLVHIIHFWLYHDVRIWKH'DWHRI3ROLF\RIWKH&R,QVXUDQFH
    3ROLF\ 7KLV&R,QVXUDQFH(QGRUVHPHQWPD\EHH[HFXWHGLQFRXQWHUSDUWV

    7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKH&RLQVXUDQFH3ROLF\ ([FHSWDVLWH[SUHVVO\VWDWHVLW
    GRHVQRW L PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRU
    HQGRUVHPHQWV LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH 7RWKH
    H[WHQWDSURYLVLRQRIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVV
    SURYLVLRQRIWKLVHQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV 2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFW
    WRDOORIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWVWRLW




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 143 of 807




 $/7$&RQWLQXHG

 >:LWQHVV2SWLRQDO@

 '$7('
 ,VVXLQJ&R,QVXUHU

 >OHDGXQGHUZULWHU@

 %<                           B                B


 &R,QVXUHU

 >%/$1.@7LWOH,QVXUDQFH&RPSDQ\

 %\                                                



 &R,QVXUHU

 >%/$1.@7LWOH,QVXUDQFH&RPSDQ\

 %\                                                


 &R,QVXUHU

 >%/$1.@7LWOH,QVXUDQFH&RPSDQ\

 %\                                                




 >$GGLWLRQDO&R,QVXUHUVLJQDWXUHVPD\EHDGGHGLIQHHGHG@




 $/7$(QGRUVHPHQW)RUP
 &R,QVXUDQFH6LQJOH3ROLF\  5HY 
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ


 

© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 144 of 807




                                             '2,1*%86,1(66
                                         $/7$)250  

 7KLVHQGRUVHPHQWIRUDORDQSROLF\SURYLGHVFRYHUDJHWRWKHOHQGHUFRQFHUQLQJWKHFRQVHTXHQFHV
 RIWKHIDLOXUHWRFRPSO\ZLWKVWDWH³GRLQJEXVLQHVV´ODZV

 




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 145 of 807



(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB          
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\

 7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRIWKHLQYDOLGLW\
 RUXQHQIRUFHDELOLW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJHRQWKHJURXQGWKDWPDNLQJWKHORDQ 
 VHFXUHGE\WKH,QVXUHG0RUWJDJHFRQVWLWXWHGDYLRODWLRQRIWKHGRLQJEXVLQHVVODZVRIWKH6WDWH
 ZKHUHWKH/DQGLVORFDWHGEHFDXVHRIWKHIDLOXUHRIWKH,QVXUHGWRTXDOLI\WRGREXVLQHVVXQGHU
 WKRVHODZV


 7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW L 
 PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL  PRGLI\ DQ\ SULRU HQGRUVHPHQWV LLL 
 H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQRI
 WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
 HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWVWRLW


 >:LWQHVV2SWLRQDO@


 '$7('

 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\

 %<B             B
     $87+25,=('6,*1$725<




 $/7$(QGRUVHPHQW)RUP
 'RLQJ%XVLQHVV   
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 146 of 807

                                                
                         6$0($66859(< 6$0($63257,212)6859(<
                                     $/7$  
                                        


 7KHVH HQGRUVHPHQWV H[SDQG SROLF\ FRYHUDJH E\ SURYLGLQJ LQVXUDQFH LQ WKH HYHQW WKH VXUYH\
 LGHQWLILHGLQWKHHQGRUVHPHQWLVQRWWKHVDPHODQGDGHVFULEHGLQ6FKHGXOH$ RU& RIWKHSROLF\




  




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 147 of 807



(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB          
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\



 7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRIWKHIDLOXUHRI
 WKH/DQGDVGHVFULEHGLQ6FKHGXOH$WREHWKHVDPHDVWKDWLGHQWLILHGRQWKHVXUYH\PDGHE\
                        GDWHG                     B BDQGGHVLJQDWHG-RE1R       

 7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW L 
 PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL  PRGLI\ DQ\ SULRU HQGRUVHPHQWV LLL 
 H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQRI
 WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
 HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWVWRLW


 >:LWQHVV2SWLRQDO@


 '$7('

 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\

 %<B             B
     $87+25,=('6,*1$725<




 $/7$(QGRUVHPHQW)RUP
 6DPHDV6XUYH\   
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 148 of 807



(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB          
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\


 7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRIWKHIDLOXUHRI
 WKH/DQGDVGHVFULEHGLQ6FKHGXOH$WREHWKHVDPHDVWKDWLGHQWLILHGDV>([DPSOH 3DUFHO$%
 &RU3DUFHO@RQWKHVXUYH\PDGHE\                         BGDWHG
                           DQGGHVLJQDWHG-RE1R    

 7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW L 
 PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL  PRGLI\ DQ\ SULRU HQGRUVHPHQWV LLL 
 H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH 7RWKHH[WHQWDSURYLVLRQRI
 WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
 HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWVWRLW


 >:LWQHVV2SWLRQDO@


 '$7('

 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\

 %<B             B
     $87+25,=('6,*1$725<




 $/7$(QGRUVHPHQW)RUP
 6DPHDV3RUWLRQRI6XUYH\   
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 149 of 807


 
                                                68%',9,6,21
                                             $/7$  
 
 7KH$/7$)RUPLQVXUHVDJDLQVWORVVEDVHGXSRQWKH/DQGGHVFULEHGLQ6FKHGXOH$ RU
 6FKHGXOH& QRWFRQVWLWXWLQJDOHJDOO\FUHDWHGSDUFHOSXUVXDQWWRDSSOLFDEOHVWDWHVWDWXWHVRUORFDO
 JRYHUQPHQWDOUHJXODWLRQV
 
 7KLVHQGRUVHPHQWPRGLILHVH[FOXVLRQ D LLL ZKLFKH[FOXGHVDQ\ODZRUGLQDQFHSHUPLWRU
 JRYHUQPHQWDOUHJXODWLRQZKLFKSHUWDLQVWRWKHVXEGLYLVLRQRIODQG
 


 


 




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 150 of 807


(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB          
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\


 7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRIWKHIDLOXUHRI
 WKH/DQGWRFRQVWLWXWHDODZIXOO\FUHDWHGSDUFHODFFRUGLQJWRWKHVXEGLYLVLRQVWDWXWHVDQGORFDO
 VXEGLYLVLRQRUGLQDQFHVDSSOLFDEOHWRWKH/DQG


 7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW L 
 PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL  PRGLI\ DQ\ SULRU HQGRUVHPHQWV LLL 
 H[WHQGWKH'DWHRI3ROLF\RU LY  LQFUHDVHWKH $PRXQWRI,QVXUDQFH 7RWKHH[WHQWDSURYLVLRQRI
 WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
 HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWVWRLW


 >:LWQHVV2SWLRQDO@


 '$7('


 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\


 %<B             B
     $87+25,=('6,*1$725<




 $/7$(QGRUVHPHQW)RUP
 6XEGLYLVLRQ   
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ

© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 151 of 807


                                            8685<(1'256(0(17
                                             $/7$  

 7KLVHQGRUVHPHQWLVIRUXVHZLWKDQ$/7$ORDQSROLF\,WSURYLGHVLQVXUDQFHDJDLQVWORVVWKH
 ,QVXUHGPD\VXIIHULIWKH,QVXUHG0RUWJDJHLVGHWHUPLQHGWREHXVXULRXVXQGHUVWDWHVWDWXWH




 




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 152 of 807


(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB          
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\


 7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHG E\UHDVRQRIWKH
 LQYDOLGLW\RUXQHQIRUFHDELOLW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJHDVVHFXULW\IRUWKH,QGHEWHGQHVV
 EHFDXVHWKHORDQVHFXUHGE\WKH,QVXUHG0RUWJDJHYLRODWHVWKHXVXU\ODZRIWKHVWDWHZKHUHWKH
 /DQGLVORFDWHG


 7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW
  L PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
 RIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLV
 HQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

 >:LWQHVVFODXVHRSWLRQDO@




 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\

 %<                           B                




 $/7$(QGRUVHPHQW)RUP
 8VXU\   
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 153 of 807




 

 ($6(0(17'$0$*(25(1)25&('5(029$/(1&52$&+0(176%281'$5,(6$1'
                               ($6(0(176
                            $/7$  
                           $/7$  
                           $/7$  


$/7$(QGRUVHPHQW)RUP ($6(0(17'$0$*(25(1)25&('5(029$/ 

  (QGRUVHPHQW)RUPZDVGHYHORSHGWRLQVXUHDJDLQVWORVVFDXVHGE\WKHHQFURDFKPHQWRID
 EXLOGLQJORFDWHGRQWKH/DQGRQWRRURYHUDQHDVHPHQWVKRZQDVDQH[FHSWLRQLQ6FKHGXOH%DV
 GLVFORVHGE\DVXUYH\RULQVSHFWLRQRIWKH/DQG7KHORVVPXVWEHEDVHGRQDQH[HUFLVHRIWKH
 HDVHPHQWDQGLVRQO\IRUGDPDJHWRDQH[LVWLQJEXLOGLQJRUHQIRUFHGUHPRYDORUDOWHUDWLRQ

$/7$ (1&52$&+0(176%281'$5,(6$1'($6(0(176 
$/7$ (1&52$&+0(176–%281'$5,(6$1'($6(0(176–'(6&5,%('
,03529(0(176 

  (QGRUVHPHQW)RUPVDQGZHUHGHYHORSHGWRSURYLGHFRYHUDJHZLWKUHVSHFWWR
 FHUWDLQERXQGDU\DQGHDVHPHQWHQFURDFKPHQWV7KLVFRYHUDJHZDVSUHYLRXVO\LQFOXGHGLQWKH
 IRUPHU$/7$VHULHV,WLVQRORQJHUFRQWDLQHGZLWKLQWKRVHHQGRUVHPHQWVRWKHUWKDQWKHUHYLVHG
 $/7$DQGWKHQHZ$/7$DQG ZKLFKDGGLWLRQDOO\DIIRUGFRYHUDJHDVWR
 YLRODWLRQVRIFRYHQDQWVYLRODWLRQVRIVHWEDFNVDQGGDPDJHWRH[LVWLQJLPSURYHPHQWVEHFDXVHRI
 GHYHORSPHQWRIPLQHUDOV 7KH)RUPVSHFLILFDOO\FRYHUVRQO\WKH,PSURYHPHQWVGHVFULEHG
 DWLWHPRIWKHHQGRUVHPHQW

7KHFRYHUDJHLQWKHVH(QGRUVHPHQWVLQFOXGH

•      7KHORVVRFFDVLRQHGE\WKHH[LVWHQFHRIDQHQFURDFKPHQWE\DQ,PSURYHPHQWRQWRD
QHLJKERULQJSURSHUW\RURQWRDQHDVHPHQWDUHDZLWKLQWKHLQVXUHG/DQGRWKHUWKDQDVGLVFORVHGLQ
6FKHGXOH%H[FHSWLRQV

•      7KHORVVRFFDVLRQHGE\WKHH[LVWHQFHRIDQHQFURDFKPHQWE\DQHLJKERULQJ,PSURYHPHQW
RQWRWKHLQVXUHG/DQGRWKHUWKDQDVGLVFORVHGLQ6FKHGXOH%H[FHSWLRQV
•      (QIRUFHGUHPRYDORIDQLQVXUHG,PSURYHPHQWEDVHGXSRQWKHHQFURDFKPHQWLQWRWKH
HDVHPHQWDUHDRURQWRQHLJKERULQJSURSHUW\

  
 7KHVHIRUPVDOORZWKHH[FOXVLRQRIDQHQFURDFKPHQWUDLVHGDVDQH[FHSWLRQLQ6FKHGXOH%IURP
 WKHHQIRUFHGUHPRYDOFRYHUDJHE\UHIHUHQFHWRWKHH[FHSWLRQWKDWGHVFULEHVLWLIWKHWLWOHLQVXUHU
 HOHFWVQRWWRLQFOXGHWKDWHQFURDFKPHQWZLWKLQWKHFRYHUDJHDIIRUGHGE\WKHVHHQGRUVHPHQWV




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 154 of 807



(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB          
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\


 7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGLIWKHH[HUFLVHRIWKH
 JUDQWHGRUUHVHUYHGULJKWVWRXVHRUPDLQWDLQWKHHDVHPHQW V UHIHUUHGWRLQ([FHSWLRQ V                 BRI
 6FKHGXOH%UHVXOWVLQ


                   GDPDJHWRDQH[LVWLQJEXLOGLQJORFDWHGRQWKH/DQGRU
                   HQIRUFHGUHPRYDORUDOWHUDWLRQRIDQH[LVWLQJEXLOGLQJORFDWHGRQWKH/DQG


 7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW L 
 PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL  PRGLI\ DQ\ SULRU HQGRUVHPHQWV LLL 
 H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH 7RWKHH[WHQWDSURYLVLRQRI
 WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
 HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWVWRLW



 >:LWQHVV2SWLRQDO@


 '$7('

 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\

 %<B             B
     $87+25,=('6,*1$725<




 $/7$(QGRUVHPHQW)RUP
 (DVHPHQW'DPDJHRU(QIRUFHG5HPRYDO  UHY 
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ



© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 155 of 807



(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB          
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\

  7KHLQVXUDQFHSURYLGHGE\WKLVHQGRUVHPHQWLVVXEMHFWWRWKHH[FOXVLRQVLQ6HFWLRQRIWKLV
     HQGRUVHPHQWDQGWKH([FOXVLRQVIURP&RYHUDJHWKH([FHSWLRQVIURP&RYHUDJHFRQWDLQHGLQ
     6FKHGXOH%DQGWKH&RQGLWLRQVLQWKHSROLF\
  )RUSXUSRVHVRIWKLVHQGRUVHPHQWRQO\³,PSURYHPHQW´PHDQVDQH[LVWLQJEXLOGLQJORFDWHGRQ
     HLWKHUWKH/DQGRUDGMRLQLQJODQGDW'DWHRI3ROLF\DQGWKDWE\ODZFRQVWLWXWHVUHDOSURSHUW\
  7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI
      D $QHQFURDFKPHQWRIDQ\,PSURYHPHQWORFDWHGRQWKH/DQGRQWRDGMRLQLQJODQGRURQWRWKDW
          SRUWLRQRIWKH/DQGVXEMHFWWRDQHDVHPHQWXQOHVVDQH[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\
          LGHQWLILHVWKHHQFURDFKPHQW
      E $QHQFURDFKPHQWRI DQ\,PSURYHPHQWORFDWHGRQDGMRLQLQJODQGRQWRWKH/DQG DW'DWHRI
          3ROLF\XQOHVVDQH[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\LGHQWLILHVWKHHQFURDFKPHQW
      F (QIRUFHGUHPRYDORIDQ\,PSURYHPHQWORFDWHGRQWKH/DQGDVDUHVXOWRIDQHQFURDFKPHQW
          E\WKH,PSURYHPHQWRQWRDQ\SRUWLRQRIWKH/DQGVXEMHFWWRDQ\HDVHPHQWLQWKHHYHQWWKDW
          WKH RZQHUVRIWKH HDVHPHQW VKDOO IRUWKH SXUSRVH RIH[HUFLVLQJ WKH ULJKW RI XVH RU
          PDLQWHQDQFH RI WKH HDVHPHQW FRPSHO UHPRYDO RU UHORFDWLRQ RI WKH HQFURDFKLQJ
          ,PSURYHPHQWRU
      G (QIRUFHGUHPRYDORIDQ\,PSURYHPHQWORFDWHGRQWKH/DQGWKDWHQFURDFKHVRQWRDGMRLQLQJ
          ODQG
  7KLV HQGRUVHPHQW GRHV QRW LQVXUH DJDLQVW ORVV RU GDPDJH DQG WKH &RPSDQ\ ZLOO QRW SD\
     FRVWVDWWRUQH\V¶IHHVRUH[SHQVHV UHVXOWLQJIURP WKHHQFURDFKPHQWVOLVWHGDV ([FHSWLRQV
                     RI6FKHGXOH%
 7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
 RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
 HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

 >:LWQHVVFODXVHRSWLRQDO@ 
 
 '$7('

 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\

 %<B             B
     $87+25,=('6,*1$725<
 




 $/7$(QGRUVHPHQW)RUP
 (QFURDFKPHQWV%RXQGDULHVDQG(DVHPHQWV   
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 156 of 807


(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB          
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\
       
    7KHLQVXUDQFHSURYLGHGE\WKLVHQGRUVHPHQWLVVXEMHFWWRWKHH[FOXVLRQVLQ6HFWLRQ
       RIWKLV HQGRUVHPHQWDQGWKH([FOXVLRQVIURP&RYHUDJHWKH([FHSWLRQVIURP
       &RYHUDJHFRQWDLQHGLQ 6FKHGXOH%DQGWKH&RQGLWLRQVLQWKHSROLF\

        )RUSXUSRVHVRIWKLVHQGRUVHPHQWRQO\³,PSURYHPHQW´PHDQVHDFKLPSURYHPHQWRQ
           WKH/DQGRU DGMRLQLQJODQGDW'DWHRI3ROLF\LWHPL]HGEHORZ

 

        7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI

             D$QHQFURDFKPHQWRIDQ\,PSURYHPHQWORFDWHGRQWKH/DQGRQWRDGMRLQLQJODQGRU
               RQWR WKDW SRUWLRQ RI WKH /DQG VXEMHFW WR DQ HDVHPHQW XQOHVV DQ H[FHSWLRQ LQ
               6FKHGXOH%RIWKHSROLF\ LGHQWLILHVWKHHQFURDFKPHQW

             E$QHQFURDFKPHQWRIDQ\,PSURYHPHQWORFDWHGRQDGMRLQLQJODQGRQWRWKH/DQGDW'DWH
               RI3ROLF\ XQOHVVDQH[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\LGHQWLILHVWKHHQFURDFKPHQW

             F(QIRUFHGUHPRYDORIDQ\,PSURYHPHQWORFDWHGRQWKH/DQGDVDUHVXOWRIDQ
               HQFURDFKPHQWE\ WKH,PSURYHPHQWRQWRDQ\SRUWLRQRIWKH/DQGVXEMHFWWRDQ\
               HDVHPHQWLQWKHHYHQWWKDWWKH RZQHUVRIWKHHDVHPHQWVKDOOIRUWKHSXUSRVHRI
               H[HUFLVLQJWKHULJKWRIXVHRUPDLQWHQDQFHRI WKHHDVHPHQWFRPSHOUHPRYDORU
               UHORFDWLRQRIWKHHQFURDFKLQJ,PSURYHPHQWRU

             G(QIRUFHGUHPRYDORIDQ\,PSURYHPHQWORFDWHGRQWKH/DQGWKDWHQFURDFKHVRQWR
               DGMRLQLQJODQG

        6HFWLRQVFDQGGRIWKLVHQGRUVHPHQWGRQRWLQVXUHDJDLQVWORVVRUGDPDJH DQGWKH
           &RPSDQ\ ZLOOQRWSD\FRVWVDWWRUQH\V¶IHHVRUH[SHQVHV UHVXOWLQJIURPWKHIROORZLQJ
           ([FHSWLRQVLIDQ\OLVWHG LQ6FKHGXOH%



 7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW L 
 PRGLI\DQ\RI WKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV LLL 
 H[WHQGWKH'DWHRI3ROLF\RU
  LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQRIWKHSROLF\RUDSUHYLRXV
 HQGRUVHPHQWLV LQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLVHQGRUVHPHQWWKLVHQGRUVHPHQW
 FRQWUROV2WKHUZLVHWKLV HQGRUVHPHQWLVVXEMHFWWRDOORIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\
 DQGRIDQ\SULRUHQGRUVHPHQWV

 >:LWQHVVFODXVHRSWLRQDO@ 
 
 '$7('
 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\
 %<B                     B
     $87+25,=('6,*1$725<



© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 157 of 807

 $/7$(QGRUVHPHQW)RUP
 (QFURDFKPHQWV%RXQGDULHVDQG(DVHPHQWV'HVFULEHG,PSURYHPHQWV   
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 158 of 807

6:$3(1'256(0(17 ,17(5(675$7((;&+$1*($*5((0(176(&85('%<,1685('
                              0257*$*( 
                          $/7$  
                         $/7$  
                         $/7$  
                         $/7$  

 /HQGHUVRFFDVLRQDOO\UHTXHVWWKDWWKH/RDQ3ROLF\LQVXUHDPRXQWVZKLFKDUHGHVFULEHGLQDQ
 ,QWHUHVW5DWH([FKDQJH$JUHHPHQWRU6ZDS$JUHHPHQWWKHWHUPVRIZKLFKDUHFRQWDLQHGLQRU
 UHIHUHQFHGLQWKH,QVXUHG0RUWJDJH6XFKDJUHHPHQWVREOLJDWHWKHPRUWJDJRUIRUGDPDJHVWKH
 OHQGHUPD\VXIIHUXQGHUVZDSWUDQVDFWLRQVLWHQWHUVLQWRRQWKHERUURZHU¶VEHKDOILQRUGHUWR
 DFKLHYHDIDYRUDEOHLQWHUHVWUDWH,IWKHERUURZHUGHIDXOWVRQLWVORDQWKHOHQGHUEHFRPHVREOLJDWHG
 LWVHOIXQGHUWKHVZDSORDQIRUDPRXQWVNQRZQDVEUHDNDJHIHHV7KLVHQGRUVHPHQWLVGHVLJQHGWR
 SURYLGHDGGLWLRQDOFRYHUDJHIRUWKHVHDPRXQWV7KHVHDPRXQWVDUHFRQWLQJHQWDQGZRXOGDFFUXH
 DVDQREOLJDWLRQRIWKHERUURZHUSRVWSROLF\




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 159 of 807


(1'256(0(17
                                             $WWDFKHGWR3ROLF\1RB       
                                                       ,VVXHGE\
                                                &KLFDJR7LWOH,QVXUDQFH
                                                       &RPSDQ\


  7KHLQVXUDQFHSURYLGHGE\WKLVHQGRUVHPHQWLVVXEMHFWWRWKHH[FOXVLRQVLQ6HFWLRQRIWKLV
     HQGRUVHPHQWWKH([FOXVLRQVIURP&RYHUDJHLQWKH3ROLF\WKH([FHSWLRQVIURP&RYHUDJH
     FRQWDLQHGLQ6FKHGXOH%DQGWKH&RQGLWLRQV$VXVHGLQWKLVHQGRUVHPHQW

      D 7KH³'DWHRI(QGRUVHPHQW´LV                                                   DQG

      E ´6ZDS2EOLJDWLRQ´PHDQVDPRQHWDU\REOLJDWLRQXQGHUWKHLQWHUHVWUDWHH[FKDQJH
          DJUHHPHQWGDWHG                 EHWZHHQ                                                          
          DQGWKH,QVXUHGH[LVWLQJDW'DWHRI(QGRUVHPHQWDQGVHFXUHGE\WKH,QVXUHG0RUWJDJH
          7KH6ZDS2EOLJDWLRQLVLQFOXGHGDVDSDUWRIWKH,QGHEWHGQHVV

  7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRIWKH
     LQYDOLGLW\XQHQIRUFHDELOLW\RUODFNRISULRULW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJHDVVHFXULW\IRU
     WKHUHSD\PHQWRIWKH6ZDS2EOLJDWLRQDW'DWHRI(QGRUVHPHQW

  7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJHDQGWKH&RPSDQ\ZLOOQRWSD\
     FRVWVDWWRUQH\V¶IHHVRUH[SHQVHVWKDWDULVHE\UHDVRQRI

      D 5LJKWVRUREOLJDWLRQVVHWFUHDWHGRUFRQILUPHGDIWHUWKH'DWHRI(QGRUVHPHQWXQGHUD
          PDVWHULQWHUHVWUDWHH[FKDQJHDJUHHPHQWH[LVWLQJRQRUDIWHU'DWHRI(QGRUVHPHQW

      E 7KHVWD\UHMHFWLRQRUDYRLGDQFHRIWKHOLHQRIWKH,QVXUHG0RUWJDJHDVVHFXULW\IRUWKH
          6ZDS2EOLJDWLRQRUDFRXUWRUGHUSURYLGLQJVRPHRWKHUUHPHG\E\WKHRSHUDWLRQRI
          IHGHUDOEDQNUXSWF\VWDWHLQVROYHQF\RUVLPLODUFUHGLWRUV¶ULJKWVODZV

      F 7KHFDOFXODWLRQRIWKHDPRXQWLIDQ\GHWHUPLQHGE\DFRXUWRIFRPSHWHQWMXULVGLFWLRQDV
          WKHDPRXQWRIWKH6ZDS2EOLJDWLRQ>RU@

      G >7KHLQYDOLGLW\XQHQIRUFHDELOLW\RUODFNRISULRULW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJHDV
          VHFXULW\IRUUHSD\PHQWRIWKH6ZDS2EOLJDWLRQEHFDXVHDOODSSOLFDEOHPRUWJDJHUHFRUGLQJ
          RUVLPLODULQWDQJLEOHWD[HV ZHUHQRWSDLGRU@

      H >,I'DWHRI(QGRUVHPHQWLVDIWHU'DWHRI3ROLF\DGGDQ\QHFHVVDU\DGGLWLRQDOH[FHSWLRQV
          KHUH@

 7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW L 
 PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL  PRGLI\ DQ\ SULRU HQGRUVHPHQWV LLL 
 H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH 7RWKHH[WHQWDSURYLVLRQRI
 WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
 HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWVWRLW

 >:LWQHVVFODXVHRSWLRQDO@ 
 '$7('
 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\
 %<B                     B
     $87+25,=('6,*1$725<
 
 $/7$(QGRUVHPHQW)RUP
   ,QWHUHVW5DWH6ZDS±'LUHFW2EOLJDWLRQV   
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ


© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 160 of 807


(1'256(0(17
                                            $WWDFKHGWR3ROLF\1RB        
                                                      ,VVXHGE\
                                               &KLFDJR7LWOH,QVXUDQFH
                                                      &RPSDQ\


  7KHLQVXUDQFHSURYLGHGE\WKLVHQGRUVHPHQWLVVXEMHFWWRWKHH[FOXVLRQVLQ6HFWLRQRIWKLV
        HQGRUVHPHQWWKH([FOXVLRQVIURP&RYHUDJHLQWKH3ROLF\WKH([FHSWLRQVIURP&RYHUDJH
        FRQWDLQHGLQ 6FKHGXOH%DQGWKH&RQGLWLRQV$VXVHGLQWKLVHQGRUVHPHQW

        D 7KH³'DWHRI(QGRUVHPHQW´LV                                         DQG

        E ´6ZDS2EOLJDWLRQ´PHDQVDPRQHWDU\REOLJDWLRQXQGHUWKHLQWHUHVWUDWHH[FKDQJH
            DJUHHPHQWGDWHG
         EHWZHHQ                      DQGWKH,QVXUHGH[LVWLQJDW'DWHRI(QGRUVHPHQWDQGVHFXUHG
        E\WKH ,QVXUHG0RUWJDJH

        F ³$GGLWLRQDO,QWHUHVW´PHDQVWKHDGGLWLRQDOLQWHUHVWFDOFXODWHGSXUVXDQWWRWKHIRUPXOD
        SURYLGHGLQWKH ORDQGRFXPHQWVVHFXUHGE\WKH,QVXUHG0RUWJDJHHDW'DWHRI(QGRUVHPHQW

  7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRIWKH
        LQYDOLGLW\ XQHQIRUFHDELOLW\RUODFNRISULRULW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJHDVVHFXULW\
        IRUWKHUHSD\PHQWRI WKH$GGLWLRQDO,QWHUHVWDW'DWHRI(QGRUVHPHQW

  7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJHDQGWKH&RPSDQ\ZLOOQRW
        SD\FRVWV DWWRUQH\V¶IHHVRUH[SHQVHVWKDWDULVHE\UHDVRQRI

        D 5LJKWVRUREOLJDWLRQVVHWFUHDWHGRUFRQILUPHGDIWHUWKH'DWHRI(QGRUVHPHQWXQGHU
        DPDVWHU LQWHUHVWUDWHH[FKDQJHDJUHHPHQWH[LVWLQJRQRUDIWHU'DWHRI(QGRUVHPHQW

        E 7KHVWD\UHMHFWLRQRUDYRLGDQFHRIWKHOLHQRIWKH,QVXUHG0RUWJDJHDVVHFXULW\IRUWKH
        6ZDS 2EOLJDWLRQRUDFRXUWRUGHUSURYLGLQJVRPHRWKHUUHPHG\E\WKHRSHUDWLRQRIIHGHUDO
        EDQNUXSWF\VWDWH LQVROYHQF\RUVLPLODUFUHGLWRUV¶ULJKWVODZV

        F 7KHFDOFXODWLRQRIWKHDPRXQWLIDQ\GHWHUPLQHGE\DFRXUWRIFRPSHWHQWMXULVGLFWLRQDV
        WKHDPRXQW RIWKH$GGLWLRQDO,QWHUHVW>RU@

        G >7KHLQYDOLGLW\XQHQIRUFHDELOLW\RUODFNRISULRULW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJHDV
        VHFXULW\IRU UHSD\PHQWRIWKH6ZDS2EOLJDWLRQEHFDXVHDOODSSOLFDEOHPRUWJDJHUHFRUGLQJRU
        VLPLODULQWDQJLEOHWD[HV ZHUHQRWSDLGRU@

        H >,I'DWHRI(QGRUVHPHQWLVDIWHU'DWHRI3ROLF\DGGDQ\QHFHVVDU\DGGLWLRQDOH[FHSWLRQV
            KHUH@

            7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV
 QRW L  PRGLI\ DQ\RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\DQ\ SULRU HQGRUVHPHQWV
  LLL  H[WHQG WKH 'DWH RI 3ROLF\ RU LY  LQFUHDVH WKH $PRXQW RI ,QVXUDQFH 7R WKH H[WHQW D
 SURYLVLRQ RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI
 WKLV HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI
 WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ DQG RI DQ\ SULRU HQGRUVHPHQWVWRLW

 'DWHG

 %\                                 
            $XWKRUL]HG6LJQDWRU\



 $/7$(QGRUVHPHQW)RUP

© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 161 of 807

 ,QWHUHVW5DWH6ZDS±$GGLWLRQDO,QWHUHVW   
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ

                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           
                                                           

© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 162 of 807

(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB          
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\

        7KHLQVXUDQFHSURYLGHGE\WKLVHQGRUVHPHQWLVVXEMHFWWRWKHH[FOXVLRQVLQ6HFWLRQ
            RI WKLV HQGRUVHPHQW WKH ([FOXVLRQV IURP &RYHUDJH LQ WKH 3ROLF\ WKH
           ([FHSWLRQVIURP &RYHUDJH FRQWDLQHGLQ6FKHGXOH%DQGWKH&RQGLWLRQV$VXVHG
           LQWKLVHQGRUVHPHQW

           D       7KH³'DWHRI(QGRUVHPHQW´LV                                          DQG

           E      ´6ZDS2EOLJDWLRQ´PHDQVDPRQHWDU\REOLJDWLRQXQGHUWKHLQWHUHVWUDWHH[FKDQJH
           DJUHHPHQWGDWHG          EHWZHHQ                                             DQG
           WKH ,QVXUHGH[LVWLQJDW'DWHRI(QGRUVHPHQWDQGVHFXUHGE\WKH,QVXUHG0RUWJDJH 7KH
           6ZDS 2EOLJDWLRQLVLQFOXGHGDVDSDUWRIWKH,QGHEWHGQHVV

           F³$GGLWLRQDO$PRXQWRI,QVXUDQFH´LV  WKDWLVLQDGGLWLRQWRWKH$PRXQWRI
           ,QVXUDQFH VWDWHGLQ6FKHGXOH$DQGLV$SSOLFDEOHRQO\WRORVVRUGDPDJHXQGHUWKLV
           HQGRUVHPHQW

        7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI
           WKH LQYDOLGLW\XQHQIRUFHDELOLW\RUODFNRISULRULW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJHDV
           VHFXULW\ IRUWKH UHSD\PHQWRIWKH6ZDS2EOLJDWLRQDW'DWHRI(QGRUVHPHQW

         7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJHDQGWKH&RPSDQ\ZLOOQRW
           SD\FRVWV DWWRUQH\V¶IHHVRUH[SHQVHVWKDWDULVHE\UHDVRQRI

           D     5LJKWVRUREOLJDWLRQVVHWFUHDWHGRUFRQILUPHGDIWHUWKH'DWHRI(QGRUVHPHQW
           XQGHUD PDVWHULQWHUHVWUDWHH[FKDQJHDJUHHPHQWH[LVWLQJRQRUDIWHU'DWHRI
           (QGRUVHPHQW

           E      7KHVWD\UHMHFWLRQRUDYRLGDQFHRIWKHOLHQRIWKH,QVXUHG0RUWJDJHDVVHFXULW\
           IRUWKH 6ZDS2EOLJDWLRQRUDFRXUWRUGHUSURYLGLQJVRPHRWKHUUHPHG\E\WKHRSHUDWLRQ
           RI      IHGHUDO EDQNUXSWF\VWDWHLQVROYHQF\RUVLPLODUFUHGLWRUV¶ULJKWVODZV

           F       7KHFDOFXODWLRQRIWKHDPRXQWLIDQ\GHWHUPLQHGE\DFRXUWRIFRPSHWHQW
           MXULVGLFWLRQDV WKHDPRXQWRIWKH6ZDS2EOLJDWLRQ>RU@

           G    >7KHLQYDOLGLW\XQHQIRUFHDELOLW\RUODFNRISULRULW\RIWKHOLHQRIWKH,QVXUHG
           0RUWJDJHDV VHFXULW\IRUUHSD\PHQWRIWKH6ZDS2EOLJDWLRQEHFDXVHDOODSSOLFDEOH
           PRUWJDJHUHFRUGLQJ RU VLPLODULQWDQJLEOHWD[HV ZHUHQRWSDLGRU@

           H       >,I'DWHRI(QGRUVHPHQWLVDIWHU'DWHRI3ROLF\DGGDQ\QHFHVVDU\DGGLWLRQDO
                     H[FHSWLRQV KHUH@

 7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW L 
 PRGLI\DQ\RI WKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV LLL 
 H[WHQGWKH'DWHRI3ROLF\RU
  LY  LQFUHDVH WKH $PRXQW RI ,QVXUDQFH 7R WKH H[WHQW D SURYLVLRQ RI WKH SROLF\ RU D SUHYLRXV
 HQGRUVHPHQWLV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV HQGRUVHPHQW WKLV HQGRUVHPHQW
 FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQWLVVXEMHFWWRDOORIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\
 DQGRIDQ\SULRUHQGRUVHPHQWVWRLW

 'DWHG

 %\                           
           $XWKRUL]HG6LJQDWRU\


© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 163 of 807



 $/7$(QGRUVHPHQW)RUP
 ,QWHUHVW5DWH6ZDS±'LUHFW2EOLJDWLRQV'HILQHG$PRXQW   
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 164 of 807



(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB          
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\

  7KHLQVXUDQFHSURYLGHGE\WKLVHQGRUVHPHQWLVVXEMHFWWRWKHH[FOXVLRQVLQ6HFWLRQRIWKLV
      HQGRUVHPHQWWKH([FOXVLRQVIURP&RYHUDJHLQWKH3ROLF\WKH([FHSWLRQVIURP&RYHUDJH
      FRQWDLQHGLQ 6FKHGXOH%DQGWKH&RQGLWLRQV$VXVHGLQWKLVHQGRUVHPHQW

      D 7KH³'DWHRI(QGRUVHPHQW´LV                                           DQG

      E ´6ZDS2EOLJDWLRQ´PHDQVDPRQHWDU\REOLJDWLRQXQGHUWKHLQWHUHVWUDWHH[FKDQJH
          DJUHHPHQWGDWHG
       EHWZHHQ                     DQGWKH,QVXUHGH[LVWLQJDW'DWHRI(QGRUVHPHQWDQGVHFXUHG
      E\WKH ,QVXUHG0RUWJDJH

      F ³$GGLWLRQDO,QWHUHVW´PHDQVWKHDGGLWLRQDOLQWHUHVWFDOFXODWHGSXUVXDQWWRWKHIRUPXOD
      SURYLGHGLQWKH ORDQGRFXPHQWVVHFXUHGE\WKH,QVXUHG0RUWJDJHHDW'DWHRI(QGRUVHPHQW

      G ³$GGLWLRQDO$PRXQWRI,QVXUDQFH´LV   WKDWLVLQDGGLWLRQWRWKH$PRXQWRI,QVXUDQFH
      VWDWHGLQ 6FKHGXOH$DQGLVDSSOLFDEOH RQO\WRORVVRUGDPDJHXQGHUWKLVHQGRUVHPHQW

  7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRIWKH
      LQYDOLGLW\ XQHQIRUFHDELOLW\RUODFNRISULRULW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJHDVVHFXULW\
      IRUWKHUHSD\PHQWRI WKH$GGLWLRQDO,QWHUHVWDW'DWHRI(QGRUVHPHQW

  7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJHDQGWKH&RPSDQ\ZLOOQRW
      SD\FRVWV DWWRUQH\V¶IHHVRUH[SHQVHVWKDWDULVHE\UHDVRQRI

      D 5LJKWVRUREOLJDWLRQVVHWFUHDWHGRUFRQILUPHGDIWHUWKH'DWHRI(QGRUVHPHQWXQGHU
      DPDVWHU LQWHUHVWUDWHH[FKDQJHDJUHHPHQWH[LVWLQJRQRUDIWHU'DWHRI(QGRUVHPHQW

      E 7KHVWD\UHMHFWLRQRUDYRLGDQFHRIWKHOLHQRIWKH,QVXUHG0RUWJDJHDVVHFXULW\IRUWKH
      6ZDS 2EOLJDWLRQRUDFRXUWRUGHUSURYLGLQJVRPHRWKHUUHPHG\E\WKHRSHUDWLRQRIIHGHUDO
      EDQNUXSWF\VWDWH LQVROYHQF\RUVLPLODUFUHGLWRUV¶ULJKWVODZV

      F 7KHFDOFXODWLRQRIWKHDPRXQWLIDQ\GHWHUPLQHGE\DFRXUWRIFRPSHWHQWMXULVGLFWLRQDV
      WKHDPRXQW RIWKH$GGLWLRQDO,QWHUHVW>RU@

      G >7KHLQYDOLGLW\XQHQIRUFHDELOLW\RUODFNRISULRULW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJHDV
      VHFXULW\IRU UHSD\PHQWRIWKH6ZDS2EOLJDWLRQEHFDXVHDOODSSOLFDEOHPRUWJDJHUHFRUGLQJRU
      VLPLODULQWDQJLEOHWD[HV ZHUHQRWSDLGRU@

      H >,I'DWHRI(QGRUVHPHQWLVDIWHU'DWHRI3ROLF\DGGDQ\QHFHVVDU\DGGLWLRQDOH[FHSWLRQV
           KHUH@

          7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW
 GRHV QRW L  PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL  PRGLI\ DQ\ SULRU
 HQGRUVHPHQWV LLL H[WHQGWKH'DWH RI 3ROLF\ RU LY  LQFUHDVH WKH $PRXQW RI ,QVXUDQFH 7R WKH
 H[WHQW D SURYLVLRQ RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV
 SURYLVLRQ RI WKLV HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV
 VXEMHFW WR DOO RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ DQG RI DQ\ SULRU HQGRUVHPHQWVWRLW

 'DWHG

 %\
           $XWKRUL]HG6LJQDWRU\


© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 165 of 807



 $/7$(QGRUVHPHQW)RUP
 ,QWHUHVW5DWH6ZDS±$GGLWLRQDO,QWHUHVW'HILQHG$PRXQW   
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 166 of 807


         21(72)285)$0,/<6+$5('$335(&,$7,210257*$*((1'256(0(17
                       &200(5&,$/3$57,&,3$7,21,17(5(67
                                $/7$  
                               $/7$ 


 7KHVH HQGRUVHPHQWV DUH GHVLJQHG WR SURYLGH DGGLWLRQDO FRYHUDJH WR WKH OHQGHU ZKHQ WKH ORDQ
 GRFXPHQWVSURYLGHWKDWWKHOHQGHUZLOOSDUWLFLSDWHLQWKHDSSUHFLDWLRQLQYDOXHRIWKHSURSHUW\RUD
 VKDUHRIWKHFDVKIORZ DVDGGLWLRQDOLQWHUHVW 7KHUHVLGHQWLDOYHUVLRQ  ZDVGHYHORSHGIRU
 XVHZLWKJRYHUQPHQWSURJUDPVWKDWPRGLILHGDQGUHGXFHGWKHRXWVWDQGLQJGHEWRIKRPHRZQHUVLQ
 WKHIDFHRIWKHGRZQWXUQRIWKHKRXVLQJPDUNHW7KHVHSURJUDPVDOORZWKHUHFDSWXUHRI
 DSSUHFLDWLRQ XS WR WKH DPRXQW RI IRUJLYHQHVV RI SUHYLRXVO\ RXWVWDQGLQJ GHEW  7KH FRPPHUFLDO
 YHUVLRQ   LV IRU XVH RQO\ ZLWK FRPPHUFLDO WUDQVDFWLRQV DQG LQFOXGHV LQ DGGLWLRQ WR WKH
 LQFUHDVH LQ WKH YDOXH RI WKH SURSHUW\ DSSUHFLDWLRQ  D VKDUH RI WKH FDVK IORZ IURP WKH SURSHUW\
 DQG DQ\ LQFUHDVH LQ WKH HTXLW\ RI WKH ERUURZHU LQ WKH SURSHUW\  7KHVH HQGRUVHPHQWV SURYLGH
 FRYHUDJHLQWKHHYHQWRIDQDWWDFNRQWKHYDOLGLW\SULRULW\RUHQIRUFHDELOLW\RIWKH,QVXUHG0RUWJDJH
 EDVHGXSRQWKHSURYLVLRQVUHJDUGLQJVKDUHGDSSUHFLDWLRQDQGSDUWLFLSDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 167 of 807



(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB          
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\

 7KHLQVXUDQFHDIIRUGHGE\WKLVHQGRUVHPHQWLVRQO\HIIHFWLYHLIWKH/DQGLVDRQHWRIRXUIDPLO\
 UHVLGHQFH

 )RUWKHSXUSRVHVRIWKLVHQGRUVHPHQW³6KDUHG$SSUHFLDWLRQ´VKDOOPHDQLQFUHDVHVLQWKH
 ,QGHEWHGQHVV VHFXUHGE\WKH,QVXUHG0RUWJDJHE\UHDVRQRIVKDUHGHTXLW\RUDSSUHFLDWLRQLQ
 WKHYDOXHRIWKH/DQG

 7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI

            D  7KHLQYDOLGLW\RUXQHQIRUFHDELOLW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJHDV
                VHFXULW\IRUWKH ,QGHEWHGQHVVFDXVHGE\WKHSURYLVLRQVIRU6KDUHG
                $SSUHFLDWLRQRU

            E  /RVVRISULRULW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJHDVVHFXULW\IRUWKH,QGHEWHGQHVV
                FDXVHGE\ WKHSURYLVLRQVIRU6KDUHG$SSUHFLDWLRQ


   1RWKLQJFRQWDLQHGLQWKLVHQGRUVHPHQWVKDOOEHFRQVWUXHGDVLQVXULQJDJDLQVWORVVRUGDPDJH
   VXVWDLQHGRU LQFXUUHGE\UHDVRQRI

            D  XVXU\

            E  DQ\FRQVXPHUFUHGLWSURWHFWLRQRUWUXWKLQOHQGLQJODZ

            F  FRVWVH[SHQVHVRUDWWRUQH\¶VIHHVUHTXLUHGWRREWDLQDGHWHUPLQDWLRQE\MXGLFLDO
                SURFHHGLQJV RURWKHUZLVHRIWKHDPRXQWRIWKH6KDUHG$SSUHFLDWLRQ

            G  IDLOXUHWRFRPSO\ZLWKDSSOLFDEOHODZVDQGUHJXODWLRQVUHJDUGLQJ6KDUHG$SSUHFLDWLRQ

            H  WKHVWD\UHMHFWLRQRUDYRLGDQFHRIWKHOLHQRIWKH,QVXUHG0RUWJDJHDVVHFXULW\IRU
                WKH6KDUHG $SSUHFLDWLRQRUDFRXUWRUGHUSURYLGLQJVRPHRWKHUUHPHG\E\WKH
                RSHUDWLRQRIIHGHUDO EDQNUXSWF\VWDWHLQVROYHQF\RUVLPLODUFUHGLWRUV¶ULJKWVODZVRU

            I  WKHLQYDOLGLW\XQHQIRUFHDELOLW\RUODFNRISULRULW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJH
                DVVHFXULW\ IRUWKH,QGHEWHGQHVVEHFDXVHDOODSSOLFDEOHPRUWJDJHUHFRUGLQJRU
                VLPLODULQWDQJLEOHWD[HV ZHUHQRWSDLG


 7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW L 
 PRGLI\DQ\RI WKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV LLL 
 H[WHQGWKH'DWHRI3ROLF\RU
  LY FUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQRIWKHSROLF\RUDSUHYLRXV
 HQGRUVHPHQWLV LQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLVHQGRUVHPHQWWKLVHQGRUVHPHQW
 FRQWUROV2WKHUZLVHWKLV HQGRUVHPHQWLVVXEMHFWWRDOORIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\
 DQGRIDQ\SULRUHQGRUVHPHQWV


 'DWHG


 %\                                      
    $XWKRUL]HG6LJQDWRU\

© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 168 of 807




 $/7$(QGRUVHPHQW)RUP
 2QHWR)RXU)DPLO\6KDUHG$SSUHFLDWLRQ0RUWJDJH   
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 169 of 807


(1'256(0(17
                                           $WWDFKHGWR3ROLF\1RB          
                                                     ,VVXHGE\
                                              &KLFDJR7LWOH,QVXUDQFH
                                                     &RPSDQ\
                                                          

                7KLVHQGRUVHPHQWLVVXEMHFWWRWKHH[FOXVLRQVLQ6HFWLRQRIWKLVHQGRUVHPHQWWKH
                   ([FOXVLRQV IURP&RYHUDJHLQWKHSROLF\WKH([FHSWLRQVIURP&RYHUDJHFRQWDLQHGLQ
                   6FKHGXOH%DQGWKH &RQGLWLRQV
                $VXVHGLQWKLVHQGRUVHPHQW

         D /RDQ'RFXPHQWVPHDQVWKRVHGRFXPHQWVDVWKH\H[LVWDW'DWHRI3ROLF\
             FUHDWLQJWKH ,QGHEWHGQHVV
         E ³3DUWLFLSDWLRQ ,QWHUHVW´ PHDQV WKRVH HOHPHQWV RI LQWHUHVW HVWDEOLVKHG DQG FDOFXODWHG
             SXUVXDQW WR WKH IRUPXOD SURYLGHG LQ WKH /RDQ 'RFXPHQWV WKDW DUH SD\DEOH RU
             DOORFDWHGWRWKH,QVXUHGEDVHG XSRQ
                              L WKHERUURZHU¶VHTXLW\LQWKH7LWOH
                             LL WKHLQFUHDVHLQYDOXHRIWKH7LWOHRU
                            LLL FDVKIORZ

                7KHSROLF\LQVXUHVDVRI'DWHRI3ROLF\DJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH
                   ,QVXUHGE\ UHDVRQRI

         D 7KHLQYDOLGLW\RUXQHQIRUFHDELOLW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJHUHVXOWLQJIURPWKH
               SURYLVLRQVLQ WKH,QVXUHG0RUWJDJHRULQWKH/RDQ'RFXPHQWVZKLFKSURYLGHIRU
               3DUWLFLSDWLRQ,QWHUHVW

         E /DFNRISULRULW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJHDW'DWHRI3ROLF\DVVHFXULW\IRU L WKH
               XQSDLG SULQFLSDOEDODQFHRIWKHORDQDQG LL WKHLQWHUHVWRQWKHORDQLQFOXGLQJWKH
               3DUWLFLSDWLRQ,QWHUHVWLI DQ\ZKLFKODFNRISULRULW\LVFDXVHGE\WKHSURYLVLRQVLQWKH
               /RDQ'RFXPHQWVIRUSD\PHQWRU DOORFDWLRQWRWKH,QVXUHGRIDQ\3DUWLFLSDWLRQ,QWHUHVW

                7KHSROLF\GRHVQRWLQVXUHDJDLQVWORVVRUGDPDJHDQGWKH&RPSDQ\ZLOOQRW
                   SD\FRVWV DWWRUQH\V¶IHHVRUH[SHQVHVWKDWDULVHE\UHDVRQRI

         D XVXU\XQFRQVFLRQDELOLW\RUDQ\FRQVXPHUFUHGLWSURWHFWLRQRUWUXWKLQOHQGLQJODZ
         E             GLVSXWHVRYHUWKHDPRXQWRI3DUWLFLSDWLRQ,QWHUHVW
         F             IDLOXUHWRFRPSO\ZLWKDSSOLFDEOHODZVDQGUHJXODWLRQVUHJDUGLQJ3DUWLFLSDWLRQ
                           ,QWHUHVW
         G WKHLQYDOLGLW\XQHQIRUFHDELOLW\RUODFNRISULRULW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJHDV
             VHFXULW\IRU WKH3DUWLFLSDWLRQ,QWHUHVWEHFDXVHDOODSSOLFDEOHPRUWJDJHUHFRUGLQJRUVLPLODU
             LQWDQJLEOHWD[HVZHUH QRWSDLGRU
         H DQ\ VWDWXWRU\OLHQIRUVHUYLFHVSURYLGHGODERUSHUIRUPHGRUPDWHULDOVRUHTXLSPHQW
             IXUQLVKHG DULVLQJDIWHU'DWHRI3ROLF\

  7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW L 
  PRGLI\DQ\RI WKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV LLL 
  H[WHQGWKH'DWHRI3ROLF\RU
   LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQRIWKHSROLF\RUDSUHYLRXV
  HQGRUVHPHQWLV LQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLVHQGRUVHPHQWWKLVHQGRUVHPHQW
  FRQWUROV2WKHUZLVHWKLV HQGRUVHPHQWLVVXEMHFWWRDOORIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\DQG
  RIDQ\SULRUHQGRUVHPHQWV

  'DWHG


  %\                                      

© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
 Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 170 of 807


    $XWKRUL]HG6LJQDWRU\
  $/7$(QGRUVHPHQW)RUP
  &RPPHUFLDO3DUWLFLSDWLRQ,QWHUHVW   
  $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 171 of 807


 
                                        6(9(5$%/(,03529(0(176
                                           $/7$  


 7KLVHQGRUVHPHQWDGGVDVDSDUWRIWKHFDOFXODWLRQRIWKH,QVXUHG¶VORVVWKHGLPLQXWLRQLQYDOXH
 RIWKH,QVXUHG¶VLQWHUHVWLQDQ\GHILQHG6HYHUDEOH,PSURYHPHQWDIIL[HGWRWKH/DQGDVZHOODVWKH
 UHDVRQDEOH FRVW RI UHPRYDO RU UHORFDWLRQ RI WKHVH 6HYHUDEOH ,PSURYHPHQWV DUH GHILQHG DV
 SURSHUW\WKDWE\ ODZGRHV QRWFRQVWLWXWHUHDOSURSHUW\/DQG LVGHILQHGLQWKHSROLF\DVODQGDQG
 LPSURYHPHQWVWKDWE\ODZFRQVWLWXWHUHDOSURSHUW\




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 172 of 807


(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB          
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\
        
     $VXVHGLQWKLVHQGRUVHPHQW6HYHUDEOH,PSURYHPHQWPHDQVSURSHUW\DIIL[HGWRWKH/DQG
        RQRUDIWHU'DWHRI3ROLF\WKDWE\ODZGRHVQRWFRQVWLWXWHUHDOSURSHUW\EHFDXVH

         D    RILWVFKDUDFWHUDQGPDQQHURIDWWDFKPHQWWRWKH/DQGDQG

         E    LWFDQEHVHYHUHGIURPWKH/DQGZLWKRXWFDXVLQJPDWHULDOGDPDJHWRLWRUWRWKH/DQG

     ,QWKHHYHQWRIDORVVE\UHDVRQRIDGHIHFWOLHQHQFXPEUDQFHRURWKHUPDWWHUFRYHUHGE\
        WKLV 3ROLF\ ³'HIHFW´  WKH FDOFXODWLRQ RI WKH ORVV VKDOO LQFOXGH EXW QRW WR WKH H[WHQW WKDW
        WKHVHLWHPVRIORVVDUHLQFOXGHGLQWKHYDOXDWLRQRIWKH7LWOHGHWHUPLQHGSXUVXDQWWR6HFWLRQ
        RIWKH&RQGLWLRQVRUDQ\RWKHUHQGRUVHPHQWWRWKH3ROLF\ 

        D     WKH GLPLQXWLRQ LQ YDOXH RI WKH ,QVXUHG¶V LQWHUHVW LQ DQ\ 6HYHUDEOH ,PSURYHPHQW
                UHVXOWLQJ IURP WKH 'HIHFW UHGXFHG E\ WKH VDOYDJH YDOXH RI WKH 6HYHUDEOH
                ,PSURYHPHQWDQG

        E     WKHUHDVRQDEOHFRVWDFWXDOO\LQFXUUHGE\WKH,QVXUHGLQFRQQHFWLRQZLWKWKHUHPRYDORU
                UHORFDWLRQ RI WKH 6HYHUDEOH ,PSURYHPHQW UHVXOWLQJ IURP WKH 'HIHFW DQG WKH FRVW RI
                WUDQVSRUWDWLRQ RI WKDW 6HYHUDEOH ,PSURYHPHQW IRU WKH LQLWLDO RQH KXQGUHG PLOHV
                LQFXUUHGLQFRQQHFWLRQZLWKWKHUHORFDWLRQ

     7KLVHQGRUVHPHQWUHODWHVVROHO\WRWKHFDOFXODWLRQRIWKH,QVXUHG¶VORVVUHVXOWLQJIURPD
        FODLPEDVHGRQDGHIHFWOLHQHQFXPEUDQFHRURWKHUPDWWHURWKHUZLVHLQVXUHGDJDLQVWE\
        WKH3ROLF\7KLV3ROLF\GRHVQRWLQVXUHDJDLQVWORVVRUGDPDJH DQGWKH&RPSDQ\ZLOOQRW
        SD\DQ\FRVWVDWWRUQH\V¶IHHVRUH[SHQVHV UHODWLQJWR

         D    WKHDWWDFKPHQWSHUIHFWLRQRUSULRULW\RIDQ\VHFXULW\LQWHUHVWLQWKH6HYHUDEOH
                ,PSURYHPHQW

        E     WKHYHVWLQJRURZQHUVKLSRIWLWOHWRRUULJKWVLQDQ\6HYHUDEOH,PSURYHPHQW

        F     DQ\GHIHFWLQRUOLHQRUHQFXPEUDQFHRQWKHWLWOHWRDQ\6HYHUDEOH,PSURYHPHQWRU

        G     WKHGHWHUPLQDWLRQRIZKHWKHUDQ\VSHFLILFSURSHUW\LVUHDORUSHUVRQDOLQQDWXUH

 7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW L 
 PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL  PRGLI\ DQ\ SULRU HQGRUVHPHQWV LLL 
 H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQRI
 WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
 HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

 >:LWQHVVFODXVHRSWLRQDO@ 
 
 'DWHG
 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\
%<                     
       $87+25,=(' 6,*1$725<

 $/7$(QGRUVHPHQW)RUP
 6HYHUDEOH,PSURYHPHQWV   
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ


© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 173 of 807

                                   &216758&7,21/2$1
     $/7$ &RQVWUXFWLRQ/RDQ±/RVVRI3ULRULW\   $/7$ &RQVWUXFWLRQ
                       /RDQ±/RVVRI3ULRULW\'LUHFW3D\PHQW   
     $/7$ &RQVWUXFWLRQ/RDQ±/RVVRI3ULRULW\,QVXUHG¶V'LUHFW3D\PHQW   
 
 7KHVHHQGRUVHPHQWVWRJHWKHUZLWKWKH 'LVEXUVHPHQW UHSODFHWKH$/7$&RQVWUXFWLRQ
 /RDQ3ROLF\DQGWKH&RQVWUXFWLRQ/RDQ3ROLF\(QGRUVHPHQWV$WKURXJK'ZKLFKKDYHEHHQ
 GHFHUWLILHGDQGDUHQRORQJHUDYDLODEOH
 
 7KHVHHQGRUVHPHQWVZHUHGHYHORSHGWRJLYHOLPLWHGFRYHUDJHZKHUHSULRULW\KDVEHHQORVW
 7KH\RQO\JLYHFRYHUDJHWRWKHH[WHQWRIZRUNWKDWWKHOHQGHUKDVSDLGIRUZLWKWKH$/7$
 DQGWKH$/7$IXUWKHUOLPLWHGWROLHQVILOHGE\SDUWLHVWKDWKDYHEHHQLGHQWLILHGRQDGUDZ
 UHTXHVWHLWKHUSDLGE\WKH,QVXUHGRUWKH&RPSDQ\7KH\GRQRWJLYHFRYHUDJHRYHURWKHU
 LQFKRDWHOLHQVWKDWFDQSULPHWKHFRQVWUXFWLRQPRUWJDJH7KHFRYHUVSD\PHQWDV
 GLVFORVHGE\DGUDZUHTXHVW
 
 $/7$(QGRUVHPHQWLVGHVLJQHGIRUORDQSROLFLHVGXULQJFRQVWUXFWLRQLQVLWXDWLRQV
 ZKHUHWKHPRUWJDJHRUGHHGRIWUXVWFDQQHYHUKDYHSULRULW\RYHUPHFKDQLF¶VOLHQVRUZKHUHWKH
 PRUWJDJHRUGHHGRIWUXVWKDVORVWSULRULW\WRPHFKDQLF¶VOLHQV HJGXHWRFRPPHQFHPHQWRI
 ZRUNSULRUWRWKHUHFRUGLQJRIWKHPRUWJDJHRUGHHGRIWUXVW +RZHYHUWKLVHQGRUVHPHQWPD\
 DOVREHXVHGIRUVLWXDWLRQVZKHUHWKHPRUWJDJHRUGHHGRIWUXVWKDVSULRULW\RYHUPHFKDQLF¶V
 OLHQV
 
 6SHFLILFDOO\WKH$/7$LQVXUHVRQO\WRWKHH[WHQWWKDWGLUHFWSD\PHQWWRWKH0HFKDQLF V
 /LHQFODLPDQWKDVEHHQPDGHE\WKH&RPSDQ\RUE\WKH,QVXUHGZLWKWKH&RPSDQ\ VZULWWHQ
 DSSURYDO,WGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJHE\UHDVRQRIDQ\PHFKDQLF VOLHQDULVLQJ
 IURPVHUYLFHVODERUPDWHULDORUHTXLSPHQW
 
 D)XUQLVKHGDIWHU'DWHRI&RYHUDJHRU
 WRWKHH[WHQWWKDWD0HFKDQLF V/LHQFODLPDQWZDVQRWGLUHFWO\SDLGE\WKH&RPSDQ\RUE\WKH
 ,QVXUHGZLWKWKH&RPSDQ\ VZULWWHQDSSURYDO
 
 7KHHQGRUVHPHQWFRQWHPSODWHVWKDWWKH&RPSDQ\RULWVDJHQWZLOOEHLQYROYHGLQWKHGLUHFW
 SD\PHQWWRVSHFLILFPHFKDQLF VOLHQFODLPDQWV±HLWKHUE\PDNLQJWKHSD\PHQWRUE\DSSURYLQJ
 LW
 
 7KH$/7$FRYHUVDOLHQILOHGIRUSD\PHQWRISUHYLRXVO\SDLGDPRXQWVE\WKHWLWOHLQVXUHU
 RUZLWKWKHWLWOHLQVXUHU¶VFRQVHQW




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
    Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 174 of 807



(1'256(0(17
                                              $WWDFKHGWR3ROLF\1RB          
                                                        ,VVXHGE\
                                                 &KLFDJR7LWOH,QVXUDQFH
                                                        &RPSDQ\


    1.   &RYHUHG5LVN D RIWKLVSROLF\LVGHOHWHG

    2.   7KH LQVXUDQFH >IRU &RQVWUXFWLRQ /RDQ $GYDQFHV@ DGGHG E\ 6HFWLRQ  RI WKLV HQGRUVHPHQW
          LV VXEMHFW WR WKH H[FOXVLRQV LQ 6HFWLRQ  RI WKLV HQGRUVHPHQW DQG WKH ([FOXVLRQV IURP
          &RYHUDJH LQ WKH 3ROLF\ WKH SURYLVLRQV RI WKH &RQGLWLRQV DQG WKH H[FHSWLRQVFRQWDLQHGLQ
          6FKHGXOH % )RU WKH SXUSRVHV RI WKLV HQGRUVHPHQW DQG HDFK VXEVHTXHQW 'LVEXUVHPHQW
          (QGRUVHPHQW

          a.   ³'DWHRI&RYHUDJH´LV XQOHVV WKH &RPSDQ\ VHWV D GLIIHUHQW 'DWH RI &RYHUDJH E\ DQ
                $/7$'LVEXUVHPHQW (QGRUVHPHQWLVVXHGDWWKHGLVFUHWLRQRIWKH&RPSDQ\

          b.   ³&RQVWUXFWLRQ/RDQ$GYDQFH´VKDOOPHDQDQDGYDQFHWKDWFRQVWLWXWHV,QGHEWHGQHVVPDGH
                RQ RU EHIRUH 'DWH RI &RYHUDJH IRU WKH SXUSRVH RI ILQDQFLQJ LQ ZKROH RU LQ SDUW WKH
                FRQVWUXFWLRQRILPSURYHPHQWVRQWKH/DQG

          c.   ³0HFKDQLF¶V /LHQ´ VKDOO PHDQ DQ\ VWDWXWRU\ OLHQ RU FODLP RI OLHQ DIIHFWLQJ WKH 7LWOH WKDW
                DULVHVIURPVHUYLFHVSURYLGHG ODERUSHUIRUPHGRUPDWHULDOVRUHTXLSPHQWIXUQLVKHG

    3.   7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI

          a.   7KH LQYDOLGLW\ RU XQHQIRUFHDELOLW\ RI WKH OLHQ RI WKH ,QVXUHG 0RUWJDJH DV VHFXULW\ IRU
                HDFK&RQVWUXFWLRQ/RDQ$GYDQFH PDGHRQRUEHIRUHWKH'DWHRI&RYHUDJH

          b.   7KHODFNRISULRULW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJHDVVHFXULW\IRUHDFK &RQVWUXFWLRQ
                /RDQ$GYDQFHPDGHRQRUEHIRUH WKH 'DWH RI &RYHUDJH RYHU DQ\ OLHQ RU HQFXPEUDQFH
                RQ WKH 7LWOH UHFRUGHG LQ WKH 3XEOLF 5HFRUGV DQG QRW VKRZQ LQ 6FKHGXOH%DQG

          c.   7KH ODFN RI SULRULW\ RI WKH OLHQ RI WKH ,QVXUHG 0RUWJDJH DV VHFXULW\ IRU HDFK
                &RQVWUXFWLRQ /RDQ $GYDQFH PDGH RQ RU EHIRUH WKH 'DWH RI &RYHUDJH RYHU DQ\
                0HFKDQLF¶V /LHQ LI QRWLFH RI WKH 0HFKDQLF¶V /LHQ LV QRW ILOHG RU UHFRUGHG LQ WKH 3XEOLF
                5HFRUGV EXW RQO\ WR WKH H[WHQW WKDW WKH FKDUJHV IRU WKH VHUYLFHV ODERU PDWHULDOV RU
                HTXLSPHQW IRU ZKLFK WKH 0HFKDQLF¶V /LHQ LV FODLPHG ZHUH GHVLJQDWHG IRU SD\PHQW LQ
                WKH GRFXPHQWV VXSSRUWLQJ D &RQVWUXFWLRQ /RDQ $GYDQFH GLVEXUVHG E\ RU RQ EHKDOIRI
                WKH,QVXUHGRQRUEHIRUH'DWHRI&RYHUDJH

     7KLV SROLF\ GRHV QRW LQVXUHDJDLQVW ORVV RUGDPDJH DQGWKH &RPSDQ\ ZLOO QRW SD\ FRVWV
       DWWRUQH\V¶ IHHV RUH[SHQVHV E\ UHDVRQRIDQ\0HFKDQLF¶V/LHQDULVLQJIURPVHUYLFHVODERU
       PDWHULDORUHTXLSPHQW
       a. IXUQLVKHGDIWHU'DWHRI&RYHUDJHRU
       b. QRW GHVLJQDWHG IRU SD\PHQW LQ WKH GRFXPHQWV VXSSRUWLQJ D &RQVWUXFWLRQ /RDQ $GYDQFH
           GLVEXUVHGE\RURQEHKDOIRIWKH ,QVXUHGRQRUEHIRUH'DWHRI&RYHUDJH

 7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\  ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW L 
 PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL  PRGLI\ DQ\ SULRU HQGRUVHPHQWV LLL 
 H[WHQG WKH 'DWH RI 3ROLF\ RU LY  LQFUHDVH WKH $PRXQW RI ,QVXUDQFH 7R WKH H[WHQW D SURYLVLRQ
 RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
 HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
 WHUPV DQG SURYLVLRQV RI WKH SROLF\ DQG RI DQ\ SULRU HQGRUVHPHQWV
 
 'DWHG
 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\
%<                       
© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 175 of 807


           $87+25,=(' 6,*1$725<
 
 
 ALTA Endorsement Form 32-06
 (Construction Loan-Loss of Priority) (2-3-11)
 © American Land Title Association




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 176 of 807


(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB          
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\
      
  &RYHUHG5LVN D RIWKLVSROLF\LVGHOHWHG

  7KHLQVXUDQFH>IRU&RQVWUXFWLRQ/RDQ$GYDQFHV@DGGHGE\6HFWLRQRIWKLVHQGRUVHPHQWLV
      VXEMHFWWR WKHH[FOXVLRQVLQ6HFWLRQRIWKLVHQGRUVHPHQWDQGWKH([FOXVLRQVIURP
      &RYHUDJHLQWKH3ROLF\WKH SURYLVLRQVRIWKH&RQGLWLRQVDQGWKHH[FHSWLRQVFRQWDLQHGLQ
      6FKHGXOH%)RUWKHSXUSRVHVRIWKLV HQGRUVHPHQWDQGHDFKVXEVHTXHQW'LVEXUVHPHQW
      (QGRUVHPHQW

      D ³'DWHRI&RYHUDJH´LV            XQOHVVWKH&RPSDQ\VHWVDGLIIHUHQW'DWHRI
           &RYHUDJHE\ DQ$/7$'LVEXUVHPHQW(QGRUVHPHQWLVVXHGDWWKHGLVFUHWLRQRIWKH
           &RPSDQ\

      E ³&RQVWUXFWLRQ/RDQ$GYDQFH´VKDOOPHDQDQDGYDQFHWKDWFRQVWLWXWHV,QGHEWHGQHVV
           PDGHRQRU EHIRUH'DWHRI&RYHUDJHIRUWKHSXUSRVHRIILQDQFLQJLQZKROHRULQSDUW
           WKHFRQVWUXFWLRQRI LPSURYHPHQWVRQWKH/DQG

      F ³0HFKDQLF¶V/LHQ´VKDOOPHDQDQ\VWDWXWRU\OLHQRUFODLPRIOLHQDIIHFWLQJWKH7LWOHWKDW
           DULVHVIURP VHUYLFHVSURYLGHGODERUSHUIRUPHGRUPDWHULDOVRUHTXLSPHQWIXUQLVKHG

  7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI

      D 7KHLQYDOLGLW\RUXQHQIRUFHDELOLW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJHDVVHFXULW\
           IRUHDFK &RQVWUXFWLRQ/RDQ$GYDQFHPDGHRQRUEHIRUHWKH'DWHRI&RYHUDJH

      E 7KH ODFN RI SULRULW\ RI WKH OLHQ RI WKH ,QVXUHG 0RUWJDJH DV VHFXULW\ IRU HDFK
           &RQVWUXFWLRQ/RDQ $GYDQFHPDGHRQRUEHIRUHWKH'DWHRI&RYHUDJHRYHUDQ\OLHQ
           RU HQFXPEUDQFH RQ WKH 7LWOH UHFRUGHG LQ WKH 3XEOLF 5HFRUGV DQG QRW VKRZQ LQ
           6FKHGXOH%DQG

      F 7KHODFNRISULRULW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJHDVVHFXULW\IRUHDFK
           &RQVWUXFWLRQ/RDQ $GYDQFHPDGHRQRUEHIRUHWKH'DWHRI&RYHUDJHRYHUDQ\
           0HFKDQLF¶V/LHQLIQRWLFHRIWKH 0HFKDQLF¶V/LHQLVQRWILOHGRUUHFRUGHGLQWKH3XEOLF
           5HFRUGVEXWRQO\WRWKHH[WHQWWKDWGLUHFW SD\PHQWWRWKH0HFKDQLF¶V/LHQFODLPDQWIRU
           WKHFKDUJHVIRUWKHVHUYLFHVODERUPDWHULDOVRU HTXLSPHQWIRUZKLFKWKH0HFKDQLF¶V
           /LHQLVFODLPHG KDVEHHQPDGHE\WKH&RPSDQ\RUE\WKH ,QVXUHGZLWKWKH
           &RPSDQ\ VZULWWHQDSSURYDO

  7KLVSROLF\GRHVQRWLQVXUHDJDLQVWORVVRUGDPDJH DQGWKH&RPSDQ\ZLOOQRWSD\FRVWV
      DWWRUQH\V¶IHHV RUH[SHQVHV E\UHDVRQRIDQ\0HFKDQLF¶V/LHQDULVLQJIURPVHUYLFHVODERU
      PDWHULDORUHTXLSPHQW
      D IXUQLVKHGDIWHU'DWHRI&RYHUDJHRU
      E WRWKHH[WHQWWKDWWKH0HFKDQLF¶V/LHQFODLPDQWZDVQRWGLUHFWO\SDLGE\WKH&RPSDQ\
          RUE\WKH ,QVXUHGZLWKWKH&RPSDQ\ VZULWWHQDSSURYDO

 7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW L 
 PRGLI\DQ\RI WKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV LLL 
 H[WHQGWKH'DWHRI3ROLF\RU
  LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQRIWKHSROLF\RUDSUHYLRXV
 HQGRUVHPHQWLV LQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLVHQGRUVHPHQWWKLVHQGRUVHPHQW
 FRQWUROV2WKHUZLVHWKLV HQGRUVHPHQWLVVXEMHFWWRDOORIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\
 DQGRIDQ\SULRUHQGRUVHPHQWV

 >:LWQHVVFODXVHRSWLRQDO@
 
© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 177 of 807


 '$7('

 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\

 %<B             B
     $87+25,=('6,*1$725<
 
 $/7$(QGRUVHPHQW)RUP
 &RQVWUXFWLRQ/RDQ/RVVRI3ULRULW\'LUHFW3D\PHQW  UHY 
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
    Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 178 of 807




(1'256(0(17
                                             $WWDFKHGWR3ROLF\1RB         
                                                       ,VVXHGE\
                                                &KLFDJR7LWOH,QVXUDQFH
                                                       &RPSDQ\

    1.   &RYHUHG5LVN D RIWKLVSROLF\LVGHOHWHG

    2.   7KH LQVXUDQFH >IRU &RQVWUXFWLRQ /RDQ $GYDQFHV@ DGGHG E\ 6HFWLRQ  RI WKLV HQGRUVHPHQW
          LV VXEMHFW WR WKH H[FOXVLRQV LQ 6HFWLRQ  RI WKLV HQGRUVHPHQW DQG WKH ([FOXVLRQV IURP
          &RYHUDJH LQ WKH 3ROLF\ WKH SURYLVLRQV RI WKH &RQGLWLRQV DQG WKH H[FHSWLRQVFRQWDLQHGLQ
          6FKHGXOH % )RU WKH SXUSRVHV RI WKLV HQGRUVHPHQW DQG HDFK VXEVHTXHQW 'LVEXUVHPHQW
          (QGRUVHPHQW

          a.³'DWHRI&RYHUDJH´LV>XQOHVV WKH &RPSDQ\ VHWV D GLIIHUHQW 'DWH RI &RYHUDJH E\ DQ
          $/7$'LVEXUVHPHQW (QGRUVHPHQWLVVXHGDWWKHGLVFUHWLRQRIWKH&RPSDQ\

          b. ³&RQVWUXFWLRQ/RDQ$GYDQFH´VKDOOPHDQDQDGYDQFHWKDWFRQVWLWXWHV,QGHEWHGQHVVPDGH
          RQ RU EHIRUH 'DWH RI &RYHUDJH IRU WKH SXUSRVH RI ILQDQFLQJ LQ ZKROH RU LQ SDUW WKH
          FRQVWUXFWLRQRILPSURYHPHQWVRQWKH/DQG

          c. ³0HFKDQLF¶V /LHQ´ VKDOO PHDQ DQ\ VWDWXWRU\ OLHQ RU FODLP RI OLHQ DIIHFWLQJ WKH 7LWOH WKDW
          DULVHVIURPVHUYLFHVSURYLGHG ODERUSHUIRUPHGRUPDWHULDOVRUHTXLSPHQWIXUQLVKHG

    3.   7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI

          a.7KH LQYDOLGLW\ RU XQHQIRUFHDELOLW\ RI WKH OLHQ RI WKH ,QVXUHG 0RUWJDJH DV VHFXULW\ IRU
          HDFK&RQVWUXFWLRQ/RDQ$GYDQFH PDGHRQRUEHIRUHWKH'DWHRI&RYHUDJH

          b. 7KHODFNRISULRULW\RIWKHOLHQRI WKH,QVXUHG0RUWJDJHDVVHFXULW\IRUHDFK &RQVWUXFWLRQ
          /RDQ $GYDQFHPDGHRQRUEHIRUH WKH 'DWH RI &RYHUDJH RYHU DQ\ OLHQ RU HQFXPEUDQFH RQ
          WKH7LWOHUHFRUGHGLQWKH3XEOLF5HFRUGVDQGQRWVKRZQLQ6FKHGXOH% DQG

          c.  7KH ODFN RI SULRULW\ RI WKH OLHQ RI WKH ,QVXUHG 0RUWJDJH DV VHFXULW\ IRU HDFK
          &RQVWUXFWLRQ /RDQ $GYDQFH PDGH RQ RU EHIRUH WKH'DWHRI &RYHUDJHRYHUDQ\0HFKDQLF¶V
          /LHQLIQRWLFHRIWKH0HFKDQLF¶V/LHQLVQRWILOHGRUUHFRUGHGLQWKH3XEOLF 5HFRUGVEXWRQO\
          WR WKH H[WHQW WKDW D GLUHFW SD\PHQW WR WKH 0HFKDQLF¶V /LHQ FODLPDQW IRU WKH FKDUJHV IRU WKH
          VHUYLFHV ODERU PDWHULDOVRUHTXLSPHQWIRUZKLFKWKH0HFKDQLF¶V/LHQLVFODLPHGKDVEHHQ
          PDGHE\WKH,QVXUHGRURQWKH,QVXUHG¶VEHKDOIRQ RUEHIRUH'DWHRI&RYHUDJH

     7KLV SROLF\ GRHV QRW LQVXUHDJDLQVW ORVV RUGDPDJH DQGWKH &RPSDQ\ ZLOO QRW SD\ FRVWV
       DWWRUQH\V¶ IHHV RUH[SHQVHV E\ UHDVRQRIDQ\0HFKDQLF¶V/LHQDULVLQJIURPVHUYLFHVODERU
       PDWHULDORUHTXLSPHQW
       a. IXUQLVKHGDIWHU'DWHRI&RYHUDJHRU
       b. 7RWKHH[WHQWWKDWWKH0HFKDQLF¶VOLHQFODLPDQWZDVQRWGLUHFWO\SDLGE\WKH,QVXUHGRURQ
           WKH,QVXUHG¶VEHKDOI

    7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\  ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW L 
    PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL  PRGLI\ DQ\ SULRU HQGRUVHPHQWV LLL 
    H[WHQG WKH 'DWH RI 3ROLF\ RU LY  LQFUHDVH WKH $PRXQW RI ,QVXUDQFH 7R WKH H[WHQW D SURYLVLRQ
    RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
    HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
    WHUPV DQG SURYLVLRQV RI WKH SROLF\ DQG RI DQ\ SULRU HQGRUVHPHQWV

    >:LWQHVVFODXVHRSWLRQDO@ 
    
    
© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 179 of 807




 '$7('

 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\

 %<B             B
     $87+25,=('6,*1$725<
 

 ALTA Endorsement Form 32.2-06
 (Construction Loan-Loss of Priority-Insured’s Direct Payment) (rev. 4/2/13)
 © American Land Title Association




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 180 of 807


                                 &216758&7,21/2$1',6%856(0(17
                                             $/7$  
 
 7KLVHQGRUVHPHQWLVXVHGLQFRQMXQFWLRQZLWK$/7$)RUPVRUZKHQWKH
 'DWHRI&RYHUDJHWREHH[WHQGHG




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 181 of 807


(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB            
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\


  7KH'DWHRI&RYHUDJHLVDPHQGHGWRB                           B             

      >D 7KHFXUUHQWGLVEXUVHPHQWLV                              B         @

      >E7KHDJJUHJDWHDPRXQWLQFOXGLQJWKHFXUUHQWGLVEXUVHPHQWUHFRJQL]HGE\WKH&RPSDQ\
           DVGLVEXUVHGE\WKH,QVXUHGLV                                      B@


  6FKHGXOH$LVDPHQGHGDVIROORZV




  6FKHGXOH%LVDPHQGHGDVIROORZV

      >3DUW,@

      >3DUW,,@


 7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW L 
 PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL  PRGLI\ DQ\ SULRU HQGRUVHPHQWV LLL 
 H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH 7RWKHH[WHQWDSURYLVLRQRI
 WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
 HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWVWRLW


 >:LWQHVV2SWLRQDO@
 >%UDFNHWHGPDWHULDORSWLRQDO@

 '$7('

 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\

 %<B             B
     $87+25,=('6,*1$725<

 $/7$(QGRUVHPHQW)RUP
 'LVEXUVHPHQW   
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 182 of 807


                                        ,'(17,),('5,6.&29(5$*(

                                             $/7$  
 
 7KLVHQGRUVHPHQWVKRXOGEHXVHGZKHQHYHUZHGHFLGHWRDVVXPHDVSHFLILFULVNRU³,GHQWLILHG
 5LVN´DVGHILQHGWKHUHLQ6RPHWLPHWKLVLVUHIHUUHGWRDV³LQVXULQJRYHU´HVSHFLDOO\ZKHQZH
 KDYHUDLVHGWKDWULVNLQDFRPPLWPHQWRUSROLF\




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 183 of 807



(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB          
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\


  $VXVHGLQWKLVHQGRUVHPHQW³,GHQWLILHG5LVN´PHDQV>LQVHUWGHVFULSWLRQRIWKHWLWOHGHIHFW
     UHVWULFWLRQHQFXPEUDQFHRURWKHUPDWWHU@GHVFULEHGLQ([FHSWLRQB        RI6FKHGXOH%
  7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI
      D $ILQDORUGHURUGHFUHHHQIRUFLQJWKH,GHQWLILHG5LVNLQIDYRURIDQDGYHUVHSDUW\RU
      E 7KHUHOHDVHRIDSURVSHFWLYHSXUFKDVHURUOHVVHHRIWKH7LWOHRUOHQGHURQWKH7LWOHIURP
          WKHREOLJDWLRQWRSXUFKDVHOHDVHRUOHQGDVDUHVXOWRIWKH,GHQWLILHG5LVNEXWRQO\LI
              L    WKHUHLVDFRQWUDFWXDOFRQGLWLRQUHTXLULQJWKHGHOLYHU\RIPDUNHWDEOHWLWOHDQG
              LL   QHLWKHUWKH&RPSDQ\QRUDQ\RWKHUWLWOHLQVXUDQFHFRPSDQ\LVZLOOLQJWRLQVXUH
                     RYHUWKH,GHQWLILHG5LVNZLWKWKHVDPHFRQGLWLRQVDVLQWKLVHQGRUVHPHQW
  7KH&RPSDQ\ZLOODOVRSD\WKHFRVWVDWWRUQH\V IHHVDQGH[SHQVHVLQFXUUHGLQGHIHQVHRI
     WKH7LWOHE\UHDVRQRIWKH,GHQWLILHG5LVNLQVXUHGDJDLQVWE\3DUDJUDSKRIWKLVHQGRUVHPHQW
     EXWRQO\WRWKHH[WHQWSURYLGHGLQWKH&RQGLWLRQV
  7KLVHQGRUVHPHQWGRHVQRWREOLJDWHWKH&RPSDQ\WRHVWDEOLVKWKH7LWOHIUHHRIWKH,GHQWLILHG
     5LVNRUWRUHPRYHWKH,GHQWLILHG5LVNEXWLIWKH&RPSDQ\GRHVHVWDEOLVKWKH7LWOHIUHHRIWKH
     ,GHQWLILHG5LVNRUUHPRYHVLW6HFWLRQ D RIWKH&RQGLWLRQVDSSOLHV




 7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\ ([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW L 
 PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV LLL 
 H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH 7RWKHH[WHQWDSURYLVLRQRI
 WKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLV
 HQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV 2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWVWRLW



 >:LWQHVV2SWLRQDO@


 '$7('

 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\

 %<B             B
     $87+25,=('6,*1$725<

 $/7$(QGRUVHPHQW)RUP
 ,GHQWLILHG5LVN&RYHUDJH   
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 184 of 807


                                            0,1(5$/6$1'27+(5
                                                68%685)$&(
                                                68%67$1&(6
                                            $/7$WKUX
                                                   


 7KHVHHQGRUVHPHQWIRUPVZHUHGHYHORSHGWRSURYLGHFRYHUDJHWROHQGHUVZLWKUHVSHFWWRWKH
 HQIRUFHGUHPRYDORUDOWHUDWLRQRILPSURYHPHQWVUHVXOWLQJIURPWKHH[WUDFWLRQRUGHYHORSPHQWRI
 PLQHUDOVRURWKHUVXEVXUIDFHVXEVWDQFHV7KLVFRYHUDJHZDVSUHYLRXVO\LQFOXGHGLQWKHIRUPHU
 $/7$VHULHV,WLVQRORQJHUFRQWDLQHGZLWKLQWKRVHHQGRUVHPHQWVRWKHUWKDQWKHUHYLVHG$/7$
 DQGWKHQHZ$/7$


 




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 185 of 807


(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB          
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\
  7KHLQVXUDQFHSURYLGHGE\WKLVHQGRUVHPHQWLVVXEMHFWWRWKHH[FOXVLRQLQ6HFWLRQRIWKLV
     HQGRUVHPHQWDQGWKH([FOXVLRQVIURP&RYHUDJHWKH([FHSWLRQVIURP&RYHUDJHFRQWDLQHGLQ
     6FKHGXOH%DQGWKH&RQGLWLRQVLQWKHSROLF\
  )RUSXUSRVHVRIWKLVHQGRUVHPHQWRQO\³,PSURYHPHQW´PHDQVDEXLOGLQJRQWKH/DQGDW'DWH
     RI3ROLF\
  7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRIWKH
     HQIRUFHGUHPRYDORUDOWHUDWLRQRIDQ\,PSURYHPHQWUHVXOWLQJIURPWKHIXWXUHH[HUFLVHRIDQ\
     ULJKWH[LVWLQJDW'DWHRI3ROLF\WRXVHWKHVXUIDFHRIWKH/DQGIRUWKHH[WUDFWLRQRU
     GHYHORSPHQWRIPLQHUDOVRUDQ\RWKHUVXEVXUIDFHVXEVWDQFHVH[FHSWHGIURPWKHGHVFULSWLRQ
     RIWKH/DQGRUH[FHSWHGLQ6FKHGXOH%
  7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJH DQGWKH&RPSDQ\ZLOOQRWSD\
     FRVWVDWWRUQH\V IHHVRUH[SHQVHV UHVXOWLQJIURP
      D FRQWDPLQDWLRQH[SORVLRQILUHYLEUDWLRQIUDFWXULQJHDUWKTXDNHRUVXEVLGHQFH>RU@
      E QHJOLJHQFHE\DSHUVRQRUDQ(QWLW\H[HUFLVLQJDULJKWWRH[WUDFWRUGHYHORSPLQHUDOVRU
          RWKHUVXEVXUIDFHVXEVWDQFHV>RU
      F WKHH[HUFLVHRIWKHULJKWVGHVFULEHGLQ                         @ 
            ,QVWUXFWLRQDOQRWH LGHQWLI\WKHLQWHUHVWH[FHSWHGIURPWKHGHVFULSWLRQRIWKH/DQGLQ
           6FKHGXOH$RUH[FHSWHGLQ6FKHGXOH%WKDW\RXLQWHQGWRH[FOXGHIURPWKLVFRYHUDJH


 7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW
  L PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
 RIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLV
 HQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

 >:LWQHVVFODXVHRSWLRQDO@ 
 
 '$7('
 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\
 %<B                     B
     $87+25,=('6,*1$725<



 $/7$(QGRUVHPHQW)RUP
 0LQHUDOVDQGRWKHU6XEVXUIDFH6XEVWDQFHV%XLOGLQJV   
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 186 of 807


(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB          
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\

  7KHLQVXUDQFHSURYLGHGE\WKLVHQGRUVHPHQWLVVXEMHFWWRWKHH[FOXVLRQLQ6HFWLRQRIWKLV
     HQGRUVHPHQWDQGWKH([FOXVLRQVIURP&RYHUDJHWKH([FHSWLRQVIURP&RYHUDJHFRQWDLQHGLQ
     6FKHGXOH%DQGWKH&RQGLWLRQVLQWKHSROLF\
  )RUSXUSRVHVRIWKLVHQGRUVHPHQWRQO\³,PSURYHPHQW´PHDQVDEXLOGLQJVWUXFWXUHORFDWHGRQ
     WKHVXUIDFHRIWKH/DQGDQGDQ\SDYHGURDGZDONZD\SDUNLQJDUHDGULYHZD\RUFXUE
     DIIL[HGWRWKH/DQGDW'DWHRI3ROLF\DQGWKDWE\ODZFRQVWLWXWHVUHDOSURSHUW\EXWH[FOXGLQJ
     DQ\FURSVODQGVFDSLQJODZQVKUXEEHU\RUWUHHV
  7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRIWKH
     HQIRUFHGUHPRYDORUDOWHUDWLRQRIDQ\,PSURYHPHQWUHVXOWLQJIURPWKHIXWXUHH[HUFLVHRIDQ\
     ULJKWH[LVWLQJDW'DWHRI3ROLF\WRXVHWKHVXUIDFHRIWKH/DQGIRUWKHH[WUDFWLRQRU
     GHYHORSPHQWRIPLQHUDOVRUDQ\RWKHUVXEVXUIDFHVXEVWDQFHVH[FHSWHGIURPWKHGHVFULSWLRQ
     RIWKH/DQGRUH[FHSWHGLQ6FKHGXOH%
  7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJH DQGWKH&RPSDQ\ZLOOQRWSD\
     FRVWVDWWRUQH\V IHHVRUH[SHQVHV UHVXOWLQJIURP
      D FRQWDPLQDWLRQH[SORVLRQILUHYLEUDWLRQIUDFWXULQJHDUWKTXDNHRUVXEVLGHQFH>RU@
      E QHJOLJHQFHE\DSHUVRQRUDQ(QWLW\H[HUFLVLQJDULJKWWRH[WUDFWRUGHYHORSPLQHUDOVRU
          RWKHUVXEVXUIDFHVXEVWDQFHV>RU
      F WKHH[HUFLVHRIWKHULJKWVGHVFULEHGLQ                         @ 
            ,QVWUXFWLRQDOQRWH LGHQWLI\WKHLQWHUHVWH[FHSWHGIURPWKHGHVFULSWLRQRIWKH/DQGLQ
           6FKHGXOH$RUH[FHSWHGLQ6FKHGXOH%WKDW\RXLQWHQGWRH[FOXGHIURPWKLVFRYHUDJH

 7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW
  L PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
 RIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLV
 HQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


 >:LWQHVVFODXVHRSWLRQDO@

 '$7('
 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\
 %<B                   B
     $87+25,=('6,*1$725<



 $/7$(QGRUVHPHQW)RUP
 0LQHUDOVDQGRWKHU6XEVXUIDFH6XEVWDQFHV,PSURYHPHQWV   
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 187 of 807


(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB           
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\



  7KHLQVXUDQFHSURYLGHGE\WKLVHQGRUVHPHQWLVVXEMHFWWRWKHH[FOXVLRQLQ6HFWLRQRIWKLV
     HQGRUVHPHQWDQGWKH([FOXVLRQVIURP&RYHUDJHWKH([FHSWLRQVIURP&RYHUDJHFRQWDLQHGLQ
     6FKHGXOH%DQGWKH&RQGLWLRQVLQWKHSROLF\
  )RUSXUSRVHVRIWKLVHQGRUVHPHQWRQO\³,PSURYHPHQW´PHDQVHDFKLPSURYHPHQWRQWKH
     /DQGDW'DWHRI3ROLF\LWHPL]HG>RQWKHH[KLELWDWWDFKHGWRWKLVHQGRUVHPHQW@>EHORZ@
  7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRIWKH
     HQIRUFHGUHPRYDORUDOWHUDWLRQRIDQ\,PSURYHPHQWUHVXOWLQJIURPWKHIXWXUHH[HUFLVHRIDQ\
     ULJKWH[LVWLQJDW'DWHRI3ROLF\WRXVHWKHVXUIDFHRIWKH/DQGIRUWKHH[WUDFWLRQRU
     GHYHORSPHQWRIPLQHUDOVRUDQ\RWKHUVXEVXUIDFHVXEVWDQFHVH[FHSWHGIURPWKHGHVFULSWLRQ
     RIWKH/DQGRUH[FHSWHGLQ6FKHGXOH%
  7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJH DQGWKH&RPSDQ\ZLOOQRWSD\
     FRVWVDWWRUQH\V IHHVRUH[SHQVHV UHVXOWLQJIURP
      D FRQWDPLQDWLRQH[SORVLRQILUHYLEUDWLRQIUDFWXULQJHDUWKTXDNHRUVXEVLGHQFH>RU@
      E QHJOLJHQFHE\DSHUVRQRUDQ(QWLW\H[HUFLVLQJDULJKWWRH[WUDFWRUGHYHORSPLQHUDOVRU
          RWKHUVXEVXUIDFHVXEVWDQFHV>RU
      F WKHH[HUFLVHRIWKHULJKWVGHVFULEHGLQ                         @ 
            ,QVWUXFWLRQDOQRWH LGHQWLI\WKHLQWHUHVWH[FHSWHGIURPWKHGHVFULSWLRQRIWKH/DQGLQ
           6FKHGXOH$RUH[FHSWHGLQ6FKHGXOH%WKDW\RXLQWHQGWRH[FOXGHIURPWKLVFRYHUDJH

 7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW
  L PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
 RIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLV
 HQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


 >:LWQHVVFODXVHRSWLRQDO@


 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\


 %\                                                        
           $XWKRUL]HG6LJQDWRU\




 $/7$(QGRUVHPHQW)RUP
 0LQHUDOVDQGRWKHU6XEVXUIDFH6XEVWDQFHV'HVFULEHG,PSURYHPHQWV   
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 188 of 807


(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB           
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\


  7KHLQVXUDQFHSURYLGHGE\WKLVHQGRUVHPHQWLVVXEMHFWWRWKHH[FOXVLRQLQ6HFWLRQRIWKLV
      HQGRUVHPHQWDQGWKH([FOXVLRQVIURP&RYHUDJHWKH([FHSWLRQVIURP&RYHUDJHFRQWDLQHGLQ
      6FKHGXOH %DQGWKH&RQGLWLRQVLQWKHSROLF\
  )RUSXUSRVHVRIWKLVHQGRUVHPHQWRQO\
      D ³,PSURYHPHQW´PHDQVDEXLOGLQJVWUXFWXUHORFDWHGRQWKHVXUIDFHRIWKH/DQGDQGDQ\
           SDYHGURDG ZDONZD\SDUNLQJDUHDGULYHZD\RUFXUEDIIL[HGWRWKH/DQGDW'DWHRI
           3ROLF\DQGWKDWE\ODZ FRQVWLWXWHVUHDOSURSHUW\EXWH[FOXGLQJDQ\FURSVODQGVFDSLQJ
           ODZQVKUXEEHU\RUWUHHV
      E ³)XWXUH,PSURYHPHQW´PHDQVDEXLOGLQJVWUXFWXUHDQGDQ\SDYHGURDGZDONZD\SDUNLQJ
           DUHD GULYHZD\RUFXUEWREHFRQVWUXFWHGRQRUDIIL[HGWRWKH/DQGLQWKHORFDWLRQV
           DFFRUGLQJWRWKH3ODQV DQGWKDWE\ODZZLOOFRQVWLWXWHUHDOSURSHUW\EXWH[FOXGLQJDQ\
           FURSVODQGVFDSLQJODZQVKUXEEHU\ RUWUHHV
      F ³3ODQV´PHDQVWKHVXUYH\VLWHDQGHOHYDWLRQSODQVRURWKHUGHSLFWLRQVRUGUDZLQJV
           SUHSDUHGE\ LQVHUWQDPHRIDUFKLWHFWRUHQJLQHHU  GDWHG         ODVWUHYLVHG 
           GHVLJQDWHGDV LQVHUW QDPHRISURMHFWRUSURMHFWQXPEHU FRQVLVWLQJRI VKHHWV
  7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRIWKH
      HQIRUFHG UHPRYDORUDOWHUDWLRQRIDQ,PSURYHPHQWRUD)XWXUH,PSURYHPHQWUHVXOWLQJIURP
      WKHIXWXUHH[HUFLVHRI DQ\ULJKWH[LVWLQJDW'DWHRI3ROLF\WRXVHWKHVXUIDFHRIWKH/DQGIRU
      WKHH[WUDFWLRQRUGHYHORSPHQWRI PLQHUDOVRUDQ\RWKHUVXEVXUIDFHVXEVWDQFHVH[FHSWHG
      IURPWKHGHVFULSWLRQRIWKH/DQGRUH[FHSWHGLQ 6FKHGXOH%
  7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJH DQGWKH&RPSDQ\ZLOOQRW
      SD\FRVWV DWWRUQH\V IHHVRUH[SHQVHV UHVXOWLQJIURP
      D FRQWDPLQDWLRQH[SORVLRQILUHYLEUDWLRQIUDFWXULQJHDUWKTXDNHRUVXEVLGHQFH>RU@
      E QHJOLJHQFHE\DSHUVRQRUDQ(QWLW\H[HUFLVLQJDULJKWWRH[WUDFWRUGHYHORSPLQHUDOV
           RURWKHU VXEVXUIDFHVXEVWDQFHV>RU
      F WKHH[HUFLVHRIWKHULJKWVGHVFULEHGLQ                   @ 
            ,QVWUXFWLRQDOQRWH LGHQWLI\WKHLQWHUHVWH[FHSWHGIURPWKHGHVFULSWLRQRIWKH/DQGLQ
           6FKHGXOH$RU H[FHSWHGLQ6FKHGXOH%WKDW\RXLQWHQGWRH[FOXGHIURPWKLVFRYHUDJH
 7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW L 
 PRGLI\DQ\RI WKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV LLL 
 H[WHQGWKH'DWHRI3ROLF\RU
  LY FUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQRIWKHSROLF\RUDSUHYLRXV
 HQGRUVHPHQWLV LQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLVHQGRUVHPHQWWKLVHQGRUVHPHQW
 FRQWUROV2WKHUZLVHWKLV HQGRUVHPHQWLVVXEMHFWWRDOORIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\
 DQGRIDQ\SULRUHQGRUVHPHQWV

 >:LWQHVVFODXVHRSWLRQDO@

 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\


 %\                                                  
           $XWKRUL]HG6LJQDWRU\



© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 189 of 807


 $/7$(QGRUVHPHQW)RUP
 0LQHUDOVDQGRWKHU6XEVXUIDFH6XEVWDQFHV/DQG8QGHU'HYHORSPHQW   
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 190 of 807


                                           (1(5*<352-(&76HULHV
                                     $/7$WKUX  
                                                           

 7KH $/7$  VHULHV RI HQGRUVHPHQW IRUPV ZHUH GHYHORSHG WR SURYLGH FRYHUDJHV WR HQHUJ\
 SURMHFW RZQHUV DQG OHQGHUV ZKLFK XVH D OHDVHKROG RU HDVHPHQW ULJKWV VWUXFWXUH ([DPSOHV RI
 VXFKSURMHFWVZRXOGLQFOXGHVRODURUZLQGIDUPV




 




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 191 of 807


(1'256(0(17
                                                $WWDFKHGWR3ROLF\1RB               
                                                          ,VVXHGE\
                                                   &KLFDJR7LWOH,QVXUDQFH
                                                          &RPSDQ\


    7KHLQVXUDQFHSURYLGHGE\WKLVHQGRUVHPHQWLVVXEMHFWWRWKHH[FOXVLRQVLQ6HFWLRQRIWKLVHQGRUVHPHQWDQGWKH
       ([FOXVLRQVIURP&RYHUDJHWKH([FHSWLRQVIURP&RYHUDJHFRQWDLQHGLQ6FKHGXOH%DQGWKH&RQGLWLRQVLQWKHSROLF\
    )RUSXUSRVHVRIWKLVHQGRUVHPHQWRQO\
       D   ³&RQVWLWXHQW3DUFHO´PHDQVRQHRIWKHSDUFHOVRI/DQGGHVFULEHGLQ6FKHGXOH$WKDWWRJHWKHUFRQVWLWXWHRQH
             LQWHJUDWHGSURMHFW
       E   ³(DVHPHQW´PHDQVHDFKHDVHPHQWGHVFULEHGLQ6FKHGXOH$
       F   ³(DVHPHQW,QWHUHVW´PHDQVWKHULJKWRIXVHJUDQWHGLQWKH(DVHPHQWIRUWKH(DVHPHQW7HUP
       G   ³(DVHPHQW7HUP´PHDQVWKHGXUDWLRQRIWKH(DVHPHQW,QWHUHVWDVVHWIRUWKLQWKH(DVHPHQWLQFOXGLQJDQ\
             UHQHZDORUH[WHQGHGWHUPLIDYDOLGRSWLRQWRUHQHZRUH[WHQGLVFRQWDLQHGLQWKH(DVHPHQW
       H   ³(OHFWULFLW\)DFLOLW\´PHDQVDQHOHFWULFLW\JHQHUDWLQJIDFLOLW\ZKLFKPD\LQFOXGHRQHRUPRUHRIWKHIROORZLQJD
             VXEVWDWLRQDWUDQVPLVVLRQGLVWULEXWLRQRUFROOHFWRUOLQHDQLQWHUFRQQHFWLRQLQYHUWHUWUDQVIRUPHUJHQHUDWRU
             WXUELQHDUUD\VRODUSDQHORUPRGXOHDFLUFXLWEUHDNHUIRRWLQJWRZHUSROHFURVVDUPJX\OLQHDQFKRUZLUH
             FRQWUROV\VWHPFRPPXQLFDWLRQVRUUDGLRUHOD\V\VWHPVDIHW\SURWHFWLRQIDFLOLW\URDGDQGRWKHUEXLOGLQJ
             VWUXFWXUHIL[WXUHPDFKLQHU\HTXLSPHQWDSSOLDQFHDQGLWHPDVVRFLDWHGZLWKRULQFLGHQWDOWRWKHJHQHUDWLRQ
             FRQYHUVLRQVWRUDJHVZLWFKLQJPHWHULQJVWHSXSVWHSGRZQLQYHUVLRQWUDQVPLVVLRQFRQGXFWLQJZKHHOLQJ
             VDOHRURWKHUXVHRUFRQYH\DQFHRIHOHFWULFLW\RQWKH/DQGDW'DWHRI3ROLF\RUWREHEXLOWRUFRQVWUXFWHGRQWKH
             /DQGLQWKHORFDWLRQVDFFRUGLQJWRWKH3ODQVWKDWE\ODZFRQVWLWXWHVUHDOSURSHUW\
       I   ³(YLFWHG´RU³(YLFWLRQ´PHDQV D WKHODZIXOGHSULYDWLRQLQZKROHRULQSDUWRIWKHULJKWRISRVVHVVLRQRUXVH
             LQVXUHGE\WKLVSROLF\FRQWUDU\WRWKHWHUPVRIDQ\/HDVHRU(DVHPHQWRU E WKHODZIXOSUHYHQWLRQRIWKHXVHRI
             WKH/DQGRUDQ\(OHFWULFLW\)DFLOLW\RU6HYHUDEOH,PSURYHPHQWIRUWKHSXUSRVHVSHUPLWWHGE\WKH/HDVHRUWKH
             (DVHPHQWDVDSSOLFDEOHLQHLWKHUFDVHDVDUHVXOWRIDPDWWHUFRYHUHGE\WKLVSROLF\
       J   ³/HDVH´PHDQVHDFKOHDVHGHVFULEHGLQ6FKHGXOH$
       K   ³/HDVHKROG(VWDWH´PHDQVWKHULJKWRISRVVHVVLRQJUDQWHGLQWKH/HDVHIRUWKH/HDVH7HUP
       L   ³/HDVH7HUP´PHDQVWKHGXUDWLRQRIWKH/HDVHKROG(VWDWHDVVHWIRUWKLQWKH/HDVHLQFOXGLQJDQ\UHQHZDORU
             H[WHQGHGWHUPLIDYDOLGRSWLRQWRUHQHZRUH[WHQGLVFRQWDLQHGLQWKH/HDVH
       M   ³3ODQV´PHDQVWKHVXUYH\VLWHDQGHOHYDWLRQSODQVRURWKHUGHSLFWLRQVRUGUDZLQJVSUHSDUHGE\
              LQVHUWQDPHRIDUFKLWHFWRUHQJLQHHU GDWHGODVWUHYLVHG              GHVLJQDWHGDV LQVHUWQDPHRI
             SURMHFWRUSURMHFWQXPEHU FRQVLVWLQJRI    VKHHWV
       N   ³5HPDLQLQJ7HUP´PHDQVWKHSRUWLRQRIWKH(DVHPHQW7HUPRUWKH/HDVH7HUPUHPDLQLQJDIWHUWKH,QVXUHGKDV
             EHHQ(YLFWHG
       O   ´6HYHUDEOH,PSURYHPHQW´PHDQVSURSHUW\DIIL[HGWRWKH/DQGDW'DWHRI3ROLF\RUWREHDIIL[HGLQWKHORFDWLRQV
             DFFRUGLQJWRWKH3ODQVWKDWZRXOGFRQVWLWXWHDQ(OHFWULFLW\)DFLOLW\EXWIRULWVFKDUDFWHUL]DWLRQDVSHUVRQDO
             SURSHUW\DQGWKDWE\ODZGRHVQRWFRQVWLWXWHUHDOSURSHUW\EHFDXVH D RILWVFKDUDFWHUDQGPDQQHURI
             DWWDFKPHQWWRWKH/DQGDQG E WKHSURSHUW\FDQEHVHYHUHGIURPWKH/DQGZLWKRXWFDXVLQJPDWHULDOGDPDJHWR
             WKHSURSHUW\RUWRWKH/DQG
    9DOXDWLRQRI7LWOHDVDQ,QWHJUDWHG3URMHFW
       D   ,ILQFRPSXWLQJORVVRUGDPDJHLWEHFRPHVQHFHVVDU\WRYDOXHWKH7LWOHRUDQ\SRUWLRQRILWDVWKHUHVXOWRIDQ
             (YLFWLRQWKHQDVWRWKDWSRUWLRQRIWKH/DQGIURPZKLFKWKH,QVXUHGLV(YLFWHGWKDWYDOXHVKDOOFRQVLVWRI L WKH
             YDOXHRI $ WKH/HDVHKROG(VWDWHRUWKH(DVHPHQW,QWHUHVWIRUWKH5HPDLQLQJ7HUPDVDSSOLFDEOH % DQ\
             (OHFWULFLW\)DFLOLW\H[LVWLQJRQWKHGDWHRIWKH(YLFWLRQDQGLIDSSOLFDEOH LL DQ\UHGXFWLRQLQYDOXHRIDQRWKHU
             LQVXUHG/HDVHRU(DVHPHQWDVFRPSXWHGLQ6HFWLRQ E EHORZ
       E   $FRPSXWDWLRQRIORVVRUGDPDJHUHVXOWLQJIURPDQ(YLFWLRQDIIHFWLQJDQ\&RQVWLWXHQW3DUFHOVKDOOLQFOXGHORVV
             RUGDPDJHWRWKHLQWHJUDWHGSURMHFWFDXVHGE\WKHFRYHUHGPDWWHUDIIHFWLQJWKH&RQVWLWXHQW3DUFHOIURPZKLFK
             WKH,QVXUHGLV(YLFWHG
       F   7KH,QVXUHG&ODLPDQWVKDOOKDYHWKHULJKWWRKDYHWKH/HDVHKROG(VWDWHWKH(DVHPHQW,QWHUHVWDQGDQ\
             (OHFWULFLW\)DFLOLW\DIIHFWHGE\DGHIHFWLQVXUHGDJDLQVWE\WKLVSROLF\YDOXHGHLWKHUDVDZKROHRUVHSDUDWHO\ ,Q
             HLWKHUHYHQWWKLVGHWHUPLQDWLRQRIYDOXHVKDOOWDNHLQWRDFFRXQWDQ\UHQWRUXVHSD\PHQWVQRORQJHUUHTXLUHGWR
             EHSDLGIRUWKH5HPDLQLQJ7HUP




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 192 of 807




       G   7KHSURYLVLRQVRIWKLV6HFWLRQVKDOOQRWGLPLQLVKWKH,QVXUHG¶VULJKWVXQGHUDQ\RWKHUHQGRUVHPHQWWRWKH
             SROLF\KRZHYHUWKHFDOFXODWLRQRIORVVRUGDPDJHSXUVXDQWWRWKLVHQGRUVHPHQWVKDOOQRWDOORZGXSOLFDWLRQRI
             UHFRYHU\IRUORVVRUGDPDJHFDOFXODWHGSXUVXDQWWR6HFWLRQRIWKH&RQGLWLRQVRUDQ\RWKHUHQGRUVHPHQWWRWKH
             SROLF\
    9DOXDWLRQRI6HYHUDEOH,PSURYHPHQWV
       D   ,QWKHHYHQWRIDQ(YLFWLRQWKHFDOFXODWLRQRIWKHORVVVKDOOLQFOXGH EXWQRWWRWKHH[WHQWWKDWWKHVHLWHPVRIORVV
             DUHLQFOXGHGLQWKHYDOXDWLRQRIWKH7LWOHGHWHUPLQHGSXUVXDQWWR6HFWLRQRIWKH&RQGLWLRQVRUDQ\RWKHU
             SURYLVLRQRIWKLVRUDQ\RWKHUHQGRUVHPHQW WKHGLPLQXWLRQLQYDOXHRIWKH,QVXUHG¶VLQWHUHVWLQDQ\6HYHUDEOH
             ,PSURYHPHQWUHVXOWLQJIURPWKH(YLFWLRQUHGXFHGE\WKHVDOYDJHYDOXHRIWKH6HYHUDEOH,PSURYHPHQW
       E   7KHSROLF\GRHVQRWLQVXUHDJDLQVWORVVRUGDPDJH DQGWKH&RPSDQ\ZLOOQRWSD\DQ\FRVWVDWWRUQH\V¶IHHVRU
             H[SHQVHV UHODWLQJWR
             L     WKHDWWDFKPHQWSHUIHFWLRQRUSULRULW\RIDQ\VHFXULW\LQWHUHVWLQDQ\6HYHUDEOH,PSURYHPHQW
             LL    WKHYHVWLQJRURZQHUVKLSRIWLWOHWRRUULJKWVLQDQ\6HYHUDEOH,PSURYHPHQW
             LLL   DQ\GHIHFWLQRUOLHQRUHQFXPEUDQFHRQWKHWLWOHWRDQ\6HYHUDEOH,PSURYHPHQWRU
             LY WKHGHWHUPLQDWLRQRIZKHWKHUDQ\VSHFLILFSURSHUW\LVUHDORUSHUVRQDOLQQDWXUH

    $GGLWLRQDOLWHPVRIORVVFRYHUHGE\WKLVHQGRUVHPHQW
       ,IWKH,QVXUHGLV(YLFWHGWKHIROORZLQJLWHPVRIORVVLIDSSOLFDEOHWRWKDWSRUWLRQRIWKH/DQGIURPZKLFKWKH,QVXUHGLV
       (YLFWHGVKDOOEHLQFOXGHGZLWKRXWGXSOLFDWLRQLQFRPSXWLQJORVVRUGDPDJHLQFXUUHGE\WKH,QVXUHGEXWQRWWRWKH
       H[WHQWWKDWWKHVDPHDUHLQFOXGHGLQWKHYDOXDWLRQRIWKH7LWOHGHWHUPLQHGSXUVXDQWWR6HFWLRQRIWKLVHQGRUVHPHQW
       WKHYDOXDWLRQRI6HYHUDEOH,PSURYHPHQWVSXUVXDQWWR6HFWLRQRIWKLVHQGRUVHPHQWRU6HFWLRQ D LL RIWKH
       &RQGLWLRQV

       D   7KHUHDVRQDEOHFRVWRI L GLVDVVHPEOLQJUHPRYLQJUHORFDWLQJDQGUHDVVHPEOLQJDQ\6HYHUDEOH,PSURYHPHQW
             WKDWWKH,QVXUHGKDVWKHULJKWWRUHPRYHDQGUHORFDWHVLWXDWHGRQWKH/DQGDWWKHWLPHRI(YLFWLRQWRWKHH[WHQW
             QHFHVVDU\WRUHVWRUHDQGPDNHIXQFWLRQDOWKHLQWHJUDWHGSURMHFW LL WUDQVSRUWDWLRQRIWKDW6HYHUDEOH
             ,PSURYHPHQWIRUWKHLQLWLDORQHKXQGUHGPLOHVLQFXUUHGLQFRQQHFWLRQZLWKWKHUHVWRUDWLRQRUUHORFDWLRQDQG LLL 
             UHVWRULQJWKH/DQGWRWKHH[WHQWGDPDJHGDVDUHVXOWRIWKHGLVDVVHPEO\UHPRYDODQGUHORFDWLRQRIWKH
             6HYHUDEOH,PSURYHPHQWDQGUHTXLUHGRIWKH,QVXUHGVROHO\EHFDXVHRIWKH(YLFWLRQ
       E   5HQWHDVHPHQWSD\PHQWVRUGDPDJHVIRUXVHDQGRFFXSDQF\RIWKH/DQGSULRUWRWKH(YLFWLRQWKDWWKH,QVXUHG
             DVRZQHURIWKH/HDVHKROG(VWDWHRUWKH(DVHPHQW,QWHUHVWDVDSSOLFDEOHPD\EHREOLJDWHGWRSD\WRDQ\
             SHUVRQKDYLQJSDUDPRXQWWLWOHWRWKDWRIWKHOHVVRULQWKH/HDVHRUWKHJUDQWRULQWKH(DVHPHQWDVDSSOLFDEOH
       F   7KHDPRXQWRIUHQWHDVHPHQWSD\PHQWVRUGDPDJHVWKDWE\WKHWHUPVRIWKH/HDVHRUWKH(DVHPHQWDV
             DSSOLFDEOHWKH,QVXUHGPXVWFRQWLQXHWRSD\WRWKHOHVVRURUJUDQWRUDIWHU(YLFWLRQZLWKUHVSHFWWRWKHSRUWLRQRI
             WKH/HDVHKROG(VWDWHRU(DVHPHQW,QWHUHVWDVDSSOLFDEOHIURPZKLFKWKH,QVXUHGKDVEHHQ(YLFWHG
       G   7KHIDLUPDUNHWYDOXHDWWKHWLPHRIWKH(YLFWLRQRIWKHHVWDWHRULQWHUHVWRIWKH,QVXUHGLQDQ\OHDVHVXEOHDVH
             RUHDVHPHQWVSHFLILFDOO\SHUPLWWHGE\WKH/HDVHRU(DVHPHQWDVDSSOLFDEOHDQGPDGHE\WKH,QVXUHGDVOHVVRU
             RUJUDQWRURIDOORUSDUWRIWKH/HDVHKROG(VWDWHRU(DVHPHQW,QWHUHVWDVDSSOLFDEOH
       H   'DPDJHVFDXVHGE\WKH(YLFWLRQWKDWWKH,QVXUHGLVREOLJDWHGWRSD\WROHVVHHVRUVXEOHVVHHVRUHDVHPHQWRU
             VXEHDVHPHQWJUDQWHHVRQDFFRXQWRIWKHEUHDFKRIDQ\OHDVHRUVXEOHDVHRUHDVHPHQWRUVXEHDVHPHQW
             VSHFLILFDOO\SHUPLWWHGE\WKH/HDVHRUWKH(DVHPHQWDVDSSOLFDEOHDQGPDGHE\WKH,QVXUHGDVOHVVRURU
             JUDQWRURIDOORUSDUWRIWKH/HDVHKROG(VWDWHRU(DVHPHQW,QWHUHVWDVDSSOLFDEOH
       I   7KHUHDVRQDEOHFRVWWRREWDLQODQGXVH]RQLQJEXLOGLQJDQGRFFXSDQF\SHUPLWVDUFKLWHFWXUDODQGHQJLQHHULQJ
             VHUYLFHVDQGHQYLURQPHQWDOWHVWLQJDQGUHYLHZVIRUDUHSODFHPHQWOHDVHKROGUHDVRQDEO\HTXLYDOHQWWRWKH
             /HDVHKROG(VWDWHRUDUHSODFHPHQWHDVHPHQWUHDVRQDEO\HTXLYDOHQWWRWKH(DVHPHQW,QWHUHVWDVDSSOLFDEOH
       J   ,IDQ\(OHFWULFLW\)DFLOLW\LVQRWVXEVWDQWLDOO\FRPSOHWHGDWWKHWLPHRI(YLFWLRQWKHDFWXDOFRVWLQFXUUHGE\WKH
             ,QVXUHGXSWRWKHWLPHRI(YLFWLRQOHVVWKHVDOYDJHYDOXHIRUWKH(OHFWULFLW\)DFLOLW\ORFDWHGRQWKDWSRUWLRQRIWKH
             /DQGIURPZKLFKWKH,QVXUHGLV(YLFWHG 7KRVHFRVWVLQFOXGHFRVWVLQFXUUHGWRFRQVWUXFWDQGIDEULFDWHWKH
             (OHFWULFLW\)DFLOLW\REWDLQODQGXVH]RQLQJEXLOGLQJDQGRFFXSDQF\SHUPLWVDUFKLWHFWXUDODQGHQJLQHHULQJ
             VHUYLFHVFRQVWUXFWLRQPDQDJHPHQWVHUYLFHVHQYLURQPHQWDOWHVWLQJDQGUHYLHZVDQGODQGVFDSLQJDQG
             FDQFHOODWLRQIHHVUHODWHGWRWKHIRUHJRLQJ
          7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVGDPDJHRUFRVWVRIUHPHGLDWLRQ DQGWKH&RPSDQ\ZLOOQRWSD\
             FRVWVDWWRUQH\V IHHVRUH[SHQVHV UHVXOWLQJIURPHQYLURQPHQWDOGDPDJHRUFRQWDPLQDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 193 of 807




 7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW L PRGLI\DQ\RIWKHWHUPVDQG
 SURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI
 ,QVXUDQFH7RWKHH[WHQWDSURYLVLRQRIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRI
 WKLVHQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKHWHUPVDQGSURYLVLRQVRI
 WKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

 >:LWQHVVFODXVHRSWLRQDO@


 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\




 %\                                                
           $XWKRUL]HG6LJQDWRU\




 $/7$(QGRUVHPHQW)RUP
 (QHUJ\3URMHFW±/HDVHKROG(DVHPHQW2ZQHUV   
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 194 of 807


(1'256(0(17
                                                $WWDFKHGWR3ROLF\1RB               
                                                          ,VVXHGE\
                                                   &KLFDJR7LWOH,QVXUDQFH
                                                          &RPSDQ\
    7KHLQVXUDQFHSURYLGHGE\WKLVHQGRUVHPHQWLVVXEMHFWWRWKHH[FOXVLRQVLQ6HFWLRQRIWKLVHQGRUVHPHQWDQGWKH
       ([FOXVLRQVIURP&RYHUDJHWKH([FHSWLRQVIURP&RYHUDJHFRQWDLQHGLQ6FKHGXOH%DQGWKH&RQGLWLRQVLQWKHSROLF\
    )RUSXUSRVHVRIWKLVHQGRUVHPHQWRQO\
       D   ³&RQVWLWXHQW3DUFHO´PHDQVRQHRIWKHSDUFHOVRI/DQGGHVFULEHGLQ6FKHGXOH$WKDWWRJHWKHUFRQVWLWXWHRQH
             LQWHJUDWHGSURMHFW
       E   ³(DVHPHQW´PHDQVHDFKHDVHPHQWGHVFULEHGLQ6FKHGXOH$
       F   ³(DVHPHQW,QWHUHVW´PHDQVWKHULJKWRIXVHJUDQWHGLQWKH(DVHPHQWIRUWKH(DVHPHQW7HUP
       G   ³(DVHPHQW7HUP´PHDQVWKHGXUDWLRQRIWKH(DVHPHQW,QWHUHVWDVVHWIRUWKLQWKH(DVHPHQWLQFOXGLQJDQ\
             UHQHZDORUH[WHQGHGWHUPLIDYDOLGRSWLRQWRUHQHZRUH[WHQGLVFRQWDLQHGLQWKH(DVHPHQW
       H   ³(OHFWULFLW\)DFLOLW\´PHDQVDQHOHFWULFLW\JHQHUDWLQJIDFLOLW\ZKLFKPD\LQFOXGHRQHRUPRUHRIWKHIROORZLQJD
             VXEVWDWLRQDWUDQVPLVVLRQGLVWULEXWLRQRUFROOHFWRUOLQHDQLQWHUFRQQHFWLRQLQYHUWHUWUDQVIRUPHUJHQHUDWRU
             WXUELQHDUUD\VRODUSDQHORUPRGXOHDFLUFXLWEUHDNHUIRRWLQJWRZHUSROHFURVVDUPJX\OLQHDQFKRUZLUH
             FRQWUROV\VWHPFRPPXQLFDWLRQVRUUDGLRUHOD\V\VWHPVDIHW\SURWHFWLRQIDFLOLW\URDGDQGRWKHUEXLOGLQJ
             VWUXFWXUHIL[WXUHPDFKLQHU\HTXLSPHQWDSSOLDQFHDQGLWHPDVVRFLDWHGZLWKRULQFLGHQWDOWRWKHJHQHUDWLRQ
             FRQYHUVLRQVWRUDJHVZLWFKLQJPHWHULQJVWHSXSVWHSGRZQLQYHUVLRQWUDQVPLVVLRQFRQGXFWLQJZKHHOLQJ
             VDOHRURWKHUXVHRUFRQYH\DQFHRIHOHFWULFLW\RQWKH/DQGDW'DWHRI3ROLF\RUWREHEXLOWRUFRQVWUXFWHGRQWKH
             /DQGLQWKHORFDWLRQVDFFRUGLQJWRWKH3ODQVWKDWE\ODZFRQVWLWXWHVUHDOSURSHUW\
       I   ³(YLFWHG´RU³(YLFWLRQ´PHDQV D WKHODZIXOGHSULYDWLRQLQZKROHRULQSDUWRIWKHULJKWRISRVVHVVLRQRUXVH
             LQVXUHGE\WKLVSROLF\FRQWUDU\WRWKHWHUPVRIDQ\/HDVHRU(DVHPHQWRU E WKHODZIXOSUHYHQWLRQRIWKHXVHRI
             WKH/DQGRUDQ\(OHFWULFLW\)DFLOLW\RU6HYHUDEOH,PSURYHPHQWIRUWKHSXUSRVHVSHUPLWWHGE\WKH/HDVHRUWKH
             (DVHPHQWDVDSSOLFDEOHLQHLWKHUFDVHDVDUHVXOWRIDPDWWHUFRYHUHGE\WKLVSROLF\
       J   ³/HDVH´PHDQVHDFKOHDVHGHVFULEHGLQ6FKHGXOH$
       K   ³/HDVHKROG(VWDWH´PHDQVWKHULJKWRISRVVHVVLRQJUDQWHGLQWKH/HDVHIRUWKH/HDVH7HUP
       L   ³/HDVH7HUP´PHDQVWKHGXUDWLRQRIWKH/HDVHKROG(VWDWHDVVHWIRUWKLQWKH/HDVHLQFOXGLQJDQ\UHQHZDORU
             H[WHQGHGWHUPLIDYDOLGRSWLRQWRUHQHZRUH[WHQGLVFRQWDLQHGLQWKH/HDVH
       M   ³3ODQV´PHDQVWKHVXUYH\VLWHDQGHOHYDWLRQSODQVRURWKHUGHSLFWLRQVRUGUDZLQJVSUHSDUHGE\
              LQVHUWQDPHRIDUFKLWHFWRUHQJLQHHU GDWHGODVWUHYLVHG             GHVLJQDWHGDV LQVHUWQDPHRI
             SURMHFWRUSURMHFWQXPEHU FRQVLVWLQJRI     VKHHWV
       N   ³5HPDLQLQJ7HUP´PHDQVWKHSRUWLRQRIWKH(DVHPHQW7HUPRUWKH/HDVH7HUPUHPDLQLQJDIWHUWKH,QVXUHGKDV
             EHHQ(YLFWHG
       O   ´6HYHUDEOH,PSURYHPHQW´PHDQVSURSHUW\DIIL[HGWRWKH/DQGDW'DWHRI3ROLF\RUWREHDIIL[HGLQWKHORFDWLRQV
             DFFRUGLQJWRWKH3ODQVWKDWZRXOGFRQVWLWXWHDQ(OHFWULFLW\)DFLOLW\EXWIRULWVFKDUDFWHUL]DWLRQDVSHUVRQDO
             SURSHUW\DQGWKDWE\ODZGRHVQRWFRQVWLWXWHUHDOSURSHUW\EHFDXVH D RILWVFKDUDFWHUDQGPDQQHURI
             DWWDFKPHQWWRWKH/DQGDQG E WKHSURSHUW\FDQEHVHYHUHGIURPWKH/DQGZLWKRXWFDXVLQJPDWHULDOGDPDJHWR
             WKHSURSHUW\RUWRWKH/DQG
       P ³7HQDQW´PHDQVWKHWHQDQWXQGHUWKH/HDVHRUDJUDQWHHXQGHUWKH(DVHPHQWDVDSSOLFDEOHDQGDIWHU
           DFTXLVLWLRQRIDOORUDQ\SDUWRIWKH7LWOHLQDFFRUGDQFHZLWKWKHSURYLVLRQVRI6HFWLRQRIWKH&RQGLWLRQVRIWKH
           SROLF\WKH,QVXUHG&ODLPDQW
    9DOXDWLRQRI7LWOHDVDQ,QWHJUDWHG3URMHFW
       D   ,ILQFRPSXWLQJORVVRUGDPDJHLWEHFRPHVQHFHVVDU\WRYDOXHWKH7LWOHRUDQ\SRUWLRQRILWDVWKHUHVXOWRIDQ
             (YLFWLRQWKHQDVWRWKDWSRUWLRQRIWKH/DQGIURPZKLFKWKH7HQDQWLV(YLFWHGWKDWYDOXHVKDOOFRQVLVWRI L WKH
             YDOXHRI $ WKH/HDVHKROG(VWDWHRUWKH(DVHPHQW,QWHUHVWIRUWKH5HPDLQLQJ7HUPDVDSSOLFDEOH % DQ\
             (OHFWULFLW\)DFLOLW\H[LVWLQJRQWKHGDWHRIWKH(YLFWLRQDQGLIDSSOLFDEOH LL DQ\UHGXFWLRQLQYDOXHRIDQRWKHU
             LQVXUHG/HDVHRU(DVHPHQWDVFRPSXWHGLQ6HFWLRQ E EHORZ
       E   $FRPSXWDWLRQRIORVVRUGDPDJHUHVXOWLQJIURPDQ(YLFWLRQDIIHFWLQJDQ\&RQVWLWXHQW3DUFHOVKDOOLQFOXGHORVV
             RUGDPDJHWRWKHLQWHJUDWHGSURMHFWFDXVHGE\WKHFRYHUHGPDWWHUDIIHFWLQJWKH&RQVWLWXHQW3DUFHOIURPZKLFK
             WKH,QVXUHGLV(YLFWHG
       F   7KH,QVXUHG&ODLPDQWVKDOOKDYHWKHULJKWWRKDYHWKH/HDVHKROG(VWDWHWKH(DVHPHQW,QWHUHVWDQGDQ\
             (OHFWULFLW\)DFLOLW\DIIHFWHGE\DGHIHFWLQVXUHGDJDLQVWE\WKHSROLF\YDOXHGHLWKHUDVDZKROHRUVHSDUDWHO\ ,Q




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 195 of 807




             HLWKHUHYHQWWKLVGHWHUPLQDWLRQRIYDOXHVKDOOWDNHLQWRDFFRXQWDQ\UHQWRUXVHSD\PHQWVQRORQJHUUHTXLUHGWR
             EHSDLGIRUWKH5HPDLQLQJ7HUP
       G   7KHSURYLVLRQVRIWKLV6HFWLRQVKDOOQRWGLPLQLVKWKH,QVXUHG¶VULJKWVXQGHUDQ\RWKHUHQGRUVHPHQWWRWKH
             SROLF\KRZHYHUWKHFDOFXODWLRQRIORVVRUGDPDJHSXUVXDQWWRWKLVHQGRUVHPHQWVKDOOQRWDOORZGXSOLFDWLRQRI
             UHFRYHU\IRUORVVRUGDPDJHFDOFXODWHGSXUVXDQWWR6HFWLRQRIWKH&RQGLWLRQVRUDQ\RWKHUHQGRUVHPHQWWRWKH
             SROLF\
    9DOXDWLRQRI6HYHUDEOH,PSURYHPHQWV
       D   ,QWKHHYHQWRIDQ(YLFWLRQWKHFDOFXODWLRQRIWKHORVVVKDOOLQFOXGH EXWQRWWRWKHH[WHQWWKDWWKHVHLWHPVRIORVV
             DUHLQFOXGHGLQWKHYDOXDWLRQRIWKH7LWOHGHWHUPLQHGSXUVXDQWWR6HFWLRQRIWKH&RQGLWLRQVRUDQ\RWKHU
             SURYLVLRQRIWKLVRUDQ\RWKHUHQGRUVHPHQW WKHGLPLQXWLRQLQYDOXHRIWKH,QVXUHG¶VLQWHUHVWLQDQ\6HYHUDEOH
             ,PSURYHPHQWUHVXOWLQJIURPWKH(YLFWLRQUHGXFHGE\WKHVDOYDJHYDOXHRIWKH6HYHUDEOH,PSURYHPHQW
       E   7KHSROLF\GRHVQRWLQVXUHDJDLQVWORVVRUGDPDJH DQGWKH&RPSDQ\ZLOOQRWSD\DQ\FRVWVDWWRUQH\V¶IHHVRU
             H[SHQVHV UHODWLQJWR
             L     WKHDWWDFKPHQWSHUIHFWLRQRUSULRULW\RIDQ\VHFXULW\LQWHUHVWLQDQ\6HYHUDEOH,PSURYHPHQW
             LL    WKHYHVWLQJRURZQHUVKLSRIWLWOHWRRUULJKWVLQDQ\6HYHUDEOH,PSURYHPHQW
             LLL   DQ\GHIHFWLQRUOLHQRUHQFXPEUDQFHRQWKHWLWOHWRDQ\6HYHUDEOH,PSURYHPHQWRU
             LY WKHGHWHUPLQDWLRQRIZKHWKHUDQ\VSHFLILFSURSHUW\LVUHDORUSHUVRQDOLQQDWXUH

    $GGLWLRQDOLWHPVRIORVVFRYHUHGE\WKLVHQGRUVHPHQW
       ,IWKH,QVXUHGDFTXLUHVDOORUDQ\SDUWRIWKH7LWOHLQDFFRUGDQFHZLWKWKHSURYLVLRQVRI6HFWLRQRIWKH&RQGLWLRQVRI
       WKHSROLF\DQGWKHUHDIWHULV(YLFWHGWKHIROORZLQJLWHPVRIORVVLIDSSOLFDEOHWRWKDWSRUWLRQRIWKH/DQGIURPZKLFKWKH
       ,QVXUHGLV(YLFWHGVKDOOEHLQFOXGHGZLWKRXWGXSOLFDWLRQLQFRPSXWLQJORVVRUGDPDJHLQFXUUHGE\WKH,QVXUHGEXW 
       QRWWRWKHH[WHQWWKDWWKHVDPHDUHLQFOXGHGLQWKHYDOXDWLRQRIWKH7LWOHGHWHUPLQHGSXUVXDQWWR6HFWLRQRIWKLV
       HQGRUVHPHQWWKHYDOXDWLRQRI6HYHUDEOH,PSURYHPHQWVSXUVXDQWWR6HFWLRQRIWKLVHQGRUVHPHQWRU6HFWLRQ 
        D LLL RIWKH&RQGLWLRQV

       D   7KHUHDVRQDEOHFRVWRI L GLVDVVHPEOLQJUHPRYLQJUHORFDWLQJDQGUHDVVHPEOLQJDQ\6HYHUDEOH,PSURYHPHQW
             WKDWWKH,QVXUHGKDVWKHULJKWWRUHPRYHDQGUHORFDWHVLWXDWHGRQWKH/DQGDWWKHWLPHRI(YLFWLRQWRWKHH[WHQW
             QHFHVVDU\WRUHVWRUHDQGPDNHIXQFWLRQDOWKHLQWHJUDWHGSURMHFW LL WUDQVSRUWDWLRQRIWKDW6HYHUDEOH
             ,PSURYHPHQWIRUWKHLQLWLDORQHKXQGUHGPLOHVLQFXUUHGLQFRQQHFWLRQZLWKWKHUHVWRUDWLRQRUUHORFDWLRQDQG LLL 
             UHVWRULQJWKH/DQGWRWKHH[WHQWGDPDJHGDVDUHVXOWRIWKHGLVDVVHPEO\UHPRYDODQGUHORFDWLRQRIWKH
             6HYHUDEOH,PSURYHPHQWDQGUHTXLUHGRIWKH,QVXUHGVROHO\EHFDXVHRIWKH(YLFWLRQ
       E   5HQWHDVHPHQWSD\PHQWVRUGDPDJHVIRUXVHDQGRFFXSDQF\RIWKH/DQGSULRUWRWKH(YLFWLRQWKDWWKH,QVXUHG
             DVRZQHURIWKH/HDVHKROG(VWDWHRUWKH(DVHPHQW,QWHUHVWDVDSSOLFDEOHPD\EHREOLJDWHGWRSD\WRDQ\
             SHUVRQKDYLQJSDUDPRXQWWLWOHWRWKDWRIWKHOHVVRULQWKH/HDVHRUWKHJUDQWRULQWKH(DVHPHQWDVDSSOLFDEOH
       F   7KHDPRXQWRIUHQWHDVHPHQWSD\PHQWVRUGDPDJHVWKDWE\WKHWHUPVRIWKH/HDVHRUWKH(DVHPHQWDV
             DSSOLFDEOHWKH,QVXUHGPXVWFRQWLQXHWRSD\WRWKHOHVVRURUJUDQWRUDIWHU(YLFWLRQZLWKUHVSHFWWRWKHSRUWLRQRI
             WKH/HDVHKROG(VWDWHRU(DVHPHQW,QWHUHVWDVDSSOLFDEOHIURPZKLFKWKH,QVXUHGKDVEHHQ(YLFWHG
       G   7KHIDLUPDUNHWYDOXHDWWKHWLPHRIWKH(YLFWLRQRIWKHHVWDWHRULQWHUHVWRIWKH,QVXUHGLQDQ\OHDVHVXEOHDVH
             RUHDVHPHQWVSHFLILFDOO\SHUPLWWHGE\WKH/HDVHRU(DVHPHQWDVDSSOLFDEOHDQGPDGHE\WKH7HQDQWDVOHVVRU
             RUJUDQWRURIDOORUSDUWRIWKH/HDVHKROG(VWDWHRU(DVHPHQW,QWHUHVWDVDSSOLFDEOH
       H   'DPDJHVFDXVHGE\WKH(YLFWLRQWKDWWKH,QVXUHGLVREOLJDWHGWRSD\WROHVVHHVRUVXEOHVVHHVRUHDVHPHQWRU
             VXEHDVHPHQWJUDQWHHVRQDFFRXQWRIWKHEUHDFKRIDQ\OHDVHRUVXEOHDVHRUHDVHPHQWRUVXEHDVHPHQW
             VSHFLILFDOO\SHUPLWWHGE\WKH/HDVHRUWKH(DVHPHQWDVDSSOLFDEOHDQGPDGHE\WKH7HQDQWDVOHVVRURU
             JUDQWRURIDOORUSDUWRIWKH/HDVHKROG(VWDWHRU(DVHPHQW,QWHUHVWDVDSSOLFDEOH
       I   7KHUHDVRQDEOHFRVWWRREWDLQODQGXVH]RQLQJEXLOGLQJDQGRFFXSDQF\SHUPLWVDUFKLWHFWXUDODQGHQJLQHHULQJ
             VHUYLFHVDQGHQYLURQPHQWDOWHVWLQJDQGUHYLHZVIRUDUHSODFHPHQWOHDVHKROGUHDVRQDEO\HTXLYDOHQWWRWKH
             /HDVHKROG(VWDWHRUDUHSODFHPHQWHDVHPHQWUHDVRQDEO\HTXLYDOHQWWRWKH(DVHPHQW,QWHUHVWDVDSSOLFDEOH
       J   ,IDQ\(OHFWULFLW\)DFLOLW\LVQRWVXEVWDQWLDOO\FRPSOHWHGDWWKHWLPHRI(YLFWLRQWKHDFWXDOFRVWLQFXUUHGE\WKH
             ,QVXUHGXSWRWKHWLPHRI(YLFWLRQOHVVWKHVDOYDJHYDOXHIRUWKH(OHFWULFLW\)DFLOLW\ORFDWHGRQWKDWSRUWLRQRIWKH
             /DQGIURPZKLFKWKH,QVXUHGLV(YLFWHG 7KRVHFRVWVLQFOXGHFRVWVLQFXUUHGWRFRQVWUXFWDQGIDEULFDWHWKH
             (OHFWULFLW\)DFLOLW\REWDLQODQGXVH]RQLQJEXLOGLQJDQGRFFXSDQF\SHUPLWVDUFKLWHFWXUDODQGHQJLQHHULQJ
             VHUYLFHVFRQVWUXFWLRQPDQDJHPHQWVHUYLFHVHQYLURQPHQWDOWHVWLQJDQGUHYLHZVDQGODQGVFDSLQJDQG
             FDQFHOODWLRQIHHVUHODWHGWRWKHIRUHJRLQJ
          7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVGDPDJHRUFRVWVRIUHPHGLDWLRQ DQGWKH&RPSDQ\ZLOOQRWSD\
             FRVWVDWWRUQH\V IHHVRUH[SHQVHV UHVXOWLQJIURPHQYLURQPHQWDOGDPDJHRUFRQWDPLQDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 196 of 807




 7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW L PRGLI\DQ\RIWKHWHUPVDQG
 SURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI
 ,QVXUDQFH7RWKHH[WHQWDSURYLVLRQRIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRI
 WKLVHQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKHWHUPVDQGSURYLVLRQVRI
 WKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

 >:LWQHVVFODXVHRSWLRQDO@


 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\


 %\                                                 
           $XWKRUL]HG6LJQDWRU\




 $/7$(QGRUVHPHQW)RUP
 (QHUJ\3URMHFW±/HDVHKROG(DVHPHQW/RDQ   
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 197 of 807



(1'256(0(17
                                                $WWDFKHGWR3ROLF\1RB               
                                                          ,VVXHGE\
                                                   &KLFDJR7LWOH,QVXUDQFH
                                                          &RPSDQ\
       
    7KHLQVXUDQFHSURYLGHGE\WKLVHQGRUVHPHQWLVVXEMHFWWRWKHH[FOXVLRQVLQ6HFWLRQRIWKLVHQGRUVHPHQWDQGWKH
       ([FOXVLRQVIURP&RYHUDJHWKH([FHSWLRQVIURP&RYHUDJHFRQWDLQHGLQ6FKHGXOH%DQGWKH&RQGLWLRQVLQWKHSROLF\
    )RUSXUSRVHVRIWKLVHQGRUVHPHQWRQO\
       D   ³&RQVWLWXHQW3DUFHO´PHDQVRQHRIWKHSDUFHOVRI/DQGGHVFULEHGLQ6FKHGXOH$WKDWWRJHWKHUFRQVWLWXWHRQH
             LQWHJUDWHGSURMHFW
       E   ³(OHFWULFLW\)DFLOLW\´PHDQVDQHOHFWULFLW\JHQHUDWLQJIDFLOLW\ZKLFKPD\LQFOXGHRQHRUPRUHRIWKHIROORZLQJD
             VXEVWDWLRQDWUDQVPLVVLRQGLVWULEXWLRQRUFROOHFWRUOLQHDQLQWHUFRQQHFWLRQLQYHUWHUWUDQVIRUPHUJHQHUDWRU
             WXUELQHDUUD\VRODUSDQHORUPRGXOHDFLUFXLWEUHDNHUIRRWLQJWRZHUSROHFURVVDUPJX\OLQHDQFKRUZLUH
             FRQWUROV\VWHPFRPPXQLFDWLRQVRUUDGLRUHOD\V\VWHPVDIHW\SURWHFWLRQIDFLOLW\URDGDQGRWKHUEXLOGLQJ
             VWUXFWXUHIL[WXUHPDFKLQHU\HTXLSPHQWDSSOLDQFHDQGLWHPDVVRFLDWHGZLWKRULQFLGHQWDOWRWKHJHQHUDWLRQ
             FRQYHUVLRQVWRUDJHVZLWFKLQJPHWHULQJVWHSXSVWHSGRZQLQYHUVLRQWUDQVPLVVLRQFRQGXFWLQJZKHHOLQJ
             VDOHRURWKHUXVHRUFRQYH\DQFHRIHOHFWULFLW\RQWKH/DQGDW'DWHRI3ROLF\RUWREHEXLOWRUFRQVWUXFWHGRQWKH
             /DQGLQWKHORFDWLRQVDFFRUGLQJWRWKH3ODQVWKDWE\ODZFRQVWLWXWHVUHDOSURSHUW\
       F   ³(YLFWHG´RU³(YLFWLRQ´PHDQV D WKHODZIXOGHSULYDWLRQLQZKROHRULQSDUWRIWKHULJKWRISRVVHVVLRQLQVXUHGE\
             WKLVSROLF\FRQWUDU\WRWKHWHUPVRIDQ\/HDVHRU E WKHODZIXOSUHYHQWLRQRIWKHXVHRIWKH/DQGRUDQ\
             (OHFWULFLW\)DFLOLW\RU6HYHUDEOH,PSURYHPHQWIRUWKHSXUSRVHVSHUPLWWHGE\WKH/HDVHLQHLWKHUFDVHDVDUHVXOW
             RIDPDWWHUFRYHUHGE\WKLVSROLF\
       G   ³/HDVH´PHDQVHDFKOHDVHGHVFULEHGLQ6FKHGXOH$
       H   ³/HDVHKROG(VWDWH´PHDQVWKHULJKWRISRVVHVVLRQJUDQWHGLQWKH/HDVHIRUWKH/HDVH7HUP
       I   ³/HDVH7HUP´PHDQVWKHGXUDWLRQRIWKH/HDVHKROG(VWDWHDVVHWIRUWKLQWKH/HDVHLQFOXGLQJDQ\UHQHZDORU
             H[WHQGHGWHUPLIDYDOLGRSWLRQWRUHQHZRUH[WHQGLVFRQWDLQHGLQWKH/HDVH
       J   ³3ODQV´PHDQVWKHVXUYH\VLWHDQGHOHYDWLRQSODQVRURWKHUGHSLFWLRQVRUGUDZLQJVSUHSDUHGE\
              LQVHUWQDPHRIDUFKLWHFWRUHQJLQHHU GDWHGODVWUHYLVHG             GHVLJQDWHGDV LQVHUWQDPHRI
             SURMHFWRUSURMHFWQXPEHU FRQVLVWLQJRI     VKHHWV
       K   ³5HPDLQLQJ7HUP´PHDQVWKHSRUWLRQRIWKH/HDVH7HUPUHPDLQLQJDIWHUWKH,QVXUHGKDVEHHQ(YLFWHG
       L   ´6HYHUDEOH,PSURYHPHQW´PHDQVSURSHUW\DIIL[HGWRWKH/DQGDW'DWHRI3ROLF\RUWREHDIIL[HGLQWKHORFDWLRQV
             DFFRUGLQJWRWKH3ODQVWKDWZRXOGFRQVWLWXWHDQ(OHFWULFLW\)DFLOLW\EXWIRULWVFKDUDFWHUL]DWLRQDVSHUVRQDO
             SURSHUW\DQGWKDWE\ODZGRHVQRWFRQVWLWXWHUHDOSURSHUW\EHFDXVH D RILWVFKDUDFWHUDQGPDQQHURI
             DWWDFKPHQWWRWKH/DQGDQG E WKHSURSHUW\FDQEHVHYHUHGIURPWKH/DQGZLWKRXWFDXVLQJPDWHULDOGDPDJHWR
             WKHSURSHUW\RUWRWKH/DQG
    9DOXDWLRQRI7LWOHDVDQ,QWHJUDWHG3URMHFW
       D   ,ILQFRPSXWLQJORVVRUGDPDJHLWEHFRPHVQHFHVVDU\WRYDOXHWKH7LWOHRUDQ\SRUWLRQRILWDVWKHUHVXOWRIDQ
             (YLFWLRQWKHQDVWRWKDWSRUWLRQRIWKH/DQGIURPZKLFKWKH,QVXUHGLV(YLFWHGWKDWYDOXHVKDOOFRQVLVWRI L WKH
             YDOXHRI $ WKH/HDVHKROG(VWDWHIRUWKH5HPDLQLQJ7HUP % DQ\(OHFWULFLW\)DFLOLW\H[LVWLQJRQWKHGDWHRIWKH
             (YLFWLRQDQGLIDSSOLFDEOH LL DQ\UHGXFWLRQLQYDOXHRIDQRWKHULQVXUHG/HDVHDVFRPSXWHGLQ6HFWLRQ E 
             EHORZ
       E   $FRPSXWDWLRQRIORVVRUGDPDJHUHVXOWLQJIURPDQ(YLFWLRQDIIHFWLQJDQ\&RQVWLWXHQW3DUFHOVKDOOLQFOXGHORVV
             RUGDPDJHWRWKHLQWHJUDWHGSURMHFWFDXVHGE\WKHFRYHUHGPDWWHUDIIHFWLQJWKH&RQVWLWXHQW3DUFHOIURPZKLFK
             WKH,QVXUHGLV(YLFWHG
       F   7KH,QVXUHG&ODLPDQWVKDOOKDYHWKHULJKWWRKDYHWKH/HDVHKROG(VWDWHDQGDQ\(OHFWULFLW\)DFLOLW\DIIHFWHGE\D
             GHIHFWLQVXUHGDJDLQVWE\WKLVSROLF\YDOXHGHLWKHUDVDZKROHRUVHSDUDWHO\ ,QHLWKHUHYHQWWKLVGHWHUPLQDWLRQ
             RIYDOXHVKDOOWDNHLQWRDFFRXQWDQ\UHQWQRORQJHUUHTXLUHGWREHSDLGIRUWKH5HPDLQLQJ7HUP
       G   7KHSURYLVLRQVRIWKLV6HFWLRQVKDOOQRWGLPLQLVKWKH,QVXUHG¶VULJKWVXQGHUDQ\RWKHUHQGRUVHPHQWWRWKH
             SROLF\KRZHYHUWKHFDOFXODWLRQRIORVVRUGDPDJHSXUVXDQWWRWKLVHQGRUVHPHQWVKDOOQRWDOORZGXSOLFDWLRQRI
             UHFRYHU\IRUORVVRUGDPDJHFDOFXODWHGSXUVXDQWWR6HFWLRQRIWKH&RQGLWLRQVRUDQ\RWKHUHQGRUVHPHQWWRWKH
             SROLF\
    9DOXDWLRQRI6HYHUDEOH,PSURYHPHQWV
       E   ,QWKHHYHQWRIDQ(YLFWLRQWKHFDOFXODWLRQRIWKHORVVVKDOOLQFOXGH EXWQRWWRWKHH[WHQWWKDWWKHVHLWHPVRIORVV
             DUHLQFOXGHGLQWKHYDOXDWLRQRIWKH7LWOHGHWHUPLQHGSXUVXDQWWR6HFWLRQRIWKH&RQGLWLRQVRUDQ\RWKHU
             SURYLVLRQRIWKLVRUDQ\RWKHUHQGRUVHPHQW WKHGLPLQXWLRQLQYDOXHRIWKH,QVXUHG¶VLQWHUHVWLQDQ\6HYHUDEOH
             ,PSURYHPHQWUHVXOWLQJIURPWKH(YLFWLRQUHGXFHGE\WKHVDOYDJHYDOXHRIWKH6HYHUDEOH,PSURYHPHQW

© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 198 of 807




       E   7KHSROLF\GRHVQRWLQVXUHDJDLQVWORVVRUGDPDJH DQGWKH&RPSDQ\ZLOOQRWSD\DQ\FRVWVDWWRUQH\V¶IHHVRU
             H[SHQVHV UHODWLQJWR
             L     WKHDWWDFKPHQWSHUIHFWLRQRUSULRULW\RIDQ\VHFXULW\LQWHUHVWLQDQ\6HYHUDEOH,PSURYHPHQW
             LL    WKHYHVWLQJRURZQHUVKLSRIWLWOHWRRUULJKWVLQDQ\6HYHUDEOH,PSURYHPHQW
             LLL   DQ\GHIHFWLQRUOLHQRUHQFXPEUDQFHRQWKHWLWOHWRDQ\6HYHUDEOH,PSURYHPHQWRU
             LY WKHGHWHUPLQDWLRQRIZKHWKHUDQ\VSHFLILFSURSHUW\LVUHDORUSHUVRQDOLQQDWXUH

    $GGLWLRQDOLWHPVRIORVVFRYHUHGE\WKLVHQGRUVHPHQW
       ,IWKH,QVXUHGLV(YLFWHGWKHIROORZLQJLWHPVRIORVVLIDSSOLFDEOHWRWKDWSRUWLRQRIWKH/DQGIURPZKLFKWKH,QVXUHGLV
       (YLFWHGVKDOOEHLQFOXGHGZLWKRXWGXSOLFDWLRQLQFRPSXWLQJORVVRUGDPDJHLQFXUUHGE\WKH,QVXUHGEXWQRWWRWKH
       H[WHQWWKDWWKHVDPHDUHLQFOXGHGLQWKHYDOXDWLRQRIWKH7LWOHGHWHUPLQHGSXUVXDQWWR6HFWLRQRIWKLVHQGRUVHPHQW
       WKHYDOXDWLRQRI6HYHUDEOH,PSURYHPHQWVSXUVXDQWWR6HFWLRQRIWKLVHQGRUVHPHQWRU6HFWLRQ D LL RIWKH
       &RQGLWLRQV

       D   7KHUHDVRQDEOHFRVWRI L GLVDVVHPEOLQJUHPRYLQJUHORFDWLQJDQGUHDVVHPEOLQJDQ\6HYHUDEOH,PSURYHPHQW
             WKDWWKH,QVXUHGKDVWKHULJKWWRUHPRYHDQGUHORFDWHVLWXDWHGRQWKH/DQGDWWKHWLPHRI(YLFWLRQWRWKHH[WHQW
             QHFHVVDU\WRUHVWRUHDQGPDNHIXQFWLRQDOWKHLQWHJUDWHGSURMHFW LL WUDQVSRUWDWLRQRIWKDW6HYHUDEOH
             ,PSURYHPHQWIRUWKHLQLWLDORQHKXQGUHGPLOHVLQFXUUHGLQFRQQHFWLRQZLWKWKHUHVWRUDWLRQRUUHORFDWLRQDQG LLL 
             UHVWRULQJWKH/DQGWRWKHH[WHQWGDPDJHGDVDUHVXOWRIWKHGLVDVVHPEO\UHPRYDODQGUHORFDWLRQRIWKH
             6HYHUDEOH,PSURYHPHQWDQGUHTXLUHGRIWKH,QVXUHGVROHO\EHFDXVHRIWKH(YLFWLRQ
       E   5HQWRUGDPDJHVIRUXVHDQGRFFXSDQF\RIWKH/DQGSULRUWRWKH(YLFWLRQWKDWWKH,QVXUHGDVRZQHURIWKH
             /HDVHKROG(VWDWH PD\EHREOLJDWHGWRSD\WRDQ\SHUVRQKDYLQJSDUDPRXQWWLWOHWRWKDWRIWKHOHVVRULQWKH
             /HDVH
       F   7KHDPRXQWRIUHQWRUGDPDJHVWKDWE\WKHWHUPVRIWKH/HDVHWKH,QVXUHGPXVWFRQWLQXHWRSD\WRWKHOHVVRU
             DIWHU(YLFWLRQZLWKUHVSHFWWRWKHSRUWLRQRIWKH/HDVHKROG(VWDWHIURPZKLFKWKH,QVXUHGKDVEHHQ(YLFWHG
       G   7KHIDLUPDUNHWYDOXHDWWKHWLPHRIWKH(YLFWLRQRIWKHHVWDWHRULQWHUHVWRIWKH,QVXUHGLQDQ\OHDVHRUVXEOHDVH
             VSHFLILFDOO\SHUPLWWHGE\WKH/HDVHDQGPDGHE\WKH,QVXUHGDVOHVVRURIDOORUSDUWRIWKH/HDVHKROG(VWDWH
       H   'DPDJHVFDXVHGE\WKH(YLFWLRQWKDWWKH,QVXUHGLVREOLJDWHGWRSD\WROHVVHHVRUVXEOHVVHHVRQDFFRXQWRIWKH
             EUHDFKRIDQ\OHDVHRUVXEOHDVHVSHFLILFDOO\SHUPLWWHGE\WKH/HDVHDQGPDGHE\WKH,QVXUHGDVOHVVRURIDOORU
             SDUWRIWKH/HDVHKROG(VWDWH
       I   7KHUHDVRQDEOHFRVWWRREWDLQODQGXVH]RQLQJEXLOGLQJDQGRFFXSDQF\SHUPLWVDUFKLWHFWXUDODQGHQJLQHHULQJ
             VHUYLFHVDQGHQYLURQPHQWDOWHVWLQJDQGUHYLHZVIRUDUHSODFHPHQWOHDVHKROGUHDVRQDEO\HTXLYDOHQWWRWKH
             /HDVHKROG(VWDWH
       J   ,IDQ\(OHFWULFLW\)DFLOLW\LVQRWVXEVWDQWLDOO\FRPSOHWHGDWWKHWLPHRI(YLFWLRQWKHDFWXDOFRVWLQFXUUHGE\WKH
             ,QVXUHGXSWRWKHWLPHRI(YLFWLRQOHVVWKHVDOYDJHYDOXHIRUWKH(OHFWULFLW\)DFLOLW\ORFDWHGRQWKDWSRUWLRQRIWKH
             /DQGIURPZKLFKWKH,QVXUHGLV(YLFWHG 7KRVHFRVWVLQFOXGHFRVWVLQFXUUHGWRFRQVWUXFWDQGIDEULFDWHWKH
             (OHFWULFLW\)DFLOLW\REWDLQODQGXVH]RQLQJEXLOGLQJDQGRFFXSDQF\SHUPLWVDUFKLWHFWXUDODQGHQJLQHHULQJ
             VHUYLFHVFRQVWUXFWLRQPDQDJHPHQWVHUYLFHVHQYLURQPHQWDOWHVWLQJDQGUHYLHZVDQGODQGVFDSLQJDQG
             FDQFHOODWLRQIHHVUHODWHGWRWKHIRUHJRLQJ
          7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVGDPDJHRUFRVWVRIUHPHGLDWLRQ DQGWKH&RPSDQ\ZLOOQRWSD\
             FRVWVDWWRUQH\V IHHVRUH[SHQVHV UHVXOWLQJIURPHQYLURQPHQWDOGDPDJHRUFRQWDPLQDWLRQ

 7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW L PRGLI\DQ\RIWKHWHUPVDQG
 SURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI
 ,QVXUDQFH7RWKHH[WHQWDSURYLVLRQRIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRI
 WKLVHQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKHWHUPVDQGSURYLVLRQVRI
 WKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

 >:LWQHVVFODXVHRSWLRQDO@
 &KLFDJR7LWOH,QVXUDQFH
 &RPSDQ\


 %\                                                    
             $XWKRUL]HG6LJQDWRU\

 $/7$(QGRUVHPHQW)RUP
 (QHUJ\3URMHFW±/HDVHKROG2ZQHUV   
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ


© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 199 of 807


(1'256(0(17
                                                $WWDFKHGWR3ROLF\1RB               
                                                          ,VVXHGE\
                                                   &KLFDJR7LWOH,QVXUDQFH
                                                          &RPSDQ\
       
    7KHLQVXUDQFHSURYLGHGE\WKLVHQGRUVHPHQWLVVXEMHFWWRWKHH[FOXVLRQVLQ6HFWLRQRIWKLVHQGRUVHPHQWDQGWKH
       ([FOXVLRQVIURP&RYHUDJHWKH([FHSWLRQVIURP&RYHUDJHFRQWDLQHGLQ6FKHGXOH%DQGWKH&RQGLWLRQVLQWKHSROLF\
    )RUSXUSRVHVRIWKLVHQGRUVHPHQWRQO\
       D   ³&RQVWLWXHQW3DUFHO´PHDQVRQHRIWKHSDUFHOVRI/DQGGHVFULEHGLQ6FKHGXOH$WKDWWRJHWKHUFRQVWLWXWHRQH
             LQWHJUDWHGSURMHFW
       E   ³(OHFWULFLW\)DFLOLW\´PHDQVDQHOHFWULFLW\JHQHUDWLQJIDFLOLW\ZKLFKPD\LQFOXGHRQHRUPRUHRIWKHIROORZLQJD
             VXEVWDWLRQDWUDQVPLVVLRQGLVWULEXWLRQRUFROOHFWRUOLQHDQLQWHUFRQQHFWLRQLQYHUWHUWUDQVIRUPHUJHQHUDWRU
             WXUELQHDUUD\VRODUSDQHORUPRGXOHDFLUFXLWEUHDNHUIRRWLQJWRZHUSROHFURVVDUPJX\OLQHDQFKRUZLUH
             FRQWUROV\VWHPFRPPXQLFDWLRQVRUUDGLRUHOD\V\VWHPVDIHW\SURWHFWLRQIDFLOLW\URDGDQGRWKHUEXLOGLQJ
             VWUXFWXUHIL[WXUHPDFKLQHU\HTXLSPHQWDSSOLDQFHDQGLWHPDVVRFLDWHGZLWKRULQFLGHQWDOWRWKHJHQHUDWLRQ
             FRQYHUVLRQVWRUDJHVZLWFKLQJPHWHULQJVWHSXSVWHSGRZQLQYHUVLRQWUDQVPLVVLRQFRQGXFWLQJZKHHOLQJ
             VDOHRURWKHUXVHRUFRQYH\DQFHRIHOHFWULFLW\RQWKH/DQGDW'DWHRI3ROLF\RUWREHEXLOWRUFRQVWUXFWHGRQWKH
             /DQGLQWKHORFDWLRQVDFFRUGLQJWRWKH3ODQVWKDWE\ODZFRQVWLWXWHVUHDOSURSHUW\
       F   ³(YLFWHG´RU³(YLFWLRQ´PHDQV D WKHODZIXOGHSULYDWLRQLQZKROHRULQSDUWRIWKHULJKWRISRVVHVVLRQLQVXUHGE\
             WKLVSROLF\FRQWUDU\WRWKHWHUPVRIDQ\/HDVHRU E WKHODZIXOSUHYHQWLRQRIWKHXVHRIWKH/DQGRUDQ\
             (OHFWULFLW\)DFLOLW\RU6HYHUDEOH,PSURYHPHQWIRUWKHSXUSRVHVSHUPLWWHGE\WKH/HDVHLQHLWKHUFDVHDVDUHVXOW
             RIDPDWWHUFRYHUHGE\WKLVSROLF\
       G   ³/HDVH´PHDQVHDFKOHDVHGHVFULEHGLQ6FKHGXOH$
       H   ³/HDVHKROG(VWDWH´PHDQVWKHULJKWRISRVVHVVLRQJUDQWHGLQWKH/HDVHIRUWKH/HDVH7HUP
       I   ³/HDVH7HUP´PHDQVWKHGXUDWLRQRIWKH/HDVHKROG(VWDWHDVVHWIRUWKLQWKH/HDVHLQFOXGLQJDQ\UHQHZDORU
             H[WHQGHGWHUPLIDYDOLGRSWLRQWRUHQHZRUH[WHQGLVFRQWDLQHGLQWKH/HDVH
       J   ³3ODQV´PHDQVWKHVXUYH\VLWHDQGHOHYDWLRQSODQVRURWKHUGHSLFWLRQVRUGUDZLQJVSUHSDUHGE\
              LQVHUWQDPHRIDUFKLWHFWRUHQJLQHHU GDWHGODVWUHYLVHG             GHVLJQDWHGDV LQVHUWQDPHRI
             SURMHFWRUSURMHFWQXPEHU FRQVLVWLQJRI     VKHHWV
       K   ³5HPDLQLQJ7HUP´PHDQVWKHSRUWLRQRIWKH/HDVH7HUPUHPDLQLQJDIWHUWKH,QVXUHGKDVEHHQ(YLFWHG
       L   ´6HYHUDEOH,PSURYHPHQW´PHDQVSURSHUW\DIIL[HGWRWKH/DQGDW'DWHRI3ROLF\RUWREHDIIL[HGLQWKHORFDWLRQV
             DFFRUGLQJWRWKH3ODQVWKDWZRXOGFRQVWLWXWHDQ(OHFWULFLW\)DFLOLW\EXWIRULWVFKDUDFWHUL]DWLRQDVSHUVRQDO
             SURSHUW\DQGWKDWE\ODZGRHVQRWFRQVWLWXWHUHDOSURSHUW\EHFDXVH D RILWVFKDUDFWHUDQGPDQQHURI
             DWWDFKPHQWWRWKH/DQGDQG E WKHSURSHUW\FDQEHVHYHUHGIURPWKH/DQGZLWKRXWFDXVLQJPDWHULDOGDPDJHWR
             WKHSURSHUW\RUWRWKH/DQG
       M   ³7HQDQW´PHDQVWKHWHQDQWXQGHUWKH/HDVH DQGDIWHUDFTXLVLWLRQRIDOORUDQ\SDUWRIWKH7LWOHLQDFFRUGDQFH
             ZLWKWKHSURYLVLRQVRI6HFWLRQRIWKH&RQGLWLRQVRIWKHSROLF\WKH,QVXUHG&ODLPDQW
    9DOXDWLRQRI7LWOHDVDQ,QWHJUDWHG3URMHFW

       D   ,ILQFRPSXWLQJORVVRUGDPDJHLWEHFRPHVQHFHVVDU\WRYDOXHWKH7LWOHRUDQ\SRUWLRQRILWDVWKHUHVXOWRIDQ
             (YLFWLRQWKHQDVWRWKDWSRUWLRQRIWKH/DQGIURPZKLFKWKH7HQDQWLV(YLFWHGWKDWYDOXHVKDOOFRQVLVWRI L WKH
             YDOXHRI $ WKH/HDVHKROG(VWDWH IRUWKH5HPDLQLQJ7HUP % DQ\(OHFWULFLW\)DFLOLW\H[LVWLQJRQWKHGDWHRI
             WKH(YLFWLRQDQGLIDSSOLFDEOH LL DQ\UHGXFWLRQLQYDOXHRIDQRWKHULQVXUHG/HDVHDVFRPSXWHGLQ6HFWLRQ E 
             EHORZ
       E   $FRPSXWDWLRQRIORVVRUGDPDJHUHVXOWLQJIURPDQ(YLFWLRQDIIHFWLQJDQ\&RQVWLWXHQW3DUFHOVKDOOLQFOXGHORVV
             RUGDPDJHWRWKHLQWHJUDWHGSURMHFWFDXVHGE\WKHFRYHUHGPDWWHUDIIHFWLQJWKH&RQVWLWXHQW3DUFHOIURPZKLFK
             WKH,QVXUHGLV(YLFWHG
       F   7KH,QVXUHG&ODLPDQWVKDOOKDYHWKHULJKWWRKDYHWKH/HDVHKROG(VWDWHDQGDQ\(OHFWULFLW\)DFLOLW\DIIHFWHGE\D
             GHIHFWLQVXUHGDJDLQVWE\WKHSROLF\YDOXHGHLWKHUDVDZKROHRUVHSDUDWHO\ ,QHLWKHUHYHQWWKLVGHWHUPLQDWLRQRI
             YDOXHVKDOOWDNHLQWRDFFRXQWDQ\UHQWQRORQJHUUHTXLUHGWREHSDLGIRUWKH5HPDLQLQJ7HUP
       G   7KHSURYLVLRQVRIWKLV6HFWLRQVKDOOQRWGLPLQLVKWKH,QVXUHG¶VULJKWVXQGHUDQ\RWKHUHQGRUVHPHQWWRWKH
             SROLF\KRZHYHUWKHFDOFXODWLRQRIORVVRUGDPDJHSXUVXDQWWRWKLVHQGRUVHPHQWVKDOOQRWDOORZGXSOLFDWLRQRI
             UHFRYHU\IRUORVVRUGDPDJHFDOFXODWHGSXUVXDQWWR6HFWLRQRIWKH&RQGLWLRQVRUDQ\RWKHUHQGRUVHPHQWWRWKH
             SROLF\
    9DOXDWLRQRI6HYHUDEOH,PSURYHPHQWV
       F   ,QWKHHYHQWRIDQ(YLFWLRQWKHFDOFXODWLRQRIWKHORVVVKDOOLQFOXGH EXWQRWWRWKHH[WHQWWKDWWKHVHLWHPVRIORVV
             DUHLQFOXGHGLQWKHYDOXDWLRQRIWKH7LWOHGHWHUPLQHGSXUVXDQWWR6HFWLRQRIWKH&RQGLWLRQVRUDQ\RWKHU


© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 200 of 807




             SURYLVLRQRIWKLVRUDQ\RWKHUHQGRUVHPHQW WKHGLPLQXWLRQLQYDOXHRIWKH,QVXUHG¶VLQWHUHVWLQDQ\6HYHUDEOH
             ,PSURYHPHQWUHVXOWLQJIURPWKH(YLFWLRQUHGXFHGE\WKHVDOYDJHYDOXHRIWKH6HYHUDEOH,PSURYHPHQW
       E   7KHSROLF\GRHVQRWLQVXUHDJDLQVWORVVRUGDPDJH DQGWKH&RPSDQ\ZLOOQRWSD\DQ\FRVWVDWWRUQH\V¶IHHVRU
             H[SHQVHV UHODWLQJWR
             L     WKHDWWDFKPHQWSHUIHFWLRQRUSULRULW\RIDQ\VHFXULW\LQWHUHVWLQDQ\6HYHUDEOH,PSURYHPHQW
             LL    WKHYHVWLQJRURZQHUVKLSRIWLWOHWRRUULJKWVLQDQ\6HYHUDEOH,PSURYHPHQW
             LLL   DQ\GHIHFWLQRUOLHQRUHQFXPEUDQFHRQWKHWLWOHWRDQ\6HYHUDEOH,PSURYHPHQWRU
             LY WKHGHWHUPLQDWLRQRIZKHWKHUDQ\VSHFLILFSURSHUW\LVUHDORUSHUVRQDOLQQDWXUH

    $GGLWLRQDOLWHPVRIORVVFRYHUHGE\WKLVHQGRUVHPHQW
       ,IWKH,QVXUHGDFTXLUHVDOORUDQ\SDUWRIWKH7LWOHLQDFFRUGDQFHZLWKWKHSURYLVLRQVRI6HFWLRQRIWKH&RQGLWLRQVRI
       WKHSROLF\DQGWKHUHDIWHULV(YLFWHGWKHIROORZLQJLWHPVRIORVVLIDSSOLFDEOHWRWKDWSRUWLRQRIWKH/DQGIURPZKLFKWKH
       ,QVXUHGLV(YLFWHGVKDOOEHLQFOXGHGZLWKRXWGXSOLFDWLRQLQFRPSXWLQJORVVRUGDPDJHLQFXUUHGE\WKH,QVXUHGEXW 
       QRWWRWKHH[WHQWWKDWWKHVDPHDUHLQFOXGHGLQWKHYDOXDWLRQRIWKH7LWOHGHWHUPLQHGSXUVXDQWWR6HFWLRQRIWKLV
       HQGRUVHPHQWWKHYDOXDWLRQRI6HYHUDEOH,PSURYHPHQWVSXUVXDQWWR6HFWLRQRIWKLVHQGRUVHPHQWRU6HFWLRQ 
        D LLL RIWKH&RQGLWLRQV

       D   7KHUHDVRQDEOHFRVWRI L GLVDVVHPEOLQJUHPRYLQJUHORFDWLQJDQGUHDVVHPEOLQJDQ\6HYHUDEOH,PSURYHPHQW
             WKDWWKH,QVXUHGKDVWKHULJKWWRUHPRYHDQGUHORFDWHVLWXDWHGRQWKH/DQGDWWKHWLPHRI(YLFWLRQWRWKHH[WHQW
             QHFHVVDU\WRUHVWRUHDQGPDNHIXQFWLRQDOWKHLQWHJUDWHGSURMHFW LL WUDQVSRUWDWLRQRIWKDW6HYHUDEOH
             ,PSURYHPHQWIRUWKHLQLWLDORQHKXQGUHGPLOHVLQFXUUHGLQFRQQHFWLRQZLWKWKHUHVWRUDWLRQRUUHORFDWLRQDQG LLL 
             UHVWRULQJWKH/DQGWRWKHH[WHQWGDPDJHGDVDUHVXOWRIWKHGLVDVVHPEO\UHPRYDODQGUHORFDWLRQRIWKH
             6HYHUDEOH,PSURYHPHQWDQGUHTXLUHGRIWKH,QVXUHGVROHO\EHFDXVHRIWKH(YLFWLRQ
       E   5HQWRUGDPDJHVIRUXVHDQGRFFXSDQF\RIWKH/DQGSULRUWRWKH(YLFWLRQWKDWWKH,QVXUHGDVRZQHURIWKH
             /HDVHKROG(VWDWHPD\EHREOLJDWHGWRSD\WRDQ\SHUVRQKDYLQJSDUDPRXQWWLWOHWRWKDWRIWKHOHVVRULQWKH
             /HDVH
       F   7KHDPRXQWRIUHQWRUGDPDJHVWKDWE\WKHWHUPVRIWKH/HDVHWKH,QVXUHGPXVWFRQWLQXHWRSD\WRWKHOHVVRU
             DIWHU(YLFWLRQZLWKUHVSHFWWRWKHSRUWLRQRIWKH/HDVHKROG(VWDWH IURPZKLFKWKH,QVXUHGKDVEHHQ(YLFWHG
       G   7KHIDLUPDUNHWYDOXHDWWKHWLPHRIWKH(YLFWLRQRIWKHHVWDWHRULQWHUHVWRIWKH,QVXUHGLQDQ\OHDVHRUVXEOHDVH
             VSHFLILFDOO\SHUPLWWHGE\WKH/HDVHDQGPDGHE\WKH7HQDQWDVOHVVRURIDOORUSDUWRIWKH/HDVHKROG(VWDWH
       H   'DPDJHVFDXVHGE\WKH(YLFWLRQWKDWWKH,QVXUHGLVREOLJDWHGWRSD\WROHVVHHVRUVXEOHVVHHVRQDFFRXQWRIWKH
             EUHDFKRIDQ\OHDVHRUVXEOHDVHVSHFLILFDOO\SHUPLWWHGE\WKH/HDVHDQGPDGHE\WKH7HQDQWDVOHVVRURIDOORU
             SDUWRIWKH/HDVHKROG(VWDWH
       I   7KHUHDVRQDEOHFRVWWRREWDLQODQGXVH]RQLQJEXLOGLQJDQGRFFXSDQF\SHUPLWVDUFKLWHFWXUDODQGHQJLQHHULQJ
             VHUYLFHVDQGHQYLURQPHQWDOWHVWLQJDQGUHYLHZVIRUDUHSODFHPHQWOHDVHKROGUHDVRQDEO\HTXLYDOHQWWRWKH
             /HDVHKROG(VWDWH
       J   ,IDQ\(OHFWULFLW\)DFLOLW\LVQRWVXEVWDQWLDOO\FRPSOHWHGDWWKHWLPHRI(YLFWLRQWKHDFWXDOFRVWLQFXUUHGE\WKH
             ,QVXUHGXSWRWKHWLPHRI(YLFWLRQOHVVWKHVDOYDJHYDOXHIRUWKH(OHFWULFLW\)DFLOLW\ORFDWHGRQWKDWSRUWLRQRIWKH
             /DQGIURPZKLFKWKH,QVXUHGLV(YLFWHG 7KRVHFRVWVLQFOXGHFRVWVLQFXUUHGWRFRQVWUXFWDQGIDEULFDWHWKH
             (OHFWULFLW\)DFLOLW\REWDLQODQGXVH]RQLQJEXLOGLQJDQGRFFXSDQF\SHUPLWVDUFKLWHFWXUDODQGHQJLQHHULQJ
             VHUYLFHVFRQVWUXFWLRQPDQDJHPHQWVHUYLFHVHQYLURQPHQWDOWHVWLQJDQGUHYLHZVDQGODQGVFDSLQJDQG
             FDQFHOODWLRQIHHVUHODWHGWRWKHIRUHJRLQJ
          7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVGDPDJHRUFRVWVRIUHPHGLDWLRQ DQGWKH&RPSDQ\ZLOOQRWSD\
             FRVWVDWWRUQH\V IHHVRUH[SHQVHV UHVXOWLQJIURPHQYLURQPHQWDOGDPDJHRUFRQWDPLQDWLRQ

 7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW L PRGLI\DQ\RIWKHWHUPVDQG
 SURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI
 ,QVXUDQFH7RWKHH[WHQWDSURYLVLRQRIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRI
 WKLVHQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKHWHUPVDQGSURYLVLRQVRI
 WKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

 >:LWQHVVFODXVHRSWLRQDO@ '$7('
 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\
 %<                           B                      B 
      $87+25,=('6,*1$725<

 $/7$(QGRUVHPHQW)RUP
 (QHUJ\3URMHFW±/HDVHKROG/RDQ   
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
        Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 201 of 807


(1'256(0(17
                                                    $WWDFKHGWR3ROLF\1RB   
                                                               ,VVXHGE\
                                                   &KLFDJR7LWOH,QVXUDQFH&RPSDQ\


            7KHLQVXUDQFHSURYLGHGE\WKLVHQGRUVHPHQWLVVXEMHFWWRWKHH[FOXVLRQVLQ6HFWLRQRIWKLVHQGRUVHPHQWDQGWKH
               ([FOXVLRQVIURP&RYHUDJHWKH([FHSWLRQVIURP&RYHUDJHFRQWDLQHGLQ6FKHGXOH%DQGWKH&RQGLWLRQVLQWKHSROLF\
            )RUSXUSRVHVRIWKLVHQGRUVHPHQWRQO\
               D ³&RYHQDQW´PHDQVDFRYHQDQWFRQGLWLRQOLPLWDWLRQRUUHVWULFWLRQLQDGRFXPHQWRULQVWUXPHQWLQHIIHFWDW'DWHRI
                    3ROLF\
               E     ³(OHFWULFLW\)DFLOLW\´PHDQVDQHOHFWULFLW\JHQHUDWLQJIDFLOLW\WKDWPD\LQFOXGHRQHRUPRUHRIWKHIROORZLQJD
                       VXEVWDWLRQDWUDQVPLVVLRQGLVWULEXWLRQRUFROOHFWRUOLQHDQLQWHUFRQQHFWLRQLQYHUWHUWUDQVIRUPHUJHQHUDWRU
                       WXUELQHDUUD\VRODUSDQHORUPRGXOHDFLUFXLWEUHDNHUIRRWLQJWRZHUSROHFURVVDUPJX\OLQHDQFKRUZLUH
                       FRQWUROV\VWHPFRPPXQLFDWLRQVRUUDGLRUHOD\V\VWHPVDIHW\SURWHFWLRQIDFLOLW\URDGDQGRWKHUEXLOGLQJ
                       VWUXFWXUHIL[WXUHPDFKLQHU\HTXLSPHQWDSSOLDQFHDQGLWHPDVVRFLDWHGZLWKRULQFLGHQWDOWRWKHJHQHUDWLRQ
                       FRQYHUVLRQVWRUDJHVZLWFKLQJPHWHULQJVWHSXSVWHSGRZQLQYHUVLRQWUDQVPLVVLRQFRQGXFWLQJZKHHOLQJ
                       VDOHRURWKHUXVHRUFRQYH\DQFHRIHOHFWULFLW\RQWKH/DQGDW'DWHRI3ROLF\RUWREHEXLOWRUFRQVWUXFWHGRQWKH
                       /DQGLQWKHORFDWLRQVDFFRUGLQJWRWKH3ODQVWKDWE\ODZFRQVWLWXWHVUHDOSURSHUW\
               F     ³3ODQV´PHDQVWKHVXUYH\VLWHDQGHOHYDWLRQSODQVRURWKHUGHSLFWLRQVRUGUDZLQJVSUHSDUHGE\
                        LQVHUWQDPHRIDUFKLWHFWRUHQJLQHHU GDWHG      ODVWUHYLVHG       GHVLJQDWHGDV
                        LQVHUWQDPHRISURMHFWRUSURMHFWQXPEHU FRQVLVWLQJRI      VKHHWV
               G     ³6HYHUDEOH,PSURYHPHQW´PHDQVSURSHUW\DIIL[HGWRWKH/DQGDW'DWHRI3ROLF\RUWREHDIIL[HGWRWKH/DQGLQWKH
                       ORFDWLRQVDFFRUGLQJWRWKH3ODQVWKDWZRXOGFRQVWLWXWHDQ(OHFWULFLW\)DFLOLW\EXWIRULWVFKDUDFWHUL]DWLRQDV
                       SHUVRQDOSURSHUW\DQGWKDWE\ODZGRHVQRWFRQVWLWXWHUHDOSURSHUW\EHFDXVH D RILWVFKDUDFWHUDQGPDQQHURI
                       DWWDFKPHQWWRWKH/DQGDQG E WKHSURSHUW\FDQEHVHYHUHGIURPWKH/DQGZLWKRXWFDXVLQJPDWHULDOGDPDJHWR
                       WKHSURSHUW\RUWRWKH/DQG
            7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI
                L $YLRODWLRQRIDQHQIRUFHDEOH&RYHQDQWE\DQ\(OHFWULFLW\)DFLOLW\RU6HYHUDEOH,PSURYHPHQWXQOHVVDQ
                    H[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\LGHQWLILHVWKHYLRODWLRQ
                   LL (QIRUFHGUHPRYDORIDQ\(OHFWULFLW\)DFLOLW\RU6HYHUDEOH,PSURYHPHQWDVDUHVXOWRIDYLRODWLRQRIDEXLOGLQJ
                        VHWEDFNOLQHVKRZQRQDSODWRIVXEGLYLVLRQUHFRUGHGRUILOHGLQWKH3XEOLF5HFRUGVXQOHVVDQH[FHSWLRQLQ
                        6FKHGXOH%RIWKHSROLF\LGHQWLILHVWKHYLRODWLRQRU
               LLL $QRWLFHRIDYLRODWLRQUHFRUGHGLQWKH3XEOLF5HFRUGVDW'DWHRI3ROLF\RIDQHQIRUFHDEOH&RYHQDQWUHODWLQJWR
                     HQYLURQPHQWDOSURWHFWLRQGHVFULELQJDQ\SDUWRIWKH/DQGDQGUHIHUULQJWRWKDW&RYHQDQWEXWRQO\WRWKHH[WHQW
                     RIWKHYLRODWLRQRIWKH&RYHQDQWUHIHUUHGWRLQWKDWQRWLFHXQOHVVDQH[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\
                     LGHQWLILHVWKHQRWLFHRIWKHYLRODWLRQ
          7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJH DQGWKH&RPSDQ\ZLOOQRWSD\FRVWVDWWRUQH\V IHHVRU
             H[SHQVHV UHVXOWLQJIURP
             D     DQ\&RYHQDQWFRQWDLQHGLQDQLQVWUXPHQWFUHDWLQJDOHDVHRUHDVHPHQW
             E     DQ\&RYHQDQWUHODWLQJWRREOLJDWLRQVRIDQ\W\SHWRSHUIRUPPDLQWHQDQFHUHSDLURUUHPHGLDWLRQRQWKH/DQGRU
             F  H[FHSWDVSURYLGHGLQ6HFWLRQFDQ\&RYHQDQWSHUWDLQLQJWRHQYLURQPHQWDOSURWHFWLRQRIDQ\NLQGRUQDWXUH
                  LQFOXGLQJKD]DUGRXVRUWR[LFPDWWHUVFRQGLWLRQVRUVXEVWDQFHV
         7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW L PRGLI\DQ\RIWKHWHUPVDQG
         SURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI
         ,QVXUDQFH7RWKHH[WHQWDSURYLVLRQRIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRI
         WKLVHQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKHWHUPVDQGSURYLVLRQVRI
         WKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

        >:LWQHVVFODXVHRSWLRQDO@
        '$7('
        &KLFDJR7LWOH,QVXUDQFH&RPSDQ\
        %< B                    B 
        $87+25,=('6,*1$725<


         $/7$(QGRUVHPHQW)RUP
         (QHUJ\3URMHFW±&RYHQDQWV&RQGLWLRQVDQG5HVWULFWLRQV/DQG8QGHU'HYHORSPHQW2ZQHUV   
         $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 202 of 807


(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB          
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\
 
  7KHLQVXUDQFHSURYLGHGE\WKLVHQGRUVHPHQWLVVXEMHFWWRWKHH[FOXVLRQVLQ6HFWLRQRIWKLV
     HQGRUVHPHQWDQGWKH([FOXVLRQVIURP&RYHUDJHWKH([FHSWLRQVIURP&RYHUDJHFRQWDLQHGLQ
     6FKHGXOH%DQGWKH&RQGLWLRQVLQWKHSROLF\
  )RUSXUSRVHVRIWKLVHQGRUVHPHQWRQO\
           D ³&RYHQDQW´PHDQVDFRYHQDQWFRQGLWLRQOLPLWDWLRQRUUHVWULFWLRQLQD
               GRFXPHQWRU LQVWUXPHQWLQHIIHFWDW'DWHRI3ROLF\
           E ³(OHFWULFLW\)DFLOLW\´PHDQVDQHOHFWULFLW\JHQHUDWLQJIDFLOLW\WKDWPD\LQFOXGHRQHRU
               PRUH RIWKHIROORZLQJDVXEVWDWLRQDWUDQVPLVVLRQGLVWULEXWLRQRUFROOHFWRUOLQHDQ
               LQWHUFRQQHFWLRQLQYHUWHUWUDQVIRUPHUJHQHUDWRUWXUELQHDUUD\VRODUSDQHORU
               PRGXOHD FLUFXLWEUHDNHUIRRWLQJWRZHUSROHFURVVDUPJX\OLQHDQFKRUZLUH
               FRQWUROV\VWHP FRPPXQLFDWLRQVRUUDGLRUHOD\V\VWHPVDIHW\SURWHFWLRQIDFLOLW\URDG
               DQGRWKHUEXLOGLQJ VWUXFWXUHIL[WXUHPDFKLQHU\HTXLSPHQWDSSOLDQFHDQGLWHP
               DVVRFLDWHGZLWKRULQFLGHQWDO WRWKHJHQHUDWLRQFRQYHUVLRQVWRUDJHVZLWFKLQJ
               PHWHULQJVWHSXSVWHSGRZQ LQYHUVLRQWUDQVPLVVLRQFRQGXFWLQJZKHHOLQJVDOHRU
               RWKHUXVHRUFRQYH\DQFHRI HOHFWULFLW\RQWKH/DQGDW'DWHRI3ROLF\RUWREHEXLOWRU
               FRQVWUXFWHGRQWKH/DQGLQWKH ORFDWLRQVDFFRUGLQJWRWKH3ODQVWKDWE\ODZ
               FRQVWLWXWHVUHDOSURSHUW\
           F ³3ODQV´PHDQVWKHVXUYH\VLWHDQGHOHYDWLRQSODQVRURWKHUGHSLFWLRQVRU
                GUDZLQJV SUHSDUHGE\
            LQVHUWQDPHRIDUFKLWHFWRUHQJLQHHU  GDWHG    BODVWUHYLVHGB     BGHVLJQDWHGDV
            LQVHUWQDPHRISURMHFWRUSURMHFWQXPEHU  FRQVLVWLQJRI     VKHHWV
           G ´6HYHUDEOH,PSURYHPHQW´PHDQVSURSHUW\DIIL[HGWRWKH/DQGDW'DWHRI3ROLF\RUWR
               EH DIIL[HGWRWKH/DQGLQWKHORFDWLRQVDFFRUGLQJWRWKH3ODQVWKDWZRXOGFRQVWLWXWH
               DQ (OHFWULFLW\)DFLOLW\EXWIRULWVFKDUDFWHUL]DWLRQDVSHUVRQDOSURSHUW\DQGWKDWE\
               ODZGRHV QRWFRQVWLWXWHUHDOSURSHUW\EHFDXVH D RILWVFKDUDFWHUDQGPDQQHURI
               DWWDFKPHQWWRWKH /DQGDQG E WKHSURSHUW\FDQEHVHYHUHGIURPWKH/DQGZLWKRXW
               FDXVLQJPDWHULDO GDPDJHWRWKHSURSHUW\RUWRWKH/DQG
  7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI
           D $YLRODWLRQRID&RYHQDQWWKDW
                      L GLYHVWVVXERUGLQDWHVRUH[WLQJXLVKHVWKHOLHQRIWKH,QVXUHG0RUWJDJH
                     LL UHVXOWVLQWKHLQYDOLGLW\XQHQIRUFHDELOLW\RUODFNRISULRULW\RIWKHOLHQRIWKH
                          ,QVXUHG 0RUWJDJHRU
                    LLL FDXVHVDORVVRIWKH,QVXUHG¶V7LWOHDFTXLUHGLQVDWLVIDFWLRQRUSDUWLDO
                          VDWLVIDFWLRQRI WKH,QGHEWHGQHVV




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 203 of 807




           E $YLRODWLRQRIDQHQIRUFHDEOH&RYHQDQWE\DQ\(OHFWULFLW\)DFLOLW\RU6HYHUDEOH
               ,PSURYHPHQWXQOHVVDQH[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\LGHQWLILHVWKH
               YLRODWLRQ
      F (QIRUFHGUHPRYDORIDQ\(OHFWULFLW\)DFLOLW\RU6HYHUDEOH,PSURYHPHQWDVDUHVXOWRID
          YLRODWLRQRIDEXLOGLQJVHWEDFNOLQHVKRZQRQDSODWRIVXEGLYLVLRQUHFRUGHGRUILOHGLQWKH
          3XEOLF5HFRUGVXQOHVVDQH[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\LGHQWLILHVWKHYLRODWLRQRU
      G $QRWLFHRIDYLRODWLRQUHFRUGHGLQWKH3XEOLF5HFRUGVDW'DWHRI3ROLF\RIDQHQIRUFHDEOH
          &RYHQDQWUHODWLQJWRHQYLURQPHQWDOSURWHFWLRQGHVFULELQJDQ\SDUWRIWKH/DQGDQG
          UHIHUULQJWRWKDW&RYHQDQWEXWRQO\WRWKHH[WHQWRIWKHYLRODWLRQRIWKH&RYHQDQWUHIHUUHG
          WRLQWKDWQRWLFHXQOHVVDQH[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\LGHQWLILHVWKHQRWLFHRI
          WKHYLRODWLRQ
  7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJH DQGWKH&RPSDQ\ZLOOQRWSD\
     FRVWVDWWRUQH\V IHHVRUH[SHQVHV UHVXOWLQJIURP
      D DQ\&RYHQDQWFRQWDLQHGLQDQLQVWUXPHQWFUHDWLQJDOHDVHRUHDVHPHQW
      E DQ\&RYHQDQWUHODWLQJWRREOLJDWLRQVRIDQ\W\SHWRSHUIRUPPDLQWHQDQFHUHSDLU
          RUUHPHGLDWLRQRQWKH/DQGRU
      F H[FHSWDVSURYLGHGLQ6HFWLRQGDQ\&RYHQDQWSHUWDLQLQJWRHQYLURQPHQWDOSURWHFWLRQ
          RIDQ\NLQGRUQDWXUHLQFOXGLQJKD]DUGRXVRUWR[LFPDWWHUVFRQGLWLRQVRUVXEVWDQFHV
 7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW L 
 PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV LLL 
 H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQRI
 WKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLV
 HQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

 >:LWQHVVFODXVHRSWLRQDO@

 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\


 %\                                                        
           $XWKRUL]HG6LJQDWRU\



 $/7$(QGRUVHPHQW)RUP
 (QHUJ\3URMHFW±&RYHQDQWV&RQGLWLRQVDQG5HVWULFWLRQV/DQG8QGHU'HYHORSPHQW/RDQ   
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 204 of 807


(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB          
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\

  7KHLQVXUDQFHSURYLGHGE\WKLVHQGRUVHPHQWLVVXEMHFWWRWKHH[FOXVLRQVLQ6HFWLRQRIWKLV
     HQGRUVHPHQWDQGWKH([FOXVLRQVIURP&RYHUDJHWKH([FHSWLRQVIURP&RYHUDJHFRQWDLQHGLQ
     6FKHGXOH%DQGWKH&RQGLWLRQVLQWKHSROLF\

  )RUSXUSRVHVRIWKLVHQGRUVHPHQWRQO\

      D ³(OHFWULFLW\)DFLOLW\´PHDQVDQHOHFWULFLW\JHQHUDWLQJIDFLOLW\WKDWPD\LQFOXGHRQHRUPRUH
          RIWKHIROORZLQJ DVXEVWDWLRQDWUDQVPLVVLRQGLVWULEXWLRQRUFROOHFWRUOLQHDQ
          LQWHUFRQQHFWLRQLQYHUWHU WUDQVIRUPHUJHQHUDWRUWXUELQHDUUD\VRODUSDQHORUPRGXOHD
          FLUFXLWEUHDNHUIRRWLQJWRZHUSROHFURVVDUPJX\OLQHDQFKRUZLUHFRQWUROV\VWHP
          FRPPXQLFDWLRQVRUUDGLRUHOD\V\VWHPVDIHW\SURWHFWLRQIDFLOLW\URDGDQGRWKHUEXLOGLQJ
          VWUXFWXUHIL[WXUHPDFKLQHU\HTXLSPHQWDSSOLDQFHDQGLWHPDVVRFLDWHGZLWKRULQFLGHQWDO
          WRWKHJHQHUDWLRQFRQYHUVLRQVWRUDJHVZLWFKLQJPHWHULQJVWHSXSVWHSGRZQ
          LQYHUVLRQWUDQVPLVVLRQFRQGXFWLQJZKHHOLQJVDOHRURWKHUXVHRUFRQYH\DQFHRI
          HOHFWULFLW\RQWKH/DQGDW'DWHRI3ROLF\RUWREHEXLOWRUFRQVWUXFWHGRQWKH/DQGLQWKH
          ORFDWLRQVDFFRUGLQJWRWKH3ODQVWKDWE\ODZFRQVWLWXWHVUHDOSURSHUW\
      E ³3ODQV´PHDQVWKHVXUYH\VLWHDQGHOHYDWLRQSODQVRURWKHUGHSLFWLRQVRUGUDZLQJV
          SUHSDUHGE\
           LQVHUWQDPHRIDUFKLWHFWRUHQJLQHHU  GDWHG    BODVWUHYLVHGB     BGHVLJQDWHGDV
           LQVHUWQDPHRISURMHFWRUSURMHFWQXPEHU  FRQVLVWLQJRI     VKHHWV
       F ³6HYHUDEOH,PSURYHPHQW´PHDQVSURSHUW\DIIL[HGWRWKH/DQGDW'DWHRI3ROLF\RUWREH
           DIIL[HGWRWKH/DQGLQWKHORFDWLRQVDFFRUGLQJWRWKH3ODQVWKDWZRXOGFRQVWLWXWHDQ
           (OHFWULFLW\)DFLOLW\EXWIRULWVFKDUDFWHUL]DWLRQDVSHUVRQDOSURSHUW\DQGWKDWE\ODZGRHV
           QRWFRQVWLWXWHUHDOSURSHUW\EHFDXVH D RILWVFKDUDFWHUDQGPDQQHURIDWWDFKPHQWWRWKH
           /DQGDQG E WKHSURSHUW\FDQEHVHYHUHGIURPWKH/DQGZLWKRXWFDXVLQJPDWHULDO
           GDPDJHWRWKHSURSHUW\RUWRWKH/DQG

  7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI

      D $QHQFURDFKPHQWRIDQ\(OHFWULFLW\)DFLOLW\RU6HYHUDEOH,PSURYHPHQWORFDWHGRQWKH/DQG
          RQWRDGMRLQLQJODQGRURQWRWKDWSRUWLRQRIWKH/DQGVXEMHFWWRDQHDVHPHQWXQOHVVDQ
          H[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\LGHQWLILHVWKHHQFURDFKPHQW

      E $QHQFURDFKPHQWRIDQLPSURYHPHQWORFDWHGRQDGMRLQLQJODQGRQWRWKH/DQGDW'DWHRI
          3ROLF\XQOHVVDQH[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\LGHQWLILHVWKHHQFURDFKPHQW

      F (QIRUFHGUHPRYDORIDQ\(OHFWULFLW\)DFLOLW\RU6HYHUDEOH,PSURYHPHQWDVDUHVXOWRIDQ
          HQFURDFKPHQWE\WKH(OHFWULFLW\)DFLOLW\RU6HYHUDEOH,PSURYHPHQWRQWRDQ\SRUWLRQRIWKH
          /DQGVXEMHFWWRDQ\HDVHPHQWLQWKHHYHQWWKDWWKHRZQHUVRIWKHHDVHPHQWVKDOOIRUWKH
          SXUSRVHRIH[HUFLVLQJWKHULJKWRIXVHRUPDLQWHQDQFHRIWKHHDVHPHQWFRPSHOUHPRYDORU
          UHORFDWLRQRIWKHHQFURDFKLQJ(OHFWULFLW\)DFLOLW\RU6HYHUDEOH,PSURYHPHQW>RU@




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 205 of 807




      G 'DPDJHWRDQ\(OHFWULFLW\)DFLOLW\RU6HYHUDEOH,PSURYHPHQWWKDWLVORFDWHGRQRU
          HQFURDFKHVRQWRWKDWSRUWLRQRIWKH/DQGVXEMHFWWRDQHDVHPHQWH[FHSWHGLQ6FKHGXOH
          %ZKLFKGDPDJHUHVXOWVIURPWKHH[HUFLVHRIWKHULJKWWRPDLQWDLQWKHHDVHPHQWIRUWKH
          SXUSRVHIRUZKLFKLWZDVJUDQWHGRUUHVHUYHG>RU@

      >H7KHFRYHUDJHRI6HFWLRQVFDQGGVKDOOQRWDSSO\WRWKHHQFURDFKPHQWVOLVWHGLQ
           ([FHSWLRQ V                   RI6FKHGXOH%@

     7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJH DQGWKH&RPSDQ\ZLOOQRWSD\
       FRVWVDWWRUQH\V¶IHHVRUH[SHQVHV UHVXOWLQJIURPFRQWDPLQDWLRQH[SORVLRQILUHYLEUDWLRQ
       IUDFWXULQJHDUWKTXDNHRUVXEVLGHQFH

 7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW L 
 PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV LLL 
 H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQRI
 WKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLV
 HQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

 >:LWQHVVFODXVHRSWLRQDO@

 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\



 %\                                                        
           $XWKRUL]HG6LJQDWRU\




 $/7$(QGRUVHPHQW)RUP
 (QHUJ\3URMHFW±(QFURDFKPHQWV   
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 206 of 807


 
                                   $66,*10(172)5(17625/($6(6

                                             $/7$  

 

 /HQGHUVRFFDVLRQDOO\UHTXHVWWKDWWKHORDQSROLF\LQVXUHFHUWDLQUHFRUGHGLQWHUHVWVWKDWDUHWDNHQ
 DVDGGLWLRQDOVHFXULW\IRUWKHORDQSULPDULO\VHFXUHGE\WKH,QVXUHG0RUWJDJH7KHPRVWFRPPRQ
 DGGLWLRQDO VHFXULW\ RWKHU WKDQ D VHFXULW\ LQWHUHVW XQGHU WKH 8QLIRUP &RPPHUFLDO &RGH LV DQ
 DVVLJQPHQWRIUHQWVRUOHDVHV

 

 7KLVHQGRUVHPHQWLVLVVXHGWRSURYLGHFHUWDLQFRYHUDJHVZLWKUHVSHFWWRDVHSDUDWHDVVLJQPHQWRI
 UHQWVRUOHDVHVVKRZQLQ6FKHGXOH%3DUW,,RIWKHSROLF\7KLVHQGRUVHPHQWSURYLGHVLQVXUDQFH
 WKDW WKH DVVLJQPHQW RI UHQWV RU OHDVHV LV SURSHUO\ H[HFXWHG DQG WKDW WKH 3XEOLF 5HFRUGV GR QRW
 GLVFORVHDQ\SULRUDVVLJQPHQWVRIWKHVHVDPHUHQWVRUOHDVHV

 

 7KHVH HQGRUVHPHQWV GR QRW DPHQG RU PRGLI\ DQ\ VSHFLILF SROLF\ SURYLVLRQV EXW DGG DGGLWLRQDO
 FRYHUDJHWRWKHWHUPVRIWKHSROLF\          




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 207 of 807


(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB          
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\


  7KHLQVXUDQFHSURYLGHGE\WKLVHQGRUVHPHQWLVVXEMHFWWRWKH([FOXVLRQVIURP&RYHUDJHWKH
 ([FHSWLRQVIURP&RYHUDJHFRQWDLQHGLQ6FKHGXOH%DQGWKH&RQGLWLRQVLQWKHSROLF\


  7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI


      DDQ\GHIHFWLQWKHH[HFXWLRQRIWKH>,QVHUW7LWOHRI$VVLJQPHQWRI5HQWVRU/HDVHV'RFXPHQW@
      UHIHUUHGWRLQSDUDJUDSK          >RI3DUW,,@RI6FKHGXOH%RU


      EDQ\DVVLJQPHQWRIWKHOHVVRU VLQWHUHVWLQDQ\OHDVHRUOHDVHVRUDQ\DVVLJQPHQWRIUHQWV
      DIIHFWLQJWKH7LWOHDQGUHFRUGHGLQWKH3XEOLF5HFRUGVDW'DWHRI3ROLF\RWKHUWKDQDVVHWIRUWK
      LQDQ\LQVWUXPHQWUHIHUUHGWRLQ6FKHGXOH%


 7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW L 
 PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV LLL 
 H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQRI
 WKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLV
 HQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV



 >:LWQHVVFODXVHRSWLRQDO@



 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\
 %<                     B                      




 $/7$(QGRUVHPHQW)RUP
 $VVLJQPHQWRI5HQWVRU/HDVHV   
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 208 of 807




                                                0257*$*(7$;
                                    $/7$(1'256(0(17)250 

 7KLV HQGRUVHPHQW SURYLGHV FRYHUDJH WR WKH LQVXUHG OHQGHU LI WKHUH LV D GHILFLHQF\ LQ WKH
 UHFRUGDWLRQWD[SDLGDWWKHWLPHWKH,QVXUHG0RUWJDJHLVUHFRUGHGWKDWLVVXEVHTXHQWO\SDLG7KH
 HQGRUVHPHQWSURYLGHV WKDW LI WKH GHILFLHQF\LV SDLG WKH &RPSDQ\ ZLOOSURYLGH FRYHUDJH DJDLQVW
 WKH LQYDOLGLW\ RU XQHQIRUFHDELOLW\ RI WKH ,QVXUHG 0RUWJDJH RU WKH ODFN RI SULRULW\ RI WKH ,QVXUHG
 0RUWJDJH IURP WKH IDLOXUH WR SD\ DW WKH WLPH RI UHFRUGLQJ DQ\ SRUWLRQ RI WKH UHFRUGLQJ WD[ 7KH
 &RPSDQ\ GRHV QRW SURYLGH FRYHUDJH LI WKH LQVXUHG OHQGHU IDLOV WR SD\ WKH UHFRUGDWLRQ WD[
 GHILFLHQF\
 




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 209 of 807


(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB          
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\

       7KHLQVXUDQFHSURYLGHGE\WKLVHQGRUVHPHQWLVVXEMHFWWRWKHH[FOXVLRQVLQ6HFWLRQV
          DQGRIWKLVHQGRUVHPHQWWKH([FOXVLRQVIURP&RYHUDJHWKH([FHSWLRQVIURP&RYHUDJH
          FRQWDLQHGLQ6FKHGXOH%DQGWKH&RQGLWLRQVLQWKHSROLF\
       )RUWKHSXUSRVHVRIWKLVHQGRUVHPHQWRQO\³0RUWJDJH7D[´PHDQVDUHFRUGDWLRQ
          UHJLVWUDWLRQRUUHODWHGWD[RUFKDUJHUHTXLUHGWREHSDLGZKHQWKH,QVXUHG0RUWJDJHLV
          UHFRUGHGLQWKH3XEOLF5HFRUGV
       8SRQSD\PHQWRIDQ\GHILFLHQF\LQWKH0RUWJDJH7D[LQFOXGLQJLQWHUHVWDQGSHQDOWLHVE\
          WKH,QVXUHGWKH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\
          UHDVRQRI
               D WKHLQYDOLGLW\RUXQHQIRUFHDELOLW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJHDVVHFXULW\IRU
                   WKH,QGHEWHGQHVVUHVXOWLQJIURPWKHIDLOXUHWRSD\DWWKHWLPHRIUHFRUGLQJDQ\
                   SRUWLRQRIWKH0RUWJDJH7D[RU
               E WKHODFNRISULRULW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJHDVVHFXULW\IRUWKH
                   ,QGHEWHGQHVVUHVXOWLQJIURPWKHIDLOXUHWRSD\DWWKHWLPHRIUHFRUGLQJDQ\
                   SRUWLRQRIWKH0RUWJDJH7D[
       7KH&RPSDQ\GRHVQRWLQVXUHDJDLQVWORVVRUGDPDJH DQGWKH&RPSDQ\ZLOOQRWSD\
          FRVWVDWWRUQH\V IHHVRUH[SHQVHV UHVXOWLQJIURPWKHIDLOXUHRIWKH,QVXUHGWRSD\WKH
          0RUWJDJH7D[GHILFLHQF\WRJHWKHUZLWKLQWHUHVWDQGSHQDOWLHV

       7KH&RPSDQ\LVQRWOLDEOHIRUWKHSD\PHQWRIDQ\SRUWLRQRIWKH0RUWJDJH7D[LQFOXGLQJ
          LQWHUHVWRUSHQDOWLHV

 7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW
  L PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
 RIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLV
 HQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

 >:LWQHVVFODXVHRSWLRQDO@




 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\
 %<                     B                      


 $/7$(QGRUVHPHQW)RUP
 0RUWJDJH7D[   
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ


 
 
 
 
 
© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 210 of 807




                                           32/,&<$87+(17,&$7,21
                                             $/7$  
  
7KLVHQGRUVHPHQWSURYLGHVFRYHUDJHWRWKHLQVXUHGOHQGHULIDSROLF\LVLVVXHGHOHFWURQLFDOO\RU
GRHVQRWKDYHDVLJQDWXUHZKLFKPD\EHUHTXLUHGE\WKHIRUPRISROLF\FRYHUXVHG7KLV
HQGRUVHPHQWIRUWKHLQVXUHGOHQGHUPRGLILHVWKHFRYHUDQG&RQGLWLRQV F RIWKH3ROLF\ZKLFK
UHTXLUHVDQDXWKHQWLFDWLRQE\DQDXWKRUL]HGSHUVRQ7KLVW\SLFDOO\ZRXOGEHWKHVLJQDWXUHRID
OLFHQVHGHPSOR\HHRUDJHQW


 




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 211 of 807



(1'256(0(17
                                          $WWDFKHGWR3ROLF\1RB          
                                                    ,VVXHGE\
                                             &KLFDJR7LWOH,QVXUDQFH
                                                    &RPSDQ\


 :KHQWKHSROLF\LVLVVXHGE\WKH&RPSDQ\ZLWKDSROLF\QXPEHUDQG'DWHRI3ROLF\WKH&RPSDQ\
 ZLOOQRWGHQ\OLDELOLW\XQGHUWKHSROLF\RUDQ\HQGRUVHPHQWVLVVXHGZLWKWKHSROLF\VROHO\RQWKH
 JURXQGVWKDWWKHSROLF\RUHQGRUVHPHQWVZHUHLVVXHGHOHFWURQLFDOO\RUODFNVLJQDWXUHVLQ
 DFFRUGDQFHZLWKWKH&RQGLWLRQV




 7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW L 
 PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV LLL 
 H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQRI
 WKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLV
 HQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKH
 WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

 >:LWQHVVFODXVHRSWLRQDO@




 &KLFDJR7LWOH,QVXUDQFH&RPSDQ\
 %<                     B                      




 $/7$(QGRUVHPHQW)RUP
 3ROLF\$XWKHQWLFDWLRQ   
 $PHULFDQ/DQG7LWOH$VVRFLDWLRQ
 




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 212 of 807




 (QGRUVHPHQWVGHVFULSWLRQVDQGVDPSOHIRUPVDUHSURYLGHGDVDFRXUWHV\RQO\,QIRUPDWLRQLV
 GHHPHGUHOLDEOHEXWQRWJXDUDQWHHG3OHDVHFRQWDFW\RXUORFDO6DOHV([HFXWLYHZLWKTXHVWLRQV




© 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 213 of 807




                              NATIONAL COMMERCIAL SERVICES




    © 2013 Chicago Title, a member of the Fidelity National Financial family of companies. | NYSE:FNF
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 214 of 807




                         EXHIBIT 3




                         EXHIBIT 3
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 215 of 807




                       Common Endorsements requested by Residential Lenders
                             FORM DESCRIPTION
                             CLTA
                       100   Provides comprehensive                      4. Damage to improvements
                             coverage for insured ALTA                   resulting from the exercise of
                             lender against loss by reason of            any right to use the surface of
                             present or future CC&Rs                     the land
                             violations, the encroachment of
                             improvements, or by reason of               for the extraction or
                             surface entry for mineral                   development of excepted
                             development.                                minerals; and

                             Endorsement provides insurance              5. Final court order or judgment
                             that:                                       requiring removal from any land
                                                                         adjoining the land of any
                             1. There are no CC&Rs under                 encroachment shown in
                             which the lien of the insured               Schedule B.
                             mortgage can be cut off,
                             subordinated or impaired;            100.12 Provides insured lender with
                                                                         insurance concerning the
                             2. There are no present CC&R                enforceability of reverter rights
                             violations on the land; and                 found in CC&Rs.
                             3. Except as shown in Schedule       100.13 Provides insured ALTA lender
                             B, there are no encroachments               with insurance concerning the
                             of improvements on the land                 priority of a mortgage lien over
                             onto adjoining land, and no                 maintenance or upkeep
                             encroachments of improvements               assessment liens.
                             on adjoining land onto the land.
                             Endorsement insures against          100.18 Provides insured lender with
                             loss by reason of:                          coverage against loss by reason
                                                                         of the exercise or attempted
                             I . Future violations of CC&Rs              exercise of reverter rights in
                             which result in loss of the                 CC&Rs.
                             insured mortgage lien or title to
                             the land if the insured lender has   100.23 Provides insured ALTA lender
                             acquired same by foreclosure or             with coverage against loss by
                             conveyance in lieu thereof;                 reason of the exercise of surface
                                                                         rights for the extraction or
                             2. Unmarketability of title by              development of minerals leased
                             reason of CC&R violations                   under oil lease.
                             occurring prior to acquisition of
                             title by the insured lender;         100.24 Provides insured ALTA lender
                                                                         with insurance that lessee under
                             3. Damage to improvements                   mineral lease does not have any
                             which encroach on any portion               right to enter on or use the
                             of the land subject to an                   surface of the land.
                             easement excepted in Schedule
                             B;
            Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 216 of 807




100.26 Provides insured ALTA lender                utilized, of the existing                 priority coverage.
       with coverage against loss by               improvements on the land,
       reason of damage to proposed or             arising from a particular          110.9 (ALTA form 8.1) Provides
       completed improvements under                easement described in Schedule           insured ALTA residential lender
       FHA project, resulting from the             B.                                       with coverage against loss by
       exercise of surface or subsurface                                                    reason of lack of priority over (a)
       rights for the extraction or         103.3 Provides insured lender with              any federal or state
       development of minerals                    coverage against loss by reason           environmental protection lien
       excepted from the description of           of the forced removal of                  which is recorded in the public
       the land.                                  improvements which encroach               records, except as set forth in
                                                  upon a particular easement which          Schedule B, and (b) any state
100.29 Provides insured owner or lender           easement right is presently being         environmental protection lien
       with coverage against loss by              exercised                                 provided for by any state statute
       reason of the exercise of surface                                                    in effect at Date of Policy, except
       rights for the extraction or         103.4 Provides insured owner or lender          as provided for by state statutes
       development of minerals                    with insurance that an insured            specified in the endorsement.
       excepted from the description of           easement affords ingress and
       the land or shown as a reservation         egress to and from a specified      111.5 (ALTA Form 6) Provides insured
       in Schedule B.                             public street.                            ALTA variable rate mortgage
                                                                                            lender with coverage against loss
101.2 Provides insured construction         103.7 Provides insured owner or lender          by reason of (1) invalidity or
      lender with coverage against loss           with assurance that the land              unenforceability of the insured
      by reason of a lack of priority of          described in Schedule A abuts             mortgage resulting from terms
      the insured mortgage over                   upon a specific, physically- open         therein providing for changes in
      statutory liens for services, labor         public street.                            the rate of interest, or (2) loss of
      or material arising out of a work     104.1 Provides assignee of the insured          priority of the insured mortgage
      of improvement referred to in a             mortgage with assurance                   lien caused by the changes in the
      recorded notice of completion.              concerning (a) validity of a              rate of interest.
102.4 Provides insured construction               recorded assignment to evidence     111.8 (ALTA Form 6.2) Provides
      lender with insurance that the              transfer of the entire beneficial         insured ALTA variable rate
      foundations of the structure under          interest to the named assured             mortgage lender with coverage
      construction are within the                 assignee and (b) full or partial          against changes in the rate of
      boundaries of the land and that             reconveyances, modification or            interest, the addition of unpaid
      their location docs not violate             subordination of the insured              interest to principal and/or
      referenced CC&Rs.                           mortgage.                                 interest on interest, or (2) loss of
                                            108.7 Provides insured CLTA lender              priority of the insured mortgage
102.5 Provides insured construction                                                         lien caused by the changes in the
      lender with insurance that the              with coverage against loss
                                                  concerning vesting of title,              rate of interest, unpaid interest
      foundations of the structure under                                                    added to principal and/or interest
      construction are within the                 subsistence and priority of
                                                  insured mortgage lien insofar as          on interest.
      boundaries of the land, that their
      location does not violate                   same secures an additional          111.9 Provides insured ALTA lender
      referenced CC&Rs and that they              (optional) advance and increases          with insurance concerning the
      do not encroach upon referenced             policy liability by the amount of         priority of a mortgage lien
      easements. (Broader coverage                the advance.                              relating to FNMA Balloon
      than Form 102.4).                     108.8 Provides insured ALTA lender              mortgage, conditional right to
                                                  with coverage against loss                refinance, extension of the loan
103.1 Provides insured lender with                                                          term and change in the interest
      coverage against loss by reason             concerning vesting of title,
                                                  subsistence and priority of               rate.
      of the exercise of the right of use
      or maintenance of a particular              insured mortgage lien insofar as    111.10 (Optional Advance) Provides
      easement by the easement holder.            same secures an additional                 insured lender with coverage
                                                  (optional) advance and increases           against (1) loss by reason of
103.1a Provides insured lender with               policy liability by the amount of          invalidity or unenforceability of
      against loss resulting from (1)             the advance                                the insured mortgage or of (2)
      damage to the existing                                                                 loss of priority of said mortgage
      improvements, including lawns,        110.5 Provides insured ALTA lender
                                                  insurance concerning proper                for the unpaid balance together
      shrubbery and trees, on the land,                                                      with interest caused by changes
      and (2) interference with the               modification of the insured
                                                  mortgage, including express                in the rate of interest in
      continuing use, as presently
             Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 217 of 807




       accordance with the terms of a                 attached to and made a part of the           lease.
       specified loan agreement. Except               policy.
       as to intervening matters of which                                                   125    Provides coverage for the insured
       the insured has actual knowledge.       116.2 Provides insured ALTA lender                  ALTA lender against loss by
                                                     with insurance concerning the                 reason of a judicial determination
111.11 (Obligatory Advance) Provides                 street address of designated                  that (a) the insured mortgage lien
       insured lender with coverage                  separately-owned elements                     (or the lender's title after
       against (1) loss by reason of                 comprising pan of the insured                 foreclosure) has been defeated by
       invalidity or unenforceability of             condominium and with respect to               a valid exercise of the right of
       the insured mortgage or of (2) loss           the sufficiency of the referenced             rescission conferred by the
       of priority of said mortgage for              map or plan to show the exterior              Federal Truth in Lending Act, and
       the unpaid balance together with              boundary of the condominium                   that (b) such right of rescission
       interest caused by changes in the             project as a whole.                           existed because neither the loan
       rate of interest in accordance with                                                         transaction nor the right of
       the terms of a specified loan           116.7 Provides insured with insurance               rescission there of was exempted
       agreement.                                    that the land described is a                  or excepted by the provision of
                                                     lawfully created parcel according             Regulation Z.
115    Provides insured lender with                  to the California Subdivision Map
       insurance that the estate or interest         Act and local ordinances adopted       126.1 Provides coverage for insured
       covered by the policy is a                    pursuant thereto.                            CLTA owner of a one-to-four
       condominium, in fee, and is                                                                family residence against defined
       entitled to be assessed and taxed       122    Provides insured ALTA lender                loss by reason of lack of a right of
       as a separate parcel.                          with insurance concerning                   access, rights to liens for services,
                                                      obligatory advance made under               labor or material, encroachments,
115.1 Provides coverage for an insured                the insured mortgage; liability             zoning and restrictions violations
      ALTA lender against loss                        limited to face amount of policy.           and surface entry for mineral
      concerning statutory compliance.                                                            development.
      Violations of CC&Rs,                     123.1 (ALTA form 3) Provides insured
      homeowners association charges                 ALTA owner or lender with              126.2 Provides coverage for insured
      and assessments, the separate                  insurance concerning the zoning              CLTA fee owner of a residential
      assessment of real property taxes ,            classification of the land and the           condominium against defined loss
      encroachments and the exercise of              broad, allowable use or uses under           concerning the separate
      a right of first refusal to purchase,          that classification.                         assessment of taxes, lack of a right
      all with respect to a condominium        123.2 (ALTA Form 3.I) Provides                     of access, rights to liens for
      unit within a condominium                      insured ALTA owner or lender                 services, labor or material,
      project.                                       with insurance concerning the                encroachments, zoning and
                                                     zoning classification of the land,           restrictions violations and surface
115.2 Provides coverage for an insured                                                            entry for mineral development.
      ALTA lender against loss                       the allowable use or uses under
      concerning violations of CC&Rs,                that classification and with respect
      homeowners association charges                 to the existing structure on the
      and assessments, encroachments                 land, limited coverage concerning
      and the exercise of a right of first           compliance with applicable
      refusal to purchase, all with                  provisions of the zoning
                                                     ordinance.                                          Gabe Escalante
      respect to a parcel of land in a
      planned development.
                                                                                                       Account Manager
                                               124.1 Provides insured owner or lender
                                                                                                     Fidelity National Title
116    Provides insured ALTA lender                  with insurance concerning
                                                     affirmative and/or negative                      Cell: 408-623-1648
       with insurance concerning the                                                               gabriel.escalante@fnf.com
       street address of designated                  covenants contained in a deed or
       improvements on the land; and,                agreement between landowners.
       with respect to the sufficiency of      124.2 Provides insured owner or lender
       the policy plat to show the record            with insurance concerning
       location and dimensions of that               affirmative covenants contained in
       land.                                         a lease.
116.1 Provides insured lender with             124.3 Provides insured owner or lender
      insurance that the land described              with insurance concerning
      in the policy is the same as that              negative covenants contained in a
      delineated on plat of a survey
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 218 of 807




                         EXHIBIT 4




                         EXHIBIT 4
Case 2:21-cv-02120-JCM-BNW
   Case                     Document
        2:05-cv-00281-RB Document    1-1 Filed
                                  43-23   Filed10/18/10
                                                11/29/21 Page
                                                          Page27
                                                               219
                                                                 of of
                                                                    30807
Case 2:21-cv-02120-JCM-BNW
   Case                     Document
        2:05-cv-00281-RB Document    1-1 Filed
                                  43-23   Filed10/18/10
                                                11/29/21 Page
                                                          Page28
                                                               220
                                                                 of of
                                                                    30807
Case 2:21-cv-02120-JCM-BNW
   Case                     Document
        2:05-cv-00281-RB Document    1-1 Filed
                                  43-23   Filed10/18/10
                                                11/29/21 Page
                                                          Page29
                                                               221
                                                                 of of
                                                                    30807
Case 2:21-cv-02120-JCM-BNW
   Case                     Document
        2:05-cv-00281-RB Document    1-1 Filed
                                  43-23   Filed10/18/10
                                                11/29/21 Page
                                                          Page30
                                                               222
                                                                 of of
                                                                    30807
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 223 of 807




                         EXHIBIT 5




                         EXHIBIT 5
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 224 of 807






             (1'256(0(17
               0$18$/

                          )RUHZRUG
                         ,QWURGXFWLRQ
                       7DEOHRI&RQWHQWV
                  &/7$$/7$&RQYHUVLRQ&KDUWV


                              
                              
                    ),'(/,7<1$7,21$/
                     7,7/(*5283,1&
                              
                              
                              
                              
                        $XJXVW
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 225 of 807
                                                                                                            

                                               )25(:25'
                                                       
385326(2)(1'256(0(170$18$/

7KLV(QGRUVHPHQW0DQXDO ³0DQXDO´ LVSUHSDUHGH[FOXVLYHO\IRUWKHXVHRIHPSOR\HHVDQG
DJHQWVRIWKH)LGHOLW\1DWLRQDO7LWOH*URXS,QFIDPLO\RIWLWOHLQVXUDQFHFRPSDQLHV ³&RPSDQ\´ 
ZKLFKLQFOXGHV$ODPR7LWOH,QVXUDQFH&KLFDJR7LWOH,QVXUDQFH&RPSDQ\&RPPRQZHDOWK/DQG
7LWOH,QVXUDQFH&RPSDQ\DQG)LGHOLW\1DWLRQDO7LWOH,QVXUDQFH&RPSDQ\

7KHHQGRUVHPHQWIRUPVFRQWDLQHGLQWKH0DQXDODUHUHSUHVHQWDWLYHYHUVLRQVRIDFFHSWDEOHIRUPV
JHQHUDOO\LQXVH/RFDOSUDFWLFHVDQGUHJXODWRU\UHTXLUHPHQWVPD\UHVXOWLQGLIIHUHQWYHUVLRQVRI
WKHVH IRUPV  1R HQGRUVHPHQW IRUP ZKHWKHU RQH FRQWDLQHG LQ WKH 0DQXDO RU DQ\ DFFHSWHG
YHUVLRQ WKHUHRI LQ XVH LQ D SDUWLFXODU DUHD VKRXOG EH PRGLILHG DW D FXVWRPHU V UHTXHVW ZLWKRXW
FRQVLGHULQJWKHVWDWHUHJXODWRU\UHTXLUHPHQWVIRUILOLQJDQGDSSURYDORIIRUPVDQGGLVFXVVLQJWKH
UHTXHVWIRUPRGLILFDWLRQZLWKD&RPSDQ\XQGHUZULWLQJDGYLVRU

&21),'(17,$/,7<2)0$18$/

$OOPDWHULDOVFRQWDLQHGLQWKH0DQXDODUHFRQILGHQWLDOFRPPXQLFDWLRQVIURPWKH&RPSDQ\WR\RX
8QGHU QR FLUFXPVWDQFHV DUH WKH LQVWUXFWLRQV RU DQ\ RWKHU SDUW RI WKH 0DQXDO WR EH JLYHQ RU
FRPPXQLFDWHG WR DQ\RQH ZKR LV QRW DQ HPSOR\HH RU DJHQW RI WKH &RPSDQ\  +RZHYHU WKH
HQGRUVHPHQW IRUPV FRQWDLQHG LQ WKH 0DQXDO PD\ EH GXSOLFDWHG DQG JLYHQ WR RXU FXVWRPHUV DV
VSHFLPHQFRSLHVLQRUGHUWRIDFLOLWDWHWKHLVVXDQFHRIRXUWLWOHLQVXUDQFHSROLFLHV6XFKVSHFLPHQ
FRSLHV PXVW FOHDUO\ LQGLFDWH WKDW WKH\ DUH VSHFLPHQV WKURXJK WKH XVH RI WKH ZRUGV 63(&,0(1
&23<RURWKHUVXFKZRUGV

,668$1&(2)(1'256(0(176

1R HQGRUVHPHQW LQ WKH 0DQXDO LV WR EH LVVXHG XQOHVV WKH LQVWUXFWLRQV DVVRFLDWHG ZLWK WKDW
HQGRUVHPHQW DUH IROORZHG RU DQ\ DGGLWLRQDO LQVWUXFWLRQV RU FRQGLWLRQV WKDW PD\ EH FRQWDLQHG LQ
RWKHUPHPRVRUGLUHFWLRQVIURPWKH&RPSDQ\DUHFRPSOLHGZLWK:KHQWKHLQVWUXFWLRQVUHTXLUH
DSSURYDOE\D&RPSDQ\XQGHUZULWLQJDGYLVRUVXFKDSSURYDOPXVWEHREWDLQHGDQGPDLQWDLQHGLQ
WKH ILOH  1R HQGRUVHPHQW WR D SROLF\ PD\ EH LVVXHG ZLWKRXW FRPSOLDQFH ZLWK DSSOLFDEOH VWDWH
LQVXUDQFHVWDWXWHVDQGUHJXODWLRQV
6HYHUDO RI WKH HQGRUVHPHQWV LQ WKH 0DQXDO SURYLGH LQVXUDQFH IRU PDWWHUV QRW GLVFORVHG E\ WKH
SXEOLFUHFRUGVDWWKHGDWHWKHSROLF\LVLVVXHG7KHUHIRUHDQ\WLPHWKH'DWHRI3ROLF\RIDSROLF\
FRQWDLQLQJ DQ\ HQGRUVHPHQW LV XSGDWHG RU FKDQJHG FRQVLGHUDWLRQ PXVW EH JLYHQ WR ZKHWKHU RU
QRWWKHQHZHIIHFWLYHGDWHZLOOKDYHDQXQLQWHQGHGFRQVHTXHQFHRQWKHLQVXUDQFHSURYLGHGE\WKH
HQGRUVHPHQW:KHQLQGRXEWFRQWDFWD&RPSDQ\XQGHUZULWLQJDGYLVRU
                                                       


&RS\ULJKW)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 226 of 807
                                                                                 

                                    7$%/(2)&217(176
     )RUHZRUG
     ,QWURGXFWLRQ
     &/7$$/7$FRQYHUVLRQFKDUWV
     
6(&7,21

   6WUHHW$VVHVVPHQWV
     $/7$)RUP

   7UXWKLQ/HQGLQJ
     $/7$)RUP

   =RQLQJ
     $/7$)RUP =RQLQJ 
      $/7$)RUP =RQLQJ&RPSOHWHGVWUXFWXUH 
      $/7$)RUP =RQLQJ/DQG8QGHU'HYHORSPHQW 

   &RQGRPLQLXP
     $/7$)RUP
     $/7$)RUP QRSULRULW\RYHUVXEVHTXHQW+2$DVVHVVPHQWV 

   3ODQQHG8QLW'HYHORSPHQW
     $/7$)RUP
      $/7$)RUP QRSULRULW\RYHUVXEVHTXHQW+2$DVVHVVPHQWV 

   9DULDEOH5DWH0RUWJDJH
     $/7$)RUP
     $/7$)RUP 1HJDWLYH$PRUWL]DWLRQ 
     $/7$)RUP>ROGIRUPZLWKVWDWXWHEODQNV@

   0DQXIDFWXUHG+RXVLQJ
     $/7$)RUP H[SDQGVGHILQLWLRQRQO\ 
      $/7$)RUP /RDQ3ROLF\ 
      $/7$)RUP 2ZQHU¶V3ROLF\ 

   (QYLURQPHQWDO3URWHFWLRQ/LHQ
     $/7$)RUP
     $/7$)RUP &RPPHUFLDO 

   5HVWULFWLRQV(QFURDFKPHQWV0LQHUDOV
     $/7$)RUP 5(0/RDQ3ROLF\ 
     $/7$)RUP &&58QLPSURYHG/DQG2ZQHU¶V3ROLF\ 
      $/7$)RUP &&5,PSURYHG/DQG2ZQHU¶V3ROLF\ 
      $/7$)RUP &&5/RDQ3ROLF\ 
      $/7$)RUP 3ULYDWH5LJKWV±/RDQ3ROLF\ 
     $/7$)RUP 5(0±/DQGXQGHU'HYHORSPHQW/RDQ3ROLF\ 
     $/7$)RUP &&5/DQG8QGHU'HYHORSPHQW±2ZQHUV3ROLF\ 
     $/7$)RUP 3ULYDWH5LJKWV2ZQHU¶V3ROLF\ 
     $/7$)RUP 5(0&XUUHQWYLRODWLRQV/RDQ3ROLF\ 

  $VVLJQPHQWRI0RUWJDJH
     $/7$)RUP
      $/7$)RUP :LWK'DWH'RZQ 
     
  0RUWJDJH0RGLILFDWLRQ
     $/7$)RUP

&RS\ULJKW)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 227 of 807
                                                                                 

       $/7$)RUP :LWK6XERUGLQDWLRQ 


    $JJUHJDWLRQ ³7LHLQ´ 
       $/7$)RUP $JJUHJDWLRQ/RDQ 
       $/7$)RUP $JJUHJDWLRQ6WDWH/LPLWV/RDQ 

    /HDVHKROG
        $/7$)RUP 2ZQHU¶V 
        $/7$)RUP /RDQ 

    )XWXUH$GYDQFHV
       $/7$)RUPV 3ULRULW\ 
        $/7$)RUPV .QRZOHGJH 
        $/7$)RUPV /HWWHURI&UHGLW 
        $/7$)RUPV 5HYHUVH0RUWJDJH 

    1RQ,PSXWDWLRQ
       $/7$)RUP )XOO(TXLW\7UDQVIHU 
        $/7$)RUP $GGLWLRQDO,QVXUHG 
        $/7$)RUP 3DUWLDO(TXLW\7UDQVIHU 

    0H]]DQLQH)LQDQFLQJ(QGRUVHPHQW
       $/7$)RUP

    $FFHVVDQG(QWU\
       $/7$)RUP 'LUHFW 
        $/7$)RUP ,QGLUHFW 
        $/7$)RUP 8WLOLW\$FFHVV 

    7D[3DUFHO
       $/7$)RUP 6LQJOH 
        $/7$)RUP 0XOWLSOH >ZLWKWD[VDOHSURWHFWLRQ@

    &RQWLJXLW\
       $/7$)RUP 0XOWLSOH3DUFHOV >ZLWKLQ/DQG@
        $/7$)RUP 6LQJOH3DUFHO >ZLWKSURSHUW\RWKHUWKDQ/DQG@

    )LUVW/RVV(QGRUVHPHQW>&RQWLQJHQWOLDELOLW\@
        $/7$)RUP

    &UHGLWRUV¶5LJKWV
       $/7$)RUP 'HFHUWLILHG 
        
    /RFDWLRQ
       $/7$)RUP
        $/7$)RUP ORFDWLRQZLWKPDS 

    &RLQVXUDQFH±6LQJOH3DUFHO
        $/7$)RUP
        
    'RLQJ%XVLQHVV
       $/7$)RUP

    6DPHDV6XUYH\
       $/7$)RUP      
       $/7$)RUP 3RUWLRQRI6XUYH\ 

&RS\ULJKW)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 228 of 807
                                                                                           

    6XEGLYLVLRQ
       $/7$)RUP

    8VXU\
       $/7$)RUP         

    (DVHPHQWVDQG(QFURDFKPHQWV
       $/7$)RUP (DVHPHQW'DPDJHRU(QIRUFHG5HPRYDO 
       $/7$)RUP (QFURDFKPHQWV%RXQGDULHVDQG(DVHPHQWV 
       $/7$)RUP (QFURDFKPHQWV%RXQGDULHVDQG(DVHPHQWV'HVFULEHG,PSURYHPHQWV 

    ,QWHUHVW5DWH6ZDS
       $/7$)RUP 'LUHFW2EOLJDWLRQ 
       $/7$)RUP $GGLWLRQDO,QWHUHVW 
       $/7$)RUP 'LUHFW2EOLJDWLRQ±'HILQHG$PRXQW 
       $/7$)RUP $GGLWLRQDO,QWHUHVW±'HILQHG$PRXQW 

   6KDUHG$SSUHFLDWLRQ0RUWJDJH
       $/7$)RUP 2QHWR)RXU)DPLO\ 
       $/7$)RUP &RPPHUFLDO3DUWLFLSDWLRQ,QWHUHVW 

    6HYHUDEOH,PSURYHPHQWV
       $/7$)RUP

    &RQVWUXFWLRQ/RDQ
       $/7$)RUP &RQVWUXFWLRQ/RDQ±/RVVRI3ULRULW\ 
       $/7$)RUP &RQVWUXFWLRQ/RDQ±/RVVRI3ULRULW\±'LUHFW3D\PHQW 
       $/7$)RUP &RQVWUXFWLRQ/RDQ±/RVVRI3ULRULW\,QVXUHG¶V'LUHFW3D\PHQW 

    'LVEXUVHPHQW WREHXVHGLQFRQMXQFWLRQZLWK$/7$)RUPVDQG 
       $/7$)RUP

   ,GHQWLILHG5LVN&RYHUDJH
       $/7$)RUP

   0LQHUDOVDQG2WKHU6XEVXUIDFH6XEVWDQFHV
       $/7$)RUP %XLOGLQJV 
       $/7$)RUP ,PSURYHPHQWV 
       $/7$)RUP 'HVFULEHG,PSURYHPHQWV 
       $/7$)RUP /DQG8QGHU'HYHORSPHQW 

    (QHUJ\3URMHFWV
       $/7$)RUP /HDVHKROG(DVHPHQW2ZQHUV3ROLF\ 
       $/7$)RUP /HDVHKROG(DVHPHQW/RDQ3ROLF\ 
       $/7$)RUP /HDVHKROG2ZQHUV3ROLF\ 
       $/7$)RUP /HDVHKROG/RDQ3ROLF\ 
       $/7$)RUP &&5/DQG8QGHU'HYHORSPHQW2ZQHUV3ROLF\ 
       $/7$)RUP &&5/DQG8QGHU'HYHORSPHQW/RDQ3ROLF\ 
       $/7$)RUP (QFURDFKPHQWV 

    $VVLJQPHQWRI5HQWVRU/HDVHV
       $/7$)RUP

    0RUWJDJH7D[
       $/7$)RUP

    3ROLF\$XWKHQWLFDWLRQ
       $/7$)RUP
&RS\ULJKW)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 229 of 807
                                                                                             



>1RVWKURXJKKDYHEHHQUHVHUYHGIRULQVHUWLRQRIIXWXUH$/7$(QGRUVHPHQWV@


   &/7$(QGRUVHPHQW&RPSUHKHQVLYH
         6LPLODUWR$/7$)RUP 

   6KDUHG$SSUHFLDWLRQ0RUWJDJH(QGRUVHPHQW&RPPHUFLDO
       )RUP$±7RWDO6XPDV3ROLF\DPRXQW
       )RUP%±6HSDUDWH$GGLWLRQDO,QVXUDQFH

   6KDUHRI&DVK)ORZ $GGLWLRQDO,QWHUHVW 

   ,QWHUHVWRI,QFRPLQJ3DUWQHU
      )RUP$±IRUXVHZLWK3ROLF\
      )RUP%±IRUXVHZLWKWKH)RUPHU$/7$ UHY 3ROLF\

   ([FHVV,QVXUDQFH(QGRUVHPHQW IRU8VH,Q,QVXULQJ([LVWLQJ3DUWQHUVKLSRU,QWHUHVWRI1HZ
       3DUWQHULQ([LVWLQJ3DUWQHUVKLS 

   2SWLRQWR3XUFKDVH(QGRUVHPHQWV
       )RUP$±2SWLRQSULRULW\SULPHGE\LQWHUYHQLQJPDWWHUV
       )RUP%±2SWLRQSULRULW\UHODWHVEDFN

   $VVLJQPHQWRI5HQWV(QGRUVHPHQW
       &RQWDLQHGLQ,QVXUHG0RUWJDJH

   ,VVXDQFHRI)XWXUH,QVXUDQFH(QGRUVHPHQW
      )RUP$1RSHQGLQJ&ODLPV
      )RUP%1HZ&RQVWUXFWLRQ
      
   &RYHQDQWV5XQZLWKWKH/DQG>VKRSSLQJFHQWHU@
        6DPHDV&/7$(QGRUVHPHQW1R 

   5HYROYLQJ&UHGLW(QGRUVHPHQWV±1RQ$/7$IRUPV
       )RUP$±2EOLJDWRU\$GYDQFH0DMRULW\9LHZ
       )RUP%±2EOLJDWRU\$GYDQFH0LQRULW\9LHZ
       )RUP&2SWLRQDO$GYDQFH0DMRULW\9LHZ
       )RUP'2SWLRQDO$GYDQFH0LQRULW\9LHZ

   /DVW'ROODU±IRUSROLFLHV27+(5WKDQ$/7$


  7D[&UHGLW%HQHILW(QGRUVHPHQW
                                 




&RS\ULJKW)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 230 of 807
                                                                                                               


                                              ,1752'8&7,21

:KDWLVDQHQGRUVHPHQW"

³$ SURYLVLRQ DGGHG WR DQ LQVXUDQFH FRQWUDFW ZKHUHE\ WKH VFRSH RI LWV FRYHUDJH LV UHVWULFWHG RU
HQODUJHG´

,Q RUGHU WR XQGHUVWDQG ZKDW DQ HQGRUVHPHQW LV ZH PXVW ILUVW WDNH D ORRN DW WKH XQGHUO\LQJ
LQVXUDQFH SROLF\ $ WLWOH LQVXUDQFH SROLF\ LV D FRQWUDFW RI LQGHPQLW\ 7KH $PHULFDQ /DQG 7LWOH
$VVRFLDWLRQ ³$/7$´ IRUPVWKDWZHLVVXHLQWKHYDVWPDMRULW\RIVWDWHVSURYLGHLQ&RQGLWLRQRI
WKH2ZQHUVDQGWKH/RDQSROLFLHV

         ³7KLVSROLF\LVDFRQWUDFWRILQGHPQLW\DJDLQVWDFWXDOPRQHWDU\ORVVRUGDPDJHVXVWDLQHG
         RU LQFXUUHG E\ WKH ,QVXUHG &ODLPDQW ZKR KDV VXIIHUHG ORVV RU GDPDJH E\ UHDVRQ RI
         PDWWHUVLQVXUHGDJDLQVWE\WKLVSROLF\´

:HPXVWEHFDUHIXOWRVXSSRUWWKLVGHILQLWLRQLQWKHFRQVWUXFWLRQRIRXUHQGRUVHPHQWV:K\LVWKLV
GLVWLQFWLRQ VR LPSRUWDQW"  ,Q RUGHU WR KDYH RXU OLDELOLW\ FDSSHG DW WKH SROLF\ DPRXQW WKH FRXUWV
PXVWGHWHUPLQHRXUOLDELOLW\ZLWKLQWKHVFRSHRIWKHFRQWUDFW WKHIRXUFRUQHUVRIWKHLQVWUXPHQW 
XQGHUUXOHVRIFRQWUDFWODZDQGQRWRQWKHEDVLVRIWRUWOLDELOLW\ QHJOLJHQFH ,Q WRUWWKH OLDELOLW\
DPRXQWVPLJKWQRWEHOLPLWHGE\WKHSROLF\DPRXQWEXWFRXOGEHGHWHUPLQHGWREHDOOGDPDJHV
UHJDUGOHVV RI WKH DPRXQW RI SROLF\  7KLV RSHQHG HQGHG OLDELOLW\ LV VLPLODU WR ZKDW LV VRPHWLPHV
UHIHUUHGWRDV³DEVWUDFWRUV¶OLDELOLW\´

$FRQWUDFWRILQGHPQLW\DVXVHGLQRXUIRUPVLQVXUHVDJDLQVWORVVRUGDPDJHRFFDVLRQHGE\WKH
ULVNZHKDYHLGHQWLILHG,Q UHVSRQVHWRDVHULHVRIFDVHVLQWKHPLG¶V FDOOHGWKH³$OOLDQFH´
FDVHV WKHHQGRUVHPHQWIRUPVZHUHFKDQJHGWRFRQIRUPWKHODQJXDJHWRWKHLQGHPQLW\VWUXFWXUH
RIWKHSROLF\3UHYLRXVO\WKHIRUPDWRIVRPHHQGRUVHPHQWVXVHGWKHIROORZLQJVW\OHRIODQJXDJH
        
         ««DQ\LQDFFXUDFLHVLQWKHIROORZLQJ RUSUHYLRXV VWDWHPHQWV«

7KHFRXUWKHOGWKDWWKLVODQJXDJHPDGHWKHHQGRUVHPHQWV RSLQLRQVRIWLWOHDQGWKHUHIRUHVXEMHFW
WRDODZVXLWLQWRUWIRUQHJOLJHQFHEDVHGXSRQDQHJOLJHQWUHQGHULQJRIWKDWRSLQLRQ%HFDXVHWKH
DFWLRQZRXOGEHKHOGWREHLQWRUWDQGQRWLQFRQWUDFWWKHOLPLWDWLRQRQOLDELOLW\LQWKHSROLF\ZRXOG
QRWEHHIIHFWLYH

:H VKRXOG EH VSHFLI\LQJ WKH ULVN ZH ZLOO XQGHUWDNH QRW RSLQLQJ RQ WKH VWDWH RI IDFWV $ ZD\ WR
UHPHPEHU WKLV LV WKDW ZH GR QRW LQVXUH WKH VN\ LV EOXH :H LQVXUH DJDLQVW ORVV RU GDPDJH

&RS\ULJKW)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 231 of 807
                                                                                                                 

RFFDVLRQHG E\ WKH VN\ QRW EHLQJ EOXH ,W PD\ EH GLIILFXOW WR VHH WKH GLIIHUHQFH DW ILUVW %XW WKH
SROLFLHVWKHPVHOYHVDUHZULWWHQLQWKHVDPHLQGHPQLW\ODQJXDJH
            
            ³68%-(&7 72 7+( (;&/86,216 )520 &29(5$*( 7+( (;&(37,216 )520
            &29(5$*( &$17$,1(' ,1 6&+('8/( % $1' 7+( &21',7,216«>7KH &RPSDQ\@
            LQVXUHV«DJDLQVWORVVRUGDPDJH«VXVWDLQHGRULQFXUUHGE\WKH,QVXUHGE\UHDVRQRI´

7KH&RYHUHG5LVNVWKHQOLVWHGDUHZULWWHQLQWKHLQGHPQLW\ODQJXDJHIRUP
           
            ³7LWOHEHLQJYHVWHGRWKHUWKDQDVVWDWHGLQ6FKHGXOH$´

:HGRQ¶WLQVXUH³WLWOHLVYHVWHGDVVKRZQ´ZHLQVXUHDJDLQVWORVVLIWLWOHLVQRWYHVWHGDVVKRZQ
    YHVWHG LQ D GLIIHUHQW PDQQHU WKDQ LV VKRZQ  6RPHWLPHV WKLV ODQJXDJH ORRNV ³QHJDWLYH´ DW ILUVW
JODQFH%XWRQFHDJDLQLWLVLPSRUWDQWWRXWLOL]HWKLVODQJXDJHLQHQGRUVHPHQWVWRFRQIRUPWRWKH
SROLF\VWUXFWXUH

,I \RX FRPH DFURVV ROG HQGRUVHPHQW ODQJXDJH RU DUH UHTXHVWHG WR LVVXH DQ HQGRUVHPHQW
XWLOL]LQJ WKDW ROG IRUPDW ± '21¶7 86( ,7  3OHDVH GLVFXVV DQ\ VXFK IRUP RU UHTXHVW ZLWK WKH
&RPSDQ\¶VXQGHUZULWLQJDGYLVRU

$/7$3ROLFLHV

,Q PRVW VWDWHV ZH LVVXH SROLFLHV WKDW DUH SURPXOJDWHG E\ WKH $PHULFDQ /DQG 7LWOH $VVRFLDWLRQ
    XVXDOO\UHIHUUHGWRDV$/7$ 7KLVLVWKHQDWLRQDOSURIHVVLRQDORUJDQL]DWLRQIRURXULQGXVWU\1RW
DOO VWDWHV LVVXH $/7$ SROLFLHV  ,Q &DOLIRUQLD WKH\ DOVR LVVXH WKH &/7$ RU &DOLIRUQLD /DQG 7LWOH
$VVRFLDWLRQ IRUPV7H[DV1HZ0H[LFRDQG1HZ<RUNDOVRLVVXHWKHLURZQW\SHRISROLF\6RPH
VWDWHV VXFK DV )ORULGD DQG 3HQQV\OYDQLD LVVXH $/7$ 3ROLFLHV EXW LVVXH RQO\ D IHZ RI WKH
KXQGUHGVRIHQGRUVHPHQWVWKDWDUH DYDLODEOHQDWLRQZLGH7KLVPDQXDOFRQWDLQVIRUPVWKDW ZHUH
SUHSDUHGIRUXVHZLWKWKH$/7$SROLF\IRUPV6RPHHQGRUVHPHQWVZHUHZULWWHQE\$/7$WKH\DUH
GHVLJQDWHGDVVXFKDQGDUHORFDWHGLQWKHILUVWSDUWRIWKHPDQXDO(DFKWLWOHFRPSDQ\DOVRZULWHV
LWV RZQ HQGRUVHPHQWV ZKLFK DUH VRPHWLPHV UHIHUUHG WR DV ³SURSULHWDU\´ RU ³QRQ$/7$´ IRUPV
7KHVHDUHVKRZQDIWHUWKH$/7$IRUPVHFWLRQV




&RS\ULJKW)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 232 of 807
                                                                                                              

/RDQ3ROLF\YV2ZQHUV3ROLF\(QGRUVHPHQWV

$V\RXORRNWKURXJKWKHPDQXDO\RXZLOOVHHWKDWVRPHHQGRUVHPHQWIRUPVDUHDYDLODEOH21/<
IRU /RDQ 3ROLFLHV VRPH 21/< IRU 2ZQHUV 3ROLFLHV DQG VRPH IRU ERWK 7KHUH DUH XVXDOO\ PRUH
HQGRUVHPHQWVDYDLODEOHIRUWKHOHQGHUEHFDXVHWKHULVNLVGLIIHUHQWWKDQIRUDQRZQHU

7KH HTXLW\ DQ RZQHU KDV LQ D SLHFH RI SURSHUW\ LV D EXIIHU ZH EHQHILW IURP ZKHQ ZH LQVXUH WKH
OHQGHU,QRWKHUZRUGVLIWKHUHLVDORVVDQGWKHORVVGRHVQRWH[FHHGWKHHTXLW\WKHOHQGHULVQRW
DIIHFWHG7KHRZQHULVKDUPHGIURPGROODURQHRIWKHORVVVRWKHRGGVRIWKHUHEHLQJDORVVIURP
DQ\VSHFLILFULVNLVDOZD\VJUHDWHUIRUDQRZQHU

,QDGGLWLRQLQRUGHUWRSURYHDORVVWKHOHQGHUPLJKWKDYHWRJRWKURXJKIRUHFORVXUHDQGQRWJHW
VXIILFLHQWSURFHHGVWRFRYHULWVGHEW $1'WKH ORVVKDVWREH EDVHGRQWKHWLWOH LVVXHQRW RWKHU
HFRQRPLFPDUNHWIDFWRUV7KDWW\SHRIORVVLVKDUGHUWRSURYHWKDQWKHRZQHUV¶ORVV7KDWLVZK\
RQHRIWKHILUVWTXHVWLRQVWKHXQGHUZULWHUDVNVZKHQGLVFXVVLQJFRYHUDJHUHTXHVWVLVZKDWW\SHRI
SROLF\LVEHLQJLVVXHG7KH\QHHGWKLVLQIRUPDWLRQWRDVVHVVWKHULVNSURSHUO\DJDLQEHFDXVHWKH\
DUHGLIIHUHQWULVNV


5DWHVDQG)RUPV

7KH)RUPVFRQWDLQHGLQWKLVPDQXDODUHWKHVWDQGDUGIRUPVWKDW KDYHEHHQDSSURYHG JHQHUDOO\
IRUXVH,I\RXDUHORFDWHGLQDVWDWHWKDWKDVDIRUPVILOLQJUHTXLUHPHQW\RXPXVWYHULI\WKDWWKHVH
IRUPVKDYHEHHQILOHGIRUXVH6RPHIRUPVPD\KDYHEHHQPRGLILHGLQRUGHUWREHILOHG<RXPXVW
XVHWKHDSSURSULDWHIRUPILOHGIRU\RXUVWDWHLQVWHDGRIWKHIRUPVKRZQKHUHLIWKDWLVDQLVVXHIRU
\RXUVWDWH

5DWHV DUH XVXDOO\ EDVHG XSRQ WKH ULVN DVVXPHG WKH ZRUN LQYROYHG WR DQDO\]H WKDW ULVN DQG WKH
PDUNHW

7KHUHDUHIRXUDSSURDFKHVXVHGWKURXJKRXWWKHFRXQWU\IRUWKHILOLQJRIUDWHVDQGIRUPVZKLFKWKH
&RPSDQ\LVVXEMHFWWR3URPXOJDWHG5DWLQJ%XUHDXV)LOLQJUHTXLUHG1RILOLQJUHTXLUHG

,Q SURPXOJDWHG VWDWHV UDWHV DQG IRUPV DUH FUHDWHG OHJLVODWLYHO\ DQG DUH XVXDOO\ VHW IRUWK LQ D
VWDWH¶V $GPLQLVWUDWLYH &RGH $OO FRPSDQLHV LVVXLQJ WLWOH LQVXUDQFH LQ SURPXOJDWHG VWDWHV PXVW
DGKHUHWRWKHUDWHVVHWIRUWKLQWKH&RGHDQGXVXDOO\PXVWXVHWKHIRUPVSUHVFULEHGE\WKH&RGH
7KH WKUHH SURPXOJDWHG VWDWHV DUH )ORULGD 1HZ 0H[LFR DQG 7H[DV 1HZ 0H[LFR DQG 7H[DV
SUHVFULEHDOOIRUPVWKDWPXVWEHXVHG)ORULGDSUHVFULEHVPDQ\IRUPVSDUWLFXODUO\HQGRUVHPHQWV
EXWWLWOHLQVXUHUVPD\DOVRLQGLYLGXDOO\ILOHWKHLURZQIRUPV
&RS\ULJKW)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 233 of 807
                                                                                                                


$ 5DWLQJ %XUHDX LV FRPSULVHG RI D FRQVRUWLXP RI 7LWOH ,QVXUHUV WKDW SXUVXDQW WR VWDWXWH DUH
SHUPLWWHGWRVHWUDWHVDQGLQPRVWFDVHVSUHVFULEHIRUPVIRUXVHLQDSDUWLFXODUVWDWH$OOUDWHV
VHW E\ DQG IRUPV SUHVFULEHG E\ D UDWLQJ EXUHDX PXVW EH ILOHG ZLWK DQG DSSURYHG E\ WKH VWDWH
DJHQF\ WKDW UHJXODWHV WKH WLWOH LQVXUDQFH LQGXVWU\ 7KH HLJKW UDWLQJ EXUHDX VWDWHV DUH 'HODZDUH
/RXLVLDQD 1HZ -HUVH\ 1HZ <RUN 1RUWK &DUROLQD 2KLR 2UHJRQ DQG 3HQQV\OYDQLD $OO UDWLQJ
EXUHDXV SHUPLW WKH ILOLQJ RI ³DGGLWLRQDO´ UDWHV DQG IRUPV E\ LQGLYLGXDO WLWOH LQVXUHUV WKDW DUH LQ
DGGLWLRQWRWKRVHILOHGE\WKHUDWLQJEXUHDX8QOHVVDQ³DGGLWLRQDO´UDWHRUIRUPLVEHLQJXVHGDOO
WLWOHLQVXUHUVPXVWFKDUJHWKHUDWHVDQGXVHWKHIRUPVFUHDWHGE\WKHUDWLQJEXUHDX

0DQ\VWDWHVUHTXLUHWKDWUDWHVDQGRUIRUPVEHILOHGZLWKDQGDSSURYHGE\WKHVWDWHDJHQF\WKDW
UHJXODWHV WKH WLWOH LQVXUDQFH LQGXVWU\ 6RPH VWDWHV UHTXLUH WKDW ERWK UDWHV DQG IRUPV EH ILOHG
ZKLOH RWKHUV RQO\ UHTXLUH WKDW UDWHV RU IRUPV EH ILOHG ,Q DOO LQVWDQFHV ZKHUH D UDWH RU IRUP LV
UHTXLUHGWREHILOHGWLWOHLQVXUHUVPXVWXVHWKHUDWHDQGRUIRUPILOHGLQWKDWVWDWH,QDVWDWHWKDW
UHTXLUHVUDWHVEXWQRWIRUPVWREHILOHGWLWOHLQVXUHUVPD\QRWLVVXHDQ\WLWOHLQVXUDQFHSURGXFWV
XQWLOWKHUHLVDUDWHILOHGIRUWKRVHSURGXFWV&RQYHUVHO\LQVWDWHVWKDWUHTXLUHIRUPVWREHILOHGEXW
QRWUDWHVQRWLWOHLQVXUDQFHSURGXFWVFDQEHLVVXHGXQWLOWKHDSSOLFDEOHIRUPKDVEHHQILOHG,QDOO
FDVHVZKHUHDILOLQJLVUHTXLUHGWKHILOHGUDWHDQGRUIRUPPXVWEHVXSSRUWHGE\WKHXQGHUZULWHU¶V
ILOHGUDWHPDQXDO

$KDQGIXORIVWDWHVGRQRWUHTXLUHWKDWDQ\UDWHVRUIRUPVEHILOHG7KHVHVWDWHVLQFOXGH'LVWULFWRI
&ROXPELD,OOLQRLV,QGLDQD0DVVDFKXVHWWV0LVVLVVLSSLDQG2NODKRPD(YHQWKRXJKILOLQJVDUHQRW
UHTXLUHG LQ WKHVH VWDWHV VRPH KDYH SXEOLVKHG UDWH PDQXDOV ZKLFK PXVW EH IROORZHG ZKHQ
GHWHUPLQLQJUDWHVWREHXVHGDQGIRUPVWREHLVVXHG6RPHRIWKHVWDWHVSXEOLVKUDWHVRQDORFDO
RUUHJLRQDOEDVLVZKLFKSXEOLVKHGUDWHVVKRXOGEHIROORZHGZKHQLVVXLQJWLWOHLQVXUDQFHSURGXFWV
(DFKXQGHUZULWHULQWKHQRQILOHGVWDWHVKDVDSUHVFULEHGVHWRIIRUPVZKLFKDUHLQWHQGHGIRUXVH
E\DOORSHUDWLRQV

4XHVWLRQV DERXW WKH DSSOLFDWLRQ RI UDWHV RU DSSURYHG IRUPV LQ DQ\ RI WKH VWDWHV VKRXOG EH
GLVFXVVHGZLWKWKH&RPSDQ\¶VXQGHUZULWLQJDGYLVRU

5(0(0%(5:HDUHSURKLELWHGIURPGLVFXVVLQJRUVHWWLQJUDWHVEHWZHHQFRPSDQLHVRXWVLGHRID
5DWLQJ%XUHDX5DWHVPD\RUPD\QRWEHWKHVDPHEHWZHHQFRPSDQLHV




&RS\ULJKW)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 234 of 807
                                                                                                                           

6$03/((1'256(0(17

                                                          (1'256(0(17

                         $                    $WWDFKHGWRDQGIRUPLQJDSDUWRI

                                 3ROLF\RI,QVXUDQFH1RBBBBBBBBBBBBBB )LOHQRBBBBBB 
                                                                 ,VVXHG%\
                                           >)17*%5$1'@7,7/(,1685$1&(&203$1<


%
&
7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW L PRGLI\DQ\RIWKHWHUPVDQG
SURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI
,QVXUDQFH7RWKHH[WHQWDSURYLVLRQRIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRI
WKLVHQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKHWHUPVDQGSURYLVLRQVRI
WKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


'
'DWHG     

                                                                          (     >)17*%5$1'@7,7/(,1685$1&(&203$1<


                                                                              BBBBBBBBBBBBBBBBBBBBBBBBBBBB

                           )          $XWKRUL]HGVLJQDWRU\


$,GHQWLI\WKHSROLF\
%'HVFULEHWKHFRYHUDJH
&,QWHJUDWLRQRU³ERLOHUSODWH´FODXVH
' 'DWH HQGRUVHPHQW LV LVVXHG 127 WKH HIIHFWLYH GDWH RI WKH FRYHUDJH XQOHVV VSHFLILFDOO\
          GHILQHG DV VXFK VHH $/7$  DQG $/7$   ,I WKH HQGRUVHPHQW LV LVVXHG
          FRQWHPSRUDQHRXVO\ZLWKWKHSROLF\LWPD\EHGDWHGZLWKWKHHIIHFWLYH'DWHRI3ROLF\
(,GHQWLI\&RPSDQ\
)6LJQHGE\OLFHQVHGDJHQWRUDXWKRUL]HGSDUW\





&RS\ULJKW)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 235 of 807
                                                                                                              

8VHV

$VZDVPHQWLRQHGDWWKHEHJLQQLQJRIWKLVLQWURGXFWLRQDQHQGRUVHPHQWFDQEHXVHGWRUHVWULFWRU
HQODUJHFRYHUDJH0RVWFRPPRQO\WKH\DUHWRLQFUHDVHFRYHUDJHHLWKHUE\LGHQWLI\LQJDGGLWLRQDO
ULVNV DVVXPHG RU GHOHWLQJ D OLPLWLQJ SURYLVLRQ VXFK DV DQ H[FHSWLRQ RU H[FOXVLRQ $ FDXWLRQ RQ
XVLQJDQHQGRUVHPHQWWRGHFUHDVHFRYHUDJHWKHHQGRUVHPHQWPD\EHHDVLO\UHPRYHGIURPWKH
SROLF\ 7KH SROLF\ PLJKW WKHQ EH RIIHUHG XS DV JLYLQJ FRYHUDJH ZKHUH QRQH ZDV PHDQW $Q
H[DPSOH  HQGRUVLQJ D FRPPLWPHQW WR DGG DQ H[FHSWLRQ VXFK DV DQ DGGLWLRQDO HDVHPHQW QRW
FRQWDLQHG LQ WKH RULJLQDO FRPPLWPHQW ,I WKH SDUW\ LVVXLQJ WKH ILQDO SROLF\ GLG QRW KDYH RU NQRZ
DERXW WKH HQGRUVHPHQW WKH SROLF\ ZRXOG EH LVVXHG ZLWKRXW WKH DGGLWLRQDO H[FHSWLRQ DQG WKLV
PLVWDNHFRXOGEHFDUULHGIRUZDUGLQWKHIXWXUH7KHFXUUHQWLQVXUHGEX\HUPLJKWEHIRXQGWRKDYH
KDGNQRZOHGJHRIWKHPDWWHUDQGEHERXQGE\LWEXWSHUKDSVQRWLWVOHQGHU LIWKH\KDGQRWVHHQ
WKHHQGRUVHPHQW DQGSUHVXPDEO\QRWDIXWXUHEX\HU

$ JRRG UXOH RI WKXPE LV WR XVH DQ HQGRUVHPHQW WR LQFUHDVH OLDELOLW\ DPHQG WKH FRPPLWPHQW RU
SROLF\ WR GHFUHDVH WKH OLDELOLW\ $Q HQGRUVHPHQW UHGXFLQJ WKH $PRXQW RI ,QVXUDQFH DIWHU WKH
FODLPVSURFHVVZRXOGEHDQH[FHSWLRQWRWKLVUXOH

'UDIWLQJ(QGRUVHPHQWV1RW,QFOXGHGLQ7KLV0DQXDO

7KHUHDUHPDQ\LQVWDQFHVLQZKLFKWKH&RPSDQ\ZLOODJUHHWRDVVXPHVSHFLILFOLDELOLW\IRUPDWWHUV
QRWFRYHUHGE\DQ\RIWKHVDPSOHHQGRUVHPHQWVLQFOXGHGZLWKLQWKLVPDQXDO :KHUHDSSURSULDWH
IRUWKRVHHQGRUVHPHQWVFRQWDLQLQJDIILUPDWLYHLQVXUDQFHWKDWZHZDQWWRH[WHQGRQO\DIWHUDFRXUW
GHWHUPLQDWLRQ DVRSSRVHGWRJLYLQJWKHFRYHUDJHDJDLQVWDQDVVHUWLRQRIDQLQWHUHVWRUFKDOOHQJH
WRWKHWLWOHEHIRUHDQDFWLRQLVFRPPHQFHGDVZHVRPHWLPHVPD\EHZLOOLQJWRGR WKHIROORZLQJ
IRUPDWLVSUHIHUUHG

         7KH&RPSDQ\LQVXUHVWKH,QVXUHGDJDLQVWORVVRUGDPDJHWKDWWKH,QVXUHGVKDOOVXVWDLQ
         E\UHDVRQRIWKHHQWU\RIDILQDOQRQDSSHDODEOHRUGHURUMXGJPHQWILQGLQJ««


,I \RX DUH DQ $JHQW DQ\ UHTXHVWV IRU WKLV W\SH RI FRYHUDJH PXVW EH GLVFXVVHG ZLWK \RXU
&RPSDQ\XQGHUZULWLQJDGYLVRU


5HWXUQWR7DEOHRI&RQWHQWV


                                    
&RS\ULJKW)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 236 of 807
                                                                                                                

                   &/7$WR$/7$(1'256(0(17&219(56,21&+$57$62)


&/7$               $/7$       'HVFULSWLRQ                                                              $GRSWLRQ
                                                                                                              S
                                                                                                           5HY 
                         0RUWJDJH7D[                                                             
                          6WUHHW$VVHVVPHQWV                                                       
              3ULYDWH5LJKWV/RDQ                                                    
              5HVWULFWLRQV(QFURDFKPHQWV0LQHUDOV±/DQGXQGHU'HYHORSPHQW/RDQ      
              &RYHQDQWV&RQGLWLRQVDQG5HVWULFWLRQV/DQGXQGHU'HYHORSPHQW2ZQHUV     
                                                                                                           7HFK
                                                                                                          &RUUHFWLRQ
                                                                                                           
             &RYHQDQWV&RQGLWLRQVDQG5HVWULFWLRQV                                    
                                2ZQHU V3ROLF\,PSURYHG/DQG 
            5HVWULFWLRQV(QFURDFKPHQWV0LQHUDOV±&XUUHQW9LRODWLRQV/RDQ           
            &RYHQDQWV&RQGLWLRQVDQG5HVWULFWLRQV/RDQ                                
              5HVWULFWLRQV(QFURDFKPHQWV0LQHUDOV)XWXUH,PSURYHPHQWVUH0LQHUDOV    :LWKGUDZQ
                                ([WUDFWLRQ±238QLPSURYHG/DQG                                            
              5HVWULFWLRQV(QFURDFKPHQWV0LQHUDOV±)XWXUH,PSURYHPHQWVUH0LQHUDOV     :LWKGUDZQ
                                ([WUDFWLRQ23±,PSURYHG/DQG                                             
              3ULYDWH5LJKWV±2ZQHU¶V                                                    
                5HVWULFWLRQV(QFURDFKPHQWV 0LQHUDOV/RDQ                                 
              &RYHQDQWV&RQGLWLRQVDQG5HVWULFWLRQV                                     
                                2ZQHU V3ROLF\8QLPSURYHG/DQG                                        
                 (DVHPHQW±'DPDJHRU(QIRUFHG5HPRYDO                                    
                $FFHVVDQG(QWU\                                                         
              ,QGLUHFW$FFHVVDQG(QWU\                                                
              8WLOLW\$FFHVV                                                           
              (QFURDFKPHQWV%RXQGDULHVDQG(DVHPHQWV                                   
              (QFURDFKPHQWV%RXQGDULHVDQG(DVHPHQWV±'HVFULEHG,PSURYHPHQWV          
                $VVLJQPHQWRI0RUWJDJH                                                      
              $VVLJQPHQWDQG'DWH'RZQ                                                    
                 $VVLJQPHQWRI5HQWVRU/HDVHV                                           
            0RUWJDJH0RGLILFDWLRQZLWK6XERUGLQDWLRQ                                 
                0RUWJDJH0RGLILFDWLRQ                                                    
              &RPPHUFLDO(QYLURQPHQWDO3URWHFWLRQ/LHQ                                 
                (QYLURQPHQWDO3URWHFWLRQ/LHQ                                            
          )XWXUH$GYDQFH.QRZOHGJH>6HH1RWHIRU$/7$@                            
          )XWXUH$GYDQFH/HWWHURI&UHGLW>6HH1RWHIRU$/7$@                     
         )XWXUH$GYDQFH5HYHUVH0RUWJDJH>6HH1RWHIRU$/7$@                      
                                                                                                            7HFK
                                                                                                          &RUUHFWLRQ
                                                                                                           
               )XWXUH$GYDQFH3ULRULW\>1RWH9HUVLRQ$JLYHV0/&RYHUDJH9HUVLRQ%      
                               'RHV1RW@
                  9DULDEOHUDWH                                                                
                9DULDEOH5DWH1HJDWLYH$PRUWL]DWLRQ                                        
                 &R,QVXUDQFH±6LQJOH3ROLF\                                    
                  &RQGRPLQLXP                                                                  
                  3ODQQHG8QLW'HYHORSPHQW                                                     
                &RQGRPLQLXP IRU19 +,QRW&$                                              
                3ODQQHG8QLW'HYHORSPHQW IRU19 +,QRW&$                                 
                /RFDWLRQ                                                                
              /RFDWLRQ 0DS                                                           
             6DPHDV3RUWLRQRI6XUYH\                                               
                 6DPHDV6XUYH\                                                           
               &RQWLJXLW\0XOWLSOH3DUFHOV                                              
               &RQWLJXLW\6LQJOH3DUFHO                                                 
             0DQXIDFWXUHG+RXVLQJ8QLW&RQYHUVLRQ/RDQ                               
             0DQXIDFWXUHG+RXVLQJ8QLW&RQYHUVLRQ2ZQHU¶V                            
                  0DQXIDFWXUHG+RXVLQJ8QLW                                                
                 6XEGLYLVLRQ                                                              
               $JJUHJDWLRQ±6WDWH/LPLWV±/RDQ                                        
                   $JJUHJDWLRQ/RDQ                                                           
               /HDVHKROG±2ZQHU¶V                                                      
             /HDVHKROG±/RDQ                                                         
                  =RQLQJ±8QLPSURYHG/DQG                                                 
                =RQLQJ±,PSURYHG/DQG                                                       
&RS\ULJKW)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 237 of 807
                                                                                                         

          =RQLQJ±/DQG8QGHU'HYHORSPHQW 23RU/3                               
                                                                                                    7HFK
                                                                                                   &RUUHFWLRQ
                                                                                                    
              7UXWKLQ/HQGLQJ                                                        
         1RQLPSXWDWLRQ$GGLWLRQDO,QVXUHG>2ZQHU¶V3ROLF\2QO\@                 
         1RQLPSXWDWLRQ3DUWLDO(TXLW\7UDQVIHU>2ZQHU¶V3ROLF\2QO\@            
             1RQLPSXWDWLRQ)XOO(TXLW\7UDQVIHU>2ZQHU¶V3ROLF\2QO\@               
             0H]]DQLQH)LQDQFLQJ>2ZQHU¶V3ROLF\2QO\@                               
         0XOWLSOH7D[3DUFHOV                                                    
             6LQJOH7D[3DUFHO                                                       
             )LUVW/RVV 0XOWLSOH3DUFHOV 7UDQVDFWLRQ>/RDQ3ROLF\2QO\@            
             &UHGLWRUV¶5LJKWV 'HFHUWLILFDWLRQHIIHFWLYH                   
             8VXU\                                                                   
             'RLQJ%XVLQHVV                                                          
         ,QWHUHVW5DWH6:$3$GGLWLRQDO,QWHUHVW                                  
         ,QWHUHVW5DWH6:$3'LUHFW2EOLJDWLRQ±'HILQHG$PRXQW                   
         ,QWHUHVW5DWH6:$3$GGLWLRQDO,QWHUHVW±'HILQHG$PRXQW                 
             ,QWHUHVW5DWH6:$3'LUHFW2EOLJDWLRQ                                    
         &RPPHUFLDO3DUWLFLSDWLRQ,QWHUHVW                                      
             6KDUHG$SSUHFLDWLRQ0RUWJDJH                                            
            6HYHUDEOH,PSURYHPHQWV                                                  
        &RQVWUXFWLRQ/RDQ±/RVVRI3ULRULW\±'LUHFW3D\PHQW                     
         &RQVWUXFWLRQ/RDQ±/RVVRI3ULRULW\±,QVXUHG¶V'LUHFW3D\PHQW           
             &RQVWUXFWLRQ/RDQ±/RVVRI3ULRULW\                                    
            'LVEXUVHPHQW(QGRUVHPHQW                                               
             ,GHQWLILHG5LVN&RYHUDJH                                                
         0LQHUDOVDQG2WKHU6XEVXUIDFH6XEVWDQFHV'HVFULEHG,PSURYHPHQWV±23     
                          RU/3
         0LQHUDOVDQG2WKHU6XEVXUIDFH6XEVWDQFHV,PSURYHPHQWV23RU/3B        
         0LQHUDOVDQG2WKHU6XEVXUIDFH6XEVWDQFHV/DQG8QGHU'HYHORSPHQW23RU   
                          /3
             0LQHUDOVDQG2WKHU6XEVXUIDFH6XEVWDQFHV±%XLOGLQJV23RU/3           
         (QHUJ\3URMHFW/HDVHKROG(DVHPHQW/3                                    
         (QHUJ\3URMHFW/HDVHKROG23                                             
         (QHUJ\3URMHFW/HDVHKROG/3                                             
         (QHUJ\3URMHFW&&DQG5V/DQG8QGHU'HYHORSPHQW23                    
         (QHUJ\3URMHFW&&DQG5V/DQG8QGHU'HYHORSPHQW/3                    
         (QHUJ\3URMHFW(QFURDFKPHQWV/3RU23                                  
             (QHUJ\3URMHFW/HDVHKROG(DVHPHQW23                                    
             3ROLF\$XWKHQWLFDWLRQ                                                   

&/7$WR$/7$(QGRUVHPHQW&RQYHUVLRQ&KDUW 5HY 






5HWXUQWR7DEOHRI&RQWHQWV

                               




&RS\ULJKW)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 238 of 807
                                                                                                          

$/7$WR&/7$(1'256(0(17&219(56,21&+$57$62)
                                   

$/7$        &/7$                'HVFULSWLRQ                                                              $GRSWLRQ 5HY 
                            6WUHHW$VVHVVPHQWV                                                       
                      7UXWKLQ/HQGLQJ                                                         
                    =RQLQJ±8QLPSURYHG/DQG                                                 
                  =RQLQJ±,PSURYHG/DQG                                                      
                  =RQLQJ±/DQG8QGHU'HYHORSPHQW 23RU/3                                 7HFK
                                                                                                            &RUUHFWLRQ
                                                                                                             
                    &RQGRPLQLXP                                                                 
                  &RQGRPLQLXP IRU19 +,QRW&$                                             
                    3ODQQHG8QLW'HYHORSPHQW                                                    
                  3ODQQHG8QLW'HYHORSPHQW IRU19 +,QRW&$                                
                    9DULDEOHUDWH                                                               
                  9DULDEOH5DWH1HJDWLYH$PRUWL]DWLRQ                                       
                    0DQXIDFWXUHG+RXVLQJ8QLW                                                
               0DQXIDFWXUHG+RXVLQJ8QLW&RQYHUVLRQ/RDQ                               
               0DQXIDFWXUHG+RXVLQJ8QLW&RQYHUVLRQ2ZQHU¶V                            
                  (QYLURQPHQWDO3URWHFWLRQ/LHQ                                            
                &RPPHUFLDO(QYLURQPHQWDO3URWHFWLRQ/LHQ                                 
                  5HVWULFWLRQV(QFURDFKPHQWV 0LQHUDOV/RDQ                                 
                &RYHQDQWV&RQGLWLRQVDQG5HVWULFWLRQV                                     
                                 2ZQHU V3ROLF\8QLPSURYHG/DQG                                         
               &RYHQDQWV&RQGLWLRQVDQG5HVWULFWLRQV                                     
                                 2ZQHU V3ROLF\,PSURYHG/DQG 
              &RYHQDQWV&RQGLWLRQVDQG5HVWULFWLRQV/RDQ                               
                5HVWULFWLRQV(QFURDFKPHQWV0LQHUDOV)XWXUH,PSURYHPHQWVUH0LQHUDOV    :LWKGUDZQ
                                  ([WUDFWLRQ±238QLPSURYHG/DQG                                            
                5HVWULFWLRQV(QFURDFKPHQWV0LQHUDOV±)XWXUH,PSURYHPHQWVUH0LQHUDOV    :LWKGUDZQ
                                  ([WUDFWLRQ23±,PSURYHG/DQG                                             
                3ULYDWH5LJKWV/RDQ                                                    
                5HVWULFWLRQV(QFURDFKPHQWV0LQHUDOV±/DQGXQGHU'HYHORSPHQW/RDQ      
                &RYHQDQWV&RQGLWLRQVDQG5HVWULFWLRQV/DQGXQGHU'HYHORSPHQW2ZQHUV      7HFK
                                                                                                            &RUUHFWLRQ
                                                                                                             
                3ULYDWH5LJKWV±2ZQHU¶V                                                   
              5HVWULFWLRQV(QFURDFKPHQWV0LQHUDOV±&XUUHQW9LRODWLRQV/RDQ          
                  $VVLJQPHQWRI0RUWJDJH                                                     
                $VVLJQPHQWDQG'DWH'RZQ                                                   
                  0RUWJDJH0RGLILFDWLRQ                                                    
              0RUWJDJH0RGLILFDWLRQZLWK6XERUGLQDWLRQ                                 
                     $JJUHJDWLRQ/RDQ                                                         
                 $JJUHJDWLRQ±6WDWH/LPLWV±/RDQ                                        
                 /HDVHKROG±2ZQHU¶V                                                      
               /HDVHKROG±/RDQ                                                         
                 )XWXUH$GYDQFH3ULRULW\>1RWH9HUVLRQ$JLYHV0/&RYHUDJH9HUVLRQ%      
                                 'RHV1RW@
            )XWXUH$GYDQFH.QRZOHGJH>6HH1RWHIRU$/7$@                            
            )XWXUH$GYDQFH/HWWHURI&UHGLW>6HH1RWHIRU$/7$@                     
           )XWXUH$GYDQFH5HYHUVH0RUWJDJH>6HH1RWHIRU$/7$@                     
                                                                                                             7HFK
                                                                                                            &RUUHFWLRQ
                                                                                                             
                     1RQLPSXWDWLRQ)XOO(TXLW\7UDQVIHU>2ZQHU¶V3ROLF\2QO\@                
                 1RQLPSXWDWLRQ$GGLWLRQDO,QVXUHG>2ZQHU¶V3ROLF\2QO\@                  
                 1RQLPSXWDWLRQ3DUWLDO(TXLW\7UDQVIHU>2ZQHU¶V3ROLF\2QO\@             
                     0H]]DQLQH)LQDQFLQJ>2ZQHU¶V3ROLF\2QO\@                                
                  $FFHVVDQG(QWU\                                                         
                ,QGLUHFW$FFHVVDQG(QWU\                                                
                8WLOLW\$FFHVV                                                           
                     6LQJOH7D[3DUFHO                                                        
                 0XOWLSOH7D[3DUFHOV                                                     
                 &RQWLJXLW\0XOWLSOH3DUFHOV                                              
                 &RQWLJXLW\6LQJOH3DUFHO                                                 
                     )LUVW/RVV 0XOWLSOH3DUFHOV 7UDQVDFWLRQ>/RDQ3ROLF\2QO\@             
                     &UHGLWRUV¶5LJKWV 'HFHUWLILFDWLRQHIIHFWLYH                    
                  /RFDWLRQ                                                                
&RS\ULJKW)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 239 of 807
                                                                                                       

                /RFDWLRQ 0DS                                                        
                   &R,QVXUDQFH±6LQJOH3ROLF\                                 
                     'RLQJ%XVLQHVV                                                        
                   6DPHDV6XUYH\                                                        
               6DPHDV3RUWLRQRI6XUYH\                                            
                   6XEGLYLVLRQ                                                           
                     8VXU\                                                                 
                   (DVHPHQW±'DPDJHRU(QIRUFHG5HPRYDO                                 
                (QFURDFKPHQWV%RXQGDULHVDQG(DVHPHQWV                                
                (QFURDFKPHQWV%RXQGDULHVDQG(DVHPHQWV±'HVFULEHG                    
                                  ,PSURYHPHQWV
                     ,QWHUHVW5DWH6:$3'LUHFW2EOLJDWLRQ                                  
                 ,QWHUHVW5DWH6:$3$GGLWLRQDO,QWHUHVW                                
                 ,QWHUHVW5DWH6:$3'LUHFW2EOLJDWLRQ±'HILQHG$PRXQW                 
                 ,QWHUHVW5DWH6:$3$GGLWLRQDO,QWHUHVW±'HILQHG$PRXQW               
                     6KDUHG$SSUHFLDWLRQ0RUWJDJH                                          
                 &RPPHUFLDO3DUWLFLSDWLRQ,QWHUHVW                                    
                    6HYHUDEOH,PSURYHPHQWV                                                
                     &RQVWUXFWLRQ/RDQ±/RVVRI3ULRULW\                                  
                &RQVWUXFWLRQ/RDQ±/RVVRI3ULRULW\±'LUHFW3D\PHQW                   
                 &RQVWUXFWLRQ/RDQ±/RVVRI3ULRULW\±,QVXUHG¶V'LUHFW3D\PHQW         
                    'LVEXUVHPHQW(QGRUVHPHQW                                             
                     ,GHQWLILHG5LVN&RYHUDJH                                              
                     0LQHUDOVDQG2WKHU6XEVXUIDFH6XEVWDQFHV±%XLOGLQJV23RU/3         
                 0LQHUDOVDQG2WKHU6XEVXUIDFH6XEVWDQFHV'HVFULEHG,PSURYHPHQWV±23   
                                  RU/3
                 0LQHUDOVDQG2WKHU6XEVXUIDFH6XEVWDQFHV,PSURYHPHQWV23RU/3B      
                 0LQHUDOVDQG2WKHU6XEVXUIDFH6XEVWDQFHV/DQG8QGHU'HYHORSPHQW23    
                                  RU/3
                     (QHUJ\3URMHFW/HDVHKROG(DVHPHQW23                                  
                 (QHUJ\3URMHFW/HDVHKROG(DVHPHQW/3                                  
                 (QHUJ\3URMHFW/HDVHKROG23                                           
                 (QHUJ\3URMHFW/HDVHKROG/3                                           
                 (QHUJ\3URMHFW&&DQG5V/DQG8QGHU'HYHORSPHQW23                  
                 (QHUJ\3URMHFW&&DQG5V/DQG8QGHU'HYHORSPHQW/3                  
                 (QHUJ\3URMHFW(QFURDFKPHQWV/3RU23                                
                   $VVLJQPHQWRI5HQWVRU/HDVHV                                        
                           0RUWJDJH7D[                                                          
                     3ROLF\$XWKHQWLFDWLRQ                                                 




$/7$WR&/7$(QGRUVHPHQW&RQYHUVLRQ&KDUW 5HY 
3UHSDUHGE\3DXO)ORUHV

5HWXUQWR7DEOHRI&RQWHQWV




&RS\ULJKW)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 240 of 807
ENDORSEMENT MANUAL – Fidelity National Title Group, Inc.                                         SECTION 1
                                         

5HWXUQWR7DEOHRI&RQWHQWV 

                                        675((7$66(660(176

                                 $/7$(1'256(0(17)250
                                                       
                                                385326(
7KHUHSDLUDQGPDLQWHQDQFHRISXEOLFVWUHHWVLVHLWKHUFRQWUDFWHGIRUE\DJRYHUQPHQWDOERG\RU
GRQH GLUHFWO\ E\ JRYHUQPHQW HPSOR\HHV  7KH SURSHUW\ RZQHUV DGMRLQLQJ WKH VWUHHWV RU LQ WKH
JHQHUDOO\ EHQHILWHG DUHD DUH XVXDOO\ DVVHVVHG WKH FRVWV RI WKH ZRUN RQ VRPH EDVLV  7KH
JRYHUQPHQWDOERG\LVDOPRVWXQLYHUVDOO\JLYHQDOLHQWRVHFXUHWKHSD\PHQWRIWKLVDVVHVVPHQW

7KLV HQGRUVHPHQW LV FRQFHUQHG ZLWK WKH SULRULW\ RI WKDW OLHQ LI WKH LPSURYHPHQWV DUH HLWKHU LQ
SURFHVVRUFRPSOHWHGDWWKH'DWHRI3ROLF\,IWKLVOLHQLVSULRUWRWKHOLHQRIWKH,QVXUHG0RUWJDJH
DQGWKHDVVHVVPHQWVDUHQRWSDLGE\WKHERUURZHUWKHOHQGHUZLOOKDYHWRSD\WKHPLQRUGHUWR
VWRS D WD[ IRUHFORVXUH  7KLV HQGRUVHPHQW FRYHUV WKH ORVV RU GDPDJH ZKLFK WKH OHQGHU PD\
VXVWDLQE\KDYLQJWRSD\WKHDVVHVVPHQWVZKLFKKDYHJDLQHGSULRULW\RYHUWKH,QVXUHG0RUWJDJH
:KHWKHU WKH DVVHVVPHQW OLHQ KDV SULRULW\ DW WKH 'DWH RI 3ROLF\ RU JDLQV WKDW SULRULW\ ODWHU LV
LPPDWHULDO7KLVHQGRUVHPHQWFRYHUVWKHOHQGHULQHLWKHUHYHQW

                    6(&7,212)7+(32/,&<$0(1'('%<(1'256(0(17

7KLVHQGRUVHPHQWLVLQFRUSRUDWHGLQWRWKHWHUPVRIWKH$/7$/RDQ3ROLF\LQXVHLQVRPHVWDWHV
SDUWLFXODUO\ LQ WKH :HVW  7KRVH SROLFLHV FRQWDLQ WKH QRWH WKDW WKH\ LQFOXGH ³$/7$ )RUP 
&RYHUDJH´7KHLQVWUXFWLRQVVHWRXWEHORZVKRXOGEHIROORZHGZKHQLVVXLQJVXFKDSROLF\IRUPRU
WKH)RUPHQGRUVHPHQW

                                 %$6,6)253529,',1*&29(5$*(

7KLVHQGRUVHPHQWPD\EHLVVXHGWRDOO$/7$/RDQ3ROLFLHVXQGHUWKHIROORZLQJFLUFXPVWDQFHV

      $FFHVVWRWKH/DQGLVE\DSULYDWHHDVHPHQWDQGWKHODQGRUHDVHPHQWGRHVQRWDGMRLQD
         SXEOLFVWUHHWRUJHQHUDOO\EHQHILWHGDUHD
         
      $W 'DWH RI 3ROLF\ WKHUH DUH QR VWUHHW LPSURYHPHQWV XQGHU FRQVWUXFWLRQ RU UHFHQWO\
         FRPSOHWHGZKLFKFRXOGJHQHUDWHDODWHUDVVHVVPHQWOLHQ
         
      7KH ,QVXUHG 0RUWJDJH LV UHFRUGHG SULRU WR WKH FRPPHQFHPHQW RI ZRUN RQ QHZ
         VXEGLYLVLRQVWUHHWVRURWKHUVWUHHWVDGMRLQLQJWKH/DQGRULQWKHJHQHUDOO\EHQHILWHGDUHD

)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 241 of 807
ENDORSEMENT MANUAL – Fidelity National Title Group, Inc.                                         SECTION 1
                                         

         
      $OO VWUHHW LPSURYHPHQWV DUH FXUUHQWO\ FRPSOHWH DQG \RX KDYH GHWHUPLQHG WKDW WKH
         DVVHVVPHQWVIRUWKHPKDYHEHHQIXOO\SDLG

      7KH OLHQ VHFXULQJ WKH VWUHHW DVVHVVPHQWV DWWDFKHV WR WKH WLWOH WR WKH /DQG DIWHU WKH
         ,QVXUHG0RUWJDJHLVUHFRUGHGDQGGRHVQRWUHODWHEDFNWRDSULRUSRLQWLQWLPH:KLOHWKLV
         LVDSRVVLELOLW\LWLVYHU\XQOLNHO\7KHODZXVXDOO\JLYHVJRYHUQPHQWDOXQLWVDVVHVVPHQW
         OLHQV WKH VDPH SULRULW\ DV UHDO HVWDWH WD[ OLHQV  7KHUHIRUH EHIRUH SURFHHGLQJ RQ WKLV
         EDVLV\RXPXVWREWDLQWKHDSSURYDORIWKH&RPSDQ\¶VXQGHUZULWLQJDGYLVHU

<RXPXVWREWDLQWKHDSSURYDORIWKH &RPSDQ\¶VXQGHUZULWLQJDGYLVHUWRLVVXHWKLVHQGRUVHPHQW
RQDQ\EDVLVRWKHUWKDQDVVSHFLILHGDERYH


                                             02',),&$7,21
                                                       
,Q WKH HYHQW WKDW PRGLILFDWLRQ RI DQ HQGRUVHPHQW LV UHTXHVWHG LW LV QHFHVVDU\ WR FRQVLGHU \RXU
VWDWHUHJXODWRU\UHTXLUHPHQWVIRUILOLQJDQGDSSURYDORIIRUPV,IWKHHQGRUVHPHQWLVPRGLILHGWKH
HQGRUVHPHQWLVQRWDQ$/7$IRUPDQGVKRXOGQRWUHIHUHQFH$/7$LQWKHWLWOH<RXPXVWREWDLQ
WKH DSSURYDO RI WKH &RPSDQ\¶V XQGHUZULWLQJ DGYLVHU EHIRUH FRPSO\LQJ ZLWK DQ\ UHTXHVW IRU D
PRGLILFDWLRQ





5HWXUQWR7DEOHRI&RQWHQWV




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 242 of 807
ENDORSEMENT MANUAL – Fidelity National Title Group, Inc.                                            SECTION 1
                                         

(1'256(0(17
                                       $WWDFKHGWR3ROLF\1RBBBBBB
                                                 ,VVXHGE\
                                             >)17*%5$1'@


           7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRIWKH
ODFN RI SULRULW\ RI WKH OLHQ RI WKH ,QVXUHG 0RUWJDJH RYHU WKH OLHQ RI DQ\ DVVHVVPHQWV IRU VWUHHW
LPSURYHPHQWVXQGHUFRQVWUXFWLRQRUFRPSOHWHGDW'DWHRI3ROLF\

           
           7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


>:LWQHVV&ODXVH2SWLRQDO@


'$7('

>)17*%5$1'@
          
%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBB
$87+25,=('6,*1$725<
       
       
       
       
       
       
       
       
       
       
       
       
       
       
       
       
       
       
       
       
$/7$(QGRUVHPHQW)RUP
6WUHHW$VVHVVPHQWV   
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ
                                                        




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 243 of 807
ENDORSEMENT MANUAL – Fidelity National Title Group, Inc.                                 SECTION 2

                                                                                                     

5HWXUQWR7DEOHRI&RQWHQWV             
                                       7587+,1/(1',1*
                              $/7$(1'256(0(17)250
                                                  
                                              385326(

7KLVHQGRUVHPHQWLVIRUORDQSROLFLHVRQO\,WSURYLGHVLQVXUDQFHDJDLQVWVRPHORVVHVWKH,QVXUHG
PD\VXIIHULIWKHERUURZHUH[HUFLVHVDULJKWRIUHVFLVVLRQXQGHU5HJXODWLRQ=RIWKH)HGHUDO7UXWK
LQ/HQGLQJ$FW7REHFRYHUHGWKHORVVZRXOGKDYHWRFRPHIURPDWHUPLQDWLRQRIWKHPRUWJDJH
OLHQRUWKHYRLGLQJRIWKH7LWOHRIDPRUWJDJHHZKRDFTXLUHGLWLQDSURSHUIRUHFORVXUHRUZRUNRXW

                  6(&7,212)7+(32/,&<$0(1'('%<(1'256(0(17

7KLV HQGRUVHPHQW DPHQGV ([FOXVLRQV IURP &RYHUDJH 1R  RI WKH $/7$ /RDQ 3ROLF\  7KLV
VHFWLRQHOLPLQDWHVWKHSROLF\FRYHUDJHIRUHQIRUFHDELOLW\RIWKH,QVXUHG0RUWJDJHLIHQIRUFHDELOLW\
LVGHQLHGEHFDXVHRIXVXU\RUYLRODWLRQRIDQ\FRQVXPHUFUHGLWSURWHFWLRQRUWUXWKLQOHQGLQJODZ

                              %$6,6)253529,',1*&29(5$*(

7KLV HQGRUVHPHQW LV QRW WR EH LVVXHG RQ WKH EDVLV RI WKH OHQGHU¶V FRPSOLDQFH ZLWK
5HJXODWLRQ=,WLVWREHLVVXHGRQO\LIWKHWUDQVDFWLRQLVQRWFRYHUHGE\WKHUHJXODWLRQ)RURXU
SXUSRVHVWKLVLQFOXGHVRQO\WUDQVDFWLRQVLQZKLFK

        7KHERUURZHULVDFRUSRUDWLRQSDUWQHUVKLSRUJRYHUQPHQWDOXQLWRU
        
        7KHORDQLVIRUQRQDJULFXOWXUDOEXVLQHVVRUFRPPHUFLDOSXUSRVHV

&$87,21  /2$16 6(&85(' %< 2:1(5 2&&83,(' 6,1*/( )$0,/< ':(//,1*6 &$1
1(9(5%(&216,'(5('/2$16)25&200(5&,$/385326(6

<RXPXVWREWDLQWKHDXWKRULW\RIWKH&RPSDQ\¶VXQGHUZULWLQJDGYLVHUEHIRUHKRQRULQJDQ\UHTXHVW
WRLVVXHWKLVHQGRUVHPHQWLQDQ\FDVHQRWVSHFLILHGDERYH





)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 244 of 807
ENDORSEMENT MANUAL – Fidelity National Title Group, Inc.                                         SECTION 2

                                                                                                            

                                             02',),&$7,21
                                                       
,Q WKH HYHQW WKDW PRGLILFDWLRQ RI DQ HQGRUVHPHQW LV UHTXHVWHG LW LV QHFHVVDU\ WR FRQVLGHU \RXU
VWDWHUHJXODWRU\UHTXLUHPHQWVIRUILOLQJDQGDSSURYDORIIRUPV,IWKHHQGRUVHPHQWLVPRGLILHGWKH
HQGRUVHPHQWLVQRWDQ$/7$IRUPDQGVKRXOGQRWUHIHUHQFHWKDWLQWKHWLWOH<RXPXVWREWDLQWKH
DSSURYDO RI WKH &RPSDQ\¶V XQGHUZULWLQJ DGYLVHU EHIRUH FRPSO\LQJ ZLWK DQ\ UHTXHVW IRU D
PRGLILFDWLRQ

5HWXUQWR7DEOHRI&RQWHQWV




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 245 of 807
ENDORSEMENT MANUAL – Fidelity National Title Group, Inc.                                      SECTION 2

                                                                                                        

                                             (1'256(0(17
                                       $WWDFKHGWR3ROLF\1RBBBBBB
                                                 ,VVXHGE\
                                              >)17*%5$1'@

          7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI

          DQ\ILQDOMXGJPHQWRIDFRXUWRIFRPSHWHQWMXULVGLFWLRQWKDWHLWKHUWKHOLHQRIWKH,QVXUHG
          0RUWJDJHKDVEHHQWHUPLQDWHGRUWKH7LWOHRIDQ,QVXUHGZKRKDVDFTXLUHGDOORUDQ\SDUW
          RIWKH/DQGE\IRUHFORVXUHWUXVWHH VVDOHFRQYH\DQFHLQOLHXRIIRUHFORVXUHRURWKHUOHJDO
          PDQQHUZKLFKGLVFKDUJHVWKHOLHQRIWKH,QVXUHG0RUWJDJHKDVEHHQGHIHDWHGE\DYDOLG
          H[HUFLVHRIWKHULJKWRIUHVFLVVLRQFRQIHUUHGE\WKH)HGHUDO7UXWKLQ/HQGLQJ$FWDQGWKDW
          WKHULJKWRUULJKWVRIUHVFLVVLRQH[LVWHGEHFDXVHQHLWKHUWKHFUHGLWWUDQVDFWLRQHYLGHQFHG
          E\ WKH ,QVXUHG 0RUWJDJH QRU WKH ULJKW RI UHVFLVVLRQ ZDV H[HPSWHG RU H[FHSWHG E\ WKH
          SURYLVLRQVRI5HJXODWLRQ= &)5 

          7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW
 L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
 LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


>:LWQHVV2SWLRQDO@


'$7('

>)17*%5$1'@
       
%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBB
$87+25,=('6,*1$725<
     
                                                                                                              









$/7$(QGRUVHPHQW)RUP
7UXWKLQ/HQGLQJ   
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ





)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 246 of 807
ENDORSEMENT MANUAL – Fidelity National Title Group, Inc.                                      SECTION 3

                                                                                                        

5HWXUQWR7DEOHRI&RQWHQWV
                                               =21,1*
                       $/7$(1'256(0(17)2506DQG
                                                    
&$87,21  =21,1* ,1685$1&( &2167,787(6 $1 (;75$ +$=$5'286 5,6.
7+(5()25( 12 =21,1* (1'256(0(17 ,6 72 %( ,668(' :,7+287 7+( (;35(66
$87+25,=$7,212)7+(&203$1<¶681'(5:5,7,1*$'9,6(5

                                              385326(
                                                    
7KHVHIRUPVFDUHIXOO\VHOHFWFHUWDLQ ]RQLQJ LVVXHVIRUFRYHUDJH 7KH\GRQRWSURYLGH XQOLPLWHG
]RQLQJLQVXUDQFH

$/7$(QGRUVHPHQW)RUP =RQLQJ8QLPSURYHG/DQG 

7KLVHQGRUVHPHQWSURYLGHVLQVXUDQFHZLWKUHVSHFWWRWKH]RQLQJFODVVLILFDWLRQFRYHULQJWKH/DQG
DQGWKHXVHVSHUPLWWHGRQWKH/DQGLQWKDW]RQH,WDOVRLQVXUHVDJDLQVWORVVLIDQ\RIWKRVHXVHV
DUHSURKLELWHGE\DFRXUWRUGHUWKDWLQYDOLGDWHVWKH]RQLQJRUGLQDQFH+RZHYHULWGRHVQRWLQVXUH
DJDLQVWORVVHVVXIIHUHGEHFDXVHWKH/DQGFDQ¶WEHVROGRUPRUWJDJHGGXHWRDQ\]RQLQJSUREOHP
7KLVHQGRUVHPHQWLVDSSURSULDWHIRUERWKYDFDQWDQGLPSURYHGODQG

$/7$(QGRUVHPHQW =RQLQJ&RPSOHWHG6WUXFWXUH 

7KLV HQGRUVHPHQW SURYLGHV WKH VDPH FRYHUDJH DV (QGRUVHPHQW )RUP  DERYH DQG LV
VXEMHFWWRWKHVDPHOLPLWDWLRQV,WDOVRLQVXUHVDJDLQVWORVVHVIURPFRXUWRUGHUVZKLFK

        3URKLELW XVH RI WKH /DQG IRU VSHFLILHG SXUSRVHV DOORZHG E\ WKH ]RQLQJ EHFDXVH
        FHUWDLQSK\VLFDOFKDUDFWHULVWLFVRIWKH/DQGYLRODWHWKHRUGLQDQFHDQG
        
        5HTXLUHUHPRYDORUPRGLILFDWLRQRIWKHVWUXFWXUHORFDWHGRQWKH/DQGGXHWRWKHVH
        YLRODWLRQV
        
7KLVHQGRUVHPHQWLVLVVXHGIRUSROLFLHVFRYHULQJLPSURYHGSURSHUW\

$/7$(QGRUVHPHQW =RQLQJ±/DQG8QGHU'HYHORSPHQW 

7KLVHQGRUVHPHQWEHFDPHHIIHFWLYHRQ$SULODQGH[WHQGVWKHFRYHUDJHDYDLODEOHLQWKH

(QGRUVHPHQW)RUP7KDWFRYHUDJHSUHYLRXVO\RQO\DYDLODEOHIRU/DQGZKLFKFRQWDLQHG
)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG
    Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 247 of 807
    ENDORSEMENT MANUAL – Fidelity National Title Group, Inc.                                     SECTION 3

                                                                                                           
    
    H[LVWLQJLPSURYHPHQWVFDQQRZEHJLYHQIRU/DQGRQZKLFKSURSRVHGEXLOGLQJVDUHWREHEXLOWRU

    FRQVWUXFWHGLIWKHSURSRVHGEXLOGLQJLVEXLOWRUFRQVWUXFWHGDFFRUGLQJWRVLWHDQGHOHYDWLRQSODQV

    LGHQWLILHGWKHUHLQ

    

    7KLV HQGRUVHPHQW LV LVVXHG IRU SROLFLHV FRYHULQJ SURSHUW\ XSRQ ZKLFK LPSURYHPHQWV DUH WR EH

    EXLOWRUFRQVWUXFWHG>DWHFKQLFDOFRUUHFWLRQWRWKHODQJXDJHZDVPDGHE\$/7$@

    
    6(&7,212)7+(32/,&<$0(1'('%<7+((1'256(0(17
    
    7KHVHHQGRUVHPHQWVDPHQG([FOXVLRQVIURP&RYHUDJH1R D RIWKH$/7$2ZQHU¶VDQG/RDQ
    3ROLFLHV  8VH ZLWK RWKHU SROLF\ YHUVLRQV PXVW EH DSSURYHG E\ \RXU &RPSDQ\¶V XQGHUZULWLQJ
    DGYLVRU
                                                        
                                   %$6,6)253529,',1*&29(5$*(
    
    &$87,21  $ &(57,),&$7( )520 $ =21,1* 25 3/$11,1* $87+25,7< 25 $ /(77(5
    )520 $ 081,&,3$/,7< $ 62&$//(' 081,/(77(5 ,6 127 $ 68)),&,(17 %$6,6 )25
    $1< '(7(50,1$7,21 72 %( 0$'( %(/2:  7+(6( /(77(56 '2 127 (6723 7+(
    $87+25,7< 25 081,&,3$/,7< ,) 7+(< $5( ,1&255(&7  )857+(5025( 7+(< '2
    127&29(5&2167,787,21$/,7<&21&(516256327=21,1*352%/(06
    
          :HPXVW GHWHUPLQH WKH ]RQH GHVLJQDWLRQ LQ ZKLFK WKH /DQG OLHV IURP WKH PRVW UHFHQW
             RIILFLDO]RQLQJPDSV

            $OORIWKHHQGRUVHPHQWVUHTXLUHWKLVGHVLJQDWLRQWREHLQVHUWHGLQWKHVSDFHSURYLGHGDW
             SDUDJUDSK1R D >IRU)RUPVDQGR@RU D >IRU)RUP@
             
             7KH/DQGPXVWIDOOFOHDUO\ZLWKLQWKHERXQGDULHVRIWKH]RQHGHVLJQDWLRQ,IWKHVFDOHRI
             WKHPDSVLVWRRVPDOORUWKHPDSVDUHWRRXQFOHDUWRPDNHWKLVGHWHUPLQDWLRQDFFXUDWHO\
             \RXPXVWEHDEOHWRGHWHUPLQHLWE\WKHOHJDOGHVFULSWLRQLQWKHRUGLQDQFHRUUHVROXWLRQLI
             LWFRQWDLQVVXFKDGHVFULSWLRQ2WKHUZLVHZHZLOOQRWSURYLGHWKHLQVXUDQFH
    
          :H PXVW EH VDWLVILHG WKDW WKH ]RQLQJ RUGLQDQFH RU UHVROXWLRQ LV YDOLG EHIRUH WKHVH
             HQGRUVHPHQWVPD\EHLVVXHG
             


    )LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 248 of 807
ENDORSEMENT MANUAL – Fidelity National Title Group, Inc.                                            SECTION 3

                                                                                                              

        7KLV UHTXLUHPHQW FDQ EH VDWLVILHG E\ DQ DWWRUQH\¶V RSLQLRQ IURP DQ DWWRUQH\ VNLOOHG LQ
        ]RQLQJPDWWHUV7KLVRSLQLRQPXVWPHHWWKHIROORZLQJUHTXLUHPHQWV
                 
        D      ,WPXVWHLWKHUEHZULWWHQWRXVRUWKHDWWRUQH\PXVWJLYHXVDOHWWHUDXWKRUL]LQJXV
                 WRUHO\RQLWIRUWKHSXUSRVHVRIRXU]RQLQJLQVXUDQFH
                 
        E      ,WPXVWFRYHUDWOHDVWWKHIROORZLQJPDWWHUV
                            
                            7KHFRQVWLWXWLRQDOLW\RIWKH]RQLQJRUGLQDQFHRUUHVROXWLRQXQGHU
                            WKHIHGHUDODQGVWDWHFRQVWLWXWLRQV
                            
                            7KHFRPSOLDQFHZLWKDOOVWDWHODZVLQWKHSURFHVVRIWKHDGRSWLRQ
                            RI WKH RUGLQDQFH RU UHVROXWLRQ ZLWK UHVSHFW WR WKH ODQG EHLQJ
                            LQVXUHG
                            
                 7KLV LQFOXGHV EXW LV QRW OLPLWHG WR DQ DQDO\VLV RI WKH IROORZLQJ PDWWHUV
                      7KHSURSULHW\RIQRWLFHVIRUWKHKHDULQJRQWKH]RQLQJFKDQJH  WKH
                 FRPSOLDQFHRIWKHKHDULQJZLWKVWDWH³RSHQPHHWLQJ´RU³VXQVKLQH´ODZV
                      WKHSUHVHQFHRIDTXRUXPRIWKHQHFHVVDU\RIILFLDOV  WKHDSSURYDO
                 RIWKHQHFHVVDU\PDMRULW\RIRIILFLDOVDWWKDWPHHWLQJ  WKHDSSURYDORI
                 DQ\ RWKHU RIILFLDOV RU SXEOLF ERGLHV ZKLFK PD\ EH QHFHVVDU\   WKH
                 UHFRUGDWLRQ RU ILOLQJ RI WKH RUGLQDQFHV ZLWK WKH FRXQW\ UHFRUGHU RU RWKHU
                 ERG\LIQHFHVVDU\DQG  WKHH[SLUDWLRQRIDOOSHULRGVRIDSSHDOZLWKRXW
                 DSSHDOEHLQJWDNHQ

        F      ,W PXVW DOVR DGGUHVV WKH VXVFHSWLELOLW\ RI WKH RUGLQDQFH WR DWWDFN EHFDXVH LW
                 FRQVWLWXWHV VSRW ]RQLQJ FRQWUDFW ]RQLQJ RU ]RQLQJ ZKLFK YLRODWHV VRPH SXEOLF
                 SROLF\VXFKDV]RQLQJH[FOXGLQJWKHHOGHUO\
        
        )UHTXHQWO\ WKH &RPSDQ\¶V XQGHUZULWLQJ DGYLVRU ZLOO XQGHUWDNH WR GHWHUPLQH WKHVH
        PDWWHUV,IWKLVLVWKHFDVHQRVHSDUDWHDWWRUQH\¶VRSLQLRQZLOOEHUHTXLUHG<RXVKRXOG
        FKHFNZLWKWKHXQGHUZULWLQJDGYLVHURQWKLVLVVXHSULRUWRUHTXLULQJDQDWWRUQH\¶VRSLQLRQ
        ,Q VSHFLDO VLWXDWLRQV VXFK DV QHZO\ HQDFWHG ]RQLQJ QHZO\ DQQH[HG SURSHUW\ DQG LQ
        FHUWDLQ DUHDV VXFK DV:DVKLQJWRQ '& DQG RWKHU DUHDV RI WKH 1RUWKHDVW  DQ RSLQLRQ
        OHWWHU PD\ VWLOO EH QHFHVVDU\  6RPH DUHDV KDYH ]RQLQJ WKDW LV H[WUHPHO\ FRPSOH[
        UHTXLULQJVSHFLDOH[SHUWLVH
        
     :HPXVWGHWHUPLQHWKHOLNHOLKRRGRIDQDWWDFNRQWKH]RQLQJZHDUHDVNHGWRLQVXUH

)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 249 of 807
ENDORSEMENT MANUAL – Fidelity National Title Group, Inc.                                         SECTION 3

                                                                                                            

        
        7KLV UHTXLUHV DQ DVVHVVPHQW RI WKH FRPSDWLELOLW\ RI WKH XVHV SHUPLWWHG XQGHU WKH
        RUGLQDQFHRUUHVROXWLRQZLWKWKHXVHEHLQJPDGHRIWKHVXUURXQGLQJODQG7KHUHIRUHZH
        PXVW EH LQIRUPHG E\ D UHOLDEOH VRXUFH RI WKH SXEOLF VHQWLPHQW FRQFHUQLQJ WKH SURMHFW
        7KHQXPEHURISHUVRQVREMHFWLQJDWWKHKHDULQJWRWKHLPSRVLWLRQRIWKH]RQLQJZKRWKH\
        UHSUHVHQWHGDQGWKHQDWXUHRIWKHLUFRPSODLQWVDUHVRPHLQGLFDWLRQVRISXEOLFVHQWLPHQW
        7KLV IDFWRU LV PRUH FULWLFDO LQ WKH FDVH RI QHZO\ FKDQJHG ]RQLQJ WKDQ ZKHUH WKH ]RQLQJ
        KDVEHHQORQJVWDQGLQJ
        
     :H PXVW GHWHUPLQH WKH XVHV SHUPLWWHG DV D PDWWHU RI ULJKW LQ WKH ]RQH IURP WKH PRVW
        UHFHQWRIILFLDO]RQLQJRUGLQDQFHVRUUHVROXWLRQV

       ,I ZH LVVXH (QGRUVHPHQW )RUP  RU  WKHVH XVHV ZLOO EH LQVHUWHG LQ WKH VSDFH
        SURYLGHGDWWKHHQGRISDUDJUDSKQRERIWKHIRUPV,IZHLVVXH(QGRUVHPHQW)RUP
        WKHVHXVHV ZLOOEHLQVHUWHGLQWKHVSDFH SURYLGHG DWWKHHQGRISDUDJUDSK QRERI
        WKH IRUP :KHQ WKH XVHV DUH LQVHUWHG WKH\ PXVW EH LQVHUWHG H[DFWO\ LQ WKH IRUP LQ
        ZKLFKWKH\DUHVHWIRUWKLQWKHRUGLQDQFHRUUHVROXWLRQ

       ,QWHUSUHWDWLRQ RI WKH GHVLJQDWHG XVHV FDQ EH H[WUHPHO\ GDQJHURXV  )RU H[DPSOH LI WKH
        RUGLQDQFHDOORZVWKHXVHRIWKH/DQGIRU³VKRSSLQJFHQWHUV´DQGWKHFXVWRPHULQWHQGVWR
        EXLOG D GHSDUWPHQW VWRUH RQ WKH SURSHUW\ \RX DUH QRW WR LQVHUW ³GHSDUWPHQW VWRUHV´ LQWR
        WKH HQGRUVHPHQW EXW UDWKHU XVH WKH ZRUGV ³VKRSSLQJ FHQWHUV´ FRQWDLQHG LQ WKH
        RUGLQDQFH

       5HTXHVWV IRU FRYHUDJH RI FRQGLWLRQDO XVHV PXVW EH DSSURYHG E\ WKH &RPSDQ\¶V
        XQGHUZULWLQJDGYLVHURQDFDVHE\FDVHEDVLVDQGUHTXLUHDGMXVWPHQWRIWKHODQJXDJHRI
        WKHHQGRUVHPHQWV

     ,IWKH(QGRUVHPHQW)RUPLVUHTXHVWHGWKHIROORZLQJDGGLWLRQDOUHTXLUHPHQWVPXVW
        EHPHW

                 $Q DQDO\VLV RI WKH ]RQLQJ RUGLQDQFH RU UHVROXWLRQ DQG RI WKH VLWH DQG
                 HOHYDWLRQSODQVLGHQWLILHGLQSDUDJUDSKEWRGHWHUPLQHDQ\UHVWULFWLRQV
                 ZLWKUHVSHFWWRWKHIROORZLQJPDWWHUV
                 
            x   $UHD ZLGWK RU GHSWK RI WKH /DQG DV D EXLOGLQJ VLWH IRU WKH
                VWUXFWXUHFRQVWUXFWHGRQLW
            x   )ORRUVSDFHDUHDRIWKHVWUXFWXUHVRQWKH/DQG
)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 250 of 807
ENDORSEMENT MANUAL – Fidelity National Title Group, Inc.                                          SECTION 3

                                                                                                             

             x   6HWEDFNUHTXLUHPHQWVIRUWKHVWUXFWXUHVRQWKH/DQG
             x   +HLJKWRIWKHVWUXFWXUHVRQWKH/DQG
             x   1XPEHURISDUNLQJVSDFHVVWULSHG
                  
        ,IWKHRUGLQDQFHRUUHVROXWLRQFRQWDLQVDQ\RUDOOVXFKUHVWULFWLRQVWKHQ ZHZLOOUHTXLUHD
        FXUUHQW DFFXUDWH VXUYH\ IURP D UHSXWDEOH VXUYH\RU ZKLFK LQFOXGHV WKH UHSUHVHQWDWLRQ RI
        DQ\VXFKPDWWHULQRUGHUWRHYDOXDWHFRPSOLDQFHZLWKWKHUHVWULFWLRQV
        
        ,W LV QRW SRVVLEOH WR VD\ FDWHJRULFDOO\ MXVW ZKDW WKH VXUYH\ PXVW FRQWDLQ  )RU H[DPSOH
        ZKHWKHUWKH/DQGFRQWDLQVVXIILFLHQWDUHDIRUWKH,PSURYHPHQWVPD\GHSHQGXSRQPRUH
        WKDQMXVWLWVDUHDDQGWKHIORRUVSDFHRIWKHEXLOGLQJ$PRQJRWKHULVVXHVSDUNLQJRSHQ
        VSDFHDQGODQGVFDSLQJUHTXLUHPHQWVPD\DOVRKDYHWREHFRQVLGHUHG
        
 ,I WKH (QGRUVHPHQW )RUP  LV UHTXHVWHG WKH IROORZLQJ DGGLWLRQDO UHTXLUHPHQWV PXVW EH
        PHW

                  $Q DQDO\VLV RI WKH ]RQLQJ RUGLQDQFH RU UHVROXWLRQ DQG RI WKH VLWH DQG
                  HOHYDWLRQSODQVLGHQWLILHGLQSDUDJUDSKEWRGHWHUPLQHDQ\UHVWULFWLRQV
                  ZLWKUHVSHFWWRWKHIROORZLQJPDWWHUV
                  
             x   $UHD ZLGWK RU GHSWK RI WKH /DQG DV D EXLOGLQJ VLWH IRU WKH
                          ,PSURYHPHQWVWREHEXLOWRUFRQVWUXFWHGRQLW
             x   )ORRUVSDFHDUHDRIWKHSURSRVHG,PSURYHPHQWVRQWKH/DQG
             x   6HWEDFNUHTXLUHPHQWVIRUWKHSURSRVHG,PSURYHPHQWVRQWKH/DQG
             x   +HLJKWRIWKHSURSRVHG,PSURYHPHQWVRQWKH/DQG
             x   1XPEHURISDUNLQJVSDFHVWREHVWULSHG
                  
        ,IWKHRUGLQDQFHRUUHVROXWLRQFRQWDLQVDQ\RUDOOVXFKUHVWULFWLRQVWKHQZHZLOOUHTXLUHWKH
        VLWHDQGHOHYDWLRQSODQVLGHQWLILHGLQSDUDJUDSK E ZKLFKPXVWFRQWDLQWKHVDPH
        HOHPHQWVDVWKRVHLQDFXUUHQWDFFXUDWHVXUYH\LQRUGHUWRHYDOXDWHFRPSOLDQFHZLWKWKH
        UHVWULFWLRQV
        
        ,W LV QRW SRVVLEOH WR VD\ FDWHJRULFDOO\ MXVW ZKDW WKH 3ODQV PXVW FRQWDLQ  )RU H[DPSOH
        ZKHWKHU WKH /DQG FRQWDLQV VXIILFLHQW DUHD IRU WKH SURSRVHG ,PSURYHPHQWV PD\ GHSHQG
        XSRQ PRUH WKDQ MXVW LWV DUHD DQG WKH IORRU VSDFH RI WKH EXLOGLQJ $PRQJ RWKHU LVVXHV
        SDUNLQJRSHQVSDFHDQGODQGVFDSLQJUHTXLUHPHQWVPD\DOVRKDYHWREHFRQVLGHUHG
        
        
)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 251 of 807
ENDORSEMENT MANUAL – Fidelity National Title Group, Inc.                                         SECTION 3

                                                                                                            


2FFDVLRQDOO\\RXPD\UHFHLYHUHTXHVWVWRFRYHUPDWWHUVLQDGGLWLRQWRWKRVHDERYH5HTXHVWVWR
FRYHUFRPSOLDQFHZLWKSDUNLQJ³UHTXLUHPHQWV´DUHFRPPRQEXWQRWDFFHSWDEOH:HFDQFRXQWWKH
QXPEHU RI VSDFHV EXW ZH GR QRW ZDQW WR DQDO\]H ZKHWKHU WKH VSDFHV WKHPVHOYHV DUH SURSHU
GLPHQVLRQV RU LQFOXGH VXIILFLHQW KDQGLFDS VSRWV  &RYHUDJH UHTXHVWV IRU FRQGLWLRQDO XVHV DQG
QRQFRQIRUPLQJ XVHV DUH DOVR IUHTXHQW EXW DV PHQWLRQHG EHIRUH WKH ODQJXDJH RI WKH
HQGRUVHPHQWV PXVW EH FKDQJHG WR DFFRPPRGDWH WKRVH LVVXHV  %HIRUH UHVSRQGLQJ WR VXFK D
UHTXHVW\RXVKRXOGFRQWDFWWKH&RPSDQ\¶VXQGHUZULWLQJDGYLVRU

                                             02',),&$7,21
                                                       
,Q WKH HYHQW WKDW PRGLILFDWLRQ RI DQ HQGRUVHPHQW LV UHTXHVWHG LW LV QHFHVVDU\ WR FRQVLGHU \RXU
VWDWHUHJXODWRU\UHTXLUHPHQWVIRUILOLQJDQGDSSURYDORIIRUPV,IWKHHQGRUVHPHQWLVPRGLILHGWKH
HQGRUVHPHQW PD\ QRW EH FRQVLGHUHG DQ $/7$ IRUP DQG VKRXOG QRW UHIHUHQFH $/7$ LQ WKH WLWOH
<RXPXVWREWDLQWKHDSSURYDORIWKH&RPSDQ\¶VXQGHUZULWLQJDGYLVRUEHIRUHFRPSO\LQJZLWKDQ\
UHTXHVWIRUDPRGLILFDWLRQ
                                                       
                                                       
                                                       
5HWXUQWR7DEOHRI&RQWHQWV




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 252 of 807
ENDORSEMENT MANUAL – Fidelity National Title Group, Inc.                                             SECTION 3

                                                                                                                

                                              (1'256(0(17
                                         $WWDFKHGWR3ROLF\1RBBBBBB
                                                   ,VVXHGE\
                                               >)17*%5$1'@

              7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGLQWKH
         HYHQWWKDWDW'DWHRI3ROLF\

                  D     $FFRUGLQJWRDSSOLFDEOH]RQLQJRUGLQDQFHVDQGDPHQGPHQWVWKH/DQGLV
                   QRWFODVVLILHG=RQH>),//,1@

                  E       7KHIROORZLQJXVHRUXVHVDUHQRWDOORZHGXQGHUWKDWFODVVLILFDWLRQ

                            >),//,1@

                7KHUHVKDOOEHQROLDELOLW\XQGHUWKLVHQGRUVHPHQWEDVHGRQ
                   D      /DFNRIFRPSOLDQFHZLWKDQ\FRQGLWLRQVUHVWULFWLRQVRUUHTXLUHPHQWV
                   FRQWDLQHGLQWKH]RQLQJRUGLQDQFHVDQGDPHQGPHQWVLQFOXGLQJEXWQRWOLPLWHGWR
                   WKHIDLOXUHWRVHFXUHQHFHVVDU\FRQVHQWVRUDXWKRUL]DWLRQVDVDSUHUHTXLVLWHWR
                   WKHXVHRUXVHV7KLVSDUDJUDSKDGRHVQRWPRGLI\RUOLPLWWKHFRYHUDJH
                   SURYLGHGLQ&RYHUHG5LVN
                   E     7KHLQYDOLGLW\RIWKH]RQLQJRUGLQDQFHVDQGDPHQGPHQWVXQWLODIWHUDILQDO
                   GHFUHHRIDFRXUWRIFRPSHWHQWMXULVGLFWLRQDGMXGLFDWLQJWKHLQYDOLGLW\WKHHIIHFWRI
                   ZKLFKLVWRSURKLELWWKHXVHRUXVHV
                  F     7KHUHIXVDORIDQ\SHUVRQWRSXUFKDVHOHDVHRUOHQGPRQH\RQWKH
                   HVWDWHRULQWHUHVWFRYHUHGE\WKLVSROLF\

      
7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\  ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW L 
PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL  PRGLI\ DQ\ SULRU HQGRUVHPHQWV LLL 
H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQRI
WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV  2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWVWRLW


>:LWQHVV2SWLRQDO@


'$7('

>)17*%5$1'@
        
%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBB
$87+25,=('6,*1$725<
      




$/7$(QGRUVHPHQW)RUP
  =RQLQJ±8QLPSURYHG/DQG   
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ



)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 253 of 807
ENDORSEMENT MANUAL – Fidelity National Title Group, Inc.                                             SECTION 3

                                                                                                                

                                                (1'256(0(17
                                          $WWDFKHGWR3ROLF\1RBBBBBB
                                                    ,VVXHGE\
                                                 >)17*%5$1'@

      7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGLQWKHHYHQWWKDW
     DW'DWHRI3ROLF\
          D       DFFRUGLQJ WR DSSOLFDEOH ]RQLQJ RUGLQDQFHV DQG DPHQGPHQWV WKH /DQG LV QRW
                    FODVVLILHG=RQH),//,1
          E       WKHIROORZLQJXVHRUXVHVDUHQRWDOORZHGXQGHUWKDWFODVVLILFDWLRQ
                    ),//,1
          F       7KHUHVKDOOEHQROLDELOLW\XQGHUSDUDJUDSKELIWKHXVHRUXVHVDUHQRWDOORZHG
                    DV WKH UHVXOW RI DQ\ ODFN RI FRPSOLDQFH ZLWK DQ\ FRQGLWLRQV UHVWULFWLRQV RU
                    UHTXLUHPHQWVFRQWDLQHGLQWKH]RQLQJRUGLQDQFHVDQGDPHQGPHQWVLQFOXGLQJEXW
                    QRW OLPLWHG WR WKH IDLOXUH WR VHFXUH QHFHVVDU\ FRQVHQWV RU DXWKRUL]DWLRQV DV D
                    SUHUHTXLVLWHWRWKHXVHRUXVHV7KLVSDUDJUDSKFGRHVQRWPRGLI\RUOLPLWWKH
                    FRYHUDJHSURYLGHGLQ&RYHUHG5LVN

      7KH&RPSDQ\IXUWKHULQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQ
     RIDILQDOGHFUHHRIDFRXUWRIFRPSHWHQWMXULVGLFWLRQHLWKHUSURKLELWLQJWKHXVHRIWKH/DQG
     ZLWKDQ\H[LVWLQJVWUXFWXUHDVVSHFLILHGLQSDUDJUDSKERUUHTXLULQJWKHUHPRYDORU
     DOWHUDWLRQRIWKHVWUXFWXUHEHFDXVHDW'DWHRI3ROLF\WKH]RQLQJRUGLQDQFHVDQG
     DPHQGPHQWVKDYHEHHQYLRODWHGZLWKUHVSHFWWRDQ\RIWKHIROORZLQJPDWWHUV
                    D       $UHDZLGWKRUGHSWKRIWKH/DQGDVDEXLOGLQJVLWHIRUWKHVWUXFWXUH
                    E       )ORRUVSDFHDUHDRIWKHVWUXFWXUH
                    F       6HWEDFNRIWKHVWUXFWXUHIURPWKHSURSHUW\OLQHVRIWKH/DQG
                    G       +HLJKWRIWKHVWUXFWXUHRU
                    H       1XPEHURISDUNLQJVSDFHV

      7KHUHVKDOOEHQROLDELOLW\XQGHUWKLVHQGRUVHPHQWEDVHGRQ
          D       WKHLQYDOLGLW\RIWKH]RQLQJRUGLQDQFHVDQGDPHQGPHQWVXQWLODIWHUDILQDOGHFUHH
                    RIDFRXUWRIFRPSHWHQWMXULVGLFWLRQDGMXGLFDWLQJWKHLQYDOLGLW\WKHHIIHFWRIZKLFK
                    LVWRSURKLELWWKHXVHRUXVHV
          E       WKHUHIXVDORIDQ\SHUVRQWRSXUFKDVHOHDVHRUOHQGPRQH\RQWKH7LWOHFRYHUHG
                    E\WKLVSROLF\
      
7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\  ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW L 
PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL  PRGLI\ DQ\ SULRU HQGRUVHPHQWV LLL 
H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQRI
WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV  2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWVWRLW
>:LWQHVV2SWLRQDO@

'$7('
>)17*%5$1'@
%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBB
$87+25,=('6,*1$725<
      
$/7$(QGRUVHPHQW)RUP
  =RQLQJ&RPSOHWHG6WUXFWXUH  UHY 
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ

                                        



)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 254 of 807
ENDORSEMENT MANUAL – Fidelity National Title Group, Inc.                                                        SECTION 3

                                                                                                                               

                                                     (1'256(0(17
                                         $WWDFKHGWR3ROLF\1RBBBBBBBBBB
                                                         ,VVXHGE\

                                               >)17*%5$1'@

 )RUSXUSRVHVRIWKLVHQGRUVHPHQW
    D ³,PSURYHPHQW´PHDQVDEXLOGLQJVWUXFWXUHURDGZDONZD\GULYHZD\FXUEVXEVXUIDFHXWLOLW\RU
        ZDWHUZHOOH[LVWLQJDW'DWHRI3ROLF\RUWREHEXLOWRUFRQVWUXFWHGDFFRUGLQJWRWKH3ODQVWKDWLVRU
        ZLOOEHORFDWHGRQWKH/DQGEXWH[FOXGLQJFURSVODQGVFDSLQJODZQVVKUXEEHU\RUWUHHV
     E ³3ODQV´PHDQVWKRVHVLWHDQGHOHYDWLRQSODQVPDGHE\>QDPHRIDUFKLWHFWRUHQJLQHHU@GDWHGBBBB
         ODVWUHYLVHGBBBBBBBBGHVLJQDWHGDV>QDPHRISURMHFW@FRQVLVWLQJRIBBBVKHHWV
 7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGLQWKHHYHQWWKDWDW'DWHRI
    3ROLF\
    D DFFRUGLQJWRDSSOLFDEOH]RQLQJRUGLQDQFHVDQGDPHQGPHQWVWKH/DQGLVQRWFODVVLILHG=RQH
         BBBBBBBBBBBBBBBBBBBBB
     E WKHIROORZLQJXVHRUXVHVDUHQRWDOORZHGXQGHUWKDWFODVVLILFDWLRQ
     F 7KHUHVKDOOEHQROLDELOLW\XQGHUSDUDJUDSKELIWKHXVHRUXVHVDUHQRWDOORZHGDVWKHUHVXOWRI
         DQ\ODFNRIFRPSOLDQFHZLWKDQ\FRQGLWLRQUHVWULFWLRQRUUHTXLUHPHQWFRQWDLQHGLQWKH]RQLQJ
         RUGLQDQFHVDQGDPHQGPHQWVLQFOXGLQJEXWQRWOLPLWHGWRWKHIDLOXUHWRVHFXUHQHFHVVDU\FRQVHQWV
         RUDXWKRUL]DWLRQVDVDSUHUHTXLVLWHWRWKHXVHRUXVHV7KLVSDUDJUDSKFGRHVQRWPRGLI\RUOLPLW
         WKHFRYHUDJHSURYLGHGLQ&RYHUHG5LVN
 7KH&RPSDQ\IXUWKHULQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRIDILQDO
    GHFUHHRIDFRXUWRIFRPSHWHQWMXULVGLFWLRQHLWKHUSURKLELWLQJWKHXVHRIWKH/DQGZLWKDQ\H[LVWLQJ
    ,PSURYHPHQWDVVSHFLILHGLQSDUDJUDSKERUUHTXLULQJWKHUHPRYDORUDOWHUDWLRQRIWKH,PSURYHPHQW
    EHFDXVHRIDYLRODWLRQRIWKH]RQLQJRUGLQDQFHVDQGDPHQGPHQWVLQHIIHFWDW'DWHRI3ROLF\ZLWK
    UHVSHFWWRDQ\RIWKHIROORZLQJPDWWHUV
    D          $UHDZLGWKRUGHSWKRIWKH/DQGDVDEXLOGLQJVLWHIRUWKH,PSURYHPHQW
     E             )ORRUVSDFHDUHDRIWKH,PSURYHPHQW
     F             6HWEDFNRIWKH,PSURYHPHQWIURPWKHSURSHUW\OLQHVRIWKH/DQG
     G             +HLJKWRIWKH,PSURYHPHQWRU
     H             1XPEHURISDUNLQJVSDFHV
 7KHUHVKDOOEHQROLDELOLW\XQGHUWKLVHQGRUVHPHQWEDVHGRQ
    D WKHLQYDOLGLW\RIWKH]RQLQJRUGLQDQFHVDQGDPHQGPHQWVXQWLODIWHUDILQDOGHFUHHRIDFRXUWRI
        FRPSHWHQWMXULVGLFWLRQDGMXGLFDWLQJWKHLQYDOLGLW\WKHHIIHFWRIZKLFKLVWRSURKLELWWKHXVHRUXVHV
     E WKHUHIXVDORIDQ\SHUVRQWRSXUFKDVHOHDVHRUOHQGPRQH\RQWKH7LWOHFRYHUHGE\WKLVSROLF\
7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW L PRGLI\DQ\RIWKHWHUPVDQG
SURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI
,QVXUDQFH7RWKHH[WHQWDSURYLVLRQRIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRI
WKLVHQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKHWHUPVDQGSURYLVLRQVRI
WKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

>:LWQHVVFODXVHRSWLRQDO@

>)17*%5$1'@

%\BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
           $XWKRUL]HG6LJQDWRU\

$/7$(QGRUVHPHQW)RUP
  =RQLQJ/DQG8QGHU'HYHORSPHQW   
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ
                                                                                    >LQFOXGHVWHFKQLFDOFRUUHFWLRQRI@



)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 255 of 807
ENDORSEMENT MANUAL – Fidelity National Title Group, Inc.                                            SECTION 4

                                                                                                               


5HWXUQWR7DEOHRI&RQWHQWV
                                               &21'20,1,80
                            $/7$(1'256(0(17)2506DQG
                                                         
                                                   385326(
                                                         
    7KHVHHQGRUVHPHQWVSURYLGHDIILUPDWLYHLQVXUDQFHWRPRUWJDJHOHQGHUVORDQLQJRQWKHVHFXULW\
    RIFRQGRPLQLXPXQLWV7KHUHDUHVHYHQPDWWHUVVHOHFWHGIRULQVXUDQFHLQWKHVHHQGRUVHPHQWV
    6RPHRIWKHPZRXOGEHFRYHUHGE\WKHSROLF\ZLWKRXWWKHVHHQGRUVHPHQWVEXWWKH\DUHVWDWHG
    DQ\ZD\ WR IDFLOLWDWH WKH VDOH RI PRUWJDJH ORDQV LQ WKH VHFRQGDU\ PDUNHW 7KH $/7$ 
    GLIIHUVIURPWKH$/7$RQO\LQWKDWWKHUHLVQRLQVXUDQFHRISULRULW\RYHUIXWXUHDVVHVVPHQWV
    LQ SDUDJUDSK  RI WKH HQGRUVHPHQW 7KXV WKH  LV DSSURSULDWH IRU XVH LQ VWDWHV ZKHUH
    LQVXUHGVHFRQGPRUWJDJHVGRQRWKDYHSULRULW\RUZKHUHILUVWPRUWJDJHVDUHSULPHGE\FHUWDLQ
    DVVHVVPHQWV7KH$/7$LVDOVRWKHDSSURSULDWHIRUPWREHXVHGZLWKDQ2ZQHUV3ROLF\
          
    7KLVHQGRUVHPHQWLVGHVLJQHGWREHLVVXHG RQO\ DIWHUFRQVLGHULQJWKHUHOHYDQWDVSHFWVRIWKH
    FRQGRPLQLXPSURMHFWLQ ZKLFKWKHXQLWH[LVWV,IWKHUHTXLUHPHQWVSUHVHQWHG EHORZFDQQRWEH
    PHW \RX PXVW HLWKHU GHFOLQH WR LVVXH WKLV HQGRUVHPHQW RU RIIHU WR LVVXH D PRGLILHG YHUVLRQ
    GHOHWLQJRQHRUPRUHLQVXULQJFODXVHV
    
                       6(&7,212)7+(32/,&<$0(1'('%<(1'256(0(17
                                                             
    1R VSHFLILF VHFWLRQ RI WKH SROLF\ LV DPHQGHG E\ WKHVH HQGRUVHPHQWV KRZHYHU DGGLWLRQDO
    DIILUPDWLYHFRYHUDJHVDUHDGGHG
    
                                    %$6,6)253529,',1*&29(5$*(
    
    ,QVXULQJ 3DUDJUDSK 1RV  DQG  LQVXUH DJDLQVW ORVV LI WKH XQLW LV QRW SDUW RI D FRQGRPLQLXP
    UHJLPHRULI7LWOHWRWKHXQLWLVDIIHFWHGE\DQ\IDLOXUHRIWKHFRQGRPLQLXPGRFXPHQWVWRFRPSO\
    ZLWKDSSOLFDEOHVWDWXWHV
    
    )LUVW WKH SURMHFW PXVW FRPSO\ ZLWK DOO UHTXLUHPHQWV RI WKH FRQGRPLQLXP VWDWXWHV LQ WKH VWDWH
    ZKHUH LW LV ORFDWHG LQFOXGLQJ PHHWLQJ DOO VWDWXWRU\ UHTXLUHPHQWV IRU IRUP DQG FRQWHQW IRU WKH
    GHFODUDWLRQSODWDQGDQ\RWKHUUHTXLUHGLQVWUXPHQWVRUSURFHVVHV
    
    6HFRQGWKHLQVXUHGXQLWPXVWEHSURSHUO\LGHQWLILHGLQWKHGHFODUDWLRQDQGRQWKHSODWRUPDS
    VRDVWREHLQFOXGHGZLWKLQWKHSURMHFW

)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 256 of 807
ENDORSEMENT MANUAL – Fidelity National Title Group, Inc.                                           SECTION 4

                                                                                                              

    
    ,QVXULQJ 3DUDJUDSK 1R  LQVXUHV DJDLQVW ORVV IURP WKH YLRODWLRQ RI FRYHQDQWV RU UHVWULFWLRQV
    FRQWDLQHG LQ WKH FRQGRPLQLXP GRFXPHQWV RU WKH H[LVWHQFH RI ULJKWV RI UHYHUWHU RU SRZHUV RI
    WHUPLQDWLRQLQWKRVHGRFXPHQWV
    
    )LUVW WKH FRQGRPLQLXP GHFODUDWLRQ PXVW QRW FRQWDLQ DQ\ SURYLVLRQV IRU WKH UHYHUVLRQ RI 7LWOH
    GXHWRYLRODWLRQRIWKHFRYHQDQWVFRQWDLQHGLQLW6LPLODUO\QRSRZHURIWHUPLQDWLRQPXVWH[LVW
    7RGHWHUPLQHWKLV\RXPXVWEHVXUHWKDWDOORIWKHUHVWUDLQWVDJDLQVWXVHRIWKHSUHPLVHVDUHLQ
    WKH IRUP RI FRYHQDQWV UDWKHU WKDQ FRQGLWLRQV  $ GHFODUDWLRQ YLRODWHV WKLV UHTXLUHPHQW LI LW
    FRQWDLQV DQ\ VWDWHPHQW WKDW WKH XQLW LV RZQHG ³RQ WKH FRQGLWLRQ WKDW´ FHUWDLQ DFWV QRW RFFXU
    6LPLODUO\SURYLVLRQVWKDWWKHXQLWPD\EHRZQHG³DVORQJDV´FHUWDLQFRQGLWLRQVH[LVWRUFHUWDLQ
    HYHQWVGRQRWRFFXUVKRXOGEHYLHZHGDVYLRODWLQJWKLVUHTXLUHPHQW
    
    6HFRQG \RX PXVW GHWHUPLQH WKDW WKHUH DUH QR H[LVWLQJ YLRODWLRQV RI FRYHQDQWV E\ WKH XQLW
    RZQHUZKLFKDIIHFWWKHXQLWWKHFRPPRQHOHPHQWVRUDQ\RWKHUSK\VLFDOLPSURYHPHQWVZKLFK
    DUHVXEMHFWWRWKHGHFODUDWLRQ$OHQGHUDFTXLULQJWKHXQLWLQDIRUHFORVXUHZLOOVXIIHUDORVVLILW
    KDVWRVSHQGPRQH\FRUUHFWLQJWKHVHSUREOHPV([DPSOHVZRXOGEHWKHUHPRYDORIZDOOVZLWKLQ
    WKH XQLW FRQWUDU\ WR WKH SURYLVLRQV RI WKH GHFODUDWLRQ DQG WKH XQDXWKRUL]HG PRGLILFDWLRQ RI
    EDOFRQLHVZKLFKFRQVWLWXWHOLPLWHGFRPPRQHOHPHQWV<RXDUHDXWKRUL]HGWRUHO\RQDQDIILGDYLW
    IURP WKH XQLW RZQHU WKDW QR VXFK XQDXWKRUL]HG PRGLILFDWLRQV H[LVW ZKHUH \RX DUH LVVXLQJ WKH
    HQGRUVHPHQWWRDORDQSROLF\RQDUHVLGHQWLDOFRQGRPLQLXPXQLW<RXVKRXOGFRQVXOWZLWKWKH
    &RPSDQ\ VXQGHUZULWLQJDGYLVHUZKHUHDFRPPHUFLDOFRQGRPLQLXPLVLQYROYHG
    
    ,QVXULQJ 3DUDJUDSK 1R  LV ZKHUH WKH WZR HQGRUVHPHQWV GLIIHU ,Q PDQ\ VWDWHV D SURSHUO\
    LPSRVHG +2$ DVVHVVPHQW FDQ KDYH VXSHU OLHQ SULRULW\ ZKLFK PHDQV WKDW LW PLJKW EH WUHDWHG
    OLNH WKH OLHQ IRU WD[HV DQG KDYH SULRULW\ RYHU VXEVHTXHQWO\ ILOHG PRUWJDJHV RU LW PLJKW EH
    LQFKRDWH RU ³KLGGHQ´ OLNH D PHFKDQLF¶V RU FRQVWUXFWLRQ OLHQ DQG WKH SULRULW\ RI WKH DVVHVVPHQW
    FRXOGGDWH EDFNWRWKHSDVVLQJ RIDUHVROXWLRQE\WKH ERDUGDSSURYLQJ ZRUNWREHGRQH RUDQ
    DVVHVVPHQWWREHLPSRVHGHYHQWKRXJKWKHFRQWUDFWVRUDFWXDODVVHVVPHQWVFRPHODWHU
    
    7KH $/7$  LQVXUHV DJDLQVW ORVV LI WKH DVVHVVPHQW OLHQV RI WKH FRQGRPLQLXP DVVRFLDWLRQ
    KDYH SULRULW\ RYHU WKH OLHQ RI WKH ,QVXUHG 0RUWJDJH ,Q RUGHU WR SURYLGH WKLV FRYHUDJH WKH
    GHFODUDWLRQRUVWDWHODZPXVWSURYLGHWKDWWKHOLHQRIWKHPRUWJDJHWREHLQVXUHGLVSULRU
    WRWKHOLHQIRUXQSDLGFRQGRPLQLXPDVVHVVPHQWV,QPRVWFDVHVWKHGHFODUDWLRQRUVWDWH
    
    ODZ ZLOO SURYLGHWKDWRQO\ D ILUVWPRUWJDJHOHQGHU¶VOLHQLVVXSHULRUWRWKHDVVRFLDWLRQ¶VOLHQIRU
    FKDUJHVDVVHVVHGDIWHUWKHUHFRUGLQJRIWKHPRUWJDJHRUGHHGRIWUXVW,QVXFKFDVHVDVHFRQG
    RUORZHUSULRULW\OHQGHUZRXOGQRWEHSURWHFWHGIURPDVVHVVPHQWOLHQVDQGWKHFRXOGQRW

)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 257 of 807
ENDORSEMENT MANUAL – Fidelity National Title Group, Inc.                                                SECTION 4

                                                                                                                   

    EH JLYHQ ,Q WKRVH VLWXDWLRQV \RX ZRXOG QHHG WR LVVXH WKH  ZKLFK PHUHO\ LQVXUHV WKHUH
    DUHQROLHQVGXHDQGXQSDLGRQ'DWHRI3ROLF\7KHLVDOVRWKHHQGRUVHPHQWIRUPWREH
    XVHGZLWKDQ2ZQHU¶V3ROLF\
    
    7RLVVXHWKH$/7$\RXPXVWGHWHUPLQHWKDWDOOFKDUJHVRUDVVHVVPHQWVSURYLGHGIRULQ
    WKH FRQGRPLQLXP VWDWXWHV DQG FRQGRPLQLXP GRFXPHQWV ZKLFK DUH GXH KDYH EHHQ SDLG  ,I
    WKHUHLVDJURXQGOHDVHRUUHFUHDWLRQOHDVHZKLFKWKHXQLWRZQHURUDVVRFLDWLRQLVREOLJDWHGWR
    SD\\RXPXVWGHWHUPLQHWKDWDOOFKDUJHVDUHFXUUHQW
    
    ,QVXULQJ3DUDJUDSK1RLQVXUHVDJDLQVWORVVLIWKHFRQGRPLQLXPXQLWLVQRWDVHSDUDWHSDUFHO
    IURPDOORWKHUXQLWVIRUUHDOHVWDWHWD[SXUSRVHV,ILWLVQRWDVHSDUDWHSDUFHOWKHSD\PHQWRI
    WD[HV ZKLFK ZRXOG RWKHUZLVH GLVFKDUJH WKH WD[ OLHQ RQ WKH XQLW DQG LWV VKDUH RI WKH FRPPRQ
    HOHPHQWV HDFK \HDU ZLOO QRW GR VR  $Q HQVXLQJ WD[ IRUHFORVXUH ZRXOG UHTXLUH SD\PHQW RI WKH
    WD[HV RQ WKH HQWLUH SURMHFW LQ RUGHU WR SUHYHQW WKH RZQHU IURP ORVLQJ WLWOH WR WKH XQLW DQG WKH
    OHQGHU IURP ORVLQJ LWV PRUWJDJH OLHQ  0RUHRYHU WKH OHQGHU¶V RZQHUVKLS RI WKH XQLW XSRQ D
    IRUHFORVXUHZRXOGOHDYHWKHOHQGHUZLWKWKHUHFXUULQJSUREOHPRIPDNLQJSD\PHQWRIWD[HVGXH
    RQWKHHQWLUHSURMHFWLQRUGHUWRNHHSLWVXQLW
    
    )LUVWWKHODZRIWKHVWDWHLQZKLFKWKHFRQGRPLQLXPLVORFDWHG PXVWSURYLGHIRUWKHVHSDUDWH
    WD[DWLRQ RI DOO FRQGRPLQLXP XQLWV  7KLV LV WKH XVXDO FDVH  +RZHYHU LI WKH ODZ GRHV QRW VR
    SURYLGHWKHQSDUDJUDSKPXVWEHGHOHWHG
    
    6HFRQG\RXPXVWGHWHUPLQHWKDWWKHORFDOWD[DVVHVVRULVLQIDFWDVVHVVLQJHDFKXQLWLQWKH
    FRQGRPLQLXPSURMHFWDVDVHSDUDWHWD[SDUFHO
    
    ,QVXULQJ 3DUDJUDSK 1R  LQVXUHV DJDLQVW ORVV EHFDXVH RI ERWK FXUUHQWO\ H[LVWLQJ
    HQFURDFKPHQWVDQGWKRVHZKLFKPD\EHXQLQWHQWLRQDOO\FUHDWHGLQWKHIXWXUH7KHSUREOHPRI
    SUHVHQWHQFURDFKPHQWVUHVXOWVIURPWKHFRQVWUXFWLRQRIWKHLPSURYHPHQWVDIWHUWKHILOLQJRIWKH
    GHFODUDWLRQ,IWKHVWUXFWXUHVDUHQRWEXLOWH[DFWO\LQWKHSODFHVVKRZQRQWKHPDSWKHUHFDQEH
    DQ HQFURDFKPHQW RI FRPPRQ HOHPHQWV LQWR WKH VSDFH SURYLGHG IRU DLUVSDFH XQLWV DQG YLFH
    YHUVD  7KH FRQYHQWLRQDO VRUW RI HQFURDFKPHQW RI LPSURYHPHQWV RYHU HDVHPHQWV RU RYHU WKH
    SURSHUW\OLQHFDQDOVRUHVXOW
    
    
    7KHIXWXUHHQFURDFKPHQWSUREOHPZRXOGUHVXOWIURPWKHUHEXLOGLQJRIWKHFRQGRPLQLXPSURMHFW
    DIWHUDILUHRURWKHUFDVXDOW\,IWKHQHZVWUXFWXUHVDUHQRWEXLOWSUHFLVHO\ZKHUHWKHPDSVKRZV
    WKH\VKRXOGEHDQHQFURDFKPHQWLQWRWKHDLUVSDFHRIRQHRUPRUHXQLWRZQHUVFDQUHVXOW7KH
    XQLWVPLJKWDOVRHQFURDFKLQWRDUHDVSURYLGHGIRUFRPPRQHOHPHQWV

)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 258 of 807
ENDORSEMENT MANUAL – Fidelity National Title Group, Inc.                                         SECTION 4

                                                                                                            

    
    7KHGHFODUDWLRQPXVWSURYLGHDQHDVHPHQWIRUDQ\SURMHFWLRQRIXQLWVRQWRFRPPRQHOHPHQWV
    RUFRPPRQHOHPHQWVLQWRXQLWV7KLVSURYLVLRQPXVWEHHIIHFWLYHIRUERWKSUHVHQWSUREOHPVDQG
    WKRVHZKLFKPD\DULVHLQWKHIXWXUHIURPUHEXLOGLQJH[SDQVLRQRUDOWHUDWLRQ
    
    $VWRWKHRUGLQDU\NLQGVRIHQFURDFKPHQWVQRWHGDERYH\RXPXVWKDYHDQDGHTXDWHVXUYH\RU
    LQVSHFWLRQZKLFKVKRZVQRVXFKSUREOHPVH[LVW,IWKH\GR\RXVKRXOGPRGLI\WKHFRYHUDJHRI
    WKH HQGRUVHPHQW VR DV WR WDNH H[FHSWLRQ WR WKHP  2QH ZD\ WR GR WKLV ZRXOG EH WR UDLVH
    H[FHSWLRQVIRUWKHVHPDWWHUVLQ6FKHGXOH%3DUW,RIWKHSROLF\DQGQRWHRQWKHHQGRUVHPHQW
    WKDWWKLVSDUDJUDSKLVVXEMHFWWRWKRVHH[FHSWLRQV
    
    ,QVXULQJ 3DUDJUDSK 1R  FRYHUV WKH ULJKW RI ILUVW UHIXVDO ZKLFK LV RIWHQ FRQWDLQHG LQ
    FRQGRPLQLXPSURMHFWV,IWKHULJKW LVSURSHUO\ H[HUFLVHG LWPD\GHIHDWWKH7LWOH RIDERUURZHU
    ZKRKDGQRWSURFXUHGDZDLYHURUUHOLQTXLVKPHQW7KLVLQWXUQPLJKWH[WLQJXLVKWKHOLHQRIWKH
    ,QVXUHG0RUWJDJH
    
    7KHUH PXVW HLWKHU EH QR SURYLVLRQ LQ DQ\ RI WKH FRQGRPLQLXP GRFXPHQWV IRU D ULJKW RI ILUVW
    UHIXVDO RU \RX PXVW UHTXLUH DQG UHFHLYH D SURSHU ZDLYHU RU UHOLQTXLVKPHQW RI LW EHIRUH
    LQVXULQJWKHWUDQVDFWLRQ,IDZDLYHURUUHOLQTXLVKPHQW LVLQYROYHG \RXPXVWEHVXUHLWFRPHV
    IURP WKH SURSHU SDUW\ RU SDUWLHV  7KH ZDLYHU E\ WKH FRQGRPLQLXP DVVRFLDWLRQ VKRXOG QRW EH
    UHOLHGRQWRDFFRPSOLVKDZDLYHUE\WKHXQLWRZQHUVLIWKHULJKWUXQVLQWKHLUIDYRU
    
                                              02',),&$7,21
                                                        
,Q WKH HYHQW WKDW PRGLILFDWLRQ RI DQ HQGRUVHPHQW LV UHTXHVWHG LW LV QHFHVVDU\ WR FRQVLGHU \RXU
VWDWHUHJXODWRU\UHTXLUHPHQWVIRUILOLQJDQGDSSURYDORIIRUPV,IWKHHQGRUVHPHQWLVPRGLILHGWKH
HQGRUVHPHQWLVQRWDQ$/7$IRUPDQGVKRXOGQRWUHIHUHQFH$/7$LQWKHWLWOH<RXPXVWREWDLQ
WKH DSSURYDO RI WKH &RPSDQ\¶V XQGHUZULWLQJ DGYLVHU EHIRUH FRPSO\LQJ ZLWK DQ\ UHTXHVW IRU D
PRGLILFDWLRQ

                                                        
                                                        
5HWXUQWR7DEOHRI&RQWHQWV




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 259 of 807
ENDORSEMENT MANUAL – Fidelity National Title Group, Inc.                                             SECTION 4

                                                                                                                

                                              (1'256(0(17
                                    $WWDFKHGWR3ROLF\1RBBBBBBBBBBB

                                                   ,VVXHG%\
                                               >)17*%5$1'@
7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI
           
        7KHIDLOXUHRIWKHXQLWLGHQWLILHGLQ6FKHGXOH$DQGLWVFRPPRQHOHPHQWVWREHSDUWRID
           FRQGRPLQLXPZLWKLQWKHPHDQLQJRIWKHFRQGRPLQLXPVWDWXWHVRIWKHMXULVGLFWLRQLQZKLFK
           WKHXQLWDQGLWVFRPPRQHOHPHQWVDUHORFDWHG

        7KH IDLOXUH RI WKH GRFXPHQWV UHTXLUHG E\ WKH FRQGRPLQLXP VWDWXWHV WR FRPSO\ ZLWK WKH
           UHTXLUHPHQWVRIWKHVWDWXWHVWRWKHH[WHQWWKDWVXFKIDLOXUHDIIHFWVWKH7LWOHWRWKHXQLWDQG
           LWVFRPPRQHOHPHQWV

        3UHVHQW YLRODWLRQV RI DQ\ UHVWULFWLYH FRYHQDQWV WKDW UHVWULFW WKH XVH RI WKH XQLW DQG LWV
           FRPPRQHOHPHQWVDQGWKDWDUHFRQWDLQHGLQWKHFRQGRPLQLXPGRFXPHQWVRUWKHIRUIHLWXUH
           RUUHYHUVLRQRI7LWOHE\UHDVRQRIDQ\SURYLVLRQFRQWDLQHGLQWKHUHVWULFWLYHFRYHQDQWV$V
           XVHGLQWKLVSDUDJUDSKWKHZRUGV³UHVWULFWLYHFRYHQDQWV´GRQRWUHIHUWRRULQFOXGHDQ\
           FRYHQDQW FRQGLWLRQ RU UHVWULFWLRQ D  UHODWLQJ WR REOLJDWLRQV RI DQ\ W\SH WR SHUIRUP
           PDLQWHQDQFH UHSDLU RU UHPHGLDWLRQ RQ WKH /DQG RU E  SHUWDLQLQJ WR HQYLURQPHQWDO
           SURWHFWLRQ RI DQ\ NLQG RU QDWXUH LQFOXGLQJ KD]DUGRXV RU WR[LF PDWWHUV FRQGLWLRQV RU
           VXEVWDQFHVH[FHSWWRWKHH[WHQWWKDWDQRWLFHRIDYLRODWLRQRUDOOHJHGYLRODWLRQDIIHFWLQJ
           WKH/DQGKDVEHHQUHFRUGHGLQWKH3XEOLF5HFRUGVDW'DWHRI3ROLF\DQGLVQRWH[FHSWHG
           LQ6FKHGXOH%

        7KHSULRULW\RIDQ\OLHQIRUFKDUJHVDQGDVVHVVPHQWVSURYLGHGIRULQWKHFRQGRPLQLXP
           VWDWXWHVDQGFRQGRPLQLXPGRFXPHQWVDW'DWHRI3ROLF\RYHUWKHOLHQRIDQ\,QVXUHG
           0RUWJDJHLGHQWLILHGLQ6FKHGXOH$

        7KHIDLOXUHRIWKHXQLWDQGLWVFRPPRQHOHPHQWVWREHHQWLWOHGE\ODZWREHDVVHVVHGIRU
           UHDOSURSHUW\WD[HVDVDVHSDUDWHSDUFHO

        $Q\REOLJDWLRQWRUHPRYHDQ\LPSURYHPHQWVWKDWH[LVWDW'DWHRI3ROLF\EHFDXVHRIDQ\
           SUHVHQWHQFURDFKPHQWVRUEHFDXVHRIDQ\IXWXUHXQLQWHQWLRQDOHQFURDFKPHQWRIWKH
           FRPPRQHOHPHQWVXSRQDQ\XQLWRURIDQ\XQLWXSRQWKHFRPPRQHOHPHQWVRUDQRWKHU
           XQLW

        7KHIDLOXUHRIWKH7LWOHE\UHDVRQRIDULJKWRIILUVWUHIXVDOWRSXUFKDVHWKHXQLWDQGLWV
           FRPPRQHOHPHQWVWKDWZDVH[HUFLVHGRUFRXOGKDYHEHHQH[HUFLVHGDW'DWHRI3ROLF\

7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

>:LWQHVVFODXVHRSWLRQDO@
>)17*%5$1'@
%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
$/7$(QGRUVHPHQW)RUP
&RQGRPLQLXP  5HY 
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ



)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 260 of 807
ENDORSEMENT MANUAL – Fidelity National Title Group, Inc.                                                  SECTION 4

                                                                                                                      

                                              (1'256(0(17
                                     $WWDFKHGWR3ROLF\1RBBBBBBBBBBB

                                                   ,VVXHG%\
                                                 >)17*%5$1'@

7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI

        7KHIDLOXUHRIWKHXQLWLGHQWLILHGLQ6FKHGXOH$DQGLWVFRPPRQHOHPHQWVWREHSDUWRID
           FRQGRPLQLXPZLWKLQWKHPHDQLQJRIWKHFRQGRPLQLXPVWDWXWHVRIWKHMXULVGLFWLRQLQZKLFK
           WKHXQLWDQGLWVFRPPRQHOHPHQWVDUHORFDWHG

        7KH IDLOXUH RI WKH GRFXPHQWV UHTXLUHG E\ WKH FRQGRPLQLXP VWDWXWHV WR FRPSO\ ZLWK WKH
           UHTXLUHPHQWVRIWKHVWDWXWHVWRWKHH[WHQWWKDWVXFKIDLOXUHDIIHFWVWKH7LWOHWRWKHXQLWDQG
           LWVFRPPRQHOHPHQWV

        3UHVHQW YLRODWLRQV RI DQ\ UHVWULFWLYH FRYHQDQWV WKDW UHVWULFW WKH XVH RI WKH XQLW DQG LWV
           FRPPRQHOHPHQWVDQGWKDWDUHFRQWDLQHGLQWKHFRQGRPLQLXPGRFXPHQWVRUWKHIRUIHLWXUH
           RUUHYHUVLRQRI7LWOHE\UHDVRQRIDQ\SURYLVLRQFRQWDLQHGLQWKHUHVWULFWLYHFRYHQDQWV$V
           XVHGLQWKLVSDUDJUDSKWKHZRUGV³UHVWULFWLYHFRYHQDQWV´GRQRWUHIHUWRRULQFOXGHDQ\
           FRYHQDQW FRQGLWLRQ RU UHVWULFWLRQ D  UHODWLQJ WR REOLJDWLRQV RI DQ\ W\SH WR SHUIRUP
           PDLQWHQDQFH UHSDLU RU UHPHGLDWLRQ RQ WKH /DQG RU E  SHUWDLQLQJ WR HQYLURQPHQWDO
           SURWHFWLRQ RI DQ\ NLQG RU QDWXUH LQFOXGLQJ KD]DUGRXV RU WR[LF PDWWHUV FRQGLWLRQV RU
           VXEVWDQFHVH[FHSWWRWKHH[WHQWWKDWDQRWLFHRIDYLRODWLRQRUDOOHJHGYLRODWLRQDIIHFWLQJ
           WKH/DQGKDVEHHQUHFRUGHGLQWKH3XEOLF5HFRUGVDW'DWHRI3ROLF\DQGLVQRWH[FHSWHG
           LQ6FKHGXOH%

        $Q\FKDUJHVRUDVVHVVPHQWVSURYLGHGIRULQWKHFRQGRPLQLXPVWDWXWHVDQGFRQGRPLQLXP
           GRFXPHQWVGXHDQGXQSDLGDW'DWHRI3ROLF\

        7KHIDLOXUHRIWKHXQLWDQGLWVFRPPRQHOHPHQWVWREHHQWLWOHGE\ODZWREHDVVHVVHGIRU
           UHDOSURSHUW\WD[HVDVDVHSDUDWHSDUFHO

        $Q\ REOLJDWLRQWRUHPRYHDQ\LPSURYHPHQWVWKDWH[LVWDW'DWHRI3ROLF\ EHFDXVHRIDQ\
           SUHVHQW HQFURDFKPHQWV RU EHFDXVH RI DQ\ IXWXUH XQLQWHQWLRQDO HQFURDFKPHQW RI WKH
           FRPPRQ HOHPHQWV XSRQ DQ\ XQLW RU RI DQ\ XQLW XSRQ WKH FRPPRQ HOHPHQWV RU DQRWKHU
           XQLW

        7KH IDLOXUH RI WKH 7LWOH E\ UHDVRQ RI D ULJKW RI ILUVW UHIXVDO WR SXUFKDVH WKH XQLW DQG LWV
           FRPPRQHOHPHQWVZKLFKZDVH[HUFLVHGRUFRXOGKDYHEHHQH[HUFLVHGDW'DWHRI3ROLF\

7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

>:LWQHVVFODXVHRSWLRQDO@
>)17*%5$1'@

%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

$/7$(QGRUVHPHQW)RUP
&RQGRPLQLXP  5HY 
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ



)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 261 of 807
(1'256(0(170$18$/)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                      6(&7,21


5HWXUQWR7DEOHRI&RQWHQWV
                                   3/$11('81,7'(9(/230(17
                           $/7$(1'256(0(17)2506DQG

                                            385326(
                                            
7KHVHHQGRUVHPHQWVSURYLGHDIILUPDWLYHFRYHUDJHIRUOHQGHUVORDQLQJRQWKHVHFXULW\RIXQLWVLQD
3ODQQHG 8QLW 'HYHORSPHQW RU 38' :KLOH GHVLJQHG IRU SROLFLHV RQ LQGLYLGXDO UHVLGHQFHV LQ
38'V WKH\ FDQ EH XVHG LQ DQ\ VLWXDWLRQ ZKHUH D KRPHRZQHUV DVVRFLDWLRQ DJUHHPHQW RU RWKHU
W\SH RI PDVWHU DJUHHPHQW LV UHFRUGHG $IILUPDWLYH FRYHUDJH LV SURYLGHG DJDLQVW ORVV FDXVHG E\
YLRODWLRQRIUHVWULFWLRQVRUE\WKHH[LVWHQFHRIFHUWDLQNLQGVRIUHVWULFWLRQV,QDGGLWLRQERWKFRYHU
ORVV IURP HQIRUFHG UHPRYDO RI EXLOGLQJV E\ UHDVRQ RI HQFURDFKPHQWV DQG IURP IDLOXUH RI 7LWOH
                                                      7KH$/7$LQVXUHVDJDLQVWORVVIURPODFN
FDXVHGE\WKHH[HUFLVHRIDQ\ULJKWRIILUVWUHIXVDO7KH$/7$LQVXUHVDJDLQVWORVVIURPODFN
RISULRULW\RIWKHPRUWJDJHOLHQRYHUWKHOLHQIRUKRPHRZQHUV¶DVVRFLDWLRQDVVHVVPHQWV7KH$/7$
GLIIHUVLQWKDWWKHUHLVQRLQVXUDQFHRISULRULW\RYHUIXWXUHDVVHVVPHQWVLQ3DUDJUDSKRI
WKHLQVWHDGLWRQO\FRYHUVXQSDLGDVVHVVPHQWVDWGDWHRISROLF\,
WKHLQVWHDGLWRQO\FRYHUVXQSDLGDVVHVVPHQWVDWGDWHRISROLF\,QWKDWUHJDUGWKH
LVDSSURSULDWHIRUXVHZKHUHWKHDJUHHPHQWRUDSSOLFDEOHODZGRQRWDOORZLQVXUDQFHRISULRULW\RI
WKH ,QVXUHG 0RUWJDJH 7KH $/7$  LV DOVR WKH DSSURSULDWH IRUP IRU XVH ZLWK DQ 2ZQHUV
3ROLF\

                    6(&7,212)7+(32/,&<$0(1'('%<(1'256(0(17

7KHSURYLVLRQVRIWKHVHHQGRUVHPHQWVH[SDQGFRYHUDJHRIWKHSROLFLHVDVGHVFULEHGEHORZ7KH
FRYHUDJHVGRRYHUODSFRYHUDJHVDIIRUGHGLQWKH&/7$DQG$/7$(QGRUVHPHQW6HULHV

                                %$6,6)253529,',1*&29(5$*(

,QVXULQJ &ODXVH 1R  SURYLGHV FRYHUDJH DJDLQVW ORVV UHVXOWLQJ IURP YLRODWLRQ RI UHVWULFWLYH
FRYHQDQWV DIIHFWLQJ WKH /DQG  ,W DOVR FRYHUV WKH OHQGHU DJDLQVW ORVV EHFDXVH FRYHQDQWV H[LVW
ZKLFKZRXOGFDXVHDIRUIHLWXUHRIWKH7LWOHLIYLRODWHG7KLVODWWHUFRYHUDJHLVHIIHFWLYHZKHWKHU
RUQRWWKHYLRODWLRQRFFXUV,WLVGHVLJQHGWRFRYHUORVVHVE\WKHOHQGHULIWKHORDQFDQQRWEH
VROGGXHWRWKHH[LVWHQFHRIVXFKDFRYHQDQW

7KHFRYHUDJHRIWKLVFODXVHPD\EHJLYHQRQO\ZKHUHRQHRUPRUHRIWKHIROORZLQJFLUFXPVWDQFHV
H[LVW
           
        1RFRYHQDQWFRQGLWLRQRUUHVWULFWLRQDSSHDUVLQ\RXUWLWOHH[DPLQDWLRQRU




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 262 of 807
(1'256(0(170$18$/)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                           6(&7,21


         
      $Q\ FRYHQDQW RU UHVWULFWLRQ ZKLFK GRHV DSSHDU GRHV QRW FRQWDLQ DQ\ SURYLVLRQ IRU
         UHYHUVLRQRI7LWOHRUDQ\SRZHUWRWHUPLQDWHWKH7LWOHXSRQYLRODWLRQ

DQGRQHRUPRUHRIWKHIROORZLQJFLUFXPVWDQFHVH[LVWV

        D      1RQHRIWKHFRYHQDQWVRUUHVWULFWLRQVDUHHQIRUFHDEOHXQGHUVWDWHRUIHGHUDOODZV
         &$87,21 ([WUD+D]DUGRXV 5LVN LV LQYROYHG DQG \RX PXVW UHFHLYH WKH DSSURYDO RI
         WKH&RPSDQ\¶VXQGHUZULWLQJDGYLVHUWRXVHWKLVDVWKHEDVLVRILVVXDQFHLQDQ\FDVH
         RWKHUWKDQFRYHQDQWVFRQGLWLRQVRUUHVWULFWLRQVEDVHGRQUDFHFRORUUHOLJLRQVH[
         KDQGLFDSIDPLOLDOVWDWXVRUQDWLRQDORULJLQ

         E      7KH FRYHQDQWV DQG UHVWULFWLRQV SURYLGH WKDW WKH NLQG RI PRUWJDJH OLHQ \RX DUH
         LQVXULQJ LV SURWHFWHG DJDLQVW WKH HIIHFW RI DQ\ YLRODWLRQ  127(  0267 2)7(1 21/<
         ),5670257*$*(/,(16$5(3527(&7('
         
         F      7KH FRYHQDQWV RU UHVWULFWLRQV UHODWH RQO\ WR SK\VLFDO FKDUDFWHULVWLFV RI WKH
         SURSHUW\RULPSURYHPHQWVRQLWDQG\RXKDYHDQDGHTXDWH FXUUHQWVXUYH\RULQVSHFWLRQ
         ZKLFKGLVFORVHVWKHUHDUHQRYLRODWLRQV

,)<28),1'$1<&21',7,216,1<285(;$0,1$7,212)7,7/(<280867127,668(
7+,6 (1'256(0(17 XQOHVV WKH FRQGLWLRQ LV EDVHG XSRQ UDFH FRORU UHOLJLRQ VH[ KDQGLFDS
IDPLOLDO VWDWXV RU QDWLRQDO RULJLQ VLQFH  FRQGLWLRQV EDVHG RQ WKHVH FKDUDFWHULVWLFV DUH QRW
HQIRUFHDEOHXQGHUVWDWHDQGIHGHUDOODZ

6WDWHPHQWVWRWKHHIIHFWWKDWWKHSURSHUW\LVRZQHG³RQWKHFRQGLWLRQWKDW´FHUWDLQWKLQJVQRWRFFXU
RU ³DV ORQJ DV´ D FHUWDLQ VWDWH RI IDFWV H[LVW FUHDWH FRQGLWLRQV RQ WKH RZQHUVKLS RI WKH /DQG
7KRXJKQRWFRPPRQO\IRXQGLQSODQQHGGHYHORSPHQWVWKH\DUHH[WUHPHO\GDQJHURXVEHFDXVH
RI WKHLU HIIHFW RQ WLWOH  ,I \RX DUH LQ GRXEW DV WR WKH H[LVWHQFH RI D FRQGLWLRQ FRQWDFW WKH
&RPSDQ\¶VXQGHUZULWLQJDGYLVHU

,QVXULQJ&ODXVH1RLVZKHUHWKHWZRHQGRUVHPHQWVGLIIHU

7KH$/7$SURYLGHVFRYHUDJHIRUWKHSULRULW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJHRYHUWKHOLHQ
RIDVVHVVPHQWVE\DKRPHRZQHU¶VDVVRFLDWLRQ7KLVZRXOGQRWEHFRYHUHGE\WKHSROLF\ZLWKRXW
DQHQGRUVHPHQWEHFDXVHWKHSROLF\VKRXOGKDYHDQH[FHSWLRQLQ6FKHGXOH%IRUWKHFRYHQDQWVRU
UHVWULFWLRQVZKLFKFUHDWHWKHOLHQIRUWKHVHDVVHVVPHQWV




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 263 of 807
(1'256(0(170$18$/)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                              6(&7,21




7KLVFRYHUDJHPD\EHJLYHQRQO\LIVWDWHODZRUWKHFRYHQDQWVDQGUHVWULFWLRQVZKLFKSURYLGHIRU
WKHOLHQIRUDVVHVVPHQWVDOVRSURYLGHWKDWWKHOLHQRIWKHPRUWJDJH\RXDUHLQVXULQJLVSULRUWRWKH
DVVHVVPHQW OLHQ 7KH XVXDO SURYLVLRQ LV WKDW D ILUVW PRUWJDJH OHQGHU¶V OLHQ LV VXSHULRU WR WKH
DVVRFLDWLRQ¶VOLHQIRUFKDUJHVDVVHVVHGDIWHUWKHUHFRUGLQJRIWKHPRUWJDJHRUGHHGRIWUXVW6XFK
DSURYLVLRQZRXOGQRWSURWHFWDVHFRQGRUORZHUSULRULW\OHQGHUDQGLQWKRVHVLWXDWLRQV\RXZRXOG
QHHG WR LVVXH WKH  ZKLFK PHUHO\ LQVXUHV WKHUH DUH QR OLHQV GXH DQG XQSDLG RQ 'DWH RI
3ROLF\7KHLVDOVRWKHDSSURSULDWHIRUPWRLVVXHZLWKDQ2ZQHU¶V3ROLF\

7R LVVXH WKH $/7$  \RX PXVW GHWHUPLQH WKDW DOO FKDUJHV RU DVVHVVPHQWV SURYLGHG IRU LQ
DQ\GRFXPHQWVVKRZQLQ6FKHGXOH%ZKLFKDUHGXHKDYHEHHQSDLG,IWKHUHLVDJURXQGOHDVH
RU UHFUHDWLRQ OHDVH ZKLFK WKH 38' RZQHU RU +2$ DVVRFLDWLRQ LV REOLJDWHG WR SD\ \RX PXVW
GHWHUPLQHWKDWDOOFKDUJHVDUHFXUUHQW

,QVXULQJ &ODXVH 1R  SURYLGHV FRYHUDJH DJDLQVW IRUFHG UHPRYDO RI LPSURYHPHQWV  7KLV LV DQ
HOHPHQWRIORVVFRYHUHGE\WKH$/7$/RDQSROLFLHVZKLFKKDYHQRH[FHSWLRQVIRUVXUYH\PDWWHUV
LQ6FKHGXOH%

7KLVFRYHUDJHVKRXOGEHJLYHQRQO\ZKHQ\RXKDYHDQDGHTXDWHFXUUHQWVXUYH\RULQVSHFWLRQRI
WKH/DQGDQGLPSURYHPHQWVZKLFKGLVFORVHVWKHUHDUHQRHQFURDFKPHQWVRILPSURYHPHQWVRYHU
ERXQGDU\OLQHVRUHDVHPHQWV6LQFHERXQGDU\ZDOOVDQGIHQFHVDUHH[FOXGHG\RXQHHGQRWEH
FRQFHUQHG ZLWKWKHPIRUSXUSRVHVRILVVXLQJWKLVHQGRUVHPHQW +RZHYHU LI \RXDUH LVVXLQJDQ
$/7$ /RDQ 3ROLF\ ZLWKRXW DQ\ H[FHSWLRQV IRU VXUYH\ PDWWHUV LQ 6FKHGXOH % \RX PXVW EH
FRQFHUQHG ZLWK ERXQGDU\ ZDOOV DQG IHQFHV EHFDXVH WKH SROLF\ ZLOO SURYLGH FRYHUDJH RYHU WKHP
ZLWKRUZLWKRXWWKLVHQGRUVHPHQW

,QVXULQJ &ODXVH 1R  FRYHUV ORVV EHFDXVH RI IDLOXUH RI 7LWOH RI WKH ERUURZHU UHVXOWLQJ IURP
H[HUFLVHRIDULJKWRIILUVWUHIXVDOZKLFKH[LVWHGDWWKH'DWHRI3ROLF\ZKHWKHUVXFKH[HUFLVHZDV
EHIRUH RU DIWHU WKDW GDWH  7KH FRQVHTXHQW IDLOXUH RI 7LWOH WR SURSHUW\ DFTXLUHG E\ WKH LQVXUHG
OHQGHU WKURXJK IRUHFORVXUH RU GHHGLQOLHXRIIRUHFORVXUH ZRXOG DOVR EH FRYHUHG  7KH SROLF\
ZRXOGQRWFRYHUWKHVHPDWWHUVZLWKRXWWKLVHQGRUVHPHQWEHFDXVHDQH[FHSWLRQVKRXOGDSSHDULQ
6FKHGXOH%IRUWKHLQVWUXPHQWRULQVWUXPHQWVFUHDWLQJWKLVULJKW

<RXPXVWGHWHUPLQHWKDWWKHUHDUHQRSURYLVLRQVLQDQ\RIWKHGRFXPHQWVDIIHFWLQJWKH7LWOHZKLFK
FUHDWHDULJKWRIILUVWUHIXVDOWRSXUFKDVHWKH/DQG7KLVNLQGRISURYLVLRQPLJKWEHLQFOXGHGLQWKH
FRYHQDQWV DQG UHVWULFWLRQV RI WKH SURMHFW LWVHOI  ,I \RX GR ILQG VXFK D ULJKW \RX PXVW UHTXLUH D
SURSHU ZDLYHU RU UHOLQTXLVKPHQW IURP WKH SURSHU SHUVRQ RU SDUW\ SULRU WR LVVXLQJ WKLV




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 264 of 807
(1'256(0(170$18$/)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                              6(&7,21



HQGRUVHPHQW$ZDLYHUE\WKHKRPHRZQHU¶VDVVRFLDWLRQLVQRWOLNHO\WREHVXIILFLHQWDVDZDLYHU
E\ DQ\ RI WKH SURSHUW\ RZQHUV LI WKH ULJKW UXQV LQ WKHLU IDYRU  6LPLODUO\ DQ DVVRFLDWLRQ¶V ZDLYHU
ZRXOG GR QR JRRG ZKHUH WKH ULJKW ZDV LQ D JRYHUQPHQWDO ERG\ DV LV WKH FDVH IRU FHUWDLQ ORZ
LQFRPHPXOWLIDPLO\KRXVLQJGHYHORSPHQWV

                                               02',),&$7,21
                                                     
,Q WKH HYHQW WKDW PRGLILFDWLRQ RI DQ HQGRUVHPHQW LV UHTXHVWHG LW LV QHFHVVDU\ WR FRQVLGHU \RXU

VWDWHUHJXODWRU\UHTXLUHPHQWVIRUILOLQJDQGDSSURYDORIIRUPV,IWKHHQGRUVHPHQWLVPRGLILHGWKH

HQGRUVHPHQWLVQRWDQ$/7$IRUPDQGVKRXOGQRWUHIHUHQFH$/7$LQWKHWLWOH<RXPXVWREWDLQ

WKH DSSURYDO RI WKH &RPSDQ\¶V XQGHUZULWLQJ DGYLVHU EHIRUH FRPSO\LQJ ZLWK DQ\ UHTXHVW IRU D

PRGLILFDWLRQ


5HWXUQWR7DEOHRI&RQWHQWV











                                                          

                                                          




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 265 of 807
(1'256(0(170$18$/)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                       6(&7,21


                                             (1'256(0(17

                                   $WWDFKHGWR3ROLF\1RBBBBBBBBBBB

                                               ,VVXHG%\
                                             >)17*%5$1'@
                                                    

7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI

   3UHVHQWYLRODWLRQVRIDQ\UHVWULFWLYHFRYHQDQWVUHIHUUHGWR LQ 6FKHGXOH%WKDWUHVWULFWWKH
      XVHRIWKH/DQGRUWKHIRUIHLWXUHRUUHYHUVLRQRI7LWOHE\UHDVRQRIDQ\SURYLVLRQFRQWDLQHG
      LQWKHUHVWULFWLYHFRYHQDQWV$VXVHGLQWKLVSDUDJUDSKWKHZRUGV³UHVWULFWLYHFRYHQDQWV´
      GRQRWUHIHUWRRULQFOXGHDQ\FRYHQDQWFRQGLWLRQRUUHVWULFWLRQ D UHODWLQJWRREOLJDWLRQV
      RIDQ\W\SHWRSHUIRUPPDLQWHQDQFHUHSDLURUUHPHGLDWLRQRQWKH/DQGRU E SHUWDLQLQJ
      WRHQYLURQPHQWDOSURWHFWLRQRIDQ\NLQGRUQDWXUHLQFOXGLQJKD]DUGRXVRUWR[LFPDWWHUV
      FRQGLWLRQV RU VXEVWDQFHV H[FHSW WR WKH H[WHQW WKDW D QRWLFH RI D YLRODWLRQ RU DOOHJHG
      YLRODWLRQ DIIHFWLQJ WKH /DQG KDV EHHQ UHFRUGHG LQ WKH 3XEOLF 5HFRUGV DW 'DWH RI 3ROLF\
      DQGLVQRWH[FHSWHGLQ6FKHGXOH%
      
   7KH SULRULW\ RI DQ\ OLHQ IRU FKDUJHV DQG DVVHVVPHQWV LQ IDYRU RI DQ\ DVVRFLDWLRQ RI
      KRPHRZQHUV ZKLFK DUH SURYLGHG IRU LQ DQ\ GRFXPHQW DW 'DWH RI 3ROLF\ UHIHUUHG WR LQ
      6FKHGXOH%RYHUWKHOLHQRIDQ\,QVXUHG0RUWJDJHLGHQWLILHGLQ6FKHGXOH$
      
   7KHHQIRUFHGUHPRYDORIDQ\H[LVWLQJVWUXFWXUHRQWKH/DQG RWKHUWKDQDERXQGDU\ZDOO
      RUIHQFH EHFDXVHLWHQFURDFKHVRQWRDGMRLQLQJODQGRURQWRDQ\HDVHPHQWV
      
   7KHIDLOXUHRIWKH7LWOHE\UHDVRQRIDULJKWRIILUVWUHIXVDOWRSXUFKDVHWKH/DQGZKLFKZDV
      H[HUFLVHGRUFRXOGKDYHEHHQH[HUFLVHGDW'DWHRI3ROLF\

7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


>:LWQHVVFODXVHRSWLRQDO@





>)17*%5$1'@

%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB




$/7$(QGRUVHPHQW)RUP
3ODQQHG8QLW'HYHORSPHQW  5HY 
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ





)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 266 of 807
(1'256(0(170$18$/)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                          6(&7,21


                                              (1'256(0(17

                                   $WWDFKHGWR3ROLF\1RBBBBBBBBBBB

                                                ,VVXHG%\
                                              >)17*%5$1'@
                                                     

7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI

        3UHVHQWYLRODWLRQVRIDQ\UHVWULFWLYHFRYHQDQWVUHIHUUHGWR LQ6FKHGXOH%WKDWUHVWULFWWKH
           XVHRIWKH/DQGRUWKHIRUIHLWXUHRUUHYHUVLRQRI7LWOHE\UHDVRQRIDQ\SURYLVLRQFRQWDLQHG
           LQWKHUHVWULFWLYHFRYHQDQWV$VXVHGLQWKLVSDUDJUDSKWKHZRUGV³UHVWULFWLYHFRYHQDQWV´
           GRQRWUHIHUWRRULQFOXGHDQ\FRYHQDQWFRQGLWLRQRUUHVWULFWLRQ D UHODWLQJWRREOLJDWLRQV
           RIDQ\W\SHWRSHUIRUPPDLQWHQDQFHUHSDLURUUHPHGLDWLRQRQWKH/DQGRU E SHUWDLQLQJ
           WR HQYLURQPHQWDO SURWHFWLRQ RI DQ\ NLQG RU QDWXUH LQFOXGLQJ KD]DUGRXV RU WR[LF PDWWHUV
           FRQGLWLRQV RU VXEVWDQFHV H[FHSW WR WKH H[WHQW WKDW D QRWLFH RI D YLRODWLRQ RU DOOHJHG
           YLRODWLRQ DIIHFWLQJ WKH /DQG KDV EHHQ UHFRUGHG LQ WKH 3XEOLF 5HFRUGV DW 'DWH RI 3ROLF\
           DQGLVQRWH[FHSWHGLQ6FKHGXOH%

        $Q\ FKDUJHV RU DVVHVVPHQWV LQ IDYRU RI DQ\ DVVRFLDWLRQ RI KRPHRZQHUV ZKLFK DUH
           SURYLGHGIRULQDQ\GRFXPHQWUHIHUUHGWRLQ6FKHGXOH%GXHDQGXQSDLGDW'DWHRI3ROLF\

        7KHHQIRUFHGUHPRYDORIDQ\H[LVWLQJVWUXFWXUHRQWKH/DQG RWKHUWKDQDERXQGDU\ZDOO
           RUIHQFH EHFDXVHLWHQFURDFKHVRQWRDGMRLQLQJODQGRURQWRDQ\HDVHPHQWV

        7KHIDLOXUHRIWKH7LWOHE\UHDVRQRIDULJKWRIILUVWUHIXVDOWRSXUFKDVHWKH/DQGWKDWZDV
           H[HUFLVHGRUFRXOGKDYHEHHQH[HUFLVHGDW'DWHRI3ROLF\

7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


>:LWQHVVFODXVHRSWLRQDO@





>)17*%5$1'@

%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB




$/7$(QGRUVHPHQW)RUP
3ODQQHG8QLW'HYHORSPHQW  5HY 
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 267 of 807
(1'256(0(170$18$/)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                          6(&7,21


5HWXUQWR7DEOHRI&RQWHQWV
                                     9$5,$%/(5$7(0257*$*(
                       $/7$(1'256(0(17)2506DQG
                                                        
                                                 385326(

7KHVH HQGRUVHPHQWV ZHUH FUHDWHG WR LQVXUH WKH YDOLGLW\ DQG SULRULW\ RI WKH PRUWJDJH OLHQV
VHFXULQJ ORDQV ZLWK YDULDEOH LQWHUHVW UDWHV 7KH $/7$  LV WKH EDVLF YDULDEOH LQWHUHVW UDWH
HQGRUVHPHQW 7KH $/7$  LV GHVLJQHG IRU XVH ZKHUH OHQGHUV IDFH UHJXODWRU\ UHTXLUHPHQWV
ZKLFKPXVWEHIROORZHGLQRUGHUWRPDNHVXFKORDQV 1RWHWKHUHLVQRYHUVLRQRIWKH$/7$
)RUP 7KH$/7$ZDVFUHDWHGWRWKHYDOLGLW\DQGSULRULW\RIPRUWJDJHOLHQVDVVHFXULW\
IRU LQWHUHVW DW YDULDEOH UDWHV DQG DV VHFXULW\ IRU DGGLWLRQDO SULQFLSDO FUHDWHG E\ WKH QHJDWLYH
DPRUWL]DWLRQRIXQSDLGLQWHUHVW

&$87,21   7+( /$: ,1 0$1< 67$7(6 352+,%,76 25 *5($7/< ,03$,56 7+(
(1)25&(0(172)7+(.,1'62)/2$1672:+,&+7+($/7$(1'256(0(17,6
$33/,&$%/(  7+(5()25( <28 6+28/' 127 ,668( ,7 :,7+287 7+( $33529$/ 2)
7+(&203$1< 681'(5:5,7,1*$'9,6(5


                       6(&7,212)32/,&<$0(1'('%<(1'256(0(17

6HFWLRQ G RIWKH([FOXVLRQVIURP&RYHUDJHRIDOORIWKH$/7$/RDQ3ROLFLHVLVPRGLILHGE\HDFK
RIWKHVHHQGRUVHPHQWV

                                 %$6,6)253529,',1*&29(5$*(

(QGRUVHPHQW)RUP
                                                        
<RX DUH DXWKRUL]HG WR LVVXH WKLV HQGRUVHPHQW RQO\ ZKHQ DOO RI WKH IROORZLQJ UHTXLUHPHQWV DUH
PHW

      7KH ,QVXUHG 0RUWJDJH FRQWDLQV D FOHDU VWDWHPHQW WKDW LW VHFXUHV LQWHUHVW DW D YDULDEOH
         UDWH
         
      ,W LV QRW VXIILFLHQW IRU WKH PRUWJDJH RU GHHG RI WUXVW WR VWDWH PHUHO\ WKDW WKH LQWHUHVW
         VHFXUHGLVSXUVXDQWWRWKHWHUPVRIWKHQRWHRURWKHUVHFXULW\DJUHHPHQW


)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 268 of 807
(1'256(0(170$18$/)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                          6(&7,21


           
        7KH LQWHUHVW UDWH YDULHV DFFRUGLQJ WR D IRUPXOD GLVFORVHG LQ WKH ,QVXUHG 0RUWJDJH
           ZKLFK LV EDVHG RQ DQ LQGH[ WKDW FDQQRW EH HDVLO\ PDQLSXODWHG E\ WKH OHQGHU WR
           FKDQJHWKHUDWHRILQWHUHVWLWUHFHLYHV
           
           ([DPSOHVRILQGLFHVZKLFKFRPSO\ZLWKWKLVUHTXLUHPHQWDUH
           
                   )HGHUDOFRVWRIIXQGVLQGLFHV
                   
                   7UHDVXU\ELOOLQWHUHVWUDWHV
                   
                   7KH3ULPHUDWHRIDVXEVWDQWLDOORFDOQDWLRQDORULQWHUQDWLRQDOEDQNRWKHUWKDQWKH
                   OHQGHU LIDEDQN DQG
                   
                   7KH 3ULPH UDWH RI WKH OHQGLQJ EDQN LI D EDQN ORDQ  LI WKH EDQN LV D ODUJH
                   FRPPHUFLDOEDQN
           
        7KHGRFXPHQWVFRPSO\ ZLWKDOOUHTXLUHPHQWVRIDQ\VWDWHVWDWXWH ZKLFKJRYHUQVYDOLGLW\
           DQGSULRULW\RIPRUWJDJHVVHFXULQJYDULDEOHLQWHUHVWUDWHORDQV
                                                        
(QGRUVHPHQW)RUP

7KH FRYHUDJH RI WKLV HQGRUVHPHQW LV LGHQWLFDO WR WKH FRYHUDJH RI $/7$  H[FHSW LW DGGV DQ
H[FHSWLRQ WR FRYHUDJH  ,W GRHV QRW FRYHU ORVV UHVXOWLQJ IURP WKH OHQGHU¶V IDLOXUH WR FRPSO\ ZLWK
VWDWXWHV RU UHJXODWLRQV VSHFLILHG LQ WKH HQGRUVHPHQW ZKLFK JRYHUQ WKH DELOLW\ RI WKH OHQGHU WR
PDNHDYDULDEOHLQWHUHVWUDWHPRUWJDJH

:KLOH WKLV HQGRUVHPHQW KDV QRW EHHQ ZLWKGUDZQ E\ WKH $/7$ LW LV WRGD\ PRVWO\ D PDWWHU RI
KLVWRULFDO LQWHUHVW  7KH UHOD[DWLRQ RI IHGHUDO DQG VWDWH UHJXODWLRQ RQ OHQGLQJ LQVWLWXWLRQV ZLWK
UHVSHFW WR YDULDEOH LQWHUHVW UDWH PRUWJDJHV KDV GUDVWLFDOO\ UHGXFHG LWV XWLOLW\  $Q\ UHTXHVW \RX
UHFHLYHIRUWKLVHQGRUVHPHQWVKRXOGEHGLVFXVVHGZLWKWKH&RPSDQ\¶VXQGHUZULWLQJDGYLVHU


(QGRUVHPHQW)RUP 9DULDEOH5DWH±1HJDWLYH$PRUWL]DWLRQ 
    6HH&$87,21DWEHJLQQLQJRIWKLV6HFWLRQ 

3UHOLPLQDU\&RQVLGHUDWLRQV


)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 269 of 807
(1'256(0(170$18$/)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                        6(&7,21



7KLVHQGRUVHPHQWFRPELQHVWKHSURYLVLRQVRI$/7$ZLWKSURYLVLRQVFRYHULQJWKHVHFXULW\RI
QHJDWLYHDPRUWL]DWLRQRILQWHUHVW

1HJDWLYH DPRUWL]DWLRQ LV RQH QDPH FRPPRQO\ JLYHQ WR D SURFHVV ZKLFK DGGV LQWHUHVW ZKLFK LV
GXH DQG XQSDLG WR WKH SULQFLSDO EDODQFH RI WKH ORDQ ,W LV DOVR FDOOHG ³LQWHUHVW RQ LQWHUHVW´
$PRUWL]DWLRQ LV WKH SURFHVV ZKLFK UHGXFHV WKH SULQFLSDO EDODQFH DV SD\PHQWV DUH PDGH RQ D
ORDQ

1HJDWLYHDPRUWL]DWLRQORDQVDUHXVXDOO\VWUXFWXUHGVRWKDWWKHSULQFLSDOEDODQFHLQFUHDVHVUDWKHU
WKDQ GHFOLQLQJ RYHU WLPH  7KH PRVW FRPPRQ DUUDQJHPHQW LV WR DOORZ WKH ERUURZHU WR PDNH LWV
PRQWKO\SD\PHQWVDVLIWKHLQWHUHVWUDWHZHUHORZHUWKDQLWDFWXDOO\LV7KLVSURGXFHVDGHILFLWLQ
WKHLQWHUHVWSD\PHQWVZKLFKLVWKHQDGGHGWRWKHSULQFLSDO,QWHUHVWLVWKHQFKDUJHGRQWKHQHZ
SULQFLSDODPRXQWWKXVFRPSRXQGLQJLQWHUHVW7KHERUURZHUPDNHVORZHUSD\PHQWVLQWKHLQLWLDO
\HDUVRIWKHORDQDQGKLJKHUSD\PHQWVDWWKHHQG7KLVPD\EHDEHQHILWWRERUURZHUVZKRDUH
OLNHO\WRKDYHJUHDWHULQFRPHLQODWHU\HDUVVXFKDVILUVWWLPHKRPHSXUFKDVHUV

(QGRUVHPHQW&RYHUDJH

7KHFRYHUDJHIRUWKHYDULDEOHUDWHDVSHFWRIWKH,QVXUHG0RUWJDJHLVLGHQWLFDOWRWKDWSURYLGHGLQ
WKH$/7$

,Q DGGLWLRQ WKLV HQGRUVHPHQW SURYLGHV WKH IROORZLQJ FRYHUDJH IRU WKH QHJDWLYH DPRUWL]DWLRQ
DVSHFWV

             x   FRYHUDJH DJDLQVW ORVV LI WKH OLHQ RI WKH ,QVXUHG 0RUWJDJH LV UHQGHUHG
                  XQHQIRUFHDEOHDVDUHVXOWRILWVQHJDWLYHDPRUWL]DWLRQSURYLVLRQV

             x   FRYHUDJH DJDLQVW ORVV LI WKH OLHQ RI WKH ,QVXUHG 0RUWJDJH ORVHV LWV SULRULW\ DV
                  VHFXULW\ IRU WKH SULQFLSDO RI WKH ORDQ LQFOXGLQJ LQWHUHVW DGGHG WKURXJK QHJDWLYH
                  DPRUWL]DWLRQEHFDXVHRILWVQHJDWLYHDPRUWL]DWLRQSURYLVLRQV
         
7KLVHQGRUVHPHQWPD\EHLVVXHGRQO\LIDOORIWKHIROORZLQJUHTXLUHPHQWVDUHPHW

      $OORIWKHUHTXLUHPHQWVIRULVVXLQJDQ$/7$KDYHEHHQPHW





)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 270 of 807
(1'256(0(170$18$/)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                       6(&7,21


      7KH ,QVXUHG 0RUWJDJH FOHDUO\ VWDWHV WKDW LW VHFXUHV D ORDQ SURYLGLQJ IRU QHJDWLYH
         DPRUWL]DWLRQRUDGGLQJXQSDLGLQWHUHVWWRSULQFLSDO

      7KH ODZ RI WKH VWDWH LQ ZKLFK WKH /DQG OLHV GRHV QRW SURKLELW WKH PDNLQJ RI QHJDWLYH
         DPRUWL]DWLRQ ORDQV RU WKH FRPSRXQGLQJ RI LQWHUHVW  7KLV PD\ EH EDVHG RQ D GLIIHUHQW
         SXEOLFSROLF\WKDQWKHRQHRQZKLFKXVXU\LVEDVHG

      7KH DPRXQW RI LQWHUHVW ZKLFK ZLOO EH FKDUJHG DV D UHVXOW RI WKH QHJDWLYH DPRUWL]DWLRQ
         SURJUDP GRHV QRW DSSHDU WR EH XQFRQVFLRQDEO\ KLJK DV WKDW GHWHUPLQDWLRQ LV JHQHUDOO\
         XQGHUVWRRGXQGHUVWDWHODZ

,IDQ\WUDQVDFWLRQDSSHDUVWR\RXWRUHTXLUHWKHSD\PHQWRIH[WUHPHUDWHVRUDPRXQWVRILQWHUHVW
\RXVKRXOGFRQWDFWWKH&RPSDQ\ VXQGHUZULWLQJDGYLVHU

7KHSROLF\LVLVVXHGLQDIDFHDPRXQWZKLFKUHIOHFWVWKHLQFUHDVHGSULQFLSDODPRXQWRIWKHORDQDV
D UHVXOW RI QHJDWLYH DPRUWL]DWLRQ RIWHQ XS WR  RI WKH RULJLQDO SULQFLSDO DPRXQW RI WKH
PRUWJDJHEXWQRWLQH[FHVVRIWKHDPRXQWDOORZHGE\DQ\VWDWHLQVXUDQFHODZVRUUHJXODWLRQV
                                                       
                                             02',),&$7,21
                                                       
,Q WKH HYHQW WKDW PRGLILFDWLRQ RI DQ HQGRUVHPHQW LV UHTXHVWHG LW LV QHFHVVDU\ WR FRQVLGHU \RXU
VWDWHUHJXODWRU\UHTXLUHPHQWVIRUILOLQJDQGDSSURYDORIIRUPV,IWKHHQGRUVHPHQWLVPRGLILHGWKH
HQGRUVHPHQWLVQRWDQ$/7$IRUPDQGVKRXOGQRWUHIHUHQFH$/7$LQWKHWLWOH <RXPXVWREWDLQ
WKH DSSURYDO RI WKH &RPSDQ\¶V XQGHUZULWLQJ DGYLVHU EHIRUH FRPSO\LQJ ZLWK DQ\ UHTXHVW IRU D
PRGLILFDWLRQ


5HWXUQWR7DEOHRI&RQWHQWV

                                                       





)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 271 of 807
(1'256(0(170$18$/)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                            6(&7,21


                                               (1'256(0(17

                                    $WWDFKHGWR3ROLF\1RBBBBBBBBBBB

                                                 ,VVXHG%\
                                               >)17*%5$1'@
                                                      

7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI

        7KH LQYDOLGLW\ RU XQHQIRUFHDELOLW\ RI WKH OLHQ RI WKH ,QVXUHG 0RUWJDJH UHVXOWLQJ IURP LWV
           SURYLVLRQVWKDWSURYLGHIRUFKDQJHVLQWKHUDWHRILQWHUHVW

        /RVV RI SULRULW\ RI WKH OLHQ RI WKH ,QVXUHG 0RUWJDJH DV VHFXULW\ IRU WKH XQSDLG SULQFLSDO
           EDODQFHRIWKHORDQWRJHWKHUZLWKLQWHUHVWDVFKDQJHGLQDFFRUGDQFHZLWKWKHSURYLVLRQV
           RI WKH ,QVXUHG 0RUWJDJH ZKLFK ORVV RI SULRULW\ LV FDXVHG E\ WKH FKDQJHV LQ WKH UDWH RI
           LQWHUHVW

&KDQJHVLQWKHUDWHRILQWHUHVWDVXVHGLQWKLVHQGRUVHPHQWVKDOOPHDQRQO\WKRVHFKDQJHVLQ
WKHUDWHRILQWHUHVWFDOFXODWHGSXUVXDQWWRWKHIRUPXODSURYLGHGLQWKHGRFXPHQWVVHFXUHGE\WKH
,QVXUHG0RUWJDJHDW'DWHRI3ROLF\

7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJHEDVHGXSRQ

                   XVXU\RU

                   DQ\FRQVXPHUFUHGLWSURWHFWLRQRUWUXWKLQOHQGLQJODZ

7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


>:LWQHVVFODXVHRSWLRQDO@





>)17*%5$1'@

%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB




$/7$(QGRUVHPHQW)RUP
9DULDEOH5DWH  5HY 
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ


)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 272 of 807
(1'256(0(170$18$/)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                               6(&7,21


)RUXVHZLWKSROLFLHVRUROGHU
                                                (1'256(0(17
                                           $WWDFKHGWR3ROLF\1RBBBBBB
                                                       ,VVXHGE\
                                                     >)17*%5$1'@

7KH &RPSDQ\ LQVXUHV WKH RZQHU RI WKH LQGHEWHGQHVV VHFXUHG E\ WKH LQVXUHG PRUWJDJH DJDLQVW ORVV RU
GDPDJHVXVWDLQHGE\UHDVRQRI

      7KH LQYDOLGLW\ RU XQHQIRUFHDELOLW\ RI WKH OLHQRI WKH LQVXUHGPRUWJDJH UHVXOWLQJ IURPWKHSURYLVLRQV
         WKHUHLQZKLFKSURYLGHIRUFKDQJHVLQWKHUDWHRILQWHUHVW

      /RVVRISULRULW\RIWKHOLHQRIWKHLQVXUHGPRUWJDJHDVVHFXULW\IRUWKHXQSDLGSULQFLSDOEDODQFHRIWKH
         ORDQWRJHWKHUZLWKLQWHUHVWDVFKDQJHGLQDFFRUGDQFHZLWKWKHSURYLVLRQVRIWKHLQVXUHGPRUWJDJH
         ZKLFKORVVRISULRULW\LVFDXVHGE\WKHFKDQJHVLQWKHUDWHRILQWHUHVW

³&KDQJHVLQWKHUDWHRILQWHUHVW´DVXVHGLQWKLVHQGRUVHPHQWVKDOOPHDQRQO\WKRVHFKDQJHVLQWKHUDWHRI
LQWHUHVWFDOFXODWHGSXUVXDQWWRWKHIRUPXODSURYLGHGLQWKHLQVXUHGPRUWJDJHDW'DWHRI3ROLF\

7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJHE\UHDVRQRIWKHIDLOXUHRIWKHLQVXUHGWRFRPSO\
ZLWKWKHIROORZLQJVWDWXWHVRUUHJXODWLRQVFRQFHUQLQJYDULDEOHUDWHPRUWJDJHV

7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJHEDVHGXSRQ D XVXU\RU E DQ\FRQVXPHUFUHGLW
SURWHFWLRQRUWUXWKLQOHQGLQJODZ

7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW L PRGLI\DQ\RI
WKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV LLL H[WHQGWKH'DWHRI3ROLF\RU
  LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQRIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLV
LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV  2WKHUZLVH WKLV
HQGRUVHPHQWLVVXEMHFWWRDOORIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

>:LWQHVVFODXVHRSWLRQDO@


>)17*%5$1'@

%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                                                          



                                                                       

$/7$(QGRUVHPHQW)RUP
9DULDEOH5DWH0RUWJDJH   
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ


)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 273 of 807
(1'256(0(170$18$/)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                          6(&7,21


                                                (1'256(0(17

                                     $WWDFKHGWR3ROLF\1RBBBBBBBBBBB

                                                   ,VVXHG%\
                                                 >)17*%5$1'@
                                                        

7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI

        7KH LQYDOLGLW\ RU XQHQIRUFHDELOLW\ RI WKH OLHQ RI WKH ,QVXUHG 0RUWJDJH UHVXOWLQJ IURP LWV
           SURYLVLRQVWKDWSURYLGHIRU D LQWHUHVWRQLQWHUHVW E FKDQJHVLQWKHUDWHRILQWHUHVWRU F 
           WKHDGGLWLRQRIXQSDLGLQWHUHVWWRWKHSULQFLSDOEDODQFHRIWKHORDQ

        /RVVRISULRULW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJHDVVHFXULW\IRUWKHSULQFLSDOEDODQFHRI
           WKHORDQ LQFOXGLQJDQ\XQSDLGLQWHUHVW ZKLFK ZDVDGGHGWRSULQFLSDOLQDFFRUGDQFHZLWK
           WKH SURYLVLRQV RI WKH ,QVXUHG 0RUWJDJH LQWHUHVW RQ LQWHUHVW RU LQWHUHVW DV FKDQJHG LQ
           DFFRUGDQFHZLWKWKHSURYLVLRQVRIWKH,QVXUHG0RUWJDJHZKLFKORVVRISULRULW\LVFDXVHG
           E\ D  FKDQJHV LQ WKH UDWH RI LQWHUHVW E  LQWHUHVW RQ LQWHUHVW RU F  LQFUHDVHV LQ WKH
           XQSDLGSULQFLSDOEDODQFHRIWKHORDQUHVXOWLQJIURPWKHDGGLWLRQRIXQSDLGLQWHUHVW

&KDQJHVLQWKHUDWHRILQWHUHVWDVXVHGLQWKLVHQGRUVHPHQWVKDOOPHDQRQO\WKRVHFKDQJHVLQ
WKHUDWHRILQWHUHVWFDOFXODWHGSXUVXDQWWRWKHIRUPXODSURYLGHGLQWKHORDQGRFXPHQWVVHFXUHGE\
WKH,QVXUHG0RUWJDJHDW'DWHRI3ROLF\

7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJHEDVHGXSRQ

                 XVXU\RU

                 DQ\FRQVXPHUFUHGLWSURWHFWLRQRUWUXWKLQOHQGLQJODZ

7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


>:LWQHVVFODXVHRSWLRQDO@





>)17*%5$1'@

%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB




$/7$(QGRUVHPHQW)RUP
9DULDEOH5DWH1HJDWLYH$PRUWL]DWLRQ  5HY 
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ

)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 274 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                       6(&7,21


5HWXUQWR7DEOHRI&RQWHQWV
                                      0$18)$&785('+286,1*
                       $/7$(1'256(0(17±)2506DQG
                                                       
                                                385326(

7KHVHHQGRUVHPHQWVFODULI\ZKHWKHURUQRWDPDQXIDFWXUHGKRXVLQJXQLW ³0+8´ ORFDWHGRQWKH
/DQGLVFRYHUHGE\WKHLQVXUDQFHSROLF\7KH$/7$DGGVWKH0+8WRWKHGHILQLWLRQRI/DQG
,QDGGLWLRQWKH$/7$DQGWKH$/7$LQVXUHDJDLQVWORVVRUGDPDJHLIWKH0+8LVQRW
ORFDWHGRQWKHVXEMHFWSUHPLVHVLIWKHUHDUH8&&W\SHOLHQVILOHGDJDLQVWWKH0+8DQGLIWKH0+8
GRHVQRWFRQVWLWXWHUHDOSURSHUW\XQGHUVWDWHODZ7KH$/7$ZKLFKLVWKHIRUPWREHXVHG
ZLWKD/RDQ3ROLF\DOVRLQVXUHVWKDWWKH,QVXUHG0RUWJDJHFDQEHHQIRUFHGLQDVLQJOHIRUHFORVXUH
DFWLRQDJDLQVWERWKWKH0+8DQGWKH/DQG

                           6(&7,212)32/,&<$0(1'('%<(1'256(0(17

7KHVH HQGRUVHPHQWV GR QRW DPHQG DQ\ VHFWLRQ RI WKH SROLF\  +RZHYHU WKH\ GR PRGLI\ WKH
LPSDFW RQ FRYHUDJH RI WKH GHILQLWLRQ RI ³/DQG´ FRQWDLQHG LQ &RQGLWLRQV 1R  J  RI WKH $/7$
2ZQHU¶V 3ROLF\ DQG 1R  L  RI WKH $/7$ /RDQ 3ROLF\  %HFDXVH RI WKLV GHILQLWLRQ WKH SROLFLHV
QRUPDOO\RQO\LQVXUHWLWOHVWRRUPRUWJDJHOLHQVRQD0+8LIWKH0+8LVFRQVLGHUHGDIL[WXUHXQGHU
VWDWHODZ,VVXDQFHRIWKHVHHQGRUVHPHQWVFRQVWLWXWHVWKH&RPSDQ\¶VUHFRJQLWLRQWKDWWKH0+8
RQWKH/DQGLVFRYHUHGE\WKHSROLF\DQGLQWKHFDVHRIWKH$/7$DQGWKHDJDLQVW
ORVV RFFDVLRQHG E\ WKH IDLOXUH WR PHHW VWDWH UHTXLUHPHQWV IRU FRQYHUVLRQ RI WKH 0+8 IURP
SHUVRQDOWRUHDOSURSHUW\


                                 %$6,6)253529,',1*&29(5$*(
$/7$ LQFOXVLRQRI0+8ZLWKLQWKHGHILQLWLRQRI/DQG 

<RXPD\LVVXHWKLVHQGRUVHPHQWLIDOORIWKHIROORZLQJUHTXLUHPHQWVDUHPHW
      7KHUHPXVWEHQRVWDWHODZZKLFKZRXOGPDNHLWLPSRVVLEOHIRUWKH0+8WREHFRPHUHDO
         SURSHUW\

&$87,21  7+( &203$1<¶6 81'(5:5,7,1* $'9,625 6+28/' %( &2168/7(' )25
,1685$%,/,7<,1<28567$7(





)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 275 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                           6(&7,21


      <RXPXVWGHWHUPLQHWKDWWKHRZQHURIWKHXQGHUO\LQJ/DQGLVWKHRZQHURIWKH0+87KLV
         VKRXOGEHGRQHE\H[DPLQLQJWKHFXUUHQWPRWRUYHKLFOHWLWOHFHUWLILFDWHZKLFKZDVLVVXHG
         ZKHQWKHXQLWZDVSXUFKDVHGRUUHJLVWHUHGLQWKHODVWVWDWHRIUHVLGHQFHRIWKHRZQHU

      <RXPXVWGHWHUPLQHWKDWWKH0+8LVDFWXDOO\ORFDWHGRQWKH/DQG

      <RXPXVWGHWHUPLQHWKDWWKHXQLWLVSHUPDQHQWO\DIIL[HGWRWKH/DQG7REHSHUPDQHQWO\
         DIIL[HG WKH ZKHHOV DQG D[OHV RI WKH XQLW PXVW KDYH EHHQ UHPRYHG  ,W PXVW DOVR EH
         KRRNHGXSWRSXEOLFXWLOLWLHVVXFKDVJDVRUHOHFWULFLW\

      <RX PXVW GHWHUPLQH ZKHWKHU DQ\ VHFXULW\ LQWHUHVWV HQFXPEHULQJ WKH XQLW DW WKH WLPH LW
         ZDVDIIL[HGWRWKH/DQGVWLOOH[LVW,IWKH\GR\RXPXVWUHTXLUHWKHLUUHOHDVHRU\RXPXVW
         VKRZWKHPDVDQH[FHSWLRQLQ6FKHGXOH%RIDQ\2ZQHU¶V3ROLF\DQG6FKHGXOH%3DUW,
         RIDQ\$/7$/RDQ3ROLF\ZKLFK\RXLVVXHDQGWRZKLFK\RXDGGWKHIROORZLQJ

                   7KLVLVDPDWWHUFRYHUHGXQGHUWKH8QLIRUP&RPPHUFLDO&RGHRUXQGHU
                   WKHPRWRUYHKLFOHUHJLVWUDWLRQODZVRIWKHVWDWHRIUHVLGHQFHRIWKHRZQHU
                   RIWKHXQLW

7KHSUREOHPRIH[LVWLQJVHFXULW\LQWHUHVWVLVFRPSOH[6WDWHODZJHQHUDOO\WUHDWV0+8VDVPRWRU
YHKLFOHVDWOHDVWXQWLO WKH\DUH DIIL[HGWR DSDUFHO RIODQG:KLOHWKH\ DUHPRWRUYHKLFOHV OLHQV
ZKLFKHQFXPEHUWKHPPXVWEHILOHGLQWKHSODFHGHVLJQDWHGIRUPRWRUYHKLFOHV7KHVHDUHVKRZQ
RQ WKH PRVW FXUUHQW YHKLFOH WLWOH FHUWLILFDWHV  (YHQ DIWHU EHFRPLQJ DIIL[HG WKH\ PD\ VWLOO UHWDLQ
WKHLU PRWRU YHKLFOH UHJLVWUDWLRQ LQ VRPH VWDWHV  7KXV H[DPLQDWLRQ RI WKH YHKLFOH WLWOH FHUWLILFDWH
PD\ EH UHTXLUHG HDFK WLPH D WUDQVDFWLRQ WDNHV SODFH DIWHU DIIL[DWLRQ WR WKH ODQG  ,W LV SRVVLEOH
VXFKODZVPD\SUHYHQWWKHXQLWIURPHYHUEHLQJFRQVLGHUHGUHDOSURSHUW\&RQVXOWWKH&RPSDQ\¶V
XQGHUZULWLQJDGYLVRUIRUWKHVWDWXVRIWKHODZLQ\RXUVWDWH

3ULRUWREHLQJSHUPDQHQWO\DIIL[HGPRELOHKRPHVDUHDOVRSHUVRQDOSURSHUW\VXEMHFWWR$UWLFOHRI
WKH8QLIRUP&RPPHUFLDO&RGHZKLFKUHODWHVWRVHFXULW\LQWHUHVWV7KHUHIRUHD8&&VHDUFKPD\
KDYH WR EH GRQH ERWK LQ WKH FDSLWRO RI WKH VWDWH ZKHUH WKH /DQG LV ORFDWHG DQG XQGHU VRPH
FLUFXPVWDQFHV LQ WKH FDSLWRO RI WKH VWDWH ZKHUH WKH XQLW ZDV ODVW UHJLVWHUHG  )RU VHDUFKLQJ
UHTXLUHPHQWVFRQVXOWWKH&RPSDQ\¶VXQGHUZULWLQJDGYLVHU

      <RX PXVW DGG D QRWDWLRQ LQ WKH OHJDO GHVFULSWLRQ LQ 6FKHGXOH $ LGHQWLI\LQJ WKH PRELOH
         KRPHXQLWDVDSDUWRIWKHSURSHUW\LQVXUHG7KHXQLW¶VPDNHDQGVHULDOQXPEHUVKRXOGEH
         LQFOXGHG


)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 276 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                      6(&7,21



$/7$DQG&RQYHUVLRQ
<RXPD\LVVXHWKLVHQGRUVHPHQWLIDOORIWKHIROORZLQJUHTXLUHPHQWVDUHPHW
       7KHUHPXVWEHQRVWDWHODZZKLFKZRXOGPDNHLWLPSRVVLEOHIRUWKH0+8WREHFRPHUHDO
          SURSHUW\

&$87,217+(&203$1<¶681'(5:5,7,1*$'9,6256+28/'%(&2168/7(')25
,1685$%,/,7<,1<28567$7(

       <RXPXVWGHWHUPLQHWKDWWKH0+8KDVEHFRPHUHDOSURSHUW\XQGHUVWDWHODZDQGWKDWDOO
          SURFHGXUHVQHFHVVDU\IRUWKHFRQYHUVLRQRIWKH0+8IURPSHUVRQDOSURSHUW\WRUHDO
          SURSHUW\KDYHEHHQDFFRPSOLVKHG7KLVFRXOGLQFOXGHWKHVXUUHQGHUDQGFDQFHOODWLRQRI
          WKHPRWRUYHKLFOHWLWOH
      
&$87,217+(&203$1<¶681'(5:5,7,1*$'9,6256+28/'%(&2168/7(')25
,1685$%,/,7<,1<28567$7(

       <RXPXVWGHWHUPLQHWKDWWKHRZQHURIWKHXQGHUO\LQJ/DQGLVWKHRZQHURIWKH0+8
          7KLVVKRXOGEHGRQHE\H[DPLQLQJWKHFXUUHQWPRWRUYHKLFOHWLWOHFHUWLILFDWHLVVXHGZKHQ
          WKHXQLWZDVSXUFKDVHGRUUHJLVWHUHGLQWKHODVWVWDWHRIUHVLGHQFHRIWKHRZQHURUE\
          YHULI\LQJWKHFKDLQRIWLWOHVLQFHWKHFRQYHUVLRQGLVFXVVHGDW1RDERYH

       <RX PXVW GHWHUPLQH WKDW WKH 0+8 LV DFWXDOO\ ORFDWHG RQ WKH /DQG $SSUDLVDO VXUYH\
          LQVSHFWLRQRUDIILGDYLWDUHDIHZRIWKHZD\VWRDFFRPSOLVKWKLV&RQVXOWWKH&RPSDQ\¶V
          XQGHUZULWLQJDGYLVRUIRUWKHVSHFLILFUHTXLUHPHQWVIRU\RXUVWDWH

       <RXPXVWGHWHUPLQHWKDWWKHXQLWLVSHUPDQHQWO\DIIL[HGWRWKH/DQG7REHSHUPDQHQWO\
          DIIL[HG WKH ZKHHOV DQG D[OHV RI WKH XQLW PXVW KDYH EHHQ UHPRYHG  ,W PXVW DOVR EH
          KRRNHGXSWRSXEOLFXWLOLWLHVVXFKDVJDVRUHOHFWULFLW\

       <RX PXVW GHWHUPLQH ZKHWKHU DQ\ VHFXULW\ LQWHUHVWV HQFXPEHULQJ WKH XQLW DW WKH WLPH LW
          ZDVDIIL[HGWRWKH/DQGVWLOOH[LVW,IWKH\GR\RXPXVWUHTXLUHWKHLUUHOHDVHRU\RXPXVW
          VKRZWKHPDVDQH[FHSWLRQLQ6FKHGXOH%RIDQ\2ZQHU¶V3ROLF\DQG6FKHGXOH%3DUW,
          RIDQ\$/7$/RDQ3ROLF\ZKLFK\RXLVVXHDQGDGGWKHIROORZLQJ

7KLVLVDPDWWHUFRYHUHGXQGHUWKH8QLIRUP&RPPHUFLDO&RGHRUXQGHUWKHPRWRUYHKLFOH
UHJLVWUDWLRQODZVRIWKHVWDWHRIUHVLGHQFHRIWKHRZQHURIWKHXQLW


)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 277 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                        6(&7,21



7KHSUREOHPRIH[LVWLQJVHFXULW\LQWHUHVWVLVFRPSOH[6WDWHODZJHQHUDOO\WUHDWVPRELOHKRPHVDV
PRWRU YHKLFOHV DW OHDVW XQWLO WKH\ DUH UHPRYHG IURP WKH YHKLFOH WLWOH UHJLVWUDWLRQ VFKHPH DQGRU
DIIL[HGWRDSDUFHORIODQG:KLOHWKH\ DUHPRWRUYHKLFOHVOLHQV ZKLFKHQFXPEHUWKHPPXVWEH
ILOHGLQWKHSODFHGHVLJQDWHGIRUPRWRUYHKLFOHV7KHVHDUHVKRZQRQWKHPRVWFXUUHQWYHKLFOHWLWOH
FHUWLILFDWHV (YHQDIWHUEHFRPLQJDIIL[HGWKH\PD\VWLOOUHWDLQWKHLUPRWRU YHKLFOHUHJLVWUDWLRQLQ
VRPH VWDWHV  7KXV H[DPLQDWLRQ RI WKH YHKLFOH WLWOH FHUWLILFDWH PD\ EH UHTXLUHG HDFK WLPH D
WUDQVDFWLRQWDNHVSODFHDIWHUDIIL[DWLRQWRWKH/DQG,WLVSRVVLEOHVXFKODZVPD\SUHYHQWWKHXQLW
IURP HYHU EHLQJ FRQVLGHUHG UHDO SURSHUW\ FRQVXOW WKH &RPSDQ\¶V XQGHUZULWLQJ DGYLVRU IRU WKH
VWDWXVRIODZLQ\RXUVWDWH

3ULRUWREHLQJSHUPDQHQWO\DIIL[HGPRELOHKRPHVDUHDOVRSHUVRQDOSURSHUW\VXEMHFWWR$UWLFOHRI
WKH8QLIRUP&RPPHUFLDO&RGHZKLFKUHODWHVWRVHFXULW\LQWHUHVWV7KHUHIRUHD8&&VHDUFKPD\
KDYH WR EH GRQH ERWK LQ WKH FDSLWRO RI WKH VWDWH ZKHUH WKH /DQG LV ORFDWHG DQG XQGHU VRPH
FLUFXPVWDQFHV LQ WKH FDSLWRO RI WKH VWDWH ZKHUH WKH XQLW ZDV ODVW UHJLVWHUHG  )RU VHDUFKLQJ
UHTXLUHPHQWVFRQVXOWWKH&RPSDQ\¶VXQGHUZULWLQJDGYLVRU

          <RXPD\QHHGWRDGGDQRWDWLRQLQWKHOHJDOGHVFULSWLRQLQ6FKHGXOH$LGHQWLI\LQJWKH
             0+8DVDSDUWRIWKHSURSHUW\LQVXUHG7KHXQLW¶VPDNHDQGVHULDOQXPEHUVKRXOGEH
             LQFOXGHG5HIHUWRWKH&RPSDQ\¶VXQGHUZULWLQJDGYLVRUIRUWKHVSHFLILFUHTXLUHPHQWV
             IRU\RXUVWDWH

          <RXPXVWYHULI\ZLWKWKH&RPSDQ\¶VXQGHUZULWLQJDGYLVHUIRU\RXUVWDWHWKDWWKH
             ,QVXUHG0RUWJDJHZLOOEHHQIRUFHDEOHDJDLQVWWKH0+8ZLWKLQDQ\IRUHFORVXUHDFWLRQ
             DJDLQVWWKHEDODQFHRIWKHUHDOSURSHUW\         

                                                       
                                         02',),&$7,21
                                                 
,QWKHHYHQWWKDWPRGLILFDWLRQRIDQHQGRUVHPHQWLVUHTXHVWHGLWLVQHFHVVDU\WRFRQVLGHU\RXU
VWDWHUHJXODWRU\UHTXLUHPHQWVIRUILOLQJDQGDSSURYDORIIRUPV,IWKHHQGRUVHPHQWLVPRGLILHGWKH
HQGRUVHPHQWLVQRWDQ$/7$IRUPDQGVKRXOGQRWUHIHUHQFH$/7$LQWKHWLWOH<RXPXVWREWDLQ
WKHDSSURYDORIWKH&RPSDQ\¶VXQGHUZULWLQJDGYLVRUEHIRUHFRPSO\LQJZLWKDQ\UHTXHVWIRUD
PRGLILFDWLRQ
5HWXUQWR7DEOHRI&RQWHQWV
                                    




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 278 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                    6(&7,21


                                             (1'256(0(17

                                     $WWDFKHGWR3ROLF\1RBBBBBBBBBBB

                                                ,VVXHG%\
                                              >)17*%5$1'@
                                                     

7KH WHUP /DQG LQFOXGHV WKH PDQXIDFWXUHG KRXVLQJ XQLW ORFDWHG RQ WKH ODQG GHVFULEHG LQ
6FKHGXOH$DW'DWHRI3ROLF\

           7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


>:LWQHVVFODXVHRSWLRQDO@





>)17*%5$1'@

%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB




$/7$(QGRUVHPHQW)RUP
  0DQXIDFWXUHG+RXVLQJ8QLW   
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ
                                       




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 279 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                      6(&7,21


                                              (1'256(0(17

                                    $WWDFKHGWR3ROLF\1RBBBBBBBBBBB

                                                 ,VVXHG%\
                                               >)17*%5$1'@
                                                      

      7KHWHUP/DQGDVGHILQHGLQWKLVSROLF\LQFOXGHVWKHPDQXIDFWXUHGKRXVLQJXQLWORFDWHG
         RQWKHODQGGHVFULEHGLQ6FKHGXOH$DW'DWHRI3ROLF\

      8QOHVVH[FHSWHGLQ6FKHGXOH%WKH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHG
         E\WKH,QVXUHGLIDW'DWHRI3ROLF\

             D   $PDQXIDFWXUHGKRXVLQJXQLWLVQRWORFDWHGRQWKHODQGGHVFULEHGLQ6FKHGXOH$

             E   7KHPDQXIDFWXUHGKRXVLQJXQLWORFDWHGRQWKHODQGLVQRWUHDOSURSHUW\XQGHUWKH
                  ODZRIWKHVWDWHZKHUHWKH/DQGGHVFULEHGLQ6FKHGXOH$LVORFDWHG

             F   7KHRZQHURIWKH/DQGLVQRWWKHRZQHURIWKHPDQXIDFWXUHGKRXVLQJXQLW

             G   $Q\ OLHQ LV DWWDFKHG WR WKH PDQXIDFWXUHG KRXVLQJ XQLW DV SHUVRQDO SURSHUW\
                  LQFOXGLQJ
         
                      L      DIHGHUDOVWDWHRURWKHUJRYHUQPHQWDOWD[OLHQ
                  
                      LL     8&&VHFXULW\LQWHUHVW
                  
                      LLL    DPRWRUYHKLFXODUOLHQ
                  
                      LY     RWKHUSHUVRQDOSURSHUW\OLHQ

             H   7KHOLHQRIWKH,QVXUHG0RUWJDJHLVQRWHQIRUFHDEOHDJDLQVWWKH/DQG

             I   7KH OLHQ RI WKH ,QVXUHG 0RUWJDJH LV QRW HQIRUFHDEOH LQ D VLQJOH IRUHFORVXUH
                  SURFHGXUH

7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


>:LWQHVVFODXVHRSWLRQDO@


>)17*%5$1'@

%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
$/7$(QGRUVHPHQW)RUP
0DQXIDFWXUHG+RXVLQJ±&RQYHUVLRQ/RDQ   
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 280 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                      6(&7,21


                                              (1'256(0(17

                                    $WWDFKHGWR3ROLF\1RBBBBBBBBBBB

                                                 ,VVXHG%\
                                               >)17*%5$1'@
                                                      

      7KHWHUP/DQGDVGHILQHGLQWKLVSROLF\LQFOXGHVWKHPDQXIDFWXUHGKRXVLQJXQLWORFDWHG
         RQWKHODQGGHVFULEHGLQ6FKHGXOH$DW'DWHRI3ROLF\

      8QOHVVH[FHSWHGLQ6FKHGXOH%WKH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHG
         E\WKH,QVXUHGLIDW'DWHRI3ROLF\

             D   $PDQXIDFWXUHGKRXVLQJXQLWLVQRWORFDWHGRQWKH/DQGGHVFULEHGLQ6FKHGXOH$

             E   7KHPDQXIDFWXUHGKRXVLQJXQLWORFDWHGRQWKH/DQGLVQRWUHDOSURSHUW\XQGHUWKH
                  ODZRIWKHVWDWHZKHUHWKH/DQGGHVFULEHGLQ6FKHGXOH$LVORFDWHG

             F   7KH,QVXUHGLVQRWWKHRZQHURIWKHPDQXIDFWXUHGKRXVLQJXQLW

             G   $Q\ OLHQ LV DWWDFKHG WR WKH PDQXIDFWXUHG KRXVLQJ XQLW DV SHUVRQDO SURSHUW\
                  LQFOXGLQJ
         
                      L      DIHGHUDOVWDWHRURWKHUJRYHUQPHQWDOWD[OLHQ
                  
                      LL     8&&VHFXULW\LQWHUHVW
                  
                      LLL    DPRWRUYHKLFXODUOLHQ
                  
                    LY      RWKHUSHUVRQDOSURSHUW\OLHQ

7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


>:LWQHVVFODXVHRSWLRQDO@





>)17*%5$1'@

%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

$/7$(QGRUVHPHQW)RUP
0DQXIDFWXUHG+RXVLQJ±&RQYHUVLRQ2ZQHUV   
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 281 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                             6(&7,21



5HWXUQWR7DEOHRI&RQWHQWV
                                 (19,5210(17$/3527(&7,21/,(1
                                 &200(5&,$/(19,5210(17$//,(1
                           $/7$(1'256(0(17)2506DQG
                                                         
                                                   385326(

7KHVH HQGRUVHPHQWV SURYLGH DIILUPDWLYH LQVXUDQFH WKDW WKH OLHQ RI WKH ,QVXUHG 0RUWJDJH KDV
SULRULW\RYHUXQUHFRUGHGRUXQILOHGHQYLURQPHQWDOSURWHFWLRQOLHQV
                                                         
                        6(&7,212)32/,&<$0(1'('%<(1'256(0(17

7KLVHQGRUVHPHQWUHLWHUDWHVWKHFRYHUDJHDIIRUGHGE\&RYHUHG5LVN G ,QDGGLWLRQWKH$/7$
 IRU XVH ZLWK ORDQ SROLFLHV LQVXULQJ UHVLGHQWLDO PRUWJDJHV DGGV DIILUPDWLYH FRYHUDJH
DJDLQVW ORVV FDXVHG E\ SULRULW\ RYHU WKH ,QVXUHG 0RUWJDJH RI DQ\ HQYLURQPHQWDO SURWHFWLRQ OLHQ
FUHDWHG E\ D VWDWH VWDWXWH LI WKH VWDWXWH LV QRW GLVFORVHG LQ WKH HQGRUVHPHQW RU WKH OLHQ LV QRW
VKRZQDVDQH[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\7KH$/7$ZKLFKZDVGHYHORSHGIRU
FRPPHUFLDOSURSHUW\GRHVQRWFRQWDLQWKLVDGGLWLRQDOFRYHUDJH

                                  %$6,6)253529,',1*&29(5$*(
                                                         
<RX PD\ LVVXH WKH $/7$  HQGRUVHPHQW WR DQ\ $/7$ /RDQ 3ROLF\ FRYHULQJ D UHVLGHQWLDO
PRUWJDJHORDQ WRIDPLO\ LIDOORIWKHIROORZLQJUHTXLUHPHQWVDUHPHW

      1R HQYLURQPHQWDO OLHQV DUH UHFRUGHG RU ILOHG ZKLFK DIIHFW WKH 7LWOH WR WKH /DQG ZKLFK LV
         GHVFULEHGLQWKHSROLF\RU
         
      <RXKDYHWDNHQDQH[FHSWLRQLQ6FKHGXOH%WRDQ\HQYLURQPHQWDOOLHQVZKLFKKDYHEHHQ
         UHFRUGHGRUILOHG

      <RX PXVW LQVHUW WKH FLWDWLRQ WR DQ\ VWDWH VWDWXWH ZKLFK FUHDWHV VHFUHW RU KLGGHQ
        HQYLURQPHQWDOSURWHFWLRQOLHQVRUHQYLURQPHQWDOOLHQVZKLFKKDYH³VXSHUSULRULW\´%\WKLV
        ZHPHDQDVWDWXWHWKDWHLWKHU

        $ 'RHV QRW UHTXLUH WKH ILOLQJ RI DQ\ QRWLFH RI WKH OLHQ LQ WKH FRXQW\ UHFRUGHU¶V
         RIILFHZKHUHWKHODQGLVORFDWHGRU
         

)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 282 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                              6(&7,21



            %*LYHVWKHOLHQDSULRULW\RYHUDOORXWVWDQGLQJOLHQVRUHQFXPEUDQFHV
$VSDFHIRUWKLVFLWDWLRQLVSURYLGHGDWWKHHQGRISDUDJUDSK E RIWKHHQGRUVHPHQW,IWKHUHDUH
QRFLWDWLRQVIRU\RXUVWDWHLQGLFDWHWKDWE\LQVHUWLQJWKHZRUG³QRQH´LQWKHEODQN
             
<RXPXVWFRQVXOWWKH&RPSDQ\¶VXQGHUZULWLQJDGYLVHUIRULQVWUXFWLRQVDVWRZKLFK
LIDQ\FLWDWLRQVDUHDSSOLFDEOH

&$87,21  127,&(6 2) )('(5$/ (19,5210(17$/ /,(16 &5($7(' %< 7+(
       &2035(+(16,9( (19,5210(17$/ 5(63216( &/($183 $1' /,$%,/,7< $&7
           &(5&/$  $5( 5(48,5(' 72 %( 5(&25'(' ,1 &2817< 5(&25'(56¶ 2)),&(6
       21/< ,) 7+( 67$7( +$6 $'237(' 7+( 81,)250 )('(5$/ /,(1 5(*,675$7,21
       $&7 25 6,0,/$5 67$787(  27+(5:,6( &216758&7,9( 127,&( 2) 7+( /,(16
       (;,676 ,) 7+( 127,&( ,6 ),/(' :,7+ 7+( &/(5. 2) 7+( 86 ',675,&7 &2857
       )257+(',675,&7,1:+,&+7+(/$1'68%-(&7727+(/,(1,6/2&$7('

7KHUHIRUHLIWKHVWDWHLQZKLFKWKH/DQGOLHVKDVQRWDGRSWHGVXFKDQDFW\RXPXVWVHDUFKWKH
UHFRUGV LQ WKH RIILFH RI WKH &OHUN RI WKH 86 'LVWULFW &RXUW IRU VXFK OLHQV EHIRUH LVVXLQJ WKLV
HQGRUVHPHQW
       


<RX PD\ LVVXH WKH $/7$  &RPPHUFLDO (QYLURQPHQWDO /LHQ  HQGRUVHPHQW WR DQ\ $/7$
/RDQ 3ROLF\ FRYHULQJ D FRPPHUFLDO PRUWJDJH ORDQ LQFOXGLQJ PXOWLIDPLO\ UHVLGHQWLDO  RU DQ
$/7$2ZQHUV3ROLF\LIDOORIWKHIROORZLQJUHTXLUHPHQWVDUHPHW

         <RX KDYH FKHFNHG %27+ WKH RIILFH \RX ZRXOG QRUPDOO\ FKHFN XQGHU VWDWH ODZ DQG WKH
             'LVWULFW&RXUWIRUWKH'LVWULFWLQZKLFKWKH/DQGLVORFDWHGHYHQLI\RXUVWDWHKDVDGRSWHG
             WKH8QLIRUP)HGHUDO/LHQ5HJLVWUDWLRQ$FWRUVLPLODUVWDWXWHDVGLVFXVVHGDERYH

          1R HQYLURQPHQWDO OLHQV DUH UHFRUGHG RU ILOHG ZKLFK DIIHFW WKH 7LWOH WR WKH /DQG ZKLFK LV
             GHVFULEHGLQWKHSROLF\RU
             
          <RXKDYHWDNHQDQH[FHSWLRQLQ6FKHGXOH%WRDQ\HQYLURQPHQWDOOLHQVZKLFKKDYHEHHQ
             UHFRUGHGRUILOHG
             
             




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 283 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                 6(&7,21



$V PHQWLRQHG HDUOLHU WKH FRPPHUFLDO IRUP GRHV QRW LQFOXGH WKH VHFRQG FRYHUDJH DQG WKDW
VKRXOGQRWEHDGGHGZLWKRXWFRQVXOWLQJ\RXU&RPSDQ\XQGHUZULWLQJDGYLVRU
                                                  
                                          02',),&$7,21
,QWKHHYHQWWKDWPRGLILFDWLRQRIDQHQGRUVHPHQWLVUHTXHVWHGLWLVQHFHVVDU\WRFRQVLGHU\RXU
VWDWHUHJXODWRU\UHTXLUHPHQWVIRUILOLQJDQGDSSURYDORIIRUPV,IWKHHQGRUVHPHQWLVPRGLILHGWKH
HQGRUVHPHQWLVQRWDQ$/7$IRUPDQGVKRXOGQRWUHIHUHQFH$/7$LQWKHWLWOH<RXPXVWREWDLQ
WKHDSSURYDORIWKH&RPSDQ\¶VXQGHUZULWLQJDGYLVHUEHIRUHFRPSO\LQJZLWKDQ\UHTXHVWIRUD
PRGLILFDWLRQ


5HWXUQWR7DEOHRI&RQWHQWV




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 284 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                             6(&7,21



                                               (1'256(0(17

                                     $WWDFKHGWR3ROLF\1RBBBBBBBBBBB

                                                 ,VVXHG%\
                                               >)17*%5$1'@
                                                      

           7KHLQVXUDQFHDIIRUGHGE\WKLVHQGRUVHPHQWLVRQO\HIIHFWLYHLIWKH/DQGLVXVHGRULVWR
EHXVHGSULPDULO\IRUUHVLGHQWLDOSXUSRVHV

           7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRIODFN
RISULRULW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJHRYHU

            D     DQ\ HQYLURQPHQWDO SURWHFWLRQ OLHQ WKDW DW 'DWH RI 3ROLF\ LV UHFRUGHG LQ WKRVH
                   UHFRUGV HVWDEOLVKHG XQGHU VWDWH VWDWXWHV DW 'DWH RI 3ROLF\ IRU WKH SXUSRVH RI
                   LPSDUWLQJFRQVWUXFWLYHQRWLFHRIPDWWHUVUHODWLQJWRUHDOSURSHUW\WRSXUFKDVHUVIRU
                   YDOXHDQGZLWKRXWNQRZOHGJHRULVILOHGLQWKHUHFRUGVRIWKHFOHUNRIWKH8QLWHG
                   6WDWHV GLVWULFW FRXUW IRU WKH GLVWULFW LQ ZKLFK WKH /DQG LV ORFDWHG H[FHSW DV VHW
                   IRUWKLQ6FKHGXOH%RU

            E     DQ\HQYLURQPHQWDOSURWHFWLRQOLHQSURYLGHGE\DQ\VWDWHVWDWXWHLQHIIHFWDW'DWH
                   RI 3ROLF\ H[FHSW HQYLURQPHQWDO SURWHFWLRQ OLHQV SURYLGHG E\ WKH IROORZLQJ VWDWH
                   VWDWXWHV

                   ),//,1

7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


>:LWQHVVFODXVHRSWLRQDO@





>)17*%5$1'@

%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB




$/7$(QGRUVHPHQW)RUP
(QYLURQPHQWDO3URWHFWLRQ/LHQ   
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ


)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 285 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                              6(&7,21



                                               (1'256(0(17

                                     $WWDFKHGWR3ROLF\1RBBBBBBBBBBB

                                                  ,VVXHG%\
                                                >)17*%5$1'@
                                                       

           7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRIDQ
HQYLURQPHQWDOSURWHFWLRQOLHQWKDWDW'DWHRI3ROLF\LVUHFRUGHGLQWKH3XEOLF 5HFRUGVRUILOHGLQ
WKH UHFRUGV RI WKH FOHUN RI WKH 8QLWHG 6WDWHV GLVWULFW FRXUW IRU WKH GLVWULFW LQ ZKLFK WKH /DQG LV
ORFDWHGXQOHVVWKHHQYLURQPHQWDOSURWHFWLRQOLHQLVVHWIRUWKDVDQH[FHSWLRQLQ6FKHGXOH%

           7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


>:LWQHVVFODXVHRSWLRQDO@





>)17*%5$1'@

%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB




$/7$(QGRUVHPHQW)RUP
  &RPPHUFLDO(QYLURQPHQWDO/LHQ   
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ





)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 286 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                          6(&7,21



5HWXUQWR7DEOHRI&RQWHQWV
                                                 6(5,(6
                         $/7$(1'256(0(176WR
       >7+($/7$$1'+$9(%((1:,7+'5$:1())(&7,9(@
                                          
                                          
                                      385326(

,Q*HQHUDO


,W LV FRPPRQ IRU LQVWLWXWLRQDO OHQGHUV WR UHTXLUH FHUWDLQ DGGLWLRQDO WLWOH LQVXUDQFH FRYHUDJHV IRU
ORDQVVHFXUHGE\ILUVWPRUWJDJHVRQLPSURYHGUHDOSURSHUW\ZKHQWKHVHPRUWJDJHVDUHWREHVROG
RQWKHVHFRQGDU\PDUNHW7KHRULJLQDO$/7$)RUPZDVGHVLJQHGWRSURYLGHWKRVHFRYHUDJHVLQ
DVLQJOHLQFOXVLYHIRUP,WDIIRUGHGWKHOHQGHUYDULRXVSURWHFWLRQVZLWKUHVSHFWWRSULYDWHSURSHUW\
UHVWULFWLRQV EXLOGLQJ VHWEDFN OLQHV HQFURDFKPHQWV DQG H[FHSWHG PLQHUDOV )RUPV IRU XVH ZLWK
RZQHU¶VSROLFLHVZHUHVXEVHTXHQWO\DGRSWHGDOVR

,Q  $/7$ FRPSOHWHO\ UHYLVHG DOO RI WKH HQGRUVHPHQWV LQ WKH VHULHV ZLWKGUDZLQJ WKH 
DQGDQGDGGLQJQHZIRUPVWKHDQG,QWKHDQGWKH
 ZHUH DGRSWHG :H ZLOO GLVFXVV HDFK IRUP DQG WKH FRUUHVSRQGLQJ XQGHUZULWLQJ
UHTXLUHPHQWV

                      6(&7,2162)32/,&<$0(1'('%<(1'256(0(17
                                                       
7KHVHHQGRUVHPHQWVH[SDQGSROLF\FRYHUDJHE\PLQLPL]LQJWKHULVNWRWKH,QVXUHGZLWKUHVSHFWWR
FHUWDLQSROLF\H[FOXVLRQVRUH[FHSWLRQV

5(0,1'(5$OOH[FHSWLRQVIRUGRFXPHQWVLQRXUVWDQGDUGIRUPSROLFLHVVKRXOGEHFKDUDFWHUL]HG
DSSURSULDWHO\)RUH[DPSOH


         The matters contained in the document shown below which, among other things,
         contains or provides for: [establishment of easements] [liens for liquidated damages]
         [private charges or assessments] [and] [option to purchase, a right of first refusal or the
         prior approval of a future purchaser or occupant] and covenants, conditions and
         restrictions but omitting any covenants or restrictions, if any, including, but not limited to
         those based upon race, color, religion, sex, sexual orientation, familial status, marital
         status, disability, handicap, national origin, ancestry, or source of income, as set forth in
         applicable state or federal laws, except to the extent that said covenant or restriction is
         permitted by applicable law.

         Entitled: ^
         Recording Date: ^
         Recording No: ^

)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 287 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                            6(&7,21




7KHIRUPIRUVKRZLQJH[FHSWLRQVYDULHVIURPVWDWHWRVWDWHEXWLWVKRXOGDOZD\VGLVFORVHDQ\RI
WKH3ULYDWH5LJKWV DVGLVFXVVHGDW$/7$DQGEHORZ DQGRWKHUDSSURSULDWHWHUPV
DQGSURYLVLRQVDQGLQFOXGHWKHPDQGDWHGFDUYHRXWIRU³RPLWWHG´SURYLVLRQV

                                   %$6,6)253529,',1*&29(5$*(

$/7$)RUP 5HVWULFWLRQV(QFURDFKPHQWV0LQHUDOV/RDQ3ROLF\ 
$/7$)RUP &RYHQDQWV&RQGLWLRQVDQG5HVWULFWLRQV/RDQ3ROLF\ 
$/7$)RUP 5HVWULFWLRQV(QFURDFKPHQWV0LQHUDOV/DQG8QGHU'HYHORSPHQW/RDQ
3ROLF\ 
$/7$)RUP 5HVWULFWLRQV(QFURDFKPHQWV0LQHUDOW&XUUHQW9LRODWLRQV/RDQ3ROLF\

)RUPVDQGPRVWFORVHO\UHVHPEOHWKHFRYHUDJHVJLYHQXQGHUWKHROGORDQ
SROLF\HQGRUVHPHQWIRUPV7KHUHYLVHGLVXVHGIRUH[LVWLQJ,PSURYHPHQWVDQGWKHQHZ
LVXVHGIRU/DQGXQGHUGHYHORSPHQWE\H[SDQGLQJWKHFRYHUDJHVWR)XWXUH,PSURYHPHQWVDV
GHILQHG WKHUHLQ 7KH  LV XVHG ZKHQ YLRODWLRQ RI D &RYHQDQW FRXOG UHVXOW LQ IRUIHLWXUH RU
UHYHUVLRQEXWWKHUH LVQRFXUUHQW YLRODWLRQ 7KHUHYLVHGKDVQRPLQHUDORUHQFURDFKPHQW
FRYHUDJHIRXQGDWVHFWLRQLQWKHRWKHUWZRHQGRUVHPHQWV

7KHIROORZLQJLVDGLVFXVVLRQRIWKHYDULRXVSURYLVLRQV
     x    D±$OOJLYHFRYHUDJHIRUORVVE\UHDVRQRIDYLRODWLRQRID&RYHQDQWWKDWGLYHVWVWKH
           OLHQRIWKH,QVXUHG0RUWJDJHRULPSDLUVWKHSULRULW\RIWKH,QVXUHG0RUWJDJHRUDIIHFWVWKH
           7LWOHRIWKHOHQGHUDIWHUIRUHFORVXUH$QH[DPSOHRIVXFKDORVVZRXOGEHDVWKHUHVXOWRI
           IRUIHLWXUH RU UHYHUVLRQ SURYLVLRQV LQ D FRYHQDQW )RUP  LV XVHG ZKHQ D IXWXUH
           YLRODWLRQFRXOGUHVXOWLQWKHIRUIHLWXUHRUUHYHUVLRQWKHUHLVQRFXUUHQWYLRODWLRQRIDQ\VXFK
           &RYHQDQWV
     x    E&RYHUDJH LV JLYHQ RYHU DQ\ YLRODWLRQ RI D &RYHQDQW XQOHVV DQ H[FHSWLRQ LQ
           6FKHGXOH%LGHQWLILHVWKHYLRODWLRQ
     x    F&RYHUDJHLVJLYHQIRUHQIRUFHGUHPRYDOIRUDEXLOGLQJVHWEDFNYLRODWLRQ XQOHVVDQ
           H[FHSWLRQLQ6FKHGXOH%LGHQWLILHVWKHYLRODWLRQ
     x    G&RYHUDJH LV JLYHQ IRU QRWLFH RI D YLRODWLRQ RI D &RYHQDQW WKDW UHODWHV WR
           HQYLURQPHQWDO SURWHFWLRQ EXW RQO\ WR WKH H[WHQW RI WKH YLRODWLRQ LQ WKH QRWLFH XQOHVV DQ
           H[FHSWLRQLQ6FKHGXOH%LGHQWLILHVWKHQRWLFHRIYLRODWLRQ
     x    D>,Q )RUPV   DQG  RQO\@ &RYHUDJH IRU DQ HQFURDFKPHQW RQWR
           QHLJKERULQJSURSHUW\RQWRDQHDVHPHQWRURQWRRXU/DQGE\DQHLJKERULQJ,PSURYHPHQW
           XQOHVVDQH[FHSWLRQLQ6FKHGXOH%LGHQWLILHVDQ\VXFKHQFURDFKPHQW



)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 288 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                             6(&7,21



     x   E>,Q)RUPVDQG@ (QIRUFHGUHPRYDO RIRXU,PSURYHPHQWLILWHQFURDFKHV
          RYHUWKHERXQGDU\OLQH HYHQLIVXFKHQFURDFKPHQWLVVKRZQRQ6FKHGXOH% 
     x   FL>LQ)RUPDQG@RUEL>LQ)RUP@'DPDJHWRDQ,PSURYHPHQWWKDW
          HQFURDFKHV RQWR DQ HDVHPHQW UHVXOWLQJ IURP WKH H[HUFLVH RI WKH ULJKW WR PDLQWDLQ WKH
          HDVHPHQW HYHQLIVXFKHQFURDFKPHQWLVVKRZQRQ6FKHGXOH% 
     x   FLL>LQ )RUP DQG @ RU  ELL >LQ )RUP @ 'DPDJH WR DQ ,PSURYHPHQW
          UHVXOWLQJ IURP WKH H[HUFLVH RI DQ\ PLQHUDO ULJKWV H[FHSWHG LQ WKH OHJDO GHVFULSWLRQ RU RQ
          6FKHGXOH%

81'(5:5,7,1**8,'(/,1(6

)RUDQ\WKLQJRWKHUWKDQDSROLF\LQVXULQJDUHVLGHQWLDOIDPLO\ORDQDQDFFXUDWHFXUUHQW
VXUYH\PXVWEHH[DPLQHGDQGUHIOHFWHGLQWKHSROLF\
                                                         
&RYHUDJHDPD\EHJLYHQLIDQ\RIWKHIROORZLQJVLWXDWLRQVDSSO\

     x   7KHUHDUHQRFRYHQDQWVFRQGLWLRQVRUUHVWULFWLRQV
     x   7KHFRYHQDQWVFRQGLWLRQVRUUHVWULFWLRQVDUHQRWHQIRUFHDEOHXQGHUVWDWHRUIHGHUDOODZ
     x   7KHUHVWULFWLRQVFRQWDLQDFODXVHSURWHFWLQJWKHOLHQRIDPRUWJDJHPDGHLQJRRGIDLWKDQG
          IRUYDOXHDJDLQVWDYLRODWLRQ
     x   5LJKWV WR HQIRUFH WKH UHVWULFWLRQV KDYH EHHQ ZDLYHG RU DUH VXERUGLQDWHG WR WKH ,QVXUHG
          0RUWJDJH
     x   ,I WKHUH LV D QR &855(17 YLRODWLRQ WKDW FRXOG UHVXOW LQ )RUIHLWXUH RU UHYHUVLRQ EXW D
          )8785( YLRODWLRQ PLJKW UHVXOW LQ WKH ORVV RI SULRULW\ RU HQIRUFHDELOLW\ RI WKH OLHQ RI WKH
          ,QVXUHG0RUWJDJHWKHPXVWEHXVHG

&RYHUDJHEPD\EHJLYHQSURYLGHG
              x   7KHUHDUHQRFRYHQDQWVFRQGLWLRQVRUUHVWULFWLRQVRU
              x   LWKDVEHHQGHWHUPLQHGWKDWHLWKHUWKHUHDUHQRYLRODWLRQVWKDWDUHHQIRUFHDEOHRU
              x   DOOHQIRUFHDEOHYLRODWLRQVWKDWKDYHEHHQGLVFORVHGE\LQVSHFWLRQVXUYH\RURWKHU
                   PHDQVDUHLGHQWLILHGDQGH[FHSWHGLQ6FKHGXOH%

&RYHUDJHFPD\EHJLYHQSURYLGHG
              x   7KHUH DUH QR EXLOGLQJ VHWEDFN OLQHV VKRZQ RQ D UHFRUGHG RU ILOHG SODW RI
                   VXEGLYLVLRQRU
              x   LWKDVEHHQGHWHUPLQHGWKDWHLWKHUWKHUHDUHQRYLRODWLRQVWKDWDUHHQIRUFHDEOHRU



)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 289 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                          6(&7,21



             x   DOOHQIRUFHDEOHYLRODWLRQVWKDWKDYHEHHQGLVFORVHGE\LQVSHFWLRQVXUYH\RURWKHU
                  PHDQVDUHLGHQWLILHGDQGH[FHSWHGLQ6FKHGXOH%

&RYHUDJHGPD\EHJLYHQSURYLGHG

             x   (LWKHU WKHUH DUH QR QRWLFHV RI YLRODWLRQ RI FRYHQDQWV FRQGLWLRQV DQG UHVWULFWLRQV
                  UHODWLQJWRHQYLURQPHQWDOSURWHFWLRQUHFRUGHGRU
             x   ILOHGLQWKHSXEOLFUHFRUGVRUWKHQRWLFHVRIYLRODWLRQVDUHLGHQWLILHGDQGH[FHSWHG
                  LQ6FKHGXOH%


&RYHUDJHDL>LQ)RUPDQG@PD\EHJLYHQLIDQ\RIWKHIROORZLQJVLWXDWLRQV
DSSO\
             x   7KHUH DUH QR HQFURDFKPHQWV RQWR DGMRLQLQJ ODQG 25 DQ\ VXFK HQFURDFKPHQWV
                  DUHLGHQWLILHGLQ6FKHGXOH%
             x   7KHUHDUHQRHDVHPHQWVH[FHSWHGLQ6FKHGXOH%
             x   7KHUH DUH QR HQFURDFKPHQWV RQWR HDVHPHQWV LGHQWLILHG LQ 6FKHGXOH % 25 DQ\
                  VXFKHQFURDFKPHQWVDUHLGHQWLILHGLQ6FKHGXOH%

&RYHUDJHDLL>LQ)RUPDQG@PD\EHJLYHQLIDQ\RIWKHIROORZLQJVLWXDWLRQV
DSSO\
             x   7KHUHDUHQRHQFURDFKPHQWVRQWRWKH/DQGE\QHLJKERUV¶,PSURYHPHQWV25
             x   DQ\VXFKHQFURDFKPHQWVDUHLGHQWLILHGLQ6FKHGXOH%

&RYHUDJHE)RUPDQGPD\EHJLYHQLIDQ\RIWKHIROORZLQJVLWXDWLRQVDSSO\

             x   7KHUHDUHQRHQFURDFKPHQWVRI,PSURYHPHQWVRQWRQHLJKERULQJODQG
             x   7KHUH LV DQ HQFURDFKPHQW LGHQWLILHG LQ 6FKHGXOH % DQG ZLWK UHVSHFW WR WKH
                  HQFURDFKPHQWWKH&RPSDQ\¶VXQGHUZULWLQJDGYLVRUKDVGHWHUPLQHGWKDWLWZRXOG
                  EH XQOLNHO\ WKDW WKHUH ZRXOG EH DQ\ DWWHPSWHG HQIRUFHG UHPRYDO RU LV VDWLVILHG
                  WKDWDVWDWHFRXUWZRXOGQRWGHQ\WKHULJKWWRPDLQWDLQWKHH[LVWLQJLPSURYHPHQWV
                  EHFDXVHRIDGYHUVHSRVVHVVLRQRURWKHUSURWHFWLRQV

>6HHDOVR6HFWLRQIRUHQFURDFKPHQWFRYHUDJH@

&RYHUDJHFL>LQ)RUPDQG@RU&RYHUDJHEL>LQ)RUP@PD\EHJLYHQLIDQ\
RIWKHIROORZLQJVLWXDWLRQVDSSO\


)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 290 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                           6(&7,21



              x   7KHUHDUHQRHQFURDFKPHQWVRIDQ,PSURYHPHQWRQWRDQHDVHPHQW
              x   7KHHQFURDFKPHQWGRHVQRWLQWHUIHUHZLWKWKHULJKWWRPDLQWDLQWKHHDVHPHQWIRU
                   WKHSXUSRVHIRUZKLFKLWZDVJUDQWHG

>6HHDOVR6HFWLRQIRUHQFURDFKPHQWFRYHUDJH@

&RYHUDJH FLL >LQ )RUP @ RU &RYHUDJH ELL >LQ )RUP @ PD\ EH JLYHQ LI DQ\ RI WKH
IROORZLQJVLWXDWLRQVDSSO\
              x   7KHUH LV QR VHSDUDWLRQ RI PLQHUDOV IURP WKH VXUIDFH HVWDWH E\ GHHG OHDVH RU
                   RWKHUZLVH
              x   7KHUH LV D VHSDUDWH PLQHUDO HVWDWH EXW LW GRHV QRW LQFOXGH DQ\ ULJKWV RI VXUIDFH
                   HQWU\
              x   0LQHUDOULJKWVZLWKULJKWVRIVXUIDFHHQWU\HLWKHUH[SUHVVHGRULPSOLHGKDYHEHHQ
                   VHYHUHG IURP WKH VXUIDFH HVWDWH  +RZHYHU WKH ODQG DQG VXUURXQGLQJ DUHD LV
                   HQWLUHO\ LPSURYHG ZLWK UHVLGHQWLDO GHYHORSPHQW  8QGHU WKHVH FLUFXPVWDQFHV
                   VXEPLWWKHUHTXHVWIRUFRYHUDJHWRWKH&RPSDQ\ VXQGHUZULWLQJDGYLVRUZKRZLOO
                   FRQVLGHU WKH ULVN EDVHG XSRQ VXFK WKLQJV DV WKH VL]H RI WKH SDUFHO XVH
                   SURSRVHG RU FXUUHQW  ORFDO ]RQLQJ RZQHUVKLS RIPLQHUDOV DQG WKH SRVVLELOLW\ RI
                   ZDLYHURIPLQHUDOULJKWV

>6HHDOVR6HFWLRQIRUPLQHUDOULJKWVFRYHUDJH@


$/7$)RUP± &RYHQDQWV&RQGLWLRQVDQG5HVWULFWLRQV8QLPSURYHG/DQG±2ZQHU¶V3ROLF\ 
$/7$)RUP± &RYHQDQWV&RQGLWLRQVDQG5HVWULFWLRQV,PSURYHG/DQG2ZQHU¶V3ROLF\ 
$/7$)RUP± &RYHQDQWV&RQGLWLRQVDQG5HVWULFWLRQV/DQG8QGHU,PSURYHPHQW±2ZQHU¶V
        3ROLF\>WHFKQLFDOO\FRUUHFWHGE\$/7$@

$QDFFXUDWHFXUUHQWVXUYH\PXVWEHH[DPLQHGDQGUHIOHFWHGLQWKHSROLF\

7KHVHIRUPVJLYHYDULRXVOHYHOVRIFRYHUDJHWRDQRZQHU7KH\FRQWDLQVRPHEXWQRWDOORIWKHFRYHUDJHV
LQWKHORDQSROLF\IRUPV7KH\GRQRWFRQWDLQFRYHUDJHIRUHQFURDFKPHQWVRUPLQHUDOULJKWV6HH6HFWLRQ
IRUHQFURDFKPHQWFRYHUDJHDQG6HFWLRQIRUPLQHUDOULJKWVFRYHUDJH7KHIROORZLQJLVDGLVFXVVLRQRIWKH
YDULRXVSURYLVLRQV

              x   D>LQDOO)RUPV@&RYHUDJHLVJLYHQRYHUDQ\YLRODWLRQRID&RYHQDQWXQOHVVDQ
                   H[FHSWLRQLQ6FKHGXOH%LGHQWLILHVWKHYLRODWLRQ




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 291 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                    6(&7,21



            x   E>LQ)RUPDQGRQO\@&RYHUDJHLVJLYHQIRUHQIRUFHGUHPRYDOIRU
                 DEXLOGLQJVHWEDFNYLRODWLRQXQOHVVDQH[FHSWLRQLQ6FKHGXOH%LGHQWLILHVWKH
                 YLRODWLRQ
            x   F>LQ)RUPDQGLWLVFRYHUDJHELQ )RUP@&RYHUDJHLV
                 JLYHQ IRU QRWLFH RI D YLRODWLRQ RI D &RYHQDQW WKDW UHODWHV WR HQYLURQPHQWDO
                 SURWHFWLRQ EXW RQO\ WR WKH H[WHQW RI WKH YLRODWLRQ LQ WKH QRWLFH XQOHVV DQ
                 H[FHSWLRQLQ6FKHGXOH%LGHQWLILHVWKHQRWLFHRIYLRODWLRQ


&RYHUDJHDPD\EHJLYHQSURYLGHG

            x   7KHUHDUHQRFRYHQDQWVFRQGLWLRQVRUUHVWULFWLRQVRU
            x   LWKDVEHHQGHWHUPLQHGWKDWHLWKHUWKHUHDUHQRYLRODWLRQVWKDWDUHHQIRUFHDEOHRU
            x   DOO HQIRUFHDEOH YLRODWLRQV WKDW KDYH EHHQ GLVFORVHG E\ LQVSHFWLRQ VXUYH\ RU
                 RWKHU PHDQV DUH LGHQWLILHG DQG H[FHSWHG E\ GHVFULSWLRQ RI VXFK PDWWHU LQ
                 6FKHGXOH%

&RYHUDJHE>LQ)RUPDQG@PD\EHJLYHQSURYLGHG

            x   7KHUH DUH QR EXLOGLQJ VHWEDFN OLQHV VKRZQ RQ D UHFRUGHG RU ILOHG SODW RI
                 VXEGLYLVLRQRU
            x   ,WKDVEHHQGHWHUPLQHGWKDWHLWKHUWKHUHDUHQRYLRODWLRQVWKDWDUHHQIRUFHDEOHRU
            x   DOOHQIRUFHDEOHYLRODWLRQVWKDWKDYHEHHQGLVFORVHGE\LQVSHFWLRQVXUYH\RURWKHU
                 PHDQVDUHLGHQWLILHGDQGH[FHSWHGLQ6FKHGXOH%

&RYHUDJHF>LQ)RUPDQG@RUE>LQ)RUP@PD\EHJLYHQSURYLGHG

            x   (LWKHUWKHUHDUHQRQRWLFHVRIYLRODWLRQVRIFRYHQDQWVFRQGLWLRQVDQGUHVWULFWLRQV
                 UHODWLQJWRHQYLURQPHQWDOSURWHFWLRQUHFRUGHGRUILOHGLQWKHSXEOLFUHFRUGVRU
            x   WKHQRWLFHVRIYLRODWLRQVDUHLGHQWLILHGDQGH[FHSWHGLQ6FKHGXOH%

$/7$)RUP± 3ULYDWH5LJKWV/RDQ3ROLF\ 
$/7$)RUP 3ULYDWH5LJKWV2ZQHUV3ROLF\ 

7KLV IRUP DGGUHVVHV WKH H[LVWHQFH RI 3ULYDWH 5LJKWV ZLWKLQ LQVWUXPHQWV ZKLFK SURYLGH IRU
FRYHQDQWV FRQGLWLRQV RU UHVWULFWLRQV &&5V  DQG DUH H[FHSWHG RQ 6FKHGXOH % 7KHVH 3ULYDWH
5LJKWVDUHGHILQHGDV


)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 292 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                          6(&7,21



             x    2SWLRQWRSXUFKDVH
             x    5LJKWRIILUVWUHIXVDO
             x    5LJKW RI SULRU DSSURYDO RI D IXWXUH SXUFKDVHU RU RFFXSDQW RIWHQ IRXQG LQ UHWDLO
                   GHYHORSPHQWV 
             x    3ULYDWH &KDUJHRUDVVHVVPHQW VXFKDVKRPHRZQHUVRURWKHUDVVRFLDWLRQIHHV
                   RU GXHV RU SULYDWH WUDQVIHU IHHV IRU H[DPSOH  127( 7KH  IRU 2ZQHUV
                   3ROLFLHVGRHVQRWFRQWDLQWKLVFRYHUDJH

7KH HQGRUVHPHQW JLYHV FRYHUDJH RYHU ORVV DV D UHVXOW RI WKH HQIRUFHPHQW RI VXFK D ULJKW DV LW
DIIHFWVWKHSULRULW\RUHQIRUFHDELOLW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJHRUDIIHFWVWKHWLWOHRIWKH
OHQGHUDIWHUIRUHFORVXUH

&RYHUDJHPD\EHJLYHQSURYLGHGLI
             x    7KHUH DUH QR UHFRUGHG LQVWUXPHQWV WKDW FRQWDLQ FRYHQDQWV FRQGLWLRQV RU
                   UHVWULFWLRQV &&5V RQWKH/DQGRU
             x    $OOUHFRUGHGLQVWUXPHQWVZKLFKFRQWDLQ&&5VDUHH[DPLQHGDQGWKH\FRQWDLQQR
                   VXFK 3ULYDWH 5LJKWV DV VKRZQ DERYH IRU 2ZQHUV RU /RDQ 3ROLF\ XVDJH 'R QRW
                   UHO\XSRQWKHFODVVLILFDWLRQRIWKHGRFXPHQWLQWKHFRPPLWPHQWIDLOLQJWRLGHQWLI\
                   VXFK ULJKWV $OO GRFXPHQWV PXVW EH H[DPLQHG IRU WKHVH ULJKWV EHIRUH WKH
                   FRYHUDJHFDQEHJLYHQRU
             x    $Q\H[FHSWLRQIRUDQLQVWUXPHQWWKDWFRQWDLQVD3ULYDWH5LJKWLVLQGLFDWHGLQWKH
                   EODQNDWLWHP'RIWKHHQGRUVHPHQW
             x    ,IWKHUHDUHQRVXFKSULYDWHULJKWVLQDQLQVWUXPHQWRUWKHUHLVQRLQVWUXPHQWDV
                   DQH[FHSWLRQWKHEODQNDWLWHPGVKRXOGEHILOOHGLQZLWKWKHZRUG³121(³
             x    $OVR6HH5(0,1'(5DWEHJLQQLQJRIWKLV6HFWLRQ

                                              02',),&$7,21
                                                       
,Q WKH HYHQW WKDW PRGLILFDWLRQ RI DQ HQGRUVHPHQW LV UHTXHVWHG LW LV QHFHVVDU\ WR FRQVLGHU \RXU
VWDWH UHJXODWRU\ UHTXLUHPHQWV IRU ILOLQJ DQG DSSURYDO RI )RUPV  ,I WKH HQGRUVHPHQW LV PRGLILHG
WKH HQGRUVHPHQW LV QRW DQ $/7$ )RUP DQG VKRXOG QRW UHIHUHQFH $/7$ LQ WKH WLWOH  <RX PXVW
REWDLQWKHDSSURYDORIWKH&RPSDQ\¶VXQGHUZULWLQJDGYLVRUEHIRUHFRPSO\LQJZLWKDQ\UHTXHVWIRU
DPRGLILFDWLRQ

&KDUWV
$/7$(QGRUVHPHQW           2ULJLQDO7LWOH                    1HZ5HYLVLRQ
                     5(0 /3                           5HVWULFWLRQ(QFURDFKPHQWV0LQHUDO /3 


)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 293 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                 6(&7,21



               5(0 238QLPSURYHG              &&5 238QLPSURYHG/DQG 
               5(0 23,PSURYHG                &&5 23,PSURYHG/DQG 
               5(0 /3                        &&5 /3 
               'HFHUWLILHG
               'HFHUWLILHG
               1HZ                           3ULYDWH5LJKWV /3 
               1HZ                           5(0 /3/DQGXQGHUGHYHORSPHQW 
               1HZ                           &&5 23/DQGXQGHU'HYHORSPHQW 
               1HZ                           3ULYDWH5LJKWV 23 
              1HZ                           5(0&XUUHQWYLRODWLRQV /3 

$QRWKHUZD\WRFODVVLI\WKHQHZIRUPV
5HVWULFWLRQV(QFURDFKPHQWV0LQHUDOV
       $/7$/RDQ3ROLF\ 
       $/7$/RDQ3ROLF\/DQG8QGHU'HYHORSPHQW
       $/7$/RDQ3ROLF\&XUUHQW9LRODWLRQV
&RYHQDQWV&RQGLWLRQV5HVWULFWLRQV
       $/7$2ZQHU8QLPSURYHG
       $/7$2ZQHU,PSURYHG
       $/7$2ZQHU/DQG8QGHU'HYHORSPHQW
       $/7$/RDQ3ROLF\
3ULYDWH5LJKWV
       $/7$/RDQ3ROLF\
       $/7$2ZQHU

>6HH6HFWLRQIRU(QFURDFKPHQWFRYHUDJHVDQG6HFWLRQIRU0LQHUDOFRYHUDJHV@
5HWXUQWR7DEOHRI&RQWHQWV




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 294 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                       6(&7,21



                                           (1'256(0(17
                                $WWDFKHGWR3ROLF\1RBBBBBBBBBBB

                                              ,VVXHG%\

                                        >)17*%5$1'@
                                                 
 7KHLQVXUDQFHSURYLGHGE\WKLVHQGRUVHPHQWLVVXEMHFWWRWKHH[FOXVLRQVLQ6HFWLRQRIWKLV
    HQGRUVHPHQWDQGWKH([FOXVLRQVIURP&RYHUDJHWKH([FHSWLRQVIURP&RYHUDJHFRQWDLQHGLQ
    6FKHGXOH%DQGWKH&RQGLWLRQVLQWKHSROLF\
 )RUWKHSXUSRVHVRIWKLVHQGRUVHPHQWRQO\
    D ³&RYHQDQW´PHDQVDFRYHQDQWFRQGLWLRQOLPLWDWLRQRUUHVWULFWLRQLQDGRFXPHQWRU
        LQVWUXPHQWLQHIIHFWDW'DWHRI3ROLF\
   E ³,PSURYHPHQW´PHDQVDQLPSURYHPHQWLQFOXGLQJDQ\ODZQVKUXEEHU\RUWUHHVDIIL[HGWR
        HLWKHUWKH/DQGRUDGMRLQLQJODQGDW'DWHRI3ROLF\WKDWE\ODZFRQVWLWXWHVUHDOSURSHUW\
 7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI
    D $YLRODWLRQRID&RYHQDQWWKDW
                      L GLYHVWVVXERUGLQDWHVRUH[WLQJXLVKHVWKHOLHQRIWKH,QVXUHG0RUWJDJH
                     LL UHVXOWVLQWKHLQYDOLGLW\XQHQIRUFHDELOLW\RUODFNRISULRULW\RIWKHOLHQRIWKH
                          ,QVXUHG0RUWJDJHRU
                    LLL FDXVHVDORVVRIWKH,QVXUHG¶V7LWOHDFTXLUHGLQVDWLVIDFWLRQRUSDUWLDO
                          VDWLVIDFWLRQRIWKH,QGHEWHGQHVV
    E $YLRODWLRQRQWKH/DQGDW'DWHRI3ROLF\RIDQHQIRUFHDEOH&RYHQDQWXQOHVVDQ
        H[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\LGHQWLILHVWKHYLRODWLRQ
    F (QIRUFHGUHPRYDORIDQ,PSURYHPHQWORFDWHGRQWKH/DQGDVDUHVXOWRIDYLRODWLRQDW
        'DWHRI3ROLF\RIDEXLOGLQJVHWEDFNOLQHVKRZQRQDSODWRIVXEGLYLVLRQUHFRUGHGRUILOHG
        LQWKH3XEOLF5HFRUGVXQOHVVDQH[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\LGHQWLILHVWKH
        YLRODWLRQRU
    G $QRWLFHRIDYLRODWLRQUHFRUGHGLQWKH3XEOLF5HFRUGVDW'DWHRI3ROLF\RIDQHQIRUFHDEOH
        &RYHQDQWUHODWLQJWRHQYLURQPHQWDOSURWHFWLRQGHVFULELQJDQ\SDUWRIWKH/DQGDQG
        UHIHUULQJWRWKDW&RYHQDQWEXWRQO\WRWKHH[WHQWRIWKHYLRODWLRQRIWKH&RYHQDQWUHIHUUHG
        WRLQWKDWQRWLFHXQOHVVDQH[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\LGHQWLILHVWKHQRWLFHRI
        WKHYLRODWLRQ
 7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\UHDVRQRI
    D $QHQFURDFKPHQWRI
           L DQ,PSURYHPHQWORFDWHGRQWKH/DQGDW'DWHRI3ROLF\RQWRDGMRLQLQJODQGRU
           RQWRWKDWSRUWLRQRIWKH/DQGVXEMHFWWRDQHDVHPHQWRU
            LL DQ,PSURYHPHQWORFDWHGRQDGMRLQLQJODQGRQWRWKH/DQGDW'DWHRI3ROLF\
XQOHVVDQH[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\LGHQWLILHVWKHHQFURDFKPHQWRWKHUZLVHLQVXUHG
DJDLQVWLQ6HFWLRQVDLRUDLL
    E $ILQDOFRXUWRUGHURUMXGJPHQWUHTXLULQJWKHUHPRYDOIURPDQ\ODQGDGMRLQLQJWKH/DQGRI
        DQHQFURDFKPHQWLGHQWLILHGLQ6FKHGXOH%RU
    F 'DPDJHWRDQ,PSURYHPHQWORFDWHGRQWKH/DQGDW'DWHRI3ROLF\
         L WKDWLVORFDWHGRQRUHQFURDFKHVRQWRWKDWSRUWLRQRIWKH/DQGVXEMHFWWRDQ
        HDVHPHQWH[FHSWHGLQ6FKHGXOH%ZKLFKGDPDJHUHVXOWVIURPWKHH[HUFLVHRIWKHULJKWWR
        PDLQWDLQWKHHDVHPHQWIRUWKHSXUSRVHIRUZKLFKLWZDVJUDQWHGRUUHVHUYHGRU

)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 295 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                     6(&7,21



                   LL     UHVXOWLQJIURPWKHIXWXUHH[HUFLVHRIDULJKWWRXVHWKHVXUIDFHRIWKH/DQG
                   IRUWKHH[WUDFWLRQRUGHYHORSPHQWRIPLQHUDOVRUDQ\RWKHUVXEVXUIDFHVXEVWDQFHV
                   H[FHSWHGIURPWKHGHVFULSWLRQRIWKH/DQGRUH[FHSWHGLQ6FKHGXOH%
 7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJH DQGWKH&RPSDQ\ZLOOQRWSD\
    FRVWVDWWRUQH\V IHHVRUH[SHQVHV UHVXOWLQJIURP
     D DQ\&RYHQDQWFRQWDLQHGLQDQLQVWUXPHQWFUHDWLQJDOHDVH
     E DQ\&RYHQDQWUHODWLQJWRREOLJDWLRQVRIDQ\W\SHWRSHUIRUPPDLQWHQDQFHUHSDLU
         RUUHPHGLDWLRQRQWKH/DQG
     F H[FHSWDVSURYLGHGLQ6HFWLRQGDQ\&RYHQDQWUHODWLQJWRHQYLURQPHQWDOSURWHFWLRQRI
         DQ\NLQGRUQDWXUHLQFOXGLQJKD]DUGRXVRUWR[LFPDWWHUVFRQGLWLRQVRUVXEVWDQFHV
     G FRQWDPLQDWLRQH[SORVLRQILUHIUDFWXULQJYLEUDWLRQHDUWKTXDNHRUVXEVLGHQFHRU
     H QHJOLJHQFHE\DSHUVRQRUDQ(QWLW\H[HUFLVLQJDULJKWWRH[WUDFWRUGHYHORSPLQHUDOVRU
         RWKHUVXEVXUIDFHVXEVWDQFHV
7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW
 L PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV
 LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLV
HQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV
>:LWQHVVFODXVHRSWLRQDO@
>)17*%5$1'@
%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB










$/7$(QGRUVHPHQW)RUP
  5HVWULFWLRQV(QFURDFKPHQWV0LQHUDOV/RDQ3ROLF\  5HY 
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 296 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                             6(&7,21



                                            (1'256(0(17
                                   $WWDFKHGWR3ROLF\1RBBBBBBBBBBB

                                                   ,VVXHG%\
                                                 >)17*%5$1'@
                                                         
        7KHLQVXUDQFHSURYLGHGE\WKLVHQGRUVHPHQWLVVXEMHFWWRWKHH[FOXVLRQVLQ6HFWLRQRI
WKLVHQGRUVHPHQWDQGWKH([FOXVLRQVIURP&RYHUDJHWKH([FHSWLRQVIURP&RYHUDJHFRQWDLQHGLQ
6FKHGXOH%DQGWKH&RQGLWLRQVLQWKHSROLF\
        )RU WKH SXUSRVHV RI WKLV HQGRUVHPHQW RQO\ ³&RYHQDQW´ PHDQV D FRYHQDQW FRQGLWLRQ
OLPLWDWLRQRUUHVWULFWLRQLQDGRFXPHQWRULQVWUXPHQWLQHIIHFWDW'DWHRI3ROLF\
        7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI
            D $ YLRODWLRQ RQ WKH /DQG DW 'DWH RI 3ROLF\ RI DQ HQIRUFHDEOH &RYHQDQW XQOHVV DQ
                 H[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\LGHQWLILHVWKHYLRODWLRQRU
            E $ QRWLFH RI D YLRODWLRQ UHFRUGHG LQ WKH 3XEOLF 5HFRUGV DW 'DWH RI 3ROLF\ RI DQ
                 HQIRUFHDEOH&RYHQDQWUHODWLQJWRHQYLURQPHQWDOSURWHFWLRQGHVFULELQJDQ\SDUWRIWKH
                 /DQG DQG UHIHUULQJ WR WKDW &RYHQDQW EXW RQO\ WR WKH H[WHQW RI WKH YLRODWLRQ RI WKH
                 &RYHQDQWUHIHUUHGWRLQWKDWQRWLFHXQOHVVDQH[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\
                 LGHQWLILHVWKHQRWLFHRIWKHYLRODWLRQ
        7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJH DQGWKH&RPSDQ\ZLOOQRWSD\
FRVWVDWWRUQH\V IHHVRUH[SHQVHV UHVXOWLQJIURP
           D DQ\&RYHQDQWFRQWDLQHGLQDQLQVWUXPHQWFUHDWLQJDOHDVH
           E DQ\&RYHQDQWUHODWLQJWRREOLJDWLRQVRIDQ\W\SHWRSHUIRUPPDLQWHQDQFH 
                UHSDLURUUHPHGLDWLRQRQWKH/DQGRU
           F H[FHSW DV SURYLGHG LQ 6HFWLRQ E DQ\ &RYHQDQW UHODWLQJ WR HQYLURQPHQWDO
SURWHFWLRQRIDQ\NLQGRUQDWXUHLQFOXGLQJKD]DUGRXVRUWR[LFPDWWHUVFRQGLWLRQVRUVXEVWDQFHV

7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

>:LWQHVVFODXVHRSWLRQDO@





>)17*%5$1'@

%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB



$/7$(QGRUVHPHQW)RUP
&RYHQDQWV&RQGLWLRQVDQG5HVWULFWLRQV8QLPSURYHG/DQG±2ZQHU V3ROLF\±  5HY 
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 297 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                   6(&7,21



                                             (1'256(0(17
                                    $WWDFKHGWR3ROLF\1RBBBBBBBBBBB

                                                     ,VVXHG%\

                                                  >)17*%5$1'@

          7KHLQVXUDQFHSURYLGHGE\WKLVHQGRUVHPHQWLVVXEMHFWWRWKHH[FOXVLRQVLQ6HFWLRQ
             RIWKLVHQGRUVHPHQWDQGWKH([FOXVLRQVIURP&RYHUDJHWKH([FHSWLRQVIURP
             &RYHUDJHFRQWDLQHGLQ6FKHGXOH%DQGWKH&RQGLWLRQVLQWKHSROLF\
          )RUWKHSXUSRVHVRIWKLVHQGRUVHPHQWRQO\
             D ³&RYHQDQW´PHDQVDFRYHQDQWFRQGLWLRQOLPLWDWLRQRUUHVWULFWLRQLQDGRFXPHQWRU
                  LQVWUXPHQWLQHIIHFWDW'DWHRI3ROLF\
             E ³,PSURYHPHQW´PHDQVDEXLOGLQJVWUXFWXUHORFDWHGRQWKHVXUIDFHRIWKH/DQG
                  URDGZDONZD\GULYHZD\RUFXUEDIIL[HGWRWKH/DQGDW'DWHRI3ROLF\DQGWKDW
                  E\ODZFRQVWLWXWHVUHDOSURSHUW\EXWH[FOXGLQJDQ\FURSVODQGVFDSLQJODZQ
                  VKUXEEHU\RUWUHHV
          7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI
             D $YLRODWLRQRQWKH/DQGDW'DWHRI3ROLF\RIDQHQIRUFHDEOH&RYHQDQWXQOHVVDQ
                  H[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\LGHQWLILHVWKHYLRODWLRQ
             E (QIRUFHGUHPRYDORIDQ,PSURYHPHQWDVDUHVXOWRIDYLRODWLRQDW'DWHRI3ROLF\
                  RIDEXLOGLQJVHWEDFNOLQHVKRZQRQDSODWRIVXEGLYLVLRQUHFRUGHGRUILOHGLQWKH
                  3XEOLF5HFRUGVXQOHVVDQH[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\LGHQWLILHVWKH
                  YLRODWLRQRU
             F $QRWLFHRIDYLRODWLRQUHFRUGHGLQWKH3XEOLF5HFRUGVDW'DWHRI3ROLF\RIDQ
                  HQIRUFHDEOH&RYHQDQWUHODWLQJWRHQYLURQPHQWDOSURWHFWLRQGHVFULELQJDQ\SDUWRI
                  WKH/DQGDQGUHIHUULQJWRWKDW&RYHQDQWEXWRQO\WRWKHH[WHQWRIWKHYLRODWLRQRI
                  WKH&RYHQDQWUHIHUUHGWRLQWKDWQRWLFHXQOHVVDQH[FHSWLRQLQ6FKHGXOH%RIWKH
                  SROLF\LGHQWLILHVWKHQRWLFHRIWKHYLRODWLRQ
          7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJH DQGWKH&RPSDQ\ZLOOQRW
             SD\FRVWVDWWRUQH\V IHHVRUH[SHQVHV UHVXOWLQJIURP
             D DQ\&RYHQDQWFRQWDLQHGLQDQLQVWUXPHQWFUHDWLQJDOHDVH
             E DQ\&RYHQDQWUHODWLQJWRREOLJDWLRQVRIDQ\W\SHWRSHUIRUPPDLQWHQDQFHUHSDLU
                  RUUHPHGLDWLRQRQWKH/DQGRU
             F H[FHSWDVSURYLGHGLQ6HFWLRQFDQ\&RYHQDQWUHODWLQJWRHQYLURQPHQWDO
                  SURWHFWLRQRIDQ\NLQGRUQDWXUHLQFOXGLQJKD]DUGRXVRUWR[LFPDWWHUVFRQGLWLRQV
                  RUVXEVWDQFHV

          7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW
  L PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLV
HQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV
:LWQHVVFODXVHRSWLRQDO@


>)17*%5$1'@

%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB


$/7$(QGRUVHPHQW)RUP
  &RYHQDQWV&RQGLWLRQVDQG5HVWULFWLRQV±,PSURYHG/DQG2ZQHU V3ROLF\ 5HY 
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ
                                        


)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 298 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                              6(&7,21



                                               (1'256(0(17
                                      $WWDFKHGWR3ROLF\1RBBBBBBBBBBB
                                                   ,VVXHG%\

                                        >)17*%5$1'@
                                                
 7KHLQVXUDQFHSURYLGHGE\WKLVHQGRUVHPHQWLVVXEMHFWWRWKHH[FOXVLRQVLQ6HFWLRQRIWKLV
HQGRUVHPHQWDQGWKH([FOXVLRQVIURP&RYHUDJHWKH([FHSWLRQVIURP&RYHUDJHFRQWDLQHGLQ
6FKHGXOH%DQGWKH&RQGLWLRQVLQWKHSROLF\
)RUWKHSXUSRVHVRIWKLVHQGRUVHPHQWRQO\
    D ³&RYHQDQW´PHDQVDFRYHQDQWFRQGLWLRQOLPLWDWLRQRUUHVWULFWLRQLQDGRFXPHQWRU
LQVWUXPHQWLQHIIHFWDW'DWHRI3ROLF\
   E ³,PSURYHPHQW´PHDQVDQLPSURYHPHQWLQFOXGLQJDQ\ODZQVKUXEEHU\RUWUHHVDIIL[HGWR
WKH/DQGDW'DWHRI3ROLF\WKDWE\ODZFRQVWLWXWHVUHDOSURSHUW\
 7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI
    D $YLRODWLRQRID&RYHQDQWWKDW
               L    GLYHVWVVXERUGLQDWHVRUH[WLQJXLVKHVWKHOLHQRIWKH,QVXUHG0RUWJDJH
                 LL       UHVXOWVLQWKHLQYDOLGLW\XQHQIRUFHDELOLW\RUODFNRISULRULW\RIWKHOLHQRIWKH
                            ,QVXUHG0RUWJDJHRU
               LLL FDXVHVDORVVRIWKH,QVXUHG¶V7LWOHDFTXLUHGLQVDWLVIDFWLRQRUSDUWLDOVDWLVIDFWLRQ
                       RIWKH,QGHEWHGQHVV
    E       $YLRODWLRQRQWKH/DQGDW'DWHRI3ROLF\RIDQHQIRUFHDEOH&RYHQDQWXQOHVVDQ
              H[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\LGHQWLILHVWKHYLRODWLRQ
    F       (QIRUFHGUHPRYDORIDQ,PSURYHPHQWDVDUHVXOWRIDYLRODWLRQDW'DWHRI3ROLF\RID
              EXLOGLQJVHWEDFNOLQHVKRZQRQDSODWRIVXEGLYLVLRQUHFRUGHGRUILOHGLQWKH3XEOLF
              5HFRUGVXQOHVVDQH[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\LGHQWLILHVWKHYLRODWLRQRU
    G $QRWLFHRIDYLRODWLRQUHFRUGHGLQWKH3XEOLF5HFRUGVDW'DWHRI3ROLF\RIDQHQIRUFHDEOH
&RYHQDQWUHODWLQJWRHQYLURQPHQWDOSURWHFWLRQGHVFULELQJDQ\SDUWRIWKH/DQGDQGUHIHUULQJWRWKDW
&RYHQDQWEXWRQO\WRWKHH[WHQWRIWKHYLRODWLRQRIWKH&RYHQDQWUHIHUUHGWRLQWKDWQRWLFHXQOHVV
DQH[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\LGHQWLILHVWKHQRWLFHRIWKHYLRODWLRQ
 7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJH DQGWKH&RPSDQ\ZLOOQRWSD\
    FRVWVDWWRUQH\V IHHVRUH[SHQVHV UHVXOWLQJIURP
    D DQ\&RYHQDQWFRQWDLQHGLQDQLQVWUXPHQWFUHDWLQJDOHDVH
    E DQ\&RYHQDQWUHODWLQJWRREOLJDWLRQVRIDQ\W\SHWRSHUIRUPPDLQWHQDQFHUHSDLU
        RUUHPHGLDWLRQRQWKH/DQGRU




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 299 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                    6(&7,21



    F H[FHSWDVSURYLGHGLQ6HFWLRQFDQ\&RYHQDQWSHUWDLQLQJWRHQYLURQPHQWDOSURWHFWLRQRI
        DQ\NLQGRUQDWXUHLQFOXGLQJKD]DUGRXVRUWR[LFPDWWHUVFRQGLWLRQVRUVXEVWDQFHV
         7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW
 L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
 LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

>:LWQHVVFODXVHRSWLRQDO@

>)17*%5$1'@

%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

$/7$(QGRUVHPHQW)RUP
&RYHQDQWV&RQGLWLRQVDQG5HVWULFWLRQV/RDQ3ROLF\  5HY 
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 300 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                      6(&7,21



                                             (1'256(0(17
                                     $WWDFKHGWR3ROLF\1RBBBBBBBBBB
                                                 ,VVXHGE\
                                        >)17*%5$1'@

 7KHLQVXUDQFHSURYLGHGE\WKLVHQGRUVHPHQWLVVXEMHFWWRWKHH[FOXVLRQVLQ6HFWLRQRIWKLV
HQGRUVHPHQWDQGWKH([FOXVLRQVIURP&RYHUDJHWKH([FHSWLRQVIURP&RYHUDJHFRQWDLQHGLQ
6FKHGXOH%DQGWKH&RQGLWLRQVLQWKHSROLF\
 )RUSXUSRVHVRIWKLVHQGRUVHPHQWRQO\
     D ³&RYHQDQW´PHDQVDFRYHQDQWFRQGLWLRQOLPLWDWLRQRUUHVWULFWLRQLQDGRFXPHQWRU
         LQVWUXPHQWLQHIIHFWDW'DWHRI3ROLF\
     E   ³3ULYDWH5LJKW´PHDQV L DSULYDWHFKDUJHRUDVVHVVPHQW LL DQRSWLRQWRSXUFKDVH LLL 
           DULJKWRIILUVWUHIXVDORU LY DULJKWRISULRUDSSURYDORIDIXWXUHSXUFKDVHURURFFXSDQW
 7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGXQGHUWKLV/RDQ
3ROLF\LIHQIRUFHPHQWRID3ULYDWH5LJKWLQD&RYHQDQWDIIHFWLQJWKH7LWOHDW'DWHRI3ROLF\ D 
UHVXOWVLQWKHLQYDOLGLW\XQHQIRUFHDELOLW\RUODFNRISULRULW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJHRU
 E FDXVHVDORVVRIWKH,QVXUHG¶V7LWOHDFTXLUHGLQVDWLVIDFWLRQRUSDUWLDOVDWLVIDFWLRQRIWKH
,QGHEWHGQHVV
      7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJH DQGWKH&RPSDQ\ZLOOQRWSD\
FRVWVDWWRUQH\V IHHVRUH[SHQVHV UHVXOWLQJIURP
     D DQ\&RYHQDQWFRQWDLQHGLQDQLQVWUXPHQWFUHDWLQJDOHDVH
     E DQ\&RYHQDQWUHODWLQJWRREOLJDWLRQVRIDQ\W\SHWRSHUIRUPPDLQWHQDQFHUHSDLU
         RUUHPHGLDWLRQRQWKH/DQG
     F DQ\&RYHQDQWUHODWLQJWRHQYLURQPHQWDOSURWHFWLRQRIDQ\NLQGRUQDWXUHLQFOXGLQJ
         KD]DUGRXVRUWR[LFPDWWHUVFRQGLWLRQVRUVXEVWDQFHVRU
     G DQ\3ULYDWH5LJKWLQDQLQVWUXPHQWLGHQWLILHGLQ([FHSWLRQ V BBBBBLQ6FKHGXOH%
7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW
 L PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV
 LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLV
HQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

>:LWQHVVFODXVHRSWLRQDO@

>)17*%5$1'@

%\BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
      $XWKRUL]HG6LJQDWRU\
                                        

$/7$(QGRUVHPHQW)RUP
3ULYDWH5LJKWV/RDQ3ROLF\  5HY 
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

    Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 301 of 807
    (1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                            6(&7,21



                                                     (1'256(0(17
                                          $WWDFKHGWR3ROLF\1RBBBBBBBBBB
                                                         ,VVXHGE\
                                                      >)17*%5$1'@
    
         7KHLQVXUDQFHSURYLGHGE\WKLVHQGRUVHPHQWLVVXEMHFWWRWKHH[FOXVLRQVLQ6HFWLRQRI
           WKLVHQGRUVHPHQWDQGWKH([FOXVLRQVIURP&RYHUDJHWKH([FHSWLRQVIURP&RYHUDJH
           FRQWDLQHGLQ6FKHGXOH%DQGWKH&RQGLWLRQVLQWKHSROLF\
         )RUSXUSRVHVRIWKLVHQGRUVHPHQWRQO\
            D     ³&RYHQDQW´PHDQVDFRYHQDQWFRQGLWLRQOLPLWDWLRQRUUHVWULFWLRQLQDGRFXPHQWRU
           LQVWUXPHQWLQHIIHFWDW'DWHRI3ROLF\
             E    ³)XWXUH,PSURYHPHQW´PHDQVDEXLOGLQJVWUXFWXUHURDGZDONZD\GULYHZD\
           FXUEODZQVKUXEEHU\RUWUHHVWREHFRQVWUXFWHGRQRUDIIL[HGWRWKH/DQGLQWKH
           ORFDWLRQVDFFRUGLQJWR WKH3ODQVDQGWKDWE\ODZZLOOFRQVWLWXWHUHDOSURSHUW\
             F     ³,PSURYHPHQW´PHDQVDQLPSURYHPHQWLQFOXGLQJDQ\ODZQVKUXEEHU\RUWUHHV
           DIIL[HGWRHLWKHUWKH/DQGRUDGMRLQLQJODQGDW'DWHRI3ROLF\WKDWE\ODZFRQVWLWXWHV
           UHDOSURSHUW\
              G    ³3ODQV´PHDQVWKHVXUYH\VLWHDQGHOHYDWLRQSODQVRURWKHUGHSLFWLRQVRU
           GUDZLQJVSUHSDUHGE\
            LQVHUWQDPHRIDUFKLWHFWRUHQJLQHHU GDWHGBBBBODVWUHYLVHGBBBBBBBBGHVLJQDWHGDV
            LQVHUWQDPHRISURMHFWRUSURMHFWQXPEHU FRQVLVWLQJRIBBBVKHHWV
     7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI
                D         $YLRODWLRQRID&RYHQDQWWKDW
                     L   GLYHVWVVXERUGLQDWHVRUH[WLQJXLVKHVWKHOLHQRIWKH,QVXUHG0RUWJDJH
                     LL UHVXOWVLQWKHLQYDOLGLW\XQHQIRUFHDELOLW\RUODFNRISULRULW\RIWKHOLHQRIWKH,QVXUHG
                    0RUWJDJHRU
                     LLL FDXVHVDORVVRIWKH,QVXUHG¶V7LWOHDFTXLUHGLQVDWLVIDFWLRQRUSDUWLDOVDWLVIDFWLRQ
                    RIWKH,QGHEWHGQHVV
            E      $YLRODWLRQRIDQHQIRUFHDEOH&RYHQDQWE\DQ,PSURYHPHQWRQWKH/DQGDW'DWH
            RI3ROLF\RUE\D)XWXUH,PSURYHPHQWXQOHVVDQH[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\
            LGHQWLILHVWKHYLRODWLRQ
            F     (QIRUFHGUHPRYDORIDQ,PSURYHPHQWORFDWHGRQWKH/DQGRURID)XWXUH
            ,PSURYHPHQWDVDUHVXOWRIDYLRODWLRQRIDEXLOGLQJVHWEDFNOLQHVKRZQRQDSODWRI
            VXEGLYLVLRQUHFRUGHGRUILOHGLQWKH3XEOLF5HFRUGVDW'DWHRI3ROLF\XQOHVVDQH[FHSWLRQ
            LQ6FKHGXOH%RIWKHSROLF\LGHQWLILHVWKHYLRODWLRQRU
            G      $QRWLFHRIDYLRODWLRQUHFRUGHGLQWKH3XEOLF5HFRUGVDW'DWHRI3ROLF\RIDQ
            HQIRUFHDEOH&RYHQDQWUHODWLQJWRHQYLURQPHQWDOSURWHFWLRQGHVFULELQJDQ\SDUWRIWKH
            /DQGDQGUHIHUULQJWRWKDW&RYHQDQWEXWRQO\WRWKHH[WHQWRIWKHYLRODWLRQRIWKH
            &RYHQDQWUHIHUUHGWRLQWKDWQRWLFHXQOHVVDQH[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\
            LGHQWLILHVWKHQRWLFHRIWKHYLRODWLRQ
     7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\UHDVRQRI
            D             $QHQFURDFKPHQWRI
                                  L      DQ,PSURYHPHQWORFDWHGRQWKH/DQGDW'DWHRI3ROLF\RUD
                                    )XWXUH,PSURYHPHQWRQWRDGMRLQLQJODQGRURQWRWKDWSRUWLRQRIWKH/DQG
                                    VXEMHFWWRDQHDVHPHQWRU


    )LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 
    
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 302 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                     6(&7,21



                     LL    DQ,PSURYHPHQWORFDWHGRQDGMRLQLQJODQGRQWRWKH/DQGDW'DWHRI
                             3ROLF\
XQOHVVDQH[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\LGHQWLILHVWKHHQFURDFKPHQWRWKHUZLVHLQVXUHG
DJDLQVWLQ6HFWLRQVDLRUDLL
         E    'DPDJHWRDQ,PSURYHPHQWORFDWHGRQWKH/DQGDW'DWHRI3ROLF\RUD)XWXUH
        ,PSURYHPHQW
              L     WKDWHQFURDFKHVRQWRWKDWSRUWLRQRIWKH/DQGVXEMHFWWRDQHDVHPHQW
                             H[FHSWHGLQ6FKHGXOH%ZKLFKGDPDJHUHVXOWVIURPWKHH[HUFLVHRIWKH
                             ULJKWWRPDLQWDLQWKHHDVHPHQWIRUWKHSXUSRVHIRUZKLFKLWZDVJUDQWHG
                             RUUHVHUYHGRU
                     LL    UHVXOWLQJIURPWKHIXWXUHH[HUFLVHRIDULJKWWRXVHWKHVXUIDFHRIWKH/DQG
                             IRUWKHH[WUDFWLRQRUGHYHORSPHQWRIPLQHUDOVRUDQ\RWKHUVXEVXUIDFH
                             VXEVWDQFHVH[FHSWHGIURPWKHGHVFULSWLRQRIWKH/DQGRUH[FHSWHGLQ
                             6FKHGXOH%
      7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJH DQGWKH&RPSDQ\ZLOOQRWSD\
FRVWVDWWRUQH\V IHHVRUH[SHQVHV UHVXOWLQJIURP
        D         DQ\&RYHQDQWFRQWDLQHGLQDQLQVWUXPHQWFUHDWLQJDOHDVH
         E         DQ\&RYHQDQWUHODWLQJWRREOLJDWLRQVRIDQ\W\SHWRSHUIRUPPDLQWHQDQFHUHSDLU
                     RUUHPHGLDWLRQRQWKH/DQG
         F         H[FHSWDVSURYLGHGLQ6HFWLRQGDQ\&RYHQDQWUHODWLQJWRHQYLURQPHQWDO
                     SURWHFWLRQRI DQ\NLQGRUQDWXUHLQFOXGLQJKD]DUGRXVRUWR[LFPDWWHUV
                     FRQGLWLRQVRUVXEVWDQFH
        G         FRQWDPLQDWLRQH[SORVLRQILUHYLEUDWLRQIUDFWXULQJHDUWKTXDNHRUVXEVLGHQFHRU
         H         QHJOLJHQFHE\DSHUVRQRUDQ(QWLW\H[HUFLVLQJDULJKWWRH[WUDFWRUGHYHORS
                     PLQHUDOVRURWKHUVXEVXUIDFHVXEVWDQFHV
          7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW
  L PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLV
HQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

>:LWQHVVFODXVHRSWLRQDO@

>)17*%5$1'@

%\BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
$XWKRUL]HG6LJQDWRU\






$/7$(QGRUVHPHQW)RUP
  5HVWULFWLRQV(QFURDFKPHQWV0LQHUDOV/DQG8QGHU'HYHORSPHQW/RDQ3ROLF\   
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ

                                       


)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 303 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                6(&7,21



                                        (1'256(0(17
                              $WWDFKHGWR3ROLF\1RBBBBBBBBBB
                                            ,VVXHGE\
                                         >)17*%5$1'@

     7KHLQVXUDQFHSURYLGHGE\WKLVHQGRUVHPHQWLVVXEMHFWWRWKHH[FOXVLRQVLQ6HFWLRQRI
       WKLVHQGRUVHPHQWDQGWKH([FOXVLRQVIURP&RYHUDJHWKH([FHSWLRQVIURP&RYHUDJH
       FRQWDLQHGLQ6FKHGXOH%DQGWKH&RQGLWLRQVLQWKHSROLF\
     )RUSXUSRVHVRIWKLVHQGRUVHPHQWRQO\
       D      ³&RYHQDQW´PHDQVDFRYHQDQWFRQGLWLRQOLPLWDWLRQRUUHVWULFWLRQLQDGRFXPHQWRU
              LQVWUXPHQWLQHIIHFWDW'DWHRI3ROLF\
       E      ³)XWXUH,PSURYHPHQW´PHDQVDEXLOGLQJVWUXFWXUHURDGZDONZD\GULYHZD\FXUE
                WREHFRQVWUXFWHGRQRUDIIL[HGWRWKH/DQGLQWKHORFDWLRQVDFFRUGLQJWRWKH3ODQV
                DQGWKDWE\ODZZLOOFRQVWLWXWHUHDOSURSHUW\EXWH[FOXGLQJDQ\FURSV
                ODQGVFDSLQJODZQVKUXEEHU\RUWUHHV
       F      ³,PSURYHPHQW´PHDQVDEXLOGLQJVWUXFWXUHORFDWHGRQWKHVXUIDFHRIWKH/DQG
                URDGZDONZD\GULYHZD\RUFXUEDIIL[HGWRWKH/DQGDW'DWHRI3ROLF\DQGWKDW
                E\ODZFRQVWLWXWHVUHDOSURSHUW\EXWH[FOXGLQJDQ\FURSVODQGVFDSLQJODZQ
                VKUXEEHU\RUWUHHV
       G      ³3ODQV´PHDQVWKHVXUYH\VLWHDQGHOHYDWLRQSODQVRURWKHUGHSLFWLRQVRU
              GUDZLQJVSUHSDUHGE\ LQVHUWQDPHRIDUFKLWHFWRUHQJLQHHU GDWHGBBBBODVW
              UHYLVHGBBBBBBBBGHVLJQDWHGDV LQVHUWQDPHRISURMHFWRUSURMHFWQXPEHU 
              FRQVLVWLQJRIBBBVKHHWV
 7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI
       D      $YLRODWLRQRIDQHQIRUFHDEOH&RYHQDQWE\DQ,PSURYHPHQWRQWKH/DQGDW'DWH
                RI3ROLF\RUE\D)XWXUH,PSURYHPHQWXQOHVVDQH[FHSWLRQLQ6FKHGXOH%RIWKH
                SROLF\LGHQWLILHVWKHYLRODWLRQ
       E      (QIRUFHGUHPRYDORIDQ,PSURYHPHQWORFDWHGRQWKH/DQGRURID)XWXUH
                ,PSURYHPHQWDVDUHVXOWRIDYLRODWLRQRIDEXLOGLQJVHWEDFNOLQHVKRZQRQDSODW
                RIVXEGLYLVLRQUHFRUGHGRUILOHGLQWKH3XEOLF5HFRUGVDW'DWHRI3ROLF\XQOHVVDQ
                H[FHSWLRQLQ6FKHGXOH%RIWKH SROLF\LGHQWLILHVWKHYLRODWLRQRU
       F      $QRWLFHRIDYLRODWLRQUHFRUGHGLQWKH3XEOLF5HFRUGVDW'DWHRI3ROLF\RIDQ
                HQIRUFHDEOH&RYHQDQWUHODWLQJWRHQYLURQPHQWDOSURWHFWLRQGHVFULELQJDQ\SDUWRI
                WKH/DQGDQGUHIHUULQJWRWKDW&RYHQDQWEXWRQO\WRWKHH[WHQWRIWKHYLRODWLRQRI
                WKH&RYHQDQWUHIHUUHG WRLQWKDWQRWLFHXQOHVVDQH[FHSWLRQLQ6FKHGXOH%RI
                WKHSROLF\LGHQWLILHVWKHQRWLFHRIWKHYLRODWLRQ
 7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJH DQGWKH&RPSDQ\ZLOOQRWSD\
   FRVWVDWWRUQH\V IHHVRUH[SHQVHV UHVXOWLQJIURP
      D      DQ\&RYHQDQWFRQWDLQHGLQDQLQVWUXPHQWFUHDWLQJDOHDVH
      E      DQ\&RYHQDQWUHODWLQJWRREOLJDWLRQVRIDQ\W\SHWRSHUIRUPPDLQWHQDQFHUHSDLU
              RUUHPHGLDWLRQRQWKH/DQGRU
      F      H[FHSWDVSURYLGHGLQ6HFWLRQFDQ\&RYHQDQWUHODWLQJWRHQYLURQPHQWDO
                SURWHFWLRQRIDQ\NLQGRUQDWXUHLQFOXGLQJKD]DUGRXVRUWR[LFPDWWHUVFRQGLWLRQV
                RUVXEVWDQFHV
      




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 304 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                                6(&7,21



7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW
  L PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLV
HQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

>:LWQHVVFODXVHRSWLRQDO@

>)17*%5$1'@
%\BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
$XWKRUL]HG6LJQDWRU\








$/7$(QGRUVHPHQW)RUP
  &RYHQDQWV&RQGLWLRQVDQG5HVWULFWLRQV/DQG8QGHU'HYHORSPHQW2ZQHUV3ROLF\   
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ
                                                                            >LQFOXGHVWHFKQLFDOFRUUHFWLRQRI@
                                                                                                                      
                                                                                                                      

                                       




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 305 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                         6(&7,21




                                                (1'256(0(17
                                        $WWDFKHGWR3ROLF\1RBBBBBBBBBB
                                                    ,VVXHGE\
                                        >)17*%5$1'@

 7KHLQVXUDQFHSURYLGHGE\WKLVHQGRUVHPHQWLVVXEMHFWWRWKHH[FOXVLRQVLQ6HFWLRQRIWKLV
HQGRUVHPHQWDQGWKH([FOXVLRQVIURP&RYHUDJHWKH([FHSWLRQVIURP&RYHUDJHFRQWDLQHGLQ
6FKHGXOH%DQGWKH&RQGLWLRQVLQWKHSROLF\
 )RUSXUSRVHVRIWKLVHQGRUVHPHQWRQO\
           D ³&RYHQDQW´PHDQVDFRYHQDQWFRQGLWLRQOLPLWDWLRQRUUHVWULFWLRQLQDGRFXPHQWRU
               LQVWUXPHQWLQHIIHFWDW'DWHRI3ROLF\
           E ³3ULYDWH5LJKW´PHDQV L DQRSWLRQWRSXUFKDVH LL DULJKWRIILUVWUHIXVDORU LLL D
               ULJKWRISULRUDSSURYDORIDIXWXUHSXUFKDVHURURFFXSDQW
 7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGXQGHUWKLV2ZQHU¶V
3ROLF\LIHQIRUFHPHQWRID3ULYDWH5LJKWLQD&RYHQDQWDIIHFWLQJWKH7LWOHDW'DWHRI3ROLF\EDVHG
RQDWUDQVIHURI7LWOHRQRUEHIRUH'DWHRI3ROLF\FDXVHVDORVVRIWKH,QVXUHG¶V7LWOH
      7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJH DQGWKH&RPSDQ\ZLOOQRWSD\
FRVWVDWWRUQH\V IHHVRUH[SHQVHV UHVXOWLQJIURPUHVWULFWLRQ
     D        DQ\&RYHQDQWFRQWDLQHGLQDQLQVWUXPHQWFUHDWLQJDOHDVH
     E    DQ\&RYHQDQWUHODWLQJWRREOLJDWLRQVRIDQ\W\SHWRSHUIRUPPDLQWHQDQFHUHSDLU
     RUUHPHGLDWLRQRQWKH/DQG
     F    DQ\&RYHQDQWUHODWLQJWRHQYLURQPHQWDOSURWHFWLRQRIDQ\NLQGRUQDWXUHLQFOXGLQJ
     KD]DUGRXVRUWR[LFPDWWHUVFRQGLWLRQVRUVXEVWDQFHVRU
     G        DQ\3ULYDWH5LJKWLQDQLQVWUXPHQWLGHQWLILHGLQ([FHSWLRQ V BBBBBLQ6FKHGXOH%
7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW
 L PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV
 LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLV
HQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

>:LWQHVVFODXVHRSWLRQDO@

>)17*%5$1'@

%\BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
      $XWKRUL]HG6LJQDWRU\
                                        

$/7$(QGRUVHPHQW)RUP
  3ULYDWH5LJKWV2ZQHU¶V3ROLF\   
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ

                                          




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 306 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                          6(&7,21



                                             (1'256(0(17
                                 $WWDFKHGWR3ROLF\1RBBBBBBBBBBB
                                              ,VVXHG%\

                                        >)17*%5$1'@
                                                
7KHLQVXUDQFHSURYLGHGE\WKLVHQGRUVHPHQWLVVXEMHFWWRWKHH[FOXVLRQVLQ6HFWLRQRIWKLV
HQGRUVHPHQWDQGWKH([FOXVLRQVIURP&RYHUDJHWKH([FHSWLRQVIURP&RYHUDJHFRQWDLQHGLQ
6FKHGXOH%DQGWKH&RQGLWLRQVLQWKHSROLF\
)RUWKHSXUSRVHVRIWKLVHQGRUVHPHQWRQO\
    D ³&RYHQDQW´PHDQVDFRYHQDQWFRQGLWLRQOLPLWDWLRQRUUHVWULFWLRQLQDGRFXPHQWRU
       LQVWUXPHQWLQHIIHFWDW'DWHRI3ROLF\
   E ³,PSURYHPHQW´PHDQVDQLPSURYHPHQWLQFOXGLQJDQ\ODZQVKUXEEHU\RUWUHHVDIIL[HGWR
        HLWKHUWKH/DQGRUDGMRLQLQJODQGDW'DWHRI3ROLF\WKDWE\ODZFRQVWLWXWHVUHDOSURSHUW\
 7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI
    D $YLRODWLRQDW'DWHRI3ROLF\RID&RYHQDQWWKDW
                LGLYHVWVVXERUGLQDWHVRUH[WLQJXLVKHVWKHOLHQRIWKH,QVXUHG0RUWJDJH
                LLUHVXOWVLQWKHLQYDOLGLW\XQHQIRUFHDELOLW\RUODFNRISULRULW\RIWKHOLHQRIWKH
                ,QVXUHG0RUWJDJHRU
                LLLFDXVHVDORVVRIWKH,QVXUHG¶V7LWOHDFTXLUHGLQVDWLVIDFWLRQRUSDUWLDO 
                VDWLVIDFWLRQRIWKH,QGHEWHGQHVV
    E $YLRODWLRQRQWKH/DQGDW'DWHRI3ROLF\RIDQHQIRUFHDEOH&RYHQDQWXQOHVVDQ
       H[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\LGHQWLILHVWKHYLRODWLRQ
    F   (QIRUFHGUHPRYDORIDQ,PSURYHPHQWORFDWHGRQWKH/DQGDVDUHVXOWRIDYLRODWLRQDW
         'DWHRI3ROLF\RIDEXLOGLQJVHWEDFNOLQHVKRZQRQDSODWRIVXEGLYLVLRQUHFRUGHGRUILOHG
         LQWKH3XEOLF5HFRUGVXQOHVVDQH[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\LGHQWLILHVWKH
         YLRODWLRQRU
    G   $QRWLFHRIDYLRODWLRQUHFRUGHGLQWKH3XEOLF5HFRUGVDW'DWHRI3ROLF\RIDQHQIRUFHDEOH
         &RYHQDQWUHODWLQJWRHQYLURQPHQWDOSURWHFWLRQGHVFULELQJDQ\SDUWRIWKH/DQGDQG
         UHIHUULQJWRWKDW&RYHQDQWEXWRQO\WRWKHH[WHQWRIWKHYLRODWLRQRIWKH&RYHQDQWUHIHUUHG
         WRLQWKDWQRWLFHXQOHVVDQH[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\LGHQWLILHVWKHQRWLFHRI
         WKHYLRODWLRQ
 7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\UHDVRQRI
   D $QHQFURDFKPHQWRI
             L DQ,PSURYHPHQWORFDWHGRQWKH/DQGDW'DWHRI3ROLF\RQWRDGMRLQLQJODQGRU
             RQWRWKDWSRUWLRQRIWKH/DQGVXEMHFWWRDQHDVHPHQWRU
              LL DQ,PSURYHPHQWORFDWHGRQDGMRLQLQJODQGRQWRWKH/DQGDW'DWHRI3ROLF\
XQOHVVDQH[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\LGHQWLILHVWKHHQFURDFKPHQWRWKHUZLVHLQVXUHG
DJDLQVWLQ6HFWLRQVDLRUDLL
    E $ILQDOFRXUWRUGHURUMXGJPHQWUHTXLULQJWKHUHPRYDOIURPDQ\ODQGDGMRLQLQJWKH/DQGRI
DQHQFURDFKPHQWLGHQWLILHGLQ6FKHGXOH%RU
       F 'DPDJHWRDQ,PSURYHPHQWORFDWHGRQWKH/DQGDW'DWHRI3ROLF\
            L WKDWLVORFDWHGRQRUHQFURDFKHVRQWRWKDWSRUWLRQRIWKH/DQGVXEMHFWWR 
             DQHDVHPHQWH[FHSWHGLQ6FKHGXOH%ZKLFKGDPDJHUHVXOWVIURPWKHH[HUFLVHRI


)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 307 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                          6(&7,21



                 WKHULJKWWRPDLQWDLQWKHHDVHPHQWIRUWKHSXUSRVHIRUZKLFKLWZDVJUDQWHG 
                 RUUHVHUYHGRU
                  LLUHVXOWLQJIURPWKHIXWXUHH[HUFLVHRIDULJKWWRXVHWKHVXUIDFHRIWKH/DQGIRUWKH
                        H[WUDFWLRQRUGHYHORSPHQWRIPLQHUDOVRUDQ\RWKHUVXEVXUIDFHVXEVWDQFHV
                        H[FHSWHGIURPWKHGHVFULSWLRQRIWKH/DQGRUH[FHSWHGLQ6FKHGXOH%
              
     7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJH DQGWKH&RPSDQ\ZLOOQRWSD\
         FRVWVDWWRUQH\V IHHVRUH[SHQVHV UHVXOWLQJIURP
         DDQ\&RYHQDQWFRQWDLQHGLQDQLQVWUXPHQWFUHDWLQJDOHDVH
         EDQ\&RYHQDQWUHODWLQJWRREOLJDWLRQVRIDQ\W\SHWRSHUIRUPPDLQWHQDQFHUHSDLU
         RUUHPHGLDWLRQRQWKH/DQG
         FH[FHSWDVSURYLGHGLQ6HFWLRQGDQ\&RYHQDQWUHODWLQJWRHQYLURQPHQWDOSURWHFWLRQRI
         DQ\NLQGRUQDWXUHLQFOXGLQJKD]DUGRXVRUWR[LFPDWWHUVFRQGLWLRQVRUVXEVWDQFHV
         GFRQWDPLQDWLRQH[SORVLRQILUHIUDFWXULQJYLEUDWLRQHDUWKTXDNHRUVXEVLGHQFHRU
         HQHJOLJHQFHE\DSHUVRQRUDQ(QWLW\H[HUFLVLQJDULJKWWRH[WUDFWRUGHYHORSPLQHUDOVRU
         RWKHUVXEVXUIDFHVXEVWDQFHV
7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW
 L PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV
 LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLV
HQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV
>:LWQHVVFODXVHRSWLRQDO@
>)17*%5$1'@
%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB










$/7$(QGRUVHPHQW)RUP
  5HVWULFWLRQV(QFURDFKPHQWV0LQHUDOV&XUUHQW9LRODWLRQV/RDQ3ROLF\   
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ





)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 308 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                 6(&7,21



5HWXUQWR7DEOHRI&RQWHQWV
                                  $66,*10(172)0257*$*(
                      $/7$(1'256(0(17)2506$1'


                                             385326(
                                                   
7KH $/7$  HQGRUVHPHQW LQVXUHV WKH HIIHFWLYHQHVV RI WKH DVVLJQPHQW RI WKH ,QVXUHG
0RUWJDJHDQGWKDWWKHUHKDYHEHHQQRUHOHDVHVRUUHFRQYH\DQFHVSODFHGRIUHFRUGRWKHUWKDQDV
VKRZQ 7KH $/7$  SURYLGHV WKH VDPH FRYHUDJH DV WKH  DQG JLYHV DGGLWLRQDO
FRYHUDJHRYHURQO\FHUWDLQPDWWHUVRFFXUULQJDIWHUWKHRULJLQDO'DWHRI3ROLF\DQGEHIRUHWKH'DWH
RI (QGRUVHPHQW ZKLFK LV D GHILQHG WHUP ZLWKLQ WKH HQGRUVHPHQW XQOHVV WKRVH PDWWHUV DUH
GLVFORVHGE\ILOOLQJLQWKHEODQNVFRQWDLQHGZLWKLQWKHHQGRUVHPHQW7KHVHPDWWHUVLQFOXGHUHDO
HVWDWHWD[HVRUDVVHVVPHQWVSULRULW\RILQWHUYHQLQJGHIHFWVOLHQVRUHQFXPEUDQFHVDQGIHGHUDO
WD[OLHQVRUEDQNUXSWF\SURFHHGLQJV

:DUQLQJ7KHVHIRUPVDUHQRWWKHHTXLYDOHQWRIFRPSOHWHGDWHGRZQHQGRUVHPHQWV7KH\
SURYLGH FRYHUDJH RQO\ IRU WKH PDWWHUV GLVFXVVHG $Q\ UHTXHVW WR DGG WKH DVVLJQPHQW RI
WKH,QVXUHG0RUWJDJHWR6FKHGXOH$ZLWKRXWGRLQJDFRPSOHWHSROLF\GDWHGRZQRUE\XVH
RI DQ\ RWKHU W\SH RI HQGRUVHPHQW RWKHU WKDQ WKHVH IRUPV PXVW EH DSSURYHG E\ \RXU
&RPSDQ\XQGHUZULWLQJDGYLVRU

        
                         6(&7,212)32/,&<$0(1'('%<(1'256(0(17
        
7KH SROLF\ LV PRGLILHG E\ QDPLQJ WKH DVVLJQHH XQGHU WKH DVVLJQPHQW DV WKH ,QVXUHG 7KH
HQGRUVHPHQW SURYLGHV DGGLWLRQDO DIILUPDWLYH FRYHUDJH DJDLQVW WKH LQHIIHFWLYHQHVV RI WKH
DVVLJQPHQWDQGWKHHIIHFWRIDQ\IXOORUSDUWLDOUHOHDVHVRUUHFRQYH\DQFHVUHFRUGHGDIWHUWKH'DWH
RI3ROLF\DQGEHIRUHWKH'DWHRI(QGRUVHPHQW,QDGGLWLRQWKH$/7$SURYLGHVFRYHUDJH
IRU WKH PDWWHUV GHVFULEHG DERYH %RWK IRUPV RI HQGRUVHPHQW DUH FRQGLWLRQHG XSRQ WKH SURSHU
GHOLYHU\DQGHQGRUVHPHQWRIWKHXQGHUO\LQJQRWHV
                                                   
                              %$6,6)253529,',1*&29(5$*(

7LWOH PXVW EH H[DPLQHG WKURXJK WKH ³'DWH RI (QGRUVHPHQW´ ZKLFK LV D GHILQHG WHUP LQ WKH
HQGRUVHPHQW DQG PXVW FRYHU WKH UHFRUGLQJ RI WKH DVVLJQPHQW RI WKH ,QVXUHG 0RUWJDJH 7KLV
UHTXLUHPHQWPD\YDU\IURPWKHQRUPDOSURFHGXUHRIGDWLQJDQHQGRUVHPHQWWKHGD\LWLVLVVXHG


)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 309 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                       6(&7,21



7KH 'DWH RI 3ROLF\ LV QRW FKDQJHG H[FHSW WR WKH H[WHQW RI WKH OLDELOLW\ DVVXPHG XQGHU WKH
HQGRUVHPHQW IRU PDWWHUV VSHFLILFDOO\ DGGUHVVHG LQ WKH HQGRUVHPHQW ,I \RX ILQG D SUHYLRXV
DVVLJQPHQWWRDGLIIHUHQWSDUW\ZLWKRXWDUHDVVLJQPHQWEDFNWRWKHFXUUHQW,QVXUHG\RXFDQQRW
LVVXHWKLVHQGRUVHPHQWZLWKRXWDSSURYDORI\RXU&RPSDQ\XQGHUZULWLQJDGYLVRU

7KHQDPHRIWKHDVVLJQHHDVGLVFORVHGE\WKHUHFRUGHGDVVLJQPHQWLVWREHLQVHUWHGDWLWHP

$OOPRGLILFDWLRQVUHOHDVHVRUSDUWLDOUHOHDVHVPXVWEHVKRZQDW3DUDJUDSK1R E RI$/7$
DQGDW3DUDJUDSK1R H RI$/7$

$OOWD[HVWKDWDUHGXHDQGSD\DEOHDUHVKRZQDW3DUDJUDSK1R E RI$/7$

$OOLQWHUYHQLQJPDWWHUVWKDWJDLQSULRULW\RYHUWKH,QVXUHG0RUWJDJHPXVWEHVKRZQDW3DUDJUDSK
1R F RI$/7$

$Q\ IHGHUDO WD[ OLHQV DQGRU QRWLFHV RI EDQNUXSWF\ VKRXOG EH VKRZQ DW 3DUDJUDSK 1R  G  RI
$/7$   3OHDVH QRWH WKDW IHGHUDO WD[ OLHQV PXVW EH VKRZQ DW  G  HYHQ LI \RX KDYH
GHWHUPLQHGWKDWWKHVHOLHQVDUHMXQLRUWRWKHPRUWJDJHDQGWKHUHIRUHDUHQRWVKRZQDW F VLQFH
WKHH[LVWHQFHRIWKHQRWLFHRIIHGHUDOWD[OLHQRQWKHUHFRUGGRHVDIIHFWWKHWLWOH

,Q DGGLWLRQ IRU WKLV DQG DQ\ RWKHU W\SH RI HQGRUVHPHQW RU SROLF\ WKDW LQVXUHV D VXEVHTXHQW
DVVLJQHHRIDQ,QVXUHG0RUWJDJHWKHIROORZLQJUHTXLUHPHQWVPXVWEHPHWLIWKH,QVXUHG0RUWJDJH
LVPRUHWKDQRQH\HDUROGDQGWKHORDQLVQRWNQRZQWREHQRQSHUIRUPLQJ
             x   ,IWKH/DQG LV RQHWRIRXUIDPLO\UHVLGHQWLDOSURSHUW\ DQG WKHDVVLJQRULV DQRQ
                  LQVWLWXWLRQDOOHQGHU25
             x   ,I WKH ODQG LV FRPPHUFLDO RU PXOWLIDPLO\ LH RWKHU WKDQ RQH WR IRXU IDPLO\ 
                  UHJDUGOHVVRIWKHW\SHRIOHQGHU7+(1
\RX PXVW UHTXLUH DQ HVWRSSHO VWDWHPHQW IURP WKH ERUURZHU DFNQRZOHGJLQJ WKH H[LVWHQFH RI WKH
GHEWDQGVWDWLQJWKDWWKHGHEWLVVWLOOYDOLGDQGIUHHRIDOOGHIHQVHVLQODZDQGHTXLW\E\XVHRIWKLV
UHTXLUHPHQW
             $ZULWWHQVZRUQVWDWHPHQWE\WKHUHFRUGRZQHURIWKHODQGVWDWLQJWKDWWKHOLHQRIWKH
             PRUWJDJHV V LV DUH VWLOOJRRGDQGYDOLGDQGLQDOOUHVSHFWVIUHHIURPDOOGHIHQVHV
             ERWKLQODZDQGLQHTXLW\VKRXOGEHIXUQLVKHGWRWKH&RPSDQ\
             
)RUODUJHSRUWIROLRVWKLVPD\EHLPSUDFWLFDOIRUWKHDVVLJQRUWRREWDLQ1RQHWKHOHVVZHVKRXOGQRW
LQVXUHWKHDVVLJQPHQWXQOHVVZHKDYHVRPHWKLQJZKLFKDGGUHVVHVWKHFXUUHQWVWDWXVRIWKHGHEW
<RXU&RPSDQ\XQGHUZULWLQJDGYLVRUPXVWEHFRQVXOWHGIRUJXLGDQFH


)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 310 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                        6(&7,21




)RULQVXUDQFHRIDVVLJQPHQWVRIORDQVNQRZQWREHQRQSHUIRUPLQJZKLFK\RXPLJKWGLVFRYHU
ZKHQ \RX UHTXHVW DQ HVWRSSHO VWDWHPHQW \RX VKRXOG UDLVH WKH IROORZLQJ H[FHSWLRQ ZKLFK
DGGUHVVHVWKHSRVVLELOLW\WKDWWKHORDQLVVRIDUSDVWGXHDVWREHXQHQIRUFHDEOHDQGH[FHSWVWKH
FRQVHTXHQFHVRIRWKHUDFWLRQVRIWKHOHQGHUWKDWPD\EHUDLVHGDVGHIHQVHVWRWKHIRUHFORVXUH

&RQVHTXHQFHVLIDQ\DULVLQJRXWRIDQ\LQDELOLW\WRIRUHFORVHRUGHOD\LQIRUHFORVLQJWKH,QVXUHG
0RUWJDJH V  EDVHG XSRQ WKH H[SLUDWLRQ RI DQ\ VWDWXWH RI OLPLWDWLRQV RU FKDOOHQJHV UDLVHG WR WKH
SULRULW\RUHQIRUFHDELOLW\RIWKH,QVXUHG0RUWJDJHEDVHGXSRQWKHDFWVRUFRQGXFWRIWKHRULJLQDORU
VXEVHTXHQWOHQGHU

$Q\ RIIHU RI DQ LQGHPQLW\ WR FRYHU WKHVH LVVXHV PXVW EH UHIHUUHG WR 5HJLRQDO &RXQVHO E\ \RXU
&RPSDQ\XQGHUZULWLQJDGYLVRU
                        

                                             02',),&$7,21
                                                       
,QWKHHYHQWWKDWPRGLILFDWLRQRIDQHQGRUVHPHQWLVUHTXHVWHGLWLVQHFHVVDU\WRFRQVLGHU\RXU
VWDWHUHJXODWRU\UHTXLUHPHQWVIRUILOLQJDQGDSSURYDORIIRUPV,IWKHHQGRUVHPHQWLVPRGLILHGWKH
HQGRUVHPHQWLVQRWDQ$/7$IRUPDQGVKRXOGQRWUHIHUHQFH$/7$LQWKHWLWOH<RXPXVWREWDLQ
WKHDSSURYDORIWKH&RPSDQ\¶VXQGHUZULWLQJDGYLVHUEHIRUHFRPSO\LQJZLWKDQ\UHTXHVWIRUD
PRGLILFDWLRQ


5HWXUQWR7DEOHRI&RQWHQWV





)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 311 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                         6(&7,21



                                              (1'256(0(17

                                    $WWDFKHGWR3ROLF\1RBBBBBBBBBBB

                                                ,VVXHG%\
                                              >)17*%5$1'@
                                                     

      7KHQDPHRIWKH,QVXUHGDW'DWHRI(QGRUVHPHQWDQGUHIHUUHGWRLQWKLVHQGRUVHPHQWDV
         WKH³$VVLJQHH´LVDPHQGHGWRUHDG

      7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH$VVLJQHHE\UHDVRQRI

         D       7KHIDLOXUHRIWKHIROORZLQJDVVLJQPHQWWRYHVWWLWOHWRWKH,QVXUHG0RUWJDJHLQWKH
                   $VVLJQHH

         E       $Q\PRGLILFDWLRQSDUWLDORUIXOOUHFRQYH\DQFHUHOHDVHRUGLVFKDUJHRIWKHOLHQRI
                   WKH,QVXUHG0RUWJDJHUHFRUGHGRQRUSULRUWR'DWHRI(QGRUVHPHQWLQWKH 3XEOLF
                   5HFRUGVRWKHUWKDQWKRVHVKRZQLQWKHSROLF\RUDSULRUHQGRUVHPHQWH[FHSW


7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJHDQGWKH&RPSDQ\ZLOOQRWSD\FRVWV
DWWRUQH\V¶IHHVRUH[SHQVHVE\UHDVRQRIDQ\FODLPWKDWDULVHVRXWRIRIWKHWUDQVDFWLRQFUHDWLQJ
WKH  DVVLJQPHQW E\ UHDVRQ RI WKH RSHUDWLRQ RI IHGHUDO EDQNUXSWF\ VWDWH LQVROYHQF\ RU VLPLODU
FUHGLWRUV¶ULJKWVODZVWKDWLVEDVHGRQ
           
           WKHDVVLJQPHQWEHLQJGHHPHGDIUDXGXOHQWFRQYH\DQFHRUIUDXGXOHQWWUDQVIHURU
           
           WKHDVVLJQPHQWEHLQJGHHPHGDSUHIHUHQWLDOWUDQVIHU
           
7KLVHQGRUVHPHQWVKDOOEHHIIHFWLYHSURYLGHGWKDWDW'DWHRI(QGRUVHPHQW  WKHQRWHRUQRWHV
VHFXUHG E\ WKH OLHQ RI WKH ,QVXUHG 0RUWJDJH KDYH EHHQ SURSHUO\ HQGRUVHG DQG GHOLYHUHG WR WKH
$VVLJQHH RU   LI WKH QRWH RU QRWHV DUH WUDQVIHUDEOH UHFRUGV WKH $VVLJQHH KDV ³FRQWURO´ RI WKH
VLQJOH DXWKRULWDWLYH FRS\ RI HDFK ³WUDQVIHUDEOH UHFRUG´ DV WKHVH WHUPV DUH GHILQHG E\ DSSOLFDEOH
HOHFWURQLFWUDQVDFWLRQODZV
           
7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV
           
'DWHRI(QGRUVHPHQWBBBBBBBBBBBBBBBBBBBBBBBBBB

>:LWQHVVFODXVHRSWLRQDO@


>)17*%5$1'@


%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
       


$/7$(QGRUVHPHQW)RUP
  $VVLJQPHQW  5HY 
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ


)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 312 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                                    6(&7,21



                                                  (1'256(0(17
                                         $WWDFKHGWR3ROLF\1RBBBBBBBBBBB

                                                      ,VVXHG%\
                                                    >)17*%5$1'@

       7KH QDPH RI WKH ,QVXUHG DW 'DWH RI (QGRUVHPHQW DQG UHIHUUHG WR LQ WKLV HQGRUVHPHQW DV WKH
          ³$VVLJQHH´LVDPHQGHGWRUHDG

       7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH$VVLJQHHE\UHDVRQRI

          D       7KHIDLOXUHRIWKHIROORZLQJDVVLJQPHQWWRYHVWWLWOHWRWKH,QVXUHG0RUWJDJHLQWKH
                    $VVLJQHH
          E       $Q\OLHQVIRUWD[HVRUDVVHVVPHQWVWKDWDUHGXHDQGSD\DEOHRQ'DWHRI(QGRUVHPHQW
                    H[FHSW
          F       /DFNRISULRULW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJHRYHUGHIHFWVOLHQVRUHQFXPEUDQFHV
                    RWKHUWKDQWKRVHVKRZQLQWKHSROLF\RUDSULRUHQGRUVHPHQWH[FHSW
          
          G       1RWLFHVRIIHGHUDOWD[OLHQVRUQRWLFHVRISHQGLQJEDQNUXSWF\SURFHHGLQJVDIIHFWLQJWKH
                    7LWOHDQGUHFRUGHGVXEVHTXHQWWR'DWHRI3ROLF\LQWKH3XEOLF5HFRUGVDQGRQRUSULRUWR
                    'DWHRI(QGRUVHPHQWH[FHSW
          H       $Q\PRGLILFDWLRQSDUWLDORUIXOOUHFRQYH\DQFHUHOHDVHRUGLVFKDUJHRIWKHOLHQRIWKH
                    ,QVXUHG0RUWJDJHUHFRUGHGRQRUSULRUWR'DWHRI(QGRUVHPHQWLQWKH3XEOLF5HFRUGV
                    RWKHUWKDQWKRVHVKRZQLQWKHSROLF\RUDSULRUHQGRUVHPHQWH[FHSW
7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJHDQGWKH&RPSDQ\ZLOOQRWSD\FRVWVDWWRUQH\V¶
IHHV RU H[SHQVHV E\ UHDVRQ RI DQ\ FODLP WKDW DULVHV  RXW RI WKH WUDQVDFWLRQ FUHDWLQJ WKH  DVVLJQPHQW E\
UHDVRQRIWKHRSHUDWLRQRIIHGHUDOEDQNUXSWF\VWDWHLQVROYHQF\RUVLPLODUFUHGLWRUV¶ULJKWVODZVWKDWLVEDVHG
RQ

           WKHDVVLJQPHQWEHLQJGHHPHGDIUDXGXOHQWFRQYH\DQFHRUIUDXGXOHQWWUDQVIHURU
           
           WKHDVVLJQPHQWEHLQJGHHPHGDSUHIHUHQWLDOWUDQVIHU
           
7KLVHQGRUVHPHQWVKDOOEHHIIHFWLYHSURYLGHGWKDWDW'DWHRI(QGRUVHPHQW  WKHQRWHRUQRWHVVHFXUHGE\
WKHOLHQRIWKH,QVXUHG0RUWJDJHKDYHEHHQSURSHUO\HQGRUVHGDQGGHOLYHUHGWRWKH$VVLJQHHRU  LIWKH
QRWH RUQRWHV DUH WUDQVIHUDEOH UHFRUGV WKH $VVLJQHH KDV ³FRQWURO´RI WKHVLQJOHDXWKRULWDWLYH FRS\ RI HDFK
³WUDQVIHUDEOHUHFRUG´DVWKHVHWHUPVDUHGHILQHGE\DSSOLFDEOHHOHFWURQLFWUDQVDFWLRQODZV

7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW L PRGLI\DQ\RI
WKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV LLL H[WHQGWKH'DWHRI3ROLF\RU
  LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQRIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLV
LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV
HQGRUVHPHQWLVVXEMHFWWRDOORIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

'DWHRI(QGRUVHPHQWBBBBBBBBBBBBBBBBB

>:LWQHVVFODXVHRSWLRQDO@

>)17*%5$1'@


%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB


$/7$(QGRUVHPHQW)RUP
$VVLJQPHQWDQG'DWH'RZQ  5HY 
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ



)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 313 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                          6(&7,21



5HWXUQWR7DEOHRI&RQWHQWV
                                      0257*$*(02',),&$7,21
                          $/7$(1'256(0(17)2506 
                                                        
                                                  385326(

7KHVH HQGRUVHPHQWV ZHUH FUHDWHG WR LQVXUH OHQGHUV WKDW WKH PRGLILFDWLRQ RI WKH ,QVXUHG
0RUWJDJH HYLGHQFHG E\ WKH GRFXPHQW UHIHUUHG WR ZLWKLQ WKH HQGRUVHPHQW GRHV QRW LPSDLU WKH
YDOLGLW\HQIRUFHDELOLW\RUSULRULW\RIWKH,QVXUHG0RUWJDJHDVRIWKH'DWHRI(QGRUVHPHQWZKLFKLV
DGHILQHGWHUPZLWKLQWKHHQGRUVHPHQWV,QDGGLWLRQWKHLQVXUHVDJDLQVWORVVEDVHGXSRQ
DVSHFLILFPDWWHUQRWEHLQJVXERUGLQDWHWRWKHOLHQRIWKH,QVXUHG0RUWJDJH

                       6(&7,212)32/,&<$0(1'('%<(1'256(0(17

1R VSHFLILF VHFWLRQV RI WKH SROLF\ DUH DPHQGHG E\ WKHVH HQGRUVHPHQWV +RZHYHU DGGLWLRQDO
DIILUPDWLYHFRYHUDJHVDUHDGGHG

                                 %$6,6)253529,',1*&29(5$*(

7LWOHPXVWEHH[DPLQHGWKURXJKWKH'DWHRI(QGRUVHPHQWZKLFKPXVWFRYHUWKHUHFRUGLQJRIWKH
PRGLILFDWLRQ RI WKH ,QVXUHG 0RUWJDJH 7KLV UHTXLUHPHQW PD\ YDU\ IURP WKH QRUPDO SURFHGXUH RI
GDWLQJ DQ HQGRUVHPHQW WKH GD\ LW LV LVVXHG 7KH 'DWH RI 3ROLF\ LV QRW FKDQJHG H[FHSW WR WKH
H[WHQW RI WKH OLDELOLW\ DVVXPHG XQGHU WKH HQGRUVHPHQW IRU PDWWHUV VSHFLILFDOO\ DGGUHVVHG LQ WKH
HQGRUVHPHQW

7KH PRGLILFDWLRQ DJUHHPHQW PXVW EH H[DPLQHG WR GHWHUPLQH WKDW LW GRHV QRW FRQWDLQ DQ\WKLQJ
ZKLFKZLOOLPSDLUWKHYDOLGLW\HQIRUFHDELOLW\RUSULRULW\RIWKH,QVXUHG0RUWJDJHXQGHUVWDWHODZ,I
DQ\WKLQJ LV IRXQG LQ WKH DJUHHPHQW ZKLFK ZLOO LPSDLU YDOLGLW\ HQIRUFHDELOLW\ RU SULRULW\ WKHQ
LQWHUYHQLQJ PDWWHUV VXFK DV OLHQV RU RXWVWDQGLQJ WD[HV PXVW EH VKRZQ LQ WKH VSDFH SURYLGHG
EHORZ 3DUDJUDSK 1R   )RU H[DPSOH LI WKH ODZ LQ \RXU VWDWH SURYLGHV WKDW D PRGLILFDWLRQ RI D
PRUWJDJHWKDWLQFUHDVHVWKHSULQFLSDOZLOOVXEMHFWWKDWDGGLWLRQDOSULQFLSDOWRLQWHUYHQLQJPDWWHUV
WKHQDOOLQWHUYHQLQJPDWWHUVGLVFORVHGE\WKHWLWOHH[DPLQDWLRQPXVWEHVKRZQ,ILVVXLQJWKH
DQ\PDWWHUWKDWLVVSHFLILFDOO\VXERUGLQDWHGWRWKH,QVXUHG0RUWJDJHE\VHSDUDWHGRFXPHQWRU
VWDWHODZPD\EHVKRZQLQWKHVSDFHIROORZLQJ3DUDJUDSK1R






)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 314 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                   6(&7,21



7KHVH HQGRUVHPHQWV GR QRW H[WHQG WKH 'DWH RI 3ROLF\ VR DV WR EULQJ IRUZDUG FRYHUDJHV
FRQWDLQHG LQ DQ\ RWKHU HQGRUVHPHQWV WKDW DUH D SDUW RI WKH SROLF\ 7R WKH H[WHQW WKDW WKH
H[DPLQDWLRQ FRYHULQJ WKH UHFRUGLQJ RI WKH PRGLILFDWLRQ DJUHHPHQW GLVFORVHV DQ\ PDWWHU ZKLFK
DIIHFWVWKHFRYHUDJHVDIIRUGHGE\RWKHUHQGRUVHPHQWVWKH\VKRXOGEHUHIOHFWHGRQWKHRIILFHILOH
IRUFRQVLGHUDWLRQE\IXWXUHH[DPLQHUV

7KHVH HQGRUVHPHQWV FRQWDLQ D ³FUHGLWRUV¶ ULJKWV´ H[FHSWLRQ UHODWLQJ WR WKH PRGLILFDWLRQ
DJUHHPHQW
7KLV ZDV LQFOXGHG WR FRYHU WKRVH VLWXDWLRQV ZKHUH ³FUHGLWRU¶V ULJKWV´ FRYHUDJH PD\ KDYH EHHQ
JLYHQLQWKHXQGHUO\LQJSROLF\EDVHGRQWKHWHUPVRIWKHRULJLQDOPRUWJDJHRUGHHGRIWUXVWDQGWKH
VWUXFWXUHRIWKHRULJLQDOWUDQVDFWLRQ7KHPRGLILFDWLRQFRXOGFKDQJHWKRVHWHUPVRUVWUXFWXUH$Q\
UHTXHVWIRUFRYHUDJHRYHURUGHOHWLRQRIWKLVSURYLVLRQRIWKHHQGRUVHPHQWPXVWEHUHIHUUHGWRWKH
&RPSDQ\¶VXQGHUZULWLQJDGYLVHU

                                           02',),&$7,21
,QWKHHYHQWWKDWPRGLILFDWLRQRIDQHQGRUVHPHQWLVUHTXHVWHGLWLVQHFHVVDU\WRFRQVLGHU\RXU
VWDWHUHJXODWRU\UHTXLUHPHQWVIRUILOLQJDQGDSSURYDORIIRUPV,IWKHHQGRUVHPHQWLVPRGLILHGWKH
HQGRUVHPHQWLVQRWDQ$/7$IRUPDQGVKRXOGQRWUHIHUHQFH$/7$LQWKHWLWOH<RXPXVWREWDLQ
WKHDSSURYDORIWKH&RPSDQ\¶VXQGHUZULWLQJDGYLVHUEHIRUHFRPSO\LQJZLWKDQ\UHTXHVWIRUD
PRGLILFDWLRQ

5HWXUQWR7DEOHRI&RQWHQWV




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 315 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                         6(&7,21



                                              (1'256(0(17

                                      $WWDFKHGWR3ROLF\1RBBBBBBBBBBB

                                                 ,VVXHG%\
                                               >)17*%5$1'@


7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI

        7KH LQYDOLGLW\ RU XQHQIRUFHDELOLW\ RI WKH OLHQ RI WKH ,QVXUHG 0RUWJDJH XSRQ WKH 7LWOH DW
           'DWH RI (QGRUVHPHQW DV D UHVXOW RI WKH DJUHHPHQW GDWHG BBB UHFRUGHG BBBB
             0RGLILFDWLRQ DQG
           
        7KH ODFN RI SULRULW\ RI WKH OLHQ RI WKH ,QVXUHG 0RUWJDJH DW 'DWH RI (QGRUVHPHQW RYHU
           GHIHFWVLQRUOLHQVRUHQFXPEUDQFHVRQWKH7LWOHH[FHSWIRUWKRVHVKRZQLQWKHSROLF\RU
           DQ\SULRUHQGRUVHPHQWDQGH[FHSW                $''(;&(37,216+(5(


7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJHDQGWKH&RPSDQ\ZLOOQRWSD\FRVWV
DWWRUQH\V IHHVRUH[SHQVHVE\UHDVRQRIDQ\FODLPWKDWDULVHVRXWRIWKHWUDQVDFWLRQFUHDWLQJWKH
0RGLILFDWLRQ E\ UHDVRQ RI WKH RSHUDWLRQ RI IHGHUDO EDQNUXSWF\ VWDWH LQVROYHQF\ RU VLPLODU
FUHGLWRUV ULJKWVODZVWKDWLVEDVHGRQ

        WKH0RGLILFDWLRQEHLQJGHHPHGDIUDXGXOHQWFRQYH\DQFHRUIUDXGXOHQWWUDQVIHURU

        WKH 0RGLILFDWLRQ EHLQJ GHHPHG D SUHIHUHQWLDO WUDQVIHU H[FHSW ZKHUH WKH SUHIHUHQWLDO
           WUDQVIHUUHVXOWVIURPWKHIDLOXUH

           D       WRWLPHO\UHFRUGWKHLQVWUXPHQWRIWUDQVIHURU

           E       RIVXFKUHFRUGDWLRQWRLPSDUWQRWLFHWRDSXUFKDVHUIRUYDOXHRUWRDMXGJPHQWRU
                     OLHQFUHGLWRU

7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

'DWHRI(QGRUVHPHQWBBBBBBBBBBBBBBBBBBB

>:LWQHVVFODXVHRSWLRQDO@


>)17*%5$1'@

%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB


$/7$(QGRUVHPHQW)RUP
  0RUWJDJH0RGLILFDWLRQ   
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ





)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 316 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                          6(&7,21



                                              (1'256(0(17
                                     $WWDFKHGWR3ROLF\1RBBBBBBBBBBB

                                                   ,VVXHG%\
                                                 >)17*%5$1'@

7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI

        7KH LQYDOLGLW\ RU XQHQIRUFHDELOLW\ RI WKH OLHQ RI WKH ,QVXUHG 0RUWJDJH XSRQ WKH 7LWOH DW
           'DWH RI (QGRUVHPHQW DV D UHVXOW RI WKH DJUHHPHQW GDWHG BBBB  UHFRUGHG BBBB
             0RGLILFDWLRQ DQG
           
        7KH ODFN RI SULRULW\ RI WKH OLHQ RI WKH ,QVXUHG 0RUWJDJH DW 'DWH RI (QGRUVHPHQW RYHU
           GHIHFWVLQRUOLHQVRUHQFXPEUDQFHVRQWKH7LWOHH[FHSWIRUWKRVHVKRZQLQWKHSROLF\RU
           DQ\SULRUHQGRUVHPHQWDQGH[FHSW                 $''(;&(37,216+(5(

        7KHIROORZLQJPDWWHUVQRWEHLQJVXERUGLQDWHWRWKHOLHQRIWKH,QVXUHG0RUWJDJH
          $''68%25',1$7(0$77(56+(5(

           7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJHDQGWKH&RPSDQ\ZLOOQRWSD\
FRVWV DWWRUQH\V  IHHV RU H[SHQVHV E\ UHDVRQ RI DQ\ FODLP WKDW DULVHV RXW RI WKH WUDQVDFWLRQ
FUHDWLQJ WKH 0RGLILFDWLRQ E\ UHDVRQ RI WKH RSHUDWLRQ RI IHGHUDO EDQNUXSWF\ VWDWH LQVROYHQF\ RU
VLPLODUFUHGLWRUV ULJKWVODZVWKDWLVEDVHGRQ

        WKH0RGLILFDWLRQEHLQJGHHPHGDIUDXGXOHQWFRQYH\DQFHRUIUDXGXOHQWWUDQVIHURU

        WKH 0RGLILFDWLRQ EHLQJ GHHPHG D SUHIHUHQWLDO WUDQVIHU H[FHSW ZKHUH WKH SUHIHUHQWLDO
           WUDQVIHUUHVXOWVIURPWKHIDLOXUH

           D       WRWLPHO\UHFRUGWKHLQVWUXPHQWRIWUDQVIHURU

           E       RIVXFKUHFRUGDWLRQWRLPSDUWQRWLFHWRDSXUFKDVHUIRUYDOXHRUWRDMXGJPHQWRU
                     OLHQFUHGLWRU

           7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


'DWHRI(QGRUVPHQWBBBBBBBBBBBBBBBBBBBBB


>:LWQHVVFODXVHRSWLRQDO@

>)17*%5$1'@

%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB


$/7$(QGRUVHPHQW)RUP
0RUWJDJH0RGLILFDWLRQZLWK6XERUGLQDWLRQ   
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 317 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                  6(&7,21



5HWXUQWR7DEOHRI&RQWHQWV
                                           $**5(*$7,21
                               $/7$(1'256(0(17)250
                                                    
                                              385326(

7KHVHHQGRUVHPHQWVDUHDOVRNQRZQDV³WLHLQ´HQGRUVHPHQWV0RUWJDJHVFRYHULQJPDQ\
SDUFHOVLQGLIIHUHQWUHFRUGLQJGLVWULFWVRUMXULVGLFWLRQVPD\HDFKEHUHFRUGHGIRUWKHIXOODPRXQWRI
WKHVHFXUHGLQGHEWHGQHVVRUWKHDOORFDWHGFROODWHUDOYDOXHRIHDFKVLWHRUDFRPELQDWLRQRIIXOO
DQGDOORFDWHGYDOXHV7KHDOORFDWHGDPRXQWLVRIWHQXVHGLQVWDWHVZKLFKLPSRVHDPRUWJDJH
WD[,QDQ\FDVHWKHOHQGHUYLHZVWKHWUDQVDFWLRQDVRQHGHEWDQGZDQWVLQVXUDQFHFRYHUDJHIRU
WKHWRWDODPRXQWRIWKHVHFXUHGLQGHEWHGQHVV,QVWHDGRIFRPELQLQJDOORIWKHSDUFHOVLQWRRQH
ODUJHORDQSROLF\WKHDJJUHJDWLRQHQGRUVHPHQWDOORZVDQLQVXUHUWRLVVXHDQXPEHURISROLFLHVIRU
OHVVHUDPRXQWVEXWWRWLHWKHSROLFLHVWRJHWKHUVRWKDWWKH,QVXUHGFDQDJJUHJDWHWKHFRYHUDJH
DQGWDNHDGYDQWDJHRIDQ\LQFUHDVHVLQWKHYDOXHRIDSDUWLFXODUSDUFHOVKRXOGWKHUHEHDORVV
)RUPFDQEHXVHGIRUDJJUHJDWLQJSROLFLHVRQVLWHVDOOORFDWHGLQDVLQJOHVWDWHRUVLWHV
ORFDWHGLQPXOWLSOHVWDWHVQRQHRIZKLFKKDYHVWDWHVWDWXWRU\OLPLWDWLRQVRQWKHDPRXQWZKLFKFDQ
EHLQVXUHG)RUPLVLQWHQGHGWREHXVHGIRUDJJUHJDWLQJSROLFLHVLQPXOWLSOHVWDWHVRQHRU
PRUHRIZKLFKKDYHVWDWHVWDWXWRU\OLPLWDWLRQVRQWKHDPRXQWZKLFKFDQEHLQVXUHG


                    6(&7,2162)32/,&<$0(1'('%<(1'256(0(17

7KLVHQGRUVHPHQWFKDQJHVWKHSURYLVLRQVRI&RQGLWLRQV D L RIWKH$/7$/RDQ3ROLF\VRWKDW
WKH$PRXQWRI,QVXUDQFHDYDLODEOHWRFRYHUDORVVLVWKHDJJUHJDWHRIWKH$PRXQWRI,QVXUDQFH
DYDLODEOHXQGHUWKHSROLF\WRZKLFKWKLVHQGRUVHPHQWLVDWWDFKHGSOXVWKH$PRXQWVRI,QVXUDQFH
DYDLODEOHXQGHUWKHRWKHUSROLFLHVLGHQWLILHGLQWKLVHQGRUVHPHQW(IIHFWLYH$SULO)RUP
ZDVPRGLILHGE\DGGLQJQHZSDUDJUDSKVZKLFKFKDQJHWKHSURYLVLRQVRI6HFWLRQV D L  D 
 E RIWKH&RQGLWLRQVRIWKH$/7$/RDQ3ROLF\1HZ)RUPDOVRFRQWDLQVWKHQHZ
SDUDJUDSKV7KHVHQHZSDUDJUDSKVFODULI\WKHHIIHFWRIWKHHQGRUVHPHQWRQWKHRSWLRQVRIWKH
&RPSDQ\XQGHUWKHSROLF\LQWKHHYHQWRIDFODLPDQGWKHH[WHQWRIWKH&RPSDQ\¶VOLDELOLW\

                               %$6,6)253529,',1*&29(5$*(

,ID/RDQ3ROLF\LVLVVXHGLQVXULQJPRUHWKDQRQHSDUFHOWKHOLDELOLW\IRUD7LWOHGHIHFWDIIHFWLQJDQ\
RQHRIWKHSDUFHOVLVQRWOLPLWHGE\DQDSSRUWLRQHGDPRXQWRILQVXUDQFHDOORFDWHGWRWKDWSDUFHO
7KHUHIRUHWKHFRYHUDJHFDQEHVKLIWHGDPRQJWKHSDUFHOVIURPWKRVHZKLFKDUHQRWDIIHFWHGE\D


)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 318 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                  6(&7,21



GHIHFWFDXVLQJDORVVWRDSDUFHODIIHFWHGE\VXFKDGHIHFW,IWKHDIIHFWHGSURSHUW\KDV
LQFUHDVHGLQYDOXHVLQFHWKHSROLF\ZDVLVVXHGWKLVVKLIWRIFRYHUDJHSURYLGHVSURWHFWLRQXSWRWKH
SDUFHO¶VLQFUHDVHGYDOXHZLWKRXWWKHIDFHDPRXQWRIWKHSROLF\EHLQJLQFUHDVHG7KLVLVEDVLFDOO\
WKHWKHRU\EHKLQGWKLVFRYHUDJH

,IRQHSROLF\FRXOGEHLVVXHGFRYHULQJPXOWLSOHSDUFHOVDQDJJUHJDWLRQHQGRUVHPHQWZRXOGQRWEH
QHFHVVDU\6LQFHDVLQJOHSROLF\FRYHULQJDOOSDUFHOVLVRIWHQQRWIHDVLEOHEHFDXVHSROLF\IRUPV
UDWHVDQGRWKHUUHJXODWRU\LVVXHVYDU\EHWZHHQVWDWHVRUVXFKDSROLF\FRXOGUHVXOWLQDKLJKO\
FRPSOH[SROLF\ZKHQDWWHPSWLQJWRFRYHUPXOWLSOHSDUFHOVZLWKDOORIWKHLULQGLYLGXDOH[FHSWLRQV
HYHQZLWKLQWKHVDPHVWDWHWKH$/7$ZDVGHVLJQHGWRUHDFKWKHVDPHUHVXOWVDVDVLQJOH
SROLF\LQVXULQJPXOWLSOHSDUFHOV

([DPSOH7KHUHLVDPRUWJDJHVHFXULQJDGHEWRIPLOOLRQ7KHPLOOLRQPRUWJDJHLV
       UHFRUGHGDJDLQVWDSDUFHOLQ,OOLQRLVDQGDSDUFHOLQ&DOLIRUQLD7KH,OOLQRLVDQG&DOLIRUQLD
       SROLFLHVDUHHDFKWREHLVVXHGIRUPLOOLRQEDVHGRQWKHOHQGHU¶VHYDOXDWLRQ7KHWLHLQ
       HQGRUVHPHQWZRXOGDOORZWKHOHQGHUWRPDNHDFODLPRIXSWRPLOOLRQDJDLQVWHLWKHU
       SDUFHOLIWKHSDUFHODJDLQVWZKLFKWKHFODLPLVPDGHKDGLQFUHDVHGLQYDOXHWRWKDWH[WHQW
       ,QQRHYHQWZRXOGWKHWRWDOOLDELOLW\XQGHUERWKSROLFLHVEHPRUHWKDQPLOOLRQ

<RXPD\EHDVNHGWRLVVXHDQDOWHUQDWLYHIRUPDWLQZKLFKERWKWKH,OOLQRLVDQG&DOLIRUQLDSROLFLHV
ZRXOGEHLVVXHGIRUDIDFHDPRXQWRIPLOOLRQEXWHDFKZRXOGLQFOXGHDQHQGRUVHPHQWOLPLWLQJ
RXUWRWDOOLDELOLW\WRPLOOLRQXQGHUERWKSROLFLHVQRWZLWKVWDQGLQJWKHIDFWWKDWWKHVXPRIWKHWZR
SROLFLHVLVPLOOLRQ7KLVIRUPDWLVQRWDFFHSWDEOH:HVKRXOGQHYHULVVXHDSROLF\ZLWKDQ
$PRXQWRI,QVXUDQFHWKDWH[FHHGVWKHDPRXQWIRUZKLFKSUHPLXPZDVFROOHFWHGIRUWKHLQVXUHG
SDUFHO,QDGGLWLRQWKLVIRUPDWFRXOGFDXVHWKH&RPSDQ\WRRYHUUHVHUYHEDVHGRQWKH$PRXQW
RI,QVXUDQFHUHSRUWHGIRUHDFKSROLF\DQGSHUKDSVWRSD\DGGLWLRQDOSUHPLXPWD[WKDWZRXOGQRW
RWKHUZLVHEHGXH

$/7$)RUPZDVGHVLJQHGIRUPXOWLVWDWHWUDQVDFWLRQVLQYROYLQJRQHRUPRUHVWDWHVZLWK
VWDWXWRU\OLPLWDWLRQVZKLFKDUHOHVVWKDQWKHDJJUHJDWHDPRXQWRILQVXUDQFHXQGHUDOOWKHSROLFLHV
WREHLVVXHGLQWKHWUDQVDFWLRQ7KLVIRUPDOORZVWKHIXOODPRXQWRIDYDLODEOHFRYHUDJHWREH
SURYLGHGIRUVLWHVLQVWDWHLQZKLFKWKHVWDWXWRU\OLPLWLVQRWDSUREOHPZKLOHDWWKHVDPHWLPH
OLPLWLQJFRYHUDJHLQVWDWHVLQZKLFKWKHVWDWXWRU\OLPLWSUHYHQWVWKHIXOODPRXQWRIFRYHUDJHIURP
EHLQJSURYLGHG7KLVIRUPPD\QRWEHXVHGZLWKRXWWKHDSSURYDORIWKH5HLQVXUDQFH'HSDUWPHQW
LQWUDQVDFWLRQVLQZKLFKWKHDJJUHJDWHDPRXQWRILQVXUDQFHZLOOH[FHHGWKHVHOILPSRVHGOLPLWRI
WKH)LGHOLW\IDPLO\RULIDSDUW\WRWKHWUDQVDFWLRQLVUHTXLULQJUHLQVXUDQFHIURPDQRXWVLGH
FRPSDQ\


)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 319 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                  6(&7,21




([DPSOH7KHSROLFLHVLQDPXOWLVWDWHWUDQVDFWLRQZLOODJJUHJDWHPLOOLRQ7KHVLWHVWREH
       LQVXUHGDUHORFDWHGLQVWDWHV;<DQG=,QVWDWH;WKHSROLF\DJJUHJDWHLVPLOOLRQ
       DQGWKHUHLVQRVWDWXWRU\OLPLWLQVWDWH<WKHSROLF\DJJUHJDWHLVPLOOLRQDQGWKHVWDWH
       VWDWXWRU\OLPLWLVDOVRPLOOLRQDQGLQVWDWH=WKHSROLF\DJJUHJDWHLVPLOOLRQDQGVR
       LVWKHVWDWXWRU\OLPLW:KHQ)RUPLVFRPSOHWHGWKH$JJUHJDWH$PRXQWRI
       ,QVXUDQFHZKLFKZLOOEHVKRZQLQVHFWLRQDZLOOEHPLOOLRQ7KLVZLOODOVREHWKH
       DPRXQWRIFRYHUDJHDYDLODEOHIRUWKHVLWHVLQVWDWH;VLQFHWKHUHLVQRVWDWXWRU\OLPLWLQ
       WKDWVWDWH,QVHFWLRQERIWKHIRUPVWDWH<ZLOOEHOLVWHGZLWKDQ$JJUHJDWH$PRXQWRI
       ,QVXUDQFHRIPLOOLRQDVZLOOVWDWH=ZLWKDQ$JJUHJDWH$PRXQWRI,QVXUDQFHRI
       PLOOLRQ7KHQHWHIIHFWLVWRSURYLGHWKHIXOODPRXQWRIFRYHUDJHDYDLODEOHXQGHUWKH
       SROLFLHVWRWKHVLWHVLQVWDWH;ZKLOHOLPLWLQJFRYHUDJHIRUWKHVLWHVLQVWDWHV<DQG=WRWKH
       DSSOLFDEOHVWDWXWRU\OLPLWV

7KHIROORZLQJFRQGLWLRQVDSSO\WRWKHDJJUHJDWLRQHQGRUVHPHQWV

   $OORIWKHORDQSROLFLHVWRZKLFKHLWKHURIWKHHQGRUVHPHQWVZLOOEHDWWDFKHGPXVWEHRIWKH
        VDPHW\SH

   7KHORDQDPRXQWPXVWEHVHFXUHGE\PRUWJDJHVRQWZRRUPRUHSDUFHOV

   7KH,QVXUHG0RUWJDJHPXVWVWDWHWKDWHDFKVHFXUHVWKHHQWLUH,QGHEWHGQHVVRUWKHVXP
        RIWKHDPRXQWVVHFXUHGE\DOORIWKH,QVXUHG0RUWJDJHVPXVWHTXDOWKHHQWLUH
        ,QGHEWHGQHVV

   7KH$PRXQWRI,QVXUDQFHVKRZQRQ6FKHGXOH$RIDQ\SROLF\PXVWEHHTXDOWRWKH
        DPRXQWWKH,QVXUHGDOORFDWHVWRWKHSURSHUW\GHVFULEHGLQ6FKHGXOH$DQGQRWWRWKHWRWDO
        DJJUHJDWHDPRXQWVKRZQRQWKHWLHLQHQGRUVHPHQW

   3ROLFLHVRIRWKHUFRPSDQLHVLQFOXGLQJRXUVLVWHUFRPSDQLHVFDQQRWEHWLHGLQZLWK
        SROLFLHVLVVXHGE\DQ\RQHSDUWLFXODUFRPSDQ\

     ,I)RUPLVUHTXHVWHGIRUDWUDQVDFWLRQLQZKLFKWKHDJJUHJDWHDPRXQWRI
        LQVXUDQFHZLOOH[FHHGWKHVHOILPSRVHGOLPLWRIWKH)LGHOLW\IDPLO\RULIDSDUW\WRWKH
        WUDQVDFWLRQLVUHTXLULQJUHLQVXUDQFHIURPDQRXWVLGHWKH)LGHOLW\IDPLO\IRUDQ\WUDQVDFWLRQ
        \RXPXVWFRQWDFWWKH5HLQVXUDQFH'HSDUWPHQWEHIRUHFRPPLWWLQJWRLVVXHWKHIRUP



)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 320 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                       6(&7,21



7KLVHQGRUVHPHQWLVQRWDYDLODEOHLQDOOVWDWHV<RXPXVWYHULI\LWLVDYDLODEOHEHIRUHDJUHHLQJWR
LVVXHLW

                                             02',),&$7,21

,Q WKH HYHQW WKDW PRGLILFDWLRQ RI DQ HQGRUVHPHQW LV UHTXHVWHG LW LV QHFHVVDU\ WR FRQVLGHU \RXU
VWDWHUHJXODWRU\UHTXLUHPHQWVIRUILOLQJDQGDSSURYDORIIRUPV,IWKHHQGRUVHPHQWLVPRGLILHGWKH
HQGRUVHPHQWLVQRWDQ$/7$IRUPDQGVKRXOGQRWUHIHUHQFH$/7$LQWKHWLWOH<RXPXVWREWDLQ
WKH DSSURYDO RI WKH &RPSDQ\¶V XQGHUZULWLQJ DGYLVRU EHIRUH FRPSO\LQJ ZLWK DQ\ UHTXHVW IRU D
PRGLILFDWLRQ

5HWXUQWR7DEOHRI&RQWHQWV




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 321 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                     6(&7,21




                                              (1'256(0(17

                                $WWDFKHGWR3ROLF\1RBBBBBBBBBBB

                                                ,VVXHG%\

                                              >)17*%5$1'@
                                                    

      7KHIROORZLQJSROLFLHVDUHLVVXHGLQFRQMXQFWLRQZLWKRQHDQRWKHU
                 32/,&<180%(5                 67$7(                $028172),1685$1&(
                                                                 
                                                                 
                                                                 


      7KHDPRXQWRILQVXUDQFHDYDLODEOHWRFRYHUWKH&RPSDQ\¶VOLDELOLW\IRUORVVRUGDPDJH
         XQGHUWKLVSROLF\DWWKHWLPHRISD\PHQWRIORVVVKDOOEHWKH$JJUHJDWH$PRXQWRI
         ,QVXUDQFHGHILQHGLQ6HFWLRQRIWKLVHQGRUVHPHQW

      6XEMHFWWRWKHOLPLWVLQ6HFWLRQRIWKLVHQGRUVHPHQWWKH$JJUHJDWH$PRXQWRI,QVXUDQFH
         XQGHUWKHVHSROLFLHVLVBBBBBBBBBBBBBBBBBBBBBB
      6HFWLRQ D L RIWKH&RQGLWLRQVRIWKLVSROLF\LVDPHQGHGWRUHDG
                 237,216723$<2527+(5:,6(6(77/(&/$,067(50,1$7,212)
                 /,$%,/,7<
                 ,QFDVHRIDFODLPXQGHUWKLVSROLF\WKH&RPSDQ\VKDOOKDYHWKHIROORZLQJ
                 DGGLWLRQDORSWLRQV
                     D  WRSD\RUWHQGHUSD\PHQWRIWKHOHVVHURIWKHYDOXHRIWKH7LWOHDVLQVXUHG
                         RUWKH$JJUHJDWH$PRXQWRI,QVXUDQFHDSSOLFDEOHXQGHUWKLVSROLF\DWWKH
                         GDWHWKHFODLPZDVPDGHE\WKH,QVXUHG&ODLPDQWRUWRSXUFKDVHWKH
                         ,QGHEWHGQHVV
                          L       WRSD\RUWHQGHUSD\PHQWRIWKHOHVVHURIWKHYDOXHRIWKH7LWOHDV
                                   LQVXUHGDWWKHGDWHWKHFODLPZDVPDGHE\WKH,QVXUHG&ODLPDQW
                                   RUWKH$JJUHJDWH$PRXQWRI,QVXUDQFHDSSOLFDEOHXQGHUWKLV
                                   SROLF\WRJHWKHUZLWKDQ\FRVWDWWRUQH\V¶IHHVDQGFRVWVDQG
                                   H[SHQVHVLQFXUUHGE\WKH,QVXUHG&ODLPDQWWKDWZHUHDXWKRUL]HG
                                   E\WKH&RPSDQ\XSWRWKHWLPHRISD\PHQWRUWHQGHURISD\PHQW
                                   DQGWKDWWKH&RPSDQ\LVREOLJDWHGWRSD\RU
      6HFWLRQ D DQG E RIWKH&RQGLWLRQVRIWKLVSROLF\DUHDPHQGHGWRUHDG
                 '(7(50,1$7,21$1'(;7(172)/,$%,/,7<

                 7KLV SROLF\ LV D FRQWUDFW RI LQGHPQLW\ DJDLQVW DFWXDO PRQHWDU\ ORVV RU
                 GDPDJHVXVWDLQHGRULQFXUUHGE\WKH,QVXUHG&ODLPDQWZKRKDVVXIIHUHG
                 ORVVRUGDPDJHE\UHDVRQRIPDWWHUVLQVXUHGDJDLQVWE\WKLVSROLF\

                      D 7KHH[WHQWRIOLDELOLW\RIWKH&RPSDQ\IRUORVVRUGDPDJHXQGHU
                          WKLVSROLF\VKDOOQRWH[FHHGWKHOHDVWRI

)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 322 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                       6(&7,21



                              L  WKH$JJUHJDWH$PRXQWRI,QVXUDQFH
                              LL  WKH,QGHEWHGQHVV
                              LLL  WKHGLIIHUHQFHEHWZHHQWKHYDOXHRIWKH7LWOHDVLQVXUHGDQG
                                    WKHYDOXHRIWKH7LWOHVXEMHFWWRWKHULVNLQVXUHGDJDLQVWE\
                                    WKLVSROLF\RU
                              LY  LIDJRYHUQPHQWDJHQF\RULQVWUXPHQWDOLW\LVWKH,QVXUHG
                                   &ODLPDQWWKHDPRXQWLWSDLGLQWKHDFTXLVLWLRQRIWKH7LWOHRU
                                   WKH,QVXUHG0RUWJDJHLQVDWLVIDFWLRQRILWVLQVXUDQFHFRQWUDFW
                                   RUJXDUDQW\
                         E  ,IWKH&RPSDQ\SXUVXHVLWVULJKWVXQGHU6HFWLRQRIWKHVH
                             &RQGLWLRQVDQGLVXQVXFFHVVIXOLQHVWDEOLVKLQJWKH7LWOHRUWKH
                             OLHQRIWKH,QVXUHG0RUWJDJHDVLQVXUHGWKH,QVXUHG&ODLPDQW
                             VKDOOKDYHWKHULJKWWRKDYHWKHORVVRUGDPDJHGHWHUPLQHGHLWKHU
                             DVRIWKHGDWHWKHFODLPZDVPDGHE\WKH,QVXUHG&ODLPDQWRUDV
                             WKHGDWHLWLVVHWWOHGDQGSDLG
     6HFWLRQRIWKH&RQGLWLRQVRIWKLVSROLF\LVDPHQGHGWRUHDG
                   5('8&7,212),1685$1&(5('8&7,21257(50,1$7,212)
                   /,$%,/,7<
                         D  $OOSD\PHQWVXQGHUWKLVSROLF\H[FHSWSD\PHQWVPDGHIRUFRVWV
                             DWWRUQH\V¶IHHVDQGH[SHQVHVVKDOOUHGXFHWKH$JJUHJDWH
                             $PRXQWRI,QVXUDQFHE\WKHDPRXQWRIWKHSD\PHQW
                         E +RZHYHUDQ\SD\PHQWVPDGHSULRUWRWKHDFTXLVLWLRQRI7LWOHDV
                             SURYLGHGLQ6HFWLRQRIWKHVH&RQGLWLRQVVKDOOQRWUHGXFHWKH
                             $JJUHJDWH$PRXQWRI,QVXUDQFHDIIRUGHGXQGHUWKLV
                             HQGRUVHPHQWH[FHSWWRWKHH[WHQWWKDWWKHSD\PHQWVUHGXFHWKH
                             ,QGHEWHGQHVV
                         F 7KHYROXQWDU\VDWLVIDFWLRQRUUHOHDVHRIWKH,QVXUHG0RUWJDJHVKDOO
                             WHUPLQDWHDOOOLDELOLW\RIWKH&RPSDQ\XQGHUWKLVSROLF\H[FHSWDV
                             SURYLGHGLQ6HFWLRQRIWKHVH&RQGLWLRQVEXWLWZLOOQRWUHGXFHWKH
                             $JJUHJDWH$PRXQWRI,QVXUDQFHIRUWKHRWKHUSROLFLHVLGHQWLILHGLQ6HFWLRQ
                             RIWKLVHQGRUVHPHQW
                                                        

           7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHV
QRW L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV   2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


>:LWQHVVFODXVHRSWLRQDO@


>)17*%5$1'@

%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

$/7$(QGRUVHPHQW)RUP
$JJUHJDWLRQ/RDQ  UHY 
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ


)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 323 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                      6(&7,21



                                              (1'256(0(17
                                 $WWDFKHGWR3ROLF\1RBBBBBBBBBB
                                                ,VVXHG%\

                                              >)17*%5$1'@



    7KHIROORZLQJSROLFLHVDUHLVVXHGLQFRQMXQFWLRQZLWKRQHDQRWKHU
                 32/,&<180%(5                 67$7(                 $028172),1685$1&(
                                                                  
                                                                  
                                                                  


     7KHDPRXQWRILQVXUDQFHDYDLODEOHWRFRYHUWKH&RPSDQ\¶VOLDELOLW\IRUORVVRUGDPDJH
       XQGHUWKLVSROLF\DWWKHWLPHRISD\PHQWRIORVVVKDOOEHWKH$JJUHJDWH$PRXQWRI
       ,QVXUDQFHGHILQHGLQ6HFWLRQRIWKLVHQGRUVHPHQW

     7KH$JJUHJDWH$PRXQWRI,QVXUDQFHXQGHUWKLVSROLF\LVHLWKHU

       DBBBBBBBBBBBBBBBBBBBBBBRU
       E ,I WKH /DQG LV ORFDWHG LQ RQH RI WKH VWDWHV LGHQWLILHG LQ WKLV VXEVHFWLRQ WKHQ WKH
           $JJUHJDWH$PRXQWRI,QVXUDQFHLVUHVWULFWHGWRWKHDPRXQWVKRZQEHORZ
                 67$7(                          $**5(*$7($028172),1685$1&(
                                                
                                                

     6HFWLRQ D L RIWKH&RQGLWLRQVRIWKLVSROLF\LVDPHQGHGWRUHDG
                 237,216723$<2527+(5:,6(6(77/(&/$,067(50,1$7,212)
                 /,$%,/,7<
                 ,QFDVHRIDFODLPXQGHUWKLVSROLF\WKH&RPSDQ\VKDOOKDYHWKHIROORZLQJ
                 DGGLWLRQDORSWLRQV
                           D      WRSD\RUWHQGHUSD\PHQWRIWKHOHVVHURIWKHYDOXHRIWKH7LWOH
                          DVLQVXUHGRUWKH$JJUHJDWH$PRXQWRI,QVXUDQFHDSSOLFDEOHXQGHUWKLV
                          SROLF\DWWKHGDWHWKHFODLPZDVPDGHE\WKH,QVXUHG&ODLPDQWRUWR
                          SXUFKDVHWKH,QGHEWHGQHVV
                                 L 7RSD\RUWHQGHUSD\PHQWRIWKHOHVVHURIWKHYDOXHRIWKH7LWOHDV
                                LQVXUHGDWWKHGDWHWKHFODLPZDVPDGHE\WKH,QVXUHG&ODLPDQWRU
                                WKH$JJUHJDWH$PRXQWRI,QVXUDQFHDSSOLFDEOHXQGHUWKLVSROLF\
                                WRJHWKHUZLWKDQ\FRVWDWWRUQH\V¶IHHVDQGFRVWVDQGH[SHQVHV
                                LQFXUUHGE\WKH,QVXUHG&ODLPDQWWKDWZHUHDXWKRUL]HGE\WKH
                                &RPSDQ\XSWRWKHWLPHRISD\PHQWRUWHQGHURISD\PHQWDQGWKDW
                                WKH&RPSDQ\LVREOLJDWHGWRSD\RU
        


)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 324 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                    6(&7,21



    6HFWLRQ D DQG E RIWKH&RQGLWLRQVRIWKLVSROLF\DUHDPHQGHGWRUHDG
                '(7(50,1$7,21$1'(;7(172)/,$%,/,7<

                7KLV SROLF\ LV D FRQWUDFW RI LQGHPQLW\ DJDLQVW DFWXDO PRQHWDU\ ORVV RU
                GDPDJHVXVWDLQHGRULQFXUUHGE\WKH,QVXUHG&ODLPDQWZKRKDVVXIIHUHG
                ORVVRUGDPDJHE\UHDVRQRIPDWWHUVLQVXUHGDJDLQVWE\WKLVSROLF\
                     D 7KHH[WHQWRIOLDELOLW\RIWKH&RPSDQ\IRUORVVRUGDPDJHXQGHU
                         WKLVSROLF\VKDOOQRWH[FHHGWKHOHDVWRI
                         L  WKH$JJUHJDWH$PRXQWRI,QVXUDQFHIRUWKH6WDWHZKHUHWKH
                             /DQGLVORFDWHG
                         LL  WKH,QGHEWHGQHVV
                         LLL  WKHGLIIHUHQFHEHWZHHQWKHYDOXHRIWKH7LWOHDVLQVXUHGDQG
                               WKHYDOXHRIWKH7LWOHVXEMHFWWRWKHULVNLQVXUHGDJDLQVWE\
                               WKLVSROLF\RU
                         LY  LIDJRYHUQPHQWDJHQF\RULQVWUXPHQWDOLW\LVWKH,QVXUHG
                              &ODLPDQWWKHDPRXQWLWSDLGLQWKHDFTXLVLWLRQRIWKH7LWOHRU
                              WKH,QVXUHG0RUWJDJHLQVDWLVIDFWLRQRILWVLQVXUDQFHFRQWUDFW
                              RUJXDUDQW\
                     E ,IWKH&RPSDQ\SXUVXHVLWVULJKWVXQGHU6HFWLRQRIWKHVH
                         &RQGLWLRQVDQGLVXQVXFFHVVIXOLQHVWDEOLVKLQJWKH7LWOHRUWKH
                         OLHQRIWKH,QVXUHG0RUWJDJHDVLQVXUHGWKH,QVXUHG&ODLPDQW
                         VKDOOKDYHWKHULJKWWRKDYHWKHORVVRUGDPDJHGHWHUPLQHGHLWKHU
                         DVRIWKHGDWHWKHFODLPZDVPDGHE\WKH,QVXUHG&ODLPDQWRUDV
                         WKHGDWHLWLVVHWWOHGDQGSDLG
         6HFWLRQRIWKH&RQGLWLRQVRIWKLVSROLF\LVDPHQGHGWRUHDG
                5('8&7,212),1685$1&(5('8&7,21257(50,1$7,212)
                /,$%,/,7<
                     D  $OOSD\PHQWVXQGHUWKLVSROLF\H[FHSWSD\PHQWVPDGHIRUFRVWV
                         DWWRUQH\V¶IHHVDQGH[SHQVHVVKDOOUHGXFHWKHDSSOLFDEOH
                         $JJUHJDWH$PRXQWRI,QVXUDQFHE\WKHDPRXQWRIWKHSD\PHQW
                     E  ,IWKLVSROLF\LQVXUHVWKH7LWOHWR/DQGORFDWHGLQDVWDWHLGHQWLILHG
                         LQ6HFWLRQERIWKLVHQGRUVHPHQW
                         L  DOOSD\PHQWVXQGHUWKLVSROLF\H[FHSWSD\PHQWVPDGHIRU
                             FRVWVDWWRUQH\V¶IHHVDQGH[SHQVHVVKDOOUHGXFHWKH
                             $JJUHJDWH$PRXQWRI,QVXUDQFHE\WKHDPRXQWRIWKH
                             SD\PHQWEXW
                         LL  DSD\PHQWPDGHIRUORVVRUGDPDJHRQ/DQGLQVXUHGLQRQH
                              RIWKHSROLFLHVLGHQWLILHGLQ6HFWLRQRQ/DQGORFDWHGRXWVLGH
                              WKLVVWDWHVKDOOQRWUHGXFHWKH$JJUHJDWH$PRXQWRI
                              ,QVXUDQFHLQ6HFWLRQERIWKLVHQGRUVHPHQWXQWLOWKH
                              $JJUHJDWH$PRXQWRI,QVXUDQFHLQ6HFWLRQDLVUHGXFHG
                              EHORZWKH$JJUHJDWH$PRXQWRI,QVXUDQFHLQ6HFWLRQE
                     F  +RZHYHUDQ\SD\PHQWVPDGHSULRUWRWKHDFTXLVLWLRQRI7LWOHDV
                         SURYLGHGLQ6HFWLRQRIWKHVH&RQGLWLRQVVKDOOQRWUHGXFHWKH
                         $JJUHJDWH$PRXQWRI,QVXUDQFHDIIRUGHGXQGHUWKLV
                         HQGRUVHPHQWH[FHSWWRWKHH[WHQWWKDWWKHSD\PHQWVUHGXFHWKH
                         ,QGHEWHGQHVV
                     G 7KHYROXQWDU\VDWLVIDFWLRQRUUHOHDVHRIWKH,QVXUHG0RUWJDJHVKDOO
                        WHUPLQDWHDOOOLDELOLW\RIWKH&RPSDQ\XQGHUWKLVSROLF\H[FHSWDV

)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 325 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                    6(&7,21



                               SURYLGHGLQ6HFWLRQRIWKHVH&RQGLWLRQVEXWLWZLOOQRWUHGXFHWKH
                               $JJUHJDWH$PRXQWRI,QVXUDQFHIRUWKHRWKHUSROLFLHVLGHQWLILHGLQ6HFWLRQ
                               RIWKLVHQGRUVHPHQW

7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW L 
PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV LLL 
H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQRI
WKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLV
HQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


>:LWQHVVFODXVHRSWLRQDO@

>)17*%5$1'@



%\BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
      $XWKRUL]HG6LJQDWRU\












$/7$(QGRUVHPHQW)RUP
  $JJUHJDWLRQ6WDWH/LPLWV/RDQ   
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 326 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                       6(&7,21



5HWXUQWR7DEOHRI&RQWHQWV

                      /($6(+2/'2:1(5¶6$1'/($6(+2/'/2$1
                        $/7$(1'256(0(17±)2506$1'

                                                385326(



        7KH$/7$(QGRUVHPHQW)RUPVDQGZHUHFUHDWHGWREHDWWDFKHGWRWKH$/7$

2ZQHU¶V 3ROLF\ DQG $/7$ /RDQ 3ROLF\ UHVSHFWLYHO\  7KH\ ZHUH UHYLVHG $SULO   7KH\ DUH

LQWHQGHGWREHXVHGHLWKHUZLWKSROLFLHVFRYHULQJRQO\/HDVHKROG(VWDWHVRUIRUWKRVHWKDWLQVXUHERWK

/HDVHKROG(VWDWHVDQGWKHRZQHUVKLSRILPSURYHPHQWVORFDWHGRQWKHP



                      6(&7,2162)32/,&<$0(1'('%<(1'256(0(17



        7KH SUHYLRXV $/7$ /HDVHKROG 2ZQHU¶V DQG /HDVHKROG /RDQ 3ROLFLHV ZHUH GHVLJQHG WR

SURYLGHLQVXUDQFHIRUVSDFHWHQDQWVWKDWKDGQRVLJQLILFDQWLQYHVWPHQWLQ7HQDQW,PSURYHPHQWV$V

DUHVXOWWKHVHSROLFLHVGLGQRWSURYLGHFRPSHQVDWLRQIRUWKHORVVRI7HQDQW,PSURYHPHQWVRUIRUWKH

YDOXHRIWKHORVVRIXVHRIWKHOHDVHKROGIRUOHJLWLPDWHSXUSRVHVDVWKHUHVXOWRIDPDWWHUFRYHUHGE\

WKHSROLFLHV



         7KH$/7$DQGSURYLGHDOORIWKHFRYHUDJHVSUHYLRXVO\SURYLGHGE\WKHIRUPHU

OHDVHKROGSROLF\IRUPVEXWLQDGGLWLRQLQFOXGHWKHYDOXHRILPSURYHPHQWVLQWKHFDOFXODWLRQRIORVVHV

UHVXOWLQJIURPHYLFWLRQEDVHGRQDPDWWHULQVXUHGE\WKHFXUUHQWSROLF\IRUPV6LPLODUO\LPSURYHPHQW

YDOXHLVLQFOXGHGLIWKH,QVXUHGLVXQDEOHWRXVHWKHSURSHUW\IRULWVLQWHQGHGSXUSRVHDVDUHVXOWRID

PDWWHUFRYHUHGE\WKHSROLF\DVVXPLQJWKHOHDVHSHUPLWVVXFKDXVH



        5HLPEXUVHPHQW WR WKH ,QVXUHG IRU VSHFLILHG RXWRISRFNHW FRQVWUXFWLRQ FRVWV IRU

LPSURYHPHQWV RQ WKH ODQG WKDW ZHUH QRW VXEVWDQWLDOO\ FRPSOHWHG DW WKH WLPH RI HYLFWLRQ LV DOVR

SURYLGHG6LPLODUFRYHUDJHLVSURYLGHGWRLQVXUHGOHDVHKROGOHQGHUVIRULPSURYHPHQWVWKH\FRQVWUXFW

DIWHUWKH\DFTXLUHWKHSURSHUW\E\IRUHFORVXUHRUFRQYH\DQFHLQOLHXWKHUHRI



)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 327 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                      6(&7,21





        )LQDOO\ERWKHQGRUVHPHQWVDOVRLQFUHDVHWRPLOHVWKHGLVWDQFHIRUZKLFKWKH&RPSDQ\

ZLOOSD\WKHFRVWVRIUHORFDWLQJSHUVRQDOSURSHUW\


7KH$SULOUHYLVLRQFRQVLVWVRI

    x A revision of the definition of “Personal Property” to make it consistent with the use of

         the term in other endorsements such as the ALTA 36-06 (Energy Project –

         Leasehold/Easement –Owners) and the ALTA 36.2-06 (Energy Project –Leasehold-

         Owners).

    x A revision of the definition of “Tenant Leasehold Improvements” to relate only to the

         extent the Insured has rights in such Improvements.

    x A revision of the “Valuation of Estate or Interest Insured” to clarify that it covers the

         entire Title, or any portion of it, from which the Insured suffers eviction. In addition, it

         clarifies that the loss must come from a defect insured against by the policy.

    x “Additional items of loss” is clarified to make coverage applicable to the portion of Land

         from which the Insured is Evicted, if it is not the entire Land, and references the

         Condition in the policy that determines the measure of loss (Owners Policy, Section 8(a)

         (ii) and Loan Policy, Section 8(a)(iii)).

    x Adds the cost of restoring the property to the extent it is damaged because of Eviction.

    x Adds a limitation that the coverage does not include loss resulting from environmental

         damage or contamination, to conform to policy provisions.



                                 %$6,6)253529,',1*&29(5$*(



        7KH$/7$/HDVHKROG2ZQHU¶VDQG/HDVHKROG/RDQ3ROLFLHVZHUHZLWKGUDZQDVRIILFLDO$/7$

)RUPV  7KH $/7$  DQG  ZHUH PHDQW WR UHSODFH WKH ROG SROLF\ IRUPV  6LQFH WKHVH

)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 328 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                          6(&7,21



HQGRUVHPHQWV JLYH PRUH FRYHUDJH WKDQ WKH ROG SROLFLHV LW LV QRW H[SHFWHG WKDW WKHUH ZLOO EH DQ\

UHTXHVWVIRUWKHROGIRUPVZKLFKQRZPXVWEHWLWOHG³IRUPHUO\$/7$´WRLQGLFDWHWKDWWKH\KDYHEHHQ

ZLWKGUDZQE\$/7$



        7KHVHHQGRUVHPHQWVZLOOEHLVVXHGZKHQWKHFXVWRPHULVVHHNLQJWKHDGGLWLRQDOFRYHUDJHV

SURYLGHGWKHUHLQ7KHVHDUFKLQJDQGH[DPLQLQJSURFHGXUHVIRULQVXULQJOHDVHKROGVUHPDLQWKHVDPH

DVGRHVWKHPRGLILFDWLRQRI6FKHGXOH$7KHHVWDWHRULQWHUHVWLQWKH/DQGLVQRWD)HHEXWUDWKHUWKH

/HDVHKROG (VWDWH FUHDWHG E\ DQG EHWZHHQ WKH SDUWLHV ZLWK D UHIHUHQFH WR WKH XQGHUO\LQJ OHDVH

LQIRUPDWLRQ7KHHQWLUHOHDVHPXVWEHH[DPLQHGDQG PDQ\VWDWHVUHTXLUHDQ\VKRUWIRUPOHDVHRU

PHPRUDQGXP RI WKH OHDVH WR FRQWDLQ WKH VLJQDWXUHV RI ERWK SDUWLHV WR JLYH HIIHFWLYH FRQVWUXFWLYH

QRWLFHRQWKHUHFRUGRIWKHWHQDQWV¶ULJKWVDQGLQWHUHVWV LIWKHIXOOOHDVHLVQRWUHFRUGHG 



&RQVXOW \RXU &RPSDQ\ XQGHUZULWLQJ DGYLVRU IRU LQVWUXFWLRQV RQ KRZ WR FRUUHFWO\ PRGLI\ WKH IHH

SROLFLHVIRUXVHZLWKWKHVHHQGRUVHPHQWV



                                              02',),&$7,21

                                                        

        ,QWKHHYHQWWKDWPRGLILFDWLRQRIDQHQGRUVHPHQWLVUHTXHVWHGLWLVQHFHVVDU\WRFRQVLGHU

\RXUVWDWHUHJXODWRU\UHTXLUHPHQWVIRUILOLQJDQGDSSURYDORIIRUPV,IWKHHQGRUVHPHQWLV

PRGLILHGWKHHQGRUVHPHQWLVQRWDQ$/7$IRUPDQGVKRXOGQRWUHIHUHQFH$/7$LQWKHWLWOH<RX

PXVWREWDLQWKHDSSURYDORIWKH&RPSDQ\¶VXQGHUZULWLQJDGYLVRUEHIRUHFRPSO\LQJZLWKDQ\

UHTXHVWIRUDPRGLILFDWLRQ



5HWXUQWR7DEOHRI&RQWHQWV




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 329 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                  6(&7,21



                                         (1'256(0(17
                                $WWDFKHGWR3ROLF\1RBBBBBBBBBBB

                                                   ,VVXHG%\
                                                >)17*%5$1'@
                                                        
 $VXVHGLQWKLVHQGRUVHPHQWWKHIROORZLQJWHUPVVKDOOPHDQ

      D (YLFWHGRU(YLFWLRQ D WKHODZIXOGHSULYDWLRQLQZKROHRULQSDUWRIWKHULJKWRI
            SRVVHVVLRQLQVXUHGE\WKLVSROLF\FRQWUDU\WRWKHWHUPVRIWKH/HDVHRU E WKHODZIXO
            SUHYHQWLRQRIWKHXVHRIWKH/DQGRUWKH7HQDQW/HDVHKROG,PSURYHPHQWVIRUWKH
            SXUSRVHVSHUPLWWHGE\WKH/HDVHLQHLWKHUFDVHDVDUHVXOWRIDPDWWHUFRYHUHGE\WKLV
            SROLF\
      E /HDVHWKHOHDVHGHVFULEHGLQ6FKHGXOH$
      F /HDVHKROG(VWDWHWKHULJKWRISRVVHVVLRQJUDQWHGLQWKH/HDVHIRUWKH/HDVH7HUP
      G /HDVH7HUPWKHGXUDWLRQRIWKH/HDVHKROG(VWDWHDVVHWIRUWKLQWKH/HDVHLQFOXGLQJ
            DQ\UHQHZDORUH[WHQGHGWHUPLIDYDOLGRSWLRQWRUHQHZRUH[WHQGLVFRQWDLQHGLQWKH
            /HDVH
      H 3HUVRQDO3URSHUW\SURSHUW\LQZKLFKDQGWRWKHH[WHQWWKH,QVXUHGKDVULJKWVORFDWHG
            RQRUDIIL[HGWRWKH/DQGRQRUDIWHU'DWHRI3ROLF\WKDWE\ODZGRHVQRWFRQVWLWXWHUHDO
            SURSHUW\EHFDXVH L RILWVFKDUDFWHUDQGPDQQHURIDWWDFKPHQWWRWKH/DQGDQG LL WKH
            SURSHUW\FDQEHVHYHUHGIURPWKH/DQGZLWKRXWFDXVLQJPDWHULDOGDPDJHWRLWRUWRWKH
            /DQG
      I 5HPDLQLQJ/HDVH7HUPWKHSRUWLRQRIWKH/HDVH7HUPUHPDLQLQJDIWHUWKH,QVXUHGKDV
            EHHQ(YLFWHG
      J 7HQDQW/HDVHKROG,PSURYHPHQWV7KRVHLPSURYHPHQWVLQZKLFKDQGWRWKHH[WHQWWKH
            ,QVXUHGKDVULJKWVLQFOXGLQJODQGVFDSLQJUHTXLUHGRUSHUPLWWHGWREHEXLOWRQWKH/DQGE\
            WKH/HDVHWKDWKDYHEHHQEXLOWDWWKH,QVXUHG VH[SHQVHRULQZKLFKWKH,QVXUHGKDVDQ
            LQWHUHVWJUHDWHUWKDQWKHULJKWWRSRVVHVVLRQGXULQJWKH/HDVH7HUP

 9DOXDWLRQRI(VWDWHRU,QWHUHVW,QVXUHG
            
,ILQFRPSXWLQJORVVRUGDPDJHLWEHFRPHVQHFHVVDU\WRYDOXHWKH7LWOHRUDQ\SRUWLRQRILWDVWKH
UHVXOWRIDQ(YLFWLRQRIWKH,QVXUHGWKHQDVWRWKDWSRUWLRQRIWKH/DQGIURPZKLFKWKH,QVXUHGLV
(YLFWHGWKDWYDOXHVKDOOFRQVLVWRIWKHYDOXHIRUWKH5HPDLQLQJ/HDVH7HUPRIWKH/HDVHKROG
(VWDWHDQGDQ\7HQDQW/HDVHKROG,PSURYHPHQWVH[LVWLQJRQWKHGDWHRIWKH(YLFWLRQ7KH
,QVXUHG&ODLPDQWVKDOOKDYHWKHULJKWWRKDYHWKH/HDVHKROG(VWDWHDQGWKH7HQDQW/HDVHKROG
,PSURYHPHQWVDIIHFWHGE\DGHIHFWLQVXUHGDJDLQVWE\WKHSROLF\YDOXHGHLWKHUDVDZKROHRU
VHSDUDWHO\,QHLWKHUHYHQWWKLVGHWHUPLQDWLRQRIYDOXHVKDOOWDNHLQWRDFFRXQWUHQWQRORQJHU
UHTXLUHGWREHSDLGIRUWKH5HPDLQLQJ/HDVH7HUP

 $GGLWLRQDOLWHPVRIORVVFRYHUHGE\WKLVHQGRUVHPHQW

,IWKH,QVXUHGLV(YLFWHGWKHIROORZLQJLWHPVRIORVVLIDSSOLFDEOHWRWKDWSRUWLRQRIWKH/DQGIURP
ZKLFKWKH,QVXUHGLV(YLFWHGVKDOOEHLQFOXGHGZLWKRXWGXSOLFDWLRQLQFRPSXWLQJORVVRUGDPDJH
LQFXUUHGE\WKH,QVXUHGEXWQRWWRWKHH[WHQWWKDWWKHVDPHDUHLQFOXGHGLQWKHYDOXDWLRQRIWKH
7LWOHGHWHUPLQHGSXUVXDQWWR6HFWLRQRIWKLVHQGRUVHPHQWDQ\RWKHUHQGRUVHPHQWWRWKHSROLF\
RU6HFWLRQ D LL RIWKH&RQGLWLRQV
            
      D 7KHUHDVRQDEOHFRVWRI L UHPRYLQJDQGUHORFDWLQJDQ\3HUVRQDO3URSHUW\WKDWWKH
            ,QVXUHGKDVWKHULJKWWRUHPRYHDQGUHORFDWHVLWXDWHGRQWKH/DQGDWWKHWLPHRI
            (YLFWLRQ LL WUDQVSRUWDWLRQRIWKDW3HUVRQDO3URSHUW\IRUWKHLQLWLDORQHKXQGUHGPLOHV
            LQFXUUHGLQFRQQHFWLRQZLWKWKHUHORFDWLRQ LLL UHSDLULQJWKH3HUVRQDO3URSHUW\GDPDJHG
            E\UHDVRQRIWKHUHPRYDODQGUHORFDWLRQDQG LY UHVWRULQJWKH/DQGWRWKHH[WHQW
            GDPDJHGDVDUHVXOWRIWKHUHPRYDODQGUHORFDWLRQRIWKH3HUVRQDO3URSHUW\DQGUHTXLUHG
            RIWKH,QVXUHGVROHO\EHFDXVHRIWKH(YLFWLRQ

)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 330 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                    6(&7,21



     
     E 5HQWRUGDPDJHVIRUXVHDQGRFFXSDQF\RIWKH/DQGSULRUWRWKH(YLFWLRQWKDWWKH,QVXUHG
           DVRZQHURIWKH/HDVHKROG(VWDWHPD\EHREOLJDWHGWRSD\WRDQ\SHUVRQKDYLQJ
           SDUDPRXQWWLWOHWRWKDWRIWKHOHVVRULQWKH/HDVH
     
     F 7KHDPRXQWRIUHQWWKDWE\WKHWHUPVRIWKH/HDVHWKH,QVXUHGPXVWFRQWLQXHWRSD\WR
           WKHOHVVRUDIWHU(YLFWLRQZLWKUHVSHFWWRWKHSRUWLRQRIWKH/HDVHKROG(VWDWHDQG7HQDQW
           /HDVHKROG,PSURYHPHQWVIURPZKLFKWKH,QVXUHGKDVEHHQ(YLFWHG
     
     G 7KHIDLUPDUNHWYDOXHDWWKHWLPHRIWKH(YLFWLRQRIWKHHVWDWHRULQWHUHVWRIWKH,QVXUHGLQ
           DQ\OHDVHRUVXEOHDVHSHUPLWWHGE\WKH/HDVHDQGPDGHE\,QVXUHGDVOHVVRURIDOORU
           SDUWRIWKH/HDVHKROG(VWDWHRUWKH7HQDQW/HDVHKROG,PSURYHPHQWV
     
     H 'DPDJHVFDXVHGE\WKH(YLFWLRQWKDWWKH,QVXUHGLVREOLJDWHGWRSD\WROHVVHHVRU
           VXEOHVVHHVRQDFFRXQWRIWKHEUHDFKRIDQ\OHDVHRUVXEOHDVHSHUPLWWHGE\WKH/HDVH
           DQGPDGHE\WKH,QVXUHGDVOHVVRURIDOORUSDUWRIWKH/HDVHKROG(VWDWHRUWKH7HQDQW
           /HDVHKROG,PSURYHPHQWV
          
     I 7KHUHDVRQDEOHFRVWWRREWDLQODQGXVH]RQLQJEXLOGLQJDQGRFFXSDQF\SHUPLWV
           DUFKLWHFWXUDODQGHQJLQHHULQJVHUYLFHVDQGHQYLURQPHQWDOWHVWLQJDQGUHYLHZVIRUD
           OHDVHKROGUHDVRQDEO\HTXLYDOHQWWRWKH/HDVHKROG(VWDWH

       J ,I7HQDQW/HDVHKROG,PSURYHPHQWVDUHQRWVXEVWDQWLDOO\FRPSOHWHGDWWKHWLPHRI
             (YLFWLRQWKHDFWXDOFRVWLQFXUUHGE\WKH,QVXUHGOHVVWKHVDOYDJHYDOXHIRUWKH7HQDQW
             /HDVHKROG,PSURYHPHQWVXSWRWKHWLPHRI(YLFWLRQ7KRVHFRVWVLQFOXGHFRVWVLQFXUUHG
             WRREWDLQODQGXVH]RQLQJEXLOGLQJDQGRFFXSDQF\SHUPLWVDUFKLWHFWXUDODQGHQJLQHHULQJ
             VHUYLFHVFRQVWUXFWLRQPDQDJHPHQWVHUYLFHVHQYLURQPHQWDOWHVWLQJDQGUHYLHZVDQG
             ODQGVFDSLQJ
7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVGDPDJHRUFRVWVRIUHPHGLDWLRQ DQGWKH
&RPSDQ\ZLOOQRWSD\FRVWDWWRUQH\V¶IHHVRUH[SHQVHV UHVXOWLQJIURPHQYLURQPHQWDOGDPDJHRU
FRQWDPLQDWLRQ
       
7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW
  L PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLV
HQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


>:LWQHVVFODXVHRSWLRQDO@


>)17*%5$1'@

%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB


$/7$(QGRUVHPHQW)RUP
  /HDVHKROG±2ZQHUV  5HY 
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 331 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                          6(&7,21



                                            (1'256(0(17
                                   $WWDFKHGWR3ROLF\1RBBBBBBBBBBB
                                                ,VVXHG%\
                                             >)17*%5$1'@

      $VXVHGLQWKLVHQGRUVHPHQWWKHIROORZLQJWHUPVVKDOOPHDQ
         
         D     (YLFWHGRU(YLFWLRQ D WKHODZIXOGHSULYDWLRQLQZKROHRULQSDUWRIWKHULJKWRI
                   SRVVHVVLRQ LQVXUHG E\ WKLV SROLF\ FRQWUDU\ WR WKH WHUPV RI WKH /HDVH RU E  WKH
                   ODZIXOSUHYHQWLRQRIWKHXVHRIWKH/DQGRUWKH7HQDQW/HDVHKROG,PSURYHPHQWV
                   IRU WKH SXUSRVHV SHUPLWWHG E\ WKH /HDVH LQ HLWKHU FDVH DV D UHVXOW RI D PDWWHU
                   FRYHUHGE\WKLVSROLF\
         E      /HDVHWKHOHDVHGHVFULEHGLQ6FKHGXOH$
         F     /HDVHKROG (VWDWH WKH ULJKW RI SRVVHVVLRQ JUDQWHG LQ WKH /HDVH IRU WKH /HDVH
                   7HUP
         G     /HDVH 7HUP WKH GXUDWLRQ RI WKH /HDVHKROG (VWDWH DV VHW IRUWK LQ WKH /HDVH
                   LQFOXGLQJ DQ\ UHQHZDO RU H[WHQGHG WHUP LI D YDOLG RSWLRQ WR UHQHZ RU H[WHQG LV
                   FRQWDLQHGLQWKH/HDVH
         H      3HUVRQDO3URSHUW\SURSHUW\LQZKLFKDQGWRWKHH[WHQWWKH,QVXUHGKDVULJKWV
                   ORFDWHGRQRUDIIL[HGWRWKH/DQGRQRUDIWHU'DWHRI3ROLF\WKDWE\ODZGRHVQRW
                   FRQVWLWXWHUHDOSURSHUW\EHFDXVH L RILWVFKDUDFWHUDQGPDQQHURIDWWDFKPHQWWR
                   WKH /DQG DQG LL  WKH SURSHUW\ FDQ EH VHYHUHG IURP WKH /DQG ZLWKRXW FDXVLQJ
                   PDWHULDOGDPDJHWRWKHSURSHUW\RUWRWKH/DQG
         I     5HPDLQLQJ /HDVH 7HUP WKH SRUWLRQ RI WKH /HDVH 7HUP UHPDLQLQJ DIWHU WKH
                   7HQDQWKDVEHHQ(YLFWHG
         J     7HQDQW WKH WHQDQW XQGHU WKH /HDVH DQG DIWHU DFTXLVLWLRQ RI DOO RU DQ\ SDUW RI
                   WKH7LWOH LQDFFRUGDQFH ZLWKWKH SURYLVLRQVRI6HFWLRQRIWKH&RQGLWLRQVRIWKH
                   SROLF\WKH,QVXUHG&ODLPDQW
         K       7HQDQW /HDVHKROG ,PSURYHPHQWV 7KRVH LPSURYHPHQWV LQ ZKLFK DQG WR WKH
                   H[WHQWWKH,QVXUHGKDVULJKWVLQFOXGLQJODQGVFDSLQJUHTXLUHG RUSHUPLWWHGWREH
                   EXLOWRQWKH/DQGE\WKH/HDVHWKDWKDYHEHHQEXLOWDWWKH7HQDQW¶VH[SHQVHRULQ
                   ZKLFKWKH7HQDQWKDVDQLQWHUHVWJUHDWHUWKDQWKHULJKWWRSRVVHVVLRQGXULQJWKH
                   /HDVH7HUP
         
 9DOXDWLRQRI(VWDWHRU,QWHUHVW,QVXUHG
         
 ,ILQFRPSXWLQJORVVRUGDPDJHLWEHFRPHVQHFHVVDU\WRYDOXHWKH7LWOHRUDQ\SRUWLRQRILWDV
 WKHUHVXOWRIDQ(YLFWLRQRIWKH7HQDQWWKHQDVWRWKDWSRUWLRQRIWKH/DQGIURPZKLFKWKH7HQDQW
 LV(YLFWHGWKDWYDOXHVKDOOFRQVLVWRIWKHYDOXHIRUWKH5HPDLQLQJ/HDVH7HUPRIWKH/HDVHKROG
 (VWDWH DQG DQ\ 7HQDQW /HDVHKROG ,PSURYHPHQWV H[LVWLQJ RQ WKH GDWH RI WKH (YLFWLRQ  7KH
 ,QVXUHG &ODLPDQWVKDOO KDYHWKHULJKWWRKDYHWKH/HDVHKROG (VWDWHDQGWKH7HQDQW /HDVHKROG
 ,PSURYHPHQWV DIIHFWHG E\ D GHIHFW LQVXUHG DJDLQVW E\ WKH SROLF\ YDOXHG HLWKHU DV D ZKROH RU
 VHSDUDWHO\  ,Q HLWKHU HYHQW WKLV GHWHUPLQDWLRQ RI YDOXH VKDOO WDNH LQWR DFFRXQW UHQW QR ORQJHU
 UHTXLUHGWREHSDLGIRUWKH5HPDLQLQJ/HDVH7HUP
         
 $GGLWLRQDOLWHPVRIORVVFRYHUHGE\WKLVHQGRUVHPHQW
         
 ,IWKH,QVXUHGDFTXLUHVDOORUDQ\SDUWRIWKH7LWOHLQDFFRUGDQFHZLWKWKHSURYLVLRQVRI6HFWLRQ
 RIWKH&RQGLWLRQVRIWKLVSROLF\DQGWKHUHDIWHULV(YLFWHGWKHIROORZLQJLWHPVRIORVVLIDSSOLFDEOH
 WR WKDW SRUWLRQ RI WKH /DQG IURP ZKLFK WKH ,QVXUHG LV (YLFWHG VKDOO EH LQFOXGHG ZLWKRXW
 GXSOLFDWLRQLQFRPSXWLQJORVVRUGDPDJHLQFXUUHGE\WKH,QVXUHGEXWQRWWRWKHH[WHQWWKDWWKH
 VDPH DUH LQFOXGHG LQ WKH YDOXDWLRQ RI WKH 7LWOH GHWHUPLQHG SXUVXDQW WR 6HFWLRQ  RI WKLV
 HQGRUVHPHQWDQ\RWKHUHQGRUVHPHQWWRWKHSROLF\RU6HFWLRQ D LLL RIWKH&RQGLWLRQV
         
         D     7KH UHDVRQDEOH FRVW RI L  UHPRYLQJ DQG UHORFDWLQJ DQ\ 3HUVRQDO 3URSHUW\ WKDW
                   WKH,QVXUHGKDVWKHULJKWWRUHPRYHDQGUHORFDWHVLWXDWHGRQWKH/DQGDWWKHWLPH

)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 332 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                      6(&7,21



                   RI(YLFWLRQ LL WUDQVSRUWDWLRQRIWKDW3HUVRQDO3URSHUW\IRUWKHLQLWLDORQHKXQGUHG
                   PLOHV LQFXUUHG LQ FRQQHFWLRQ ZLWK WKH UHORFDWLRQ LLL  UHSDLULQJ WKH 3HUVRQDO
                   3URSHUW\GDPDJHGE\UHDVRQRIWKHUHPRYDODQGUHORFDWLRQDQG LY UHVWRULQJWKH
                   /DQG WR WKH H[WHQW GDPDJHG DV D UHVXOW RI WKH UHPRYDO DQG UHORFDWLRQ RI WKH
                   3HUVRQDO3URSHUW\DQGUHTXLUHGRIWKH,QVXUHGVROHO\EHFDXVHRIWKH(YLFWLRQ
         
         E     5HQWRUGDPDJHVIRUXVHDQGRFFXSDQF\RIWKH/DQGSULRUWRWKH(YLFWLRQWKDWWKH
                   ,QVXUHGDVRZQHURIWKH/HDVHKROG(VWDWHPD\EHREOLJDWHGWRSD\WRDQ\SHUVRQ
                   KDYLQJSDUDPRXQWWLWOHWRWKDWRIWKHOHVVRULQWKH/HDVH
         
         F     7KHDPRXQWRIUHQWWKDWE\WKHWHUPVRIWKH/HDVHWKH,QVXUHGPXVWFRQWLQXHWR
                   SD\WRWKHOHVVRUDIWHU(YLFWLRQZLWKUHVSHFWWRWKHSRUWLRQRIWKH/HDVHKROG(VWDWH
                   DQG7HQDQW/HDVHKROG,PSURYHPHQWVIURPZKLFKWKH,QVXUHGKDVEHHQ(YLFWHG
         
         G     7KHIDLUPDUNHWYDOXHDWWKHWLPHRIWKH(YLFWLRQRIWKHHVWDWHRULQWHUHVWRIWKH
                   ,QVXUHGLQDQ\OHDVHRUVXEOHDVHSHUPLWWHGE\WKH/HDVHDQGPDGHE\7HQDQWDV
                   OHVVRU RI DOO RU SDUW RI WKH /HDVHKROG (VWDWH RU WKH 7HQDQW /HDVHKROG
                   ,PSURYHPHQWV
         
         H     'DPDJHVFDXVHGE\WKH(YLFWLRQWKDWWKH,QVXUHGLVREOLJDWHGWRSD\WROHVVHHV
                   RU VXEOHVVHHV RQ DFFRXQW RI WKH EUHDFK RI DQ\ OHDVH RU VXEOHDVH SHUPLWWHG E\
                   WKH /HDVH DQG PDGH E\ WKH 7HQDQW DV OHVVRU RI DOO RU SDUW RI WKH /HDVHKROG
                   (VWDWHRUWKH7HQDQW/HDVHKROG,PSURYHPHQWV
                  
         I     7KHUHDVRQDEOHFRVWWRREWDLQODQGXVH]RQLQJEXLOGLQJDQGRFFXSDQF\SHUPLWV
                   DUFKLWHFWXUDODQGHQJLQHHULQJVHUYLFHVDQGHQYLURQPHQWDOWHVWLQJDQGUHYLHZVIRU
                   DUHSODFHPHQWOHDVHKROGUHDVRQDEO\HTXLYDOHQWWRWKH/HDVHKROG(VWDWH
         
         J     ,I7HQDQW/HDVHKROG,PSURYHPHQWVDUHQRWVXEVWDQWLDOO\FRPSOHWHGDWWKHWLPHRI
                   (YLFWLRQWKHDFWXDOFRVWLQFXUUHGE\WKH,QVXUHGOHVVWKHVDOYDJHYDOXHIRUWKH
                   7HQDQW/HDVHKROG,PSURYHPHQWVXSWRWKHWLPHRI(YLFWLRQ7KRVHFRVWVLQFOXGH
                   FRVWV LQFXUUHG WR REWDLQ ODQG XVH ]RQLQJ EXLOGLQJ DQG RFFXSDQF\ SHUPLWV
                   DUFKLWHFWXUDO DQG HQJLQHHULQJ VHUYLFHV FRQVWUXFWLRQ PDQDJHPHQW VHUYLFHV
                   HQYLURQPHQWDOWHVWLQJDQGUHYLHZVDQGODQGVFDSLQJ
           
7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVGDPDJHVRUFRVWVRIUHPHGLDWLRQ DQGWKH
&RPSDQ\ZLOOQRWSD\FRVWDWWRUQH\V¶IHHVRUH[SHQVHV UHVXOWLQJIURPHQYLURQPHQWDOGDPDJHRU
FRQWDPLQDWLRQ
           
7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

>:LWQHVVFODXVHRSWLRQDO@

>)17*%5$1'@

%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB


$/7$(QGRUVHPHQW)RUP
/HDVHKROG±/RDQ  5HY 
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ



)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 333 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                       6(&7,21



5HWXUQWR7DEOHRI&RQWHQWV
                                          )8785($'9$1&(6
              $/7$(1'256(0(17±)2506DQG
                                                       
                                                385326(

7KHVH HQGRUVHPHQWV OLNH WKH 5HYROYLQJ &UHGLW (QGRUVHPHQWV GLVFXVVHG LQ 6HFWLRQ 
DIILUPDWLYHO\LQVXUHWKHSULRULW\DQGHQIRUFHDELOLW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJHZLWKUHVSHFW
WR IXWXUH DGYDQFHV DQG UHSD\PHQWV DQG UHDGYDQFHV RI ,QGHEWHGQHVV ,Q DGGLWLRQ WKH\ LQFOXGH
FRYHUDJH IRU WKH FRQVHTXHQFHV RI D YDULDEOH UDWH LQFOXGLQJ SRVVLEOH QHJDWLYH DPRUWL]DWLRQ RU
LQWHUHVWRQLQWHUHVW DVGLVFXVVHGLQ6HFWLRQ7KHVHHQGRUVHPHQWVDOVRFRYHUWKHHIIHFWRQWKH
SULRULW\ DQG HQIRUFHDELOLW\ RI WKH ,QVXUHG 0RUWJDJH RI WKH ,QGHEWHGQHVV KDYLQJ EHHQ UHGXFHG WR
]HUR EHIRUH EHLQJ LQFUHDVHG E\ VXEVHTXHQW DGYDQFHV ³]HUREDODQFH´  DQG VWDWH ODZ
UHTXLUHPHQWV WR VHFXUH WKHVH DGYDQFHV QRW KDYLQJ EHHQ PHW 8QLTXH WR WKH  5HYHUVH
0RUWJDJHV LVDGGLWLRQDOFRYHUDJHIRUIDLOXUHRIWKH,QVXUHG0RUWJDJHWRVWDWHDWHUPRUPD[LPXP
GROODUDPRXQWDQGIDLOXUHRIWKHPRUWJDJRUVWREHDWOHDVW\HDUVROG

                      6(&7,2162)32/,&<$0(1'('%<(1'256(0(17
                                                       
(DFK HQGRUVHPHQW PRGLILHV ([FOXVLRQV IURP &RYHUDJH 1R  G  DQG &RQGLWLRQV 1R  G LL 
7KH\DOVRH[SDQGWKHFRYHUDJHJUDQWHGE\&RYHUHG5LVNVDQGWRWKRVHDPRXQWVLQFOXGHG
ZLWKLQWKHGHILQLWLRQRI,QGHEWHGQHVVDW&RQGLWLRQ G E\XVLQJDQGGHILQLQJWKHWHUP³$GYDQFHV´
WRLQFOXGHWKRVHDPRXQWV

                                 %$6,6)253529,',1*&29(5$*(
                                                       
7KHXQGHUZULWLQJLVVXHVGLVFXVVHGLQ6HFWLRQPXVWEHFRQVLGHUHGLQRUGHUWRLVVXHWKH YDULDEOH
UDWH FRYHUDJH LQFOXGHG LQ DOO WKHVH IRUPV ,Q DGGLWLRQ UHIHU WR 6HFWLRQ  IRU D FRPSOHWH
GLVFXVVLRQ RI WKH YDULRXV IDFWRUV WR WDNH LQWR FRQVLGHUDWLRQ ZKHQ DQDO\]LQJ ZKLFK IRUP RI
HQGRUVHPHQWWRXVHWRFRYHUUHYROYLQJFUHGLWDQGIXWXUHDGYDQFHV7KHVHIDFWRUVLQFOXGH
                                                       
3UHOLPLQDU\&RQVLGHUDWLRQV

6HFXULW\
$PRUWJDJHRUGHHGRIWUXVWZLOOVHFXUHUHSD\PHQWRIIXWXUHDGYDQFHVRIIXQGVE\WKHOHQGHULILW
VR SURYLGHV  ,W GRHVQ¶W PDWWHU ZKHWKHU WKH ORDQ SURYLGHV IRU UHYROYLQJ FUHGLW RU QRW +RZHYHU
H[FHSW LQ WKH FDVH ZKHUH WKH SULQFLSDO EDODQFH KDV EHHQ SDLG GRZQ WR ]HUR WKH VHFXULW\
LQVWUXPHQWPD\QRWVHFXUHIXWXUHDGYDQFHVXQOHVVWKHSDUWLHVDJUHHWKDWLWZLOO

)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 334 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                             6(&7,21



8QGHU6HFWLRQRIWKH%DQNUXSWF\&RGHWKHEDQNUXSWF\WUXVWHHRIDERUURZHUPD\KDYHWKH
SRZHUWRDYRLGWKHOLHQRIDPRUWJDJHRUWUXVWGHHGWRWKHH[WHQWLWVHFXUHVDGYDQFHVPDGHDIWHU
WKH OHQGHU KDV QRWLFH RI WKH EDQNUXSWF\  7KH UHFRUGLQJ RU ILOLQJ RI D FRS\ RI WKH SHWLWLRQ RU D
QRWLFHWKDWWKHSHWLWLRQKDVEHHQILOHGLVVXIILFLHQWWRJLYHWKHOHQGHUWKDWQRWLFH7KHUHIRUHGUDZV
DJDLQVWDUHYROYLQJFUHGLWOLQHDQGRWKHUORDQDGYDQFHVZKLFKDUHIXQGHGDIWHUWKLVSRLQWPD\EHLQ
MHRSDUG\RIEHLQJXQVHFXUHG

3ULRULW\
7KH SULRULW\ RI WKH PRUWJDJH RU GHHG RI WUXVW DV VHFXULW\ IRU IXWXUH DGYDQFHV GHSHQGV XSRQ WKH
IDFWRUVGLVFXVVHGEHORZ7KHSUREOHPVDULVHZKHUHDOLHQRUHQFXPEUDQFHLVFUHDWHGRUDWWDFKHV
DIWHUUHFRUGLQJRIWKHPRUWJDJHRUWUXVWGHHGEXWSULRUWRDIXWXUHDGYDQFH

2UGLQDU\/LHQVDQG(QFXPEUDQFHV
                                                          
1RWLFH
7R EH SULRU QRWLFH WKDW WKH PRUWJDJH RU WUXVW GHHG VHFXUHV IXWXUH DGYDQFHV PXVW EH JLYHQ WR
IXWXUHKROGHUVRIOLHQVDQGHQFXPEUDQFHV7KHUHIRUHWKHUHFRUGHGPRUWJDJHPXVWGLVFORVHWKDW
LWVHFXUHVIXWXUHDGYDQFHV

2EOLJDWLRQWR$GYDQFH
:KHWKHU WKH OHQGHU LV REOLJDWHG WR PDNH WKH DGYDQFH DIWHU DQ LQWHUYHQLQJ SDUW\¶V OLHQ RU
HQFXPEUDQFHDWWDFKHVWRWKHERUURZHU¶V7LWOHLVLPSRUWDQWWRSULRULW\LQPRVWVWDWHV,IWKHOHQGHU
LVOHJDOO\REOLJDWHGWRPDNHWKHDGYDQFH ³REOLJDWRU\DGYDQFH´ WKHOLHQVHFXULQJLWLVSULRUWRWKH
OLHQ RU HQFXPEUDQFH RI WKH LQWHUYHQLQJ SDUW\  $Q DGYDQFH LV REOLJDWRU\ LI WKH OHQGHU FRXOG EH
VXFFHVVIXOO\ VXHG IRU GDPDJHV LI LW GLG QRW PDNH LW  7KHUHIRUH DQ\ FRQGLWLRQV RQ WKH OHQGHU¶V
REOLJDWLRQWRIXQGPXVWQRWEHXQGHUWKHOHQGHU¶VFRQWURO,IWKH OHQGHULVQRWREOLJDWHGWRIXQG
DIWHU D OLHQ RU HQFXPEUDQFH DWWDFKHV WR WKH WLWOH DQ\ DGYDQFHV PDGH WKHUHDIWHU DUH RSWLRQDO
    ³RSWLRQDO DGYDQFH´  7KH UXOH GLIIHUV DPRQJ WKH VWDWHV DV WR ZKHWKHU D OLHQ VHFXULQJ RSWLRQDO
DGYDQFHVZLOOKDYHSULRULW\RYHUDQLQWHUYHQLQJOLHQRUHQFXPEUDQFH

            0DMRULW\5XOH$IXWXUHDGYDQFHPRUWJDJHOLHQLVSULRULIWKHOHQGHUGRHVQRWKDYHDFWXDO
            QRWLFHRIWKHLQWHUYHQLQJLQWHUHVWDWWKHWLPHRIWKHDGYDQFH

            0LQRULW\5XOH$IXWXUHDGYDQFHPRUWJDJHOLHQLVSULRULIWKHOHQGHUKDVQHLWKHUDFWXDOQRU
            FRQVWUXFWLYHQRWLFHRIWKHLQWHUYHQLQJLQWHUHVWDWWKHWLPHRIWKHDGYDQFH





)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 335 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                              6(&7,21



8QOHVVWKHDJUHHPHQWEHWZHHQWKHOHQGHUDQGERUURZHUSURYLGHVIRUDFXUHE\WKHERUURZHUDQ\
DGYDQFH PDGH DIWHU D GHIDXOW E\ WKH ERUURZHU LV DQ RSWLRQDO DGYDQFH  :KHUH DQ REOLJDWRU\
DGYDQFH DJUHHPHQW FRQWDLQV D FXUH SURYLVLRQ DGYDQFHV PDGH DIWHU FXUH DUH DJDLQ REOLJDWRU\
7KHUHIRUHWKH\ZRXOGEHHQWLWOHGWRSULRULW\RYHUHQFXPEUDQFHVDWWDFKLQJDIWHUFXUHEXWEHIRUHWKH
DGYDQFH$GYDQFHVPDGHDIWHUGHIDXOWDQGEHIRUHFXUHZRXOGEHWUHDWHGDVRSWLRQDODGYDQFHV

 6SHFLDO &DVHV  )HGHUDO 7D[ /LHQV 0HFKDQLFV¶ /LHQV DQG (QYLURQPHQWDO 3URWHFWLRQ
/LHQV
                                                          
)HGHUDO7D[/LHQV
7KHUH LV VRPH DUJXPHQW DERXW WKH SULRULW\ RI IHGHUDO WD[ OLHQV ZLWK UHVSHFW WR WKH OLHQ IRU
GLVEXUVHPHQWV XQGHU D FRQVWUXFWLRQ ORDQ  8QGHU WKH ZRUVW FDVH YLHZ WKH FRQVWUXFWLRQ ORDQ
PRUWJDJHOLHQKDVWKHVDPHSULRULW\RYHUIHGHUDOWD[OLHQVDVLWZRXOGKDYHRYHUDMXGJPHQWOLHQ
XQGHUVWDWHODZ+RZHYHUQRDGYDQFHPDGHXQGHUDQRQFRQVWUXFWLRQIXWXUHDGYDQFHPRUWJDJH
LV SURWHFWHG DJDLQVW D IHGHUDO WD[ OLHQ UHFRUGHG DIWHU UHFRUGLQJ RI WKH PRUWJDJH ZKHUH WKH
DGYDQFHLVPDGH  PRUHWKDQGD\VDIWHUWKHUHFRUGLQJRIWKHWD[OLHQQRWLFHRU  DIWHUDFWXDO
QRWLFH RI WKH WD[ OLHQ ZKLFKHYHU RFFXUV ILUVW  :KHWKHU WKH DGYDQFH LV RSWLRQDO RU REOLJDWRU\ LV
LPPDWHULDO

0HFKDQLFV¶/LHQV
7KHODZRIPDQ\VWDWHVJLYHVPHFKDQLFV¶OLHQVSULRULW\RYHUWKHOLHQRIPRUWJDJHVRUWUXVWGHHGV
,Q VRPH VWDWHV WKLV LV OLPLWHG WR WKRVH PRUWJDJHV RU WUXVW GHHGV ZKLFK ILQDQFH WKH FRQVWUXFWLRQ
RXWRIZKLFKWKHOLHQVDULVH2WKHUVWUHDWPHFKDQLF¶VOLHQVOLNHRWKHUOLHQVZLWKUHVSHFWWRIXWXUH
DGYDQFH PRUWJDJHV LI WKH PRUWJDJH ZDV UHFRUGHG EHIRUH WKH YLVLEOH FRPPHQFHPHQW RI
FRQVWUXFWLRQ 7KH H[FHSWLRQ RU FDUYH RXW IRU 0HFKDQLFV¶ /LHQV DSSHDUV DV EUDFNHWHG
RSWLRQDO PDWHULDO 6RPH VWDWHV PD\ UHTXLUH D VHSDUDWH IRUP ILOLQJ IRU HDFK YHUVLRQ RI WKH
HQGRUVHPHQW ZLWKRUZLWKRXWWKHRSWLRQDOPDWHULDO 7KHYHUVLRQWKDWPD\EHDYDLODEOHLQ
\RXUVWDWHZLOOEHGHWHUPLQHGE\\RXU&RPSDQ\XQGHUZULWLQJDGYLVRU

(QYLURQPHQWDO3URWHFWLRQ/LHQV
&XUUHQWO\ IHGHUDO ODZ DQG WKH ODZV RI PDQ\ VWDWHV FUHDWH JRYHUQPHQWDO OLHQV WR VHFXUH
UHSD\PHQWIRUWKHFRVWRIFOHDQLQJWKHHQYLURQPHQWRIWR[LFRUKD]DUGRXVZDVWH7KHVHOLHQVPD\
DOVRVHFXUHUHSD\PHQWIRUWKHGDPDJHGRQHWRWKHHQYLURQPHQW8QGHUVRPHVWDWHODZVWKHVH
OLHQV KDYH SULRULW\ RYHU H[LVWLQJ OLHQV  ,W LV SRVVLEOH IRU WKHP WR EH FUHDWHG ZLWKRXW UHFRUGLQJ RU
ILOLQJLQWKHORFDOUHDOHVWDWHUHFRUGV7KHLPSDFWRIVXFKOLHQVRQWKHSULRULW\RIIXWXUHDGYDQFHVRI
ORDQSURFHHGVLVXQFHUWDLQ




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 336 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                       6(&7,21



)RUPV

)RUP  LV WKH EURDGHVW FRYHUDJH DQG LV RQO\ DYDLODEOH ZKHUH \RXU VWDWH ODZ SURYLGHV
DEVROXWH SULRULW\ IRU WKH DGGLWLRQDO DGYDQFHV ZLWKRXW UHJDUG WR WKH NQRZOHGJH HYHQ WKH DFWXDO
NQRZOHGJH  RI WKH LQVXUHG OHQGHU $OO UHTXLUHPHQWV RI VWDWH ODZ PXVW EH PHW VXFK DV WKH
LQFOXVLRQ RI VSHFLILF ODQJXDJH RQ WKH IDFH RI WKH UHFRUGHG PRUWJDJH 3DUDJUDSK 1R  RI WKH
HQGRUVHPHQW PXVW LQFOXGH DQ\ RWKHU VSHFLILF PDWWHU WKDW SULPHV WKH DGGLWLRQDO DGYDQFH XQGHU
\RXUVWDWHODZVXFKDVFRQVWUXFWLRQRUPHFKDQLFVOLHQV ZKLFKLVVKRZQDVRSWLRQDOLWHPI 

)RUPLVFRPSDUDEOHWR)RUP&LQ6HFWLRQ7KHIRUPH[FHSWV³DFWXDONQRZOHGJH´RQO\
QRWFRQVWUXFWLYHNQRZOHGJH7KHUHIRUHWKLVFDQ RQO\ EHLVVXHGLQWKRVHMXULVGLFWLRQV ZKHUHWKH
ODZSURWHFWVDGGLWLRQDODGYDQFHVRUUHDGYDQFHVPDGHLQWKHIDFHRIUHFRUGHGPDWWHUVRIZKLFK
WKHOHQGHUGLGQRWKDYHDFWXDONQRZOHGJHLHZKHUHFRQVWUXFWLYHQRWLFHDORQHZLOOQRWSULPHWKH
DGYDQFH ,Q RWKHU ZRUGV LI DQ DGYDQFH RU UHDGYDQFH LV VXERUGLQDWH WR LQWHUYHQLQJ UHFRUGHG
PDWWHUV ZLWKRXW UHJDUG WR ZKHWKHU WKH OHQGHU KDG DFWXDO NQRZOHGJH \RX ZRXOG QRW EH DEOH WR
LVVXHWKLVIRUPRIHQGRUVHPHQWDVLWLVZULWWHQ,WZRXOGEHSRVVLEOHWRLVVXHWKLVHQGRUVHPHQWLIDQ
H[FHSWLRQIRUVXFKPDWWHUVLVLQFOXGHGXQGHU3DUDJUDSK1R)RUH[DPSOH´7KHORVVRISULRULW\
RIDQ\$GYDQFHPDGHDIWHUWKH,QVXUHGKDVDFWXDORUFRQVWUXFWLYHQRWLFHRIWKHH[LVWHQFHRIOLHQV
HQFXPEUDQFHV RU RWKHU PDWWHUV DIIHFWLQJ WKH /DQG LQWHUYHQLQJ EHWZHHQ 'DWH RI 3ROLF\ DQG WKH
$GYDQFHDVWRWKHLQWHUYHQLQJOLHQHQFXPEUDQFHRURWKHUPDWWHU´

)RUPDIIRUGVDIILUPDWLYHFRYHUDJHIRUDPRUWJDJHZKLFKFROODWHUDOL]HVWKHREOLJDWLRQVRID
ERUURZHUXQGHUDOHWWHURIFUHGLW6LQFHWKRVHREOLJDWLRQVZLOOQRWDULVHXQWLOWKHOHWWHULVGUDZQRQ
WKH VDPH NLQGV RI IDFWRUV ZLOO QHHG WR EH DQDO\]HG XQGHU \RXU VWDWH ODZ WR VHH ZKDW NLQG RI
SULRULW\ WKHVH W\SHV RI SRVVLEOH IXWXUH DGYDQFHV PLJKW HQMR\ DQG DGG WR 3DUDJUDSK 1R  DQ\
DGGLWLRQDOPDWWHUVWKDWSULPHWKHVHW\SHVRIIXWXUHDGYDQFHV7KHIDFWWKDWWKHVHDGYDQFHVDUHLQ
DVHQVHFRQGLWLRQDOPD\PHDQWKDWWKH\GRQRWHQMR\WKHVDPHSULRULW\DVRWKHUW\SHVRIIXWXUH
DGYDQFHV XQGHU \RXU VWDWH ODZ 7KLV HQGRUVHPHQW ZDV UHYLVHG E\ $/7$ LQ  DQG QRZ LW
FRQWDLQVDEDQNUXSWF\FDUYHRXWZKLFKLVVLPLODUWRROGHUSURSULHWDU\YHUVLRQV

)RUP  GHDOV ZLWK UHYHUVH PRUWJDJHV ZKLFK DUH VRPHWLPHV VWUXFWXUHG DV D VHULHV RI
DGGLWLRQDO DGYDQFHV ,W LV FRPSDUDEOH WR )RUP & LQ 6HFWLRQ   7KH IRUP H[FHSWV ³DFWXDO
NQRZOHGJH´QRWFRQVWUXFWLYHNQRZOHGJH7KHUHIRUHOLNHWKHWKLVFDQRQO\EHLVVXHGLQ
WKRVHMXULVGLFWLRQVZKHUHWKHODZSURWHFWVDGGLWLRQDODGYDQFHVRUUHDGYDQFHVPDGHLQWKHIDFHRI
UHFRUGHG PDWWHUV RI ZKLFK WKH OHQGHU GLG QRW KDYH DFWXDO NQRZOHGJH LH ZKHUH FRQVWUXFWLYH
QRWLFHDORQHZLOOQRWSULPHWKHDGYDQFH,QDGGLWLRQVWDWHODZPXVWEHUHYLHZHGWRGHWHUPLQHLI
IDLOXUHWRVWDWHDOHQJWKRIWHUPRUPD[LPXPGROODUDPRXQWLQWKH,QVXUHG0RUWJDJHZLOODIIHFWWKH


)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 337 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                       6(&7,21



SULRULW\DQGHQIRUFHDELOLW\RIWKH,QVXUHG0RUWJDJH7KHHQGRUVHPHQWZDVFUHDWHGWRVXSSRUWWKH
+8'DSSURYHGIRUPRIUHYHUVHPRUWJDJHDQGWKHVWDWXWRU\VXSSRUWDQGUHFRJQLWLRQRIWKLVW\SHRI
ORDQ SURGXFW PD\ EH IRXQG LQ VHSDUDWH VWDWXWHV SDVVHG DIWHU +8' EHJDQ WKLV SURJUDP
$GGLWLRQDOO\ \RX PXVW YHULI\ WKH PRUWJDJRUV DUH DW OHDVW  \HDUV ROG ZKLFK LV DQRWKHU +8'
UHTXLUHPHQW>WHFKQLFDOO\FRUUHFWHGE\$/7$@

                        $87+25,7<)25,668$1&(2)7+,6&29(5$*(

7KHVH HQGRUVHPHQWV PD\ QRW EH LVVXHG ZLWKRXW WKH DSSURYDO RI WKH &RPSDQ\¶V XQGHUZULWLQJ
DGYLVRU
                                                       
                                             02',),&$7,21
                                                       
,Q WKH HYHQW WKDW PRGLILFDWLRQ RI DQ HQGRUVHPHQW LV UHTXHVWHG LW LV QHFHVVDU\ WR FRQVLGHU \RXU
VWDWH UHJXODWRU\ UHTXLUHPHQWV IRU ILOLQJ DQG DSSURYDO RI IRUPV  ,I WKH HQGRUVHPHQW LV PRGLILHG
RWKHU WKDQ DV GLVFXVVHG LQ WKLV VHFWLRQ WKH HQGRUVHPHQW LV QRW DQ $/7$ IRUP DQG VKRXOG QRW
UHIHUHQFH$/7$LQWKHWLWOH<RXPXVWREWDLQWKHDSSURYDORIWKH&RPSDQ\¶VXQGHUZULWLQJDGYLVRU
EHIRUHFRPSO\LQJZLWKDQ\UHTXHVWIRUDPRGLILFDWLRQ

5HWXUQWR7DEOHRI&RQWHQWV




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 338 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                           6(&7,21



                                              (1'256(0(17

                                  $WWDFKHGWR3ROLF\1RBBBBBBBBBBB

                                                ,VVXHG%\
                                              >)17*%5$1'@


       7KHLQVXUDQFHIRU$GYDQFHVDGGHGE\6HFWLRQVDQGRIWKLVHQGRUVHPHQWLVVXEMHFWWR
          WKHH[FOXVLRQVLQ6HFWLRQRIWKLVHQGRUVHPHQWDQGWKH([FOXVLRQVIURP&RYHUDJHLQWKH
          3ROLF\ H[FHSW ([FOXVLRQ  G  WKH SURYLVLRQV RI WKH &RQGLWLRQV DQG WKH H[FHSWLRQV
          FRQWDLQHGLQ6FKHGXOH%

          D     $JUHHPHQW DV XVHG LQ WKLV HQGRUVHPHQW VKDOO PHDQ WKH QRWH RU ORDQ
                  DJUHHPHQW WKH UHSD\PHQW RI $GYDQFHV XQGHU ZKLFK LV VHFXUHG E\ WKH ,QVXUHG
                  0RUWJDJH
      
          E     $GYDQFHDVXVHGLQWKLVHQGRUVHPHQWVKDOOPHDQRQO\DQDGYDQFHRISULQFLSDO
                  PDGHDIWHUWKH'DWHRI3ROLF\DVSURYLGHGLQWKH$JUHHPHQWLQFOXGLQJH[SHQVHV
                  RIIRUHFORVXUHDPRXQWVDGYDQFHGSXUVXDQWWRWKH,QVXUHG0RUWJDJHWRSD\WD[HV
                  DQGLQVXUDQFHDVVXUHFRPSOLDQFHZLWKODZVRUWRSURWHFWWKHOLHQRIWKH,QVXUHG
                  0RUWJDJH EHIRUH WKH WLPH RI DFTXLVLWLRQ RI WKH 7LWOH DQG UHDVRQDEOH DPRXQWV
                  H[SHQGHG WR SUHYHQW GHWHULRUDWLRQ RI LPSURYHPHQWV WRJHWKHU ZLWK LQWHUHVW RQ
                  WKRVHDGYDQFHV
          
          F     ³&KDQJHV LQ WKH UDWH RI LQWHUHVW´ DV XVHG LQ WKLV HQGRUVHPHQW VKDOO PHDQ RQO\
                  WKRVHFKDQJHVLQWKHUDWHRILQWHUHVWFDOFXODWHGSXUVXDQWWRDIRUPXODSURYLGHGLQ
                  WKH,QVXUHG0RUWJDJHRUWKH$JUHHPHQWDW'DWHRI3ROLF\

       7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI

          D     7KHLQYDOLGLW\ RUXQHQIRUFHDELOLW\ RIWKHOLHQRIWKH,QVXUHG0RUWJDJHDVVHFXULW\
                  IRUHDFK$GYDQFH

          E     7KH ODFN RI SULRULW\ RI WKH OLHQ RI WKH ,QVXUHG 0RUWJDJH DV VHFXULW\ IRU HDFK
                  $GYDQFHRYHUDQ\OLHQRUHQFXPEUDQFHRQWKH7LWOH

          F     7KH LQYDOLGLW\ RU XQHQIRUFHDELOLW\ RU ODFN RI SULRULW\ RI WKH OLHQ RI WKH ,QVXUHG
                  0RUWJDJH DV VHFXULW\ IRU WKH ,QGHEWHGQHVV $GYDQFHV DQG XQSDLG LQWHUHVW
                  UHVXOWLQJ IURP L  UH$GYDQFHV DQG UHSD\PHQWV RI ,QGHEWHGQHVV LL  HDUOLHU
                  SHULRGVRIQRLQGHEWHGQHVVRZLQJGXULQJWKHWHUPRIWKH,QVXUHG0RUWJDJHRU LLL 
                  WKH ,QVXUHG 0RUWJDJH QRW FRPSO\LQJ ZLWK WKH UHTXLUHPHQWV RI VWDWH ODZ RI WKH
                  VWDWHLQZKLFKWKH/DQGLVORFDWHGWRVHFXUH$GYDQFHV

       7KH&RPSDQ\DOVRLQVXUHVDJDLQVW ORVVRUGDPDJHVXVWDLQHG E\ WKH ,QVXUHG E\UHDVRQ
          RI

          D     7KH LQYDOLGLW\ RU XQHQIRUFHDELOLW\ RI WKH OLHQ RI WKH ,QVXUHG 0RUWJDJH UHVXOWLQJ
                  IURPDQ\SURYLVLRQVRIWKH$JUHHPHQWWKDWSURYLGHIRU L LQWHUHVWRQLQWHUHVW LL 
                  FKDQJHV LQ WKH UDWH RI LQWHUHVW RU LLL  WKH DGGLWLRQ RI XQSDLG LQWHUHVW WR WKH
                  ,QGHEWHGQHVV

          E     /DFN RI SULRULW\ RI WKH OLHQ RI WKH ,QVXUHG 0RUWJDJH DV VHFXULW\ IRU WKH
                  ,QGHEWHGQHVV LQFOXGLQJ DQ\ XQSDLG LQWHUHVW WKDW ZDV DGGHG WR SULQFLSDO LQ
                  DFFRUGDQFHZLWKDQ\SURYLVLRQVRIWKH$JUHHPHQWLQWHUHVWRQLQWHUHVWRULQWHUHVW
                  DV FKDQJHG LQ DFFRUGDQFH ZLWK WKH SURYLVLRQV RI WKH ,QVXUHG 0RUWJDJH ZKLFK
                  ODFN RI SULRULW\ LV FDXVHG E\ L  FKDQJHV LQ WKH UDWH RI LQWHUHVW LL  LQWHUHVW RQ


)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 339 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                          6(&7,21



                     LQWHUHVW RU LLL  LQFUHDVHV LQ WKH ,QGHEWHGQHVV UHVXOWLQJ IURP WKH DGGLWLRQ RI
                     XQSDLGLQWHUHVW

       7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJH DQGWKH&RPSDQ\ZLOOQRWSD\
          FRVWVDWWRUQH\V IHHVRUH[SHQVHV UHVXOWLQJIURP

          D        7KH LQYDOLGLW\ XQHQIRUFHDELOLW\ RU ODFN RI SULRULW\ RI WKH OLHQ RI WKH ,QVXUHG
                     0RUWJDJHDVVHFXULW\IRUDQ\$GYDQFHPDGHDIWHUD3HWLWLRQIRU5HOLHIXQGHUWKH
                     %DQNUXSWF\&RGH 86& KDVEHHQILOHGE\RURQEHKDOIRIWKHPRUWJDJRU

          E        7KH OLHQ RI UHDO HVWDWH WD[HV RU DVVHVVPHQWV RQ WKH 7LWOH LPSRVHG E\
                     JRYHUQPHQWDODXWKRULW\DULVLQJDIWHU'DWHRI3ROLF\
          
          F        7KH ODFN RI SULRULW\ RI WKH OLHQ RI WKH ,QVXUHG 0RUWJDJH DV VHFXULW\ IRU DQ\
                     $GYDQFHWRDIHGHUDOWD[OLHQZKLFK$GYDQFHLVPDGHDIWHUWKHHDUOLHURI L DFWXDO
                     NQRZOHGJHRIWKH,QVXUHGWKDWDIHGHUDOWD[OLHQZDVILOHGDJDLQVWWKHPRUWJDJRU
                     RU LL WKHH[SLUDWLRQDIWHUQRWLFHRIDIHGHUDOWD[OLHQILOHGDJDLQVWWKHPRUWJDJRU
                     RI DQ\ JUDFH SHULRG IRU PDNLQJ GLVEXUVHPHQWV ZLWK SULRULW\ RYHU WKH IHGHUDO WD[
                     OLHQSURYLGHGLQWKH,QWHUQDO5HYHQXH&RGH 86& 
      
          G        $Q\IHGHUDORUVWDWHHQYLURQPHQWDOSURWHFWLRQOLHQ>RU@

          H        8VXU\RUDQ\FRQVXPHUFUHGLWSURWHFWLRQRUWUXWKLQOHQGLQJODZ>RU
          
          I        $Q\PHFKDQLF¶VRUPDWHULDOPHQ¶VOLHQ@

       7KH,QGHEWHGQHVVLQFOXGHV$GYDQFHV

           7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


>:LWQHVVFODXVHRSWLRQDO@


>%5$&.(7('0$7(5,$/237,21$/@


>)17*%5$1'@

%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB







$/7$(QGRUVHPHQW)RUP
  )XWXUH$GYDQFH3ULRULW\  5HY 
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ
                                                                                             




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 340 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                         6(&7,21



                                             (1'256(0(17

                                  $WWDFKHGWR3ROLF\1RBBBBBBBBBBB

                                                ,VVXHG%\
                                              >)17*%5$1'@


       7KHLQVXUDQFHIRU$GYDQFHVDGGHGE\6HFWLRQVDQGRIWKLVHQGRUVHPHQWLVVXEMHFWWR
          WKHH[FOXVLRQVLQ6HFWLRQRIWKLVHQGRUVHPHQWDQGWKH([FOXVLRQVIURP&RYHUDJHLQWKH
          3ROLF\ H[FHSW ([FOXVLRQ  G  WKH SURYLVLRQV RI WKH &RQGLWLRQV DQG WKH H[FHSWLRQV
          FRQWDLQHGLQ6FKHGXOH%

          D     $JUHHPHQW DV XVHG LQ WKLV HQGRUVHPHQW VKDOO PHDQ WKH QRWH RU ORDQ
                  DJUHHPHQW WKH UHSD\PHQW RI $GYDQFHV XQGHU ZKLFK LV VHFXUHG E\ WKH ,QVXUHG
                  0RUWJDJH

          E     $GYDQFHDVXVHGLQWKLVHQGRUVHPHQWVKDOOPHDQRQO\DQDGYDQFHRISULQFLSDO
                  PDGHDIWHUWKH'DWHRI3ROLF\DVSURYLGHGLQWKH$JUHHPHQWLQFOXGLQJH[SHQVHV
                  RIIRUHFORVXUHDPRXQWVDGYDQFHGSXUVXDQWWRWKH,QVXUHG0RUWJDJHWRSD\WD[HV
                  DQGLQVXUDQFHDVVXUHFRPSOLDQFHZLWKODZVRUWRSURWHFWWKHOLHQRIWKH,QVXUHG
                  0RUWJDJH EHIRUH WKH WLPH RI DFTXLVLWLRQ RI WKH 7LWOH DQG UHDVRQDEOH DPRXQWV
                  H[SHQGHG WR SUHYHQW GHWHULRUDWLRQ RI LPSURYHPHQWV WRJHWKHU ZLWK LQWHUHVW RQ
                  WKRVHDGYDQFHV
          
          F     ³&KDQJHV LQ WKH UDWH RI LQWHUHVW´ DV XVHG LQ WKLV HQGRUVHPHQW VKDOO PHDQ RQO\
                  WKRVHFKDQJHVLQWKHUDWHRILQWHUHVWFDOFXODWHGSXUVXDQWWRDIRUPXODSURYLGHGLQ
                  WKH,QVXUHG0RUWJDJHRUWKH$JUHHPHQWDW'DWHRI3ROLF\

       7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI

          D     7KHLQYDOLGLW\ RU XQHQIRUFHDELOLW\ RIWKHOLHQRIWKH,QVXUHG0RUWJDJHDVVHFXULW\
                  IRUHDFK$GYDQFH

          E     7KH ODFN RI SULRULW\ RI WKH OLHQ RI WKH ,QVXUHG 0RUWJDJH DV VHFXULW\ IRU HDFK
                  $GYDQFHRYHUDQ\OLHQRUHQFXPEUDQFHRQWKH7LWOH

          F     7KH LQYDOLGLW\ RU XQHQIRUFHDELOLW\ RU ODFN RI SULRULW\ RI WKH OLHQ RI WKH ,QVXUHG
                  0RUWJDJH DV VHFXULW\ IRU WKH ,QGHEWHGQHVV $GYDQFHV DQG XQSDLG LQWHUHVW
                  UHVXOWLQJ IURP L  UH$GYDQFHV DQG UHSD\PHQWV RI ,QGHEWHGQHVV LL  HDUOLHU
                  SHULRGVRIQR,QGHEWHGQHVVRZLQJGXULQJWKHWHUPRIWKH,QVXUHG0RUWJDJHRU LLL 
                  WKH ,QVXUHG 0RUWJDJH QRW FRPSO\LQJ ZLWK WKH UHTXLUHPHQWV RI VWDWH ODZ RI WKH
                  VWDWHLQZKLFKWKH/DQGLVORFDWHGWRVHFXUH$GYDQFHV

       7KH&RPSDQ\DOVRLQVXUHVDJDLQVW ORVVRUGDPDJHVXVWDLQHG E\ WKH ,QVXUHG E\UHDVRQ
          RI

          D     7KH LQYDOLGLW\ RU XQHQIRUFHDELOLW\ RI WKH OLHQ RI WKH ,QVXUHG 0RUWJDJH UHVXOWLQJ
                  IURPDQ\SURYLVLRQVRIWKH$JUHHPHQWWKDWSURYLGHIRU L LQWHUHVWRQLQWHUHVW LL 
                  FKDQJHV LQ WKH UDWH RI LQWHUHVW RU LLL  WKH DGGLWLRQ RI XQSDLG LQWHUHVW WR WKH
                  ,QGHEWHGQHVV

          E     /DFN RI SULRULW\ RI WKH OLHQ RI WKH ,QVXUHG 0RUWJDJH DV VHFXULW\ IRU WKH
                  ,QGHEWHGQHVV LQFOXGLQJ DQ\ XQSDLG LQWHUHVW WKDW ZDV DGGHG WR SULQFLSDO LQ
                  DFFRUGDQFHZLWKDQ\SURYLVLRQVRIWKH$JUHHPHQWLQWHUHVWRQLQWHUHVWRULQWHUHVW
                  DV FKDQJHG LQ DFFRUGDQFH ZLWK WKH SURYLVLRQV RI WKH ,QVXUHG 0RUWJDJH ZKLFK

)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 341 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                            6(&7,21



                   ODFN RI SULRULW\ LV FDXVHG E\ L  FKDQJHV LQ WKH UDWH RI LQWHUHVW LL  LQWHUHVW RQ
                   LQWHUHVW RU LLL  LQFUHDVHV LQ WKH ,QGHEWHGQHVV UHVXOWLQJ IURP WKH DGGLWLRQ RI
                   XQSDLGLQWHUHVW

      7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJH DQGWKH&RPSDQ\ZLOOQRWSD\
         FRVWVDWWRUQH\V¶IHHVRUH[SHQVHV UHVXOWLQJIURP

         D       7KH LQYDOLGLW\ XQHQIRUFHDELOLW\ RU ODFN RI SULRULW\ RI WKH OLHQ RI WKH ,QVXUHG
                   0RUWJDJHDVVHFXULW\IRUDQ\$GYDQFHPDGHDIWHUD3HWLWLRQIRU5HOLHIXQGHUWKH
                   %DQNUXSWF\&RGH 86& KDVEHHQILOHGE\RURQEHKDOIRIWKHPRUWJDJRU

         E       7KH OLHQ RI UHDO HVWDWH WD[HV RU DVVHVVPHQWV RQ WKH 7LWOH LPSRVHG E\
                   JRYHUQPHQWDODXWKRULW\DULVLQJDIWHU'DWHRI3ROLF\

         F       7KH ODFN RI SULRULW\ RI WKH OLHQ RI WKH ,QVXUHG 0RUWJDJH DV VHFXULW\ IRU DQ\
                   $GYDQFHWRDIHGHUDOWD[OLHQZKLFK$GYDQFHLVPDGHDIWHUWKHHDUOLHURI L DFWXDO
                   NQRZOHGJHRIWKH,QVXUHGWKDWDIHGHUDOWD[OLHQZDVILOHGDJDLQVWWKHPRUWJDJRU
                   RU LL WKHH[SLUDWLRQDIWHUQRWLFHRIDIHGHUDOWD[OLHQILOHGDJDLQVWWKHPRUWJDJRU
                   RI DQ\ JUDFH SHULRG IRU PDNLQJ GLVEXUVHPHQWV ZLWK SULRULW\ RYHU WKH IHGHUDO WD[
                   OLHQSURYLGHGLQWKH,QWHUQDO5HYHQXH&RGH 86& 
         
         G       $Q\IHGHUDORUVWDWHHQYLURQPHQWDOSURWHFWLRQOLHQ

         H       7KHODFNRISULRULW\RIDQ\$GYDQFHPDGHDIWHUWKH,QVXUHGKDV.QRZOHGJHRIWKH
                   H[LVWHQFHRIOLHQVHQFXPEUDQFHVRURWKHUPDWWHUVDIIHFWLQJWKH/DQGLQWHUYHQLQJ
                   EHWZHHQ 'DWH RI 3ROLF\ DQG WKH $GYDQFH DV WR WKH LQWHUYHQLQJ OLHQ
                   HQFXPEUDQFHRURWKHUPDWWHU>RU@
         
         I       8VXU\RUDQ\FRQVXPHUFUHGLWSURWHFWLRQRUWUXWKLQOHQGLQJODZ>RU
         
         J       $Q\PHFKDQLF¶VRUPDWHULDOPHQ¶VOLHQ@

        7KH,QGHEWHGQHVVLQFOXGHV$GYDQFHV
          
7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

>:LWQHVVFODXVHRSWLRQDO@

>%5$&.(7('0$7(5,$/237,21$/@

>)17*%5$1'@

%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB



$/7$(QGRUVHPHQW)RUP
  )XWXUH$GYDQFH.QRZOHGJH  5HY 
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ
                                      




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 342 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                                         6(&7,21


                                                      (1'256(0(17
                                             $WWDFKHGWR3ROLF\1RBBBBBBBBBBB

                                                       ,VVXHG%\
                                                    >)17*%5$1'@
                                                            
       7KHLQVXUDQFHIRU$GYDQFHVDGGHGE\6HFWLRQRIWKLVHQGRUVHPHQWLVVXEMHFWWRWKHH[FOXVLRQVLQ6HFWLRQRI
          WKLVHQGRUVHPHQWDQGWKH([FOXVLRQVIURP&RYHUDJHLQWKH3ROLF\H[FHSW([FOXVLRQ G WKHSURYLVLRQVRIWKH
          &RQGLWLRQVDQGWKHH[FHSWLRQVFRQWDLQHGLQ6FKHGXOH%

          D        $JUHHPHQW DV XVHG LQ WKLV HQGRUVHPHQW VKDOO PHDQ WKH OHWWHU RI FUHGLW DQG LWV UHLPEXUVHPHQW
                     DJUHHPHQWWKHUHSD\PHQWRI$GYDQFHVXQGHUZKLFKLVVHFXUHGE\WKH,QVXUHG0RUWJDJH

          E        $GYDQFHDVXVHGLQWKLVHQGRUVHPHQWVKDOOPHDQRQO\DQDGYDQFHPDGHDIWHUWKH'DWHRI3ROLF\
                     DVSURYLGHGLQWKH$JUHHPHQWLQFOXGLQJH[SHQVHVRIIRUHFORVXUHDPRXQWVDGYDQFHGSXUVXDQWWRWKH
                     ,QVXUHG0RUWJDJHWRSD\WD[HVDQGLQVXUDQFHDVVXUHFRPSOLDQFHZLWKODZVRUWRSURWHFWWKHOLHQRI
                     WKH,QVXUHG0RUWJDJHEHIRUHWKHWLPHRIDFTXLVLWLRQRIWKH7LWOHDQGUHDVRQDEOHDPRXQWVH[SHQGHGWR
                     SUHYHQWGHWHULRUDWLRQRILPSURYHPHQWVWRJHWKHUZLWKLQWHUHVWRQWKRVHDGYDQFHV

       7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI

          D        7KHLQYDOLGLW\RUXQHQIRUFHDELOLW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJHDVVHFXULW\IRUHDFK$GYDQFH

          E        7KHODFNRISULRULW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJHDVVHFXULW\IRUHDFK$GYDQFHRYHUDQ\OLHQRU
                     HQFXPEUDQFHRQWKH7LWOH

          F        7KHLQYDOLGLW\RUXQHQIRUFHDELOLW\RUORVVRISULRULW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJHDVVHFXULW\IRU
                     WKH ,QGHEWHGQHVV $GYDQFHV DQG XQSDLG LQWHUHVW UHVXOWLQJ IURP L  UH$GYDQFHV DQG UHSD\PHQWV RI
                     ,QGHEWHGQHVV LL HDUOLHUSHULRGVRIQRLQGHEWHGQHVVRZLQJGXULQJWKHWHUPRIWKH,QVXUHG0RUWJDJH
                     RU LLL WKH,QVXUHG0RUWJDJHQRWFRPSO\LQJZLWKWKHUHTXLUHPHQWVRIVWDWHODZRIWKHVWDWHLQZKLFKWKH
                     /DQGLVORFDWHGWRVHFXUH$GYDQFHV

       7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJH DQGWKH&RPSDQ\ZLOOQRWSD\FRVWVDWWRUQH\V IHHV
          RUH[SHQVHV UHVXOWLQJIURP

          D        7KHOLHQRIUHDOHVWDWHWD[HVRUDVVHVVPHQWVRQWKH7LWOHLPSRVHGE\JRYHUQPHQWDODXWKRULW\DULVLQJ
                     DIWHU'DWHRI3ROLF\RU

          E        $Q\IHGHUDORUVWDWHHQYLURQPHQWDOSURWHFWLRQOLHQRU
          
          F        /LPLWDWLRQV LI DQ\ LPSRVHG XQGHU WKH %DQNUXSWF\ &RGH  86&  RQ WKH DPRXQW WKDW PD\ EH
                     UHFRYHUHGIURPWKHPRUWJDJRU¶VHVWDWH>RU
          
          G        $Q\PHFKDQLF¶VRUPDWHULDOPHQ¶VOLHQ@

       7KH,QGHEWHGQHVVLQFOXGHV$GYDQFHV

          7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW L PRGLI\DQ\RIWKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH
$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQRIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVV
SURYLVLRQRIWKLVHQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKHWHUPVDQG
SURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

>:LWQHVVFODXVHRSWLRQDO@

>%5$&.(7('0$7(5,$/237,21$/@

>)17*%5$1'@
%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB



$/7$(QGRUVHPHQW)RUP
  )XWXUH$GYDQFH±/HWWHURI&UHGLW  5HY 
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 343 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                            6(&7,21



                                              (1'256(0(17

                                  $WWDFKHGWR3ROLF\1RBBBBBBBBBBB

                                               ,VVXHG%\
                                            >)17*%5$1'@
       7KHLQVXUDQFHIRU$GYDQFHVDGGHGE\6HFWLRQVDQGRIWKLVHQGRUVHPHQWLVVXEMHFWWR
          WKHH[FOXVLRQVLQ6HFWLRQRIWKLVHQGRUVHPHQWDQGWKH([FOXVLRQVLQWKH3ROLF\H[FHSW
          ([FOXVLRQ G  WKH SURYLVLRQV RI WKH &RQGLWLRQV DQG WKH H[FHSWLRQV FRQWDLQHG LQ
          6FKHGXOH%

          D     $JUHHPHQW DV XVHG LQ WKLV HQGRUVHPHQW VKDOO PHDQ WKH QRWH RU ORDQ
                  DJUHHPHQW UHSD\PHQW RI $GYDQFHV XQGHU ZKLFK LV VHFXUHG E\ WKH ,QVXUHG
                  0RUWJDJH

          E     $GYDQFHDVXVHGLQWKLVHQGRUVHPHQWVKDOOPHDQRQO\DQDGYDQFHRISULQFLSDO
                  PDGHDIWHUWKH'DWHRI3ROLF\DVSURYLGHGLQWKH$JUHHPHQWLQFOXGLQJH[SHQVHV
                  RIIRUHFORVXUHDPRXQWVDGYDQFHGSXUVXDQWWRWKH,QVXUHG0RUWJDJHWRSD\WD[HV
                  DQGLQVXUDQFHDVVXUHFRPSOLDQFHZLWKODZVRUWRSURWHFWWKHOLHQRIWKH,QVXUHG
                  0RUWJDJH EHIRUH WKH WLPH RI DFTXLVLWLRQ RI WKH 7LWOH DQG UHDVRQDEOH DPRXQWV
                  H[SHQGHG WR SUHYHQW GHWHULRUDWLRQ RI LPSURYHPHQWV WRJHWKHU ZLWK LQWHUHVW RQ
                  WKRVHDGYDQFHV
          
          F     ³&KDQJHV LQ WKH UDWH RI LQWHUHVW´ DV XVHG LQ WKLV HQGRUVHPHQW VKDOO PHDQ RQO\
                  WKRVHFKDQJHVLQWKHUDWHRILQWHUHVWFDOFXODWHGSXUVXDQWWRDIRUPXODSURYLGHGLQ
                  WKH,QVXUHG0RUWJDJHRUWKH$JUHHPHQWDW'DWHRI3ROLF\

       7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI

          D     7KHLQYDOLGLW\ RUXQHQIRUFHDELOLW\ RIWKHOLHQRIWKH,QVXUHG0RUWJDJHDVVHFXULW\
                  IRUHDFK$GYDQFH

          E     7KH ODFN RI SULRULW\ RI WKH OLHQ RI WKH ,QVXUHG 0RUWJDJH DV VHFXULW\ IRU HDFK
                  $GYDQFHRYHUDQ\OLHQRUHQFXPEUDQFHRQWKH7LWOH

          F     7KH LQYDOLGLW\ RU XQHQIRUFHDELOLW\ RU ODFN RI SULRULW\ RI WKH OLHQ RI WKH ,QVXUHG
                  0RUWJDJH DV VHFXULW\ IRU WKH ,QGHEWHGQHVV $GYDQFHV DQG XQSDLG LQWHUHVW
                  UHVXOWLQJ IURP L UH$GYDQFHV DQG UHSD\PHQWV RI ,QGHEWHGQHVV LL HDUOLHU
                  SHULRGV RI QR LQGHEWHGQHVV RZLQJ GXULQJ WKH WHUP RI WKH ,QVXUHG 0RUWJDJH
                   LLL WKH,QVXUHG0RUWJDJHQRWFRPSO\LQJZLWKWKHUHTXLUHPHQWVRIVWDWHODZRIWKH
                  VWDWHLQZKLFKWKH/DQGLVORFDWHGWRVHFXUH$GYDQFHV LY IDLOXUHRIWKH,QVXUHG
                  0RUWJDJHWRVWDWHWKHWHUPIRU$GYDQFHVRU Y IDLOXUHRIWKH,QVXUHG0RUWJDJHWR
                  VWDWHWKHPD[LPXPDPRXQWVHFXUHGE\WKH,QVXUHG0RUWJDJH

          G     7KHLQYDOLGLW\RUXQHQIRUFHDELOLW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJHEHFDXVHRI
                  WKHIDLOXUHRIWKHPRUWJDJRUVWREHDWOHDVW\HDUVRIDJHDW'DWHRI3ROLF\

       7KH&RPSDQ\DOVRLQVXUHV DJDLQVW ORVVRUGDPDJHVXVWDLQHG E\ WKH ,QVXUHG E\UHDVRQ
          RI

          D     7KH LQYDOLGLW\ RU XQHQIRUFHDELOLW\ RI WKH OLHQ RI WKH ,QVXUHG 0RUWJDJH UHVXOWLQJ
                  IURP DQ\ SURYLVLRQV RI WKH $JUHHPHQW WKDW SURYLGH IRU L LQWHUHVW RQ LQWHUHVW
                   LL FKDQJHV LQ WKH UDWH RI LQWHUHVW RU LLL WKH DGGLWLRQ RI XQSDLG LQWHUHVW WR WKH
                  SULQFLSDOSRUWLRQRIWKH,QGHEWHGQHVV



)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 344 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                            6(&7,21



         E      /DFN RI SULRULW\ RI WKH OLHQ RI WKH ,QVXUHG 0RUWJDJH DV VHFXULW\ IRU WKH
                  ,QGHEWHGQHVV LQFOXGLQJ DQ\ XQSDLG LQWHUHVW WKDW ZDV DGGHG WR SULQFLSDO LQ
                  DFFRUGDQFHZLWKDQ\SURYLVLRQVRIWKH$JUHHPHQWLQWHUHVWRQLQWHUHVWRULQWHUHVW
                  DV FKDQJHG LQ DFFRUGDQFH ZLWK WKH SURYLVLRQV RI WKH ,QVXUHG 0RUWJDJH ZKLFK
                  ODFN RI SULRULW\ LV FDXVHG E\ L FKDQJHV LQ WKH UDWH RI LQWHUHVW LL LQWHUHVW RQ
                  LQWHUHVW RU LLL LQFUHDVHV LQ WKH ,QGHEWHGQHVV UHVXOWLQJ IURP WKH DGGLWLRQ RI
                  XQSDLGLQWHUHVW

         ,QWHUHVWDVXVHGLQWKLV3DUDJUDSKVKDOOLQFOXGHODZIXOLQWHUHVWEDVHGRQDSSUHFLDWHG
         YDOXH

      7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJH DQGWKH&RPSDQ\ZLOOQRWSD\
         FRVWVDWWRUQH\V IHHVRUH[SHQVHV UHVXOWLQJIURP

         D      7KH LQYDOLGLW\ XQHQIRUFHDELOLW\ RU ODFN RI SULRULW\ RI WKH OLHQ RI WKH ,QVXUHG
                  0RUWJDJHDVVHFXULW\IRUDQ\$GYDQFHPDGHDIWHUD3HWLWLRQIRU5HOLHIXQGHUWKH
                  %DQNUXSWF\&RGH 86& KDVEHHQILOHGE\RURQEHKDOIRIWKHPRUWJDJRU

         E      7KH OLHQ RI UHDO HVWDWH WD[HV RU DVVHVVPHQWV RQ WKH 7LWOH LPSRVHG E\
                  JRYHUQPHQWDODXWKRULW\DULVLQJDIWHU'DWHRI3ROLF\

         F      7KH ODFN RI SULRULW\ RI WKH OLHQ RI WKH ,QVXUHG 0RUWJDJH DV VHFXULW\ IRU DQ\
                  $GYDQFHWRDIHGHUDOWD[OLHQZKLFK$GYDQFHLVPDGHDIWHUWKHHDUOLHURI L DFWXDO
                  NQRZOHGJHRIWKH,QVXUHGWKDWDIHGHUDOWD[OLHQZDVILOHGDJDLQVWWKHPRUWJDJRU
                  RU LL WKHH[SLUDWLRQDIWHUQRWLFHRIDIHGHUDOWD[OLHQILOHGDJDLQVWWKHPRUWJDJRU
                  RI DQ\ JUDFH SHULRG IRU PDNLQJ GLVEXUVHPHQWV ZLWK SULRULW\ RYHU WKH IHGHUDO WD[
                  OLHQSURYLGHGLQWKH,QWHUQDO5HYHQXH&RGH 86& 
         
         G      $Q\IHGHUDORUVWDWHHQYLURQPHQWDOSURWHFWLRQOLHQ>RU@

         H      8VXU\RUDQ\FRQVXPHUFUHGLWSURWHFWLRQRUWUXWKLQOHQGLQJODZ>RU
         
         I       $Q\PHFKDQLF¶VRUPDWHULDOPHQ¶VOLHQ@


        7KH,QGHEWHGQHVVLQFOXGHV$GYDQFHV

7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

>:LWQHVVFODXVHRSWLRQDO@

>%5$&.(7('0$7(5,$/237,21$/@


>)17*%5$1'@

%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

$/7$(QGRUVHPHQW)RUP
)XWXUH$GYDQFH±5HYHUVH0RUWJDJH  5HY 
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ                                                >LQFOXGHVWHFKQLFDOFRUUHFWLRQVRI@



)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 345 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                       6(&7,21



                                                      
5HWXUQWR7DEOHRI&RQWHQWV
                                           121,0387$7,21
                $/7$(1'256(0(17±)2506 )8//(48,7<75$16)(5 
                   $'',7,21$/,1685(' DQG 3$57,$/(48,7< 
                                                      
                                                385326(
                                                      
7KHVH $/7$ IRUPV JLYH FRYHUDJH RYHU PDWWHUVNQRZQ WR VSHFLILHG SDUWLHV WKDW ZRXOG RWKHUZLVH
EHH[FOXGHGIURPFRYHUDJHRQWKHEDVLVRILPSXWHGNQRZOHGJHEXWDOVRRYHUWKHFRQVHTXHQFHV
RIWKHDFWLRQVRULQDFWLRQVRIWKRVHSDUWLHVZKLFKDIIHFWWKH7LWOH)RUPLVWREHXVHGZKHQ
WKHHQWLUHEHQHILFLDOLQWHUHVWRIWKHHQWLW\KROGLQJ7LWOHDQGQDPHGDVWKHLQVXUHGRQ6FKHGXOH$
    HJSDUWQHUVKLSLQWHUHVWFRUSRUDWHVWRFNPHPEHUVKLSLQWHUHVWRIOLPLWHGOLDELOLW\FRPSDQ\ KDV
EHHQ WUDQVIHUUHG IRU YDOXH )RUP  LV WR EH XVHG ZKHQ RQO\ D SRUWLRQ RI WKH EHQHILFLDO
LQWHUHVWRIWKHHQWLW\KROGLQJ7LWOHDQGQDPHGRQ6FKHGXOH$DVWKHLQVXUHGKDVEHHQWUDQVIHUUHG
DQGWKHLQFRPLQJEHQHILFLDORZQHULVLGHQWLILHGRQWKHIRUPDVDQDGGLWLRQDOLQVXUHG)RUP
LVWREHXVHGZKHQWKHLQFRPLQJEHQHILFLDORZQHUUHTXHVWVWREHWKHLQVXUHGLQLWVRZQSROLF\
DQGLWVLQWHUHVWKDVEHHQWUDQVIHUUHGIRUYDOXH

                       6(&7,2162)32/,&<$0(1'('%<(1'256(0(17
                                                      
([FOXVLRQV IURP &RYHUDJH  D  DQG E  LQ WKH $/7$ 2ZQHU¶V 3ROLF\ DQG $/7$ /RDQ 3ROLF\
H[FOXGHIURPFRYHUDJHPDWWHUVFUHDWHGVXIIHUHGDVVXPHGRUDJUHHGWRE\WKHLQVXUHGRUNQRZQ
WR WKH LQVXUHG EXW QRW WR WKH &RPSDQ\ DQG QRW GLVFORVHG E\ WKH SXEOLF UHFRUGV :LWK WKHVH
HQGRUVHPHQWVWKH&RPSDQ\DJUHHVQRWWRDVVHUWWKHVH([FOXVLRQVDVGHIHQVHVWRFRYHUDJHIRU
PDWWHUVWKDWZRXOGEHOHJDOO\ ELQGLQJRQDEXVLQHVVHQWLW\ XQGHUWKHODZRILPSXWHGNQRZOHGJH
7KH$/7$IRUPVIXUWKHUFODULI\WKDWWKH&RPSDQ\ZLOOQRWUDLVHDVDGHIHQVHWKHIDLOXUHWRXWLOL]H
WKHSURWHFWLRQRIUHFRUGLQJDFWVZKLFKLVWKHSXUSRVHRI([FOXVLRQ H 7KHVHHQGRUVHPHQWVDUH
XVXDOO\UHTXHVWHGLQVLWXDWLRQVZKHUHQRGHHGZLOOEHUHFRUGHGWKHUHE\SUHFOXGLQJWKLVSURWHFWLRQ
                                                      
                                %$6,6)253529,',1*&29(5$*(

7KHVH HQGRUVHPHQWV DUH RQO\ WR EH JLYHQ ZKHQ ZH KDYH UHFHLYHG DGHTXDWH DVVXUDQFHV LQ
DIILGDYLWIRUPWKDWWKHUHDUHQRPDWWHUVNQRZQE\WKHSDUW\RUSDUWLHVIURPZKRPNQRZOHGJHLVWR
EH LPSXWHG WR WKH LQVXUHG HQWLW\ DQG ZH DUH SURYLGHG D VDWLVIDFWRU\ LQGHPQLW\ IURP DQ
DSSURSULDWHLQGHPQLWRU6SHFLPHQDIILGDYLWVDUHLQFOXGHGDWWKHHQGRIWKLV6HFWLRQDV([KLELWV$
DQG % DQG DUH WR XVHG RQO\ DIWHU WKH DSSURSULDWH FUHGLW XQGHUZULWLQJ KDV EHHQ FRPSOHWHG  7KH
DIILGDYLW PXVW SURYLGH WKDW WKH DIILDQW KDV GRQH SURSHU GXH GLOLJHQFH WR VXSSRUW WKH VWDWHPHQWV

)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 346 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                      6(&7,21



PDGHWKHUHLQ:KHQLVVXDQFHRIRQHRIWKHVHHQGRUVHPHQWVLVDXWKRUL]HGWKHHQGRUVHPHQWPXVW
EHFRPSOHWHGVRDVWRSURYLGHWKHFRYHUDJHWRWKH³LQQRFHQWSDUW\´RQO\

8QGHUZULWLQJFRQVLGHUDWLRQV

2ZQHU¶VSROLF\
7KHNQRZOHGJHRIRQHSDUW\KDYLQJDQLQWHUHVWLQDQLQVXUHGHQWLW\PD\EHLPSXWHGE\ODZWRWKH
HQWLW\DQGWRRWKHUSDUWLHVKDYLQJDQLQWHUHVWLQWKHQDPHGHQWLW\7KLVPHDQVWKDWLIRQHSDUWQHU
NQRZVDERXWVRPHRIIUHFRUGPDWWHU VXFKDVWKHLQWHUHVWRIDSXUFKDVHUXQGHUDFRQWUDFW  WKH
SDUWQHUVKLSDQGWKHRWKHUSDUWQHUVDUHKHOGWR³NQRZ´LW6LQFHWKHSDUWQHUVKLSLQWKLVH[DPSOHLV
WKH,QVXUHGXQGHUWKH3ROLF\WKLVPD\UHVXOWLQWKHGHQLDORIFRYHUDJHDVDPDWWHUNQRZQWRWKH
,QVXUHGDQGQRWNQRZQWRWKH&RPSDQ\DQGQRWGLVFORVHGE\WKHSXEOLFUHFRUGV


8QOLNHWKH$/7$WKHFRYHUDJHLQWKH$/7$DQGLVQRWGHVLJQHGWRSURWHFW
WKH,QVXUHGHQWLW\LWVHOIEXWLQVWHDGWRSURWHFWRQHRUPRUHRIWKHVRFDOOHG³LQQRFHQWSDUWLHV´WKDW
KDYHDQLQWHUHVWLQWKHQDPHGHQWLW\

/RDQSROLF\
%HFDXVHNQRZOHGJHPD\EHLPSXWHGWRDOHQGHUWKURXJKLWVDJHQWVSDUWQHUVRURWKHUSDUWLFLSDWLQJ
OHQGHUV UHTXHVWV IRU WKLV FRYHUDJH PD\ EH PDGH E\ WKH LQVXUHG OHQGHU  7KLV LV TXLWH FRPPRQ
ZKHUH WKH OHQGHU LQ DGGLWLRQ WR ORDQLQJ PRQH\ SDUWLFLSDWHV GLUHFWO\ RU LQGLUHFWO\ LQ WKH
GHYHORSPHQWHQWLW\

([DPSOHV

([DPSOH7LWOHLVSUHVHQWO\YHVWHGLQ$%KDVDJUHHGWRSDUWLFLSDWHLQDSURMHFWZLWK$WRGHYHORS
WKHODQGIRUDQRIILFHEXLOGLQJ$ZLOOFRQYH\WKHODQGWRDQHZSDUWQHUVKLSEHLQJIRUPHGEHWZHHQ
KLPVHOI DQG %  % LV FRQFHUQHG WKDW $ PD\ KDYH NQRZOHGJH RU KDYH GRQH VRPH DFW WKDW % LV
XQDZDUHRIWKDWZRXOGEHLPSXWHGWRWKHQHZSDUWQHUVKLS

([DPSOH  ,Q WKH H[DPSOH DERYH DIWHU $ DQG % IRUP WKHLU SDUWQHUVKLS WKH\ SURFHHG WR DUUDQJH
ILQDQFLQJIRUWKHSURMHFW$DQG%GLVFRYHUWKDWWKHEHVWGHDOWKH\FDQVWUXFWXUHLQYROYHVOHQGHU&
ZKRZLOOIRUHJRPDUNHWLQWHUHVWUDWHVLQH[FKDQJHIRUDQHTXLW\SDUWLFLSDWLRQLQWHUHVWIRULWVZKROO\
RZQHG VXEVLGLDU\ '  7LWOH LV FRQYH\HG WR D QHZ SDUWQHUVKLS FRPSRVHG RI WKH $ % SDUWQHUVKLS
DQG'DQGWKHQHZSDUWQHUVKLS$% 'JHWVDORDQIURP&'LVFRQFHUQHGWKDWNQRZOHGJHE\$




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 347 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                        6(&7,21



DQG%ZLOOEHLPSXWHGWRWKH$ %SDUWQHUVKLSZKLFKZRXOGWKHQEHLPSXWHGWRWKHQHZSDUWQHUVKLS
$% '

,QWKHILUVWH[DPSOHFRYHUDJHFRXOGEHSURYLGHGWR%ZLWKUHJDUGWRWKHNQRZOHGJHRI$ SULRUWR
WKHFRQYH\DQFHWRWKH$ %SDUWQHUVKLS7KLVFRYHUDJHZRXOGEHSURYLGHGE\DQRZQHU¶VSROLF\
LQVXULQJ$ %SDUWQHUVKLSDQGDQ$/7$QDPLQJ%DVWKHDGGLWLRQDOLQVXUHG

,QWKHVHFRQGH[DPSOHFRYHUDJHFRXOGEHSURYLGHGWR'ZLWKUHJDUGWRWKHNQRZOHGJHRI$DQG%
SULRUWRWKHFRQYH\DQFHWR$% 'SDUWQHUVKLS$JDLQWKLVFRYHUDJHZRXOGEHLQDQRZQHU¶VSROLF\
LQVXULQJ WKH SDUWQHUVKLS DQG DQ $/7$ )RUP  QDPLQJ WKH QHZ SDUWQHU DV WKH DGGLWLRQDO
LQVXUHGRUDQ$/7$DWWDFKHGWRDSROLF\ZKHUHLQ'LVWKHQDPHG,QVXUHGIRUWKHSDUWLDO
RZQHUVKLSLQWHUHVWLWKDVDFTXLUHGLQWKHSDUWQHUVKLS

)RUPVRI&RYHUDJH

)RU$/7$)RUPWKHSDUWLHVWKDWQHHGWREHTXHULHGZRXOGEHVRPHRUDOORIWKHRXWJRLQJ
EHQHILFLDO RZQHUV )RU D SDUWQHUVKLS LW ZRXOG EH DOO RI WKH RXWJRLQJ SDUWQHUV )RU DQ\ RWKHU
EXVLQHVV HQWLW\ \RXU XQGHUZULWLQJ DGYLVRU VKRXOG EH FRQVXOWHG DV WR WKH LGHQWLW\ RI WKH SDUWLHV
IURPZKRPZHUHTXLUHDVVXUDQFHV

)RU $/7$ )RUP  WKH SDUWLHV WR EH TXHVWLRQHG ZRXOG EH VRPH RU DOO RI WKH RXWJRLQJ
EHQHILFLDO RZQHUV )RU D SDUWQHUVKLS LW ZRXOG EH DOO RI WKH RXWJRLQJ DQG UHPDLQLQJ JHQHUDO
SDUWQHUV)RUDQ\RWKHUEXVLQHVVHQWLW\ \RXUXQGHUZULWLQJDGYLVRUVKRXOGEHFRQVXOWHGDVWRWKH
LGHQWLW\RIWKHSDUWLHVIURPZKRPZHUHTXLUHDVVXUDQFHV                       

)RU$/7$)RUPWKHSDUWLHVWREHTXHULHGZRXOGEHVRPHRUDOORIWKHRXWJRLQJEHQHILFLDO
RZQHUV)RUDSDUWQHUVKLSLWZRXOGEHDOORIWKHRXWJRLQJDQGUHPDLQLQJJHQHUDOSDUWQHUV)RUDQ\
RWKHU EXVLQHVV HQWLW\ \RXU XQGHUZULWLQJ DGYLVRU VKRXOG EH FRQVXOWHG DV WR WKH LGHQWLW\ RI WKH
SDUWLHVIURPZKRPZHUHTXLUHDVVXUDQFHV
         
         127( )RU )RUP  EXW QRW IRU )RUP  RU   LW PD\ EH QHFHVVDU\ WR
         FRRUGLQDWH WKH EHQHILWV RI WKH 2ZQHUV 3ROLF\ WR ZKLFK LW LV DWWDFKHG DQG DQ\ RWKHU
         2ZQHU¶V3ROLF\ZKLFKWKH&RPSDQ\PD\KDYHSUHYLRXVO\LVVXHGQDPLQJWKHHQWLW\YHVWHG
         ZLWK7LWOHDVWKH,QVXUHGRQ6FKHGXOH$7KLVFRRUGLQDWLRQPD\EHDFFRPSOLVKHGZLWKDQ
         H[FHSWLRQ RQ 6FKHGXOH % RI ERWK SROLFLHV WKDW SURYLGHV WKDW WKH &RPSDQ\¶V OLDELOLW\
         WKHUHXQGHU LVQRQFXPXODWLYH6XFKDQ H[FHSWLRQPLJKWUHDGDVIROORZV³,WLVXQGHUVWRRG
         WKDW WKH $PRXQW RI ,QVXUDQFH XQGHU WKLV SROLF\ VKDOO EH UHGXFHG E\ DQ\ DPRXQW WKH


)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 348 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                               6(&7,21



        &RPSDQ\PD\SD\XQGHU>LGHQWLI\RWKHU2ZQHU¶V3ROLF\@DQGWKHDPRXQWVRSDLGVKDOOEH
        GHHPHGDSD\PHQWXQGHUWKLVSROLF\WRWKH,QVXUHG´7KHTXHVWLRQRIWKHQHHGIRURUWKH
        IRUPRIFRRUGLQDWLRQRIWKHSROLFLHVPXVWEHUHIHUUHGWR\RXUXQGHUZULWLQJDGYLVRU

                      $87+25,7<)25,668$1&(2)7+,6&29(5$*(

7KLVHQGRUVHPHQWPD\QRWEHLVVXHGZLWKRXWWKHDSSURYDORIWKH&RPSDQ\¶VXQGHUZULWLQJDGYLVRU

                                         02',),&$7,21
,QWKHHYHQWWKDWPRGLILFDWLRQRIDQHQGRUVHPHQWLVUHTXHVWHGLWLVQHFHVVDU\WRFRQVLGHU\RXU
VWDWHUHJXODWRU\UHTXLUHPHQWVIRUILOLQJDQGDSSURYDORIIRUPV,IWKHHQGRUVHPHQWLVPRGLILHGWKH
HQGRUVHPHQWLVQRWDQ$/7$IRUPDQGVKRXOGQRWUHIHUHQFH$/7$LQWKHWLWOH<RXPXVWREWDLQ
WKHDSSURYDORIWKH&RPSDQ\¶VXQGHUZULWLQJDGYLVHUEHIRUHFRPSO\LQJZLWKDQ\UHTXHVWIRUD
PRGLILFDWLRQ

5HWXUQWR7DEOHRI&RQWHQWV
                                




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 349 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                    6(&7,21



                                              ([KLELW$

                    >$IILDQWWREHSHUVRQDOO\OLDEOHRQLQGHPQLW\HJDJHQHUDOSDUWQHU@
                                                         

6WDWHRIBBBBBBBBBBBBBBBBBBBBBBB 
                                        VV
&RXQW\RIBBBBBBBBBBBBBBBBBBBBBBB 
         
         
         
                                   $IILGDYLWDQG,QGHPQLW\

7KHXQGHUVLJQHGEHLQJILUVWGXO\VZRUQRQRDWKGHSRVHVDQGVD\VWKHIROORZLQJ

     7KHXQGHUVLJQHGLVBBBBBBBBBBBBBBBBBBBB>WLWOHRUFDSDFLW\@RIBBBBBBBBBBBBBB>QDPH
        RIHQWLW\@BBBBBBBBBBBBBBBBBBBBBBBB

     7RWKHEHVWNQRZOHGJHRIWKHXQGHUVLJQHG

D     7KHUHDUHSUHVHQWO\QRGHIHFWVLQRUOLHQVHQFXPEUDQFHVRURWKHUFODLPVDJDLQVWWKH7LWOH
        WRWKHSURSHUW\GHVFULEHGLQWKH&RPPLWPHQWIRU7LWOH,QVXUDQFH1RBBBBBBBKDYLQJDQ
        (IIHFWLYH 'DWH RI BBBBBBBBBBBBBB LVVXHG E\ >LQVHUW QDPH RI WKH LQVXULQJ FRPSDQ\ @
         KHUHLQDIWHU UHIHUUHG WR DV ³WKH &RPSDQ\´  RWKHU WKDQ DV GLVFORVHG LQ H[FHSWLRQV 1RV
        BBBBBBRQ6FKHGXOH%6HFWLRQRIVDLGFRPPLWPHQWRWKHUWKDQWKHIROORZLQJ ,IQRQH
        VWDWH³1RQH´ DQG

E     7KHUH DUH SUHVHQWO\ QR LQFKRDWH ULJKWV ZKLFK PD\ ULSHQ LQWR DQ\ GHIHFW OLHQ
        HQFXPEUDQFHRUFODLPDJDLQVWWKH7LWOHWRVDLGSURSHUW\H[FHSWDVPD\EHFUHDWHGE\DQ\
        LQVWUXPHQWRUDFWLRQUHTXLUHGLQ 6FKHGXOH% 6HFWLRQRIVDLGFRPPLWPHQWRWKHUWKDQ
        WKHIROORZLQJ ,IQRQHVWDWH³1RQH´ 

     7KH XQGHUVLJQHG PDNHV WKHVH VWDWHPHQWV DIWHU KDYLQJ TXHVWLRQHG DOO RI WKH RWKHU
        SDUWQHUV DQG WKH HPSOR\HHV DQG DJHQWV LI DQ\ RI >QDPH RI HQWLW\@ ZKR KDYH KDG DQ\
        VXEVWDQWLDOFRQWDFWZLWKDQ\WUDQVDFWLRQRUQHJRWLDWLRQLQYROYLQJWKHSURSHUW\GHVFULEHGLQ
        VDLGFRPPLWPHQW





)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 350 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                      6(&7,21



     7KHXQGHUVLJQHGKHUHE\LQGHPQLILHVWKH&RPSDQ\DQGDJUHHVWRKROGLWKDUPOHVVDJDLQVW
        DQ\ORVVZKLFKWKH&RPSDQ\PD\VXIIHUE\YLUWXHRIDQ\YDOLGFODLPPDGHXQGHUWKHVDLG
        HQGRUVHPHQWEDVHGRQWKHH[LVWHQFHRIDQ\GHIHFWLQRUOLHQHQFXPEUDQFHULJKWRUFODLP
        DJDLQVW RU ZLWK UHVSHFW WR WKH 7LWOH WR WKH DIRUHVDLG SURSHUW\ ZKLFK ZDV QRW GLVFORVHG
        DERYH EXW ZKLFK VKRXOG KDYH EHHQ VR GLVFORVHG LQ RUGHU WR PDNH DOO VWDWHPHQWV DERYH
        WUXHDQGFRUUHFW

        7KH XQGHUVLJQHG XQGHUVWDQGV VXFK ORVVHV PD\ LQFOXGH FRXUW FRVWV DQG DWWRUQH\¶V IHHV
        H[SHQGHGE\WKH&RPSDQ\LQGHIHQGLQJWKH7LWOHRULQWHUHVWRIWKHLQVXUHGDJDLQVWVXFK
        OLHQHQFXPEUDQFHULJKWRUFODLP

     7KH XQGHUVLJQHG PDNHV WKHVH VWDWHPHQWV DQG JLYHV WKH DIRUHVDLG LQGHPQLW\ IRU WKH
        SXUSRVHRILQGXFLQJWKH&RPSDQ\WRLVVXHWKHHQGRUVHPHQWDWWDFKHGKHUHWRDV([KLELW$
        WRRQHRUPRUHRIWKHRZQHU¶VRUORDQSROLFLHVLVVXHGSXUVXDQWWRWKHVDLG&RPPLWPHQWIRU
        7LWOH,QVXUDQFH

7KHXQGHUVLJQHGIXUWKHUDJUHHVWR SD\DOOFRXUWFRVWVDQGUHDVRQDEOHDWWRUQH\¶VIHHVZKLFKWKH
&RPSDQ\PD\H[SHQGLQHQIRUFLQJWKHWHUPVRIWKLVLQGHPQLW\DJUHHPHQW


'DWHGBBBBBBBBBBBBBBBBBBBBBBBBBBB



BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
>1DPHRI$IILDQW ,QGHPQLWRU@
                                                     
>6WDQGDUGIRUPMXUDW@

>6WDQGDUGIRUPDFNQRZOHGJPHQWLIXVHIXO@
                                                     
                                                     




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 351 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                   6(&7,21



                                               ([KLELW%

                   >$IILDQWWREHSHUVRQDOO\OLDEOHRQLQGHPQLW\HJDFRUSRUDWHSDUWQHU@


6WDWHRIBBBBBBBBBBBBBBBBBBBBBBB 
                                            VV
&RXQW\RIBBBBBBBBBBBBBBBBBBBBBBB 
         
         
                                       $IILGDYLWDQG,QGHPQLW\

7KHXQGHUVLJQHGEHLQJILUVWGXO\VZRUQRQRDWKGHSRVHVDQGVD\VWKHIROORZLQJ

     7KH    XQGHUVLJQHG    LV   BBBBBBBBBBBBBBBBBBBBBBBBBBBB>WLWOH           RU   FDSDFLW\@   RI
        BBBBBBBBBBBBBBBBBBBBBBBBBB>QDPHRIHQWLW\@

     7RWKHEHVWNQRZOHGJHRIWKHXQGHUVLJQHG

D     7KHUHDUHSUHVHQWO\QRGHIHFWVLQRUOLHQVHQFXPEUDQFHVRURWKHUFODLPVDJDLQVWWKH7LWOH
        WRWKHSURSHUW\GHVFULEHGLQWKH&RPPLWPHQWIRU7LWOH,QVXUDQFH1RBBBBBBBKDYLQJDQ
        (IIHFWLYH'DWHRIBBBBBBBBBBBBBBLVVXHGE\>LQVHUWWKHQDPHRIWKHFRPSDQ\LQVXULQJ@
         KHUHLQDIWHU UHIHUUHG WR DV ³WKH &RPSDQ\´  RWKHU WKDQ DV GLVFORVHG LQ H[FHSWLRQV 1RV
        BBBBBBRQ6FKHGXOH%6HFWLRQRIVDLGFRPPLWPHQWRWKHUWKDQWKHIROORZLQJ ,IQRQH
        VWDWH³1RQH´ DQG

E     7KHUH DUH SUHVHQWO\ QR LQFKRDWH ULJKWV ZKLFK PD\ ULSHQ LQWR DQ\ GHIHFW OLHQ
        HQFXPEUDQFHRUFODLPDJDLQVWWKH7LWOHWRVDLGSURSHUW\H[FHSWDVPD\EHFUHDWHGE\DQ\
        LQVWUXPHQWRUDFWLRQUHTXLUHGLQ 6FKHGXOH% 6HFWLRQRIVDLGFRPPLWPHQWRWKHUWKDQ
        WKHIROORZLQJ ,IQRQHVWDWH³1RQH´ 

     7KH XQGHUVLJQHG PDNHV WKHVH VWDWHPHQWV DIWHU KDYLQJ TXHVWLRQHG DOO RI WKH RWKHU
        RIILFHUVGLUHFWRUVHPSOR\HHVSDUWQHUVDQGDJHQWVLIDQ\RI >QDPHRIHQWLW\@ZKRKDYH
        KDG DQ\ VXEVWDQWLDO FRQWDFW ZLWK DQ\ WUDQVDFWLRQ RU QHJRWLDWLRQ LQYROYLQJ WKH SURSHUW\
        GHVFULEHGLQVDLGFRPPLWPHQW





)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 352 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                        6(&7,21



      7KH XQGHUVLJQHG PDNHV WKHVH VWDWHPHQWV IRU WKH SXUSRVH RI LQGXFLQJ WKH &RPSDQ\ WR
         LVVXHWKHHQGRUVHPHQWDWWDFKHGKHUHWRDV([KLELW$WRRQHRUPRUHRIWKHRZQHU¶VRUORDQ
         SROLFLHVLVVXHGSXUVXDQWWRWKHVDLG&RPPLWPHQWIRU7LWOH,QVXUDQFH


'DWHGBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
        
BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
              >1DPHRI$IILDQW@

7KHIROORZLQJLQGHPQLW\ LVJLYHQWRWKH&RPSDQ\DVDIXUWKHULQGXFHPHQWWRLWWRLVVXHWKHVDLG
HQGRUVHPHQWDVDIRUHVDLG

7KH XQGHUVLJQHG KHUHE\ LQGHPQLILHV WKH &RPSDQ\ DJDLQVW DQ\ ORVV ZKLFK WKH &RPSDQ\ PD\
VXIIHUE\ YLUWXH RIDQ\ YDOLGFODLPPDGHXQGHUWKHVDLGHQGRUVHPHQWEDVHG RQWKHH[LVWHQFHRI
DQ\ GHIHFW LQ RU OLHQ HQFXPEUDQFH ULJKW RU FODLP DJDLQVW RU ZLWK UHVSHFW WR WKH 7LWOH WR WKH
DIRUHVDLGSURSHUW\ZKLFKZDVQRWGLVFORVHGLQWKHDERYHDIILGDYLWEXWZKLFKVKRXOGKDYHEHHQVR
GLVFORVHG LQ RUGHU WR PDNH DOO VWDWHPHQWV LQ WKH DIILGDYLW WUXH DQG FRUUHFW  7KH XQGHUVLJQHG
XQGHUVWDQGVVXFKORVVHVPD\LQFOXGHFRXUWFRVWVDQGDWWRUQH\¶VIHHVH[SHQGHGE\WKH&RPSDQ\
LQGHIHQGLQJWKHWLWOHRULQWHUHVWRIWKHLQVXUHGDJDLQVWVXFKOLHQHQFXPEUDQFHULJKWRUFODLP

7KHXQGHUVLJQHGIXUWKHUDJUHHVWR SD\DOOFRXUWFRVWVDQGUHDVRQDEOHDWWRUQH\¶VIHHVZKLFKWKH
&RPSDQ\PD\H[SHQGLQHQIRUFLQJWKHWHUPVRIWKLVLQGHPQLW\DJUHHPHQW


'DWHGBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

>1DPHRI&RPSDQ\@

%\BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
>1DPHDQGWLWOHRIRIILFHU@

>6WDQGDUGIRUPMXUDW@

>6WDQGDUGIRUPDFNQRZOHGJPHQWLIXVHIXO@




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 353 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                      6(&7,21



                                                     (1'256(0(17

                                       $WWDFKHGWR3ROLF\1RBBBBBBBBBBB

                                                       ,VVXHG%\
                                                     >)17*%5$1'@
                                                            

7KH&RPSDQ\DJUHHVWKDWLWZLOOQRWDVVHUWWKHSURYLVLRQVRI([FOXVLRQVIURP&RYHUDJH D  E 
RU H WRGHQ\OLDELOLW\IRUORVVRUGDPDJHRWKHUZLVHLQVXUHGDJDLQVWXQGHUWKHWHUPVRIWKHSROLF\
VROHO\E\UHDVRQRIWKHDFWLRQRULQDFWLRQRU.QRZOHGJHDVRI'DWHRI3ROLF\RIBBBBBBBBBBBBB
ZKHWKHURUQRWLPSXWHGWRWKH,QVXUHGE\RSHUDWLRQRIODZSURYLGHGBBBBBBBBBBBBBDFTXLUHGWKH
,QVXUHG DVDSXUFKDVHUIRUYDOXH ZLWKRXW .QRZOHGJH RIWKH DVVHUWHG GHIHFW OLHQHQFXPEUDQFH
DGYHUVHFODLPRURWKHUPDWWHULQVXUHGDJDLQVWE\WKHSROLF\

7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


>:LWQHVVFODXVHRSWLRQDO@





>)17*%5$1'@

%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB




$/7$(QGRUVHPHQW)RUP
  1RQLPSXWDWLRQ±)XOO(TXLW\7UDQVIHU   
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ


)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 354 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                      6(&7,21



                                                   (1'256(0(17

                                      $WWDFKHGWR3ROLF\1RBBBBBBBBBBB

                                                     ,VVXHG%\
                                                   >)17*%5$1'@
                                                          

)RU SXUSRVHV RI WKH FRYHUDJH SURYLGHG E\ WKLV HQGRUVHPHQW BBBBBBBBBBBBBB $GGLWLRQDO
,QVXUHG  LV DGGHG DV DQ ,QVXUHG XQGHU WKH SROLF\  %\ H[HFXWLRQ EHORZ WKH ,QVXUHG QDPHG LQ
6FKHGXOH$ DFNQRZOHGJHV WKDW DQ\ SD\PHQW PDGH XQGHU WKLV HQGRUVHPHQW VKDOO UHGXFH WKH
$PRXQWRI,QVXUDQFHDVSURYLGHGLQ6HFWLRQRIWKH&RQGLWLRQV

7KH&RPSDQ\DJUHHVWKDWLWZLOOQRWDVVHUWWKHSURYLVLRQVRI([FOXVLRQVIURP&RYHUDJH D  E 
RU H WRGHQ\OLDELOLW\IRUORVVRUGDPDJHRWKHUZLVHLQVXUHGDJDLQVWXQGHUWKHWHUPVRIWKHSROLF\
VROHO\E\UHDVRQRIWKHDFWLRQRULQDFWLRQRU.QRZOHGJHDVRI'DWHRI3ROLF\RIBBBBBBBBBBBBBB
ZKHWKHU RU QRW LPSXWHG WR WKH $GGLWLRQDO ,QVXUHG E\ RSHUDWLRQ RI ODZ WR WKH H[WHQW RI WKH
SHUFHQWDJHLQWHUHVWLQWKH,QVXUHGDFTXLUHGE\$GGLWLRQDO,QVXUHGDVDSXUFKDVHUIRUYDOXHZLWKRXW
.QRZOHGJH RI WKH DVVHUWHG GHIHFW OLHQ HQFXPEUDQFH DGYHUVH FODLP RU RWKHU PDWWHU LQVXUHG
DJDLQVWE\WKHSROLF\

7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV



$*5(('$1'&216(17('72


                                                         
,1685('


>:LWQHVVFODXVHRSWLRQDO@





>)17*%5$1'@

%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB




$/7$(QGRUVHPHQW)RUP
  1RQLPSXWDWLRQ±$GGLWLRQDO,QVXUHG   
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ



)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 355 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                      6(&7,21



                                                   (1'256(0(17

                                       $WWDFKHGWR3ROLF\1RBBBBBBBBBBB

                                                      ,VVXHG%\
                                                    >)17*%5$1'@
                                                           

7KH&RPSDQ\DJUHHVWKDWLWZLOOQRWDVVHUWWKHSURYLVLRQVRI([FOXVLRQVIURP&RYHUDJH D  E 
RU H WRGHQ\OLDELOLW\IRUORVVRUGDPDJHRWKHUZLVHLQVXUHGDJDLQVWXQGHUWKHWHUPVRIWKHSROLF\
VROHO\E\UHDVRQRIWKHDFWLRQRULQDFWLRQRU.QRZOHGJHDVRI'DWHRI3ROLF\RIBBBBBBBBBBBBBB
ZKHWKHURUQRWLPSXWHGWRWKHHQWLW\LGHQWLILHGLQSDUDJUDSKRI6FKHGXOH$RUWRWKH,QVXUHGE\
RSHUDWLRQRIODZEXWRQO\WRWKHH[WHQWWKDWWKH,QVXUHGDFTXLUHGWKH,QVXUHG VLQWHUHVWLQHQWLW\DV
D SXUFKDVHU IRU YDOXH ZLWKRXW .QRZOHGJH RI WKH DVVHUWHG GHIHFW OLHQ HQFXPEUDQFH DGYHUVH
FODLPRURWKHUPDWWHULQVXUHGDJDLQVWE\WKHSROLF\

7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


>:LWQHVVFODXVHRSWLRQDO@





>)17*%5$1'@

%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB




$/7$(QGRUVHPHQW)RUP
  1RQLPSXWDWLRQ±3DUWLDO(TXLW\7UDQVIHU   
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ


)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 356 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                       6(&7,21



5HWXUQWR7DEOHRI&RQWHQWV
                             0(==$1,1(),1$1&,1*(1'256(0(17
                                 $/7$(1'256(0(17)250
                                                    
                                                    
                                                385326(

7KLVHQGRUVHPHQWSURYLGHVLQVXUDQFHWRDOHQGHUZKRVHORDQLVVHFXUHGQRWE\DOLHQDJDLQVWWKH
ODQGEXWUDWKHUE\VRPHIRUPRIVHFXULW\DJDLQVWWKHEHQHILFLDOLQWHUHVWRIWKHEXVLQHVVHQWLW\WKDW
RZQV WKH /DQG  7KH VHFXULW\ PD\ EH D SOHGJH RI DQG VHFXULW\ LQWHUHVW LQ WKH VWRFN LQ D
FRUSRUDWLRQ SDUWQHUVKLS LQWHUHVW LQ D SDUWQHUVKLS RU PHPEHUVKLS LQWHUHVW LQ D OLPLWHG OLDELOLW\
FRPSDQ\  7KH HQGRUVHPHQW LV PDGH D SDUW RI DQ 2ZQHU¶V 3ROLF\ UDWKHU WKDQ D /RDQ 3ROLF\
EHFDXVHWKHOHQGHU¶VSHUVRQDOSURSHUW\VHFXULW\LQWHUHVWLVQRWEHLQJLQVXUHGVRQR/RDQ3ROLF\LV
LVVXHGWRWKHOHQGHU7KHHQGRUVHPHQWDVVLJQVWKHULJKWVXQGHUWKHSROLF\RIWKH,QVXUHGRZQHURI
WKH/DQGWRWKHGHILQHG0H]]DQLQH/HQGHU7KHHQGRUVHPHQWSURYLGHVWKDWWKH&RPSDQ\ZLOOQRW
DVVHUWDVDGHIHQVHPDWWHUVNQRZQWRWKH,QVXUHGRZQHUDVORQJDVWKH\ZHUHQRWNQRZQWRWKH
0H]]DQLQH/HQGHU VHHDOVR1RQ,PSXWDWLRQ(QGRUVHPHQWVXQGHU6HFWLRQ ,WIXUWKHUSURYLGHV
WKDWWKH&RPSDQ\ZLOOQRWGHQ\OLDELOLW\RQWKHEDVLVWKDWRZQHUVKLSLQWHUHVWVLQWKH,QVXUHGKDYH
EHHQWUDQVIHUUHGWRRUDFTXLUHGE\WKH0H]]DQLQH/HQGHU

                     6(&7,2162)32/,&<$0(1'('%<(1'256(0(17

&RQGLWLRQV SDUDJUDSK  E  LV DPHQGHG WR SURYLGH WKDW WKH &RPSDQ\ FDQ WHUPLQDWH LWV OLDELOLW\
XQGHU WKH SROLF\ E\ SD\LQJ WKH 0H]]DQLQH /HQGHU UDWKHU WKDQ WKH ,QVXUHG  ([FOXVLRQV IURP
&RYHUDJH 1RV  D  E  F  RU H  DUH DPHQGHG ZLWK UHVSHFW WR GHIHFWV OLHQV HQFXPEUDQFHV
DGYHUVHFODLPVRURWKHUPDWWHUVZKLFKZHUHQRWNQRZQWRWKH0H]]DQLQH/HQGHURUIDLOXUHRIWKH
0H]]DQLQH/HQGHUWRSD\YDOXH

                                %$6,6)253529,',1*&29(5$*(

<RXPD\LVVXHWKLVHQGRUVHPHQWWRDQ$/7$2ZQHU¶V3ROLF\LIDOORIWKHIROORZLQJUHTXLUHPHQWV
DUHPHW


     7KH ,QVXUHG FRUSRUDWLRQ SDUWQHUVKLS OLPLWHG OLDELOLW\ FRPSDQ\ RU RWKHU EXVLQHVV HQWLW\ 
         KDVDJUHHGWRDVVLJQWRWKH0H]]DQLQH/HQGHUWKHDPRXQWVSD\DEOHXQGHUWKHSROLF\DV
         LQGLFDWHGE\WKH,QVXUHG¶VVLJQDWXUHDWWKHHQGRIWKH(QGRUVHPHQWDQGWKHWHUPVRIWKH
         HQGRUVHPHQWDUHDFFHSWHGE\WKH0H]]DQLQH/HQGHUDVLQGLFDWHGE\LWVVLJQDWXUHRQWKH
         (QGRUVHPHQW
     

)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 357 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                           6(&7,21




       7KH UHTXLUHPHQWV IRU LVVXDQFH RI D 1RQ,PSXWDWLRQ (QGRUVHPHQW KDYH EHHQ PHW VHH
           6HFWLRQ   7KDW LV ZH PXVW UHFHLYH DGHTXDWH DVVXUDQFHV WKDW WKHUH DUH QR PDWWHUV
           NQRZQE\WKHSDUW\RUSDUWLHVIURPZKRPNQRZOHGJHLVWREHLPSXWHG,QPRVWFDVHVWKLV
           DVVXUDQFH ZRXOG EH LQ WKH IRUP RI D VZRUQ VWDWHPHQW IURP WKH SDUW\ WRJHWKHU ZLWK D
           VDWLVIDFWRU\LQGHPQLW\

      
       ,I WKH ,QVXUHG LV DOVR LQVXUHG E\ WKH &RPSDQ\ XQGHU D GLIIHUHQW 2ZQHU¶V 3ROLF\ WKH
           EHQHILWV RI WKDW SROLF\ PXVW EH FRRUGLQDWHG ZLWK WKH EHQHILWV RI WKH SROLF\ WR ZKLFK WKH
           HQGRUVHPHQWZLOOEHDWWDFKHG7KLVFDQEHDFFRPSOLVKHGE\DGGLQJWR6FKHGXOH%RIWKH
           DOUHDG\ LVVXHG SROLF\ WKH IROORZLQJ ³,W LV H[SUHVVO\ XQGHUVWRRG WKDW WKH DPRXQW RI
           LQVXUDQFHXQGHUWKLVSROLF\VKDOOEHUHGXFHGE\DQ\DPRXQWWKH&RPSDQ\PD\SD\XQGHU
           2ZQHU¶V3ROLF\1XPEHU>QHZSROLF\@DQGWKHDPRXQWVRSDLGVKDOOEHGHHPHGDSD\PHQW
           XQGHUWKLVSROLF\WRWKH,QVXUHGRZQHU´


                          $87+25,7<)25,668$1&(2)7+,6&29(5$*(

7KLVHQGRUVHPHQWPD\QRWEHLVVXHGZLWKRXWWKHDSSURYDORIWKH&RPSDQ\¶VXQGHUZULWLQJDGYLVRU

                                                02',),&$7,21
,Q WKH HYHQW WKDW PRGLILFDWLRQ RI DQ HQGRUVHPHQW LV UHTXHVWHG LW LV QHFHVVDU\ WR FRQVLGHU \RXU
VWDWHUHJXODWRU\UHTXLUHPHQWVIRUILOLQJDQGDSSURYDORIIRUPV,IWKHHQGRUVHPHQWLVPRGLILHGWKH
HQGRUVHPHQWLVQRWDQ$/7$IRUPDQGVKRXOGQRWUHIHUHQFH$/7$LQWKHWLWOH<RXPXVWREWDLQ
WKH DSSURYDO RI WKH &RPSDQ\¶V XQGHUZULWLQJ DGYLVHU EHIRUH FRPSO\LQJ ZLWK DQ\ UHTXHVW IRU D
PRGLILFDWLRQ

5HWXUQWR7DEOHRI&RQWHQWV





)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 358 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                          6(&7,21



                                           (1'256(0(17
                                  $WWDFKHGWR3ROLF\1RBBBBBBBBBBB
                                                     
                                               ,VVXHG%\
                                            >)17*%5$1'@
                                                       
     7KH0H]]DQLQH/HQGHULVBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBDQGHDFKVXFFHVVRULQ
        RZQHUVKLSRILWVORDQ 0H]]DQLQH/RDQ UHVHUYLQJKRZHYHUDOOULJKWVDQG GHIHQVHVDV
        WR DQ\ VXFFHVVRU WKDW WKH &RPSDQ\ ZRXOG KDYH KDG DJDLQVW WKH 0H]]DQLQH /HQGHU
        XQOHVV WKH VXFFHVVRU DFTXLUHG WKH ,QGHEWHGQHVV DV D SXUFKDVHU IRU YDOXH ZLWKRXW
        .QRZOHGJH RI WKH DVVHUWHG GHIHFW OLHQ HQFXPEUDQFH DGYHUVH FODLP RU RWKHU PDWWHU
        LQVXUHGDJDLQVWE\WKLVSROLF\DVDIIHFWLQJ7LWOH

     7KH,QVXUHG

        D      DVVLJQV WR WKH 0H]]DQLQH /HQGHU WKH ULJKW WR UHFHLYH DQ\ DPRXQWV RWKHUZLVH
                 SD\DEOH WR WKH ,QVXUHG XQGHU WKLV SROLF\ QRW WR H[FHHG WKH RXWVWDQGLQJ
                 LQGHEWHGQHVVXQGHUWKH0H]]DQLQH/RDQDQG

        E      DJUHHVWKDWQRDPHQGPHQWRIRUHQGRUVHPHQWWRWKLVSROLF\FDQEHPDGHZLWKRXW
                 WKHZULWWHQFRQVHQWRIWKH0H]]DQLQH/HQGHU

     7KH&RPSDQ\GRHVQRWZDLYHDQ\GHIHQVHVWKDWLWPD\KDYHDJDLQVWWKH,QVXUHGH[FHSW
        DVH[SUHVVO\VWDWHGLQWKLVHQGRUVHPHQW

     ,Q WKH HYHQW RI D ORVV XQGHU WKH SROLF\ WKH &RPSDQ\ DJUHHV WKDW LW ZLOO QRW DVVHUW WKH
        SURYLVLRQV RI ([FOXVLRQV IURP &RYHUDJH  D  E  RU H  WR UHIXVH SD\PHQW WR WKH
        0H]]DQLQH/HQGHUVROHO\E\UHDVRQRIWKHDFWLRQRULQDFWLRQRU.QRZOHGJHDVRI'DWHRI
        3ROLF\RIWKH,QVXUHGSURYLGHG

        D      WKH0H]]DQLQH/HQGHUKDGQRDFWXDO.QRZOHGJHRIWKHGHIHFWOLHQHQFXPEUDQFH
                 RURWKHUPDWWHUFUHDWLQJRUFDXVLQJORVVRQ'DWHRI3ROLF\

        E      WKLV OLPLWDWLRQ RQ WKH DSSOLFDWLRQ RI ([FOXVLRQV IURP &RYHUDJH  D  E  DQG H 
                 VKDOO

                 L      DSSO\ ZKHWKHU RU QRW WKH 0H]]DQLQH /HQGHU KDV DFTXLUHG DQ LQWHUHVW
                           GLUHFWRULQGLUHFW LQWKH,QVXUHGHLWKHURQRUDIWHU'DWHRI3ROLF\DQG

                 LL     EHQHILWWKH0H]]DQLQH/HQGHURQO\ZLWKRXWEHQHILWLQJDQ\RWKHULQGLYLGXDO
                          RU HQWLW\ WKDW KROGV DQ LQWHUHVW GLUHFW RU LQGLUHFW  LQ WKH ,QVXUHG RU WKH
                          /DQG

     ,Q WKH HYHQW RI D ORVV XQGHU WKH 3ROLF\ WKH &RPSDQ\ DOVR DJUHHV WKDW LW ZLOO QRW GHQ\
        OLDELOLW\WRWKH0H]]DQLQH/HQGHURQWKHJURXQGWKDWDQ\RUDOORIWKHRZQHUVKLSLQWHUHVWV
          GLUHFWRULQGLUHFW LQWKH,QVXUHGKDYHEHHQWUDQVIHUUHGWRRUDFTXLUHGE\WKH0H]]DQLQH
        /HQGHUHLWKHURQRUDIWHUWKH'DWHRI3ROLF\

     7KH0H]]DQLQH/HQGHUDFNQRZOHGJHV

        D      WKDW WKH DPRXQW RI LQVXUDQFH XQGHU WKLV SROLF\ VKDOO EH UHGXFHG E\ DQ\ DPRXQW
                 WKH&RPSDQ\PD\SD\XQGHUDQ\SROLF\LQVXULQJDPRUWJDJHWRZKLFKH[FHSWLRQ
                 LV WDNHQ LQ 6FKHGXOH% RU WR ZKLFK WKH ,QVXUHG KDV DJUHHG DVVXPHG RU WDNHQ
                 VXEMHFW RU ZKLFK LV KHUHDIWHU H[HFXWHG E\ DQ ,QVXUHG DQG ZKLFK LV D FKDUJH RU



)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 359 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                         6(&7,21



                   OLHQ RQ WKH HVWDWH RU LQWHUHVW GHVFULEHG RU UHIHUUHG WR LQ 6FKHGXOH$ DQG WKH
                   DPRXQWVRSDLGVKDOOEHGHHPHGDSD\PHQWXQGHUWKLVSROLF\DQG

         E       WKDWWKH&RPSDQ\VKDOOKDYHWKHULJKWWRLQVXUHPRUWJDJHVRURWKHUFRQYH\DQFHV
                   RIDQLQWHUHVWLQWKH/DQGZLWKRXWWKHFRQVHQWRIWKH0H]]DQLQH/HQGHU

      ,IWKH,QVXUHGWKH0H]]DQLQH/HQGHURURWKHUVKDYHFRQIOLFWLQJFODLPVWRDOORUSDUWRIWKH
         ORVVSD\DEOHXQGHUWKH3ROLF\WKH&RPSDQ\PD\ LQWHUSOHDGWKHDPRXQWRIWKHORVVLQWR
         &RXUW7KH,QVXUHGDQGWKH0H]]DQLQH/HQGHUVKDOOEHMRLQWO\DQGVHYHUDOO\OLDEOHIRUWKH
         &RPSDQ\ V FRVW IRU WKH LQWHUSOHDGHU DQG VXEVHTXHQW SURFHHGLQJV LQFOXGLQJ DWWRUQH\V 
         IHHV7KH&RPSDQ\VKDOOEHHQWLWOHGWRSD\PHQWRIWKHVXPVIRUZKLFKWKH,QVXUHGDQG
         0H]]DQLQH/HQGHUDUHOLDEOHXQGHUWKHSUHFHGLQJVHQWHQFHIURPWKHIXQGVGHSRVLWHGLQWR
         &RXUWDQGLWPD\DSSO\WRWKH&RXUWIRUWKHLUSD\PHQW

     :KHQHYHUWKH&RPSDQ\KDVVHWWOHGDFODLPDQGSDLGWKH0H]]DQLQH/HQGHUSXUVXDQW WR
         WKLV HQGRUVHPHQW WKH &RPSDQ\ VKDOO EH VXEURJDWHG DQG HQWLWOHG WR DOO ULJKWV DQG
         UHPHGLHV WKDW WKH 0H]]DQLQH /HQGHU PD\ KDYH DJDLQVW DQ\ SHUVRQ RU SURSHUW\ DULVLQJ
         IURP WKH 0H]]DQLQH /RDQ +RZHYHU WKH &RPSDQ\ DJUHHV ZLWK WKH 0H]]DQLQH /HQGHU
         WKDW LW VKDOO RQO\ H[HUFLVH WKHVH ULJKWV RU DQ\ ULJKW RI WKH &RPSDQ\ WR LQGHPQLILFDWLRQ
         DJDLQVWWKH,QVXUHGWKH0H]]DQLQH/RDQERUURZHURUDQ\JXDUDQWRUVRIWKH0H]]DQLQH
         /RDQ DIWHU WKH 0H]]DQLQH /HQGHU KDV UHFRYHUHG LWV SULQFLSDO LQWHUHVW DQG FRVWV RI
         FROOHFWLRQ

7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV



$*5(('$1'&216(17('72                               
                                                       
                                                       
  1DPHRI,QVXUHG                                        1DPHRI0H]]DQLQH/HQGHU 
                                                       
                                                       
                                                       
%\                                                  %\


>:LWQHVVFODXVHRSWLRQDO@



>)17*%5$1'@

%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB




$/7$(QGRUVHPHQW)RUP
0H]]DQLQH)LQDQFLQJ   
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ



)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 360 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                       6(&7,21



5HWXUQWR7DEOHRI&RQWHQWV
                                                    
                                                 $&&(66
                       $/7$(1'256(0(17)2506 $FFHVV (QWU\ 
                                   ,QGLUHFW$FFHVV (QWU\ 
                                      DQG 8WLOLW\$FFHVV 
                                                385326(

7KHVHHQGRUVHPHQWVDUHGHVLJQHGWRSURYLGHLQVXUDQFHDJDLQVWORVVLIWKH/DQGGRHVQRWDEXWRU
KDYHDFWXDOYHKLFXODUDQGSHGHVWULDQDFFHVVWRDQGIURPDVSHFLILFRSHQDQGSXEOLFO\PDLQWDLQHG
VWUHHW E\ ZD\ RI H[LVWLQJ FXUE FXWV RU HQWULHV ,Q DGGLWLRQ $/7$  SURYLGHV WKH VDPH
FRYHUDJHZLWKUHVSHFWWRDVSHFLILFHDVHPHQWLQVXUHGLQ6FKHGXOH$ZKLFKFRQQHFWVWKH/DQGWRD
VSHFLILF SXEOLF VWUHHW 7KH $/7$  DGRSWV D YHUVLRQ RI WKH JHQHULF ³8WLOLWLHV )DFLOLWLHV´
HQGRUVHPHQWZKLFKFRYHUVDFFHVVWRXWLOLW\LQVWDOODWLRQVLQDSXEOLFVWUHHW

                       6(&7,2162)32/,&<$0(1'('%<(1'256(0(17
                                                      
7KH $/7$ SROLFLHV GR QRW LQVXUH D SDUWLFXODU PHDQV RI DFFHVV  7KH SROLFLHV GR LQVXUH DJDLQVW
ORVVRUGDPDJHE\UHDVRQRIDODFNRI³DULJKWRIDFFHVVWRDQGIURPWKH/DQG´7KHSROLF\DV
ZULWWHQ GRHV QRW DGGUHVV WKH H[WHQW RI WKDW DFFHVV QRU WKH ORFDWLRQ RU PHDQV E\ ZKLFK WKDW
DFFHVVLVXWLOL]HG

7KHGHILQLWLRQRI³/DQG´FRQWDLQHGLQWKHSROLF\VSHFLILFDOO\H[FOXGHVSURSHUW\EH\RQGWKHERXQGV
RIWKHDUHDGHVFULEHGLQ6FKHGXOH$)XUWKHUPRUH/DQGLVVRGHILQHGDVWRQRWLQFOXGHDQ\³ULJKW
WLWOHLQWHUHVWHVWDWHRUHDVHPHQWLQDEXWWLQJVWUHHWV´

7KHVH HQGRUVHPHQWV JR TXLWH D ELW IXUWKHU  7KH\ VSHFLILFDOO\ DGGUHVV WKH ORFDWLRQ XVH DQG
TXDOLW\RIDFFHVV7KH$/7$ZLOOEHGLVFXVVHGVHSDUDWHO\

                 %$6,6)253529,',1*&29(5$*( $/7$DQG 
                                                      
7KHVH HQGRUVHPHQWV KDYH PRUH H[WHQVLYH UHTXLUHPHQWV WKDQ WKH ROG ³DFFHVV´ W\SH
HQGRUVHPHQWVDQGLQFOXGHWKHQHHGIRUDFRPSUHKHQVLYHVXUYH\7KHH[DPLQHUPXVWYHULI\

     7KHQDPHGVWUHHWLVLQIDFWDSK\VLFDOO\RSHQDQGSXEOLFVWUHHW
     7KHODQGDEXWVWKHUHRQDQG




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 361 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                      6(&7,21



     7KHUH LV QRWKLQJ WR SURKLELW DFFHVV IURP WKH /DQG HLWKHU OHJDOO\ RU SK\VLFDOO\
             LHQRWRQO\LVWKHUHDFFHVVDVDPDWWHURIODZDWWKHFXUUHQWO\H[LVWLQJSRLQWVRI
         DFFHVVEXWWKHUHLVDOVRQRSK\VLFDOLPSHGLPHQWWRDFFHVV 
     7KHUHDUHQROLPLWDWLRQVRQDFFHVVLPSRVHGDWWKHORFDOFRXQW\VWDWHRUIHGHUDO
         OHYHOV GHSHQGLQJ RQ ZKR FRQWUROV RU PDLQWDLQV WKH VWUHHW DQG KRZ LW ZDV
         FUHDWHG
         
         ([DPSOH$SRUWLRQRI%ODFNDFUHZDVFRQGHPQHGIRUDQ,QWHUVWDWH+LJKZD\,Q
         WKH FRQGHPQDWLRQ WKH 6WDWH DOVR FRQGHPQHG DOO DEXWWLQJ ULJKWV RI DFFHVV
         %HFDXVHRIWKHZD\WKHURDGZDVEXLOWWKHRZQHURI%ODFNDFUHFDQDFWXDOO\GULYH
         KLVFDURQWRWKHKLJKZD\DWVHYHUDOSRLQWVDORQJWKLVERXQGDU\

         7KLVLVDQH[DPSOHRIDVLWXDWLRQZKHUHWKHUHLVDSK\VLFDOPHDQVRIDFFHVVEXWQROHJDO
         ULJKWRIDFFHVV7KLVHQGRUVHPHQWFRXOGQRWEHJLYHQLQWKLVVLWXDWLRQ
    

7KH H[DPLQHU PXVW EH YHU\ FDUHIXO WR GHWHUPLQH ZKLFK JRYHUQPHQWDO DXWKRULWLHV ZKLFK FDQ
LQFOXGHFLW\FRXQW\VWDWHDQGRUIHGHUDODJHQFLHV KDYHMXULVGLFWLRQRYHUDSDUWLFXODUVWUHHW7KH
H[DPLQHUPXVWDOVRFKHFNWKHVXUURXQGLQJODQGDQGWKHFKDLQRIWLWOHWRGHWHUPLQHLIDFFHVVZDV
OLPLWHGZKHQWKHODQGZDVDSDUWRIDODUJHUWUDFW,IVXFKDOLPLWDWLRQH[LVWVDQGDOODOORZDEOHFXUE
FXWVRUSRLQWVRIDFFHVVKDYHEHHQXVHGLQFRQMXQFWLRQZLWKRWKHUSDUWVRIWKHRULJLQDOWUDFWWKHUH
PD\EHQRDFFHVVIRUWKHODQGDVLWFXUUHQWO\LVGHVFULEHGHYHQWKRXJKLWGRHVDEXWDQRSHQDQG
SXEOLF VWUHHW  $ VXUYH\ VKRZLQJ SUHVHQW SK\VLFDOO\ RSHQ DFFHVV PXVW EH VXSSOLHG WR WKH
&RPSDQ\$Q\VXFKUHTXHVWIRUDQ\YDULDWLRQRIWKHHQGRUVHPHQWODQJXDJHRUDUHTXHVWWRLVVXH
WKHHQGRUVHPHQWZLWKRXWDVXUYH\PXVWEHDSSURYHGE\WKH&RPSDQ\XQGHUZULWLQJDGYLVRU

,QDGGLWLRQWRFRPSOLDQFHZLWKLWHPVWKURXJKDERYHLQRUGHUWRLVVXHWKH$/7$
 WKH H[DPLQDWLRQ DQG LQVXUDQFH RI WKH HDVHPHQW LQ TXHVWLRQ PXVW EH XQGHUWDNHQ
SXUVXDQWWRFXVWRPDU\XQGHUZULWLQJJXLGHOLQHV

&$87,21,)7+(/$1'$%876$3+<6,&$//<23(135,9$7(675((77+,6&29(5$*(
0$< 127 %( *,9(1 :,7+287 $33529$/ 2) 7+( &203$1<¶6 81'(5:5,7,1*
$'9,625

        %$6,6)253529,',1*&29(5$*(IRU$/7$ 8WLOLW\$FFHVV 

:KDWLVFRPPRQO\UHIHUUHGWRDVWKH8WLOLW\)DFLOLW\HQGRUVHPHQWUHTXLUHVXVWRGRDOORI
WKHIROORZLQJ
         



)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 362 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                            6(&7,21



              5HYLHZWKHVXUYH\WRDVFHUWDLQWKDWWKH/DQGDGMRLQVWKHSXEOLFZD\LQZKLFK
         WKHXWLOLW\OLQHVDUHORFDWHGZLWKQRJDSVRUJRUHVLQEHWZHHQ
         
               'HWHUPLQH WKH LQVXUDELOLW\ RI SULYDWH HDVHPHQWV LI DQ\  SURYLGLQJ VHUYLFHV
         OLVWHGRQWKHHQGRUVHPHQWDQGYHULI\WKH\DUHVKRZQRQWKHVXUYH\DQGDEXWWKH
         SURSHUW\ZLWKQRJDSVRUJRUHV
         
              9HULI\WKDWWKHODQGLVLPSURYHG
         
              2EWDLQDQDIILGDYLWIURPWKHVHOOHURUERUURZHUWKDWWKH/DQGLVVHUYLFHGE\DOO
         RIWKHUHFLWHGXWLOLWLHV
         
6SHFLDO DWWHQWLRQ VKRXOG EH SDLG WR WKH SRVVLELOLW\ WKDW DOWKRXJK  RWKHU XWLOLWLHV DUH LQ SODFH DQG
VHUYLFH LV SURYLGHG E\ D ODWHUDO FRQQHFWLRQ WR LQVWDOODWLRQV LQ WKH SXEOLF ULJKW RI ZD\  D VHSWLF
V\VWHP LV EHLQJ XWLOL]HG LQ OLHX RI FRQQHFWLQJ WR D SXEOLF VHZHU V\VWHP HVSHFLDOO\ LQ QHZHU
LQGXVWULDO SDUNV  ODUJH FRPPHUFLDO WUDFWV RU UXUDO UHVLGHQWLDO SURSHUWLHV ,I WKDW LV WKH IDFWXDO
VLWXDWLRQ RU DQ\ RWKHU OLVWHG XWLOLW\ LV SURYLGHG YLD DQ\ W\SH RI SULYDWH HDVHPHQW WKDW ZRXOG
RWKHUZLVH QRW EH LQVXUDEOH \RX PXVW OHDYH WKH ER[ RQ WKH HQGRUVHPHQW ZKLFK FRUUHVSRQGV WR
VXFKXWLOLW\XQFKHFNHGWKHUHE\LQGLFDWLQJWKDWQRDFFHVVLVEHLQJLQVXUHG

(YHQLI\RXKDYHQRWVSHFLILFDOO\LQVXUHGWKHSULYDWHHDVHPHQWULJKWVLQ6FKHGXOH$\RXPXVWGR
WKH VDPH VHDUFK DQG DQDO\VLV RI WKH EHQHILW WR WKH /DQG DV LI \RX KDG LQVXUHG WKHP LQFOXGLQJ
PDNLQJ VXUH WKH\ DUH VWLOO YLDEOH DQG KDYH QRW EHHQ UHOHDVHG RU WHUPLQDWHG HLWKHU YROXQWDULO\ RU
LQYROXQWDULO\ WKURXJK IRUHFORVXUH RU RWKHU SURFHVV LH  WD[ VDOH IRUIHLWXUH HWF  LI \RX ZLOO EH
UHO\LQJRQDSULYDWHHDVHPHQWWRLQVXUHDFFHVVWRXWLOLWLHV

                                               02',),&$7,21

,QWKHHYHQWWKDWPRGLILFDWLRQRIDQHQGRUVHPHQWLVUHTXHVWHGLWLVQHFHVVDU\WRFRQVLGHU\RXU
VWDWHUHJXODWRU\UHTXLUHPHQWVIRUILOLQJDQGDSSURYDORIIRUPV,IWKHHQGRUVHPHQWLVPRGLILHGWKH
HQGRUVHPHQWLVQRWDQ$/7$IRUPDQGVKRXOGQRWUHIHUHQFH$/7$LQWKHWLWOH<RXPXVWREWDLQ
WKHDSSURYDORIWKH&RPSDQ\¶VXQGHUZULWLQJDGYLVRUEHIRUHFRPSO\LQJZLWKDQ\UHTXHVWIRUD
PRGLILFDWLRQ

5HWXUQWR7DEOHRI&RQWHQWV




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 363 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                      6(&7,21



                                            (1'256(0(17

                                    $WWDFKHGWR3ROLF\1RBBBBBBBBBBB

                                               ,VVXHG%\
                                             >)17*%5$1'@
                                                    

7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGLIDW'DWHRI3ROLF\ L WKH
/DQG GRHV QRW DEXW DQG KDYH ERWK DFWXDO YHKLFXODU DQG SHGHVWULDQ DFFHVV WRDQG IURP ),// ,1
  WKH6WUHHW  LL WKH6WUHHWLVQRWSK\VLFDOO\RSHQDQGSXEOLFO\PDLQWDLQHGRU LLL WKH,QVXUHGKDV
QRULJKWWRXVHH[LVWLQJFXUEFXWVRUHQWULHVDORQJWKDWSRUWLRQRIWKH6WUHHWDEXWWLQJWKH/DQG
           
7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


>:LWQHVVFODXVHRSWLRQDO@





>)17*%5$1'@

%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB




$/7$(QGRUVHPHQW)RUP
  $FFHVVDQG(QWU\   
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 364 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                               6(&7,21



                                                  (1'256(0(17

                                          $WWDFKHGWR3ROLF\1RBBBBBBBBBBB

                                                     ,VVXHG%\
                                                   >)17*%5$1'@
                                                          

7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGLIDW'DWHRI3ROLF\ L WKH
HDVHPHQWLGHQWLILHGDV),//,1LQ6FKHGXOH),//,1 WKH³(DVHPHQW´ GRHVQRWSURYLGHWKDWSRUWLRQ
RIWKH/DQGLGHQWLILHGDV),//,1LQ6FKHGXOH),//,1ERWKDFWXDOYHKLFXODUDQGSHGHVWULDQDFFHVV
WRDQGIURP),//,1 WKH³6WUHHW´  LL WKH6WUHHWLVQRWSK\VLFDOO\RSHQDQGSXEOLFO\PDLQWDLQHGRU
  LLL  WKH ,QVXUHG KDV QR ULJKW WR XVH H[LVWLQJ FXUE FXWV RU HQWULHV DORQJ WKDW SRUWLRQ RI WKH 6WUHHW
DEXWWLQJWKH(DVHPHQW

7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


>:LWQHVVFODXVHRSWLRQDO@





>)17*%5$1'@

%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB




$/7$(QGRUVHPHQW)RUP
  ,QGLUHFW$FFHVVDQG(QWU\   
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ



)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 365 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                      6(&7,21




                                              (1'256(0(17

                                    $WWDFKHGWR3ROLF\1RBBBBBBBBBBB

                                                ,VVXHG%\
                                              >)17*%5$1'@
                                                     

7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRIWKHODFNRID
ULJKWRIDFFHVVWRWKHIROORZLQJXWLOLWLHVRUVHUYLFHV>&+(&.$//7+$7$33/<@

F :DWHUVHUYLFH                     F 1DWXUDOJDVVHUYLFH           F 7HOHSKRQHVHUYLFH
F (OHFWULFDOSRZHUVHUYLFH F 6DQLWDU\VHZHU                         F 6WRUPZDWHUGUDLQDJH
>F                              >F                            >F                     

HLWKHURYHUXQGHURUXSRQULJKWVRIZD\RUHDVHPHQWVIRUWKHEHQHILWRIWKH/DQGEHFDXVHRI
           DJDSRUJRUHEHWZHHQWKHERXQGDULHVRIWKH/DQGDQGWKHULJKWVRIZD\RU
         HDVHPHQWV
              DJDSEHWZHHQWKHERXQGDULHVRIWKHULJKWVRIZD\RUHDVHPHQWVRU
              DWHUPLQDWLRQE\DJUDQWRURULWVVXFFHVVRURIWKHULJKWVRIZD\RUHDVHPHQWV

7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRU HQGRUVHPHQWV

>:LWQHVVFODXVHRSWLRQDO@




>)17*%5$1'@

%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB





$/7$(QGRUVHPHQW)RUP
  8WLOLW\$FFHVV   
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ






)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 366 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                        6(&7,21



5HWXUQWR7DEOHRI&RQWHQWV
                                               7$;3$5&(/
                            $/7$(1'256(0(17)250 6LQJOH 
                            $1' 0XOWLSOH >ZLWKWD[VDOHSURWHFWLRQ@
                                                       
                                                 385326(

7KHVH HQGRUVHPHQWV FRYHU WKH WD[ SDUFHO RU WD[ LGHQWLILFDWLRQ QXPEHUV RIWHQ LQFOXGHG LQ WKH
SROLF\IRULQIRUPDWLRQDOSXUSRVHV)RUPLQVXUHVDJDLQVWORVVLIWKHWD[QXPEHUVKRZQGRHV
QRWLQFOXGHDOOWKH/DQGGHVFULEHGLQWKHSROLF\RULQFOXGHVODQGQRWGHVFULEHGLQWKHSROLF\)RUP
LVIRUXVHZKHQWKHUHDUHPXOWLSOHSDUFHOVDQGPXOWLSOHQXPEHUV,QDGGLWLRQ)RUP
LQVXUHVWKDWDQ\HDVHPHQWLQFOXGHGDVDQLQVXUHGSDUFHOLQ6FKHGXOH$RU&ZLOOQRWEHZLSHG
RXWE\WKHVXEVHTXHQWIRUHFORVXUHRIWD[HVRQWKHVHUYLHQWWHQHPHQW7KLVHQGRUVHPHQWGRHVQRW
SURYLGH FRYHUDJH IRU WKH ,QVXUHG LW WKH HDVHPHQW LWVHOI LV VHSDUDWHO\ DVVHVVHG DQG WKH ,QVXUHG
IDLOVWRSD\VXFKWD[HV

                      6(&7,2162)32/,&<$0(1'('%<(1'256(0(17
                                                       
7KLVHQGRUVHPHQWIRUWKH,QVXUHGGRHVQRWH[SUHVVO\DPHQGDQ\SURYLVLRQVRIWKH3ROLF\,WGRHV
DIIHFW RQ SDUDJUDSK  G  RI WKH ([FOXVLRQV IURP &RYHUDJH ³'HIHFWV OLHQV HQFXPEUDQFHV
DGYHUVHFODLPVRURWKHUPDWWHUVDWWDFKLQJRUFUHDWHGVXEVHTXHQWWR'DWHRI3ROLF\´ LQWKDW
WKHQRQSD\PHQWRIUHDOSURSHUW\WD[HVRUWKHIRUHFORVXUHRIWKHOLHQLPSRVHGE\WKRVHWD[HVRQ
WKH VHUYLHQW WHQHPHQW RYHU ZKLFK WKH HDVHPHQW H[LVWV ZLOO LQ WKH PDMRULW\ RI FDVHV EH D SRVW
SROLF\RFFXUUHQFH

                                 %$6,6)253529,',1*&29(5$*(

7RLVVXH$/7$)RUPWKHDERYHWKHOHJDOGHVFULSWLRQLQ6FKHGXOH$RU&PXVWEHFDUHIXOO\
FRPSDUHG WR WKH OHJDO GHVFULSWLRQ RQ WKH WD[ UROOV WR YHULI\ WKDW WKH\ FRYHU WKH H[DFW VDPH
SURSHUW\ WKDW QHLWKHU LQFOXGHV DGGLWLRQDO ODQGV DQG WKDW DOO WD[ SDUFHO QXPEHUV DUH FRUUHFWO\
VKRZQ,IWKH/DQGLQFOXGHVRQO\DSRUWLRQRIDWD[GHVFULSWLRQWKHVHHQGRUVHPHQWVPD\QRWEH
JLYHQ

7RLVVXH$/7$)RUPWKHDERYHFRPSDULVRQVKRXOGEHPDGHIRUHDFKSDUFHOLQFOXGHG,Q
DGGLWLRQWRJLYHWKHHDVHPHQWFRYHUDJHLIDSSURSULDWHWKHIROORZLQJPDWWHUVPXVWEHWDNHQLQWR
FRQVLGHUDWLRQ



)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 367 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                          6(&7,21



7KHHDVHPHQWUHIHUUHGWRLQWKLVHQGRUVHPHQWPXVWEHVKRZQLQWKH3ROLF\LQ6FKHGXOH$RU&DV
DQ LQVXUHG SDUFHO 7KLV ZLOO LQVXUH WKDW D FRPSOHWH VHDUFK RI WLWOH WR WKH VHUYLHQW SDUFHO
HQFXPEHUHG E\ WKH HDVHPHQW DORQJ ZLWK D GHWHUPLQDWLRQ RI WKH VWDWXV RI WD[HV DQG
DVVHVVPHQWVKDVEHHQGRQH

$Q DEVROXWH HVVHQWLDO HOHPHQW ZLOO EH WKH H[LVWHQFH RI VWDWH VWDWXWHV RU ELQGLQJ FDVH ODZ WKDW
VSHFLILFDOO\ SURWHFWV WKH YDOLGLW\ RI DQ\ SURSHUO\ FUHDWHG HDVHPHQW IURP WKH HIIHFWV RI DQ\ QRQ
SD\PHQW RI WD[HV RU WKH IRUHFORVXUH RI WKH OLHQ RI VXFK WD[HV DV LPSRVHG RQ WKH VHUYLHQW
WHQHPHQW7KLVSURWHFWLRQPXVWH[LVWQRPDWWHUZKHQWKHHDVHPHQWLVFUHDWHGRUZKHQWKHWD[HV
DUHLPSRVHG

7KHPRVWFRPPRQIDFWXDOVFHQDULRVDUH
                  
      (DVHPHQWFUHDWHG7D[HVIRUWKH\HDULQZKLFKHDVHPHQWLVFUHDWHGDUHDOOSDLG
         7D[HVIRUVXEVHTXHQW\HDUVJRLQWRIRUHFORVXUH6WDWHODZSURYLGHVSXUFKDVHUDW
         WD[VDOHWDNHVVXEMHFWWRHDVHPHQW
      6DPHDVEXWVWDWHODZSURYLGHVSXUFKDVHUDWWD[VDOHWRJHWODQGIUHHDQGFOHDU
         RIHDVHPHQWLQWHUHVW
      2XWVWDQGLQJWD[HVRZHG(DVHPHQWFUHDWHG6WDWHODZSURYLGHVWKDWIRUHFORVXUH
         RIWD[HVHIIHFWLYHO\IRUHFORVHVHDVHPHQWULJKWV6WDWHODZPD\QRWUHTXLUHQRWLFH
         RIWD[IRUHFORVXUHWRKROGHURIHDVHPHQWULJKWV
      (DVHPHQWFUHDWHG7D[HVDUHDVVHVVHGDIWHUWKHFUHDWLRQRIWKHHDVHPHQWEXW
         VWDWH ODZ SURYLGHVWKDWWKHOLHQ RIWKHWD[HVGDWHV EDFNWRD GDWHSUHFHGLQJWKH
         FUHDWLRQ RI WKH HDVHPHQW $JDLQ VWDWH ODZ SURYLGHV WKDW IRUHFORVXUH RI WD[HV
         HIIHFWLYHO\IRUHFORVHVHDVHPHQWULJKWV
     7D[HVRUVSHFLDODVVHVVPHQWVPD\EHVFKHGXOHGWREHSDLGRIIRYHUDQXPEHURI
         \HDUV LQ WKH IXWXUH ,Q PDQ\ MXULVGLFWLRQV WKHVH DUH FDOOHG ³ERQGV´ RU ³IXWXUH
         DVVHVVPHQWV´(YHQLIWKHFXUUHQW\HDU¶VOLDELOLWLHVDUHSDLGWKHIDLOXUHWRSD\DQ\
         RIWKHIXWXUHERQGVPD\UHVXOWLQDOLHQWKDWGDWHVEDFNWRWKHRULJLQDOFUHDWLRQRI
         WKH OLDELOLW\ ZKLFK LI LW SUHGDWHV WKH FUHDWLRQ RI WKH HDVHPHQW FRXOG FDXVH WKH
         HDVHPHQWWREHIRUHFORVHGZKHQWKRVHERQGDPRXQWVDUHIRUHFORVHG
         
2EYLRXVO\LQH[DPSOHVDQGDERYHZHZRXOGQRWEHDEOHWRLVVXHWKLVFRYHUDJH
,I WKLV FRYHUDJH LV UHTXHVWHG E\ WKH /HQGHU WKH ,QVXUHG 0RUWJDJH PXVW EH VHFXUHG E\ WKH
UHIHUHQFHGHDVHPHQW

                         $87+25,7<)25,668$1&(2)(1'256(0(17


)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 368 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                       6(&7,21




,I WKHUH LV QR ELQGLQJ DXWKRULW\ LQ WKH VWDWH ZKHUHLQ WKH SURSHUW\ OLHV DQ\ UHTXHVW IRU WKLV
HQGRUVHPHQWPXVWEHVXEPLWWHGWRWKH&RPSDQ\¶VXQGHUZULWLQJDGYLVHUIRUDSSURYDO 
                                                       
                                                       
                                             02',),&$7,21
                                                       
,Q WKH HYHQW WKDW PRGLILFDWLRQ RI DQ HQGRUVHPHQW LV UHTXHVWHG LW LV QHFHVVDU\ WR FRQVLGHU \RXU
VWDWHUHJXODWRU\UHTXLUHPHQWVIRUILOLQJDQGDSSURYDORIIRUPV,IWKHHQGRUVHPHQWLVPRGLILHGWKH
HQGRUVHPHQWLVQRWDQ$/7$IRUPDQGVKRXOGQRWUHIHUHQFH$/7$LQWKHWLWOH<RXPXVWREWDLQ
WKH DSSURYDO RI WKH &RPSDQ\¶V XQGHUZULWLQJ DGYLVHU EHIRUH FRPSO\LQJ ZLWK DQ\ UHTXHVW IRU D
PRGLILFDWLRQ

5HWXUQWR7DEOHRI&RQWHQWV




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 369 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                      6(&7,21



                                            (1'256(0(17

                                    $WWDFKHGWR3ROLF\1RBBBBBBBBBBB

                                               ,VVXHG%\
                                             >)17*%5$1'@
                                                    

7KH &RPSDQ\ LQVXUHV DJDLQVW ORVV RU GDPDJH VXVWDLQHG E\ WKH ,QVXUHG E\ UHDVRQ RI WKH /DQG
EHLQJWD[HGDVSDUWRIDODUJHUSDUFHORIODQGRUIDLOLQJWRFRQVWLWXWHDVHSDUDWHWD[SDUFHOIRUUHDO
HVWDWHWD[HV

7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


>:LWQHVVFODXVHRSWLRQDO@





>)17*%5$1'@

%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB




$/7$(QGRUVHPHQW)RUP
  6LQJOH7D[3DUFHO   
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ



)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 370 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                       6(&7,21



                                            (1'256(0(17

                                    $WWDFKHGWR3ROLF\1RBBBBBBBBBBB

                                               ,VVXHG%\
                                             >)17*%5$1'@
                                                    

7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI

        WKRVHSRUWLRQVRIWKH/DQGLGHQWLILHGEHORZQRWEHLQJDVVHVVHGIRUUHDOHVWDWHWD[HVXQGHU
           WKH OLVWHG WD[ LGHQWLILFDWLRQ QXPEHUV RU WKRVH WD[ LGHQWLILFDWLRQ QXPEHUV LQFOXGLQJ DQ\
           DGGLWLRQDOODQG

          3DUFHO                             3$5&(/
           7D[,GHQWLILFDWLRQ1XPEHU V  7$;,'
           
           
          3DUFHO                             3$5&(/
           7D[,GHQWLILFDWLRQ1XPEHU V  7$;,'
           
           
          3DUFHO                             3$5&(/
           7D[,GHQWLILFDWLRQ1XPEHU V  7$;,'
           
           
        WKH HDVHPHQWV LI DQ\ GHVFULEHG LQ 6FKHGXOH $ EHLQJ FXW RII RU GLVWXUEHG E\ WKH
           QRQSD\PHQWRIUHDOHVWDWHWD[HVDVVHVVPHQWVRURWKHUFKDUJHVLPSRVHGRQWKHVHUYLHQW
           HVWDWHE\DJRYHUQPHQWDODXWKRULW\

7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


>:LWQHVVFODXVHRSWLRQDO@





>)17*%5$1'@

%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB




$/7$(QGRUVHPHQW)RUP
0XOWLSOH7D[3DUFHO   
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 371 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                 6(&7,21



5HWXUQWR7DEOHRI&RQWHQWV
                                            &217,*8,7<
                           
             $/7$(1'256(0(17)250 08/7,3/(3$5&(/6 >ZLWKLQ/DQG@
              $1')250 6,1*/(3$5&(/ >ZLWKSURSHUW\RWKHUWKDQ/DQG@


                                       385326(

$/7$)RUPLVGHVLJQHGWRSURYLGHLQVXUDQFHWKDW  HDFKSDUFHOLQDSROLF\ZKLFKLQVXUHV
PXOWLSOHSDUFHOVLVFRQWLJXRXVWRDWOHDVWRQHRWKHUSDUFHOLQVXUHGE\WKHSROLF\RU  LIVRPH
SDUFHOVDUHQRWFRQWLJXRXVWRDWOHDVWRQHRWKHUSDUFHOWKDWFHUWDLQSDUFHOVDUHFRQWLJXRXVWR
FHUWDLQRWKHUSDUFHOV7KH$/7$)RUPSURYLGHVFRYHUDJHWKDWWKH/DQGLQWKHSROLF\LV
FRQWLJXRXVWRVRPHRWKHUVSHFLILFSDUFHOQRWLQVXUHGLQWKHSROLF\

                      6(&7,212)32/,&<$0(1'('%<(1'256(0(17

7KH$/7$SROLFLHVGRQRWLQVXUHFRQWLJXLW\7KHVHHQGRUVHPHQWVDGGDQLQVXULQJSURYLVLRQDQG
DGGLWLRQDOOLDELOLW\
                      %$6,6)253529,',1*&29(5$*(

$VXUYH\PXVWEHSUHVHQWHGWRWKH&RPSDQ\7KHVXUYH\PXVWDGHTXDWHO\GHSLFWWKHDEVHQFHRI
JDSVVWULSVRUJRUHVLQVXUHGDJDLQVWDQGFRQWDLQDVWDWHPHQWE\WKHVXUYH\RUWKDWWKHSDUFHOV
DUHFRQWLJXRXV3URYLGLQJWKHFRYHUDJHRQVRPHRWKHUEDVLVIRUH[DPSOHEHFDXVHWKHSDUFHOV
DUHDGMDFHQWORWVLQWKHVDPHVXEGLYLVLRQRUEHFDXVHWKHOLQHZKLFKVHSDUDWHVWKHPLQDPHWHV
DQGERXQGVGHVFULSWLRQKDVLGHQWLFDOSRLQWVRIEHJLQQLQJDQGLGHQWLFDOFDOOVWRGHVFULEHWKDWOLQH
FDQRQO\EHGRQHZLWKWKHDSSURYDORI\RXU&RPSDQ\XQGHUZULWLQJDGYLVRU

7KHSUREOHPWKDWRIWHQDULVHVZLWKWKH$/7$LVWKDWWKHUHLVQRWDVLQJOHVXUYH\RIERWK
WKH/DQGLQFOXGHGZLWKLQWKHSROLF\DQGWKHDGGLWLRQDOSDUFHODVWRZKLFKFRQWLJXLW\LVEHLQJ
LQVXUHG$JDLQDQ\UHTXHVWWRLVVXHWKLVHQGRUVHPHQWZLWKRXWDVLQJOHVXUYH\VKRZLQJERWK
SDUFHOVZLWKDFHUWLILFDWLRQE\WKHVXUYH\RUWKDWWKHSDUFHOVDUHFRQWLJXRXVPXVWEHUHIHUUHGWR
\RXU&RPSDQ\XQGHUZULWLQJDGYLVRU
                                          02',),&$7,21
,QWKHHYHQWWKDWPRGLILFDWLRQRIDQHQGRUVHPHQWLVUHTXHVWHGLWLVQHFHVVDU\WRFRQVLGHU\RXU
VWDWHUHJXODWRU\UHTXLUHPHQWVIRUILOLQJDQGDSSURYDORIIRUPV,IWKHHQGRUVHPHQWLVPRGLILHGWKH
HQGRUVHPHQWLVQRWDQ$/7$IRUPDQGVKRXOGQRWUHIHUHQFH$/7$LQWKHWLWOH<RXPXVWREWDLQ
WKHDSSURYDORIWKH&RPSDQ\¶VXQGHUZULWLQJDGYLVHUEHIRUHFRPSO\LQJZLWKDQ\UHTXHVWIRUD
PRGLILFDWLRQ


)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 372 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF               6(&7,21



5HWXUQWR7DEOHRI&RQWHQWV




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 373 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                      6(&7,21



                                                (1'256(0(17
                                        $WWDFKHGWR3ROLF\1RBBBBBBBBBBB

                                                   ,VVXHG%\
                                                 >)17*%5$1'@


7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI

                7KH IDLOXUH >RI WKH BBBBBB ERXQGDU\ OLQH RI 3DUFHO $@ RI WKH /DQG WR EH
                   FRQWLJXRXV WR >WKH BBBBBB ERXQGDU\ OLQH RI 3DUFHO %@ >IRU PRUH WKDQ WZR
                   SDUFHOVFRQWLQXHDVIROORZV³RI>WKHBBBBBBERXQGDU\OLQHRI3DUFHO%@RI
                   WKH/DQGWREHFRQWLJXRXVWR>WKHBBBBBBERXQGDU\OLQHRI3DUFHO&@DQGVR
                   RQ XQWLO DOO FRQWLJXRXV SDUFHOV GHVFULEHG LQ WKH SROLF\ KDYH EHHQ
                   DFFRXQWHGIRU@RU

                7KH SUHVHQFH RI DQ\ JDSV VWULSV RU JRUHV VHSDUDWLQJ DQ\ RI WKH FRQWLJXRXV
                   ERXQGDU\OLQHVGHVFULEHGDERYH

7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


>:LWQHVVFODXVHRSWLRQDO@





>)17*%5$1'@

%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB















$/7$(QGRUVHPHQW)RUP
  &RQWLJXLW\±0XOWLSOH3DUFHOV   
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 374 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                       6(&7,21



                                                 (1'256(0(17

                                         $WWDFKHGWR3ROLF\1RBBBBBBBBBBB

                                                    ,VVXHG%\
                                                  >)17*%5$1'@


7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI
           
                7KH IDLOXUH RI WKH /DQG WR EH FRQWLJXRXV WR >GHVFULEH WKH ODQG WKDW LV
                   FRQWLJXRXV WR WKH /DQG E\ LWV OHJDO GHVFULSWLRQ RU E\ UHIHUHQFH WR D
                   UHFRUGHG LQVWUXPHQW ± HJ ³   WKDW FHUWDLQ SDUFHO RI UHDO SURSHUW\ OHJDOO\
                   GHVFULEHGLQWKHGHHGUHFRUGHGDV,QVWUXPHQW1RUHFRUGVRI
                   &RXQW\6WDWHRI@DORQJWKHBBBBBBERXQGDU\
                   OLQH>V@RU
           
                7KHSUHVHQFH RIDQ\JDSVVWULSVRUJRUHVVHSDUDWLQJWKHFRQWLJXRXV ERXQGDU\
                   OLQHVGHVFULEHGDERYH

7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


>:LWQHVVFODXVHRSWLRQDO@





>)17*%5$1'@

%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB




$/7$(QGRUVHPHQW)RUP
&RQWLJXLW\±6LQJOH3DUFHO   
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ



)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 375 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                        6(&7,21



5HWXUQWR7DEOHRI&RQWHQWV
                                                       
                                                ),567/266
                                  $/7$(1'256(0(17)250

                                                 385326(

7KLV HQGRUVHPHQW LV GHVLJQHG WR DOWHU WKH HVWDEOLVKHG FULWHULD IRU GHWHUPLQLQJ ZKHQ D ORVV LV
UHFRJQL]HGXQGHUDORDQSROLF\/RVVLVQRUPDOO\WKHGLIIHUHQFHEHWZHHQWKHYDOXHRIWKHSURSHUW\
ZLWKRUZLWKRXWWKHGHIHFWOLHQRUHQFXPEUDQFHLQVXUHGDJDLQVW8QGHUQRUPDOFLUFXPVWDQFHVD
ORVVZRXOGEHGLIILFXOWWRGHWHUPLQHXQWLOWKHODQGZDVVROGDIWHUIRUHFORVXUH,IWKHVDOHZDVIRUDQ
DPRXQWOHVVWKDQWKHGHEWDQGWKHGLIIHUHQFHEHWZHHQWKHVDOHVSULFHDQGWKHLQGHEWHGQHVVZDV
FDXVHG E\ D PDWWHU FRYHUHG E\ WKH SROLF\ WKH OHQGHU FRXOG FODLP D ORVV  &RQVHTXHQWO\ DQ
LQVXUHG OHQGHU ZRXOG QRUPDOO\ EH UHTXLUHG WR IRUHFORVH WR SURYH WKLV ORVV EHIRUH EHLQJ DEOH WR
PDNHDFODLP7KLVHQGRUVHPHQWWREHLVVXHGRQO\ZKHQWKHUHLVPRUHWKDQRQHLQVXUHGSDUFHO
DOORZV D ORVV WR EH UHFRJQL]HG ZKHQHYHU D WLWOH GHIHFW PDWHULDOO\ LPSDLUV WKH YDOXH RI D SDUFHO
VHFXULQJ WKH ORDQ ZLWKRXW UHTXLULQJ DFFHOHUDWLRQ RI WKH GHEW DQG IRUHFORVXUH DJDLQVW DQ\ RI WKH
SDUFHOV VHFXULQJ WKH ORDQ 7KHUH ZDV D WHFKQLFDO FRUUHFWLRQ RI WKLV HQGRUVHPHQW E\ $/7$ RQ
EXWWKH\GLGQRWFKDQJHWKH$/7$DGRSWHGGDWH
                                                       
                 6(&7,212)7+(32/,&<$0(1'('%<7+((1'256(0(17
                           
7KLV HQGRUVHPHQW DOORZV DVVHUWLRQ RI ORVV RQ WKH EDVLV RI LPSDLUPHQW RI VHFXULW\ DV LI ZH KDG
LQVXUHG VHSDUDWH ORDQV VHFXUHG E\ VHSDUDWH SDUFHOV HYHQ WKRXJK WKH LQVXUHG WUDQVDFWLRQ LV
DFWXDOO\ D VLQJOH ORDQ VHFXUHG E\ PXOWLSOH SDUFHOV 7KH &RPSDQ\ DQG WKH FRXUWV KDYH DSSOLHG
&RQGLWLRQWRWKHGHWHUPLQDWLRQRIZKDWLVDORVVLQVXFKDZD\WKDW³ORVV´DVGHVFULEHGLQWKH
HQGRUVHPHQW ZRXOGEHFRQVLGHUHGDQLQWHULPVLWXDWLRQFRQWLQJHQWXSRQWKHUHPDLQLQJ SURSHUW\
IDLOLQJWRSURYLGHDGHTXDWHVHFXULW\IRUWKHXQSDLGGHEW)RUWKDWUHDVRQWKLVHQGRUVHPHQWLVRIWHQ
GHVFULEHGDV&RQWLQJHQW/RVV )LUVW/RVV 
                                                       
                                 %$6,6)253529,',1*&29(5$*(

:KLOHDOORZLQJWKHOHQGHUWRFODLPDORVVZLWKRXWIRUHFORVLQJDJDLQVWDQ\RIWKHSDUFHOVLQFOXGHG
LQWKHHQGRUVHPHQWIRUPLVDQDFNQRZOHGJHPHQWRIWKHVXEURJDWLRQULJKWVRIWKH&RPSDQ\ZKLFK
LQFOXGHVHQWLWOHPHQWWRUHLPEXUVHPHQWLQDFDVHZKHUHSD\PHQWXQGHUWKHWHUPVRIWKLV
HQGRUVHPHQWPLJKWUHVXOWLQDZLQGIDOOIRUDOHQGHUZKRODWHUZDVIXOO\UHSDLGIURPWKHUHPDLQLQJ
SURSHUW\


)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 376 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                               6(&7,21





&$87,21 <28 0867 &21)(5 :,7+ 7+( &203$1<¶6 81'(5:5,7,1* $'9,625 72
'(7(50,1(7+(&203$1<¶6:,//,1*1(6672,668(7+,6(1'256(0(17,1$*,9(1
67$7( $ /(1'(5 :+2 ,6 $/(57 72 7+( $17,'(),&,(1&< 352%/(0 2) 7+,6
&29(5$*(0$<
'(/,%(5$7(/< +$9( 7+( %2552:(5 5(029( :$55$17,(6 )520 7+( 6(&85,7<
,167580(17 62 7+$7 21/< 3$<0(17 '()$8/76 $5( $&7,21$%/( $'9,6( 7+(
&203$1<¶681'(5:5,7,1*$'9,625,)7+,6,67+(&$6(

7KHFRYHUDJHLVQRWDSSURSULDWHIRUORDQVZLWKRQO\RQHSDUFHO
                                                  
                                         02',),&$7,21
                                                  
,QWKHHYHQWWKDWPRGLILFDWLRQRIDQHQGRUVHPHQWLVUHTXHVWHGLWLVQHFHVVDU\WRFRQVLGHU\RXU
VWDWHUHJXODWRU\UHTXLUHPHQWVIRUILOLQJDQGDSSURYDORIIRUPV,IWKHHQGRUVHPHQWLVPRGLILHGWKH
HQGRUVHPHQWLVQRWDQ$/7$IRUPDQGVKRXOGQRWUHIHUHQFH$/7$LQWKHWLWOH<RXPXVWREWDLQ
WKHDSSURYDORIWKH&RPSDQ\¶VXQGHUZULWLQJDGYLVHUEHIRUHFRPSO\LQJZLWKDQ\UHTXHVWIRUD
PRGLILFDWLRQ

5HWXUQWR7DEOHRI&RQWHQWV

                                




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 377 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                         6(&7,21



                                               (1'256(0(17
                                                         
                                      $WWDFKHGWR3ROLF\1RBBBBBBBBBBB
                                                         
                                                   ,VVXHG%\
                                                >)17*%5$1'@
                                                         

7KLVHQGRUVHPHQWLVHIIHFWLYHRQO\LIWKH&ROODWHUDOLQFOXGHVDWOHDVWWZRSDUFHOVRIUHDOSURSHUW\

        )RUWKHSXUSRVHVRIWKLVHQGRUVHPHQW
     
           D      ³&ROODWHUDO´ PHDQV DOO SURSHUW\ LQFOXGLQJ WKH /DQG JLYHQ DV VHFXULW\ IRU WKH
                    ,QGHEWHGQHVV
           E      ³0DWHULDO ,PSDLUPHQW $PRXQW´ PHDQV WKH DPRXQW E\ ZKLFK DQ\ PDWWHU FRYHUHG
                    E\ WKH SROLF\ IRU ZKLFK D FODLP LV PDGH GLPLQLVKHV WKH YDOXH RI WKH &ROODWHUDO
                    EHORZWKH,QGHEWHGQHVV
           
        ,QWKHHYHQWRIDFODLPUHVXOWLQJIURPDPDWWHULQVXUHGDJDLQVWE\WKHSROLF\WKH&RPSDQ\
DJUHHVWRSD\WKDWSRUWLRQRIWKH0DWHULDO,PSDLUPHQW$PRXQWWKDWGRHVQRWH[FHHGWKHH[WHQWRI
OLDELOLW\LPSRVHGE\6HFWLRQRIWKH&RQGLWLRQVZLWKRXWUHTXLULQJ
         D     PDWXULW\RIWKH,QGHEWHGQHVVE\DFFHOHUDWLRQRURWKHUZLVH
         E     SXUVXLWE\WKH,QVXUHGRILWVUHPHGLHVDJDLQVWWKH&ROODWHUDORU
         F     SXUVXLW E\ WKH ,QVXUHG RI LWV UHPHGLHV XQGHU DQ\ JXDUDQW\ ERQG RU RWKHU
LQVXUDQFHSROLF\
         
      1RWKLQJLQWKLVHQGRUVHPHQWVKDOOLPSDLUWKH&RPSDQ\¶VULJKWRIVXEURJDWLRQ+RZHYHU
WKH&RPSDQ\DJUHHVWKDWLWVULJKWRIVXEURJDWLRQVKDOOEHVXERUGLQDWHWRWKHULJKWVDQGUHPHGLHV
RIWKH,QVXUHG7KH&RPSDQ\¶VULJKWRIVXEURJDWLRQVKDOOLQFOXGHWKHULJKWWRUHFRYHUWKHDPRXQW
SDLGWRWKH,QVXUHGSXUVXDQWWR6HFWLRQRIWKLVHQGRUVHPHQWIURPDQ\GHEWRURUJXDUDQWRURIWKH
,QGHEWHGQHVVDIWHUSD\PHQWRURWKHUVDWLVIDFWLRQRIWKHUHPDLQGHURIWKH,QGHEWHGQHVVDQGRWKHU
REOLJDWLRQVVHFXUHGE\WKHOLHQRIWKH,QVXUHG0RUWJDJH7KH&RPSDQ\VKDOOKDYHWKHULJKWWR
UHFRXSIURPWKH,QVXUHG&ODLPDQWDQ\DPRXQWUHFHLYHGE\LWLQH[FHVVRIWKH,QGHEWHGQHVVXSWR
WKHDPRXQWRIWKHSD\PHQWXQGHU6HFWLRQ

7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


>:LWQHVVFODXVHRSWLRQDO@




>)17*%5$1'@

%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

$/7$(QGRUVHPHQW)RUP
)LUVW/RVV±0XOWLSOH3DUFHO7UDQVDFWLRQV   
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ



)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 378 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                     6(&7,21



5HWXUQWR7DEOHRI&RQWHQWV
                                     &5(',7256¶5,*+76
                               $/7$(1'256(0(17)250

7KLVHQGRUVHPHQWZDVGHFHUWLILHGE\$/7$RQDQGLVQRORQJHUDYDLODEOH


5HWXUQWR7DEOHRI&RQWHQWV




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 379 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                       6(&7,21



5HWXUQWR7DEOHRI&RQWHQWV
                                                /2&$7,21
                                $/7$(1'256(0(17±)250
                                     $1')RUP ZLWKPDS 
                                                385326(

7KHVHHQGRUVHPHQWVLQVXUHDJDLQVWORVVRUGDPDJHLIDQLPSURYHPHQWRIWKHW\SHLGHQWLILHGLQWKH
HQGRUVHPHQWKDYLQJWKHDGGUHVVVHWIRUWKLQWKHHQGRUVHPHQWLVQRWORFDWHGRQWKH/DQG,Q
DGGLWLRQWKHLQVXUHVWKDWDFRS\RIDUHFRUGHGSODWRUPDSWKDWPD\EHDWWDFKHGDVDQ
H[KLELWWRWKHHQGRUVHPHQWDFFXUDWHO\UHIOHFWVWKHORFDWLRQDQGGLPHQVLRQVRIWKH/DQGDVVKRZQ
LQWKHSXEOLFUHFRUGV
                      6(&7,2162)32/,&<$0(1'('%<(1'256(0(17

7KLVHQGRUVHPHQWGRHVQRWH[SUHVVO\DPHQGDQ\SURYLVLRQVRIWKH3ROLF\

                                 %$6,6)253529,',1*&29(5$*(
7KHUHPXVWEHVRPHW\SHRILQGHSHQGHQWYHULILFDWLRQRIWKHLQIRUPDWLRQUHTXHVWHGXVXDOO\IURPD
VXUYH\RUDQDSSUDLVDO7KHDGGUHVVVKRXOGDOVREHYHULILHGIURPWKHWD[UHFRUGVDVVKRXOGWKH
IDFWWKDWWKHSURSHUW\LVEHLQJWD[HGDVLPSURYHG7KHGHVFULSWLRQRIWKHW\SHRILPSURYHPHQW
>³GZHOOLQJ´³UHVLGHQFH´HWF@VKRXOGEHWDNHQIURPWKHDSSUDLVDORUVXUYH\RUGHWHUPLQHGE\D
GLUHFWLQVSHFWLRQRIWKHSUHPLVHV

7KHXVHRIWKHWRZKLFKDFRS\RIDUHFRUGHGSODWRUPDSPD\EHDWWDFKHGLVQRW
XQLYHUVDO7KHGRFXPHQWWREHDWWDFKHGDVDQH[KLELWWRWKHHQGRUVHPHQWVKRXOGEHOLPLWHGWR
FRSLHVRILQVWUXPHQWVVXFKDVSODWPDSVWDNHQGLUHFWO\IURPWKHSXEOLFUHFRUGV7KHXVHRID
VXUYH\RUDVNHWFKWDNHQIURPRWKHUVRXUFHVWKDWLQFOXGHVPRUHRUGLIIHUHQWLQIRUPDWLRQWKDQWKH
UHFRUGHGSODWFRXOGH[SRVHWKH&RPSDQ\WRLQFUHDVHGOLDELOLW\
                                                       
                         $87+25,7<)25,668$1&(2)7+,6&29(5$*(

7KH$/7$)RUPHQGRUVHPHQWPD\QRWEHLVVXHGZLWKRXWWKHDSSURYDORIWKH&RPSDQ\¶V
XQGHUZULWLQJDGYLVRU
                                             02',),&$7,21

,Q WKH HYHQW WKDW PRGLILFDWLRQ RI DQ HQGRUVHPHQW LV UHTXHVWHG LW LV QHFHVVDU\ WR FRQVLGHU \RXU
VWDWHUHJXODWRU\UHTXLUHPHQWVIRUILOLQJDQGDSSURYDORIIRUPV,IWKHHQGRUVHPHQWLVPRGLILHGWKH
HQGRUVHPHQWLVQRWDQ$/7$IRUPDQGVKRXOGQRWUHIHUHQFH$/7$LQWKHWLWOH<RXPXVWREWDLQ
WKH DSSURYDO RI WKH &RPSDQ\¶V XQGHUZULWLQJ DGYLVHU EHIRUH FRPSO\LQJ ZLWK DQ\ UHTXHVW IRU D
PRGLILFDWLRQ


)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 380 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF               6(&7,21



5HWXUQWR7DEOHRI&RQWHQWV




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 381 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                      6(&7,21



                                            (1'256(0(17

                                    $WWDFKHGWR3ROLF\1RBBBBBBBBBBB

                                               ,VVXHG%\
                                             >)17*%5$1'@
                                                    

7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRIWKHIDLOXUHRI
D),//,1NQRZQDV),//,1WREHORFDWHGRQWKH/DQGDW'DWHRI3ROLF\

7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


>:LWQHVVFODXVHRSWLRQDO@





>)17*%5$1'@

%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB




$/7$(QGRUVHPHQW)RUP
  /RFDWLRQ   
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ



)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 382 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                      6(&7,21



                                             (1'256(0(17
                                    $WWDFKHGWR3ROLF\1RBBBBBBBBBBB

                                               ,VVXHG%\
                                             >)17*%5$1'@
                                                    

7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRIWKHIDLOXUHRI
  L D),//,1NQRZQDV),//,1WREHORFDWHGRQWKH/DQGDW'DWHRI3ROLF\RU LL WKHPDSLIDQ\
DWWDFKHGWRWKLVSROLF\WRFRUUHFWO\VKRZWKHORFDWLRQDQGGLPHQVLRQVRIWKH/DQGDFFRUGLQJWRWKH
3XEOLF5HFRUGV

7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
  L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


>:LWQHVVFODXVHRSWLRQDO@





>)17*%5$1'@

%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB




$/7$(QGRUVHPHQW)RUP
/RFDWLRQDQG0DS   
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ



)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 383 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                    6(&7,21



5HWXUQWR7DEOHRI&RQWHQWV
                                 &2,1685$1&(6,1*/(32/,&<
                               $/7$(1'256(0(17±)250
                                                     
                                                 385326(

7KLVHQGRUVHPHQWZDVGHVLJQHGWRIDFLOLWDWHWKHGHOLYHU\RIDVLQJOHSROLF\ZKHQFRLQVXUDQFH
ZLWKRWKHUXQGHUZULWHUVLVLQYROYHGZLWKDOORFDWLRQRIOLDELOLW\E\HQGRUVHPHQWIURPHDFKFRLQVXUHU

                     6(&7,2162)32/,&<$0(1'('%<(1'256(0(17

,WGRHVQRWDPHQGDQ\VHFWLRQRIWKHSROLF\EXWUDWKHURSHUDWHVWRLQFRUSRUDWHWKHWHUPVDQG
FRQGLWLRQVRIDQRWKHUSROLF\LQWRRXUSROLF\

                               %$6,6)253529,',1*&29(5$*(

0DQ\ODUJHWUDQVDFWLRQVXVHWKHFRQFHSWRI&RLQVXUDQFHWRVSUHDGWKHULVNEHWZHHQ
XQGHUZULWHUV%DVLFDOO\FRLQVXUHUVHDFKVKDUHDSHUFHQWDJHRUGROODUDPRXQWRIDQ\FODLP(DFK
LVSULPDULO\OLDEOHIRUWKHLUVKDUHRIULVNZKLFKPHDQVWKH\VKDUHLQWKHULVNIURPWKHILUVWGROODURI
ORVV7KLVLVDFFRPSOLVKHGE\HDFKFRPSDQ\LVVXLQJDVHSDUDWHSROLF\LQWKHDPRXQWRIULVNWKH\
KDYHXQGHUWDNHQDQGHDFKSROLF\ZRXOGKDYHDQH[FHSWLRQRUDQRWHWRDFNQRZOHGJHWKDWRWKHU
SROLFLHVVKDUHWKHVHVDPHULVNV7KLVGLIIHUVIURP5HLQVXUDQFHLQZKLFKRQHFRPSDQ\LVVXHVD
SROLF\DQGLVSULPDULO\OLDEOHIRUWKHZKROHDPRXQWEXWSXUFKDVHVUHLQVXUDQFHIURPRWKHU
XQGHUZULWHUVWRVSUHDGWKDWULVNWRVHFRQGDU\ DQGRWKHU OHYHOVRIOLDELOLW\,QUHLQVXUDQFHWKH
$/7$SROLF\LVVXHGE\WKHSULPDU\LQVXUHULVWKHVRXUFHRIFRYHUDJHWRWKH,QVXUHG7KHOLDELOLW\RI
WKH5HLQVXUHUVLVWRWKH&HGHU WKHRQHZKRSXUFKDVHGWKH5HLQVXUDQFH XQGHUWKHWHUPVRIWKH
5HLQVXUDQFH$JUHHPHQW7KHWHUPVRIWKDWDJUHHPHQWPD\DOORZGLUHFWDFFHVVWRWKH5HLQVXUHUV
EXWWKDWLVDGLIIHUHQWWRSLFDQGZLOOQRWEHGLVFXVVHGLQWKLVVHFWLRQ

,QVWHDGRIKDYLQJPXOWLSOHSROLFLHVIURPPXOWLSOHXQGHUZULWHUVHDFKLQDSHUFHQWDJHRUIUDFWLRQDO
GROODUDPRXQWZKLFKLQDPXOWLVLWHGHDOFRXOGUHVXOWLQWHQVRUKXQGUHGVRISROLFLHVWKH,QVXUHG
PD\ZDQWWRKDYHMXVWRQHSROLF\IRUHDFKVLWHWKDWDOOXQGHUZULWHUVDJUHHZLOODFWDVWKHLUSROLF\LQ
IRUPDQGVXEVWDQFH7KLVFDQEHDFFRPSOLVKHGE\XVHRIWKLVHQGRUVHPHQWDWWDFKHGWRWKH
RULJLQDORUFRSLHVRIWKHSROLF\ZULWWHQE\ZKDWLVVRPHWLPHVFDOOHGWKH³OHDGXQGHUZULWHU´RU
³,VVXLQJ&RLQVXUHU´

7RLVVXHWKLVHQGRUVHPHQWWRVRPHRWKHUXQGHUZULWHU¶VSROLF\ ZKHQZHDUH127WKHOHDG
XQGHUZULWHU \RXPXVWGRWKHIROORZLQJ


)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 384 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                 6(&7,21



2SHQDILOHDQGSURGXFHDSROLF\ZLWKRXUSROLF\QXPEHURQLW7KDWSROLF\PXVWDJUHHLQDOO
DVSHFWVH[FHSWDPRXQWZLWKWKHSROLF\ZULWWHQE\WKHOHDGXQGHUZULWHU,I\RXGRQRWDJUHHZLWK
DQ\RIWKHSURYLVLRQVRUFRYHUDJHVLVVXHGE\WKHOHDGXQGHUZULWHU\RXFDQQRWLVVXHWKLV
HQGRUVHPHQW

3UHSDUHDQGGHOLYHUWKLVHQGRUVHPHQW QRWRXUXQGHUO\LQJSROLF\ WRWKH,QVXUHG2IWHQWKH
HQGRUVHPHQWZLOOEHSUHSDUHGE\WKH³,VVXLQJ&R,QVXUHU´ZKRKDVFROOHFWHGDOORIWKHSROLF\
DPRXQWVDQGILOHLQIRUPDWLRQ,IWKDWLVWKHFDVH\RXFDQVLJQWKHHQGRUVHPHQWDIWHUYHULI\LQJ

    x   7KH,VVXLQJ&R,QVXUHU¶VSROLF\QXPEHULVLQWKHILUVWEODQNLQWKHKHDGLQJ
    x   ,QWKHFKDUWZHDUHVKRZQDVRQHRIWKH&R,QVXUHUV7KH$PRXQWRI,QVXUDQFH
         3HUFHQWDJHRI/LDELOLW\SROLF\LQIRUPDWLRQDQGFODLPVDGGUHVVPXVWEHFKHFNHG7KHOHDG
         XQGHUZULWHU RU³,VVXLQJ&RLQVXUHU´LQWKHHQGRUVHPHQW PD\ILOOLQWKH$PRXQWVDQG
         3HUFHQWDJHVIRUWKHSROLFLHVDQGVHQGLWWR\RXIRURXUSROLF\QXPEHUDQGVLJQDWXUH.HHS
         DFRS\RIWKHVLJQHGHQGRUVHPHQWLQRXUSROLF\ILOH
         
5HSRUWDQGUHPLWSUHPLXPRQWKHDPRXQWRIRXUSROLF\WKDW\RXSURGXFHGIRUWKHILOH 

7RLVVXHWKLVHQGRUVHPHQWZKHUHZHDUHWKHOHDGXQGHUZULWHU ³,VVXLQJ&R,QVXUHU´ \RXPXVWGR
WKHIROORZLQJ

2SHQDILOHDQGSURGXFHDSROLF\ZLWKRXUSROLF\QXPEHURQLW7+($028172)7+,6
32/,&<,61277+($**5(*$7(32/,&<$02817217+((1'2560(177KH$PRXQW
RI,QVXUDQFHRQ6FKHGXOH$RIWKH3ROLF\PXVWEHWKH$PRXQWRI,QVXUDQFHDOORFDWHGWRXV,WFDQ
EHDGGLWLRQDOO\VKRZQDVDSHUFHQWDJHRIWKH$JJUHJDWH$PRXQWRI,QVXUDQFHDPRXQWUHIOHFWHG
RQWKHHQGRUVHPHQW7KHSROLF\VKRXOGFRQWDLQDIRRWQRWHVLPLODUWRWKHIROORZLQJ

             ³7KLVSROLF\LVLVVXHGFRQWHPSRUDQHRXVO\ZLWKWKHSROLFLHVUHIOHFWHGRQWKH&R,QVXUDQFH
             (QGRUVHPHQWDWWDFKHGKHUHWRZKLFKSROLFLHVWRWDOWKH$JJUHJDWH$PRXQWRI,QVXUDQFH
             DVVKRZQWKHUHLQ,WLVXQGHUVWRRGDQGDJUHHGWKDWIRUDOOORVVRUDJJUHJDWHORVVHV
             DJDLQVWZKLFKVDLGSROLFLHVSURWHFWWKH&RPSDQ\VKDOOEHOLDEOHRQO\IRUWKH3HUFHQWDJH
             RI/LDELOLW\XSWRWKH$PRXQWRI,QVXUDQFHDVDOORFDWHGWRWKH&RPSDQ\WKHUHLQ,QQR
             HYHQWVKDOOWKH&RPSDQ\EHOLDEOHIRUORVVLQH[FHVVRIWKH$PRXQWRI,QVXUDQFHDV
             VKRZQWKHUHLQ´

3UHSDUHDVDPSOH(QGRUVHPHQWZLWKWKHLQIRUPDWLRQVXSSOLHGE\WKHRWKHUXQGHUZULWHUV6HQG
WRWKHRWKHUXQGHUZULWHUVVRWKH\PD\ILOOLQDQ\RIWKHLUPLVVLQJSROLF\LQIRUPDWLRQLQWKHFKDUWDQG
H[HFXWH

5HSRUWWKHSROLF\

)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 385 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                               6(&7,21





                                         02',),&$7,21

,QWKHHYHQWWKDWPRGLILFDWLRQRIDQHQGRUVHPHQWLVUHTXHVWHGLWLVQHFHVVDU\WRFRQVLGHU\RXU
VWDWHUHJXODWRU\UHTXLUHPHQWVIRUILOLQJDQGDSSURYDORIIRUPV,IWKHHQGRUVHPHQWLVPRGLILHGWKH
HQGRUVHPHQWLVQRWDQ$/7$IRUPDQGVKRXOGQRWUHIHUHQFH$/7$LQWKHWLWOH<RXPXVWREWDLQ
WKHDSSURYDORIWKH&RPSDQ\¶VXQGHUZULWLQJDGYLVHUEHIRUHFRPSO\LQJZLWKDQ\UHTXHVWIRUD
PRGLILFDWLRQ

5HWXUQWR7DEOHRI&RQWHQWV




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 386 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                 6(&7,21



                                           (1'256(0(17

                                    $WWDFKHGWR3ROLF\1R>OHDGSROLF\@
                                                 ,VVXHGE\
                               >OHDGSROLF\LVVXUHU@ ³,VVXLQJ&R,QVXUHU´ 
                                                       
                                   &2,1685$1&((1'256(0(17

$WWDFKHGWRDQGPDGHDSDUWRI,VVXLQJ&R,QVXUHU¶V3ROLF\1R>OHDGSROLF\@ ³&R,QVXUDQFH
3ROLF\´ (DFKWLWOHLQVXUDQFHFRPSDQ\H[HFXWLQJWKLV&R,QVXUDQFH(QGRUVHPHQWRWKHUWKDQWKH
,VVXLQJ&R,QVXUHUVKDOOEHUHIHUUHGWRDV³&R,QVXUHU´,VVXLQJ&R,QVXUHUDQGHDFK&R,QVXUHU
DUHFROOHFWLYHO\UHIHUUHGWRDV³&R,QVXULQJ&RPSDQLHV´

%\LVVXLQJWKLVHQGRUVHPHQWWRWKH&R,QVXUDQFH3ROLF\HDFKRIWKH&R,QVXULQJ&RPSDQLHV
DGRSWVWKH&R,QVXUDQFH3ROLF\¶V&RYHUHG5LVNV([FOXVLRQV&RQGLWLRQV6FKHGXOHVDQG
HQGRUVHPHQWVVXEMHFWWRWKHOLPLWDWLRQVRIWKLVHQGRUVHPHQW

&R,QVXULQJ&RPSDQLHV    1DPHDQG          3ROLF\1XPEHU>)LOH    $PRXQWRI      3HUFHQWDJHRI
                          $GGUHVV          1XPEHU@               ,QVXUDQFH     /LDELOLW\
,VVXLQJ&R,QVXUHU                                                          
&R,QVXUHU                                                                 
&R,QVXUHU                                                                  
&R,QVXUHU                                                                  
$JJUHJDWH$PRXQWRI                                                          
,QVXUDQFH


(DFKRIWKH&R,QVXULQJ&RPSDQLHVVKDOOEHOLDEOHWRWKH,QVXUHGRQO\IRULWV3HUFHQWDJHRI
/LDELOLW\RI D WKHWRWDORIWKHORVVRUGDPDJHXQGHUWKH&R,QVXUDQFH3ROLF\LQQRHYHQWJUHDWHU
WKDQLWVUHVSHFWLYH$PRXQWRI,QVXUDQFHVHWIRUWKLQWKLVHQGRUVHPHQWDQG E FRVWVDWWRUQH\V¶
IHHVDQGH[SHQVHVSURYLGHGIRULQWKH&RQGLWLRQV

$Q\QRWLFHRIFODLPDQGDQ\RWKHUQRWLFHRUVWDWHPHQWLQZULWLQJUHTXLUHGWREHJLYHQXQGHUWKH
&R,QVXUDQFH3ROLF\PXVWEHJLYHQWRHDFKRIWKH&R,QVXULQJ&RPSDQLHVDWLWVDGGUHVVVHWIRUWK
DERYH

$Q\HQGRUVHPHQWWRWKH&R,QVXUDQFH3ROLF\LVVXHGDIWHUWKHGDWHRIWKLV&R,QVXUDQFH
(QGRUVHPHQWPXVWEHVLJQHGRQEHKDOIRIHDFK&R,QVXULQJ&RPSDQ\E\LWVDXWKRUL]HGRIILFHURU
DJHQW

7KLV&R,QVXUDQFH(QGRUVHPHQWLVHIIHFWLYHDVRIWKH'DWHRI3ROLF\RIWKH&R,QVXUDQFH
3ROLF\7KLV&R,QVXUDQFH(QGRUVHPHQWPD\EHH[HFXWHGLQFRXQWHUSDUWV

7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKH&RLQVXUDQFH3ROLF\([FHSWDVLWH[SUHVVO\VWDWHVLW
GRHVQRW L PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRU
HQGRUVHPHQWV LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKH
H[WHQWDSURYLVLRQRIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVV
SURYLVLRQRIWKLVHQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFW
WRDOORIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWVWRLW







)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 387 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF               6(&7,21



$/7$&RQWLQXHG

>:LWQHVV2SWLRQDO@

'$7('
,VVXLQJ&R,QVXUHU

>OHDGXQGHUZULWHU@

%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBB


&R,QVXUHU

>%/$1.@7LWOH,QVXUDQFH&RPSDQ\

%\BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB



&R,QVXUHU

>%/$1.@7LWOH,QVXUDQFH&RPSDQ\

%\BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB


&R,QVXUHU

>%/$1.@7LWOH,QVXUDQFH&RPSDQ\

%\BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB







>$GGLWLRQDO&R,QVXUHUVLJQDWXUHVPD\EHDGGHGLIQHHGHG@














$/7$(QGRUVHPHQW)RUP
  &R,QVXUDQFH6LQJOH3ROLF\  5HY 
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ



)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 388 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                       6(&7,21



5HWXUQWR7DEOHRI&RQWHQWV
                                            '2,1*%86,1(66
                                 $/7$(1'256(0(17)250
                                                       
                                                385326(
                                                       
7KLVHQGRUVHPHQWIRUDORDQSROLF\SURYLGHVFRYHUDJHWRWKHOHQGHUFRQFHUQLQJWKHFRQVHTXHQFHV
RIWKHIDLOXUHWRFRPSO\ZLWKVWDWH³GRLQJEXVLQHVV´ODZV


                       6(&7,2162)32/,&<$0(1'('%<(1'256(0(17
([FOXVLRQVIURP&RYHUDJHRIWKH/RDQ3ROLF\H[FOXGHVIURPFRYHUDJHDQ\ORVVIURP
XQHQIRUFHDELOLW\RIWKHOLHQRIWKHLQVXUHGPRUWJDJHUHVXOWLQJIURPWKHOHQGHU¶VIDLOXUHWRFRPSO\
ZLWKDQ\GRLQJEXVLQHVVODZVRIWKHVWDWHZKHUHWKH/DQGLVORFDWHG
                                                       
                                 %$6,6)253529,',1*&29(5$*(

0RVWVWDWHVUHJXODWHWKHOHQGLQJLQGXVWU\ZLWKLQWKHVWDWH0DQ\UHTXLUHOHQGHUVWREHDXWKRUL]HG
WR³GREXVLQHVV´LIWKH\DUHFKDUWHUHGRULQFRUSRUDWHGLQDQRWKHUVWDWHRUMXULVGLFWLRQ7KLVW\SHRI
UHJXODWLRQFDQEHIRXQGLQVWDWXWHVRUDGPLQLVWUDWLYHUHJXODWRU\SROLFLHV7KHSHQDOWLHVIRUIDLOXUH
WRIROORZWKHVHUXOHVRIWHQLQFOXGHILQHVRUWKHUHTXLUHPHQWWRDSSRLQWDVSHFLILFVWDWHDJHQF\
    VXFKDVWKHVHFUHWDU\RIVWDWHRUILQDQFLDOUHJXODWRU\DJHQF\ DVDJHQWRIVHUYLFHRISURFHVV
QHLWKHURIZKLFKDIIHFWVWKHSULRULW\RUHQIRUFHDELOLW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJH
+2:(9(5VRPHVWDWHVGHVLJQDWHWKDWWKHIDLOXUHWRFRPSO\ZLWKWKHUHJXODWLRQVUHVXOWVLQWKH
PRUWJDJHRUGHHGRIWUXVWEHLQJYRLGRUYRLGDEOH7+(5()25(\RXPXVWDVFHUWDLQWKDWWKHVWDWH
LQZKLFKWKH/DQGLVORFDWHGGRHVQRWKDYHDQ\VWDWXWRU\RUUHJXODWRU\SROLFLHVRUSURFHGXUHVWKDW
LPSDFWWKHSULRULW\RUSURKLELWWKHHQIRUFHPHQWRIPRUWJDJHVRUGHHGVRIWUXVWKHOGE\OHQGHUVQRW
DXWKRUL]HGRUOLFHQVHGWRGREXVLQHVVLQWKDWVWDWH<RXU&RPSDQ\XQGHUZULWLQJDGYLVRUVKRXOGEH
FRQVXOWHGIRULVVXDQFHZLWKLQ\RXUVWDWH
                                             02',),&$7,21
,Q WKH HYHQW WKDW PRGLILFDWLRQ RI DQ HQGRUVHPHQW LV UHTXHVWHG LW LV QHFHVVDU\ WR FRQVLGHU \RXU
VWDWHUHJXODWRU\UHTXLUHPHQWVIRUILOLQJDQGDSSURYDORIIRUPV,IWKHHQGRUVHPHQWLVPRGLILHGWKH
HQGRUVHPHQWLVQRWDQ$/7$IRUPDQGVKRXOGQRWUHIHUHQFH$/7$LQWKHWLWOH<RXPXVWREWDLQ
WKH DSSURYDO RI WKH &RPSDQ\¶V XQGHUZULWLQJ DGYLVHU EHIRUH FRPSO\LQJ ZLWK DQ\ UHTXHVW IRU D
PRGLILFDWLRQ
5HWXUQWR7DEOHRI&RQWHQWV
                                   


)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 389 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                           6(&7,21



                                             (1'256(0(17
                                                      
                                       $WWDFKHGWR3ROLF\1RBBBBBB
                                                      
                                                 ,VVXHGE\
                                                      
                                              >)17*%5$1'@


7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRIWKHLQYDOLGLW\
RUXQHQIRUFHDELOLW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJHRQWKHJURXQGWKDWPDNLQJWKHORDQ
VHFXUHGE\WKH,QVXUHG0RUWJDJHFRQVWLWXWHGDYLRODWLRQRIWKHGRLQJEXVLQHVVODZVRIWKH6WDWH
ZKHUHWKH/DQGLVORFDWHGEHFDXVHRIWKHIDLOXUHRIWKH,QVXUHGWRTXDOLI\WRGREXVLQHVVXQGHU
WKRVHODZV

      
7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\  ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW L 
PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL  PRGLI\ DQ\ SULRU HQGRUVHPHQWV LLL 
H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQRI
WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV  2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWVWRLW


>:LWQHVV2SWLRQDO@


'$7('

>)17*%5$1'@
                
%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBB
$87+25,=('6,*1$725<
      

                                                       








$/7$(QGRUVHPHQW)RUP
  'RLQJ%XVLQHVV   
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ






)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 390 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                          6(&7,21



5HWXUQWR7DEOHRI&RQWHQWV
                         6$0($66859(< 6$0($63257,212)6859(<
                          $/7$(1'256(0(17±)2506$1'
                                                         
                                                   385326(
                                                         
7KHVH HQGRUVHPHQWV H[SDQG SROLF\ FRYHUDJH E\ VSHFLI\LQJ WKDW WKH GHVFULSWLRQ RQ 6FKHGXOH $
    RU &  LV OHJDOO\ LGHQWLFDO WR D GHVFULSWLRQ FRQWDLQHG LQ D VXUYH\ ZKLFK LQFRUSRUDWHV GLIIHULQJ
ODQJXDJH

                         6(&7,2162)32/,&<$0(1'('%<(1'256(0(17
                                                         
1RVSHFLILFVHFWLRQRIWKHSROLF\LVDPHQGHGE\WKHVHHQGRUVHPHQWV+RZHYHUDGGLWLRQDO
FRYHUDJHLVDGGHG
                                                         
                                   %$6,6)253529,',1*&29(5$*(
                                                         
7KHVHHQGRUVHPHQWVDUHDYDLODEOHIRURZQHU VDQGORDQSROLFLHV7KH\LQVXUHWKDWWKH/DQGDV
GHVFULEHGLQ6FKHGXOH$LVOHJDOO\LGHQWLFDOZLWKWKHODQGDVGHVFULEHGLQWKHVXUYH\LGHQWLILHGLQ
WKHHQGRUVHPHQWGHVSLWHWKHIDFWWKDWWKHUHLVGLIIHUHQWODQJXDJHLQHDFKRIWKHGHVFULSWLRQV7KH
HQGRUVHPHQWLVXVXDOO\UHTXHVWHGIRUORDQSROLFLHVZKHQWKHPRUWJDJHEHLQJLQVXUHGFRQWDLQVD
OHJDOGHVFULSWLRQZKLFKYDULHVVOLJKWO\ZKHQFRPSDUHGZLWK6FKHGXOH$RIWKH3ROLF\RUWKHVXUYH\
VXEPLWWHGIRUWKHILOH

7KLVHQGRUVHPHQWPD\EHLVVXHGRQO\DIWHUDFDUHIXOUHYLHZRIWKHUHOHYDQWOHJDOGHVFULSWLRQVDQG
DGHWHUPLQDWLRQWKDWWKHOHJDOGHVFULSWLRQVDUHQRWDPELJXRXVDQGLQIDFWGHOLQHDWHWKHLGHQWLFDO
SURSHUW\DQGDUHOHJDOO\VXIILFLHQWWRFRQYH\WLWOHXQGHUVWDWHODZ,WLVFXVWRPDU\LQVRPHDUHDVWR
UHTXLUHWKHVXUYH\RUWRFHUWLI\WKDWWKHOHJDOGHVFULSWLRQVDUHRQHDQGWKHVDPH

7KH$/7$LVXVHGZKHQWKHHQWLUHOHJDOGHVFULSWLRQLVLGHQWLFDOWRWKHHQWLUHOHJDO
GHVFULSWLRQRQWKHVXUYH\

7KH$/7$LVXVHGZKHQWKHOHJDOGHVFULSWLRQLQWKH3ROLF\LVRQHRUPRUHSDUFHOVRQD
VXUYH\WKDWFRQWDLQVDGGLWLRQDOSDUFHOVEHVLGHVWKHRQHVEHLQJLQVXUHG7KLVLVQRUPDOO\RQO\DQ
LVVXHLQDQHZGHYHORSPHQWZKHUHZHDUHEHLQJDVNHGWRUHO\RQDVXUYH\RIDODUJHU
GHYHORSPHQWWRLQVXUHOHVVWKDQDOORIWKDWGHYHORSPHQW&DUHPXVWEHWDNHQWKDWWKHVXUYH\




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 391 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                       6(&7,21



FRUUHFWO\UHIOHFWVDQ\LQWHUQDOLPSURYHPHQWVDQGGLPHQVLRQVDQGLQFOXGHVVXIILFLHQWLQIRUPDWLRQ
WRPDNHWKLVGHWHUPLQDWLRQ


                                                       
                                                       
                                             02',),&$7,21
                                                       
,Q WKH HYHQW WKDW PRGLILFDWLRQ RI DQ HQGRUVHPHQW LV UHTXHVWHG LW LV QHFHVVDU\ WR FRQVLGHU \RXU
VWDWHUHJXODWRU\UHTXLUHPHQWVIRUILOLQJDQGDSSURYDORIIRUPV,IWKHHQGRUVHPHQWLVPRGLILHGWKH
HQGRUVHPHQWLVQRWDQ$/7$IRUPDQGVKRXOGQRWUHIHUHQFH$/7$LQWKHWLWOH<RXPXVWREWDLQ
WKH DSSURYDO RI WKH &RPSDQ\¶V XQGHUZULWLQJ DGYLVHU EHIRUH FRPSO\LQJ ZLWK DQ\ UHTXHVW IRU D
PRGLILFDWLRQ


5HWXUQWR7DEOHRI&RQWHQWV




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 392 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                           6(&7,21



                                             (1'256(0(17
                                     $WWDFKHGWR3ROLF\1RBBBBBB
                                                 ,VVXHGE\
                                              >)17*%5$1'@
                                                       
                                                       
                                                       
7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRIWKHIDLOXUHRI
WKH/DQGDVGHVFULEHGLQ6FKHGXOH$WREHWKHVDPHDVWKDWLGHQWLILHGRQWKHVXUYH\PDGHE\
BBBBBBBBBBBBBBBBBBBBGDWHGBBBBBBBBBBBBBBBBBBBBBDQGGHVLJQDWHG-RE1RBBBBB

7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\  ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW L 
PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL  PRGLI\ DQ\ SULRU HQGRUVHPHQWV LLL 
H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQRI
WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV  2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWVWRLW


>:LWQHVV2SWLRQDO@


'$7('

>)17*%5$1'@
        
%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBB
$87+25,=('6,*1$725<
      

                                                       
                                                       
                                                       
                                                       
                                                       
                                                       
                                                       
                                                       
                                                       
                                                       
                                                       










$/7$(QGRUVHPHQW)RUP
  6DPHDV6XUYH\   
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ





)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 393 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                           6(&7,21



                                                 (1'256(0(17
                                           $WWDFKHGWR3ROLF\1RBBBBBB
                                                     ,VVXHGE\
                                                  >)17*%5$1'@
                                                          
                                                          
                                                          

7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRIWKHIDLOXUHRI
WKH/DQGDVGHVFULEHGLQ6FKHGXOH$WREHWKHVDPHDVWKDWLGHQWLILHGDV>([DPSOH3DUFHO$%
&RU3DUFHO@RQWKHVXUYH\PDGHE\BBBBBBBBBBBBBBBBBBBBGDWHG
BBBBBBBBBBBBBBBBBBBBBDQGGHVLJQDWHG-RE1RBBBBB

7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\  ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW L 
PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL  PRGLI\ DQ\ SULRU HQGRUVHPHQWV LLL 
H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQRI
WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV  2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWVWRLW


>:LWQHVV2SWLRQDO@


'$7('

>)17*%5$1'@
        
%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBB
$87+25,=('6,*1$725<
      
















$/7$(QGRUVHPHQW)RUP
  6DPHDV3RUWLRQRI6XUYH\   
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ


     

                                                         



)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 394 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                 6(&7,21



5HWXUQWR7DEOHRI&RQWHQWV
                                           68%',9,6,21
                              $/7$(1'256(0(17)250
                                                   
                                             385326(
                                                   
7KH$/7$)RUPLQVXUHVDJDLQVWORVVEDVHGXSRQWKH/DQGGHVFULEHGLQ6FKHGXOH$ RU
6FKHGXOH& QRWFRQVWLWXWLQJDOHJDOO\FUHDWHGSDUFHOSXUVXDQWWRDSSOLFDEOHVWDWHVWDWXWHVRUORFDO
JRYHUQPHQWDOUHJXODWLRQV

                     6(&7,2162)32/,&<$0(1'('%<(1'256(0(17
                                                   
7KLVHQGRUVHPHQWPRGLILHVH[FOXVLRQ D LLL ZKLFKH[FOXGHVDQ\ODZRUGLQDQFHSHUPLWRU
JRYHUQPHQWDOUHJXODWLRQZKLFKSHUWDLQVWRWKHVXEGLYLVLRQRIODQG+LVWRULFDOO\WKHWLWOHSROLF\DQG
VHDUFKGLGQRWDGGUHVVVXFKUHVWULFWLRQVRQWKHVXEGLYLVLRQRIODQGVLQFHWKH\GLGQRWFRQVWLWXWH
PDWWHUVWKDWDIIHFWHGWLWOHRUWKHDELOLW\WRFRQYH\,QVRPHDUHDVRIWKHFRXQWU\ PRVWQRWDEO\RQ
WKHZHVWFRDVW WKHUHKDYHEHHQHQDFWHGVWDWXWHVDQGRUGLQDQFHVZKLFKPDNHLWDFULPLQDODFWWR
FRQYH\E\RUXVHDOHJDOGHVFULSWLRQQRWLQFRQIRUPDQFHZLWKVXEGLYLVLRQODZV
                                                   
                              %$6,6)253529,',1*&29(5$*(
                                                   
7KHLVVXDQFHRIWKLVFRYHUDJHLVH[WUDKD]DUGRXVDQGQRWWREHWDNHQOLJKWO\<RXPXVWKDYH
DSSURYDORI\RXU&RPSDQ\XQGHUZULWLQJDGYLVRU,WUHTXLUHVWKHDQDO\VLVRIERWKVWDWHVWDWXWHV
DQGORFDOEXLOGLQJDQGXVHRUGLQDQFHVRUODZV:HDUHH[SHULHQFLQJDULVHLQWKHQXPEHURI
FRXQWLHVDFURVVWKHFRXQWU\WKDWDUHVHHNLQJZD\VWRLQFUHDVHWKHLUIHHVDQGKDYHVWDUWHGWR
FKDOOHQJHOHJDOGHVFULSWLRQVWKDWKDYHEHHQLQXVHIRULQRQHLQVWDQFHRYHU\HDUV<RXZLOO
QHHGWRKDYHWKHIROORZLQJLQIRUPDWLRQWREHDEOHWRGLVFXVVWKHPDWWHUZLWK\RXU&RPSDQ\
XQGHUZULWLQJDGYLVRU

,WHPVWRFRQVLGHU

     6WDWH6WDWXWH 

        :KDWDUHWKHSURYLVLRQVRIWKHDSSURSULDWHVWDWXWH V UHJDUGLQJOHJDOO\FUHDWHGSDUFHOV"

        $UHWKHUHDQ\SHQDOWLHVLIDSDUFHORIODQGGRHVQRWFRQIRUPWRWKHVWDWXWH V "
                 




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 395 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                       6(&7,21



         +RZVHYHUHDUHWKHSHQDOWLHV"$UHGRFXPHQWVXVLQJWKHQRQFRQIRUPLQJGHVFULSWLRQYRLG
         RUQRWUHFRUGDEOH"(YHQLIUHFRUGHGDUHWKH\KHOGWREHLQVXIILFLHQWWRJLYHFRQVWUXFWLYH
         QRWLFHWRVXEVHTXHQWSDUWLHVXQGHUWKHUHFRUGLQJDFWVRUVWDWXWHRIIUDXGVLQSODFHLQWKH
         VWDWH"$UHPRUWJDJHVZKLFKXVHDQRQFRQIRUPLQJGHVFULSWLRQKHOGWREHXQHQIRUFHDEOH"
        
         'RHVRXUSDUFHOFRQIRUPWRWKHVWDWXWH",IQRWKRZQRW"

     /RFDOJRYHUQPHQWDOUHJXODWLRQV
        
         :KDWDUHWKHSURYLVLRQVRIWKHDSSURSULDWHUHJXODWLRQVUHJDUGLQJOHJDOO\FUHDWHGSDUFHOV"
         7KHVHFRXOGEHFRQWDLQHGLQWKH]RQLQJRUGLQDQFHVEXLOGLQJXVHRUSHUPLWWLQJRUGLQDQFHV
         RUDQ\ZKHUHLQEHWZHHQ
        
         $UHWKHUHDQ\SHQDOWLHVLIDSDUFHORIODQGGRHVQRWFRQIRUPWRWKHUHJXODWLRQV"
         
         +RZVHYHUHDUHWKHSHQDOWLHV":LOOWKHRZQHUEHXQDEOHWRJHWDSHUPLWWREXLOGPRGLI\
        RUUHKDE":LOOWKH\ RUWKHWLWOHFRPSDQ\ EHVXEMHFWWRFLYLOILQHVRUFULPLQDODFWLRQ"
         
        
         'RHVRXUSDUFHOFRQIRUPWRWKHUHJXODWLRQV",IQRWKRZQRW"

      8QGHUVWDQGH[DFWO\ZKDWFRYHUDJHWKHSURSRVHG,QVXUHGLVH[SHFWLQJWRREWDLQE\WKLV
         HQGRUVHPHQW

127( %HFDUHIXOLQPRGLI\LQJWKLVHQGRUVHPHQWSXUVXDQWWRFXVWRPHUUHTXHVWVQRWWR
         %URDGHQWKHHQGRUVHPHQWWRSURYLGHFRYHUDJHIRURWKHUPDWWHUVVXFKDVGHYHORSPHQW
         DQG]RQLQJLVVXHVWKDWZHUHQRWLQWHQGHGWREHSURYLGHGE\WKLVHQGRUVHPHQW

                                             02',),&$7,21
                                                       
,Q WKH HYHQW WKDW PRGLILFDWLRQ RI DQ HQGRUVHPHQW LV UHTXHVWHG LW LV QHFHVVDU\ WR FRQVLGHU \RXU
VWDWHUHJXODWRU\UHTXLUHPHQWVIRUILOLQJDQGDSSURYDORIIRUPV,IWKHHQGRUVHPHQWLVPRGLILHG DV
GLVFXVVHG LQ WKH 1RWH DERYH WKH HQGRUVHPHQW LV QRW DQ $/7$ IRUP DQG VKRXOG QRW UHIHUHQFH
$/7$ LQ WKH WLWOH  <RX PXVW REWDLQ WKH DSSURYDO RI WKH &RPSDQ\¶V XQGHUZULWLQJ DGYLVHU EHIRUH
FRPSO\LQJZLWKDQ\UHTXHVWIRUDPRGLILFDWLRQ

5HWXUQWR7DEOHRI&RQWHQWV


)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 396 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                           6(&7,21



                                             (1'256(0(17
                                       $WWDFKHGWR3ROLF\1RBBBBBB
                                                 ,VVXHGE\
                                              >)17*%5$1'@

7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRIWKHIDLOXUHRI
WKH/DQGWRFRQVWLWXWHDODZIXOO\FUHDWHGSDUFHODFFRUGLQJWRWKHVXEGLYLVLRQVWDWXWHVDQGORFDO
VXEGLYLVLRQRUGLQDQFHVDSSOLFDEOHWRWKH/DQG


7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\  ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW L 
PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL  PRGLI\ DQ\ SULRU HQGRUVHPHQWV LLL 
H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQRI
WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV  2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWVWRLW


>:LWQHVV2SWLRQDO@


'$7('


>)17*%5$1'@
        

%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBB
$87+25,=('6,*1$725<
      

                                                       
                                                         
                                                         
                                                         
                                                         
                                                         
                                                         
                                                         
                                                         
                                                         
                                                         




$/7$(QGRUVHPHQW)RUP
6XEGLYLVLRQ   
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ

)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 397 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                6(&7,21



5HWXUQWR7DEOHRI&RQWHQWV
                                     8685<(1'256(0(17
                                         $/7$)RUP
                                             385326(

7KLVHQGRUVHPHQWLVIRUXVHZLWKDQ$/7$ORDQSROLF\,WSURYLGHVLQVXUDQFHDJDLQVWORVVWKH
,QVXUHGPD\VXIIHULIWKH,QVXUHG0RUWJDJHLVGHWHUPLQHGWREHXVXULRXVXQGHUVWDWHVWDWXWH

127(67$7(6:+(5(8685<&29(5$*(&$1127%(*,9(1$5.$16$6)/25,'$
.$16$60,66285,1(:-(56(<1(:0(;,&21(:<25.25(*21
3(116</9$1,$7(;$6$1':<20,1*

                6(&7,212)7+(32/,&<$0(1'('%<7+((1'256(0(17

7KLVHQGRUVHPHQWDPHQGV([FOXVLRQVRIWKH$/7$/RDQ3ROLF\

                               %$6,6)253529,1*&29(5$*(

7KHWHUP³XVXU\´UHIHUVWRWKHFKDUJLQJRIDQH[FHVVLYHUDWHRI³LQWHUHVW´XSRQDORDQRUIRUWKH
IRUEHDUDQFHRIFROOHFWLRQ7KHH[LVWHQFHRIXVXU\GHSHQGVHQWLUHO\XSRQWKHVSHFLILFZRUGLQJRI
WKHDSSOLFDEOHVWDWXWHRUFRQVWLWXWLRQDOSURYLVLRQ7KLVHQGRUVHPHQWVKRXOGEHLVVXHGRQO\LID
VWDWHVWDWXWHH[HPSWVWKHVSHFLILFW\SHRIOHQGHUERUURZHURUW\SHWUDQVDFWLRQIURPLWVXVXU\ODZV
7KHHQGRUVHPHQWFDQQRWEHLVVXHGLIWKHH[HPSWLRQLVEDVHGXSRQVRPHW\SHRIPDWKHPDWLFDO
IRUPXODHRUOLPLWRILQWHUHVWUDWH$FRXUWPLJKWGHVLJQDWHRWKHUIHHVRUFKDUJHVDV³LQWHUHVW´DQG
WKHUHVXOWFRXOGSURYLGHDQDPRXQWRILQWHUHVWWKDWH[FHHGVWKHVWDWXWRU\DPRXQW7KHLVVXDQFHRI
XVXU\FRYHUDJHLVH[WUDKD]DUGRXVDQG\RXPXVWFRQIHUZLWKWKH&RPSDQ\¶VXQGHUZULWLQJDGYLVRU
IRUDXWKRULW\WRLVVXHWKLVHQGRUVHPHQW


7KHHQGRUVHPHQWFDQQRWEHXVHGLQWKHIROORZLQJVWDWHVZLWKRXWPRGLILFDWLRQ ZKLFKZRXOGQR
ORQJHUPDNHLWDQ$/7$IRUP &RORUDGR*HRUJLD0DVVDFKXVHWWV0LFKLJDQDQG1RUWK&DUROLQD
7KHVHVWDWHVLPSRVHDOLPLWDWLRQRQWKHLQWHUHVWWKDWFDQEHFKDUJHGRQORDQVWKDWDUHRWKHUZLVH
H[HPSWIURPXVXU\VWDWXWHV7KHIROORZLQJLVDGGLWLRQDOODQJXDJHZKLFKPXVWEHDGGHGWRWKH
HQGRUVHPHQW
        
        
        



)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 398 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                6(&7,21



        &RORUDGR«H[FHSWLQJDQ\RIVDLGORVVRUGDPDJHDVPD\EHFDXVHGDVDUHVXOWRID
        GHWHUPLQDWLRQWKDWWKHLQWHUHVWUDWHDVFDOFXODWHGLVLQH[FHVVRIIRUW\ILYHSHUFHQW  
        SHUDQQXP

        *HRUJLD«H[FHSWLQJDQ\RIVDLGORVVRUGDPDJHDVPD\EHFDXVHGDVDUHVXOWRID
        GHWHUPLQDWLRQWKDWWKHLQWHUHVWUDWHDVFDOFXODWHGLVLQH[FHVVRIILYHSHUFHQW  SHU
        PRQWK

        0DVVDFKXVHWWV«H[FHSWLQJDQ\RIVDLGORVVRUGDPDJHDVPD\EHFDXVHGDVDUHVXOW
        RIDGHWHUPLQDWLRQWKDWWKHLQWHUHVWUDWHDVFDOFXODWHGLVLQH[FHVVRIWZHQW\SHUFHQW  
        SHUDQQXPXQOHVVQRWLILFDWLRQLVPDGHWRWKH0DVVDFKXVHWWV$WWRUQH\*HQHUDODV
        UHTXLUHGE\&KDSWHU6HFWLRQ0DVVDFKXVHWWV*HQHUDO/DZV

        0LFKLJDQ«H[FHSWLQJDQ\RIVDLGORVVRUGDPDJHDVPD\EHFDXVHGDVDUHVXOWRID
        GHWHUPLQDWLRQWKDWWKHLQWHUHVWUDWHDVFDOFXODWHGLVLQH[FHVVRIWZHQW\ILYHSHUFHQW  
        SHUDQQXP
        
        1RUWK&DUROLQD«H[FHSWLQJDQ\RIVDLGORVVRUGDPDJHDVPD\EHFDXVHGDVDUHVXOW
        RISURYLVLRQVIRUWKHFKDUJLQJRIRUSD\PHQWRIODWHFKDUJHVDVSURYLGHGLQ6HFWLRQ
        1RUWK&DUROLQDVWDWXWHV

                                         02',),&$7,21

,QWKHHYHQWWKDWPRGLILFDWLRQRIDQHQGRUVHPHQWLVUHTXHVWHGLWLVQHFHVVDU\WRFRQVLGHU\RXU
VWDWHUHJXODWRU\UHTXLUHPHQWVIRUILOLQJDQGDSSURYDORIIRUPV,IWKHHQGRUVHPHQWLVPRGLILHG
DVGLVFXVVHGDERYHWKHHQGRUVHPHQWLV127DQ$/7$IRUPDQGVKRXOGQRWUHIHUHQFH
$/7$LQWKHWLWOH<RXPXVWREWDLQWKHDSSURYDORIWKH&RPSDQ\¶VXQGHUZULWLQJDGYLVHUEHIRUH
FRPSO\LQJZLWKDQ\UHTXHVWIRUDPRGLILFDWLRQ

5HWXUQWR7DEOHRI&RQWHQWV

                                




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 399 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                 6(&7,21



                                          (1'256(0(17
                                                    
                                    $WWDFKHGWRSROLF\1RBBBBBBB
                                                    
                                              ,VVXHGE\
                                           >)17*%5$1'@
    
    
7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRIWKH
LQYDOLGLW\RUXQHQIRUFHDELOLW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJHDVVHFXULW\IRUWKH,QGHEWHGQHVV
EHFDXVHWKHORDQVHFXUHGE\WKH,QVXUHG0RUWJDJHYLRODWHVWKHXVXU\ODZRIWKHVWDWHZKHUHWKH
/DQGLVORFDWHG
    
    
7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW
  L PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLV
HQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

>:LWQHVVFODXVHRSWLRQDO@





>)17*%5$1'@

%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB




$/7$(QGRUVHPHQW)RUP
  8VXU\   
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ

    




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 400 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                             6(&7,21



5HWXUQWR7DEOHRI&RQWHQWV

                      ($6(0(17'$0$*(25(1)25&('5(029$/
                   (1&52$&+0(176%281'$5,(6$1'($6(0(176
                  $/7$(1'256(0(17)2506DQG
                                                 
                                            385326(
                                                 
$/7$(QGRUVHPHQW)RUP (DVHPHQW'DPDJHRU(QIRUFHG5HPRYDO 
(QGRUVHPHQW)RUPZDVGHYHORSHGWRLQVXUHDJDLQVWORVVFDXVHGE\WKHHQFURDFKPHQWRID
EXLOGLQJORFDWHGRQWKH/DQGRQWRRURYHUDQHDVHPHQWVKRZQDVDQH[FHSWLRQLQ6FKHGXOH%DV
GLVFORVHG E\ DVXUYH\RULQVSHFWLRQ RIWKH/DQG7KHORVVPXVWEHEDVHGRQ DQ H[HUFLVHRIWKH
HDVHPHQWDQGLVRQO\IRUGDPDJHWRDQH[LVWLQJEXLOGLQJRUHQIRUFHGUHPRYDORUDOWHUDWLRQ

$/7$(QGRUVHPHQW)RUP (QFURDFKPHQWV%RXQGDULHVDQG(DVHPHQWV 
$/7$(QGRUVHPHQW)RUP (QFURDFKPHQWV%RXQGDULHVDQG(DVHPHQWV'HVFULEHG
,PSURYHPHQWV 

(QGRUVHPHQW)RUPVDQGZHUHGHYHORSHGWRSURYLGHFRYHUDJHZLWKUHVSHFWWR
FHUWDLQERXQGDU\DQGHDVHPHQWHQFURDFKPHQWV7KLVFRYHUDJHZDVSUHYLRXVO\LQFOXGHGLQWKH
IRUPHU$/7$VHULHV,WLVQRORQJHUFRQWDLQHGZLWKLQWKRVHHQGRUVHPHQWVRWKHUWKDQWKHUHYLVHG
$/7$DQGWKHQHZ$/7$DQG ZKLFKDGGLWLRQDOO\DIIRUGFRYHUDJHDVWR
YLRODWLRQVRIFRYHQDQWVYLRODWLRQVRIVHWEDFNVDQGGDPDJHWRH[LVWLQJLPSURYHPHQWVEHFDXVHRI
GHYHORSPHQWRIPLQHUDOV 7KH(QGRUVHPHQW)RUPLVXVHGZKHQWKHHQFURDFKPHQWRID
VSHFLILF,PSURYHPHQWLVPHDQWWREHFRYHUHGDQGLVVSHFLILFDOO\GHVFULEHGDWLWHP<RXPD\
KDYHDVLWXDWLRQZKHQ\RXDUHZLOOLQJWRJLYHFRYHUDJHRYHUHQFURDFKPHQWVE\RQHLPSURYHPHQW
DQGQRWDQRWKHUSHUKDSVEHFDXVHRQHKDVEHHQLQSODFHZLWKRXWREMHFWLRQIRUDORQJHUSHULRGRI
WLPH

7KHFRYHUDJHVLQWKHVHV(QGRUVHPHQWVLQFOXGH
    x 7KHORVVRFFDVLRQHGE\WKHH[LVWHQFHRIDQHQFURDFKPHQWE\DQ,PSURYHPHQW
       RQWRDQHLJKERULQJSURSHUW\RURQWRDQHDVHPHQWDUHDZLWKLQWKHLQVXUHG/DQG
       RWKHUWKDQDVGLVFORVHGLQ6FKHGXOH%H[FHSWLRQV
    x 7KHORVVRFFDVLRQHGE\WKHH[LVWHQFHRIDQHQFURDFKPHQWE\DQHLJKERULQJ
       ,PSURYHPHQWRQWRWKHLQVXUHG/DQGRWKHUWKDQDVGLVFORVHGLQ6FKHGXOH%
       H[FHSWLRQV
    x (QIRUFHGUHPRYDORIDQLQVXUHG,PSURYHPHQWEDVHGXSRQWKHHQFURDFKPHQWLQWR
       WKHHDVHPHQWDUHDRURQWRQHLJKERULQJSURSHUW\
       

)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 401 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                             6(&7,21



7KHVHIRUPVDOORZWKHH[FOXVLRQRIDQHQFURDFKPHQWUDLVHGDVDQH[FHSWLRQLQ6FKHGXOH%IURP
WKHHQIRUFHGUHPRYDOFRYHUDJHE\UHIHUHQFHWRWKHH[FHSWLRQWKDWGHVFULEHVLWLIZHFKRRVHQRWWR
LQFOXGHWKDWHQFURDFKPHQWZLWKLQWKHFRYHUDJHDIIRUGHGE\WKHVHHQGRUVHPHQWV
                                                   
                     6(&7,2162)32/,&<$0(1'('%<(1'256(0(17
                                                   
1RVSHFLILFVHFWLRQVRIWKHSROLF\DUHDPHQGHGE\WKLVHQGRUVHPHQWKRZHYHUDGGLWLRQDO
FRYHUDJHVDUHDGGHG

                               %$6,6)253529,',1*&29(5$*(

$/7$)RUP
$QDFFXUDWHFXUUHQWVXUYH\RULQVSHFWLRQRIWKH/DQGLVUHTXLUHGIRUFRYHUDJH

7KHEDVLVIRUJLYLQJWKHVHFRYHUDJHVFDQYDU\E\ORFDOFXVWRPDQGODZ<RXVKRXOGDOZD\VFRQIHU
ZLWK\RXU&RPSDQ\XQGHUZULWLQJDGYLVRUWRGHWHUPLQHWKHDSSURSULDWHULVN6RPHRIWKHIDFWRUVWR
WDNHLQWRFRQVLGHUDWLRQZRXOGEH
    
    x   7\SHDQGORFDWLRQRIHDVHPHQW 8QGHUJURXQG"2YHUKHDG"&RPPRQXWLOLW\"5HVLGHQWLDO
         RU&RPPHUFLDOW\SHRIXVH>HJRLOSLSHOLQH@" 
    x   $JHRIHDVHPHQWYVDJHRILPSURYHPHQW :KLFKFDPHILUVW" $JHRILPSURYHPHQWZLWK
         QRLQWHUIHUHQFHKLVWRULFDOO\
    x   6L]HRUDPRXQWRIHQFURDFKPHQW 'HPLQLPLVRUVXEVWDQWLDO"$FURVVVPDOOSRUWLRQRU
         HQWLUHZLGWK" 
    x   &DQHDVHPHQWVWLOOEHXVHGZLWKHQFURDFKPHQW"$UHWKHUHRWKHUDFFHVVSRLQWVIRU
         PDLQWHQDQFH"
    x   &RVWRIPRYLQJHDVHPHQWRULPSURYHPHQWLIWKHHQFURDFKPHQWLQWHUIHUHVZLWKWKH
         PDLQWHQDQFHDQGXVHRIHDVHPHQW
         
1RWH7KHHQGRUVHPHQWVSHFLILFDOO\FRYHUVRQO\WKH³EXLOGLQJ´DQGQRWRWKHULPSURYHPHQWVRQWKH
/DQG$Q\UHTXHVWWRH[SDQGWKLVFRYHUDJHPXVWEHGLVFXVVHGZLWK\RXU&RPSDQ\XQGHUZULWLQJ
DGYLVRU

$/7$)RUPDQG
$QDFFXUDWHFXUUHQWVXUYH\RIWKH/DQGLVUHTXLUHGIRUFRYHUDJHRQDQ\SROLF\RWKHUWKDQD
UHVLGHQWLDOIDPLO\/RDQ3ROLF\



)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 402 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                           6(&7,21



&RYHUDJHDPD\EHJLYHQSURYLGHG
          
          )RUHQFURDFKPHQWVRQWRDGMRLQLQJODQG
                     x   $Q\ HQFURDFKPHQWV GLVFORVHG E\ LQVSHFWLRQ VXUYH\ RU RWKHU PHDQV DUH DOVR
                          H[SUHVVO\H[FHSWHGE\GHVFULSWLRQRIVXFKPDWWHULQ6FKHGXOH%

          )RUHQFURDFKPHQWVRQWRHDVHPHQWVORFDWHGRQWKH/DQGHLWKHU
                     x   WKHUHDUHQRHDVHPHQWVH[FHSWHGLQ6FKHGXOH%RU
                     x   HQFURDFKPHQWV RQWR HDVHPHQWV GLVFORVHG E\ LQVSHFWLRQ VXUYH\ RU RWKHU PHDQV
                          DUHDOVRH[SUHVVO\H[FHSWHGE\GHVFULSWLRQRIVXFKPDWWHULQ6FKHGXOH%


&RYHUDJHEPD\EHSURYLGHGLIDQ\RIWKHIROORZLQJVLWXDWLRQVDSSO\

      x        IRU HQFURDFKPHQWV RQ WKH /DQG E\ D QHLJKERULQJ ,PSURYHPHQW  DQ\ VXFK
                HQFURDFKPHQWVGLVFORVHGE\LQVSHFWLRQVXUYH\RURWKHUPHDQVDUHH[SUHVVO\H[FHSWHG
                E\GHVFULSWLRQRIVXFKPDWWHULQ6FKHGXOH%
                
&RYHUDJHFPD\EHJLYHQLIDQ\RIWKHIROORZLQJVLWXDWLRQVDSSO\

            7KHUHDUHQRHDVHPHQWVH[FHSWHGLQ6FKHGXOH%
            7KHUHDUHQRHQFURDFKPHQWVRQWRHDVHPHQWVH[FHSWHGLQ6FKHGXOH%
            (QFURDFKPHQWV VKRZQ DUHPLQRU ZRXOG QRW LQWHUIHUH ZLWK PDLQWHQDQFH RI WKH HDVHPHQW
               DQGFRXOGQRWEHIRUFLEO\UHPRYHGXQGHUVWDWHODZ

&RYHUDJHGPD\EHJLYHQLIDQ\RIWKHIROORZLQJVLWXDWLRQVDSSO\
                
             7KHUHDUHQRHQFURDFKPHQWVRQWRDGMRLQLQJODQGH[FHSWHGLQ6FKHGXOH%
             7KHHQFURDFKPHQWLVPLQRUDQGFRXOGEHUHPRYHGDWPLQLPDOFRVW
             7KHHQFURDFKPHQWLVPLQRULVQRWRQWRDSDUFHORIYDFDQWODQGLVQRWQHFHVVDU\WRWKH
                VXSSRUWRIWKHPDLQVWUXFWXUHDQG\RXU&RPSDQ\XQGHUZULWLQJDGYLVRULVVDWLVILHGWKDWD
                VWDWHFRXUWZRXOGQRWUHTXLUHLWVUHPRYDO

1RWH
7KH)RUPVSHFLILFDOO\FRYHUVRQO\WKH³EXLOGLQJ´DQGQRWRWKHULPSURYHPHQWVRQWKH/DQG
$Q\UHTXHVWWRH[SDQGWKLVFRYHUDJHPXVWEHGLVFXVVHGZLWK\RXU&RPSDQ\XQGHUZULWLQJDGYLVRU




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 403 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                       6(&7,21



,WDOORZVDOORIWKHFRYHUDJHVWREHGHQLHGIRUDVSHFLILFQDPHGH[FHSWLRQLI\RXGRQRWZDQWWR
JLYHFRYHUDJHIRUWKDWHQFURDFKPHQW

7KH)RUPVSHFLILFDOO\FRYHUVRQO\WKH,PSURYHPHQWVGHVFULEHGDWLWHPRIWKH
HQGRUVHPHQW7KLVDOORZV\RXWRFKRRVHZKLFK,PSURYHPHQWVDQGWKHUHIRUHZKLFK
HQFURDFKPHQWVFUHDWHGE\WKHVSHFLILFLPSURYHPHQWIRUZKLFK\RXDUHJUDQWLQJFRYHUDJH)RUP
IXUWKHUYDULHVLQWKDWLWDOORZVWKHFRYHUDJHDWFDQGG HQIRUFHGUHPRYDO RQO\WREH
GHQLHGWRPDWWHUVVSHFLILFDOO\LGHQWLILHGE\H[FHSWLRQQXPEHUV

                                             02',),&$7,21
                                                       
,Q WKH HYHQW WKDW PRGLILFDWLRQ RI DQ HQGRUVHPHQW LV UHTXHVWHG LW LV QHFHVVDU\ WR FRQVLGHU \RXU
VWDWHUHJXODWRU\UHTXLUHPHQWVIRUILOLQJDQGDSSURYDORIIRUPV,IWKHHQGRUVHPHQWLVPRGLILHGDV
GLVFXVVHGLQWKH1RWHDERYHRUIRUDQ\RWKHUUHDVRQWKHHQGRUVHPHQWLVQRWDQ$/7$IRUPDQG
VKRXOG QRW UHIHUHQFH $/7$ LQ WKH WLWOH  <RX PXVW REWDLQ WKH DSSURYDO RI WKH &RPSDQ\¶V
XQGHUZULWLQJDGYLVHUEHIRUHFRPSO\LQJZLWKDQ\UHTXHVWIRUDPRGLILFDWLRQ
5HWXUQWR7DEOHRI&RQWHQWV




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 404 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                           6(&7,21



                                              (1'256(0(17
                               $WWDFKHGWR3ROLF\1RBBBBBB
                                         ,VVXHGE\
                                      >)17*%5$1'@
                                              
                                              
7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGLIWKHH[HUFLVHRIWKH
JUDQWHGRUUHVHUYHGULJKWVWRXVHRUPDLQWDLQWKHHDVHPHQW V UHIHUUHGWRLQ([FHSWLRQ V BBBBBRI
6FKHGXOH%UHVXOWVLQ

                GDPDJHWRDQH[LVWLQJEXLOGLQJORFDWHGRQWKH/DQGRU
                HQIRUFHGUHPRYDORUDOWHUDWLRQRIDQH[LVWLQJEXLOGLQJORFDWHGRQWKH/DQG
    
7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\  ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW L 
PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL  PRGLI\ DQ\ SULRU HQGRUVHPHQWV LLL 
H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQRI
WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV  2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWVWRLW


>:LWQHVV2SWLRQDO@


'$7('

>)17*%5$1'@
                                                                          
%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBB
$87+25,=('6,*1$725<
      










$/7$(QGRUVHPHQW)RUP
(DVHPHQW'DPDJHRU(QIRUFHG5HPRYDO  UHY 
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ


)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 405 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                      6(&7,21



                                            (1'256(0(17
                                 $WWDFKHGWR3ROLF\1RBBBBBBBBBB
                                                ,VVXHGE\
                                        >)17*%5$1'@

 7KHLQVXUDQFHSURYLGHGE\WKLVHQGRUVHPHQWLVVXEMHFWWRWKHH[FOXVLRQVLQ6HFWLRQRIWKLV
    HQGRUVHPHQWDQGWKH([FOXVLRQVIURP&RYHUDJHWKH([FHSWLRQVIURP&RYHUDJHFRQWDLQHGLQ
    6FKHGXOH%DQGWKH&RQGLWLRQVLQWKHSROLF\
 )RUSXUSRVHVRIWKLVHQGRUVHPHQWRQO\³,PSURYHPHQW´PHDQVDQH[LVWLQJEXLOGLQJORFDWHGRQ
    HLWKHUWKH/DQGRUDGMRLQLQJODQGDW'DWHRI3ROLF\DQGWKDWE\ODZFRQVWLWXWHVUHDOSURSHUW\
 7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI
    D $QHQFURDFKPHQWRIDQ\,PSURYHPHQWORFDWHGRQWKH/DQGRQWRDGMRLQLQJODQGRURQWRWKDW
        SRUWLRQRIWKH/DQGVXEMHFWWRDQHDVHPHQWXQOHVVDQH[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\
        LGHQWLILHVWKHHQFURDFKPHQW
    E $QHQFURDFKPHQWRIDQ\,PSURYHPHQWORFDWHGRQDGMRLQLQJODQGRQWRWKH/DQG DW'DWHRI
        3ROLF\XQOHVVDQH[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\LGHQWLILHVWKHHQFURDFKPHQW
    F (QIRUFHGUHPRYDORIDQ\,PSURYHPHQWORFDWHGRQWKH/DQGDVDUHVXOWRIDQHQFURDFKPHQW
        E\WKH,PSURYHPHQWRQWRDQ\SRUWLRQRIWKH/DQGVXEMHFWWRDQ\HDVHPHQWLQWKHHYHQWWKDW
        WKH RZQHUV RI WKH HDVHPHQW VKDOO IRU WKH SXUSRVH RI H[HUFLVLQJ WKH ULJKW RI XVH RU
        PDLQWHQDQFH RI WKH HDVHPHQW FRPSHO UHPRYDO RU UHORFDWLRQ RI WKH HQFURDFKLQJ
        ,PSURYHPHQWRU
    G (QIRUFHGUHPRYDORIDQ\,PSURYHPHQWORFDWHGRQWKH/DQGWKDWHQFURDFKHVRQWRDGMRLQLQJ
        ODQG
 7KLV HQGRUVHPHQW GRHV QRW LQVXUH DJDLQVW ORVV RU GDPDJH DQG WKH &RPSDQ\ ZLOO QRW SD\
    FRVWV DWWRUQH\V¶ IHHV RU H[SHQVHV  UHVXOWLQJ IURP WKH HQFURDFKPHQWV OLVWHG DV ([FHSWLRQV
    BBBBBBBBBBBBBBRI6FKHGXOH%
7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
 L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
 LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

>:LWQHVVFODXVHRSWLRQDO@

>)17*%5$1'@

%\BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
      $XWKRUL]HG6LJQDWRU\






$/7$(QGRUVHPHQW)RUP
(QFURDFKPHQWV%RXQGDULHVDQG(DVHPHQWV   
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ
                                   


)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 406 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                           6(&7,21



                                           (1'256(0(17
                                   $WWDFKHGWR3ROLF\1RBBBBBBBBBB
                                               ,VVXHGE\
                                              >)17*%5$1'@
   7KHLQVXUDQFHSURYLGHGE\WKLVHQGRUVHPHQWLVVXEMHFWWRWKHH[FOXVLRQVLQ6HFWLRQRIWKLV
      HQGRUVHPHQWDQGWKH([FOXVLRQVIURP&RYHUDJHWKH([FHSWLRQVIURP&RYHUDJHFRQWDLQHGLQ
      6FKHGXOH%DQGWKH&RQGLWLRQVLQWKHSROLF\

    )RUSXUSRVHVRIWKLVHQGRUVHPHQWRQO\³,PSURYHPHQW´PHDQVHDFKLPSURYHPHQWRQWKH/DQGRU
       DGMRLQLQJODQGDW'DWHRI3ROLF\LWHPL]HGEHORZ



    7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI

         D$QHQFURDFKPHQWRIDQ\,PSURYHPHQWORFDWHGRQWKH/DQGRQWRDGMRLQLQJODQGRURQWRWKDW
            SRUWLRQRIWKH/DQGVXEMHFWWRDQHDVHPHQWXQOHVVDQH[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\
            LGHQWLILHVWKHHQFURDFKPHQW

         E$QHQFURDFKPHQWRIDQ\,PSURYHPHQWORFDWHGRQDGMRLQLQJODQGRQWRWKH/DQGDW'DWHRI3ROLF\
            XQOHVVDQH[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\LGHQWLILHVWKHHQFURDFKPHQW

         F(QIRUFHGUHPRYDORIDQ\,PSURYHPHQWORFDWHGRQWKH/DQGDVDUHVXOWRIDQHQFURDFKPHQWE\
            WKH,PSURYHPHQWRQWRDQ\SRUWLRQRIWKH/DQGVXEMHFWWRDQ\HDVHPHQWLQWKHHYHQWWKDWWKH
            RZQHUVRIWKHHDVHPHQWVKDOOIRUWKHSXUSRVHRIH[HUFLVLQJWKHULJKWRIXVHRUPDLQWHQDQFHRI
            WKHHDVHPHQWFRPSHOUHPRYDORUUHORFDWLRQRIWKHHQFURDFKLQJ,PSURYHPHQWRU

         G(QIRUFHGUHPRYDORIDQ\,PSURYHPHQWORFDWHGRQWKH/DQGWKDWHQFURDFKHVRQWRDGMRLQLQJODQG

    6HFWLRQVFDQGGRIWKLVHQGRUVHPHQWGRQRWLQVXUHDJDLQVWORVVRUGDPDJH DQGWKH&RPSDQ\
       ZLOOQRWSD\FRVWVDWWRUQH\V¶IHHVRUH[SHQVHV UHVXOWLQJIURPWKHIROORZLQJ([FHSWLRQVLIDQ\OLVWHG
       LQ6FKHGXOH%



7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW L PRGLI\DQ\RI
WKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV LLL H[WHQGWKH'DWHRI3ROLF\RU
 LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQRIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLV
LQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLVHQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLV
HQGRUVHPHQWLVVXEMHFWWRDOORIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

>:LWQHVVFODXVHRSWLRQDO@

>)17*%5$1'@



%\BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

        $XWKRUL]HG6LJQDWRU\



$/7$(QGRUVHPHQW)RUP
(QFURDFKPHQWV%RXQGDULHVDQG(DVHPHQWV'HVFULEHG,PSURYHPHQWV   
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ                                   



)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 407 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                6(&7,21



5HWXUQWR7DEOHRI&RQWHQWV
                                       6:$3(1'256(0(17
                     ,17(5(675$7((;&+$1*($*5((0(176(&85('%<
                                       ,1685('0257*$*( 
               $/7$(1'256(0(17±)2506$1'
                                                    
                                              385326(
                                                    
/HQGHUVRFFDVLRQDOO\UHTXHVWWKDWWKH/RDQ3ROLF\LQVXUHDPRXQWVZKLFKDUHGHVFULEHGLQDQ
,QWHUHVW5DWH([FKDQJH$JUHHPHQWRU6ZDS$JUHHPHQWWKHWHUPVRIZKLFKDUHFRQWDLQHGLQRU
UHIHUHQFHGLQWKH,QVXUHG0RUWJDJH6XFKDJUHHPHQWVREOLJDWHWKHPRUWJDJRUIRUGDPDJHVWKH
OHQGHUPD\VXIIHUXQGHUVZDSWUDQVDFWLRQVLWHQWHUVLQWRRQWKHERUURZHU¶VEHKDOILQRUGHUWR
DFKLHYHDIDYRUDEOHLQWHUHVWUDWH,IWKHERUURZHUGHIDXOWVRQLWVORDQWKHOHQGHUEHFRPHV
REOLJDWHGLWVHOIXQGHUWKHVZDSORDQIRUDPRXQWVNQRZQDVEUHDNDJHIHHV7KLVHQGRUVHPHQWLV
GHVLJQHGWRSURYLGHDGGLWLRQDOFRYHUDJHIRUWKHVHDPRXQWV7KHVHDPRXQWVDUHFRQWLQJHQWDQG
ZRXOGDFFUXHDVDQREOLJDWLRQRIWKHERUURZHUSRVWSROLF\:LWKRXWDQHQGRUVHPHQWLWLV
TXHVWLRQDEOHZKHWKHUWKHGHILQLWLRQRI,QGHEWHGQHVVDW&RQGLWLRQVQXPEHU G ZRXOGFRYHUVXFK
REOLJDWLRQVZKHWKHUWKH\ZHUHFKDUDFWHUL]HGDVDGGLWLRQDOSULQFLSDORUDGGLWLRQDOLQWHUHVWRQWKH
ORDQ

                 6(&7,212)32/,&<$0(1'('%<(1'256(0(17

6LQFHWKHORDQGRFXPHQWVSURYLGHWKDWWKHREOLJDWLRQVGHVFULEHGLQWKHDJUHHPHQWVPD\DFFUXHLQ
WKHIXWXUHWKLVHQGRUVHPHQWSURYLGHVFRYHUDJHIRUEUHDNDJHIHHVSDLGE\WKHLQVXUHGOHQGHUSRVW
SROLF\GHVSLWH([FOXVLRQVIURP&RYHUDJH G ZKLFKH[FOXGHV³GHIHFWVOLHQVHQFXPEUDQFHV
DGYHUVHFODLPVRURWKHUPDWWHUVDWWDFKLQJRUFUHDWHGVXEVHTXHQWWR'DWHRI3ROLF\´7KDW
([FOXVLRQH[SUHVVO\GRHVQRWPRGLI\RUOLPLWWKHFRYHUDJHSURYLGHGXQGHU&RYHUHG5LVNRU
EXWQRQHRIWKRVHSURYLVLRQVZRXOGSURYLGHFRYHUDJHIRUEUHDNDJHIHHV7KHGHILQLWLRQVRI
,QGHEWHGQHVVDW&RQGLWLRQ G  LL  SULQFLSDOGLVEXUVHGVXEVHTXHQWWR'DWHRI3ROLF\ DQG LY 
    LQWHUHVWRQWKHORDQ GRQRWDSSO\WRWKRVHPRUWJDJHVZKLFKSURYLGHWKDWZKDWLVVHFXUHGDUH
DPRXQWVDGYDQFHGWRSD\VXPVGXHXQGHUWKHDJUHHPHQWVZKLFKDUHQHLWKHUSULQFLSDOGLVEXUVHG
QRUDGGLWLRQDOLQWHUHVW,QVWDWHVZLWKDPRUWJDJHWD[WKHVHDJUHHPHQWVDUHRIWHQVWUXFWXUHGVR
WKDWWKHVXPVGXHDUHWUHDWHGDVDGGLWLRQDOLQWHUHVWDQGLQWKDWFDVHEUHDNDJHIHHVPLJKWEH
WUHDWHGDVFRYHUHGXQGHU&RQGLWLRQ G LY IRUSXUSRVHVRIGHWHUPLQLQJWKH$PRXQWRI
,QVXUDQFHKRZHYHULQFOXVLRQIRUVXFKSXUSRVHZRXOGQRWUHVXOWLQFRYHUDJHRIWKHYDOLGLW\
HQIRUFHDELOLW\DQGSULRULW\RIDGYDQFHVPDGHWRIXQGEUHDNDJHIHHV




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 408 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                 6(&7,21



               %$6,6)253529,',1*&29(5$*(

6WDWH/DZ±2EOLJDWRU\DGYDQFHV,QFRUSRUDWLRQE\5HIHUHQFH

0DQ\VWDWHVKDYHVWDWXWRU\RUFDVHODZZKLFKSURYLGHVWKDWLIWKHFRVWVH[SHQGHGE\WKHOHQGHU
RQEHKDOIRIWKHERUURZHUXQGHUWKHVZDSDJUHHPHQWDUHREOLJDWRU\WKH\PD\EHDIIRUGHGWKH
VDPHSULRULW\DVLIWKH\KDGEHHQH[SHQGHGDWWKHGDWHRIWKHPRUWJDJH)RUVWDWHVLQZKLFKWKLVLV
WKHODZWKHORDQGRFXPHQWVPXVWEHUHYLHZHGWRYHULI\WKDWWKHSD\PHQWRIEUHDNDJHIHHVLV
REOLJDWRU\)RURWKHUVWDWHVWKHODZPXVWEHUHYLHZHGE\WKH&RPSDQ\¶VXQGHUZULWLQJDGYLVRUWR
GHWHUPLQHLIWKHREOLJDWLRQVRIWKHOHQGHUZLOOEHDIIRUGHGWKHVDPHSULRULW\DVLIWKH\KDGEHHQ
H[SHQGHGDWWKHGDWHRIWKHPRUWJDJH1RWHWKDWWKHHQGRUVHPHQWVSHFLILFDOO\H[FOXGHVFRYHUDJH
ZLWKUHVSHFWWRODZVUHODWLQJWREDQNUXSWF\XVXU\XQFRQVFLRQDELOLW\RUXQUHDVRQDEOHQHVV
)XUWKHUWKHTXHVWLRQRIZKHWKHUDVZDSDJUHHPHQWUHIHUUHGWRLQDQRWHZKLFKLWVHOILVUHIHUUHG
WRLQWKH,QVXUHG0RUWJDJHLVHIIHFWLYHO\LQFRUSRUDWHGE\UHIHUHQFHLQWRWKH,QVXUHG0RUWJDJHVR
DVWRJLYHQRWLFHWRWKLUGSDUWLHVLVDTXHVWLRQRIVWDWHODZZKLFKPXVWEHUHIHUUHGWRWKH
&RPSDQ\¶VXQGHUZULWLQJDGYLVRU

 7KHPRUWJDJHPXVWVWDWHWKHPD[LPXPDPRXQWVHFXUHGE\WKHDJUHHPHQWLQDGGLWLRQ
    WRWKHSULQFLSDOORDQDPRXQWVHFXUHG

7KH,QVXUHG0RUWJDJHPXVWVWDWHWKHDGGLWLRQDODPRXQWVWREHVHFXUHGE\UHDVRQRIOHQGHU
REOLJDWLRQVXQGHUWKHVZDSRULQWHUHVWH[FKDQJHDJUHHPHQWV3UHPLXPPXVWEHSDLGRQWKHVH
DPRXQWV

7KHVZDSRULQWHUHVWH[FKDQJHDJUHHPHQWPXVWEHLQSODFH

6WDWHSULRULW\ODZZLOOXVXDOO\UHTXLUHHLWKHUWKDWWKHDJUHHPHQWEHLQSODFHDWWKHWLPHRIH[HFXWLRQ
RIWKH,QVXUHG0RUWJDJH7KHTXHVWLRQRIWKHVXIILFLHQF\RIDVZDSDJUHHPHQWQRW\HWLQSODFHDW
'DWHRI3ROLF\VKRXOGEHUHIHUUHGWRWKH&RPSDQ\¶VXQGHUZULWLQJDGYLVRU

,QVWDWHVZLWKDPRUWJDJHWD[VZDSHQKDQFHGORDQVPD\VWUXFWXUHWKHVZDS
REOLJDWLRQVDVDGGLWLRQDOLQWHUHVW,QVXFKFDVHVSURYLVLRQVIRUWUHDWPHQWRIWKHVZDS
REOLJDWLRQVDVDGGLWLRQDOLQWHUHVWPXVWEHFRQWDLQHGLQWKHQRWHDQGQRWPHUHO\LQWKH
LQWHUHVWUDWHH[FKDQJHDJUHHPHQW






)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 409 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                    6(&7,21



)RUDQXPEHURIUHDVRQVLQFOXGLQJWKHLPSRVLWLRQRIWD[HVWKHVZDSREOLJDWLRQVWREHVHFXUHGE\
WKH,QVXUHG0RUWJDJHPD\EHGHILQHGDVDGGLWLRQDOLQWHUHVW,IWKLVLVWKHVLWXDWLRQWKHSURYLVLRQV
IRUWKLVWUHDWPHQWPXVWEHFRQWDLQHGLQWKHQRWHVRDVWRJLYHQRWLFHWRLQWHUYHQLQJSDUWLHVWKDWWKH
PRUWJDJHVHFXUHVVXFKDGGLWLRQDOLQWHUHVW VHH6WDWH/DZ,QFRUSRUDWLRQE\5HIHUHQFHDERYH 
1HZ<RUNLVRQHVXFKVWDWHZKLFKKDVDVSHFLILFIRUPZKLFKPXVWEHXVHG6LQFHQRUPDO
DGGLWLRQDOLQWHUHVWLVLQFOXGHGLQWKH$PRXQWRI,QGHEWHGQHVVWKHEUHDNDJHIHHVWKXV
FKDUDFWHUL]HGZRXOGEHLQFOXGHG&RQVLGHUDWLRQVKRXOGEHJLYHQWRWKHSRVLWLRQWKDWWKHVHVSHFLDO
W\SHVRI³DGGLWLRQDOLQWHUHVW´ZHUHQRWFRQWHPSODWHGDVQRUPDOFRPSRQHQWVRIOLDELOLW\ZKHQ
DVVHVVLQJWKHSUHPLXPWREHFKDUJHGIRUWKLVHQGRUVHPHQW7KHUHIRUHWKHHQGRUVHPHQWPHULWVD
FKDUJHQRWZLWKVWDQGLQJWKDWDWWKHWLPHRILVVXDQFHRIWKHSROLF\WKHDPRXQWRIH[SRVXUHIRU
ORVVXQGHUWKHHQGRUVHPHQWPD\EHPLQLPDORUQRQH[LVWHQW


2%/,*$725<$'9$1&(±)2506DQG
7KHVHIRUPVWUHDWWKHVZDSREOLJDWLRQDPRXQWVDVDGGLWLRQDOSULQFLSDO)RUPUHTXLUHVWKH
,QVXUHGWRLQFOXGHWKHDPRXQWRIDQ\EUHDNDJHIHHVLQWKHIDFHDPRXQWRIWKH,QVXUHG0RUWJDJH
WRSURYLGHIRUFRYHUDJHDVWRWKRVHDPRXQWV)RUPDOORZVWKHDGGLWLRQDODPRXQWRI
OLDELOLW\WREHVHSDUDWHO\VKRZQLQWKHHQGRUVPHQW$GGLWLRQDOSUHPLXPZRXOGEHFROOHFWHGRQWKH
DPRXQWVVKRZQLQWKHHQGRUVHPHQW

$'',7,21$/,17(5(67)250DQG

)RUPWUHDWVWKHVZDSREOLJDWLRQDPRXQWVDVDGGLWLRQDOLQWHUHVW:KLOH&RQGLWLRQV G 
    LY RIWKH$/7$/RDQ3ROLF\LQFOXGHV³LQWHUHVWRQWKHORDQ´DVSDUWRIWKHGHILQLWLRQRI
,QGHEWHGQHVVWKHHQGRUVHPHQWLVVWLOOQHFHVVDU\LQRUGHUWRLQVXUHWKHYDOLGLW\SULRULW\DQG
HQIRUFHDELOLW\RISRVWSROLF\LQWHUHVW)RUPDOORZVWKHDGGLWLRQDODPRXQWRIOLDELOLW\WREH
VHSDUDWHO\VKRZQLQWKHHQGRUVPHQW$GGLWLRQDOSUHPLXPZRXOGEHFROOHFWHGRQWKHDPRXQWV
VKRZQLQWKHHQGRUVHPHQW

                         02',),&$7,21

,QWKHHYHQWWKDWPRGLILFDWLRQRIDQHQGRUVHPHQWLVUHTXHVWHGLWLVQHFHVVDU\WRFRQVLGHU\RXU
VWDWHUHJXODWRU\UHTXLUHPHQWVIRUILOLQJDQGDSSURYDORIIRUPV,IWKHHQGRUVHPHQWLVPRGLILHGWKH
HQGRUVHPHQWLVQRWDQ$/7$IRUPDQGVKRXOGQRWUHIHUHQFH$/7$LQWKHWLWOH<RXPXVWREWDLQ
WKHDSSURYDORIWKH&RPSDQ\¶VXQGHUZULWLQJDGYLVHUEHIRUHFRPSO\LQJZLWKDQ\UHTXHVWIRUD
PRGLILFDWLRQ
5HWXUQWR7DEOHRI&RQWHQWV


)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 410 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                           6(&7,21



                                                    (1'256(0(17
                                         $WWDFKHGWR3ROLF\1RBBBBBB
                                                       
                                                  ,VVXHGE\
                                               >)17*%5$1'@


 7KHLQVXUDQFHSURYLGHGE\WKLVHQGRUVHPHQWLVVXEMHFWWRWKHH[FOXVLRQVLQ6HFWLRQRIWKLV
    HQGRUVHPHQWWKH([FOXVLRQVIURP&RYHUDJHLQWKH3ROLF\WKH([FHSWLRQVIURP&RYHUDJH
    FRQWDLQHGLQ6FKHGXOH%DQGWKH&RQGLWLRQV$VXVHGLQWKLVHQGRUVHPHQW
    
    D 7KH³'DWHRI(QGRUVHPHQW´LVBBBBBBBBBBBBBBBBBBBBBBBBBBBBDQG
         
    E ´6ZDS2EOLJDWLRQ´PHDQVDPRQHWDU\REOLJDWLRQXQGHUWKHLQWHUHVWUDWHH[FKDQJH
         DJUHHPHQWGDWHG                   EHWZHHQ                                                    
         DQGWKH,QVXUHGH[LVWLQJDW'DWHRI(QGRUVHPHQWDQGVHFXUHGE\WKH,QVXUHG0RUWJDJH
         7KH6ZDS2EOLJDWLRQLVLQFOXGHGDVDSDUWRIWKH,QGHEWHGQHVV
         
 7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRIWKH
    LQYDOLGLW\XQHQIRUFHDELOLW\RUODFNRISULRULW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJHDVVHFXULW\IRU
    WKHUHSD\PHQWRIWKH6ZDS2EOLJDWLRQDW'DWHRI(QGRUVHPHQW
    
 7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJHDQGWKH&RPSDQ\ZLOOQRWSD\
    FRVWVDWWRUQH\V¶IHHVRUH[SHQVHVWKDWDULVHE\UHDVRQRI
    
    D 5LJKWVRUREOLJDWLRQVVHWFUHDWHGRUFRQILUPHGDIWHUWKH'DWHRI(QGRUVHPHQWXQGHUD
         PDVWHULQWHUHVWUDWHH[FKDQJHDJUHHPHQWH[LVWLQJRQRUDIWHU'DWHRI(QGRUVHPHQW
         
    E 7KHVWD\UHMHFWLRQRUDYRLGDQFHRIWKHOLHQRIWKH,QVXUHG0RUWJDJHDVVHFXULW\IRUWKH
         6ZDS2EOLJDWLRQRUDFRXUWRUGHUSURYLGLQJVRPHRWKHUUHPHG\E\WKHRSHUDWLRQRI
         IHGHUDOEDQNUXSWF\VWDWHLQVROYHQF\RUVLPLODUFUHGLWRUV¶ULJKWVODZV
         
    F 7KHFDOFXODWLRQRIWKHDPRXQWLIDQ\GHWHUPLQHGE\DFRXUWRIFRPSHWHQWMXULVGLFWLRQDV
         WKHDPRXQWRIWKH6ZDS2EOLJDWLRQ>RU@
         
    G >7KHLQYDOLGLW\XQHQIRUFHDELOLW\RUODFNRISULRULW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJHDV
         VHFXULW\IRUUHSD\PHQWRIWKH6ZDS2EOLJDWLRQEHFDXVHDOODSSOLFDEOHPRUWJDJHUHFRUGLQJ
         RUVLPLODULQWDQJLEOHWD[HVZHUHQRWSDLGRU@
         
    H >,I'DWHRI(QGRUVHPHQWLVDIWHU'DWHRI3ROLF\DGGDQ\QHFHVVDU\DGGLWLRQDOH[FHSWLRQV
         KHUH@
         
7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\  ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW L 
PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL  PRGLI\ DQ\ SULRU HQGRUVHPHQWV LLL 
H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQRI
WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV  2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWVWRLW

'DWHG

%\BBBBBBBBBBBBBBBBBBBBBBBB
        $XWKRUL]HG6LJQDWRU\
$/7$(QGRUVHPHQW)RUP
,QWHUHVW5DWH6ZDS±'LUHFW2EOLJDWLRQV   
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ


)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 411 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                                    6(&7,21




                                                     (1'256(0(17
                                                $WWDFKHGWR3ROLF\1RBBBB
                                                        ,VVXHGE\
                                                     >)17*%5$1'@
     
 7KHLQVXUDQFHSURYLGHGE\WKLVHQGRUVHPHQWLVVXEMHFWWRWKHH[FOXVLRQVLQ6HFWLRQRIWKLV
      HQGRUVHPHQWWKH([FOXVLRQVIURP&RYHUDJHLQWKH3ROLF\WKH([FHSWLRQVIURP&RYHUDJHFRQWDLQHGLQ
      6FKHGXOH%DQGWKH&RQGLWLRQV$VXVHGLQWKLVHQGRUVHPHQW

      D 7KH³'DWHRI(QGRUVHPHQW´LVBBBBBBBBBBBBBBBBBBBBBBBBBBBBDQG
      
      E ´6ZDS2EOLJDWLRQ´PHDQVDPRQHWDU\REOLJDWLRQXQGHUWKHLQWHUHVWUDWHH[FKDQJHDJUHHPHQWGDWHG
          EHWZHHQ                  DQGWKH,QVXUHGH[LVWLQJDW'DWHRI(QGRUVHPHQWDQGVHFXUHGE\WKH
      ,QVXUHG0RUWJDJH
      
      F ³$GGLWLRQDO,QWHUHVW´PHDQVWKHDGGLWLRQDOLQWHUHVWFDOFXODWHGSXUVXDQWWRWKHIRUPXODSURYLGHGLQWKH
      ORDQGRFXPHQWVVHFXUHGE\WKH,QVXUHG0RUWJDJHHDW'DWHRI(QGRUVHPHQW

7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRIWKHLQYDOLGLW\
      XQHQIRUFHDELOLW\RUODFNRISULRULW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJHDVVHFXULW\IRUWKHUHSD\PHQWRI
      WKH$GGLWLRQDO,QWHUHVWDW'DWHRI(QGRUVHPHQW

7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJHDQGWKH&RPSDQ\ZLOOQRWSD\FRVWV
      DWWRUQH\V¶IHHVRUH[SHQVHVWKDWDULVHE\UHDVRQRI

      D 5LJKWVRUREOLJDWLRQVVHWFUHDWHGRUFRQILUPHGDIWHUWKH'DWHRI(QGRUVHPHQWXQGHUDPDVWHU
      LQWHUHVWUDWHH[FKDQJHDJUHHPHQWH[LVWLQJRQRUDIWHU'DWHRI(QGRUVHPHQW
      
      E 7KHVWD\UHMHFWLRQRUDYRLGDQFHRIWKHOLHQRIWKH,QVXUHG0RUWJDJHDVVHFXULW\IRUWKH6ZDS
      2EOLJDWLRQRUDFRXUWRUGHUSURYLGLQJVRPHRWKHUUHPHG\E\WKHRSHUDWLRQRIIHGHUDOEDQNUXSWF\VWDWH
      LQVROYHQF\RUVLPLODUFUHGLWRUV¶ULJKWVODZV
      
      F 7KHFDOFXODWLRQRIWKHDPRXQWLIDQ\GHWHUPLQHGE\DFRXUWRIFRPSHWHQWMXULVGLFWLRQDVWKHDPRXQW
      RIWKH$GGLWLRQDO,QWHUHVW>RU@
      
      G >7KHLQYDOLGLW\XQHQIRUFHDELOLW\RUODFNRISULRULW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJHDVVHFXULW\IRU
      UHSD\PHQWRIWKH6ZDS2EOLJDWLRQEHFDXVHDOODSSOLFDEOHPRUWJDJHUHFRUGLQJRUVLPLODULQWDQJLEOHWD[HV
      ZHUHQRWSDLGRU@
      
      H >,I'DWHRI(QGRUVHPHQWLVDIWHU'DWHRI3ROLF\DGGDQ\QHFHVVDU\DGGLWLRQDOH[FHSWLRQVKHUH@
      
        7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\  ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW L 
PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV LLL H[WHQGWKH'DWH
RI 3ROLF\ RU LY  LQFUHDVH WKH $PRXQW RI ,QVXUDQFH  7R WKH H[WHQW D SURYLVLRQ RI WKH SROLF\ RU D SUHYLRXV
HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV
2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ DQG RI DQ\ SULRU
HQGRUVHPHQWVWRLW

'DWHG

%\BBBBBBBBBBBBBBBBBBBBBBBBBB
          $XWKRUL]HG6LJQDWRU\

                                      

$/7$(QGRUVHPHQW)RUP
  ,QWHUHVW5DWH6ZDS±$GGLWLRQDO,QWHUHVW   
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ

                                                        (1'256(0(17


)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 412 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                              6(&7,21



                                        $WWDFKHGWR3ROLF\1RBBBBBB
                                                      
                                                 ,VVXHGE\
                                              >)17*%5$1'@
                                                      
       7KHLQVXUDQFHSURYLGHGE\WKLVHQGRUVHPHQWLVVXEMHFWWRWKHH[FOXVLRQVLQ6HFWLRQRIWKLV
         HQGRUVHPHQWWKH([FOXVLRQVIURP&RYHUDJHLQWKH3ROLF\WKH([FHSWLRQVIURP &RYHUDJH
         FRQWDLQHGLQ6FKHGXOH%DQGWKH&RQGLWLRQV$VXVHGLQWKLVHQGRUVHPHQW
      
          D        7KH³'DWHRI(QGRUVHPHQW´LVBBBBBBBBBBBBBBBBBBBBBBBBBBBBDQG
          
          E        ´6ZDS2EOLJDWLRQ´PHDQVDPRQHWDU\REOLJDWLRQXQGHUWKHLQWHUHVWUDWHH[FKDQJH
          DJUHHPHQWGDWHG            EHWZHHQ                                                    DQGWKH
          ,QVXUHGH[LVWLQJDW'DWHRI(QGRUVHPHQWDQGVHFXUHGE\WKH,QVXUHG0RUWJDJH7KH6ZDS
          2EOLJDWLRQLVLQFOXGHGDVDSDUWRIWKH,QGHEWHGQHVV
          
          F³$GGLWLRQDO$PRXQWRI,QVXUDQFH´LVBBBBBBBWKDWLVLQDGGLWLRQWRWKH$PRXQWRI,QVXUDQFH
          VWDWHGLQ6FKHGXOH$DQGLV$SSOLFDEOHRQO\WRORVVRUGDPDJHXQGHUWKLVHQGRUVHPHQW
          
       7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRIWKH
         LQYDOLGLW\XQHQIRUFHDELOLW\RUODFNRISULRULW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJHDVVHFXULW\IRUWKH
         UHSD\PHQWRIWKH6ZDS2EOLJDWLRQDW'DWHRI(QGRUVHPHQW
      
        7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJHDQGWKH&RPSDQ\ZLOOQRWSD\FRVWV
         DWWRUQH\V¶IHHVRUH[SHQVHVWKDWDULVHE\UHDVRQRI
      
         D      5LJKWVRUREOLJDWLRQVVHWFUHDWHGRUFRQILUPHGDIWHUWKH'DWHRI(QGRUVHPHQWXQGHUD
         PDVWHULQWHUHVWUDWHH[FKDQJHDJUHHPHQWH[LVWLQJRQRUDIWHU'DWHRI(QGRUVHPHQW
      
          E       7KHVWD\UHMHFWLRQRUDYRLGDQFHRIWKHOLHQRIWKH,QVXUHG0RUWJDJHDVVHFXULW\IRUWKH
          6ZDS2EOLJDWLRQRUDFRXUWRUGHUSURYLGLQJVRPHRWKHUUHPHG\E\WKHRSHUDWLRQRI              IHGHUDO
          EDQNUXSWF\VWDWHLQVROYHQF\RUVLPLODUFUHGLWRUV¶ULJKWVODZV
           
          F       7KHFDOFXODWLRQRIWKHDPRXQWLIDQ\GHWHUPLQHGE\DFRXUWRIFRPSHWHQWMXULVGLFWLRQDV
          WKHDPRXQWRIWKH6ZDS2EOLJDWLRQ>RU@
           
          G       >7KHLQYDOLGLW\XQHQIRUFHDELOLW\RUODFNRISULRULW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJHDV
          VHFXULW\IRUUHSD\PHQWRIWKH6ZDS2EOLJDWLRQEHFDXVHDOODSSOLFDEOHPRUWJDJHUHFRUGLQJ RU
          VLPLODULQWDQJLEOHWD[HVZHUHQRWSDLGRU@
           
          H       >,I'DWHRI(QGRUVHPHQWLVDIWHU'DWHRI3ROLF\DGGDQ\QHFHVVDU\DGGLWLRQDOH[FHSWLRQV
                   KHUH@
           
7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW L PRGLI\DQ\RI
WKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV LLL H[WHQGWKH'DWHRI3ROLF\RU
  LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQRIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLV
LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV  2WKHUZLVH WKLV
HQGRUVHPHQWLVVXEMHFWWRDOORIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWVWRLW

'DWHG

%\BBBBBBBBBBBBBBBBBBBBBBBB
          $XWKRUL]HG6LJQDWRU\




$/7$(QGRUVHPHQW)RUP
  ,QWHUHVW5DWH6ZDS±'LUHFW2EOLJDWLRQV'HILQHG$PRXQW   
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ                                      




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 413 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                                    6(&7,21




                                                    (1'256(0(17
                                               $WWDFKHGWR3ROLF\1RBBBB
                                                       ,VVXHGE\
                                                    >)17*%5$1'@
     
 7KHLQVXUDQFHSURYLGHGE\WKLVHQGRUVHPHQWLVVXEMHFWWRWKHH[FOXVLRQVLQ6HFWLRQRIWKLV
      HQGRUVHPHQWWKH([FOXVLRQVIURP&RYHUDJHLQWKH3ROLF\WKH([FHSWLRQVIURP&RYHUDJHFRQWDLQHGLQ
      6FKHGXOH%DQGWKH&RQGLWLRQV$VXVHGLQWKLVHQGRUVHPHQW

      D 7KH³'DWHRI(QGRUVHPHQW´LVBBBBBBBBBBBBBBBBBBBBBBBBBBBBDQG
      
      E ´6ZDS2EOLJDWLRQ´PHDQVDPRQHWDU\REOLJDWLRQXQGHUWKHLQWHUHVWUDWHH[FKDQJHDJUHHPHQWGDWHG
          EHWZHHQ                  DQGWKH,QVXUHGH[LVWLQJDW'DWHRI(QGRUVHPHQWDQGVHFXUHGE\WKH
      ,QVXUHG0RUWJDJH
      
      F ³$GGLWLRQDO,QWHUHVW´PHDQVWKHDGGLWLRQDOLQWHUHVWFDOFXODWHGSXUVXDQWWRWKHIRUPXODSURYLGHGLQWKH
      ORDQGRFXPHQWVVHFXUHGE\WKH,QVXUHG0RUWJDJHHDW'DWHRI(QGRUVHPHQW
      
      G ³$GGLWLRQDO$PRXQWRI,QVXUDQFH´LVBBBBBWKDWLVLQDGGLWLRQWRWKH$PRXQWRI,QVXUDQFHVWDWHGLQ
      6FKHGXOH$DQGLVDSSOLFDEOHRQO\WRORVVRUGDPDJHXQGHUWKLVHQGRUVHPHQW

7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRIWKHLQYDOLGLW\
      XQHQIRUFHDELOLW\RUODFNRISULRULW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJHDVVHFXULW\IRUWKHUHSD\PHQWRI
      WKH$GGLWLRQDO,QWHUHVWDW'DWHRI(QGRUVHPHQW

7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJHDQGWKH&RPSDQ\ZLOOQRWSD\FRVWV
      DWWRUQH\V¶IHHVRUH[SHQVHVWKDWDULVHE\UHDVRQRI

      D 5LJKWVRUREOLJDWLRQVVHWFUHDWHGRUFRQILUPHGDIWHUWKH'DWHRI(QGRUVHPHQWXQGHUDPDVWHU
      LQWHUHVWUDWHH[FKDQJHDJUHHPHQWH[LVWLQJRQRUDIWHU'DWHRI(QGRUVHPHQW
      
      E 7KHVWD\UHMHFWLRQRUDYRLGDQFHRIWKHOLHQRIWKH,QVXUHG0RUWJDJHDVVHFXULW\IRUWKH6ZDS
      2EOLJDWLRQRUDFRXUWRUGHUSURYLGLQJVRPHRWKHUUHPHG\E\WKHRSHUDWLRQRIIHGHUDOEDQNUXSWF\VWDWH
      LQVROYHQF\RUVLPLODUFUHGLWRUV¶ULJKWVODZV
      
      F 7KHFDOFXODWLRQRIWKHDPRXQWLIDQ\GHWHUPLQHGE\DFRXUWRIFRPSHWHQWMXULVGLFWLRQDVWKHDPRXQW
      RIWKH$GGLWLRQDO,QWHUHVW>RU@
      
      G >7KHLQYDOLGLW\XQHQIRUFHDELOLW\RUODFNRISULRULW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJHDVVHFXULW\IRU
      UHSD\PHQWRIWKH6ZDS2EOLJDWLRQEHFDXVHDOODSSOLFDEOHPRUWJDJHUHFRUGLQJRUVLPLODULQWDQJLEOHWD[HV
      ZHUHQRWSDLGRU@
      
      H >,I'DWHRI(QGRUVHPHQWLVDIWHU'DWHRI3ROLF\DGGDQ\QHFHVVDU\DGGLWLRQDOH[FHSWLRQVKHUH@
      
        7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\  ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW L 
PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV LLL H[WHQGWKH'DWH
RI 3ROLF\ RU LY  LQFUHDVH WKH $PRXQW RI ,QVXUDQFH  7R WKH H[WHQW D SURYLVLRQ RI WKH SROLF\ RU D SUHYLRXV
HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV
2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ DQG RI DQ\ SULRU
HQGRUVHPHQWVWRLW

'DWHG

%\BBBBBBBBBBBBBBBBBBBBBBBBBB
          $XWKRUL]HG6LJQDWRU\

                            

$/7$(QGRUVHPHQW)RUP
,QWHUHVW5DWH6ZDS±$GGLWLRQDO,QWHUHVW'HILQHG$PRXQW   
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ

)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 414 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                       6(&7,21



5HWXUQWR7DEOHRI&RQWHQWV

       21(72)285)$0,/<6+$5('$335(&,$7,210257*$*((1'256(0(17
                             &200(5&,$/3$57,&,3$7,21,17(5(67
                         $/7$(1'256(0(17)2506DQG
                                                      
                                                      
                                                385326(
                                                      
7KHVH HQGRUVHPHQWV DUH GHVLJQHG WR SURYLGH DGGLWLRQDO FRYHUDJH WR WKH OHQGHU ZKHQ WKH ORDQ
GRFXPHQWVSURYLGHWKDWWKHOHQGHUZLOOSDUWLFLSDWHLQWKHDSSUHFLDWLRQLQYDOXHRIWKHSURSHUW\RUD
VKDUHRIWKHFDVKIORZ DVDGGLWLRQDOLQWHUHVW 7KHUHVLGHQWLDOYHUVLRQ  ZDVGHYHORSHGIRU
XVHZLWKJRYHUQPHQWSURJUDPVWKDWPRGLILHGDQGUHGXFHGWKHRXWVWDQGLQJGHEWRIKRPHRZQHUVLQ
WKH IDFH RI WKH GRZQWXUQ RI WKH KRXVLQJ PDUNHW 7KHVH SURJUDPV DOORZ WKH UHFDSWXUH RI
DSSUHFLDWLRQ XS WR WKH DPRXQW RI IRUJLYHQHVV RI SUHYLRXVO\ RXWVWDQGLQJ GHEW 7KH XVH RI WKLV
HQGRUVHPHQWIRUDQ\RWKHUSXUSRVHPXVWEHDSSURYHGE\WKH&RPSDQ\¶VXQGHUZULWLQJDGYLVRU
7KH FRPPHUFLDO YHUVLRQ   LV IRU XVH RQO\ ZLWK FRPPHUFLDO WUDQVDFWLRQV DQG LQFOXGHV LQ
DGGLWLRQWRWKHLQFUHDVHLQWKHYDOXHRIWKHSURSHUW\ DSSUHFLDWLRQ DVKDUHRIWKHFDVKIORZIURP
WKHSURSHUW\DQGDQ\LQFUHDVHLQWKHHTXLW\RIWKHERUURZHULQWKHSURSHUW\DQGPXVWEHDSSURYHG
E\WKH&RPSDQ\¶VXQGHUZULWLQJDGYLVRU 7KHVHHQGRUVHPHQWVSURYLGHFRYHUDJHLQWKHHYHQWRI
DQ DWWDFN RQ WKH YDOLGLW\ SULRULW\ RU HQIRUFHDELOLW\ RI WKH ,QVXUHG 0RUWJDJH EDVHG XSRQ WKH
SURYLVLRQVUHJDUGLQJVKDUHGDSSUHFLDWLRQDQGSDUWLFLSDWLRQ

                      6(&7,212)32/,&<$0(1'('%<(1'256(0(17
                                                      
6LQFH DQ\ DSSUHFLDWLRQ RU DGGLWLRQDO LQWHUHVW ZLOO RFFXU LQ WKH IXWXUH WKHVH HQGRUVHPHQWV
VSHFLILFDOO\ SURYLGH WKDW WKH FRYHUDJH LV QRW VXEMHFW WR 6HFWLRQ  G  RI WKH ([FOXVLRQV IURP
&RYHUDJH ZKLFK H[FOXGHV ³'HIHFWV OLHQV HQFXPEUDQFHV DGYHUVH FODLPV RU RWKHU PDWWHUV   
DWWDFKLQJRUFUHDWHGVXEVHTXHQWWR'DWHRI3ROLF\´

                                %$6,6)253529,',1*&29(5$*(
                                                      
$/7$)RUP2QH7R)RXU)DPLO\6KDUHG$SSUHFLDWLRQ0RUWJDJH(QGRUVHPHQW
6WDWH/DZ0DQ\VWDWHVKDYHSDVVHGOHJLVODWLRQVSHFLILFDOO\DXWKRUL]LQJWKHOHQGHUWRVKDUHLQ
WKH DSSUHFLDWLRQ RI WKH SURSHUW\  7KH VWDWH VWDWXWH PXVW EH H[DPLQHG IRU SURYLVLRQV VHWWLQJ
VSHFLILF OLPLWV DQG IRUPXODV DQG WKH ORDQ GRFXPHQWV PXVW EH UHYLHZHG WR YHULI\ WKDW WKH ORDQ
FRPSOLHV ZLWK WKRVH OLPLWV DQG IRUPXODV  ,I WKH VWDWXWH KDV QR VXFK OLPLWV RU IRUPXODV
FRQVLGHUDWLRQ VKRXOG EH JLYHQ WR WKH SRVVLELOLW\ WKDW D  WKH PHWKRG RI FDOFXODWLRQ XVHG LQ WKH


)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 415 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                     6(&7,21



,QVXUHG 0RUWJDJH RU E  WKH H[WHQW WR ZKLFK FHUWDLQ DGGLWLRQDO REOLJDWLRQV PLJKW FRQWLQXH HYHQ
DIWHUWKHSULQFLSDOLVSDLGPLJKWEHVRZHLJKWHGLQWKHOHQGHU¶VIDYRUDVWR³VKRFNWKHFRQVFLHQFH´
RI WKH FRXUW DQG SHUKDSV UHQGHU WKH VKDUHG DSSUHFLDWLRQ SURYLVLRQV RI WKH ,QVXUHG 0RUWJDJH
LQYDOLGRU ZKLFKFRXOG OHDGWRDFODLPRI³FORJJLQJ´ WKHHTXLW\ RIUHGHPSWLRQ LQ DEDQNUXSWF\RU
IRUHFORVXUHVLWXDWLRQ

,QVXUHG0RUWJDJHPXVWLQFOXGHWKHIRUPXODIRU FDOFXODWLRQ 7KH,QVXUHG 0RUWJDJHPXVW
H[SUHVVO\ VWDWH WKDW LW LV D 6KDUHG $SSUHFLDWLRQ 0RUWJDJH DQG LQFOXGH WKH DFWXDO IRUPXOD RU
FDOFXODWLRQ PHWKRG XVHG WR GHWHUPLQH WKH OHQGHU¶V VKDUH   7KH IRUPXOD RU FDOFXODWLRQ PHWKRG
FDQQRWVLPSO\EHLQFRUSRUDWHGE\UHIHUHQFHWRWKHSURYLVLRQVRIWKHQRWHRUORDQDJUHHPHQW

/RDQLVQRWDMRLQWYHQWXUH&RQVLGHUDWLRQPXVWDOVREHJLYHQWRZKHWKHURUQRWWKHORDQLV
UHDOO\DORDQ&RXOGLWEHUHFKDUDFWHUL]HGDVDMRLQWYHQWXUHDUUDQJHPHQWZLWKWKHERUURZHU"7KH
WHUPVDQGSURYLVLRQVRIWKHORDQGRFXPHQWDWLRQPXVWEHUHYLHZHGIRUDGHWHUPLQDWLRQDVWRWKH
QDWXUHDQGH[WHQWRIFRQWUROWKDWWKHOHQGHUZLOOKDYHRYHUWKHRSHUDWLRQVRIWKHERUURZHU,IWKHVH
FRQWUROV DUH H[WHQVLYH DQG WKHUH LV D ULVN WKDW WKH ORDQ ZLOO EH UHFKDUDFWHUL]HG WKHQ WKLV
HQGRUVHPHQW VKRXOG QRW EH LVVXHG $Q\ VXFK LVVXHV PXVW EH GLVFXVVHG ZLWK WKH &RPSDQ\
XQGHUZULWLQJDGYLVRUEHIRUHWKLVHQGRUVHPHQWLVRIIHUHG

7KLV HQGRUVHPHQW LV GHVLJQHG IRU XVH ZLWK DQ $/7$ /RDQ 3ROLF\ LVVXHG LQ FRQQHFWLRQ ZLWK D
UHVLGHQWLDO WUDQVDFWLRQ 6HH 6HFWLRQ  6KDUHG $SSUHFLDWLRQ 0RUWJDJH (QGRUVHPHQW
&RPPHUFLDO  6HFWLRQ  6KDUH RI &DVK )ORZ $GGLWLRQDO ,QWHUHVW  (QGRUVHPHQW  DQG WKH
GLVFXVVLRQRIWKH$/7$EHORZIRU&RPPHUFLDOFRYHUDJHV

127(7+,6(1'256(0(170$<21/<%(86(',1&211(&7,21:,7+/2$162121(
72)285)$0,/<5(6,'(17,$/3523(57,(6


$/7$)250&RPPHUFLDO3DUWLFLSDWLRQ,QWHUHVW

  6WDWH /DZ  6RPH VWDWHV KDYH SDVVHG OHJLVODWLRQ VSHFLILFDOO\ DXWKRUL]LQJ WKH FKDUJH RI
³DGGLWLRQDOLQWHUHVW´ZKLFKLVKRZWKHSDUWLFLSDWLRQLQWHUHVWLVGHVLJQDWHG7KHVHVWDWXWHVPXVWEH
H[DPLQHG IRU SURYLVLRQV VHWWLQJ VSHFLILF OLPLWV DQG IRUPXODV DQG WKH ORDQ GRFXPHQWV PXVW EH
UHYLHZHGWRYHULI\WKDWWKHORDQFRPSOLHVZLWKWKRVHOLPLWVDQGIRUPXODV,IWKHVWDWXWHKDVQRVXFK
OLPLWV RU IRUPXODV FRQVLGHUDWLRQ VKRXOG EH JLYHQ WR WKH SRVVLELOLW\ WKDW D  WKH PHWKRG RI
FDOFXODWLRQXVHGLQWKH,QVXUHG0RUWJDJHRU E WKHH[WHQWWRZKLFKFHUWDLQDGGLWLRQDOREOLJDWLRQV
PLJKWFRQWLQXHHYHQDIWHUWKHSULQFLSDOLV SDLGPLJKW EHVR ZHLJKWHG LQWKHOHQGHU¶VIDYRU DVWR


)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 416 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                       6(&7,21



³VKRFNWKHFRQVFLHQFH´RIWKHFRXUWDQGSHUKDSVUHQGHUWKHVKDUHGDSSUHFLDWLRQSURYLVLRQVRIWKH
,QVXUHG0RUWJDJHLQYDOLGRUZKLFKFRXOGOHDGWRDFODLPRI³FORJJLQJ´WKHHTXLW\RIUHGHPSWLRQLQD
EDQNUXSWF\RUIRUHFORVXUHVLWXDWLRQ

,QVXUHG0RUWJDJHPXVWLQFOXGHWKHIRUPXODIRU FDOFXODWLRQ 7KH,QVXUHG 0RUWJDJHPXVW
H[SUHVVO\VWDWHWKDWLWLVD6KDUHG$SSUHFLDWLRQ0RUWJDJH LIWKDWLVZKDWWKHVWDWXWHVUHTXLUH DQG
LQFOXGH WKH DFWXDO IRUPXOD RU FDOFXODWLRQ PHWKRG XVHG WR GHWHUPLQH WKH OHQGHU¶V DGGLWLRQDO
LQWHUHVW7KHIRUPXODRUFDOFXODWLRQPHWKRG FDQQRWVLPSO\EHLQFRUSRUDWHGE\UHIHUHQFHWRWKH
SURYLVLRQVRIWKHQRWHRUORDQDJUHHPHQW

/RDQLVQRWDMRLQWYHQWXUH&RQVLGHUDWLRQPXVWDOVREHJLYHQWRZKHWKHURUQRWWKHORDQLV
UHDOO\DORDQ&RXOGLWEHUHFKDUDFWHUL]HGDVDMRLQWYHQWXUHDUUDQJHPHQWZLWKWKHERUURZHU"7KH
WHUPVDQGSURYLVLRQVRIWKHORDQGRFXPHQWDWLRQPXVWEHUHYLHZHGIRUDGHWHUPLQDWLRQDVWRWKH
QDWXUHDQGH[WHQWRIFRQWUROWKDWWKHOHQGHUZLOOKDYHRYHUWKHRSHUDWLRQVRIWKHERUURZHU,IWKHVH
FRQWUROV DUH H[WHQVLYH DQG WKHUH LV D ULVN WKDW WKH ORDQ ZLOO EH UHFKDUDFWHUL]HG WKHQ WKLV
HQGRUVHPHQW VKRXOG QRW EH LVVXHG $Q\ VXFK LVVXHV PXVW EH GLVFXVVHG ZLWK WKH &RPSDQ\
8QGHUZULWLQJDGYLVRUEHIRUHWKLVHQGRUVHPHQWLVRIIHUHG

$PRXQWRI,QVXUDQFH7KHPLQLPXP3ROLF\$PRXQWVKRXOGEHWKHVXPRIWKHSULQFLSDOGHEW
SOXV D UHDVRQDEOH HVWLPDWH RI WKH DPRXQW RI ³VKDUHG DSSUHFLDWLRQ LQWHUHVW´ 8VXU\ FRQVXPHU
FUHGLW SURWHFWLRQ RU WUXWK LQ OHQGLQJ ODZV DQG FRVWV UHTXLUHG WR REWDLQ D GHWHUPLQDWLRQ RI WKH
DPRXQWRIDGGLWLRQDOLQWHUHVWGXHDUHVSHFLILFDOO\PHQWLRQHGWRUHLQIRUFHWKHLGHDWKDWWKHH[SUHVV
LQVXUDQFHGRHVQRWFRYHUWKHVHPDWWHUV

7KLV HQGRUVHPHQW LV GHVLJQHG IRU XVH ZLWK DQ $/7$ /RDQ 3ROLF\ LVVXHG LQ FRQQHFWLRQ ZLWK D
FRPPHUFLDOWUDQVDFWLRQ

                                                       
                                             02',),&$7,21
                                                       
,Q WKH HYHQW WKDW PRGLILFDWLRQ RI DQ HQGRUVHPHQW LV UHTXHVWHG LW LV QHFHVVDU\ WR FRQVLGHU \RXU
VWDWHUHJXODWRU\UHTXLUHPHQWVIRUILOLQJDQGDSSURYDORIIRUPV,IWKHHQGRUVHPHQWLVPRGLILHGWKH
HQGRUVHPHQWLVQRWDQ$/7$IRUPDQGVKRXOGQRWUHIHUHQFH$/7$LQWKHWLWOH<RXPXVWREWDLQ
WKH DSSURYDO RI WKH &RPSDQ\¶V XQGHUZULWLQJ DGYLVRU EHIRUH FRPSO\LQJ ZLWK DQ\ UHTXHVW IRU D
PRGLILFDWLRQ




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

        Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 417 of 807
        (1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                              6(&7,21



                                                         (1'256(0(17
                                                      $WWDFKHGWR3ROLF\1R
                                                             ,VVXHGE\
                                                          >)17*%UDQG@
          
        7KHLQVXUDQFHDIIRUGHGE\WKLVHQGRUVHPHQWLVRQO\HIIHFWLYHLIWKH/DQGLVDRQHWRIRXUIDPLO\UHVLGHQFH
        
        )RUWKHSXUSRVHVRIWKLVHQGRUVHPHQW³6KDUHG$SSUHFLDWLRQ´VKDOOPHDQLQFUHDVHVLQWKH,QGHEWHGQHVV
        VHFXUHGE\WKH,QVXUHG0RUWJDJHE\UHDVRQRIVKDUHGHTXLW\RUDSSUHFLDWLRQLQWKHYDOXHRIWKH/DQG
        
        7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI
          
                  D  7KHLQYDOLGLW\RUXQHQIRUFHDELOLW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJHDVVHFXULW\IRUWKH
                      ,QGHEWHGQHVVFDXVHGE\WKHSURYLVLRQVIRU6KDUHG$SSUHFLDWLRQRU
    
                   E  /RVVRISULRULW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJHDVVHFXULW\IRUWKH,QGHEWHGQHVVFDXVHGE\
                       WKHSURYLVLRQVIRU6KDUHG$SSUHFLDWLRQ
            
            
            1RWKLQJFRQWDLQHGLQWKLVHQGRUVHPHQWVKDOOEHFRQVWUXHGDVLQVXULQJDJDLQVWORVVRUGDPDJHVXVWDLQHGRU
            LQFXUUHGE\UHDVRQRI
            
                    D  XVXU\
            
                    E  DQ\FRQVXPHUFUHGLWSURWHFWLRQRUWUXWKLQOHQGLQJODZ

                   F  FRVWVH[SHQVHVRUDWWRUQH\¶VIHHVUHTXLUHGWRREWDLQDGHWHUPLQDWLRQE\MXGLFLDOSURFHHGLQJV
                       RURWKHUZLVHRIWKHDPRXQWRIWKH6KDUHG$SSUHFLDWLRQ
    
                   G  IDLOXUHWRFRPSO\ZLWKDSSOLFDEOHODZVDQGUHJXODWLRQVUHJDUGLQJ6KDUHG$SSUHFLDWLRQ
    
                   H  WKHVWD\UHMHFWLRQRUDYRLGDQFHRIWKHOLHQRIWKH,QVXUHG0RUWJDJHDVVHFXULW\IRUWKH6KDUHG
                       $SSUHFLDWLRQRUDFRXUWRUGHUSURYLGLQJVRPHRWKHUUHPHG\E\WKHRSHUDWLRQRIIHGHUDO
                       EDQNUXSWF\VWDWHLQVROYHQF\RUVLPLODUFUHGLWRUV¶ULJKWVODZVRU
    
                   I  WKHLQYDOLGLW\XQHQIRUFHDELOLW\RUODFNRISULRULW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJHDVVHFXULW\
                       IRUWKH,QGHEWHGQHVVEHFDXVHDOODSSOLFDEOHPRUWJDJHUHFRUGLQJRUVLPLODULQWDQJLEOHWD[HV
                       ZHUHQRWSDLG
    
          
        7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW L PRGLI\DQ\RI
        WKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV LLL H[WHQGWKH'DWHRI3ROLF\RU
         LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQRIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLV
        LQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLVHQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLV
        HQGRUVHPHQWLVVXEMHFWWRDOORIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV
          
          
        'DWHG
        
        %\BBBBBBBBBBBBBBBBBBBBBBBBBBBBB
        $XWKRUL]HG6LJQDWRU\
        
        
        
        $/7$(QGRUVHPHQW)RUP
        2QHWR)RXU)DPLO\6KDUHG$SSUHFLDWLRQ0RUWJDJH   
        $PHULFDQ/DQG7LWOH$VVRFLDWLRQ


        )LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 
        
        Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 418 of 807
        (1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                                6(&7,21



                                                            (1'256(0(17
                                                         $WWDFKHGWR3ROLF\1R
                                                                ,VVXHGE\
                                                              >)17*%UDQG@
            
                      7KLVHQGRUVHPHQWLVVXEMHFWWRWKHH[FOXVLRQVLQ6HFWLRQRIWKLVHQGRUVHPHQWWKH([FOXVLRQV
                         IURP&RYHUDJHLQWKHSROLF\WKH([FHSWLRQVIURP&RYHUDJHFRQWDLQHGLQ6FKHGXOH%DQGWKH
                         &RQGLWLRQV

                      $VXVHGLQWKLVHQGRUVHPHQW

                D /RDQ'RFXPHQWVPHDQVWKRVHGRFXPHQWVDVWKH\H[LVWDW'DWHRI3ROLF\FUHDWLQJWKH
                    ,QGHEWHGQHVV
    
                E ³3DUWLFLSDWLRQ,QWHUHVW´PHDQVWKRVHHOHPHQWVRILQWHUHVWHVWDEOLVKHGDQGFDOFXODWHGSXUVXDQWWR
                    WKHIRUPXODSURYLGHGLQWKH/RDQ'RFXPHQWVWKDWDUHSD\DEOHRUDOORFDWHGWRWKH,QVXUHGEDVHG
                    XSRQ
    
                                     L WKHERUURZHU¶VHTXLW\LQWKH7LWOH
                                    LL WKHLQFUHDVHLQYDOXHRIWKH7LWOHRU
                                   LLL FDVKIORZ
    
                      7KHSROLF\LQVXUHVDVRI'DWHRI3ROLF\DJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\
                         UHDVRQRI
    
                D 7KHLQYDOLGLW\RUXQHQIRUFHDELOLW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJHUHVXOWLQJIURPWKHSURYLVLRQVLQ
                    WKH,QVXUHG0RUWJDJHRULQWKH/RDQ'RFXPHQWVZKLFKSURYLGHIRU3DUWLFLSDWLRQ,QWHUHVW
    
                E /DFNRISULRULW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJHDW'DWHRI3ROLF\DVVHFXULW\IRU L WKHXQSDLG
                    SULQFLSDOEDODQFHRIWKHORDQDQG LL WKHLQWHUHVWRQWKHORDQLQFOXGLQJWKH3DUWLFLSDWLRQ,QWHUHVWLI
                    DQ\ZKLFKODFNRISULRULW\LVFDXVHGE\WKHSURYLVLRQVLQWKH/RDQ'RFXPHQWVIRUSD\PHQWRU
                    DOORFDWLRQWRWKH,QVXUHGRIDQ\3DUWLFLSDWLRQ,QWHUHVW
    
                      7KHSROLF\GRHVQRWLQVXUHDJDLQVWORVVRUGDPDJHDQGWKH&RPSDQ\ZLOOQRWSD\FRVWV
                         DWWRUQH\V¶IHHVRUH[SHQVHVWKDWDULVHE\UHDVRQRI
    
                D                 XVXU\XQFRQVFLRQDELOLW\RUDQ\FRQVXPHUFUHGLWSURWHFWLRQRUWUXWKLQOHQGLQJODZ
                E                 GLVSXWHVRYHUWKHDPRXQWRI3DUWLFLSDWLRQ,QWHUHVW
                F                 IDLOXUHWRFRPSO\ZLWKDSSOLFDEOHODZVDQGUHJXODWLRQVUHJDUGLQJ3DUWLFLSDWLRQ,QWHUHVW
                G WKHLQYDOLGLW\XQHQIRUFHDELOLW\RUODFNRISULRULW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJHDVVHFXULW\IRU
                    WKH3DUWLFLSDWLRQ,QWHUHVWEHFDXVHDOODSSOLFDEOHPRUWJDJHUHFRUGLQJRUVLPLODULQWDQJLEOHWD[HVZHUH
                    QRWSDLGRU
                H DQ\VWDWXWRU\OLHQIRUVHUYLFHVSURYLGHGODERUSHUIRUPHGRUPDWHULDOVRUHTXLSPHQWIXUQLVKHG
                    DULVLQJDIWHU'DWHRI3ROLF\
    
        7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW L PRGLI\DQ\RI
        WKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV LLL H[WHQGWKH'DWHRI3ROLF\RU
         LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQRIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLV
        LQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLVHQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLV
        HQGRUVHPHQWLVVXEMHFWWRDOORIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV
          
        'DWHG
        
        %\BBBBBBBBBBBBBBBBBBBBBBBBBBBBB
        $XWKRUL]HG6LJQDWRU\
        $/7$(QGRUVHPHQW)RUP
        &RPPHUFLDO3DUWLFLSDWLRQ,QWHUHVW   
        $PHULFDQ/DQG7LWOH$VVRFLDWLRQ


        )LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 
        
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 419 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                       6(&7,21



5HWXUQWR7DEOHRI&RQWHQWV

                                    6(9(5$%/(,03529(0(176
                                $/7$(1'256(0(17)250
                                                       
                                                385326(

7KLVHQGRUVHPHQWDGGVDVDSDUWRIWKHFDOFXODWLRQRIWKH,QVXUHG¶VORVVWKHGLPLQXWLRQLQYDOXH
RIWKH,QVXUHG¶VLQWHUHVWLQDQ\GHILQHG6HYHUDEOH,PSURYHPHQWDIIL[HGWRWKH/DQGDVZHOODVWKH
UHDVRQDEOH FRVW RI UHPRYDO RU UHORFDWLRQ RI WKHVH 6HYHUDEOH ,PSURYHPHQWV DUH GHILQHG DV
SURSHUW\WKDWE\ ODZGRHV QRWFRQVWLWXWHUHDOSURSHUW\/DQG LVGHILQHGLQWKHSROLF\DVODQGDQG
LPSURYHPHQWVWKDWE\ODZFRQVWLWXWHUHDOSURSHUW\

                      6(&7,2162)32/,&<$0(1'('%<(1'256(0(17
                                                       
7KLVHQGRUVHPHQWDPHQGV6HFWLRQRIWKH&RQGLWLRQVRIWKHSROLF\+RZHYHULWH[SOLFLWO\VWDWHV
WKDWWKHFDOFXODWLRQRIORVVXQGHUWKHHQGRUVHPHQWVKDOOQRWEHLQDGGLWLRQWRYDOXDWLRQVRIWKH7LWOH
RWKHUZLVHGHWHUPLQHGSXUVXDQWWR6HFWLRQRUDQ\RWKHUHQGRUVHPHQWWRWKH3ROLF\)RULQVWDQFH
$/7$(QGRUVHPHQWVDQG DOUHDG\ SURYLGHFRYHUDJHIRUWKHUHDVRQDEOHFRVWVRI
UHORFDWLQJSHUVRQDOSURSHUW\
                                 %$6,6)253529,',1*&29(5$*(

&$87,217+(&203$1<¶681'(5:5,7,1*$'9,6256+28/'%(&2168/7(')25
,1685$%,/,7<,1<28567$7(

:KLOHWKHHQGRUVHPHQWFOHDUO\LQGLFDWHVDWSDUDJUDSKWKDWLWLVQRWSURYLGLQJLQVXUDQFHZLWK
UHVSHFWWRWKHWLWOHWRSHUVRQDOSURSHUW\QRQHWKHOHVVWKHTXHVWLRQRIFRPSOLDQFHZLWKVWDWHPRQR
OLQHUHJXODWLRQVPXVWEHFRQVLGHUHGEHIRUHDJUHHLQJWRLVVXH7KH$PRXQWRI,QVXUDQFHRQ
6FKHGXOH$VKRXOGEHLQH[FHVVRIWKHDPRXQWZKLFKZRXOGRWKHUZLVHEHDSSOLFDEOHSXUVXDQWWR
6HFWLRQRIWKH&RQGLWLRQVRIWKHSROLF\LIWKHHQGRUVHPHQWZHUHQRWWREHLVVXHG
                                             02',),&$7,21
                                                       
,Q WKH HYHQW WKDW PRGLILFDWLRQ RI DQ HQGRUVHPHQW LV UHTXHVWHG LW LV QHFHVVDU\ WR FRQVLGHU \RXU
VWDWHUHJXODWRU\UHTXLUHPHQWVIRUILOLQJDQGDSSURYDORIIRUPV,IWKHHQGRUVHPHQWLVPRGLILHGWKH
HQGRUVHPHQWLVQRWDQ$/7$IRUPDQGVKRXOGQRWUHIHUHQFH$/7$LQWKHWLWOH<RXPXVWREWDLQ
WKH DSSURYDO RI WKH &RPSDQ\¶V XQGHUZULWLQJ DGYLVHU EHIRUH FRPSO\LQJ ZLWK DQ\ UHTXHVW IRU D
PRGLILFDWLRQ
5HWXUQWR7DEOHRI&RQWHQWV


)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 420 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                          6(&7,21



                                              (1'256(0(17

                                       $WWDFKHGWR3ROLF\1RBBBBBB
                                                  ,VVXHGE\
                                              >)17*%5$1'@
    $VXVHGLQWKLVHQGRUVHPHQW6HYHUDEOH,PSURYHPHQWPHDQVSURSHUW\DIIL[HGWRWKH/DQG
       RQRUDIWHU'DWHRI3ROLF\WKDWE\ODZGRHVQRWFRQVWLWXWHUHDOSURSHUW\EHFDXVH
       
       D    RILWVFKDUDFWHUDQGPDQQHURIDWWDFKPHQWWRWKH/DQGDQG
       
       E    LWFDQEHVHYHUHGIURPWKH/DQGZLWKRXWFDXVLQJPDWHULDOGDPDJHWRLWRUWRWKH/DQG
         
    ,QWKHHYHQWRIDORVVE\UHDVRQRIDGHIHFWOLHQHQFXPEUDQFHRURWKHUPDWWHUFRYHUHGE\
       WKLV 3ROLF\ ³'HIHFW´  WKH FDOFXODWLRQ RI WKH ORVV VKDOO LQFOXGH EXW QRW WR WKH H[WHQW WKDW
       WKHVHLWHPVRIORVVDUHLQFOXGHGLQWKHYDOXDWLRQRIWKH7LWOHGHWHUPLQHGSXUVXDQWWR6HFWLRQ
       RIWKH&RQGLWLRQVRUDQ\RWKHUHQGRUVHPHQWWRWKH3ROLF\ 

       D    WKH GLPLQXWLRQ LQ YDOXH RI WKH ,QVXUHG¶V LQWHUHVW LQ DQ\ 6HYHUDEOH ,PSURYHPHQW
              UHVXOWLQJ IURP WKH 'HIHFW UHGXFHG E\ WKH VDOYDJH YDOXH RI WKH 6HYHUDEOH
              ,PSURYHPHQWDQG
       
       E    WKHUHDVRQDEOHFRVWDFWXDOO\LQFXUUHGE\WKH,QVXUHGLQFRQQHFWLRQZLWKWKHUHPRYDORU
              UHORFDWLRQ RI WKH 6HYHUDEOH ,PSURYHPHQW UHVXOWLQJ IURP WKH 'HIHFW DQG WKH FRVW RI
              WUDQVSRUWDWLRQ RI WKDW 6HYHUDEOH ,PSURYHPHQW IRU WKH LQLWLDO RQH KXQGUHG PLOHV
              LQFXUUHGLQFRQQHFWLRQZLWKWKHUHORFDWLRQ
         
    7KLVHQGRUVHPHQWUHODWHVVROHO\WRWKHFDOFXODWLRQRIWKH,QVXUHG¶VORVVUHVXOWLQJIURPD
       FODLPEDVHGRQDGHIHFWOLHQHQFXPEUDQFHRURWKHUPDWWHURWKHUZLVHLQVXUHGDJDLQVWE\
       WKH3ROLF\7KLV3ROLF\GRHVQRWLQVXUHDJDLQVWORVVRUGDPDJH DQGWKH&RPSDQ\ZLOOQRW
       SD\DQ\FRVWVDWWRUQH\V¶IHHVRUH[SHQVHV UHODWLQJWR
       
       D WKHDWWDFKPHQWSHUIHFWLRQRUSULRULW\RIDQ\VHFXULW\LQWHUHVWLQWKH6HYHUDEOH
            ,PSURYHPHQW

      E WKHYHVWLQJRURZQHUVKLSRIWLWOHWRRUULJKWVLQDQ\6HYHUDEOH,PSURYHPHQW

      F DQ\GHIHFWLQRUOLHQRUHQFXPEUDQFHRQWKHWLWOHWRDQ\6HYHUDEOH,PSURYHPHQWRU

      G   WKHGHWHUPLQDWLRQRIZKHWKHUDQ\VSHFLILFSURSHUW\LVUHDORUSHUVRQDOLQQDWXUH

7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW L 
PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL  PRGLI\ DQ\ SULRU HQGRUVHPHQWV LLL 
H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQRI
WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

>:LWQHVVFODXVHRSWLRQDO@
'DWHG
>)17*%UDQG@
%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
        $87+25,=('6,*1$725<

$/7$(QGRUVHPHQW)RUP
6HYHUDEOH,PSURYHPHQWV   
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ



)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 421 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                               6(&7,21



5HWXUQWR7DEOHRI&RQWHQWV
                                     &216758&7,21/2$1
        $/7$(1'256(0(17±)2506 &RQVWUXFWLRQ/RDQ±/RVVRI3ULRULW\ 
                 &RQVWUXFWLRQ/RDQ±/RVVRI3ULRULW\'LUHFW3D\PHQW 
             &RQVWUXFWLRQ/RDQ±/RVVRI3ULRULW\,QVXUHG¶V'LUHFW3D\PHQW 
                                                  
                                            385326(
                                                  
7KHVHHQGRUVHPHQWVWRJHWKHUZLWKWKH 'LVEXUVHPHQW UHSODFHWKH$/7$&RQVWUXFWLRQ
/RDQ3ROLF\DQGWKH&RQVWUXFWLRQ/RDQ3ROLF\(QGRUVHPHQWV$WKURXJK'ZKLFKKDYHEHHQ
GHFHUWLILHGDQGDUHQRORQJHUDYDLODEOH

7KHLVVXDQFHRIDQ\FRQVWUXFWLRQOLHQRUPHFKDQLF¶VOLHQFRYHUDJHLVH[WUDKD]DUGRXVDQG
DOO&RPSDQ\JXLGHOLQHVDQGDXWKRULW\OLPLWVPXVWEHVWULFWO\REVHUYHG7KHDYDLODELOLW\RI
WKHVHHQGRUVHPHQWVPXVWEHDXWKRUL]HGE\\RXU&RPSDQ\XQGHUZULWLQJDGYLVRU0DQ\
VWDWHVXVHVWDWHVSHFLILFIRUPVIRUWKHVHFRYHUDJHVDQGLQDOOFDVHVWKRVHVWDWHIRUPV
ZRXOGEHXVHGXQOHVVGLUHFWHGWRXVHWKLVIRUPE\\RXU&RPSDQ\XQGHUZULWLQJDGYLVRU
7KLVRUVLPLODUFRYHUDJHPD\QRWEHDYDLODEOHLQ\RXUVWDWH

7KHVHHQGRUVHPHQWVZHUHGHYHORSHGWRJLYHOLPLWHGFRYHUDJHZKHUHSULRULW\KDVEHHQORVW7KH\
RQO\JLYHFRYHUDJHWRWKHH[WHQWRIZRUNWKDWWKHOHQGHUKDVSDLGIRUZLWKWKH$/7$DQGWKH
$/7$IXUWKHUOLPLWHGWROLHQVILOHGE\SDUWLHVWKDWKDYHEHHQLGHQWLILHGRQDGUDZUHTXHVW
HLWKHUSDLGE\WKH,QVXUHGRUWKH&RPSDQ\7KH\GRQRWJLYHFRYHUDJHRYHURWKHULQFKRDWHOLHQV
WKDWFDQSULPHWKHFRQVWUXFWLRQPRUWJDJH7KHFRYHUVSD\PHQWDVGLVFORVHGE\DGUDZ
UHTXHVWWKHLVIRUXVHZKHQSD\PHQWVDUHPDGHGLUHFWO\WRWKHVXEFRQWUDFWRURUVXSSOLHU
WKHFRYHUVDOLHQILOHGIRUSD\PHQWRISUHYLRXVO\SDLGDPRXQWV3OHDVHVHHHDFKVHFWLRQ
EHORZIRUIXUWKHUJXLGDQFH

(DFKJLYHVFRYHUDJHRYHU),/('PHFKDQLF¶VOLHQVLIZHKDYHQRWGLVFORVHGWKHPLQWKHSROLF\RU
$/7$ 'LVEXUVHPHQW (QGRUVHPHQWVZKLFKFKDQJHWKH'DWHRI&RYHUDJHDVGHILQHG
WKHUHLQ

7KHLVVXDQFHRIWKHVHHQGRUVHPHQWVUHTXLUHVWKHIROORZLQJH[FHSWLRQWREHLQFOXGHGLQ6FKHGXOH
%RIWKHSROLF\LQWKHSODFHRIWKHJHQHUDOPHFKDQLF¶VOLHQH[FHSWLRQ

               $Q\VWDWXWRU\OLHQRUFODLPRIOLHQDIIHFWLQJWKH7LWOHWKDWDULVHVIURP
        VHUYLFHVSURYLGHGODERUSHUIRUPHGRUPDWHULDOVRUHTXLSPHQWIXUQLVKHGH[FHSWDV
        LQVXUHGE\WKHDWWDFKHG$/7$(QGRUVHPHQW>RURUZKLFKHYHU
        LVXVHG@DVLWPD\EHUHYLVHGE\$/7$ 'LVEXUVHPHQW (QGRUVHPHQWV

)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 422 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                      6(&7,21




<RXPD\PRGLI\WKLVH[FHSWLRQWRXVHORFDOWHUPLQRORJ\7KHLPSRUWDQWWKLQJLVWRUDLVHWKH
H[FHSWLRQIRUDOORWKHUPHFKDQLF¶VOLHQLVVXHVQRWFRYHUHGE\WKHVHOLPLWHGHQGRUVHPHQWVEXW
FDUYHRXWWKHFRYHUDJHWKDWLVDIIRUGHGE\WKHP 

$/7$(1'256(0(17±)250 &RQVWUXFWLRQ/RDQ±/RVVRI3ULRULW\ 

7KLV HQGRUVHPHQW LQVXUHV WKH SULRULW\ RI D FRQVWUXFWLRQ ORDQ GLVEXUVHPHQW ZKHUH WKH ,QVXUHG
0RUWJDJHGRHVQRWKDYHSULRULW\RYHU&RQVWUXFWLRQRU0HFKDQLF¶V/LHQV KHUHDIWHUUHIHUUHGWRDV
³PHFKDQLF¶VOLHQ´ WRWKHH[WHQWWKDWWKHPHFKDQLF¶VOLHQDULVHVIURPDPLVGLVEXUVHPHQWRIIXQGVWR
SD\ IRU VHUYLFHV ODERU RU PDWHULDO WKDW ³«ZHUH GHVLJQDWHG IRU SD\PHQW LQ WKH GRFXPHQWV
VXSSRUWLQJ D &RQVWUXFWLRQ /RDQ $GYDQFH GLVEXUVHG E\ RU RQ EHKDOI RI WKH ,QVXUHG RQ RU EHIRUH
'DWH RI &RYHUDJH´  7KLV PLVGLVEXUVHPHQW FRYHUDJH GRHV QRW UHTXLUH WKH QDPHV RI WKH SDUWLHV
SURYLGLQJWKHVHUYLFHVODERURUPDWHULDOEHLQJSDLGIRUDQGFRYHUVORZHUWLHUGHULYDWLYHOLHQVVXFK
DVPDWHULDOVXSSOLHUVRIDSDLGVXEFRQWUDFWRU1RWHWKDWWKHPLVGLVEXUVHPHQWULVNLQFOXGHVWKH
ULVN RI LQDGHTXDWH GHVFULSWLRQV RI ZKR LV GRLQJ WKH ZRUN DQG KRZ PXFK WKH\ ZHUH SDLG  7KLV
HQGRUVHPHQWLVVLPLODULQFRYHUDJHWRWKHROG$/7$(QGRUVHPHQW$W\SHPHFKDQLFOLHQFRYHUDJH
ZKLFKKDVEHHQZLWKGUDZQ GHFHUWLILHG 
                                                      
                     6(&7,2162)32/,&<$0(1'('%<(1'256(0(17
                                                      
7KHHQGRUVHPHQWGHOHWHV&RYHUHG5LVN D RIWKHSROLF\
                                                      
                                %$6,6)253529,',1*&29(5$*(
                                                      
&RYHUDJHLVSURYLGHGEDVHGXSRQDFRPELQDWLRQRI
    x   GLVFORVXUHRIDQ\ILOHGRUUHFRUGHGOLHQVRQWKH/DQG
    x   HYLGHQFHRIVXIILFLHQF\RIIXQGVWRSD\IRUWKHFRVWRIFRQVWUXFWLRQ
    x   GUDZE\GUDZGRFXPHQWDWLRQLQGLFDWLQJZKRLVWREHSDLGRUZKDWLVWREHSDLGRU ZKDW
         VHUYLFHVODERURUPDWHULDOLVEHLQJSDLGIRUDQGKRZ PXFKLVWREHSDLGDVGLVFORVHGLQ
         WKHOHQGHUDSSURYHGGUDZUHTXHVWDQGDVVXSSOHPHQWHGE\ORZHUWLHUGRFXPHQWDWLRQDV
         LVDSSURSULDWH
    x   HYLGHQFHRISD\PHQW XVXDOO\LQWKHIRUPRIOLHQZDLYHUVLQGLFDWLQJSD\PHQW DQG
    x   LQGHPQLILFDWLRQWRFRYHUPLVGLVEXUVHPHQWRUQRQSD\PHQWE\DQ\SDUW\DWDQ\OHYHOVLQFH
         IXQGV PD\ IORZ IURP WKH RZQHU WR WKH FRQWUDFWRU WR D VXEFRQWUDFWRU WR D VXE
         VXEFRQWUDFWRUWRDPDWHULDOVXSSOLHUIRUWKHGHILQHGZRUN



)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 423 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                           6(&7,21



7KH &RPSDQ\ KDV VSHFLILF GHSDUWPHQWV ZKLFK VSHFLDOL]H LQ FRQVWUXFWLRQ GLVEXUVLQJ DQG
GRFXPHQWDWLRQ UHYLHZ  7KHLU XVH WR UHYLHZ FRQVWUXFWLRQ GRFXPHQWDWLRQ ZKHQ LVVXLQJ WKLV
HQGRUVHPHQWZLOORIWHQEHUHTXLUHGE\XQGHUZULWLQJ

&RQVLGHU WKH W\SLFDO VFHQDULR ZKHUH WKH OHQGHU SD\V WKH JHQHUDO FRQWUDFWRU ³*&´   IRU
HOHFWULF ZRUN :KLOH ZH VKRXOG VWULYH IRU VWDWHPHQWV DQG OLHQ ZDLYHUV VKRZLQJ WKDW  DW
WLPHV OHVV WKH *&¶V RYHUKHDG DQG SURILW  ZHQW WR DQ HOHFWULFLDQ DQG LWV VXSSOLHUV RU ZHQW WR WKH
HOHFWULFLDQ ZKR SDLG LWV VXSSOLHUV WKH LQGHPQLW\ FRYHUV WKH ULVN RI WKH *& QRW SD\LQJ DOO WR WKH
HOHFWULFLDQRUWKHHOHFWULFLDQQRWSD\LQJDQXQGLVFORVHGVXSSOLHU

7KH $/7$  LV RIWHQ LVVXHG LQ FRQMXQFWLRQ ZLWK DQ $/7$  ZKLFK H[WHQGV WKH 'DWH RI
&RYHUDJHDVGHILQHGWKHUHLQEXWVKRXOGQRWEHXVHGWRH[WHQGWKH'DWHRI3ROLF\
7KHIRUPGRHVQRWOHQGLWVHOIWRGHOD\HGGUDZVZLWKRXWIXUWKHUPRGLILFDWLRQ<RXPXVWFRQVXOWZLWK
\RXU&RPSDQ\8QGHUZULWLQJ$GYLVRUIRUDQ\YDULDWLRQV
                                                         
7KLV LV D JHQHULF HQGRUVHPHQW WKDW ZRXOG FXVWRPDULO\ EH XVHG LQ VWDWHV ZKHUH WKH FRQVWUXFWLRQ
OHQGHUFRXOGKDYHREWDLQHGVWDWXWRU\SULRULW\EXWGLGQRWDQGWKHFRPSDQ\LVXQZLOOLQJWRLQVXUHWKH
OHQGHUZLWKRXWDPHFKDQLFOLHQH[FHSWLRQ5(0(0%(5$Q\XVHRIWKLVHQGRUVHPHQWPXVWEH
DSSURYHGE\\RXU&RPSDQ\XQGHUZULWLQJDGYLVRU


$/7$(1'256(0(17±)250 &RQVWUXFWLRQ/RDQ±/RVVRI3ULRULW\±'LUHFW3D\PHQW 
                                                         
7KLV HQGRUVHPHQW LQVXUHV WKH SULRULW\ RI D FRQVWUXFWLRQ ORDQ GLVEXUVHPHQW ZKHUH WKH ,QVXUHG
0RUWJDJH GRHV QRW KDYH SULRULW\ RYHU DQ\ PHFKDQLF OLHQ WR WKH H[WHQW WKDW WKH PHFKDQLF¶V OLHQ
DULVHVIURPDPLVGLVEXUVHPHQWRIIXQGVWRSD\IRUVHUYLFHVODERURUPDWHULDO³«WRWKHH[WHQWWKDW
GLUHFW SD\PHQW WR WKH 0HFKDQLF¶V /LHQ FODLPDQW KDV EHHQ PDGH E\ WKH &RPSDQ\ RU E\ WKH
,QVXUHGZLWKWKH&RPSDQ\¶VZULWWHQDSSURYDO´7KHHIIHFWLYHFRYHUDJHJLYHQLVDVWRWKDWSRUWLRQRI
DPHFKDQLF¶VOLHQFODLPGXHWRDPRXQWVWKDWZHDFNQRZOHGJHDVKDYLQJEHHQGLUHFWO\SDLGWRWKH
FODLPDQWHLWKHUE\WKH&RPSDQ\RUXQGHUDQDJUHHPHQWZLWKD WKLUGSDUW\WRSD\GLUHFWO\7KLV
FRYHUDJH GRHV QRW FRYHU ORZHU WLHU GHULYDWLYH OLHQV VXFK DV PDWHULDO VXSSOLHUV RI D SDLG
VXEFRQWUDFWRU7KHFXVWRPDU\SD\PHQWSUDFWLFHRIPDQ\OHQGHUVLVWRSD\WKHJHQHUDOFRQWUDFWRU
    ³*&´ GLUHFWO\DQGVXFKSD\PHQWVZRXOGQRWEHFRYHUHGXQGHUWKLVHQGRUVHPHQWIRUPHFKDQLF¶V
OLHQFODLPVILOHGE\SDUWLHVFODLPLQJE\WKURXJKRUXQGHUWKH*&VLQFHRQO\WKH*&UHFHLYHGGLUHFW
SD\PHQW3D\PHQWGLUHFWO\WRWKHRZQHUIRUGLVEXUVHPHQWWRWKHWUDGHVJLYHVQRPHFKDQLF¶VOLHQ
FRYHUDJHWRWKH,QVXUHGHLWKHU



)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 424 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                        6(&7,21



                      6(&7,2162)32/,&<$0(1'('%<(1'256(0(17
                                                       
7KHHQGRUVHPHQWGHOHWHV&RYHUHG5LVN D RIWKHSROLF\

                                 %$6,6)253529,',1*&29(5$*(
                                                       
&RYHUDJHLVSURYLGHGEDVHGXSRQGUDZE\GUDZGRFXPHQWDWLRQLQGLFDWLQJZKRLVWREHSDLGZKDW
DPRXQWGLUHFWO\E\WKH&RPSDQ\ RUE\WKH,QVXUHG DQGWKHFROOHFWLRQ RIHYLGHQFHVXFKDVOLHQ
ZDLYHUVWRVXSSRUWVXFKSD\PHQWDQGFRYHUDJH

7KH$/7$LVRIWHQLVVXHGLQFRQMXQFWLRQZLWKDQ$/7$ZKLFKH[WHQGVWKH'DWHRI
&RYHUDJH DV GHILQHG WKHUHLQ 7KH SROLF\ DQG DQ\ VXEVHTXHQW HQGRUVHPHQWV PXVW GLVFORVH DQ\
ILOHGRUUHFRUGHGOLHQV

1RWH WKDW ZKLOH WKH FRYHUDJH WR WKH ,QVXUHG OHQGHU LV OLPLWHG WR WKRVH IXQGV WKH &RPSDQ\ KDV
HLWKHUSDLGGLUHFWO\RUKDVDJUHHGWRUHFRJQL]HDVSDLGE\WKH,QVXUHGDGGLWLRQDOGRFXPHQWDWLRQ
DQGLQGHPQLILFDWLRQWRFRYHUPLVGLVEXUVHPHQWRUQRQSD\PHQWE\DQ\SDUW\DWDQ\OHYHOZLOOOLNHO\
EHUHTXLUHGLIPHFKDQLF¶V OLHQFRYHUDJH LVJLYHQHLWKHUWRD WKLUGSDUW\ SXUFKDVHUDSXUFKDVHU¶V
OHQGHU RU D SHUPDQHQW OHQGHU ZKR SD\V RII WKH FRQVWUXFWLRQ ORDQ ZKHUH WKRVH LQVXUHGV GR QRW
KDYHVWDWXWRU\SURWHFWLRQVDQGOLHQVPD\VWLOOEHILOHGZKLFKDIIHFWWKHLULQWHUHVWV
                                                       
7KLV LV D JHQHULF HQGRUVHPHQW WKDW ZRXOG FXVWRPDULO\ EH XVHG LQ VWDWHV ZKHUH WKH FRQVWUXFWLRQ
OHQGHUFRXOGKDYHREWDLQHGVWDWXWRU\SULRULW\EXWGLGQRWDQGWKHFRPSDQ\LVXQZLOOLQJWRLQVXUHWKH
OHQGHUZLWKRXWDPHFKDQLFOLHQH[FHSWLRQ5(0(0%(5$Q\XVHRIWKLVHQGRUVHPHQWPXVWEH
DSSURYHGE\\RXU&RPSDQ\XQGHUZULWLQJDGYLVRU

$/7$(1'256(0(17±)250 &RQVWUXFWLRQ/RDQ±/RVVRI3ULRULW\±,QVXUHG¶V'LUHFW
3D\PHQW 
                                                       
7KLV HQGRUVHPHQW LQVXUHV WKH SULRULW\ RI D FRQVWUXFWLRQ ORDQ GLVEXUVHPHQW ZKHUH WKH ,QVXUHG
0RUWJDJHGRHVQRWKDYHSULRULW\RYHUDQ\PHFKDQLF¶VOLHQWRWKHH[WHQWWKDWWKHPHFKDQLF¶VOLHQ
DULVHV IURP D GLVEXUVHPHQW RI IXQGV WR SD\ IRU VHUYLFHV ODERU RU PDWHULDO ³«WR WKH H[WHQW WKDW
GLUHFWSD\PHQWWRWKH0HFKDQLF¶V/LHQFODLPDQWKDVEHHQPDGHE\WKH,QVXUHGRURQWKH,QVXUHG¶V
EHKDOI´ 7KH HIIHFWLYH FRYHUDJH JLYHQ LV DV WR WKDW SRUWLRQ RI D PHFKDQLF¶V OLHQ FODLP GXH WR
DPRXQWVWKDWWKDWWKH,QVXUHGDFWXDOO\SDLGGLUHFWO\WRWKHFODLPDQWRUDFWXDOSD\PHQWVPDGHRQ
EHKDOIRIWKH,QVXUHGE\DWKLUGSDUW\7KLVFRYHUDJHGRHVQRWFRYHUORZHUWLHUGHULYDWLYHOLHQV
VXFK DV PDWHULDO VXSSOLHUV RI D SDLG VXEFRQWUDFWRU 7KH FXVWRPDU\ SD\PHQW SUDFWLFH RI PDQ\


)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 425 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                       6(&7,21



OHQGHUVLVWRSD\WKHJHQHUDOFRQWUDFWRU ³*&´ GLUHFWO\DQGVXFKSD\PHQWVZRXOGQRWEHFRYHUHG
XQGHUWKLVHQGRUVHPHQWIRUPHFKDQLFOLHQFODLPVILOHGE\SDUWLHVFODLPLQJE\WKURXJKRUXQGHUWKH
*&VLQFHRQO\WKH*&UHFHLYHGGLUHFWSD\PHQW3D\PHQWGLUHFWO\WRWKHRZQHUIRUGLVEXUVHPHQW
WRWKHWUDGHVJLYHVQRPHFKDQLFVOLHQFRYHUDJHWRWKH,QVXUHGHLWKHU

                      6(&7,2162)32/,&<$0(1'('%<(1'256(0(17
                                                       
7KHHQGRUVHPHQWGHOHWHV&RYHUHG5LVN D RIWKHSROLF\

                                 %$6,6)253529,',1*&29(5$*(
                                                       
&RYHUDJHLVSURYLGHGEDVHGXSRQWKHDFKHFNRIWKH3XEOLF5HFRUGVIRUHDFKH[WHQVLRQRIWLPH
XQGHU WKH LVVXDQFHRIDQ $/7$ ZKLFK H[WHQGVWKH'DWH RI&RYHUDJHDVGHILQHGWKHUHLQ
$Q\UHFRUGHGOLHQVZRXOGEHUDLVHGLQWKH$/7$

1RWHWKDWZKLOHWKHFRYHUDJHWRWKH,QVXUHGOHQGHULVOLPLWHGWRWKRVHIXQGVWKH,QVXUHGKDVHLWKHU
SDLGGLUHFWO\RUKDVKDGSDLGGLUHFWO\WRWKHOLHQFODLPDQWRQ LWVEHKDOIDGGLWLRQDOGRFXPHQWDWLRQ
DQGLQGHPQLILFDWLRQWRFRYHUPLVGLVEXUVHPHQWRUQRQSD\PHQWE\DQ\SDUW\DWDQ\OHYHOZLOOOLNHO\
EHUHTXLUHGLIPHFKDQLF¶V OLHQFRYHUDJH LVJLYHQHLWKHUWRD WKLUGSDUW\ SXUFKDVHUDSXUFKDVHU¶V
OHQGHU RU D SHUPDQHQW OHQGHU ZKR SD\V RII WKH FRQVWUXFWLRQ ORDQ ZKHUH WKRVH LQVXUHGV GR QRW
KDYHVWDWXWRU\SURWHFWLRQVDQGOLHQVPD\VWLOOEHILOHGZKLFKDIIHFWWKHLULQWHUHVWV
                                                       
7KLV LV D JHQHULF HQGRUVHPHQW WKDW ZRXOG FXVWRPDULO\ EH XVHG LQ VWDWHV ZKHUH WKH FRQVWUXFWLRQ
OHQGHUFRXOGKDYHREWDLQHGVWDWXWRU\SULRULW\EXWGLGQRWDQGWKHFRPSDQ\LVXQZLOOLQJWRLQVXUHWKH
OHQGHUZLWKRXWDPHFKDQLFOLHQH[FHSWLRQ5(0(0%(5$Q\XVHRIWKLVHQGRUVHPHQWPXVWEH
DSSURYHGE\\RXU&RPSDQ\XQGHUZULWLQJDGYLVRU


                                                       
                                             02',),&$7,21
                                                       
,Q WKH HYHQW WKDW PRGLILFDWLRQ RI DQ HQGRUVHPHQW LV UHTXHVWHG LW LV QHFHVVDU\ WR FRQVLGHU \RXU
VWDWH UHJXODWRU\ UHTXLUHPHQWV IRU ILOLQJ DQG DSSURYDO RI IRUPV 7KH $/7$ KDV SURYLGHG WKDW WKH
WLWOH XQGHUZULWHUV ³DUH IUHH WR XVH WKHVH HQGRUVHPHQWV >  DQG @ VXEMHFW WR
DQ\ FKDQJHV RU OLPLWDWLRQV WKH\ «FRQVLGHU DSSURSULDWH´ <RX PXVW REWDLQ WKH DSSURYDO RI WKH
&RPSDQ\¶VXQGHUZULWLQJDGYLVRUEHIRUHFRPSO\LQJZLWKDQ\UHTXHVWIRUDPRGLILFDWLRQ




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 426 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                                             6(&7,21



                                                          (1'256(0(17
                                                $WWDFKHGWR3ROLF\1RBBBBBBBBBB
                                                      ,VVXHGE\>)17*%5$1'@
                                                                   
1.   Covered Risk 11(a) of this policy is deleted.

2.    The insurance [for Construction Loan Advances] added by Section 3 of this endorsement is subject to the exclusions in
      Section 4 of this endorsement and the Exclusions from Coverage in the Policy, the provisions of the Conditions, and the
      exceptions contained in Schedule B. For the purposes of this endorsement and each subsequent Disbursement Endorsement:

      a.   “Date of Coverage” is _____ unless the Company sets a different Date of Coverage by an ALTA 33-06 Disbursement
            Endorsement issued at the discretion of the Company.

      b.   “Construction Loan Advance” shall mean an advance that constitutes Indebtedness made on or before Date of Coverage
            for the purpose of financing in whole or in part the construction of improvements on the Land.

      c.   “Mechanic’s Lien” shall mean any statutory lien or claim of lien, affecting the Title, that arises from services provided,
            labor performed, or materials or equipment furnished.

3.    The Company insures against loss or damage sustained by the Insured by reason of:

      a.   The invalidity or unenforceability of the lien of the Insured Mortgage as security for each Construction Loan Advance
            made on or before the Date of Coverage;

      b.   The lack of priority of the lien of the Insured Mortgage as security for each Construction Loan Advance made on or before
            the Date of Coverage, over any lien or encumbrance on the Title recorded in the Public Records and not shown in
            Schedule B; and

      c.   The lack of priority of the lien of the Insured Mortgage, as security for each Construction Loan Advance made on or
            before the Date of Coverage over any Mechanic’s Lien, if notice of the Mechanic’s Lien is not filed or recorded in the
            Public Records, but only to the extent that the charges for the services, labor, materials or equipment for which the
            Mechanic’s Lien is claimed were designated for payment in the documents supporting a Construction Loan Advance
            disbursed by or on behalf of the Insured on or before Date of Coverage.

4     This policy does not insure against loss or damage (and the Company will not pay costs, attorneys’ fees or expenses) by
      reason of any Mechanic’s Lien arising from services, labor, material or equipment:
      a. furnished after Date of Coverage; or
      b. not designated for payment in the documents supporting a Construction Loan Advance disbursed by or on behalf of the
           Insured on or before Date of Coverage.

This endorsement is issued as part of the policy. Except as it expressly states, it does not (i) modify any of the terms and provisions
of the policy, (ii) modify any prior endorsements, (iii) extend the Date of Policy, or (iv) increase the Amount of Insurance. To the
extent a provision of the policy or a previous endorsement is inconsistent with an express provision of this endorsement, this
endorsement controls. Otherwise, this endorsement is subject to all of the terms and provisions of the policy and of any prior
endorsements.

[Witness clause optional]

[Bracketed material optional]

[FNTG BRAND]

BY: __________________________________
         Authorized Signatory


ALTA Endorsement Form 32-06
(Construction Loan-Loss of Priority) (2-3-11)
© American Land Title Association




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 427 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                           6(&7,21



                                                   (1'256(0(17
                                        $WWDFKHGWR3ROLF\1RBBBBBBBBBB
                                             ,VVXHGE\>)17*%5$1'@
 &RYHUHG5LVN D RIWKLVSROLF\LVGHOHWHG

 7KHLQVXUDQFH>IRU&RQVWUXFWLRQ/RDQ$GYDQFHV@DGGHGE\6HFWLRQRIWKLVHQGRUVHPHQWLVVXEMHFWWR
       WKHH[FOXVLRQVLQ6HFWLRQRIWKLVHQGRUVHPHQWDQGWKH([FOXVLRQVIURP&RYHUDJHLQWKH3ROLF\WKH
       SURYLVLRQVRIWKH&RQGLWLRQVDQGWKHH[FHSWLRQVFRQWDLQHGLQ6FKHGXOH%)RUWKHSXUSRVHVRIWKLV
       HQGRUVHPHQWDQGHDFKVXEVHTXHQW'LVEXUVHPHQW(QGRUVHPHQW

       D ³'DWHRI&RYHUDJH´LVBBBBBBBBBBBBBBBXQOHVVWKH&RPSDQ\VHWVDGLIIHUHQW'DWHRI&RYHUDJHE\
            DQ$/7$'LVEXUVHPHQW(QGRUVHPHQWLVVXHGDWWKHGLVFUHWLRQRIWKH&RPSDQ\
            
       E ³&RQVWUXFWLRQ/RDQ$GYDQFH´VKDOOPHDQDQDGYDQFHWKDWFRQVWLWXWHV,QGHEWHGQHVVPDGHRQRU
            EHIRUH'DWHRI&RYHUDJHIRUWKHSXUSRVHRIILQDQFLQJLQZKROHRULQSDUWWKHFRQVWUXFWLRQRI
            LPSURYHPHQWVRQWKH/DQG
            
       F ³0HFKDQLF¶V/LHQ´VKDOOPHDQDQ\VWDWXWRU\OLHQRUFODLPRIOLHQDIIHFWLQJWKH7LWOHWKDWDULVHVIURP
            VHUYLFHVSURYLGHGODERUSHUIRUPHGRUPDWHULDOVRUHTXLSPHQWIXUQLVKHG

 7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI

       D 7KHLQYDOLGLW\RUXQHQIRUFHDELOLW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJHDVVHFXULW\IRUHDFK
           &RQVWUXFWLRQ/RDQ$GYDQFHPDGHRQRUEHIRUHWKH'DWHRI&RYHUDJH
            
       E 7KHODFNRISULRULW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJHDVVHFXULW\IRUHDFK&RQVWUXFWLRQ/RDQ
           $GYDQFHPDGHRQRUEHIRUHWKH'DWHRI&RYHUDJHRYHUDQ\OLHQRUHQFXPEUDQFHRQWKH7LWOH
           UHFRUGHGLQWKH3XEOLF5HFRUGVDQGQRWVKRZQLQ6FKHGXOH%DQG
            
       F 7KHODFNRISULRULW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJHDVVHFXULW\IRUHDFK&RQVWUXFWLRQ/RDQ
            $GYDQFHPDGHRQRUEHIRUHWKH'DWHRI&RYHUDJHRYHUDQ\0HFKDQLF¶V/LHQLIQRWLFHRIWKH
            0HFKDQLF¶V/LHQLVQRWILOHGRUUHFRUGHGLQWKH3XEOLF5HFRUGVEXWRQO\WRWKHH[WHQWWKDWGLUHFW
            SD\PHQWWRWKH0HFKDQLF¶V/LHQFODLPDQWIRUWKHFKDUJHVIRUWKHVHUYLFHVODERUPDWHULDOVRU
            HTXLSPHQWIRUZKLFKWKH0HFKDQLF¶V/LHQLVFODLPHGKDVEHHQPDGHE\WKH&RPSDQ\RUE\WKH
            ,QVXUHGZLWKWKH&RPSDQ\ VZULWWHQDSSURYDO

 7KLVSROLF\GRHVQRWLQVXUHDJDLQVWORVVRUGDPDJH DQGWKH&RPSDQ\ZLOOQRWSD\FRVWVDWWRUQH\V¶IHHV
       RUH[SHQVHV E\UHDVRQRIDQ\0HFKDQLF¶V/LHQDULVLQJIURPVHUYLFHVODERUPDWHULDORUHTXLSPHQW
      D IXUQLVKHGDIWHU'DWHRI&RYHUDJHRU
      E WRWKHH[WHQWWKDWWKH0HFKDQLF¶V/LHQFODLPDQWZDVQRWGLUHFWO\SDLGE\WKH&RPSDQ\RUE\WKH
            ,QVXUHGZLWKWKH&RPSDQ\ VZULWWHQDSSURYDO
            
7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW L PRGLI\DQ\RI
WKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV LLL H[WHQGWKH'DWHRI3ROLF\RU
  LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQRIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLV
LQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLVHQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLV
HQGRUVHPHQWLVVXEMHFWWRDOORIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

>:LWQHVVFODXVHRSWLRQDO@

>%UDFNHWHGPDWHULDORSWLRQDO@

>)17*%5$1'@

%\BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

$/7$(QGRUVHPHQW)RUP
 &RQVWUXFWLRQ/RDQ/RVVRI3ULRULW\'LUHFW3D\PHQW  UHY 
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 428 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                                             6(&7,21



(1'256(0(17
                                                 $WWDFKHGWR3ROLF\1RBBBBBBBBBB
                                                       ,VVXHGE\>)17*%5$1'@
                                                                              
1.    Covered Risk 11(a) of this policy is deleted.

2.    The insurance [for Construction Loan Advances] added by Section 3 of this endorsement is subject to the exclusions in
      Section 4 of this endorsement and the Exclusions from Coverage in the Policy, the provisions of the Conditions, and the
      exceptions contained in Schedule B. For the purposes of this endorsement and each subsequent Disbursement Endorsement:

      a. “Date of Coverage” is[_____ unless the Company sets a different Date of Coverage by an ALTA 33-06 Disbursement
      Endorsement issued at the discretion of the Company.

      b. “Construction Loan Advance” shall mean an advance that constitutes Indebtedness made on or before Date of Coverage
      for the purpose of financing in whole or in part the construction of improvements on the Land.

      c. “Mechanic’s Lien” shall mean any statutory lien or claim of lien, affecting the Title, that arises from services provided,
      labor performed, or materials or equipment furnished.

3.    The Company insures against loss or damage sustained by the Insured by reason of:

      a. The invalidity or unenforceability of the lien of the Insured Mortgage as security for each Construction Loan Advance
      made on or before the Date of Coverage;

      b. The lack of priority of the lien of the Insured Mortgage as security for each Construction Loan Advance made on or before
      the Date of Coverage, over any lien or encumbrance on the Title recorded in the Public Records and not shown in Schedule B;
      and

      c. The lack of priority of the lien of the Insured Mortgage, as security for each Construction Loan Advance made on or
      before the Date of Coverage over any Mechanic’s Lien, if notice of the Mechanic’s Lien is not filed or recorded in the Public
      Records, but only to the extent that a direct payment to the Mechanic’s Lien claimant for the charges for the services, labor,
      materials or equipment for which the Mechanic’s Lien is claimed has been made by the Insured or on the Insured’s behalf on
      or before Date of Coverage.

4     This policy does not insure against loss or damage (and the Company will not pay costs, attorneys’ fees or expenses) by
      reason of any Mechanic’s Lien arising from services, labor, material or equipment:
      a. furnished after Date of Coverage; or
      b. To the extent that the Mechanic’s lien claimant was not directly paid by the Insured or on the Insured’s behalf.

This endorsement is issued as part of the policy. Except as it expressly states, it does not (i) modify any of the terms and provisions
of the policy, (ii) modify any prior endorsements, (iii) extend the Date of Policy, or (iv) increase the Amount of Insurance. To the
extent a provision of the policy or a previous endorsement is inconsistent with an express provision of this endorsement, this
endorsement controls. Otherwise, this endorsement is subject to all of the terms and provisions of the policy and of any prior
endorsements.

[Witness clause optional]

[Bracketed material optional]

[FNTG BRAND]

BY: __________________________________
         Authorized Signatory


ALTA Endorsement Form 32.2-06
(Construction Loan-Loss of Priority-Insured’s Direct Payment) (rev. 4/2/13)
© American Land Title Association





)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 429 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                       6(&7,21



5HWXUQWR7DEOHRI&RQWHQWV
                              &216758&7,21/2$1',6%856(0(17
                                $/7$(1'256(0(17)250
                                                       
                                                385326(
7KLV HQGRUVHPHQW LV XVHG LQ FRQMXQFWLRQ ZLWK $/7$ )RUP  RU  ZKHQ WKH 'DWH RI
&RYHUDJHWREHH[WHQGHG
7KHLVVXDQFHRIDQ\FRQVWUXFWLRQOLHQRUPHFKDQLFOLHQFRYHUDJHLVH[WUDKD]DUGRXVDQG
DOO&RPSDQ\JXLGHOLQHVDQGDXWKRULW\OLPLWVPXVWEHVWULFWO\REVHUYHG7KHDYDLODELOLW\RI
WKLVHQGRUVHPHQWPXVWEHDXWKRUL]HGE\\RXU&RPSDQ\XQGHUZULWLQJDGYLVRU0DQ\VWDWHV
XVHVWDWHVSHFLILFIRUPVIRUWKLVFRYHUDJHDQGLQDOOFDVHVWKRVHIRUPVZRXOGEHXVHG
XQOHVVGLUHFWHGWRXVHWKLVIRUPE\\RXU&RPSDQ\XQGHUZULWLQJDGYLVRU
                                                       
                      6(&7,2162)32/,&<$0(1'('%<(1'256(0(17
                                                       
$VXVHGZLWKWKH&RQVWUXFWLRQ/RDQIRUPVGLVFXVVHGLQ6HFWLRQWKLVHQGRUVHPHQWPRGLILHVWKH
'DWHRI&RYHUDJHRULJLQDOO\LQGLFDWHGLQWKRVHIRUPV
                                                       
                                 %$6,6)253529,',1*&29(5$*(
                                                       
$VHDUFKRIWKH3XEOLF5HFRUGVDFFRUGLQJWRVWDWHXQGHUZULWLQJJXLGHOLQHVVKRXOGEHGRQHEHIRUH
HDFKGUDZDQGDQ\PDWWHUVGLVFORVHGE\VXFKDVHDUFKVKRXOGEHDGGHGWRWKHHQGRUVHPHQWLQ
WKHDSSURSULDWHSODFH7KH'DWHRI&RYHUDJHLVWKHGDWHWKURXJKZKLFKZHDUHZLOOLQJWRH[WHQG
WKHOLDELOLW\IRUPHFKDQLFOLHQVDVGLVFXVVHGLQ6HFWLRQ,WPD\EHWKHGDWHRIWKHGUDZUHTXHVW
EXWLQDOOFDVHVWKHWLWOHVHDUFKPXVWFRYHUWKDWGDWH,WLVHVSHFLDOO\LPSRUWDQWWRYHULI\WKDWDQ\
0/QRWLFHVRURWKHULQVWUXPHQWVRIWKDWQDWXUHKDYHEHHQIRXQGDQGGLVFORVHG,IPDWWHUVDUH
DGGHGWR6FKHGXOH$DQG%RIWKHSROLF\FDUHVKRXOGEHWDNHQWKDWDOOPDWWHUVDUHVKRZQ
DSSURSULDWHO\
5(0(0%(5$Q\XVHRIWKLVHQGRUVHPHQWPXVWEHDSSURYHGE\\RXU&RPSDQ\
XQGHUZULWLQJDGYLVRU
                                             02',),&$7,21
,Q WKH HYHQW WKDW PRGLILFDWLRQ RI DQ HQGRUVHPHQW LV UHTXHVWHG LW LV QHFHVVDU\ WR FRQVLGHU \RXU
VWDWH UHJXODWRU\ UHTXLUHPHQWV IRU ILOLQJ DQG DSSURYDO RI IRUPV 7KH $/7$ KDV SURYLGHG WKDW WKH
WLWOH XQGHUZULWHUV ³DUH IUHH WR XVH >)RUP @ VXEMHFW WR DQ\ FKDQJHV RU OLPLWDWLRQV WKH\
«FRQVLGHU DSSURSULDWH´ <RX PXVW REWDLQ WKH DSSURYDO RI WKH &RPSDQ\¶V XQGHUZULWLQJ DGYLVRU
EHIRUHFRPSO\LQJZLWKDQ\UHTXHVWIRUDPRGLILFDWLRQ
5HWXUQWR7DEOHRI&RQWHQWV


)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 430 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                           6(&7,21



                                              (1'256(0(17
                                       $WWDFKHGWR3ROLF\1RBBBBBB
                                                 ,VVXHGE\
                                             >)17*%5$1'@
                                                      

 7KH'DWHRI&RYHUDJHLVDPHQGHGWRBBBBBBBBBBBBBBBBBBBBBBB

    >D 7KHFXUUHQWGLVEXUVHPHQWLVBBBBBBBBBBBBBBBBBBBBBBBB@

    >E 7KHDJJUHJDWHDPRXQWLQFOXGLQJWKHFXUUHQWGLVEXUVHPHQWUHFRJQL]HGE\WKH&RPSDQ\
         DVGLVEXUVHGE\WKH,QVXUHGLVBBBBBBBBBBBBBBBBBBBBBB@


 6FKHGXOH$LVDPHQGHGDVIROORZV



 6FKHGXOH%LVDPHQGHGDVIROORZV

   >3DUW,@

     >3DUW,,@
      
      
7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\  ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW L 
PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL  PRGLI\ DQ\ SULRU HQGRUVHPHQWV LLL 
H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQRI
WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV  2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWVWRLW


>:LWQHVV2SWLRQDO@
>%UDFNHWHGPDWHULDORSWLRQDO@

'$7('

>)17*%5$1'@
         
%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBB
$87+25,=('6,*1$725<
                                                       
$/7$(QGRUVHPHQW)RUP
'LVEXUVHPHQW   
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ





)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 431 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                 6(&7,21



5HWXUQWR7DEOHRI&RQWHQWV
                                  ,'(17,),('5,6.&29(5$*(
                              $/7$(1'256(0(17±)250
                                                   
                                             385326(
                                                   
       7KLVHQGRUVHPHQWVKRXOGEHXVHGZKHQHYHUZHGHFLGHWRDVVXPHDVSHFLILFULVNRU
³,GHQWLILHG5LVN´DVGHILQHGWKHUHLQ6RPHWLPHWKLVLVUHIHUUHGWRDV³LQVXULQJRYHU´HVSHFLDOO\
ZKHQZHKDYHUDLVHGWKDWULVNLQDFRPPLWPHQWRUSROLF\,WPD\DOVREHUHIHUUHGWRDV³DIILUPDWLYH
FRYHUDJH´7KHUHDUHPDQ\ZD\VIRUWKH&RPSDQ\WRDVVXPHWKHULVNRIDNQRZQWLWOHLVVXHDQG
WKH\YDU\LQFODULW\DQGVFRSH$Q\VXFKFRYHUDJHVKRXOGEHJUDQWHGLQFRQIRUPDQFHZLWKWKH
VWUXFWXUHRIWKHFRPPLWPHQWRUSROLF\XVLQJLQGHPQLW\ODQJXDJHDQGOLPLWLQJWKHVFRSHWR
H[SUHVVO\LGHQWLI\WKHTXDQWLW\RIULVNXQGHUWDNHQ2XUZLOOLQJQHVVWRJLYHDGGLWLRQDOFRYHUDJHLVD
PDWWHUWREHGLVFXVVHGZLWK\RXU&RPSDQ\XQGHUZULWLQJDGYLVRU2QFHZHKDYHGHFLGHGZKDW
VSHFLILFULVNVZHZLOOFRYHUWKHXVHRIWKLVHQGRUVHPHQWLVVWURQJO\UHFRPPHQGHG7KH&RPSDQ\
ZRXOGOLNHWRVWDQGDUGL]HWKHIRUPDWIRUWKHJUDQWLQJRIWKLVW\SHRIFRYHUDJH7KHXVHRIWKH
HQGRUVHPHQWFODULILHVWKHLPSDFWRIWKHFRYHUDJHRQWKHJHQHUDOPDUNHWDELOLW\FRYHUDJHDIIRUGHG
E\WKHSROLF\,WDOVRFODULILHVWKDWDOWKRXJKZHUHTXLUHDILQDOFRXUWGHFUHHEHIRUHORVVFDQEH
GHWHUPLQHGLWGRHVQRWUHOLHYHXVRIWKHGXW\WRGHIHQG,IZHDUHXQZLOOLQJWRLQFOXGHGHIHQVH
FRVWVLQRXUFRYHUDJHDGGLWLRQDOODQJXDJHDQGPRGLILFDWLRQVPXVWEHPDGHWRWKHHQGRUVHPHQW

                    6(&7,2162)32/,&<$0(1'('%<(1'256(0(17
7KHHQGRUVHPHQWPRGLILHVWKHUHIHUHQFHGH[FHSWLRQRU,GHQWLILHG5LVN,WPRGLILHVWKHGHILQLWLRQ
RI&RYHUHG5LVN 8QPDUNHWDEOH7LWOH WRSURYLGHWKDWIRUWKH,GHQWLILHG5LVNRQO\LQVXUDEOHWLWOH
LVEHLQJRIIHUHG,QRWKHUZRUGVORVVFDQRQO\EHRFFDVLRQHGXSRQWKHUHIXVDOWRVXEVHTXHQWO\
LQVXUHZLWKWKHOLPLWHGFRYHUDJHJUDQWHG
                                                   
                              %$6,6)253529,',1*&29(5$*(
7KHXQGHUZULWLQJIRUWKHJUDQWLQJRIDQ\W\SHRIDGGLWLRQDOFRYHUDJHLQUHIHUHQFHWRDVSHFLILF
H[FHSWLRQPXVWEHDFFRUGLQJWR&RPSDQ\JXLGHOLQHVDQGDSSURYHGDWWKHSURSHUOHYHOV<RXU
&RPSDQ\XQGHUZULWLQJDGYLVRUPXVWEHFRQVXOWHG7\SLFDOO\WKHGHVFULSWLRQRIWKH³,GHQWLILHG
5LVN´UHTXLUHGLQ,WHPRIWKHHQGRUVHPHQWZRXOGEHWKHVDPHDVWKHH[FHSWLRQVKRZQLQ
6FKHGXOH%±³0RUWJDJHIURPWR«³RU³9LRODWLRQRI5HVWULFWLRQ«´2FFDVLRQDOO\VXFKDV
ZLWKDQHQFURDFKPHQWZHVKRXOGOLPLWWKH,GHQWLILHG5LVNWRWKHHQIRUFHGUHPRYDORIWKDW
HQFURDFKPHQWRQO\RUFRQVLGHUWKHXVHRIWKH$/7$)RUPLIWKHHQFURDFKPHQWLVRQWRDQ
HDVHPHQW:HGRQ¶WLQWHQGWRDVVXPHOLDELOLW\IRUDQ\RWKHUW\SHRIORVVWKDWFRXOGEHLPSRVHGE\
DQHQFURDFKPHQWVXFKDVPRQH\GDPDJHVRWKHUULJKWVLPSRVHGLQOLHXRIHQIRUFHGUHPRYDORU


)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 432 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                               6(&7,21



]RQLQJLVVXHV,QWKHFDVHRIDQ\W\SHRIHQFURDFKPHQWWKDWLVEHLQJVKRZQDVDQH[FHSWLRQZH
VKRXOGGHVFULEHWKH,GHQWLILHG5LVNDVWKH³HQIRUFHGUHPRYDORIWKHLPSURYHPHQW´VKRZQDVWKH
HQFURDFKPHQWGHVFULEHGLQWKHH[FHSWLRQ
                                         02',),&$7,21
,QWKHHYHQWWKDWPRGLILFDWLRQRIDQHQGRUVHPHQWLVUHTXHVWHGLWLVQHFHVVDU\WRFRQVLGHU\RXU
VWDWHUHJXODWRU\UHTXLUHPHQWVIRUILOLQJDQGDSSURYDORIIRUPV,IWKHHQGRUVHPHQWLVPRGLILHGWKH
HQGRUVHPHQWLVQRWDQ$/7$IRUPDQGVKRXOGQRWUHIHUHQFH$/7$LQWKHWLWOH<RXPXVWREWDLQ
WKHDSSURYDORIWKH&RPSDQ\¶VXQGHUZULWLQJDGYLVHUEHIRUHFRPSO\LQJZLWKDQ\UHTXHVWIRUD
PRGLILFDWLRQ
5HWXUQWR7DEOHRI&RQWHQWV




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 433 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                    6(&7,21



                                            (1'256(0(17
                                      $WWDFKHGWR3ROLF\1RBBBBBB
                                                ,VVXHGE\
                                             >)17*%5$1'@
    

 $VXVHGLQWKLVHQGRUVHPHQW³,GHQWLILHG5LVN´PHDQV>LQVHUWGHVFULSWLRQRIWKHWLWOHGHIHFW
    UHVWULFWLRQHQFXPEUDQFHRURWKHUPDWWHU@GHVFULEHGLQ([FHSWLRQBBBBBBRI6FKHGXOH%
 7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI
     D $ILQDORUGHURUGHFUHHHQIRUFLQJWKH,GHQWLILHG5LVNLQIDYRURIDQDGYHUVHSDUW\RU
     E 7KHUHOHDVHRIDSURVSHFWLYHSXUFKDVHURUOHVVHHRIWKH7LWOHRUOHQGHURQWKH7LWOHIURP
         WKHREOLJDWLRQWRSXUFKDVHOHDVHRUOHQGDVDUHVXOWRIWKH,GHQWLILHG5LVNEXWRQO\LI
             L    WKHUHLVDFRQWUDFWXDOFRQGLWLRQUHTXLULQJWKHGHOLYHU\RIPDUNHWDEOHWLWOHDQG
             LL   QHLWKHUWKH&RPSDQ\QRUDQ\RWKHUWLWOHLQVXUDQFHFRPSDQ\LVZLOOLQJWRLQVXUH
                    RYHUWKH,GHQWLILHG5LVNZLWKWKHVDPHFRQGLWLRQVDVLQWKLVHQGRUVHPHQW
 7KH&RPSDQ\ZLOODOVRSD\WKHFRVWVDWWRUQH\V IHHVDQGH[SHQVHVLQFXUUHGLQGHIHQVHRI
    WKH7LWOHE\UHDVRQRIWKH,GHQWLILHG5LVNLQVXUHGDJDLQVWE\3DUDJUDSKRIWKLVHQGRUVHPHQW
    EXWRQO\WRWKHH[WHQWSURYLGHGLQWKH&RQGLWLRQV
 7KLVHQGRUVHPHQWGRHVQRWREOLJDWHWKH&RPSDQ\WRHVWDEOLVKWKH7LWOHIUHHRIWKH,GHQWLILHG
    5LVNRUWRUHPRYHWKH,GHQWLILHG5LVNEXWLIWKH&RPSDQ\GRHVHVWDEOLVKWKH7LWOHIUHHRIWKH
    ,GHQWLILHG5LVNRUUHPRYHVLW6HFWLRQ D RIWKH&RQGLWLRQVDSSOLHV



7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW L 
PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV LLL 
H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQRI
WKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLV
HQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWVWRLW


>:LWQHVV2SWLRQDO@


'$7('

>)17*%5$1'@
        
%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBB
$87+25,=('6,*1$725<
      
$/7$(QGRUVHPHQW)RUP
,GHQWLILHG5LVN&RYHUDJH   
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ





)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 434 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                 6(&7,21



5HWXUQWR7DEOHRI&RQWHQWV

                    0,1(5$/6$1'27+(568%685)$&(68%67$1&(6
                                                 
               $/7$(1'256(0(17±)2506
                                                 
                                            385326(
                                                 
7KHVHHQGRUVHPHQWIRUPVZHUHRULJLQDOO\GHYHORSHGWRSURYLGHFRYHUDJHWROHQGHUVZLWKUHVSHFW
WRWKHHQIRUFHGUHPRYDORUDOWHUDWLRQRILPSURYHPHQWVUHVXOWLQJIURPWKHH[WUDFWLRQRU
GHYHORSPHQWRIPLQHUDOVRURWKHUVXEVXUIDFHVXEVWDQFHV7KLVFRYHUDJHZDVSUHYLRXVO\LQFOXGHG
LQWKHIRUPHU$/7$VHULHV,WLVQRORQJHUFRQWDLQHGZLWKLQWKRVHHQGRUVHPHQWVRWKHUWKDQWKH
UHYLVHG$/7$DQGWKHQHZ$/7$7KLVFRYHUDJHPD\EHDYDLODEOHLQVRPHDUHDVIRU
RZQHUVSROLFLHVDOVR
                                                 
                    6(&7,2162)32/,&<$0(1'('%<(1'256(0(17
                                                 
1RVSHFLILFVHFWLRQVRIWKHSROLF\DUHDPHQGHGE\WKLVHQGRUVHPHQWKRZHYHUDGGLWLRQDO
FRYHUDJHVDUHDGGHG
                                                 
                               %$6,6)253529,',1*&29(5$*(
                                                 
7KHVHHQGRUVHPHQWVGLIIHURQO\LQWKHGHILQLWLRQVRI³,PSURYHPHQW´
    x   )RUP³,PSURYHPHQW´PHDQVDEXLOGLQJRQWKH/DQGDW'DWHRI3ROLF\
    x   )RUP³,PSURYHPHQW´PHDQVDEXLOGLQJVWUXFWXUHORFDWHGRQWKHVXUIDFHRIWKH
         /DQGDQGDQ\SDYHGURDGZDONZD\SDUNLQJDUHDGULYHZD\RUFXUEDIIL[HGWRWKH/DQG
         DW'DWHRI3ROLF\DQGWKDWE\ODZFRQVWLWXWHVUHDOSURSHUW\EXWH[FOXGLQJDQ\FURSV
         ODQGVFDSLQJODZQVKUXEEHU\RUWUHHV
    x   )RUP³,PSURYHPHQW´PHDQVHDFKLPSURYHPHQWRQWKH/DQGDW'DWHRI3ROLF\
         VSHFLILFDOO\GHVFULEHGDQGLWHPL]HGRQWKHH[KLELWDWWDFKHGWRWKHHQGRUVHPHQW
    x   )RUP³,PSURYHPHQW´DQG³)XWXUH,PSURYHPHQW´DUHLQFOXGHGLQWKHFRYHUDJH
             o ³,PSURYHPHQW´PHDQVDEXLOGLQJVWUXFWXUHORFDWHGRQWKHVXUIDFHRIWKH/DQG
                DQGDQ\SDYHGURDGZDONZD\SDUNLQJDUHDGULYHZD\RUFXUEDIIL[HGWRWKH
                /DQGDW'DWHRI3ROLF\DQGWKDWE\ODZFRQVWLWXWHVUHDOSURSHUW\EXWH[FOXGLQJ
                DQ\FURSVODQGVFDSLQJODZQVKUXEEHU\RUWUHHV
             o ³)XWXUH,PSURYHPHQW´PHDQVDEXLOGLQJVWUXFWXUHDQGDQ\SDYHGURDG
                ZDONZD\SDUNLQJDUHDGULYHZD\RUFXUEWREHFRQVWUXFWHGRQRUDIIL[HGWRWKH
                /DQGLQWKHORFDWLRQVDFFRUGLQJWRFHUWDLQ3ODQVLGHQWLILHGLQWKHHQGRUVHPHQW
                DQGWKDWE\ODZZLOOFRQVWLWXWHUHDOSURSHUW\EXWH[FOXGLQJDQ\FURSV
                ODQGVFDSLQJODZQVKUXEEHU\RUWUHHV


)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 435 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                        6(&7,21




7KHLQVXUDQFHLVDIIRUGHGRQO\IRUGDPDJHFDXVHGE\WKHHQIRUFHGUHPRYDOEDVHGXSWKHULJKWWR
XVHWKHVXUIDFHRIWKHODQGWRH[WUDFWRUGHYHORSPLQHUDOLQWHUHVWV,WLVQRWDSSURSULDWHIRURWKHU
PLQHUDOLQWHUHVWV&RYHUDJHPD\EHJLYHQSURYLGHG

     x   7KHUHLVQRVHSDUDWLRQRIPLQHUDOVIURPWKHVXUIDFHHVWDWHE\GHHGOHDVHRURWKHUZLVHRU
     x   7KHUHLVDVHSDUDWHPLQHUDOHVWDWHEXWLWGRHVQRWLQFOXGHDQ\ULJKWVRIVXUIDFHHQWU\RU
     x   0LQHUDOULJKWVZLWKULJKWVRIVXUIDFHHQWU\HLWKHUH[SUHVVHGRULPSOLHGKDYHEHHQVHYHUHG
          IURP WKH VXUIDFH HVWDWH  +RZHYHU WKH ODQG DQG VXUURXQGLQJ DUHD LV HQWLUHO\ LPSURYHG
          ZLWK UHVLGHQWLDO GHYHORSPHQW  8QGHU WKHVH FLUFXPVWDQFHV VXEPLW WKH UHTXHVW IRU
          FRYHUDJH WR WKH &RPSDQ\ V XQGHUZULWLQJ DGYLVRU ZKR ZLOO FRQVLGHU WKH ULVN EDVHG XSRQ
          VXFKWKLQJVDVWKHVL]HRIWKHSDUFHOXVH SURSRVHGRUFXUUHQW ORFDO]RQLQJRZQHUVKLS
          RI PLQHUDOV DQG WKH SRVVLELOLW\ RI ZDLYHU RI PLQHUDO ULJKWV 7KH &RPSDQ\¶V XQGHUZULWLQJ
          DGYLVRUZLOOUHYLHZDSSURSULDWHVXUYH\VRUVLWHDQGHOHYDWLRQVSODQVRU
     x   7KH LQVWUXPHQW FRQWDLQLQJ WKH ULJKWV LQFOXGHV WKH REOLJDWLRQ RI WKH PLQHUDO RZQHU WR QRW
          GDPDJH DQ\ H[LVWLQJ EXLOGLQJV &DUH PXVW EH WDNHQ WR YHULI\ WKH FXUUHQW LPSURYHPHQWV
          ZHUHLQH[LVWHQFHDWWKHWLPHRIWKHFUHDWLRQRIWKHPLQHUDOLQWHUHVW)RUPZRXOG
          QRWEHDYDLODEOHLQWKLVLQVWDQFH

7KHIRUP DOORZV \RX WR LGHQWLI\ DQ\ VSHFLILF JUDQWV RU UHVHUYDWLRQV RIPLQHUDO ULJKWV WKDW \RX GR
127ZLVKWRJLYHFRYHUDJHRYHU


                                              02',),&$7,21
                                                        
,Q WKH HYHQW WKDW PRGLILFDWLRQ RI DQ HQGRUVHPHQW LV UHTXHVWHG LW LV QHFHVVDU\ WR FRQVLGHU \RXU
VWDWHUHJXODWRU\UHTXLUHPHQWVIRUILOLQJDQGDSSURYDORIIRUPV,IWKHHQGRUVHPHQWLVPRGLILHGWKH
HQGRUVHPHQWLVQRWDQ$/7$IRUPDQGVKRXOGQRWUHIHUHQFH$/7$LQWKHWLWOH<RXPXVWREWDLQ
WKH DSSURYDO RI WKH &RPSDQ\¶V XQGHUZULWLQJ DGYLVHU EHIRUH FRPSO\LQJ ZLWK DQ\ UHTXHVW IRU D
PRGLILFDWLRQ

5HWXUQWR7DEOHRI&RQWHQWV





)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 436 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                 6(&7,21



                                               (1'256(0(17
                                    $WWDFKHGWR3ROLF\1RBBBBBBBBBB
                                                    ,VVXHGE\
                                                >)17*%5$1'@
 7KHLQVXUDQFHSURYLGHGE\WKLVHQGRUVHPHQWLVVXEMHFWWRWKHH[FOXVLRQLQ6HFWLRQRIWKLV
    HQGRUVHPHQWDQGWKH([FOXVLRQVIURP&RYHUDJHWKH([FHSWLRQVIURP&RYHUDJHFRQWDLQHGLQ
    6FKHGXOH%DQGWKH&RQGLWLRQVLQWKHSROLF\
 )RUSXUSRVHVRIWKLVHQGRUVHPHQWRQO\³,PSURYHPHQW´PHDQVDEXLOGLQJRQWKH/DQGDW'DWH
    RI3ROLF\
 7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRIWKH
    HQIRUFHGUHPRYDORUDOWHUDWLRQRIDQ\,PSURYHPHQWUHVXOWLQJIURPWKHIXWXUHH[HUFLVHRIDQ\
    ULJKWH[LVWLQJDW'DWHRI3ROLF\WRXVHWKHVXUIDFHRIWKH/DQGIRUWKHH[WUDFWLRQRU
    GHYHORSPHQWRIPLQHUDOVRUDQ\RWKHUVXEVXUIDFHVXEVWDQFHVH[FHSWHGIURPWKHGHVFULSWLRQ
    RIWKH/DQGRUH[FHSWHGLQ6FKHGXOH%
 7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJH DQGWKH&RPSDQ\ZLOOQRWSD\
    FRVWVDWWRUQH\V IHHVRUH[SHQVHV UHVXOWLQJIURP
   D FRQWDPLQDWLRQH[SORVLRQILUHYLEUDWLRQIUDFWXULQJHDUWKTXDNHRUVXEVLGHQFH>RU@
   E QHJOLJHQFHE\DSHUVRQRUDQ(QWLW\H[HUFLVLQJDULJKWWRH[WUDFWRUGHYHORSPLQHUDOVRU
        RWKHUVXEVXUIDFHVXEVWDQFHV>RU
   F WKHH[HUFLVHRIWKHULJKWVGHVFULEHGLQ  @ 
        ,QVWUXFWLRQDOQRWHLGHQWLI\WKHLQWHUHVWH[FHSWHGIURPWKHGHVFULSWLRQRIWKH/DQGLQ
         6FKHGXOH$RUH[FHSWHGLQ6FKHGXOH%WKDW\RXLQWHQGWRH[FOXGHIURPWKLVFRYHUDJH

7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW
 L PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV
 LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLV
HQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

>:LWQHVVFODXVHRSWLRQDO@
    
>)17*%5$1'@

%\BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
         $XWKRUL]HG6LJQDWRU\
                                                          
                                                          
                                                          
                                                          
                                                          
                                                          
$/7$(QGRUVHPHQW)RUP
0LQHUDOVDQGRWKHU6XEVXUIDFH6XEVWDQFHV%XLOGLQJV   
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ

)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 437 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                 6(&7,21



                                               (1'256(0(17
                                   $WWDFKHGWR3ROLF\1RBBBBBBBBBB
                                                   ,VVXHGE\
                                        >)17*%5$1'@

 7KHLQVXUDQFHSURYLGHGE\WKLVHQGRUVHPHQWLVVXEMHFWWRWKHH[FOXVLRQLQ6HFWLRQRIWKLV
    HQGRUVHPHQWDQGWKH([FOXVLRQVIURP&RYHUDJHWKH([FHSWLRQVIURP&RYHUDJHFRQWDLQHGLQ
    6FKHGXOH%DQGWKH&RQGLWLRQVLQWKHSROLF\
 )RUSXUSRVHVRIWKLVHQGRUVHPHQWRQO\³,PSURYHPHQW´PHDQVDEXLOGLQJVWUXFWXUHORFDWHGRQ
    WKHVXUIDFHRIWKH/DQGDQGDQ\SDYHGURDGZDONZD\SDUNLQJDUHDGULYHZD\RUFXUE
    DIIL[HGWRWKH/DQGDW'DWHRI3ROLF\DQGWKDWE\ODZFRQVWLWXWHVUHDOSURSHUW\EXWH[FOXGLQJ
    DQ\FURSVODQGVFDSLQJODZQVKUXEEHU\RUWUHHV
 7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRIWKH
    HQIRUFHGUHPRYDORUDOWHUDWLRQRIDQ\,PSURYHPHQWUHVXOWLQJIURPWKHIXWXUHH[HUFLVHRIDQ\
    ULJKWH[LVWLQJDW'DWHRI3ROLF\WRXVHWKHVXUIDFHRIWKH/DQGIRUWKHH[WUDFWLRQRU
    GHYHORSPHQWRIPLQHUDOVRUDQ\RWKHUVXEVXUIDFHVXEVWDQFHVH[FHSWHGIURPWKHGHVFULSWLRQ
    RIWKH/DQGRUH[FHSWHGLQ6FKHGXOH%
 7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJH DQGWKH&RPSDQ\ZLOOQRWSD\
    FRVWVDWWRUQH\V IHHVRUH[SHQVHV UHVXOWLQJIURP
   D FRQWDPLQDWLRQH[SORVLRQILUHYLEUDWLRQIUDFWXULQJHDUWKTXDNHRUVXEVLGHQFH>RU@
   E QHJOLJHQFHE\DSHUVRQRUDQ(QWLW\H[HUFLVLQJDULJKWWRH[WUDFWRUGHYHORSPLQHUDOVRU
        RWKHUVXEVXUIDFHVXEVWDQFHV>RU
   F WKHH[HUFLVHRIWKHULJKWVGHVFULEHGLQ  @ 
        ,QVWUXFWLRQDOQRWHLGHQWLI\WKHLQWHUHVWH[FHSWHGIURPWKHGHVFULSWLRQRIWKH/DQGLQ
         6FKHGXOH$RUH[FHSWHGLQ6FKHGXOH%WKDW\RXLQWHQGWRH[FOXGHIURPWKLVFRYHUDJH

7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW
  L PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLV
HQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


>:LWQHVVFODXVHRSWLRQDO@
    
>)17*%5$1'@

%\BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
         $XWKRUL]HG6LJQDWRU\
         
         
         
         
         
$/7$(QGRUVHPHQW)RUP
0LQHUDOVDQGRWKHU6XEVXUIDFH6XEVWDQFHV,PSURYHPHQWV   
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ

)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 438 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                 6(&7,21



                                               (1'256(0(17
                                   $WWDFKHGWR3ROLF\1RBBBBBBBBBB
                                                   ,VVXHGE\
                                                >)17*%5$1'@


 7KHLQVXUDQFHSURYLGHGE\WKLVHQGRUVHPHQWLVVXEMHFWWRWKHH[FOXVLRQLQ6HFWLRQRIWKLV
     HQGRUVHPHQWDQGWKH([FOXVLRQVIURP&RYHUDJHWKH([FHSWLRQVIURP&RYHUDJHFRQWDLQHGLQ
     6FKHGXOH%DQGWKH&RQGLWLRQVLQWKHSROLF\
 )RUSXUSRVHVRIWKLVHQGRUVHPHQWRQO\³,PSURYHPHQW´PHDQVHDFKLPSURYHPHQWRQWKH
    /DQGDW'DWHRI3ROLF\LWHPL]HG>RQWKHH[KLELWDWWDFKHGWRWKLVHQGRUVHPHQW@>EHORZ@
 7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRIWKH
    HQIRUFHGUHPRYDORUDOWHUDWLRQRIDQ\,PSURYHPHQWUHVXOWLQJIURPWKHIXWXUHH[HUFLVHRIDQ\
    ULJKWH[LVWLQJDW'DWHRI3ROLF\WRXVHWKHVXUIDFHRIWKH/DQGIRUWKHH[WUDFWLRQRU
    GHYHORSPHQWRIPLQHUDOVRUDQ\RWKHUVXEVXUIDFHVXEVWDQFHVH[FHSWHGIURPWKHGHVFULSWLRQ
    RIWKH/DQGRUH[FHSWHGLQ6FKHGXOH%
 7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJH DQGWKH&RPSDQ\ZLOOQRWSD\
    FRVWVDWWRUQH\V IHHVRUH[SHQVHV UHVXOWLQJIURP
   D FRQWDPLQDWLRQH[SORVLRQILUHYLEUDWLRQIUDFWXULQJHDUWKTXDNHRUVXEVLGHQFH>RU@
   E QHJOLJHQFHE\DSHUVRQRUDQ(QWLW\H[HUFLVLQJDULJKWWRH[WUDFWRUGHYHORSPLQHUDOVRU
        RWKHUVXEVXUIDFHVXEVWDQFHV>RU
   F WKHH[HUFLVHRIWKHULJKWVGHVFULEHGLQ  @ 
        ,QVWUXFWLRQDOQRWHLGHQWLI\WKHLQWHUHVWH[FHSWHGIURPWKHGHVFULSWLRQRIWKH/DQGLQ
         6FKHGXOH$RUH[FHSWHGLQ6FKHGXOH%WKDW\RXLQWHQGWRH[FOXGHIURPWKLVFRYHUDJH

7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW
  L PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLV
HQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


>:LWQHVVFODXVHRSWLRQDO@


>)17*%5$1'@


%\BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
      $XWKRUL]HG6LJQDWRU\
         
         
         
         
         
$/7$(QGRUVHPHQW)RUP
0LQHUDOVDQGRWKHU6XEVXUIDFH6XEVWDQFHV'HVFULEHG,PSURYHPHQWV   
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ


)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 439 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                           6(&7,21


                                                      (1'256(0(17

                                         $WWDFKHGWR3ROLF\1RBBBBBBBBBB
                                                         ,VVXHGE\
                                                      >)17*%5$1'@

 7KHLQVXUDQFHSURYLGHGE\WKLVHQGRUVHPHQWLVVXEMHFWWRWKHH[FOXVLRQLQ6HFWLRQRIWKLV
    HQGRUVHPHQWDQGWKH([FOXVLRQVIURP&RYHUDJHWKH([FHSWLRQVIURP&RYHUDJHFRQWDLQHGLQ6FKHGXOH
    %DQGWKH&RQGLWLRQVLQWKHSROLF\
 )RUSXUSRVHVRIWKLVHQGRUVHPHQWRQO\
    D ³,PSURYHPHQW´PHDQVDEXLOGLQJVWUXFWXUHORFDWHGRQWKHVXUIDFHRIWKH/DQGDQGDQ\SDYHGURDG
        ZDONZD\SDUNLQJDUHDGULYHZD\RUFXUEDIIL[HGWRWKH/DQGDW'DWHRI3ROLF\DQGWKDWE\ODZ
        FRQVWLWXWHVUHDOSURSHUW\EXWH[FOXGLQJDQ\FURSVODQGVFDSLQJODZQVKUXEEHU\RUWUHHV
    E ³)XWXUH,PSURYHPHQW´PHDQVDEXLOGLQJVWUXFWXUHDQGDQ\SDYHGURDGZDONZD\SDUNLQJDUHD
        GULYHZD\RUFXUEWREHFRQVWUXFWHGRQRUDIIL[HGWRWKH/DQGLQWKHORFDWLRQVDFFRUGLQJWRWKH3ODQV
        DQGWKDWE\ODZZLOOFRQVWLWXWHUHDOSURSHUW\EXWH[FOXGLQJDQ\FURSVODQGVFDSLQJODZQVKUXEEHU\
        RUWUHHV
    F ³3ODQV´PHDQVWKHVXUYH\VLWHDQGHOHYDWLRQSODQVRURWKHUGHSLFWLRQVRUGUDZLQJVSUHSDUHGE\
         LQVHUWQDPHRIDUFKLWHFWRUHQJLQHHU GDWHGBBBBODVWUHYLVHGBBBBBBBBGHVLJQDWHGDV LQVHUW
        QDPHRISURMHFWRUSURMHFWQXPEHU FRQVLVWLQJRIBBBVKHHWV
 7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRIWKHHQIRUFHG
    UHPRYDORUDOWHUDWLRQRIDQ,PSURYHPHQWRUD)XWXUH,PSURYHPHQWUHVXOWLQJIURPWKHIXWXUHH[HUFLVHRI
    DQ\ULJKWH[LVWLQJDW'DWHRI3ROLF\WRXVHWKHVXUIDFHRIWKH/DQGIRUWKHH[WUDFWLRQRUGHYHORSPHQWRI
    PLQHUDOVRUDQ\RWKHUVXEVXUIDFHVXEVWDQFHVH[FHSWHGIURPWKHGHVFULSWLRQRIWKH/DQGRUH[FHSWHGLQ
    6FKHGXOH%
 7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJH DQGWKH&RPSDQ\ZLOOQRWSD\FRVWV
    DWWRUQH\V IHHVRUH[SHQVHV UHVXOWLQJIURP
   D FRQWDPLQDWLRQH[SORVLRQILUHYLEUDWLRQIUDFWXULQJHDUWKTXDNHRUVXEVLGHQFH>RU@
   E QHJOLJHQFHE\DSHUVRQRUDQ(QWLW\H[HUFLVLQJDULJKWWRH[WUDFWRUGHYHORSPLQHUDOVRURWKHU
        VXEVXUIDFHVXEVWDQFHV>RU
   F WKHH[HUFLVHRIWKHULJKWVGHVFULEHGLQ  @ 
        ,QVWUXFWLRQDOQRWHLGHQWLI\WKHLQWHUHVWH[FHSWHGIURPWKHGHVFULSWLRQRIWKH/DQGLQ6FKHGXOH$RU
         H[FHSWHGLQ6FKHGXOH%WKDW\RXLQWHQGWRH[FOXGHIURPWKLVFRYHUDJH
7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW L PRGLI\DQ\RI
WKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV LLL H[WHQGWKH'DWHRI3ROLF\RU
 LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQRIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLV
LQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLVHQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLV
HQGRUVHPHQWLVVXEMHFWWRDOORIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

>:LWQHVVFODXVHRSWLRQDO@

>)17*%5$1'@


%\BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
        $XWKRUL]HG6LJQDWRU\




$/7$(QGRUVHPHQW)RUP
0LQHUDOVDQGRWKHU6XEVXUIDFH6XEVWDQFHV/DQG8QGHU'HYHORSPHQW   
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ



)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 440 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                  6(&7,21



5HWXUQWR7DEOHRI&RQWHQWV
                                     (1(5*<352-(&76HULHV
                                                    
                                 $/7$(1'256(0(17±)2506
                    
                                                    
                                              385326(

7KH $/7$  VHULHV RI HQGRUVHPHQW IRUPV ZHUH GHYHORSHG WR SURYLGH FRYHUDJHV WR HQHUJ\
SURMHFW RZQHUV DQG OHQGHUV ZKLFK XVH D OHDVHKROG RU HDVHPHQW ULJKWV VWUXFWXUH ([DPSOHV RI
VXFKSURMHFWVZRXOGLQFOXGHVRODURUZLQGIDUPV
                                                    
                    6(&7,2162)32/,&<$0(1'('%<(1'256(0(17
                                                    
)RUPV (QHUJ\3URMHFW/HDVHKROG(DVHPHQW2ZQHUV 
)RUP (QHUJ\3URMHFW/HDVHKROG(DVHPHQW/RDQ 
7KHVHHQGRUVHPHQWIRUPVSURYLGHFRYHUDJHWRDQRZQHURUDOHQGHURQDQHQHUJ\SURMHFWZKLFK
XVHVDOHDVHKROGDQGHDVHPHQWULJKWVVWUXFWXUH7KH\DUHVLPLODUWRWKH$/7$ /HDVHKROG
2ZQHU¶V DQG /HDVHKROG/RDQ HQGRUVHPHQWV,QDGGLWLRQWKHVHHQGRUVHPHQWIRUPV
    x Add specific energy project definitions
    x Add coverage for insured easement interests that are a common component of energy
       projects
    x Expand the “Valuation of Title” to clarify that loss on a single parcel shall include
       resulting loss to the integrated project as a whole
    x Add coverage for “Severable Improvements” which is separately available with the
       previously filed ALTA 31-06 (Severable Improvements) form
    x Modify the “Additional items of loss” section to include items appropriate to the energy
       project transaction
    x Add a limitation that the coverage does not include loss resulting from environmental
       damage or contamination, to conform to policy provisions.



)RUP (QHUJ\3URMHFW/HDVHKROG2ZQHU¶V 
)RUP (QHUJ\3URMHFW/HDVHKROG/RDQ 
7KHVHHQGRUVHPHQWIRUPVSURYLGHFRYHUDJHWRDQRZQHURUDOHQGHURQDQHQHUJ\SURMHFWZKLFK
XVHV RQO\ D OHDVHKROG VWUXFWXUH 7KH\ DUH VLPLODU WR WKH $/7$  /HDVHKROG 2ZQHU¶V  DQG
 /HDVHKROG/RDQ HQGRUVHPHQWV,QDGGLWLRQWKHVHHQGRUVHPHQWIRUPV
    x Add specific energy project definitions


)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 441 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                              6(&7,21



       x Expand the “Valuation of title” to clarify that loss on a single parcel shall include
          resulting loss to the integrated project as a whole
       x Add coverage for “Severable Improvements” which is separately available with the
          previously filed ALTA 31-06 (Severable Improvements)
       x Modify the “Additional items of loss” section to include items appropriate to the energy
          project transaction
       x Add a limitation that the coverage does not include loss resulting from environmental
          damage or contamination, to conform to policy provisions.
                                                     
)RUP (QHUJ\3URMHFW&RYHQDQWV&RQGLWLRQVDQG5HVWULFWLRQV/DQG8QGHU'HYHORSPHQW
2ZQHUV 
)RUP (QHUJ\3URMHFW&RYHQDQWV&RQGLWLRQVDQG5HVWULFWLRQV/DQG8QGHU'HYHORSPHQW
/RDQ 
7KHVHHQGRUVHPHQWIRUPVSURYLGHFRYHUDJHWRDQRZQHURUDOHQGHURQDQHQHUJ\SURMHFWZKLFK
LVXQGHUGHYHORSPHQWZLWKUHVSHFWWRFRYHQDQWVFRQGLWLRQVDQGUHVWULFWLRQV7KHVHIRUPVDUH
VLPLODUWRWKH$/7$ &RYHQDQWV&RQGLWLRQVDQG5HVWULFWLRQV±/DQG8QGHU'HYHORSPHQW
2ZQHUV DQGWKH$/7$ &RYHQDQWV&RQGLWLRQVDQG5HVWULFWLRQV±/DQG8QGHU
'HYHORSPHQW/RDQ HQGRUVHPHQWIRUPV,QDGGLWLRQWKHVHHQGRUVHPHQWIRUPV
       x Add specific energy project definitions
       x Add coverage for violation of an enforceable Covenant unless shown in Schedule B
       x Add coverage for enforced removal as a result of a building setback encroachment not
           shown as an exception on Schedule B
       x Add coverage for loss occasioned by a recorded notice of a violation of a Covenant
           relating to environmental protection if not shown as an exception on Schedule B
       x Include a limitation that the coverage does not include loss resulting from Covenants
           contained in an easement or lease, any obligation to perform maintenance, or any
           covenant pertaining to environmental damage or contamination.
       
(QGRUVHPHQW)RUP (QHUJ\3URMHFW(QFURDFKPHQWV 7KLVHQGRUVHPHQWIRUPSURYLGHV
FRYHUDJHWRDQRZQHURUDOHQGHURQDQHQHUJ\SURMHFWVXFKDVDVRODURUZLQGIDUPZLWKUHVSHFW
WRERXQGDU\OLQHDQGHDVHPHQWHQFURDFKPHQWV7KLVIRUPLVVLPLODUWRWKH$/7$
    (QFURDFKPHQWV%RXQGDULHVDQG(DVHPHQWV HQGRUVHPHQWIRUP7KLVHQGRUVHPHQWIRUP

       x Adds specific energy project definitions




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 442 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                              6(&7,21



    x Provides coverage for the loss occasioned by the existence of an encroachment by
         improvements onto a neighboring property or onto an easement area within the
         insured Land, other than as disclosed in Schedule B exceptions
    x Provides coverage for the loss occasioned by the existence of an encroachment by a
         neighboring improvement onto the insured Land, other than as disclosed in Schedule B
         exceptions
    x Provides coverage for the enforced removal of or damage to insured Improvements
         based upon an encroachment into the easement area or onto neighboring property.
7KLVIRUPDOVRDOORZVWKHH[FOXVLRQRIDOLVWHGHQFURDFKPHQWIURPWKHHQIRUFHGUHPRYDODQG
GDPDJHFRYHUDJH


                                   %$6,6)253529,',1*&29(5$*(



(QGRUVHPHQWVDQG>/HDVHKROG(DVHPHQWDQG /HDVHKROG@ DUHWR

EH LVVXHG ZKHQ WKH FXVWRPHU LV VHHNLQJ WKH DGGLWLRQDO FRYHUDJHV SURYLGHG WKHUHLQ DQG WKH /DQG

FRQVLVWV RI OHDVHKROG LQWHUHVWV RQO\ RU OHDVHKROG DQG HDVHPHQW LQWHUHVWV 7KH VHDUFKLQJ DQG

H[DPLQLQJSURFHGXUHVIRULQVXULQJOHDVHKROGVDVGLVFXVVHGXQGHU6HFWLRQRIWKLVPDQXDOUHPDLQ

WKH VDPH DV GRHV WKH PRGLILFDWLRQ RI 6FKHGXOH $ ,Q )RUPV  DQG  WKH HVWDWH RU

LQWHUHVWLQWKH/DQGLVQRWD)HHEXWUDWKHUWKH/HDVHKROG(VWDWHFUHDWHGE\DQGEHWZHHQWKHSDUWLHV

ZLWK D UHIHUHQFH WR WKH XQGHUO\LQJ OHDVH LQIRUPDWLRQ 7KDW LV FRUUHFW IRU )RUPV  DQG 

DOVRZKLFKDGGLWLRQDOO\KDYHWKHHDVHPHQWLQWHUHVWVDVSDUWRIWKH/DQG)RUDOORIWKHVHIRUPVWKH

HQWLUHOHDVHPXVWEHH[DPLQHGDQGPDQ\VWDWHVUHTXLUHDQ\VKRUWIRUPOHDVHRUPHPRUDQGXPRIWKH

OHDVH LI WKH IXOO OHDVH LV QRW UHFRUGHG  WR FRQWDLQ WKH VLJQDWXUHV RI ERWK SDUWLHV WR JLYH HIIHFWLYH

FRQVWUXFWLYH QRWLFH RQ WKH UHFRUG RI WKH WHQDQWV¶ ULJKWV DQG LQWHUHVWV $GGLWLRQDOO\ DOO XQGHUZULWLQJ

JXLGHOLQHV IRU WKH VHDUFK H[DPLQDWLRQ DQG LQVXUDQFH RI HDVHPHQW LQWHUHVWV PXVW EH IROORZHG IRU

)RUPVDQG



&RQVXOW \RXU &RPSDQ\ XQGHUZULWLQJ DGYLVRU IRU LQVWUXFWLRQV RQ KRZ WR FRUUHFWO\ PRGLI\ WKH IHH

SROLFLHVIRUXVHZLWKWKHVHHQGRUVHPHQWV



)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 443 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                     6(&7,21



)RUP>&&5/DQGXQGHUGHYHORSPHQW2ZQHUV@

$Q DFFXUDWH FXUUHQW VXUYH\ RI WKH /DQG DQG WKH 3ODQV DV GHILQHG WKHUHLQ LV UHTXLUHG IRU

FRYHUDJH7KHVXUYH\PD\EHLQFRUSRUDWHGLQWRWKH3ODQVLIDSSURSULDWH

&RYHUDJHDPD\EHJLYHQSURYLGHG
            x   7KHUHDUHQRFRYHQDQWVFRQGLWLRQVRUUHVWULFWLRQVRU
            x   LWKDVEHHQGHWHUPLQHGWKDWHLWKHUWKHUHDUHQRYLRODWLRQVWKDWDUHHQIRUFHDEOHRU
            x   DOOHQIRUFHDEOHYLRODWLRQVWKDWKDYHEHHQGLVFORVHGE\LQVSHFWLRQVXUYH\RU
                 RWKHUPHDQVDUHLGHQWLILHGDQGH[FHSWHGE\GHVFULSWLRQRIVXFKPDWWHULQ
                 6FKHGXOH%
        
&RYHUDJHEPD\EHJLYHQSURYLGHG
            x   7KHUHDUHQREXLOGLQJVHWEDFNOLQHVVKRZQRQDUHFRUGHGRUILOHGSODWRI
                 VXEGLYLVLRQRU
            x   ,WKDVEHHQGHWHUPLQHGWKDWHLWKHUWKHUHDUHQRYLRODWLRQVWKDWDUHHQIRUFHDEOHRU
            x   $OOHQIRUFHDEOHYLRODWLRQVWKDWKDYHEHHQGLVFORVHGE\LQVSHFWLRQVXUYH\RURWKHU
                 PHDQVDUHLGHQWLILHGDQGH[FHSWHGLQ6FKHGXOH%

&RYHUDJHFPD\EHJLYHQSURYLGHG
            x   (LWKHUWKHUHDUHQRQRWLFHVRIYLRODWLRQVRIFRYHQDQWVFRQGLWLRQVDQGUHVWULFWLRQV
                 UHODWLQJWRHQYLURQPHQWDOSURWHFWLRQUHFRUGHGRUILOHGLQWKHSXEOLFUHFRUGVRU
            x   WKHQRWLFHVRIYLRODWLRQVDUHLGHQWLILHGDQGH[FHSWHGLQ6FKHGXOH%


)RUP>&&5/DQG8QGHU'HYHORSPHQW/RDQ@

$QDFFXUDWHFXUUHQWVXUYH\RIWKH/DQGDQGWKH3ODQVDVGHILQHGWKHUHLQLVUHTXLUHGIRU
FRYHUDJH7KHVXUYH\PD\EHLQFRUSRUDWHGLQWRWKH3ODQVLIDSSURSULDWH

&RYHUDJHDPD\EHJLYHQLIDQ\RIWKHIROORZLQJVLWXDWLRQVDSSO\
            x   7KHUHDUHQRFRYHQDQWVFRQGLWLRQVRUUHVWULFWLRQV
            x   7KH FRYHQDQWV FRQGLWLRQV RU UHVWULFWLRQV DUH QRW HQIRUFHDEOH XQGHU VWDWH RU
                IHGHUDOODZ
            x   7KHUHVWULFWLRQVFRQWDLQDFODXVHSURWHFWLQJWKHOLHQRIDPRUWJDJHPDGHLQJRRG
                IDLWKDQGIRUYDOXHDJDLQVWDYLRODWLRQ
            x   5LJKWV WR HQIRUFH WKH UHVWULFWLRQV KDYH EHHQ ZDLYHG RU DUH VXERUGLQDWHG WR WKH
                ,QVXUHG0RUWJDJH

&RYHUDJHEPD\EHJLYHQSURYLGHG
            x   7KHUHDUHQRFRYHQDQWVFRQGLWLRQVRUUHVWULFWLRQVRU

)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 444 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                            6(&7,21



               x     LWKDVEHHQGHWHUPLQHGWKDWHLWKHUWKHUHDUHQRYLRODWLRQVWKDWDUHHQIRUFHDEOHRU
               x     DOOHQIRUFHDEOHYLRODWLRQVWKDWKDYHEHHQGLVFORVHGE\LQVSHFWLRQVXUYH\RURWKHU
                      PHDQVDUHLGHQWLILHGDQGH[FHSWHGLQ6FKHGXOH%

&RYHUDJHFPD\EHJLYHQSURYLGHG
               x     7KHUH DUH QR EXLOGLQJ VHWEDFN OLQHV VKRZQ RQ D UHFRUGHG RU ILOHG SODW RI
                      VXEGLYLVLRQRU
               x     LWKDVEHHQGHWHUPLQHGWKDWHLWKHUWKHUHDUHQRYLRODWLRQVWKDWDUHHQIRUFHDEOHRU
               x     DOOHQIRUFHDEOHYLRODWLRQVWKDWKDYHEHHQGLVFORVHGE\LQVSHFWLRQVXUYH\RURWKHU
                      PHDQVDUHLGHQWLILHGDQGH[FHSWHGLQ6FKHGXOH%

&RYHUDJH G PD\EHJLYHQSURYLGHG

               x     (LWKHU WKHUH DUH QR QRWLFHV RI YLRODWLRQ RI FRYHQDQWV FRQGLWLRQV DQG UHVWULFWLRQV
                      UHODWLQJWRHQYLURQPHQWDOSURWHFWLRQUHFRUGHGRUILOHGLQWKHSXEOLFUHFRUGVRU
               x     WKHQRWLFHVRIYLRODWLRQVDUHLGHQWLILHGDQGH[FHSWHGLQ6FKHGXOH%

(QGRUVHPHQW>(QFURDFKPHQWV@

$QDFFXUDWHFXUUHQWVXUYH\RIWKH/DQGDQGWKH3ODQVDVGHILQHGWKHUHLQLVUHTXLUHGIRU
FRYHUDJH

&RYHUDJHDPD\EHJLYHQSURYLGHG
     
     )RUHQFURDFKPHQWVRQWRDGMRLQLQJODQG
          x        $Q\ HQFURDFKPHQWV GLVFORVHG E\ LQVSHFWLRQ VXUYH\ RU RWKHU PHDQV DUH DOVR
                    H[SUHVVO\H[FHSWHGE\GHVFULSWLRQRIVXFKPDWWHULQ6FKHGXOH%

     )RUHQFURDFKPHQWVRQWRHDVHPHQWVORFDWHGRQWKH/DQGHLWKHU
          x        WKHUHDUHQRHDVHPHQWVH[FHSWHGLQ6FKHGXOH%RU
          x        HQFURDFKPHQWV RQWR HDVHPHQWV GLVFORVHG E\ LQVSHFWLRQ VXUYH\ RU RWKHU PHDQV
                    DUHDOVRH[SUHVVO\H[FHSWHGE\GHVFULSWLRQRIVXFKPDWWHULQ6FKHGXOH%


&RYHUDJHEPD\EHSURYLGHGLIDQ\RIWKHIROORZLQJVLWXDWLRQVDSSO\




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 445 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                       6(&7,21



              x     IRU HQFURDFKPHQWV RQ WKH /DQG E\ D QHLJKERULQJ LPSURYHPHQW DQ\ VXFK
                    HQFURDFKPHQWV GLVFORVHG E\ LQVSHFWLRQ VXUYH\ RU RWKHU PHDQV DUH H[SUHVVO\
                    H[FHSWHGE\GHVFULSWLRQRIVXFKPDWWHULQ6FKHGXOH%
         
&RYHUDJHFPD\EHJLYHQLIDQ\RIWKHIROORZLQJVLWXDWLRQVDSSO\

               x    7KHUHDUHQRHDVHPHQWVH[FHSWHGLQ6FKHGXOH%
               x    7KHUHDUHQRHQFURDFKPHQWVRQWRHDVHPHQWVH[FHSWHGLQ6FKHGXOH%
               x    (QFURDFKPHQWV VKRZQ DUH PLQRU ZRXOG QRW LQWHUIHUH ZLWK WKH XVH RU
                     PDLQWHQDQFH RI WKH HDVHPHQW DQG \RXU &RPSDQ\ XQGHUZULWLQJ DGYLVRU LV
                     VDWLVILHG WKDW WKH (OHFWULFLW\ )DFLOLW\ RU 6HYHUDEOH ,PSURYHPHQW FRXOG QRW EH
                     IRUFLEO\UHPRYHGXQGHUVWDWHODZ

&RYHUDJHGPD\EHJLYHQLIDQ\RIWKHIROORZLQJVLWXDWLRQVDSSO\
               
               x    7KHUHDUHQRHDVHPHQWVH[FHSWHGLQ6FKHGXOH%
               x    7KHUHDUHQRHQFURDFKPHQWVRQWRHDVHPHQWVH[FHSWHGLQ6FKHGXOH%
               x    7KH HQFURDFKPHQW LV PLQRU ZRXOG QRW LQWHUIHUH ZLWK WKH PDLQWHQDQFH RI WKH
                    HDVHPHQWDQG \RXU&RPSDQ\XQGHUZULWLQJDGYLVRULVVDWLVILHGWKDWDVWDWHFRXUW
                    ZRXOGQRWUHTXLUHLWVUHPRYDO

7KHIRUPDOORZV\RXWROLVWWKHHQFURDFKPHQWVIRUZKLFK\RXGRQRWZLVKWRJLYHFRYHUDJH
                                                       
                                               02',),&$7,21
                                                       
,Q WKH HYHQW WKDW PRGLILFDWLRQ RI DQ HQGRUVHPHQW LV UHTXHVWHG LW LV QHFHVVDU\ WR FRQVLGHU \RXU
VWDWHUHJXODWRU\UHTXLUHPHQWVIRUILOLQJDQGDSSURYDORIIRUPV,IWKHHQGRUVHPHQWLVPRGLILHGWKH
HQGRUVHPHQWLVQRWDQ$/7$IRUPDQGVKRXOGQRWUHIHUHQFH$/7$LQWKHWLWOH<RXPXVWREWDLQ
WKH DSSURYDO RI WKH &RPSDQ\¶V XQGHUZULWLQJ DGYLVHU EHIRUH FRPSO\LQJ ZLWK DQ\ UHTXHVW IRU D
PRGLILFDWLRQ

5HWXUQWR7DEOHRI&RQWHQWV





)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 446 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                                          6(&7,21




                                                        (1'256(0(17
                                              $WWDFKHGWR3ROLF\1RBBBBBBBBBB
                                                            ,VVXHGE\
                                                         >)17*%5$1'@

   7KHLQVXUDQFHSURYLGHGE\WKLVHQGRUVHPHQWLVVXEMHFWWRWKHH[FOXVLRQVLQ6HFWLRQRIWKLVHQGRUVHPHQWDQGWKH
      ([FOXVLRQVIURP&RYHUDJHWKH([FHSWLRQVIURP&RYHUDJHFRQWDLQHGLQ6FKHGXOH%DQGWKH&RQGLWLRQVLQWKHSROLF\
   )RUSXUSRVHVRIWKLVHQGRUVHPHQWRQO\
      D   ³&RQVWLWXHQW3DUFHO´PHDQVRQHRIWKHSDUFHOVRI/DQGGHVFULEHGLQ6FKHGXOH$WKDWWRJHWKHUFRQVWLWXWHRQH
            LQWHJUDWHGSURMHFW
      E   ³(DVHPHQW´PHDQVHDFKHDVHPHQWGHVFULEHGLQ6FKHGXOH$
      F   ³(DVHPHQW,QWHUHVW´PHDQVWKHULJKWRIXVHJUDQWHGLQWKH(DVHPHQWIRUWKH(DVHPHQW7HUP
      G   ³(DVHPHQW7HUP´PHDQVWKHGXUDWLRQRIWKH(DVHPHQW,QWHUHVWDVVHWIRUWKLQWKH(DVHPHQWLQFOXGLQJDQ\
            UHQHZDORUH[WHQGHGWHUPLIDYDOLGRSWLRQWRUHQHZRUH[WHQGLVFRQWDLQHGLQWKH(DVHPHQW
      H   ³(OHFWULFLW\)DFLOLW\´PHDQVDQHOHFWULFLW\JHQHUDWLQJIDFLOLW\ZKLFKPD\LQFOXGHRQHRUPRUHRIWKHIROORZLQJD
            VXEVWDWLRQDWUDQVPLVVLRQGLVWULEXWLRQRUFROOHFWRUOLQHDQLQWHUFRQQHFWLRQLQYHUWHUWUDQVIRUPHUJHQHUDWRU
            WXUELQHDUUD\VRODUSDQHORUPRGXOHDFLUFXLWEUHDNHUIRRWLQJWRZHUSROHFURVVDUPJX\OLQHDQFKRUZLUH
            FRQWUROV\VWHPFRPPXQLFDWLRQVRUUDGLRUHOD\V\VWHPVDIHW\SURWHFWLRQIDFLOLW\URDGDQGRWKHUEXLOGLQJ
            VWUXFWXUHIL[WXUHPDFKLQHU\HTXLSPHQWDSSOLDQFHDQGLWHPDVVRFLDWHGZLWKRULQFLGHQWDOWRWKHJHQHUDWLRQ
            FRQYHUVLRQVWRUDJHVZLWFKLQJPHWHULQJVWHSXSVWHSGRZQLQYHUVLRQWUDQVPLVVLRQFRQGXFWLQJZKHHOLQJ
            VDOHRURWKHUXVHRUFRQYH\DQFHRIHOHFWULFLW\RQWKH/DQGDW'DWHRI3ROLF\RUWREHEXLOWRUFRQVWUXFWHGRQWKH
            /DQGLQWKHORFDWLRQVDFFRUGLQJWRWKH3ODQVWKDWE\ODZFRQVWLWXWHVUHDOSURSHUW\
      I   ³(YLFWHG´RU³(YLFWLRQ´PHDQV D WKHODZIXOGHSULYDWLRQLQZKROHRULQSDUWRIWKHULJKWRISRVVHVVLRQRUXVH
            LQVXUHGE\WKLVSROLF\FRQWUDU\WRWKHWHUPVRIDQ\/HDVHRU(DVHPHQWRU E WKHODZIXOSUHYHQWLRQRIWKHXVHRI
            WKH/DQGRUDQ\(OHFWULFLW\)DFLOLW\RU6HYHUDEOH,PSURYHPHQWIRUWKHSXUSRVHVSHUPLWWHGE\WKH/HDVHRUWKH
            (DVHPHQWDVDSSOLFDEOHLQHLWKHUFDVHDVDUHVXOWRIDPDWWHUFRYHUHGE\WKLVSROLF\
      J   ³/HDVH´PHDQVHDFKOHDVHGHVFULEHGLQ6FKHGXOH$
      K   ³/HDVHKROG(VWDWH´PHDQVWKHULJKWRISRVVHVVLRQJUDQWHGLQWKH/HDVHIRUWKH/HDVH7HUP
      L   ³/HDVH7HUP´PHDQVWKHGXUDWLRQRIWKH/HDVHKROG(VWDWHDVVHWIRUWKLQWKH/HDVHLQFOXGLQJDQ\UHQHZDORU
            H[WHQGHGWHUPLIDYDOLGRSWLRQWRUHQHZRUH[WHQGLVFRQWDLQHGLQWKH/HDVH
      M   ³3ODQV´PHDQVWKHVXUYH\VLWHDQGHOHYDWLRQSODQVRURWKHUGHSLFWLRQVRUGUDZLQJVSUHSDUHGE\
             LQVHUWQDPHRIDUFKLWHFWRUHQJLQHHU GDWHGBBBBODVWUHYLVHGBBBBBBBBGHVLJQDWHGDV LQVHUWQDPHRI
            SURMHFWRUSURMHFWQXPEHU FRQVLVWLQJRIBBBVKHHWV
      N   ³5HPDLQLQJ7HUP´PHDQVWKHSRUWLRQRIWKH(DVHPHQW7HUPRUWKH/HDVH7HUPUHPDLQLQJDIWHUWKH,QVXUHGKDV
            EHHQ(YLFWHG
      O   ´6HYHUDEOH,PSURYHPHQW´PHDQVSURSHUW\DIIL[HGWRWKH/DQGDW'DWHRI3ROLF\RUWREHDIIL[HGLQWKHORFDWLRQV
            DFFRUGLQJWRWKH3ODQVWKDWZRXOGFRQVWLWXWHDQ(OHFWULFLW\)DFLOLW\EXWIRULWVFKDUDFWHUL]DWLRQDVSHUVRQDO
            SURSHUW\DQGWKDWE\ODZGRHVQRWFRQVWLWXWHUHDOSURSHUW\EHFDXVH D RILWVFKDUDFWHUDQGPDQQHURI
            DWWDFKPHQWWRWKH/DQGDQG E WKHSURSHUW\FDQEHVHYHUHGIURPWKH/DQGZLWKRXWFDXVLQJPDWHULDOGDPDJHWR
            WKHSURSHUW\RUWRWKH/DQG
   9DOXDWLRQRI7LWOHDVDQ,QWHJUDWHG3URMHFW
      D   ,ILQFRPSXWLQJORVVRUGDPDJHLWEHFRPHVQHFHVVDU\WRYDOXHWKH7LWOHRUDQ\SRUWLRQRILWDVWKHUHVXOWRIDQ
            (YLFWLRQWKHQDVWRWKDWSRUWLRQRIWKH/DQGIURPZKLFKWKH,QVXUHGLV(YLFWHGWKDWYDOXHVKDOOFRQVLVWRI L WKH
            YDOXHRI $ WKH/HDVHKROG(VWDWHRUWKH(DVHPHQW,QWHUHVWIRUWKH5HPDLQLQJ7HUPDVDSSOLFDEOH % DQ\
            (OHFWULFLW\)DFLOLW\H[LVWLQJRQWKHGDWHRIWKH(YLFWLRQDQGLIDSSOLFDEOH LL DQ\UHGXFWLRQLQYDOXHRIDQRWKHU
            LQVXUHG/HDVHRU(DVHPHQWDVFRPSXWHGLQ6HFWLRQ E EHORZ
      E   $FRPSXWDWLRQRIORVVRUGDPDJHUHVXOWLQJIURPDQ(YLFWLRQDIIHFWLQJDQ\&RQVWLWXHQW3DUFHOVKDOOLQFOXGHORVV
            RUGDPDJHWRWKHLQWHJUDWHGSURMHFWFDXVHGE\WKHFRYHUHGPDWWHUDIIHFWLQJWKH&RQVWLWXHQW3DUFHOIURPZKLFK
            WKH,QVXUHGLV(YLFWHG
      F   7KH,QVXUHG&ODLPDQWVKDOOKDYHWKHULJKWWRKDYHWKH/HDVHKROG(VWDWHWKH(DVHPHQW,QWHUHVWDQGDQ\
            (OHFWULFLW\)DFLOLW\DIIHFWHGE\DGHIHFWLQVXUHGDJDLQVWE\WKLVSROLF\YDOXHGHLWKHUDVDZKROHRUVHSDUDWHO\,Q
            HLWKHUHYHQWWKLVGHWHUPLQDWLRQRIYDOXHVKDOOWDNHLQWRDFFRXQWDQ\UHQWRUXVHSD\PHQWVQRORQJHUUHTXLUHGWR
            EHSDLGIRUWKH5HPDLQLQJ7HUP



)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 447 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                                           6(&7,21


      G   7KHSURYLVLRQVRIWKLV6HFWLRQVKDOOQRWGLPLQLVKWKH,QVXUHG¶VULJKWVXQGHUDQ\RWKHUHQGRUVHPHQWWRWKH
            SROLF\KRZHYHUWKHFDOFXODWLRQRIORVVRUGDPDJHSXUVXDQWWRWKLVHQGRUVHPHQWVKDOOQRWDOORZGXSOLFDWLRQRI
            UHFRYHU\IRUORVVRUGDPDJHFDOFXODWHGSXUVXDQWWR6HFWLRQRIWKH&RQGLWLRQVRUDQ\RWKHUHQGRUVHPHQWWRWKH
            SROLF\
   9DOXDWLRQRI6HYHUDEOH,PSURYHPHQWV
      D   ,QWKHHYHQWRIDQ(YLFWLRQWKHFDOFXODWLRQRIWKHORVVVKDOOLQFOXGH EXWQRWWRWKHH[WHQWWKDWWKHVHLWHPVRIORVV
            DUHLQFOXGHGLQWKHYDOXDWLRQRIWKH7LWOHGHWHUPLQHGSXUVXDQWWR6HFWLRQRIWKH&RQGLWLRQVRUDQ\RWKHU
            SURYLVLRQRIWKLVRUDQ\RWKHUHQGRUVHPHQW WKHGLPLQXWLRQLQYDOXHRIWKH,QVXUHG¶VLQWHUHVWLQDQ\6HYHUDEOH
            ,PSURYHPHQWUHVXOWLQJIURPWKH(YLFWLRQUHGXFHGE\WKHVDOYDJHYDOXHRIWKH6HYHUDEOH,PSURYHPHQW
     E   7KHSROLF\GRHVQRWLQVXUHDJDLQVWORVVRUGDPDJH DQGWKH&RPSDQ\ZLOOQRWSD\DQ\FRVWVDWWRUQH\V¶IHHVRU
            H[SHQVHV UHODWLQJWR
            L   WKHDWWDFKPHQWSHUIHFWLRQRUSULRULW\RIDQ\VHFXULW\LQWHUHVWLQDQ\6HYHUDEOH,PSURYHPHQW
            LL WKHYHVWLQJRURZQHUVKLSRIWLWOHWRRUULJKWVLQDQ\6HYHUDEOH,PSURYHPHQW
            LLL DQ\GHIHFWLQRUOLHQRUHQFXPEUDQFHRQWKHWLWOHWRDQ\6HYHUDEOH,PSURYHPHQWRU
           LY WKHGHWHUPLQDWLRQRIZKHWKHUDQ\VSHFLILFSURSHUW\LVUHDORUSHUVRQDOLQQDWXUH
           
   $GGLWLRQDOLWHPVRIORVVFRYHUHGE\WKLVHQGRUVHPHQW
      ,IWKH,QVXUHGLV(YLFWHGWKHIROORZLQJLWHPVRIORVVLIDSSOLFDEOHWRWKDWSRUWLRQRIWKH/DQGIURPZKLFKWKH,QVXUHGLV
      (YLFWHGVKDOOEHLQFOXGHGZLWKRXWGXSOLFDWLRQLQFRPSXWLQJORVVRUGDPDJHLQFXUUHGE\WKH,QVXUHGEXWQRWWRWKH
      H[WHQWWKDWWKHVDPHDUHLQFOXGHGLQWKHYDOXDWLRQRIWKH7LWOHGHWHUPLQHGSXUVXDQWWR6HFWLRQRIWKLVHQGRUVHPHQW
      WKHYDOXDWLRQRI6HYHUDEOH,PSURYHPHQWVSXUVXDQWWR6HFWLRQRIWKLVHQGRUVHPHQWRU6HFWLRQ D LL RIWKH
      &RQGLWLRQV
      
      D 7KHUHDVRQDEOHFRVWRI L GLVDVVHPEOLQJUHPRYLQJUHORFDWLQJDQGUHDVVHPEOLQJDQ\6HYHUDEOH,PSURYHPHQW
            WKDWWKH,QVXUHGKDVWKHULJKWWRUHPRYHDQGUHORFDWHVLWXDWHGRQWKH/DQGDWWKHWLPHRI(YLFWLRQWRWKHH[WHQW
            QHFHVVDU\WRUHVWRUHDQGPDNHIXQFWLRQDOWKHLQWHJUDWHGSURMHFW LL WUDQVSRUWDWLRQRIWKDW6HYHUDEOH
            ,PSURYHPHQWIRUWKHLQLWLDORQHKXQGUHGPLOHVLQFXUUHGLQFRQQHFWLRQZLWKWKHUHVWRUDWLRQRUUHORFDWLRQDQG LLL 
            UHVWRULQJWKH/DQGWRWKHH[WHQWGDPDJHGDVDUHVXOWRIWKHGLVDVVHPEO\UHPRYDODQGUHORFDWLRQRIWKH
            6HYHUDEOH,PSURYHPHQWDQGUHTXLUHGRIWKH,QVXUHGVROHO\EHFDXVHRIWKH(YLFWLRQ
      E   5HQWHDVHPHQWSD\PHQWVRUGDPDJHVIRUXVHDQGRFFXSDQF\RIWKH/DQGSULRUWRWKH(YLFWLRQWKDWWKH,QVXUHG
            DVRZQHURIWKH/HDVHKROG(VWDWHRUWKH(DVHPHQW,QWHUHVWDVDSSOLFDEOHPD\EHREOLJDWHGWRSD\WRDQ\
            SHUVRQKDYLQJSDUDPRXQWWLWOHWRWKDWRIWKHOHVVRULQWKH/HDVHRUWKHJUDQWRULQWKH(DVHPHQWDVDSSOLFDEOH
      F   7KHDPRXQWRIUHQWHDVHPHQWSD\PHQWVRUGDPDJHVWKDWE\WKHWHUPVRIWKH/HDVHRUWKH(DVHPHQWDV
            DSSOLFDEOHWKH,QVXUHGPXVWFRQWLQXHWRSD\WRWKHOHVVRURUJUDQWRUDIWHU(YLFWLRQZLWKUHVSHFWWRWKHSRUWLRQRI
            WKH/HDVHKROG(VWDWHRU(DVHPHQW,QWHUHVWDVDSSOLFDEOHIURPZKLFKWKH,QVXUHGKDVEHHQ(YLFWHG
      G   7KHIDLUPDUNHWYDOXHDWWKHWLPHRIWKH(YLFWLRQRIWKHHVWDWHRULQWHUHVWRIWKH,QVXUHGLQDQ\OHDVHVXEOHDVH
            RUHDVHPHQWVSHFLILFDOO\SHUPLWWHGE\WKH/HDVHRU(DVHPHQWDVDSSOLFDEOHDQGPDGHE\WKH,QVXUHGDVOHVVRU
            RUJUDQWRURIDOORUSDUWRIWKH/HDVHKROG(VWDWHRU(DVHPHQW,QWHUHVWDVDSSOLFDEOH
      H   'DPDJHVFDXVHGE\WKH(YLFWLRQWKDWWKH,QVXUHGLVREOLJDWHGWRSD\WROHVVHHVRUVXEOHVVHHVRUHDVHPHQWRU
            VXEHDVHPHQWJUDQWHHVRQDFFRXQWRIWKHEUHDFKRIDQ\OHDVHRUVXEOHDVHRUHDVHPHQWRUVXEHDVHPHQW
            VSHFLILFDOO\SHUPLWWHGE\WKH/HDVHRUWKH(DVHPHQWDVDSSOLFDEOHDQGPDGHE\WKH,QVXUHGDVOHVVRURU
            JUDQWRURIDOORUSDUWRIWKH/HDVHKROG(VWDWHRU(DVHPHQW,QWHUHVWDVDSSOLFDEOH
      I   7KHUHDVRQDEOHFRVWWRREWDLQODQGXVH]RQLQJEXLOGLQJDQGRFFXSDQF\SHUPLWVDUFKLWHFWXUDODQGHQJLQHHULQJ
            VHUYLFHVDQGHQYLURQPHQWDOWHVWLQJDQGUHYLHZVIRUDUHSODFHPHQWOHDVHKROGUHDVRQDEO\HTXLYDOHQWWRWKH
            /HDVHKROG(VWDWHRUDUHSODFHPHQWHDVHPHQWUHDVRQDEO\HTXLYDOHQWWRWKH(DVHPHQW,QWHUHVWDVDSSOLFDEOH
      J   ,IDQ\(OHFWULFLW\)DFLOLW\LVQRWVXEVWDQWLDOO\FRPSOHWHGDWWKHWLPHRI(YLFWLRQWKHDFWXDOFRVWLQFXUUHGE\WKH
            ,QVXUHGXSWRWKHWLPHRI(YLFWLRQOHVVWKHVDOYDJHYDOXHIRUWKH(OHFWULFLW\)DFLOLW\ORFDWHGRQWKDWSRUWLRQRIWKH
            /DQGIURPZKLFKWKH,QVXUHGLV(YLFWHG7KRVHFRVWVLQFOXGHFRVWVLQFXUUHGWRFRQVWUXFWDQGIDEULFDWHWKH
            (OHFWULFLW\)DFLOLW\REWDLQODQGXVH]RQLQJEXLOGLQJDQGRFFXSDQF\SHUPLWVDUFKLWHFWXUDODQGHQJLQHHULQJ
            VHUYLFHVFRQVWUXFWLRQPDQDJHPHQWVHUYLFHVHQYLURQPHQWDOWHVWLQJDQGUHYLHZVDQGODQGVFDSLQJDQG
            FDQFHOODWLRQIHHVUHODWHGWRWKHIRUHJRLQJ
         7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVGDPDJHRUFRVWVRIUHPHGLDWLRQ DQGWKH&RPSDQ\ZLOOQRWSD\
            FRVWVDWWRUQH\V IHHVRUH[SHQVHV UHVXOWLQJIURPHQYLURQPHQWDOGDPDJHRUFRQWDPLQDWLRQ





)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 448 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                                      6(&7,21


7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW L PRGLI\DQ\RIWKHWHUPVDQG
SURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI
,QVXUDQFH7RWKHH[WHQWDSURYLVLRQRIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRI
WKLVHQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKHWHUPVDQGSURYLVLRQVRI
WKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

>:LWQHVVFODXVHRSWLRQDO@

>)17*%5$1'@


%\BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
        $XWKRUL]HG6LJQDWRU\





$/7$(QGRUVHPHQW)RUP
(QHUJ\3URMHFW±/HDVHKROG(DVHPHQW2ZQHUV   
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 449 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                                          6(&7,21




                                                        (1'256(0(17
                                              $WWDFKHGWR3ROLF\1RBBBBBBBBBB
                                                            ,VVXHGE\
                                                         >)17*%5$1'@
   7KHLQVXUDQFHSURYLGHGE\WKLVHQGRUVHPHQWLVVXEMHFWWRWKHH[FOXVLRQVLQ6HFWLRQRIWKLVHQGRUVHPHQWDQGWKH
     ([FOXVLRQVIURP&RYHUDJHWKH([FHSWLRQVIURP&RYHUDJHFRQWDLQHGLQ6FKHGXOH%DQGWKH&RQGLWLRQVLQWKHSROLF\
   )RUSXUSRVHVRIWKLVHQGRUVHPHQWRQO\
      D   ³&RQVWLWXHQW3DUFHO´PHDQVRQHRIWKHSDUFHOVRI/DQGGHVFULEHGLQ6FKHGXOH$WKDWWRJHWKHUFRQVWLWXWHRQH
            LQWHJUDWHGSURMHFW
      E   ³(DVHPHQW´PHDQVHDFKHDVHPHQWGHVFULEHGLQ6FKHGXOH$
      F   ³(DVHPHQW,QWHUHVW´PHDQVWKHULJKWRIXVHJUDQWHGLQWKH(DVHPHQWIRUWKH(DVHPHQW7HUP
      G   ³(DVHPHQW7HUP´PHDQVWKHGXUDWLRQRIWKH(DVHPHQW,QWHUHVWDVVHWIRUWKLQWKH(DVHPHQWLQFOXGLQJDQ\
            UHQHZDORUH[WHQGHGWHUPLIDYDOLGRSWLRQWRUHQHZRUH[WHQGLVFRQWDLQHGLQWKH(DVHPHQW
      H   ³(OHFWULFLW\)DFLOLW\´PHDQVDQHOHFWULFLW\JHQHUDWLQJIDFLOLW\ZKLFKPD\LQFOXGHRQHRUPRUHRIWKHIROORZLQJD
            VXEVWDWLRQDWUDQVPLVVLRQGLVWULEXWLRQRUFROOHFWRUOLQHDQLQWHUFRQQHFWLRQLQYHUWHUWUDQVIRUPHUJHQHUDWRU
            WXUELQHDUUD\VRODUSDQHORUPRGXOHDFLUFXLWEUHDNHUIRRWLQJWRZHUSROHFURVVDUPJX\OLQHDQFKRUZLUH
            FRQWUROV\VWHPFRPPXQLFDWLRQVRUUDGLRUHOD\V\VWHPVDIHW\SURWHFWLRQIDFLOLW\URDGDQGRWKHUEXLOGLQJ
            VWUXFWXUHIL[WXUHPDFKLQHU\HTXLSPHQWDSSOLDQFHDQGLWHPDVVRFLDWHGZLWKRULQFLGHQWDOWRWKHJHQHUDWLRQ
            FRQYHUVLRQVWRUDJHVZLWFKLQJPHWHULQJVWHSXSVWHSGRZQLQYHUVLRQWUDQVPLVVLRQFRQGXFWLQJZKHHOLQJ
            VDOHRURWKHUXVHRUFRQYH\DQFHRIHOHFWULFLW\RQWKH/DQGDW'DWHRI3ROLF\RUWREHEXLOWRUFRQVWUXFWHGRQWKH
            /DQGLQWKHORFDWLRQVDFFRUGLQJWRWKH3ODQVWKDWE\ODZFRQVWLWXWHVUHDOSURSHUW\
      I   ³(YLFWHG´RU³(YLFWLRQ´PHDQV D WKHODZIXOGHSULYDWLRQLQZKROHRULQSDUWRIWKHULJKWRISRVVHVVLRQRUXVH
            LQVXUHGE\WKLVSROLF\FRQWUDU\WRWKHWHUPVRIDQ\/HDVHRU(DVHPHQWRU E WKHODZIXOSUHYHQWLRQRIWKHXVHRI
            WKH/DQGRUDQ\(OHFWULFLW\)DFLOLW\RU6HYHUDEOH,PSURYHPHQWIRUWKHSXUSRVHVSHUPLWWHGE\WKH/HDVHRUWKH
            (DVHPHQWDVDSSOLFDEOHLQHLWKHUFDVHDVDUHVXOWRIDPDWWHUFRYHUHGE\WKLVSROLF\
      J   ³/HDVH´PHDQVHDFKOHDVHGHVFULEHGLQ6FKHGXOH$
      K   ³/HDVHKROG(VWDWH´PHDQVWKHULJKWRISRVVHVVLRQJUDQWHGLQWKH/HDVHIRUWKH/HDVH7HUP
      L   ³/HDVH7HUP´PHDQVWKHGXUDWLRQRIWKH/HDVHKROG(VWDWHDVVHWIRUWKLQWKH/HDVHLQFOXGLQJDQ\UHQHZDORU
            H[WHQGHGWHUPLIDYDOLGRSWLRQWRUHQHZRUH[WHQGLVFRQWDLQHGLQWKH/HDVH
      M   ³3ODQV´PHDQVWKHVXUYH\VLWHDQGHOHYDWLRQSODQVRURWKHUGHSLFWLRQVRUGUDZLQJVSUHSDUHGE\
             LQVHUWQDPHRIDUFKLWHFWRUHQJLQHHU GDWHGBBBBODVWUHYLVHGBBBBBBBBGHVLJQDWHGDV LQVHUWQDPHRI
            SURMHFWRUSURMHFWQXPEHU FRQVLVWLQJRIBBBVKHHWV
      N   ³5HPDLQLQJ7HUP´PHDQVWKHSRUWLRQRIWKH(DVHPHQW7HUPRUWKH/HDVH7HUPUHPDLQLQJDIWHUWKH,QVXUHGKDV
            EHHQ(YLFWHG
      O   ´6HYHUDEOH,PSURYHPHQW´PHDQVSURSHUW\DIIL[HGWRWKH/DQGDW'DWHRI3ROLF\RUWREHDIIL[HGLQWKHORFDWLRQV
            DFFRUGLQJWRWKH3ODQVWKDWZRXOGFRQVWLWXWHDQ(OHFWULFLW\)DFLOLW\EXWIRULWVFKDUDFWHUL]DWLRQDVSHUVRQDO
            SURSHUW\DQGWKDWE\ODZGRHVQRWFRQVWLWXWHUHDOSURSHUW\EHFDXVH D RILWVFKDUDFWHUDQGPDQQHURI
            DWWDFKPHQWWRWKH/DQGDQG E WKHSURSHUW\FDQEHVHYHUHGIURPWKH/DQGZLWKRXWFDXVLQJPDWHULDOGDPDJHWR
            WKHSURSHUW\RUWRWKH/DQG
      P ³7HQDQW´PHDQVWKHWHQDQWXQGHUWKH/HDVHRUDJUDQWHHXQGHUWKH(DVHPHQWDVDSSOLFDEOHDQGDIWHU
          DFTXLVLWLRQRIDOORUDQ\SDUWRIWKH7LWOHLQDFFRUGDQFHZLWKWKHSURYLVLRQVRI6HFWLRQRIWKH&RQGLWLRQVRIWKH
          SROLF\WKH,QVXUHG&ODLPDQW
   9DOXDWLRQRI7LWOHDVDQ,QWHJUDWHG3URMHFW
      D   ,ILQFRPSXWLQJORVVRUGDPDJHLWEHFRPHVQHFHVVDU\WRYDOXHWKH7LWOHRUDQ\SRUWLRQRILWDVWKHUHVXOWRIDQ
            (YLFWLRQWKHQDVWRWKDWSRUWLRQRIWKH/DQGIURPZKLFKWKH7HQDQWLV(YLFWHGWKDWYDOXHVKDOOFRQVLVWRI L WKH
            YDOXHRI $ WKH/HDVHKROG(VWDWHRUWKH(DVHPHQW,QWHUHVWIRUWKH5HPDLQLQJ7HUPDVDSSOLFDEOH % DQ\
            (OHFWULFLW\)DFLOLW\H[LVWLQJRQWKHGDWHRIWKH(YLFWLRQDQGLIDSSOLFDEOH LL DQ\UHGXFWLRQLQYDOXHRIDQRWKHU
            LQVXUHG/HDVHRU(DVHPHQWDVFRPSXWHGLQ6HFWLRQ E EHORZ
      E   $FRPSXWDWLRQRIORVVRUGDPDJHUHVXOWLQJIURPDQ(YLFWLRQDIIHFWLQJDQ\&RQVWLWXHQW3DUFHOVKDOOLQFOXGHORVV
            RUGDPDJHWRWKHLQWHJUDWHGSURMHFWFDXVHGE\WKHFRYHUHGPDWWHUDIIHFWLQJWKH&RQVWLWXHQW3DUFHOIURPZKLFK
            WKH,QVXUHGLV(YLFWHG
      F   7KH,QVXUHG&ODLPDQWVKDOOKDYHWKHULJKWWRKDYHWKH/HDVHKROG(VWDWHWKH(DVHPHQW,QWHUHVWDQGDQ\
            (OHFWULFLW\)DFLOLW\DIIHFWHGE\DGHIHFWLQVXUHGDJDLQVWE\WKHSROLF\YDOXHGHLWKHUDVDZKROHRUVHSDUDWHO\,Q



)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 450 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                                           6(&7,21


            HLWKHUHYHQWWKLVGHWHUPLQDWLRQRIYDOXHVKDOOWDNHLQWRDFFRXQWDQ\UHQWRUXVHSD\PHQWVQRORQJHUUHTXLUHGWR
            EHSDLGIRUWKH5HPDLQLQJ7HUP
      G   7KHSURYLVLRQVRIWKLV6HFWLRQVKDOOQRWGLPLQLVKWKH,QVXUHG¶VULJKWVXQGHUDQ\RWKHUHQGRUVHPHQWWRWKH
            SROLF\KRZHYHUWKHFDOFXODWLRQRIORVVRUGDPDJHSXUVXDQWWRWKLVHQGRUVHPHQWVKDOOQRWDOORZGXSOLFDWLRQRI
            UHFRYHU\IRUORVVRUGDPDJHFDOFXODWHGSXUVXDQWWR6HFWLRQRIWKH&RQGLWLRQVRUDQ\RWKHUHQGRUVHPHQWWRWKH
            SROLF\
   9DOXDWLRQRI6HYHUDEOH,PSURYHPHQWV
      D   ,QWKHHYHQWRIDQ(YLFWLRQWKHFDOFXODWLRQRIWKHORVVVKDOOLQFOXGH EXWQRWWRWKHH[WHQWWKDWWKHVHLWHPVRIORVV
           DUHLQFOXGHGLQWKHYDOXDWLRQRIWKH7LWOHGHWHUPLQHGSXUVXDQWWR6HFWLRQRIWKH&RQGLWLRQVRUDQ\RWKHU
           SURYLVLRQRIWKLVRUDQ\RWKHUHQGRUVHPHQW WKHGLPLQXWLRQLQYDOXHRIWKH,QVXUHG¶VLQWHUHVWLQDQ\6HYHUDEOH
           ,PSURYHPHQWUHVXOWLQJIURPWKH(YLFWLRQUHGXFHGE\WKHVDOYDJHYDOXHRIWKH6HYHUDEOH,PSURYHPHQW
      E   7KHSROLF\GRHVQRWLQVXUHDJDLQVWORVVRUGDPDJH DQGWKH&RPSDQ\ZLOOQRWSD\DQ\FRVWVDWWRUQH\V¶IHHVRU
            H[SHQVHV UHODWLQJWR
            L   WKHDWWDFKPHQWSHUIHFWLRQRUSULRULW\RIDQ\VHFXULW\LQWHUHVWLQDQ\6HYHUDEOH,PSURYHPHQW
            LL WKHYHVWLQJRURZQHUVKLSRIWLWOHWRRUULJKWVLQDQ\6HYHUDEOH,PSURYHPHQW
            LLL DQ\GHIHFWLQRUOLHQRUHQFXPEUDQFHRQWKHWLWOHWRDQ\6HYHUDEOH,PSURYHPHQWRU
           LY WKHGHWHUPLQDWLRQRIZKHWKHUDQ\VSHFLILFSURSHUW\LVUHDORUSHUVRQDOLQQDWXUH
           
   $GGLWLRQDOLWHPVRIORVVFRYHUHGE\WKLVHQGRUVHPHQW
      ,IWKH,QVXUHGDFTXLUHVDOORUDQ\SDUWRIWKH7LWOHLQDFFRUGDQFHZLWKWKHSURYLVLRQVRI6HFWLRQRIWKH&RQGLWLRQVRI
      WKHSROLF\DQGWKHUHDIWHULV(YLFWHGWKHIROORZLQJLWHPVRIORVVLIDSSOLFDEOHWRWKDWSRUWLRQRIWKH/DQGIURPZKLFKWKH
      ,QVXUHGLV(YLFWHGVKDOOEHLQFOXGHGZLWKRXWGXSOLFDWLRQLQFRPSXWLQJORVVRUGDPDJHLQFXUUHGE\WKH,QVXUHGEXW
      QRWWRWKHH[WHQWWKDWWKHVDPHDUHLQFOXGHGLQWKHYDOXDWLRQRIWKH7LWOHGHWHUPLQHGSXUVXDQWWR6HFWLRQRIWKLV
      HQGRUVHPHQWWKHYDOXDWLRQRI6HYHUDEOH,PSURYHPHQWVSXUVXDQWWR6HFWLRQRIWKLVHQGRUVHPHQWRU6HFWLRQ
       D LLL RIWKH&RQGLWLRQV
      
      D 7KHUHDVRQDEOHFRVWRI L GLVDVVHPEOLQJUHPRYLQJUHORFDWLQJDQGUHDVVHPEOLQJDQ\6HYHUDEOH,PSURYHPHQW
            WKDWWKH,QVXUHGKDVWKHULJKWWRUHPRYHDQGUHORFDWHVLWXDWHGRQWKH/DQGDWWKHWLPHRI(YLFWLRQWRWKHH[WHQW
            QHFHVVDU\WRUHVWRUHDQGPDNHIXQFWLRQDOWKHLQWHJUDWHGSURMHFW LL WUDQVSRUWDWLRQRIWKDW6HYHUDEOH
            ,PSURYHPHQWIRUWKHLQLWLDORQHKXQGUHGPLOHVLQFXUUHGLQFRQQHFWLRQZLWKWKHUHVWRUDWLRQRUUHORFDWLRQDQG LLL 
            UHVWRULQJWKH/DQGWRWKHH[WHQWGDPDJHGDVDUHVXOWRIWKHGLVDVVHPEO\UHPRYDODQGUHORFDWLRQRIWKH
            6HYHUDEOH,PSURYHPHQWDQGUHTXLUHGRIWKH,QVXUHGVROHO\EHFDXVHRIWKH(YLFWLRQ
      E   5HQWHDVHPHQWSD\PHQWVRUGDPDJHVIRUXVHDQGRFFXSDQF\RIWKH/DQGSULRUWRWKH(YLFWLRQWKDWWKH,QVXUHG
            DVRZQHURIWKH/HDVHKROG(VWDWHRUWKH(DVHPHQW,QWHUHVWDVDSSOLFDEOHPD\EHREOLJDWHGWRSD\WRDQ\
            SHUVRQKDYLQJSDUDPRXQWWLWOHWRWKDWRIWKHOHVVRULQWKH/HDVHRUWKHJUDQWRULQWKH(DVHPHQWDVDSSOLFDEOH
      F   7KHDPRXQWRIUHQWHDVHPHQWSD\PHQWVRUGDPDJHVWKDWE\WKHWHUPVRIWKH/HDVHRUWKH(DVHPHQWDV
            DSSOLFDEOHWKH,QVXUHGPXVWFRQWLQXHWRSD\WRWKHOHVVRURUJUDQWRUDIWHU(YLFWLRQZLWKUHVSHFWWRWKHSRUWLRQRI
            WKH/HDVHKROG(VWDWHRU(DVHPHQW,QWHUHVWDVDSSOLFDEOHIURPZKLFKWKH,QVXUHGKDVEHHQ(YLFWHG
      G   7KHIDLUPDUNHWYDOXHDWWKHWLPHRIWKH(YLFWLRQRIWKHHVWDWHRULQWHUHVWRIWKH,QVXUHGLQDQ\OHDVHVXEOHDVH
            RUHDVHPHQWVSHFLILFDOO\SHUPLWWHGE\WKH/HDVHRU(DVHPHQWDVDSSOLFDEOHDQGPDGHE\WKH7HQDQWDVOHVVRU
            RUJUDQWRURIDOORUSDUWRIWKH/HDVHKROG(VWDWHRU(DVHPHQW,QWHUHVWDVDSSOLFDEOH
      H   'DPDJHVFDXVHGE\WKH(YLFWLRQWKDWWKH,QVXUHGLVREOLJDWHGWRSD\WROHVVHHVRUVXEOHVVHHVRUHDVHPHQWRU
            VXEHDVHPHQWJUDQWHHVRQDFFRXQWRIWKHEUHDFKRIDQ\OHDVHRUVXEOHDVHRUHDVHPHQWRUVXEHDVHPHQW
            VSHFLILFDOO\SHUPLWWHGE\WKH/HDVHRUWKH(DVHPHQWDVDSSOLFDEOHDQGPDGHE\WKH7HQDQWDVOHVVRURU
            JUDQWRURIDOORUSDUWRIWKH/HDVHKROG(VWDWHRU(DVHPHQW,QWHUHVWDVDSSOLFDEOH
      I   7KHUHDVRQDEOHFRVWWRREWDLQODQGXVH]RQLQJEXLOGLQJDQGRFFXSDQF\SHUPLWVDUFKLWHFWXUDODQGHQJLQHHULQJ
            VHUYLFHVDQGHQYLURQPHQWDOWHVWLQJDQGUHYLHZVIRUDUHSODFHPHQWOHDVHKROGUHDVRQDEO\HTXLYDOHQWWRWKH
            /HDVHKROG(VWDWHRUDUHSODFHPHQWHDVHPHQWUHDVRQDEO\HTXLYDOHQWWRWKH(DVHPHQW,QWHUHVWDVDSSOLFDEOH
      J   ,IDQ\(OHFWULFLW\)DFLOLW\LVQRWVXEVWDQWLDOO\FRPSOHWHGDWWKHWLPHRI(YLFWLRQWKHDFWXDOFRVWLQFXUUHGE\WKH
            ,QVXUHGXSWRWKHWLPHRI(YLFWLRQOHVVWKHVDOYDJHYDOXHIRUWKH(OHFWULFLW\)DFLOLW\ORFDWHGRQWKDWSRUWLRQRIWKH
            /DQGIURPZKLFKWKH,QVXUHGLV(YLFWHG7KRVHFRVWVLQFOXGHFRVWVLQFXUUHGWRFRQVWUXFWDQGIDEULFDWHWKH
            (OHFWULFLW\)DFLOLW\REWDLQODQGXVH]RQLQJEXLOGLQJDQGRFFXSDQF\SHUPLWVDUFKLWHFWXUDODQGHQJLQHHULQJ
            VHUYLFHVFRQVWUXFWLRQPDQDJHPHQWVHUYLFHVHQYLURQPHQWDOWHVWLQJDQGUHYLHZVDQGODQGVFDSLQJDQG
            FDQFHOODWLRQIHHVUHODWHGWRWKHIRUHJRLQJ
         7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVGDPDJHRUFRVWVRIUHPHGLDWLRQ DQGWKH&RPSDQ\ZLOOQRWSD\
            FRVWVDWWRUQH\V IHHVRUH[SHQVHV UHVXOWLQJIURPHQYLURQPHQWDOGDPDJHRUFRQWDPLQDWLRQ





)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 451 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                                      6(&7,21


7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW L PRGLI\DQ\RIWKHWHUPVDQG
SURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI
,QVXUDQFH7RWKHH[WHQWDSURYLVLRQRIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRI
WKLVHQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKHWHUPVDQGSURYLVLRQVRI
WKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

>:LWQHVVFODXVHRSWLRQDO@

>)17*%5$1'@

%\BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
         $XWKRUL]HG6LJQDWRU\







$/7$(QGRUVHPHQW)RUP
  (QHUJ\3URMHFW±/HDVHKROG(DVHPHQW/RDQ   
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ





)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 452 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                                          6(&7,21




                                                        (1'256(0(17
                                              $WWDFKHGWR3ROLF\1RBBBBBBBBBB
                                                            ,VVXHGE\
                                                         >)17*%5$1'@
   7KHLQVXUDQFHSURYLGHGE\WKLVHQGRUVHPHQWLVVXEMHFWWRWKHH[FOXVLRQVLQ6HFWLRQRIWKLVHQGRUVHPHQWDQGWKH
      ([FOXVLRQVIURP&RYHUDJHWKH([FHSWLRQVIURP&RYHUDJHFRQWDLQHGLQ6FKHGXOH%DQGWKH&RQGLWLRQVLQWKHSROLF\
   )RUSXUSRVHVRIWKLVHQGRUVHPHQWRQO\
      D   ³&RQVWLWXHQW3DUFHO´PHDQVRQHRIWKHSDUFHOVRI/DQGGHVFULEHGLQ6FKHGXOH$WKDWWRJHWKHUFRQVWLWXWHRQH
            LQWHJUDWHGSURMHFW
      E   ³(OHFWULFLW\)DFLOLW\´PHDQVDQHOHFWULFLW\JHQHUDWLQJIDFLOLW\ZKLFKPD\LQFOXGHRQHRUPRUHRIWKHIROORZLQJD
            VXEVWDWLRQDWUDQVPLVVLRQGLVWULEXWLRQRUFROOHFWRUOLQHDQLQWHUFRQQHFWLRQLQYHUWHUWUDQVIRUPHUJHQHUDWRU
            WXUELQHDUUD\VRODUSDQHORUPRGXOHDFLUFXLWEUHDNHUIRRWLQJWRZHUSROHFURVVDUPJX\OLQHDQFKRUZLUH
            FRQWUROV\VWHPFRPPXQLFDWLRQVRUUDGLRUHOD\V\VWHPVDIHW\SURWHFWLRQIDFLOLW\URDGDQGRWKHUEXLOGLQJ
            VWUXFWXUHIL[WXUHPDFKLQHU\HTXLSPHQWDSSOLDQFHDQGLWHPDVVRFLDWHGZLWKRULQFLGHQWDOWRWKHJHQHUDWLRQ
            FRQYHUVLRQVWRUDJHVZLWFKLQJPHWHULQJVWHSXSVWHSGRZQLQYHUVLRQWUDQVPLVVLRQFRQGXFWLQJZKHHOLQJ
            VDOHRURWKHUXVHRUFRQYH\DQFHRIHOHFWULFLW\RQWKH/DQGDW'DWHRI3ROLF\RUWREHEXLOWRUFRQVWUXFWHGRQWKH
            /DQGLQWKHORFDWLRQVDFFRUGLQJWRWKH3ODQVWKDWE\ODZFRQVWLWXWHVUHDOSURSHUW\
      F   ³(YLFWHG´RU³(YLFWLRQ´PHDQV D WKHODZIXOGHSULYDWLRQLQZKROHRULQSDUWRIWKHULJKWRISRVVHVVLRQLQVXUHGE\
            WKLVSROLF\FRQWUDU\WRWKHWHUPVRIDQ\/HDVHRU E WKHODZIXOSUHYHQWLRQRIWKHXVHRIWKH/DQGRUDQ\
            (OHFWULFLW\)DFLOLW\RU6HYHUDEOH,PSURYHPHQWIRUWKHSXUSRVHVSHUPLWWHGE\WKH/HDVHLQHLWKHUFDVHDVDUHVXOW
            RIDPDWWHUFRYHUHGE\WKLVSROLF\
      G   ³/HDVH´PHDQVHDFKOHDVHGHVFULEHGLQ6FKHGXOH$
      H   ³/HDVHKROG(VWDWH´PHDQVWKHULJKWRISRVVHVVLRQJUDQWHGLQWKH/HDVHIRUWKH/HDVH7HUP
      I   ³/HDVH7HUP´PHDQVWKHGXUDWLRQRIWKH/HDVHKROG(VWDWHDVVHWIRUWKLQWKH/HDVHLQFOXGLQJDQ\UHQHZDORU
            H[WHQGHGWHUPLIDYDOLGRSWLRQWRUHQHZRUH[WHQGLVFRQWDLQHGLQWKH/HDVH
      J   ³3ODQV´PHDQVWKHVXUYH\VLWHDQGHOHYDWLRQSODQVRURWKHUGHSLFWLRQVRUGUDZLQJVSUHSDUHGE\
             LQVHUWQDPHRIDUFKLWHFWRUHQJLQHHU GDWHGBBBBODVWUHYLVHGBBBBBBBBGHVLJQDWHGDV LQVHUWQDPHRI
            SURMHFWRUSURMHFWQXPEHU FRQVLVWLQJRIBBBVKHHWV
      K   ³5HPDLQLQJ7HUP´PHDQVWKHSRUWLRQRIWKH/HDVH7HUPUHPDLQLQJDIWHUWKH,QVXUHGKDVEHHQ(YLFWHG
      L   ´6HYHUDEOH,PSURYHPHQW´PHDQVSURSHUW\DIIL[HGWRWKH/DQGDW'DWHRI3ROLF\RUWREHDIIL[HGLQWKHORFDWLRQV
            DFFRUGLQJWRWKH3ODQVWKDWZRXOGFRQVWLWXWHDQ(OHFWULFLW\)DFLOLW\EXWIRULWVFKDUDFWHUL]DWLRQDVSHUVRQDO
            SURSHUW\DQGWKDWE\ODZGRHVQRWFRQVWLWXWHUHDOSURSHUW\EHFDXVH D RILWVFKDUDFWHUDQGPDQQHURI
            DWWDFKPHQWWRWKH/DQGDQG E WKHSURSHUW\FDQEHVHYHUHGIURPWKH/DQGZLWKRXWFDXVLQJPDWHULDOGDPDJHWR
            WKHSURSHUW\RUWRWKH/DQG
   9DOXDWLRQRI7LWOHDVDQ,QWHJUDWHG3URMHFW
      D   ,ILQFRPSXWLQJORVVRUGDPDJHLWEHFRPHVQHFHVVDU\WRYDOXHWKH7LWOHRUDQ\SRUWLRQRILWDVWKHUHVXOWRIDQ
            (YLFWLRQWKHQDVWRWKDWSRUWLRQRIWKH/DQGIURPZKLFKWKH,QVXUHGLV(YLFWHGWKDWYDOXHVKDOOFRQVLVWRI L WKH
            YDOXHRI $ WKH/HDVHKROG(VWDWHIRUWKH5HPDLQLQJ7HUP % DQ\(OHFWULFLW\)DFLOLW\H[LVWLQJRQWKHGDWHRIWKH
            (YLFWLRQDQGLIDSSOLFDEOH LL DQ\UHGXFWLRQLQYDOXHRIDQRWKHULQVXUHG/HDVHDVFRPSXWHGLQ6HFWLRQ E 
            EHORZ
      E   $FRPSXWDWLRQRIORVVRUGDPDJHUHVXOWLQJIURPDQ(YLFWLRQDIIHFWLQJDQ\&RQVWLWXHQW3DUFHOVKDOOLQFOXGHORVV
            RUGDPDJHWRWKHLQWHJUDWHGSURMHFWFDXVHGE\WKHFRYHUHGPDWWHUDIIHFWLQJWKH&RQVWLWXHQW3DUFHOIURPZKLFK
            WKH,QVXUHGLV(YLFWHG
      F   7KH,QVXUHG&ODLPDQWVKDOOKDYHWKHULJKWWRKDYHWKH/HDVHKROG(VWDWHDQGDQ\(OHFWULFLW\)DFLOLW\DIIHFWHGE\D
            GHIHFWLQVXUHGDJDLQVWE\WKLVSROLF\YDOXHGHLWKHUDVDZKROHRUVHSDUDWHO\,QHLWKHUHYHQWWKLVGHWHUPLQDWLRQ
            RIYDOXHVKDOOWDNHLQWRDFFRXQWDQ\UHQWQRORQJHUUHTXLUHGWREHSDLGIRUWKH5HPDLQLQJ7HUP
      G   7KHSURYLVLRQVRIWKLV6HFWLRQVKDOOQRWGLPLQLVKWKH,QVXUHG¶VULJKWVXQGHUDQ\RWKHUHQGRUVHPHQWWRWKH
            SROLF\KRZHYHUWKHFDOFXODWLRQRIORVVRUGDPDJHSXUVXDQWWRWKLVHQGRUVHPHQWVKDOOQRWDOORZGXSOLFDWLRQRI
            UHFRYHU\IRUORVVRUGDPDJHFDOFXODWHGSXUVXDQWWR6HFWLRQRIWKH&RQGLWLRQVRUDQ\RWKHUHQGRUVHPHQWWRWKH
            SROLF\
   9DOXDWLRQRI6HYHUDEOH,PSURYHPHQWV
      E   ,QWKHHYHQWRIDQ(YLFWLRQWKHFDOFXODWLRQRIWKHORVVVKDOOLQFOXGH EXWQRWWRWKHH[WHQWWKDWWKHVHLWHPVRIORVV
            DUHLQFOXGHGLQWKHYDOXDWLRQRIWKH7LWOHGHWHUPLQHGSXUVXDQWWR6HFWLRQRIWKH&RQGLWLRQVRUDQ\RWKHU
            SURYLVLRQRIWKLVRUDQ\RWKHUHQGRUVHPHQW WKHGLPLQXWLRQLQYDOXHRIWKH,QVXUHG¶VLQWHUHVWLQDQ\6HYHUDEOH
            ,PSURYHPHQWUHVXOWLQJIURPWKH(YLFWLRQUHGXFHGE\WKHVDOYDJHYDOXHRIWKH6HYHUDEOH,PSURYHPHQW


)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 453 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                                           6(&7,21


     E   7KHSROLF\GRHVQRWLQVXUHDJDLQVWORVVRUGDPDJH DQGWKH&RPSDQ\ZLOOQRWSD\DQ\FRVWVDWWRUQH\V¶IHHVRU
            H[SHQVHV UHODWLQJWR
            L   WKHDWWDFKPHQWSHUIHFWLRQRUSULRULW\RIDQ\VHFXULW\LQWHUHVWLQDQ\6HYHUDEOH,PSURYHPHQW
            LL WKHYHVWLQJRURZQHUVKLSRIWLWOHWRRUULJKWVLQDQ\6HYHUDEOH,PSURYHPHQW
            LLL DQ\GHIHFWLQRUOLHQRUHQFXPEUDQFHRQWKHWLWOHWRDQ\6HYHUDEOH,PSURYHPHQWRU
           LY WKHGHWHUPLQDWLRQRIZKHWKHUDQ\VSHFLILFSURSHUW\LVUHDORUSHUVRQDOLQQDWXUH
           
   $GGLWLRQDOLWHPVRIORVVFRYHUHGE\WKLVHQGRUVHPHQW
      ,IWKH,QVXUHGLV(YLFWHGWKHIROORZLQJLWHPVRIORVVLIDSSOLFDEOHWRWKDWSRUWLRQRIWKH/DQGIURPZKLFKWKH,QVXUHGLV
      (YLFWHGVKDOOEHLQFOXGHGZLWKRXWGXSOLFDWLRQLQFRPSXWLQJORVVRUGDPDJHLQFXUUHGE\WKH,QVXUHGEXWQRWWRWKH
      H[WHQWWKDWWKHVDPHDUHLQFOXGHGLQWKHYDOXDWLRQRIWKH7LWOHGHWHUPLQHGSXUVXDQWWR6HFWLRQRIWKLVHQGRUVHPHQW
      WKHYDOXDWLRQRI6HYHUDEOH,PSURYHPHQWVSXUVXDQWWR6HFWLRQRIWKLVHQGRUVHPHQWRU6HFWLRQ D LL RIWKH
      &RQGLWLRQV
      
      D 7KHUHDVRQDEOHFRVWRI L GLVDVVHPEOLQJUHPRYLQJUHORFDWLQJDQGUHDVVHPEOLQJDQ\6HYHUDEOH,PSURYHPHQW
            WKDWWKH,QVXUHGKDVWKHULJKWWRUHPRYHDQGUHORFDWHVLWXDWHGRQWKH/DQGDWWKHWLPHRI(YLFWLRQWRWKHH[WHQW
            QHFHVVDU\WRUHVWRUHDQGPDNHIXQFWLRQDOWKHLQWHJUDWHGSURMHFW LL WUDQVSRUWDWLRQRIWKDW6HYHUDEOH
            ,PSURYHPHQWIRUWKHLQLWLDORQHKXQGUHGPLOHVLQFXUUHGLQFRQQHFWLRQZLWKWKHUHVWRUDWLRQRUUHORFDWLRQDQG LLL 
            UHVWRULQJWKH/DQGWRWKHH[WHQWGDPDJHGDVDUHVXOWRIWKHGLVDVVHPEO\UHPRYDODQGUHORFDWLRQRIWKH
            6HYHUDEOH,PSURYHPHQWDQGUHTXLUHGRIWKH,QVXUHGVROHO\EHFDXVHRIWKH(YLFWLRQ
      E   5HQWRUGDPDJHVIRUXVHDQGRFFXSDQF\RIWKH/DQGSULRUWRWKH(YLFWLRQWKDWWKH,QVXUHGDVRZQHURIWKH
            /HDVHKROG(VWDWHPD\EHREOLJDWHGWRSD\WRDQ\SHUVRQKDYLQJSDUDPRXQWWLWOHWRWKDWRIWKHOHVVRULQWKH
            /HDVH
      F   7KHDPRXQWRIUHQWRUGDPDJHVWKDWE\WKHWHUPVRIWKH/HDVHWKH,QVXUHGPXVWFRQWLQXHWRSD\WRWKHOHVVRU
            DIWHU(YLFWLRQZLWKUHVSHFWWRWKHSRUWLRQRIWKH/HDVHKROG(VWDWHIURPZKLFKWKH,QVXUHGKDVEHHQ(YLFWHG
      G   7KHIDLUPDUNHWYDOXHDWWKHWLPHRIWKH(YLFWLRQRIWKHHVWDWHRULQWHUHVWRIWKH,QVXUHGLQDQ\OHDVHRUVXEOHDVH
            VSHFLILFDOO\SHUPLWWHGE\WKH/HDVHDQGPDGHE\WKH,QVXUHGDVOHVVRURIDOORUSDUWRIWKH/HDVHKROG(VWDWH
      H   'DPDJHVFDXVHGE\WKH(YLFWLRQWKDWWKH,QVXUHGLVREOLJDWHGWRSD\WROHVVHHVRUVXEOHVVHHVRQDFFRXQWRIWKH
            EUHDFKRIDQ\OHDVHRUVXEOHDVHVSHFLILFDOO\SHUPLWWHGE\WKH/HDVHDQGPDGHE\WKH,QVXUHGDVOHVVRURIDOORU
            SDUWRIWKH/HDVHKROG(VWDWH
      I   7KHUHDVRQDEOHFRVWWRREWDLQODQGXVH]RQLQJEXLOGLQJDQGRFFXSDQF\SHUPLWVDUFKLWHFWXUDODQGHQJLQHHULQJ
            VHUYLFHVDQGHQYLURQPHQWDOWHVWLQJDQGUHYLHZVIRUDUHSODFHPHQWOHDVHKROGUHDVRQDEO\HTXLYDOHQWWRWKH
            /HDVHKROG(VWDWH
      J   ,IDQ\(OHFWULFLW\)DFLOLW\LVQRWVXEVWDQWLDOO\FRPSOHWHGDWWKHWLPHRI(YLFWLRQWKHDFWXDOFRVWLQFXUUHGE\WKH
            ,QVXUHGXSWRWKHWLPHRI(YLFWLRQOHVVWKHVDOYDJHYDOXHIRUWKH(OHFWULFLW\)DFLOLW\ORFDWHGRQWKDWSRUWLRQRIWKH
            /DQGIURPZKLFKWKH,QVXUHGLV(YLFWHG7KRVHFRVWVLQFOXGHFRVWVLQFXUUHGWRFRQVWUXFWDQGIDEULFDWHWKH
            (OHFWULFLW\)DFLOLW\REWDLQODQGXVH]RQLQJEXLOGLQJDQGRFFXSDQF\SHUPLWVDUFKLWHFWXUDODQGHQJLQHHULQJ
            VHUYLFHVFRQVWUXFWLRQPDQDJHPHQWVHUYLFHVHQYLURQPHQWDOWHVWLQJDQGUHYLHZVDQGODQGVFDSLQJDQG
            FDQFHOODWLRQIHHVUHODWHGWRWKHIRUHJRLQJ
         7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVGDPDJHRUFRVWVRIUHPHGLDWLRQ DQGWKH&RPSDQ\ZLOOQRWSD\
            FRVWVDWWRUQH\V IHHVRUH[SHQVHV UHVXOWLQJIURPHQYLURQPHQWDOGDPDJHRUFRQWDPLQDWLRQ

7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW L PRGLI\DQ\RIWKHWHUPVDQG
SURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI
,QVXUDQFH7RWKHH[WHQWDSURYLVLRQRIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRI
WKLVHQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKHWHUPVDQGSURYLVLRQVRI
WKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

>:LWQHVVFODXVHRSWLRQDO@
>)17*%5$1'@

%\BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
        $XWKRUL]HG6LJQDWRU\

$/7$(QGRUVHPHQW)RUP
(QHUJ\3URMHFW±/HDVHKROG2ZQHUV   
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 454 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                                          6(&7,21


                                                        (1'256(0(17
                                              $WWDFKHGWR3ROLF\1RBBBBBBBBBB
                                                            ,VVXHGE\
                                                         >)17*%5$1'@
 7KHLQVXUDQFHSURYLGHGE\WKLVHQGRUVHPHQWLVVXEMHFWWRWKHH[FOXVLRQVLQ6HFWLRQRIWKLVHQGRUVHPHQWDQGWKH
     ([FOXVLRQVIURP&RYHUDJHWKH([FHSWLRQVIURP&RYHUDJHFRQWDLQHGLQ6FKHGXOH%DQGWKH&RQGLWLRQVLQWKHSROLF\
   )RUSXUSRVHVRIWKLVHQGRUVHPHQWRQO\
      D   ³&RQVWLWXHQW3DUFHO´PHDQVRQHRIWKHSDUFHOVRI/DQGGHVFULEHGLQ6FKHGXOH$WKDWWRJHWKHUFRQVWLWXWHRQH
            LQWHJUDWHGSURMHFW
      E   ³(OHFWULFLW\)DFLOLW\´PHDQVDQHOHFWULFLW\JHQHUDWLQJIDFLOLW\ZKLFKPD\LQFOXGHRQHRUPRUHRIWKHIROORZLQJD
            VXEVWDWLRQDWUDQVPLVVLRQGLVWULEXWLRQRUFROOHFWRUOLQHDQLQWHUFRQQHFWLRQLQYHUWHUWUDQVIRUPHUJHQHUDWRU
            WXUELQHDUUD\VRODUSDQHORUPRGXOHDFLUFXLWEUHDNHUIRRWLQJWRZHUSROHFURVVDUPJX\OLQHDQFKRUZLUH
            FRQWUROV\VWHPFRPPXQLFDWLRQVRUUDGLRUHOD\V\VWHPVDIHW\SURWHFWLRQIDFLOLW\URDGDQGRWKHUEXLOGLQJ
            VWUXFWXUHIL[WXUHPDFKLQHU\HTXLSPHQWDSSOLDQFHDQGLWHPDVVRFLDWHGZLWKRULQFLGHQWDOWRWKHJHQHUDWLRQ
            FRQYHUVLRQVWRUDJHVZLWFKLQJPHWHULQJVWHSXSVWHSGRZQLQYHUVLRQWUDQVPLVVLRQFRQGXFWLQJZKHHOLQJ
            VDOHRURWKHUXVHRUFRQYH\DQFHRIHOHFWULFLW\RQWKH/DQGDW'DWHRI3ROLF\RUWREHEXLOWRUFRQVWUXFWHGRQWKH
            /DQGLQWKHORFDWLRQVDFFRUGLQJWRWKH3ODQVWKDWE\ODZFRQVWLWXWHVUHDOSURSHUW\
      F   ³(YLFWHG´RU³(YLFWLRQ´PHDQV D WKHODZIXOGHSULYDWLRQLQZKROHRULQSDUWRIWKHULJKWRISRVVHVVLRQLQVXUHGE\
            WKLVSROLF\FRQWUDU\WRWKHWHUPVRIDQ\/HDVHRU E WKHODZIXOSUHYHQWLRQRIWKHXVHRIWKH/DQGRUDQ\
            (OHFWULFLW\)DFLOLW\RU6HYHUDEOH,PSURYHPHQWIRUWKHSXUSRVHVSHUPLWWHGE\WKH/HDVHLQHLWKHUFDVHDVDUHVXOW
            RIDPDWWHUFRYHUHGE\WKLVSROLF\
      G   ³/HDVH´PHDQVHDFKOHDVHGHVFULEHGLQ6FKHGXOH$
      H   ³/HDVHKROG(VWDWH´PHDQVWKHULJKWRISRVVHVVLRQJUDQWHGLQWKH/HDVHIRUWKH/HDVH7HUP
      I   ³/HDVH7HUP´PHDQVWKHGXUDWLRQRIWKH/HDVHKROG(VWDWHDVVHWIRUWKLQWKH/HDVHLQFOXGLQJDQ\UHQHZDORU
            H[WHQGHGWHUPLIDYDOLGRSWLRQWRUHQHZRUH[WHQGLVFRQWDLQHGLQWKH/HDVH
      J   ³3ODQV´PHDQVWKHVXUYH\VLWHDQGHOHYDWLRQSODQVRURWKHUGHSLFWLRQVRUGUDZLQJVSUHSDUHGE\
             LQVHUWQDPHRIDUFKLWHFWRUHQJLQHHU GDWHGBBBBODVWUHYLVHGBBBBBBBBGHVLJQDWHGDV LQVHUWQDPHRI
            SURMHFWRUSURMHFWQXPEHU FRQVLVWLQJRIBBBVKHHWV
      K   ³5HPDLQLQJ7HUP´PHDQVWKHSRUWLRQRIWKH/HDVH7HUPUHPDLQLQJDIWHUWKH,QVXUHGKDVEHHQ(YLFWHG
      L   ´6HYHUDEOH,PSURYHPHQW´PHDQVSURSHUW\DIIL[HGWRWKH/DQGDW'DWHRI3ROLF\RUWREHDIIL[HGLQWKHORFDWLRQV
            DFFRUGLQJWRWKH3ODQVWKDWZRXOGFRQVWLWXWHDQ(OHFWULFLW\)DFLOLW\EXWIRULWVFKDUDFWHUL]DWLRQDVSHUVRQDO
            SURSHUW\DQGWKDWE\ODZGRHVQRWFRQVWLWXWHUHDOSURSHUW\EHFDXVH D RILWVFKDUDFWHUDQGPDQQHURI
            DWWDFKPHQWWRWKH/DQGDQG E WKHSURSHUW\FDQEHVHYHUHGIURPWKH/DQGZLWKRXWFDXVLQJPDWHULDOGDPDJHWR
            WKHSURSHUW\RUWRWKH/DQG
      M   ³7HQDQW´PHDQVWKHWHQDQWXQGHUWKH/HDVHDQGDIWHUDFTXLVLWLRQRIDOORUDQ\SDUWRIWKH7LWOHLQDFFRUGDQFH
            ZLWKWKHSURYLVLRQVRI6HFWLRQRIWKH&RQGLWLRQVRIWKHSROLF\WKH,QVXUHG&ODLPDQW
   9DOXDWLRQRI7LWOHDVDQ,QWHJUDWHG3URMHFW

      D   ,ILQFRPSXWLQJORVVRUGDPDJHLWEHFRPHVQHFHVVDU\WRYDOXHWKH7LWOHRUDQ\SRUWLRQRILWDVWKHUHVXOWRIDQ
            (YLFWLRQWKHQDVWRWKDWSRUWLRQRIWKH/DQGIURPZKLFKWKH7HQDQWLV(YLFWHGWKDWYDOXHVKDOOFRQVLVWRI L WKH
            YDOXHRI $ WKH/HDVHKROG(VWDWHIRUWKH5HPDLQLQJ7HUP % DQ\(OHFWULFLW\)DFLOLW\H[LVWLQJRQWKHGDWHRI
            WKH(YLFWLRQDQGLIDSSOLFDEOH LL DQ\UHGXFWLRQLQYDOXHRIDQRWKHULQVXUHG/HDVHDVFRPSXWHGLQ6HFWLRQ E 
            EHORZ
      E   $FRPSXWDWLRQRIORVVRUGDPDJHUHVXOWLQJIURPDQ(YLFWLRQDIIHFWLQJDQ\&RQVWLWXHQW3DUFHOVKDOOLQFOXGHORVV
            RUGDPDJHWRWKHLQWHJUDWHGSURMHFWFDXVHGE\WKHFRYHUHGPDWWHUDIIHFWLQJWKH&RQVWLWXHQW3DUFHOIURPZKLFK
            WKH,QVXUHGLV(YLFWHG
      F   7KH,QVXUHG&ODLPDQWVKDOOKDYHWKHULJKWWRKDYHWKH/HDVHKROG(VWDWHDQGDQ\(OHFWULFLW\)DFLOLW\DIIHFWHGE\D
            GHIHFWLQVXUHGDJDLQVWE\WKHSROLF\YDOXHGHLWKHUDVDZKROHRUVHSDUDWHO\,QHLWKHUHYHQWWKLVGHWHUPLQDWLRQRI
            YDOXHVKDOOWDNHLQWRDFFRXQWDQ\UHQWQRORQJHUUHTXLUHGWREHSDLGIRUWKH5HPDLQLQJ7HUP
      G   7KHSURYLVLRQVRIWKLV6HFWLRQVKDOOQRWGLPLQLVKWKH,QVXUHG¶VULJKWVXQGHUDQ\RWKHUHQGRUVHPHQWWRWKH
            SROLF\KRZHYHUWKHFDOFXODWLRQRIORVVRUGDPDJHSXUVXDQWWRWKLVHQGRUVHPHQWVKDOOQRWDOORZGXSOLFDWLRQRI
            UHFRYHU\IRUORVVRUGDPDJHFDOFXODWHGSXUVXDQWWR6HFWLRQRIWKH&RQGLWLRQVRUDQ\RWKHUHQGRUVHPHQWWRWKH
            SROLF\
   9DOXDWLRQRI6HYHUDEOH,PSURYHPHQWV
      F   ,QWKHHYHQWRIDQ(YLFWLRQWKHFDOFXODWLRQRIWKHORVVVKDOOLQFOXGH EXWQRWWRWKHH[WHQWWKDWWKHVHLWHPVRIORVV
            DUHLQFOXGHGLQWKHYDOXDWLRQRIWKH7LWOHGHWHUPLQHGSXUVXDQWWR6HFWLRQRIWKH&RQGLWLRQVRUDQ\RWKHU


)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 455 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                                           6(&7,21


            SURYLVLRQRIWKLVRUDQ\RWKHUHQGRUVHPHQW WKHGLPLQXWLRQLQYDOXHRIWKH,QVXUHG¶VLQWHUHVWLQDQ\6HYHUDEOH
            ,PSURYHPHQWUHVXOWLQJIURPWKH(YLFWLRQUHGXFHGE\WKHVDOYDJHYDOXHRIWKH6HYHUDEOH,PSURYHPHQW
     E   7KHSROLF\GRHVQRWLQVXUHDJDLQVWORVVRUGDPDJH DQGWKH&RPSDQ\ZLOOQRWSD\DQ\FRVWVDWWRUQH\V¶IHHVRU
            H[SHQVHV UHODWLQJWR
            L   WKHDWWDFKPHQWSHUIHFWLRQRUSULRULW\RIDQ\VHFXULW\LQWHUHVWLQDQ\6HYHUDEOH,PSURYHPHQW
            LL WKHYHVWLQJRURZQHUVKLSRIWLWOHWRRUULJKWVLQDQ\6HYHUDEOH,PSURYHPHQW
            LLL DQ\GHIHFWLQRUOLHQRUHQFXPEUDQFHRQWKHWLWOHWRDQ\6HYHUDEOH,PSURYHPHQWRU
            LY WKHGHWHUPLQDWLRQRIZKHWKHUDQ\VSHFLILFSURSHUW\LVUHDORUSHUVRQDOLQQDWXUH
            
   $GGLWLRQDOLWHPVRIORVVFRYHUHGE\WKLVHQGRUVHPHQW
      ,IWKH,QVXUHGDFTXLUHVDOORUDQ\SDUWRIWKH7LWOHLQDFFRUGDQFHZLWKWKHSURYLVLRQVRI6HFWLRQRIWKH&RQGLWLRQVRI
      WKHSROLF\DQGWKHUHDIWHULV(YLFWHGWKHIROORZLQJLWHPVRIORVVLIDSSOLFDEOHWRWKDWSRUWLRQRIWKH/DQGIURPZKLFKWKH
      ,QVXUHGLV(YLFWHGVKDOOEHLQFOXGHGZLWKRXWGXSOLFDWLRQLQFRPSXWLQJORVVRUGDPDJHLQFXUUHGE\WKH,QVXUHGEXW
      QRWWRWKHH[WHQWWKDWWKHVDPHDUHLQFOXGHGLQWKHYDOXDWLRQRIWKH7LWOHGHWHUPLQHGSXUVXDQWWR6HFWLRQRIWKLV
      HQGRUVHPHQWWKHYDOXDWLRQRI6HYHUDEOH,PSURYHPHQWVSXUVXDQWWR6HFWLRQRIWKLVHQGRUVHPHQWRU6HFWLRQ
       D LLL RIWKH&RQGLWLRQV
      
      D 7KHUHDVRQDEOHFRVWRI L GLVDVVHPEOLQJUHPRYLQJUHORFDWLQJDQGUHDVVHPEOLQJDQ\6HYHUDEOH,PSURYHPHQW
            WKDWWKH,QVXUHGKDVWKHULJKWWRUHPRYHDQGUHORFDWHVLWXDWHGRQWKH/DQGDWWKHWLPHRI(YLFWLRQWRWKHH[WHQW
            QHFHVVDU\WRUHVWRUHDQGPDNHIXQFWLRQDOWKHLQWHJUDWHGSURMHFW LL WUDQVSRUWDWLRQRIWKDW6HYHUDEOH
            ,PSURYHPHQWIRUWKHLQLWLDORQHKXQGUHGPLOHVLQFXUUHGLQFRQQHFWLRQZLWKWKHUHVWRUDWLRQRUUHORFDWLRQDQG LLL 
            UHVWRULQJWKH/DQGWRWKHH[WHQWGDPDJHGDVDUHVXOWRIWKHGLVDVVHPEO\UHPRYDODQGUHORFDWLRQRIWKH
            6HYHUDEOH,PSURYHPHQWDQGUHTXLUHGRIWKH,QVXUHGVROHO\EHFDXVHRIWKH(YLFWLRQ
      E   5HQWRUGDPDJHVIRUXVHDQGRFFXSDQF\RIWKH/DQGSULRUWRWKH(YLFWLRQWKDWWKH,QVXUHGDVRZQHURIWKH
            /HDVHKROG(VWDWHPD\EHREOLJDWHGWRSD\WRDQ\SHUVRQKDYLQJSDUDPRXQWWLWOHWRWKDWRIWKHOHVVRULQWKH
            /HDVH
      F   7KHDPRXQWRIUHQWRUGDPDJHVWKDWE\WKHWHUPVRIWKH/HDVHWKH,QVXUHGPXVWFRQWLQXHWRSD\WRWKHOHVVRU
            DIWHU(YLFWLRQZLWKUHVSHFWWRWKHSRUWLRQRIWKH/HDVHKROG(VWDWHIURPZKLFKWKH,QVXUHGKDVEHHQ(YLFWHG
      G   7KHIDLUPDUNHWYDOXHDWWKHWLPHRIWKH(YLFWLRQRIWKHHVWDWHRULQWHUHVWRIWKH,QVXUHGLQDQ\OHDVHRUVXEOHDVH
            VSHFLILFDOO\SHUPLWWHGE\WKH/HDVHDQGPDGHE\WKH7HQDQWDVOHVVRURIDOORUSDUWRIWKH/HDVHKROG(VWDWH
      H   'DPDJHVFDXVHGE\WKH(YLFWLRQWKDWWKH,QVXUHGLVREOLJDWHGWRSD\WROHVVHHVRUVXEOHVVHHVRQDFFRXQWRIWKH
            EUHDFKRIDQ\OHDVHRUVXEOHDVHVSHFLILFDOO\SHUPLWWHGE\WKH/HDVHDQGPDGHE\WKH7HQDQWDVOHVVRURIDOORU
            SDUWRIWKH/HDVHKROG(VWDWH
      I   7KHUHDVRQDEOHFRVWWRREWDLQODQGXVH]RQLQJEXLOGLQJDQGRFFXSDQF\SHUPLWVDUFKLWHFWXUDODQGHQJLQHHULQJ
            VHUYLFHVDQGHQYLURQPHQWDOWHVWLQJDQGUHYLHZVIRUDUHSODFHPHQWOHDVHKROGUHDVRQDEO\HTXLYDOHQWWRWKH
            /HDVHKROG(VWDWH
      J   ,IDQ\(OHFWULFLW\)DFLOLW\LVQRWVXEVWDQWLDOO\FRPSOHWHGDWWKHWLPHRI(YLFWLRQWKHDFWXDOFRVWLQFXUUHGE\WKH
            ,QVXUHGXSWRWKHWLPHRI(YLFWLRQOHVVWKHVDOYDJHYDOXHIRUWKH(OHFWULFLW\)DFLOLW\ORFDWHGRQWKDWSRUWLRQRIWKH
            /DQGIURPZKLFKWKH,QVXUHGLV(YLFWHG7KRVHFRVWVLQFOXGHFRVWVLQFXUUHGWRFRQVWUXFWDQGIDEULFDWHWKH
            (OHFWULFLW\)DFLOLW\REWDLQODQGXVH]RQLQJEXLOGLQJDQGRFFXSDQF\SHUPLWVDUFKLWHFWXUDODQGHQJLQHHULQJ
            VHUYLFHVFRQVWUXFWLRQPDQDJHPHQWVHUYLFHVHQYLURQPHQWDOWHVWLQJDQGUHYLHZVDQGODQGVFDSLQJDQG
            FDQFHOODWLRQIHHVUHODWHGWRWKHIRUHJRLQJ
         7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVGDPDJHRUFRVWVRIUHPHGLDWLRQ DQGWKH&RPSDQ\ZLOOQRWSD\
            FRVWVDWWRUQH\V IHHVRUH[SHQVHV UHVXOWLQJIURPHQYLURQPHQWDOGDPDJHRUFRQWDPLQDWLRQ

7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW L PRGLI\DQ\RIWKHWHUPVDQG
SURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI
,QVXUDQFH7RWKHH[WHQWDSURYLVLRQRIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRI
WKLVHQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKHWHUPVDQGSURYLVLRQVRI
WKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

>:LWQHVVFODXVHRSWLRQDO@
>)17*%5$1'@
%\BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
           $XWKRUL]HG6LJQDWRU\

$/7$(QGRUVHPHQW)RUP
  (QHUJ\3URMHFW±/HDVHKROG/RDQ   
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ



)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

        Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 456 of 807
        (1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                                        6(&7,21


                                                                (1'256(0(17
                                                     $WWDFKHGWR3ROLF\1RBBBBBBBBBB
                                                                   ,VVXHGE\
                                                                >)17*%5$1'@
        
LLL         7KHLQVXUDQFHSURYLGHGE\WKLVHQGRUVHPHQWLVVXEMHFWWRWKHH[FOXVLRQVLQ6HFWLRQRIWKLVHQGRUVHPHQWDQGWKH
              ([FOXVLRQVIURP&RYHUDJHWKH([FHSWLRQVIURP&RYHUDJHFRQWDLQHGLQ6FKHGXOH%DQGWKH&RQGLWLRQVLQWKHSROLF\
LY          )RUSXUSRVHVRIWKLVHQGRUVHPHQWRQO\
              D ³&RYHQDQW´PHDQVDFRYHQDQWFRQGLWLRQOLPLWDWLRQRUUHVWULFWLRQLQDGRFXPHQWRULQVWUXPHQWLQHIIHFWDW'DWHRI
                   3ROLF\
             E   ³(OHFWULFLW\)DFLOLW\´PHDQVDQHOHFWULFLW\JHQHUDWLQJIDFLOLW\WKDWPD\LQFOXGHRQHRUPRUHRIWKHIROORZLQJD
                    VXEVWDWLRQDWUDQVPLVVLRQGLVWULEXWLRQRUFROOHFWRUOLQHDQLQWHUFRQQHFWLRQLQYHUWHUWUDQVIRUPHUJHQHUDWRU
                    WXUELQHDUUD\VRODUSDQHORUPRGXOHDFLUFXLWEUHDNHUIRRWLQJWRZHUSROHFURVVDUPJX\OLQHDQFKRUZLUH
                    FRQWUROV\VWHPFRPPXQLFDWLRQVRUUDGLRUHOD\V\VWHPVDIHW\SURWHFWLRQIDFLOLW\URDGDQGRWKHUEXLOGLQJ
                    VWUXFWXUHIL[WXUHPDFKLQHU\HTXLSPHQWDSSOLDQFHDQGLWHPDVVRFLDWHGZLWKRULQFLGHQWDOWRWKHJHQHUDWLRQ
                    FRQYHUVLRQVWRUDJHVZLWFKLQJPHWHULQJVWHSXSVWHSGRZQLQYHUVLRQWUDQVPLVVLRQFRQGXFWLQJZKHHOLQJ
                    VDOHRURWKHUXVHRUFRQYH\DQFHRIHOHFWULFLW\RQWKH/DQGDW'DWHRI3ROLF\RUWREHEXLOWRUFRQVWUXFWHGRQWKH
                    /DQGLQWKHORFDWLRQVDFFRUGLQJWRWKH3ODQVWKDWE\ODZFRQVWLWXWHVUHDOSURSHUW\
             F   ³3ODQV´PHDQVWKHVXUYH\VLWHDQGHOHYDWLRQSODQVRURWKHUGHSLFWLRQVRUGUDZLQJVSUHSDUHGE\
                     LQVHUWQDPHRIDUFKLWHFWRUHQJLQHHU GDWHGBBBBODVWUHYLVHGBBBBBBBBGHVLJQDWHGDV
                     LQVHUWQDPHRISURMHFWRUSURMHFWQXPEHU FRQVLVWLQJRIBBBVKHHWV
             G   ³6HYHUDEOH,PSURYHPHQW´PHDQVSURSHUW\DIIL[HGWRWKH/DQGDW'DWHRI3ROLF\RUWREHDIIL[HGWRWKH/DQGLQWKH
                    ORFDWLRQVDFFRUGLQJWRWKH3ODQVWKDWZRXOGFRQVWLWXWHDQ(OHFWULFLW\)DFLOLW\EXWIRULWVFKDUDFWHUL]DWLRQDV
                    SHUVRQDOSURSHUW\DQGWKDWE\ODZGRHVQRWFRQVWLWXWHUHDOSURSHUW\EHFDXVH D RILWVFKDUDFWHUDQGPDQQHURI
                    DWWDFKPHQWWRWKH/DQGDQG E WKHSURSHUW\FDQEHVHYHUHGIURPWKH/DQGZLWKRXWFDXVLQJPDWHULDOGDPDJHWR
                    WKHSURSHUW\RUWRWKH/DQG
Y           7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI
               L $YLRODWLRQRIDQHQIRUFHDEOH&RYHQDQWE\DQ\(OHFWULFLW\)DFLOLW\RU6HYHUDEOH,PSURYHPHQWXQOHVVDQ
                   H[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\LGHQWLILHVWKHYLRODWLRQ
               LL (QIRUFHGUHPRYDORIDQ\(OHFWULFLW\)DFLOLW\RU6HYHUDEOH,PSURYHPHQWDVDUHVXOWRIDYLRODWLRQRIDEXLOGLQJ
                    VHWEDFNOLQHVKRZQRQDSODWRIVXEGLYLVLRQUHFRUGHGRUILOHGLQWKH3XEOLF5HFRUGVXQOHVVDQH[FHSWLRQLQ
                    6FKHGXOH%RIWKHSROLF\LGHQWLILHVWKHYLRODWLRQRU
              LLL $QRWLFHRIDYLRODWLRQUHFRUGHGLQWKH3XEOLF5HFRUGVDW'DWHRI3ROLF\RIDQHQIRUFHDEOH&RYHQDQWUHODWLQJWR
                    HQYLURQPHQWDOSURWHFWLRQGHVFULELQJDQ\SDUWRIWKH/DQGDQGUHIHUULQJWRWKDW&RYHQDQWEXWRQO\WRWKHH[WHQW
                    RIWKHYLRODWLRQRIWKH&RYHQDQWUHIHUUHGWRLQWKDWQRWLFHXQOHVVDQH[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\
                    LGHQWLILHVWKHQRWLFHRIWKHYLRODWLRQ
           7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJH DQGWKH&RPSDQ\ZLOOQRWSD\FRVWVDWWRUQH\V IHHVRU
              H[SHQVHV UHVXOWLQJIURP
              D   DQ\&RYHQDQWFRQWDLQHGLQDQLQVWUXPHQWFUHDWLQJDOHDVHRUHDVHPHQW
              E   DQ\&RYHQDQWUHODWLQJWRREOLJDWLRQVRIDQ\W\SHWRSHUIRUPPDLQWHQDQFHUHSDLURUUHPHGLDWLRQRQWKH/DQGRU
              F  H[FHSWDVSURYLGHGLQ6HFWLRQFDQ\&RYHQDQWSHUWDLQLQJWRHQYLURQPHQWDOSURWHFWLRQRIDQ\NLQGRUQDWXUH
                   LQFOXGLQJKD]DUGRXVRUWR[LFPDWWHUVFRQGLWLRQVRUVXEVWDQFHV
        7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW L PRGLI\DQ\RIWKHWHUPVDQG
        SURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI
        ,QVXUDQFH7RWKHH[WHQWDSURYLVLRQRIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRI
        WKLVHQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKHWHUPVDQGSURYLVLRQVRI
        WKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

        >:LWQHVVFODXVHRSWLRQDO@
        >)17*%5$1'@
        %\BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                 $XWKRUL]HG6LJQDWRU\
        
        $/7$(QGRUVHPHQW)RUP
          (QHUJ\3URMHFW±&RYHQDQWV&RQGLWLRQVDQG5HVWULFWLRQV/DQG8QGHU'HYHORSPHQW2ZQHUV   
        $PHULFDQ/DQG7LWOH$VVRFLDWLRQ




        )LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 
        
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 457 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                      6(&7,21



                                           (1'256(0(17
                                $WWDFKHGWR3ROLF\1RBBBBBBBBBB
                                               ,VVXHGE\
                                        >)17*%5$1'@
 7KHLQVXUDQFHSURYLGHGE\WKLVHQGRUVHPHQWLVVXEMHFWWRWKHH[FOXVLRQVLQ6HFWLRQRIWKLV
    HQGRUVHPHQWDQGWKH([FOXVLRQVIURP&RYHUDJHWKH([FHSWLRQVIURP&RYHUDJHFRQWDLQHGLQ
    6FKHGXOH%DQGWKH&RQGLWLRQVLQWKHSROLF\
 )RUSXUSRVHVRIWKLVHQGRUVHPHQWRQO\
    D ³&RYHQDQW´PHDQVDFRYHQDQWFRQGLWLRQOLPLWDWLRQRUUHVWULFWLRQLQDGRFXPHQWRU
        LQVWUXPHQWLQHIIHFWDW'DWHRI3ROLF\
    E ³(OHFWULFLW\)DFLOLW\´PHDQVDQHOHFWULFLW\JHQHUDWLQJIDFLOLW\WKDWPD\LQFOXGHRQHRUPRUH
        RIWKHIROORZLQJDVXEVWDWLRQDWUDQVPLVVLRQGLVWULEXWLRQRUFROOHFWRUOLQHDQ
        LQWHUFRQQHFWLRQLQYHUWHUWUDQVIRUPHUJHQHUDWRUWXUELQHDUUD\VRODUSDQHORUPRGXOHD
        FLUFXLWEUHDNHUIRRWLQJWRZHUSROHFURVVDUPJX\OLQHDQFKRUZLUHFRQWUROV\VWHP
        FRPPXQLFDWLRQVRUUDGLRUHOD\V\VWHPVDIHW\SURWHFWLRQIDFLOLW\URDGDQGRWKHUEXLOGLQJ
        VWUXFWXUHIL[WXUHPDFKLQHU\HTXLSPHQWDSSOLDQFHDQGLWHPDVVRFLDWHGZLWKRULQFLGHQWDO
        WRWKHJHQHUDWLRQFRQYHUVLRQVWRUDJHVZLWFKLQJPHWHULQJVWHSXSVWHSGRZQ
        LQYHUVLRQWUDQVPLVVLRQFRQGXFWLQJZKHHOLQJVDOHRURWKHUXVHRUFRQYH\DQFHRI
        HOHFWULFLW\RQWKH/DQGDW'DWHRI3ROLF\RUWREHEXLOWRUFRQVWUXFWHGRQWKH/DQGLQWKH
        ORFDWLRQVDFFRUGLQJWRWKH3ODQVWKDWE\ODZFRQVWLWXWHVUHDOSURSHUW\
    F ³3ODQV´PHDQVWKHVXUYH\VLWHDQGHOHYDWLRQSODQVRURWKHUGHSLFWLRQVRUGUDZLQJV
        SUHSDUHGE\
         LQVHUWQDPHRIDUFKLWHFWRUHQJLQHHU GDWHGBBBBODVWUHYLVHGBBBBBBBBGHVLJQDWHGDV
         LQVHUWQDPHRISURMHFWRUSURMHFWQXPEHU FRQVLVWLQJRIBBBVKHHWV
    G ´6HYHUDEOH,PSURYHPHQW´PHDQVSURSHUW\DIIL[HGWRWKH/DQGDW'DWHRI3ROLF\RUWREH
        DIIL[HGWRWKH/DQGLQWKHORFDWLRQVDFFRUGLQJWRWKH3ODQVWKDWZRXOGFRQVWLWXWHDQ
        (OHFWULFLW\)DFLOLW\EXWIRULWVFKDUDFWHUL]DWLRQDVSHUVRQDOSURSHUW\DQGWKDWE\ODZGRHV
        QRWFRQVWLWXWHUHDOSURSHUW\EHFDXVH D RILWVFKDUDFWHUDQGPDQQHURIDWWDFKPHQWWRWKH
        /DQGDQG E WKHSURSHUW\FDQEHVHYHUHGIURPWKH/DQGZLWKRXWFDXVLQJPDWHULDO
        GDPDJHWRWKHSURSHUW\RUWRWKH/DQG
 7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI
    D $YLRODWLRQRID&RYHQDQWWKDW
        L   GLYHVWVVXERUGLQDWHVRUH[WLQJXLVKHVWKHOLHQRIWKH,QVXUHG0RUWJDJH
        LL UHVXOWVLQWKHLQYDOLGLW\XQHQIRUFHDELOLW\RUODFNRISULRULW\RIWKHOLHQRIWKH,QVXUHG
             0RUWJDJHRU
        LLL FDXVHVDORVVRIWKH,QVXUHG¶V7LWOHDFTXLUHGLQVDWLVIDFWLRQRUSDUWLDOVDWLVIDFWLRQRI
              WKH,QGHEWHGQHVV




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 458 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                         6(&7,21



    E $YLRODWLRQRIDQHQIRUFHDEOH&RYHQDQWE\DQ\(OHFWULFLW\)DFLOLW\RU6HYHUDEOH
        ,PSURYHPHQWXQOHVVDQH[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\LGHQWLILHVWKHYLRODWLRQ
    F (QIRUFHGUHPRYDORIDQ\(OHFWULFLW\)DFLOLW\RU6HYHUDEOH,PSURYHPHQWDVDUHVXOWRID
        YLRODWLRQRIDEXLOGLQJVHWEDFNOLQHVKRZQRQDSODWRIVXEGLYLVLRQUHFRUGHGRUILOHGLQWKH
        3XEOLF5HFRUGVXQOHVVDQH[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\LGHQWLILHVWKHYLRODWLRQRU
    G $QRWLFHRIDYLRODWLRQUHFRUGHGLQWKH3XEOLF5HFRUGVDW'DWHRI3ROLF\RIDQHQIRUFHDEOH
        &RYHQDQWUHODWLQJWRHQYLURQPHQWDOSURWHFWLRQGHVFULELQJDQ\SDUWRIWKH/DQGDQG
        UHIHUULQJWRWKDW&RYHQDQWEXWRQO\WRWKHH[WHQWRIWKHYLRODWLRQRIWKH&RYHQDQWUHIHUUHG
        WRLQWKDWQRWLFHXQOHVVDQH[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\LGHQWLILHVWKHQRWLFHRI
        WKHYLRODWLRQ
 7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJH DQGWKH&RPSDQ\ZLOOQRWSD\
    FRVWVDWWRUQH\V IHHVRUH[SHQVHV UHVXOWLQJIURP
    D DQ\&RYHQDQWFRQWDLQHGLQDQLQVWUXPHQWFUHDWLQJDOHDVHRUHDVHPHQW
    E DQ\&RYHQDQWUHODWLQJWRREOLJDWLRQVRIDQ\W\SHWRSHUIRUPPDLQWHQDQFHUHSDLU
        RUUHPHGLDWLRQRQWKH/DQGRU
    F H[FHSWDVSURYLGHGLQ6HFWLRQGDQ\&RYHQDQWSHUWDLQLQJWRHQYLURQPHQWDOSURWHFWLRQ
        RIDQ\NLQGRUQDWXUHLQFOXGLQJKD]DUGRXVRUWR[LFPDWWHUVFRQGLWLRQVRUVXEVWDQFHV
7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW L 
PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV LLL 
H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQRI
WKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLV
HQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

>:LWQHVVFODXVHRSWLRQDO@

>)17*%5$1'@

%\BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
      $XWKRUL]HG6LJQDWRU\




$/7$(QGRUVHPHQW)RUP
  (QHUJ\3URMHFW±&RYHQDQWV&RQGLWLRQVDQG5HVWULFWLRQV/DQG8QGHU'HYHORSPHQW/RDQ   
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ






)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 459 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                  6(&7,21



                                          (1'256(0(17
                                $WWDFKHGWR3ROLF\1RBBBBBBBBBB
                                              ,VVXHGE\
                              %/$1.7,7/(,1685$1&(&203$1<

 7KHLQVXUDQFHSURYLGHGE\WKLVHQGRUVHPHQWLVVXEMHFWWRWKHH[FOXVLRQVLQ6HFWLRQRIWKLV
    HQGRUVHPHQWDQGWKH([FOXVLRQVIURP&RYHUDJHWKH([FHSWLRQVIURP&RYHUDJHFRQWDLQHGLQ
    6FKHGXOH%DQGWKH&RQGLWLRQVLQWKHSROLF\

 )RUSXUSRVHVRIWKLVHQGRUVHPHQWRQO\

    D ³(OHFWULFLW\)DFLOLW\´PHDQVDQHOHFWULFLW\JHQHUDWLQJIDFLOLW\WKDWPD\LQFOXGHRQHRUPRUH
        RIWKHIROORZLQJDVXEVWDWLRQDWUDQVPLVVLRQGLVWULEXWLRQRUFROOHFWRUOLQHDQ
        LQWHUFRQQHFWLRQLQYHUWHUWUDQVIRUPHUJHQHUDWRUWXUELQHDUUD\VRODUSDQHORUPRGXOHD
        FLUFXLWEUHDNHUIRRWLQJWRZHUSROHFURVVDUPJX\OLQHDQFKRUZLUHFRQWUROV\VWHP
        FRPPXQLFDWLRQVRUUDGLRUHOD\V\VWHPVDIHW\SURWHFWLRQIDFLOLW\URDGDQGRWKHUEXLOGLQJ
        VWUXFWXUHIL[WXUHPDFKLQHU\HTXLSPHQWDSSOLDQFHDQGLWHPDVVRFLDWHGZLWKRULQFLGHQWDO
        WRWKHJHQHUDWLRQFRQYHUVLRQVWRUDJHVZLWFKLQJPHWHULQJVWHSXSVWHSGRZQ
        LQYHUVLRQWUDQVPLVVLRQFRQGXFWLQJZKHHOLQJVDOHRURWKHUXVHRUFRQYH\DQFHRI
        HOHFWULFLW\RQWKH/DQGDW'DWHRI3ROLF\RUWREHEXLOWRUFRQVWUXFWHGRQWKH/DQGLQWKH
        ORFDWLRQVDFFRUGLQJWRWKH3ODQVWKDWE\ODZFRQVWLWXWHVUHDOSURSHUW\
    E ³3ODQV´PHDQVWKHVXUYH\VLWHDQGHOHYDWLRQSODQVRURWKHUGHSLFWLRQVRUGUDZLQJV
        SUHSDUHGE\
         LQVHUWQDPHRIDUFKLWHFWRUHQJLQHHU GDWHGBBBBODVWUHYLVHGBBBBBBBBGHVLJQDWHGDV
         LQVHUWQDPHRISURMHFWRUSURMHFWQXPEHU FRQVLVWLQJRIBBBVKHHWV
     F ³6HYHUDEOH,PSURYHPHQW´PHDQVSURSHUW\DIIL[HGWRWKH/DQGDW'DWHRI3ROLF\RUWREH
          DIIL[HGWRWKH/DQGLQWKHORFDWLRQVDFFRUGLQJWRWKH3ODQVWKDWZRXOGFRQVWLWXWHDQ
          (OHFWULFLW\)DFLOLW\EXWIRULWVFKDUDFWHUL]DWLRQDVSHUVRQDOSURSHUW\DQGWKDWE\ODZGRHV
          QRWFRQVWLWXWHUHDOSURSHUW\EHFDXVH D RILWVFKDUDFWHUDQGPDQQHURIDWWDFKPHQWWRWKH
          /DQGDQG E WKHSURSHUW\FDQEHVHYHUHGIURPWKH/DQGZLWKRXWFDXVLQJPDWHULDO
          GDPDJHWRWKHSURSHUW\RUWRWKH/DQG
    
 7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI
    
    D $QHQFURDFKPHQWRIDQ\(OHFWULFLW\)DFLOLW\RU6HYHUDEOH,PSURYHPHQWORFDWHGRQWKH/DQG
          RQWRDGMRLQLQJODQGRURQWRWKDWSRUWLRQRIWKH/DQGVXEMHFWWRDQHDVHPHQWXQOHVVDQ
          H[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\LGHQWLILHVWKHHQFURDFKPHQW
    
    E $QHQFURDFKPHQWRIDQLPSURYHPHQWORFDWHGRQDGMRLQLQJODQGRQWRWKH/DQGDW'DWHRI
          3ROLF\XQOHVVDQH[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\LGHQWLILHVWKHHQFURDFKPHQW
    
    F (QIRUFHGUHPRYDORIDQ\(OHFWULFLW\)DFLOLW\RU6HYHUDEOH,PSURYHPHQWDVDUHVXOWRIDQ
          HQFURDFKPHQWE\WKH(OHFWULFLW\)DFLOLW\RU6HYHUDEOH,PSURYHPHQWRQWRDQ\SRUWLRQRIWKH
          /DQGVXEMHFWWRDQ\HDVHPHQWLQWKHHYHQWWKDWWKHRZQHUVRIWKHHDVHPHQWVKDOOIRUWKH
          SXUSRVHRIH[HUFLVLQJWKHULJKWRIXVHRUPDLQWHQDQFHRIWKHHDVHPHQWFRPSHOUHPRYDORU
          UHORFDWLRQRIWKHHQFURDFKLQJ(OHFWULFLW\)DFLOLW\RU6HYHUDEOH,PSURYHPHQW>RU@





)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 460 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                  6(&7,21



    G 'DPDJHWRDQ\(OHFWULFLW\)DFLOLW\RU6HYHUDEOH,PSURYHPHQWWKDWLVORFDWHGRQRU
         HQFURDFKHVRQWRWKDWSRUWLRQRIWKH/DQGVXEMHFWWRDQHDVHPHQWH[FHSWHGLQ6FKHGXOH
         %ZKLFKGDPDJHUHVXOWVIURPWKHH[HUFLVHRIWKHULJKWWRPDLQWDLQWKHHDVHPHQWIRUWKH
         SXUSRVHIRUZKLFKLWZDVJUDQWHGRUUHVHUYHG>RU@

    >H 7KHFRYHUDJHRI6HFWLRQVFDQGGVKDOOQRWDSSO\WRWKHHQFURDFKPHQWVOLVWHGLQ
          ([FHSWLRQ V BBBBBBBBBBBBBBRI6FKHGXOH%@

    7KLVHQGRUVHPHQWGRHVQRWLQVXUHDJDLQVWORVVRUGDPDJH DQGWKH&RPSDQ\ZLOOQRWSD\
      FRVWVDWWRUQH\V¶IHHVRUH[SHQVHV UHVXOWLQJIURPFRQWDPLQDWLRQH[SORVLRQILUHYLEUDWLRQ
      IUDFWXULQJHDUWKTXDNHRUVXEVLGHQFH

7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW L 
PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV LLL 
H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQRI
WKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLV
HQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

>:LWQHVVFODXVHRSWLRQDO@

%/$1.7,7/(,1685$1&(&203$1<


%\BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
      $XWKRUL]HG6LJQDWRU\





$/7$(QGRUVHPHQW)RUP
  (QHUJ\3URMHFW±(QFURDFKPHQWV   
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ







)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 461 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                         6(&7,21



5HWXUQWR7DEOHRI&RQWHQWV
                                           
                      $66,*10(172)5(17625/($6(6(1'256(0(17
                                               
                                  $/7$(1'256(0(17)250

                                           385326(

/HQGHUVRFFDVLRQDOO\UHTXHVWWKDWWKHORDQSROLF\LQVXUHFHUWDLQUHFRUGHGLQWHUHVWVWKDWDUHWDNHQ
DVDGGLWLRQDOVHFXULW\IRUWKHORDQSULPDULO\VHFXUHGE\WKH,QVXUHG0RUWJDJH7KHPRVWFRPPRQ
DGGLWLRQDO VHFXULW\ RWKHU WKDQ D VHFXULW\ LQWHUHVW XQGHU WKH 8QLIRUP &RPPHUFLDO &RGH LV DQ
DVVLJQPHQW RI UHQWV RU OHDVHV 7KLV HQGRUVHPHQW LV LVVXHG WR SURYLGH FHUWDLQ FRYHUDJHV ZLWK
UHVSHFW WR D VHSDUDWH DVVLJQPHQW RI UHQWV RU OHDVHV VKRZQ LQ 6FKHGXOH % 3DUW ,, RI WKH SROLF\
7KLVHQGRUVHPHQWSURYLGHVLQVXUDQFHWKDWWKHDVVLJQPHQWRIUHQWVRUOHDVHVLVSURSHUO\H[HFXWHG
DQGWKDWWKH3XEOLF5HFRUGVGRQRWGLVFORVHDQ\SULRUDVVLJQPHQWVRIWKHVHVDPHUHQWVRUOHDVHV

,I\RXDUHDVNHGWRLVVXHDQHQGRUVHPHQWWRSURYLGHWKHDERYHGHVFULEHGFRYHUDJHVZLWKUHVSHFW
WR DQ DVVLJQPHQW RI UHQWV RU OHDVHV WKDW LV FRQWDLQHG ZLWKLQ WKH ,QVXUHG 0RUWJDJH SOHDVH VHH
6HFWLRQ
                      6(&7,2162)32/,&<$0(1'('%<(1'256(0(17

7KHVH HQGRUVHPHQWV GR QRW DPHQG RU PRGLI\ DQ\ VSHFLILF SROLF\ SURYLVLRQV EXW DGG DGGLWLRQDO
FRYHUDJHWRWKHWHUPVRIWKHSROLF\
                                 %$6,6)253529,',1*&29(5$*(

7KH DVVLJQPHQW RI UHQWV RU OHDVHV PXVW EH SURSHUO\ H[HFXWHG E\ WKH RZQHU RI WKH HVWDWH RU
LQWHUHVWFRYHUHGE\WKH,QVXUHG0RUWJDJHDQGWKHUHPXVWQRWEHDQ\SULRUDVVLJQPHQWRIUHQWVRU
OHDVHVRIUHFRUG,IDSUHYLRXVO\UHFRUGHGDVVLJQPHQWRIUHQWVRUOHDVHVLVIRXQGLWPXVWEHUDLVHG
DVDQH[FHSWLRQLQ6FKHGXOH%RIWKHSROLF\

127(35,250257*$*(625'(('62)758670867%((;$0,1('72'(7(50,1(
,) 7+(< &217$,1 $66,*10(176 2) 5(176 25 /($6(6 6(3$5$7( 6&+('8/( %
(;&(37,2166+28/'%(0$'()2568&+$66,*10(176
                                              02',),&$7,21
,QWKHHYHQWWKDWPRGLILFDWLRQRIWKLVHQGRUVHPHQWLVUHTXHVWHGLW LVQHFHVVDU\WRFRQVLGHU \RXU
VWDWHUHJXODWRU\UHTXLUHPHQWVIRUILOLQJDQGDSSURYDORIIRUPV,IWKHHQGRUVHPHQWLVPRGLILHGWKH
HQGRUVHPHQWLVQRWDQ$/7$IRUPDQGVKRXOGQRWUHIHUHQFH$/7$LQWKHWLWOH<RXPXVWREWDLQ
WKH DSSURYDO RI WKH &RPSDQ\¶V XQGHUZULWLQJ DGYLVHU EHIRUH FRPSO\LQJ ZLWK DQ\ UHTXHVW IRU D
PRGLILFDWLRQ5HWXUQWR7DEOHRI&RQWHQWV



)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 462 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                 6(&7,21



                                               (1'256(0(17
                                     $WWDFKHGWR3ROLF\1RBBBBBBBBBBB
                                                 ,VVXHG%\
                                               >)17*%5$1'@


7KHLQVXUDQFHSURYLGHGE\WKLVHQGRUVHPHQWLVVXEMHFWWRWKH([FOXVLRQVIURP&RYHUDJHWKH
([FHSWLRQVIURP&RYHUDJHFRQWDLQHGLQ6FKHGXOH%DQGWKH&RQGLWLRQVLQWKHSROLF\

 7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\UHDVRQRI
     
     DDQ\GHIHFWLQWKHH[HFXWLRQRIWKH>,QVHUW7LWOHRI$VVLJQPHQWRI5HQWVRU/HDVHV'RFXPHQW@
     UHIHUUHGWRLQSDUDJUDSKBBBB>RI3DUW,,@RI6FKHGXOH%RU
     
     EDQ\DVVLJQPHQWRIWKHOHVVRU VLQWHUHVWLQDQ\OHDVHRUOHDVHVRUDQ\DVVLJQPHQWRIUHQWV
     DIIHFWLQJWKH7LWOHDQGUHFRUGHGLQWKH3XEOLF5HFRUGVDW'DWHRI3ROLF\RWKHUWKDQDVVHWIRUWK
     LQDQ\LQVWUXPHQWUHIHUUHGWRLQ6FKHGXOH%

7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW L 
PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV LLL 
H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQRI
WKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLV
HQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


>:LWQHVVFODXVHRSWLRQDO@



>)17*%5$1'@
%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB




$/7$(QGRUVHPHQW)RUP
  $VVLJQPHQWRI5HQWVRU/HDVHV   
$PHULFDQ/DQG7LWOH$VVRFLDWLRQ




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG 

Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 463 of 807

(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                         6(&7,21

5HWXUQWR7DEOHRI&RQWHQWV
                                             0257*$*(7$;
                                 $/7$(1'256(0(17)250
                                               
                                           385326(

7KLV HQGRUVHPHQW SURYLGHV FRYHUDJH WR WKH LQVXUHG OHQGHU LI WKHUH LV D GHILFLHQF\ LQ WKH
UHFRUGDWLRQWD[SDLGDWWKHWLPHWKH,QVXUHG0RUWJDJHLVUHFRUGHGWKDWLVVXEVHTXHQWO\SDLG7KH
HQGRUVHPHQWSURYLGHVWKDWLIWKHGHILFLHQF\LVSDLGWKH&RPSDQ\ZLOOSURYLGHFRYHUDJHDJDLQVW
WKH LQYDOLGLW\ RU XQHQIRUFHDELOLW\ RI WKH ,QVXUHG 0RUWJDJH RU WKH ODFN RI SULRULW\ RI WKH ,QVXUHG
0RUWJDJH IURP WKH IDLOXUH WR SD\ DW WKH WLPH RI UHFRUGLQJ DQ\ SRUWLRQ RI WKH UHFRUGLQJ WD[ 7KH
&RPSDQ\ GRHV QRW SURYLGH FRYHUDJH LI WKH LQVXUHG OHQGHU IDLOV WR SD\ WKH UHFRUGDWLRQ WD[
GHILFLHQF\
                      6(&7,2162)32/,&<$0(1'('%<(1'256(0(17
                                                        
7KLVHQGRUVHPHQWIRUWKHLQVXUHGOHQGHUGRHVQRWH[SUHVVO\DPHQGRUPRGLI\DQ\ SURYLVLRQVRI
WKH3ROLF\,WDGGVDGGLWLRQDOFRYHUDJHWRWKHWHUPVRIWKHSROLF\

                                 %$6,6)253529,',1*&29(5$*(
                                                        
7RLVVXH$/7$)RUP\RXPXVWFRQILUPWKDWWKHUHLVQRODZRUUHJXODWLRQLQWKHVWDWHZKHUH
WKH SURSHUW\ OLHV WKDW ZRXOG DGYHUVHO\ DIIHFW WKH OLHQ RI WKH ,QVXUHG 0RUWJDJH E\ UHDVRQ RI WKH
IDLOXUH WR FRUUHFWO\ SD\ D UHFRUGDWLRQ UHJLVWUDWLRQ RU UHODWHG WD[ RU FKDUJH UHTXLUHG WR EH SDLG
ZKHQWKH,QVXUHG0RUWJDJHLVUHFRUGHGLQWKH3XEOLF5HFRUGV,IWKHUHLVQRELQGLQJDXWKRULW\LQ
WKH VWDWH ZKHUHLQ WKH SURSHUW\ OLHV DQ\ UHTXHVW IRU WKLV HQGRUVHPHQW PXVW EH VXEPLWWHG WR WKH
&RPSDQ\¶VXQGHUZULWLQJDGYLVRUIRUDSSURYDO,IWKHUHLVQRODZRUUHJXODWLRQLQWKHVWDWHLQZKLFK
WKH/DQGLVORFDWHGWKDWFRQWHPSODWHVD³0RUWJDJH7D[´DVGHILQHGLQWKHHQGRUVHPHQW\RXPD\
LVVXHWKHHQGRUVHPHQWLIQRWUHJXODWRULO\SURKLELWHG

                                                        
                                               02',),&$7,21
                                                        
,Q WKH HYHQW WKDW PRGLILFDWLRQ RI DQ HQGRUVHPHQW LV UHTXHVWHG LW LV QHFHVVDU\ WR FRQVLGHU \RXU
VWDWHUHJXODWRU\UHTXLUHPHQWVIRUILOLQJDQGDSSURYDORIIRUPV,IWKHHQGRUVHPHQWLVPRGLILHGWKH
HQGRUVHPHQWLVQRWDQ$/7$IRUPDQGVKRXOGQRWUHIHUHQFH$/7$LQWKHWLWOH<RXPXVWREWDLQ
WKH DSSURYDO RI WKH &RPSDQ\¶V XQGHUZULWLQJ DGYLVHU EHIRUH FRPSO\LQJ ZLWK DQ\ UHTXHVW IRU D
PRGLILFDWLRQ
5HWXUQWR7DEOHRI&RQWHQWV


)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG                                             
                                                                                                                 
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 464 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                 6(&7,21




                                         (1'256(0(17
                                $WWDFKHGWR3ROLF\1RBBBBBBBBBBB
                                             ,VVXHG%\
                                          >)17*%5$1'@

     7KHLQVXUDQFHSURYLGHGE\WKLVHQGRUVHPHQWLVVXEMHFWWRWKHH[FOXVLRQVLQ6HFWLRQV
        DQGRIWKLVHQGRUVHPHQWWKH([FOXVLRQVIURP&RYHUDJHWKH([FHSWLRQVIURP&RYHUDJH
        FRQWDLQHGLQ6FKHGXOH%DQGWKH&RQGLWLRQVLQWKHSROLF\
     )RUWKHSXUSRVHVRIWKLVHQGRUVHPHQWRQO\³0RUWJDJH7D[´PHDQVDUHFRUGDWLRQ
        UHJLVWUDWLRQRUUHODWHGWD[RUFKDUJHUHTXLUHGWREHSDLGZKHQWKH,QVXUHG0RUWJDJHLV
        UHFRUGHGLQWKH3XEOLF5HFRUGV
     8SRQSD\PHQWRIDQ\GHILFLHQF\LQWKH0RUWJDJH7D[LQFOXGLQJLQWHUHVWDQGSHQDOWLHVE\
        WKH,QVXUHGWKH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\WKH,QVXUHGE\
        UHDVRQRI
            D WKHLQYDOLGLW\RUXQHQIRUFHDELOLW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJHDVVHFXULW\IRU
                 WKH,QGHEWHGQHVVUHVXOWLQJIURPWKHIDLOXUHWRSD\DWWKHWLPHRIUHFRUGLQJDQ\
                 SRUWLRQRIWKH0RUWJDJH7D[RU
            E WKHODFNRISULRULW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJHDVVHFXULW\IRUWKH
                 ,QGHEWHGQHVVUHVXOWLQJIURPWKHIDLOXUHWRSD\DWWKHWLPHRIUHFRUGLQJDQ\
                 SRUWLRQRIWKH0RUWJDJH7D[
     7KH&RPSDQ\GRHVQRWLQVXUHDJDLQVWORVVRUGDPDJH DQGWKH&RPSDQ\ZLOOQRWSD\
        FRVWVDWWRUQH\V IHHVRUH[SHQVHV UHVXOWLQJIURPWKHIDLOXUHRIWKH,QVXUHGWRSD\WKH
        0RUWJDJH7D[GHILFLHQF\WRJHWKHUZLWKLQWHUHVWDQGSHQDOWLHV

     7KH&RPSDQ\LVQRWOLDEOHIRUWKHSD\PHQWRIDQ\SRUWLRQRIWKH0RUWJDJH7D[LQFOXGLQJ
        LQWHUHVWRUSHQDOWLHV

7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW
  L PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLV
HQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

>:LWQHVVFODXVHRSWLRQDO@



>)17*%5$1'@
%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB


$/7$(QGRUVHPHQW)RUP
  0RUWJDJH7D[   
$PHULFDQ/DQG7LWOH




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG                                     
                                                                                                         
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 465 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                   6(&7,21



5HWXUQWR7DEOHRI&RQWHQWV
                                     32/,&<$87+(17,&$7,21
                               $/7$(1'256(0(17)250
                                             
                                         385326(

7KLVHQGRUVHPHQWSURYLGHVFRYHUDJHWRWKHLQVXUHGOHQGHULIDSROLF\LVLVVXHGHOHFWURQLFDOO\RU
GRHVQRWKDYHDVLJQDWXUHZKLFKPD\EHUHTXLUHGE\WKHIRUPRISROLF\FRYHUXVHG

                      6(&7,2162)32/,&<$0(1'('%<(1'256(0(17
                                                       
7KLVHQGRUVHPHQWIRUWKHLQVXUHGOHQGHUPRGLILHVWKHFRYHUDQG&RQGLWLRQV F RIWKH3ROLF\
ZKLFKUHTXLUHVDQDXWKHQWLFDWLRQE\DQDXWKRUL]HGSHUVRQ7KLVW\SLFDOO\ZRXOGEHWKHVLJQDWXUHRI
DOLFHQVHG DVQHFHVVDU\ HPSOR\HHRUDJHQW
                                                       
                                %$6,6)253529,',1*&29(5$*(
                                                       
,IWKHSROLF\LVLVVXHGHOHFWURQLFDOO\LWZLOOQRWFRQWDLQD³ZHW´VLJQDWXUHZKLFKLVQRUPDOO\UHTXLUHG
E\WKHODQJXDJHFRQWDLQHGLQWKHFRQWUDFWRILQVXUDQFHDVLQGLFDWHGRQWKHFRYHURIWKHSROLF\
7KHSROLF\LWVHOIPXVWEHLVVXHGSURSHUO\DQGDOODJHQF\FRQWUDFWDQG&RPSDQ\XQGHUZULWLQJ
JXLGHOLQHVPXVWEHIROORZHGEHIRUHWKLVHQGRUVHPHQWFDQEHLVVXHG,WLVQRWWKHLQWHQWRIWKH
&RPSDQ\WRLQFOXGHIUDXGXOHQWRUIRUJHGSROLFLHVZLWKLQWKLVFRYHUDJH


                                               02',),&$7,21

,QWKHHYHQWWKDWPRGLILFDWLRQRIDQHQGRUVHPHQWLVUHTXHVWHGLWLVQHFHVVDU\WRFRQVLGHU\RXU
VWDWHUHJXODWRU\UHTXLUHPHQWVIRUILOLQJDQGDSSURYDORIIRUPV,IWKHHQGRUVHPHQWLVPRGLILHGWKH
HQGRUVHPHQWLVQRWDQ$/7$IRUPDQGVKRXOGQRWUHIHUHQFH$/7$LQWKHWLWOH<RXPXVWREWDLQ
WKHDSSURYDORIWKH&RPSDQ\¶VXQGHUZULWLQJDGYLVHUEHIRUHFRPSO\LQJZLWKDQ\UHTXHVWIRUD
PRGLILFDWLRQ



5HWXUQWR7DEOHRI&RQWHQWV




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG                                     
                                                                                                         
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 466 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                            6(&7,21





                                              (1'256(0(17
                                     $WWDFKHGWR3ROLF\1RBBBBBBBBBBB
                                                  ,VVXHG%\
                                               >)17*%5$1'@


:KHQWKHSROLF\LVLVVXHGE\WKH&RPSDQ\ZLWKDSROLF\QXPEHUDQG'DWHRI3ROLF\WKH&RPSDQ\
ZLOOQRWGHQ\OLDELOLW\XQGHUWKHSROLF\RUDQ\HQGRUVHPHQWVLVVXHGZLWKWKHSROLF\VROHO\RQWKH
JURXQGVWKDWWKHSROLF\RUHQGRUVHPHQWVZHUHLVVXHGHOHFWURQLFDOO\RUODFNVLJQDWXUHVLQ
DFFRUGDQFHZLWKWKH&RQGLWLRQV



7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW L 
PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV LLL 
H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQRI
WKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLV
HQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

>:LWQHVVFODXVHRSWLRQDO@





>)17*%5$1'@
%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB




$/7$(QGRUVHPHQW)RUP
  3ROLF\$XWKHQWLFDWLRQ   
$PHULFDQ/DQG7LWOH







)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG                             
                                                                                                 
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 467 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                         6(&7,21



5HWXUQWR7DEOHRI&RQWHQWV
                                     &/7$(1'256(0(17
                                   6,0,/$572$/7$)2506HULHV 

                                                 385326(
7+,6(1'2560(17,612/21*(5$9$,/$%/(,17+,6)250$7

,Q FHUWDLQ SDUWV RI WKH FRXQWU\ WKLV HQGRUVHPHQW LV XVHG TXLWH IUHTXHQWO\ ZLWK WKH $/7$ ORDQ
SROLFLHVRQERWKUHVLGHQWLDODQGFRPPHUFLDOWUDQVDFWLRQV,QRWKHUSDUWVRIWKHFRXQWU\LWVXVHLV
OLPLWHG WR ODUJH FRPPHUFLDO WUDQVDFWLRQV 6LPLODU LQ VFRSH WR WKH $/7$ )RUP  VHULHV RI
HQGRUVHPHQWV WKLV HQGRUVHPHQW LV GHVLJQHG WR DIIRUG WKH OHQGHU SURWHFWLRQ ZLWK UHVSHFW WR
YLRODWLRQV RI SULYDWH SURSHUW\ UHVWULFWLRQV ZKLFK FRXOG LPSDLU WKH OLHQ RI WKH ,QVXUHG 0RUWJDJH RU
WKHPDUNHWDELOLW\RIWKH7LWOH,WDOVRLQVXUHVDJDLQVWGDPDJHWRLPSURYHPHQWVZKLFKFRXOGUHVXOW
IURP HQFURDFKPHQWV RQWR HDVHPHQWV RU DGMDFHQW SURSHUW\ RU EHFDXVH RI GHYHORSPHQW RI
PLQHUDOV7KLVHQGRUVHPHQWLVQRWVXLWDEOHIRUXVHLQSROLFLHVLQVXULQJXQLPSURYHGODQG

                       6(&7,2162)32/,&<$0(1'('%<(1'256(0(17

7KLV HQGRUVHPHQW H[SDQGV SROLF\ FRYHUDJH E\ UHGXFLQJ WKH ULVN WR WKH ,QVXUHG ZLWK UHVSHFW WR
FHUWDLQ([FOXVLRQVRU6FKHGXOH%([FHSWLRQV

                                     %$6,6)253529,',1*&29(5$*(

&RYHUDJH D PD\EHJLYHQLIDQ\RIWKHIROORZLQJVLWXDWLRQVDSSO\

      7KHUHDUHQRFRYHQDQWVFRQGLWLRQVDQGUHVWULFWLRQV

      7KHFRYHQDQWVFRQGLWLRQVRUUHVWULFWLRQVDUHQRWHQIRUFHDEOHXQGHUVWDWHODZ

      7KHUHVWULFWLRQVFRQWDLQSURYLVLRQVWKDWSURYLGHSURWHFWLRQVDJDLQVWLPSDLUPHQWRUORVVRI
         WKH PRUWJDJH OLHQ ZKHUH WKH OHQGHU LV D JRRG IDLWK OHQGHU ZLWKRXW NQRZOHGJH RI D
         YLRODWLRQ

      5LJKWV WR HQIRUFH WKH UHVWULFWLRQV KDYH EHHQ ZDLYHG RU DUH VXERUGLQDWH WR WKH ,QVXUHG
         0RUWJDJH

&RYHUDJH E PD\EHJLYHQLIDQ\RIWKHIROORZLQJVLWXDWLRQVDSSO\


)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG                                            
                                                                                                                
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 468 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                        6(&7,21




       7KHUHDUHQRFRYHQDQWVFRQGLWLRQVDQGUHVWULFWLRQV

       ,W KDV EHHQ GHWHUPLQHG WKDW WKHUH DUH QR YLRODWLRQV RI WKH FRYHQDQWV FRQGLWLRQV RU
          UHVWULFWLRQV

       7KH VWDWXWRU\ SHULRG IRU HQIRUFHPHQW RI UHVWULFWLRQV KDV UXQ RU ULJKWV RI HQIRUFHPHQW RI
          DQ\YLRODWLRQKDYHEHHQSURSHUO\ZDLYHG

&RYHUDJH F PD\EHJLYHQSURYLGHG

         (QFURDFKPHQWVLIDQ\GLVFORVHGE\VXUYH\DIILGDYLWLQVSHFWLRQRURWKHUZLVHDUHVKRZQ
          RQ6FKHGXOH%

&RYHUDJH D PD\EHJLYHQLIDQ\RIWKHIROORZLQJVLWXDWLRQVDSSO\

          6DPHDV,WHPVWKURXJKXQGHUFRYHUDJH D 

&RYHUDJH E PD\EHJLYHQLIDQ\RIWKHIROORZLQJVLWXDWLRQVDSSO\

          6DPHDV,WHPVWKURXJKXQGHUFRYHUDJH D 

&$87,21  ,) $1< 5(675,&7,216 21 6&+('8/( % &217$,1 3529,6,21 )25
)25)(,785( 25 5(9(56,21 2) 7,7/( 21 7+( 2&&855(1&( 2) $ 63(&,),('
&21',7,217+($)),50$7,9(,1685$1&(*,9(1 81'(5  D DQG E  $1'  D DQG
    E  &$1127 %( *,9(1   7+26( 6(&7,216 :,// +$9( 72 %( '(/(7(' )520 7+(
(1'256(0(17

&RYHUDJH D PD\EHJLYHQLIDQ\RIWKHIROORZLQJVLWXDWLRQVDSSO\

       1RHDVHPHQWVDUHVKRZQLQ6FKHGXOH%

       $ VXUYH\ RU RWKHU UHOLDEOH LQIRUPDWLRQ FRQILUPV WKDW H[LVWLQJ LPSURYHPHQWV GR QRW
          HQFURDFKXSRQDQ\6FKHGXOH%HDVHPHQWV

       7KHUHLVDPLQRUHQFURDFKPHQWRILPSURYHPHQWVRQWRD6FKHGXOH%HDVHPHQWEXWDIWHU
          FRQVXOWLQJ ZLWK WKH &RPSDQ\¶V XQGHUZULWLQJ DGYLVRU LW LV GHWHUPLQHG WKDW WKH


)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG                                           
                                                                                                               
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 469 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                          6(&7,21



         HQFURDFKPHQWZRXOGQRWLQWHUIHUHZLWKPDLQWHQDQFHRIWKHHDVHPHQWDQGFRXOGQRWUHVXOW
         LQWKHIRUFHGUHPRYDORIWKHLPSURYHPHQWVXQGHUVWDWHODZ

&RYHUDJH E PD\EHJLYHQLIDQ\RIWKHIROORZLQJVLWXDWLRQVDSSO\

      7KHUHLVQRVHSDUDWLRQRIPLQHUDOVIURPWKHVXUIDFHHVWDWHE\HLWKHUGHHGRUOHDVH

      7KHUHLVDVHSDUDWHPLQHUDOHVWDWHEXWLWGRHVQRWLQFOXGHDQ\ULJKWVRIVXUIDFHHQWU\

&$87,21  ,) 0,1(5$/ 5,*+76 :,7+ 5,*+76 2) 685)$&( (175< +$9( %((1
6(9(5(' )520 7+( 685)$&( (67$7( %87 7+( /$1' $1' 6855281',1* $5($ ,6
(17,5(/< ,03529(' :,7+ 5(6,'(17,$/ '(9(/230(17 <28 0867 68%0,7 7+(6(
)$&76727+(&203$1<¶681'(5:5,7,1*$'9,6(572&216,'(57+(5,6.%()25(
*,9,1*$1<&29(5$*(81'(5 E 

&RYHUDJHPD\EHJLYHQLIDQ\RIWKHIROORZLQJVLWXDWLRQVDSSO\

      7KHUHDUHQRHQFURDFKPHQWVRQWRDGMRLQLQJODQGVKRZQLQ6FKHGXOH%

      7KHHQFURDFKPHQWLVQRWRQWRYDFDQWODQGRULVPLQRUDQGFRXOGEHUHPRYHGDWPLQLPDO
         FRVW

      7KH HQFURDFKPHQW LV PLQRU LV QRW RQWR YDFDQW ODQG LV QRW QHFHVVDU\ WR WKH VXSSRUW RI
         WKHPDLQVWUXFWXUHDQGWKH&RPSDQ\¶VXQGHUZULWLQJDGYLVRUEHLQJVRDGYLVHGE\\RXLV
         VDWLVILHGWKDWDVWDWHFRXUWZRXOGQRWUHTXLUHLWVUHPRYDO

                                               02',),&$7,21
                                                        
7KLV IRUP LV D XQLIRUPIRUP LQ &DOLIRUQLD  ,Q WKH HYHQW WKDW PRGLILFDWLRQ RI WKLV HQGRUVHPHQW RU
\RXUVWDWHIRUPLVUHTXHVWHGLWLVQHFHVVDU\WRFRQVLGHUWKHVWDWHUHJXODWRU\UHTXLUHPHQWVIRUILOLQJ
DQG DSSURYDO RI IRUPV  <RX PXVW REWDLQ WKH DSSURYDO RI WKH &RPSDQ\¶V XQGHUZULWLQJ DGYLVRU
EHIRUHFRPSO\LQJZLWKDQ\UHTXHVWIRUPRGLILFDWLRQ

5HWXUQWR7DEOHRI&RQWHQWV
                                                                                             




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG                                             
                                                                                                                 
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 470 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                            6(&7,21



                                            (1'256(0(17
                                                     
                                  $WWDFKHGWR3ROLF\1RBBBBBBBBBBBBB
                                                     
                                                ,VVXHG%\
                                              >)17*%UDQG@

7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\UHDVRQRI

      7KHH[LVWHQFHDW'DWHRI3ROLF\RIDQ\RIWKHIROORZLQJ

           D    &RYHQDQWV FRQGLWLRQV RU UHVWULFWLRQV XQGHU ZKLFK WKH OLHQ RI WKH ,QVXUHG
                 0RUWJDJHFDQEHFXWRIIVXERUGLQDWHGRURWKHUZLVHLPSDLUHG

           E    3UHVHQW YLRODWLRQV RQ WKH /DQG RI DQ\ HQIRUFHDEOH FRYHQDQWV FRQGLWLRQV RU
                 UHVWULFWLRQV

           F    ([FHSW DV VKRZQ LQ 6FKHGXOH % HQFURDFKPHQWV RI EXLOGLQJV VWUXFWXUHV RU
                 LPSURYHPHQWV ORFDWHG RQ WKH /DQG RQWR DGMRLQLQJ ODQGV RU DQ\ HQFURDFKPHQWV
                 RQWR WKH /DQG RI EXLOGLQJV VWUXFWXUHV RU LPSURYHPHQWV ORFDWHG RQ DGMRLQLQJ
                 ODQGV

               D       $Q\ IXWXUH YLRODWLRQV RQ WKH /DQG RI DQ\ FRYHQDQWV FRQGLWLRQV RU
                 UHVWULFWLRQVRFFXUULQJSULRUWRDFTXLVLWLRQRIWKH7LWOHE\WKH,QVXUHGSURYLGHGVXFK
                 YLRODWLRQV UHVXOW LQ LPSDLUPHQW RU ORVV RI WKH OLHQ RI WKH ,QVXUHG 0RUWJDJH RU
                 UHVXOW LQ LPSDLUPHQW RU ORVV RI WKH 7LWOH LI WKH ,QVXUHG VKDOO DFTXLUH WKH 7LWOH LQ
                 VDWLVIDFWLRQRIWKH,QGHEWHGQHVV

           E    8QPDUNHWDELOLW\ RI WKH 7LWOH E\ UHDVRQ RI DQ\ YLRODWLRQV RQ WKH /DQG RFFXUULQJ
                 SULRU WR DFTXLVLWLRQ RI WKH 7LWOH E\ WKH ,QVXUHG RI DQ\ FRYHQDQWV FRQGLWLRQV RU
                 UHVWULFWLRQV

      'DPDJHWRH[LVWLQJLPSURYHPHQWVLQFOXGLQJODZQVVKUXEEHU\RUWUHHV

           D    7KDW DUH ORFDWHG RU HQFURDFK XSRQ WKDW SRUWLRQ RI WKH /DQG VXEMHFW WR DQ\
                 HDVHPHQWVKRZQLQ6FKHGXOH%ZKLFKGDPDJHUHVXOWVIURPWKHH[HUFLVHRIWKH
                 ULJKWWRXVHRUPDLQWDLQVXFKHDVHPHQWIRUWKHSXUSRVHVIRUZKLFKWKHVDPHZDV
                JUDQWHGRUUHVHUYHG

           E    5HVXOWLQJ IURP WKH H[HUFLVH RI DQ\ ULJKW WR XVH WKH VXUIDFH RI WKH /DQG IRU WKH
                 H[WUDFWLRQ RU GHYHORSPHQW RI WKH PLQHUDOV H[FHSWHG IURP WKH GHVFULSWLRQ RI WKH
                 /DQGRUVKRZQDVDUHVHUYDWLRQLQ6FKHGXOH%

      $Q\ILQDOFRXUWRUGHURUMXGJPHQWUHTXLULQJUHPRYDOIURPDQ\ODQGDGMRLQLQJWKH/DQGRI
         DQ\HQFURDFKPHQWVKRZQLQ6FKHGXOH%

$VXVHGLQWKLVHQGRUVHPHQWWKHZRUGVFRYHQDQWVFRQGLWLRQVRUUHVWULFWLRQVGRQRWUHIHUWRRU
LQFOXGHWKHWHUPVFRYHQDQWVFRQGLWLRQVRUUHVWULFWLRQVFRQWDLQHGLQDQ\OHDVH
         
         
         
         
         
$VXVHGLQWKLVHQGRUVHPHQWWKHZRUGVFRYHQDQWVFRQGLWLRQVRUUHVWULFWLRQVGRQRWUHIHUWRRU


)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG                                               
                                                                                                                   
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 471 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                6(&7,21



LQFOXGHDQ\FRYHQDQWFRQGLWLRQRUUHVWULFWLRQ D UHODWLQJWRREOLJDWLRQVRIDQ\W\SHWRSHUIRUP
PDLQWHQDQFHUHSDLURUUHPHGLDWLRQRQWKH/DQGRU E SHUWDLQLQJWRHQYLURQPHQWDOSURWHFWLRQRI
DQ\NLQGRUQDWXUHLQFOXGLQJKD]DUGRXVRUWR[LFPDWWHUVFRQGLWLRQVRUVXEVWDQFHVH[FHSWWRWKH
H[WHQWWKDWDQRWLFHRIDYLRODWLRQRUDOOHJHGYLRODWLRQDIIHFWLQJWKH/DQGKDVEHHQUHFRUGHGLQWKH
3XEOLF5HFRUGVDW'DWHRI3ROLF\DQGLVQRWH[FHSWHGLQ6FKHGXOH%

7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW L 
PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV LLL 
H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQRI
WKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLV
HQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


'$7('

                                                     
%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBB
        $87+25,=('6,*1$785(






&/7$)RUP  
$/7$±/RDQ3ROLF\
                                                                                                        




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG                                    
                                                                                                        
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 472 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                        6(&7,21



5HWXUQWR7DEOHRI&RQWHQWV

            6+$5('$335(&,$7,210257*$*((1'256(0(17&200(5&,$/
                                                       
                                                 385326(
                                                       
7KLV HQGRUVHPHQW LV GHVLJQHG WR SURYLGH DGGLWLRQDO FRYHUDJH WR WKH OHQGHU ZKHQ WKH ORDQ
GRFXPHQWV SURYLGH WKDW WKH OHQGHU ZLOO SDUWLFLSDWH LQ WKH DSSUHFLDWLRQ LQ YDOXH RI WKH SURSHUW\
7KLV HQGRUVHPHQW SURYLGHV FRYHUDJH LQ WKH HYHQW RI DQ DWWDFN RQ WKH YDOLGLW\ SULRULW\ RU
HQIRUFHDELOLW\RIWKH,QVXUHG0RUWJDJHEDVHGXSRQWKHSURYLVLRQVUHJDUGLQJVKDUHGDSSUHFLDWLRQ
7KH FRYHUDJH DOVR LQFOXGHV WKH YDOXH RI WKH VKDUHG DSSUHFLDWLRQ SXUVXDQW WR WKH IRUPXOD
FRQWDLQHGLQWKHORDQGRFXPHQWDWLRQ

127(7+,6 (1'256(0(17 6+28/'127%( 86(',1&211(&7,21 :,7+/2$1621
21( 72 )285 )$0,/< 5(6,'(17,$/ 3523(57,(6 6HH 6HFWLRQ  IRU D IRUP WR EH XVHG
ZLWKUHVLGHQWLDOPRUWJDJHSURJUDPV 


                           6(&7,212)32/,&<$0(1'('%<(1'256(0(17
                                                       
6LQFH DQ\ DSSUHFLDWLRQ ZLOO RFFXU LQ WKH IXWXUH WKLV HQGRUVHPHQW VSHFLILFDOO\ SURYLGHV WKDW WKH
FRYHUDJHLVQRWVXEMHFWWR6HFWLRQ G RIWKH([FOXVLRQVIURP&RYHUDJHZKLFKH[FOXGHV³'HIHFWV
OLHQV HQFXPEUDQFHV DGYHUVH FODLPV RU RWKHU PDWWHUV    DWWDFKLQJ RU FUHDWHG VXEVHTXHQW WR
'DWHRI3ROLF\´

                                 %$6,6)253529,',1*&29(5$*(
                                                       
6WDWH/DZ0DQ\VWDWHVKDYHSDVVHGOHJLVODWLRQVSHFLILFDOO\DXWKRUL]LQJWKHOHQGHUWRVKDUHLQ
WKH DSSUHFLDWLRQ RI WKH SURSHUW\  7KH VWDWH VWDWXWH PXVW EH H[DPLQHG IRU SURYLVLRQV VHWWLQJ
VSHFLILF OLPLWV DQG IRUPXODV DQG WKH ORDQ GRFXPHQWV PXVW EH UHYLHZHG WR YHULI\ WKDW WKH ORDQ
FRPSOLHV ZLWK WKRVH OLPLWV DQG IRUPXODV  ,I WKH VWDWXWH KDV QR VXFK OLPLWV RU IRUPXODV
FRQVLGHUDWLRQ VKRXOG EH JLYHQ WR WKH SRVVLELOLW\ WKDW D  WKH PHWKRG RI FDOFXODWLRQ XVHG LQ WKH
,QVXUHG 0RUWJDJH RU E  WKH H[WHQW WR ZKLFK FHUWDLQ DGGLWLRQDO REOLJDWLRQV PLJKW FRQWLQXH HYHQ
DIWHUWKHSULQFLSDOLVSDLGPLJKWEHVRZHLJKWHGLQWKHOHQGHU¶VIDYRUDVWR³VKRFNWKHFRQVFLHQFH´
RI WKH FRXUW DQG SHUKDSV UHQGHU WKH VKDUHG DSSUHFLDWLRQ SURYLVLRQV RI WKH ,QVXUHG 0RUWJDJH
LQYDOLGRU ZKLFKFRXOG OHDGWRDFODLPRI³FORJJLQJ´ WKHHTXLW\ RIUHGHPSWLRQ LQ DEDQNUXSWF\RU
IRUHFORVXUHVLWXDWLRQ



)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG                                          
                                                                                                              
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 473 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                    6(&7,21



,QVXUHG0RUWJDJHPXVWLQFOXGHWKHIRUPXODIRU FDOFXODWLRQ 7KH,QVXUHG 0RUWJDJHPXVW
H[SUHVVO\ VWDWH WKDW LW LV D 6KDUHG $SSUHFLDWLRQ 0RUWJDJH DQG LQFOXGH WKH DFWXDO IRUPXOD RU
FDOFXODWLRQ PHWKRG XVHG WR GHWHUPLQH WKH OHQGHU¶V VKDUH   7KH IRUPXOD RU FDOFXODWLRQ PHWKRG
FDQQRWVLPSO\EHLQFRUSRUDWHGE\UHIHUHQFHWRWKHSURYLVLRQVRIWKHQRWHRUORDQDJUHHPHQW

/RDQLVQRWDMRLQWYHQWXUH&RQVLGHUDWLRQPXVWDOVREHJLYHQWRZKHWKHURUQRWWKHORDQLV
UHDOO\DORDQ&RXOGLWEHUHFKDUDFWHUL]HGDVDMRLQWYHQWXUHDUUDQJHPHQWZLWKWKHERUURZHU"7KH
WHUPVDQGSURYLVLRQVRIWKHORDQGRFXPHQWDWLRQPXVWEHUHYLHZHGIRUDGHWHUPLQDWLRQDVWRWKH
QDWXUHDQGH[WHQWRIFRQWUROWKDWWKHOHQGHUZLOOKDYHRYHUWKHRSHUDWLRQVRIWKHERUURZHU,IWKHVH
FRQWUROV DUH H[WHQVLYH DQG WKHUH LV D ULVN WKDW WKH ORDQ ZLOO EH UHFKDUDFWHUL]HG WKHQ WKLV
HQGRUVHPHQW VKRXOG QRW EH LVVXHG $Q\ VXFK LVVXHV PXVW EH GLVFXVVHG ZLWK WKH &RPSDQ\
8QGHUZULWLQJDGYLVRUEHIRUHWKLVHQGRUVHPHQWLVRIIHUHG

7KLV HQGRUVHPHQW LV GHVLJQHG IRU XVH ZLWK DQ $/7$ /RDQ 3ROLF\ LVVXHG LQ FRQQHFWLRQ ZLWK D
FRPPHUFLDOWUDQVDFWLRQ


                                                )250$
                                                     
:KHQWKLVIRUPLVSURYLGHGWKHPLQLPXPDPRXQWRILQVXUDQFHDVVWDWHGLQWKHSROLF\VKDOOEHWKH
VXP RI WKH SULQFLSDO GHEW SOXV D UHDVRQDEOH HVWLPDWH RI WKH DPRXQW RI ³VKDUHG DSSUHFLDWLRQ
LQWHUHVW´

                                                )250%
                                                     
:KHQ WKLV IRUP LV SURYLGHG D UHDVRQDEOH HVWLPDWLRQ RI WKH DPRXQW RI ³VKDUHG DSSUHFLDWLRQ
LQWHUHVW´ LV DGGHG LQ WKH VHFRQG SDUDJUDSK DV DGGLWLRQDO LQVXUDQFH  8VXU\ FRQVXPHU FUHGLW
SURWHFWLRQRUWUXWKLQOHQGLQJODZVDQGFRVWVUHTXLUHGWRREWDLQDGHWHUPLQDWLRQRIWKHDPRXQWRI
DGGLWLRQDOLQWHUHVWGXHDUHVSHFLILFDOO\PHQWLRQHGWRUHLQIRUFHWKHLGHDWKDWWKHH[SUHVVLQVXUDQFH
GRHVQRWFRYHUWKHVHPDWWHUV
                                            02',),&$7,21
                                                     
7KHVHIRUPVDUHQRWXQLIRUPIRUPV,QWKHHYHQWWKDWPRGLILFDWLRQRIRQHRUPRUHRIWKHVHIRUPV
RU\RXUVWDWHIRUPLVUHTXHVWHGLWLVQHFHVVDU\WRFRQVLGHUWKHVWDWHUHJXODWRU\UHTXLUHPHQWVIRU
ILOLQJDQGDSSURYDORIIRUPV<RXPXVWREWDLQWKHDSSURYDORIWKH&RPSDQ\¶VXQGHUZULWLQJDGYLVHU
EHIRUHFRPSO\LQJZLWKDQ\UHTXHVWIRUPRGLILFDWLRQ
5HWXUQWR7DEOHRI&RQWHQWV


)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG                                      
                                                                                                          
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 474 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                   6(&7,21



)RUP$±$SSUHFLDWLRQDPRXQWVLQFOXGHGZLWKLQ$PRXQWRI,QVXUDQFH

                                           (1'256(0(17
                                     $WWDFKHGWR3ROLF\1RBBBBB
                                               ,VVXHGE\
                                           >)17*%5$1'@

7KH&RPSDQ\LQVXUHVWKH,QVXUHGDJDLQVWORVVRUGDPDJHE\UHDVRQRI

     7KHLQYDOLGLW\RUXQHQIRUFHDELOLW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJHUHVXOWLQJIURPWKH
SURYLVLRQVWKHUHLQZKLFKSURYLGHIRUD6KDUHG$SSUHFLDWLRQ,QWHUHVWLQWKHLQFUHDVHLQYDOXHRIWKH
/DQGVXEVHTXHQWWR'DWHRI3ROLF\

       /RVVRISULRULW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJHDVVHFXULW\IRU L WKHXQSDLGSULQFLSDO
EDODQFHRIWKHORDQ LL WKH6WDWHG,QWHUHVWDQG LLL WKH6KDUHG$SSUHFLDWLRQ,QWHUHVWZKLFKORVV
RISULRULW\LVFDXVHGE\WKHSURYLVLRQVLQWKH,QVXUHG0RUWJDJHIRUSD\PHQWRUDOORFDWLRQWRWKH
,QVXUHG0RUWJDJHIRUSD\PHQWRUDOORFDWLRQWRWKH,QVXUHGRIDQ\6KDUHG$SSUHFLDWLRQ,QWHUHVW

³6WDWHG,QWHUHVW´DVXVHGLQWKLVHQGRUVHPHQWVKDOOPHDQRQO\WKHIL[HGSHUFHQWSHUDQQXP
LQWHUHVWRQWKHXQSDLGSULQFLSDOEDODQFHRIWKHORDQSURYLGHGLQWKH,QVXUHG0RUWJDJHDW'DWHRI
3ROLF\

³6KDUHG$SSUHFLDWLRQ,QWHUHVW´DVXVHGLQWKLVHQGRUVHPHQWVKDOOPHDQRQO\WKRVHDPRXQWV
  FDOFXODWHGSXUVXDQWWRWKHIRUPXODSURYLGHGLQWKH,QVXUHG0RUWJDJH SD\DEOHRUDOORFDWHGWRWKH
,QVXUHGRXWRIWKHDPRXQWLIDQ\E\ZKLFKWKH/DQGKDVDSSUHFLDWHGLQYDOXHDVHVWDEOLVKHG
SXUVXDQWWRWKHSURYLVLRQVRIWKH,QVXUHG0RUWJDJHDW'DWHRI3ROLF\


7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW
  L PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLV
HQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

'DWH

%\BBBBBBBBBBBBBBBBBBBBBB
$XWKRUL]HG6LJQDWRU\






)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG                                        
                                                                                                            
        Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 475 of 807
        (1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                6(&7,21



        )RUP%$SSUHFLDWLRQDPRXQWVDGGHGE\HQGRUVHPHQW
        
                                                   (1'256(0(17
                                                $WWDFKHGWR3ROLF\1R
                                                      ,VVXHGE\
                                                    >)17*%UDQG@
          
        7KH&RPSDQ\LQVXUHVWKH,QVXUHGDJDLQVWORVVRUGDPDJHWKDWWKH,QVXUHGVKDOOVXVWDLQE\
        UHDVRQRIWKHHQWU\RIDILQDOQRQDSSHDODEOHRUGHURUMXGJPHQWILQGLQJWKDWWKHOLHQRIWKH,QVXUHG
        0RUWJDJHDVVHFXULW\IRUWKHDGGLWLRQDOLQWHUHVWEDVHGRQDSSUHFLDWHGYDOXHRIWKH/DQG
          
                D      LVLQYDOLGRUXQHQIRUFHDEOHRU
    
                    E      GRHVQRWDWWKH'DWHRI3ROLF\VKDUHWKHVDPHSULRULW\LQUHODWLRQWRDQ\RWKHU
            FODLPVRUOLHQVDJDLQVWWKH/DQGDVLVDIIRUGHGWKHSULQFLSDORIWKHORDQVHFXUHGE\WKH,QVXUHG
            0RUWJDJH
            
            ,QWKHHYHQWRIDORVVFRPSHQVDEOHXQGHUWKLVHQGRUVHPHQWWKHFRYHUDJHDIIRUGHGKHUHXQGHULV
            LQDGGLWLRQWRDQGQRWLQFOXGHGLQWKH$PRXQWRI,QVXUDQFHVWDWHGLQ6FKHGXOH$RIWKHSROLF\
            6XFKDGGLWLRQDOLQVXUDQFHVKDOOQRWH[FHHGWKHVXPRIBBBBBBBBBB DPRXQWWREHDJUHHG
            XSRQSULRUWRLVVXH 
            
            1RWKLQJFRQWDLQHGLQWKLVHQGRUVHPHQWVKDOOEHFRQVWUXHGDVLQVXULQJDJDLQVWORVVRUGDPDJH
            VXVWDLQHGRULQFXUUHGE\UHDVRQRI
            
                   D      XVXU\
            
                   E      DQ\FRQVXPHUFUHGLWSURWHFWLRQRUWUXWKLQOHQGLQJODZRU

                F     FRVWVH[SHQVHVRUDWWRUQH\¶VIHHVUHTXLUHGWRREWDLQDGHWHUPLQDWLRQE\MXGLFLDO
           SURFHHGLQJVRURWKHUZLVHRIWKHDPRXQWRIDQ\DGGLWLRQDOLQWHUHVWGXH
           
        7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW
         L PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV
         LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
        RIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLV
        HQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKH
        WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV
           
           
        'DWHG
        
        %\BBBBBBBBBBBBBBBBBBBBBBBBBBBBB
        $XWKRUL]HG6LJQDWRU\




        )LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG                                    
                                                                                                                
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 476 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                        6(&7,21



5HWXUQWR7DEOHRI&RQWHQWV
              6+$5(2)&$6+)/2: $'',7,21$/,17(5(67 (1'256(0(17
                                              385326(

7KLV HQGRUVHPHQW LV GHVLJQHG WR SURYLGH DGGLWLRQDO FRYHUDJH WR WKH OHQGHU ZKHQ WKH ORDQ
GRFXPHQWVSURYLGHWKDWWKHOHQGHULVHQWLWOHGWRDVKDUHRIWKHFDVKIORZRULQFRPH QHWRIQRUPDO
H[SHQVHV  IURP WKH SURSHUW\ RU EXVLQHVV RI WKH ERUURZHU DV ³$GGLWLRQDO ,QWHUHVW´  7KH WHUP
³$GGLWLRQDO,QWHUHVW´UHIHUVWRDFKDUJHIRUWKHXVHRIPRQH\RWKHUWKDQWKHSHUFHQWDJHUDWHWKDWLV
DSSOLHGWRWKHSULQFLSDOLQGHEWHGQHVV/LNHWKH6KDUHG$SSUHFLDWLRQ(QGRUVHPHQWLWSURYLGHVQRW
RQO\IRUPRQHWDU\ORVVSURWHFWLRQWRWKHOHQGHUEXWDOVRIRUWKHFRVWRIGHIHQVHDJDLQVWDQDWWDFN
RQWKHYDOLGLW\SULRULW\RUHQIRUFHDELOLW\RIWKHOLHQRIWKH,QVXUHG0RUWJDJHXSRQWKHQHWFDVKIORZ
7KHFRYHUDJHDOVRLQFOXGHVWKHYDOXHRIWKHVKDUHRIFDVKIORZSXUVXDQWWRWKHIRUPXODFRQWDLQHG
LQWKHORDQGRFXPHQWDWLRQ

                           6(&7,212)32/,&<$0(1'('%<(1'256(0(17

6LQFH WKH ORDQ GRFXPHQWV SURYLGH WKDW WKH DGGLWLRQDO LQWHUHVW ZLOO DFFUXH LQ WKH IXWXUH WKH
FRYHUDJH SURYLGHG E\ WKLV HQGRUVHPHQW LV QRW VXEMHFW WR 6HFWLRQ  G  RI WKH ([FOXVLRQV IURP
&RYHUDJH ZKLFK H[FOXGHV ³'HIHFWV OLHQV HQFXPEUDQFHV DGYHUVH FODLPV RU RWKHU PDWWHUV 
DWWDFKLQJRUFUHDWHGVXEVHTXHQWWR'DWHRI3ROLF\´

                                     %$6,6)253529,',1*&29(5$*(
6WDWH/DZ
6RPHVWDWHVKDYHSDVVHGVWDWXWHVVSHFLILFDOO\SURYLGLQJIRUWKHFKDUJLQJRI³$GGLWLRQDO,QWHUHVW´
7KHVHVWDWXWHVPXVWEHH[DPLQHGIRUVSHFLILFUHTXLUHPHQWVZLWKUHJDUGWROLPLWVDQG DXWKRUL]HG
IRUPXODV ,I WKH VWDWXWH KDV QR VXFK OLPLWV RU IRUPXODV FRQVLGHUDWLRQ VKRXOG EH JLYHQ WR WKH
SRVVLELOLW\ WKDW D  WKH PHWKRG RI FDOFXODWLRQ XVHG LQ WKH ,QVXUHG 0RUWJDJH RU E  WKH H[WHQW WR
ZKLFK FHUWDLQ DGGLWLRQDO REOLJDWLRQV PLJKW FRQWLQXH HYHQ DIWHU WKH SULQFLSDO LV SDLG PLJKW EH VR
ZHLJKWHGLQWKHOHQGHU¶VIDYRUDVWR³VKRFNWKHFRQVFLHQFH´RIWKHFRXUWDQGSHUKDSVUHQGHUWKH
VKDUHG FDVK IORZ SURYLVLRQV RI WKH ,QVXUHG 0RUWJDJH LQYDOLG RU ZKLFK FRXOG OHDG WR D FODLP RI
³FORJJLQJ´WKHHTXLW\RIUHGHPSWLRQLQDEDQNUXSWF\RUIRUHFORVXUHVLWXDWLRQ

,QVXUHG0RUWJDJH0XVW,QFOXGH7KH)RUPXODIRU&DOFXODWLRQ

7KH,QVXUHG0RUWJDJHPXVWVWDWHWKDWLWVHFXUHVWKHSD\PHQWRIWKHOHQGHUVVKDUHRIFDVKIORZDV
³$GGLWLRQDO,QWHUHVW´DQGLWPXVWFRQWDLQWKHIRUPXODIRUFDOFXODWLRQ7KHVHUHTXLUHPHQWVFDQQRW




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG                                           
                                                                                                               
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 477 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                       6(&7,21



EH DFFRPSOLVKHG VLPSO\ E\ LQFRUSRUDWLRQ E\ UHIHUHQFH WR WKH SURYLVLRQV RI WKH QRWH RU ORDQ
DJUHHPHQW

/RDQLV1RWD-RLQW9HQWXUH

&RQVLGHUDWLRQ PXVW EH JLYHQ WR ZKHWKHU RU QRW WKH ORDQ LV UHDOO\ D ORDQ  &RXOG LW EH
UHFKDUDFWHUL]HGDVDMRLQWYHQWXUHDUUDQJHPHQWZLWKWKHERUURZHU"7KHWHUPVDQGSURYLVLRQVRI
WKH ORDQ GRFXPHQWDWLRQ PXVW EH UHYLHZHG IRU D GHWHUPLQDWLRQ DV WR WKH QDWXUH DQG H[WHQW RI
FRQWURO WKDW WKH OHQGHU ZLOO KDYH RYHU WKH RSHUDWLRQV RI WKH ERUURZHU  ,I WKHVH FRQWUROV DUH
H[WHQVLYHDQGWKHUHLVDULVNWKDWWKHORDQZLOOEHUHFKDUDFWHUL]HGWKHQWKLVHQGRUVHPHQWVKRXOG
QRWEHLVVXHG

,QVWUXFWLRQVIRUXVH

7KLV HQGRUVHPHQW LV GHVLJQHG IRU XVH ZLWK WKH  $/7$ /RDQ 3ROLF\ LQVXULQJ PRUWJDJHV RQ
FRPPHUFLDOWUDQVDFWLRQV

127( 7+,6 (1'256(0(17 6+28/' 127 %( 86(' ,1 &211(&7,21 :,7+ /2$16 21
21(72)285)$0,/<5(6,'(17,$/3523(57,(6

:KHQWKLVFRYHUDJHLVSURYLGHGWKHPLQLPXP$PRXQWRI,QVXUDQFHDVVWDWHGLQWKHSROLF\VKDOO
EHWKHVXPRIWKHSULQFLSDOGHEWSOXVDUHDVRQDEOHHVWLPDWHRIWKHDPRXQWRIDGGLWLRQDOLQWHUHVW
ZKLFK ZLOO EH GXH WR WKH ,QVXUHG 6RPH IRUPV RI WKLV HQGRUVHPHQW PD\ EH ILOHG ZKLFK DGG WKH
LQVXUDQFH LQFUHPHQWDOO\ DV WKH DGGLWLRQDO LQWHUHVW DFFUXHV ZLWK D FDSSLQJ DPRXQW RI DGGLWLRQDO
LQVXUDQFH6XFKDQHQGRUVHPHQWZRXOGFRQWDLQODQJXDJHVXEVWDQWLDOO\DVIROORZV

         ,QWKHHYHQWRIORVVFRPSHQVDEOHXQGHUWKLVHQGRUVHPHQWWKHFRYHUDJHDIIRUGHG
         KHUHXQGHULVLQDGGLWLRQWRDQGQRWLQFOXGHGLQWKH$PRXQWRI,QVXUDQFHVWDWHGLQ
         6FKHGXOH$RIWKHSROLF\6XFKDGGLWLRQDOLQVXUDQFHVKDOOQRWH[FHHGWKHVXPRI
         BBBBBBBBBBBBB DPRXQWWREHDJUHHGXSRQSULRUWRLVVXH 

                                             02',),&$7,21
7KLVIRUPLVQRWDXQLIRUPIRUP,QWKHHYHQWWKDWPRGLILFDWLRQRIWKLVHQGRUVHPHQWRU\RXUVWDWH
IRUP LV UHTXHVWHG LW LV QHFHVVDU\ WR FRQVLGHU WKH VWDWH UHJXODWRU\ UHTXLUHPHQWV IRU ILOLQJ DQG
DSSURYDORIIRUPV<RXPXVWREWDLQWKHDSSURYDORIWKH&RPSDQ\¶VXQGHUZULWLQJDGYLVRUEHIRUH
FRPSO\LQJZLWKDQ\UHTXHVWIRUPRGLILFDWLRQ
5HWXUQWR7DEOHRI&RQWHQWV                                       


)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG                                         
                                                                                                             
    Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 478 of 807
    (1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                 6(&7,21



    6KDUHRIFDVKIORZ DGGLWLRQDOLQWHUHVW 
    
                                             (1'256(0(17
                                       $WWDFKHGWR3ROLF\1RBBBBBBB
                                                       
                                                 ,VVXHGE\
                                              >)17*%5$1'@
      
      
      
    7KH&RPSDQ\LQVXUHVWKH,QVXUHGDJDLQVWORVVRUGDPDJHWKDWWKH,QVXUHGVKDOOVXVWDLQE\
    UHDVRQRIWKHHQWU\RIDILQDOQRQDSSHDODEOHRUGHURUMXGJPHQWILQGLQJWKDWWKHOLHQRIWKH,QVXUHG
    0RUWJDJHDVVHFXULW\IRUWKHDGGLWLRQDOLQWHUHVWEDVHGRQDVKDUHRIFDVKIORZDVGHVFULEHGLQ
    SDUDJUDSKBBBBBRIWKH,QVXUHG0RUWJDJH
      
               D     LVLQYDOLGRUXQHQIRUFHDEOHRU
             
               E     GRHVQRWDWWKH'DWHRI3ROLF\VKDUHWKHVDPHSULRULW\LQUHODWLRQWRRWKHUFODLPV
             RUOLHQVDJDLQVWWKH/DQGDVLVDIIRUGHGWKHSULQFLSDORIWKHORDQVHFXUHGE\WKH,QVXUHG
             0RUWJDJH
      
      1RWKLQJFRQWDLQHGLQWKLVHQGRUVHPHQWVKDOOEHFRQVWUXHGDVLQVXULQJDJDLQVWORVVRUGDPDJH
      VXVWDLQHGRULQFXUUHGE\UHDVRQRI
             
               D     8VXU\
             
               E     $Q\FRQVXPHUFUHGLWSURWHFWLRQRUWUXWKLQOHQGLQJODZRU
     
              F     &RVWVH[SHQVHVRUDWWRUQH\¶VIHHVUHTXLUHGWRREWDLQDGHWHUPLQDWLRQE\MXGLFLDO
                      SURFHHGLQJVRURWKHUZLVHRIWKHDPRXQWRIDQ\DGGLWLRQDO,QWHUHVWGXH

    7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW
      L PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV
      LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
    RIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLV
    HQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKH
    WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV
    
    'DWHG
    
    %\BBBBBBBBBBBBBBBBBBBBBBBBBBBBB
              $XWKRUL]HG6LJQDWRU\
                                                       




    )LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG                                     
                                                                                                             
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 479 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                     6(&7,21



5HWXUQWR7DEOHRI&RQWHQWV

             (1'256(0(17,1685,1*7+(,17(5(672),1&20,1*3$571(5
                                                     
                                  )RUP$IRUXVHZLWK3ROLF\
                    )RUP%±IRUXVHZLWK)RUPHU$/7$ UHY 3ROLF\

                                               385326(

7KLVHQGRUVHPHQWLVWREHXVHGZKHQSURYLGLQJFRYHUDJHWRDSHUVRQRUHQWLW\WKDWLVDFTXLULQJDQ
LQWHUHVWDVDJHQHUDOSDUWQHULQDJHQHUDOSDUWQHUVKLS7KHLQFRPLQJSDUWQHUZLVKHVWRVHFXUHWLWOH
LQVXUDQFHLQLWVIDYRUWRWKHH[WHQWRILWVLQYHVWPHQWLQWKHSDUWQHUVKLS7KLVHQGRUVHPHQWOLPLWV
OLDELOLW\ IRU ORVV WR WKH SHUFHQWDJH LQWHUHVW EHLQJ DFTXLUHG E\ WKH LQFRPLQJ SDUWQHU LQ WKH
SDUWQHUVKLS

                      6(&7,212)32/,&<$0(1'('%<(1'256(0(17

7KLVHQGRUVHPHQWDPHQGV&RQGLWLRQ D RIWKH$/7$2ZQHU¶V3ROLF\  WROLPLWWKHOLDELOLW\
RIWKH&RPSDQ\ZLWKUHJDUGWRSD\PHQWRIORVV

&$87,213/($6(5()(572)250%)257+((1'256(0(1772%(86(':,7+7+(
)250(5$/7$ UHY 2:1(5¶632/,&<

                                %$6,6)253529,',1*&29(5$*(

&RYHUDJH LQ IDYRU RI WKH QHZ SDUWQHU PD\ RQO\ EH JLYHQ ZKHQ D IXOO FRS\ RI WKH RULJLQDO
SDUWQHUVKLS DJUHHPHQW DQG DQ\ DQG DOO DPHQGPHQWVKDYH EHHQ UHYLHZHG WR GHWHUPLQH WKDW WKH
SDUWQHUVKLSZDVRULJLQDOO\IRUPHGLQFRPSOLDQFHZLWKORFDOODZDQGWKHDJUHHPHQWSURYLGHVIRU
WKH VXEVWLWXWLRQ DQG DGGLWLRQ RI QHZ SDUWQHUV  $Q\ SURFHGXUHV UHTXLUHG E\ WKH DJUHHPHQW DQG
ORFDOODZPXVWEHREVHUYHG$OVRWKHDGGLWLRQRIQHZSDUWQHUVFDQQRWFDXVHDGLVVROXWLRQRIWKH
SDUWQHUVKLSXQGHUORFDOODZ

7KLV HQGRUVHPHQW GRHV QRW LQFUHDVH FRYHUDJH EXW OLPLWV WKH SD\PHQW RI ORVV  7KH LVVXDQFH RI
WKLVHQGRUVHPHQWLVDFRQGLWLRQWRWKHLVVXDQFHRIWKH3ROLF\7KH$PRXQWRI,QVXUDQFHLVWREH
WKH SURSRUWLRQDWH LQWHUHVW LQ WKH SDUWQHUVKLS EHLQJ DFTXLUHG E\ WKH LQFRPLQJ SDUWQHU DQG WKH
3ROLF\VKRXOGEHZULWWHQREVHUYLQJWKHIROORZLQJJXLGHOLQHV




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG                                       
                                                                                                           
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 480 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                      6(&7,21



        D 7KH$PRXQWRI,QVXUDQFHZRXOGEHWKHPDUNHWYDOXHRIWKHSHUFHQWDJHLQWHUHVWEHLQJ
            DFTXLUHGE\WKHQHZJHQHUDOSDUWQHU
        E 7KH ,QVXUHG ZRXOG EH VKRZQ DV ³>QHZ SDUWQHU@ RZQHU RI D >   @ LQWHUHVW LQ WKH
            SDUWQHUVKLSVKRZQDVWKHYHVWHHLQWKLV3ROLF\´
            F 7KHSDUWQHUVKLSZRXOGEHVKRZQDVWKHYHVWHH
            G 6FKHGXOH%DQGWKHOHJDOGHVFULSWLRQZRXOGEHVKRZQLQWKHQRUPDOPDQQHU

7KLVHQGRUVHPHQWPD\QRWEHLVVXHGZLWKRXWWKHDSSURYDORIWKH&RPSDQ\¶VXQGHUZULWLQJDGYLVRU
                                                     
                                            02',),&$7,21
                                                      
7KHVHIRUPVDUHQRWXQLIRUPIRUPV,QWKHHYHQWWKDWPRGLILFDWLRQRIRQHRUPRUHRIWKHVHIRUPV
RU\RXUVWDWHIRUPLVUHTXHVWHGLWLVQHFHVVDU\WRFRQVLGHUWKHVWDWHUHJXODWRU\UHTXLUHPHQWVIRU
ILOLQJDQGDSSURYDORIIRUPV<RXPXVWREWDLQWKHDSSURYDORIWKH&RPSDQ\¶VXQGHUZULWLQJDGYLVRU
EHIRUHFRPSO\LQJZLWKDQ\UHTXHVWIRUPRGLILFDWLRQ

5HWXUQWR7DEOHRI&RQWHQWV




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG                                         
                                                                                                             
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 481 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                      6(&7,21



    )RUP$±)RUXVHZLWKWKH$/7$2ZQHUV3ROLF\  
                                                
                                       (1'256(0(17
                                 $WWDFKHGWR3ROLF\1RBBBBBB
                                                
                                           ,VVXHGE\
                                       >)17*%5$1'@
    

6HFWLRQ D RIWKH&RQGLWLRQVLVDPHQGHGWRUHDGDVIROORZV

   7KHH[WHQWRIOLDELOLW\RIWKH&RPSDQ\IRUORVVRUGDPDJHXQGHUWKLV3ROLF\VKDOOQRWH[FHHG
       WKHOHDVWRI
           
        L  BBBBRIWKHDFWXDOORVVRIBBBBBBBBBB RIZKLFKWKH,QVXUHG&ODLPDQWLVDSDUWQHU RULI
           WKH LQWHUHVW RI WKH ,QVXUHG LQ VDLG SDUWQHUVKLS LV UHGXFHG EHORZ BBBBB VXFK OHVVHU
           SURSRUWLRQRIWKHDFWXDOORVVRIVDLGSDUWQHUVKLSRU
           
        LL  7KH$PRXQWRI,QVXUDQFHRU
           
        LLL  BBBBBRIWKHGLIIHUHQFHEHWZHHQWKHYDOXHRIWKH7LWOHDVLQVXUHGDQGWKHYDOXHRIWKH
           7LWOHVXEMHFWWRWKHULVNLQVXUHGDJDLQVWE\WKLVSROLF\

 
7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW
    L PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV
    LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLV
HQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


'DWH

%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
          $XWKRUL]HG6LJQDWRU\
                                    




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG                                        
                                                                                                            
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 482 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                    6(&7,21



         
)RUP%)RUXVHZLWK3ROLF\)RUPHUO\NQRZQDV$/7$ UHY 3ROLF\)RUP
                                                                                                          
                                           (1'256(0(17
                                   $WWDFKHGWR3ROLF\1RBBBBBBBB
                                               ,VVXHGE\
                                             >)17*%5$1'@
                                                         

6HFWLRQ D RIWKH&RQGLWLRQVDQG6WLSXODWLRQVLVDPHQGHGWRUHDGDVIROORZV


   7KHOLDELOLW\RIWKH&RPSDQ\XQGHUWKLVSROLF\VKDOOQRWH[FHHGWKHOHDVWRI
   
         
     L  BBBBRIWKHDFWXDOORVVRIBBBBBBBBBB RIZKLFKWKHLQVXUHGFODLPDQWLVDSDUWQHU RULI
         WKH LQWHUHVW RI WKH LQVXUHG LQ VDLG SDUWQHUVKLS LV UHGXFHG EHORZ BBBBB VXFK OHVVHU
         SURSRUWLRQRIWKHDFWXDOORVVRIVDLGSDUWQHUVKLSRU
         
     LL  7KHDPRXQWRILQVXUDQFHVWDWHGLQ6FKHGXOH$

7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW
  L PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLV
HQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


'DWH
                                                     
%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
        $XWKRUL]HG6LJQDWRU\




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG                                      
                                                                                                          
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 483 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                       6(&7,21



5HWXUQWR7DEOHRI&RQWHQWV

           (;&(66,1685$1&((1'256(0(17)2586(,1,1685,1*(;,67,1*
       3$571(56+,325,17(5(672)1(:3$571(5,1(;,67,1*3$571(56+,3

                                                385326(

7KLV HQGRUVHPHQW LV WR EH XVHG LQ VLWXDWLRQV ZKHUH WKHUH LV DQ H[LVWLQJ SROLF\ LQ IDYRU RI D
SDUWQHUVKLSZKLFKZDVLVVXHGE\DQRWKHUFRPSDQ\RUEUDQG:HDUHEHLQJDVNHGWRLQVXUHHLWKHU
WKH SDUWQHUVKLS FXUUHQWO\ LQ WLWOH DW SUHVHQW PDUNHW YDOXH XSRQ DFTXLVLWLRQ RI D QHZ SDUWQHUVKLS
LQWHUHVW E\ DQHZSDUWQHU RUWKH LQWHUHVWRIWKHQHZ SDUWQHU,QHLWKHU HYHQWWKHQHZ,QVXUHG LV
ZLOOLQJ WR OHW WKH &RPSDQ\ WUHDW WKH SUHYLRXV LQVXUDQFH DV SULPDU\ FRYHUDJH PDNLQJ WKH QHZ
FRYHUDJH³H[FHVVLQVXUDQFH´7KLVHQGRUVHPHQWLVGHVLJQHGWRDFFRPSOLVKWKLVUHVXOW

                       6(&7,212)32/,&<$0(1'('%<(1'256(0(17
                                                       
7KLVHQGRUVHPHQWPRGLILHVWKHSROLF\WRSURYLGHWKDWORVVLVUHFRYHUDEOHXQGHUWKHSROLF\RQO\WR
WKHH[WHQWWKDWLWH[FHHGVWKH,QVXUHG¶VUHFRYHU\XQGHUDSULRUSROLF\

                                 %$6,6)253529,',1*&29(5$*(
                                                       
7KLVHQGRUVHPHQWPXVWEHPDGHDSDUWRIDOORZQHUVSROLFLHVLQVXULQJFRQWLQXLQJSDUWQHUVKLSVRU
QHZ SDUWQHUV LQ FRQWLQXLQJ SDUWQHUVKLSV ZKHQ WKH &RPSDQ\ LV DFFHSWLQJ WKH ULVN XQGHU D QHZ
SROLF\DVDQ³H[FHVVLQVXUHU´7KHH[DPLQHUPXVWEHVDWLVILHGWKDWWKHSDUWQHUVKLSZDVSURSHUO\
IRUPHGRULJLQDOO\WKDWWKH SDUWQHUVKLSDJUHHPHQWSURYLGHVIRUWKHVXEVWLWXWLRQDQGRUDGGLWLRQRI
QHZ SDUWQHUV DQG WKDW WKH GRFXPHQWDWLRQ LQWHQGHG WR DFFRPSOLVK WKH FKDQJH FRPSOLHV ZLWK WKH
UHTXLUHPHQWVRIDSSOLFDEOHODZ$FRS\RIWKHSULPDU\SROLF\PXVWEHREWDLQHGDQGH[DPLQHGDQG
D GHWHUPLQDWLRQ PXVW EH PDGH WKDW WKHUH DUH QR FODLPV SHQGLQJ EDVHG XSRQ WKH FRYHUDJH
JUDQWHGWKHUHXQGHU
                                             02',),&$7,21
                                                       
7KLVIRUPLVQRWDXQLIRUPIRUP,QWKHHYHQWWKDWPRGLILFDWLRQRIWKLVHQGRUVHPHQWRU\RXUVWDWH
IRUP LV UHTXHVWHG LW LV QHFHVVDU\ WR FRQVLGHU WKH VWDWH UHJXODWRU\ UHTXLUHPHQWV IRU ILOLQJ DQG
DSSURYDORIIRUPV<RXPXVWREWDLQWKHDSSURYDORIWKH&RPSDQ\¶VXQGHUZULWLQJDGYLVRUEHIRUH
FRPSO\LQJZLWKDQ\UHTXHVWIRUPRGLILFDWLRQ

5HWXUQWR7DEOHRI&RQWHQWV



)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG                                          
                                                                                                              
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 484 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                 6(&7,21



([FHVV,QVXUDQFH
                                          (1'256(0(17
                                    $WWDFKHGWR3ROLF\1RBBBBBB
                                                   
                                              ,VVXHGE\
                                          >)17*%5$1'@
 
 
 7KHIROORZLQJSDUDJUDSK$LVDGGHGWRWKH&RQGLWLRQVRIWKLVSROLF\
 
 $ 7+,6,6,1685$1&(&29(5$*(,1(;&(662)35(9,286/<,668('7,7/(
 32/,&<2532/,&,(6&29(5,1*7+(6$0(,1685$1&(5,6.
 
         D     7KH7LWOHLVLQVXUHGE\WKHIROORZLQJSULRUWLWOHSROLF\RUSROLFLHV
                                                   
                      7\SHRISROLF\ RZQHU¶VORDQ DQG'DWHRI3ROLF\BBBBBBBBB
                     ,QVXUHU
                     ,QVXUHG
                     3ROLF\1R
                     $PRXQWRI,QVXUDQFH
 
                      >&RQWLQXHVDPHIRUPDWLIPRUHWKDQRQHSULRUSROLF\LVVXHG@
 
         E     ,WLVXQGHUVWRRGDQGDJUHHGEHWZHHQWKH&RPSDQ\DQGWKH,QVXUHGWKDWWKHWLWOH
       SROLF\ RUSROLFLHV UHIHUUHGWRLQSDUDJUDSK$ D RIWKHVH&RQGLWLRQVLVSULPDU\
       LQVXUDQFHFRYHUDJHDQGWKDWWKLVSROLF\FRQVWLWXWHV³H[FHVVLQVXUDQFH´,QVXUDQFH
       FRYHUDJHXQGHUWKLVSROLF\ZKLFKLQVXUHVDULVNLQVXUHGXQGHUDQ\SULRUSROLF\VKDOORQO\
       EHDYDLODEOHWRWKH,QVXUHGIRUORVVLQH[FHVVRIWKH,QVXUHG¶VUHFRYHU\XQGHUVXFKSULRU
       SROLF\
 
         F     1RWKLQJFRQWDLQHGKHUHLQVKDOOEHFRQVWUXHGWRSUHFOXGHWKHILOLQJRIDFODLPRI
       ORVVXQGHUWKLVSROLF\SULRUWRUHFRYHU\XQGHUDSULRUSROLF\UHIHUUHGWRLQ3DUDJUDSK$ D 
       RIWKHVH&RQGLWLRQVQRUWRUHOLHYHWKH&RPSDQ\RILWVREOLJDWLRQVXQGHUWKLVSROLF\

7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW
  L PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLV
HQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

'DWHG

%\BBBBBBBBBBBBBBBBBBBBBBBBBBBB
          $XWKRUL]HG6LJQDWRU\
                                                   




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG                                     
                                                                                                         
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 485 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                         6(&7,21



5HWXUQWR7DEOHRI&RQWHQWV

                              237,2172385&+$6((1'256(0(17
                          )250$±2SWLRQSULPHGE\LQWHUYHQLQJPDWWHUV
                                )250%±2SWLRQSULRULW\UHODWHVEDFN
                                                        
                                                 385326(

)RUP$RIWKLVHQGRUVHPHQWLVGHVLJQHGWRSURYLGHLQVXUDQFHWKDWDWWKHGDWHRIWKH
HQGRUVHPHQWWKHRSWLRQWRSXUFKDVHWKH/DQGLVYDOLGDQGWKDWWKHULJKWVRIWKHRSWLRQHH
WKHUHXQGHUDUHYHVWHGLQWKH,QVXUHGVXEMHFWWRWKHWHUPVRIWKHRSWLRQDJUHHPHQW$VH[SODLQHG
PRUHIXOO\EHORZ)RUP$SURYLGHVQRFRYHUDJHIRUWKHSULRULW\RIWKHRSWLRQ

)RUP%RIWKLVHQGRUVHPHQWLVGHVLJQHGWRSURYLGHLQVXUDQFHDVWRWKHSULRULW\YDOLGLW\DQG
HQIRUFHDELOLW\RIDQRSWLRQWRSXUFKDVHWKH/DQGDQGWKDWWKHULJKWVRIWKHRSWLRQHHWKHUHXQGHU
DUHYHVWHGLQWKH,QVXUHGDVRIWKHGDWHRIWKHHQGRUVHPHQWVXEMHFWWRWKHWHUPVRIWKHRSWLRQ
DJUHHPHQW

                       6(&7,212)32/,&<$0(1'('%<(1'256(0(17

)RUP$GRHVQRWVSHFLILFDOO\DPHQGDQ\SRUWLRQRIWKHSROLF\DOWKRXJKLWGRHVSURYLGHOLPLWHG
FRYHUDJHWRWKHRSWLRQHHDVWRWKHYDOLGLW\RIWKHRSWLRQ

)RUP%RIWKLVHQGRUVHPHQWGRHVQRWVSHFLILFDOO\DPHQGDQ\SRUWLRQRIWKHSROLF\,WGRHVSURYLGH
DGGLWLRQDOFRYHUDJHWRWKHRSWLRQHHDVWRWKHYDOLGLW\SULRULW\DQGHQIRUFHDELOLW\RIWKHRSWLRQDQG
DOVRSURYLGHVIRUSD\PHQWRIFRVWVDQGDWWRUQH\V¶IHHVLQFXUUHGLQGHIHQGLQJDJDLQVWDQDWWDFNRQ
WKHYDOLGLW\SULRULW\RUHQIRUFHDELOLW\RIWKHRSWLRQ+RZHYHUWKLVHQGRUVHPHQWH[FOXGHVFRYHUDJH
IRUFRVWVDQGDWWRUQH\V¶IHHVLQFXUUHGLQFRQQHFWLRQZLWKH[HUFLVLQJWKHRSWLRQ

                                 %$6,6)253529,',1*&29(5$*(

&RQVLGHUDWLRQV

)RU)RUP$7KLVHQGRUVHPHQWLVGHVLJQHGWREHLVVXHGLQWKRVHVWDWHVZKHUH  LWLVXQFHUWDLQ
DV WR ZKHWKHU 7LWOH UHFHLYHG DW WKH WLPH RI WKH H[HUFLVH RI WKH RSWLRQ ZLOO UHODWH EDFN WR WKH
JUDQWLQJRIWKHRSWLRQRU  LWLVFOHDUWKDWLWZLOOQRWUHODWHEDFN



)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG                                            
                                                                                                                
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 486 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                       6(&7,21



)RU)RUP%7KLVHQGRUVHPHQWLVGHVLJQHGWREHLVVXHGLQWKRVHVWDWHVZKHUHLWLVFOHDUWKDWWKH
RSWLRQLVDUHFRUGDEOHLQVWUXPHQWDQGWKDWXSRQFRQYH\DQFHRIWKH/DQGSXUVXDQWWRWKHRSWLRQ
7LWOHZLOOUHODWHEDFNWRWKHUHFRUGLQJRIWKHRSWLRQ

)RU%RWK)RUPV

7KHRSWLRQGRFXPHQWPXVWEHUHFRUGHG

$QRSWLRQWRSXUFKDVHODQGPD\EHVXEMHFWWRWKH5XOH$JDLQVW3HUSHWXLWLHV6RPHMXULVGLFWLRQV
KDYHH[FHSWLRQVIRUFHUWDLQW\SHVRIRSWLRQVWRSXUFKDVHVXFKDVDQRSWLRQFRQWDLQHGLQDOHDVH
ZKHUHWKHRSWLRQFDQEHH[HUFLVHGGXULQJWKHWHUPRIWKHOHDVH+RZHYHUWKHPDMRULW\UXOHLVWKDW
DQRSWLRQWRSXUFKDVHLVVXEMHFWWRWKHUXOH7KLVHQGRUVHPHQWVKRXOG RQO\EHJLYHQZKHQLWLV
FOHDUWKDWWKHRSWLRQGRHVQRWYLRODWHWKHUXOH

:KHQDQRSWLRQLVREWDLQHGE\DOHQGHUDVSDUWRIDORDQWUDQVDFWLRQFRQVLGHUDWLRQPXVWEHJLYHQ
WR VWDWH ODZ SURKLELWLRQV DJDLQVW FORJJLQJ RI WKH HTXLW\ RI UHGHPSWLRQ  7KLV VKRXOG LQFOXGH
FRQVLGHULQJZKHWKHUWKHRSWLRQLWVHOILVYRLGRUZKHWKHUZKHQFRXSOHGZLWKWKHRSWLRQWKHOLHQRI
WKHPRUWJDJHPLJKWEHUHQGHUHGYRLGRUYRLGDEOH
         
&RQVLGHUDWLRQPXVWDOVREHJLYHQWRZKHWKHUDOHDVHFRQWDLQLQJDQRSWLRQWRSXUFKDVHLVLQIDFW
ZKDWLWDSSHDUVWREH7KHODQGUHFRUGVPD\GLVFORVHWKDWWKHRSWLRQHHLVWKHSUHYLRXVRZQHURI
WKH/DQGDQGWKHWUDQVDFWLRQLVLQIDFWDVDOHOHDVHEDFNZLWKRSWLRQWRSXUFKDVH&DUHPXVWEH
WDNHQWRPDNHVXUHWKHOHDVHVWDWHVWKDWLWLVDWUXHOHDVHDQGWKHUHODWLRQVKLSEHWZHHQWKHSDUWLHV
LVDVOHVVRUDQGOHVVHHRQO\ $Q\FRQFHUQRYHUSURYLVLRQVRIWKHOHDVHPXVWEHGLVFXVVHGZLWK
WKH&RPSDQ\XQGHUZULWLQJDGYLVRU

,QVWUXFWLRQVIRU8VH

7KLV HQGRUVHPHQW PD\ EH LVVXHG LQ FRQQHFWLRQ ZLWK DQ $/7$ 2ZQHU V 3ROLF\ RU DQ $/7$
2ZQHU¶V3ROLF\ZLWKWKH$/7$/HDVHKROGHQGRUVHPHQWDWWDFKHGLQVXULQJDOHVVHH¶VLQWHUHVW
XQGHU D OHDVH :KHQ XVHG ZLWK DQ $/7$ 2ZQHU V 3ROLF\ WKH ,QVXUHG ZLOO EH WKH RSWLRQHH EXW
7LWOH WR WKH IHH HVWDWH ZLOO EH VKRZQ DV EHLQJ YHVWHG LQ WKH SUHVHQW RZQHU  <RX VKRXOG QRW
GHVFULEHWKHRSWLRQ LQWHUHVWDVEHLQJ WKH HVWDWH RULQWHUHVWLQVXUHG,QWKHFDVHRIFRYHUDJHE\
XVH RI DQ $/7$ 2ZQHU V 3ROLF\ PRGLILHG WR LQVXUH D OHDVH WKH HVWDWH LQVXUHG ZLOO EH WKH
/HDVHKROG DQG 7LWOH ZLOO EH VKRZQ DV EHLQJ YHVWHG LQ WKH QDPH RI WKH OHVVHH RI WKH OHDVHKROG
HVWDWHZKLFKQRUPDOO\ZLOOEHWKHVDPHHQWLW\WKDWLVWKHRSWLRQHH
         


)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG                                         
                                                                                                             
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 487 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                       6(&7,21



                     $87+25,7<)25,668$1&(2)7+,6(1'256(0(17

7KLVHQGRUVHPHQWPD\QRWEHLVVXHGZLWKRXWWKHDSSURYDORIWKH&RPSDQ\¶VXQGHUZULWLQJDGYLVRU
ZKR ZLOO FRQVLGHU WKH LVVXHV LQFOXGLQJ WKH UHFKDUDFWHUL]DWLRQ DQG WKH FORJJLQJ SUREOHPV
PHQWLRQHGDERYH

                                             02',),&$7,21
                                                      
7KLVIRUPLVQRWDXQLIRUPIRUP,QWKHHYHQWWKDWPRGLILFDWLRQRIWKLVHQGRUVHPHQWRU\RXUVWDWH
IRUP LV UHTXHVWHG LW LV QHFHVVDU\ WR FRQVLGHU WKH VWDWH UHJXODWRU\ UHTXLUHPHQWV IRU ILOLQJ DQG
DSSURYDORIIRUPV<RXPXVWREWDLQWKHDSSURYDORIWKH&RPSDQ\¶VXQGHUZULWLQJDGYLVRUEHIRUH
FRPSO\LQJZLWKDQ\UHTXHVWIRUPRGLILFDWLRQ

5HWXUQWR7DEOHRI&RQWHQWV




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG                                         
                                                                                                             
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 488 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                   6(&7,21



2SWLRQ)RUP$
                                            (1'256(0(17
                                                                                                           
                                     $WWDFKHGWR3ROLF\1RBBBBBBBB
                                                      
                                                ,VVXHGE\
                                            >)17*%5$1'@
                                                      
    
7KH&RPSDQ\LQVXUHVWKH,QVXUHGDJDLQVWORVVRUGDPDJHWKDWWKH,QVXUHGVKDOOVXVWDLQE\
UHDVRQRIWKHHQWU\RIDILQDOQRQDSSHDODEOHRUGHURUMXGJPHQWILQGLQJWKDWWKHULJKWVRIWKH
,QVXUHGLQWKH2SWLRQGHVFULEHGLQSDUDJUDSKBBBRI6FKHGXOH% ³2SWLRQ´ DUHDWWKHGDWHKHUHRI
LQYDOLGDQGWKDWWKHULJKWVRIWKHRSWLRQHHXQGHUWKH2SWLRQDUHQRWYHVWHGLQWKH,QVXUHGVXEMHFW
WRWKHWHUPVDQGSURYLVLRQVWKHUHRI

7KHLQVXUDQFHFRQWDLQHGKHUHLQDQGLQWKHSROLF\RIZKLFKWKLVHQGRUVHPHQWLVDSDUWVKDOOFHDVH
DQGWHUPLQDWHXSRQWKHH[HUFLVHRIWKH2SWLRQRURQBBBBBBBBBBBBBBBBBBZKLFKHYHURFFXUV
ILUVW
    
7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW
    L PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV
    LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLV
HQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

'DWHG

%\BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
          $XWKRUL]HG6LJQDWRU\
    




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG                                       
                                                                                                           
    Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 489 of 807
    (1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                       6(&7,21



      2SWLRQ)RUP%
                                                (1'256(0(17
                                                         
                                         $WWDFKHGWR3ROLF\1RBBBBBBB
                                                         
                                                   ,VVXHGE\
                                                >)17*%5$1'@
      
      
      
    7KH&RPSDQ\LQVXUHVWKH,QVXUHGDJDLQVWORVVRUGDPDJHWKDWWKH,QVXUHGVKDOOVXVWDLQE\
    UHDVRQRIWKHHQWU\RIDILQDOQRQDSSHDODEOHRUGHURUMXGJPHQWILQGLQJWKDWWKHULJKWVRIWKH
    ,QVXUHGLQWKH2SWLRQGHVFULEHGLQSDUDJUDSKBBBRI6FKHGXOH% ³2SWLRQ´ DUHQRWYHVWHGLQWKH
    ,QVXUHGVXEMHFWWRWKHWHUPVDQGSURYLVLRQVWKHUHRI
      
    7KH&RPSDQ\IXUWKHULQVXUHVDJDLQVWORVVRUGDPDJHZKLFKWKH,QVXUHGVKDOOVXVWDLQE\UHDVRQ
    RI
      
                    7KHXQHQIRUFHDELOLW\RIWKHULJKWWRH[HUFLVHWKH2SWLRQH[FHSWWRWKHH[WHQWWKDW
                       VXFKXQHQIRUFHDELOLW\RUFODLPWKHUHRILVEDVHGRQWKHIDLOXUHRIWKH,QVXUHGWR
                       KDYHIXOILOOHGWKHWHUPVDQGFRQGLWLRQVRIWKH2SWLRQ
      
                    7KHSULRULW\RYHUWKH2SWLRQRIDQ\FRQYH\DQFHPDGHRIWKHIHHVLPSOHHVWDWHLQ
                       WKH/DQGRURIDQ\OLHQVRUHQFXPEUDQFHVFUHDWHGWKHUHRQDIWHUWKH'DWHRI
                       3ROLF\H[FHSWLQJVXFKOLHQVRUHQFXPEUDQFHVWKDWZRXOGDIIHFWWKH,QVXUHGKDG
                       WKH,QVXUHGEHHQWKHRZQHURIWKHIHHVLPSOH7LWOHLQVWHDGRIDQ2SWLRQDVRI
                       'DWHRI3ROLF\LQFOXGLQJZLWKRXWOLPLWDWLRQUHDOHVWDWHWD[HVVSHFLDO
                       DVVHVVPHQWVGHPROLWLRQOLHQVGUDLQDJHOLHQVDQGZDWHUOLHQV
      
                    7KHHQWU\RIDILQDOQRQDSSHDODEOHRUGHURUMXGJPHQWWKDWUHTXLUHVWKH,QVXUHG
                       DVFRQGLWLRQWRUHFHLYLQJVSHFLILFSHUIRUPDQFHRIWKH2SWLRQWRSD\DVXPLQ
                       H[FHVVRIWKH2SWLRQSULFHRWKHUWKDQDWWRUQH\V¶IHHVDQGFRVWVRIOLWLJDWLRQ
      
    1RWKLQJFRQWDLQHGLQWKLVHQGRUVHPHQWVKDOOEHFRQVWUXHGDVLQVXULQJWKH,QVXUHGDJDLQVWORVVRU
    GDPDJHVXVWDLQHGRULQFXUUHGE\UHDVRQRI
      
             D        5HMHFWLRQRIWKH2SWLRQXQGHUWKHSURYLVLRQVRIWKH)HGHUDO%DQNUXSWF\&RGHRU
      VWDWHLQVROYHQF\ODZV




    )LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG                                      
                                                                                                              
     Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 490 of 807
     (1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                      6(&7,21



                 E      7KHIDLOXUHRIWKH,QVXUHGWRUHFHLYHDOORUSDUWRIDQDZDUGHQWHUHGLQD
          FRQGHPQDWLRQSURFHHGLQJXQOHVVIDLOXUHWRVKDUHLQVDLGDZDUGVWHPVVROHO\E\UHDVRQRIWKH
          HQWU\RIDILQDOQRQDSSHDODEOHRUGHURUMXGJPHQWWKDWILQGVWKHRSWLRQLQYDOLGRULQFDSDEOHRI
          VSHFLILFSHUIRUPDQFH
         
              F      7KHIDLOXUHRIWKH,QVXUHGDWWKHWLPHRISD\PHQWRIWKH2SWLRQSULFHHLWKHUWR
         KDYHREWDLQHGSURSHUFRQYH\DQFHVDQGUHOHDVHVIURPDOOSHUVRQVWKHQKDYLQJDQLQWHUHVWLQ
         VDLG/DQGRUDOLHQRUHQFXPEUDQFHWKHUHRQ WKHGHWHUPLQDWLRQDVWRWKHLGHQWLW\RIVXFK
         SHUVRQVDQGWKHQDWXUHRIWKHLQWHUHVWOLHQRUHQFXPEUDQFHRZQHGRUFODLPHGWREHDWWKH
         H[SHQVHRIWKH,QVXUHG RUWRKDYHREWDLQHGDILQDOQRQDSSHDODEOHRUGHURUMXGJPHQWWKDWILQGV
         WKRVHSHUVRQVDQGLQWHUHVWVHQWLWOHGWRUHFHLYHWKHRSWLRQSULFH
         
                 G      $WWRUQH\V¶IHHVDQGFRVWVLQFRQQHFWLRQZLWKWKHSURFHHGLQJVPHQWLRQHGLQ
         VXESDUDJUDSK F LPPHGLDWHO\DERYHRULQFRQQHFWLRQZLWKDQDFWLRQWRHQIRUFHWKH2SWLRQ
         H[FOXGLQJDWWRUQH\V¶IHHVLQFXUUHGWRGHIHQGDQDWWDFNRQWKHYDOLGLW\RUHQIRUFHDELOLW\RIVDLG
         2SWLRQ
         
                 H       $Q\OLHQRUULJKWWRDOLHQIRUVHUYLFHVODERURUPDWHULDOKHUHWRIRUHRUKHUHDIWHU
     IXUQLVKHGDQGLPSRVHGE\ODZ
 
 
     7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW
         L PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV
         LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
     RIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLV
     HQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKH
     WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV
     
     'DWHG
     
     %\BBBBBBBBBBBBBBBBBBBBBBBBBB
               $XWKRUL]HG6LJQDWRU\
     
     




     )LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG                                          
                                                                                                                   
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 491 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                       6(&7,21



5HWXUQWR7DEOHRI&RQWHQWV

                             $66,*10(172)5(176(1'256(0(17
                            &217$,1(':,7+,1,1685('0257*$*(

                                                385326(

/HQGHUVRFFDVLRQDOO\UHTXHVWWKDWWKHORDQSROLF\LQVXUHFHUWDLQUHFRUGHGLQWHUHVWVWKDWDUHWDNHQ
DVDGGLWLRQDOVHFXULW\IRUWKHORDQSULPDULO\VHFXUHGE\WKH,QVXUHG0RUWJDJH7KHPRVWFRPPRQ
DGGLWLRQDO VHFXULW\ RWKHU WKDQ D VHFXULW\ LQWHUHVW XQGHU WKH 8QLIRUP &RPPHUFLDO &RGH LV DQ
DVVLJQPHQWRIUHQWV OHDVHV 

7KLVHQGRUVHPHQWLVWREHLVVXHGWRSURYLGHFHUWDLQFRYHUDJHVZLWKUHVSHFWWRDQDVVLJQPHQWRI
UHQWV OHDVHV WKDWLVFRQWDLQHGZLWKLQWKH,QVXUHG0RUWJDJH7KLVHQGRUVHPHQWSURYLGHV
LQVXUDQFHWKDWWKH3XEOLF5HFRUGVGRQRWGLVFORVHDQ\SULRUDVVLJQPHQWVRIWKHVHVDPHUHQWV
    OHDVHV 3OHDVHVHH6HFWLRQIRUWKHLVVXDQFHRIDQHQGRUVHPHQWLQVXULQJDVHSDUDWHO\
UHFRUGHGDVVLJQPHQWRIUHQWV OHDVHV 

                       6(&7,212)32/,&<$0(1'('%<(1'256(0(17
7KLVHQGRUVHPHQWGRHVQRWDPHQGRUPRGLI\ DQ\VSHFLILFSROLF\ SURYLVLRQV EXW DGGVDGGLWLRQDO
FRYHUDJHWRWKHWHUPVRIWKHSROLF\

                                %$6,6)253529,',1*&29(5$*(
9HULI\ WKDW WKH 3XEOLF 5HFRUGV GR QRW GLVFORVH DQ\ SULRU DVVLJQPHQWV RI UHQWV OHDVHV  ,I D
SUHYLRXVO\ UHFRUGHG DVVLJQPHQW RI UHQWV OHDVHV  LV IRXQG LW PXVW EH UDLVHG DV DQ H[FHSWLRQ LQ
6FKHGXOH%RIWKHSROLF\

127(35,250257*$*(625'(('62)758670867%((;$0,1('72'(7(50,1(
,)7+(<&217$,1$66,*10(1762)5(176 /($6(6 :,7+,17+(06(3$5$7(
6&+('8/(%(;&(37,2166+28/'%(0$'()2568&+$66,*10(176

                                             02',),&$7,21
7KLVIRUPLVQRWDXQLIRUPIRUP,QWKHHYHQWWKDWPRGLILFDWLRQRI WKLVHQGRUVHPHQWRU\RXUVWDWH
IRUP LV UHTXHVWHG LW LV QHFHVVDU\ WR FRQVLGHU WKH VWDWH UHJXODWRU\ UHTXLUHPHQWV IRU ILOLQJ DQG
DSSURYDORIIRUPV<RXPXVWREWDLQWKHDSSURYDORIWKH&RPSDQ\¶VXQGHUZULWLQJDGYLVRUEHIRUH
FRPSO\LQJZLWKDQ\UHTXHVWIRUPRGLILFDWLRQ
5HWXUQWR7DEOHRI&RQWHQWV



)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG                                         
                                                                                                             
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 492 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                 6(&7,21



$VVLJQPHQWRIUHQWV OHDVHV FRQWDLQHGLQ0RUWJDJH
    
                                               (1'256(0(17
                                                       
                                       $WWDFKHGWR3ROLF\1RBBBBBB
                                                       
                                                  ,VVXHGE\
                                               >)17*%5$1'@
                                                       
    
7KH&RPSDQ\LQVXUHVWKH,QVXUHGDJDLQVWORVVZKLFKVDLG,QVXUHGVKDOOVXVWDLQE\UHDVRQRIWKH
H[LVWHQFHDVVKRZQE\WKH3XEOLF5HFRUGVRIDQ\DVVLJQPHQWRIWKHUHQWV OHDVHV SULRUWRWKH
DVVLJQPHQWRIUHQWV OHDVHV FRQWDLQHGLQWKH,QVXUHG0RUWJDJHRWKHUWKDQDVVHWIRUWKLQ
6FKHGXOH%

7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW
  L PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLV
HQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG                                     
                                                                                                         
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 493 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                       6(&7,21



5HWXUQWR7DEOHRI&RQWHQWV

                                 ,668$1&(2))8785(,1685$1&(
                                                       
                                                385326(
                                                       
7KLVHQGRUVHPHQWLVGHVLJQHGWRSURYLGHDVVXUDQFHWKDWZLWKLQDVWLSXODWHGSHULRGRIWLPHZHZLOO
LQFUHDVH WKH $PRXQW RI ,QVXUDQFH XQGHU WKH FXUUHQW SROLF\ RU LVVXH D QHZ SROLF\ WR D SDUW\
GHVLJQDWHG E\ WKH ,QVXUHG VXEMHFW RQO\ WR WKHQ FXUUHQW XQGHUZULWLQJ SUDFWLFHV DQG VXEVHTXHQW
PDWWHUVRIUHFRUGDQGRQO\LIWKHUHDUHQRFODLPVRUDGYHUVHWLWOHPDWWHUVSHQGLQJ

                    6(&7,212)32/,&<$0(1'('%<7+((1'256(0(17
                                                       
7KLVHQGRUVHPHQWGRHVQRWDPHQGRUPRGLI\DQ\VHFWLRQRIWKHSROLF\

                                 %$6,6)253529,',1*&29(5$*(
                                                       
7KLV HQGRUVHPHQWPD\ EH LVVXHG ZKHQ WKH ,QVXUHG ZLOO EH DFTXLULQJ D QHZ LQWHUHVW RU HQWHULQJ
LQWRDQHZVHFXULW\DUUDQJHPHQWDWDODWHUGDWH,WLVQRWWREHXVHGDVDVXEVWLWXWHIRUDELQGHURU
FRPPLWPHQW$SSOLFDWLRQIRUWKLVHQGRUVHPHQW PXVWVWDWHWKHVXEVHTXHQWWUDQVDFWLRQIRUZKLFK
WKH,QVXUHG GHVLUHV LQVXUDQFH7KLVHQGRUVHPHQW PXVWFRQWDLQ DWLPHOLPLWDWLRQRQWKHULJKWRI
WKHLQVXUHGWRUHTXHVWWKHLVVXDQFHRIDQHZSROLF\

                                                  )250$
7KLVIRUP GRHV QRW REOLJDWH WKH &RPSDQ\ WR LQFUHDVH WKH DPRXQW RI LQVXUDQFH LQ WKH IDFH RID
SUHYLRXVO\ H[LVWLQJXQNQRZQGHIHFWLQWLWOH DQG LVWKH SUHIHUUHGIRUPIRUXVHLQ RWKHUWKDQ QHZ
FRQVWUXFWLRQ

                                                  )250%
7KLVIRUPREOLJDWHVWKH&RPSDQ\WRLQFUHDVHWKH$PRXQWRI,QVXUDQFHDQGLVWREHXVHGRQO\LQ
QHZ FRQVWUXFWLRQ VLWXDWLRQV ZKHUH WKH RULJLQDO $PRXQW RI ,QVXUDQFH UHSUHVHQWV WKH YDOXH RI WKH
UDZODQGDQGWKHUHLVQRFRQVWUXFWLRQORDQWREHLQVXUHG7KHQHZSROLF\RUHQGRUVHPHQWVKRXOG
UDLVHDQ\PDWWHUVZKLFKZHUHFUHDWHGILUVWDSSHDUHGLQWKH3XEOLF5HFRUGVDWWDFKHGRUEHFDPH
.QRZQWRHLWKHUWKH,QVXUHGRUWKH&RPSDQ\VXEVHTXHQWWRWKHGDWHRIWKHRULJLQDOSROLF\ZKLFK
FRXOGLQFOXGHSHQGLQJFODLPPDWWHUV7KHIRUPDOVRREOLJDWHVWKH,QVXUHGWRDSSO\IRUDQLQFUHDVH
LQ WKH $PRXQW RI ,QVXUDQFH HLWKHU XSRQ FRPSOHWLRQ RI WKH FRQVWUXFWLRQ RU ZLWKLQ ILYH \HDUV IURP
WKH'DWHRI3ROLF\ZKLFKHYHUILUVWRFFXUV



)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG                                          
                                                                                                              
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 494 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                             6(&7,21



                                        02',),&$7,21
                                                 
7KHVHIRUPVDUHQRWXQLIRUPIRUPV,QWKHHYHQWWKDWPRGLILFDWLRQRIRQHRUPRUHRIWKHVHIRUPV
RU\RXUVWDWHIRUPLVUHTXHVWHGLWLVQHFHVVDU\WRFRQVLGHUWKHVWDWHUHJXODWRU\UHTXLUHPHQWVIRU
ILOLQJDQGDSSURYDORIIRUPV<RXPXVWREWDLQWKHDSSURYDORIWKH&RPSDQ\¶VXQGHUZULWLQJDGYLVRU
EHIRUHFRPSO\LQJZLWKDQ\UHTXHVWIRUPRGLILFDWLRQ

5HWXUQWR7DEOHRI&RQWHQWV




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG                              
                                                                                                  
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 495 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                 6(&7,21



 )250$
                                                  
                                          (1'256(0(17
                                                  
                                    $WWDFKHGWR3ROLF\1RBBBBB
                                                  
                                             ,VVXHGE\
                                          >)17*%5$1'@
   
   
7KH&RPSDQ\DJUHHVWKDWLIZLWKLQBBBBBBBB\HDUVDIWHUWKH'DWHRI3ROLF\DSSOLFDWLRQLVPDGH
WRLQFUHDVHWKH$PRXQWRI,QVXUDQFHRUWRLVVXHDQHZSROLF\LWZLOOLVVXHDGGLWLRQDOWLWOHLQVXUDQFH
SROLFLHVRULQFUHDVHWKH$PRXQWRI,QVXUDQFHRIWKLVSROLF\LQVXULQJVXFK7LWOHRULQWHUHVWDVPD\
WKHQH[LVWLQWKH,QVXUHGRUWKH,QVXUHG¶VGHVLJQHH7KH$PRXQWRI,QVXUDQFHWREHLVVXHGZLOOQRW
H[FHHGWKHDPRXQWRIWKHPRUWJDJHWREHSODFHGRQWKH/DQGRUWKHIDLUPDUNHWYDOXHRIWKH/DQG
DWWKHGDWHRIWKHDSSOLFDWLRQ,QWKHHYHQWDFODLPKDVEHHQPDGHRULVSHQGLQJDJDLQVWWKH
&RPSDQ\RUDGHIHFWLQ7LWOHKDVEHHQGLVFRYHUHGWKH&RPSDQ\VKDOOQRWEHUHTXLUHGWRLVVXH
LQVXUDQFHIRUDQDPRXQWJUHDWHUWKDQWKHIDFHDPRXQWRIWKLVSROLF\DVWRWKHGHIHFWGLVFRYHUHGRU
UHVXOWLQJLQVDLGFODLP8SRQUHFHLSWRIWKHDSSOLFDWLRQWRLVVXHDVXEVHTXHQWSROLF\RULQFUHDVH
WKH$PRXQWRI,QVXUDQFHRIWKLVSROLF\WKH&RPSDQ\ZLOOH[WHQGLWVH[DPLQDWLRQRIWKH7LWOHWRWKH
WKHQFXUUHQWGDWHDQGZLOOWKHQLVVXHLWVSROLF\RULQFUHDVHWKH$PRXQWRI,QVXUDQFHRIWKLVSROLF\
VXEMHFWWRVXFKPDWWHUVFUHDWHGILUVWDSSHDULQJLQWKH3XEOLF5HFRUGVRUDWWDFKLQJVXEVHTXHQWWR
WKHHIIHFWLYHGDWHRIWKLVSROLF\RUZKLFKKDYHEHFRPH.QRZQWRHLWKHUWKH,QVXUHGRUWKH
&RPSDQ\
   
7KHLQVXUDQFHWREHLVVXHGVKDOOEHVXEMHFWWRXQGHUZULWLQJSUDFWLFHVUXOHVUHJXODWLRQVDQGUDWHV
LQHIIHFWDWWKHGDWHWKHVXEVHTXHQWLQVXUDQFHFRYHUDJHLVLVVXHG7KH&RPSDQ\VKDOOQRWEH
REOLJDWHGWRLVVXHDGGLWLRQDOLQVXUDQFHFRYHUDJHZKLFKZRXOGH[FHHGWKHDPRXQWRIWKHXVXDO
UHLQVXUDQFHUHWHQWLRQRIWKH&RPSDQ\LIDIWHUWKHH[HUFLVHRIUHDVRQDEOHHIIRUWWKH&RPSDQ\LV
XQDEOHWRREWDLQUHLQVXUDQFHRUFRLQVXUDQFHDVPD\EHUHTXLUHGLQRUGHUIRULWWRLVVXHWKHIXOO
DPRXQWRIDGGLWLRQDOLQVXUDQFHIRUZKLFKDSSOLFDWLRQLVPDGH
   
7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW
 L PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV
 LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLV
HQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV
   
                                     




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG                                  
                                                                                                      
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 496 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                   6(&7,21



    )250%
                                           (1'256(0(17
                                                    
                                    $WWDFKHGWR3ROLF\1RBBBBBBB
                                                    
                                              ,VVXHGE\
                                           >)17*%5$1'@
 
7KH,QVXUHGDJUHHVWRDSSO\IRUDQLQFUHDVHLQWKH$PRXQWRI,QVXUDQFHWRFRYHUWKHYDOXHRIWKH
DFWXDOLPSURYHPHQWVFRQVWUXFWHGRQWKH/DQGDQGSD\WKHFKDUJHVWKHQDSSOLFDEOHIRUVXFK
LQFUHDVHGLQVXUDQFHXSRQFRPSOHWLRQRIFRQVWUXFWLRQRIVXFKLPSURYHPHQWVRUZLWKLQ\HDUV
DIWHUWKH'DWHRI3ROLF\ZKLFKHYHUILUVWRFFXUV7KH&RPSDQ\DJUHHVWKDWZKHQVXFKDSSOLFDWLRQ
LVPDGHWRLQFUHDVHWKH$PRXQWRI,QVXUDQFHDQGRUWRLVVXHDQHZSROLF\WRWKHWKHQ,QVXUHG
XQGHUWKHSROLF\DQGRUWRLVVXHDSROLF\WRVXFKPRUWJDJHH V WUXVWHH V XQGHUGHHG V RIWUXVW
EHQHILFLDU\ V RIGHHG V RIWUXVWSDUWLHVWRVDOHVDQGOHDVHEDFNVRURWKHUW\SHVRIILQDQFLDO
WUDQVDFWLRQV KHUHLQDIWHUVHYHUDOO\DQGFROOHFWLYHO\DVLQGLFDWHGE\WKHFRQWH[WUHIHUUHGWRDV
³/HQGLQJ,QVWLWXWLRQ V ´ DVPD\EHGHVLJQDWHGE\WKHSUHVHQW,QVXUHGRUWKHWKHQ,QVXUHGXQGHU
WKHSROLF\LWZLOOLVVXHDGGLWLRQDOWLWOHLQVXUDQFHFRYHUDJHLQVXULQJVXFK7LWOHDQGRULQWHUHVWDV
PD\WKHQH[LVWLQWKH,QVXUHGDQGRU/HQGLQJ,QVWLWXWLRQLQDQGWRVDLGSUHPLVHVLQDQDPRXQW
HTXDOWRWKHYDOXHRIWKH/DQGRQWKHGDWHRIVDLGDSSOLFDWLRQSURYLGHGWKH&RPSDQ\PD\WKHQ
H[WHQGLWVH[DPLQDWLRQRIWKH7LWOHWRWKHWKHQFXUUHQWGDWHDQGVXEMHFWWRVXFKPDWWHUVLIDQ\
FUHDWHGILUVWDSSHDULQJLQWKH3XEOLF5HFRUGVDWWDFKLQJDQGRUZKLFKKDYHEHFRPH.QRZQWR
HLWKHUWKH,QVXUHGRUWKH&RPSDQ\VXEVHTXHQWWRWKHHIIHFWLYHGDWHRIWKLVSROLF\ZLOOLQFUHDVHLWV
OLDELOLW\WRWKHUHTXHVWHGDPRXQWXSRQSD\PHQWRILWVXVXDOFKDUJHVIRUVXFKDGGLWLRQDOLQVXUDQFH
FRYHUDJHDQGIXUWKHUSURYLGHGKRZHYHUWKDWWKH&RPSDQ\VKDOOQRWEHREOLJDWHGWRLVVXH
DGGLWLRQDOLQVXUDQFHFRYHUDJHZKLFKZRXOGH[FHHGWKHDPRXQWRIWKHXVXDOUHLQVXUDQFHUHWHQWLRQ
RIWKH&RPSDQ\LIDIWHUWKHH[HUFLVHRILWVUHDVRQDEOHHIIRUWVLWLVXQDEOHWRREWDLQVXFK
UHLQVXUDQFHRUFRLQVXUDQFHDVPD\EHUHTXLUHGLQRUGHUIRULWWRLVVXHWKHIXOODPRXQWRIDGGLWLRQDO
LQVXUDQFHIRUZKLFKDSSOLFDWLRQLVPDGH7KHLQVXUDQFHWREHLVVXHGVKDOOEHVXEMHFWWR
XQGHUZULWLQJSUDFWLFHVUXOHVUHJXODWLRQVDQGUDWHVLQHIIHFWDWWKHGDWHWKHVXEVHTXHQWLQVXUDQFH
FRYHUDJHLVLVVXHG

7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW
 L PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV
 LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLV
HQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV
                                                                                                        




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG                                    
                                                                                                        
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 497 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                       6(&7,21



5HWXUQWR7DEOHRI&RQWHQWV

                              &29(1$1765811,1*:,7+7+(/$1'
                                   &/7$(1'256(0(1712 

                                                385326(

7KLV HQGRUVHPHQW LV VRPHWLPHV FDOOHG D ³VKRSSLQJ FHQWHU HQGRUVHPHQW´ RU &/7$  DQG LV
W\SLFDOO\UHTXHVWHGLQFRQQHFWLRQ ZLWKPXOWLSOH RZQHU VKRSSLQJFHQWHUGHYHORSPHQWV1RUPDOO\
WKH RZQHUV RI WKH YDULRXV SDUFHOV RI SURSHUW\ ZLWKLQ D VKRSSLQJ FHQWHU ZLOO HQWHU LQWR DQ
DJUHHPHQWXQGHUZKLFKFRYHQDQWVZLOOEHPDGHIRUHDFKRWKHU¶VEHQHILWWRGRRUQRWWRGRFHUWDLQ
DFWV ZLWK UHJDUG WR WKH XVH UHSDLU PDLQWHQDQFH RU LPSURYHPHQW RI RU SD\PHQW RI WD[HV DQG
DVVHVVPHQWV RQ WKH SURSHUW\ RI WKH UHVSHFWLYH FRYHQDQWRUV 7KLV HQGRUVHPHQW SURYLGHV
DVVXUDQFHWKDWFRQIRUPLQJFRYHQDQWVZLOOEHELQGLQJXSRQWKHFRYHQDQWRUVDQGWKHLUVXFFHVVRUV
LQ RZQHUVKLS VXEMHFW WR WKH OLPLWDWLRQV FRQWDLQHG LQ WKH HQGRUVHPHQW ,Q RWKHU ZRUGV WKH
LQVWUXPHQW FRQWDLQLQJ WKH FRYHQDQWV ZLOO JLYH FRQVWUXFWLYH QRWLFH WR VXEVHTXHQW RZQHUV DQG
OHQGHUV RI WKH RWKHU SDUFHOV WKDW WKHUH DUH EXUGHQV RQ WKHLU SDUFHOV ,W GRHV 127 LQVXUH WKH
HQIRUFHDELOLW\RIWKRVHFRYHQDQWVDQGDQ\UHTXHVWIRUWKDWW\SHRIFRYHUDJHVKRXOGEHUHIXVHG

                       6(&7,212)32/,&<$0(1'('%<(1'256(0(17
                                                       
7KLVHQGRUVHPHQWGRHVQRWDPHQGDQ\VHFWLRQRIWKHWLWOHSROLF\,WH[SDQGVWKHFRYHUDJHRIWKH
SROLF\ E\ LQVXULQJ WKH ELQGLQJ HIIHFW RI ERWK QHJDWLYH DQG DIILUPDWLYH FRYHQDQWV EHQHILWLQJ WKH
LQVXUHG/DQGDQGEXUGHQLQJRWKHUODQGVQRWLQFOXGHGZLWKLQWKHLQVXUHG/DQG

                                 %$6,6)253529,',1*&29(5$*(
                                                       
7KLV HQGRUVHPHQW LV RQO\ DYDLODEOH LQ WKRVH VWDWHV ZKLFK KDYH VXIILFLHQW OHJDO SUHFHGHQW
HVWDEOLVKLQJ FULWHULD HVVHQWLDO IRU FUHDWLRQ RI FRYHQDQWV WKDW UXQ ZLWK WKH ODQG DQG DUH ELQGLQJ
XSRQ VXEVHTXHQW RZQHUV  &RXQVHO PXVW WDLORU LQVXUDQFH UHTXLUHPHQWV LQFOXGLQJ WKH IRUP RI
LQVXUDQFHFRYHUDJHWRILWVWDWHODZUHTXLUHPHQWV

                        $87+25,7<)25,668$1&(2)7+,6&29(5$*(
                                                       
7KLVHQGRUVHPHQWVKDOOQRWEHLVVXHGZLWKRXWDSSURYDOE\WKH&RPSDQ\¶VXQGHUZULWLQJDGYLVRU

1R LQVXUDQFH VKDOO EH LVVXHG LQ D IRUP ZKLFK ZRXOG LQVXUH HQIRUFHDELOLW\ RU FRPSOLDQFH
ZLWKDQ\VXFKFRYHQDQWV


)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG                                          
                                                                                                              
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 498 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                       6(&7,21



                                             02',),&$7,21
                                                      
7KLVIRUPLVQRWDXQLIRUPIRUP,QWKHHYHQWWKDWPRGLILFDWLRQRIWKLVHQGRUVHPHQWRU\RXUVWDWH
IRUP LV UHTXHVWHG LW LV QHFHVVDU\ WR FRQVLGHU WKH VWDWH UHJXODWRU\ UHTXLUHPHQWV IRU ILOLQJ DQG
DSSURYDORIIRUPV<RXPXVWREWDLQWKHDSSURYDORIWKH&RPSDQ\¶VXQGHUZULWLQJDGYLVRUEHIRUH
FRPSO\LQJZLWKDQ\UHTXHVWIRUPRGLILFDWLRQ

5HWXUQWR7DEOHRI&RQWHQWV




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG                                         
                                                                                                             
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 499 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                                6(&7,21



                                                 (1'256(0(17
                                            $WWDFKHGWR3ROLF\1RBBB
                                                     ,VVXHG%\
                                                  >)17*%5$1'@




7KH&RPSDQ\LQVXUHVDJDLQVWORVVRUGDPDJHVXVWDLQHGE\UHDVRQRIWKHIDLOXUHRIWKHFRYHQDQWV
RI WKH FRYHQDQWRU LQ IDYRU RI WKH FRYHQDQWHH VHW RXW LQ 6HFWLRQ V             RI WKH LQVWUXPHQW
UHFRUGHGWRGRRUUHIUDLQIURPGRLQJVRPHDFWUHODWLQJWRWKHXVHUHSDLURU
PDLQWHQDQFHRIWKHLPSURYHPHQWVRUSD\PHQWRIWD[HVDQGDVVHVVPHQWVRQWKHUHDOSURSHUW\RU
VRPHSDUWWKHUHRIGHVFULEHGDV GHVFULSWLRQRIEXUGHQHGODQGRIFRYHQDQWRU WREHELQGLQJXSRQ
WKH FRYHQDQWRU DQG HDFK VXFFHVVLYH RZQHU GXULQJ KLV RZQHUVKLS RI DQ\ SRUWLRQ RI VXFK UHDO
SURSHUW\ DQG XSRQ HDFK SHUVRQ KDYLQJ DQ\ LQWHUHVW WKHUHLQ GHULYHG IURP WKH FRYHQDQWRU RU
WKURXJKDQ\VXFKVXFFHVVLYHRZQHUWKHUHRIH[FHSWDPRUWJDJHHRIDPRUWJDJHRUWKHWUXVWHHRU
EHQHILFLDU\RIDGHHGRIWUXVWZKLOHQRWLQSRVVHVVLRQRIVXFKUHDOSURSHUW\LQVXFKFDSDFLW\



3URYLGHG KRZHYHU WKDW QR LQVXUDQFH FRYHUDJH LV SURYLGHG E\ WKLV (QGRUVHPHQW VKRXOG VXFK
FRYHQDQWV IDLO WR ELQG D VXFFHVVLYH RZQHU ZKR GHULYHV 7LWOH WKURXJK D  D WD[ GHHG E  D
IRUHFORVXUH RI D ERQG RU DVVHVVPHQW F  HQIRUFHPHQW RI D IHGHUDO WD[ OLHQ G  D EDQNUXSWF\ DV
WUXVWHH RU RWKHUZLVH H  D ULJKW RU OLHQ H[LVWLQJ SULRU WR WKH GDWH RI UHFRUGLQJ RI WKH LQVWUXPHQW
FRQWDLQLQJVDLGFRYHQDQWV



7KLV HQGRUVHPHQW GRHV QRW LQVXUH DJDLQVW ORVV RU GDPDJH ZKLFK WKH ,QVXUHG PD\ VXVWDLQ E\
UHDVRQRIWKHQRQSHUIRUPDQFHRIDQ\VDLGFRYHQDQWV



7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\  ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW L 
PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL  PRGLI\ DQ\ SULRU HQGRUVHPHQWV LLL 
H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQRI
WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV  2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV


'$7('

                                                            
%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBB
       $87+25,=('6,*1$785(



)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG                                                    
                                                                                                                        
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 500 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF              6(&7,21






&/7$)250  




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG             
                                                                                 
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 501 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                             6(&7,21



5HWXUQWR7DEOHRI&RQWHQWV

                        5(92/9,1*&5(',70257*$*((1'256(0(176
                                                          
                                                   385326(

7KHVHHQGRUVHPHQWVSURYLGHFRYHUDJHIRUWKHHQIRUFHDELOLW\DQGSULRULW\RIWKHOLHQRIWKH,QVXUHG
0RUWJDJHDVVHFXULW\IRUUHYROYLQJFUHGLWORDQDGYDQFHV7KHUHDUHIRXUHQGRUVHPHQWV(DFKLV
GHVLJQHGWR DSSO\WRRQHRIWKHIRXUJHQHUDOOHJDOSDWWHUQVIRUIXWXUHDGYDQFHPRUWJDJHVLQWKH
8QLWHG6WDWHV6HHDOVR6HFWLRQIRU$/7$HQGRUVHPHQWVWKDWPD\EHXVHGLIDSSURSULDWHWR
LQVXUHWKHSULRULW\RIDGYDQFHVPDGHXQGHUDUHYROYLQJFUHGLWIDFLOLW\

                      6(&7,212)7+(32/,&<$0(1'('%<(1'256(0(17
                                                              
(DFK HQGRUVHPHQW PRGLILHV ([FOXVLRQV IURP &RYHUDJH 1R  G  DQG &RQGLWLRQV 1R  G LL 
7KH\DOVRH[SDQGWKHFRYHUDJHJUDQWHGE\&RYHUHG5LVNVDQGWRWKRVHDPRXQWVLQFOXGHG
ZLWKLQWKHGHILQLWLRQRI,QGHEWHGQHVVDW&RQGLWLRQ G E\XVLQJDQGGHILQLQJWKHWHUP³$GYDQFHV´
WRLQFOXGHWKRVHDPRXQWV

                                  %$6,6)253529,',1*&29(5$*(
                                                          
3UHOLPLQDU\&RQVLGHUDWLRQV

6HFXULW\

7R VHFXUH UHSD\PHQW RI IXWXUH DGYDQFHV RI IXQGV E\ WKH OHQGHU WKH PRUWJDJH RU GHHG RI WUXVW
PXVW SURYLGH IRU VXFK IXWXUH DGYDQFHV  7KH PRUWJDJH GRHV QRW QHHG WR SURYLGH IRU UHYROYLQJ
FUHGLW XQOHVV WKH SULQFLSDO EDODQFH FRXOG EH SDLG GRZQ WR ]HUR DQG WKHQ IXQGV FRXOG EH UH
DGYDQFHGXQGHUWKH QRWH,IWKDWKDSSHQV ZKLFKLVQRWXQXVXDO LQDUHYROYLQJOLQHRIFUHGLW WKH
VHFXULW\ LQVWUXPHQW PD\ QRW VHFXUH VXEVHTXHQW IXWXUH DGYDQFHV RU UHDGYDQFHV  XQOHVV WKH
SDUWLHVDJUHHWKDWLWZLOO

8QGHU6HFWLRQRIWKH%DQNUXSWF\&RGHWKHEDQNUXSWF\ WUXVWHHRIDERUURZHUPD\KDYHWKH
SRZHUWRDYRLGWKHOLHQRIDPRUWJDJHRUWUXVWGHHGWRWKHH[WHQWLWVHFXUHVDGYDQFHVPDGHDIWHU
WKH OHQGHU KDV QRWLFH RI WKH EDQNUXSWF\  7KH UHFRUGLQJ RU ILOLQJ RI D FRS\ RI WKH SHWLWLRQ RU D
QRWLFHWKDWWKHSHWLWLRQKDVEHHQILOHGLVVXIILFLHQWWRJLYHWKHOHQGHUWKDWQRWLFH7KHFRXUWVKDYH
FRQVWUXHG QRWLFH YHU\ EURDGO\ 7KHUHIRUH GUDZV DJDLQVW D UHYROYLQJ FUHGLW OLQH DQG RWKHU ORDQ
DGYDQFHVZKLFKDUHIXQGHGDIWHUDEDQNUXSWF\ILOLQJPD\EHLQMHRSDUG\RIEHLQJXQVHFXUHG


)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG                                                
                                                                                                                    
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 502 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                         6(&7,21




3ULRULW\

7KH SULRULW\ RI WKH PRUWJDJH RU GHHG RI WUXVW DV VHFXULW\ IRU IXWXUH DGYDQFHV GHSHQGV XSRQ WKH
IDFWRUVGLVFXVVHGEHORZ7KHSUREOHPVDULVHZKHUHDOLHQRUHQFXPEUDQFHLVFUHDWHGRUDWWDFKHV
DIWHUUHFRUGLQJRIWKHPRUWJDJHRUWUXVWGHHGEXWSULRUWRDIXWXUHDGYDQFH

2UGLQDU\/LHQVDQG(QFXPEUDQFHV
                                                        
1RWLFH
,Q RUGHU IRU D IXWXUH DGYDQFH WR KDYH SULRULW\ RYHU DQ LQWHUYHQLQJ PDWWHU WKH PRUWJDJH RU WUXVW
GHHG PXVW KDYH JLYHQ QRWLFH DW WKH WLPH LW ZDV RULJLQDOO\ UHFRUGHG WKDW LW ZRXOG VHFXUH IXWXUH
DGYDQFHV)RUSXUSRVHVRIWKLVFRYHUDJH ZKLFKGHDOVZLWKIXWXUHDGYDQFHVUHSD\PHQWDQGUH
DGYDQFHV WKH ,QVXUHG 0RUWJDJH PXVW FRQWDLQ ZKDWHYHU ODQJXDJH DERXW IXWXUH DGYDQFHV RU
UHYROYLQJ FUHGLW WKDW PD\ EH UHTXLUHG XQGHU VWDWH ODZ WR JLYH FRQVWUXFWLYH QRWLFH DQG HVWDEOLVK
SULRULW\

2EOLJDWLRQWR$GYDQFH
:KHWKHU WKH OHQGHU LV REOLJDWHG WR PDNH WKH DGYDQFH DW WKH WLPH WKH LQWHUYHQLQJ SDUW\¶V OLHQ RU
HQFXPEUDQFHDWWDFKHVWRWKHERUURZHU¶V7LWOHLVLPSRUWDQWWRSULRULW\LQPRVWVWDWHV,IWKHOHQGHU
LVOHJDOO\REOLJDWHGWRPDNHWKHDGYDQFHDWWKHWLPH ³REOLJDWRU\DGYDQFH´ WKHOLHQVHFXULQJLWLV
SULRUWRWKHOLHQRUHQFXPEUDQFHRIWKHLQWHUYHQLQJSDUW\$QDGYDQFHLVREOLJDWRU\LIWKHOHQGHU
FRXOGEHVXFFHVVIXOO\VXHGIRUGDPDJHVLILWGLGQRWPDNHLW7KHREOLJDWLRQWRDGYDQFHPD\KDYH
VRPH FRQGLWLRQV ³WKH ERUURZHU PXVW EH DOLYH´ ³WKH ERUURZHU PXVW VWLOO RZQ WKH SURSHUW\´  EXW
WKHVHFRQGLWLRQVPXVWEHREMHFWLYHDQGQRWVXEMHFWLYHRQWKHSDUWRIWKHOHQGHU7KHUHIRUHDQ\
FRQGLWLRQVRQWKHOHQGHU¶VREOLJDWLRQWRIXQGPXVWQRWEHXQGHUWKHOHQGHU¶VFRQWURO,IWKHOHQGHULV
QRWREOLJDWHGWRIXQGDIWHUDQ\OLHQRUHQFXPEUDQFHDWWDFKHVWRWKH7LWOHDGYDQFHVPDGHDIWHUWKH
DWWDFKPHQWRIVXFKDOLHQDUHRSWLRQDO ³RSWLRQDODGYDQFH´ $QDGYDQFHFDQVWDUWDVREOLJDWRU\
EXW LI D OHQGHU FKRRVHV WR DGYDQFH ZKHQ D FRQGLWLRQ KDV QRW EHHQ PHW WKH DGYDQFH EHFRPHV
RSWLRQDO 7KH UXOH GLIIHUV DPRQJ WKH VWDWHV DV WR WKH SULRULW\ RI DQ RSWLRQDO DGYDQFH RYHU DQ
LQWHUYHQLQJPDWWHU

0DMRULW\5XOH$IXWXUHDGYDQFHPRUWJDJHOLHQLVSULRULIWKHOHQGHUGRHVQRWKDYHDFWXDOQRWLFHRI
WKH LQWHUYHQLQJ PDWWHU DW WKH WLPH RI WKH DGYDQFH 7KXV WKH DGYDQFH ZLOO KDYH SULRULW\ RYHU
LQWHUYHQLQJ PDWWHUV HYHQ LI UHFRUGHG VR ORQJ DV WKH OHQGHU GRHV QRW KDYH DFWXDO NQRZOHGJH RI
WKHP



)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG                                            
                                                                                                                
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 503 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                        6(&7,21



0LQRULW\ 5XOH  $ IXWXUH DGYDQFH PRUWJDJH OLHQ LV SULRU LI WKH OHQGHU KDV QHLWKHU DFWXDO QRU
FRQVWUXFWLYH QRWLFH RI WKH LQWHUYHQLQJ PDWWHU DW WKH WLPH RI WKH DGYDQFH $ IXWXUH DGYDQFH ZLOO
ORVHSULRULW\WRHLWKHUDQXQUHFRUGHGLQWHUYHQLQJPDWWHURI ZKLFKWKHOHQGHUKDVNQRZOHGJHRUDQ
LQWHUYHQLQJPDWWHUZKLFKKDVEHHQUHFRUGHGZKLFKLVQRWNQRZQWRWKHOHQGHU

8QOHVVWKHDJUHHPHQWEHWZHHQWKHOHQGHUDQGERUURZHUSURYLGHVIRUDFXUHE\WKHERUURZHUDQ\
DGYDQFH PDGH DIWHU D GHIDXOW E\ WKH ERUURZHU LV DQ RSWLRQDO DGYDQFH  :KHUH DQ REOLJDWRU\
DGYDQFH DJUHHPHQW FRQWDLQV D FXUH SURYLVLRQ DGYDQFHV PDGH DIWHU FXUH DUH DJDLQ REOLJDWRU\
7KHUHIRUHWKH\ZRXOGEHHQWLWOHGWRSULRULW\RYHUHQFXPEUDQFHVDWWDFKLQJDIWHUFXUHEXWEHIRUHWKH
DGYDQFH$GYDQFHVPDGHDIWHUGHIDXOWDQGEHIRUHFXUHZRXOGEHWUHDWHGDVRSWLRQDODGYDQFHV

6SHFLDO&DVHV)HGHUDO7D[/LHQV0HFKDQLFV¶/LHQVDQG(QYLURQPHQWDO3URWHFWLRQ/LHQV
                                                       
)HGHUDO7D[/LHQV

7KHUH LV VRPH DUJXPHQW DERXW WKH SULRULW\ RI IHGHUDO WD[ OLHQV ZLWK UHVSHFW WR WKH VHFXULW\ IRU
GLVEXUVHPHQWV XQGHU D FRQVWUXFWLRQ ORDQ  8QGHU WKH ZRUVW FDVH YLHZ WKH FRQVWUXFWLRQ ORDQ
PRUWJDJHOLHQKDVWKHVDPHSULRULW\RYHUIHGHUDOWD[OLHQVDVLWZRXOGKDYHRYHUDMXGJPHQWOLHQ
XQGHUVWDWHODZ

+RZHYHUQRDGYDQFHPDGHXQGHUDQRUGLQDU\IXWXUHDGYDQFHPRUWJDJHLVSURWHFWHGDJDLQVWD
IHGHUDOWD[OLHQUHFRUGHGDIWHUWKHPRUWJDJH ZKHUHWKHDGYDQFH LVPDGH  PRUHWKDQ GD\V
DIWHUWKHUHFRUGLQJRIWKHWD[OLHQQRWLFHRU  DIWHUDFWXDOQRWLFHRIWKHWD[OLHQZKLFKHYHURFFXUV
ILUVW:KHWKHUWKHDGYDQFHLVRSWLRQDORUREOLJDWRU\LVLPPDWHULDO

0HFKDQLFV¶/LHQV &RQVWUXFWLRQ/LHQV 

7KHODZRIPDQ\VWDWHVZRXOGJLYHPHFKDQLFV¶OLHQVSULRULW\RYHUWKHOLHQRIWKH,QVXUHG0RUWJDJH
,Q VRPH VWDWHV WKLV LV OLPLWHG WR WKRVH PRUWJDJHV RU WUXVW GHHGV ZKLFK ILQDQFH WKH FRQVWUXFWLRQ
RXWRIZKLFKWKHOLHQVDULVH2WKHUVWDWHVPD\WUHDWPHFKDQLF¶VOLHQVOLNHRWKHUW\SHVRIOLHQVZLWK
UHVSHFW WR IXWXUH DGYDQFH PRUWJDJHV LI WKH PRUWJDJH ZDV UHFRUGHG EHIRUH WKH YLVLEOH
FRPPHQFHPHQWRIFRQVWUXFWLRQ7KHHIIHFWRIPHFKDQLFV¶OLHQVRQWKHSULRULW\RIIXWXUHDGYDQFHV
PXVWDOZD\VEHFRQVLGHUHG






)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG                                           
                                                                                                               
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 504 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                             6(&7,21



(QYLURQPHQWDO3URWHFWLRQ/LHQV

&XUUHQWO\ IHGHUDO ODZ DQG WKH ODZV RI PDQ\ VWDWHV FUHDWH JRYHUQPHQWDO OLHQV WR VHFXUH
UHSD\PHQWIRUWKHFRVWRIFOHDQLQJWKHHQYLURQPHQWRIWR[LFRUKD]DUGRXVZDVWH7KHVHOLHQVPD\
DOVRVHFXUHUHSD\PHQWIRUWKHGDPDJHGRQHWRWKHHQYLURQPHQW8QGHUVRPHVWDWHODZVWKHVH
OLHQV KDYH SULRULW\ RYHU H[LVWLQJ OLHQV  ,W LV SRVVLEOH IRU WKHP WR EH FUHDWHG ZLWKRXW UHFRUGLQJ RU
ILOLQJLQWKHORFDOUHDOHVWDWHUHFRUGV7KHLPSDFWRIVXFKOLHQVRQWKHSULRULW\RIIXWXUHDGYDQFHVLV
XQFHUWDLQ

)RUPVRI&RYHUDJH

6XEMHFW WR DQ\ VWDWH UHJXODWRU\ UHTXLUHPHQWV ZKLFK PD\ H[LVW WKH IROORZLQJ HQGRUVHPHQWV DUH
SUHIHUUHGIRUSURYLGLQJRIUHYROYLQJFUHGLWDGYDQFHV

)RUREOLJDWRU\DGYDQFHORDQV
         5HYROYLQJ&UHGLW(QGRUVHPHQW$
         5HYROYLQJ&UHGLW(QGRUVHPHQW%

)RURSWLRQDODGYDQFHORDQV
         5HYROYLQJ&UHGLW(QGRUVHPHQW&
         5HYROYLQJ&UHGLW(QGRUVHPHQW'

(IIHFWRIWKH(QGRUVHPHQWV

&RPPRQIHDWXUHV

$OORIWKHHQGRUVHPHQWVUHOD[WKHOLPLWDWLRQRIOLDELOLW\LPSRVHGE\WKH&RQGLWLRQVDQG([FOXVLRQV
IURP&RYHUDJHQRWHGDERYHWRWKHH[WHQWRIWKHLQVXUDQFHWKH\ SURYLGH+RZHYHUWKH\GRQRW
FRYHUGLVEXUVHPHQWVPDGHDIWHUWKHERUURZHUQRORQJHUKDV7LWOHWRWKH/DQG$OORIWKHVHIRUPV
HOLPLQDWHFRYHUDJHIRUDGYDQFHVPDGHDIWHUQRWLFHWKDWWKH ERUURZHUKDVEHFRPHDGHEWRULQD
EDQNUXSWF\FDVH

'LIIHUHQFHV

7KHVHHQGRUVHPHQWVGLIIHURQO\LQWKHVFRSHRIWKHH[FOXVLRQIURPFRYHUDJHLQ 3DUDJUDSKHRI
WKH(QGRUVHPHQW



)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG                                                 
                                                                                                                     
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 505 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                       6(&7,21



(QGRUVHPHQWV$DQG%FRYHUREOLJDWRU\DGYDQFHDJUHHPHQWV
3DUDJUDSK H H[FOXGHV IURP SULRULW\ RQO\ WKRVH DGYDQFHV PDGH DIWHU WKH OHQGHU LV QR ORQJHU
REOLJDWHG WR IXQG WKHP $IWHU WKDW SRLQW WKH ODZ ZLOO WUHDW DGYDQFHV DV RSWLRQDO  7KH
HQGRUVHPHQWVGLIIHUIURPHDFKRWKHU LQWKHLUWUHDWPHQWRIDGYDQFHVPDGHDIWHU GHIDXOWRUVRPH
RWKHUHYHQWH[FXVLQJWKHOHQGHUIURPLWVIXQGLQJREOLJDWLRQV
(QGRUVHPHQW $ LV IRU XVH LQ WKH PDMRULW\ ODZ VWDWHV /HQGHU PXVW KDYH DFWXDO NQRZOHGJH RI
LQWHUYHQLQJPDWWHU 
(QGRUVHPHQW%LVWDLORUHGIRUWKHPLQRULW\YLHZ /HQGHUKDVDFWXDORUFRQVWUXFWLYHNQRZOHGJHRI
LQWHUYHQLQJPDWWHU 

(QGRUVHPHQWV&DQG'FRYHURSWLRQDODGYDQFHDJUHHPHQWV
(QGRUVHPHQW&LVIRURSWLRQDODGYDQFHORDQVLQWKRVHVWDWHVDSSO\LQJWKHPDMRULW\UXOH,WJLYHV
QRLQVXUDQFHRISULRULW\RYHUPDWWHUV.QRZQ ZKLFKXQGHUWKHSROLF\PHDQVDFWXDOO\NQRZQ WRWKH
LQVXUHGEHIRUHWKHDGYDQFHRIIXQGV

(QGRUVHPHQW ' LV IRU RSWLRQDO DGYDQFH ORDQV LQ WKRVH VWDWHV DGRSWLQJ WKH PLQRULW\ SRVLWLRQ  ,W
GHQLHV SULRULW\ FRYHUDJH DJDLQVW LQWHUYHQLQJ HQFXPEUDQFHV HLWKHU DFWXDOO\ RU FRQVWUXFWLYHO\
NQRZQWRWKH,QVXUHGEHIRUHWKHDGYDQFHRIIXQGV,QRWKHUZRUGVLWGRHVQRWLQVXUHSULRULW\RYHU
VXEVHTXHQWO\UHFRUGHGOLHQV

,QVWUXFWLRQVIRU,VVXDQFH

<RXPXVWFKHFNZLWKWKH&RPSDQ\¶VXQGHUZULWLQJDGYLVRUWRVHHZKLFKIRUPVDUHDYDLODEOH
LQ \RXU VWDWH DQG ZKHWKHU DQ\ PRGLILFDWLRQ RI WKHVH LQVWUXFWLRQV LV QHFHVVDU\ :KLOH WKH
IRUPVKHUHVKRXOGEHVXIILFLHQWIRUWKHPDMRULW\RIVWDWHVWKHUHPD\EHVWDWXWHVRUFRXUWGHFLVLRQV
LQ VRPH VWDWHV ZKLFK KDYH QRW EHHQ FRQVLGHUHG  ,I QR PRGLILFDWLRQ LV UHTXLUHG \RX DUH
DXWKRUL]HGWRSURFHHGDVIROORZV

      'HWHUPLQHWKDWWKH,QVXUHG0RUWJDJHFOHDUO\VWDWHVWKDWLWVHFXUHVIXWXUHDGYDQFHV7KH
         VWDWHPHQW WKDW LW VHFXUHV D UHYROYLQJ OLQH RI FUHGLW RU D UHYROYLQJ FUHGLW DJUHHPHQW LV
         VXIILFLHQW<RXPXVWQRWLVVXHDQ\RIWKHVHHQGRUVHPHQWVLIWKH,QVXUHG0RUWJDJHLVQRW
         FOHDURQWKLVSRLQW

      'HWHUPLQH ZKHWKHU RU QRW LW LV SRVVLEOH IRU WKH OHQGHU WR PDNH DGYDQFHV DIWHU WKH ORDQ
         EDODQFHLVSDLGGRZQWR]HUR ³]HUREDODQFH´ ,ILWLVWKHQHLWKHUWKH,QVXUHG0RUWJDJH
         PXVWVWLSXODWHWKDWDGYDQFHVPDGHWKHUHDIWHUDUHVHFXUHGRUWKHODZLQ \RXUVWDWHPXVW




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG                                          
                                                                                                              
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 506 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                       6(&7,21



         VRSURYLGH,IQHLWKHULVWKHFDVH\RXPXVWHLWKHUUHTXLUHWKDWWKH,QVXUHG0RUWJDJHEH
         PRGLILHGWRSURYLGHIRUWKLVRUGHFOLQHWRLVVXHWKHHQGRUVHPHQW

      'HWHUPLQHZKHWKHUWKHVWDWHZKHUHWKHODQGOLHVDSSOLHVWKHPDMRULW\ RUPLQRULW\ UXOHRQ
         SULRULW\ RI RSWLRQDO DGYDQFHV  &RQVXOW WKH &RPSDQ\¶V XQGHUZULWLQJ DGYLVRU ZKHQ
         PDNLQJWKLVGHWHUPLQDWLRQ

,IWKHPLQRULW\UXOHLVDSSOLHG\RXPXVWQRWLVVXH(QGRUVHPHQWV$RU& ,IWKHUHLVQRODZ
RQ ZKLFK UXOH ZLOO EH DSSOLHG WKHQ \RX PD\ LVVXH (QGRUVHPHQWV $ RU & RQO\ WR ORDQ SROLFLHV
LQVXULQJVHFRQGRUORZHUSULRULW\ PRUWJDJHVRUGHHGVRIWUXVWRQLQGLYLGXDOVLQJOHIDPLO\
UHVLGHQWLDO KRXVHV RU FRQGRPLQLXPV  +RZHYHU (QGRUVHPHQW $ PD\ RQO\ EH LVVXHG LI WKH
OHQGHULVREOLJDWHGWRPDNHWKHIXWXUHDGYDQFHV 6HH1REHORZ 
                  
      'HWHUPLQHZKHWKHUWKHDGYDQFHVDUHLQLWLDOO\REOLJDWRU\RURSWLRQDO,IWKH\DUHRSWLRQDO
         QHLWKHU(QGRUVHPHQW$QRU(QGRUVHPHQW%PD\EHLVVXHG$JUHHPHQWV ³LQVHFXULW\
         FODXVHV´ ZKLFKSURYLGHWKDWOHQGHULVQRWREOLJDWHGWRIXQGLIDWDQ\SRLQWLWEHOLHYHVWKH
         ERUURZHU KDV EHFRPH LQFDSDEOH RI UHSD\LQJ WKH ORDQ VKRXOG EH FRQVLGHUHG RSWLRQDO
         DGYDQFHDJUHHPHQWV,ILQGRXEWDGYDQFHVVKRXOGEHWUHDWHGDVRSWLRQDO

,IDGYDQFHVDUHLQLWLDOO\REOLJDWRU\(QGRUVHPHQWV$RU%PD\EHLVVXHG(QGRUVHPHQW$VKRXOG
EHLVVXHGLQVWDWHVZKLFKDSSO\WKHPDMRULW\ODZRQRSWLRQDODGYDQFHV(QGRUVHPHQW%VKRXOGEH
XVHG LQ WKRVH VWDWHV DSSO\LQJ WKH PLQRULW\ ODZ  +RZHYHU LI RQH RU PRUH HYHQWV RWKHU WKDQ D
GHIDXOWE\WKHERUURZHUH[FXVHVWKHOHQGHU¶VREOLJDWLRQWR PDNHDIXUWKHUDGYDQFHWKRVHHYHQWV
PXVWEHDGGHGDWWKHHQGRISDUDJUDSKHLQWKHVHHQGRUVHPHQWV,IWKHDJUHHPHQWFKDUDFWHUL]HV
WKHRQO\HYHQWVUHOLHYLQJWKHOHQGHU¶VREOLJDWLRQDVHYHQWVRIGHIDXOWWKHQQRDGGLWLRQDOODQJXDJH
LVQHFHVVDU\LQWKHHQGRUVHPHQW




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG                                         
                                                                                                             
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 507 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                    6(&7,21



6HOHFWLRQRIHQGRUVHPHQWVXPPDU\WDEOH

6WDWHODZRQRSWLRQDODGYDQFHV                            1DWXUHRI$GYDQFHV
                                                              
                                             2EOLJDWRU\                             2SWLRQDO
          
0DMRULW\/DZ                             $% & '                           &' 
          
0LQRULW\/DZ                             %'                                  '
          
/DZXQVHWWOHG                            $ %                                & '
                  

    3URYLGHVOHVVWKDQWKHPD[LPXPFRYHUDJHDYDLODEOH

    )RU XVH RQO\ ZLWK VHFRQG RU ORZHU SULRULW\ PRUWJDJHV RQ VLQJOH IDPLO\ UHVLGHQFHV VHH
LQVWUXFWLRQVDERYH 
                  
       <RXDUHDXWKRUL]HGWRGHOHWHWKHH[FHSWLRQIRUPHFKDQLF¶VOLHQV SDUDJUDSK G IURPDQ\
          RI WKHVH HQGRUVHPHQWV LVVXHG WR ORDQ SROLFLHV FRYHULQJ VHFRQG RU ORZHU SULRULW\
          PRUWJDJHV RQ VLQJOH IDPLO\ UHVLGHQFH ZKHUH DGYDQFHV DUH REOLJDWRU\  &RQWDFW WKH
          &RPSDQ\¶V XQGHUZULWLQJ DGYLVRU WR GHWHUPLQH LI GHOHWLRQ RI WKLV H[FHSWLRQ LV
          DSSURSULDWHXQGHUDQ\RWKHUFLUFXPVWDQFHV

       ,I\RXDUHDVNHGWRH[WHQGWKHFRYHUDJHRI(QGRUVHPHQWV$RU%WRGLVEXUVHPHQWVPDGH
          DIWHUDFXUHRIDGHIDXOWRURWKHUHYHQWZKLFKH[FXVHGWKHOHQGHU¶VREOLJDWLRQWRIXQG\RX
          PD\ DGG WKH IROORZLQJ ODQJXDJH WR WKH HQG RI 3DUDJUDSK H DIWHU \RX KDYH PDGH WKH
          GHWHUPLQDWLRQVWDWHGEHORZ

                  EXWSULRUWRDFXUHRIVDLGGHIDXOW>RURWKHUHYHQWHOLPLQDWLQJ
                  OHQGHU¶VREOLJDWLRQWRIXQG LIDSSOLFDEOH @
          
7RGRWKLV\RXPXVWGHWHUPLQHWKDWHLWKHUWKHQRWHRUWKHUHYROYLQJFUHGLWDJUHHPHQWUHREOLJDWHV
WKHOHQGHUWRIXQGDIWHUWKHRFFXUUHQFHRIVRPHVWDWHGHYHQWZKLFKFXUHVWKHGHIDXOW7KHPRVW
XVXDOHYHQWZRXOGEHWKHERUURZHUEULQJLQJKLVDFFRXQWFXUUHQWZLWKLQDFHUWDLQSHULRGRIWLPH
                  




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG                                      
                                                                                                          
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 508 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                              6(&7,21



$Q\ TXHVWLRQV \RX PD\ KDYH DERXW WKHVH LQVWUXFWLRQV VKRXOG EH GLUHFWHG WR WKH
&RPSDQ\¶VXQGHUZULWLQJDGYLVRU

                                         02',),&$7,21
                                                 
7KHVHIRUPVDUHQRWXQLIRUPIRUPV,QWKHHYHQWWKDWPRGLILFDWLRQRIRQHRUPRUHRIWKHVHIRUPV
RU\RXUVWDWHIRUPLVUHTXHVWHGLWLVQHFHVVDU\WRFRQVLGHUWKHVWDWHUHJXODWRU\ UHTXLUHPHQWVIRU
ILOLQJDQGDSSURYDORIIRUPV<RXPXVWREWDLQWKHDSSURYDORIWKH&RPSDQ\¶VXQGHUZULWLQJDGYLVRU
EHIRUHFRPSO\LQJZLWKDQ\UHTXHVWIRUPRGLILFDWLRQ

5HWXUQWR7DEOHRI&RQWHQWV




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG                               
                                                                                                   
    Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 509 of 807
    (1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                 6(&7,21



     5HYROYLQJ&UHGLW(QGRUVHPHQW$2EOLJDWRU\$GYDQFHV±>0DMRULW\/DZ@
     
                                                 (1'256(0(17
                                                          
                                         $WWDFKHGWR3ROLF\1RBBBBBB
                                                          
                                                    ,VVXHGE\
                                                 >)17*%5$1'@
                                                          
                                                          
     $Q\DGYDQFHPDGHE\WKH,QVXUHGDIWHU'DWHRI3ROLF\LVLQFOXGHGZLWKLQWKHFRYHUDJHRIWKLV
     SROLF\LI
     
         7KHDGYDQFHLVPDGHSXUVXDQWWR>QDPHRIIXWXUHDJUHHPHQW@DFFRUGLQJWRLWVWHUPVDW
     'DWHRI3ROLF\DQG
     
     
         7KHSDUW\VKRZQLQ6FKHGXOH$DVYHVWHGLQ7LWOHLVVRYHVWHGDWWKHWLPHRIWKHDGYDQFH
     DQGLVQRWDWWKDWWLPHDGHEWRULQDEDQNUXSWF\FDVHRIZKLFKWKH,QVXUHGKDVDFWXDORU
     FRQVWUXFWLYHQRWLFH
     
     7KH&RPSDQ\LQVXUHVWKH,QVXUHGDJDLQVWORVVWKH,QVXUHGVKDOOVXVWDLQE\UHDVRQRIWKHSULRULW\
     RIDQ\OLHQRUHQFXPEUDQFHRYHUWKHOLHQRIWKH,QVXUHG0RUWJDJHDVVHFXULW\IRUDQ\VXFK
     DGYDQFHH[FHSWIRUDQ\RIWKHIROORZLQJ
     
            D      $Q\OLHQRUHQFXPEUDQFHZKLFKDSSHDUVLQ6FKHGXOH%
     
            E       $Q\WD[RUDVVHVVPHQWZKLFKEHFRPHVDOLHQDIWHU'DWHRI3ROLF\
     
            F      )HGHUDOWD[OLHQVRIZKLFKWKH,QVXUHGKDVDFWXDORUFRQVWUXFWLYHQRWLFHDULVLQJ
            VXEVHTXHQWWR'DWHRI3ROLF\DQGSULRUWRWKHPDNLQJRIWKHDGYDQFH
     
            G      $Q\OLHQRUULJKWWRDOLHQZKLFKLVLPSRVHGE\ODZWRVHFXUHSD\PHQWIRUODERU
            VHUYLFHVRUPDWHULDOVVXSSOLHGDIWHU'DWHRI3ROLF\

            H      $Q\OLHQRUHQFXPEUDQFHDULVLQJDIWHU'DWHRI3ROLF\DQGSULRUWRWKHPDNLQJRI
            WKHDGYDQFHRIZKLFKWKH,QVXUHGKDVDFWXDOQRWLFHDWWKHWLPHWKHDGYDQFHLVPDGHLI
            WKHDGYDQFHLVPDGHDIWHUDQHYHQWRIGHIDXOWE\WKHERUURZHURUDIWHU>LQGLFDWHRWKHU
            HYHQWHOLPLQDWLQJOHQGHU¶VREOLJDWLRQWRIXQG@
     
               I     $Q\HQYLURQPHQWDOSURWHFWLRQOLHQDULVLQJDIWHU'DWHRI3ROLF\
    
    7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW
      L PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV
      LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
    RIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLV
    HQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKH
    WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV




    )LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG                                     
                                                                                                             
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 510 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                 6(&7,21



 5HYROYLQJ&UHGLW(QGRUVHPHQW%2EOLJDWRU\$GYDQFHV±>0LQRULW\/DZ@
                                                        
                                              (1'256(0(17
                                                        
                                      $WWDFKHGWR3ROLF\1RBBBBB
                                                      
                                                ,VVXHGE\
                                             >)17*%5$1'@
                                                      
                                                      
 $Q\DGYDQFHPDGHE\WKH,QVXUHGDIWHU'DWHRI3ROLF\LVLQFOXGHGZLWKLQWKHFRYHUDJHRIWKLV
 SROLF\LI
 
     7KHDGYDQFHLVPDGHSXUVXDQWWR>QDPHRIIXWXUHDJUHHPHQW@DFFRUGLQJWRLWVWHUPVDW
 'DWHRI3ROLF\DQG
 
     7KHSDUW\VKRZQLQ6FKHGXOH$DVYHVWHGLQ7LWOHLVVRYHVWHGDWWKHWLPHRIWKHDGYDQFH
 DQGLVQRWDWWKDWWLPHDGHEWRULQDEDQNUXSWF\FDVHRIZKLFKWKH,QVXUHGKDVDFWXDORU
 FRQVWUXFWLYHQRWLFH
 
 7KH&RPSDQ\LQVXUHVWKH,QVXUHGDJDLQVWORVVWKH,QVXUHGVKDOOVXVWDLQE\UHDVRQRIWKHSULRULW\
 RIDQ\OLHQRUHQFXPEUDQFHRYHUWKHOLHQRIWKH,QVXUHG0RUWJDJHDVVHFXULW\IRUDQ\VXFK
 DGYDQFHH[FHSWIRUDQ\RIWKHIROORZLQJ
 
        D      $Q\OLHQRUHQFXPEUDQFHZKLFKDSSHDUVLQ6FKHGXOH%
        
        E      $Q\WD[RUDVVHVVPHQWZKLFKEHFRPHVDOLHQDIWHU'DWHRI3ROLF\
        
        F      )HGHUDOWD[OLHQVRIZKLFKWKH,QVXUHGKDVDFWXDORUFRQVWUXFWLYHQRWLFHDULVLQJ
        VXEVHTXHQWWR'DWHRI3ROLF\DQGSULRUWRWKHPDNLQJRIWKHDGYDQFH
        
        G      $Q\OLHQRUULJKWWRDOLHQZKLFKLVLPSRVHGE\ODZWRVHFXUHSD\PHQWIRUODERU
        VHUYLFHVRUPDWHULDOVVXSSOLHGDIWHU'DWHRI3ROLF\
        
        H      $Q\OLHQRUHQFXPEUDQFHDULVLQJDIWHU'DWHRI3ROLF\DQGSULRUWRWKHPDNLQJRI
        WKHDGYDQFHRIZKLFKWKH,QVXUHGKDVDFWXDORUFRQVWUXFWLYHQRWLFHDWWKHWLPHWKH
        DGYDQFHLVPDGHLIWKHDGYDQFHLVPDGHDIWHUDQHYHQWRIGHIDXOWE\WKHERUURZHURUDIWHU
        >LQGLFDWHRWKHUHYHQWHOLPLQDWLQJOHQGHU¶VREOLJDWLRQWRIXQG@
        
        I      $Q\HQYLURQPHQWDOSURWHFWLRQOLHQDULVLQJDIWHU'DWHRI3ROLF\

7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW
  L PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV
  LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLV
HQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG                                     
                                                                                                         
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 511 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                 6(&7,21



    5HYROYLQJ&UHGLW(QGRUVHPHQW&2SWLRQDO$GYDQFHV>0DMRULW\/DZ@
                                                         
                                                (1'256(0(17
                                                         
                                         $WWDFKHGWR3ROLF\1RBBBBB
                                                         
                                                   ,VVXHGE\
                                                >)17*%5$1'@
                                                         
                                                         
    $Q\DGYDQFHPDGHE\WKH,QVXUHGDIWHU'DWHRI3ROLF\LVLQFOXGHGZLWKLQWKHFRYHUDJHRIWKLV
    SROLF\LI
    
        7KHDGYDQFHLVPDGHSXUVXDQWWR>QDPHRIIXWXUHDJUHHPHQW@DFFRUGLQJWRLWVWHUPVDW
    'DWHRI3ROLF\DQG
    
        7KHSDUW\VKRZQLQ6FKHGXOH$DVYHVWHGLQ7LWOHLVVRYHVWHGDWWKHWLPHRIWKHDGYDQFH
    DQGLVQRWDWWKDWWLPHDGHEWRULQDEDQNUXSWF\FDVHRIZKLFKWKH,QVXUHGKDVDFWXDORU
    FRQVWUXFWLYHQRWLFH
    
    7KH&RPSDQ\LQVXUHVWKH,QVXUHGDJDLQVWORVVWKH,QVXUHGVKDOOVXVWDLQE\UHDVRQRIWKHSULRULW\
    RIDQ\OLHQRUHQFXPEUDQFHRYHUWKHOLHQRIWKH,QVXUHG0RUWJDJHDVVHFXULW\IRUDQ\VXFK
    DGYDQFHH[FHSWIRUDQ\RIWKHIROORZLQJ
    
           D      $Q\OLHQRUHQFXPEUDQFHZKLFKDSSHDUVLQ6FKHGXOH%
           
           E      $Q\WD[RUDVVHVVPHQWZKLFKEHFRPHVDOLHQDIWHU'DWHRI3ROLF\
           
           F      )HGHUDOWD[OLHQVRIZKLFKWKH,QVXUHGKDVDFWXDORUFRQVWUXFWLYHQRWLFHDULVLQJ
           VXEVHTXHQWWR'DWHRI3ROLF\DQGSULRUWRWKHPDNLQJRIWKHDGYDQFH
           
           G      $Q\OLHQRUULJKWWRDOLHQZKLFKLVLPSRVHGE\ODZWRVHFXUHSD\PHQWIRUODERU
           VHUYLFHVRUPDWHULDOVVXSSOLHGDIWHU'DWHRI3ROLF\

          H     $Q\OLHQRUHQFXPEUDQFHDULVLQJDIWHU'DWHRI3ROLF\DQGSULRUWRWKHPDNLQJRI
          WKHDGYDQFHRIZKLFKWKH,QVXUHGKDVDFWXDOQRWLFHDWWKHWLPHWKHDGYDQFHLVPDGH
          
          I     $Q\HQYLURQPHQWDOSURWHFWLRQOLHQDULVLQJDIWHU'DWHRI3ROLF\
   
7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW
 L PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV
 LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLV
HQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG                                    
                                                                                                        
    Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 512 of 807
    (1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                 6(&7,21



       5HYROYLQJ&UHGLW(QGRUVHPHQW'2SWLRQDO$GYDQFHV±>0LQRULW\/DZ@
                                                            
                                                   (1'256(0(17
                                                            
                                           $WWDFKHGWR3ROLF\1RBBBBBB
                                                            
                                                      ,VVXHGE\
                                                   >)17*%5$1'@
       
       
       $Q\DGYDQFHPDGHE\WKH,QVXUHGDIWHU'DWHRI3ROLF\LVLQFOXGHGZLWKLQWKHFRYHUDJHRIWKLV
       SROLF\LI
       
           7KHDGYDQFHLVPDGHSXUVXDQWWR>QDPHRIIXWXUHDJUHHPHQW@DFFRUGLQJWRLWVWHUPVDW
       'DWHRI3ROLF\DQG
       
           7KHSDUW\VKRZQLQ6FKHGXOH$DVYHVWHGLQ7LWOHLVVRYHVWHGDWWKHWLPHRIWKHDGYDQFH
       DQGLVQRWDWWKDWWLPHDGHEWRULQDEDQNUXSWF\FDVHRIZKLFKWKH,QVXUHGKDVDFWXDORU
       FRQVWUXFWLYHQRWLFH
       
       7KH&RPSDQ\LQVXUHVWKH,QVXUHGDJDLQVWORVVWKH,QVXUHGVKDOOVXVWDLQE\UHDVRQRIWKHSULRULW\
       RIDQ\OLHQRUHQFXPEUDQFHRYHUWKHOLHQRIWKH,QVXUHG0RUWJDJHDVVHFXULW\IRUDQ\VXFK
       DGYDQFHH[FHSWIRUDQ\RIWKHIROORZLQJ
       
           D      $Q\OLHQRUHQFXPEUDQFHZKLFKDSSHDUVLQ6FKHGXOH%
       
              E      $Q\WD[RUDVVHVVPHQWZKLFKEHFRPHVDOLHQDIWHU'DWHRI3ROLF\
                     
              F      )HGHUDOWD[OLHQVRIZKLFKWKH,QVXUHGKDVDFWXDORUFRQVWUXFWLYHQRWLFHDULVLQJ
              VXEVHTXHQWWR'DWHRI3ROLF\DQGSULRUWRWKHPDNLQJRIWKHDGYDQFH
       
              G      $Q\OLHQRUULJKWWRDOLHQZKLFKLVLPSRVHGE\ODZWRVHFXUHSD\PHQWIRUODERU
              VHUYLFHVRUPDWHULDOVVXSSOLHGDIWHU'DWHRI3ROLF\

            H     $Q\OLHQRUHQFXPEUDQFHDULVLQJDIWHU'DWHRI3ROLF\DQGSULRUWRWKHPDNLQJRI
            WKHDGYDQFHRIZKLFKWKH,QVXUHGKDVDFWXDORUFRQVWUXFWLYHQRWLFHDWWKHWLPHWKH
            DGYDQFHLVPDGH
     
               I     $Q\HQYLURQPHQWDOSURWHFWLRQOLHQDULVLQJDIWHU'DWHRI3ROLF\
    
    7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW
      L PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV
      LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
    RIWKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLV
    HQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKH
    WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV
        
                                                          




    )LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG                                     
                                                                                                             
    Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 513 of 807
    (1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                      6(&7,21



    5HWXUQWR7DEOHRI&RQWHQWV
                                       /$67'2//$5(1'256(0(17
          )2586(:,7+32/,&<)250627+(57+$17+($/7$/2$132/,&< 
                                                          
                                                    385326(
    
    7KLV HQGRUVHPHQW LV GHVLJQHG WR SURYLGH FRYHUDJH WR WKH OHQGHU LQ D VLWXDWLRQ ZKHUH WKH ORDQ
    DPRXQWH[FHHGVWKHYDOXHRIWKHUHDOSURSHUW\7KLVVLWXDWLRQFRPPRQO\RFFXUVIRUH[DPSOHLQ
    WKHILQDQFLQJRIDQRQJRLQJEXVLQHVV7KHUHDOSURSHUW\LVRIWHQRQO\DVPDOOSDUWRIWKHSXUFKDVH
    SULFH WKDW LV EHLQJ ERUURZHG >:LWKRXW WKLV FRYHUDJH WKH OLDELOLW\ XQGHU WKH SROLF\ FRXOG EH
    UHGXFHGWR]HURE\WKHUHSD\PHQWRIWKHSULQFLSDOORQJEHIRUHWKHHQWLUHGHEWLVUHWLUHG@

                        6(&7,212)32/,&<$0(1'('%<(1'256(0(17

    &RQGLWLRQ DQG 6WLSXODWLRQ  5('8&7,21 2) ,1685$1&( RI WKH   DQG  $/7$
    /RDQ3ROLF\ 6HFWLRQLQYHUVLRQ SURYLGHVIRUWKHUHGXFWLRQRIOLDELOLW\E\WKHUHSD\PHQWRI
    WKHSULQFLSDORIWKHLQGHEWHGQHVV&RQGLWLRQDQG6WLSXODWLRQ'(7(50,1$7,21$1'(;7(17
    2) /,$%,/,7< 6HFWLRQ  LQ  YHUVLRQ  GHILQHV WKH ORVV XQGHU WKH ORDQ SROLF\ DV WKH XQSDLG
    SULQFLSDO LQGHEWHGQHVVDVUHGXFHG XQGHUWKH&RQGLWLRQDQG 6WLSXODWLRQ 6HFWLRQLQWKH
    YHUVLRQ 7KLVHQGRUVHPHQWDPHQGVWKHVHWZRVHFWLRQVWRSURYLGHWKDWWKHUHSD\PHQWRIWKHGHEW
    ZLOOILUVWEHDSSOLHGWRUHGXFHWKHDPRXQWRIWKHLQGHEWHGQHVV LQH[FHVVRIWKHOLDELOLW\XQGHUWKH
    SROLF\  7KLV ZRXOG UHVXOW LQ WKH LQVXUDQFH SURYLGHG XQGHU WKH SROLF\ QRW EHLQJ UHGXFHG E\
    UHSD\PHQW XQWLO WKH RXWVWDQGLQJ EDODQFH RI WKH GHEW HTXDOV WKH DPRXQW RI OLDELOLW\ XQGHU WKH
    SROLF\$WWKDWSRLQWWKHOLDELOLW\ZRXOGEHUHGXFHGSURWDQWR RUGROODUIRUGROODU E\VXEVHTXHQW
    UHSD\PHQWRIWKHGHEW7KHSROLF\ZRXOGWKHQSURYLGHFRYHUDJHWRWKHODVWGROODURILQGHEWHGQHVV
    
    $/7$VWUXFWXUHGWKH/RDQ3ROLF\LQVXFKDZD\WKDWWKLVHQGRUVHPHQWLVQRORQJHUQHHGHG
    &RQGLWLRQ  /,0,7$7,21 2) /,$%,/,7< QR ORQJHU FRQWDLQV WKH SURYLVLRQ WKDW WKH $PRXQW RI
    ,QVXUDQFH LV UHGXFHG E\ WKH UHSD\PHQW RI SULQFLSDO SUR WDQWR 5DWKHU WKH GHILQLWLRQ RI
    ,QGHEWHGQHVV XQGHU &RQGLWLRQV  G  SURYLGHV WKDW WKH DPRXQW RI WKH ,QGHEWHGQHVV QRW WKH
    $PRXQWRI,QVXUDQFH LVUHGXFHGE\WKHWRWDORIDOOSD\PHQWVDQGE\DQ\DPRXQWIRUJLYHQ7KH
    UHVXOWLVWKDWDVORQJDVWKH,QGHEWHGQHVVGRHVQRWIDOOEHORZWKH$PRXQWRI,QVXUDQFHFRYHUDJH
    ZLOOQRWEHUHGXFHGE\UHSD\PHQWRISULQFLSDO
    
                                                          
                                                          
                                                          


    )LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG                                        
                                                                                                                
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 514 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                          6(&7,21



                                                        
                                 %$6,6)253529,',1*&29(5$*(

7KLVHQGRUVHPHQWFDQQRWEHXVHGZLWKWKH$/7$3ROLF\)RUP

&DUH PXVW EH WDNHQ WR PDNH VXUH WKDW WKH IRUP DQGRU UDWH LV ILOHG LQ WKRVH VWDWHV WKDW UHTXLUH
ILOLQJ

,I WKH PRUWJDJH FROODWHUDOL]HV D UHYROYLQJ OLQH RI FUHGLW WKLV HQGRUVHPHQW VKRXOG EH PRGLILHG WR
UHIOHFWWKDWLWFRYHUVPRQH\SDLGDQGUHSDLGXQGHUWKHUHYROYLQJFUHGLWDJUHHPHQW
                                                        
                                               02',),&$7,21
                                                        
7KLVIRUPLVQRWDXQLIRUPIRUP,QWKHHYHQWWKDWPRGLILFDWLRQRIWKLVHQGRUVHPHQWRU\RXUVWDWH
IRUP LV UHTXHVWHG LW LV QHFHVVDU\ WR FRQVLGHU WKH VWDWH UHJXODWRU\ UHTXLUHPHQWV IRU ILOLQJ DQG
DSSURYDORIIRUPV<RXPXVWREWDLQWKHDSSURYDORIWKH&RPSDQ\¶VXQGHUZULWLQJDGYLVRUEHIRUH
FRPSO\LQJZLWKDQ\UHTXHVWIRUPRGLILFDWLRQ

5HWXUQWR7DEOHRI&RQWHQWV




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG                                             
                                                                                                                 
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 515 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                      6(&7,21



/DVW'ROODU(QGRUVHPHQW )RUDQGYHUVLRQV 
                                              (1'256(0(17
                                        $WWDFKHGWR3ROLF\1RBBBBBB
                                                       
                                                ,VVXHGE\
                                               >)17*%UDQG@
                                                     
                                                     

7KH &RPSDQ\ KDV EHHQ DGYLVHG E\ WKH LQVXUHG WKDW WKH PRUWJDJH LQVXUHG KHUHLQ VHFXUHV DQ
LQGHEWHGQHVVWRWKHLQVXUHGLQDQDPRXQWLQH[FHVVRIWKHDPRXQWRIWKLVSROLF\7KH&RPSDQ\
DJUHHV WKDW LQ FDOFXODWLQJ WKH DPRXQW RI LQGHEWHGQHVV VHFXUHG E\ WKH LQVXUHG PRUWJDJH XQGHU
SDUDJUDSKV DQG RIWKH&RQGLWLRQV DQG6WLSXODWLRQVRIWKLVSROLF\SD\PHQWV PDGHWRUHGXFH
WKHDPRXQWRIVDLGLQGHEWHGQHVV H[FHSWSD\PHQWVPDGHE\WKH&RPSDQ\SXUVXDQWWRSURYLVLRQV
RIWKLVSROLF\ VKDOOEHGHHPHGDSSOLHGILUVWWRWKHSRUWLRQRIVDLGLQGHEWHGQHVVWKDWLVLQH[FHVVRI
WKHDPRXQWRILQVXUDQFHVWDWHGLQ6FKHGXOH$

)XUWKHUPRUHLWLVDJUHHGWKDWWKHERRNVDQGUHFRUGVRIWKHLQVXUHGZLWKUHVSHFWWRWKHSD\PHQWRI
WKH LQGHEWHGQHVV VHFXUHG E\ WKH PRUWJDJH VKDOO EH FRQFOXVLYH HYLGHQFH RI WKH DSSOLFDWLRQ RI
SD\PHQWV RI WKH LQGHEWHGQHVV  6DLG ERRNV DQG UHFRUGV VKDOO EH NHSW DFFRUGLQJ WR DQ\ SURSHU
DQGUHFRJQL]HGPHWKRGRIDFFRXQWLQJIRUSD\PHQWRIVHFXUHGREOLJDWLRQV

7KLV HQGRUVHPHQW LV LVVXHG DV SDUW RI WKH SROLF\ ([FHSW DV LW H[SUHVVO\ VWDWHV LW GRHV QRW
    L PRGLI\ DQ\ RI WKH WHUPV DQG SURYLVLRQV RI WKH SROLF\ LL PRGLI\ DQ\ SULRU HQGRUVHPHQWV
    LLL H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQ
RI WKH SROLF\ RU D SUHYLRXV HQGRUVHPHQW LV LQFRQVLVWHQW ZLWK DQ H[SUHVV SURYLVLRQ RI WKLV
HQGRUVHPHQW WKLV HQGRUVHPHQW FRQWUROV 2WKHUZLVH WKLV HQGRUVHPHQW LV VXEMHFW WR DOO RI WKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWV

'DWHG

%\BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
          $XWKRUL]HG6LJQDWRU\




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG                                        
                                                                                                            
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 516 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                   6(&7,21



5HWXUQWR7DEOHRI&RQWHQWV

                              7$;&5(',7%(1(),7(1'256(0(17
                                                   
                                                385326(

7KHVHHQGRUVHPHQWVDUHRIWHQUHTXHVWHGLQFRQMXQFWLRQZLWKWKHLVVXDQFHRIDQ2ZQHUV3ROLF\
FRYHULQJ/DQGWKDWKDVEHHQGHYHORSHGLQVXFKDZD\DVWRDIIRUGWKHRZQHUVRUWKHLQYHVWRUV
FHUWDLQWD[FUHGLWVVXFKDV/RZ,QFRPH+RXVLQJ7D[&UHGLWVXQGHUWKH,56&RGH

                     6(&7,2162)32/,&<$0(1'('%<(1'256(0(17

7KHVHHQGRUVHPHQWVLQGLUHFWO\PRGLI\&RQGLWLRQRIWKH2ZQHUV3ROLF\E\UHFRJQL]LQJWKHYDOXH
RIWKHORVVRIWKHWD[EHQHILWDVDEDVLVIRUORVVXQGHUWKHSROLF\:LWKRXWWKHVHHQGRUVHPHQWVWKH
YDOXHRIWKH7LWOHPD\QRWWDNHLQWRFRQVLGHUDWLRQDQ\YDOXHRIWKH7D[%HQHILWWKDWZDVORVWGXHWR
DWLWOHLVVXH7KHPDUNHWYDOXHRIWKH/DQGPD\EHHQKDQFHGE\WKHVSHFLDOWD[WUHDWPHQWWKDWWKH
RZQHUHQMR\V

                                %$6,6)253529,',1*&29(5$*(

7KHUHDUHIRUPVRI(QGRUVHPHQWDWWDFKHG
    x   7KH7D[%HQHILW(QGRUVHPHQW,QVXUHGZKLFKUXQVWRWKHEHQHILWRIWKHQDPHG,QVXUHG
    x   7KH7D[%HQHILW(QGRUVHPHQW>OLPLWHGSDUWQHUPHPEHU@ZKLFKUXQVWRWKHEHQHILWRID
         VSHFLILFLQYHVWRULQWKH,QVXUHG
    x   7KH7D[%HQHILW(QGRUVHPHQW±1R,QFUHDVHLQ$PRXQWRI,QVXUDQFHEHQHILWVWKHQDPHG
         ,QVXUHG

7KHILUVWWZRHQGRUVHPHQWVVKRZQFRQWDLQDVHSDUDWHDPRXQWRILQVXUDQFHZKLFKLVLQDGGLWLRQWR
WKH$PRXQWRI,QVXUDQFHDIIRUGHGXQGHUWKH3ROLF\DQGIRUZKLFKDVHSDUDWHSUHPLXPEDVHGRQ
WKHVSHFLILFLQFUHDVHGDPRXQWRIOLDELOLW\QHHGVWREHFKDUJHGDQGFROOHFWHGDWWKHFXUUHQWUDWHV
7KHWKLUGHQGRUVHPHQWH[SDQGVWKHEDVLVIRUORVVXQGHUWKHSROLF\JHQHUDOO\DQGVKRXOGKDYHD
ULVNSUHPLXPDWWDFKHGWRLWHYHQWKRXJKWKH$PRXQWRI,QVXUDQFHLVQRWLQFUHDVHGVLQFHWKLVLV
DGGLWLRQDOFRYHUDJHWKDWZRXOGQRWEHDIIRUGHGE\WKHSROLF\ZLWKRXWWKHHQGRUVHPHQW

7KH7D[%HQHILW(QGRUVHPHQW>OLPLWHGSDUWQHUPHPEHU@VKRXOGEHFXVWRPL]HGWRQDPHWKH
LQYHVWRUDQGGHVFULEHWKHVSHFLILFW\SHRILQYHVWRU PHPEHURUOLPLWHGSDUWQHU DQGWKHQQDPHWKH
HQWLW\WKDWLVEHLQJLQVXUHGLQWKHXQGHUO\LQJ3ROLF\7KH$GGLWLRQDO,QVXUHGXQGHUWKLV
HQGRUVHPHQWLVGLIIHUHQWSDUW\WKDQWKH,QVXUHGXQGHUWKH3ROLF\

)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG                                   
                                                                                                       
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 517 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                       6(&7,21



                                                      
                                             02',),&$7,21
7KLVIRUPLVQRWDXQLIRUPIRUP,QWKHHYHQWWKDWPRGLILFDWLRQRIWKLVHQGRUVHPHQWRU\RXUVWDWH
IRUP LV UHTXHVWHG LW LV QHFHVVDU\ WR FRQVLGHU WKH VWDWH UHJXODWRU\ UHTXLUHPHQWV IRU ILOLQJ DQG
DSSURYDORIIRUPV<RXPXVWREWDLQWKHDSSURYDORIWKH&RPSDQ\¶VXQGHUZULWLQJDGYLVRUEHIRUH
FRPSO\LQJZLWKDQ\UHTXHVWIRUPRGLILFDWLRQLQFOXGLQJWKHUHIHUHQFLQJRIRWKHUVHFWLRQVRIWKH7D[
&RGH

5HWXUQWR7DEOHRI&RQWHQWV




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG                                         
                                                                                                             
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 518 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                                  6(&7,21



Tax Benefit Endorsement-Insured
                                                    ENDORSEMENT
                                              Attached to Policy No.______

                                                       Issued by
                                                    [FNTG BRAND]

Amount of Insurance: $__________________________

For purposes of this Endorsement, the following general provisions shall apply:

          (a)        The term "Tax Benefit" shall mean the Low Income Housing Credit pursuant to Section 42 of the
                     Internal Revenue Code of 1986, as amended (the "Low Income Housing Credit"). The Company
                     acknowledges that Improvements constructed upon the land described in Schedule A may be
                     treated by the Insured as low-income buildings pursuant to said Section 42.

          (b)       The term “Tax Benefit Loss” shall mean that, as a result of a matter falling within the insuring
                     provisions of the Policy, subject to the Exclusions, Exceptions and Conditions of the Policy, the
                     Insured is not able to claim the Low Income Housing Tax Credit or is required to recapture all or
                     any portion of the Low Income Housing Tax Credit.

If a defect in the Title insured against in the Policy results in a Tax Benefit Loss, the Company agrees to pay to the
Insured the amount which the Insured is required to pay, and does pay, or which the Insured is unable to claim, by
reason of the application of the Internal Revenue Code of 1986, as amended, now and hereafter in effect. The
Company’s obligations to pay the Insured under this Endorsement; (a) does not affect or modify and is in addition to
the Company’s obligations to pay the Insured under the Policy for any loss or damage incurred by the Insured under
the Policy; (b) does not reduce the Amount of Insurance of the Policy; and (c) is limited to the amount of insurance
stated above on this Endorsement. Any payment under this Endorsement shall reduce the Company’s liability
hereunder and the amount of insurance under this Endorsement shall be reduced by a corresponding amount.

The Company shall not be obligated for any costs, attorneys’ fees or expenses incurred by any Insured under the
Policy or this Endorsement in defending or establishing the Tax Benefit.


This endorsement is issued as part of the policy. Except as it expressly states, it does not (i) modify any of the terms
and provisions of the policy, (ii) modify any prior endorsements, (iii) extend the Date of Policy or (iv) increase the
Amount of Insurance. To the extent a provision of the policy or a previous endorsement is inconsistent with an express
provision of this endorsement, this endorsement controls. Otherwise, this endorsement is subject to all of the terms
and provisions of the policy and of any prior endorsements to it.



[Witness Optional]


DATED:

[FNTG BRAND]

BY: _____________________________
    AUTHORIZED SIGNATORY




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG                                                       
                                                                                                                           
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 519 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                                   6(&7,21



Tax Benefit Endorsement- [limited partner/ member]

                                           ENDORSEMENT
                                     Attached to Policy No.______
                                              Issued by
                                           [FNTG BRAND]
Amount of Insurance: $__________________________

The Company acknowledges that _________________________________________, which is the [limited
partner/member] of ________ (the [“Partnership or “LLC””]), is an Additional Insured (“Additional Insured”) under this
Policy but only for and limited to the specific dollar amount of coverage expressed above in this Endorsement.

For purposes of this Endorsement, the following general provisions shall apply:

     (a) The term "Tax Benefit" shall mean the Low Income Housing Credit pursuant to Section 42 of the Internal
     Revenue Code of 1986, as amended (the "Low Income Housing Credit"). The Company acknowledges that
     Improvements constructed upon the land described in Schedule A may be treated by the Additional Insureds as
     low-income buildings pursuant to said Section 42.

     (b) The term “Tax Benefit Loss” shall mean that, as a result of a matter falling within the insuring provisions of the
     policy, subject to the Exclusions, Exceptions and Conditions of the Policy, the [Partnership/LLC] is not able to
     claim the Low Income Housing Tax Credit or is required to recapture all or any portion of the Low Income Housing
     Tax Credit.

Except to the extent of reimbursement received by them from the [Partnership/LLC], if a defect in the Title insured
against in the Policy results in a Tax Benefit Loss, the Company agrees to pay, to the Additional Insured named in this
Endorsement, the amount which they, or any of them are required to pay, and do pay, or which they, or any of them,
are unable to claim, by reason of the application of the Internal Revenue Code of 1986, as amended, now and
hereafter in effect. The Company’s obligations to pay the Additional Insured named herein to and under this
Endorsement: (a) does not affect or modify and is in addition to the Company’s obligations to pay the Insured under the
Policy for any loss or damage incurred by the Insured under the Policy; (b) does not reduce the Amount of Insurance of
the Policy; and (c) is limited to the amount of insurance stated above on this Endorsement. Any payment under this
Endorsement shall reduce the Company’s liability hereunder and the amount of insurance under this Endorsement
shall be reduced by a corresponding amount.

The Company shall not be obligated for any costs, attorneys’ fees or expenses incurred by any Insured under the
Policy or this Endorsement in defending or establishing the Tax Benefit.

This endorsement is issued as part of the policy. Except as it expressly states, it does not (i) modify any of the terms
and provisions of the policy, (ii) modify any prior endorsements, (iii) extend the Date of Policy or (iv) increase the
Amount of Insurance. To the extent a provision of the policy or a previous endorsement is inconsistent with an express
provision of this endorsement, this endorsement controls. Otherwise, this endorsement is subject to all of the terms
and provisions of the policy and of any prior endorsements to it.
[Witness Optional]

DATED:

[FNTG BRAND]

BY: _____________________________
    AUTHORIZED SIGNATORY




)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG                                                          
                                                                                                                              
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 520 of 807
(1'256(0(170$18$/±)LGHOLW\1DWLRQDO7LWOH*URXS,QF                                 6(&7,21



7D[%HQHILW(QGRUVHPHQW±QRLQFUHDVHLQ$PRXQWRI,QVXUDQFH

                                           (1'256(0(17
                                    $WWDFKHGWR3ROLF\1RBBBBBB
                                                     
                                               ,VVXHGE\
                                            >)17*%5$1'@


7KH&RPSDQ\KHUHE\LQVXUHVWKH,QVXUHGWKDWLQWKHHYHQWRIDQ\RFFXUUHQFHGHIHFWOLHQRU
HQFXPEUDQFHRWKHUZLVHLQVXUHGDJDLQVWE\WKLVSROLF\WKHORVVRUGDPDJHLQFXUUHGE\WKH
,QVXUHGVKDOOEHGHHPHGWREHWKHGLIIHUHQFHEHWZHHQ  WKHYDOXHRIWKH7LWOHDVLQVXUHGXQGHU
WKLVSROLF\WDNLQJLQWRFRQVLGHUDWLRQWKHWD[FUHGLWVWDWXVRIWKH,QVXUHGSXUVXDQWWRDSSOLFDEOH
VHFWLRQVRIWKH,QWHUQDO5HYHQXH&RGHLQHIIHFWDWWKH'DWHRI3ROLF\ WKH³9DOXHRIWKH7LWOH´ SULRU
WRVXFKRFFXUUHQFHGHIHFWOLHQRUHQFXPEUDQFHDQG  WKH9DOXHRIWKH7LWOHDIWHUVXFKGHIHFW
RFFXUUHQFHOLHQRUHQFXPEUDQFH

     
7KLVHQGRUVHPHQWLVLVVXHGDVSDUWRIWKHSROLF\([FHSWDVLWH[SUHVVO\VWDWHVLWGRHVQRW L 
PRGLI\DQ\RIWKHWHUPVDQGSURYLVLRQVRIWKHSROLF\ LL PRGLI\DQ\SULRUHQGRUVHPHQWV LLL 
H[WHQGWKH'DWHRI3ROLF\RU LY LQFUHDVHWKH$PRXQWRI,QVXUDQFH7RWKHH[WHQWDSURYLVLRQRI
WKHSROLF\RUDSUHYLRXVHQGRUVHPHQWLVLQFRQVLVWHQWZLWKDQH[SUHVVSURYLVLRQRIWKLV
HQGRUVHPHQWWKLVHQGRUVHPHQWFRQWUROV2WKHUZLVHWKLVHQGRUVHPHQWLVVXEMHFWWRDOORIWKH
WHUPVDQGSURYLVLRQVRIWKHSROLF\DQGRIDQ\SULRUHQGRUVHPHQWVWRLW


>:LWQHVV2SWLRQDO@


'$7('

>)17*%5$1'@
        
%<BBBBBBBBBBBBBBBBBBBBBBBBBBBBB
$87+25,=('6,*1$725<







)LGHOLW\1DWLRQDO7LWOH*URXS,QF$OO5LJKWV5HVHUYHG                                  
                                                                                                      
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 521 of 807




                         EXHIBIT 6




                         EXHIBIT 6
         Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 522 of 807

Bulletin : NV2014002



Date: November 06, 2014

To: All Nevada Issuing Offices

RE: RATES AND/OR FORMS UPDATE - Use of the ALTA 9.10, the ALTA 4.1, and the ALTA 5.1

_____________________________________________________________________________


Dear Associates:


Due to the recent decision by the Nevada Supreme Court in the case of SFR Investments Pool 1 LLC
vs. US Bank, questions have arisen regarding the issuance of loan policies and endorsements to
lenders making loans secured by condominiums, planned unit developments, or other common
interest developments with a homeowners association. At this time, the only changes to our
underwriting procedures are that 1) in lieu of issuing an ALTA 9 (or a CLTA 100) for a lender’s policy,
issue the ALTA 9.10; 2) in lieu of issuing an ALTA 4 for a lender’s policy, issue the ALTA 4.1, and; 3)
in lieu of issuing an ALTA 5 for a lender’s policy, issue the ALTA 5.1.


If you have any questions relating to this or other bulletins, please contact a Stewart Title Guaranty
Company underwriter.


For on-line viewing of this and other bulletins, please log onto www.vuwriter.com.




References


Bulletins Replaced : None

Related Bulletins : None

Underwriting Manual : None

Exceptions Manual : None

Forms : None
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 523 of 807




                         EXHIBIT 7




                         EXHIBIT 7
Branch :FLV,User :EDLE                                                     Comment:                        Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 524 of 807




                        APN:

                        WHEN RECORDED RETURN TO:

                        SANTORO. DRIGGS, WALCH.
                        KEARNEY, JOHNSON & THOMPSON
                        3773 Howard Hughes Parkway, Suite 290N
                        Las Vegas. Nevada 89109
                        Attention: Rodney S. Woodbury. Esq.
                        /..('f.,]?· I//~ ... C{l(,-f-bD/3 _... t-dp t>t,Z
                                    '




                                                          DECLARATION
                                          OF COVENANTS, CONDITIONS, AND RESTRICTIONS FOR
                                                           SANTA ROSA




                  This :nolrum.,ot ;~ ddiwrccl to tho> Rc<'l'lrdolr'~
             •.rtiCc •~ an aecnmmod>llinn. hv 1\/ft•OO Tit~~ Cornr>,lny,
                  !or !lh'llicM comcniencl! onl,. II hlr. not bftfl
                  enmiaad a to It~ wRd'lfy, c.eculioll rx it'!
                          eRect uPQn tith. r ...-.




CLARK,NV                                                              Page 1 of 98    Printed on 11/1/2016 4:58:39 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                            Comment:                                                                                                  Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 525 of 807




                                                               TABLE OF CONTENTS


                    ARTICLE I.

                          Recitals . . . . . • . . . . . . . . . . . . . . . . . . . . . . . . . . . • . . . . . . . . . . . . . . . . . . . . .                        1
                          1.01   Real Property ......................................•......                                                                            1
                          1.02 Planned Community ... , ....................................                                                                             1
                          1.03 Owners Association . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                       1
                          1.04 The Development . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1
                          1.05 Covenants Running With Land .. , ............................. 1
                          1.06 Declaration . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2

                    ARTICLE II.

                          Definitions ....• , . . . . . . . . . . . . . • . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2
                          2.01 "Act       6
                                              •••••••••••••••••••••••••••••••••                             ,   •••••••     ,   2
                                                                                                                                •   •   •   •   •   •   •   •   •   •


                          2.02 "Annexable Area· .......................................... 2
                          2.03 "Architecture Committee" . . . • . . . . . . . . . . . . . . . . . . . . . . . . . . . . . • . . 2
                          2.04 "Articles" ................................................. 2
                          2.05 "AssessmentM •.......•.................................... 2
                          2.06 "Association" . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2
                          2.07 "Association Property" ....................................... 2
                          2.08 "Board" . . . . . . . . . . . . . . .                                                                      2
                          2.09 "Bylaws" . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2
                          2.10 "Common Area" ...........................................                                                                                3
                          2.11 "Contingent Annexabe Area· . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                           3
                          2.12 "Oeclaranr ..........................•.......•............                                                                               3
                          2.13 "Design Guidelines" ........................................                                                                             3
                          2.14 "Development" . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                    3
                          2.15 "Eligible Holder" ...........................................                                                                            3
                          2.16 "Improvement" ............................ , ............... ,                                                                           3
                          2.17 "Lessee" .................................................                                                                               3
                          2.18 1.ot" .....................................................                                                                              3
                          2.19 "Member" ................................................                                                                                4
                          2.20 "Mortgage" . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                 4
                          2.21 "NRS" ...................................................                                                 4
                          2.22 "Owner" . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                                                         4
                          2.23 "Party Walls" . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4
                          2.24 "Perimeter Walls" ..........................................                                              4
                          2.25 "Person" . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .4
                          2.26 "Property" . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .4
                          2.27 "Record, "Recording," or "Recorded" ....................... , . . .                                       4
                          2.28 "Residence" . • . . • . . . . . . . . . . . • . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4
                          2.29 "Rules and Regulations" ............................. , . . . . . . . 4

                                                                               ii




CLARK,NV                                                         Page 2 of 98                                           Printed on 11/1/2016 4:58:39 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                         Comment:                                                                      Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 526 of 807




                          2.30     "Site Development PlanH . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4
                          2.31     ~subdivision Map~ . . . . • . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4

                    ARTICLE Ill,

                          Property and Property Rights . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5
                          3.01     Description of the Property . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5
                          3.02     No Representations or Warranties. . . . . . . . . . . . • . . . . . . . . . . . . . . . . . 5
                          3.03 Lots .. , . .. . .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. 5
                          3.04     Association Property . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6
                          3.05     Special Declarant's Rights .................................. 11

                    ARTICLE IV.

                          Owners' Association; Membership and Voting Rights . . . . . . . . . . . . . . . . . . .                      11
                          4.01 Association ...•..............•...........................                                              11
                          4.02 Membership Rights . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       12
                          4.03 Control of Association ......................................                                           12
                          4.04 Meetings of Members ..........•...........................                                              14
                          4.05 Duties of the Association .•..•...............................                                          15
                          4.06 Powers and Authority of the Association . , ......................                                      18
                          4.07 Indemnification .. , ........................................                                           22
                          4.08 Diseased Trees ...........................................                                              24
                               Pa;im~t~r \"Valls ...........................................                                           24
                          4.10 Rules •....... , ..........................................                                             24
                          4,11 Breach of Rules, Regulations, or Restrictions , • . . . . . . . . . . . . . . . . . .                   25
                          4.12 Fines ........................•..........................                                               25
                          4.13 Liability of Members of Board . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           26
                          4.14 Amendment ............•...............•.................                                                26

                    ARTICLEV.

                          Covenant for Maintenance Assessments . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 26
                          5.01 Assessments . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   26
                          5.02 Purpose of Assessments . • . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            26
                          5.03 Regular Assessments ................. , . . . . . . . • . . . . . . . . . . . .                         27
                          5.04 Special Assessments . . . . . • . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         29
                          5.05 Notice of Special Assessments: Time for Payment . . . . . . . . . . . . . . .                           29
                          5.06 Collection of Assessments . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           29
                          5.07 Unpaid Assessments . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          29
                          5.08 Mortgage Protection . . . • . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .       30
                          5.09 Effect of Amendments on Mortgages ..........................                                            30
                          5.10 Annual Assessments Paid By Declarant ........................                                           30



                                                                          iii




CLARK,NV                                                     Page 3 of 98                                       Printed on 11/1/2016 4:58:39 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                           Comment:                                                                          Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 527 of 807




                                                                                                                            20020~ 10
                                                                                                                             . 01313
                   ARTICLE VI.

                         Permitted Uses and Restrictions ..............................•.... 31
                         6.01 Improvements and Use ..................................... 31
                         6.02     Animals ................................................. 31
                         6.03     Commercial or Other Non-Residential Uses ..................... 31
                         6.04     Utility Serv1ce ............................. , . . . . . . . . . . . . . . . 32
                         6.05     Nuisances . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 32
                         6.06     Garbage ................................................ 32
                         6.07     Antennae. Satellite Dishes ~nd Solar Collectors .................. 32
                         6.08     Signs . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 32
                         6.09     Equipment and Machinery ..................................                                                32
                         6.10     Laundry .................................................                                                 33
                         6.11     Propane Tanks ...........................................                                                 33
                         6.12     Maintenance of Lawn and Plants .............................                                              33
                         6.13     Vehicle Parking . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         33
                         6.14     Leases ..................................................                                                 34
                         6.15     Resubdivision . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     35
                         6.16     Improvements ............................................                                                 35
                         6.17     Taxes . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     35
                         6.18     Rules and Regulations .....................................                                               35
                         6.19     Hazardous Substances . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            35
                         6.20     Party Walls ..............................................                                                35
                         6.21     Exterior Holiday Decorations.                 . .............................                             35
                   ARTICLE VII.

                         Architecture Committee . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         36
                         7.01   Establishment of Committee .................................                                                36
                         7.02 Members of Committee . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                36
                         7.03 Architectural Design Guidelines ..............................                                                36
                         7.04 Landscape Standards ......................................                                                    37
                         7.05 Review of Proposed Improvements ...........................                                                   37
                         7.06 Meetings of the Committee . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 38
                         7.07 No Waiver of Future Approvals ...............................                                                 38
                         7.08 Compensation of Members ..................................                                                    38
                         7.09 Inspection of Work ........................................                                                   38
                         7.10 Nonliabilily of Committee Members ............................                                                39
                         7.11 Variances ...............................................                                                     40
                         7.12 Obligations with Respect to Zoning and Subdivisions . . . . . . . . . . . . . .                               40
                         7.13 Indemnification of Architecture Committee ......................                                              40

                   ARTICLE VIII.

                         Mortgagee Provisions                     . ...................................... 40

                                                                             iv




CLARK,NV                                                       Page 4 of 98                                         Printed on 11/1/2016 4:58:39 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                           Comment:                                                                        Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 528 of 807




                                                                                                                           200j0510
                                                                                                                           .01 IJ
                         8.01      Notices of Action ........................................ , . 41
                         8.02     Special Provision ... , . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 41
                         8.03 Other Provisions for First Mortgages . . . . . . . . . . . . . . . . . . . . . . . . . . . 42
                         8.04      No Priority ............................................... 42
                         8.05 Notice to Association ....................................... 42
                         8.06     Amendment by Board .................................... _ . 42
                         8.07     Applicability .............................................. 43
                         8.08     Failure of Mortgagee to Respond ............................. 43

                   ARTICLE IX.

                         Annexation . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 43
                         9.01     Annexation of Additional Property by Association ...............•.                                        43
                         9.02     Annexation by Declarant . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           43
                         9.03     Procedure for Annexation . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            43
                         9.04     Deannexation . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      44

                   ARTICLE X.

                         General Provisions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     44
                         10.01 Tenn . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   44
                         10.02 Resale of Lots ............................................                                                  44
                         10.03 Lease of Property .... , ..........................•.........                                                45
                         10.04 Amendment ..............................................                                                     45
                         10.05 Enforcement and Nonwaiver ............................ , ....                                                47
                         10.06 Notices .................................................                                                    48
                         10.07 Construction .............................................                                                   48
                         10.08 State Law . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .      49
                         10.09 Priorities, Inconsistencies ...................................                                              49




                                                                              '




CLARK,NV                                                       Page 5 of 98                                        Printed on 11/1/2016 4:58:39 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                  Comment:                                                      Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 529 of 807




                                                                                                   10010510
                                                                                                   .~1)13

                                                          DECLARATION
                                 OF COVENANTS, CONDITIONS, ANO RESTRICTIONS FOR
                                                           SANTA ROSA

                         THIS DECLARATION {the NDeclaration~) is made this _ _ day of May, 2002, by
                   Centex Homes of Nevada. a Nevada general partnership (the NDeclarant").

                                                            ARTICLE I.

                                                              Recitals

                          1.01   Real Property. Declarant is the owner of certain real property located entirely
                   in Clar1t County, Navada, more particular1y described in Exhibit NA" attached hereto (the
                   "Propertyft). The Property shall include any additional real property that may from time to
                   time be annexed thereto.

                          1.02   Planned Community. Declarant desires to develop the Property and, if Declarant
                   so elects, lhe adjacent land described in Section 2.02 (the "Annexable Area") as a residential
                   community and to establish covenants, conditions, and restrictions relating to the use,
                   enjoyment. maintenance. improvement, and occupancy of the Property. The residential
                   community shall be developed .as a planned community under a general plan of development
                   pursuant to the Act (as hereinafter defined) and shall be named Santa Rosa (the
                   ~Development~). If the entire Annexable Area is annexed as provided herein, tne planned
                   community will consist of up to a maximum of one hundred twenty-five {125) Lots (as hereinafter
                   defined).

                          1.03 Owners Association. Declarant desires to establish Santa Rosa Homeowners
                   Association. a Nevada nonprofit COrJX>ralion (the "Association"), for the purpose of maintaining
                   and administering the Common Areas (as hereinafterdefined)ofthe Property, administering
                   and enforcing these covenants, conditions. and restrictions, and collecting and disbursing
                   funds pursuant to Assessrnents and charges established by these covenants, conditions.
                   and restrictions. Each Lot shall have appurtenant to it a membership in the Association.

                          1.04 The Development Declarant contemplates developing the Property, constructira;J
                   the Development. and conveying the Association Property (as hereinafter defined) to the
                   Association in a planned multi-phase development. Although Declarant contemplates
                   completing all phases of the Development and subjecting the Annexable Area to this
                   Declaration. there is no guarantee that any or all of the phases of the Development or that
                   any or all of the Annexable Area will be developed by Declarant.

                           1.05 Covenants Running With land. This Declaration shall run with the Property
                   and all parts and parcels thereof and shall be binding on all parties having any rfght. title.
                   or interest in the Property and their heirs, successors. successors-in-title, and assigns and
                   on the Association and all of its successors in interest and shall inure to the benefit of each
                   ownerormemberthereof. Each of the limitat1ons. easements, uses. obligations, covenants,




CLARK,NV                                               Page 6 of 98                           Printed on 11/1/2016 4:58:39 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                  Comment:                                                    Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 530 of 807




                                                                                                   1001~510
                                                                                                   .0013
                   conditions, and restrictions imposed hereby shall be deemed to be and construed as equitable
                   servitudes enforceable by any of the owners of any portion of the Property subject to this
                   Declaration against any other owner, tenant, or occupant of the Property or portion thereof
                   similarly restricted by this Declaration.

                          1.06 Declaration. Declarant hereby declares that all of the Property shall be held,
                   sold, conveyed, hypothecated, encumbered. leased. rented, used. occupied, and improved
                   sub}ect   to the following easements,   restrictions. covenants, and conditions, which are for
                   the purpose of protecting the value and desirability of the Property.

                                                             ARTICLE II.

                                                             Definitions

                          In addition to the terms elsewhere defined herein, the following terms shall nave the
                   following meanings whenever used in this Declaration.

                          2.01     "Act" shall mean the Nevada Common Interest Ownership Act, NRS 116.1101
                   et seq.

                          2.02 "Annexable Area" shall mean the real property described in Exhibit"B" hereto,
                   including the Contingent Annexable Area described in Exhibit "C" hereto.

                           2.03 "Architecture Committee" shall mean the committee created by Article Vll
                   of this Declaration.

                        2.04 "Articles" shall mean the articles of incorporation of the Association as may
                   be amended from time to time.

                         2.05 "Assessment" shall mean those Assessments set forth in Article Vof this
                   Declaration.

                         2.06 "Association" shall mean Santa Rosa Homeowners Association, a Nevada
                   nonprofit corporation, and its successors and assigns.

                          2.07 "Association Property" shall mean all property. real and personal, owned
                   or leased by the Association. including. without limitation, the Common Area.

                          2.08     '"Board" shall mean the Board of Directors of the Association.

                          2.09     "Bylaws" shall mean the Bylaws of the Association as may be amended from
                   time to time.




CLARK,NV                                               Page 7 of 98                          Printed on 11/1/2016 4:58:39 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                 Comment:                                                      Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 531 of 807




                                                                                                   20020~10
                                                                                                   .Oil! 1
                         2.10 ..Common Area" shall mean all real property {including the improvements
                  thereto) designated as common elements on the Site Development Plan (as hereinafter
                  defined) or any subsequent subdivision or parcel map of the Property, that is now or hereafter
                  conveyed by Declarant to the Association, including private streets. if any, sewerandwater
                  lines, easements, park areas, and other such property.

                          2.11   ''ConlingentAnnexabeArea" shall mean the real property described in Exhibit
                  "C" hereto. The ContingentAnnexable Area has been subjected to that certain Declaration
                  of Covenants, Conditions, and Restrictions for Rancho Mirage recorded on April 5, 1995,
                  ir: Book 950405 as Instrument 00740 in the Office of the Recorder of Clark County, Nevada
                  (as amended, the "Rancho Mirage Declaration"). Anything herein to the contrary
                  not.vithstanding, in no event shall the Contingent Annexable Area or any portion thereof
                  be added to the Property, subjected to this Declaration, or included within the jurisdiction
                  of the Association pursuant to Article IX hereof unless and until such property has been duly
                  deannexed from coverage of the Rancho Mirage Declaration. Declarant makes no
                  representation or warranty of any kind. express or implied. that the ContingentAnnexable
                  Area or any portion thereof will ever be deannexed from coverage of the Rancho Mirage
                  Declaration or that it will be added to the Property, subjected to this Declaration, or included
                  within the jurisdiction of the Association.

                         2.12 "Declarant" shall mean Centex Homes of Nevada, a Nevada general partnership,
                  and its successors and assigns.

                      2.13 "Design Guidelines" shall mean the guidelines adopted by the Architecture
                  Committee as set forth in Article VII.

                        2.14 "Development" shall mean the residential community referred to as Santa
                  Rosa being developed by Declarant as a planned community pursuant to the Act.

                          2.15 "Eligible Holder" shall mean the Persons (as hereinafter defined) described
                  in Article VIII of this Declaration.

                        2.16 "lmprovemenf' shall mean the buildings, structures, improvements, roadways,
                  parking areas, lighting fixtures, fences, walls, hedges, plantings, planted trees and shruGs,
                  swimming pools, patios, decks. outbuildings, athletic facilities. and all other structur·es or
                  landscaping of every type and kind upon the Property.

                          2.17   "Lessee" shall mean any Person who rents, leases, or subleases any lot
                  from   an Owner (as hereinafter defined) or a Person in privity with an Owner.
                        2.18 "Lot" shall mean each of the Jots, with the exception of the Common Area,
                  shown on the Site Development Plan or any subsequent subdivision or parcel map of the
                  Property, and alllmprovements erected, constructed, or located thereon.



                                                                 3




CLARK,NV                                              Page 8 of 98                           Printed on 11/1/2016 4:58:40 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                    Comment:                                                    Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 532 of 807




                             2.19 "Membe(' shall mean each oflhose OwnerswhoaremembersoftheAssociation.

                             2.20   "Mortgage"' shall mean a mortgage or deed of trust that encumbers ar.y Lot.

                             2.21   "NRS" shall mean the Nevada Revised Statutes.

                          2.22 "OWner" shall mean the record owner, whetheroneor more persons or entities,
                   of a fee simple title to any Lot, including contract sellers but excluding those having such
                   interest merely as security for the performance of an obligation.

                          2.23 "PartyWalls"shall mean those walls, other than Perimeter Walls (as hereinafter
                   defined), located anywhere on the Development that form Lot boundaries.

                         2.24 ..Perimeter Walls" shall mean those walls all or a part of which are located
                   on Association Property or separate a lei from Associatior: Property.

                             2.25   "Person" shall mean a person. partnership, corporation, trustee, or other legal
                   entity.

                          2.26 "Property'' shall mean that real property located entirely in Clar1< County, Nevada.
                   more particularly described in Exhibit "A" attached hereto. ihe Property shall include any
                   additional real property that may from time to time be annexed thereto.

                          2.27 "Record, "Recording," or "Recorded" shall mean to file, the filing, or filed
                   of record a legal instrument in the Office of the Recorder of Clark County, Nevada, or such
                   other place as may be designated as the official location for recording deeds, plats. and
                   similar documents affecting title to real property in Clark.

                         2.28 '"Residence" shall mean and refer to any dwelling constructed on a lot in
                   accordance withal! local, state, and federal laws and this Declaration.

                         2.29 "Rules and Regulations" shall mean the rules and regulations adopted by
                   the Board pursuant to Section 4.10 of this Declaration.

                         2.30 "Site Development Plan" shall mean the general plot plan of the Development
                   attached hereto as Exhibit ~o ,"

                          2.31 "Subdivision Map"shaiiiTlf"..anthe map(s)orplat(s)ofthe Development Recorded
                   or to be Recorded in the Office of the Recorder of Clarft County, Nevada.




                                                                   4




CLARK,NV                                                 Page 9 of 98                          Printed on 11/1/2016 4:58:40 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                    Comment:                                                     Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 533 of 807




                                                                                                    20020510
                                                                                                    .013i3
                                                             ARTICLE Ill.

                                                     Property and Property Rights

                            3.01      Description ofthe Property. The Property sha\1 consist of the Lots and the
                    Common Area.

                             3.02     No Representations or Warranties. No representations orwarranties of any
                    kind, express or implied. other than the standard warranty required by VA and FHA, have
                    been given or made by Declarant or its agents or employees in connection with the Property
                    or any portion thereof. or any Improvement thereon, its physical condition, zoning, compliance
                    with applicable laws, or fitness for intended use, or in connection with the subdivision, sale,
                    operation, maintenance, cost of maintenance, taxes, or regulation thereof as a common-interest
                    community, except as specifically and expressly set forth in this Declaration and excep: as
                    may be f1led by Declarant from time to time with any governmental authority. To the extent
                    permitted by law. the Association, each and every Owner. and their successors and assigns
                    hereby waive, and Declarant hereby expressly disclaims and excludes, any and all express
                    and implied warranties created by NRS 116.4113, NRS 116.4114, and other applicable laws,
                    including, without limitation. any implied warranty of quality, merchantability, fitness for a
                    particular purpose. habitability, and workmanship. By virtue of obtaining its ownership interest
                    in the Property or any portion thereof, the Association and each and every Owner hereby
                    covenant and agree that the period for commencing any action against Declarant for breach
                    of any obligations or warranties arising under NRS 116.4113 or 116.4114 shall be two (2)
                    ye<'!rs 8fter the CBI)Se of action accrues.

                             3.03 Lots.

                                     (a)     Reciprocal Easements. Each Lot and its Owner shall have an easement
                    and the same is hereby granted by the Declarant over all adjoining parcels for the purpose
                    of accommodating any encroachment due to engineering errors. errors in original construction.
                    settlement or shifting of the land, or any other cause; provided, however, that in no event
                    shall an easement for encroachment be created in favor of an Owner or Owners if the
                    encroachment occurred due to construction or alteration by the Owner (except Declarant)
                    or the negligence or willful misconduct of the Owner. In the event a structure on any Lot
                    is partially or totally destroyed and then repaired or rebuilt, the Owners of each Lot agree
                    that minor unintentional encroachments over adjoining Lots not to exceed one (1) fool shall
                    be permitted and that there shall be easements for the maintenance of the encroachments
                    so long as they shall exist.

                                  {b)   Association Easements. There are hereby reserved to the Association
                    such easements across the Property as are necessary to perform the duties and obligations
                    of the Association.




                    I~~ ''"•"·"~""''"-'''"'   '•"'
                                                                   5




CLARK,NV                                                Page 10 of 98                           Printed on 11/1/2016 4:58:40 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                    Comment:                                                         Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 534 of 807




                                                                                                       2001 510
                                                                                                       .013 3

                                  (c)      Utilities Easement. There is hereby granted in favor of Declarant, the
                   Association, and their respective licensees an easement across each Lot for purposes of
                   installing, facilitating, maintaining, repairing, replacing, or inspecting sewer. drainage,
                   underground power lines, cable television systems, or other utilities over, under. and across
                   the Property. All utility hook.ups and fixtures and improvements relating thereto shall be
                   the property of the Association.

                                 (d)    Emeroency Reoairs Easement. In addition teal! other easements reserved
                   or granted herein, there is hereby reser.~ed to the Association an easement across each
                   Lot as is necessary to permit a reasonable right of entry onto each Lot for the purpose of
                   performing emergency repairs or to do other work reasonably necessary for the proper
                   maintenance of the Development.

                                    (e)   Maintena nee Obligation of Owners. It shall bet he duty of each Owner
                   at its sole cost and expense. subject to the provisions of this Declaration requiring approval
                   oftheArchitecture Committee, 10 maintain, repair, replace. and restore (including any mainte-
                   nance, repairs, replacement. or restoration required as a result of any damage or destruction
                   of the Property by casualty or otherwise) any Residence, Improvements, and landscaping
                   located on its Lot and the Lot itself in a neat, sanitary, and attractive condition and in accordance
                   with the Rules and Regulations of the Association, all as determined by the Board in its sole
                   and absolute discretion. 11 any Owner shall permit any Residence, Improvements, or the
                   Lot to fall into disrepair or to become unsafe. unsightly. or unattractive or otherwise violate
                   this Declaration, the Association shall have the right to seek any remedies at law or in equity
                   it may have. In addition. the Board shall have the right, but not the duty, if such unacceptable
                   maintenance is not corrected within thirty (30) days of written notice from the Association
                   (or such longer period if reasonably necessary under the circumstances. provided the owner
                   is diligently per1orming such maintenance or repairs). to enter upon such Owner's Lot and
                   make such repairs and perform such maintenance and charge the costs thereof to Owner.
                   Such costs shall be enforced, including penalty fees and costs, as an Assessment on the
                   Lot pursuant to Article V hereof.

                               (f)    Insurance Qb!igationsofOwners. Each Owner shall insure the Residence
                   and Improvements on its Lot against toss or damage by fire or by any other casualty in an
                   amount as near as practical to the full replacement value of the Residence and pertinent
                   Improvements. without deduction for depreciation or coinsurance.

                           3.04 Association Property.

                                     (a)   Convevanceof Association Propertv. The Declarant hereby covt!nants
                    for itself, its successors, and assigns, at the time of the conveyance of the twelfth (12th)
                    Lot in the Property to an Owner not the Declarant, that itwili convey title to the Association
                    Property on the Property to the Association free and clea; of all encumbrances and liens,
                    e)(cept utility easements, covenants, conditions, and reseiVations then of record, including,
                    without limitation, those set forth in this Declaration. Similar conveyances shall be made


                    '·-~·-"·"~-·   .... " .......                    6




CLARK,NV                                                Page 11 of 98                             Printed on 11/1/2016 4:58:40 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                    Comment:                                                       Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 535 of 807




                                                                                                       1~0M W
                                                                                                       .D13i3
                    to the Association at the time of the conveyance to an Owner not the Declarant of the first
                    Lot in each subsequent phase of the Development.

                                    (b)    Declarant's Right to Inspect Prior to Conveyance. At any time prior
                    to conveyance by Declarant to the Association of the Association Property with respect to
                    any given phase of the Development, Declarant shall have the right, but not the obligation,
                    after providing reasonable notice to the Association. to cause, from time to time. an independent
                    third party approved by Declarant and the Association to conduct inspections and tests of
                    all or any parts of the Common Area in order to ascertain the physical condition of the
                    Improvements thereon and determine whetl'1er maintenance, repairs. or replacements of
                    any such Improvements are indicated. If the Declarant causes any such tests or inspections
                    to be conducted, it shall pay all costs thereof, restore the affected portion of the Property
                    to its condition immediately prior to the inspeclions and tests, and indemnify the Association
                    and Owner(s)of any affected unit(s) from any damage resulting therefrom. The Declarant
                    may have a representative accompany the inspector if it so elects. The Declarant shall provide
                    the .Association with copies of any written reports describing the results of any such inspections
                    or tests. The third party inspector. the Declarant, and its respective representatives shall
                    have such rights of entry on. over, under, across. and through the Property as may be
                    reasonably necessary to exercise the rights described in this subsection 3.04(b).

                                   (c)     Common Area Ownership. The Common Area shall be owned by the
                    Association in fee simple for the use, enjoyment, and convenience of the Owners and shall
                    contain the roadways, walkways, landscaped areas, recreational areas, parking areas, storage
                    and trash areas. utility easements, all Penmeter Wai!s, and aii oiher areas oi the PiOperty
                    nota part of the Lots. Each Lot and its Owner shall have an easement over al! oft he Common
                    Area, and such easement is hereby granted, transferred, and conveyed to all Owners by
                    tt1e Declarantforthe benefrtofthe Lots, the Owners. and each ofthem, and for their respective
                    families, guests, and invitees for ali of the foregoing purposes. In furtherance of the establish·
                    ment of this easement, the individual deeds to the Lots may, but shall not be required to.
                    set forth the foregoing easements.

                                 (d)     !,Jse. Each Member or Lessee who resides on the Property and their
                    respective families. guests. and invitees who reside with them shall be entitled to use the
                    Common Area subject to the following:

                                           (i)      the right of the Association to charge reasonable dues, use fees.
                    and other fees for those facilities or amenities forwhich fees are normally charged or assessed:

                                         (ii)   the right of the Association to suspend the rights to the use of
                    any Association Property by any Member or Lessee and theirfami!ies, guests, and invitees
                    for any period during which any Assessment against the Member's property remains past
                    due and unpaid, and after notice and hearing by the Board, the right of the Association to
                    invoke any remedy set forth in Article V of this Declaration;



                                                                    7




CLARK,NV                                                Page 12 of 98                            Printed on 11/1/2016 4:58:40 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                    Comment:                                                        Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 536 of 807




                                                                                                       2~~20510
                                                                                                       .0131J
                                        (iii) the right of the Association to require that security deposits be
                    made and deposited with the Association to secure all sums payable to the Association and
                    to guarantee performance of all duties due and owing or to become due and owing to the
                    Association:

                                           {iv)   the rightofthe Association to allow the general public, or certain
                    segments thereof, to use any Association Property, and in the discretion of the Board, to
                    charge useorotherfees therefor subject to subsection (i) above provided that the Association
                    may r.ot charge fees for access to public parks and sport fields:

                                       (v)     such n·ghls to use the Association Property as may have been
                    granted by the Association to others;

                                       {vi)   such covenants, conditions, and restrictions as may have been
                    imposed by the Association or prior owners on the Association Property;

                                      (vii) such rules and regulations for the use of the Association Pmperty
                    as may be imposed by the Association from time to time; and

                                       (viii) the right of Declarant to use the Common Area for sales.
                    development, and related activities pertaining to the Development.

                                    (e)    Mainle!laftceof Association Property. The Association shall be responsible
                    fo; all of the costs and maintenance of the A.sscciation Property. The Association ma.y at
                    any time and without any approval of the Owners being required:

                                             {i)   reronstruct, repair, replace or refinish any Improvement, structure,
                    fixture, or facility located on the Common Area or any portion thereof in accordance with:
                    (A) the last plans thereof approved by the Board; (B) the original plans for development of
                    the Property; or (C) if neither(A) nor(B) is applicable and if such Improvement was previously
                    in existence, then in accordance with the original designs, plans, finishing, or standards of
                    construction of such Improvement as it was originally constructed:

                                        {ii)  construct. reconstruct. repair, replace, or refinish any road
                    improvement or surface upon any portion of the Common Area used as a road, street, walk,
                    or parking area;

                                        (iii) replace injured and diseased trees or other vegetation on the
                    Common Area and plant trees, shrubs, and ground cover to the extent that the Board deems
                    necessary for the conservation of water and soil and for aesthetic purposes;

                                          (iv)  place and maintain upon any such area such signs, markers,
                    and lights as the Board may deem appropriate fOftheproper identification, use, flnd regulation
                    thereof;


                                                                    8




CLARK,NV                                                Page 13 of 98                             Printed on 11/1/2016 4:58:40 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                   Comment:                                                      Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 537 of 807




                                                                                                    1~v2u5IO
                                                                                                     .OiJIJ
                                          (v)     remove all papers, debris, anet refuse from the Common Area,
                    wash or sweep paved areas as required, and clean and relamp lighting fixtures as needed;

                                          (vi)    repaint striping. markers. directional signs. and similar devices
                    as necessary;

                                          (vii)   maintain. repair, and replace, as necessary, the PerimelerWalis:
                    notwithstanding the foregoing, Owners of Lots bounded by PerimeterWaRs shall be responsible
                    for all aesthetic maintenance and repair of that side of the Perimeter Walls bounding the
                    Owners' respective Lots;

                                     (viii)       pay all real estate and personal property taxes and Assessments
                    on the Common Area:

                                          (ix)    pay all electrical, water. gas sewer, trash collection, telephone,
                    and other utility charges or fees for services furnished to the Common Area and all water
                    charges or fees for services furnished to the Lots:

                                            (x)      pay for and keep in force at the Association's expense public
                    liability. casualty, and fire insurance with companies acceptable to the Association in amounts
                    and with limits of liability desired by the Owners or required of the Owners pursuant to any
                    other recorded document affecting the Property, such insurance to name the Association.
                    the Owners, or both as named insureds: and

                                        (xi)   do all such other and further acts that the Board deems necessary
                    to preserve and protect the Common Area and the beauty thereof in accordance with the
                    general purposes for use and enjoyment of the Property described in this Declaration;

                    The Board shall be the sole judge as to the appropriate maintenance of alt portions of the
                    Common Area. Nothing herein shall be construed so as to preclude the Association from
                    delegating its powers set forth above to a manager.

                                    (f)   Improvements on Common Area. Any other provision of this Declaration
                    to the contrary notwithstanding, until Declarant has sold ninety percent (90%) of tile Lots,
                    no land within the Common Area may be improved by any Improvement. used, or occupied
                    except in such manner as shall have been approved by Declarant in its sole and absolute
                    discretion. Declarant may delegate its right to grant such approvals to the Board. No approval
                    shall be granted that would be in contraYention of the zoning or other local regulation then
                    in effect for the area in question.

                                   (g)   Damages. Each Owner or Lessee shall be liable to the Association
                    for any damage to the Association Property that may be sustained by reason of the negligent
                    or intentional misconduct of such Owner or lessee or of its family, guests, or invitees. If
                    the Lot, the ownership or leasing of which entitles the Owner or Lessee thereof to use the
                    Association Property, is owned or leased jointly or in common, the liability of all such joint

                                                                   9




CLARK,NV                                               Page 14 of 98                            Printed on 11/1/2016 4:58:40 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                                    Comment:                                                         Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 538 of 807




                                                                                                                        20020510
                                                                                                                        .0131J
                    or common Owners or Lessees shall be joint and several. The amount of such damage
                    may, in addition to any other rights or remedies. be assessed against such Person's real
                    and personal property on or within the Property, including the leasehold estate of any lessee,
                    and may be collected as provided in Article V below for the collection o'f Assessments.

                                            (h)              Damage and Destruction. In the case of destruction of or damage to
                    the Association Property by fire or other casualty. the Board shall have the followirig rights
                    and privileges.

                                                             (i)   ,l,.j~~nstn.Jcj.      If the costto repair or replace the Association
                    Property, over and above all insurance proceeds, is less than twenty thousand dollars ($20 ,000),
                    the Board may, withoutthe consentofthe Members, detennineto repairorreplace the damaged
                    property with property substantially the same as those that were destroyed or damaged.


                                          {ii)   Decision to Reconstruct. If the cost to repair or replace the
                    Association Property. over and above all insurance proceeds, is equal to or greater than
                    twenty thousand dollars ($20,000) and the Board determines to rebuild any Association Property
                    destroyed or damaged in the form substantially the same as those that were destroyed or
                    damaged, it shall prepare plans and obtain bids following the notice proceeding for a special
                    Assessment as set forth in Article V hereof. The Board shall submit the plans and bids to
                    the Members for approval, which approval shall require the affirmative vote of sixty-seven
                    percent (67%) of the Members entitled to vote. The Board will modify the plans until the
                    raquired vote is ob!alned or the restoration becomes subject to subsection 3.03(h)(i) or (iii)
                    hereof. If approved, the Board shall cause the repairs or replacements to be done and assess
                    the Members for the costs as a special Assessment.

                                           (iii)   Decision Not to Reconstruct. If the Board determines not to rebuild
                    any Association Property so destroyed or damaged or to build facilities substantially different
                    from those that were destroyed or damaged, it shall submit its decision to the Members for
                    their approval or disapproval, which approval shall require the consent of eighty percent
                    (80%) of the Members entitled to vote. If !he Members elect to approve the decision. the
                    Board shall act accordingly; but if the Members do not approve the decision, the Board shall
                    proceed to repair or rebuild the damaged or destroyed facilir; pursuant to subsection 3.03(h)(i)
                    or (ii) hereof.

                                           (iv)  Qi!mage Dun'ng Oed?&ntContrm Period. Should any Association
                    Property become destroyed or damaged before Declarant has sold all of the Lots, the
                    Association shall rebuild or repair such Association Property in a manner consistent with
                    its on'ginal condition as constructed by Declarant.

                                          (v)    Qslmage or Destruction by Owner. !n the event any portion of
                    the Common Area is damaged or destroyed by an Owner, a Lessee, or any of their respective
                    guests. tenants, licensees, or agents. the Board may repair said damaged area. In the event
                    the Board determines to repair said damage. the amount necessary for such repairs shali

                               --
                    ',_,,.......    ......,._,.,   .......                        10




CLARK,NV                                                                 Page 15 of 98                            Printed on 11/1/2016 4:58:40 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                              Comment:                                                Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 539 of 807




                                                                                                               1~~10)10
                                                                                                               .OIJ13
                   be paid by the Owner or Lessee, upon demand, to the Board. If said amounts are not
                   immediately paid. they shall be deemed to be Assessments, and the Board may enforce
                   collection of same in the same manner as provided in Article V hereof for collection and
                   enforcement of Assessments.

                               3.05       Special Declarant's Rights. Declarant and its agents shall have the following
                   rights and privileges, all of which shall terminate immediately upon the sale by Declarant
                   of the last Lot within the Property:

                                  (a)   Easement for Repairs. A nonexclusive easement overthe Association
                   Property for the purpose of making repairs to the Association Property and the lots if access
                   thereto is not reasonably available:

                                  (b)    Easement for Sales. A nonexclusive easement over the Association
                   Property (which easement shall extend to the sales agents, customers. prospective customers.
                   guests, and representatives of Declarant) for sales, display. access. ingress. egress. exhibits.
                   and other purposes deemed useful by Declarant and its agents in advertising and promoting
                   the sale of lots (including the erection ol signs. flags, and banners) until all lots are sold
                   by Declarant. In exercising the easement, Declarant shall not unreasonably interfere with
                   the rights and enjoyment of the Owners:

                                  (c)    Easement for Development A nonffi(clusive easement over the Association
                   Property (which easement shall be in favor of Declarant and its agents, contractors, and
                   Jicensees)for access. ingress. and egress over, in, upon, under. and across the Association
                   Property, including, but not limited to, the right to store materials thereon and to make such
                   other use thereof as may be reasonable, necessary, or incidental to Declarant's development
                   of the Property: provided. however, that no such rights or easements shall be exercised
                   in such a manner as to reasonably interfere with the occupancy, use, enjoyment, or access
                   by any Owner:

                                         (d)          Right to Lease. The right to lease any unsold Lot: and

                                   (e)   Other Rights. Each ofthe developmental rights and special declarant's
                   rights set forth in NRS 116.11034 and 116.110385.

                                                                       ARTICLE IV.

                                            Owners' Association; Membership and Voting Rights

                               4.01      Association.

                                    {a)     Qrsruli~. The Association is a nonprofit Nevada corporation created
                   for the purposes. charged with the duties. and vested with the powers prescribed by law
                   or set forth in its Articles and Bylaws or in this Declaration. Neither the Articles nor Bylaws


                   '   . ,..,,.,,,_, ..............
                        ~           _,                                      II




CLARK,NV                                                          Page 16 of 98                        Printed on 11/1/2016 4:58:40 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                                         Comment:                                                      Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 540 of 807




                                                                                                                          2001G510
                                                                                                                          .OiJIJ
                   shall for any reason be amended or otherwise changed or interpreted so as to be inconsistent
                   with this Declaration.

                                 (b)   Successor Associatior.s. In the event the Association is dissolved at
                   any time this Declaration is in force or effect, a nonprofit unincorporated association shall
                   automatically and without further action or notice be formed to succeed to all the rights and
                   duties of the Association. The successor unincorporated association shall be governed
                   by the laws of the State of Nevada and, to the extent not inconsistent therewith, by the Articles
                   and Bylaws of the Association as if they were created for the purpose of governing the affairs
                   of an unincorporated association. In the event an unincorporated association is formed pursuant
                   lo this subsection 4.01{b), the appropriate officers of the Association or the successor
                   association shall t.:.ke all reasonable efforts to restore or reincorporate the Association as
                   a nonprofit Nevada corporation.

                           4.02 Membership Rights. Only Owners, including Declarant, shall be Members
                   of the Association. Each Owner shall automBtically be a Member of the Association without
                   the necessity of any further action on its part. and membership in the Association shall be
                   appurtenant to and shall run with the property interest ownership that qualifies the Owner
                   to membership in the Association. Membe~ship in the Association may not be severed from
                   orin anyway transferred, pledged, mortgaged, o;atienated except with the title to the property
                   ownership interest that qualifies the Owner thereof to membership and then only to the
                   transferee of title to the property interest. Any attempt to make a prohibited severance, transfer,
                   pledge, mortgage, or alienation shall be void. Subject to subsection 4.03(d) and Section
                   5.07 hereof and as set forth in the Articles, each Member shall be entitled to one (1) vote
                   for each Lot owned by that Member.


                                4.03         Control of Association.

                                  (a)   Period of Declarant Control of Associat\,QQ. Notwithstanding any other
                   provision of this Declaration or of the Byiaws, and subject to subsection (b) below, there
                   shall be a period dunng which Declarant shall control the Association, and Declarant or a
                   Person designated by Declarant may appoint and remove all or some of the officers and
                   directors of the Association. The period of Declarant control of the Association terminates
                   no later than the earlier of:

                                        (i)    sixty (60)daysafterthe conveyance by Declarant of seventy-five
                   percent (75%) of the Lots that may be created within the Property to Owners other than the
                   Declarant

                                         (ii)  five (5) years after the Declarant has ceased to offer Lots for
                   sale in the ordinary course of its business: or

                                                               (iii)   five (5) years after any right to annex new Lots was last exercised
                   by Declarant.

                   ' '·~· .... ''·"~·· """ ··~· '   ... ..,,
                                                        '                               12




CLARK,NV                                                                     Page 17 of 98                           Printed on 11/1/2016 4:58:40 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                                       Comment:                                                   Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 541 of 807




                                                                                                                      20020510
                                                                                                                      .01313
                                  Provided. however, that Declarant may. but is not obligated to, voluntarily surrender
                   the right to appoint and remove officers and Board members as provided herein before the
                   termination period set forth above. provided that Declarant may require that specified actions
                   of the Association or the Board may require Declarant approval prior to becoming effective.
                   Such surrender of rights shall only be by a recorded instrument.

                                              (b)             Q_omoosition of the Board. Not later than sixty (60)daysafterconveyance
                   by Declarant of twenty-five percent (25'l'o) of the Lots that may be created within the Property
                   to Owners other than Declarant, at least one (1) member of the Board and not less than
                   twenty-five percent (25%) of the members of the Board must be elected by Owners other
                   than Declarant. Not later than sixty (60) days after conveyance by Declarant of fifty percent
                   (50%) of the Lots that may be created within the Property to Owners other than Declarant,
                   not less than thirty-three and one-third percent (33-1/3%) of the members of the Board must
                   be elected by Owners other than Declarant. Upon expiration of the Declarant control period
                   set forth in subsection (a) above, one hundred percent (1 00%) of the Board shall be elected
                   by Owners other than Declarant.

                                 (c)     Removal of Board Members. Notwithstanding any provision of this
                   Declaration or the Bylaws to the contrary, the Owners, by a two-thirds (2/3)vote of all Persons
                   present and entitled to vote at any meeting of the Owners at which a quorum is present,
                   may remove any member of the Board with or without cause. other than a member appointed
                   by the Declarant.

                                  (d)       Joint or Common OwnershiP. If any property interest. ownership of
                   which entitles the Owner thereof to vote, is held jointly or in common by more than one (1)
                   Person, the vote or votes to which such property interest is entitled shall also be held jointly
                   or in common in the same manner. However, the vote or votes for such property interest
                   shall be cast, if at all, as a unit. and neither fractional votes norsplitvotes shall be allowed.
                   In the event joint or common Owners are unable to agree among themselves as to how their
                   vote or votes shall be cast as a unit, they shall lose the right to cast their vote or votes on
                   the matter in question. In the event more than one vote is cast for a particular membership,
                   none of the votes shall be counted, and all such votes shall be deemed void. Any joint or
                   common Owner shall be entitled to cast the vote or votes be!onging to the joint or common
                   Owners unless another joint or common Owner shall have delivered to the Secretary of the
                   Association prior to the time for casting such vote a written statement to the effect that the
                   Owner wishing to cast the vote or votes haz not been authorized to do so by the other joint
                   or common Owner or Owners.

                                  (e)    ProxyVotino. Except as otherwise provided in this Section, votes allocated
                   to a Lot may be cast pursuant to a revocable written proxy executed by the Owner thereof,
                   authorizing the holder to cast the Owner's votes on any matter. An Owner may give a proxy
                   only to a member of his immediate family, histenantwho resides in the Development, another
                   Owner who resides in the Development, or any other Person permitted by the Act. If a Lot
                   is owned by more than one Person, each Owner of the Lot may vote or register protest to
                   the casting of votes by the other Owners of the Lot through a proxy. A vote may not be cast

                   I   '"~ ""•'''" ~"' ,~,. ~~· ' ' " o ••I
                                                                                      13




CLARK,NV                                                                   Page 18 of 98                         Printed on 11/1/2016 4:58:40 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                                       Comment:                                                Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 542 of 807




                                                                                                                     2002)510
                                                                                                                     .01013
                    pursuant to a proxy for the election of a member of the Board. A proxy shall be void if (i)
                    it is not dated, (ii) it purports to be revocable without notice, (iii) it does not designate the
                    votes that must be cast on behalf of the Owner who executed it, or{iv) the holder of the proxy
                    does not disclose at the beginning of the meeting for which the proxy is executed, the number
                    of proxies pursuant to which he will be casting votes and the voting instructions received
                    for each proxy. Every proxy shall terminate immediately after the conclusion of the meeting
                    for which it was executed. An Owner may revoke a proxy only by actual notice of revocation
                    to the person presiding over a meeting of the Association.

                                               (f)            ~mulfltive   Votiog. Voting shall not be cumulative.

                            4.04 Meetin~s of Members. The Association shall hold an annual meetin!=l of the
                    Members. The annual meetinq of the Members shall be held on or about one (1) vear after
                    the date of the last annual meetin!l. If the Members have not held a meeting for one (1)
                    year. a meeting of the Members must be held in accordance with the Act. The Association
                    shall also hold at least one (1) regular meeting other than the annual meeting each year.
                    Special meetings of the Members may be called at any reasonable time and place by notice
                    by the President of the Association, the Board, or Members having ten percent (10%) or
                    more of the total votes.

                                     (a)   ~.Q.ti®. Not less than ten (10) days (twenty-one (21) days in the event
                    of a meetin.Q at which an Assessment for a captlal improvement or commencement of a
                    civil action is to be considered or action is to be taken on such an Assessment) nor more
                    than sixt'; (50} days in advai"!ce of each mee!ing of the Members. the Secretary shall cause
                    notice of the meeting to be hand-delivered or sent prepaid by United States mail to the mailing
                    address of each Lot or to any o!her mailing address designated in writing by the Lot Owner.
                    The notice of the meeting must state the time and place of the meeting and include a copy
                    of the agenda for the meeting. The notice must at so include notification of the right of an
                    O.Vner (i)to have a copy of the minutes or a summaryoithe minutes of the meeting distributed
                    to the OWner upon request and, if required by the Board. upon payment to the Association
                    of the cost of making the distribution. and (ii) to speak to the Association.

                                    (b)     Agenda. The agenda for each meeting of the Owners must consist
                    of (i) a clear and complete statement of the topics scheduled to be considered during the
                    meeting, including. without limitation, any proposed amendment to the Declaration or Bylaws.
                    any fees or Assessments to be imposed or increased by the Association. any budgetary
                    changes, and any proposal to remove an officer or member of the Board, (ii) a list describing
                    the items on which action may be taken and clearly denoting that action may be taken on
                    those items, and (iii) a period devoted to comments by Owners and discussion of those
                    comments. In an Emergency (as hereinafter defined), the Owners may take action on an
                    item which is not listed on the agenda. The notice. agenda, and Ownercornment requirements
                    of subsection 4.04(a) and this subsection4.04{b) apply to both reg~1lar and special meetings
                    of the Members.



                    I ,.,. "'" ''•'' ~~ ~•• '•~'' •••' ,,..
                                                                                     14




CLARK,NV                                                                   Page 19 of 98                        Printed on 11/1/2016 4:58:40 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                                  Comment:                                               Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 543 of 807




                                                                                                              20020510
                                                                                                              .01313
                                  (c)   Emergency. As used in this Section 4.04, "Emergency" means any
                    occurrence or combination of occurrences that (i) could not have been reasonably foreseen,
                    (ii) affects the health, welfare, and safety oft he Owners, (iii) requires the immediate attention
                    of, and possible action by, the Board, and (iv) makes it impracticabie to comply with the notice
                    provisions of this Section.

                                           (d)              Quorum. Thepresenceatanymeeting, inpersonorbyproxy, of Members
                    entitled to vote at least twenty percent (20%) of the total votes outstanding shall constitute
                    a quorum. If any meeting cannot be held because a quorum is not present, the Members
                    present, either in person or by pro)(y, may adjourn the meeting to a time not less than forty-eight
                    (48) hours nor more than thirty (30) days from the time set for the original meet:ng, at which
                    adjourned meeting the quorum requirement shalt be the Members entitled to vote fifteen
                    percent (15%) of the total votes outstanding.

                                   (e)    Organization. The Chairman of the Boa;d,orin his or her absence the
                    Vice-Chairman. shall call meetings of Members to order and aetas chairman of such meetings.
                    In the absence of both of said officers, any Member entitled to vote thereat or any proxy
                    of any such Member may call the meeting to order, and a chairman of the meeting shall
                    be elected. TheSecretaryoflheAssociation, orin his or her absence the Assistant Secretary,
                    shall act as secretary of the meeting. In the absence of both the Secretary and the Assistant
                    Secretary, a secretary shall be selected in the same manner as that provided aboveforselecting
                    a chairman of the meeting.

                                   (f)    .Aclin.n.J':1v MPmhers Except as provided otherwise in this Declaration
                    or the Bylaws, any action (including any approvals required under this Declaration) may be
                    taken at any legally convened meeting of the Members at which a quorum is present upon
                    the affirmative vote of the Members having a majority (or such greater percentage as may
                    be required elsewhere in this Declaration for approval of the Members of any matter) of the
                    total votes present at such meeting in person or by proxy. Only votes cast in person. by
                    secret ballot. or by proxy may be counted.

                                 (g)     Minutes. Not more than thirty (30)days after any meeting of the Members.
                    the Secretary shall cause the minutes or a summary of the minutes of the meeting to be
                    made avanable to the Members. A copy of the minutes or a summary of the minutes must
                    be provided to any Member who pays the Association the cost of providing the copy.

                          4.05 Duties of the Association. Subject to and in accordance with this Declaration.
                    the Association shall have and perform each of the following duties for the benefit of the
                    Members of the Association:

                                            (a)             Memb~.    The Association shall accept all Owners as Members.

                                   {b)   Recreation and Ooon Soace Areas and Common Area. The Association
                    shall accept, own, operate. and maintain all recreation and open space and Common Area
                    that may be conveyed. leased, licensed. or otherwise enjoyed by it. together with all

                    ' '"~ ""''"" ~'~ '"'' ·-~·'   ......,                       iS




CLARK,NV                                                               Page 20 of 98                      Printed on 11/1/2016 4:58:40 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                                           Comment:                                                  Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 544 of 807




                                                                                                                          20020510
                                                                                                                          .013i3
                    Improvements of whatever kind and for whatever purpose that may be located in said areas.
                    The Association shall accept, own, operate, and maintain all other property easements or
                    rights of use, whether real or personal, for which the Association, the Members, or the Property
                    receive any benefits. whether aesthetic or tangible.

                                                  (c)              Title to Property Upon Dissolution. The Association shall pay over or
                    convey, upon dissolution of the Association, the assets of the Association to one or more
                    exempt organizations of the kind described in Section 501(c) of the Internal Revenue Code
                    of 1986. as amended from time to time.

                                   (d}     Reoairand ~intenanceof Association Prorerty. Su~'ecttothepro~isions
                    of this Declaration pertaining to damage and destruction of Association Property and
                    condemnation. the Association shall paint, maintain, repair, and replace the Common Area.
                    including any Improvements thereon, and other Association Property enjoyed by, owned
                    by. licensed to. or leased to the Association, or shall contract for such maintenance. repair,
                    and replacement to assure maintenance thereof, in a clean, sanitary and attractive condition
                    reasonably consistent with prudent property management practices. the Association's budget,
                    and any manuals governing such maintenance, repair, and replacement as may from time
                    to time be adopted by the Board. The Board shall determine. in its sole discretion, the level
                    and frequency of such maintenance.

                                   (e)    Payment of Taxes. TheJ\ssociation shall pay all real and personal property
                    taxes and other taxes and assessments levied upon or with respect to any Association Property
                    to ~he extent that such taxes end assessments are not levied directly upo!'l the Members.
                    The Association shall have all rights granted by law to contest the legality and the amount
                    of such taxes and assessments.

                                    (f)      Insurance. The Association shall, at its sole cost and expense, obtain
                    and maintain in effect policies of insurance of such kind and in such amounts as the Board,
                    in its opinion. deems adequate or desirable, but in no event less than that required by law.
                    including the requirements of NRS § 116.3113 and, so long as the Federal National Mortgage
                    Association ("FNMA") or the Government National Mortgage fl..ssociation ("GNMAft) holds
                    a security interest in a Lot. the requirements of FNMA or GNMA. Without limiting the generality
                    of the preceding sentence, during any time Declarant is the owner of more than five (5) Lots
                    such policies of insurance shall include:

                                            (i)   Fire and extended coverEge insurance on all Improvements owned
                    by or leased to the Association in an amount not less than one hundred percent {100%)
                    of the aggregate full insurable value, meaning actual replacement cost exclusive oft he costs
                    of excavations, foundations. and footings. Such insurance shall insure the Association and
                    any mortgagees. as their interests may appear. As to each such policy that will not be thereby
                    voided or impaired, the Association hereby waives and releases all claims against the Board
                    and Declarant. and the officers. agents. and employees of each thereof, with respect to any
                    loss covered by such insurance. whether or not caused by negligence or breach of any duty
                    or agreement by said Persons, but only to the extent that insurance proceeds are received

                    ',,.~,   ... ,....   - ....
                                           -..    ~,'   •.. '··'                          16




CLARK,NV                                                                       Page 21 of 98                         Printed on 11/1/2016 4:58:40 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                     Comment:                                                          Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 545 of 807




                                                                                                         1~010110
                                                                                                         .013'3
                    in compensation for the loss. If the foregoir~g exculpatory clause is held to be invalid, then
                    the liability of the insurance company shall be primary. and the liability of the Board. Declarant.
                    and the officers. agents. and employees ofthe Board and of Declarant shall be secondary:

                                           (ii)    Liability insurance, with limits in amounts reasonably determined
                    by the Board, insuring against Iiability for bodily injury or property damage arising from activities
                    of the Association or with respect to the Association Property, including, if obtainable, a
                    cross-liability endorsement insuring each insured against liability to each other insured.
                    The liability insurance policies referred to above shall name as separately protected insureds
                    Declarant, the Association, the Board and each of its members, the Architecture Committee
                    and each of its members, and the manager of the Property, if ar.y, and such policies may
                    also name some or all of the respective officers, employees, and agents of the foregoing;

                                         (iii)  Workers' compensation insurance to the extent necessary to
                    comply with all applicable laws;

                                        {iv)    A fidelity bond in an amount determined by the Board naming
                    the members of the Board and such other Persons as may be designated by the Board as
                    principals and the Association as obligee; and

                                       {~·)  Such other insurance, including indemnity and other bonds, as
                    the Board shall deem necessary or desirable to carrying out the Association's functions.


                    proceeds and shall, subject to the requirements oflaw, including NRS §§ 116.31133, 116.31135
                    and any successor statutes, have full power to receive, hold, and disburse such proceeds.

                                  (g)    Architecture Committee. The Board shall appoint and remove members
                    oftheArchrtecture Committee as provk!ed in Article VII hereof and ensure that at all reasonable
                    times there is available a duly constituted and appointed Architecture Committee.

                                    (h)    Enforcement. The Association shall enforce, in its own behalf and on
                    behalf of all Owners, all of the covenants, conditions, and restrictions set forth in this Declaration
                    under an inevocable agency {which is hereby granted) coupled with an interest as beneficiary
                    of said covenants, conditions, and restrictions and as assignee of Declarant. The Association
                    shall perform all other acts, whether or not anywhere expressly authorized, as may be
                    reasonably necessary to enforce any of the provisions of the Rules and Regulations or the
                    Design Guidelines.

                                     (i)   long-Term Financing. Tl"le Association may, subject to compliance
                    with NRS§ 116.3112, execute mortgages and deeds of trust, both construction and permanent,
                    for construction of facilities, including Improvements, on property owned by or leased to the
                    Association. Such financing may be effected through conventional mortgages or deeds
                    of trust. the issuance and sale of development or other bonds, or in any other form or manner
                    as may be deemed appropriate by the borrower, whether that be Declarant or the Association.

                    I"~''"'''·"·-,_,_._.,,,,,.
                                                                      17




CLARK,NV                                                 Page 22 of 98                               Printed on 11/1/2016 4:58:40 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                    Comment:                                                         Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 546 of 807




                                                                                                        l~Dlu)IO
                                                                                                        .01313
                    The mortgage, deed of trust, or other security interest given to secure repayment of such
                    debt may consist of a first lien or a second or other junior lien, as shall be deemed appropriate
                    by such borrower, whether that be Declarant or the Association, on the Improvement or other
                    facility to be constructed, together with such underlying and surrounding lands as Declarant
                    or the Association, as the case may be, deems appropriate. The debt secured by such
                    mortgage, deed of trust, or other security instrument may be retired from revenues generated
                    by dues. use fees. Assessments of the Members of the Association, or otherwise or any
                    combination thereof as may be deemed appropriate by Declarant or the Association, as
                    the case may be, but subject to the limitations imposed by this Declaration and the Act.

                                    0)     8!.@1. Within one hundred twenty (120) days of the end of the Association's
                    fisca! year, the Association shall. at its own cost, conduct an annual audit by an independent
                    certified public accountant of the accounts of the Association and make a copy of such audit
                    available to each Member during normal business hours at the principal office of the Association.
                    Upon written request, the Association shall provide to any Eligible Holder, insurer, or guarantor
                    of any Mortgage a copy of the annual audit. Any Member may at any time and at its own
                    expense cause an auditor inspection to be made of the books and records of the Association
                    by a certified public accountant provided that such audit or inspection is made during normal
                    business hours and without unnecessary interference with the operations of the Association.
                    The Association shall maintain copies of the then current Declaration, Articles, Bylaws, and
                    Rules and Regulations. as amended. at the principal office of the Association. and the same
                    shall be available during normal business hours for inspection by Declarant, any Owner,
                    prospective purchasers of Lots, Eligible Holders, insurers, and any guarantors of a Mortgage.

                                    (k)     Book~ and Records. The Board shall, upon the request of a Member.
                    make available for review at the business office of the Association or other suitable location
                    during the regular working hours of the Association, the books, records and other papers
                    ofthe Association. including. without limitation, (i)theflnancial statement of the Association,
                    (ii) the budgets of the Association. and (iii) the study of the reserves of the Association required
                    to be conducted pursuant to subsection 5.03(b) of this Declaration. The Board shall provide
                    a copy of any of the records to a Member within fourteen (14) days after receiving a written
                    request therefor. The Board may charge a fee to cover the actual costs of preparing a copy,
                    but not to exceed twenty-five cents ($.25) per page. The provisions of this subsection 4.05(k)
                    do not apply to the personnel records cfthe employees of the Association and the records
                    of the Association relating to another Owner.

                                  (I)    Other. The Association shall carry out all duties of the Association set
                    forth in the Rules and Regulations. the Articles, or the Bylaws.

                           4.06 Powers and Authority of the Association. The Association shall have all
                    of the powers of a non stock, nonprofit corporation organized under the laws of the State
                    of Nevada in operating for the benefit of its members, subject only to such limitations upon
                    the exercise of such powers as are expressly set forth in the Articles, the Bylaws, or this
                    Declaration. It shall have the power to do any and all lawful things which may be authorized,
                    required, or permitted to be done under and by virtue of this Declaration and to do and perform

                    I'-''-"·"- ,_..,,~~••••• '""'                    IS




CLARK,NV                                                Page 23 of 98                              Printed on 11/1/2016 4:58:40 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                    Comment:                                                        Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 547 of 807




                                                                                                       10020510
                                                                                                       .OIJIJ
                    any and all acts that may be necessary or proper for or incidental to the exercise of any of
                    the express powers oft he Association for the p8ace, health, comfort, safety, or general welfare
                    of the Owners. Without in any way limiting the generality of the foregoing, the Association
                    and the Board shall have the following powers and authority to exercise in their discretion:

                                   {a)     Right of Entrvand Enforcement. Subject to any limitations or restrictions
                    imposed by FNMA, which are incorporated herein by this reference, the Board and its agents
                    and representatives shall have the power and right to enter upon any lot and the Improvements
                    thereon without liability to any Owner for the purpose of enforcing any of the provisions of
                    this Declaration or for the purpose of maintaining and repairing the Improvements located
                    on said Lot as provided in this Declaration or if the Owner thereof fails to maintain and repair
                    any portion of a Lot as required by this Declaration. The Association shall also have the
                    power and authority from time to time in its own name, on its own behalf, or on the behalf
                    of any Owner or Owners who consent thereto to commence and maintain actions <Jnd suits
                    to restrain and enjoin any breach or threatened breach of this Declaration and to enforce,
                    by mandatory injunctlon or otherwise, all of the provisions of this Declaration. The costs
                    of any such action or suit, including reasonable attorneys' fees. shali be paid to the prevailing
                    party as part of its judgment.

                                   (b)       Civil Actjons. Except as otherwise provided ir. this subsection 4.06(b).
                    the Association may commence a civil action only upon a vote or written agreement of the
                    Members holding at least a majority of the voting power of the Association. The Association
                    shall provide written notice to each Owner of a meeting at which commencement of a civil
                    action is to be cons~deied at least tnenty.ane {21 }days ~fore the meetir1g. The provis!or1s
                    of this subsection do not apply to a civil action that is commenced: (i) to enforce the payment
                    of an Assessment; (ii) to enforce the provisions of the Declaration, Bylaws, or Rules and
                    Regulations; (iii) to proceed with a counterclaim: or(iv) to protect the health, safety and welfare
                    of the Members. If a civil action is commenced pursuant to this subsection without the required
                    vote or agreement, the action must be ratified in accordance with the Act.

                                    (c)   Construction Defect Actions. Notwithstanding anything in this Declaration
                    to the contrary, at least sixty (60) days before initiating any action against Declarant for
                    construction defects, as defined in NR$40.615, as may be amended, the Association and
                    any Owner(s) pursuing or bringing such action must give written notice by certified mail,
                    return receipt requested. to the Declarant, at the Declarant's !ast known address, specifying
                    in reasonable detail the defects and any damages or injuries that are the subject of the
                    complaint. During the thirty-five (35) day period after the Declarant receives the notice, the
                    Dedarantshall be entitled, upon written request, to 1nspectthe lots, Residences, and Common
                    Area that are the subject of the complaint to determine the nature and cause of the defect,
                    damage, or injury and the nature and extent of repairs necessary to remedy the defect.
                    The Declarant may take reasonable steps to establish the existence of the defect. If the
                    Residence, lot, or Common Area is covered by a warranty or contract of insurance issued
                    by an insurer authorized by the State of Nevada to issue such a warranty or contract, the
                    claimant(s) must diligently pursue a claim underthe warranty or contract. Within forty-five
                    (45) days after the Declarant receives the notice. the Declarant may make a written offer

                                                                    19




CLARK,NV                                                Page 24 of 98                             Printed on 11/1/2016 4:58:41 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                           Comment:                                                    Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 548 of 807




                    of settlement to the claimant. The offer {i) must be served to the claimant by certified mail.
                    return receipt requested, at the claimanrs last known address, {ii) must respond to each
                    constructional defect set forth in the claimant's notice, and describe in reasonable detail
                    the cause of the defect, if known, the nature and extent of the damage or injury resulting
                    from the defect. and, unless the offer is limited to a proposal for monetary compensation,
                    the method, adequacy, and estimated cost ofthe propcscd repair; and {iii) may include (A)
                    a proposal for monetary compensation, (B) if the Declarant is licensed to make the repairs,
                    an agreement by the Declarant to make the repairs, or (C) an agreement by the Declarant
                    to cause the repairs to be made, at the Declarant's expense, by another contractor who
                    is licensed to make the repairs, bonded, and insured. The repairs must be made within forty-five
                    (45) days after the Declarant receives writ1en notice of acceptance of the offer. unless
                    completion is delayed by the claimant or by other events beyond the control of the Declarant.
                    The claimant and the Declarant may agree in writing to extend the periods prescribed by
                    this subsection 4.06(c).

                                    {d)    ,!:asements and Rights-of-Way. The Board shall have the power to
                    grant and convey to any third party easements, licenses, and rights-of-way, in, on. over,
                    or under any Common Area conveyed or otherwise transferred to the Association or under
                    its jurisdiction. subject to the conditions contained in NRS § 116.3112.

                                   (e)     Employment of Manager. The Board shoJI have the power to employ,
                    by written agreement and at its sole cost and expense. the services of a manager or
                    management company. subject to the direction and control of the Board, to manage and
                    carry out the affairs of ~he /i.ssociatio n a ncl, to the extent consistent with the laws of the State
                    of Nevada and upon such conditions as are otherwise deemed advisable by the Board, to
                    delegate to the manager any of the powers of the Board or the officers of the Association.
                    In no event shall any management agreement be for a term greater than one (1) year. except
                    with the approval of a majority of the Members, and any such agreement shall provide for
                    termination without penalty on a minimum of thirty (30)dayswritten notice. Except as otherwise
                    provided in the Act, any manager so appointed must hold either a permit to engage in property
                    management pursuant to NRS Chapter645or a certificate issued by the Nevada Real Estate
                    Commission.

                                    (f)    Services. The Board shall have the power. by written agreement and
                    at its sole cost and expense, to provide for and engage the ser.~icesof others for the mainte-
                    nance, protection. and preservation of the Association Property, including the Common Area.
                    such as grounds keepers. painters, plumbers. and such other maintenance personnel, as
                    the nature and character of the Common Area may require and including any such necessary
                    personnel as the nature and character of any recreational facilities within the Common Area
                    may require: provided, however, that no contract for such services shall be for a duration
                    of more than one (1) year, except with the approval of a majority of the Members. and any
                    such agreement shall provide for termination without penalty on a minimum of ninety (90)
                    days written notice.



                    ' ··~ ""''"·"·-~ ,..,, ··~· '   ...... ,.            20




CLARK,NV                                                        Page 25 of 98                        Printed on 11/1/2016 4:58:41 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                  Comment:                                                          Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 549 of 807




                                                                                                       10010510
                                                                                                       .01113
                                 (g)    Utilities. The Board shall have the power to contract, use. and pay for
                   utility services to the Association Property.

                                 (h)    Other Procerty. The Board shall have the power to acquire and hold,
                   as trustee for the benefit of the Members, tangible and intangible personal property and
                   to dispose of the same by sale or otherwise.

                                (i)    Mergers. The Association shall have the power, to the extent permitted
                   by NRS § 116.2121, to participate in mergers and consolidations with other nonprofit
                   corporations organized for the same purposes as the Association.

                                 G)     Dedicalion. The Board shall have the power to dedicate any of the
                   Association Property to an appropriate public authority fer public use, provided that any such
                   dedication shall comply with NRS § 116.3112, and that such dedication is subject to the
                   existing easements and rights of use of all of the Members.

                                  (k)   Delegation. The Board may delegate any of its powers to any committees.
                   officers, or employees as it deems necessary and proper.

                                  (I)    Construction on Association Prooe.m. The Board shal! have the power
                   to construct new Improvements or additions to the Association Property or demolish existing
                   Association Property or Improvements subject to the approval of the Architecture Committee
                   as is required in this Declaration.

                                 (m)   Maintenance of Entry and Exit Measures. The Board sha1! have the
                   power to implement measures regulating er1trance and exit at aU points of entry and exit
                   to or from the Property, which may or may not be guarded.

                                 (n)    Conveyances. The Board shall have the power to grant and convey
                   to any Person real property and interests therein, including fee title, leasehold estates.
                   easements, rights of way, mortgages, and deeds of trust, out of, in, on, over, or under any
                   Association Property for the purpose of constructing, erecting operating, maintaining, or
                   repairing thereon, therein or thereunder:

                                        (i)     parks, parkways, or other recreational facilities;

                                        (ii)    roads, streets, ways, driveways, trails, and paths:

                                        (iii)   lines, cables, wires. conduits, pipelines, orotllerdevices for utility
                   purposes:

                                       (iv)  sewers, water systems, stormwaterdrainagesystems, sprinkler
                   systems, and pipelines: and

                                        (v)     any similar publ~. quasi-public, or private improvements or facilities.

                                                                   21




CLARK,NV                                              Page 26 of 98                              Printed on 11/1/2016 4:58:41 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                            Comment:                                              Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 550 of 807




                                                                                                      100j05iO
                                                                                                      .0I IJ

                   Nothing above contained, however, shall be construed to permit use or occupancy of any
                   land, Improvement, or other facility in a way that would violate applicable zoning or use and
                   occupancy restrictions imposed thereon by other provisions of this Declaration or by city,
                   county, or other applicable public agency.

                                 (o)   Legal and Accounting Services. Tl'le Board shall have the power, by
                   written agreement and at its sole cost and expense, to retain and pay for legal and accounting
                   servicesnecessaryorproper in the operation of the Association, theopera~on and management
                   of the Association Property, the enforcement of the Rules and Regulations, or in the
                   performance of any other duty, right, power, or authority of the Association.

                                 (p)    Association Property Service§. The Board shall have the power to pay
                   for water, sewer. garbage removal. electricity, telephone,gas, snow removal, landscaping.
                   gardening, and all other utilities, services, and maintenance for the Association Property.

                                  (q)    Other Ar~. The Board shall have the power to maintain and repair
                   easements, roads, roadways, llghL'i of way, parks, parkways, median stn'ps, sidewalks. paths,
                   trails. ponds, lakes. entry details. entry houses. Perimeter Walls, or other Common Area
                   whether owned by or leased to the Association and to contribute toward the cost of operation
                   and maintenance of private roads. if any. and any other Improvements or other facilities
                   owned by or leased to the Association.

                                 (r)      Recreational Facilities. The Board shall have the power to operate and
                   maintain any and all types of facilities owned by or leased to the Association for both active
                   and passive recreation within the Common Area including, but not limited to: swimming pools;
                   community clubs: picnic areas; parks and playgrounds; trails for hiking and bicycles; lakes
                   and ponds for swimming, fishing, and other water sports; and other similar and dissimilar
                   recreational facilities.

                                (s)     QtherServicesandProoerties. The Boards hall have thepowertoobtain
                   and pay for any other property and services ancl to pay any other taxes or assessments
                   that the Association or the Board is required to secure or to pay for pursuant to applicable
                   !aw, the Rules and Regulations. the Articles, or the Bylaws.

                                  (t)    Contracts. The Board shall have the power. at its sole cost and expense,
                   to enter into contracts with Declarant and other Persons, on such terms and provisions as
                   the Board shall determine, to operate and maintain any Common Area and Improvements
                   thereon or to provide any service to the Property (including, but not limited to, cable television
                   and laundry facilities).

                                  4.07        indemnification.

                                   (a)     Indemnification. The Association shall indemnify any Person who was
                   or is a party or is threatened to be made a party to any threatened, pending, or completed

                   )   '-   .... "'""''" """ ..... ........
                                                -                         22




CLARK,NV                                                         Page 27 of 98                  Printed on 11/1/2016 4:58:41 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                     Comment:                                                       Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 551 of 807




                    action, suit, or proceeding, whether civil, criminal, administrative. or investigative, by reason
                    of the fact that it is or was a director, officer, employee. servant, or agent of the Association
                    against expenses (including attorneys' fees), judgments, fines, and amounts paid in settlement
                    actually and reasonably incurred by it in connection with such action, suit, or proceeding
                    until and unless it is proved that it acted with wiilful or wanton misfeasance or with gross
                    negligence and provided it acted in good faith and in a manner it reasonably believed to
                    be in or not opposed to the best interests of the Association, and with respect to any criminal
                    action or proceeding, had no reasonable cause to believe its conduct was unlawful. The
                    termination of any action. suit, or proceeding by judgment, order, settlement, conviction,
                    or upon a plea of nolo contendere or its equivalent shall not of itself create a presumption
                    that the Person did not act in good faith or in a manner it reasonably believed to be in or
                    not opposed to the best interests of the Association, or with respect to any criminal action
                    or proceeding, had reasonable cause to believe that its conduct was unlawful.

                                 Board members are not liable to the victims of crimes that may occur on the
                    Property. Punitive damages may not be recovered against the Association but may be
                    recovered only from Persons whose intentional activities are proved to have resulted in
                    damages.

                                   {b)      DeterrninatiQ.!J. Any indemnification that the Association has elected
                    to provide underlhisSection 4.07 (unless ordered by a court) shall be made by the Association
                    only as authorized in the specific case by a determination that indemnification of the officer,
                    director, employee. servant, or agent is proper in the circumstances because it has mel the
                    applicable standard of conduct set forth in subsection 4.07(a). Such determination shall
                    be made: (i) by the Board by a majority vote of a quorum consisting of directors who were
                    not parties to such action, suit, or proceeding; or (ii) if such a quorum is not obtainable, or
                    even if obtainable and a quorum of disinterested directors so directs, by independent legal
                    counsel in a written opinion; provided, however, that if a director, officer, employee, servant,
                    or agent of the Association has been successful on the merits or otherwise in the defense
                    of any action, suit, or proceeding referred to in subsection 4.07(a), orin defense of any claim,
                    issue. or matter therein. then to the extent that the Association has elected to provide
                    indemnifiCatiOn, it shall automatically be indemnified against expenses (in(;luding attorneys'
                    fees) actually and reasonably incurred by it in connection therewith without the necessity
                    of cmy such aetermination that it has met the applicable standard of conduct set forth in
                    subsection 4.07(a).

                                   (c)     Payment_in Advance. Expenses incurred indefendingacivilorcriminal
                    action, suit, or proceeding may, upon action by the Board in accordance with subsection
                    4.07(b), be paid by the Association in advance of the final disposition of such action, suit,
                    or proceeding upon receipt of an undertaking by or on behalf of the director, officer, employee,
                    servant. or agent to repay such amount unless it shall ultimately be determined that it is entitled
                    to be indemnified by the Association as authorized in this Section 4.07.

                                  (d)   Insurance. The Board shall purchase and maintain, at its sole cost and
                     expense. insurance on behalf of any Person who is or was a director, officer, employee,

                    ' ··~""'""'''-" ,   ...._. ........
                                               -




CLARK,NV                                                  Page 28 of 98                           Printed on 11/1/2016 4:58:41 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                   Comment:                                                        Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 552 of 807




                                                                                                     20020510
                                                                                                     .01J13
                   servant. or agent of the Association against any liability asserted against it or incurred by
                   it in any such capacity or arising out of its status as such, whether or not the Association
                   would have the power to indemnify it against such liability hereunder or olherwise.

                                  (e)      Other Coverage. The indemnification provided by this Section 4.07
                   shall not be deemed exclusive of any other rights to which anyone seeking indemnification
                   may be entitled under this Declaration, any agreement, vote of the Members, vote of
                   disinterested directors, Nevada law, or otherwise, both as to action in its official capacity
                   and as to action in another capacity while holding such office, and may continue as to a
                   Person who has ceased to be a directo;, officer, employee, servant, or agent and may inure
                   to the benefit of the heirs and personal representatives of such a Person.

                            4.08 Diseased Trees. The Association may enter upon any part of the Property
                   at any time to inspect for, prevent. and control diseased and insect infested trees and other
                   plant life. If any diseased or insect infested trees or other plant life are found, the Association
                   may spray, remove disee~sed trees and other plant life. or take such other remedial measures
                   as it deems expedient. The cost thereof applicable to privately owned property may be levied
                   by the Association as a special Assessment against such privately owned property pursuant
                   to Section 5.04 hereof.

                           4.09 Perimeter Walls. The Association may enter upon any part of the Property
                   at anytime to inspect for, prevent, or control damage to any Perimeter Walls and to maintain.
                   repair, or replace, as necessary, the Perimeter Walls. Owners of lots bounded by a Perimeter
                   Wall shall be responsible for the cost of maintenance to Perimeter Walls as set forth in
                   subsection 3.04(e )(vii) hereof. Notwithstanding the foregoing, an Owner causing any damage
                   to any Perimeter Walls by its acts shall be solely responsible and liable for any maintenance,
                   repair, or replacement, as required. and for any cost or liability necessary to repair such
                   damaged Perimeter Walls.

                          4.10    Rules.

                                  (a)      Rulemaking Power. The Board may, from time to time and subject to
                   the provisions of this Declaration, propose, en::3ct. and amend rules and regulations to be
                   known as the"Rulesand Regulations" that relate to the managemen~. operation, and control
                   of the Association or the Common Area. The Rules and Regulations shall become effective
                   and binding on all Owners only after adoption by the Board. Such Rules and Regulations
                   may concern, but need not be limited to, matters pertaining to use of the Common Area;
                   signs; collection and disposal of refuse: minimum standards of maintenance of property:
                   parking and traffic restrictions; limitations on maintenance of landscaping or other Improvements
                   on any property: standards for Residences: !imitations on the type of furniture, fixtures.
                   equipment, and other objects maintained on Lots in view of other Owners: limitations on
                   the number and type of animals that may be allowed on the Property; and any other subject
                   or matter within the jurisdiction ofthe Association as provided in this Declaration. The Rules
                   and Regulations may restrict and govern the use of the Common Area by any Member or


                                                                   24




CLARK,NV                                                Page 29 of 98                           Printed on 11/1/2016 4:58:41 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                     Comment:                                                        Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 553 of 807




                                                                                                        10020510
                                                                                                        .OIJII
                    Lessee, by the family of such Member or Lessee. o~ by any invitee. licensee, or guest of
                    such Member or Lessee. Declarant retains the right to establish rules relating to the use
                    of any portion of the Common Area owned by it until annexation and conveyance to the
                    Association. and the Association may incorporate such rules in its Rules and Regulations.
                    The right of an OwnerortheBoard to enforce Rules and Regulations is iimited to those Owners
                    that are subject to this Declaration.

                                  (b)     NotifiCation of Rules and Regulations. Acopyofthe Rules and Regulations,
                    as they may be from time to time adopted, amended. or repealed, shall be mailed or otherwise
                    delivered to each Member and may, but are not required to, be recorded. The adoption
                    of the Rules and Regulations shall have the same force and effect as if they were set forth
                    in and were a part of this Declaration. No Rules and Regulations may be adopted that materially
                    impair the rights, preferences, or priviteges of any Owner as specifically set forth herein.

                             4.11 Breach of Rules, Regulations, or Restrictions. !n the event of a breach
                    of any provision of the Rules and Regulations or of any of the restrictions contained in this
                    Declaration by an Owner its family, guests. employees, invitees, licensees, or tenants. the
                    Board, for and on behalf of itself and all other Owners, shall have the right to enforce the
                    obligations of each Owner to obey the Rules and Regulations or the restrictions of this
                     Declaration in any manner provided by law or in equity, including, but not limited to, appropriate
                     hiring of legal counsel, the pursuing of legal action, suspension of the Owner's right to use
                    the facilities of the Common Area. or suspension of the Owner's voting rights; provided.
                    however, such suspension for a nonrecurring violation of the Rules and Regulations may
                    :".ot be for a period in excess of thirty (30) days, after notice and heari!'lg as !lerein provided.
                    Subject to Section 4.12 below and in addition to the other remedies herein set forth, including,
                    without limitation, assessing the cost of repair of any damage resulting from a violation of
                    the Rules and Regulations, the Board, by majority vote. may levy a tine against such Owner,
                    after appropriate notice and hearing as herein providecL Prior to imposing any penalty provided
                    nerein for breach of the Rules and Regulations or of the restrictions contained in this
                    Declaration, the Board shall provide the Ownerwitl1 reasonable notice and a hearing before
                    the Board, which notice must specify the nature of the violation. In the event that the Board
                    determines that a violation has occurred and that a penalty shall be imposec:l, the determination
                    of the Board shall be final. provided that a reasonable opportunity for a hearing before the
                    Board has been provided to the Owner. In the event legal counsel is retained or legal action
                    is instituted by the Board pursuant to this Section, any settlement prior to judgment or any
                    judgment rendered in any such action shall include costs of collection. court costs. and
                    reasonable attorneys' fees.

                            4.12 Fines. Every f1ne must be commensurate with the severity of the violation.
                    Additionally, if the violation does not threaten the health and welfare of the Development,
                    the fine must not exceed one hundred dollars ($100) for each violation or a total amount
                    off1ve hundred dollars ($500), whichever is less. The Rules and Regulations may be enforced
                    by the Assessment of a fine only if (a) the Person alleged to have violated the Rules and
                    Regulations has received notice of the alleged violation that informs him of his opportunity
                    to request a hearing on the alleged violation, and, (b) at least thirty(30) dOlys before the alleged

                    I "" 1,.•"•"-n '"'" •- 0 •••' '1"
                                                                    25




CLARK,NV                                                 Page 30 of 98                             Printed on 11/1/2016 4:58:41 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                   Comment:                                                      Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 554 of 807




                                                                                                     10010510
                                                                                                     .Oil!J
                    violation, said Person was given written notice of the rule or regulation (or any amendment
                    to the rule or regulation) that the Person allegedly violated. If a fine is imposed pursuant
                    to this Section and the violation is not cured within fourteen (14) days or such longer cure
                    period as the Board establishes. the violation shall be deemea a continuing violation and
                    the Board may thereafter impose additional fines for the violation not to exceed one hundred
                    dollars {$100) per each seven (7) day period or portion thereof that the violation remains
                    uncured. Any additional fine mav be imposed without notice and an opportunity to be heard.
                    The Secreta!)' of the Association shall prepare and cause to be hand-delivered or sent prepaia
                    bv United States mail to the mailin!=l address of each Lot or to any other mailin!=l address
                    desiqnated in wntinQ by the Lot Owner, a schedule of the fines that may be imposed for
                    particularviolations of the Declaration, Rules and Regulations, and other governing documents
                    of the Association. The Association may not foreclose a lien for the Assessment of a fine
                    for a violation of the Declaration. Bylaws, or Rules and Regulations. unless the violation
                    is of a type that threatens the health, safety, or welfare of the residents of the Development.

                             4,13 LiabilityofMembers of Board. No member of the Board shall be personally
                    li<Jble to anyofthe other Board members. to the Members, or to any other Person, inciuding
                    Declarant, for any error or omission of ihe Association, its representatives and employees,
                    or the Architecture Committee. provided that such Board member has. upon the basis of
                    such information as may be possessed by h;m or her, acted in good faith.

                           4.14 Amendment Notwithstanding anything to the contrary in Section 10.04. the
                    provisions of Sections 4.01, 4.02, 4.03. and 4.04 shall not be amended without the vote or
                    wrinen consent of two-thirds (2/3rds) of the Owr.e;s.


                                                             ARTICLE V,

                                            Covenant for Maintenance Assessments

                            5.01 Assessments. The Owner of any Lot. by acceptance of a deed therefor.
                    covenants and agrees to pay to the Association annual Assessments and special Assessments
                    for capital improvements, such Assessments to be established and collected as hereinafter
                    provided. The annual Assessment, special Assessment, interest, costs, and reasonable
                    attorneys' fees shall be a charge on the Lot and shall be a continuing lien upon the Lot against
                    which each such Assessment is made until paid. Each Assessment. together with interest,
                    costs, and reasonable attorneys' fees, shall also be the personal obligation of the Owner
                    of the Lot at the time when the Assessment became due. The personal obligation for delinquent
                    Assessments shall not be extinguished upon the sale or the conveyance of a Lot. but any
                    purchaser of a Lot shall not be liable for any unpaid Assessments or fee greater than the
                    amounts set forth in the statement of unpaid Assessments described in Section 5.07.

                          5.02 Purpose of Assessments. The Assessments levied by the Association shall
                    be used exclusively to promote the recreation, health, safety, and welfare of the residents


                                                                  26




CLARK,NV                                               Page 31 of 98                            Printed on 11/1/2016 4:58:41 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                                      Comment:                                              Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 555 of 807




                                                                                                                  1001J510
                                                                                                                  .OIJ 13
                    of the Property, for the improvement and maintenance of the Common Area. and for the
                    daily operating expenses of the Association.

                                 5.03         Regular Assessments.

                                              (a)              Annual Assessment. The Board shall fix the annLJal Assessment at
                    an amount sufficient to cover the estimated budget of the Association prior to the beginning
                    of each f1scal year. The Board may increase the annual Assessment by up to fifteen percent
                    (15%) of the previous year's annual Assessment without the consent of the Owners. The
                    Board shall, not less than thiny (30)days or more than sixty (60)days before the beginning
                    of each fiscal year of the Association. prepare and distribute to each Owner a copy of the
                    budget for the daily operation of the Association. The budget must include, without limitation.
                    the estimated revenue and expenditures of the Association for the coming year and any
                    contributions to be m01de to the reserve funds established by subsection 5.03(b) hereof.
                    In lieu of distributing copies oft he budget, the Board may distribute summaries of the budget.
                    accompanied by a written notice that the budget is available for review at the business office
                    of the Association or other suitable location and that copies of the budget will be provided
                    upon request.

                                   (b)     Reserve. The annual Assessment of the Association shal!, in addition
                    to being sufficient to cover anticipated expenses, include adequate reserves for the repair,
                    replacement, and restoration oft!1e major components of the Common Area. The reserve
                    funds may be used only for those purposes and not for daily maintenance. Money in the
                    reserve accounts may not be withdr;::wn wit!'. out the signatures of ~t le<J.st two (2) members
                    of the Board or the signatures of at least one (1) member of the Board and or:e (1) officer
                    of the Association who is not a member of the Board.

                                         The Board shalt, not less than thirty (30) days or more than sixty (60)
                    days before the beginning of the fiscal year of the Association prepare and distribute to each
                    Owner a copy of the reserve budget. In lieu of distributing copies of the reserve budget,
                    the Board may distribute summaries of the budgel accompanied by a written notice that
                    the budget is available for review at the business office of the Association or other su1table
                    location and that copies of the budget will be provided upon request.

                                            The reserve budget must include, wi'.hout limitation: (i) the current estimated
                    replacement cost. estimated remaining life, and estimated usefLIIIifeof each major component
                    of the Common Area; (ii) as of the end of the fiscal year for which the budget is prepared,
                    the current estimate of the amount of cash reserves that are necessary. and the current
                    amount of accumulated cash reserves that are set aside, to repair, replace. or restore the
                    major components oft he Common Area; (iii) a general statement describing the procedures
                    used for said estimation and accumulation of cash reserves, including, without limitation.
                    the qualifications of the Person responsibie for the preparation of the reserve studies required
                    under this subsection; and (iv) a statement as to whether the Board has determined or
                    anticipates that the levy of one or more Special Assessments will be required to repair. replace.


                    ' .... ,,., ''·" -"· '~····· (' .... •<"




CLARK,NV                                                                  Page 32 of 98                      Printed on 11/1/2016 4:58:41 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                             Comment:                                                     Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 556 of 807




                                                                                                              10010510
                                                                                                              .OIJIJ
                    or restore any major component of the Common Area or to provide adequate reserves for
                    that purpose.

                                                    The Board shall cause to be conducted at least once every five (5) years,
                    a study of the reserves required to be maintained by this subsection. review the results of
                    that study at least annually to determine if those reseNes are sufficient, and maKe any
                    adjustments it deems necessary to maintain the required reser-Jes. The study must be
                    conducted by a person qualified by training and experience to conduct such a study. including
                    a member of the Board, an Owner. or the manager of the Association who is so qualified.
                    The study must include, without limitation: (i) a summary of an inspection of tne major
                    components of the Common Area that the Association is obligated to repair. replace. or restore;
                    (ii) an identification of the major components of the Common Area that the Association is
                    obligated to repair, replace. or restore which have a remaining useful life of less than thirty
                    (30)years: {iii) an estimate of the remaining useful life of each major component so identified:
                    (iv) an estimate of the cost of repair, replacement, or restoration of each major component
                    so identified: and (v) an estimate of the total annual Assessmenis that may be required to
                    cover the cost of repair, replacement, or restoration of tl'le major components so identified
                    after subtracting the reserves of the Association as of the date of the study.

                                  (c)     Increases of Annual Assessment. The annval Assessment may not
                    be increm;ed by more than fifteen percent (15%) of the annual Assessment for the previous
                    year without a vote or written consentoff1fty-one percent (51%) of the Members; provided,
                    however, that following tl'le termination of the Declarant control period described in subsection
                    4.03(a) hereof, any sucfr inc;ease shall have the vote or written consent of: {i) fifty-one percent
                    (51%) ofthe Members, and (ii) fifty-one percent (51%) ofthe Members otherthan Declarant.

                                     {d)   Budget Ratification. The Board shall, within thirty (30) days after the
                    adoption of any proposed budget, provide a summary of the budget to all Owners and shall
                    set a date for a meeting cf Owners to consider and ratify the budget not less than fourteen
                    (14) nor more than thirty (30) days after the mailing of the summary. Unless a majority of
                    all Owners £~1 the meeting reject the budget (whettler or not a quorum is present), the budget
                    is ratif1ed. If the budget is rejected, the budget last ratified snail continue to be the budget
                    for the Association.

                                   (e)    Inadequacy of Annual Assessment. In t11e Board's sole and absolute
                    discretion, should the annual Assessment be inadequate for any reason, including, without
                    limitation, nonpayment of any Member's annual Assessment. to provide for the Association's
                    costs and expenses, the Board may at any time and from time to time levy further Assessments
                    in the same manner as described in subsection (a) of this Section 5.03.

                                  (f)    Financial Statement. A financial statement for the Association shall
                    be prepared each fiscal year, which shall include a balance sheet showing the profit and
                    loss of the Association and the funds held in reserve by the Association.



                    I f•~""'"'" _, """'-'''"I ·~I




CLARK,NV                                                         Page 33 of 98                           Printed on 11/1/2016 4:58:41 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                   Comment:                                                      Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 557 of 807




                                                                                                     10010510
                                                                                                      Oilil

                                   (g)    Initial Contribution. In addition to the allocable portion ofthe monthly
                    installment of the regular Assessment for the month escrow cbses on the sale of a Lot by
                    Declarant to an Owner other than Declarant. each Owner shall be required to make at close
                    of escrow an initial capital comribution to the reseNe fund described in subsection (b) above.
                    The initial reserve contribution shall be equal to twice the monthly installment of annual
                    Assessments allocable to the Owner's Lot. This initial capital contribution is not an advance
                    payment on the Owner's annual Assessments <.:~nd is not refundable to the Owner or its
                    successors or assigns.

                           5.04    Special Aasessments. In oddition to the annual Assessments authorized
                    above, the Board may levy special Assessments for the purpose of constrJclion, reconstruction,
                    repair, or replacement of a capital Improvement upon the Common Area, including fixtLJres
                    and personal property related thereto. Any such Assessment must be approved by a majority
                    of the Members. The Association shall provide wriffen notice to Owners of any meeting
                    at which an Assessment for capital Improvements is to be considered at least twenty-one
                    (21) calendar days before the meeting.

                            5.05 Notice of Special Assessments; Time for Payment. The Association may,
                    in its discretion. give written notice of special Assessments to each Owner, which notice
                    shall specify the amount of the special Assessment and the date or dates of payment of
                    the same. No payment shall be due fewer than fifteen (15) days after the written notice has
                    been given. Failure of the Association to give notice of the special Assessment shall not
                    affect the liability of the Owner of any Lot. but the date when payment shal\ become due
                    ir'! such~ c~se shall be deferred to a date fifteen (15) days after the notice shall have been
                    given.

                            5.06 Collection of Assessments. Annual Assessments shall commence with respect
                    to each Lot in the original Property on the first (1 ")day of the month immediately following
                    the first (1") close of escrow for the sale by Declarant to an Owner other than Declarant
                    of a Lot in the original Property. Annual Assessments shall so commence with respect to
                    each Lot in any AnnexableArea annexed to the Property in accordance with Article IX hereof
                    on the first (1"') day of the month immediately following the first close of escrow for the sale
                    by Declarant to an Ownerotherthan Declarant of a Lot in that portion of the Annexable Area
                    so annexed.

                            5.07 Unpaid Assessments. The amount of any delinquent Assessment, whether
                    regular or special, assessed against any Lot, a late payment charge of five percent (5%)
                    of the delinquent Assessment, plus interest on such Assessment and late payment charge
                    at a rate not to exceed eighteen percent (18%) per annum simple interest. and the costs
                    of collecting such Assessment, late payment charge, and interest, including reasonable
                    attorneys' fees. shall be a lien upon the Lot assessed until paid. Such lien shall be prior
                    to any declaration of homestead, and except as provided in Section 5.08 hereof, such lien
                    shall survive and not be affected by the conveyance of the Lot subject to the delinquent
                    Assessment to a third-party purchaser. Such Hen shall be created in accordance with NRS


                                                                  29




CLARK,NV                                               Page 34 of 98                            Printed on 11/1/2016 4:58:41 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                                           Comment:                                  Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 558 of 807




                                                                                                       10010510
                                                                                                       .OIJ!J
                    § 116.3116 and shall be foreclosed in the manner provided for in NRS § 116.31162-116.31168
                    as is now or hereafter may be in effect. A certificate executed and acknowledged by any
                    two {2) members of the Soard stating the indebtedness secured by such lien shall be conclusive
                    upon the Association as to the amount of such indebtedness as of the date of I he certificate
                    in favor of all Persons who rely thereon in good faith, and such certificate shall be furnished
                    to any Owner upon request at a reasonable fee not to exceed Ten Oo!lars ($1 0.00). In addition
                    to foreclosure of the Assessment lien, the Association may, but is not obligated to, bring
                    an action to recover judgment against the Member personally obligated to pay the delinquent
                    regular or special Assessment after having provided to that Member thirty (30) days' written
                    notice of the delinquency. The Board may suspend the voting rights in the Association
                    and right to use any of the recreational facilities of the Common Area of any Owner during
                    any period any Assessment due from such Owner is unpaid. ln the event an Assessment
                    is past due more than fifteen {15) days, the Board may declare immediately due and payable
                    the total amount assessed against the Owner and the Lotforthatfiscal year. The Association
                    may not foreclose a lien for the Assessment of a fine for a violation of this Declaration, the
                    Bylaws, or the Rules and Regulations, unless the violation is of a type that threatens the
                    health, safety, or welfare of the residents of the Development.

                            5.08 Mortgage Protection. Notwithstanding any other provision of this Declaration.
                    no lien created under this Article V or under any other Article of this Declaration, nor any
                    lien arising by reason of any breach of this Declaration, nor the enforcement of any provision
                    of this Declaration. shall defeat or render invalid the rights o! the beneficiary under any Recorded
                    Mortgage of first and senior priority now or hereafter upon a Lot, made in good faith and
                    forva!ue, perfec!ed before the date on which the .A.ssessrnentsought1o be enforced became
                    delinquent. However, afterthe foreclosure of any such first Mortgage, such Lot shall remain
                    subject to this Declaration and shall be liable for all regular Assessments and all special
                    Assessments levied subsequent to the date six {6) months prior to the institution of an action
                    to foreclose on any such first Mortgage.

                           5.09 Effect of Amendments on Mortgages. Notwithstanding the provisions of
                    Section 10.04 hereof. noamendmentof Section 5.08 of this Declaration shall affectthe rights
                    of any beneficiary whose Mortgage has senior priority as provided in Section 5.08 and who
                    does not join in the exec.ution thereof, provided that its Mortgage is Recorded in the real
                    property records of Clark County, Nevada, prior to the Recordation of such amendment;
                    provided, however. that after foreclosure or conveyance in lieu of foreclosure, the property
                    that was subject to such Mortgage shall be subject to such amendment.

                            5.10 Annual Assessments Paid By Declarant. Declarant shall pay all Assessments
                    on all Lots owned by Declarant (but not on any Lots in any Annexab!e Area until both of
                    the following shall occur: {a) such Annexable Area is actually annexed to and becomes
                    a part of the Property; and {b) the first day of the month following the close of the first sale
                    by Developer to an Owner other than Developer of a Lot within that particular J)ortion of the
                    AnnexableArea); including those Lots owned by Declarant that have not been sold to Owners



                    ' ···~ .,.,,   .. ,'   ~···   ........   ~'   '   •.. ..,
                                                                         '               JO




CLARK,NV                                                                        Page 35 of 98      Printed on 11/1/2016 4:58:41 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                    Comment:                                                       Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 559 of 807




                                                                                                      10020510
                                                                                                      .0013
                   other than Declarant; provided, however, that Declarant may receive as a credit the costs
                   or value of any maintenance or repair performed by Declarant on the Association Property.

                                                             ARTICLE VI.

                                                 Permitted Uses and Restrictions

                          In addition to all of the covenants contained herein, the use of the Property and each
                   Lot therein is subject to the following:

                          6.01    Improvements and Use. Except as expressly provided herein, the Lots shall
                   be used exclusively for singte.family residential purposes. Timesharing is prohibited. No
                   mobile home may be placea or located on any Lot.

                          6.02    Animals. No animals of any kind shall be raised, bred, or kept on any Lot,
                   except that a reasonable number of dogs, cats, or other houset-,old pets may be kept on
                   a Lot provided that they are not kept, bred, cr maintained for any commercial purpose nor
                   in violation of any applicable local ordinance or any other provision of this Declaration. A
                   ~reasonable numbe(' shall ordinarily mean three (3) or fewer pets per Lot. All pets within
                   the Property shall be leashed or otheiWise under the direct control of the pet owner when
                   not within an enclosed area of a Lot. It shan be the absolute duty and responsibility of each
                   OvmerorLesseeto remove any solid anima\ waste after such animals have used any portion
                   of the Property or any public property in the vicinity of the Property. No pet shall be permitted
                   to be kept within any portion of the Property if it makes excessive noise or is otherwise
                   determined by the Board to be a nuisance. If a pet is determined to be a nuisance, the Board
                   may give notice to the Owner or Lessee to resolve the offending problem within seventy-two
                   {72) hours, and if the problem is not resolved during that period of time, order the removal
                   of the pet.

                           6.03 Commen:lal or Other Non-Residential Uses. No commercial. professional,
                   industrial, institutional, or other non-residential use (including rezidential day care facilities}
                   shall be conducted on any Lot without tt:e written approval of the Board, except such temporary
                   uses as shall be permitted by Declarant while the Development is being constructed and
                   Lots are being sold by Declarant. Anyownerwishill;;! to conduct any commercial, institutional,
                   or other non-residential uses on any Lot shall first apply to the Board for approval of such
                   use and shall provide to the Board any information deemed necessary by the Board to evaluate
                   the impacts of such use on the neighbortlood, The Board shall determine if such use diminishes
                   the residential character of the Lot 01' neighborhood orimposes a nuisance on the neighborhood.
                   The decision of the Board shall be final and conclusive. The Board may review, and repeal,
                   any such approval from time to time at the discretion of the Board if, in the opinion of the
                    Board,lhe use has changed or increased to a level not consistent with the original approval.
                   This provision may not be amended or deleted without the approval of all oft he Members.




                                                                   31




CLARK,NV                                                Page 36 of 98                            Printed on 11/1/2016 4:58:41 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                    Comment:                                                         Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 560 of 807




                                                                                                        10010510
                                                                                                        .0131J
                           6.04      Utility Service. No !ines, wires, or other devices tor the communication or
                    transmission of electric current or power, including telephone, television, and radio signals,
                    shall be erected, placed, or maintained anywhere in or on any Lot unless the same shall
                    be contained in conduits or cables installed and maintained underground or concealed in,
                    under, or on buildings or other structures approved in writing by the Board. All temporary
                    utility outlets shall be installed and maintained in accordance with applicable provisions of
                   the Rules and Regulations. No provision hereof shall be deemed to forbid the erection of
                    the temporary power or telephone installations incident to the construction of approved buildings
                    or structures.

                           6.05 Nuisances. No noxious, illegal, or offensive activity shall be carried out on
                   or upon any lot or any part of the Property, nor shall anything be done thereon that may
                   be or may become an annoyance or nuisance, public or private, to the neighborhoo-d, that
                   shall in any way interfere with the quiet enjoyment of each of the Owners of their respective
                   lots, or that shall in any way increase the rate of insurance tor the Association or for the
                   Owners.

                           6.06 Garbage. No rubbish. trash, garbage, or other waste shall be kept except
                   in sanitary containers. All equipment for the storage or disposal of such materials shall be
                   kept in a clean and sanitary condition and shall be enclosed so as not to be visible from
                   any public street or from any other lot or the Common Area.

                           6.07 Antennae, Satellite Dishes and Solar Collectors. No Owner may erect or
                   maintain a television or radio receiving or transmitting antenna, satellite dish or similar implement
                   or apparatus. or solar collector panels or equipment upon any lot unless such apparatus
                   is erected and maintained in such a way that it is screened from public view along the public
                   street right-of-way directly in front (and to the side, in the case of a corner lot) of the house
                   erected on such lot: and no such apparatus shall be erected without the priorwritten consent
                   of the Architecture Committee. The Architecture Committee, as designated in this Oeclatation,
                   shall have the absolute authority to determine whether an accessory is adequately screened
                   from public view. The provisions of this Section 6.07 and the authority of the Architecture
                   Committee in this matter shall be subject to any regulations issued by the Federal
                   Communications Commission and any other applicable governmental authority.

                          6.08 Signs. No signs other than one (1) sign of customaty and reasonable dimensions
                   advertising a lot for sale or rent shall be displayed on any Lot so that it is visible from any
                   other lot. public street, or the Common Area without prior written consent of ttle Board.
                   No signs shall be displayed on the Common Area except signs approved by ttle Board.

                          6.09 Equipment and Machinery. No power equipment or hobby shops shall be
                   permitted on the Property except with prior written approval of the Board. No equipment,
                   machinety,junk,debris, building materials, orsimilarmattershall be placed, stored, or kept
                   in or on any lot, parking area. or street wittlin or adjoining the Property.



                                                                    32




CLARK,NV                                                Page 37 of 98                             Printed on 11/1/2016 4:58:41 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                    Comment:                                                       Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 561 of 807




                                                                                                       1~~1~l1~
                                                                                                       .~1313

                           6.10    Laundry. Outside clotheslines or other outside facilities for drying or airing
                    clothes shall not be erected, placed, or maintained on any Lot. No washing machine or dryer
                    shall be kept on any lot, except within a Residence, wi~hout the prior written approval of
                    the Board.

                           6.11    Propane Tanks. Only propane tanks used in connection with barbecue grills
                    shall be permitted on any Lot: provided, however, that such tanks are in compliance with
                    all applicable codes and laws.

                           6.12    Maintenance of Lawn and Plants. All Lots, landscaping, driveways, and
                    exteriors must be kept neat and tidy at all times. No landscape trimmings shall be placed
                    for removal on or near any public road within the Property or in a place upon the Lot where
                    they are visible from any other lot or the Common Area.

                           6.13    Vehicle Parking.

                                    (a)   ~erand QccupantParil.ing: Priorities. It is theintentofthis Subsection
                    to limit on-street parking within the Property. Accordingly, each Owner and the occupants
                    of his Residence shall park all of their vehicles first within the garage and then on the driveway
                    of the Owner's Lot; provided. however. that the number of vehicles parked on any Lot shall
                    not exceed the maximum number of vehicles that the garage and driveway were designed
                    to accommodate (e.g.. if a Residence has a three (3) car garage and a driveway designed
                    to accommodate three (3) additional cars, then no more than six (6) cars may be parked
                    onlhe Lot). Ga;age doo;s must bfl kept closed at al! times, except as reasonably required
                    for ingress and egress to and from the garage. Only after an parking areas first within the
                    garage and then on the driveway are full shall an Owner bs allowed to park a vehicle on
                    the streets within the Project. In addition, no Owner shall park, store. or keep anywhere
                    within the Property any vehicle or vehicular equipment, mobile or otherwise, deemed to be
                    a nuisance by the Board, in its sole and absolute discretion.

                                   (b)     Guest parking. Notwithstanding the provisions of Subsection 6.13(a).
                    Persons other than O.Vners andoccupantsofthe Property, including, without limitation, their
                    guests, invitees, and licensees, mayparktheirvehicleson the streets of the Property between
                    the hours of7:00 a.m. and 10:00 p.m. Pacific Standard Time. During times other lha n these
                    hours, including ovemight stays, vehicles of such other persons must be parked in accordance
                    with the provisions of Subsection 6.13(a).

                                    (c) Campers. Boats, RVs. Trailers and Non-PassengerVehic!es. No campers,
                    boats, trailers, trailer coaches, camp trailers. recreational vehK:Ies, camper units, house/cars,
                    motor homes, mobUe homes, aircraft, jet skis, wave runners, four-wheelers, off-road vehicles,
                    buses, recreational trailers, non-passenger \lehic!es, or any other similar vehicles, rolling
                    stock, equipment, implements, or accessories shall be stored or kept on any lot unless the
                    same are fully enclosed within the garage located on such Lot or are in operable condition.



                                                                   33




CLARK,NV                                                Page 38 of 98                            Printed on 11/1/2016 4:58:41 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                       Comment:                                                     Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 562 of 807




                                                                                                        10020510
                                                                                                        .OIJIJ
                    located behind the side yard block walland gate, and otherwise adequately screened from
                    view, all as determined by the Board in its sole and absolute discretion.

                                   (d) Commercial Vehicles. No large commercial vehicles. including, but not
                    limited to. any dump truck, cement mixer truck, oil or gas truck, or delivery truck, shalt be
                    kept or stored on any Lot unless approval of the Board is granted. For purposes of this
                    Subsection 6.13(d), "large commercial vehicle" shall mean any vehicle larger than a nineteen
                    (19) foot van or three-quarter (314) ton pickup truck that bears commercial insignia, names,
                    or other common indicia indicating that the vehicle is used for commercial purposes, all as
                    determined by the Board in ils sole and absolute discretion. Large commercial vehicles
                    that are temporarily parked on any Lot for the sole purpose of serving such Lot are exempt
                    from this restriction. The Board shall have tl"re absolute authority to grant approval for storing
                    or keeping a large commercial vehicle on a Lot. AnyONnerwishing to keep a large commercial
                    vehicle on any Lot shall apply for approval to the Board, and shall provide such information
                    as the Board, in its sole authority, may require. The Board may from time to time in its sole
                    discretion review the approval to keep a large commercial vehicle on any lot to determine
                    if the vehicle complies with the intent of the original approval. Upon an adverse determination
                    by the Board, any vehicle shall be removed or otherwise brought into compliance with the
                    requirements of this Section 6.13.

                                  (e) ~led. Inoperable and Unregistered Vehicle§. No disabled, inoperable
                    or unregistered vehicles, campers, boats, trailers. recreational vehicles, or other types of
                    non-passenger vehicles. equipment, implements, or accessories may be kept or stored on
                    any street within the Property for any period i!"! e:<.cess of forty-eight (48) hours, nor placed
                    on any Lot unless fulty screened from view.

                                  (f) Vehicle Maintenance. No dismantling, assembling or maintenance (other
                    than emergency maintenance) of motor vehicles, boats, trailers. recreational vehicles. or
                    other machinery, implements. accessories or equipment shall be permitted in the streets
                    within the Property, or in any parking area, driveway or yard adjacent to a street, or that is
                    not screened from view.

                                   (g) Authority to Review. The Board shall have the absolute authority to
                    determine from time to time whether a vehicle or accessory is operable, adequately screened
                    from public view. and otherwise in compliance with the provisions of this Section 6.13. Upon
                    an adverse determination by the Board, the vehicle or accessory shall be removed or otherwise
                    brought into compliance with this Section 6.13.

                                  (h)     Parking Rules and Regulations. The Board may adopt rules and regulations
                    consistent with this Section 6.13 to further regulate vehicle parking in the Property.

                           6.14 Leases. Any !ease of a Lot shall be in writing and be of a term of at least six
                    (6) months, shall expressly provide that such lease is subject in all respects to this Declaration,
                    and that any failure of the Lessee to comply with any provisions of this Declaration shall
                    constitute a default under such lease. The Owner of a leased Lot shall be responsible for

                    ' •·~ '''"'"'" -n '-• ••~•f '"' '•<•<




CLARK,NV                                                    Page 39 of 98                         Printed on 11/1/2016 4:58:41 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                    Comment:                                                        Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 563 of 807




                                                                                                       100!"0~10
                                                                                                       .01 11
                    all Assessments, penalties. and costs imposed on said Lot. No Lot may be leased for hotel
                    or transient purposes. No portion of a Lot (less than the entire Lot} may be leased for any
                    period.

                           6.15 Resubdlvision. No Lot shall be resubdivided nor shall less than an entire
                    lot be sold.

                           6.1Ei   Improvements. All Lot Improvements, including any species of plant material
                    and placement of plants. shall be subject to the control and approval of the Architecture
                    Committee as set forth in Article VII of this Declaration.

                           6.17    Taxes. Each Owner shall pay when due and before delinquency all taxes,
                    Assessments. levies. fees, and all other public charges and utility fees and charges of every
                    kind and nature imposed upon or assessed against its Lot.

                            6.18 Rules and Regulations. The Board is hereby expressly authorized to establish
                    aU rules and regulations as it shall deem necessary for the purpose of implementing, enforcing,
                    and administering the purposes of this Declaration.

                           6.19 Hazardous Substances. No activity shall be pennitt~ on any Lot or the Common
                    Area that, in the sole opinion of the Board, will cre~te or emit offensive, hazardous, or excessive
                    quantities of dust, dirt, ash, smoke, noise, fumes, odors, or vibrations or create risk of fire,
                    explosion, or other hazards or is not in harmony and consistent with the Property. Activities
                    prohibited hereunder include, bu! are not !im1ted to, activities that resuft in the disposal of
                    hazardous substances in any form upon the Property. Forthe purposes of this Declaration.
                    the term "Hazardous Substance" shall mean any product, substance, chemical, material.
                    orwastewhose presence, nature, quantity, or intensity of existence, use, manufacture, disposal
                    transportation, spill, release, or effect. either by itself or in connection with other materials
                    expected to be found upon any Lot. is either: (i) potentially injurious to the public health,
                    safety, or welfare or the environment or the Property; (!i) regulated or monitored by any
                    governmental authority; or (iii) a basis for liability of Declarant or any Ovmerto any governmental
                    agency or third party under any applicable state or common law principle.

                            6.20 Party Walla. Owners of Party Walls shall share equanythe responsibility and
                    cost of all maintenance, repair, or replacement, as necessary, oftheir respective Party Wails.
                    Notwithstanding the foregoing, an Owner causing any damage to any Party Walls by its acts
                    shall be solely responsible and liable for any maintenance, repair, or replacement, as required,
                    and for any cost or liability necessary to repair such damaged Party Walls.

                            6.21 Exterior Holiday Decorations. Lights or decorations may be erected on a
                    Lot in commemoration or celebration of publicly observed holidays provided that such lights
                    or decorations do not unreasonably disturb the peaceful enjoyment of Owners of adjacent
                    Lots by illuminating bedrooms. creating noise or attracting sight·seers. Holiday decorations
                    or lights for any publicly observed holiday betv.teen December 1 and December 31 of any


                                                                    35




CLARK,NV                                                Page 40 of 98                             Printed on 11/1/2016 4:58:42 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                        Comment:                                                 Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 564 of 807




                                                                                                     20020:10
                                                                                                      013 j j
                    year, may not be displayed before November~ 5 of any year. For other holidays, decorations
                    or lights may not be displayed more than two (2) weeks in advance of the holiday. All lights
                    and decorations that are not permanent fixtures of a Let which are part of the original
                    construction or have been proper1y approved as permanent improvements by the Architecture
                    Committee shall be removed within thirty (30) days after the holiday has ended. The Board
                    shall have the right, upon thirty (30) days prior written no lice to designate a party to enter
                    upon any Lot and summarily remove exterior lights or decorations displayed in violation of
                    this provision. The Board, and the individuals removing the lights and decorations, shall
                    not be liable to the Ownerfortrespass, conversion, or damages of any kind except intentional
                    misdeeds and gross negligence.

                                                                 ARTICLE VII.

                                                            Architecture Committee

                            7.01 Establishment of Committee. There shall be an architecture and landscape
                    control committee (the "Architecture Committee·), established for the purpose of enforcing
                    the architectural standards of the community and approving or disapproving plans for
                    Improvements proposed for the Lots. No Improvement shall be erected, altered, added
                    on or repaired on a lot until plans and specifications showing the r.ature. kind, shape, colors,
                    materials, and location of the Improvement have been submitted to and approved in writing
                    by the Architecture Committee, provided, however. that Improvements erected, altered, added
                    onto or repaired on the Property by Declarant shaH be exempt from the provisions of this
                    Article Vii.

                            7.02 Members of Committee. The Architecture Commi!tee shall consist of three
                    {3) members. aii of whom shall first be appointed by Declarant. There shall also be two
                    (2) alternate members of the Architecture Committee, who shall be designated by the
                    Architecture Committee. to act as substitutes on the Architecture Committee in the event
                    of absence or disability of any member. Each member of the Arc11itecture Committee shalt
                    hold office until such time as he or she has resigned or has been removed or his or her
                    successor has been appointed, as provided llerein. Members of the Architecture Committee
                    may be removed at any time with or without cause. Until ninety percent (90%) of al! Lots
                    llave been sold, Declarant shall have the sole power to appoint and remove the members
                    of the Architecture Committee. Thereafter, the Board sllall have the power to appoint and
                    remove all members of tile Architecture Committee and to determine the number of members
                    of the Architecture Committee; provided, llowever, that tile Architecture Committee sllall
                    at no time consist of less than three (3) members. Members of the Architecture Committee
                    need not be Members of the Association.

                           7.03 Architectural Design Guidelines. Prior to conveyance of the first Lot to an
                    Owner other than the Declarant, the Declarant may. in its sole discretion and without the
                    consent of anyone, adopt, amend or repe~~l rules and regulations to be known as "Design
                    Guidelines," which shall interpret and implement the provisions of this Declaration, set forth


                                                                      .16
                    ' '"'' '"" "•'"•'" ._" •·~• ''"' ''"'




CLARK,NV                                                     Page 41 of 98                      Printed on 11/1/2016 4:58:42 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                          Comment:                                                  Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 565 of 807




                    fees to be charged. and promulgate procedures and design and construction criteria to be
                    followed in submitting proposals to the Architecture Committee. Thereafter. the Architecture
                    Committee shall have the right to and may in its discretion. subject only to approval of the
                    Board, adopt, amend or repeal the Design Guidelines. No such actions shall affect any prior
                    Architecture Committee approval. A copyo! the Design Guidelines as they may from time
                    to time be adopted, amended, or repealed, certified by any member of the Architecture
                    Committee, shall be maintained at the office of the Association and shall be available for
                    inspection and copying by any Member at any reasonable time during the business hours
                    of the Association. The following minimum standards and restrictions shall apply to all
                    Improvements made on the Property:

                                   (a}    all Improvements shall be constructed in full compliance with all applicable
                     zoning laws. building codes. and other laws, ordinances, and regulations applicable to the
                     construction. use. and occupancy of Improvements: and

                                       (b)         all Improvements shall be constructed in accordance with the Design
                     Guidelines.

                             7.04 landscape Standards. Upon adoption of the Design Guidelines, the Architecture
                     Committee shall, as part of the Design Guidelines. establish guidelines for plant and landscaping
                     material that shall reflect desert landscaping to the extent practicable. Such guidelines may
                     restrict the species and placement of any tree, plant, bush, ground cover. or other growing
                     thing planted or placed on the Property. The Architecture Committee shall adopt a list of
                     approved plant specif:s that may be altered or augmented from time to time.

                             7.05 Review of Proposed Improvements. Whenever in this Declaration orin any
                     supplemental declaration the approval of the Architecture Committee is required, it shall
                     have the right to consider all ofthe plans and specifications for Ute Improvement or proposal
                     in question and all other facts that in its sole discretion are relevant. Except as provided
                     in Section 7.01, prior to commencement of construction of any Improvement upon the Property,
                     the plans and specifications therefor shall be submitted to the Architecture Committee. and
                     construction or placement thereof may not commence unless and until the Architecture
                     Committee has approved such plans and specifications in writing. The Architecture Committee
                     shall consiaer and act upon any and all plans and specifications submitted for its approval
                     pursuant to this Declaration and perform such other duties assigned to it by this Declaration
                     or as from time to time shall be assigned to it by the Board, including the inspection of
                     construction or placement in progress to assure its conformance with plans and specifications
                     approved by the Architecture Committee. The Architecture Committee shall approve plans
                     and specifications submitted for its approval only if it deems that the construction, alterations.
                     or additions contemplated thereby in the locations indicated will not be detrimental to the
                     surrounding area or to the Property as a whole. that the appearance of any structure affected
                     thereby will be in harmony with the surrounding structures. and that the upkeep and
                     maintenance therefor will not become a burden on the Association. The Architecture Committee
                     may condition its appro'Jal of plans and specifications on such changes therein as it deems
                     appropriate and may require submission of additional plans and specifications or other

                                                                         37
                                .
                     ''".""'"·"~· -···~·······"'




CLARK,NV                                                      Page 42 of 98                        Printed on 11/1/2016 4:58:42 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                        Comment:                                                 Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 566 of 807




                                                                                                     10010510
                                                                                                     .01Ji3
                    information prior to approving or disapproving the material submitted. The Architecture
                    Committee may also issue rules or guidelines regarding anything relevant to its functions,
                    including. but not limited to. minimum standards and procedures for the submission of plans
                    and specifications for approval. The Architecture Committee. in its sole di$cretion, may require
                    a reasonable fee to accompany each application for approval. which shall be used to cover
                    the Architecture Committee and its members' reasonable costs. The Architecture Committee
                    may require such detail in plans and specifications submitted for its review and such other
                    information as it deems proper.

                            7.06 Meetings of the CommiHee. The Architecture Committee shall meet from
                    time to time as necessary to perform its duties hereunder. but such meetings shall be held
                    at least annually. The vote of a majority of all of the members of the Architecture Committee
                    or the wrinen consent of a majority of all of the members of the Architecture Committee taken
                    without a meeting shall constitute em act of the Architecture Committee. The Architecture
                    Committee may from time to time by resolution adopted in writing, delegate its duties, except
                    fer the granting of variances pursuant to Section 7.11, or retain the services of a professional
                    engineer. architect, designer, inspector or other Person to assist in the performance of its
                    duties.

                           7.07 No Waiver of Future Approvals. The approval or consent ofthe Architecture
                    Committee to any plans or specifications for any work done or proposed or in connection
                    with any other matter requiring the approval or consent of the Architecture Committee shall
                    not be deemed to constitute a waiver of any right to withhold approval or consent as to any
                    pians or specifications Oi ottiei matter whatsoever subsequently or add!!iona!!y submitted
                    for approval or consent by the same or a different Person.

                           7.08 Compensation of Members. The members of the Architecture Committee
                    shall be entitled to reasonable compensation from the Association for services rendered,
                    together with reimbursement for expenses incurred by them in the performance of their duties
                    hereunder. Such compensation shall be determined by Declarant while it has the right to
                    appoint or remove the members of the Architecture Committee pursuant to Section 7.02
                    hereof, and thereafter. such compensation shall be determined by the Board.

                              7.09          Inspection of Work.

                                   (a)   Completed Work. Inspection of completed work and correction of defects
                    therein shall proceed as follows:

                                         (i)     Upon the completion of any Improvement for which approved
                    plans orspecificat1ons are required undertllis Declaration, the Owner shall give written notice
                    of completion to the Architecture Committee within fifteen (15) days of completion.

                                        (ii)    Within such reasonable time as the Architecture Committee may
                    set, but not to exceed thirty (30) days thereafter, the Committee or its duly authorized


                    ''""' '"'"'"~·~   ......._..... ·····              38




CLARK,NV                                                     Page 43 of 98                      Printed on 11/1/2016 4:58:42 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                              Comment:                                                     Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 567 of 807




                                                                                                              2001•)510
                                                                                                               .OIJ1J
                    representative may inspect such Improvement. If the Committee finds that such work was
                    not done in strict compliance with all approved plans and specifications submitted or required
                    to be submitted for its prior approval. it shall notify the Owner in writing of such noncompliance
                    within such period, specifying in reasonable detail the particulars of noncompliance, and
                    shall require the Owner to remedy the same.

                                                     (iii)   If, upon the expiration of thirty (30) days from the date of such
                    notification, the Owner shall have failed to remedy such noncompliance, the Architecture
                    Committee shall notify the Board in writing of such failure. Upon notice and hearing beiore
                    the Board, the Board shall issue a ruling determining whether there is a noncompli.:mco,
                    and if such noncompliance is found to exist. the Board shall determine the estimated cost
                    of correcting or removing the same. The Owner shall remedy or remove the same within
                    a period of not more than forty-five (45) days from the date of announcement of the Board
                    ruling. If the OWner does not comply with the Board's ruling within such period, the Board.
                    at its option, may either remove the noncomplying Improvement or remedy the noncompliance.
                    and the Owner shall reimburse the Association upon demand for all expenses incurred in
                    connection therewith. If such expenses are not promptly repaid by the Owner to the Association,
                    the Board shall levy a special Assessment against such Ovmerand the Improvement in question
                    and the Lot upon which the Improvement is situated for reimbursement, and the special
                    Assessment shall constitute a lien upon such Lot and Improvement.

                                           (iv)   !f for any reason after receipt of said written notice of completion
                    from the Owner, the Architecture Committee fails to notify the Owner of any noncompliance
                    within the period provided in subsection 7 .09(a)(ii) hereof, the Improvement shall be deemed
                    to be in accordance with said approved plans and specifications.

                                    (b)     Work in Progress. The Architecture Committee may inspect all work
                    in progress and give notice of noncompliance as provided above in subsection 7.09(a)(ii).
                    If the Owner denies that such noncompliance exists, the procedures set out in subsection
                    7.09(a)(iii) shall be followed, except that. pending resolution of the dispute, no further work
                    shall be done that would hamper correction of the noncompliance if the Board should find
                    that such noncompliance exists.

                            7.10 Non liability of Committee Memb9rs. Neither the Architecture Committee
                    nor any memberthereof nor the Board nor any member thereof shall be liable to the Association
                    or to any Owner or to any other Person for any loss, damage, or injury arising out of or in
                    any way connected with the performance of the Architecture Committee's or the Board's
                    respective duties under this Declaration, except for the willful misconduct or bad faith of
                    the Architecture Committee or its members or the Board or its members, as the case may
                    be. Except insofar as its duties may be extended with respect to a particular area by a
                    supplemental declaration f1led by Declarant. the Architecture Committee shall review and
                    approve or disapprove al! plans and specifications submitted to it for any proposed
                    Improvement, including the construciion, alteration, or addition thereof or thereto, solely
                    on the basis of ae:;thetic considerations and the overall benefit or detriment that would result
                    to the surrounding area and the Property generally. In granting its approval or disapproval

                    I   '-'""'""'"'"'~""'-''•""•-'
                                                                             39




CLARK,NV                                                          Page 44 of 98                           Printed on 11/1/2016 4:58:42 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                    Comment:                                                        Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 568 of 807




                                                                                                      20020510
                                                                                                      .01313
                   to plans and specifications for a proposed Improvement, the Architecture Committee shall
                   take into consideration the aesthetic aspects of the architectural designs, landscaping, color
                   schemes. exterior finishes, and materials and similarfcatures. The approval oftheArchitecture
                   Committee shan not be construed to be, nor shall the Architecture Committee be responsible
                   for. approval of the structural safety, engineering soundness. or conformance with zoning,
                   building, or other codes that may be applicable.

                           7.11 Variances. The Architecture Committee may authorize variances from compliance
                   with any of the architectural provisions of this Declaration or any supplemental declaration.
                   including restrictions upon height, bulk, size, shape, land area, placement of structures,
                   setbacks, building envelopes, colors. materials, or similar restrictions when circumstances
                   such as topography.natural obstructions, hardship, or aesthetic OC' environmental considerations
                   may. in its sole and absolute discretion. warrant. Such variances must be consistent with
                   any and all applicable laws. Such variances must be evidenced in writing and must be signed
                   by at least a majority of all of the members ofthe Architecture Committee. If such a variance
                   is granted, no violation of the covenants, conditions, or restrictions contained in this Declaration
                   or any supplemental declaration shall be deemed to have occurred with respect to the matter
                   for which the variance was granted. The granting of such a variance shall not operate to
                   waive any provisions of this Declaration, the Design Guidelines. or any supplemental declaration
                   for any purpose except as to the particular property and particular provision and in the particular
                   instance covered by the variance.

                          7.12 Obligations with Respect to Zoning and Subdivisions. The Arcllitecture
                   Committee shall require all Persons to comply My with the zoning and master plan designations
                   and any special use permits and with all applicable federal, state, and local Jaws, regulations,
                   and ordinances insofar as the sa me are applicable and as the same may hereafter be am ended
                   from time to time.

                           7.13 Indemnification of Architecture Committee. Tllemembersofthe Architecture
                   Committee shall be deemed the appointed agents of the Board, and the Architecture Committee
                   is llereby authorized to carry out and adhere to the provisions of this Article VII. The Owners
                   hereby collectively agree that the members of the Arcllitecture Committee shall be indemnified
                   and held llannless for any liability, damages, or other obligation (including reason~ble attorneys'
                   fees) resulting from the reasonable and prudent exercise of their duties as members of the
                   Architecture Committee as specified in this Article VII.

                                                            ARTICLE VIII.

                                                         Mortgagee Provisions

                           The following provisions are for the benefit of holders, insurers, and guarantors of
                   first Mor1gages on Lots. The provisions of this Article apply to both this Declaration and
                   to the Bylaws notwithstanding any other provisions contained therein.



                   '··~"'"'""   _, ·~ .   -· ......,.,             40




CLARK,NV                                                 Page 45 of 98                           Printed on 11/1/2016 4:58:42 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                                              Comment:                                                      Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 569 of 807




                                                                                                                               1001jj 10
                                                                                                                               .0Il 1j
                                  8.01           Natices of Action. An institutional holder, insurer, or guarantor of a first Mortgage
                   who provides written requestto the Association (such request to state the name and address
                   of such requestor and the street address of the Lot to wh1ch 1ts interest relates, thereby
                   becoming an "Eligible Holde:") wi\1 be entitled to timely written notice of:

                                                 (a)                 Any condemnation loss or any casualty loss that affects a material portion
                   of the Property or that affects any Lot on which there is a first Mortgage held, insured. or
                   guaranteed by such Eligible Holder;

                                 (b)    Any delinquency in the payment of Assessments or charges owed by
                   an Owner of a Lot subject to the Mortgage of such Eligible Holder when such delinquency
                   has continued for a period of sixty (60) days, or any other violation of this Declaration or
                   the Bylaws relating to such Lo! or the Owner that is not cured within sixty (60) clays.
                   Notwithstanding this provision, any holder of a first Mortgage is entitled to written notice upon
                   request from the Association of any default in the performar.ce by an Owner of a Lot of any
                   obligation under this Declaration or the Bylaws that is not cured within sixty (60) days;

                                (c)   Any lapse, canceliation. or material modification of any insurance policy
                   maintained by the Association; or

                                (d)    Any proposed action that would require the consent of a specified
                   percentage of Eligible Holders.

                         8.02 Special Provision. Unless at least sixty-seven percent(67%)ofthe Eligible
                   Holders and voting Members representing at least sixty-seven percent (67%) of the total
                   Association consent. the Association shall not:

                                   (a)      By act or omission seek to abandon, partition. subdivide, encumber.
                   sell, or transfer all or any portion of the real property comprising the Common Area that the
                   Association owns directly or indirectly. The granting of easements for public utilities or other
                   similar purposes consistent with the intended uses of the Common Area shall not be deemed
                   a transfer within the meaning of this subsection:

                                 (b)   Change the method of determining the obligations, Assessments, dues,
                   or other charges that may be levied against an Owner of a Lot:

                                  (c)     By act or omission change. waive, or abandon the Sllbdivision Map
                   or this Declaration or change, waive. or abandon any scheme of regulations or enforcement
                   relating to architectural design, exterior appearance, or maintenance of the Lots and the
                   Common Area. The issuance .and amendment of architectural standards, procedures, rules
                   and regulations, or use restrictions shall not constitute a change, waiver, or abandonment
                   within the meaning of this provision;

                                                 (d)                 Fail to maintain insurance as required by this Declaration: or


                   ' '"~ ""'   ..... ... ''"'
                                    ~           ~~·   '   ... ....
                                                             '                               4\




CLARK,NV                                                                          Page 46 of 98                           Printed on 11/1/2016 4:58:42 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                   Comment:                                                      Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 570 of 807




                                                                                                    200n510
                                                                                                    .~IJIJ

                                 (e)     Use hazard insurance proceeds for any Common Area losses for other
                   than the repair, replacement, or reconstruction of such property.

                          First Mortgagees may, jointly or singly, pay taxes or other charges that are in default
                   and that may or have become a charge against the Common Area and may pay overdue
                   premiums of property insurance policies, or secure new property insurance coverage upon
                   the lapse of an Association policy, and first Mortgagees making such payments shall be
                   entitled to immediate reimbursement from the Association.

                          8.03   Other Provisions for first Mortgages. To the extent possible under Nevada
                   law:

                                 (a)     Any restoration or repair of the Property after a partial condemnation
                   or damage due to an insurable hazard shall be performed substantially in accordance with
                   this Declaration and the original plans and specifications unless the approval is obtained
                   of the Eligible Holders on Lots to which at least fifty-one percent (51%) of the votes of Lots
                   subject to Mortgages held by such Eligible Holders are allocated.

                                 (b)     Any election to terminate the Association after substantial destruction
                   or a substantial laking in condemnation shall require the approval of the Eligible Holders
                   on Lots to which at least f1fly-one percent (51%) of the votes of Lots subject to Mortgages
                   held by such Eligible Holders are anocated.

                                  (c)     Any election to terminate the Association other than for the causes
                   described in subsection 8.03(b) sha!l require the approval of the Eligible Holders on Lots
                   to which at least sixty-seven percent {67%) of the votes of the Lots subject to the mortgages
                   held by such Eligible Holders are allocated.

                          8.04 No Priority. No provision of the Declaration or the Bylaws gives or should
                   be construed as giving any Owner or another party priority over any rights of the first Mortgagee
                   of any Lot in the case of distribution to such Owner of insurance proceeds or condemnation
                   awards for losses to or a taking of the Common Area.

                           8.05 Notice to Association. Upon request, each O.Nnershall be obligated tofumish
                   to the Association the name and address of the ho!der of any Mortgage encumbering such
                   Owner's Lot.

                           8.06 Amendment by Board. Should the Federal National Mortgage Association
                   or the Federal Home Loan Mortgage Corporation subsequently delete any of its respective
                   requirements that necessitate the provisions of this Article or make any such requirements
                   less stringent, the Board, without the approval of the Owners, may Record an amendment
                   to this Article to reflect such changes.



                                                                  42




CLARK,NV                                               Page 47 of 98                           Printed on 11/1/2016 4:58:42 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                  Comment:                                                      Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 571 of 807




                          8.07 Applicability. Nothing contained in this Article shall be construed to reduce
                   tne percentage vote that must otherwise be obtained under this Declaration. the Bylaws.
                   or Nevada law for any of the acts set out in this Article.

                           8.08 Failure of Mortgagee to Respond. Any Mortgagee wno receives a written
                   request from the Board to respond to or consent !o any action snan be deemed to have
                   approved such action IT the Association does not receive a written response from the Mortgagee
                   within thirty (30) days of the date of such Mortgagee's receipt of the Association's reql!est.
                   provided such request is delivered to the Mortgagee by certified or registered mail, return
                   receipt requested.

                                                            ARTICLE IX.

                                                            Annexation

                           9.01 Annexation of Additional Property by Association. Upon the approval of
                   two-thirds (2/3) or more oftl1e Members oftne Association, the owner of any real property
                   who desires to subject that property to the covenants, conditions, and restrictions of tnis
                   Declaration and subject that property to the jurisdiction of the Association may Record a
                   Declaration of Annexation. wh:icn shall extend the covemmts, conditions, and restrictions
                   of this Declaration to such property.

                           9.02 Annexation by Declarant. Subject to Section 2.11 hereof. if within seven
                   (7) years of the date of the Recording of this Declaration in the Official Records of the Clark
                   County Recorder Declarant desires to develop additional phases in the Annexable Area
                   in its sole and absolute descretion, such additional phases or any portion thereof may be
                   added to the Property, be subjected to this Declaration, and be included within the jurisdiction
                   of the Association by action of Declarant without the consent of the Members or Eligible
                   Holders. All Common Area Improvements in each phase of the Annexable Area will be
                   substantially completed prior to annexation. Improvements constructed or located in the
                   Annexable A1·ea shall be consistent in terms cf quality of construction and architectural design
                   with the Improvements located elsewhere on the Property.

                          9.03 Procedure for Annexation. Any annexation may be accomplished by the
                   Recording of a Declaration of Annexation, which shall state that Owners of Lots in the
                   Annexable Area shall also be Members. At the time of Recording of the Declaration of
                   Annexation, Declarant shall also by deed or assignment, as tne case may be, transfer to
                   the Association tne Association Property in the area being annexed. The obligation of an
                   Owner to pay Assessments or fees to the Association and the right of an Owner to exercise
                   voting rights in the Association in any Annexable Area shall not commence until both of the
                   following occur: (a) such portion of the Annexable Area containing the Lot owned by the
                   Owner is actually annexed to and becomes a part of tne Property: and (b) the first day of
                   tne month following the close of the first sale of a Lot by Declarant to an Owner other than
                   Declarant in that particular portion of the Annexable Area.




CLARK,NV                                               Page 48 of 98                          Printed on 11/1/2016 4:58:42 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                     Comment:                                                          Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 572 of 807




                                                                                                          100j0510
                                                                                                          .01 1l
                           9.04    Oeannexation. Declarant may delete all or any portion of the phase of
                    development from coverage of this Declaration and the jurisdiction of the Association so
                    long as Declarant is the owner of all of that phase and provided that:

                                 (a)    the Notice of Deannexation is Recorded in the same manner as the
                    applicable Declaration of Annexation was Recorded;

                                 (b)       Declarant has not exercised any rights to vote with respect to any portion
                    of such phase;

                                   (c)     Assessments have not yet commenced with respect to any portion of
                    such phase;

                                   (d)     no Lot has been sold in such phase to a memberofthegeneral public:
                    and

                                 (e)    the Association has not made any expenditures or incurred any obligation
                    respecting any portion of such phase.

                                                               ARTICLE X.

                                                           General Provisions

                            10.01 Twmi. This Decla;ation. Jr.cluding~!toftheCO'Jenants, ccndit.lons. and restrictions
                    hereof, shall run until the date fifty(SO) years hereafter, unless amended as herein provided.
                    After the date fifty (50) years hereafter, this Declaration, including all such covenants, conditions,
                    and restrictions. shall be automatically extended for successive periods often (10) years
                    each, unless amended or extinguished by a written instrument executed by at least two thirds
                    (2/3) of the Owners and recorded in the Official Records of the County Recorder of Clark
                    County, Nevada.

                          10.02 Resale of Lots. The seller of any Lot shall furnish to the purchaser before
                    execution of any contract for the sale of the Lot or otherwise before conveyance:

                                   (a}     a copy of this Declaration, the Articles, By!am, and Rules and Regulations:

                               {b)   a statement setting forth the amount of the annual Assessments for
                    common expenses and any unpaid Assessment of any kind currently due from the selling
                    Owner; and

                                   (c)     a copy of the current operating budget of the Association.

                           The selling Lot Owner shall also at such time notify the Association of the proposed
                    sale and provide the Association with the name and address of the new Ow.1er and the


                                                                     44




CLARK,NV                                                 Page 49 of 98                               Printed on 11/1/2016 4:58:42 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                                      Comment:                                                   Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 573 of 807




                                                                                                                     20020510
                                                                                                                     .OIJIJ
                    proposed date of sale. Nothing in this Section 10.02 shall be construed to req1Jire any approval
                    by the Association of the sale of any Lot.

                                     10.03 Lease of Property.

                                              (a)            In the event an Owner rents or leases any Lot, the Owner shall provide
                    the Lessee with a copy of this Declaration, the Articles, Bylaws, Rules and Regulations,
                    any rules and regulations adopted by the Architecture Committee, and a list of the members
                    of the Board. The lease or other agreement with the Lessee shall provide that the Lessee
                    shall abide by the provisions of this Declaration, the Articles, Bylaws, Rules and Regulations,
                    and any rules and regulations adopted by the Architecture Committee and that the lease
                    is subject to such provisions. The Association may, after notice to the Owner of the Lot and
                    in addition to any other rights or remedies it may have at law or equity, enforce against the
                    Lessee those remedies set forth in this Declaration and may evict the Lessee if within a twelve
                    (12) month period the Lessee commits three or more material violations ofthis Declaration,
                    the Articles, Bylaws, Rules and Regulations, or any rules and regulations adopted by the
                    Architecture Committee regardless of whether such violations are cured.

                                 (b)   Any Owner renting or leasing its Lot shall notify the Association of such
                    arrangement and provide the Association with the name of the Lessee and the term of the
                    Lease for occupancy.

                                  (c)     In the event the Association engages an attcmey or takes any legal
                    action against a Lessee for violation of this Declaration, the Owner as well as the Lessee
                    shall be subject to the costs and expenses set forth in subsect1cn 10.05(f) hereof.


                                     10.04 Amendment.

                                   (a)    MajoritvVote. Exceptasprovidedinsubsection 10.04(c), no amendment
                    of this Declaration shall be effective unless adopted by a majority of the Members.
                    Notwithstanding the foregoing. the consent of sixty-seven percent (67%) of the Members
                    entitled to vote and of Declarant. so long as the Declarant owns any land subject to this
                    Declaration, and the approval of Eligible Holders on Lots to which at least fifty-one percent
                    (51°/G)of the votes of Lots subject to a Mortgage shall be required to materially amend any
                    provisions of this Deciaration. the Bylaws, Articles. or to add any material provisions thereto
                    !hal establish, provide for. govern, or regulate any of the following:




                                                             (li)    Assessments, Assessment liens, or subordination of such liens:

                                                             (iii)   reserves for maintenance, repair, and replacement of the Common
                    Area;



                    '   ... '"''          . ·-·' •.. ' ...
                                   "·"-~ ._




CLARK,NV                                                                  Page 50 of 98                          Printed on 11/1/2016 4:58:42 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                       Comment:                                                       Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 574 of 807




                                          {iv)     insurance or fidelity bonds;

                                          {v)      rights to use the Common Area;

                                         (vi)      responsibility for maintenance and repair of the Property:

                                         {vii)  expansion or contraction of the Property or the annexation or
                    withdrawal of real property to or from the jurisdiction of the Association:

                                          {viii)   boundaries of any lot;

                                         {ix)      leasing of lots:

                                         (x)       imposition of any restrictions on an Owner's right to sell or transfer
                    its Lot:

                                      (xi)  establishment of self-management by the Association after
                    professional management has been required by an Eligible Holder;

                                         (xli)   any provisions in this Declaration, the Bylaws, or Articles that
                    are for the express benefit of Eligible Holders, guarantors, or insurers of first Mortgages on
                    lots;

                                         (x!ii)    re<'!l!O~..Btion   of interests in the Common Area: or

                                         (xiv}     convertibility of lots into Common Area or vice versa.

                                   (b)     Recording of Amendment. Every amendment of this Declaration must
                    be Recorded in the Official Records of the Clark County Recorder, and no amendment of
                    this Declaration sha 1l be effective until executed and so Recorded. Every amendment must
                    be indexed in the grantee's index in the name of the Association and in the grantor's index
                    in the name of the party executing the amendment. Every amendment of this Declaration
                    must be prepared, executed, Recorded, and certified on behalf of the Association by the
                    officer of the Association designated in the Bylaws for that purpose. or in the absence of
                    such designation, by the President of the Association,

                                (c)    Persons Enlitled to Amend. This Declaration may be amended in
                    accordance with NRS §§ 116.2109, 116.2110 by Declarant for the purpose of exercising
                    any developmental rights as set forth in this Declaration.

                                     (d)     Restrictions on Amendment. Except tot he extent expressly permitted
                    or required by the provisions of the Act, no amendment may change the boundaries of any
                    particular lot, the allocated interests of a particular lot, or the uses to which a particular
                    Lot is restricted in the absence of the consent ofthe Ownerofthe Lot affected and the consent
                    of a majority of the Owners of the remaining lots. No action to challenge the validity of an

                                                                         46




CLARK,NV                                                  Page 51 of 98                             Printed on 11/1/2016 4:58:42 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                                        Comment:                                                  Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 575 of 807




                                                                                                                      20020510
                                                                                                                      .OIJ'J
                    amendment adopted by the Association pursuant to NRS § 116.2117 may be brought more
                    than one (1) year after the amendment is recorded.

                                                 (e)            Declarant Amendment Notwithstanding any provision of this Declaration
                    to the contrary, for so long as Declarant owns any portion of the Property, but no later than
                    five (5) years from Recordation of this Declaration, Declarant may unilaterally amend this
                    Declaration by Recording a written instrument signed by Declarant in order to correct techn ica I
                    errors. for clarir1cation, and to conform this Declaration to the requirements of the City of
                    North Las Vegas, the Veterans Administration, the Department of Housing and Urban
                    Development. the Federal Housing Administration, the Federal Home Loan Mortgage
                    Corporation, FNMA, or GNMA.

                                  (f)    Deliverv of Amendments to Owners. II any change is made to this
                    Declaration or any of the other governing documents of the Association, the Secretary of
                    the Association shall, within thirty (30) days after the change is made, prepare and cause
                    to be hand-delivered or sent prepaid by United States mail to the mailing address of each
                    Lot or to any other mailing address designated in writing by the Lot Owner, a copy of the
                    change that was made.

                                  10.05 Enforcement and Nonwaiver.

                                 (a)    Right of Enforcement. Subjectto NRS Chapter38 and except as otherwise
                    provided herein, any Owner (at its own expense), Declarant, and the Board shall have the
                    right to enforce. by any proceeding at !BW or in equity <Jnd inc;l~,~ding arbitration proceedings
                    and other forms of mediation, all of the restrictions, conditions, covenants. reservations.
                    liens, and charges now or hereafter imposed by the provisions of this Declaration against
                    any property within the Property and the Owners thereof. Such right of enforcement shall
                    include both damages for and injunctive relief against the breach of any such provision.
                    The right of any Owner to so enforce such provisions shall be equally applicable without
                    regard to whether the property (or other interest) of the Owner seeking such enforcement
                    or the property (orotherinterest)whereon or with respect to which a violation of such provision
                    is alleged is initially set forth on Exhibit ''A" oris hereafter subjecied to this Declaration pursuant
                    to Article IX hereof.

                                   (b)      Violation as a Nuisance. Every act or omission by which any provision
                    of this Declaration is violated in whole or in part is hereby declared to be a nuisance anc:l
                    may be enjoined or abated by any Owner (at its own expense}, by Declarant, or by the Board,
                    whether or not the relief sought is for negative or affirmative action. However. only Declarant,
                    the Board, and the duly authorized agents of either of them may enforce by self-help any
                    of the provisions of this Declarotion and then only if such self-help is preceded by reasonable
                    notice to the Owner in question.

                                   (c)     Viola:ion of~. Any violation of anyfe<leral, state, or local law, ordinance,
                    or regulation pertaining to the ownership, occupancy, or use of any property within the Property


                    t   ··~"'"'"'''   '"'" --···-·· ••••• ,..




CLARK,NV                                                                    Page 52 of 98                         Printed on 11/1/2016 4:58:42 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                    Comment:                                                        Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 576 of 807




                                                                                                       200j05tO
                                                                                                       .01 tJ
                    is hereby declared to be a violation of this Declaration and subject to all of the enforcement
                    procedures set forth herein.

                                   (d)     Remedies Cumulative. Each remedy provided by this Declaration is
                    cumulative and not exclusive.

                                   (e)     Nonwaiver. The failure to enforce any provision of this Declaration at
                    any time shall not constitute a waiver of the right thereafter to enforce any such provision
                    or any other provision herein.

                                   (f)     Attomevs' Fees. In the event the Board engages legal counsel or takes
                    any legal ae1ion. including, but not limited to, arbitration proceedings pursuant to NRS Chapter
                    38, to enforce the provisions of this Declaration, it shall be entitled to its costs, including
                    reasonable attorneys' fees, incurred in connection therewith.

                            10.06 Notices. Any notice or communication to be given under the terms of this
                    Declaration shall be in writing and shall be psrsonally delivered or sent by facsimile, ovem ight
                    delivery, or registered or certified mail. retum receipt requested. Notice shall be effective:
                    (a) if personally delivered, when delivered; (b) if by facsimile, on the day of transmission
                    thereof on a properfacsimile machine \-vith confirmed answerback; (c) if by overnight delivery.
                    on the day after delivery thereof to a reputable overnight courier service: and (d) if mailed,
                    at midnight on the third (3rd) business day after deposit in the mail, postage prepaid. Notices
                    shall be addressed to the Person at the address given by such Person to the Association
                    fo; the purpose of ser.:ice of notices or to the residence of such Person !f no address has
                    been given to the Association. Such address may be changed from time to time by notice
                    in writing given by such Person to the Association.


                           10.07 Construction.

                                  (a)    Restdctions Severable. Each oft he provisions oft his Declaration shall
                    be deemed independent and severable, and the invalidity or partial invalidity of any provision
                    or portion thereof shall not affect the validity or enforceability of any other prevision.

                                   (b)    Singular Includes PluraL Unless the context requires a contrary
                    construction, the singular shalt include the plural and the plural the singular; and the masculine,
                    feminine, or neuter shall each include the masculine, feminine, and neuter.

                                    (c)    Captions. All captions and titles used in this Declaration are intended
                    solely for convenience of reference and shall not enlarge, limit, orother..vise affect that which
                    is set forth in any of the Sections or Articles hereof.

                                   (d)   Liberal Construction. It is the intention of Declarant that this Declaration
                    be liberally construed to promote the purpose of a well-planned community, reserving to


                                                                    48




CLARK,NV                                                Page 53 of 98                             Printed on 11/1/2016 4:58:42 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                    Comment:                                                        Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 577 of 807




                     Declarant the rights ne!;essary to develop the Property and to insure the integrity of the
                     interrelated land uses.

                          10.08 State Law. The provisions of this Declaration shall be gcvemad and interpreted
                    according to the laws of the State of Nevada.

                          1 0.09 Priorities, Inconsistencies. Jf there are conflicts or inconsistencies between
                    this Declaration and either the Articles or the Bylaws, the terms and provisions of this
                    Declaration shall prevail.

                           Declarant has executed this Declaration this               l;x/) day of May, 2002.

                                                                 DECLARANT

                                                                 Centex Homes of Nevada,
                                                                 a Nevada general,partpership
                                                                 By:
                                                                         .
                                                                               --<;-J'-',-JC..I ______
                                                                                      (Signature)
                                                                           ·"?x::U:tr~-- r-· ;;-.~J
                                                                 Name: --'7""';;;:-::';C:':-_'=':;-"'-'-----
                                                                               ~Print       Name)
                                                                          (       ,)
                                                                 Title: _ _c..f,."=":,"c.';:C,,-._7_____
                                                                              (Print Title)


                    STATE OF NEVADA)
                                    ) ss:
                    COUNTY OF ClARK)

                           On the   l(.)-f~   day of May, 2002, before me, a Notary Public in and for said County
                    and State,_personally appeared r). ( \.lt.'-1' ~- (.: 1 •1- ..-~-- • , known (or proved) to me
                    to be the 'l r'L-l--'L ci...L ...... J_  of Centex Homes of Nevada, a Nevada general
                    partnership, and who acknowledged to me that he/5;he executed the within instrument.


                                                                         //'     -~




                                                                                                           J
                                                                   49




CLARK,NV                                                Page 54 of 98                                Printed on 11/1/2016 4:58:42 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                            Comment:                                           Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 578 of 807




                         LOTS 41-44 INCLUSIVE IN BLOCK 12 AND LOTS 26-33 lNCLUSIVE IN BLOCK 9
                          OF RANCHO MIRAGE UNIT li- PHASE 2, AS SHOWN BY MAP THEREOF ON
                           FJLE IN BOOK 102 OF PLATS, PAGE 96, IN TI-lE OFFICE OF THE COUNTY
                                        RECORDER OF CLARK COUNTY, NEVADA.




CLARK,NV                                         Page 55 of 98                  Printed on 11/1/2016 4:58:42 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                               Comment:                                                Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 579 of 807




                                                          Exhihit "BM

                                           Legal Description of the Ann~:xablc /\rca.
                                            including Contingent AnTh:xablc t\Jea



                         RANCHO MIRAGE UNIT II-PI-lASE 2. BEING A SUBDIVISION OF A PORTION
                         OF LOT I OF PARCEL MAP: FILE 96. PAGE 59. LOCATED WITHIN THE
                         SOUTHEAST QUARTER (SE Y.) OF THE SOUTHWEST QUARTER (SW Y.) OF
                         SECTION 27. TOWNSHIP 19 SOUTH. RANGE 61 EAST. M.D.M.. CITY OF NORTI-l
                         LAS VEGAS. CLARK COUNTY. NEVADA.

                         COMMENCING AT THE SOUTH CENTER SIXTEENTH CORNER OF SAID
                         SECTION 27: THENCE NORTH 88"47"34~ WEST. ALONG THE NORTH LINE OF
                         THE SOUTHEAST QUARTER (SEI/4) OF THE SOUTHWEST QUARTER (SW!f4)
                         OF SAID SECTION 27. A DISTANCE OF 331.08 FEET TO THE POINT OF
                         BEG!Nl\:ING.

                         LOTS 21-25. BLOCK 9
                         LOTS 66-91. BLOCK 10
                         LOTS 45-56. BLOCK 12

                         RANCHO MIRAGE UNIT II-PHASE I. BEING A SUBDIVISION OF A PORTION
                         OF LOT I OF AMENDED PARCEL MAP: FILE 96. PAGE 59. LOCATED WITHIN
                         THE SOUTHEAST QUARTER (SE 1/4) OF THE SOUTHWEST QUARTER (SW 114)
                         OF SECTION 27. TOVlNSHIP 19 SOUTH. RANGE 61 EAST. M.O.M .. CITY OF
                         NORTH LAS VEGAS. CLARK COUNTY NEVADA

                         LOTS 34-40. BLOCK 9
                         LOTS 57-65. BLOCK 10


                         PARCEL ONE: THAT PORTION OF THE SOUTH HALF (S 1/2) OF TI!E
                         SOUTHWEST QUARTER (SW 1/4) OF SECTION 27. TOW!\SHIP 19 SOUTH.
                         RANGE 16 EAST. M.D.B.M. MORE PARTICULARLY AS FOLLOWS:

                         PARCEL ONE AS SHOWN BY MAP TI~EREOF ON FILE 96 OF PARCEL MAPS.
                         PAGE 59 IN THE OFFICE OF THE COUNTY RECORDER. CLARK COUNTY.
                         NEVADA. EXCEPTING THEREFROM PARCELS "A" & "B" SET FORTH BELOW:

                         PARCEL "A": LOTS 34 THRU 40. 11\:CLUSIVE. IN BLOCK 9 AND 57 THRU 65,
                         INCLUSIVE. IN BLOCK 10 OF RANCHO MIRAGE UNIT II ·PHASE 1 AS SHO\VN
                         BY MAP THEREOF ON FILE IN BOOK i02 OF PLATS. PAGE 95 IN THE OFFICE
                         Of THE COUNTY RECORDER. CLARK COUNTY. NEVADA.




CLARK,NV                                           Page 56 of 98                        Printed on 11/1/2016 4:58:42 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                            Comment:                                           Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 580 of 807




                         PARCEL "8": LOTS 21 THRU 33, INCLUSIVE, IN BLOCK 9. LOTS 66 THRU 91,
                         lNCLUSIVE. IN BLAOCK 10 AND LOTS 41 THRU 56. INCLUSIVE, IN BLOCK 12
                         OF RANCHO MIRAGE UNIT U - PHASE 2, AS SHO\VN BY THE MAP THREROF
                         ON FILE IN BOOK 102 OF PLATS. PAGE 96 lN THE OFFICE OF THE COUNTY
                         RECORDER. CLARK COUNTY. NEVADA.




CLARK,NV                                         Page 57 of 98                  Printed on 11/1/2016 4:58:43 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                               Comment:                                                    Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 581 of 807




                                                          Exhibit "Cn

                                       Legal Description of the Contingent Annexable Area



                         PARCEL ONE: THAT PORTION OF THE SOUTH HALF (S 112) OF THE
                         SOUTHWEST QUARTER (SW 1/4) OF SECTION 27, TOWNSHIP 19 SOUTH.
                         RANGE 16 EAST. M.D.B.M. MORE PARTICULARLY AS FOLLOWS:

                         PARCEL ONE AS SHOWN BY MAP THEREOF ON FILE 96 Of PARCEL MAPS,
                         PAGE 59 IN THE OFFICE OF THE COUNTY RECORDER. CLARK COUNTY,
                         NEVADA EXCEPTING TIIEREFROM PARCELS "N & "B" SET fORTH BELOW:

                         PARCEL "N: LOTS 34 THRU 40. INCLUSIVE, IN BLOCK 9 AND 57 THRU 65.
                         INCLUSIVE. IN BLOCK to OF RANCHO MIRAGE UNIT II- PHASE 1 AS SHO\VN
                         BY MAP TIIEREOF ON FILE iN BOOK 102 OF PLATS. PAGE 95 IN THE OFFICE
                         OF THE COUNTY RECORDER. CLARK COUNTY. NEVADA.

                         PARCEL "B": LOTS 21 THRU 33. INCLUSIVE. IN BLOCK 9, LOTS 66 THRU 91.
                         INCLUSIVE. IN BLAOCK 10 AND LOTS 41 THRU 56. INCLUSIVE. IN BLOCK 12
                         OF RA"''CHO MIRAGE UNIT II- PHASE 2, AS SHOWN BY THE MAP THREROF
                         ON FILE IN BOOK 102 OF PLATS. PAGE 96 IN THE OFFICE OF THE COUl\o'TY
                         RECORDER. CLARK COUNTY. NEVADA.




CLARK,NV                                           Page 58 of 98                            Printed on 11/1/2016 4:58:43 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                  Comment:                                    Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 582 of 807




                                                                  10020l10
                                                                  .01313
                                           Exhibit "0"

                                      Site Development Plan




CLARK,NV                              Page 59 of 98            Printed on 11/1/2016 4:58:43 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                 Comment:                                                     Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 583 of 807




                    --_ APPROVED BY THE CLARK COUNTY DISTRICT BOARD OF                    HEALTH.;";";"~,.--j
                _ CONCERNS SEWAGE DISPOSAL, WATER POLLUTlON, WATER QUALITY 2~0£0~10
         ~SUPPLY      FACILITIES AND IS PREDICATED            UPON PLANS FOR A PUBLIC              .~JJjj
            _y AND A COMMUNITY SYSTEM FOR DISPOSAL OF SEWAGE.




             NG COMMISSION APPROVAL
            ERTIFY THAT rHIS MAP IS APPROVED AND ACCEPTED. ON BEHALF OF
            , ANY PARCELS Of LAND OFFERED FOR DEDICATION FOR PUBLIC USE IN
             WITH THE TERMS OF THE OFFER OF OED I CA Tl ON. FURTHERt.lORE, I
            IS MAP IS IN SUBSTANTJAL~hiANCE WITH THE ~TATJVE MAP AND
            IONS HAVE BEEN MET           THIS~           DAY OF      (iM~G                , I!I1!J::L ,



            T DIRECTOR



             OF BEARINGS
            40'41" WEST, BEING THE BEARING OF ANN ROAD, SAME BEING THE
             SOUTH LINE OF THE SOUTHWEST QUARTER {SW 1/~) OF SECTION 27,
            19 SOUTH, RANGE 61 EAST, M.D. M., CLARK COUNTY, NEVADA, AS
            THAT CERTAIN PARCEL UAP ON FJLE IN THE OFFICE OF THE COUNTY
            :LARK COUNTY,      'NEVAO.....   IN FILE 81 OF PARCEL MAPS,          AT PAGE 06.




            r   RECORDER'S NOTE                                      NO. _ _()IL.'/.!.-'IM!!:<£.1
                                                                                                _ __
            ~UENT   CHANGES TO THIS MAP SHOULD BE
                                                                            FILED AT THE REQUEST OF :
            NO MAY BE DETERMINED BY REFERENCE
            rN RECORDER'S CUMULAllVE MAP INDEX.                                     VTN nevada
            5
                                                                     omol/li.J-$iJ/.r /P.'.1K tl•
                                                                     BOOK        tti.fl        PAGE   t?!l?9fS
                                                                                  OF PLATS
                         w. o. s.s-o.3-1 ·                           OFFICIAL. RECORDS BOOK,          .J.fllll~l.
                         SHEET 1 OF 2                                 CL.ARK COUNTY, NEVADA RECORDS
                                   VCL                                JUDITH A. VANDEVER. RECORDER

                                                                     rE£    $   /rltJD     DEPUTY   t!Jbt           •.

CLARK,NV                                             Page 60 of 98                           Printed on 11/1/2016 4:58:43 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                       Comment:                                              Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 584 of 807




                                                  • ,,.   rJ.• ...>   \L"tU:J


                                                  LOT NUMBER I RESIDENTIAL LOTS = 16              1mo 10
                                  17                      CO"-IMON ELEMENT LOTS = 2               .Oil I
                                                                     TOTAL LOTS   1B

                                                  BLOCK NUMBER


                                  ®               FOUND MONUMENT AS INDICATED
                                  C25             CURVE NUMBER
                                  l22             COURSE NUMBER
                                  R19             RADIAL LINE tJUMBER
                                  (R)             RADIAL
                                  S.F.            SQUARE FEET
                                (PROD)            PRODUCED LINE
                                 (PRC)            POINT OF REVERSE CURVE
                                 (PCC)            POINT OF COMPOUND CURVE
                                  C. E.           CDf·.lMON ELEMENT
                                                  SIGHT VISIBILITY RES'TRIC'noN AREA
                                                  NO VIEW OBSTRUCTIONS OVER
                                                  30" ABOVE TOP OF CURS

                    NOTE&;
                       1. ALL  LOT CORNERS MUST BE SET WITH A TYPE Ill MONUMENT.              IN THOSE
                         INSTANCES WHERE OFFSITE IMPROVEI.lENTS EXIST (J.E., REAR             PROPRiY
                         WALL AND FRONT CURB). A NAIL A~ID TAG SHALL BEE SET IN               ThiE WALL
                         AT T'rlE BACK PROPERTY CORl'!.ER .~.rJD A SA'WCUT SH.A,LL BE          MADE IN
                         THE TOP OF THE FROr\T CURB AT THE PROLONGATION OF                    THE SIDE
                         PROPERTY LINE.
                    $ 2. DIRECT VEHICULAR AND/OR PEDESTRib.N ACCESS TO COMMERCE STREET
                         THROUGH COMMON ELEMENTS FROM J,BUTIING LOTS IS PROHIBITED.
                       3. ALL CORNER LOT SETBACKS ARE CHAMFERED EQUAL TO 1/2 OF THE
                         PROPERTY LINE    I   RIGHT-OF-WAY CCRNER LOT RADIUS.




             C.N.LV.
             Co\P

                                                                                W.O. '550o-l
                                                                                SHEET 2 OF 7
                                                                                    VCLjKAK




CLARK,NV                                                  Page 61 of 98                       Printed on 11/1/2016 4:58:43 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                       Comment:                                                   Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 585 of 807




             T QUARTER (SE 1/4)
              CLARK COUNTY, NEVADA.
             ~OR'S          CERTIFICATE
             ~.     RIEKKI. A PROFESSIONAL LAND SURVEYOR LICENSED                           IN   THE
             ~VADA,     AS AN AGENT FOR VTN NEVADA,              CERTIFY THAT:

              PLAT REPRESENTS THE RESULTS OF A SURVEY CONDUCTED UNDER MY
             r SUPERVISION AT THE INSTANCE OF RANCHO MIRAGE J, L.L.C., A
             ' LIMITED LIABILITY COUPANY.

             \NOS SURVEYED LIE WITHIN A PORTION OF THE SE 1/4, OF THE SW
             )F SECTION 27, T. 19 S.', R. 61 E., M.D. M., CITY OF NORTH L,',S
                CLARK COUNTY, NEVADA, ANC THE SURVEY . WAS COhAPLETED ON
             /99.

                PLAT COWPLIES WITH THE APPLICABLE STATE STATUTES AND ANY
                 ORDINANCES IN EFFECT ON THE DATE¥THAT THE GOVERNING BODY
             t'TS FINAL APPROVAL.

             lNUWENTS DEPICTED ON THE PLAT WILL BE OF                          . HARACTER SHOWN
             >CCUPY      THE POSITIONS INDICATED BY; _Ll- OM                  4J&...
             \N     APPROPRJ ATE FINANCIAL GUARANTEE WIL";L":'B"i':P;"il:':S'::T=ED::-::W::l=TH::-.THE
             ~lNG     BODY BEFORE RECORDATION TO ASSURE THE INSTALLATION OF
             ~NTS.




             ~KKI.    P. L. S.
            ZNSE NO.       12469



            N OF WATER RESOURCES CERTIFICATE
            -  MAP IS APPROVED BY THE DIVISION OF WATER RESOURCES OF THE
             OF CONSERVATION AND NATUR~L RESOURCES CONCERNING WATER
            JBJECT TO THE REVIEW OF APPROVAL ON FILE IN THIS OFFICE.




CLARK,NV                                                   Page 62 of 98                           Printed on 11/1/2016 4:58:43 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                  Comment:                                 Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 586 of 807




             T QUARTER (SE 1/4)
              CLARK COUNTY, NEVADA.




              2• C.N.l.. V. BRASS CAP LN
             ' CONCRE'TE LOCATED UNDER. AC
              TO BE RESTORED AS TYPE II
             . MONUMENT AL. CAP    ·vrn    PLS 12469"
              UPON COMPLET'10N OF CONSTRUCTION
              OR SET WEU. MONUMENT OVER EXISTING
              IF SllLL IN PLACE




                                                  GRAPHIC SCALE


                                                        I   INm:T)
                                                     1 inch •   40   fl.




                               P.O.B.           POINT OF BEGINNING
                                                BOUNDARY LINE -
                                                LOT LINE
                                                RIGHT-OF-WAY LINE
                                                S"TREET CENTERLINE
                                                BUILDING SETBACK LINE
                                                FRONT "" 16' /REAR = 15'
                                                          I •:ORNER = 10'
                                                SIDE ""' 5'


                                  •            SET TYPE 111 MONUMENT
                                               AL. CAP "VTN PLS 12469•




CLARK,NV                                             Page 63 of 98          Printed on 11/1/2016 4:58:43 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                                              Comment:                                                        Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 587 of 807




                   UNIT II                                                           PHASE 1
             TEREST COMMUNITY)
             [AP: FILE j6, PAGE 5!1...." LOCATED WITHIN THE SOUTHE
             TH, RANGE 61 EAST, M.D.M., CITY OF NORTH LAS VEG.
             R'S CERTIFICATE                                                                                                                        SUR
             ; VEGAS.              COUNTY OF CLARK.                        STATE OF NEVADA,                         DOES                            I • . AL
             : HAVE EXAMINED THE FINAL MAP OF RANCHO                                                          MIRAGE                                STATE
                       THAT THE             SUBDIVISION                    AS         sHOWN           HEREON          IS
             4E AS IT APPEARS ON THE TENTATIVE MAP,                                                        AND       ANY                            !.     T
              THEREOF,.              THAT ALL PROVISIONS OF THE PLANNING' AND                                                                              c
             \TE OF NEVADA AND ANY LOCAL ORDINANCES APPLICABLE
             >VAL OF THE TENHTIVE MAP HAVE BEEN COMPLIED WITH.                                                                                             '
             \TISFlED THIS MAP IS TECHNICALLY CORRECT AND THAT.-                                                                                    2.     T
             IE NOT BEEN SET,                        A PROPER FINANCIAL GUI\RANTEE HAS                                                                     1
             \NT£EING                   THEIR              SETTING                  ON           OR           BEFORE
                                                                                                                                                           'c
             )AY OF
                                                                                                                                                    3.     ,
                                                                                                                                                           l
                                                                                                                                                           c
                                                                                                                                                    4.     ,
                                       ~JQ~
                                                                                                                                                           I
                                                                                                                                                           I
                   .        .H. Go£~   LAUiiU
             J~D~ /CITY ENGINEER, R.P. E. NO. 3J~l
             ~c.-                              .                                         .
                                                                                                                                                           '
             IPTION
             HO WJRAGE UNIT II -PHASE 1

              OF A PORTION OF LOT 1 OF THAT CERTAIN AMENDED PLAT
             ARCEL MAP (FILE 81, PAGE 06), ON FILE IN THE OFFICE
                                                                                                                                                    1
                                                                                                                                                    ALAN f
                                                                                                                                                    NEVADf

             ORDER, CLARK COUNTY, NEVADA, IN FILE ~ OF PARCEL
             OCATED WITHIN THE SOUTHEAST QUARTER_ (SE 1/4) OF THE
             SW 1/4} OF SECTION 27, TOWNSHIP 19 SOUTH, RANGE 61                                                                                     DM
             Y OF NORTH LAS VEGAS, CLARK COUNTY, NEVADA, MORE
             BED, AS FOLLOWS:                                                                                                                       THIS
                                                                                             •                                                      DEPAR"
             RTHEAST CORNER OF SAID LOT 1, BEING A POINT ON THE                                                                                     QUA!\IT:
             A.Y OF COMMERCE STREET: THENCE SOUTH 00" .36' 28• EA.ST,
             Y BOUNDARY OF SAID LOT 1, COINCIDENT WITH SAID
             ...       ,,... .... ,...,..,... ...... ,.. .... .,... ,..,.,, ... ,,,...... v n"''"'"'""'"    ,..,.    ~·~,...




CLARK,NV                                                                         Page 64 of 98                                 Printed on 11/1/2016 4:58:43 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                                                 Comment:                                                                                                   Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 588 of 807




                    UNIT II                                                                PHASE 1
            TEREST COMMUNITY)
            .iAP: FILE <1U., PAGE ~!1: LOCATED WITHIN THE SOUTHl
            fTH, RANGE 61 EAST,. M.D.M., CITY OF NORTH LAS VEG


               R8EL 2 PARSEL. MAP ,r:-n.E g.;., PAGE 8 ~
                    AP~~         -12·~-2~' -~'30 7 -008
                                                                                                                                                                      P.O.B.                   / '"   ~cs ,
                        S88'47'34"E
                  146.5B'                                   ~~
                                                            ~!"-
                                                                                      281.06'
                                                                                                           128.48'
                                                                                                                       2701.90'

                                                                                                                                              !
                                                                                                                                                     -.                    -.   '.,...--- .
                                                                                                                                                                       so.a3·-7f,
                                    /                         C10                                                                             I
            111                               "'                                        "...           \                 so •. a,·• ':.r I
                                                                                                                     5,972 S.F.
            J2 s.F.                                                                                    •                                 mo>
                                                                                                                                                                                           I
                               (.!!3
           I      95.25'
                                                               L4                                               \          *             ~·
                                                                                                                                         ~~
                                                                                                                                         N
                                                                                                                                         N
                                                                                                                                           ·"'

                                                              i~,.
                                                                                                                · N89"23'31"E 85.04'

               82
           414 S.F.
                                       '3-
                                               qyl
                                                                     .,.        '~.S (J
                                                                                               ~1../
                                                                                                            .
                                                                                                                        59
                                                                                                                                  -
                                                                                                                                  ;,
                                                                                                                                  ,;
                                                                                                                                  "N
                                \                                    ~
                                                                                (J                 (                5.443 S.F.
            >1"W        112.62'                                     r      •z                  .                         *                                             ....    ~
                                                                           0
                                                                           ~          "'
                                                                                       ~                                                                               0~


                    63
                                    C7
                                                ....
                                                 ~
                                                                           0
                                                                           0
                                                                           w
                                                                                       "
                                                                                       N           . N89"23'31"t                                                       .J>l
                                                                                                                                                                       w:1
                                                                                                                                                                       t.l
               5,485 S.F.                                                  0
                                                 <0
                                                   ~


                                                               <;J                     0
                                                                                                                      58                  "
                                                                                                                                          •m·
                                                                                                                                          NO                                   o!l
                                                               .. .IB :;;
                                                               .,                                               5,700 S.F.                • 0
           "23'31"W 107.00'                                                     ;,     ~                                                  <0•                            oiw
                                                                                                                                          ~~


                                                                                                                       *
                                                                                ~                                                         ,~                             ~     ~
                                                                                ,;                                                                                       w"'
                                                                      -
                                                               0                                                                          0
                                                .0·~-          ~
                                                                     ,;         N
                                                                                                           NB9'23'31"E            100.00'
                                                                                                                                          z
                                                                                                                                                                         Eei
                    64
               5,350 S.F'.
                                                   0
                                                   ci~
                                                   ~-
                                                        .
                                                                   "                               I
                                                                                                   I                   57              /,.,..~
                                                                                                                                                             N
                                                                                                                                                             10
                                                                                                                                                                         0.:
                                                                                                                                                                         ~ ~
                                                                                                                                                                               ~


           i"23'31"W 107.00'                                                        ·'"':;;
                                                                                       N           ·•               6,067 S.F.    II              r-.
                                                                                                                                                  N
                                                                                                                                                              \          ..J f:i
                                                                                                                                                                         w <(
                                                        24.00' 24.00'                                          $       C11
                                                                                                                                                  10
                                                                                                                                                                  1·     ~ a.
                                                                                                                                                                                       J
                                             I ....                                                    SEE DETAIL "A~ I ~6" \                                     I      ~ @
                                                   ~
                                                   :;   "'~                ~
                                                                           0
                                                                           ~
                                                                                                       JHIS SHEET
                                                                                                        '----::-: ' .
                                                                                                                      I                  ' .
                                                                                                                                          ......_             I
                                                                                                                                                                  I
                                                                                                                                                                               ~
                                                                                                                                                                                "
                                                                                                                                                                                     !'""

               ......
                    05  ~.,.                            "l
                                                                    '"'
                                                                     '"
                                                                                    ·cy
                                                                                      .e
                                                                                                         . C14    29.19',
                                                                                                                                          -~
                                                                                                                                                    (,''1-                     ~     8
                                                                                                                                                                                     !?i

CLARK,NV                                                                            Page 65 of 98                                                            Printed on 11/1/2016 4:58:43 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                              Comment:                                                                   Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 589 of 807




                                                                                                                               THIS F
           .·; THENCE NORTH 25'47' 23" WEST, 48.00 FEET;     THENCE
            ST, 4. 75 FEET; THENCE NORTH DO" 36' 29• WEST.   159. 20                                        m1oo1o             THIS
            H 08'03' 34• WEST, 153.61 FEET TO THE NORTHERLY
                                                                                                            .01313             AND W!o
             LOT 1; THENCE SOUTH 88" 47' 34•   EAST.   :\LONG SAID                                                             WATER
             2S1. 06 F~ET TO THE POJNT OF BEGINNING.

            CRES,   MORE    OR   LESS.   AS   DETERMINED BY            COMPUTER
                                                                                                                               ~
                                                                                                                               DISTRJ
            SURVEY ANALYSIS
                    NOT TO SO.LE
                                                                                                                                PIA
                                                          FOUND 2" C.N.LV.@                                                     1 HERl
                                                          BRASS CAP               S 1/16 _ ' ,
                                                                                                                               THE Pt
            )5'".                                         IN ~ONCRETE              S           \
                                                                                    27                                         CONFOF
                                                                                                        \                      CERT IF
                                                                                         -,                 I
                                                                                              '~I
                                                                                                                                ALL Ct
                          - - - , - _ _ __E91:£0'
                                                         949,.28'


                                                         LOT 1
                                                  PM FlLE i'Q. PAGE        fi1'
                                                                                                                      ftC'I"'H&oDEVEL•




                                                                                                                                ..BAl
                                                                                                                               NORTH
                                                                                                                               BEAR It
                                                                                                                               TOWNS!
                                                                                                                               SHOWN
             RANCHO MIRAGE UNIT l                                          LOT 2                                               RECORl


                                                 ~-
            OOK 65 OF PLAj$, PAGE 09                                PM FILE ~. PAGE -$9




                                                                                                            I
                                                                                                                               cou
                                                                                                                               --
                                              2708.95"                                -~                                       AJ<Y
                                                                                                                               EXAi~lN'
            .SIS     OF        BEARINGS"
                                                                ROAD
                                                         FOUND 4" C.N.L. V.
                                                         ALUMINUM CAP
                                                                                   1/4
                                                                                   S27
                                                                                         --
                                                                                       ./1
                                                                                                    I
                                                                                                        J
                                                                                                         I
                                                                                                                               TO THE
                                                                                                                               NRS 2"


                                                                                  ~             I
                                                                                   S34     /'

                                                            •



                                                                                                                 ""    ... .    . .


CLARK,NV                                          Page 66 of 98                             Printed on 11/1/2016 4:58:43 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                           Comment:                                                           Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 590 of 807




                                                                                                         TWi"CE     NORTHE1
                                                                                                  1ijijjQl~QGLE   OF      02':
                                                                                                  .01   IJNORTH   64'12' 3~
                                                                                                         FEET;    THENCE
                                                                                                         BOUNDARY OF !
                                                                                                         NORTHERLY· BOUNC

            E WE ON      If. tl6t/Sr
                                   /'f                                                                   C()NTAJNING 3..
                                                                                                         METHODS.
             SPECIALTY HOLDINGS, INC., A
            : OF RANCHO Ml RAGE I. L. L. C. ,



                                                                                                          FOUND   1-1/2~
                                                                                                          ALUMINUM CAP
                                                                                                          STAMPED    ~VTN   Pl
            NO STATE
            ~
                                                                                                                            S!
                                                                                                                    1371.51'
                                                                                      50.02'
            r   RECIPIENTS
             AND AGENCIES,                                                                                        LOT 3
                                                                                                         PM FILE 81, PAGE

                                                                            ci!
                                                                            -
                                                                            ~~


                                                                            "

                                                                            '1-
                                                                            ~r---------L---~
                                                                            "'
                                                                            r
                                                                            0

                                                                     ""~
                                                                     e::                     LOT 2
                                                                     ~                PM FILE 79, PAGE 11




            JON -
                                                                .FOUND~3"cb,
                                                                         ~\;:::'~~===---=-==:::NI
                                                                BRASS CAP         I      '                 ANN
                                                                ILLEGIBLE         I           \
                                                                                  I    "'-\
                                                                                  526 SZ7
                                                                                  S33    SJ~




CLARK,NV                                        Page 67 of 98                                Printed on 11/1/2016 4:58:43 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                  Comment:                                                  Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 591 of 807




                II.JI.JO                                                        ...... -·-
               80"14'13"                                                                     L1
               8318'30"                                                  20020jl~­
               -44.59'15"
                                                                         . 0131   0
               36"21'58"       CACTUS SltNDS AVENUE
                                                                                  ·---
                                                                                  ()
                                                                                  ~=
                                                                                  ;:,:
                                                                                  0
                                                                                  r~




                                                                                  <(

                                                                                  --•-
                                                                                                       8.0
                                                                                                  "'"'
                                                                                                  ·~
                                                                                                  (,., 589
                                                                                                  r
                                                                                                  0
                                                                                                  z

                                          DE'WL '21"                                                   "
                                                                                                       0
                                                                                                       ci
                                          NOT TO SCALE                                                '"'
                                                                                   --~


                                 TYPICAL LOT SETBACKS
                                          NOT TO SCALE




                                            RAOIUS I CHAMFER
                                              15'       7.5'
                                               20'      10'
                                               25'      12.5'
                                                0'      1 5'

                                                        0
                                                        0
                                          ~10.00'       ~
                                           "---        _j       -

                                  NQTE;                  I
                                  CHAMFER DIMENSION AT All
                                  CORNER LOT SETBACKS EQUALS
                                  1/2 OF THE PROPERTY LINE/
                                  RIGHT-OF-WAY CORNER LOT RADIUS.




CLARK,NV                               Page 68 of 98                Printed on 11/1/2016 4:58:43 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                   Comment:                                              Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 592 of 807




                                                                    . RANCHO MIRAG
                                                 (A COMMON
             lMSION OF A PORTION OF LOT 1 OF AMENDED PARCE.
             3T QUARTER ('SW 1/4) OF SECTION 27, TOWNSHIP 19                                                           ~
             ) DEDICATION                                                         CITY ENGU
                                                                                  THE CITY OF NORT
                                                                                  HEREBY CERTIFY T
             iEVADA LIMITED LIABILITY CO~PANY,                                    UNIT II             -         PHAS
             JWNER OF THE PARC~L Of LAND WHICH                                   · $UBST ANT I ALLY Tt'
             ~AGE UNIT II - PHASE 1,          AND DESCRIBED
                   AND     DOES     HEREBY CONSENT TO THE                          1\PPROVEO ALTERAi
              PLAT, AND DOES HEREBY OFFER AND                                    . ZONING ACT OF T~
              EASEMENTS AND PUBLIC PLACES      AS                                 AT     THE TIME OF
             ~-REQUIREMENTS OF N.R.S. 278.010 TO                                  FURTHER~ORE,                     I
             J TO THE CJTY OF NORTH LAS VEGAS FOR                                 IF THE MONUMENT
             ~ UNDERSIGNED  OWNER OF THE WITHIN                                   BEEN        POJ.TED
             )     CONVEY TO THE CITY OF NORTH   LAS
             ~ORATION,      NEVADA. POWER   COMPANY,                                     /~.lf.ftL-
             :OX         CONJr.IUNICATIONS     .LAS   , VEGAS,                                "           )!
              A PERMANENT EASEMENT AND RI~HT-oF­
             JTILITY EASEMENTS (P.U.E.). PRIVATE                                  DATED     THIS t,.~
             ~E FOOT 13')  WIDE EASEMENT ON ALL
             ~VICES  10 .METER PANELS; A FIVE FOOT
              LINES ABUTTING PUBLIC AND PRTVATE
             'NSFORNER PADS AND ABOVE       GROUND
             ITH AND        AD~ITIONAL       TWO FEET     (2')
             .THE   PLATTED   LANDS   FOR    THE
               AND .FINAL REMOVAL OF UNDERGROUND
               AND GAS liNES AND APPURTENANCES
             -iERETO; FURTHERMORE,           THE UNDERSIGNED •
             JS   DOES HEREaY WAIVE DIRECT ACCESS
               THIS SUBDIVISION INCLUDING BUT NOT
                THE FOLLOWING STREETS:    COWMERCE
             iTS SHA~L 9E A COVENANT ATTACHED TO                                   LEGAL DE:
             £VERY PORTION OF THE SU8DlV1SlON .AND
             )VENANT RUNNING WITH THE LAND.
                                                                                    BEING         A   SUBDIV
                                                                                    OF    A  PORTION
                                                                                    OF    THE <:OUNT'
                                                                                    NAPS, AT PAGE ;
                                                                                  . SOUTHWEST· QUAR"
                                                                                    EAST,         M. 0. N. ,
             TED LIABILITY COMPANY, BY:                                             PARTICULARLY Dl
             :!ORATION,       BY:
                                                                                    BEGINNING AT TJ
                                                                                    WESTERLY RIGHT·
                                                                                    ALONG Tl£ EA:



CLARK,NV                                                Page 69 of 98     Printed on 11/1/2016 4:58:43 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                             Comment:                                                              Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 593 of 807




                                       \
                                                                                                                      .

                                                                  RANCHO MIRAG
                                                   (A COMMON
             liVISION OF A PORTION OF LOT 1 OF AMENDED PARCE
             lT QUARTER (SW 1/4) OF SECTION 27, TOWNSHIP 19 ~


                                   RECORDER'S MEMO                      I
                               PQSW E POOR RECO!IlllUElO                I                                           ~~      A   ;:)
                               QI.WJTY OF ORIGINAL 00CtJMEHT            I            /                              ' ~ ,!""\. •      •

                                                                        \        I
                                                                            I    I
                                                                                \I.-                         N88'47'34'
                                              FOUNO 1-1/2"
                                              ALUMINUM CAP
                                              STAMPED "VTN PLS 9105"
                                                                                              2370_.,·-r·
                                                                                                     .
                                                                                                 .          "'   ~­
                                                                                                                 -~



                                                                                                           " "'·
                                                                                                           ~o'
                 DELTA                                                                                                    589'2:
                                                                                                           "'·!-''-=-"'
               02'39'40"
               31"08'27~                                                                                    "'...
               99'42'00"
               SQ,4'49w
                                                                                                             "'
               61'32'55"
               -4112'17"
               1Q' 5'26w                                                                             0
                                                                                                                                     Sl
               40'50'27"                                                                         . <("·
            . 51'47'43"                                                                              =~
                                                                                                     _,
               272'38'11"
               <40' 3'05"                                                                            L•J
              ' 89"59'59"
               49"'26'54"
                                                                                                     "
                                                                                                     0::
                                                                                                     <(
               0612'41"                                                                              n.
                 "10'53"                                                                             L•.
               9612'41"                                                                          :()                  .         0
                                                                                                                                0
               65'_57'04"                                                                                             .         ci
                                                                                                     >-
               01"07'57"
               11510'54"
                                                                                                     •(
                                                                                                     -·
                                                                                                     0
                                                                                                                          \::   "'
                                                                                                     "·                   ci
               81 "07'01"
               08"52'59"
                                                                                                                          "'
                                                                                                                          ~




               17"39'08"
               07'31'45"
            ~01"
                     09"                          nr.r~rr:     ...,..


CLARK,NV                                          Page 70 of 98                          Printed on 11/1/2016 4:58:43 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                 Comment:                                              Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 594 of 807




                                                                               BEING A 1:
                                                                        OF THE SOUTl
                                                       OWNER'S CERTIFICATE

                                                      RANCHO     MIRAGE    I,   L.L.C.,
                                                      DOES HEREB~ CERTIFY THAT IT IS
                                                      IS sHOWN UPON THIS.PLAT OF RANC
                                                      IN   THE SURVEYOR'S CERTIFICATE~
                                                      PREPARATION AND RECORDATION OF
                                                      DEDICATE ALL THE STREETS, AL
                                                      INDICATED AND OUTLINED HE~EON, F
                                                      278. 630,      INCLUSIVE. AND TITLE 16.
                                                      THE USE OF THE PUBLIC; FURTHER~Of
                                                      PLATTED LANDS DOES HEREBY GRA~
                                                      VEGAS,        NEVADA,   SOUTHWEST       GAS
                                                      CENTRAL TELEPHONE            COUPANY,         I
                                                      INC.,          THEIR SUCCESSORS AND AS!
                                                      WAY      AS      SHOWN HEREON     AS    PUBL
                                                      STREETS,         AND COMMON ELEMENTS;
                                                      SlOE PROPERTY LlNES AND UNOERGROl
                                                      (5')    WIDE EASE~ENT ON ALL PRC
                                                      STREETS     AND ABOVE     GROUND
                                                      TELEPHONE        EQUIP~ENT     PADS TOGETt
                                                      AROUND           TRANSFORMER     PADS     WI"
                                                       CONSTRUCTION,     MAINTENANCE, OPEF
                                                       POWER, TELEPHONE,      WATER, CABLE
                                                       TOGETHER WITH THE RIGHT OF'ACCE~
                                                       OWNER    OF    THE WITHIN PLATTE
                                                       RIGHTS    FROM ABUTTING LOTS I
                                                       Ll~ITEO     TO, VEHICULAR ACCES~
                                                      ·STREET. THIS ~lVER OF ACCESS
                                                       THE    LAND AND PASS WITH EACf
                                                       SHALL. HAVE THE FORCE AND EFFECT <



                                       -·             ·DATED THIS         l'fi£ DAY     OF      If,

                                                      RANCHO WIRAGE .I. L. L. C., A NEVAD.
                                                      SPECIALTY       HOLDI~GS,    INC., A NEVA!




CLARK,NV                              Page 71 of 98                   Printed on 11/1/2016 4:58:43 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                 Comment:                                     Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 595 of 807




                                                                    1~~100 10
                                                                    .~131)




                                                                     BEING A
                                                                  OF THE SOUT.




CLARK,NV                              Page 72 of 98            Printed on 11/1/2016 4:58:43 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                 Comment:                                            Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 596 of 807




                                                                         2~0j0510
                                                                         .01 13
                                                      ACKNOWLEDGEMENT
                                                      ~:~~~YO~FN~::~: ~        SS
                                                      THIS INSTRUMENT WAS ACKNOWLEDGED
                                                      L2!1 BY       JERRY 'GOEDEN AS PRESIOEN1
                                                      NEVADA CORPORAT!ON, AS MANAGING            ~
                                                      .A   NEV~DA    LJMITED LIABILITY COWPM·




                                                      NOTARY PUBLIC IN AND FOR SAID COl
                                                      MY COUUISSION EXPIRES:  19-V~J/~ 7




                                                      {;ERTIFICATE OF EASEl
                                                      WE, THE HEREIN NAMED UTILITY COUP
                                                      GRANT OF THE DESlGNATED EASEMENTS




                                                      SPRINT




                                                             NORTH L.AS
                                                      LAWINAL · H- Gu&~A..




CLARK,NV                              Page 73 of 98                   Printed on 11/1/2016 4:58:44 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                 Comment:                                                          Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 597 of 807




                                                                      RADIAL LIN& TABLE
                                                                            LINE           BEARING         LENGTI
                                                                             Rl          N78'48'05"E        13.00'
                                                                            R2           N37'35'48"E        12.00'
                                                                            R3           N80'51'18"W        13.00'
                                                                            R4           S80'54'29"E        13.00'
                                                                            RS           S49'46'02"E        12.00'
                                                                            R6           S50"03'23"E        13.00'
                                                                            R7           N18i5'38"W         13.00'
                                                                            RB           N09'29'28"W        11.00'
                                                                             R9          N06'49'1Q"W        12.00'
                                                                            R10         N24'39'25"W         12.00'
                                                                            R11          N48'51'23"E        13.00'
                                                                            R12          S35'20'28"E        12.00'
                                                                            R13          581'33' 32"W       13.00'
                                                                            R14          SB1'59'11"E        13.00'
                                                                            R15          SSY01'33"W         12.00'
                                                                            R16          S80i5'25"E         13.00'
                                                                            R17          S2Y07'43"E         13.00'




                                                  ACT    DATE        BY                                        RE\


                                                  2     12{0e/0'1    VIi.     RE~SED LOl UNE BE'I'YI[[N LOT 34 •

                                                        8/23/111    I<AK      ADO S'-'t£'S AND DETAIL. REV, IIIOfrM




CLARK,NV                              Page 74 of 98                                Printed on 11/1/2016 4:58:44 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                             Comment:                                                                          Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 598 of 807




                                                                                SEE DETAIL "8"1       .-;:    ·
                                                                                !HIS SHEET       I /q..'     1

                                                                                                                                         1
                                                                           (
                                                                                      40      C25            .
                                                                                   6,440 S.F. \ '-           ~
                                                                                                              "':
                                                                                          *            -:;;           ~
                                                                                                                     •m
                                                                                                                      N
                                                                               N89£3'31 ~E 100.00'                                  z

                                                                                                      "' "'
                                                                                                                      !"       0    0
                                                                                                       0              0
                                                                                                                      0       i" <~
                  34                                                                                  ci                      <
                                                                                                                                    "
                                                                                                                      ~-
                                                                                      311                                     u
             8,262 S.F.                                                            5, 700 S.F.        ~0                       5 5  ~
                                                                                                             0                 ~
                                                                                                                                    0
                                                                                                             li                0
                                                                                                                                         ~~
                0                                24.00' 24.00.             10 *                                              co:
                                                                                                                                         ~
                                                                                                                                         w           tl
                                                                                                                                                     ~
                                                                                                                                         N
            .3'31 "W
                                                                                                                             .... "'.,
                                                                                                                           ....."'
                                                                                                                             Oo                      ~
                                                                                                                                                     8
             35               I                                                                                            w.:
                                                                                                                           0
            ms. s.F.
            w   66.• ,.   I                                                                                                    ':; <
                                                                                                                                   ~
                                                                                                                                              w
                                                                                                                               ~
                                                                                                                                   z          •m
                                                                                                                              5
                                                                                                                               "0
                                                                                                                               0
                                                                                                                                     ~
                                                                                                                                              N
                                                                                                                                             1;,
            38                                                                                                                    5
                                                                                                                               ~
                                                                                                                                    0         "'00
           >59 S.F.                                                                                                            "' "'
                                                                                                                              D.
                                                                                                                                              ~




                                                 528 527                       RECORDER'S MEMO
                                            I 533 S34              POSSIBlE POOR RfCORD DUE TO
                                         I                         DUALITY OF ORIGINAL DOCUMENT
                                         I                /
                                            \         I
                                            I     I                            ANN                                  ROAD
                                                \I
                                                                N8B'40'41 ~w                                      2708.96'
                                  FOUND 3"
                                  BRASS CAP
                                                                       •                                                                              FOUN
                              . ILLEGIBLE                     "BASIS                 OF                    BEARINGS"                                  ALUM




CLARK,NV                                                          Page 75 of 98                                      Printed on 11/1/2016 4:58:44 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                Comment:                                                         Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 599 of 807




           : Wlr  J.~ t\t"I"'KOYtU BY THE CLARK COUNTY DISTRICT BOARD OF HEALTH.2~0j0~1Q
            JIJAL CONCERNS SEWAGE DISPOS!IL, WATER POLLUTION, 'N,-'.TER QUALITY .~J                   1J
            ;UPPLY   FACILITIES AND 15 PREDICATED            UPON PLANS' FOR A PUBLIC
            .Y AND A CO~UUNITY SYSTEM FOR DISPOSAL OF SEWAGE.



            ~-WA~TeP- 6.                            Ro$                      DATE


            NG COMMISSION APPROVAL
            ~RTJFY   THAT THIS   t.I}.F'   IS APPROVED AND ACCEPTED, ON BEHALF OF
              ANY PARCELS OF LAND OFfERED FOR DEDlCAT!ON FOR PUBLIC USE IN
             WITH THE TERMS· oF THE OFFER OF DEDICl,TlON. FURTHERMORE, I
            !S MAP IS IN SUBSTA~TIAL :~PJr:ANCE WlTH THE TENfi..TlVE MiiP ,A.ND
            IONS HAVE BEEN ~ET THJS. ~                  DAY OF       ~Men,__             , 'Will..


            '~.··
            r DIRECTOR



           .OF BEARINGS
            \0' 41" WEST, BEING THE BEARING OF ANN ROAD, SAME Bf;JNG THE
             SOUTH I..INE'OF THE SOUTHWEST QUARTER (s~· 'l/<f) ·oF SECTION Z7, .
            9 SOUTH, RANGE 61 EAST, M. D. M. , CL.t..RK COUNTY, NEVADA,  AS
           .HAT CERTAIN PARCEL t.AAP ON FILE IN THE OFFICE OF THE COIJNTY
           :LARK COUNTY, NEVAD..-,, IN FILE 81 OF PARCEL MAPS, AT .PAGE 06 .




            .. RECORDER'S NOTE .                                     NO.       Oit/.39
                                                                           --"'~=L_            _ __
            UENT  CHANGES TO THIS MAP SHOULD BE
            JD MAY BE   DETERMINED BY REFERENCE                             FILED    AT THE REQUEST   OF :
            TY RECORDER'S CUMULATIVE MAP !N'DEX.                                     VTN nev-oda

                                                                     OATEO   j,t-/,3-;,R(){)/,.T ji),'<J fl A.
                                                                     BOOK    /A[              PAGE @¥J;
                                                                                       OF PLATS                   ._
                         w. 0.   5503 ( 2)                           OF~JCI~L       RECORDS BOOK,   N~~~
                                                                                                             01


                         SHEET 1 OF 3                                 CLARK COUNTY. NEVADA RECORDS
                                                                      JUDITH A. VANDEVER, RECORDER
                                                                     FEE $    74 t¥J OEPUTY ,!J/)c


CLARK,NV                                             Page 76 of 98                           Printed on 11/1/2016 4:58:44 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                   Comment:                                                         Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 600 of 807




                                                NAIL AND 3RI,SS TAG           -,V1>J   PLS ;2469"      ,   1~~101 IQ
                                                 SET PER "RNICHO MIRAGE UNi-;"                ~~- PHAS£'~ 4 ~
                                                ECOKJD.2 OF PLA'iS, PAGE               q_s-
                                  17             lOT NUMBER /            TOTAL LOTS = 55

                                                 BLOCK NUMBER

                                                 FOUND MONUME:Ni AS INDICATED

                                  C:Z5           CURVE ti<UMBE.R
                                  L22            COURSE NUMBER
                                  R09            RADIAL UNE NUMBER
                                   (R)           RADIAL
                                   S.F.          SQUARE FEET
                                 (PRC)           POINT OF REVERSE CURVE
                               · (Pee)           POINT OF COMPOUND CURVE




                         UPICAL LOT SETBACKS
                                   NOT TO SCALE
                                   [1!).00' REAR


                                   rr-··-              --J
                                   (TI RADIUS ! CHAMFER :    I ~
                                   . I   15'      7 5          1Ji
                                          2a·
                                          25'
                                                 1o·
                                                1 .5'
                                                         I "'~
                                          J.    ~-n~j
                           - ~~RT~                       I           -




                         NOTE:
                                                 I
                         CHA~FER DIMENSION AT ALL
                         CORNER LOT SETBACKS EQUALS
                         1/2 OF' THE PROPERTY LINE/
                         RIGHT-OF-WAY CORNER LOT RADIUS.




                                                                              W.O. 5503 (2)
                                                                              SHEET 2 OF 3
                                                                                        VCL




CLARK,NV                                                Page 77 of 98                                Printed on 11/1/2016 4:58:44 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                  Comment:                                                      Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 601 of 807




             ARTER (SE 1/4)
             · CLARK. COUNTY. NEVADA.
             fOR•s CERTIFICATE
             R.     RIEKKI. A. PROFESSIONAL LAND SURVEYOR LiCENSED                      IN     THE
             EVADA,    AS AN AGENT FOR VTN NEVADA,             CE.RTJFY THAT:

              PLAT REPRESENTS THE RESULTS OF A SURVEY CONDUCTED UNDER MY
             T SUPERVISION AT THE INSTANCE OF RANCHO WJRAGE I, L.L. C., A
             A LIWITED LIABILITY COMPANY.
             ANDS SURVEYED LIE WITHIN A POR.T!ON OF THE SE 1/4, OF THE SW
             OF SECTJON Z7, T. 19 $., R. 61 E., M. C.~., CJT.Y OF NORTH LAS
             , . CLARK     COUNTY,   NEV /10;..,   AND THE SURVEY      WAS       C01.4PLETEO     ON
             /99.
                                                                        .
             ·PLAT-    CO~PLIES   WITH THE APPLICABLE STATE STATUTES                   AND     ANY
                  ORDINANCES fN EFFECT ON THE DATE THA.T THE                 GOVERNING         8DOY
             ITS FINAL-APPROVAL.

             ONUMENTS DEPICi£0 ON THE PLAT WILL BE                   O~~HARACTER             SHOWN
             OCCUPY      THE POSITIONS INDICATED 8'1':           I          ;62....               ,
             AN     APPROPRIATE FINANCIAL          GUAR~NTEE    WILL BE PPSTED WlTH            !HE
             NING     BODY BEFOA~ RECO~DATION TO ASSURE THE INSTALLATION                         OF"
             ENTS.




             EKKl. P. L. S.
             ENSE NO. 12~69



             N OF WATER RESOURCES                                    CE~T~ICATE
             L WAP IS APPROVED BY THE DIVISION OF WATER RESOURCES OF THE
              OF CONSERVATION        AND     NATURAL· RESOURCES         CON.CEP.NING         WATER
             UBJECT TO THE REVIEW OF APPP.OVAL ON FILE IN THIS OFFICS
                      //


CLARK,NV                                               Page 78 of 98                             Printed on 11/1/2016 4:58:44 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                   Comment:                                       Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 602 of 807




                                '.}:·




                                                        W.O. 5503 (2)
                                                        SHEET 3 OF 3
                                                            VCL




CLARK,NV                                Page 79 of 98              Printed on 11/1/2016 4:58:44 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                   Comment:                                    Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 603 of 807




            IRTER (SE 1/ 4)
             CLARK COUNTY. NEVADA.




                           2" C.N.L. V. BRASS CAP IN
                           CONCRETE LOCATED UNDER AC
                           TO BE RESTORED AS TYPE Jl
                           MONUMENT AL CAP 'VTN PLS 12469.
                           \.IPCN COMPLETION OF CONSTRUCTION
                           OR SET 'WELi.. MONUMENT OVER EXISTINC
                           IF' S11U. IN PLACE



                                                 GRAPHIC SCALE


                                                         (!Hm:T)
                                                    1 lneh -     ..o 1t..




                         LEGEND
                           P.O.C.               POINT OF COMMENCEMENT
                           P.O.B.               POINT OF BEGiNNING
                                                BOUNDARY UNE
                                                LOT LINE
                                                RIGMT-OF-WAY UNE
                                                STREET CENTERUNE
                                                8UILDING SETBACK UNE
                                                rRONT- 2..'fflf7 REAR- 15'
                                                SIDE •    s· /   CORNER • tO'

                               •                SET TYPE II! MONUMENT
                                                AL CAP .VTN PLS 12-469"




CLARK,NV                                             Page 80 of 98              Printed on 11/1/2016 4:58:44 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                          Comment:                            Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 604 of 807




             ~RTER               (SE 1/4)
                   CLARK COUNTY. NEVADA.


                                                                                 '·



             PIAL LINE TABLE

             ".,          BEARING                   LENGTh
                        23"07'43'"                   13.00'
             2         516"57'17..                   ~ 3.00'

              J       S10"59'39"E                    13.00'
             ••       sos1o'oo•E
                      ~ ........o-t ......... \AI
                                                     13.00'
                                                     1.3.00'
              "       ¥UU..J_, .,., ••


             7
              •          O!l"O~f21"
                           "04'05"E
                                                     13.00'
                                                     11. oo·
             8           15"57'40"                   11.00'
             9        S!iS"O '56"                    12.00'

            ,0        ss415'ts•
                      N62'46'39"E
                                                    1::5.00'
                                                     13.00'
             2         30'37'19"                     13.00'
             J        N0215'20"W                     13.00'
             4         3114' 7"W                    12.00'
             5        NJJ"38'59"                    12.00'

             •       ___Mt9"'2.4'50"E               13.00'


             •           56"55'5S"E                 , .
             9        N72"04'29"E                   ·13.00'




CLARK,NV                                                       Page 81 of 98   Printed on 11/1/2016 4:58:44 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                                                                 Comment:                                                                                Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 605 of 807




                                                                                                                       •


                     UNIT II                                                                           .PHASE 2
                 ITEREST COMMUNITY) .
                  tiLE .ifi. PAGE .U_, LOCATED WITHIN THE SOUTHEAST
                 JTH. RANGE 61 EAST, M.D.M., CITY OF NORTH LAS VEC
                 !:R'S CERTIFICATE                                                                                                                                                              SUI
                 1S VEGAS,              COUNTY OF CLARK,                                                  '
                                                                                                 STATE OF NEVADA,                                        DOES                                    l.     I
                 l HAVE       EXA~lNED                     THE f!NAL MAP                               ~F         RANCHO                         MIRAGE                                         STAT£
                   , THAT THE SUBDIVISION    AS   SHOWN HEREON IS
                 •ME AS IT APPEARS ON THE TENTATIVE 'MAP, AND ANY                                                                                                                               1.
             i THEREOF.                    THAT ALL PROVISIONS OF THE PLANNI.'IIG AND
                 'ATE OF NEVADA AND ANY LOCAL ORDINANCES                                                                           APPLICABLE
             . !OVA(. OF THE TENTATIVE MAP HAVE. BEEN <:!ONPLIEO WITH.
               iATJSFIE:D THiS ~AP IS TECHNICALLY CORRECT AND THAT,
             •VE NOT BEEN SET,                                   ·,... PROPER FINANCIAL GUARANTEE HAS
             lANTEElNG                      'THEIR                          SETTJNG                     ON                  OR                   BEFORE


                                                                                                  .,:2bDJ                                                                                       3.



                                                                                                                                                                                                4.




                                                                                                                                                                                                      ..

             :Ho MJRAGE UNIT II -PHASE 2
                                                                                                                      •
             ION OF A PORTION OF. LOT 1 OF THAT                                                                CERTAIN                        -A~ENDEO                                          NEVA
              OF PARCEL N.AP (FILE En, PAGE .06)•, ON FILE                                                                                        IN THE
             JNTY RECORDER. CLARK COUNTY. NEVADA. IN. FILE                                                                                         ~ OF
             3E 8      LOCATED WITHIN THE SOUTHE~ST QUARTER (                                                                                     SE 1/4)
              QUARTER (SW 1/1) OF SECTION 27 •• TOWNSHIP 19                                                                                        SOUTH,
             ). Ill., CITY OF NORTH LAS VEC-'S, CLARK COUNTY,                                                                                     NEVADA,.
             )ESCIUBED AS FOLLOWS:                                                                                                                                                              .THIS
                                                                                                                                                                                                DEPA
                 SOUTH CENTER SIXTEENTH CORNER OF SAID                                                                      SECTION 27;                                                         QUAN
             47' 34• WEST.                    ALONG THE NORTH LlNE OF                                                     THE SOUTHEAST .
             -    -·-   - A o o - o n _. . . . . . . . . . . . . . . . . . . . . . . _   .., .   ,,,    . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ...




CLARK,NV                                                                                          Page 82 of 98                                                           Printed on 11/1/2016 4:58:44 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                                     Comment:                                                   Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 606 of 807




                 UNIT II                                                   PHASE 2
            fTEREST COMMUNITY)                      .
             FILE 96, PAGE 59, LOCATED WITHIN THE SOUTHEAST
            JTH, RANGE 61 EAST, M.D.M., CITY OF NORTH LAS VEC
                                                                                •


                                                                                                                   \ P.O.B.
                               2701.90'
                    701.16'
            q.oo·                 50.00'                   50.00'   ':-                  90.95'            37.81'       N88'47'34MWJ...
                                                                     w
                                                                     ,.;                                                      .3.31.08'    f/
                       0                        0                    m
                        0                        0
                       ..:                      ..:
           74
           50 S.F'.
                       -
                       0
                                   73
                               5;350 S.F. W
                                                -
                                                0
                                                            72     !'1
                                                        s,o4o s.r. Z!
                                                                                    71
                                                                               6,142 S.F.
                       !"
                       m
                       ;;;
                       r
                                                \,
                                                ;;;r
                                                r
                                                                    "'z0
                                                                    ·r
                                                                                                      70
                                                                                                  7,902 S.F.
                                                         7.34'
                       5                        5
                       z                        z
                                                                                                  ®
           l.OO' •               ~o.oo·


           VENUE
           96'                                                                                              89
                                                                                                       5,000 S.F.                         53
                             DEDlCATlOW




                 8                        ,,8                                                               68                            64

                 -"'
                 0

                                55
                             5.100 S.F. q,
                                          -
                                          0

                                          ~             58
                                                    , ~.982 S.F.
                                                                                                       5,035 S.F.



                                        r
                                          m
                                          r
                                          ii                                                               87
           ,.
           I'.
                              50.00'                     62.76'
                                                                                                      5,100 S.F.
                                                                                                                                          55



CLARK,NV                                                             Page 83 of 98                         Printed on 11/1/2016 4:58:44 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                            Comment:                            Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 607 of 807




                 UNIT II                            PHASE 2.
             ~TEREST  COMMUNITY)
              FILE 96, PAGE 59, L-oCATED WITHIN THE SOUTHEAST
             JTH, RANGE 61 EAST, M.D:M.,
                                   . .   CITY OF NORTH LAS . VE<




                     COURSE TABLE
                         !..INE    BEARING      LENGTH
                            L1    ss4,2'37~w     4.75'
                          LZ      S25.47'23~E   4B.OO'

                                                         •




                                                         •




CLARK,NV                                         Page 84 of 98   Printed on 11/1/2016 4:58:44 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                             Comment:                                           Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 608 of 807




             ···-···- -·-·····--·-··-·· --· ·-. --· ··--··-
              /IN_GLE OF 02"39' 40-; THENCE SOUTH      or
                                                    19' 19" WEST.                    1!0'j0510 .. .    THIS I
            . NORTHERLY BOUNDARY OF LOT 2 OF SAID -AMENDED PLAT                      . I .'
                                                                                          '"           THIS
            ·C!::L MAP (FILE 81, .PAGE C6)";    THENCE NORTH B8'4C'-41."                               AND W.
            NORTHERLY BOUNDARY, 450. 00 FEET; THENCE               A~ONG   THE                         WAT.ER
             COURSES: {1) SOUTH 00'36'2.-: E~ST, .91. 44 FEET:   {2)
            'EST, 150.72 FEET; (3). NORTH ar.r 36' 29" WES1,   20.61
             23' 31" WEST,. 100.00 FEET: {S) NORTH 00' 36' 29" WEST,
             NORTH LINE OF THE SOUTHEAST QUARTER (SE 1/4) Of THE
             (SW 1/4) OF SAID SECTION 27; THENCE SOUTH 69'47' 34 ..
                                                                                                       J
                                                                                                       _DISTR
            ·RTH LINE, 701. 16 FEET TO THE. POINT OF BEGINNING.

            CRES,    MORE   OR   LESS.   AS   DETERMINED      BY    COMPUTER                            PLl!
                                                                                                        I HER
                                                                                                       THE P
                                                                                                       CONFO
                                                                                                       CERTI
                                                                                                       ALL C


                                                        •
                                                                                                         :Jlr
                                                                                         /fc77.N G      DEVEL



                                                                                                        M
                                                                                                       -NORTH
                                                                                                        BEAR I
                                                                                                        TOWNS
                                                                                                       SHOWN
                                                                                                       RECOR




                                                                                                       COl
                                                        •                                              #JY
                                                                                                       EXAMlr
                                                                                                       TO THI
                                                                                                       NRS 2




CLARK,NV                                         Page 85 of 98                   Printed on 11/1/2016 4:58:44 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                                              Comment:                                                                             Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 609 of 807




                  m                                                                                        ~
                                               i'l
                                                                                         fft:3..-JR'
                                                                                                           ~
                     r                                                                                     ~
                     0                         0                                                           0
                  z                            z                                                           •

                                                        2.43'                                    .     ~



                                    50.00'                                         CJ~            ~\;g

                                                                                                                                  -
                                                                                  --t
                                                          cs
                                      AVENUE                             "'
                                                                         I~              :::cl
                                                                                         "'\...·'
                                                                                                 ~
                                                                                                               ~
                                                                        C_1
                                                                                                                                                        "''               -.
                         OED!CA110N~

                                                                                                 co3
                                                                                                                         c•
                                                                                                                     I ...,\.,
                                                                                                                                 c"
                                                                                                                                               '"'
                                                                                                                                                 \'            ;::
                                                                                                                                                               ,;
                                                                                                                                                                ~
                                                                                                                                                                         ,)or


            oo'
                                                                                     '"                                                                                    -
                                                                                                                          ,~
                                     42.67'                      C14
                                             C10
                                                        ~~                               ,~
                                                                                                 •                                                                   -

                          "0
                                                   ..
                                                   0
                                                         I"'
                                                                              ;,                               -~                       "''"
                                                                                                                                        ~




                                                                                                                                        n
                                                                                                                                                       33                 --'
                                                                                                                                                                          ,::::·
            8
                          0
                                       29
                                                   0
                                                                30
                                                                              ~

                                                                                                 31            "                 32
                                                                                                                          6,392 S.F. 3
                                                                                                                                                7,220 S.F.

                S.F. ;g:            5.500 S.F'.    ~      5,51.50 S.F. :t -5,845 S.F.                          f:-                      •m
                          •
                          "'
                          ';;
                                                   •m                         •m                               m
                                                                                                               ,.
                                                                                                               ;,
                                                                                                                                        ;,                     ~
                                                                                                                                                                     - -
                                                   'm                         'm                                                                               •m
                          r
                          5
                          v.
                                                   r
                                                   0w                         5
                                                                              w
                                                                               r
                                                                                                               0
                                                                                                               w            0           0w
                                                                                                                                                               ';;
                                                                                                                                                               r          '"
                                                                                                                                                                          ""
                                                                                                                                                               0
                                                                                                                                                               w
            JQ'                       50.00'                   so.oo·                       50.00'                           sc.oo·                   so.oo·
                                                                         450.00'


                  l.Ci :2 CF                AME:~~DED
                                o.::
                         r"'ll,..          :;l"l''c:" c::o
                         (\o,'- . . . ..,, , 1"'1\~l.., ...J .....




            T BE SET WITH A T'T"F'E Ill MONUMENT.                                  IN THOSE
            TE IMPRCVEMENiS EXIST ·(I.E., REAR                                     PROPERTY
              A NAIL AND TAC SHALL. BEE SET IN                                     'l:HE WALL
               CORNER AND A SAW CUT SHALL BE                                           !.lADE IN
              CUR8 AT THE PROLONGATION OF                                          THE SIDE


            :'"K'$
                ARE CHAMFERED EQUAL TO 1/2 OF ThE
            -OF-WAY ::ORNER LOT RADiUS.                                                                                               RECORDER'S MEMO
                                                                                                                                 POSSIBLE POOR RECORD DUE TO
            _, COURSE. AND RADIAL LINE TASLES.                                                                                   QUALITY OF ORIGINAL DOCUMENT




CLARK,NV                                                                          Page 86 of 98                                                Printed on 11/1/2016 4:58:44 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                             Comment:                                                                  Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 610 of 807




                                                                                                                 200j0~ 10
                                                                                                                 '01· 1J
            3:URVEY ANALYSIS
                    NOT TO SCALE
                                 2" C.N.L. V. BRASS CAP 'IN
                                 CONC.:~Er:: LOCA1rD UNDER AC                       c
                                 TO BE RESTORED AS Tf'PE 11
                                 MONUMENT 1\L. CAP ·vTN:PLS 12469.              s    '
                                                                                    1/16
                                                                                    S27
                                                                                            ' '\
                                 UPON COMPLEllON OF CONSiRUCTiON
                                 OR SET WELL MONUMENT OVER EX\STlNG                 c      -
                                                                                                            I
                                                                                                              I.
                                 If STll.L IN PLACE-
            -4"E                             2701.96'                                              '       :c I




                                                                                    so.oo·-;
              RANCHO MIRAGE UNIT 1                                      LOT 2
            :>OK 65 OF PLATS. PAGE 09                           PM FILE .9..2.., PAGE     2f.




                                                                                                                I,
                                             2706.96'
                                                                                                       /
                                                                                                           :)!I
                                                               ROAD            ./-:-"--:--                      I
            SIS      OF        BEARINGS"                FOUND 4• C.N.L.. V.
                                                                                    1/4                      1
                                                        ALUMINUM CAP            ~                      /
                                                                                    534        /




                                                           •




CLARK,NV                                          Page 87 of 98                                 Printed on 11/1/2016 4:58:44 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                         Comment:                                        Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 611 of 807




                                                                             RANCHO MIRAC
                                                                                         (A COMMOr
               SUBDIVISION OF A PORTION OF LOT 1 OF PARCEL M,
             :ST QU~TER (SW 1/4) OF SECTION 27, TOWNSHIP 19
             iD DEDICATION                                                                 CITY ENGJ
             _lMITED LIABILITY COWPANY, DOES                                              THE CITY OF NOF
              OF THE PARCEL OF LAND THAT JS                                               HEREBY CERTIFY
                                                                                          UNIT li          -      PH~
              UNIT II - PHASE 2, AND DESCRIBED
               AND DOES HEREBY CONSENT TO THE                                             SUBST ANTI ALLY 1
             ~LAT,       ANO DOES HEREBY           OFFER    AND                           APPROVED Al. TER/
             ~ASENENTS           AND   PUBLIC    PLACES      AS                           ZONING ACT OF 1
             ~REQUIREMENTS             OF N.R. S.    278.010                              AT THE TIME Of
                 16.0~0   TO THE CITY OF         NORTH      LAS                           FURTHERMORE,                  l
                                                                                          IF THE MONU~E~
                                                                                          BEEN  POSlF.D
             ~       THE WITHIN PLATTED         LANDS      DOES                                t,J~t-·
             ~y       OF NORTH' LAS       VEGAS,     NEVADA,
            JWER
            ~GAS,
                        CO~PANY,
                         INC.,
                                       CENTRAL TELEPHONE
                                  THEIR SUCCESSORS         AND
                                                                                          DATED iHJS             p
            !GHT-QF-WAY·AS SHOWN ·HEREON                    AS
                 ,     PRIVATE     STREETS,     AND COMMON
            ~WENT nN ALL SIDE PROPERTY    LINES
            1M£LS: A Fl'IE ·roOT '(~') WIDE
            JG PUBLIC AND PRIVATE STREETS AND
            30,1JE GROUND · TELEPHONE EQUIPMENT
            :EET (2') AROUND TRANSFOR~ER PADS
            fRUCTION, MAINTENANCE, OPERATION,·
            ~R. TELEPHONE~ tATER, CABLE T.V .•
            'ETHER WITH THE RIGHT o~. ACCESS
                                                                                          ·LEGAL ·nE
            =[HE         WJTHJN PLATTED         LANDS      DOES
            =RON ABUTTING              LOTS   WITHIN THIS
            J TO .        VEHICULAR ACCESS,          TO     THE                             BEING A SUB
                                                                                            PLi\T OF A PO
                                                                                            OFFICE OF T
            ! A COVENAN'! ATIACHED TO THE LAND                                              PARCEL MAPS,
            :IF THE SUBDIVISION AND SHALL HAVE                                              OF THE SOUT
            \INING WITH lHE LAND.                                                           RA'NGE 61 EAS
                                                                                            t.IORE PARTICUL

                                                                                           ·COt.At.IENCING         i\
                                                                                            ................ , ......
                                                                                            TI-ENCE NORTH




CLARK,NV                                                     Page 88 of 98       Printed on 11/1/2016 4:58:44 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                     Comment:                                                                                            Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 612 of 807




                                                                               RANCHO MIRAC
                                                   (A COMMOl
             ~ SUBDMSION OF A PORTION OF LOT 1 OF PARCEL. M
             ST QUARTER (SW 1/4) OF SECTION 27, T-OWNSHIP 19
                                                                                       N.A.P. PAR~EL. 2 PARSEL. MA
                                                                                                    APN ~ 24--27-3\



                                            50.00'              50.00'                   50.00'                          50.00'                           50.00'
                                                                                                                                                                           .,
                                                                               "
                                                                               0
                                                                                                           ":;
                                                                                                            0
                                                                                                                                              ""                           '"
                                              79                  78           "-
                                                                               0
                                                                                            77               -                76
                                                                                                                                           -~
                                                                                                                                               -            75 '
                                                                                                                                                       ·'·""""' ......
                                                                                       5,.350 S.F.                    5,350 S.F.                        "' .,.,n «
                                          5,230 S.F.          5,350 S.f. ~I

                                                                               ~I
                                                                                                           ',..'"
                                                                                                            ~                                 "'
                                                                                                                                              '
                                                                                                                                              ~
                                                                                                                                                                           •"0
                                                                               ;,                           ~                                 ;,                     ;;
                                                                               r                                                              r                      r
                                                                               0
                                                                               z
                                                                                                            0                 '               0                      <
                                                                                                                                                                   . 2
                                                                                                           "                      .           "
                                                 22. 79'        !50.00'                 50.00'                   I      50.00'
                                                                                                                             330.13'
                                                                                                                                                          50.00'

                                                           DUNE                                                 RIDGE
                                                         ---                   S88'47'34"E
                                                                                                     - - - - - - - - ~I -             FOR

                                     ----~Aili--SO.Di1~li--so~~-r~~~·'~s~,~-'~o~·~~;~SLT
                               ..... ~
                               ,.'\':l   2.7.4B' 50.00' ·   59.00'    50.00'    50.00'



                                                     ""
                                                     0
                                                                          "~                         "a
                                                                                                      0
                                                                                                                                "a     0
                                                                                                                                                                     ""
                                                                                                                                                                     0


                                                     -                     -                         ,."-                        "-                                  -
                                                     0                    0                                                                                          a
                                            49       "'        50                        51                             52 ,.                            5.3
                                         6,030 S.F.o,      5,100 S.F. ~              5.100 S.F.o,                   5,'\oo s.F.        'o:n           5,100    s.F.~
                                                                      ro
                                                                          ;,                         ;;;                               ;;;                           ,..
                                                                                                                                                                     ~
                                                                          r                          r                                 r                             r
                                                                          0~                         0                                 0~                            !il
                                                                                    N88'47'34"W
                                                                                                      ~                           '
                                                                                                                                                  .
                                                              50.00'
                                                               o;n nn'
                                                                                       SO.OC'
                                                                                       "'" ,.,,.,.                     . ..
                                                                                                                      so. co··
                                                                                                                              ,._,
                                                                                                                                                       50.00'
                                                                                                                                                        -· - -·


CLARK,NV                                                  Page 89 of 98                                              Printed on 11/1/2016 4:58:44 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                 Comment:                                     Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 613 of 807




                                                      RANCHO MIRA<
                                                        (A COMMO
              !1. SUBDIVISION OF. A PORTION OF LOT 1 OF PARCEL 1
              ;sT QUARTER (SW 1/4) OF. SECTION 27, TOWNSHIP 19


               -




CLARK,NV                              Page 90 of 98            Printed on 11/1/2016 4:58:45 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                Comment:                                Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 614 of 807




                                                                        'lOOjOS \iF .9;: so .. Fi
                                                                        ,01   1~   THROUGH     A    C!
                                                                                   154.71     FEET .
                                                                                   OF A PORT! ON 1
                                                                                   WEST,  ALONG
                                                                                   FOLLOWJN{;"F IV!
                                                                                   SOUTH     89' 23' .
             >RE •• ON   II tiGt.lST' 19                                           FEET;    ( 4) SOU'
                                                                                   596. 83 FEET T•
              SPECIALTY HOLDINGS, INC.,       A NEVADA
              RANCHO MIRAGE    l,   LL. C.,                                        SOUTHWEST QU.
                                              A NE'..JAD,l,
                                                                                   EAST, ALONG S.

                                                                                   CONT!dN!NG      9.
                                                                                   METHODS.




             AND STATE
             D



            iT RECIPIENTS
            :s   AND AGENCIES, APPROVE iHE




            ISJON -                  DATE




CLARK,NV                                            Page 91 of 98   Printed on 11/1/2016 4:58:45 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                                                         Comment:                                                                                      Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 615 of 807




                                                                                  .,r
                                                                                                            "'0z                       ~I                                                        "'0z
             ;                                                                                                                                        2!0 10

                                    l..     l
                                                                                                            r                                                                                    r
             ;                                                                     0                                                                  .1
             '                 '
                                                                   @               z                                                                          z


                          ~
                                       I,-.
                                                       c,e                                                                               I
                                         ..
                                                                         40.01'                 50.00'                      50.00'               50,00'                            50.00'
                                         "'«
             ~
              ~
                      .~-                ~


                                         J-(42.54')
                                                      ·-
                                                                                  CACTUS
                                                                                   -
                                                                                                    N88'40'41~W
                                                                                                         -                        -
                                                                                                                                        .
                                                                                                                                        b
                                                                                                                                        c
                                                                                                                                        N
                                                                                                                                                  34Z.44'

                                                                                                                                                     -
                                                                                                                                                                  SANDS
                                                                                                                                                                                  364.98'
                                                                                                                                                                                        -
                                         '-(45.01')                                                                                     ·o
              c ,__

                 s"'
                      N
                       ..;               .t~
                                         ;::;
                                                        <;-"
                                                                                '"OFFERED


                                                                                                                    I ['\
                                                                                                                                        0
                                                                                                                                        .;
                                                                                                                                        N
                                                                                                                                                    Fllf'
                                                                                                                                                  .339.~7'                 '
                                                                                                                                                                                                 ..

                                         ~
                                                                           45.81'                  50.00'                     50.00'                50.00'                              50.00'

                 ~
                                                                                                                   ;.,.

                                                                                                                                                                                                 -. 81-ol
                                                                                        •N
                                   i"l                                                                                                   0                            0
                 -                                                                      ;;0                        -<-0
                                                                                                                    •O                   0                             0



                 ,,.
                                   "'
                                   N
                                   ;.,
                                   g                                       23           -
                                                                                        !=          24             -- --
                                                                                                                   0 0
                                                                                                                                  25
                                                                                                                                         0
                                                                                                                                         ;::
                                                                                                                                                      28
                                                                                                                                                                      0
                                                                                                                                                                      ;::
                                                                                                                                                                                            27
                                                             :.-
                                                                                              -.
                                                                       6,651 S.F.               · 5,114 S.F. .: ;;t 5,500 S.f. 3:                 5,500 S.F. :3:                       5,500 S.F'3:
                                                                                        -"'
                                   0
                                   z                          w
                  ;:
                                                                                        "'0 0 "'0 ·,0-"'
                                                             .;.                                                                         •                            •                                 •
                                         I
                                                             ~
                                                                                        ~                       -~
                                                                                                                              .         ;;;;"'                        ;;;;"'                            -"'
                                                                                                                                                                                                        ;,
                 -                        "- 0
                                             ~
                                                                                        ~                          ~
                                                                                                                       r

                                                                                                                       ~
                                                                                                                                         ~

                                                                                                                                         0
                                                                                                                                         ~
                                                                                                                                                                      -
                                                                                                                                                                      r
                                                                                                                                                                      0
                                                                                                                                                                      ~
                                                                                                                                                                                                        r
                                                                                                                                                                                                        0
                                                                                                                                                                                                        ~




                 ~0          !')
                             _,
                             ~-
                                             N


                                                      ..-" -
                                                      ;::;
                                                                       62.98'
                                                                       SB9"2::.S'31-w
                                                                                                   50.03'
                                                                                               1i3.01'             - !'-
                                                                                                                       I      50.00'               50.00'                              50.00'
                                                                                                                                                                                             N88'4C
                 "
                 -
                             ~
                                         I                   b
                                                             g
                                                              0
                                                                                    22
                                                                                5,637 S.F.
                                                                                                                   b
                                                                                                                   0
                                                                                                                      ..
                                                                                                                   "' "
                                                                                                                   0
                                                                                                                       ~
                          24.00' 24.00'
                                                                       NB9"1.3'J1~E           112.72'                                                    .
                                                                                                                                                              ~I
                                                                                                                                                              I   ~
                                                                                                                                                                          lo
                                                                                                                                                                      ,1""'\o I
                                                                                                                                                                               0
                                                                                                                                                                                   .        PORT I:
                 0
                 0                               tl                                                                    w
                                                                                                                       •                                  .
                 iii                         I
                                                 ~                                                                     "'
                                                                                                                       N
                                                              00                    21                             O'io
                                                                                                                   0  .,
                                                 •            0                 5,6.36 S.F.                        0 o·


                 ~
                                                                                                                   "' 0~
                                                              "'                                                                                              NOTI;§;
                          24.00' \
                          '-
                                         !J 24.00'
                                                  S69"2:;,'31"W
                                                                                  112.72'
                                                                                    160.72'
                                                                                                                       II
                                                                                                                                                                      ,. ALL             LOT CORN1
                                                                                                                                                                               INSTANCES 'M-lE
                                                                                                                                                                               WALL. AND          FRO~
                 =rnc~~                  .OF . LOT                 ~     Ci-                                                                                                   AT THE BACK F
                                                                        • 'A 0"                                                                                                THE TOP OF TH
                  LAT OF PAR(;EL.                                       IYin•
                                                                                                                                                                               PROPERTY UNE.
                                                                                                                                                                      2. ALL CORNER LC
                                                                                                                                                                         'PROPERTY UNE
                                                                                                   RECORDER'S MEMO
                                                                                              POSSI8l£ POOR RECORD OUETO                                              :3.      SEE SHEET 3 F
                                                                                              QUALITY OF ORIGINAL DOCUMENT




                                                                           I
CLARK,NV                                                                                      Page 92 of 98                                      Printed on 11/1/2016 4:58:45 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                 Comment:                                       Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 616 of 807




                                                                               FOUND 1-1/2"
                                                                               .ALUMINUM CAP
                                                                               STAMP ED HVTN F



                                                                                        1371.51




                                                                                      LOT 3
                                                                               PM FILE 81, PAG




                                                                       LOT 2
                                                              . PM FILE 79, PAGE ,,



                                                          I


                                                                                 ANN
                                                                                     -
                                                              ;;28 52:/    3" BRASS CAP Ill
                                                                           (MISSING DUE TO
                                                              ~3 S34




CLARK,NV                              Page 93 of 98              Printed on 11/1/2016 4:58:45 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                 Comment:                                                    Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 617 of 807




                                                                               .1


                                                                                 BEU
                                                                         OF THE SOU1
                                                       OWNER'S CERTIFICATl
                                                       RANCtiO   MIRAGE         I,     L. L. C.• A N'
                                                       HEREBY      CERTIFY THAT IT IS THE
                                                       SHOWN UPON THiS PLAT OF RANCHO
                                              ·.·      IN" THE SURVEYOR: S CERHFlCATE
                                                       PREPARATION        AND RECORDATION OF
                                                       DEDICATE. ALL THE STREETS, A~
                                                       iNDICATED AND OUTLINED HEREON, !
                                                       TO   278.630,          INCLUSIVE. liND Tl"
                                                       VEGAS FOR THE USE OF THE PUSLl C;


                                                      FURTHERMORE.            THE UNDERSIGNED 0\
                                                      HEREBY     GRANT AND CONVEY to··
                                                      SOUTHWEST         GAS     CORPORATION, NE'
                                                      COMPANY, AND COX           COM~UNICATIONS
                                                      ASSIGNS:      A     PERMANEN"f-·EASEMENT
                                                      •puBLIC      UTILITY           EASEMENT",     (:
                                                      .ELE~ENTS;. A THREE roOT (3') WIC
                                                      AND UNDERGROUND SERVICES TO Mf.
                                                      EASE~ENT ON ALL PROPERTY LINES 1
                                                      ABOVE GROUND TRANSFORMER PADS
                                                      PADS TOGETHER WITH              A~   ADDITIONAl
                                                      WITHIN THE PLATTED LANDS FOR THE
                                                      AND   FINAL REMOVAL OF UNPERGROUr
                                                      AND GAS       LINES        AND -"PPU~TENANt
                                                      THERETO;


                                                       FURt~ERMORE,      THE UNDERS I CNEO 0'
                                                       HEREBY WAVE DIRECT ACCtss R
                                                       SUBO IV lSI ON, I N.CLUD I NG BUT NOT I
                                                       FOLLOWING STREETS: (NONE).

                                                       THIS ~AIVER OF ACCESS RIGHTS ~
                                                       AND_ PASS WITH E,.-.CH AND EVERY P_OI
                                                       THE FORCE AND EFFECT OF A COVEN.

                                                       DATED THIS       -.t-ffA'<--- DAY      OF   _(1
                                                       RIINCHO   ~IRAGE       J, L. L. C., A NEVAI
                                                       SFECJALTY HOLDINGS,            INC., A NEV.




CLARK,NV                              Page 94 of 98                     Printed on 11/1/2016 4:58:45 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                 Comment:                                                                      Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 618 of 807




                                                                                                 BEIJ
                                                         s       1/16                    OF THE SOU'!
                                                  / S28tS27
                                                  I              ;
                                                  I          f
                                                    \      I
                                                        \ I .-.
                                                                                                            104.:o·
                                                  FOUND              1-1/2~
                                                  ALUMINUM CAP
                                                  STAM?EO AV'l'N ?LS 9105.




                                                                                                          82.
                                                                                                      6, 735 S.F.


                                                                                                 NBl":22's7~w (R)
                                                                                                                      8~..


                                                                          h.                 "o
                                                                          •(                 o.
                                                                                             ..;           83
                                                                          =~                 ~         5,013 S.F.

                                                                          -·
                                                                          CoJ
                                                                              '
                                                                                        '"
                                                                                        ro                              c:

                                                                          "
                                                                          ex:
                                                                          •(
                                                                                        "'
                                                                                        ~
                                                                                        ~
                                                                                                   S89"23'31~W      95.87


                                                                          n.
                                                                                             "o                 84  c~
                                                                          U-
                                                                          0                  ci           5,007 S.F.

                                                                          .,-·a.
                                                                                             ~



                                                                          >-                        S851'23'31~W    100.0


                                                                          n
                                                                          L•J
                                                                                    .        b
                                                                                             :;                 85
                                                                          --·- "'
                                                                                                           S,OOD S.F.
                                                                          0        U1         ~


                                                                          uJ L•J                    S89'23'J1~W      1CO.C
                                                                          '$       ~~




CLARK,NV                              Page 95 of 98                                     Printed on 11/1/2016 4:58:45 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                 Comment:                                     Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 619 of 807




                                                                   1 0 0 10




                                                                                   BEI
                                                                 OF THE          SOU~




                                                                        ..


CLARK,NV                              Page 96 of 98            Printed on 11/1/2016 4:58:45 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                 Comment:                                             Station Id :X7QR
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 620 of 807




                                                             v
                                                             2!1!1!10
                                                      ACKNOWLEDGEMENT
                                                      "STATE OF   NEVAO~    )
                                                      'COUNTY OF ·cLARK ) SS
                                                      1~1~   INSTRUUENT WAS ACKNOWLEDGED
                                                      ~ BY JERRY GOEDEN AS PRESIDEN
                                                      COPOR~TlON,      ~S MAN~GING         ~EMBER
                                                      LIMITED LlABILilY         cp~PANY.




                                                      NOTARY PUBLIC lN AND FOR SAlD CO
                                                      ~y COUUJSSION. EXPIRES'          tltli;v.sr ~
                                                                        .
                                                      CERTIFICATE OF EASE
                                                      WE, THE HEREIN N...MED UTILITY COU
                                                      GRANT OF THE DESIGNATED EASEMENT


                                                      Co·x·· c_:_               ..,y
                                                                  ............'~~.r:o
                                                               UMMVrJJ\,;1\ l JV!',
                                                                                       ... ~
                                                                                    Y'-U''"•
                                                                                                ,,.,.
                                                                                               ' ••.




                                                                                ..



CLARK,NV                              Page 97 of 98                Printed on 11/1/2016 4:58:45 PM
Document: CCR 2002.0510.1313
Branch :FLV,User :EDLE                                                     Comment:                                                     Station Id :X7QR
              Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 621 of 807




                                                                AB       3J.VC    ov



                                         ..


             .a,.,_,.,....
           l rt   ~   1-, IAI\.J
                VI~.:.Cr•v         ..
                         1~




           ..•'a<ez:,9co0J'l
           I() ~aa~      M ~t.t~6&S           -...
                   ,OO'OOl                           \

                .,'S ooo·s                     ~




                        ~II
                                              "~
               0'00 L    M,.Lt,t~69S
           '
                                            '"
                '3'S COO'S
                                            "
                                        .€>
                                               0
                       Oil                  "!

               0'00~     M,.L£.£l.68S
          '
                ·.:rs ooo·s
                     68                       "'"gg
                                                 - "'
                                                     %




          00'00~         ~ .. L£,£l.6SS
                                                     "!
                                                     "•
                                                     w           ·--·
                                                                .?>-.,
                                               ~
                                                     "'         .--                             RECORDERS MEMO
                         ooo·;
                'J"S
                        88                    ""'
                                               q
                                                                 •n
                                                                 "
                                                                ()
                                                                                          ?OSS!BLE POOR RECORD DUE TO
                                                                                          OUAUTV OF ORIGINAL DOCUMENT
                                                                 7.)
                                                                 -
          ,QO'OOL M.,Lt,r:C:.69S

                 'J'S    coo's                                   ()
                        Ll                                      ·o
                                                                                                       CI..AAK COUNTY. NEVADA
                                                                ,.                                 JUDITH A. VANDEVER. RECORDER
                                                          -,, b                                      RECORDED AT REQUEST OF:
                                                          r- _,
                                                                                          NEVADA "TlTLE COM.,ANY


                :.::rs ooo·;                  -~
                                                          r•1
                                                                -·                                lll~-lill-2'<~~df,:ltjjfWe&
                                                                                           ~ 2002051~               INsr.   0131~
                                                                                                                                    'J /'


                        00                     g                                          I"EE:         110,01;!1   RPTT:




CLARK,NV                                                                  Page 98 of 98                     Printed on 11/1/2016 4:58:45 PM
Document: CCR 2002.0510.1313
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 622 of 807




                         EXHIBIT 8




                         EXHIBIT 8
Branch :FLV,User :CON2                                           Comment:                                                                         Station Id :XJUY
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 623 of 807



                                                                                                                      111111111111111111111111111111111111111
                                                                                                                     20090608-0006547
                                                                                                                Fee: $24.00    RPTT: $0.00
                                                                                                                N/C Fee: $0.00
                                                                                                                06/08/2009      15:47:47
                                                                                                                T20090199988
                                                                                                                Requestor:
                    PIN#: 124-27-412-049
                                                                                                                 STEWART TITLE LAS VEGAS WARM
                                                                                                                Debbie Conway        RMS
                                                                                                                Clark County Recorder     Pgs: 11
                    When Recorded Return To:
                    MOUNTAIN VIEW MORTGAGE COMPANY
                    7311 W CHARLESTON BLVD, SUITE 110
                    LAS VEGAS, NV 89117
                    (702) 228-7105

                    Grantee:
                    MOUNTAIN VIEW MORTGAGE COMPANY
                    7311 W CHARLESTON BLVD, SUITE 110, LAS
                    VEGAS, NV 89117

                    Mail Tax Statement To:
                   MOUNTAIN VIEW MORTGAGE COMPANY
                   7311 W CHARLESTON BLVD, SUITE 110
                   LAS VEGAS, NV 89117                                                                  /0 {7;)_&v{
                                                    [Space Above This Line For Recording Data]
                                                               DEED OF TRUST
                                                                                       GREGORY
                    RECORDING REQUESTED BY:
                                                                                       Loan#: 09051511
                    STEWART TITLE OF NEVADA                                            MIN:100096000090515118
                                                                                       PIN:124-27-412-049
                                                                                       Case#: 332-4899944-703

                             THIS DEED OF TRUST ("Security Instrument") is made on MAY 26, 2009. The grantor is KEN
                   E.    GREGORY,     AN UNMARRIED MAN ("Borrower"). The trustee is STEWART TITLE OF NEVADA
                   ("Trustee"). The beneficiary is Mortgage Electronic Registration Systems, Inc. ("MERS") (solely as nominee
                   for Lender, as hereinafter defined, and Lender's successors and assigns), as beneficiary. MERS is organized
                   and existing under the laws of Delaware, and has an address and telephone number of P.O. Box 2026, Flint,
                   MI 48501-2026, tel. (888) 679-MERS. MOUNTAIN VIEW MORTGAGE COMPANY ("Lender") is organized
                   and existing under the laws of COLORADO, and has an address of7311 W CHARLESTON BLVD, SUITE
                   110, LAS VEGAS, NV 89117. Borrower owes Lender the principal sum of ONE HUNDRED EIGHT
                   THOUSAND SEVEN Dollars (U.S. $108,007. 00). This debt is evidenced by Borrower's note dated the
                   same date as this Security Instrument ("Note"), which provides for monthly payments, with the full debt, if
                   not paid earlier, due and payable on JUNE 1, 2 03 9. This Security Instrument secures to Lender: (a) the
                   repayment of the debt evidenced by the Note, with interest, and all renewals, extensions and modifications of
                   the Note; (b) the payment of all other sums, with interest, advanced under paragraph 7 to protect the security
                   of this Security Instrument; and (c) the performance of Borrower's covenants and agreements under this
                   Security Instrument and the Note. For this purpose, Borrower irrevocably grants and conveys to Trustee, in
                   trust, with power of sale, the following described property located in CLARK County, Nevada:
                   LEGAL DESCRIPTION ATTACHED HERETO AND MADE A PART HEREOF.
                   which has the address of 5733 OASIS RIDGE STREET, NORTH LAS VEGAS, Nevada 89031
                   ("Property Address");

                            TOGETHER WITH all the improvements now or hereafter erected on the property, and all
                   easements, appurtenances, and fixtures now or hereafter a part of the property. All replacements and
                   additions shall also be covered by this Security Instrument. All of the foregoing is referred to in this Security
                   Instrument as the "Property." Borrower understands and agrees that MERS holds only legal title to the

                   FHA Nevada Deed of Trust- 07/08
                   @> 395.4                                        Page I of 8




CLARK,NV                                                       Page 1 of 11                                  Printed on 10/26/2016 8:33:37 AM
Document: DOT 2009.0608.6547
Branch :FLV,User :CON2                                         Comment:                                                             Station Id :XJUY
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 624 of 807




                                                                                                                     09051511

                   interests granted by Borrower in this Security Instrument; but, if necessary to comply with law or custom,
                   MERS (as nominee for Lender and Lender's successors and assigns) has the right: to exercise any or all of
                   those interests, including, but not limited to, the right to foreclose and sell the Property; and to take any
                   action required of Lender including, but not limited to, releasing or canceling this Security Instrument.
                             BORROWER COVENANTS that Borrower is lawfully seized of the estate hereby conveyed and
                   has the right to grant and convey the Property and that the Property is unencumbered, except for
                   encumbrances of record. Borrower warrants and will defend generally the title to the Property against all
                   claims and demands, subject to any encumbrances of record.
                            THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-uniform
                   covenants with limited variations by jurisdiction to constitute a uniform security instrument covering real
                   property.


                             UNIFORM COVENANTS. Borrower and Lender covenant and agree as follows:
                             I. Payment of Principal, Interest and Late Charge. Borrower shall pay when due the principal of,
                    and interest on, the debt evidenced by the Note and late charges due under the Note.
                             2. Monthly Payment of Taxes, Insurance and Other Charges. Borrower shall include in each
                   monthly payment, together with the principal and interest as set forth in the Note and any late charges, a sum
                   for (a) taxes and special assessments levied or to be levied against the Property, (b) leasehold payments or
                   ground rents on the Property, and (c) premiums for insurance required under paragraph 4. In any year in
                   which the Lender must pay a mortgage insurance premium to the Secretary of Housing and Urban
                   Development ("Secretary"), or in any year in which such premium would have been required if Lender still
                   held the Security Instrument, each monthly payment shall also include either; (i) a sum for the annual
                   mortgage insurance premium to be paid by Lender to the Secretary, or (ii) a monthly charge instead of a
                   mortgage insurance premium if this Security Instrument is held by the Secretary, in a reasonable amount to
                   be determined by the Secretary. Except for the monthly charge by the Secretary, these items are called
                   "Escrow Items" and the sums paid to Lender are called "Escrow Funds."
                             Lender may, at any time collect and hold amounts for Escrow Items in an aggregate amount not to
                   exceed the maximum amount that may be required for Borrower's escrow account under the Real Estate
                   Settlement Procedures Act of 1974, 12 U.S.C. Section 2601 et seq. and implementing regulations, 24 CFR
                   Part 3500, as they may be amended from time to time ("RESPA"), except that the cushion or reserve
                   permitted by RESPA for unanticipated disbursements or disbursements before the Borrower's payments are
                   available in the account may not be based on amounts due for the mortgage insurance premium.
                             If the amounts held by Lender for Escrow Items exceed the amounts permitted to be held by
                   RESP A, Lender shall account to borrower for the excess funds as required by RESP A. If the amounts of
                   funds held by Lender at any time are not sufficient to pay the Escrow Items when due, Lender may notify the
                   Borrower and require Borrower to make up the shortage or deficiency as permitted by RESP A.
                             The Escrow Funds are pledged as additional security for all sums secured by this Security
                   Instrument. If Borrower tenders to Lender the full payment of all such sums, Borrower's account shall be
                   credited with the balance remaining for all installment items, (a), (b) and (c) and any mortgage insurance
                   premium installment that Lender has not become obligated to pay to the Secretary, and Lender shall promptly
                   refund any excess funds to Borrower. Immediately prior to a foreclosure sale of the Property or its
                   acquisition by Lender, Borrower's account shall be credited with any balance remaining for all installment for
                   items (a), (b) and (c).
                             3. Application of Payments. All payments under paragraphs 1 and 2 shall be applied by Lender as
                   follows:


                   FHA Nevada Deed of Trust- 07/08
                   @> 395.4                                       Page 2 of 8




CLARK,NV                                                      Page 2 of 11                                Printed on 10/26/2016 8:33:37 AM
Document: DOT 2009.0608.6547
Branch :FLV,User :CON2                                          Comment:                                                               Station Id :XJUY
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 625 of 807




                                                                                                                       09051511

                             First, to the mortgage insurance premium to be paid by Lender to the Secretary or to the monthly
                    charge by the Secretary instead of the monthly mortgage insurance premium;
                             Second, to any taxes, special assessments, leasehold payments or ground rents, and fire, flood and
                    other hazard insurance premiums, as required;
                             Third, to interest due under the Note;
                             Fourth, to amortization of the principal of the Note;
                             Fifth, to late charges due under the Note.
                             4. Fire, Flood and Other Hazard Insurance. Borrower shall insure all improvements on the
                   Property, whether now in existence or subsequently erected, against any hazards, casualties, and
                   contingencies, including fire, for which Lender requires insurance. This insurance shall be maintained in the
                   amounts and for the periods that Lender requires. Borrower shall also insure all improvements on the
                   Property, whether now in existence or subsequently erected, against loss by floods to the extent required by
                   the Secretary. All insurance shall be carried with companies approved by Lender. The insurance policies and
                   any renewals shall be held by Lender and shall include loss payable clauses in favor of, and in a form
                   acceptable to, Lender.
                             In the event of loss, Borrower shall give Lender immediate notice by mail. Lender may make proof
                   of loss if not made promptly by Borrower. Each insurance company concerned is hereby authorized and
                   directed to make payment for such loss directly to Lender, instead of to Borrower and to Lender jointly. All
                   or any part of the insurance proceeds may be applied by Lender, at its option, either (a) to the reduction of the
                   indebtedness under the Note and this Security Instrument, first to any delinquent amounts applied in the order
                   in Paragraph 3, and then to prepayment of principal, or (b) to the restoration or repair of the damaged
                   Property. Any application of the proceeds to the principal shall not extend or postpone the due date of the
                   monthly payments which are referred to in Paragraph 2, or change the amount of such payments. Any excess
                   insurance proceeds over an amount required to pay all outstanding indebtedness under the Note and this
                   Security Instrument shall be paid to the entity legally entitled thereto.
                             In the event of foreclosure of this Security Instrument or other transfer of title to the Property that
                   extinguishes the indebtedness, all right, title and interest of Borrower in and to insurance policies in force
                   shall pass to the purchaser.
                             5. Occupancy, Preservation, Maintenance and Protection of the Property; Borrower's Loan
                   Application; Leaseholds. Borrower shall occupy, establish, and use the Property as Borrower's principal
                   residence within sixty days after the execution of this Security Instrument (or within sixty days of a later sale
                   or transfer of the property) and shall continue to occupy the Property as Borrower's principal residence for at
                   least one year after the date of occupancy, unless Lender determines that requirement will cause undue
                   hardship for Borrower, or unless extenuating circumstances exist which are beyond Borrower's control.
                   Borrower shall notify Lender of any extenuating circumstances. Borrower shall not commit waste or destroy,
                   damage or substantially change the Property or allow the Property to deteriorate, reasonable wear and tear
                   excepted. Lender may inspect the Property if the Property is vacant or abandoned or the loan is in default.
                   Lender may take reasonable action to protect and preserve such vacant or abandoned Property. Borrower
                   shall also be in default if Borrower, during the loan application process, gave materially false or inaccurate
                   information or statements to Lender (or failed to provide Lender with any material information) in
                   connection with the loan evidenced by the Note, including, but not limited to, representations concerning
                   Borrower's occupancy of the Property as a principal residence. If this Security Instrument is on a leasehold,
                   Borrower shall comply with the provisions of the lease. If Borrower acquires fee title to the Property, the
                   leasehold and fee title shall not be merged unless Lender agrees to the merger in writing.
                             6. Condemnation. The proceeds of any award or claim for damages, direct or consequential, in
                   connection with any condemnation or other taking of any part of the Property, or for conveyance in place of

                   FHA Nevada Deed of Trust- 07/08
                   @> 395.4                                        Page 3 of 8




CLARK,NV                                                       Page 3 of 11                                  Printed on 10/26/2016 8:33:38 AM
Document: DOT 2009.0608.6547
Branch :FLV,User :CON2                                           Comment:                                                              Station Id :XJUY
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 626 of 807




                                                                                                                       09051511

                    condemnation, are hereby assigned and shall be paid to Lender to the extent of the full amount of the
                    indebtedness that remains unpaid under the Note and this Security Instrument. Lender shall apply such
                    proceeds to the reduction of the indebtedness under the Note and this Security Instrument, first to any
                    delinquent amounts applied in the order provided in Paragraph 3, and then to prepayment of principal. Any
                    application of the proceeds to the principal shall not extend or postpone the due date of the monthly
                    payments, which are referred to in Paragraph 2, or change the amount of such payments. Any excess
                    proceeds over an amount required to pay all outstanding indebtedness under the Note and this Security
                    Instrument shall be paid to the entity legally entitled thereto.
                             7. Charges to Borrower and Protection of Lender's Rights in the Property. Borrower shall pay
                    all governmental or municipal charges, fines and impositions that are not included in Paragraph 2. Borrower
                    shall pay these obligations on time directly to the entity which is owed the payment. If failure to pay would
                    adversely affect Lender's interest in the Property, upon Lender's request Borrower shall promptly furnish to
                    Lender receipts evidencing these payments.
                             If Borrower fails to make these payments or the payments required by Paragraph 2, or fails to
                    perform any other covenants and agreements contained in this Security Instrument, or there is a legal
                    proceeding that may significantly affect Lender's rights in the Property (such as a proceeding in bankruptcy,
                    for condemnation or to enforce laws or regulations), then Lender may do and pay whatever is necessary to
                    protect the value of the Property and Lender's rights in the Property, including payment of taxes, hazard
                    insurance and other items mentioned in Paragraph 2.
                             Any amounts disbursed by Lender under this Paragraph shall become an additional debt of
                    Borrower and be secured by this Security Instrument. These amounts shall bear interest from the date of
                    disbursement, at the Note rate, and at the option of Lender, shall be immediately due and payable.
                             Borrower shall promptly discharge any lien which has priority over this Security Instrument unless
                    Borrower: (a) agrees in writing to the payment of the obligation secured by the lien in a manner acceptable to
                    Lender; (b) contests in good faith the lien by, or defends against enforcement of the lien in, legal proceedings
                    which in the Lender's opinion operate to prevent the enforcement of the lien; or (c) secures from the holder of
                    the lien an agreement satisfactory to Lender subordinating the lien to this Security Instrument. If Lender
                    determines that any part of the Property is subject to a lien which may attain priority over this Security
                    Instrument. Lender may give Borrower a notice identifying the lien. Borrower shall satisfy the lien or take
                    one or more of the actions set forth above within 10 days of the giving of notice.
                             8. Fees. Lender may collect fees and charges authorized by the Secretary.
                             9. Grounds for Acceleration of Debt.
                               (a) Default. Lender may, except as limited by regulations issued by the Secretary in the case of
                               payment defaults, require immediate payment in full of all sums secured by this Security
                               Instrument if:
                                   (i) Borrower defaults by failing to pay in full any monthly payment required by this Security
                                   Instrument prior to or on the due date of the next monthly payment, or
                                   (ii) Borrower defaults by failing, for a period of thirty days, to perform any other obligations
                                   contained in this Security Instrument.
                               (b) Sale Without Credit Approval. Lender shall, if permitted by applicable law (including
                               section 34l(d) of the Garn-St Germain Depository Institutions Act of 1982, 12 U.S.C. 170lj-3(d))
                               and with the prior approval of the Secretary, require immediate payment in full of all sums secured
                               by this Security Instrument if:
                                   (i) All or part of the Property, or a beneficial interest in a trust owning all or part of the
                                   Property, is sold or otherwise transferred (other than by devise or descent) and


                    FHA Nevada Deed of Trust- 07/08
                   @>  395.4                                       Page 4 of 8




CLARK,NV                                                       Page 4 of 11                                 Printed on 10/26/2016 8:33:38 AM
Document: DOT 2009.0608.6547
Branch :FLV,User :CON2                                           Comment:                                                              Station Id :XJUY
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 627 of 807




                                                                                                                       09051511

                                    (ii) The Property is not occupied by the purchaser or grantee as his or her principal residence,
                                    or the purchaser or grantee does so occupy the Property but his or her credit has not been
                                    approved in accordance with the requirements of the Secretary.
                               (c) No Waiver. If circumstances occur that would permit Lender to require immediate payment in
                               full, but Lender does not require such payments, Lender does not waive its rights with respect to
                               subsequent events.
                               (d) Regulations of HUD Secretary. In many circumstances regulations issued by the Secretary
                               will limit Lender's rights in the case of payment defaults, to require immediate payment in full and
                               foreclose if not paid. This Security Instrument does not authorize acceleration or foreclosure if not
                               permitted by regulations of the Secretary.
                               (e) Mortgage Not Insured. Borrower agrees that should this Security Instrument and the Note are
                               not to be eligible for insurance under the National Housing Act within 60 days from the date
                               hereof, Lender may, at its option, require immediate payment in full of all sums secured by this
                               Security Instrument. A written statement of any authorized agent of the Secretary dated
                               subsequent to 60 days from the date hereof, declining to insure this Security Instrument and the
                               Note shall be deemed conclusive proof of such ineligibility. Notwithstanding the foregoing, this
                               option may not be exercised by Lender when the unavailability of insurance is solely due to
                               Lender's failure to remit a mortgage insurance premium to the Secretary.
                             10. Reinstatement. Borrower has a right to be reinstated if Lender has required immediate payment
                   in full because of Borrower's failure to pay an amount due under the Note or this Security Instrument. This
                   right applies even after foreclosure proceedings are instituted. To reinstate the Security Instrument, Borrower
                   shall tender in a lump sum all amounts required to bring Borrower's account current including, to the extent
                   they are obligations of Borrower under this Security Instrument, foreclosure costs and reasonable and
                   customary attorneys' fees and expenses properly associated with the foreclosure proceeding. Upon
                   reinstatement by Borrower, this Security Instrument and the obligations that it secures shall remain in effect
                   as if Lender had not required immediate payment in full. However, Lender is not required to permit
                   reinstatement if: (i) Lender has accepted reinstatement after the commencement of foreclosure proceedings
                   within two years immediately preceding the commencement of a current foreclosure proceeding, (ii)
                   reinstatement will preclude foreclosure on different grounds in the future, or (iii) reinstatement will adversely
                   affect the priority of the lien created by this Security Instrument.
                             11. Borrower Not Released; Forbearance By Lender Not a Waiver. Extension of the time of
                   payment or modification of amortization of the sums secured by this Security Instrument granted by Lender
                   to any successor in interest of Borrower shall not operate to release the liability of the original Borrower or
                   Borrower's successor in interest. Lender shall not be required to commence proceedings against any
                   successor in interest or refuse to extend time for payment or otherwise modify amortization of the sums
                   secured by this Security Instrument by reason of any demand made by the original Borrower or Borrower's
                   successors in interest. Any forbearance by Lender in exercising any right or remedy shall not be a waiver of
                   or preclude the exercise of any right or remedy.
                             12. Successors and Assigns Bound; Joint and Several Liability; Co-Signers. The covenants and
                   agreements of this Security Instrument shall bind and benefit the successors and assigns of Lender and
                   Borrower, subject to the provisions of Paragraph 9(b ). Borrower's covenants and agreements shall be joint
                   and several. Any Borrower who co-signs this Security Instrument but does not execute the Note: (a) is co-
                   signing this Security Instrument only to mortgage, grant and convey that Borrower's interest in the Property
                   under the terms of this Security Instrument; (b) is not personally obligated to pay the sums secured by this
                   Security Instrument; and (c) agrees that Lender and any other Borrower may agree to extend, modify,
                   forebear or make any accommodations with regard to the terms of this Security Instrument or the Note
                   without that Borrower's consent.
                   FHA Nevada Deed of Trust- 07/08
                   0> 395.4                                        Page 5 of 8




CLARK,NV                                                       Page 5 of 11                                  Printed on 10/26/2016 8:33:39 AM
Document: DOT 2009.0608.6547
Branch :FLV,User :CON2                                           Comment:                                                             Station Id :XJUY
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 628 of 807




                                                                                                                       09051511


                             13. Notices. Any notice to Borrower provided for in this Security Instrument shall be given by
                    delivering it or by mailing it by first class mail unless applicable law requires use of another method. The
                    notice shall be directed to the Property Address or any other address Borrower designates by notice to
                   Lender. Any notice to Lender shall be given by first class mail to Lender's address stated herein or any
                   address Lender designates by notice to Borrower. Any notice provided for in this Security Instrument shall be
                   deemed to have been given to Borrower or Lender when given as provided in this paragraph.
                             14. Governing Law: Severability. This Security Instrument shall be governed by Federal law and
                   the law of the jurisdiction in which the Property is located. In the event that any provision or clause of this
                   Security Instrument or the Note conflicts with applicable law, such conflict shall not affect other provisions
                   of this Security Instrument or the Note which can be given effect without the conflicting provision. To this
                   end the provisions of this Security Instrument and the Note are declared to be severable.
                             15. Borrower's Copy. Borrower shall be given one conformed copy of the Note and of this Security
                   Instrument.
                             16. Hazardous Substances. Borrower shall not cause or permit the presence, use, disposal, storage,
                   or release of any Hazardous Substances on or in the Property. Borrower shall not do, nor allow anyone else to
                   do, anything affecting the Property that is in violation of any Environment Law. The preceding two sentences
                   shall not apply to the presence, use, or storage on the Property of small quantities of Hazardous Substances
                   that are generally recognized to be appropriate to normal residential uses and to maintenance of the Property.
                             Borrower shall promptly give Lender written notice of any investigation, claim, demand, lawsuit or
                   other action by any removal or other regulatory agency or private party involving the Property and any
                   Hazardous Substance or Environmental Law of which Borrower has actual knowledge. If Borrower learns, or
                   is notified by any governmental or regulatory authority, that any removal or other remediation of any
                   Hazardous Substances affecting the Property is necessary, Borrower shall promptly take all necessary
                   remedial actions in accordance with Environmental Law.
                             As used in this paragraph 16, "Hazardous Substances" are those substances defined as toxic or
                   hazardous substances by Environmental Law and the following substances: gasoline, kerosene, other
                   flammable or toxic petroleum products, toxic pesticides and herbicides, volatile solvents, materials
                   containing asbestos or formaldehyde, and radioactive materials. As used in this paragraph 16,
                   "Environmental Law" means federal laws and laws of the jurisdiction where the Property is located that
                   relate to health, safety or environmental protection.


                   NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree as follows:
                             17. Assignment of Rents. Borrower unconditionally assigns and transfers to Lender all the rents
                   and revenues of the Property. Borrower authorizes Lender or Lender's agents to collect the rents and revenues
                   and hereby directs each tenant of the Property to pay the rents to Lender or Lender's agents. However, prior
                   to Lender's notice to Borrower of Borrower's breach of any covenant or agreement in the Security
                   Instrument, Borrower shall collect and receive all rents and revenues of the Property as trustee for the benefit
                   of Lender and Borrower. This assignment of rents constitutes an absolute assignment and not an assignment
                   for additional security only.
                             If Lender gives notice of breach to Borrower: (a) all rents received by Borrower shall be held by
                   Borrower as trustee for benefit of Lender only, to be applied to the sums secured by the Security Instrument;
                   (b) Lender shall be entitled to collect and receive all of the rents of the Property; and (c) each tenant of the
                   Property shall pay all rents due and unpaid to Lender or Lender's agent on Lender's written demand to the
                   tenant.
                            Borrower has not executed any prior assignment of the rents and has not and will not perform any

                   FHA Nevada Deed of Trust- 07/08
                   @> 395.4                                        Page 6 of 8




CLARK,NV                                                       Page 6 of 11                                 Printed on 10/26/2016 8:33:39 AM
Document: DOT 2009.0608.6547
Branch :FLV,User :CON2                                           Comment:                                                                Station Id :XJUY
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 629 of 807




                                                                                                                         09051511

                    act that would prevent Lender from exercising its rights under this Paragraph 17.
                              Lender shall not be required to enter upon, take control of or maintain the Property before or after
                    giving notice of breach to Borrower. However, Lender or a judicially appointed receiver may do so at any
                    time there is a breach. Any application of rents shall not cure or waive any default or invalidate any other
                    right or remedy of Lender. This assignment of rents of the Property shall terminate when the debt secured by
                   the Security Instrument is paid in full.
                              18. Foreclosure Procedure. If Lender requires immediate payment in full under paragraph 9,
                   Lender may invoke the power of sale and any other remedies permitted by applicable law. Lender shall be
                   entitled to collect all expenses incurred in pursuing the remedies provided in this paragraph 18, including, but
                   not limited to, reasonable attorneys' fees and costs of title evidence.
                              If Lender invokes the power of sale, Lender shall execute or cause Trustee to execute written notice
                   of the occurrence of an event of default and of Lender's election to cause the Property to be sold, and shall
                   cause such notice to be recorded in each county in which any part of the Property is located, Lender or
                   Trustee shall mail copies of the notice as prescribed by applicable law to Borrower and to the persons
                   prescribed by applicable law. Trustee shall give public notice of sale to the persons and in the manner
                   prescribed by applicable law. After the time required by applicable law, Trustee, without demand on
                   Borrower, shall sell the Property at public auction to the highest bidder at the time and place and under the
                   terms designated in the notice of sale in one or more parcels and in any order Trustee determines. Trustee
                   may postpone sale of all or any parcel of the Property by public announcement at the time and place of any
                   previously scheduled sale. Lender or its designee may purchase the Property at any sale.
                              Trustee shall deliver to the purchaser Trustee's deed conveying the Property without any covenant or
                   warranty, expressed or implied. The recitals in the Trustee's deed shall be prima facie evidence of the truth of
                   the statements made therein. Trustee shall apply the proceeds of the sale in the following order: (a) to all
                   expenses of the sale, including, but not limited to, reasonable Trustee's and attorneys' fees; (b) to all sums
                   secured by this Security Instrument; and (c) any excess to the person or persons legally entitled to it.
                              If the Lender's interest in this Security Instrument is held by the Secretary and the Secretary requires
                   immediate payment in full under Paragraph 9, the Secretary may invoke the nonjudicial power of sale
                   provided in the Single Family Mortgage Foreclosure Act of 1994 ("Act") (12 U.S.C. 3751 et seq.) by
                   requesting a foreclosure commissioner designated under the Act to commence foreclosure and to sell the
                   Property as provided in the Act. Nothing in the preceding sentence shall deprive the Secretary of any rights
                   otherwise available to a Lender under this Paragraph 18 or applicable law.
                              19. Reconveyance. Upon payment of all sums secured by this Security Instrument. Lender shall
                   request Trustee to reconvey the Property and shall surrender this Security Instrument and all notes evidencing
                   debt secured by this Security Instrument to Trustee. Trustee shall reconvey the Property without warranty
                   and without charge to the person or persons legally entitled to it. Such person or persons shall pay any
                   recondition costs.
                              20. Substitute Trustee. Lender, at its own option, may from time to time remove Trustee and
                   appoint a successor trustee to any Trustee appointed hereunder. Without conveyance of the Property, the
                   successor trustee shall succeed to all the title, power and duties conferred upon Trustee herein and by
                   applicable law.
                              21. Assumption Fee. Lender may charge the maximum assumption fee allowable by the
                   Department of Housing and Urban Development.
                              22. Riders to this Security Instrument. If one or more riders are executed by Borrower and
                   recorded together with this Security Instrument, the covenants and agreements of each such rider shall be
                   incorporated into and shall amend and supplement the covenants and agreements of this Security Instrument
                   as if the rider(s) were a part of this Security Instrument.

                    FHA Nevada Deed of Trust- 07/08
                   @>  395.4                                        Page 7 of 8




CLARK,NV                                                       Page 7 of 11                                   Printed on 10/26/2016 8:33:40 AM
Document: DOT 2009.0608.6547
Branch :FLV,User :CON2                                          Comment:                                                        Station Id :XJUY
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 630 of 807




                                                                                                                  09051511


                    The Following Rider(s) are to be executed by Borrower and are attached hereto and made a part thereof
                    [check box as applicable]:

                   D Condominium Rider                          D Growing Equity Rider       D Adjustable Rate Rider
                   ~Planned  Unit Development Rider             D Graduated Payment Rider
                   D Other(s) [specify]


                                              OW, Borrower accepts and agrees to the terms and covenants contained in this
                                                 ider executed by Borrower and recorded with it.
                                                                                            SIGNATURE CLARIFICATION:

                                                                                            KEN E. GREGORY

                                                [Space Below This Line For Acknowledgment]

                   STATE OF

                   COUNTY OF       Cl tv~L




                                                 KRISTEN LANGE
                                              Notory Pvbli( Stot!l of Nevada                          ,
                                                  No. 06 • 104795 _1     My Commission Expires: ~-          d-")..~- \U' \
                                             My appt. exp. Mar. 23, 2010




                   FHA Nevada Deed of Trust - 07/08
                   @> 395.4                                        Page 8 of 8




CLARK,NV                                                       Page 8 of 11                               Printed on 10/26/2016 8:33:40 AM
Document: DOT 2009.0608.6547
Branch :FLV,User :CON2                                Comment:                                                Station Id :XJUY
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 631 of 807




                                                       EXHIBIT "A"


                The land referred to herein situate in the State of Nevada, County of Clark, described as
                follows:

                Lot Eighty-Five (85) in Block Ten (1 0) of Rancho Mirage Unit II, Phase 2, as shown by map
                thereof on file in Book 102 of Plats, Page 96 and amended by the Certificate of Amendment
                recorded January 18, 2002 in Book 20020118 as Document No. 00615, in the Office of the
                County Recorder of Clark County, Nevada.




CLARK,NV                                             Page 9 of 11                       Printed on 10/26/2016 8:33:41 AM
Document: DOT 2009.0608.6547
Branch :FLV,User :CON2                                           Comment:                                                             Station Id :XJUY
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 632 of 807




                                              PLANNED UNIT DEVELOPMENT RIDER
                                                                                                 GREGORY
                                                                                                 Loan#: 09051511
                                                                                                 MTIN:100096000090515118
                                                                                                 Case#: 332-4899944-703

                           THIS PLANNED UNIT DEVELOPMENT RIDER is made this 26TH day of MAY 2 0 0 9, and is       1


                   incorporated into and shall be deemed to amend and supplement the Mortgage, Deed of Trust or Security
                   Deed ("Security Instrument") of the same date given by the undersigned ("Borrower") to secure Borrower's
                   Note ("Note") to MOUNTAIN VIEW MORTGAGE COMPANY ("Lender") of the same date and covering the
                   Property described in the Security Instrument and located at: 57 3 3 OASIs RIDGE STREET NORTH        I


                   LAS VEGAS       INV 8 9 0 31 [Property Address]. The Property Address is a part of a planned unit
                   development ("PUD") known as RANCHO MIRAGE UNIT 2 PHASE 2 [Name of Planned Unit
                   Development].

                          PUD COVENANTS. In addition to the covenants and agreements made in the Security Instrument,
                   Borrower and Lender further covenant and agree as follows:

                             A. So long as the Owners Association (or equivalent entity holding title to common areas
                             and facilities), acting as trustee for the homeowners, maintains, with a generally accepted
                             insurance carrier, a "master" or "blanket" policy insuring the property located in the PUD,
                             including all improvements now existing or hereafter erected on the mortgaged premises,
                             and such policy is satisfactory to Lender and provides insurance coverage in the amounts,
                             for the periods, and against the hazards Lender requires, including fire and other hazards
                             included within the term "extended coverage," and loss by flood, to the extent required by
                             the Secretary, then: (i) Lender waives the provision in Paragraph 2 of this Security
                             Instrument for the monthly payment to Lender of one-twelfth of the yearly premium
                             installments for hazard insurance on the Property, and (ii) Borrower's obligation under
                             Paragraph 4 of this Security Instrument to maintain hazard insurance coverage on the
                             Property is deemed satisfied to the extent that the required coverage is provided by the
                             Owners Association policy. Borrower shall give Lender prompt notice of any lapse in
                             required hazard insurance coverage and of any loss occurring from a hazard. In the event of
                             a distribution of hazard insurance proceeds in lieu of restoration or repair following a loss

                                                                                                           FHA Multistate PUD Rider
                   §> 50.1                                           Page 1 of 2                                               6/96




CLARK,NV                                                       Page 10 of 11                                Printed on 10/26/2016 8:33:41 AM
Document: DOT 2009.0608.6547
Branch :FLV,User :CON2                                           Comment:                                                            Station Id :XJUY
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 633 of 807




                                                                                                                         09051511


                               to the Property or to common areas and facilities of the PUD, any proceeds payable to
                               Borrower are hereby assigned and shall be paid to Lender for application to the sums
                               secured by this Security Instrument, with any excess paid to the entity legally entitled
                               thereto.

                               B. Borrower promises to pay all dues and assessments imposed pursuant to the legal
                               instruments creating and governing the PUD.

                               C. If Borrower does not pay PUD dues and assessments when due, then Lender may pay
                               them. Any amounts disbursed by Lender under this paragraph C shall become additional
                               debt of Borrower secured by the Security Instrument. Unless Borrower and Lender agree to
                               other terms of payment, these amounts shall bear interest from the date of disbursement at
                               the Note rate and shall be payable, with interest, upon notice from Lender to Borrower
                               requesting payment.

                                                  OW, Borrower accepts and agrees to the terms and provisions contained in this




                      SIGNATURE CLARIFICATION:

                      KEN E. GREGORY




                                                                                                          FHA Multistate PUD Rider
                   E'i> 50.1                                         Page 2 of 2                                              6!96




CLARK,NV                                                       Page 11 of 11                                Printed on 10/26/2016 8:33:42 AM
Document: DOT 2009.0608.6547
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 634 of 807




                         EXHIBIT 9




                         EXHIBIT 9
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21    #: 20181106-0001809
                                                     lnst Page  635 of 807
                                                     Fees: $40.00
                                                     11/06/201811:52:44 AM
                                                     Receipt#:3557021
                                                                       Requestor:
                                                                       NATIONWIDE LEGAL
                                                                       Recorded By: ANI Pgs: 4
                                                                       DEBBIE CONWAY
                                                                       CLARK COUNTY RECORDER
                                                                       Src: FRONT COUNTER
                                                                       Ofc: MAIN OFFICE




RECORDING COVER PAGE
(Must be typed or printed clearly in BLACK ink only
and avoid printing in the I" margins of document)

APN# 124-27-412-049
(II digit Assessor's Parcel Number may be obtained at:
h ttp://red rock.co. c Iark. nv .us/assrrea Iprop/own r. aspx)

                                  TITLE OF DOCUMENT
                                         (DO NOT Abbreviate)
Assignment of Deed of Trust




Document Title on cover page must appear EXACTLY as the first page of the document
to be recorded.


RECORDING REQUESTED BY:
Wright, Finlay & Zak, LLP


RETURN TO: Name           Wright, Finlay & Zak, LLP
               Address    7785 W. Sahara Ave., Suite 200

               City/State/Zip     Las Vegas, NV 8911 7


MAIL TAX STATEMENT TO: (Applicable to documents transferring real property)
                      N/A
               Name ____________________________________________ ___

                           NIA
               Address, _____________________________________________

                             N_I_A_________________
              City/State/Zip__


     This page provides additional information required by NRS 111.312 Sections 1-2.
                      An additional recording fee of$1.00 will apply.
                  To print this document properly, do not use page scaling.
 Using this cover page does not exclude the document from assessing a noncompliance fee.
                   P:\Common\Forms & Notices\Cover Page Template Feb20 14
       Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 636 of 807



Recording requested by:
When recorded mail to:
MARINERS COMPANIES
1303 AVOCADO AVE SUITE 200
NEWPORT BEACH, CA 92660
-SEND TAX STATEMENTS TO ABOVE-
                           SPACE ABOVE THIS LINE FOR RECORDER'S USE
     Property commonly known as: 5733 OASIS RIDGE ST, N. LAS VEGAS, NV, 89031
     APN: 124-27-412-049

                        ASSIGNMENT OF DEED OF TRUST

For value received, MARINERS ATLANTIC PORTFOLIO, LLC, (herein "Assignor"), whose
address 1303 AVOCADO AVE SUITE 200, NEWPORT BEACI-I, CA 92660 does hereby grant,
sell, assign, transfer and convey unto MARINERS PAC VENTURES, LLC (Assignee) whose
address is 1303 AVOCADO AVE SUITE 200, NEWPORT BEACH, CA 92660, all beneficial
interest under that certain described below together with the Note(s) and obligations therein
described and the money due and to become due thereon with interest and all rights accrued or to
accrue tmder said Note.

SEE LEGAL DESCRIPTION ATTACHED HERETO AND MADE A PART OF.

ORIGINAL LENDER: MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC.
FOR MOUNTAIN VIEW MORTGAGE COMPANY
TRUSTEE:        STEWART TITLE OF NEVADA
ORIGINAL LOAN AMOUNT: 108,007.00
BORROWER(S): KEN E. GREGORY
DATED: 05/26/2009             RECORDED: 06/08/2009
INSTRUMENT:           200906080006547       BOOK: N/A             PAGE:N/A
RECORDED IN: CLARK COUNTY, NV


I, the undersigned hereby affirm that this document submitted for recording does not contain the
social security number of any person or persons.

IN WITNESS, WHEREOF, the undersigned corporation has caused this instrument to be executed
as a sealed instrnment by its proper officer.

Made Effective: 02/06/2018
                                         ~~:r PORTFOLIO, LLC


                                          By: APRIL SMITH
                                          Its: VICE PRESIDENT


                         «NOTARY ACKNOWLEDGEMENT TO FOLLOW"




!I
     Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 637 of 807



                                                  ACKNOWLEDGEMENT

A notary public or other officer completing this certificate verifies only the identity of the individual who
signed the document, to which this certificate is attached, and not the truthfulness, accuracy, or validity
of that document.



State of         C1/-L-/rotf:.;V 1A
County of ----=O---'r<..'---=-'--A-i'--rV_0::____cE=----

On -   lo-Jo-/g before me,
          ----
                                                   M. Gwen Melanson
Notary                        Public,                    · personally                      appeared
                                  A / ,e
                                  1 L- S rn rn-J
who proved to me on the basis of satisfactory evidence to be the person( s) who's name is
subscribed to the within instrument and acknowledged to me that he /she /they executed the same
in his /her /their authorized capacity, and that his /her I their signature on the instrument the
person( s), or the entity upon behalf of which the person( s) acted, executed the instrument.

I certify under PENALTY OF PERWRY under the laws of the State of_C_c:t_._/_,                              __r_,_·"'_;_·f'_~_
                                                                                                          -/o
that the foregoing paragraph is true and correct.

WITNESS my hand and official seal.


                                                           I@.
                                                             •
                                                           B. .
                                                                  .        ....
                                                                                   M.  G~EN MELANSON
                                                                                  Commission No. 2246948
                                                                                  NOTARY PUBLIC-CALIFORNIA
                                                                                                                 ~
                                                                                                                 §
                                                                                                                 -
                                                                   .                    ORANGE COUNTY
                                                                       •     My Comm. E•pire:s   JUNE 21, 2022
Signa
My commission expires on




#
  Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 638 of 807



                               EXHIBIT "A"




LOT EIGHTY-FIVE (85) IN BLOCK TEN (10) OF RANCH MIRAGE UNIT II, PHASE 2, AS
SHOWN BY MAP THEREOF ON FILE IN BOOK I 02 OF PLATS, PAGE 96, AND AMENDED
BY THE CERTIFICATE OF AMENDMENT RECORDED JANUARY 18, 2002 IN BOOK
20020118 AS DOCUMENT NO. 00615, IN THE OFFICE OF THE COUNTY RECORDER OF
CLARK COUNTY, NEVADA.

PROPERTY COMMONLY KNOWN AS: 5733 OASIS RIDGE ST, N. LAS VEGAS, NV,
89031
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 639 of 807




                        EXHIBIT 10




                        EXHIBIT 10
Branch :FLV,User :CON2                                          Comment:                                                                 Station Id :XJUY
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 640 of 807



                                                                                                              lnst #: 201212180002236
                                                                                                              Fees: $17.00
                                                                                                              N/C Fee: $0.00
                                                                                                              12/1 B/2012 09:45:44 AM
                                                                                                              Receipt#: 1425496
                                                                                                              Requestor:
                                                                                                              NORTH AMERICAN TITLE COMPAN
                                                                                                              Recorded By: DGI Pgs: 1
                                                                                                              DEBBIE CONWAY
                                                                                                              CLARK COUNTY RECORDER




                   APN # 124-27-412-049
                   #N72906


                                          NOTICE OF DELINQUENT ASSESSMENT LIEN

                  In accordance with Nevada Revised Statutes and the Association's declaration of Covenants Conditions and
                  Restrictions (CC&Rs), recorded on August 7, 2002, as instrument number 00080 Book 20020807, of the official
                  records of Clark County, Nevada, the Santa Rosa has a lien on the following legally described property.
                  The property against which the lien is imposed is commonly referred to as 5733 Oasis Ridge Street North Las
                  Vegas, NV 89031 particularly legally described as: RANCHO MIRAGE UNIT 2 PHASE 2, PLAT BOOK 102,
                  PAGE 96, LOT 85, BLOCK iO in the County of Clark.
                  The owner(s) of record as reflected on the public record as oftoday's date is (are):
                  Ken E Gregory
                  Mailing address(es):
                  5733 Oasis Ridge Street North Las Vegas, NV 89031
                  *Total amount due as oftoday's date is $3,016.50.
                  This amount includes late fees, collection fees and interest in the amount of$818.50
                         * Additional monies will accrue under this claim at the rate of the claimant's regular assessments or special
                  assessments, plus permissible late charges, costs of collection and interest, accruing after the date of the notice.
                        Nevada Association Services, Inc. is a debt collector. Nevada Association Services, Inc. is attempting to
                  collect a debt. Any information obtained will be used for that purpose.
                  Dated: December 14, 2012




                  When Recorded Mail To:
                  Nevada Association Services
                  TS #N72906
                  6224 W. Desert Inn Rd, Suite A
                  Las Vegas, NV 89146
                  Phone: (702) 804-8885        Toll Free: (888) 627-5544




CLARK,NV                                                        Page 1 of 1                                Printed on 10/26/2016 8:33:48 AM
Document: LN HOA 2012.1218.2236
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 641 of 807




                        EXHIBIT 11




                        EXHIBIT 11
Branch :FLV,User :CON2                                         Comment:                                                                Station Id :XJUY
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 642 of 807



                                                                                                            lnst#:201306210002082
                                                                                                            Fees: $18.00
                                                                                                            N/C Fee: $0.00
                                                                                                            06/21/2013 12:15:30 PM
                                                                                                            Receipt #: 1664904
                                                                                                            Requestor:
                                                                                                            TITLE SOLUTIONS, INC.
                                                                                                            Recorded By: GILKS Pgs: 2
                 APN # 124-27-412-049                                                                       DEBBIE CONWAY
                 NAS # N72906                .
                 Title Solutions, Inc. # /"3 l 9 4' b                                                       CLARK COUNTY RECORDER
                 Property Address: 5733 Oasis Ridge Street




                                  NOTICE OF DEFAULT AND ELECTION TO SELL UNDER
                                          HOMEOWNERS ASSOCIATION LIEN

                                                           IMPORTANT NOTICE

                 WARNING! IF YOU FAIL TO PAY THE AMOUNT SPECIFIED IN THIS
                 NOTICE, YOU COULD LOSE YOUR HOME, EVEN IF THE AMOUNT
                 IS IN DISPUTE!
                 IF YOlJR PROPERTY IS~~ FORECLOSlJRE BECAUSE YOU ARE BEHrt~TI It~ YOlJR PA\'1vfE"t~TS IT
                 MAY BE SOLD WITHOUT ANY COURT ACTION and you may have the legal right to bring your account in
                 good standing by paying all your past due payments plus permitted costs and expenses within the time permitted
                 by law for reinstatement of your account. No sale date may be set until ninety (90) days from the date this notice
                 of default was mailed to you. The date this document was mailed to you appears on this notice.

                      This amount is $2,316.38 as of June 7, 2013 and will increase until your account becomes current.
                      While your property is in foreclosure, you still must pay other obligations (such as insurance and taxes)
                 required by your note and deed of trust or mortgage, or as required under your Covenants Conditions and
                 Restrictions. If you fail to make future payments on the loan, pay taxes on the property, provide insurance on the
                 property or pay other obligations as required by your note and deed of trust or mortgage, or as required under your
                 Covenants Conditions and Restrictions, Santa Rosa (the Association) may insist that you do so in order to
                 reinstate your account in good standing. In addition, the Association may require as a condition to reinstatement
                 that you provide reliable written evidence that you paid all senior liens, property taxes and hazard insurance
                 premiums.
                      Upon your request, this office will mail you a written itemization of the entire amount you must pay. You
                 may not have to pay the entire unpaid portion of your account, even though full payment was demanded, but you
                 must pay all amounts in default at the time payment is made. However, you and your Association may mutually
                 agree in writing prior to the foreclosure sale to, among other things, 1) provide additional time in which to cure
                 the default by transfer of the property or otherwise; 2) establish a schedule of payments in order to cure your
                 default; or both (1) and (2).
                      Following the expiration of the time period referred to in the first paragraph of this notice, unless the
                 obligation being foreclosed upon or a separate written agreement between you and your Association permits a
                 longer period, you have only the legal right to stop the sale of your property by paying the entire amount
                 demanded by your Association.
                      To find out about the amount you must pay, or arrange for payment to stop the foreclosure, or if your
                 property is in foreclosure for any other reason, contact: Nevada Association Services, Inc. on behalf of Santa
                 Rosa, 6224 W. Desert Inn Road, Suite A, Las Vegas, NV 89146. The phone number is (702) 804-8885 or toll free
                 at (888) 627-5544.
                      If you have any questions, you should contact a lawyer or the Association which maintains the right of
                 assessment on your property.




CLARK,NV                                                       Page 1 of 2                                Printed on 10/26/2016 8:33:49 AM
Document: LN BR 2013.0621.2082
Branch :FLV,User :CON2                                          Comment:                                                                 Station Id :XJUY
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 643 of 807




                  NAS #N72906

                       Notwithstanding the fact that your property is in foreclosure, you may offer your property for sale, provided
                  the sale is concluded prior to the conclusion of the foreclosure.

                  REMEMBER, YOU MAY LOSE LEGAL RIGHTS IF YOU DO NOT
                  TAKE PROMPT ACTION.
                  NOTICE IS HEREBY GIVEN THAT NEVADA ASSOCIATION
                  SERVICES, INC.
                  is the duly appointed agent under the previously mentioned Notice of Delinquent Assessment Lien, with the
                  owner(s) as reflected on said lien being Ken E Gregory, dated December 14, 2012, and recorded on December 18,
                  2012 as instrument number 0002236 Book 20121218 in the official records of Clark County, Nevada, executed
                  by Santa Rosa, hereby declares that a breach of the obligation for which the Covenants Conditions and
                  Restrictions, recorded on May 10, 2002, as instrument number 01313 Book 20020510, as security has occurred
                  in that the payments have not been made of homeowner's assessments due from 1/1/2012 and all subsequent ·
                  homeowner's assessments, monthly or otherwise, less credits and offsets, plus late charges, interest, trustee's fees
                  and costs, attorney's fees and costs and Association fees and costs.
                       That by reason thereof, the Association has deposited with said agent such documents as the Covenants
                  Conditions and Restrictions and documents evidencing the obligations secured thereby, and declares all sums
                  secured thereby due and payable and elects to cause the property to be sold to satisfy the obligations.
                       Nevada Association Services, Inc. is a debt collector. Nevada Association Services, Inc. is attempting to
                  collect a debt. Any information obtained will be used for that purpose.
                       Nevada Associations Services, Inc., whose address is 6224 W. Desert Inn Road, Suite A, Las Vegas, NV
                  89146 is authorized by the association to enforce the lien by sale.
                  Legal_Description: RANCHO MIRAGE UNIT 2 PHASE 2, PLAT BOOK 102, PAGE 96, LOT 85, BLOCK 10
                  in the County of Clark

                  Dated: June 7, 2013




                  By~~,,lno.
                  on behalf of Santa Rosa

                  When Recorded Mail To:
                  Nevada Association Services, Inc.
                  6224 W. Desert Inn Road, Suite A
                  Las Vegas, NV 89146
                  (702) 804-8885
                  (888) 627-5544




CLARK,NV                                                        Page 2 of 2                                Printed on 10/26/2016 8:33:49 AM
Document: LN BR 2013.0621.2082
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 644 of 807




                        EXHIBIT 12




                        EXHIBIT 12
Branch :FLV,User :CON2                                     Comment:                                           Station Id :XJUY
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 645 of 807



                                                                                          lnst #: 201310280001599
                                                                                          Fees: $18.00
                                                                                          N/C Fee: $0.00
                                                                                          10/28/2013 08:15:06 AM
                                                                                          Receipt #: 1822799
                     RECORDING GOVER PAGE                                                 Requestor:
                     (Must be typed or printed clearly in BLACK ink only
                     and avoid printing in the 1" margins of document)                    TITLE SOLUTIONS, INC.
                                                                                          Recorded By: BGN Pgs: 2
                                                                                          DEBBIE CONWAY
                     APN#                                                                 CLARK COUNTY RECORDER




                    (11 digit Assessor's Parcel Number may be obtained at:
                     http://redrock.co.clark.nv.us/assrrealprop/ownr.aspx)


                                                      TITLE OF DOCUMENT
                                                         (DO NOT Abbreviate)

                    Notice of Foreclosure Sale



                    Document Title on cover page must appear EXACTLY as the first page of the
                    document to be recorded.



                   RECORDING REQUESTED BY:

                    Nevada Association Services

                   RETURN TO: Name      Nevada Association Services
                                           6224 W. Desert Inn Road
                                 Add ress ______________________________________

                                 City/State/Zip   Las Vegas, NV 89146


                   MAIL TAX STATEMENT TO: (Applicable to documents transferring real property)

                                 Name_____________________________________

                                Address._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                                City/State/Zip._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


                      This page provides additional information required by NRS 111.312 Sections 1-2.
                                       An additional recording fee of $1.00 will apply.
                                 To print this document properly~do not use page scaling.




CLARK,NV                                                   Page 1 of 2                  Printed on 10/26/2016 8:33:50 AM
Document: LN SLE 2013.1028.1599
Branch :FLV,User :CON2                                         Comment:                                                                 Station Id :XJUY
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 646 of 807




                         APN # 124-27-412-049                                 NAS#N72906
                         Santa Rosa

                                                     NOTICE OF FORECLOSURE SALE

                     WARNING! A SALE OF YOUR PROPERTY IS IMMINENT! UNLESS
                     YOU PAY THE AMOUNT SPECIFIED IN THIS NOTICE BEFORE
                     THE SALE DATE, YOU COULD LOSE YOUR HOME, EVEN IF THE
                     AMOUNT IS IN DISPUTE. YOU MUST ACT BEFORE THE SALE
                     DATE. IF YOU HAVE ANY QUESTIONS, PLEASE CALL NEVADA
                     ASSOCIATION SERVICES, INC. AT (702) 804-8885. IF YOU NEED
                     ASSISTANCE, PLEASE CALL THE FORECLOSURE SECTION OF
                     THE OMBUDSMAN'S OFFICE, NEVADA REAL ESTATE DIVISION,
                     AT 1-877-829-9907 IMMEDIATELY.
                     YOU ARE IN DEPAULT UNDER A DELINQUENT ASSESSMENT LIEN, December 14, 2012. UNLESS
                     YOU TAKE ACTION TO PROTECT YOUR PROPERTY, IT MAY BE SOLD AT A PUBLIC SALE. IF
                     YOU NEED AN EXPLANATION OF THE NATURE OF THE PROCEEDINGS AGAINST YOU, YOU
                     SHOULD CONTACT A LAWYER
                             NOTICE IS HEREBY GIVEN THAT on 11/22/2013 at 10:00 am at the front entrance to the Nevada
                     Association Services, Inc. 6224 West Desert Inn Road, Las Vegas, Nevada, under the power of sale pursuant to
                     the ten11S of those certain covenants conditions and restrictions recorded on May 10, 2002 as instrument
                     number 01313 Book 20020510 of official records of Clark County, Nevada Association Services, Inc., as duly
                     appointed agent under that certain Delinquent Assessment Lien, recorded on December 18, 2012 as document
                     number 0002236 Book 20121218 of the official records of said county, will sell at public auction to the highest
                     bidder, for lawful money of the United States, all right, title, and interest in the following commonly known
                     property known as: 5733 Oasis Ridge Street, North Las Vegas, NV 89031. Said property is legally described
                     as: RANCHO MIRAGE UNIT 2 PHASE 2, PLAT BOOK 102, PAGE 96, LOT 85, BLOCK 10, official
                     records of Clark County, Nevada.
                     The owner(s) of said property as of the date of the recording of said lien is purported to be: Ken E Gregory
                            The undersigned agent disclaims any liability for incorrectness of the street address and other common
                     designations, if any, shown herein. The sale will be made without covenant or wananty, expressed or implied
                     regarding, but not limited to, title or possession, or encumbrances, or obligations to satisfy any secured or
                     unsecured liens. The total amount of the unpaid balance of the obligation secured by the prope1ty to be sold
                     and reasonable estimated costs, expenses and advances at the time ofthe initial publication of the Notice of
                     Sale is $3,030.81. Payment must be in cash or a cashier's check drawn on a state or national bank, check drawn
                     on a state or federal savings and loan association, savings association or savings bank and authorized to do
                     business in the State ofNevada. The Notice of Default and Election to Sell the described property was
                     recorded on6/2112013 as instmment number 0002082 Book 20130621 in the official records of Clark County.
                            Nevada Association Services, Inc. is a debt collector. Nevada Association Services, Inc. is attempting to
                     collect a debt. Any infom1ation obtained will be used for that purpose.

                         October 23, 2013                      Nevada Association Services, Inc.
                                                               6224 W. Desert Inn Road, Suite A
                                                               L sVegas,NV89146        (7~~r.w
                         When Recorded Mail To:
                         Nevada Association Services, Inc.     ~~~~~~~~--~
                         6224 W. Desert Inn Road, Suite A         : Elissa Hollander, Agent for Association and employee of
                         Las Vegas, NV 89146                     evada Association Services, Inc.




CLARK,NV                                                      Page 2 of 2                                 Printed on 10/26/2016 8:33:50 AM
Document: LN SLE 2013.1028.1599
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 647 of 807




                        EXHIBIT 13




                        EXHIBIT 13
Branch :FLV,User :CON2                                       Comment:                                                             Station Id :XJUY
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 648 of 807



                                                                                                             lnst #: 201311260001412
                                                                                                             Fees: $18.00 N/C Fee: $0.00
                                                                                                             RPTT: $627.30 Ex:#
                                                                                                             11/26/2013 10:09:04 AM
                                                                                                             Receipt#: 1854993
                                                                                                             Requestor:
                                                                                                             RESOURCES GROUP
                                                                                                             Recorded By: MSH Pgs: 3
                                                                                                             DEBBIE CONWAY
                         Please mail tax statement and                                                       CLARK COUNTY RECORDER
                         when recorded mail to:
                         Saticoy Bay LLC Series 5733 Oasis Ridge
                         P.O. Box 36208
                         Las Vegas, NV 89133

                                                             FORECLOSURE DEED

                          APN # 124-27-412-049
                          Title Solutions, Inc. #731946                                                       NAS #N72906

                         The tmdersigned declares:

                         Nevada Association Services, Inc., herein called agent (for the Santa Rosa), was the duly
                         appointed agent under that certain Notice of Delinquent Assessment Lien, recorded December
                         18, 2012 as instrument number 0002236 Book 20121218, in Clark County. The previous owner
                         as reflected on said lien is Ken E Gregory. Nevada Association Services, Inc. as agent for Santa
                         Rosa does hereby grant and convey, but without warranty expressed or implied to: Saticoy Bay
                         LLC Series 5733 Oasis Ridge (herein called grantee), pursuant to NRS 116.31162, 116.31163
                         and 116.31164, all its right, title and interest in and to that certain property legally described as:
                         RANCHO MIRAGE UNIT 2 PHASE 2, PLAT BOOK 102, PAGE 96, LOT 85, BLOCK 10
                         Clark County                                                                                     ·

                         AGENT STATES THAT:
                         This conveyance is made pursuant to the powers conferred upon agent by Nevada Revised
                         Statutes, the Santa Rosa goveming documents (CC&R's) and that certain Notice of Delinquent
                         Assessment Lien, described herein. Default occurred as set forth in a Notice of Default and
                         Election to Sell, recorded on 6/2112013 as instrument# 0002082 Book 20130621 which was
                         recorded in the office of the recorder of said county. Nevada Association Services, Inc. has
                         complied with all requirements of law including, but not limited to, the elapsing of 90 days,
                         mailing of copies of Notice of Delinquent Assessment and Notice of Default and the posting and
                         publication of the Notice of Sale. Said property was sold by said agent, on behalf of Santa Rosa
                         at public auction on 11/22/2013, at the place indicated on the Notice of Sale. Grantee being the
                         highest bidder at such sale, became the purchaser of said property and paid therefore to said agent
                         the amount bid $25,000.00 in lawful money of the United States, or by satisfaction, pro tanto, of
                         the obligations then secured by the Delinquent Assessment Lien.

                         Dated: November 25, 2013


                         '-'YYUi
                         ByMistyBla
                                              r:!fJCl41 eA CM /
                                             d, Agent for Association a!'ld Employee of Nevada Association Services




CLARK,NV                                                     Page 1 of 3                               Printed on 10/26/2016 8:33:51 AM
Document: DED 2013.1126.1412
Branch :FLV,User :CON2                                       Comment:                                                              Station Id :XJUY
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 649 of 807




                         STATE OF NEVADA                       )
                         COUNTY OF CLARK                       )
                         On November 25, 2013, before me, Susana E. Puckett, personally appeared Misty Blanchard personally
                         known to me (or proved to me on the basis of satisfactory evidence) to be the person whose name is
                         subscribed to the within instrument and acknowledged that he/she executed the same in his/her
                         authorized capacity, and that by signing his/her signature on the instrument, the person, or the entity
                         upon behalf of which the person acted, executed the instrument.
                         WiTNESS my hand and seaL

                                                                                      (Signature)




CLARK,NV                                                    Page 2 of 3                                 Printed on 10/26/2016 8:33:51 AM
Document: DED 2013.1126.1412
Branch :FLV,User :CON2                                        Comment:                                                               Station Id :XJUY
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 650 of 807




                   STATE OF NEVADA
                   DECLARATION OF VALUE

                    1. Assessor Parcel Numbe1{s)
                     a.   124-27-412-049
                     b.
                          ------------------------------
                     ~------------------------------
                     d.
                        ~--~------------------------
                   2. Type of Property:
                     a.     Vacant Land       b.~ Single Fam. Res.             FOR RECORDERS OPTIONAL USE ONLY
                            Condo/Twnhse      d.     2-4 Plex                  Book"________ Page:_ _ _ __
                             Apt. Bldg        f.     Comm'l/Ind'l         Date of Recording:--------~---­
                     g.      Agricultural     h.     Mobile Home          Notes:
                             Other
                   3.a. Total Value/Sales Price of Property             $ ____,-2=-"J:':rl-'tni'-"--'J;:_._trrl
                                                                                                              ____________-,.--
                     b. Deed in Lieu of Foreclosure Only (value of property~<---..,.=----r-----:------------.L---
                     c. 1'rans"'er
                              l'
                                   Tax Value:                                   " J " 9~ ·· 1
                                                                        $ ~~~~~~p~~·~~-------
                    d. Real Property Transfer Tax Due                             &O<.....:~::c.7'---''=....=c_ _ _ _ _ _ _ _ _ __
                                                                        $ --....,,...

                   4. If Exemption Claimed:
                          a. Transfer Tax Exemption per NRS 375.090, Section_ __
                          b. Explain Reason for Exemption:----------------- _ _ _ _ _ __

                   5. Partial Interest: Percentage being transferred: 100 %
                   The undersigned deciares and acknowledges, under penalty of perjury, pursuant to l'JRS 375.060
                    and NRS 375.110, that the information provided is correct to the best of their information and belief,
                    and can be supported by documentation if called upon to substantiate the information provided herein.
                   Furthermore, the parties agree that disallowance of any claimed exemption, or other determination of
                   additional tax due, may result in a penalty of I 0% of the tax due plus interest at 1% per month. Pursuant
                   to NRS 375.030, the Buyer and Seller shall be jointly and severally liable for any additional amount owed.

                   Signature+fk-ik Qp/141 eh cl                 {M             Capacity: Agent for HOA/NAS Employee

                   Signature _______      (J_" _.,.~-_ _________ Capacity: - - - - - - - - - - - - - -
                   SELLER (GRANTOR) INFORMATION
                                 (REQUIRED)
                   Print Name: Nevada Association Services
                   Address:6224 W Desert Inn Road
                   City: Las Vegas
                   State: Nevada         Zip: 89146                                                      Zip:89133

                                                                                                                 er
                   Print Nam~~M::?'/,-"A .r                                    Escrow#
                   ~A~d~dr~es~~~~~~~L-----~~~~56£/0fe-
                   City: ,< v                      State:                               t.J, /


                                 AS A PUBLIC RECORD THIS FORM MAY BE RECORDED/MICROFILMED




CLARK,NV                                                     Page 3 of 3                                Printed on 10/26/2016 8:33:52 AM
Document: DED 2013.1126.1412
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 651 of 807




                        EXHIBIT 14




                        EXHIBIT 14
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 652 of 807
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 653 of 807
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 654 of 807
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 655 of 807
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 656 of 807
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 657 of 807
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 658 of 807




                        EXHIBIT 15




                        EXHIBIT 15
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 659 of 807
                                                                         Electronically Filed
                                                                         3/30/2018 3:31 PM
                                                                         Steven D. Grierson
                                                                         CLERK OF THE COURT

1    AANS
     WRIGHT, FINLAY & ZAK, LLP
2    Edgar C. Smith, Esq.
3    Nevada Bar No. 5506
     Krista J. Nielson, Esq.
4    Nevada Bar No. 10698
     7785 W. Sahara Ave., Suite 200
 5   Las Vegas, NV 89117
6    (702) 475-7964; Fax: (702) 946-1345
     knielson@wrightlegal.net
 7   Attorneys for Defendant, Ocwen Loan Servicing, LLC
 8
                                          DISTRICT COURT
 9                                   CLARK COUNTY, NEVADA
10
11   SATICOY BAY LLC SERIES 5733 OASIS                   Case No.: A-14-693 884-C
     RIDGE,                                              Dept. No.: XXIX
12
13                      Plaintiff,                       OCWEN LOAN SERVICING, LLC'S
     VS.                                                 AMENDED ANSWER TO FIRST
14                                                       AMENDED COMPLAINT AND
     OCWEN LOAN SERVICING, LLC; CLEAR                    COUNTERCLAIM
15
     RECON CORP; and KEN E. GREGORY;
16   DOES 1-10; and ROES 1-10 inclusive,

17
                        Defendants.
18
     OCWEN LOAN SERVICING, LLC,
19
20                        Counter-Claimant,

21   VS.

22
     SATICOY BAY LLC SERIES 5733 OASIS
23   RIDGE; SANTA ROSA HOMEOWNERS
     ASSOCIATION; NEVADA ASSOCIATION
24   SERVICES, INC.; DOES 1 through 10,
     inclusive; ROE CORPORATIONS 1 through 10
25
     inclusive,
26
                          Defendants.
27
28



                                                Page 1 of 13


                                Case Number: A-14-693884-C
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 660 of 807




1                                         AMENDED ANSWER
2           Ocwen filed an Answers to Plaintiff's SAmended Complaint on December 3, 2014.
3    Those responses are still valid as to Plaintiffs Amended Complaint. Out of an abundance of
4    caution, Ocwen hereby incorporate by reference as set forth fully herein those Answers,
5    Affirmative Defenses, and Prayer against Plaintiff
6                                    OCWEN'S COUNTERCLAIM
7           COMES NOW Defendant/Counter-Claimant, Ocwen Loan Servicing, LLC ("Ocwen"
8    or "Defendant/Counter-Claimant"), by and through its attorneys of record, Edgar C. Smith,
9    Esq., and Krista J. Nielson, Esq., of the law firm of Wright, Finlay & Zak, LLP, and hereby
10   submits its Amended Answer and Counterclaim against Saticoy Bay LLC Series 5733 Oasis
11   Ridge ("Saticoy Bay", "HOA Buyer", or "Plaintiff/Counter-Defendant"); Santa Rosa
12   Homeowners Association ("Santa Rosa" or "HOA"); Nevada Association Services, Inc.
13   ("NAS" or "HOA Trustee"); DOES 1 through 10, inclusive; and ROE CORPORATIONS 1
14   through 10, inclusive (collectively, "Counter-Defendants"). Nothing in this Amended Answer
15   and Counterclaim is intended to disturb Ocwen's previously filed Answer or Affirmative
16   Defenses to Saticoy Bay's Complaint.
17                                           INTRODUCTION
18          1.      Ocwen is authorized to bring this action in the State of Nevada by NRS 40.430.
19          2.      The real property at issue is known as 5733 Oasis Ridge Street, North Las Vegas
20   Nevada 89031; APN: 124-27-412-049 (the "Property").
21          3.      At all relevant times herein, HOA Trustee was acting as agent for the HOA.
22                                    JURISDICTION AND VENUE
23          4.      Venue and jurisdiction are proper in this judicial district because Counter-
24   Defendants conduct business in this district; a substantial part of the events or omissions giving
25   rise to Ocwen's claims occurred in this district; and the property that is the subject of this action
26   is situated in this district, in Las Vegas, Clark County, Nevada.
27                                                PARTIES

28          5.      Ocwen Loan Servicing, LLC is a Foreign Limited Liability Company registered



                                                 Page 2 of 13
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 661 of 807



1    in Delaware authorized to conduct business in the State of Nevada.
2           6.        Ocwen is now and at all times relevant herein the assigned Beneficiary under the
3    Deed of Trust signed by Ken E. Gregory ("Borrower"), recorded on June 8, 2009 ("Deed of
 4   Trust"), which encumbers the Property and secures a promissory note.
 5          7.        Upon information and belief, Counter-Defendant Saticoy Bay LLC Series 5733
 6   Oasis Ridge ("Saticoy Bay", "HOA Buyer", or "Plaintiff/Counter-Defendant") is a Domestic
 7   Limited Liability Company. Public records show Saticoy Bay is the current owner of record for
 8   the Property.'
 9          8.        Upon information and belief, Santa Rosa Homeowners Association ("Santa Rosa"
10   or "HOA") is a Domestic Non-Profit Corporation, licensed to do business in the State of Nevada.
11          9.        Upon information and belief, Nevada Association Services, Inc. ("NAS" or
12   "HOA Trustee") is a Domestic Corporation, licensed to do business in the State of Nevada.
13          10.       Ocwen does not know the true names, capacities or bases of liability of fictitious
14   defendants sued as DOE INDIVIDUALS 1 through 10, inclusive; and ROE CORPORATIONS 1
15   through 10, inclusive (collectively "fictitious Defendants"). Each fictitious defendant is in some
16   way liable to Ocwen or claims some rights, title, or interest in the Subject Property that is
17   subsequent to or subject to the interests of Ocwen, or both. Ocwen will amend this counterclaim
18   to reflect the true names of said defendants when the same have been ascertained.
19                                      FACTUAL BACKGROUND
20          11.       On or about May 27, 2009, the Borrower purchased the Property.2
21          12.       The Borrower financed the purchase price of the Property. The Deed of Trust
22   ("Deed of Trust") executed by the Borrower identified Mountain View Mortgage Company as
23   the Lender, Stewart Title of Nevada as the Trustee, and Mortgage Electronic Registration
24   Systems, Inc. ("MERS") as nominee for Lender and securing a loan in the amount of
25
26
       Saticoy Bay notes that the real property records maintained by the Clark County Assessor
27   identify the Property as being owned by Saticoy Bay LLC Series 5733 Oasis Ridge.
     2
       A true and correct copy of the Grant, Bargain, Sale Deed recorded in the official records of the
28   Clark County Recorder's Office as Book and Instrument Number 20090608-0006546 is attached
     hereto as Exhibit 1. All other recordings stated hereafter are recorded in the same manner.

                                                 Page 3 of 13
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 662 of 807



 1   $108,007.00 ("Loan").3
2    HI

 3
 4          13.    Public records show that on November 6, 2012, an Assignment of Deed of Trust
 5   was recorded, evidencing the assignment of all beneficial interest in the Deed of Trust to GMAC
 6   Mortgage, LLC.4
 7          14.    Public records show that on February 13, 2014, an Assignment of Deed of Trust
 8   was recorded, evidencing the assignment of all beneficial interest in the Deed of Trust to Ocwen
 9   Loan Servicing, LLC.5
10          15.    Public records show that on December 18, 2012, a Notice of Delinquent
11   Assessment Lien was recorded against the Property by the HOA Trustee as agent for the HOA.6
12          16.    Public records show that on June 21, 2013, a Notice of Default and Election to
13   Sell Under Homeowners Association Lien was recorded against the Property by the HOA
14   Trustee on behalf of the HOA.7
15          17.    Public records show that on October 28, 2013, a Notice of Foreclosure Sale was
16   recorded against the Property by the HOA Trustee as agent for the HOA.8
17          18.    Upon information and belief, a non-judicial foreclosure sale occurred on or about
18   November 22, 2013 (the "HOA Sale"), whereby the HOA conveyed its interest in the Property, if
19   any, to Saticoy Bay LLC Series 5733 Oasis Ridge ("Saticoy Bay", "HOA Buyer", or
20
21
     3
       A true and correct copy of the Deed of Trust recorded as Book and Instrument Number
22   20090608-0006547 is attached hereto as Exhibit 2.
     4
23     A true and correct copy of the Assignment of Deed of Trust recorded as Book and Instrument
     Number 20121106-0000035 is attached hereto as Exhibit 3.
     5
24     A true and correct copy of the Assignment of Deed of Trust recorded as Book and Instrument
     Number 20140213-0000401 is attached hereto as Exhibit 4.
25   6
       A true and correct copy of the Notice of Delinquent Assessment Lien recorded as Book and
26   Instrument Number 20121218-0002236 is attached hereto as Exhibit 6.
     7
       A true and correct copy of the Notice of Default and Election to Sell Under Homeowners
27   Association Lien recorded as Book and Instrument Number 20130621-0002082 is attached
     hereto as Exhibit 7.
28   8
       A true and correct copy of the Notice of Foreclosure Sale recorded as Book and Instrument
     Number 20131028-0001599 is attached hereto as Exhibit 8.

                                               Page 4 of 13
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 663 of 807




1    "Plaintiff/Counter-Defendant") for $25,000.00.
2            19.     Public records show that on November 26, 2013, a Foreclosure Deed was
3    recorded by which Saticoy Bay claims its interest.9
4                                      GENERAL ALLEGATIONS
5            20.     The HOA Sale was an invalid sale and could not have extinguished Ocwen's
6    secured interest.
7            21.     The HOA Sale is unlawful and void because the statutory scheme set forth in
8    NRS 116.3116, et seq. constitutes a regulatory taking of private property without adequate
 9   compensation so the statute is unconstitutional on its face.
10           22.     The HOA Sale deprived Ocwen of its right to due process because the foreclosure
11   notices failed to identify the super-priority amount, or to adequately describe the deficiency in
12   payment, to provide Ocwen notice of the correct super-priority amount, or to provide a
13   reasonable opportunity for Ocwen to protect its priority by payment to satisfy that amount.
14           23.      The failure to disclose whether the lien included a super-priority piece, and the
15   amount, precluded adequate notice to Ocwen that its lien may be threatened, and deprived it of
16   its right to cure.
17           24.      The HOA lien and notices included collection costs in violation of NRS Chapter
18   116, and thus were invalid, making the sale void as a matter of law.
19           25.      The circumstances of the HOA Sale of the Property breached the HOA' s and the
20   HOA Trustee's obligations of good faith under NRS 116.1113 and their duty to act in a

21   commercially reasonable manner.
22           26.      The HOA's CC&Rs under Section 5.06 state that "...no lien created under this
23   Article V or under any other Article of this Declaration, nor any lien arising by reason of any

24   breach of this Declaration, nor the enforcement of any provision of this Declaration, shall defeat

25   or render invalid the rights of the beneficiary under any Recorded Mortgage of first and senior
26   priority now or hereafter upon a Lot, made in good faith and for value, perfected before the date
27
28   9A true and correct copy of the Foreclosure Deed recorded as Book and Instrument Number
     20131126-0001412 is attached hereto as Exhibit 9.

                                                 Page 5 of 13
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 664 of 807




1    on which the Assessment sought to be enforced became delinquent."10
2           27.      Because the CC&Rs contain a Mortgagee Protection Clause in Section 5.06, and
3    because Ocwen, or its predecessors, were not given proper notice that the HOA intended to
 4   foreclose on the super-priority portion of the dues owing, Ocwen, or its predecessors, did no
 5   know that it had to attend the HOA Sale to protect its security interest.
6           28.      The CC&Rs and the Mortgagee Protection Clause therefore prohibit the HOA
 7   from foreclosing on a unit where the mortgage or deed of trust would be eliminated.
 8          29.      Ocwen is informed and believes that the HOA Buyer is a professional property
 9   purchaser.
10          30.      The circumstances of the HOA Sale of the Property, and the HOA Buyer's status
11   as a professional property purchaser, prevent the HOA Buyer from being deemed a bona fide
12   purchaser for value.
13          31.      Upon information and belief, the HOA Buyer had actual, constructive, or inquiry
14   notice of Ocwen's or its predecessor's first Deed of Trust which prevents the HOA Buyer from
15   being deemed a bona fide purchaser for value.
16           32.     Upon information and belief, the HOA and the HOA Trustee refused to provide
17   Ocwen or its predecessors-in-interest or their respective servicers, agents, attorneys, and trustee
18   a payoff amount for the super-priority portion of the lien in violation of their duties under NRS
19   116.3116 et seq. and the CC&Rs.
20           33.     Upon information and belief, the HOA and the HOA Trustee refused to accept a
21   tender of the super-priority portion of the lien in violation of their duties under NRS 116.3116 e
22   seq. and the CC&Rs.
23           34.     As an actual and proximate result of the HOA' s and the HOA Trustee's breaches
24   of their statutory and contractual duties, Ocwen was unable to cure by tendering a payoff of the
25   super-priority lien threatening its security interest.
26           35.     Upon information and belief, Ocwen or its predecessors-in-interest or their
27
28   10 A true and correct copy of the Declarations of Covenants, Conditions & Restrictions and
     Reservation of Easements for Santa Rosa is attached hereto as Exhibit 10.

                                                   Page 6 of 13
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 665 of 807



1    respective servicers, agents, attorneys, and trustees or others paid — or offered to pay with the
2    immediate intention and ability to tender — the super-priority portion of the lien.
3              36.      In the event Ocwen's interest in the Property is not reaffirmed or restored, Ocwen
 4   suffered damages in the amount of the fair market value of the Property or the unpaid balance of
 5   the Loan and Deed of Trust, at the time of the HOA Sale, whichever is greater, as a proximate
6    result of the HOA' s and the HOA Trustee's acts and omissions.
 7                                        FIRST CAUSE OF ACTION
8       (Quiet Title/Declaratory Relief Pursuant to NRS 30.010 et seq. and NRS 40.010 et seq.
 9                   versus HOA Buyer, HOA, HOA Trustee, and all fictitious Defendants)
10             37.      Ocwen incorporates and re-alleges all previous paragraphs, as if fully set forth
11   herein.
12             38.      Pursuant to NRS 30.010 et seq. and NRS 40.010, this Court has the power and
13   authority to declare Ocwen's rights and interests in the Property and to resolve Counter-
14   Defendants' adverse claims in the Property.
15             39.      Further, pursuant to NRS 30.010 et seq., this Court has the power and authority to
16   declare the rights and interest of the parties following the acts and omissions of the HOA and the
17   HOA Trustee in foreclosing the Property.
18             40.      Ocwen's Deed of Trust is a first secured interest on the Property.
19             41.      As the current beneficiary under the Deed of Trust and the Loan, Ocwen's interest
20   still encumbers the Property and retains its first position status in the chain of title for the
21   Property after the HOA Sale and is superior to the interest, if any, acquired by the HOA Buyer,
22   or held or claimed by any other party.
23             42.      The HOA Buyer claims an interest in the Property through a Foreclosure Deed
24   recorded in the official records of the Clark County Recorder's Office that is adverse to Ocwen'
25   interest.
26             43.      Based on the adverse claims being asserted, and conduct by the parties, Ocwen is
27   entitled to a judicial determination regarding the rights and interests of the respective parties to
28   the case.



                                                    Page 7 of 13
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 666 of 807




1           44.      For all the reasons set forth above, Ocwen is entitled to a determination from this
2    Court, pursuant to NRS 30.010 and NRS 40.010, that Ocwen is the beneficiary of a first position
3    Deed of Trust which still encumbers the Property and is superior to the interest, if any, acquired
4    by the HOA Buyer.
5            45.     In the alternative, if it is found under state law that Ocwen's interest could have
6    been extinguished by the HOA Sale, for all the reasons set forth above, Ocwen is entitled to a
 7   determination from this Court, pursuant to NRS 30.010 and NRS 40.010, that the HOA Sale is
 8   unlawful and void and conveyed no legitimate interest to the HOA Buyer.
 9           46.     Ocwen has been required to retain counsel and is entitled to recover reasonable
10   attorney's fees and costs to prosecute this action.
11                                    SECOND CAUSE OF ACTION
12                    (Permanent and Preliminary Injunction versus HOA Buyer)
13           47.     Ocwen incorporates by reference the allegations of all previous paragraphs, as if
14   fully set forth herein.
15           48.     As set forth above, the HOA Buyer may claim an ownership interest in the
16   Property that is adverse to Ocwen.
17           49.     Any sale or transfer of the Property, prior to a judicial determination concerning
18   the respective rights and interests of the parties to the case, may be rendered invalid if Ocwen'
19   Deed of Trust still encumbered the Property in first position and was not extinguished by the
20   HOA Sale.
21           50.     Ocwen has a reasonable probability of success on the merits of the complaint, for
22   which compensatory damages will not compensate Ocwen for the irreparable harm of the loss of

23   the first position priority status secured by the Property.
24           51.     Ocwen has no adequate remedy at law due to the uniqueness of the Property
25   involved in the case.
26           52.     Ocwen is entitled to a preliminary and permanent injunction prohibiting the HOA
27   Buyer, their creditors, their successors, assigns, and agents from conducting a sale, transfer or

28   encumbrance of the Property, as the sale which purported to convey an interest to Buyer should



                                                  Page 8 of 13
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 667 of 807




 1 be declared void.
 2          53.      Ocwen is entitled to a preliminary injunction requiring the Buyer to pay all taxes,
 3 insurance and homeowner's association dues during the pendency of this action.
 4          54.      Ocwen is entitled to a preliminary injunction requiring the HOA Buyer to
 5 segregate and deposit all rents received from its claimed interest in the Property with the Court or
 6 a Court-approved trust account over which the HOA Buyer has no control during the pendency
 7 of this action.
 8          55.      Ocwen has been required to retain counsel to prosecute this action and is entitled
 9 to recover reasonable attorney's fees to prosecute this action.
10
                                       THIRD CAUSE OF ACTION
11
             (Defective Foreclosure versus HOA, HOA Trustee, and fictitious Defendants)
12
             56.    Ocwen incorporates by reference the allegations of all previous paragraphs, as if
13
14 fully set forth herein.
             57.     Upon information and belief, the HOA, the HOA Trustee, and all fictitious
15
     Counter-Defendants did not comply with all mailing and noticing requirements stated in NRS
16
     116.31162 through NRS 116.31168.
17
             58.     Because the HOA Sale was wrongfully conducted and violated applicable law, the
18
     Court should set it aside to the extent that it purports to have extinguished Ocwen's first Deed of
19
     Trust and delivered free and clear title to the HOA Buyer.
20
             59.     Because HOA, the HOA Trustee, and fictitious Counter-Defendants did not give
21
     Ocwen, or its predecessors, agents, servicers or trustees the proper, adequate notice and the
22
23 opportunity to cure the deficiency or default in the payment of the HOA's assessments and
24 super-priority lien (if any) required by Nevada statutes and due process, the HOA Sale was
     wrongfully conducted and should be set aside.
25
           60.     Because, upon information and belief, the HOA Foreclosure Notices include
26
27 improper fees and costs in the amount demanded, the HOA Sale was wrongfully conducted and
     should be set aside.
28
             61.     As a proximate result of HOA's, and the fictitious Counter-Defendants' wrongful


                                                 Page 9 of 13
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 668 of 807




1    foreclosure of the Property by the HOA Sale, as more particularly set forth above, Ocwen has
2    suffered general and special damages in an amount in excess of $10,000.00. Ocwen will seek
3    leave of court to assert said amounts when they are determined.
 4             62.   If it is determined that Ocwen's Deed of Trust has been extinguished by the HOA
 5   Sale, as a proximate result of the HOA's, the HOA Trustee's, and fictitious Counter-Defendants'
6    wrongful foreclosure of the Property by the HOA Sale, Ocwen has suffered special damages in
 7   the amount equal to the fair market value of the Property or the unpaid balance of the Loan, plus
 8   interest, at the time of the HOA Sale, whichever is greater, in an amount not presently known.
 9   Ocwen will seek leave of court to assert said amounts when they are determined.
10             63.   Ocwen has been required to retain counsel to prosecute this action and is entitled
11   to recover reasonable attorney's fees to prosecute this action.
12                                   FOURTH CAUSE OF ACTION
13    (Unjust Enrichment versus HOA Buyer, HOA, HOA Trustee, and fictitious Defendants)
14             64.   Ocwen incorporates and re-alleges all previous paragraphs, as if fully set forth
15   herein.
16             65.   Ocwen has been deprived of the benefit of the Deed of Trust and of its right
17   foreclose thereunder by the actions of the HOA Buyer, the HOA, the HOA Trustee, and fictitious
18   Counter-Defendants.
19             66.   The HOA Buyer, the HOA, the HOA Trustee, and fictitious Counter-Defendants
20   have benefitted from the unlawful HOA Sale and from use and possession of the real property.
21             67.   Upon information and belief, the HOA Buyer, the HOA, the HOA Trustee, and
22   fictitious Counter-Defendants have benefitted from Ocwen's payment of taxes, insurance or
23   homeowner's association assessments since the time of the HOA Sale.
24             68.   Should Ocwen's Complaint be successful in quieting title against the HOA Buyer,
25   the HOA, the HOA Trustee, and fictitious Counter-Defendants, and setting aside the HOA Sale
26   the HOA Buyer, the HOA, the HOA Trustee, and fictitious Counter-Defendants will have been
27   unjustly enriched by the HOA Sale and usage of the Property.
28             69.   Ocwen will have suffered damages if the HOA Buyer, the HOA, the HOA



                                                Page 10 of 13
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 669 of 807




 1   Trustee, and fictitious Counter-Defendants are allowed to retain their interests in the Property
 2   and the funds received from the HOA Sale and use of the Property.
 3          70.     Ocwen will have suffered damages if the HOA Buyer, the HOA, the HOA
 4   Trustee, and fictitious Counter-Defendants are allowed to retain their interests in the Property
 5   and Ocwen's payment of taxes, insurance or homeowner's association assessments since the
 6   time of the HOA Sale.
 7          71.     Ocwen is entitled to general and special damages in excess of $10,000.00.
 8          72.     Ocwen has furthermore been required to retain counsel and is entitled to recover
 9   reasonable attorney's fees for having brought the underlying action.
10                                               PRAYER
11          Wherefore, Ocwen prays for judgment against the Counter-Defendants, jointly and
12   severally, as follows:
13          1.      For a declaration and determination that Ocwen's interest is secured against the
14                  Property, and that Ocwen's first Deed of Trust was not extinguished by the HOA
15                  Sale;
16          2.      For a declaration and determination that Ocwen's interest is superior to the
17                  interest of the HOA Buyer, the HOA, and fictitious Counter-Defendants;
18          3.      For a declaration and determination that the HOA Sale was wrongful, invalid and
19                  is set aside;
20          4.      For a declaration and determination that the HOA Sale was invalid and conveyed
21                  no legitimate interest to Buyer;
22          5.      For a preliminary injunction that the HOA Buyer, its successors, assigns, and
23                  agents are prohibited from conducting a sale, transfer, or encumbrance of the
24                  Property during the pendency of this action;
25          6.      For a preliminary injunction ordering the HOA Buyer, its successors, assigns, and
26                  agents pay all taxes, insurance and homeowner's association dues during the
27                  pendency of this action;
28          7.      For a preliminary injunction that the Buyer, its successors, assigns, and agents be



                                                Page 11 of 13
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 670 of 807




 1             required to account for, segregate, and deposit and all rents derived from the
2              Property with the Court or a Court-approved trust account over which the HOA
3              Buyer has no control during the pendency of this action;
4        8.    If it is determined that Ocwen's Deed of Trust has been extinguished by the HOA
 5             Sale, for special damages in the amount equal to the fair market value of the
6              Property or the unpaid balance of the Loan and Deed of Trust, at the time of the
 7             HOA Sale, whichever is greater;
 8       9.    For general and special damages in an amount in excess of $15,000.00;
 9       10.   For attorney's fees;
10       11.   For costs incurred herein, including post-judgment costs;
11       12.   For any and all further relief deemed appropriate by this Court.
12
13       DATED this9 day of March, 2018.
14
15                                           WRIGHT, FINLAY & ZAK, LLP
16
17                                                     Smith, Esq.
18                                           Nevada Bar No. 5506
                                             Krista J. Nielson, Esq.
19                                           Nevada Bar No. 10698
                                             Attorneys for Defendant, Ocwen Loan Servicing,
20                                           LLC
21
22
23
24
25
26
27
28



                                          Page 12 of 13
     Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 671 of 807




 1                                   CERTIFICATE OF SERVICE
 2            Pursuant to NRCP 5(b), I certify that I am an employee of WRIGHT, FINLAY & ZAK
 3     LLP, and that on this 101)ay of March, 2018, I did cause a true copy of OCWEN LOAN
 4     SERVICING, LLC'S FIRST AMENDED ANSWER TO PLAINTIFF'S FIRST
 5     AMENDED COMPLAINT AND COUNTERCLAIM to be e-filed and e-served through the
 6     Eighth Judicial District EFP system pursuant to NEFCR 9.
 7            Richard J Vilkin richard@gvattorneys.com
              Kristin Schuler-Hintz. dcnv@mccarthyholthus.com
 8            Thomas N. Beckom . tbeckom@mccarthyholthus.com
 9            Victoria Campbell. vcampbell@houser-law.com
              Alexandria Raleigh araleigh@lawhjc.com
10            Ashlie L. Surur asurur@lawhjc.9,0
11
12                                        AnmroyeeofWffl                 & ZAK, LLP

13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28



                                               Page 13 of 13
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 672 of 807




                           Fixhibit 1




                           Exhibit 1




                           Exhibit 1
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 673 of 807
Branch :FLV,User :CON2                                    Comment:                                                             Station Id :XJUY




                                                                                                      111111111111111111111111111111111111111
                                                                                                      20090608-0006546
                                                                                                   Fee: $16.00    RPTT: $561.00
                                                                                                   N/C Fee: $0.00
                                                                                                   06/08/2009      15:47:47
                                                                                                   T20090199988
                     A.P.N. #   i 124-27-412-049                                                   Requestor:
                     R.P.T.T.   i $561.00                                                           STEWART TITLE LAS VEGAS WARM
                     Escrow No. i 1017264-FNMA                                                     Debbie Conway        RMS
                              Recording Requested By:                                              Clark County Recorder    Pgs: 5



                         stewart - :.
                              title of nevada

                     Mail Tax Statements To:    i Same as below
                                  When Recorded Mail To:
                     Ken Gregory
                    -51  /3 OaSiS !V            Csi-.
                    List tie-A

                                                GRANT, BARGAIN, SALE DEED
                     THIS INDENTURE WITNESSETH: That Fannie Mae A/K/A Federal National Mortgage
                     Association Organized and Existing under the laws of the United Sates of America
                     for valuable consideration, the receipt of which is hereby acknowledged, does hereby
                     Grant, Bargain Sell and Convey to
                     Ken E. Gregory, an unmarried man
                     , all that real property situated in the County of Clark, State of Nevada, bounded and
                     described as follows:

                     See Exhibit "A" attached hereto and by reference made a part hereof for complete legal
                     description.
                        SUBJECT TO:
                        1. Taxes for fiscal year;
                        2. Reservations, restrictions, conditions, rights, rights of way and easements, if any
                            of record on said premises.

                     Together with all and singular the tenements, hereditaments and appurtenances
                     thereunto belonging or in anywisé appertaining, and any reversions, remainders, rents,
                     issues or profits thereof.
                     Dated:    -5         - 0 et



                              (One inch Margin on all sides of Document for Recorder's Use Only            Page 1 of 3




CLARK,NV                                                  Page 1 of 5                             Printed on 10/26/2016 8:33:34 AM
Document: DED 2009.0608.6546
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 674 of 807
Branch :FLV,User :CON2                                       Comment:                                                         Station Id :XJUY




                         Fannie Mae A/K/A Federal National Mortgage Association Organized and Existing under
                         the laws of the United Sates of America
                                                                                        Signature Clarification:
                         BY: Stewart- Tin   4- • 0
                                      ...;ip1    :uthorized Agent

                         BY:                                                            Barbara Siensa, Assistant Secretary
                               Barbara Sien Assistant Secreta
                         State of Nevada
                                                           ss.
                         County of Clark
                         This instrument was acknowledged before me
                         on                                                051D:7 1001
                         By: Barbara Siensa
                         Signature:
                                       Notary P
                                                                 fa-114 G,
                                                                          JOHN G INGRAAA
                                                                          NOTARY PUBLIC
                                                                         STATE OF NEVADA
                                                                         APPT. No. 02-78583-1
                                                                     MTAPPT. EXPIRES AUG. 22. 2010




                                 (One inch Margin on all sides of Document for Recorder's Use Only            Page 2 013




CLARK,NV                                                     Page 2 of 5                             Printed on 10/26/2016 8:33:35 AM
Document: DED 2009.0608.6546
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 675 of 807
Branch :FLV,User :CON2                                   Comment:                                                      Station Id :XJUY




                                                            Exhibit A
                                                       LEGAL DESCRIPTION

                            File Number: 1017264


                     Lot Eighty-Five (85) in Block Ten (10) of Rancho Mirage Unit II, Phase 2, as shown by
                     map thereof on file in Book 102 of Plats, Page 96 and amended by the Certificate of
                     Amendment recorded January 18, 2002 in Book 20020118 as Document No. 00615, in
                     the Office of the County Recorder of Clark County, Nevada.




                             (One inch Margin on all sides of Document for Recorder's Use Only           Page 3 of 3




CLARK,NV                                                 Page 3 of 5                             Printed on 10/26/2016 8:33:35 AM
Document: DED 2009.0608.6546
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 676 of 807
Branch :FLV,User :CON2                                        Comment:                                                        Station Id :XJUY




                   STATE OF NEVADA
                   DECLARATION OF VALUE
                    1. Assessor Parcel Number(s)                       FOR RECORDER'S OPTIONAL USE ONLY
                                                                       Document/Instrument
                         a)   124-27-412-049                           No.
                         b)                                            Book                         Page
                                                                       Date of
                         c)                                            Recording:
                         d)                                            Notes:
                   2. Type of Property
                      a)         Vacant Land        b)    X      Single Family Residence
                      C)        Condo/Twnhse        d)           2-4 Plex
                      e)        Apartment Bldg.     0            Commercial/Industrial

                      9)        Agricultural        h)           Mobile Home
                                                         /1■1.

                      i)         Other
                   3. a. Total Value/Sales Price of Property                                     $110,000.00
                        b. Deed in Lieu of Foreclosure Only (Value of
                        Property)
                        c. Transfer Tax Value                                                    $110,000.00
                        d. REAL PROPERTY TRANSFER TAX DUE:                                           $561.00
                   4. If Exemption Claimed:
                              Transfer Tax Exemption, per NRS 375.090,
                       a.     Section:
                       b.     Explain Reason for Exemption:
                   5. Partial Interest: Percentage being
                   transferred:                                     100 %
                  The undersigned declares and acknowledges, under penalty of perjury, pursuant to NRS 375.060 and
                  NRS 375.110 that the information provided is correct to the best of their information and belief, and can
                  be supported by documentation if called upon to substantiate the information provided herein.
                  Furthermore, the parties agree that disallowance of any claimed exemption, or other determination of
                  additional tax due, may result in a penalty of 10% of the tax due plus interest at 1% per month.
                  Pursuant to NRS 376.030, the Buye _ •              eller shall be jointly and severally liable for any
                  additional amou
                    Signature:          IIIII I  11 ENLI'
                                                '1%           •                     ea1 .ae4t.__. Seller
                                                                              I Mortgage Association Organized and
                                                                                   of America
                    Signature:                                                       Capacity:       Buyer
                                     Ken Grego
                    SELLER (GRANTOR) INFORMATION                            BUYER (GRANTEE) INFORMATION
                             (REQUIRED)                                               (REQUIRED)
                                  Fannie Mae A/K/A Federal                            Ken Gregory
                                  National Mortgage
                                  Association Organized and.
                                  Existing under the laws of
                    Print Name: the United State of America            Print Name:       K41,‘
                                                                                             Ar-c,luvt         ,
                    Address:        14221 Dallas Pkwy, #1000           Address:           5-733 6-1 v._iotclic St •
                                                                                         tAs V-a-sy-s) 1\1\ i c-'41 (



CLARK,NV                                                    Page 4 of 5                              Printed on 10/26/2016 8:33:36 AM
Document: DED 2009.0608.6546
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 677 of 807
Branch :FLV,User :CON2                                      Comment:                                                      Station Id :XJUY




                     City/State/Zip Dallas, TX 75254 City/State/Zip
                    COMPANY/PERSON REQUESTING RECORDING (required if not the Seller or Buyer)
                                           Stewart Title of Nevada - Las Vegas
                    Company Name:          Division                                 Escrow No 1017264-FNMA
                    Address:     376 E. Warm Springs Road, Suite 190
                    City       Las Vegas                                   State:    NV       Zip     89119
                                   (AS A PUBLIC RECORD THIS FORM MAY BE RCORDED/MICROFILMED)




CLARK,NV                                                    Page 5 of 5                             Printed on 10/26/2016 8:33:36 AM
Document: DED 2009.0608.6546
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 678 of 807




                           I-4,xhib it 2




                           Exhibit 2




                           Exhibit 2
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 679 of 807
Branch :FLV,User :CON2                                           Comment:                                                              Station Id :XJUY




                                                                                                                     MEINIMIEHMICEIDE
                                                                                                                     20090608-0006547
                                                                                                               Fee: $24.00    RPTT: $0.00
                                                                                                               N/C Fee: $0.00
                                                                                                               06/08/2009      15:47:47
                                                                                                               T20090199988
                                                                                                               Requestor:
                    PIN#: 124-27-412-049
                                                                                                                STEWART TITLE LAS VEGAS WARM
                                                                                                               Debbie Conway        RMS
                                                                                                               Clark County Recorder     Pgs: 11
                    When Recorded Return To:
                    MOUNTAIN VIEW MORTGAGE COMPANY
                    7311 W CHARLESTON BLVD, SUITE 110
                    LAS VEGAS,NV89117
                    (702) 228-7105

                    Grantee:
                   MOUNTAIN VIEW MORTGAGE COMPANY
                   7311 W CHARLESTON BLVD, SUITE 110, LAS
                   VEGAS, NV 89117

                   Mail Tax Statement To:
                   MOUNTAIN VIEW MORTGAGE COMPANY
                   7311 W CHARLESTON BLVD, SUITE 110
                   LAS VEGAS,NV89117                                                                   Io -7...(P`i
                                                    [Space Above This Line For Recording Data]
                                                               DEED OF TRUST
                    RECORDING REQUESTED BY:                                            GREGORY
                                                                                       Loan #: 09051511
                    STEWART TITLE OF NEVADA                                            MIN: 100096000090515118
                                                                                       PIN: 124-27-412-049
                                                                                       Case #: 332-4899944-703

                               THIS DEED OF TRUST ("Security Instrument") is made on MAY 26, 2009. The grantor is KEN
                   E. GREGORY, AN UNMARRIED MAN ("Borrower"). The trustee is STEWART TITLE OF NEVADA
                   ("Trustee"). The beneficiary is Mortgage Electronic Registration Systems, Inc. ("MERS") (solely as nominee
                   for Lender, as hereinafter defined, and Lender's successors and assigns), as beneficiary. MERS is organized
                   and existing under the laws of Delaware, and has an address and telephone number of P.O. Box 2026, Flint,
                   MI 48501-2026, tel. (888) 679-MERS. MOUNTAIN VIEW MORTGAGE COMPANY ("Lender") is organized
                   and existing under the laws of COLORADO, and has an address of 7311 W CHARLESTON BLVD, SUITE
                   110, LAS VEGAS, NV 89117. Borrower owes Lender the principal sum of ONE HUNDRED EIGHT
                   THOUSAND SEVEN Dollars (U.S. $108,007.00). This debt is evidenced by Borrower's note dated the
                   same date as this Security Instrument ("Note"), which provides for monthly payments, with the full debt, if
                   not paid earlier, due and payable on JUNE 1, 2039. This Security Instrument secures to Lender: (a) the
                   repayment of the debt evidenced by the Note, with interest, and all renewals, extensions and modifications of
                   the Note; (b) the payment of all other sums, with interest, advanced under paragraph 7 to protect the security
                   of this Security Instrument; and (c) the performance of Borrower's covenants and agreements under this
                   Security Instrument and the Note. For this purpose, Borrower irrevocably grants and conveys to Trustee, in
                   trust, with power of sale, the following described property located in CLARK County, Nevada:
                   LEGAL DESCRIPTION ATTACHED HERETO AND MADE A PART HEREOF.
                   which has the address of 5733 OASIS RIDGE STREET, NORTH LAS VEGAS, Nevada 89031
                   ("Property Address");

                            TOGETHER WITH all the improvements now or hereafter erected on the property, and all
                   easements, appurtenances, and fixtures now or hereafter a part of the property. All replacements and
                   additions shall also be covered by this Security Instrument. All of the foregoing is referred to in this Security
                   Instrument as the "Property." Borrower understands and agrees that MERS holds only legal title to the

                   FHA Nevada Deed of Trust - 07/08
                   ,tg) 395.4                                      Page 1 of 8




CLARK,NV                                                       Page 1 of 11                                  Printed on 10/26/2016 8:33:37 AM
Document: DOT 2009.0608.6547
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 680 of 807
Branch :FLV,User :CON2                                         Comment:                                                             Station Id :XJUY




                                                                                                                     09051511

                   interests granted by Borrower in this Security Instrument; but, if necessary to comply with law or custom,
                   MERS (as nominee for Lender and Lender's successors and assigns) has the right: to exercise any or all of
                   those interests, including, but not limited to, the right to foreclose and sell the Property; and to take any
                   action required of Lender including, but not limited to, releasing or canceling this Security Instrument.
                            BORROWER COVENANTS that Borrower is lawfully seized of the estate hereby conveyed and
                   has the right to grant and convey the Property and that the Property is unencumbered, except for
                   encumbrances of record. Borrower warrants and will defend generally the title to the Property against all
                   claims and demands, subject to any encumbrances of record.
                            THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-uniform
                   covenants with limited variations by jurisdiction to constitute a uniform security instrument covering real
                   property.


                             UNIFORM COVENANTS. Borrower and Lender covenant and agree as follows:
                             1. Payment of Principal, Interest and Late Charge. Borrower shall pay when due the principal of,
                   and interest on, the debt evidenced by the Note and late charges due under the Note.
                             2. Monthly Payment of Taxes, Insurance and Other Charges. Borrower shall include in each
                   monthly payment, together with the principal and interest as set forth in the Note and any late charges, a sum
                   for (a) taxes and special assessments levied or to be levied against the Property, (b) leasehold payments or
                   ground rents on the Property, and (c) premiums for insurance required under paragraph 4. In any year in
                   which the Lender must pay a mortgage insurance premium to the Secretary of Housing and Urban
                   Development ("Secretary"), or in any year in which such premium would have been required if Lender still
                   held the Security Instrument, each monthly payment shall also include either; (i) a sum for the annual
                   mortgage insurance premium to be paid by Lender to the Secretary, or (ii) a monthly charge instead of a
                   mortgage insurance premium if this Security Instrument is held by the Secretary, in a reasonable amount to
                   be determined by the Secretary. Except for the monthly charge by the Secretary, these items are called
                   "Escrow Items" and the sums paid to Lender are called "Escrow Funds."
                             Lender may, at any time collect and hold amounts for Escrow Items in an aggregate amount not to
                   exceed the maximum amount that may be required for Borrower's escrow account under the Real Estate
                   Settlement Procedures Act of 1974, 12 U.S.C. Section 2601 et seq. and implementing regulations, 24 CFR
                   Part 3500, as they may be amended from time to time ("RESPA"), except that the cushion or reserve
                   permitted by RESPA for unanticipated disbursements or disbursements before the Borrower's payments are
                   available in the account may not be based on amounts due for the mortgage insurance premium.
                             If the amounts held by Lender for Escrow Items exceed the amounts permitted to be held by
                   RESPA, Lender shall account to borrower for the excess funds as required by RESPA. If the amounts of
                   funds held by Lender at any time are not sufficient to pay the Escrow Items when due, Lender may notify the
                   Borrower and require Borrower to make up the shortage or deficiency as permitted by RESPA.
                             The Escrow Funds are pledged as additional security for all sums secured by this Security
                   Instrument. If Borrower tenders to Lender the full payment of all such sums, Borrower's account shall be
                   credited with the balance remaining for all installment items, (a), (b) and (c) and any mortgage insurance
                   premium installment that Lender has not become obligated to pay to the Secretary, and Lender shall promptly
                   refund any excess funds to Borrower. Immediately prior to a foreclosure sale of the Property or its
                   acquisition by Lender, Borrower's account shall be credited with any balance remaining for all installment for
                   items (a), (b) and (c).
                             3. Application of Payments. All payments under paragraphs I and 2 shall be applied by Lender as
                   follows:


                   FHA Nevada Deed of Trust - 07/08
                      395.4                                       Page 2 of 8




CLARK,NV                                                      Page 2 of 11                                 Printed on 10/26/2016 8:33:37 AM
Document: DOT 2009.0608.6547
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 681 of 807
Branch :FLV,User :CON2                                           Comment:                                                               Station Id :XJUY




                                                                                                                        09051511

                              First, to the mortgage insurance premium to be paid by Lender to the Secretary or to the monthly
                    charge by the Secretary instead of the monthly mortgage insurance premium;
                              Second, to any taxes, special assessments, leasehold payments or ground rents, and fire, flood and
                    other hazard insurance premiums, as required;
                              ThIEŠL to interest due under the Note;
                              Fourth, to amortization of the principal of the Note;
                              Fifth to late charges due under the Note.
                              4. Fire, Flood and Other Hazard Insurance. Borrower shall insure all improvements on the
                    Property, whether now in existence or subsequently erected, against any hazards, casualties, and
                    contingencies, including fire, for which Lender requires insurance. This insurance shall be maintained in the
                    amounts and for the periods that Lender requires. Borrower shall also insure all improvements on the
                    Property, whether now in existence or subsequently erected, against loss by floods to the extent required by
                    the Secretary. All insurance shall be carried with companies approved by Lender. The insurance policies and
                    any renewals shall be held by Lender and shall include loss payable clauses in favor of, and in a form
                    acceptable to, Lender.
                              In the event of loss, Borrower shall give Lender immediate notice by mail. Lender may make proof
                    of loss if not made promptly by Borrower. Each insurance company concerned is hereby authorized and
                    directed to make payment for such loss directly to Lender, instead of to Borrower and to Lender jointly. All
                    or any part of the insurance proceeds may be applied by Lender, at its option, either (a) to the reduction of the
                    indebtedness under the Note and this Security Instrument, first to any delinquent amounts applied in the order
                    in Paragraph 3, and then to prepayment of principal, or (b) to the restoration or repair of the damaged
                   Property. Any application of the proceeds to the principal shall not extend or postpone the due date of the
                   monthly payments which are referred to in Paragraph 2, or change the amount of such payments. Any excess
                   insurance proceeds over an amount required to pay all outstanding indebtedness under the Note and this
                   Security Instrument shall be paid to the entity legally entitled thereto.
                              In the event of foreclosure of this Security Instrument or other transfer of title to the Property that
                   extinguishes the indebtedness, all right, title and interest of Borrower in and to insurance policies in force
                   shall pass to the purchaser.
                              5. Occupancy, Preservation, Maintenance and Protection of the Property; Borrower's Loan
                   Application; Leaseholds. Borrower shall occupy, establish, and use the Property as Borrower's principal
                   residence within sixty days after the execution of this Security Instrument (or within sixty days of a later sale
                   or transfer of the property) and shall continue to occupy the Property as Borrower's principal residence for at
                   least one year after the date of occupancy, unless Lender determines that requirement will cause undue
                   hardship for Borrower, or unless extenuating circumstances exist which are beyond Borrower's control.
                   Borrower shall notify Lender of any extenuating circumstances. Borrower shall not commit waste or destroy,
                   damage or substantially change the Property or allow the Property to deteriorate, reasonable wear and tear
                   excepted. Lender may inspect the Property if the Property is vacant or abandoned or the loan is in default.
                   Lender may take reasonable action to protect and preserve such vacant or abandoned Property. Borrower
                   shall also be in default if Borrower, during the loan application process, gave materially false or inaccurate
                   information or statements to Lender (or failed to provide Lender with any material information) in
                   connection with the loan evidenced by the Note, including, but not limited to, representations conceming
                   Borrower's occupancy of the Property as a principal residence. If this Security Instrument is on a leasehold,
                   Borrower shall comply with the provisions of the lease. If Borrower acquires fee title to the Property, the
                   leasehold and fee title shall not be merged unless Lender agrees to the merger in writing.
                             6. Condemnation. The proceeds of any award or claim for damages, direct or consequential, in
                   connection with any condemnation or other taking of any part of the Property, or for conveyance in place of

                    FHA Nevada Deed of Trust - 07/08
                   'let' 395.4                                      Page 3 of 8




CLARK,NV                                                        Page 3 of 11                                  Printed on 10/26/2016 8:33:38 AM
Document: DOT 2009.0608.6547
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 682 of 807
Branch :FLV,User :CON2                                          Comment:                                                               Station Id :XJUY




                                                                                                                       09051511

                    condemnation, are hereby assigned and shall be paid to Lender to the extent of the full amount of the
                    indebtedness that remains unpaid under the Note and this Security Instrument. Lender shall apply such
                    proceeds to the reduction of the indebtedness under the Note and this Security Instrument, first to any
                    delinquent amounts applied in the order provided in Paragraph 3, and then to prepayment of principal. Any
                    application of the proceeds to the principal shall not extend or postpone the due date of the monthly
                    payments, which are referred to in Paragraph 2, or change the amount of such payments. Any excess
                    proceeds over an amount required to pay all outstanding indebtedness under the Note and this Security
                    Instrument shall be paid to the entity legally entitled thereto.
                              7. Charges to Borrower and Protection of Lender's Rights in the Property. Borrower shall pay
                    all govemmental or municipal charges, fines and impositions that are not included in Paragraph 2. Borrower
                    shall pay these obligations on time directly to the entity which is owed the payment. If failure to pay would
                    adversely affect Lender's interest in the Property, upon Lender's request Borrower shall promptly fumish to
                    Lender receipts evidencing these payments.
                              If Borrower fails to make these payments or the payments required by Paragraph 2, or fails to
                    perform any other covenants and agreements contained in this Security Instrument, or there is a legal
                    proceeding that may significantly affect Lender's rights in the Property (such as a proceeding in bankruptcy,
                    for condemnation or to enforce laws or regulations), then Lender may do and pay whatever is necessary to
                    protect the value of the Property and Lender's rights in the Property, including payment of taxes, hazard
                    insurance and other items mentioned in Paragraph 2.
                              Any amounts disbursed by Lender under this Paragraph shall become an additional debt of
                    Borrower and be secured by this Security Instrument. These amounts shall bear interest from the date of
                    disbursement, at the Note rate, and at the option of Lender, shall be immediately due and payable.
                              Borrower shall promptly discharge any lien which has priority over this Security Instrument unless
                    Borrower: (a) agrees in writing to the payment of the obligation secured by the lien in a manner acceptable to
                    Lender; (b) contests in good faith the lien by, or defends against enforcement of the lien in, legal proceedings
                    which in the Lender's opinion operate to prevent the enforcement of the lien; or (c) secures from the holder of
                    the lien an agreement satisfactory to Lender subordinating the lien to this Security Instrument. If Lender
                    determines that any part of the Property is subject to a lien which may attain priority over this Security
                    Instrument. Lender may give Borrower a notice identifying the lien. Borrower shall satisfy the lien or take
                    one or more of the actions set forth above within 10 days of the giving of notice.
                              8. Fees. Lender may collect fees and charges authorized by the Secretary.
                              9. Grounds for Acceleration of Debt.
                                (a) Default. Lender may, except as limited by regulations issued by the Secretary in the case of
                                payment defaults, require immediate payment in full of all sums secured by this Security
                                Instrument if:
                                    (i) Borrower defaults by failing to pay in full any monthly payment required by this Security
                                    Instrument prior to or on the due date of the next monthly payment, or
                                    (ii) Borrower defaults by failing, for a period of thirty days, to perform any other obligations
                                    contained in this Security Instrument.
                                (b) Sale Without Credit Approval. Lender shall, if permitted by applicable law (including
                                section 34I(d) of the Gam-St Germain Depository Institutions Act of 1982, 12 U.S.C. 170Ij-3(d))
                                and with the prior approval of the Secretary, require immediate payment in full of all sums secured
                                by this Security Instrument if:
                                    (i) All or part of the Property, or a beneficial interest in a trust owning all or part of the
                                    Property, is sold or otherwise transferred (other than by devise or descent) and


                    FHA Nevada Deed of Trust - 07/08
                   'toz. 395.4                                      Page 4 of 8




CLARK,NV                                                       Page 4 of 11                                  Printed on 10/26/2016 8:33:38 AM
Document: DOT 2009.0608.6547
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 683 of 807
Branch :FLV,User :CON2                                           Comment:                                                              Station Id :XJUY




                                                                                                                       09051511

                                   (ii) The Property is not occupied by the purchaser or grantee as his or her principal residence,
                                   or the purchaser or grantee does so occupy the Property but his or her credit has not been
                                   approved in accordance with the requirements of the Secretary.
                               (c) No Waiver. If circumstances occur that would permit Lender to require immediate payment in
                               full, but Lender does not require such payments, Lender does not waive its rights with respect to
                               subsequent events.
                               (d) Regulations of HUD Secretary. In many circumstances regulations issued by the Secretary
                               will limit Lender's rights in the case of payment defaults, to require immediate payment in full and
                               foreclose if not paid. This Security Instrument does not authorize acceleration or foreclosure if not
                               permitted by regulations of the Secretary.
                               (e) Mortgage Not Insured. Borrower agrees that should this Security Instrument and the Note are
                               not to be eligible for insurance under the National Housing Act within 60 days from the date
                               hereof, Lender may, at its option, require immediate payment in full of all sums secured by this
                               Security Instrument. A written statement of any authorized agent of the Secretary dated
                               subsequent to 60 days from the date hereof, declining to insure this Security Instrument and the
                               Note shall be deemed conclusive proof of such ineligibility. Notwithstanding the foregoing, this
                               option may not be exercised by Lender when the unavailability of insurance is solely due to
                               Lender's failure to remit a mortgage insurance premium to the Secretary.
                             10. Reinstatement. Borrower has a right to be reinstated if Lender has required immediate payment
                   in full because of Borrower's failure to pay an amount due under the Note or this Security Instrument. This
                   right applies even after foreclosure proceedings are instituted. To reinstate the Security Instrument, Borrower
                   shall tender in a lump sum all amounts required to bring Borrower's account current including, to the extent
                   they are obligations of Borrower under this Security Instrument, foreclosure costs and reasonable and
                   customary attorneys' fees and expenses properly associated with the foreclosure proceeding. Upon
                   reinstatement by Borrower, this Security Instrument and the obligations that it secures shall remain in effect
                   as if Lender had not required immediate payment in full. However, Lender is not required to permit
                   reinstatement if: (i) Lender has accepted reinstatement after the commencement of foreclosure proceedings
                   within two years immediately preceding the commencement of a current foreclosure proceeding, (ii)
                   reinstatement will preclude foreclosure on different grounds in the future, or (iii) reinstatement will adversely
                   affect the priority of the lien created by this Security Instrument.
                             11. Borrower Not Released; Forbearance By Lender Not a Waiver. Extension of the time of
                   payment or modification of amortization of the sums secured by this Security Instrument granted by Lender
                   to any successor in interest of Borrower shall not operate to release the liability of the original Borrower or
                   Borrower's successor in interest. Lender shall not be required to commence proceedings against any
                   successor in interest or refuse to extend time for payment or otherwise modify amortization of the sums
                   secured by this Security Instrument by reason of any demand made by the original Borrower or Borrower's
                   successors in interest. Any forbearance by Lender in exercising any right or remedy shall not be a waiver of
                   or preclude the exercise of any right or remedy.
                            12. Successors and Assigns Bound; Joint and Several Liability; Co-Signers. The covenants and
                   agreements of this Security Instrument shall bind and benefit the successors and assigns of Lender and
                   Borrower, subject to the provisions of Paragraph 9(b). Borrower's covenants and agreements shall be joint
                   and several. Any Borrower who co-signs this Security Instrument but does not execute the Note: (a) is co-
                   signing this Security Instrument only to mortgage, grant and convey that Borrower's interest in the Property
                   under the terms of this Security Instrument; (b) is not personally obligated to pay the sums secured by this
                   Security Instrument; and (c) agrees that Lender and any other Borrower may agree to extend, modify,
                   forebear or make any accommodations with regard to the terms of this Security Instrument or the Note
                   without that Borrower's consent.
                   FHA Nevada Deed of Trust - 07/08
                   oia' 395.4                                      Page 5 of 8




CLARK,NV                                                        Page 5 of 11                                 Printed on 10/26/2016 8:33:39 AM
Document: DOT 2009.0608.6547
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 684 of 807
Branch :FLV,User :CON2                                          Comment:                                                              Station Id :XJUY




                                                                                                                      09051511


                             13. Notices. Any notice to Borrower provided for in this Security Instrument shall be given by
                   delivering it or by mailing it by first class mail unless applicable law requires use of another method. The
                    notice shall be directed to the Property Address or any other address Borrower designates by notice to
                   Lender. Any notice to Lender shall be given by first class mail to Lender's address stated herein or any
                   address Lender designates by notice to Borrower. Any notice provided for in this Security Instrument shall be
                   deemed to have been given to Borrower or Lender when given as provided in this paragraph.
                             14. Governing Law: Severability. This Security Instrument shall be governed by Federal law and
                   the law of the jurisdiction in which the Property is located. In the event that any provision or clause of this
                   Security Instrument or the Note conflicts with applicable law, such conflict shall not affect other provisions
                   of this Security Instrument or the Note which can be given effect without the conflicting provision. To this
                   end the provisions of this Security Instrument and the Note are declared to be severable.
                             15. Borrower's Copy. Borrower shall be given one conformed copy of the Note and of this Security
                   Instrument.
                             16. Hazardous Substances. Borrower shall not cause or permit the presence, use, disposal, storage,
                   or release of any Hazardous Substances on or in the Property. Borrower shall not do, nor allow anyone else to
                   do, anything affecting the Property that is in violation of any Environment Law. The preceding two sentences
                   shall not apply to the presence, use, or storage on the Property of small quantities of Hazardous Substances
                   that are generally recognized to be appropriate to normal residential uses and to maintenance of the Property.
                             Borrower shall promptly give Lender written notice of any investigation, claim, demand, lawsuit or
                   other action by any removal or other regulatory agency or private party involving the Property and any
                   Hazardous Substance or Environmental Law of which Borrower has actual knowledge. If Borrower learns, or
                   is notified by any governmental or regulatory authority, that any removal or other remediation of any
                   Hazardous Substances affecting the Property is necessary, Borrower shall promptly take all necessary
                   remedial actions in accordance with Environmental Law.
                             As used in this paragraph 16, "Hazardous Substances" are those substances defined as toxic or
                   hazardous substances by Environmental Law and the following substances: gasoline, kerosene, other
                   flammable or toxic petroleum products, toxic pesticides and herbicides, volatile solvents, materials
                   containing asbestos or formaldehyde, and radioactive materials. As used in this paragraph 16,
                   "Environmental Law" means federal laws and laws of the jurisdiction where the Property is located that
                   relate to health, safety or environmental protection.


                   NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree as follows:
                             17. Assignment of Rents. Borrower unconditionally assigns and transfers to Lender all the rents
                   and revenues of the Property. Borrower authorizes Lender or Lender's agents to collect the rents and revenues
                   and hereby directs each tenant of the Property to pay the rents to Lender or Lender's agents. However, prior
                   to Lender's notice to Borrower of Borrower's breach of any covenant or agreement in the Security
                   Instrument, Borrower shall collect and receive all rents and revenues of the Property as trustee for the benefit
                   of Lender and Borrower. This assignment of rents constitutes an absolute assignment and not an assignment
                   for additional security only.
                             If Lender gives notice of breach to Borrower: (a) all rents received by Borrower shall be held by
                   Borrower as trustee for benefit of Lender only, to be applied to the sums secured by the Security Instrument;
                   (b) Lender shall be entitled to collect and receive all of the rents of the Property; and (c) each tenant of the
                   Property shall pay all rents due and unpaid to Lender or Lender's agent on Lender's written demand to the
                   tenant.
                            Borrower has not executed any prior assignment of the rents and has not and will not perform any

                   FHA Nevada Deed of Trust - 07/08
                   eo 395.4                                        Page 6 of 8




CLARK,NV                                                       Page 6 of 11                                 Printed on 10/26/2016 8:33:39 AM
Document: DOT 2009.0608.6547
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 685 of 807
Branch :FLV,User :CON2                                           Comment:                                                                Station Id :XJUY




                                                                                                                         09051511

                    act that would prevent Lender from exercising its rights under this Paragraph 17.
                              Lender shall not be required to enter upon, take control of or maintain the Property before or after
                    giving notice of breach to Borrower. However, Lender or a judicially appointed receiver may do so at any
                    time there is a breach. Any application of rents shall not cure or waive any default or invalidate any other
                    right or remedy of Lender. This assignment of rents of the Property shall terminate when the debt secured by
                    the Security Instrument is paid in full.
                              18. Foreclosure Procedure. If Lender requires immediate payment in full under paragraph 9,
                    Lender may invoke the power of sale and any other remedies permitted by applicable law. Lender shall be
                    entitled to collect all expenses incurred in pursuing the remedies provided in this paragraph 18, including, but
                    not limited to, reasonable attorneys' fees and costs of title evidence.
                              If Lender invokes the power of sale, Lender shall execute or cause Trustee to execute written notice
                    of the occurrence of an event of default and of Lender's election to cause the Property to be sold, and shall
                    cause such notice to be recorded in each county in which any part of the Property is located, Lender or
                   Trustee shall mail copies of the notice as prescribed by applicable law to Borrower and to the persons
                    prescribed by applicable law. Trustee shall give public notice of sale to the persons and in the manner
                    prescribed by applicable law. After the time required by applicable law, Trustee, without demand on
                   Borrower, shall sell the Property at public auction to the highest bidder at the time and place and under the
                   terms designated in the notice of sale in one or more parcels and in any order Trustee determines. Trustee
                   may postpone sale of all or any parcel of the Property by public announcement at the time and place of any
                   previously scheduled sale. Lender or its designee may purchase the Property at any sale.
                              Trustee shall deliver to the purchaser Trustee's deed conveying the Property without any covenant or
                   warranty, expressed or implied. The recitals in the Trustee's deed shall be prima facie evidence of the truth of
                   the statements made therein. Trustee shall apply the proceeds of the sale in the following order: (a) to all
                   expenses of the sale, including, but not limited to, reasonable Trustee's and attorneys' fees; (b) to all sums
                   secured by this Security Instrument; and (c) any excess to the person or persons legally entitled to it.
                              If the Lender's interest in this Security Instrument is held by the Secretary and the Secretary requires
                   immediate payment in full under Paragraph 9, the Secretary may invoke the nonjudicial power of sale
                   provided in the Single Family Mortgage Foreclosure Act of 1994 ("Act") (12 U.S.C. 3751 et seq.) by
                   requesting a foreclosure commissioner designated under the Act to commence foreclosure and to sell the
                   Property as provided in the Act. Nothing in the preceding sentence shall deprive the Secretary of any rights
                   otherwise available to a Lender under this Paragraph 18 or applicable law.
                              19. Reconveyance. Upon payment of all sums secured by this Security Instrument. Lender shall
                   request Trustee to reconvey the Property and shall surrender this Security Instrument and all notes evidencing
                   debt secured by this Security Instrument to Trustee. Trustee shall reconvey the Property without warranty
                   and without charge to the person or persons legally entitled to it. Such person or persons shall pay any
                   recondition costs.
                              20. Substitute Trustee. Lender, at its own option, may from time to time remove Trustee and
                   appoint a successor trustee to any Trustee appointed hereunder. Without conveyance of the Property, the
                   successor trustee shall succeed to all the title, power and duties conferred upon Trustee herein and by
                   applicable law.
                              21. Assumption Fee. Lender may charge the maximum assumption fee allowable by the
                   Department of Housing and Urban Development.
                              22. Riders to this Security Instrument. If one or more riders are executed by Borrower and
                   recorded together with this Security Instrument, the covenants and agreements of each such rider shall be
                   incorporated into and shall amend and supplement the covenants and agreements of this Security Instrument
                   as if the rider(s) were a part of this Security Instrument.

                   FHA Nevada Deed of Trust - 07/08
                      395.4                                         Page 7 of 8




CLARK,NV                                                        Page 7 of 11                                  Printed on 10/26/2016 8:33:40 AM
Document: DOT 2009.0608.6547
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 686 of 807
Branch :FLV,User :CON2                                      Comment:                                                           Station Id :XJUY




                                                                                                                09051511



                   The Following Rider(s) are to be executed by Borrower and are attached hereto and made a part thereof
                   [check box as applicable]:

                   0 Condominium Rider                     0 Growing Equity Rider          0 Adjustable Rate Rider
                   El Planned Unit Development Rider       0 Graduated Payment Rider
                   0 Other(s) [specify]


                             YS              OW, Borrower accepts and agrees to the terms and covenants contained in this
                                                ider executed by Borrower and recorded with it.
                                                                                        SIGNATURE CLARIFICATION:

                                                              54". ?
                                                                                        KEN E. GREGORY
                    - BORROWE                                 TE -

                                               [Space Below This Line For Acknowledgment]

                   STATE OF       KieAriale,..,
                   COUNTY OF C

                   This instrument was acknowledged before me on                                    by
                            KeivN    r arreWt1
                                          •




                                                                        Notary Public

                                                KRISTEN LiNGE
                                             Notary Public State of Nevada My Commission Expires:
                                                 No. 06-104795-1
                                            My appt. exp. Mar. 23, 2010




                   FHA Nevada Deed of Trust - 07/08
                   oat• 395.4                                 Page 8 of 8




CLARK,NV                                                   Page 8 of 11                                  Printed on 10/26/2016 8:33:40 AM
Document: DOT 2009.0608.6547
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 687 of 807
Branch :FLV,User :CON2                                Comment:                                                Station Id :XJUY




                                                       EXHIBIT "A"


                The land referred to herein situate in the State of Nevada, County of Clark, described as
                follows:

                Lot Eighty-Five (85) in Block Ten (10) of Rancho Mirage Unit II, Phase 2, as shown by map
                thereof on file in Book 102 of Plats, Page 96 and amended by the Certificate of Amendment
                recorded January 18, 2002 in Book 20020118 as Document No. 00615, in the Office of the
                County Recorder of Clark County, Nevada.




CLARK,NV                                             Page 9 of 11                       Printed on 10/26/2016 8:33:41 AM
Document: DOT 2009.0608.6547
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 688 of 807
Branch :FLV,User :CON2                                              Comment:                                                            Station Id :XJUY




                                                 PLANNED UNIT DEVELOPMENT RIDER
                                                                                                    GREGORY
                                                                                                    Loan 9:09051511
                                                                                                    MIN: 100096000090515118
                                                                                                    Cast #:332-4899944-703

                           THIS PLANNED UNIT DEVELOPMENT RIDER is made this 26TH day of MAY, 2009, and is
                   incorporated into and shall be deemed to amend and supplement the Mortgage, Deed of Trust or Security
                   Deed ("Security Instrument") of the same date given by the undersigned ("Borrower") to secure Borrower's
                   Note ("Note") to MOUNTAIN VIEW MORTGAGE COMPANY ("Lender") of the same date and covering the
                   Property described in the Security Instrument and located at: 5733 OASIS RIDGE STREET, NORTH
                   LAS VEGAS, NV 89031 [Property Address]. The Property Address is a part of a planned unit
                   development ("PUD") known as RANCHO MIRAGE UNIT 2 PHASE 2 [Name of Planned Unit
                   Development].

                          PUT, COVENANTS. In addition to the covenants and agreements made in the Security Instrument,
                   Borrower and Lender further covenant and agree as follows:

                                A. So long as the Owners Association (or equivalent entity holding title to common areas
                                and facilities), acting as trustee for the homeowners, maintains, with a generally accepted
                                insurance carrier, a "master" or "blanket" policy insuring the property located in the PUD,
                                including all improvements now existing or hereafter erected on the mortgaged premises,
                                and such policy is satisfactory to Lender and provides insurance coverage in the amounts,
                                for the periods, and against the hazards Lender requires, including fire and other hazards
                                included within the term "extended coverage," and loss by flood, to the extent required by
                                the Secretary, then: (i) Lender waives the provision in Paragraph 2 of this Security
                                Instrument for the monthly payment to Lender of one-twelfth of the yearly premium
                                installments for hazard insurance on the Property, and (ii) Borrower's obligation under
                                Paragraph 4 of this Security Instrument to maintain hazard insurance coverage on the
                                Property is deemed satisfied to the extent that the required coverage is provided by the
                                Owners Association policy. Borrower shall give Lender prompt notice of any lapse in
                                required hazard insurance coverage and of any loss occurring from a hazard. In the event of
                                a distribution of hazard insurance proceeds in lieu of restoration or repair following a loss

                                                                                                             FHA Multistate PUD Rider
                   .1t , 50.1                                           Page I of 2                                              6/96




CLARK,NV                                                          Page 10 of 11                                Printed on 10/26/2016 8:33:41 AM
Document: DOT 2009.0608.6547
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 689 of 807
Branch :FLV,User :CON2                                           Comment:                                                            Station Id :XJUY




                                                                                                                        09051511

                               to the Property or to common areas and facilities of the PUD, any proceeds payable to
                               Borrower are hereby assigned and shall be paid to Lender for application to the sums
                               secured by this Security Instrument, with any excess paid to the entity legally entitled
                               thereto.

                               B. Borrower promises to pay all dues and assessments imposed pursuant to the legal
                               instruments creating and governing the PUD.

                               C. If Borrower does not pay PUD dues and assessments when due, then Lender may pay
                               them. Any amounts disbursed by Lender under this paragraph C shall become additional
                               debt of Borrower secured by the Security Instrument. Unless Borrower and Lender agree to
                               other terms of payment, these amounts shall bear interest from the date of disbursement at
                               the Note rate and shall be payable, with interest, upon notice from Lender to Borrower
                               requesting payment.

                                                  OW, Borrower accepts and agrees to the terms and provisions contained in this




                    — BORRO




                      SIGNATURE CLARIFICATION:

                      KEN E. GREGORY




                                                                                                          FHA Multistate PUD Rider
                   ,CS, 50.1                                         Page 2 of 2                                              6/96




CLARK,NV                                                       Page 11 of 11                               Printed on 10/26/2016 8:33:42 AM
Document: DOT 2009.0608.6547
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 690 of 807




                           Exhibit 3




                           Exhibit 3




                           Exhibit 3
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 691 of 807
Branch :FLV,User :CON2                                          Comment:                                                                  Station Id :XJUY




                                                                                                            'net #:   201211060000035
                                                                                                            Fees: $17.00
                                                                                                            NIC Fee: $26.00
                                                                                                            1110812012 08:00:12 AM
                   APN: 124-27-412-049                                                                      Receipt #: 1370992
                                                                                                            Regueator:
                      When Recorded Return To:                                                              INDECOMM GLOBAL SERVICES
                         indecomm Global SellikeS                                                           Recorded By: BGN Pga: 1
                         2925 Country Drive
                         St. Paul, MN 55117                                                                 DEBBIE CONWAY
                                                                                                            CLARK COUNTY RECORDER
                   Prepared by:
                   Cal-Western Reconveyance Corporation
                   525 East Main Street
                   El Cajon, CA 92020
                   T.S. Na; 1368218-38           MERS ID: 100096000090515118 MERS P1,1 1-888-679-6377
                                                                 SPACE ABOVE THIS LINE FOR RECORDER S USE

                    781017 29                  ASSIGNMENT OF DEED OF TRUST
                   FOR VALUE RECEIVED, the undersigned hereby grants, assigns and transfers to
                   GMAC MORTGAGE, LLC
                   C/O  1100 VIRGINIA DRIVE
                        FORT WASHINGTON PA 19034

                   all beneficial interest under that certain deed of trust dated May 26, 2009, executed by KEN E. GREGORY, AN
                   UNMARRIED MAN, trustor, to STEWART TITLE OF NEVADA, trustee, and recorded as Instrument No.
                   20090608-0006547 on June 08, 2009 in book N/A page N/A, of Official Records in the County Recorder's
                   office of CLARK County, NEVADA describing land therein as
                   COMPLETELY DESCRIBED IN SAID DEED OF TRUST


                    Dated:                ( 1-
                   and all rights accrued or to accrue under said Deed of Mist.
                                                   .2-          MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC.,
                                                                AS NOMINEE FOR MOUNTAIN VIEW MORTGAGE
                                                                COMPANY, ITS SUCCESSORS AND ASSIGNS




                             PenagylVallia
                                                                         ette Piccone          Assistant Secretary
                    State of
                    County of           montgornery

                   On 74) —1     1-- /            before me,            %Moir( Nolan iloffran
                   a Notary P_ublic, personally irmeared
                             Jeanette 1-1.cr-one
                   who proved to me on the basis of satisfactory evidence to be the person(s) whose name(s) is/are subscribed to
                   the within instrument and acknowledged to me that he/she/they executed the same in his/her/their authorized
                   capacity(ies), and that by his/her/their signature(s) on the instrument the person(s), or the entity upon behalf of
                   which the perspgallytintigl the instrument. I certify under PENALTY OF PERJURY under the laws of
                   the State of                         ' that the foregoing paragraph is true and correct.
                   WITNESS             d and official seal                        (Seal)
                                                                          //
                   Signature                                                                        ritoNWEALTH OF PENNSYLV
                                           .patricialiolan                                                 NOTARIAL SEAL
                                                                                                                                      .
                                                                                              N1TRICIA NOLAN HOFFMAN, Notary Public
                                                                                                  City of Philadelphia, Phila. County
                                                                                                 Commission Expires November 15,2015



                                   ii     iJiiiti 111 i
                                       .1J03134661..
                                10301 10/23/2012 78102729/1




CLARK,NV                                                        Page 1 of 1                                 Printed on 10/26/2016 8:33:42 AM
Document: DOT ASN 2012.1106.35
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 692 of 807




                           I-4,xhibit 4




                           Exhibit 4




                           Exhibit 4
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 693 of 807
Branch :FLV,User :CON2                                      Comment:                                                                    Station Id :XJUY




                                                                                                      met #: 201402130000401
                                                                                                      Fees: $17.00
                                                                                                      NIC Fee: $0.00
                                                                                                      02/13/2014 09:23:14 AM
                  APN: 124-27-412-049                                                                 Receipt #: 1931730
                • RECORDING REQUESTED BY:                                                             Regueator:
                                                                                                      DOCUMENT PROCESSING SOLUM
                 When Recorded Mail To:                                                               Recorded By: RYUD Pga:1
                 Ocwen Loan Servicing, LLC
                                                                                                      DEBBIE CONWAY
                 1100 VIRGINIA DRIVE Suite 175
                                                                                                      CLARK COUNTY RECORDER
                 FORT WASHINGTON,       I P• 34


                                                                                             SPACE ABOVE THIS LINE FOR RECORDER'S USE
                 IS No: 1368218-1
                 The undersigned hereby affirms that there is no Social Security number contained in this document.
                                           ASSIGNMENT OF DEED OF TRUST

                 For Value Received, the undersigned corporation hereby grants, assigns, and transfers to:

                 Ocwen Loan Servicing, LLC

                         all beneficial interest under that certain Deed of Trust dated: 5/26/2009 executed by KEN
                 E. GREGORY, AN UNMARRIED MAN, as Trustor(s), to STEWART TITLE OF
                 NEVADA, as Trustee, and recorded 6/8/2009, as Instrument No. 20090608-0006547, of
                 Official Records, in the office of the County Recorder of Clark County, Nevada and all rights
                 accrued or to accrue under said Deed of Trust.


                 Date: January 17,2014
                                                            GMAC MORTGAGE, LLC


                                                             Ann-Marie A. Owens, Authorized Signer
                                                             Ocwen Loan Serivicing, LLC
                                                             Attorney-In-Fact
                 State of  Pennsylvania } SS
                 County of Montgomery

                 On „Ian v. 0-e .1 I 1, 2'0 1 '4 before me,        Lisa Howlin Thomas
                 Notary Public, personally appeared
                                                         Ann-Marie A. Owens
                 personally known to me (or proved to me on the basis of satisfactory evidence) to be the
                 person(s) whose name(s) is/are subscribed to the within instrument and acknowledged to me that
                 he/she/they executed the same in his/her/their authorized capacity(ies), and that by his/her/their
                 signature(s) on the instrument the person(s), or the entity upon behalf of which the person(s)
                 acted, executed the instrument.

                 WITNESS my hand and official seal.                                                NOTARIAL SEAL
                                                                                         LISA NOWLIN THOMAS, NOTARY PUBLIC
                                                                                       CHELTENHAM 1WP.. MONTGOMERY COUNTY
                 Signature      `1,„,                                (Seal)              MY COMMISSION EXPIRES MAY 8, 2016

                                 Lisa }Rodin Thomas
                                                                 Page 1 of 1




CLARK,NV                                                   Page 1 of 1                              Printed on 10/26/2016 8:33:47 AM
Document: DOT ASN 2014.0213.401
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 694 of 807




                           Exhibit 5




                           Exhibit 5




                           Exhibit 5
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 695 of 807
Branch :FLV,User :CON2                                           Comment:                                                                Station Id :XJUY




                                                                                                              Inst #: 201212180002236
                                                                                                             Fees: $17.00
                                                                                                             NIC Fee: $0.00
                                                                                                             12/16/2012 09:45:44 AM
                                                                                                             Receipt #: 1425496
                                                                                                             Requestor:
                                                                                                             NORTH AMERICAN TITLE COMPAN
                                                                                                             Recorded By: DGI Pgs: 1
                                                                                                              DEBBIE CONWAY
                                                                                                              CLARK COUNTY RECORDER




                   APN # 124-27-412-049
                   #N72906
                                                  Acconanodstion
                                          NOTICE OF DELINQUENT ASSESSMENT LIEN

                  In accordance with Nevada Revised Statutes and the Association's declaration of Covenants Conditions and
                  Restrictions (CC&Rs), recorded on August 7, 2002, as instrument number 00080 Book 20020807, of the official
                  records of Clark County, Nevada, the Santa Rosa has a lien on the following legally described property.
                  The property against which the lien is imposed is commonly referred to as 5733 Oasis Ridge Street North Las
                  Vegas, NV 89031 particularly legally described as: RANCHO MIRAGE UNIT 2 PHASE 2, PLAT BOOK 102,
                  PAGE 96, LOT 85, BLOCK 10 in the County of Clark.
                  The owner(s) of record as reflected on the public record as of today's date is (are):
                  Ken E Gregory
                  Mailing address(es):
                  5733 Oasis Ridge Street North Las Vegas, NV 89031
                  *Total amount due as of today's date is $3,016.50.
                  This amount includes late fees, collection fees and interest in the amount of $818.50
                        * Additional monies will accrue under this claim at the rate of the claimant's regular assessments or special
                  assessments, plus permissible late charges, costs of collection and interest, accruing after the date of the notice.
                        Nevada Association Services, Inc. is a debt collector. Nevada Association Services, Inc. is attempting to
                  collect a debt. Any information obtained will be used for that purpose.
                  Dated: December 14,2012



                  By Megan Moli of Nevada Association Services, Inc., as agent for Santa Rosa

                  When Recorded Mail To:
                  Nevada Association Services
                  TS # N72906
                  6224W. Desert Inn Rd, Suite A
                  Las Vegas, NV 89146
                  Phone: (702) 804-8885       Toll Free: (888) 627-5544 .




CLARK,NV                                                        Page 1 of 1                                 Printed on 10/26/2016 8:33:48 AM
Document: LN HOA 2012.1218.2236
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 696 of 807




                           Fixhibit 6




                           Exhibit 6




                           Exhibit 6
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 697 of 807
Branch :FLV,User :CON2                                         Comment:                                                                Station Id :XJUY




                                                                                                           Inst #: 201306210002082
                                                                                                           Fees: $18.00
                                                                                                           INK Fee: $0.00
                                                                                                           06121/2013 12:15:30 PM
                                                                                                           Receipt #: 1664904
                                                                                                           Requestor:
                                                                                                           TITLE SOLUTIONS, INC.
                                                                                                           Recorded By GILKS Pgs: 2
                 AP/4 # 124-27-412-049                                                                      DEBBIE CONWAY
                 NAS # N72906
                 Title Solutions, Inc. # 73 1 1L-C                                                          CLARK COUNTY RECORDER
                 Property Address: 5733 Oasis Ridge Street




                                  NOTICE OF DEFAULT AND ELECTION TO SELL UNDER
                                          HOMEOWNERS ASSOCIATION LIEN

                                                           IMPORTANT NOTICE

                 WARNING! IF YOU FAIL TO PAY THE AMOUNT SPECIFIED IN THIS
                 NOTICE, YOU COULD LOSE YOUR HOME, EVEN IF THE AMOUNT
                 IS IN DISPUTE!
                 IF YOUR PROPERTY IS IN FORECLOSURE BECAUSE YOU ARE BEHIND IN YOUR PAYMENTS IT
                 MAY BE SOLD WITHOUT ANY COURT ACTION and you may have the legal right to bring your account in
                 good standing by paying all your past due payments plus permitted costs and expenses within the time permitted
                 by law for reinstatement of your account. No sale date may be set until ninety (90) days from the date this notice
                 of default was mailed to you. The date this document was mailed to you appears on this notice.

                      This amount is $2,316.38 as of June 7, 2013 and will increase until your account becomes current.
                      While your property is in foreclosure, you still must pay other obligations (such as insurance and taxes)
                 required by your note and deed of trust or mortgage, or as required under your Covenants Conditions and
                 Restrictions. If you fail to make future payments on the loan, pay taxes on the property, provide insurance on the
                 property or pay other obligations as required by your note and deed of trust or mortgage, or as required under your
                 Covenants Conditions and Restrictions, Santa Rosa (the Association) may insist that you do so in order to
                 reinstate your account in good standing. In addition, the Association may require as a condition to reinstatement
                 that you provide reliable written evidence that you paid all senior liens, property taxes and hazard insurance
                 premiums.
                      Upon your request, this office will mail you a written itemization of the entire amount you must pay. You
                 may not have to pay the entire unpaid portion of your account, even though full payment was demanded, but you
                 must pay all amounts in default at the time payment is made. However, you and your Association may mutually
                 agree in writing prior to the foreclosure sale to, among other things, 1) provide additional time in which to cure
                 the default by transfer of the property or otherwise; 2) establish a schedule of payments in order to cure your
                 default; or both (1) and (2).
                      Following the expiration of the time period referred to in the first paragraph of this notice, unless the
                 obligation being foreclosed upon or a separate written agreement between you and your Association permits a
                 longer period, you have only the legal right to stop the sale of your property by paying the entire amount
                 demanded by your Association.
                      To find out about the amount you must pay, or arrange for payment to stop the foreclosure, or if your
                 property is in foreclosure for any other reason, contact: Nevada Association Services, Inc. on behalf of Santa
                 Rosa, 6224W. Desert Inn Road, Suite A, Las Vegas, NV 89146. The phone number is (702) 804-8885 or toll free
                 at (888) 627-5544.
                      If you have any questions, you should contact a lawyer or the Association which maintains the right of
                 assessment on your property.




CLARK,NV                                                       Page 1 of 2                                Printed on 10/26/2016 8:33:49 AM
Document: LN BR 2013.0621.2082
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 698 of 807
Branch :FLV,User :CON2                                          Comment:                                                                 Station Id :X.TUY




                  NAS # N72906

                       Notwithstanding the fact that your property is in foreclosure, you may offer your property for sale, provided
                  the sale is concluded prior to the conclusion of the foreclosure.

                  REMEMBER, YOU MAY LOSE LEGAL RIGHTS IF YOU DO NOT
                  TAKE PROMPT ACTION.
                  NOTICE IS HEREBY GIVEN THAT NEVADA ASSOCIATION
                  SERVICES, INC.
                  is the duly appointed agent under the previously mentioned Notice of Delinquent Assessment Lien, with the
                  owner(s) as reflected on said lien being Ken E Gregory, dated December 14, 2012, and recorded on December 18,
                  2012 as instrument number 0002236 Book 20121218 in the official records of Clark County, Nevada, executed
                  by Santa Rosa, hereby declares that a breach of the obligation for which the Covenants Conditions and
                  Restrictions, recorded on May 10, 2002, as instrument number 01313 Book 20020510, as security has occurred
                  in that the payments have not been made of homeowner's assessments due from 1/1/2012 and all subsequent •
                  homeowner's assessments, monthly or otherwise, less credits and offsets, plus late charges, interest, trustee's fees
                  and costs, attorney's fees and costs and Association fees and costs.
                       That by reason thereof, the Association has deposited with said agent such documents as the Covenants
                  Conditions and Restrictions and documents evidencing the obligations secured thereby, and declares all sums
                  secured thereby due and payable and elects to cause the property to be sold to satisfy the obligations.
                       Nevada Association Services, Inc. is a debt collector. Nevada Association Services, Inc. is attempting to
                  collect a debt. Any information obtained will be used for that purpose.
                       Nevada Associations Services, Inc., whose address is 6224 W. Desert Inn Road, Suite A, Las Vegas, NV
                  89146 is authorized by the association to enforce the lien by sale.
                  Legal Description: RANCHO MIRAGE UNIT 2 PHASE 2, PLAT BOOK 102, PAGE 96, LOT 85, BLOCK 10
                  in the County of Clark

                  Dated: June 7, 2013



                  By: Autumn Fesel, of Nevada 2
                                              1s.iation Services, Inc.
                  on behalf of Santa Rosa

                  When Recorded Mail To:
                  Nevada Association Services, Inc.
                  6224 W. Desert Inn Road, Suite A
                  Las Vegas, NV 89146
                  (702) 804-8885
                  (888) 627-5544




CLARK,NV                                                        Page 2 of 2                                Printed on 10/26/2016 8:33:49 AM
Document: LN BR 2013.0621.2082
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 699 of 807




                           F41,xhibit   7




                           Exhibit 7




                          Exhibit 7
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 700 of 807
Branch :FLV,User :CON2                                    Comment:                                            Station Id :XJUY




                                                                                         Inst it: 201310280001599
                                                                                         Fees: $18.00
                                                                                         N/C Fee: $0.00
                                                                                         10/28/2013 08:15:06 AM
                                                                                         Receipt #: 1822799
                     RECORDING COVER PAGE                                                Requester:
                    (Must be typed or printed clearly in BLACK ink only
                    and avoid printing in the "I" margins of document)                   TITLE SOLUTIONS, INC.
                                                                                         Recorded By: BGN Pgs: 2
                                                                                         DEBBIE CONWAY
                    APN#     taL\ --(3-1_4a-oqicit                                       CLARK COUNTY RECORDER



                    (11 digit Assessor's Parcel Number may be obtained at:
                     http://redrock.co.clark.nv.us/assrrealprop/ownr.aspx)


                                                     TITLE OF DOCUMENT
                                                        (DO NOT Abbreviate)
                    Notice of Foreclosure Sale



                   Document Title on cover page must appear EXACTLY as the first page of the
                   document to be recorded.



                   RECORDING REQUESTED BY:

                    Nevada Association Services

                   RETURN TO: Name
                                       Nevada Association Services

                                Address
                                          6224 W. Desert Inn Road

                                City/State/Zip
                                                 Las Vegas, NV 89146



                  MAIL TAX STATEMENT TO: (Applicable to documents transferring real property)

                                Name

                                Address

                               City/State/Zip


                     This page provides additional information required by NRS 111.312 Sections 1-2.
                                      An additional recording fee of $1.00 will apply.
                                To print this document properly—do not use page scaling.




CLARK,NV                                                  Page 1 of 2                  Printed on 10/26/2016 8:33:50 AM
Document: LN SLE 2013.1028.1599
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 701 of 807
Branch :FLV,User :CON2                                        Comment:                                                                 Station Id :XJUY




                         APN # 124-27-412-049                                 NAS ft N72906
                         Santa Rosa

                                                     NOTICE OF FORECLOSURE SALE

                     WARNING! A SALE OF YOUR PROPERTY IS IMMINENT! UNLESS
                     YOU PAY THE AMOUNT SPECIFIED IN THIS NOTICE BEFORE
                     THE SALE DATE, YOU COULD LOSE YOUR HOME, EVEN IF THE
                     AMOUNT IS IN DISPUTE. YOU MUST ACT BEFORE THE SALE
                     DATE. IF YOU HAVE ANY QUESTIONS, PLEASE CALL NEVADA
                     ASSOCIATION SERVICES, INC. AT (702) 804-8885. IF YOU NEED
                     ASSISTANCE, PLEASE CALL THE FORECLOSURE SECTION OF
                     THE OMBUDSMAN'S OFFICE, NEVADA REAL ESTATE DIVISION,
                     AT 1-877-829-9907 IMMEDIATELY.
                     YOU ARE IN DEFAULT UNDER A DELINQUENT ASSESSMENT LIEN, December 14,2012. UNLESS
                     YOU TAKE ACTION TO PROTECT YOUR PROPERTY, IT MAY BE SOLD AT A PUBLIC SALE. IF
                     YOU NEED AN EXPLANATION OF THE NATURE OF THE PROCEEDINGS AGAINST YOU, YOU
                     SHOULD CONTACT A LAWYER
                             NOTICE IS HEREBY GIVEN THAT on 11/22/2013 at 10:00 am at the front entrance to the Nevada
                     Association Services, Inc. 6224 West Desert Inn Road, Las Vegas, Nevada, under the power of sale pursuant to
                     the terms of those certain covenants conditions and restrictions recorded on May 10, 2002 as instrument
                     number 01313 Book 20020510 of official records of Clark County, Nevada Association Services, Inc., as duly
                     appointed agent under that certain Delinquent Assessment Lien, recorded on December 18, 2012 as document
                     number 0002236 Book 20121218 of the official records of said county, will sell at public auction to the highest
                     bidder, for lawful money of the United States, all right, title, and interest in the following commonly known
                     property known as: 5733 Oasis Ridge Street, North Las Vegas, NV 89031. Said property is legally described
                     as: RANCHO MIRAGE UNIT 2 PHASE 2, PLAT BOOK 102, PAGE 96, LOT 85, BLOCK 10, official
                     records of Clark County, Nevada.
                     The owner(s) of said property as of the date of the recording of said lien is purported to be: Ken E Gregory
                            The undersigned agent disclaims any liability for incorrectness of the street address and other common
                     designations, if any, shown herein. The sale will be made without covenant or warranty, expressed or implied
                     regarding, but not limited to, title or possession, or encumbrances, or obligations to satisfy any secured or
                     unsecured liens. The total amount of the unpaid balance of the obligation secured by the property to be sold
                     and reasonable estimated costs, expenses and advances at the time of the initial publication of the Notice of
                     Sale is $3,030.81. Payment must be in cash or a cashier's check drawn on a state or national bank, check drawn
                     on a state or federal savings and loan association, savings association or savings bank and authorized to do
                     business in the State of Nevada. The Notice of Default and Election to Sell the described property was
                     recorded on 6/21/2013 as instrument number 0002082 Book 20130621 in the official records of Clark County.
                           Nevada Association Services, Inc. is a debt collector. Nevada Association Services, Inc. is attempting to
                     collect a debt. Any information obtained will be used for that purpose.

                         October 23,2013                       Nevada Association Services, Inc.
                                                               6224W. Desert Inn Road, Suite A
                                                               Ls Vegas, NV 89146 (70) 04-8885, (888) 627-5544
                         When Recorded Mail To:
                         Nevada Association Services, Inc.
                         6224 W. Desert Inn Road, Suite A          Elissa Hollander, Agent for Association and employee of
                         Las Vegas, NV 89146                     evade Association Services, Inc.




CLARK,NV                                                      Page 2 of 2                                 Printed on 10/26/2016 8:33:50 AM
Document: LN SLE 2013.1028.1599
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 702 of 807




                           Exhibit 8




                           Exhibit 8




                           Exhibit 8
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 703 of 807
Branch :FLV,User :CON2                                       Comment:                                                             Station Id :XJUY




                                                                                                             1o21* 201311260001412
                                                                                                             Feea: $18.00 WC Fee: $0.00
                                                                                                             RPTT: $627.30 Ex: #
                                                                                                             11126/2013 10:09:04 AM
                                                                                                             Receipt* 1854993
                                                                                                             Regueator:
                                                                                                             RESOURCES GROUP
                                                                                                             Recorded By: MSH Pga: 3
                                                                                                             DEBBIE CONWAY
                         Please mail tax statement and                                                       CLARK COUNTY RECORDER
                         when recorded mail to:
                         Saticoy Bay LLC Series 5733 Oasis Ridge
                         P.O. Box 36208
                         Las Vegas, NV 89133

                                                             FORECLOSURE DEED

                          APN # 124-27-412.-049
                          Title Solutions, Inc. #73I946                                                       NAS # N72906

                         The undersigned declares:

                         Nevada Association Services, Inc., herein called agent (for the Santa Rosa), was the duly
                         appointed agent under that certain Notice of Delinquent Assessment Lien, recorded December
                         18, 2012 as instrument number 0002236 Book 20121218, in Clark County. The previous owner
                         as reflected on said lien is Ken E Gregory. Nevada Association Services, Inc. as agent for Santa
                         Rosa does hereby grant and convey, but without warranty expressed or implied to: Saticoy Bay
                         LLC Series 5733 Oasis Ridge (herein called grantee), pursuant to MRS 116.31162, 116.31163
                         and 116.31164, all its right, title and interest in and to that certain property legally described as:
                         RANCHO MIRAGE UNIT 2 PHASE 2, PLAT BOOK 102, PAGE 96, LOT 85, BLOCK 10
                         Clark County

                         AGENT STATES THAT:
                         This conveyance is made pursuant to the powers conferred upon agent by Nevada Revised
                         Statutes, the Santa Rosa governing documents (CC&R's) and that certain Notice of Delinquent
                         Assessment Lien, described herein. Default occurred as set forth in a Notice of Default and
                         Election to Sell, recorded on 6/21/2013 as instrument #0002082 Book 20130621 which was
                         recorded in the office of the recorder of said county. Nevada Association Services, Inc. has
                         complied with all requirements of law including, but not limited to, the elapsing of 90 days,
                         mailing of copies of Notice of Delinquent Assessment and Notice of Default and the posting and
                         publication of the Notice of Sale. Said property was sold by said agent, on behalf of Santa Rosa
                         at public auction on 11/22/2013, at the place indicated on the Notice of Sale. Grantee being the
                         highest bidder at such sale, became the purchaser of said property and paid therefore to said agent
                         the amount bid $25,000.00 in lawful money of the United States, or by satisfaction, pro tanto, of
                         the obligations then secured by the Delinquent Assessment Lien.

                         Dated: November 25, 2013


                         L4(YLt
                         By Misty )31
                                               4J
                                             d, Agent for Association and Employee of Nevada Association Services




CLARK,NV                                                     Page 1 of 3                                Printed on 10/26/2016 8:33:51 AM
Document: DED 2013.1126.1412
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 704 of 807
Branch :FLV,User :CON2                                         Comment:                                                            Station Id :XJUY




                         STATE OF NEVADA
                         COUNTY OF CLARK
                         On November 25, 2013, before me, Susana E. Puckett, personally appeared Misty Blanchard personally
                         known to me (or proved to me on the basis of satisfactory evidence) to be the person whose name is
                         subscribed to the within instrument and acknowledged that he/she executed the same in his/her
                         authorized capacity, and that by signing his/her signature on the instrument, the person, or the entity
                         upon behalf of which the person acted, executed the instrument.
                         WITNESS my hand and seal.

                         (Seal)                                                       (Signature)

                                            SUSANA E. PUCKETT
                                           Notary Public, Stale of Nevada
                                            Appointment No.114985-1
                                           My Ap . Ex ires April 21,2015




CLARK,NV                                                      Page 2 of 3                               Printed on 10/26/2016 8:33:51 AM
Document: DED 2013.1126.1412
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 705 of 807
Branch :FLV,User :CON2                                      Comment:                                                            Station Id :XJUY




                   STATE OF NEVADA .
                   DECLARATION OF VALUE

                   1. Assessor Parcel Number(s)
                     a.124-27-412-049
                     b.
                      C.
                     d.
                   2. Type of Property:
                      a.    Vacant Land       b. Fl Single Fem. Res.        FOR RECORDERS OPTIONAL USE ONLY
                     c. Condo/Twnhse d.
                      e.
                     g.
                            Apt. Bldg
                            Agricultural
                                               ••
                                               f.
                                              IL
                                                    2-4 Plex
                                                    Comm1/Ind'l
                                                    Mobile Home
                                                                            Book
                                                                            Date of Recording:
                                                                            Notes:
                                                                                               Page:


                            Other
                   3.a. Total Value/Sales Price of Property                             eya.
                     b. Deed in Lieu of Foreclosure Only (value of property (
                     c. Transfer Tax Value:                                      /-Z:Z 9V-O.er)
                    d. Real Property Transfer Tax Due
                                                                                  •
                   4. If Exemption Claimed:
                         a. Transfer Tax Exemption per NRS 375.090, Section
                         b. Explain Reason for Exemption:

                   5. Partial Interest: Percentage being transferred: 100 %
                   The undersigned declares and acknowledges, under penalty of perjury, pursuant to MRS 375.060
                    and NRS 375.110, that the information provided is correct to the best of their information and belief,
                    and can be supported by documentation if called upon to substantiate the information provided herein.
                   Furthermore, the parties agree that disallowance of any claimed exemption, or other determination of
                   additional tax due, may result in a penalty of 10% of the tax due plus interest at 1% per month. Pursuant
                   to NRS 375.030, the Buyer and Seller shall be jointly and severally liable for any additional amount owed.

                   Signature                            eh                  Capacity: Agent for HOA/NAS Employee

                   Signature                                                Capacity:

                   SELLER (GRANTOR) INFORMATION                             BUYER (GRANTEE) INFORMATION
                                 (REQUIRED)                                         fr-ofj(MULIF,
                                                                            Prin Name.           ooisis
                                                                                                        tee/5,0
                   Print Name: Nevada Association Services
                   Address:6224 W. Desert inn Road                          Address: P.O. Box 36208
                   City: Las Vegas                                          City: Las Vegas
                   State: Nevada         Zip: 89146                         State: Nevada        Zip: 89133

                   COMPANY ERSON REQUESTING RECORDING (Required if not seller or buyer)
                   Print N       /C.4034eLL SL-72.(e3        Escrow ii
                   Addres0.0 40,,C 3424?       5733 o1356 R/416"
                   City:                                    State: xj,47 Zip: erfr...g.3

                               AS A PUBLIC RECORD THIS FORM MAY BE RECORDED/MICROFILMED




CLARK,NV                                                   Page 3 of 3                              Printed on 10/26/2016 8:33:52 AM
Document: DED 2013.1126.1412
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 706 of 807




                           Exhibit 9




                           Exhibit 9




                           Exhibit 9
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 707 of 807
Branch :FLV,User :EDLE                                              Comment:                           Station Id :X7QR




                                                                                      200M10
                                                                                      .013b

                       APN:

                       WHEN RECORDED RETURN TO:

                       SANTORO, DRIGGS, WALCH.
                       KEARNEY, JOHNSON & THOMPSON
                       3773 Howard Hughes Parkway, Suite 290N
                       Las Vegas, Nevada 89109
                       Attention: Rodney S. Woodbury, Esq.




                                                                    DECLARATION
                                       OF COVENANTS, CONDITIONS, AND RESTRICTIONS FOR
                                                        SANTA ROSA




                This inbtrument is delivered le tho fietvrdoeS
             'Ake 115 all aconourodmiton. bv Nevado Title Contry,
                for ohysicat convenience only. II has not Nett
                 examined as to Its d4y. eteculion et it's
                           attest upon nit% if   onY.




CLARK,NV                                                       Page 1 of 98       Printed on 11/1/2016 4:58:39 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 708 of 807
Branch :FLV,User :EDLE                                  Comment:                               Station Id :X7QR




                                                                                1i1110
                                                                              2800

                                                       TABLE OF CONTENTS


                    ARTICLE I.

                              Recitals                                                   1
                              1.01 Real Property                                         1
                              1.02 Planned Community                                     1
                              1.03 Owners Association                                    1
                              1.04 The Development
                              1.05 Covenants Running With Land                           1
                              1.06 Declaration                                           2

                    ARTICLE II.

                              Definitions                                                2
                              2.01 "Act"                                                 2
                              2.02 "Annexable Area"                                      2
                              2.03 "Architecture Committee"                              2
                              2.04 "Articles"                                            2
                              2.05 "Assessment"                                          2
                              2.08 "Association*                                         2
                              2,07 "Association Property-                                2
                              2.08 "Board"                                               2
                              2.09 "Bylaws"                                              2
                              2,10 "Common Area"                                         3
                              2.11 "Contingent Annexabe Area"                            3
                              2.12 "Declarant'                                           3
                              2.13 "Design Guidelines"                                   3
                              2.14 "Development"                                         3
                              2.15 "Eligible Holder                                      3
                              2.16 "Improvement"                                         3
                              2.17 "Lessee"                                              3
                              2.18 tot"                                                  3
                              2.19 "Member'                                              4
                              2.20 "Mortgage"                                            4
                              2.21 "NRS"                                                 4
                              2.22 "Owner"                                               4
                              2.23 "Party Walls"                                         4
                              2.24 "Perimeter Walls"                                     4
                              2.25 "Person"                                              4
                              2.26 "Property'                                            4
                              2.27 "Record. *Recording," or *Recorded"                   4
                              2.28 "Residence"                                           4
                              2.29 "Rules and Regulations"                               4

                     I •Ner Da•Dr•}4...SourArSt/L).0




CLARK,NV                                                Page 2 of 98       Printed on 11/1/2016 4:58:39 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 709 of 807
Branch :FLV,User :EDLE                                Comment:                                              Station Id :X7QR




                                                                                       2801 i013510

                             2.30 "Site Development Plan-                                              4
                             2.31 "Subdivision Mar                                                     4

                    ARTICLE

                             Property and Property Rights                                              5
                             3.01 Description of the Property                                          5
                             3.02 No Representations or Warranties                                     5
                             3.03 Lots                                                                 5
                             3.04 Association Property                                                 6
                             3.05 Special Declarants Rights                                           11

                    ARTICLE IV.

                             Owners' Association; Membership and Voting Rights                        11
                             4.01 Association                                                         11
                             4.02 Membership Rights                                                   12
                             4.03 Control of Association                                              12
                             4,04 Meetings of Members                                                 14
                             4.05 Duties of the Association                                           15
                             4.06 Powers and Authority of the Association                             18
                             4.07 Indemnificatk)n                                                     22
                             4.08 Diseased Trees                                                      24
                             4.09 Perimeter Waits                                                     74
                             4.10 Rules                                                                24
                             4,11 Breach of Rules, Regulations. or Restrictions                        25
                             4.12 Fines                                                               25
                             4.13 Liability of Members of Board                                       26
                             4.14 Amendment                                                           26

                    ARTICLE V.

                             Covenant for Maintenance Assessments                                     26
                             5.01 Assessments                                                         26
                             5.02 Purpose of Assessments                                              26
                             5.03 Regular Assessments                                                 27
                             5.04 Special Assessments                                                 29
                             5.05 Notice of Special Assessments: Time for Payment                     29
                             5.06 Collection of Assessments                                           29
                             5.07 Unpaid Assessments                                                   29
                             5.08 Mortgage Protection                                                  30
                             5.09 Effect of Amendments on Mortgages                                   30
                             5.10 Annual Assessments Paid By Declarant                                30



                    14.. Reamer Sou 1..KCJO. 1.0




CLARK,NV                                              Page 3 of 98                  Printed on 11/1/2016 4:58:39 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 710 of 807
Branch :FLV,User :EDLE                                   Comment:                                              Station Id :X7QR




                                                                                               NO/0510
                                                                                               .01s13

                   ARTICLE VI.

                               Permitted Uses and Restrictions                                           31
                               6.01 Improvements and Use                                                 31
                               6.02 Animals                                                              31
                               6.03 Commercial or Other Non-Residential Uses                             31
                               6.04 Utility Service                                                      32
                               6.05 Nuisances                                                            32
                               6.06 Garbage                                                              32
                               6.07 Antennae, Satellite Dishes and Solar Collectors                      32
                               6.08 Signs                                                                32
                               6.09 Equipment and Machinery                                              32
                               6.10 Laundry                                                              33
                               6.11 Propane Tanks                                                        33
                               6.12 Maintenance of Lawn and Plants                                       33
                               6.13 Vehicle Parking                                                      33
                               6.14 Leases                                                               34
                               6.15 Resubdivision                                                        35
                               6.16 Improvements                                                         35
                               6.17 Taxes                                                                35
                               6.18 Rules and Regulations                                                35
                               6.19 Hazardous Substances                                                 35
                               6.20 Party Walls                                                          35
                               6.21 Exterior Holiday Decorations.                                        35

                   ARTICLE Vil.

                               Architecture Committee                                                    36
                               7.01 Establishment of Committee                                           36
                               7.02 members of Committee                                                 36
                               7.03 Architectural Design Guidelines                                      36
                               7.04 Landscape Standards                                                  37
                               7.05 Review of Proposed improvements                                      37
                               7.06 Meetings of the Committee                                            38
                               7.07 No Waiver of Future Approvals                                        38
                               7.08 Compensation of Members                                              38
                               7.09 Inspection of Work                                                   38
                               7.10 Nonliability of Committee Members                                    39
                               7.11 Variances                                                            40
                               7.12 Obligations with Respect to Zoning and Subdivisions                  40
                               7.13 Indemnification of Architecture Committee                            40

                   ARTICLE VIII.

                               Mortgagee Provisions                                                      40

                    /pm 3.■■   Irlase.   Alta 1                  iv




CLARK,NV                                                Page 4 of 98                      Printed on 11/1/2016 4:58:39 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 711 of 807
Branch :FLV,User :EDLE                                  Comment:                                          Station Id :X7QR




                                                                                          2M0510
                                                                                           J1313

                              8.01 Notices of Action                                                41
                              8.02 Special Provision                                                41
                              8.03 Other Provisions for First Mortgages                             42
                              8.04 No Priority                                                      42
                              8.05 Notice to Association                                            42
                              8.06 Amendment by Board                                               42
                              8.07 Applicability                                                    43
                              8.08 Failure of Mortgagee to Respond                                  43

                   ARTICLE IX.

                              Annexation                                                            43
                              9.01 Annexation of Additional Property by Association                 43
                              9.02 Annexation by Declarant                                          43
                              9.03 Procedure for Annexation                                         43
                              9.04 Deannexation                                                     44

                   ARTICLE X.

                              General Provisions                                                    44
                              10.01 Term                                                            44
                              10.02 Resale of Lots                                                  44
                              10,03 Lease of Property                                               45
                              10.04 Amendment                                                       45
                              10.05 Enforcement and Nonwaiver                                       47
                              10.06 Notices                                                         48
                              10.07 Construction                                                    48
                              10.08 State Law                                                       49
                              10.09 Priorities, Inconsistencies                                     49




                   1P    DraDeff■meaa..0..‹Cat, I                 V




CLARK,NV                                               Page 5 of 98                   Printed on 11/1/20164:58:39 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 712 of 807
Branch :FLV,User :EDLE                                  Comment:                                                     Station Id :X7QR




                                                                                                  200Z0510
                                                                                                  .01313

                                                        DECLARATION
                                        OF COVENANTS, CONDITIONS, AND RESTRICTIONS FOR
                                                         SANTA ROSA

                         THIS DECLARATION (the "Declaration") is made this        day of May, 2002, by
                   Centex Homes of Nevada. a Nevada general partnership (the "Declarant").

                                                            ARTICLE I.

                                                             Recitals

                           1.01 Real Property. Declarant is the owner of certain real property located entirely
                   in Cleft County, Nevada, more particularly described in Exhibit "A" attached hereto (the
                   "Property"). The Property shall include any additional real property that may from time to
                   time be annexed thereto.

                          1.02 Planned Community. Dedarant desires to develop the Property and, if Declarant
                   so elects, the adjacent land described in Section 2.02 (the *Annexable Area") as a residential
                   community and to establish covenants, conditions, and restrictions relating to the use,
                   enjoyment, maintenance, improvement, and occupancy of the Property. The residential
                   community shall be developed as a planned community under a general plan of development
                   pursuant to the Act (as hereinafter defined) and shall be named Santa Rosa (the
                   "Development"). If the entire Annexable Area is annexed as provided herein, the planned
                   community will consist of up to a maximum of one hundred twenty-five (125) Lots (as hereinafter
                   defined).

                          1.03 Owners Association. Declarant desires to establish Santa Rosa Homeowners
                   Association, a Nevada nonprofit corporation (the "Association"), for the purpose of maintaining
                   and administering the Common Areas (as hereinafter defined)of the Property, administering
                   and enforcing these covenants, conditions. and restrictions, and collecting and disbursing
                   funds pursuant to Assessments and charges established by these covenants, conditions,
                   and restrictions. Each Lot shall have appurtenant to it a membership in the Association.

                          1.04 The Development Dedarant contemplates developing the Property, constructirg
                   the Development, and conveying the Association Property (as hereinafter defined) to the
                   Association in a planned multi-phase development. Although Declarant contemplates
                   completing all phases of the Development and subjecting the Annexable Area to this
                   Declaration, there is no guarantee that any or all of the phases of the Development or that
                   any or all of the Annexable Area will be developed by Declarant.

                           1.05 Covenants Running With Land. This Declaration shall run with the Property
                   and all parts and parcels thereof and shall be binding on all parties having any right, title.
                   or interest in the Property and their heirs, successors, successors-in-title, and assigns and
                   on the Association and all of its successors in interest and shall inure to the benefit of each
                   owner or member thereof. Each of the limitations, easements, uses, obligations, covenants,
                   I 1...D.1161frogn3...11roCCAtOvi,




CLARK,NV                                               Page 6 of 98                          Printed on 11/1/20164:58:39 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 713 of 807
Branch :FLV,User :EDLE                                     Comment:                                               Station Id :X7QR




                                                                                                 2000510
                                                                                                 .01',113

                   conditions, and restrictions imposed hereby shag be deemed to be and construed as equitable
                   servitudes enforceable by any of the owners of any portion of the Property subject to this
                   Declaration against any other owner, tenant, or occupant of the Property or portion thereof
                   similarly restricted by this Declaration.

                          1.06 Declaration. Declarant hereby declares that all of the Property shall be held,
                   sold, conveyed, hypothecated, encumbered, leased, rented, used, occupied, and improved
                   subject to the following easements, restrictions. covenants, and conditions, which are for
                   the purpose of protecting the value and desirability of the Property.

                                                              ARTICLE

                                                               Definitions

                          In addition to the terms elsewhere defined herein, the following terms shall have the
                   following meanings whenever used in this Declaration.

                         2.01 "Act" shall mean the Nevada Common Interest Ownership Act, NAS 116.1101
                   et seq.

                          2.02 "Annexabie Area" shall mean the real property described in Exhibit"B" hereto,
                   including the Contingent Annexable Area described in Exhibit "C" hereto.

                           2.03 "Architecture Committee" shall mean the committee created by Article VII
                   of this Declaration.

                        2.04 "Articles" shall mean the articles of incorporation of the Association as may
                   be amended from time to time.

                         2.05 "Assessment" shall mean those Assessments set forth in Article V of this
                   Declaration.

                         2.06 "Association" shall mean Santa Rosa Homeowners Association, a Nevada
                   nonprofit corporation. and its successors and assigns.

                          2.07 "Association Property" shall mean all property, real and personal, owned
                   or leased by the Association, including, without limitation, the Common Area.

                               2.08 "Board" shall mean the Board of Directors of the Association.

                          2.09 "Bylaws" shall mean the Bylaws of the Association as may be amended from
                   time to time.




                   I     n.I.,Cd CM. Sol. /VW (CA MT sly




CLARK,NV                                                   Page 7 of 98                     Printed on 11/1/2016 4:58:39 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 714 of 807
Branch :FLV,User :EDLE                                     Comment:                                                  Station Id :X7QR




                                                                                                  20(40510
                                                                                                  .01313

                          2.10 "Common Area" shall mean all real property (including the improvements
                  thereto) designated as common elements on the Site Development Plan (as hereinafter
                  defined) or any subsequent subdivision or parcel map of the Property, that is now or hereafter
                  conveyed by Declarant to the Association, including private streets, if any, sewer and water
                  lines, easements, park areas, and other such property.

                          2.11 "Contingent Annexabe Area" shall mean the real property described in Exhibit
                  "C" hereto. The Contingent Annexable Area has been subjected to that certain Declaration
                  of Covenants. Conditions, and Restrictions for Rancho Mirage recorded on April 5, 1995,
                  ir. Book 950405 as Instrument 00740 in the Office of the Recorder of Clark County, Nevada
                  (as amended, the "Rancho Mirage Declaration"). Anything herein to the contrary
                  notwithstanding, in no event shall the Contingent Annexable Area or any portion thereof
                  be added to the Property, subjected to this Declaration, or included within the jurisdiction
                  of the Association pursuant to Article IX hereof unless and until such property has been duly
                  deannexed from coverage of the Rancho Mirage Declaration. Declarant makes no
                  representation or warranty of any kind, express or implied, that the Contingent Annexable
                  Area or any portion thereof will ever be deannexed from coverage of the Rancho Mirage
                  Declaration or that it will be added to the Property, subjected to this Declaration, or included
                  within the jurisdiction of the Association.

                         2.12 "Declarant" shall mean Centex Homes of Nevada, a Nevada general partnership,
                  and its successors and assigns.

                      2.13 "Design Guidelines" shall mean the guidelines adopted by the Architecture
                  Committee as set forth in Article VII.

                        2.14 "Development" shall mean the residential community referred to as Santa
                  Rosa being developed by Declarant as a planned community pursuant to the Act.

                          2.15 "Eligible Holder" shall mean the Persons (as hereinafter defined) described
                  in Article Vlli of this Declaration.

                         2.16 "Improvement" shall mean the buildings, structures, improvements, roadways.
                  parking areas, lighting fixtures, fences, walls, hedges, plantings, planted trees and shrubs,
                  swimming pools, patios, decks. outbuildings, athletic facilities, and all other structures or
                  landscaping of every type and kind upon the Property.

                        2.17 "Lessee" shall mean any Person who rents, leases, or subleases any Lot
                  from an Owner (as hereinafter defined) or a Person in privity with an Owner.

                        2.16 "Lot" shall mean each of the lots, with the exception of the Common Area,
                  shown on the Site Development Plan or any subsequent subdivision or parcel map of the
                  Property, and all Improvements erected, constructed, or located thereon.



                   Iota (4.0.1C.n Sfout 1,..1 I AN. 1.14            3




CLARK,NV                                                   Page 8 of 98                      Printed on 11/1/2016 4:58:40 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 715 of 807
Branch :FLV,User :EDLE                                    Comment:                                                   Station Id :X7QR




                                                                                                   2000510
                                                                                                   .0Wt3

                              2.19 "Member" shall mean each of those Owners who are members ofthe Associatio n.

                              2.20 "Mortgage" shah mean a mortgage or deed of trust that encumbers any Lot.

                              2.21 "NRS" shall mean the Nevada Revised Statutes.

                          2.22 "Owner shall mean the record owner, whether one or more persons or entities,
                   of a fee simple title to any Lot, including contract sellers but excluding those having such
                   interest merely as security for the performance of an obligation.

                          2.23 "Party Wa Hs"sha ll mean those walls, other than Perimeter Walls (as hereinafter
                   defined), located anywhere on the Development that form Lot boundaries.

                         2.24 "Perimeter Walls" shall mean those walls all or a part of which are located
                   on Association Property or separate a Lot from Association Property.

                              2.25 "Person" shall mean a person, partnership, corporation, trustee, or other legal
                   entity.

                          2.25 "Property" shall mean that real property located entirely in Clark County, Nevada,
                   more particularly described in Exhibit "A" attached hereto. The Property shall include any
                   additional real property that may from time to time be annexed thereto.

                          2.27 "Record, "Recording," or "Recorded" shall mean to file, the filing, or filed
                   of record a legal instrument in the Office of the Recorder of Clark County, Nevada, or such
                   other place as may be designated as the official location for recording deeds, plats, and
                   similar documents affecting title to real property in Clark.

                         2.28 "Residence" shall mean and refer to any dwelling constructed on a Lot in
                   accordance with all local, state, and federal laws and this Declaration.

                         2.29 "Rules and Regulations" shall mean the rules and regulations adopted by
                   the Board pursuant to Section 4.10 of this Declaration.

                         2.30 "Site Developrn ent Plan" shall mean the general plot plan of the Development
                   attached hereto as Exhibit "D."

                          2.31 "Subdivision Map"shall mean the ma p(s) or plat(s) of the Development Recorded
                   or to be Recorded in the Office of the Recorder of Clark County, Nevada.




                   I 1.41)./A4f000s&A.M....1.■ Ital.14              4




CLARK,NV                                                 Page 9 of 98                         Printed on 11/1/2016 4:58:40 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 716 of 807
Branch :FLV,User :EDLE                                         Comment:                                                Station Id :X7QR




                                                                                                    20020510
                                                                                                    .01313

                                                                  ARTICLE Ill,

                                                          Property and Property Rights

                        3.01 Description of the Property. The Property shall consist of the Lots and the
                    Common Area.

                            3.02 No Representations o r Wa rranties. No representations orwarranties of any
                    kind, express or implied, other than the standard warranty required by VA and FHA, have
                    been given or made by Declarant or its agents or employees in connection with the Property
                    or any portion thereof, orany Improvement thereon, its physica I con dition , zoning, compliance
                    with applicable laws, or fitness for intended use, or in connection with the subdivision, sale,
                    operation, maintenance, cost of maintenance, taxes, or regulation thereof 25 a common-interest
                    community, except as specifically and expressly set forth in this Declaration and except as
                    may bellied by Declarant from time to time with any governrnental authority. To the extent
                    permitted bylaw, the Association, each and every Owner, and their successors and assigns
                    hereby waive, and Declarant hereby expressly disclaims and excludes, any and all express
                    and implied warranties created by NRS 116.4113, NRS 116.4114, and other applicable laws,
                    including, without limitation, any implied warranty of quality, merchantability, fitness for a
                    particular purpose. habitability, and workmanship. By virtue of obtaining its ownership interest
                    in the Property or any portion thereof, the Association and each and every Owner hereby
                    covenant and agree that the period for commencing any action against Declarant for breach
                    of any obligations or warranties arising under NRS 116.4113 or 116.4114 shall be two (2)
                    years after the cause of action accrues.

                                3.03 Lots.

                                     (a)     Reciprocal Easements. Each Lot and its Owner shall have an easement
                    and the same is hereby granted by the Declarant over all adjoining parcels for the purpose
                    of accommodating any encroachment due to engineering errors. errors in original construction,
                    settlement or shifting of the land, or any other cause: provided, however, that in no event
                    shall an easement for encroachment be created in favor of an Owner or Owners if the
                    encroachment occurred due to construction or alteration by the Owner (except Declarant)
                    or the negligence or willful misconduct of the Owner. In the event a structure on any Lot
                    is partially or totally destroyed and then repaired or rebuilt, the Owners of each Lot agree
                    that minor unintentional encroachments over adjoining Lots not to exceed one (1)foot shall
                    be permitted and that there shall be easements for the maintenance of the encroachments
                    so long as they shall exist,

                                 (b)    Association Easements. There are hereby reserved to the Association
                    such easements across the Property as are necessary to perform the duties and obligations
                    of the Association.




                    1 .not 114.11,61(.4%**Momlt F110..1                5




CLARK,NV                                                     Page 10 of 98                      Printed on 11/1/2016 4:58:40 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 717 of 807
Branch :FLV,User :EDLE                                    Comment:                                                         Station Id :X7QR




                                                                                                       2002H13
                                                                                                       .01313

                                  (c)     Utilities Easement. There is hereby granted in favor of Declarant, the
                   Association, and their respective licensees an easement across each Lot for purposes of
                   installing, facilitating, maintaining, repairing, replacing, or inspecting sewer, drainage,
                   underground power lines, cable television systems, or other utilities over, under, and across
                   the Property. All utility hook-ups and fixtures and improvements relating thereto shall be
                   the property of the Association.

                                 (d)    Emergency Repairs Easement. In addition tog other easements reserved
                   or granted herein, there is hereby reserved to the Association an easement across each
                   Lot as is necessary to permit a reasonable right of entry onto each Lot for the purpose of
                   performing emergency repairs or to do other work reasonably necessary for the proper
                   maintenance of the Development.

                                   (e)    Maintena nce Obligation of Owners. It shall be the duty of each Owner
                   at its sole cost and expense, subject to the provisions of this Declaration requiring approval
                   of the Architecture Committee, to maintain, repair, replace, and restore (including any mainte-
                   nance, repairs, replacement, or restoration required as a result of any damage or destruction
                   of the Property by casualty or otherwise) any Residence, Improvements, and landscaping
                   located on its Lot and the Lot itself in a neat, sanitary, and attractive condition and in accordance
                   with the Rules and Regulations of the Association, all as determined by the Board in its sole
                   and absolute discretion. If any Owner shall permit any Residence, improvements, or the
                   Lot to fall into disrepair or to become unsafe. unsightly, or unattractive or otherwise violate
                   this Declaration, the Association shall havethe right to seek any remedies at law or in equity
                   it may have. In addition, the Board shall have the right, but not the duty, if such unacceptable
                   maintenance is not corrected within thirty (30) days of written notice from the Association
                   (or such longer period if reasonably necessary under the circumstances, provided the owner
                   is diligently performing such maintenance or repairs), to enter upon such Owner's Lot and
                   make such repairs and perform such maintenance and charge the costs thereof to Owner.
                   Such costs shall be enforced, including penalty fees and costs, as an Assessment on the
                   Lot pursuant to Article V hereof.

                               (f)     Insurance Obligationsof Owners. Each Owner shall insure the Residence
                   and Improvements on its Lot against loss or damage by fire or by any other casualty in an
                   amount as near as practical to the full replacement value of the Residence and pertinent
                   Improvements, without deduction for depreciation or coinsurance.

                             3.04 Association Property.

                                    (a)   CDnveyance of Association Property. The Declarant hereby covenants
                   for itself, its successors, and assigns, at the time of the conveyance of the twelfth (12th)
                   Lot in the Property to an Owner not the Declarant, that it will convey title to the Association
                   Property on the Property to the Association free and clear of all encumbrances and liens,
                   except utility easements, covenants, conditions, and reservations then of record, including,
                   without limitation, those set forth in this Declaration. Similar conveyances shall be made


                    two Ng...44...r.... kw" Ako.,I                   6




CLARK,NV                                                Page 11 of 98                             Printed on 11/1/2016 4:58:40 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 718 of 807
Branch :FLV,User :EDLE                                    Comment:                                                       Station Id :X7QR




                                                                                                       20020510
                                                                                                       .0131

                    to the Association at the time of the conveyance to an Owner not the Declarant of the first
                    Lot in each subsequent phase of the Development

                                   (b)    Declarant's Right to Inspect Prior to Conveyance. At any time prior
                    to conveyance by Declarant to the Association of the Association Property with respect to
                    any given phase of the Development, Declarant shall have the right, but not the obligation,
                    after providing reasonable notice to the Association, to cause, from time to time, an independent
                    third party approved by Declarant and the Association to conduct inspections and tests of
                    all or any parts of the Common Area in order to ascertain the physical condition of the
                    Improvements thereon and determine whether maintenance, repairs. or replacements of
                    any such Improvements are indicated. If the Declarant causes any such tests or inspections
                    to be conducted, it shall pay all costs thereof, restore the affected portion of the Property
                    to its condition immediately prior to the inspections and tests, and indemnify the Association
                    and Owner(s) of any affected unit(s) from any damage resulting therefrom. The Declarant
                    may have a representative accompany the inspector if it so ele cts. The Declarant shall provide
                    the Association with copies of any written reports describing the results of any such inspections
                    or tests. The third party inspector. the Declarant, and its respective representatives shall
                    have such rights of entry on, over, under, across, and through the Property as may be
                    reasonably necessary to exercise the rights described in this subsection 3.04(b).

                                   (c)     Common Area Ownership. The Common Area shall be owned by the
                    Association in fee simple for the use, enjoyment, and convenience of the Owners and shall
                    contain the roadways, walkways, landscaped areas, recreational areas, parking areas, storage
                    and trash areas, utility easements, all Perimeter Wails, and all other areas of the Property
                    note part of the Lots. Each Lot and its Owner shall have an easementover allot the Common
                    Area, and such easement is hereby granted, transferred, and conveyed to all Owners by
                    the Declarant for the benefit of the Lots, the Owners, and each of them, and for their respective
                    families, guests, and invitees for all of the foregoing purposes. In furtherance of the establish-
                    ment of this easement, the individual deeds to the Lots may, but shall not be required to.
                    set forth the foregoing easements.

                                 (d)     Use. Each Member or Lessee who resides on the Property and their
                    respective families, guests, and invitees who reside with them shall be entitled to use the
                    Common Area subject to the following:

                                           (i)      the rightof the Association to charge reasonable dues, use fees,
                    and other fees for those facilities or amen ities forwhich fees are normally charged or assessed;

                                        (ii)   the right of the Association to suspend the rights to the use of
                    any Association Property by any Member or Lessee and theirf amities, guests, and invitees
                    for any period during which any Assessment against the Member's property remains past
                    due and unpaid, and after notice and hearing by the Board, the right of the Association to
                    invoke any remedy set forth in Article V of this Declaration;



                    t Itmbett•thr■t•••••• ■outt•Ita                 7




CLARK,NV                                                Page 12 of 98                            Printed on 11/1/2016 4:58:40 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 719 of 807
Branch :FLV,User :EDLE                                     Comment:                                                         Station Id :X7QR




                                                                                                                "
                                        (iii)  the right of the Association to require that security deposits be
                    made and deposited with the Association to secu re all sums payable to the Association and
                    to guarantee performance of all duties due and owing or to become due and owing to the
                    Association;

                                        (iv) the right of the Association to allow the general public, or certain
                    segments thereof, to use any Association Property, and in the discretion of the Board, to
                    charge use orotherfees therefor subject to subsection (i) above provided that the Association
                    may not charge fees for access to public parks and sport fields;

                                       (v)    such rights to use the Association Property as may have been
                    granted by the Association to others;

                                      (vi) such covenants, conditions, and restrictions as may have been
                    imposed by the Association or prior owners on the Association Property;

                                      (vii) such rules and regulations for the use of the Association Roperty
                    as may be imposed by the Association from time to time; and

                                       (viii) the right of Declarant to use the Common Area for sales,
                    development, and related activities pertaining to the Development.

                                    (e)    Maintenance of Association Property. The Association shall be responsible
                    for all of the costs and maintenance of the Association Property. The Association may at
                    any time and without any approval of the Owners being required:

                                            (i)     reconstruct, repair, replace or refinish any Improvement, stru cture,
                    fixture, or facility located on the Common Area or any portion thereof in accordance with:
                    (A) the last plans thereof approved by the Board; (8) the original plans for development of
                    the Property; or (C) if neither (A) nor (S) is applicable and if such Improvement was previously
                    in existence, then in accordance with the original designs, plans, finishing, or standards of
                    construction of such Improvement as it was originally constructed;

                                        (ii)  construct. reconstruct, repair, replace, or refinish any road
                    improvement or surface upon any portion of the Common Area used as a road, street, walk.
                    or parking area:

                                        (iii) replace injured and diseased trees or other vegetation on the
                    Common Area and plant trees, shrubs, and grou nd covert° the extent that the Board deems
                    necessary for the conservation of water and soil and for aesthetic purposes;

                                          (iv) place and maintain upon any such area such signs, markers,
                    and lights as the Board may deem appropriate forthe proper identification, use, and regulation
                    thereof:


                    I                 Verb.0                         8




CLARK,NV                                                 Page 13 of 98                             Printed on 11/1/2016 4:58:40 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 720 of 807
Branch :FLV,User :EDLE                                              Comment:                                                     Station Id :X7QR




                                                                                                              200205 10
                                                                                                              . 0 1313

                                      (v)    remove all papers, debris, and refuse from the Common Area,
                    wash or sweep paved areas as required, and clean and relamp lighting fixtures as needed:

                                                      (vi)   repaint striping, markers, directional signs, and similar devices
                    as necessary:

                                          (vii) maintain, repair, and replace, as necessary, the Perimeter Walls:
                    notwithstanding the foregoing, Owners of Lots bounded by PerimeterWalls shall be responsible
                    for all aesthetic maintenance and repair of that side of the Perimeter Walls bounding the
                    Owners' respective Lots:

                                     (viii) pay all real estate and persona) property taxes and Assessments
                    on the Common Area;

                                          (ix) pay all electrical, water, gas sewer, trash collection, telephone,
                    and other utility charges or fees for services furnished to the Common Area and all water
                    charges or fees for services furnished to the Lots;

                                            (x)      pay for and keep in force at the Association's expense public
                    liability, casualty, and fire insurance with companies acceptable to the Association in amounts
                    and with limits of liability desired by the Owners or required of the Owners pursuant to any
                    other recorded document affecting the Property, such insurance to name the Association,
                    the Owners, or both as named insureds: and

                                        (xi) do all such otherand further acts that the Board deems necessary
                    to preserve and protect the Common Area and the beauty thereof in accordance with the
                    general purposes for use and enjoyment of the Property described in this Declaration;

                    The Board shall be the sole judge as to the appropriate maintenance of all portions of the
                    Common Area. Nothing herein shall be construed so as to preclude the Association from
                    delegating its powers set forth above to a manager.

                                    (f)   Imagy_emeas on Common Are?. Any other provision of this Declaration
                    to the contrary notwithstanding, until Declarant has sold ninety percent (90%) of the Lots,
                    no land within the Common Area may be improved by any Improvement, used, or occupied
                    except in such manner as shall have been approved by Declarant in its sole and absolute
                    discretion. Declarant may delegate its right to grant such approvals to the Board. No approval
                    shall be granted that would be in contravention of the zoning or other local regulation then
                    in effect for the area in question.

                                   (g)   Damages. Each Owner or Lessee shall be liable to the Association
                    for any damage to the Association Property that may be sustained by reason of the negligent
                    or intentional misconduct of such Owner or Lessee or of its family, guests, or invitees. If
                    the Lot, the ownership or leasing of which entitles the Owner or Lessee thereof to use the
                    Association Property, is owned or leased jointly or in common, the liability of all such joint

                     Ismr.4:4,.:redaaelIneCCAltil.p                           9




CLARK,NV                                                          Page 14 of 98                           Printed on 11/1/2016 4:58:40 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 721 of 807
Branch :FLV,User :EDLE                                      Comment:                                                        Station Id :X7QR




                                                                                                         20020516
                                                                                                         .01J13

                    or common Owners or Lessees shall be joint and several. The amount of such damage
                    may, in addition to any other rights or remedies, be assessed against such Person's real
                    and personal property on or with in the Property, including the leasehold estate of any Lessee,
                    and may be collected as provided in Article V below for the collection of Assessments.

                                  (h)   Damage and Destructien. in the case of destruction of or damage to
                    the Association Property by fire or other casualty. the Board shall have the following rights
                    and privileges.

                                         (1)      Liberty to Reconstruct. If the cost to repairer replace the Association
                    Property, overand above all insurance proceeds, is less than twenty thousand dollars (820,00e),
                    the Board may, without the consent of the Members, d eterrnine to repair or replace the damaged
                    property with property substantially the same as those that were destroyed or damaged.


                                          (ii)   Decision to Reconstruct. If the cost to repair or replace the
                    Association Property, over and above all insurance proceeds, is equal to or greater than
                    twenty thousand dollars (820,000)and the Board determines to rebuild any Association Property
                    destroyed or damaged in the form substantially the same as those that were destroyed or
                    damaged, it shall prepare plans and obtain bids following the notice proceeding fora special
                    Assessment as set forth in Article V hereof. The Board shall submit the plans and bids to
                    the Members for approval, which approval shall require the affirmative vote of sixty-seven
                    percent (67%) of the Members entitled to vote. The Board win modify the plans until the
                    required vote is obtained or the restoration be.comes subject to subsection 3.03(h)(i) or (iii)
                    hereof. If approved. the Board shall cause the repairs or replacements to be done and assess
                    the Members for the costs as a special Assessment.

                                           (iii) Decision Not to Reconstruct. If the Board determines not to rebuild
                    any Association Property so destroyed or damaged or to build facilities substantially different
                    from those that were destroyed or damaged, it shalt submit its decision to the Members for
                    their approval or disapproval, which approval shall require the consent of eighty percent
                    (80%) of the Members entitled to vote. If the Members elect to approve the decision, the
                    Board shall act accordingly; but if the Members do not approve the decision, the Board shall
                    proceed to repair or rebuild the damaged or destroyed facility pursuant to subsection 3.03(h)(i)
                    or (ii) hereof.

                                           (iv) P_Pin ace During Declarent Control Period. Should any Association
                    Property become destroyed or damaged before Declarant has sold all of the Lots, the
                    Association shall rebuild or repair such Association Property in a manner consistent with
                    its original condition as constructed by Declarant.

                                          (v)    gereacte or Destruction by Owner. In the event any portion of
                    the Common Area is damaged or destroyed by an Owner, a Lessee, or any of their respective
                    guests, tenants, licensees, or agents. the Board may repair said damaged area. In the event
                    the Board determines to repair said damage, the amount necessary for such repairs shall

                    I be. no..X.levre.....L...C1011, “c4             10




CLARK,NV                                                   Page 15 of 98                            Printed on 11/1/2016 4:58:40 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 722 of 807
Branch :FLV,User :EDLE                                   Comment:                                                     Station Id :X7QR




                                                                                                    20(0510
                                                                                                    .0413
                   be paid by the Owner or Lessee, upon demand, to the Board. If said amounts are not
                   immediately paid, they shall be deemed to be Assessments, and the Board may enforce
                   collection of same in the same manner as provided in Article V hereof for collection and
                   enforcement of Assessments.

                           3.05 Special Declarant's Rights. Declarant and its agents shall have the following
                   rights and privileges, all of which shall terminate immediately upon the sale by Declarant
                   of the last Lot within the Property:

                                  (a)    Easement for Repairs. A nonexclusive easement over the Association
                   Property for the purpose of making repairs to the Association Property and the Lots if access
                   thereto is not reasonably available:

                                 (b)     Easement for Sales. A nonexclusive easement over the Association
                   Property (which easement shall extend to the sates agents, customers, prospective customers.
                   guests, and representatives of Declarant) for sales, display, access, ingress, egress. exhibits.
                   and other purposes deemed useful by Declarant and its agents in advertising and promoting
                   the sale of Lots (including the erection of signs, flags, and banners) until all Lots are sold
                   by Declarant. In exercising the easement, Declarant shall not unreasonably interfere with
                   the rights and enjoyment of the Owners:

                                  (c)    Easement for Dveloornent A nonexclusive easement overthe Association
                   Property (which easement shall be in favor of Declarant and its agents. contractors, and
                   licensees)for access. ingress, and egress over, in, upon, under. and across the Association
                   Property, including, but not limited to, the right to store materials thereon and to make such
                   other use thereof as may be reasonable, necessary, or incidental to Declarant's development
                   of the Property: provided, however, that no such rights or easements shall be exercised
                   in such a manner as to reasonably interfere with the occupancy, use, enjoyment, or access
                   by any Owner;

                                 (d)     Right to Lease. The right to lease any unsold Lot: and

                                   (e)   Other Righi. Each of the developmental rights and special declarant's
                   rights set forth in NRS 116.11034 and 116.110385.

                                                            ARTICLE IV.

                                   Owners' Association; Membership and Voting Rights

                          4.01 Association.

                                   (a)      Oroanizato
                                                     i •nThe Association is a nonprofit Nevada corporation created
                   for the purposes, charged with the duties, and vested with the powers prescribed by law
                   or set forth in its Articles and Bylaws or in this Declaration. Neither the Articles nor Bylaws


                                                                  11




CLARK,NV                                               Page 16 of 98                           Printed on 11/1/2016 4:58:40 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 723 of 807
Branch :FLV,User :EDLE                                           Comment:                                                      Station Id :X7QR




                                                                                                            200n5 10
                                                                                                            .01313

                   shall for any reason be amended or otherwise changed or interpreted so asto be inconsistent
                   with this Declaration.

                                  (b)    Successor Associations. In the event the Association is dissolved at
                   any time this Declaration is in force or effect, a nonprofit unincorporated association shall
                   automatically and without further action or notice be formed to succeed to all the rights and
                   duties of the Association. The successor unincorporated association shall be governed
                   by the laws of the State of Nevada and, to the extent not inconsistent therewith, by th e Articles
                   and Bylaws of the Association as if they were created for the purpose of governing the affairs
                   of an unincorporated association. In the event an unincorporated association is formed pursuant
                   to this subsection 4.01(b), the appropriate officers of the Association or the successor
                   association shall take all reasonable efforts to restore or reincorporate the Association as
                   a nonprofit Nevada corporation.

                           4.02 Membership Rights. Only Owners, including Declarant, shall be Members
                   of the Association. Each Owner shall automatically be a Member of the Association without
                   the necessity of any further action on its part, and membership in the Association shall be
                   appurtenant to and shalt run with the property interest ownership that qualifies the Owner
                   to membership in the Association. Membership in the Association may not be severed from
                   or in any way transferred, pledged, mortgaged, or alienated except with the tide to the property
                   ownership interest that qualifies the Owner thereof to membership and then only to the
                   transferee of title to the property interest. Any attempt to make a prohibited severance, transfer,
                   pledge, mortgage, or alienation shall be void. Subject to subsection 4.03(d) and Section
                   5.07 hereof and as set forth in the Articles, each Member shall be entitled to one (1) vote
                   for each Lot owned by that Member.


                               4.03 Control of Association.

                                  (a)    Period of Declarant Control of Association. Notwithstanding arty other
                   provision of this Declaration or of the Bylaws, and subject to subsection (b) below, there
                   shall be a period during which Declarant shall control the Association, and Declarant or a
                   Person designated by Declarant may appoint and remove all or some of the officers and
                   directors of the Association. The period of Declarant control of the Association terminates
                   no later than the earlier of:

                                        (i)    sixty (60)days afterthe conveyance by Oeclarantof seventy-five
                   percent (75%) of the Lots that may be created within the Property to Owners other than the
                   Declarant;

                                        (ii)   five (5) years after the Declarant has ceased to offer Lots for
                   sale in the ordinary course of its business: or

                                                 (iii)   five (5) years after any right to annex new Lots was last exercised
                   by Declarant,

                   I ,...1..1..rrner......4mot                            12




CLARK,NV                                                       Page 17 of 98                           Printed on 11/1/2016 4:58:40 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 724 of 807
Branch :FLV,User :EDLE                                    Comment:                                                       Station Id :X7QR




                                                                                                      20020510
                                                                                                      .01313

                           Provided, however, that Declarant may, but is not obligated to, voluntarily surrender
                   the right to appoint and remove officers and Board members as provided herein before the
                   termination period set forth above, provided that Declarant may require that specified actions
                   of the Association or the Board may require Declarant approval prior to becoming effective.
                   Such surrender of rights shall only be by a recorded instrument.

                                 (b)    Composition of the Board. Not later than sixty (60)days afterconveyance
                   by Declarant of twenty-five percent (25%) of the Lotsthat may be created within the Property
                   to Owners other than Declarant, at least one (1) member of the Board and not less than
                   twenty-five percent (25%) of the members of the Board must be elected by Owners other
                   than Declarant. Not later than sixty (60)days after conveya nce by Declarant of fifty percent
                   (50%) of the Lots that may be created within the Property to Owners other than Declarant,
                   not less than thirty-three and one-third percent (33-V3%) of the members of the Board must
                   be elected by Owners other than Declarant. Upon expiration of the Declarant control period
                   set forth in subsection (a) above, one hundred percent (100%) of the Board shalt be elected
                   by Owners other than Declarant

                                 (c)    Removal of Board Members. Notwithstanding any provision of this
                   Declaration orthe Bylaws to the contrary, the Owners, by a two-thirds (2/3) vote of all Persons
                   present and entitled to vote at any meeting of the Owners at which a quorum is present,
                   may remove any member of the Board with or without cause, other than a member appointed
                   by the Declarant.

                                  (d)   Joint or Common Ownership, If any property interest, ownership of
                   which entitles the Owner thereof to vote, is held jointly or in common by more than one (1)
                   Person, the vote or votes to which such property interest is entitled shall also be held jointly
                   or in common in the same manner. However, the vote or votes for such property interest
                   shall be cast, if at all, as a unit, and neither fractional votes nor split votes shall be allowed.
                   In the event joint or common Owners are unable to agree among themselves asto how their
                   vote or votes shall be cast as a unit, they shall lose the right to cast their vote or votes on
                   the matter in question. in the event more than one vote is cast for a particular membership,
                   none of the votes shall be counted, and all such votes shall be deemed void. Any joint or
                   common Owner shall be entitled to cast the vote or votes belonging to the joint or common
                   Owners unless anotherjoin [or common Owner shall have delivered to the Secretary of the
                   Association prior to the time for casting such vote a written statement to the effect that the
                   Owner wishing to cast the vote or votes has not been authorized to do so by the other joint
                   or common Owner or Owners.

                                 (e)    ProxyVotinq Except as otherwise provided in this Section, votes allocated
                   to a Lot may be cast pursuant to a revocable written proxy executed by the Owner thereof,
                   authorizing the holder to cast the Owner's votes on any matter. An Owner may give a proxy
                   only to a member of his immediate family, his tena nt who resides in the Development, another
                   Owner who resides in the Development, or any other Person permitted by the Act. if a Lot
                   is owned by more than one Person, each Owner of the Lot may vote or register protest to
                   the casting of votes by the other Owners of the Lot through a proxy. A vote may not be cast

                               ...ply.... Ai. I .p,1               13




CLARK,NV                                                Page 18 of 98                            Printed on 11/1/2016 4:58:40 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 725 of 807
Branch :FLV,User :EDLE                                        Comment:                                                  Station Id :X7QR




                                                                                                      200205 10
                                                                                                      ,01313

                    pursuant to a proxy for the election of a member of the Board. A proxy shall be void if (i)
                    it is not dated, (ii) it purports to be revocable without notice, (iii) it does not designate the
                    votes that must be cast on behalf of the Ownerwho executed it, or (iv) the holder of the proxy
                    does not disclose at the beginning of the meeting forwhich the proxy is executed, the number
                    of proxies pursuant to which he will be casting votes and the voting instructions received
                    for each proxy. Every proxy shall terminate immediately after the conclusion of the meeting
                    for which it was executed. An Owner may revoke a proxy only byactual notice of revocation
                    to the person presiding over a meeting of the Association.

                                    (f)          Cumulative Voting. Voting shall not be cumulative.

                            4.04 Meetings of Members. The Association shall hold an annual meeting Of the
                    Members. The annual meeting of the Members shall be held on or about one (1) year after
                    the date of the last annual meeting. If the Members have not held a meeting for one (1)
                    year, a meeting of the Members must be held in accordance with the Act. The Association
                    shall also hold at least one (1) regular meeting other than the annual meeting each year.
                    Special meetings of the Members may be called at any reasonable time and place by notice
                    by the President of the Association, the Board, or Members having ten percent (10%) or
                    more of the total votes.

                                   (a)     Notice. Not less than ten (10) days (twenty-one (21)days in the event
                    of a meeting at which an Assessment for a capital improvement or commencement of a
                    civil action is to be considered or action is to be taken on such an Assessment) nor more
                    than sixty (6D) days in advance of each meeting of the Members, the Secretary shall cause
                    notice of the meeting to be hand-delivered or sent prepaid by United States mail to the mailing
                    address of each Lot or to any other mailing address designated in writing by the Lot Owner.
                    The notice of the meeting must state the time and place of the meeting and include a copy
                    of the agenda for the meeting. The notice must also include notification of the right of an
                    Owner (i)to have a copy of the minutes ora summary of the minutes of the meeting distributed
                    to the Owner upon request and, if required by the Board, upon payment to the Association
                    of the cost of making the distribution, and (ii) to speak to the Association.

                                    (b)    Agenda. The agenda for each meeting of the Owners must consist
                    of (i) a clear and complete statement of the topics scheduled to be considered during the
                    meeting, including, without limitation, any proposed amendment to the Declaration or Bylaws,
                    any fees or Assessments to be imposed or increased by the Association, any budgetary
                    changes, and any proposatto remove art officeror member of the Board, (ii) a list describing
                    the items on which action may be taken and clearly denoting that action may be taken on
                    those items, and (iii) a period devoted to comments by Owners and discussion of those
                    comments. In an Emergency (as hereinafter defined), the Owners may take action on an
                    item which is not listed on the agenda. The notice, agenda, and Owner comment requirements
                    of subsection 4.04(a) and this subsection4.04(b) apply to both regularand special meetings
                    of the Members.



                    7n..14.1). i°     Av, ,r„,                        14




CLARK,NV                                                     Page 19 of 98                       Printed on 11/1/2016 4:58:40 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 726 of 807
Branch :FLV,User :EDLE                                    Comment:                                                       Station Id :X7QR




                                                                                                      200205 10
                                                                                                      .01313

                                     (c)     Emergency. As used in this Section 4.04, "Emergency" means any
                    occurrence or combination of occurrences that (i) could not have been reasonably foreseen,
                    (ii) affects the health, welfare, and safety of the Owners, (iii) requires the immediate attention
                    of, and possible action by, the Board, and (iv) makes it impracticable to comply with the notice
                    provisions of this Section.

                                    (d)     Ouorum. The p resence at any meeting, in person or by proxy, of Members
                    entitled to vote at least twenty percent (20%) of the total votes outstanding shall constitute
                    a quorum. If any meeting cannot be held because a quorum is not present, the Members
                    present. either in person or by proxy, may adjourn the meeting to a time notless than forty-eight
                    (48) hours nor more than thirty (30) days from the time set for the original meeting, at which
                    adjourned meeting the quorum requirement shall be the Members entitled to vote fifteen
                    percent (15%) of the total votes outstanding.

                                   (e)     Organization. The Chairman of the Board, or in his or her absence the
                    Vice-Chairman, shall call meetings of Members to order and act as chairman of such meetings.
                    In the absence of both of said officers, any Member entitled to vote thereat or any proxy
                    of any such Member may call the meeting to order, and a chairman of the meeting shall
                    be elected. The Secrete ry of the Association, or in his or her absence the Assistant Secretary.
                    shall act as secretary of the meeting. In the absence of both the Secretary and the Assistant
                    Secretary, a secretary shall be selected in the same manneras that provided above for selecting
                    a chairman of the meeting.

                                   (1)    Actien he milmhers. Except as provided otherwise in this Declaration
                    or the Bylaws, any action (including any approvals required under this Declaration) may be
                    taken at any legally convened meeting of the Members at which a quorum is present upon
                    the affirmative vote of the Members having a majority (or such greater percentage as may
                    be required elsewhere in this Declaration for approval of the Members of any matter) of the
                    total votes present at such meeting in person or by proxy. Only votes cast in person, by
                    secret ballot, or by proxy may be counted.

                                 (g)     Minutes. Not more than thirty (30)days after any meeting of the members.
                    the Secretary shall cause the minutes or a summary of the minutes of the meeting to be
                    made available to the Members. A copy of the minutes or a summary of the minutes must
                    be provided to any Member who pays the Association the cost of providing the copy.

                          4.05 Duties of the Association. Subject to and in accordance with this Declaration.
                    the Association shall have and perform each of the following duties for the benefit of the
                    Members of the Association:

                                   (a)    Mernb. The Association shall accept all Owners as Members.

                                   (b)   RecreatignandQoeo3lgoAreas
                                                            r             and Common Area. The Association
                    shall accept, own, operate, and maintain all recreation and open space and Common Area
                    that may be conveyed, leased, licensed, or otherwise enjoyed by it. together with all

                                                                   15




CLARK,NV                                                Page 20 of 98                             Printed on 11/1/2016 4:58:40 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 727 of 807
Branch :FLV,User :EDLE                                    Comment:                                                      Station Id :X7QR




                                                                                                     20020510
                                                                                                     .01313

                    Improvements of whatever kind and for whatever purpose that may be located in said areas.
                    The Association shall accept, own, operate, and maintain all other property easements or
                    rights of use,whether real or personal, for which the Association, the Members, orthe Property
                    receive any benefits, whether aesthetic or tangible.

                                 (c)    Title to Property Upon Dissolution. The Association shall pay over or
                    convey, upon dissolution of the Association, the assets of the Association to one or more
                    exempt organizations of the kind described in Section 501(c) of the Internal Revenue Code
                    of 1986, as amended from time to time.

                                  (d)      Repair ond Maintenan ce of Association Property. Subject to the provisions
                    of this Declaration pertaining to damage and destruction of Association Property and
                    condemnation, the Association shall paint, maintain, repair, and replace the Common Area,
                    including any Improvements thereon, and other Association Property enjoyed by, owned
                    by, licensed to, or leased to the Association, or shall contract for such maintenance, repair,
                    and replacement to assure maintenance thereof, in a clean, sanitaryand attractive condition
                    reasonably consistent with prudent property management practices. the Association's budget,
                    and any manuals governing such maintenance, repair, and replacement as may from time
                    to time be adopted by the Board. The Board shall determine, in its sole discretion, the level
                    and frequency of such maintenance.

                                   (e)    Payment of Taxes. The Association shall pay all real and personal property
                    taxes and other taxes and assessments levied upon or with respect to any Association Property
                    to the extent that such taxes ond necncerr,c■n+c are not Icatiori directly upon the Members.
                    The Association shall have all rights granted by law to contest the legality and the amount
                    of such taxes and assessments.

                                    (f)      Insurance. The Association shall, at its sole cost and expense, obtain
                    and maintain in effect policies of insurance of such kind and in such amounts as the Board.
                    in its opinion, deems adequate or desirable, but in no event less than that required by law,
                    including the requirements of NRS § 116.3113 and, so long as the Federal National Mortgage
                    Association (f N MA") or the Government National Mortgage Association ("GNMA") holds
                    a security interest in a Lot, the requirements of FNMA or GNMA. Without limiting the generality
                    of the preceding sentence. during any time Declarant is the owner of more than five (5) Lots
                    such policies of insurance shall include:

                                           (i)    Fire and extended coverage insurance on all Improvements owned
                    by or leased to the Association in an amount not less than one hundred percent (100%)
                    of the aggregate full insurable value, meaning actual replacement cost exclusive of the costs
                    of excavations, foundations, and footings. Such insurance shall insure the Association and
                    any mortgagees. as theirinterests may appear. As to each such policy that will not bethereby
                    voided or impaired, the Association hereby waives and releases all claims against the Board
                    and Declarant. and the officers, agents. and employees of each thereof, with respect to any
                    loss covered by such insurance, whetheror not caused by negligence or breach of any duty
                    or agreement by said Persons, but only to the extent that insurance proceeds are received

                    1 tr.* IA,                                     16




CLARK,NV                                                Page 21 of 98                            Printed on 11/1/2016 4:58:40 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 728 of 807
Branch :FLV,User :EDLE                                     Comment:                                                          Station Id :X7QR




                                                                                                         20020510
                                                                                                         .01313

                    in compensation for the loss. If the foregoing exculpatory clause is held to be invalid, then
                    the liability of the insurance company shall be primary, and the liability of the Board, Declarant,
                    and the officers, agents, and employees of the Board and of Declarant shall be secondary;

                                           (ii)    Liability insurance, with limits in amounts reasonably determined
                    by the Board, insuring against liability for bodily injury or property damage arising from activities
                    of the Association or with respect to the Association Property, including, if obtainable, a
                    cross-liability endorsement insuring each insured against liability to each other insured.
                    The liability insurance policies referred to above shall name as separately protected insureds
                    Declarant, the Association, the Board and each of its members, the Architecture Committee
                    and each of its members, and the manager of the Property, if any, and such policies may
                    also name some or all of the respective officers, employees, and agents of the foregoing;

                                         (iii) Workers' compensation insurance to the extent necessary to
                    comply with all applicable laws;

                                        (iv) A fidelity bond in an amount determined by the Board naming
                    the members of the Board and such other Persons as may be designated by the Board as
                    principals and the Association as obligee; and

                                        (v)   Such other insurance, including indemnity and other bonds, as
                    the Board shall deem necessary or desirable to carrying out the Association's functions.

                          The Association shall be deemed trustee of the interests of all Members in q insurance
                    proceeds and shall, subject to the requirements of law, including NRS §§ 116.31133, 116.31135
                    and any successor statutes, have full power to receive, hold, and disburse such proceeds.

                                    (g)    Architecture Committee. The Board shall appoint and remove members
                    of the Arch itecture Committee as provided in Article VI I hereof and ensure that at all reasonable
                    times there is available a duly constituted and appointed Architecture Committee.

                                   (h)     Enforcement The Association shall enforce, in its own behalf and on
                    behalf of all Owners, all of the covenants, conditions, and restrictions set forth in this Declaration
                    under an irrevocable agency (which is hereby granted) coupled with an interest as beneficiary
                    of said covenants, conditions, and restrictions and as assignee of Declarant. The Association
                    shall perform all other acts, whether or not anywhere expressly authorized, as may be
                    reasonably necessary to enforce any of the provisions of the Rules and Regulations or the
                    Design Guidelines.

                                    (i)    Longrierm Financing. The Association may, subject to compliance
                    with MRS§ 116.3112, execute mortgages and deeds of trust, both construction and permanent,
                    for construction of facilities, including Improvements, on property owned by or leased to the
                    Association. Such financing may be effected through conventional mortgages or deeds
                    of trust. the issuance and sale of development or other bonds. orin any other form or manner
                    as may be deemed appropriate by the borrower, whether that be Declarant or the Association.

                    I bp. hew   wo.   Jo.                            17




CLARK,NV                                                 Page 22 of 98                              Printed on 11/1/2016 4:58:40 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 729 of 807
Branch :FLV,User :EDLE                                    Comment:                                                         Station Id :X7QR




                                                                                                       20G205 10
                                                                                                       .01313

                    The mortgage, deed of trust, or other security interest given to secure repayment of such
                    debt may consist of a first lien or a second orotherjuniorlien, as shall be deemed appropriate
                    by such borrower, whetherthat be Declarant or the Association, on the Improvement orother
                    facility to be constructed, together with such underlying and surrounding lands as Declarant
                    or the Association, as the case may be. deems appropriate. The debt secured by such
                    mortgage, deed of trust, or other security instrument may be retired from revenues generated
                    by dues, use fees. Assessments of the Members of the Association, or otherwise or any
                    combination thereof as may be deemed appropriate by Declarant or the Association, as
                    the case may be, but subject to the limitations imposed by this Declaration and the Act.

                                    (j)    Audit. Within one hundred twenty (120) days of the end of the Association's
                    fiscal year, the Association shall, at its own cost, conduct an annual audit by an independent
                    certified public accountant of the accounts of the Association and make a copy of such audit
                    available to each Memberduring normal business hours at the principal office of the Association.
                    Upon written request, the Association shall provide to any Eligible Holder, insurer, or guarantor
                    of any Mortgage a copy of the annual audit. Any Member may at any time and at its own
                    expense cause an audit or inspection to be made of the books and records of the Association
                    by a certified public accountant provided that such audit or inspection is made during normal
                    business hours and without unnecessary interference with the operations of the Association.
                    The Association shall maintain copies of the then current Declaration, Articles, Bylaws, and
                    Rules and Regulations, as amended, at the principal office of the Association, and the same
                    shall be available during normal business hours for inspection by Declarant, any Owner,
                    prospective purchasers of Lots, Eligible Holders, insurers, and any guarantors of a Mortgage.

                                    (k)     Books and Records. The Board shall, upon the request of a Member,
                    make available for review at the business office of the Association or other suitable location
                    during the regular working hours of the Association, the books, records and other papers
                    of the Association, including, without limitation, (i)the financial statement of theAssociation,
                    (ii) the budgets of the Association. and (iii) the study of the reserves of the Association required
                    lobe conducted pursuant to subsection 5.03(b) of this Declaration. The Board shall provide
                    a copy of any of the records to a Member within fourteen (14) days after receiving a written
                    request therefor. The Board may charge a fee to cover the actual costs of preparing a copy,
                    but not to exceed twenty-five cents ($25) per page. The provisions of this subsection 4,05(k)
                    do not apply to the personnel records of the employees of the Association and the records
                    of the Association relating to another Owner.

                                  (I)    Other. The Association shall carry out all duties of the Association set
                    forth in the Rules and Regulations, the Articles, or the Bylaws.

                           4.06 Powers and Authority of the Association. The Association shall have all
                    of the powers of a nonstock. nonprofit corporation organized under the laws of the State
                    of Nevada in operating for the benefit of its members, subject only to such limitations upon
                    the exercise of such powers as are expressly set forth in the Articles, the Bylaws. or this
                    Declaration. It shall have the power to do any and all lawful things which may be authorized,
                    required, or permitted to be done under and by virtue of this Declaration and to do and perform

                    I bew7maP.,%~.N....."•11,1,•J




CLARK,NV                                                 Page 23 of 98                             Printed on 11/1/2016 4:58:40 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 730 of 807
Branch :FLV,User :EDLE                                      Comment:                                                       Station Id :X7QR




                                                                                                        20020510
                                                                                                        ,01313

                    any and all acts that may be necessary or proper for or incidental to the exercise of any of
                    the express powers of the Association for the peace, health, comfort, safety, or gen eral welfare
                    of the Owners. Without in any way limiting the generality of the foregoing, the Association
                    and the Board shall have the following powers and authority to exercise in their discretion:

                                 (a)     Right of Entry arid Enforcement. Subject to any limitations or restrictions
                    imposed by FNMA, which are incorporated herein by this reference, the Board and its agents
                    and representatives shall have the power and right to enter upon any Lot and the Improvements
                    thereon without liability to any Owner for the purpose of enforcing any of the provisions of
                    this Declaration or for the purpose of maintaining and repairing the improvements located
                    on said Lot as provided in this Declaration or if the Owner thereof fails to maintain and repair
                    any portion of a Lot as required by this Declaration. The Association shall also have the
                    power and authority from time to time in its own name, on its own behalf, or on the behalf
                    of any Owner or Owners who consent thereto to commence and maintain actions and suits
                    to restrain and enjoin any breach or threatened breach of this Declaration and to enforce,
                    by mandatory injunction or otherwise, all of the provisions of this Declaration. The costs
                    of any such action or suit, including reasonable attorneys' fees, shall be paid to the prevailing
                    party as part of its judgment.

                                   (b)        Civil Actions Except as otherwise provided in this subsection 4.06(b),
                    the Association may commence a civil action only upon a vote or written agreement of the
                    Members holding at least a majority of the voting powerof the Association. The Association
                    shall provide written notice to each Owner of a meeting at which commencement of a civil
                    action is to be considered at least twenty-one (21)days Wore the meeting. The provisions
                    of this subsection do not apply to a civil action that is commenced: (i) to enforce the payment
                    of an Assessment; (ii) to enforce the provisions of the Declaration, Bylaws, or Rules and
                    Regulations; (iii) to proceed with a counterclaim: or (iv) to protect the health, safety and welfare
                    of the Members. If a civil action is commenced pursuant to this subsection without the required
                    vote or agreement, the action must be ratified in accordance with the Act.

                                   (c)        Const       0      A        . Notwithstanding anything in this Declaration
                    to the contrary, at least sixty (60) days before initiating any action against Declarant for
                    construction defects, as defined in NRS 40.615, as may be amended, the Association and
                    any Owner(s) pursuing or bringing such action must give written notice by Certified mail,
                    return receipt requested, to the Declarant, at the Declarant's last known address, specifying
                    in reasonable detail the defects and any damages or injuries that are the subject of the
                    complaint. During the thirty-five (35) day period after the Declarant receives the notice, the
                    Declarant shalt be entitled, upon written request, to inspect the Lots. Residences, and Common
                    Area that are the subject of the complaint to determine the nature and cause Of the defect,
                    damage, or injury and the nature and extent of repairs necessary to remedy the defect.
                    The Declarant may take reasonable steps to establish the existence of the defect. If the
                    Residence. Lot, or Common Area is covered by a warranty or contract of insurance issued
                    by an insurer authorized by the State of Nevada to issue such a warranty or contract, the
                    claimant(s) must diligently pursue a claim under the warranty or contract. Within forty-five
                    (45) days after the Declarant receives the notice, the Declarant may make a written offer

                    I                    44                          19




CLARK,NV                                                  Page 24 of 98                            Printed on 11/1/2016 4:58:41 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 731 of 807
Branch :FLV,User :EDLE                                   Comment:                                                      Station Id :X7QR




                                                                                                    10005 1 0
                                                                                                    .t) 1 ,13

                    of settlement to the claimant. The offer (i) must be served to the claimant by certified mail,
                    return receipt requested, at the claimant's last known address, (ii) must respond to each
                    constructional defect set forth in the claimant's notice, and describe in reasonable detail
                    the cause of the defect, if known, the nature and extent of the damage or injury resulting
                    from the defect, and. unless the offer is limited to a proposal for monetary compensation,
                    the method, adequacy, and estimated cost of the proposed repair; and (iii) may include (A)
                    a proposal for monetary compensation, (8) if the Declarant is licensed to make the repairs,
                    an agreement by the Declarant to make the repairs, or (C) an agreement by the Declarant
                    to cause the repairs to be made, at the Declarant's expense, by another contractor who
                    is licensed to make the repairs, bonded, and insured. The repairs must be made within forty-five
                    (45) days after the Declarant receives written notice of acceptance of the offer, unless
                    completion is delayed by the claimant or by otherevents beyond the control of the Declarant.
                    The claimant and the Declarant may agree in writing to extend the periods prescribed by
                    this subsection 4.06(c).

                                    (ci)   Easements and Rights-of-Way. The Board shall have the power to
                    grant and convey to any third party easements, licenses, and rights-of-way, in, on, over,
                    or under any Common Area conveyed or otherwise transferred to the Association or under
                    its jurisdiction, subject to the conditions contained in NRS § 116.3112.

                                  (e)     Employment of Manager. The Board shall have the power to employ.
                    by written agreement and at its sole cost and expense, the services of a manager or
                    management company. subject to the direction and control of the Board, to manage and
                    carry outthe affairs of the Association and, to tbA PAFfnt consistent with the laws of the State
                    of Nevada and upon such conditions as are otherwise deemed advisable by the Board, to
                    delegate to the manager any of the powers of the Board or the officers of the Association.
                    In no event shall any management agreement be fora term greater than one (1)year. except
                    with the approval of a majority of the Members, and any such agreement shall provide for
                    termination without penalty on a minimum of thirty (30)days written notice. Except as otherwise
                    provided in the Act, any managers° appointed must hold either a permitto engage in property
                    management pursuant to NRS Chapter ß45 ora certificate issued by the Nevada Real Estate
                    Commission.

                                    (f)    Services. The Board shall have the power, by written agreement and
                    at its sole cost and expense, to provide for and engage the services of others for the mainte-
                    nance, protection. and preservation of the Association Property. including the Common Area,
                    such as grounds keepers, painters, plumbers, and such other maintenance personnel, as
                    the nature and character of the Common Area may require and including any such necessary
                    personnel as the nature and character of any recreational facilitieswithin the Common Area
                    may require: provided, however, that no contract for such services shall be for a duration
                    of more than one (1) year, except with the approval of a majority of the Members. and any
                    such agreement shall provide for termination without penalty on a minimum of ninety (90)
                    days written notice.



                    r Nub              , •,4                       20




CLARK,NV                                                Page 25 of 98                           Printed on 11/1/2016 4:58:41 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 732 of 807
Branch :FLV,User :EDLE                                         Comment:                                                           Station Id :X7QR




                                                                                                              T751-
                                                                                                              .01313

                                   (g)    Utilities. The Board shalt have the power to contract, use, and pay for
                   utility services to the Association Property.

                                  (h)   LDther Property. The Board shall have the power to acquire and hold,
                   as trustee for the benefit of the Members, tangible and intangible personal property and
                   to dispose of the same by sate or otherwise.

                                (i)    Mergers. The Association shall have the power, to the extent permitted
                   by NRS § 116.2121, to participate in mergers and consolidations with other nonprofit
                   corporations organized for the same purposes as the Association.

                                 (j)    Dedication, The Board shall have the power to dedicate any of the
                   Association Property to an appropriate public authority for public use, provided that any such
                   dedication shalt comply with N RS § 116.3112, and that such dedication is subject to the
                   existing easements and rights of use of all of the Members.

                                  (k)   Delectation. The Board may delegate any of its powers to any committees.
                   officers, or employees as it deems necessary and proper.

                                  (I)    Construction on Asspciation Prop. The Board shalt have the power
                   to construct new Improvements or additions to the Association Property or d emolish existing
                   Association Property or Improvements subject to the approval of the Architecture Committee
                   as is required in this Declaration.

                                 (m)      aim nance of E t an xit M a ures. The Board shall have the
                   power to implement measures regulating entrance and exit at all points of entry and exit
                   to or from the Property, which may or may not be guarded.

                                 (n)    Convevances. The Board shall have the power to grant and convey
                   to any Person real property and interests therein, including fee title, leasehold estates,
                   easements, rights of way, mortgages, and deeds of trust, out of, in, on, over, or under any
                   Association Property for the purpose of constructing, erecting operating, maintaining, or
                   repairing thereon, therein or thereunder:

                                               (i)     parks, parkways. or other recreational facilities;

                                               (ii)    roads, streets, ways, driveways, trails, and paths;

                                               (iii)   lines, cables, wires, conduits, pipelines, or other devices for utility
                   purposes;

                                       (iv)  sewers, water systems, storm water drainage systems, sprinkler
                   systems, and pipelines; and

                                               (v)     any similar public, quasi-public, or private improvements or facilities.

                    • ■•■          &I., .4.1                             21




CLARK,NV                                                      Page 26 of 98                              Printed on 11/1/2016 4:58:41 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 733 of 807
Branch :FLV,User :EDLE                                   Comment:                                                       Station Id :X7QR




                                                                                                      200/05A
                                                                                                      .01i13


                   Nothing above contained, however, shall be construed to permit use or occupancy of any
                   land, Improvement, or other facility in a way that would violate applicable zoning or use and
                   occupancy restrictions imposed thereon by other provisions of this Declaration or by city,
                   county, or other applicable public agency.

                                 (o)    Legal and Accounting Services. The Board shall have the power, by
                   written agreement and at its sole cost and expense, to retain and pay for legal and accounting
                   services necessary or proper in the operation of the Association, the operation and management
                   of the Association Property, the enforcement of the Rules and Regulations, or in the
                   performance of any other duty, right, power, or authority of the Association.

                                 (p)    Association Property Services. The Board shall have the power to pay
                   for water, sewer, garbage removal, electricity, telephone, gas, snow removal, landscaping.
                   gardening, and all other utilities, services, and maintenance for the Association Property.

                                  (q)    Other Areas. The Board shall have the power to maintain and repair
                   easements, roads, roadways. rights of way, parks, parkways, median strips, sidewalks, paths,
                   trails, ponds, lakes, entry details, entry houses, Perimeter Wails, or other Common Area
                   whether owned by or leased to the Association and to contribute toward the cost of operation
                   and maintenance of private roads, if any, and any other Improvements or other facilities
                   owned by or leased to the Association.

                                 (r)      R              F      . The Board shall have the powerto opera te and
                   maintain any and all types of facilities owned by or leased to the Association for both active
                   and passive recreation within the Common Area including, but not limited to: swimming pools;
                   community clubs; picnic areas: parks and playgrounds; trails for hiking and bicycles; lakes
                   and ponds for swimming, fishing, and other water sports; and other similar and dissimilar
                   recreational facilities.

                                (s)     Dther Services and Properties. The Board shall have the powerto obtain
                   and pay for any other property and services and to pay any other taxes or assessments
                   that the Association or the Board is required to secure or to pay for pursuant to applicable
                   law, the Rules and Regulations, the Articles, or the Bylaws.

                                  (t)    Contracts The Board shall have the power, at its sole cost and expense,
                   to enter into contracts with Declarant and other Persons, on such terms and provisions as
                   the Board shall determine, to operate and maintain any Common Area and Improvements
                   thereon or to provide any service to the Property (including, but not limited to, cable television
                   and laundry facilities).

                               4.07 Indemnification.

                                  (a)      Indemnification. The Association shall indemnify any Person who was
                   or is a party or is threatened to be made a party to any threatened, pending, or completed

                    ,..1.4s•          AN. rof                     22




CLARK,NV                                               Page 27 of 98                            Printed on 11/1/2016 4:58:41 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 734 of 807
Branch :FLV,User :EDLE                                    Comment:                                                        Station Id :X7QR




                                                                                                      20020510
                                                                                                      .51313

                    action, suit, or proceeding, whether civil, criminal, administrative, or investigative, by reason
                    Of the fact that it is or was a director, officer, employee, servant, or agent of the Association
                    against expenses (including attorneys' fees), judgments, fines, and amounts paid in settlement
                    actually and reasonably incurred by it in connection with such action, suit, or proceeding
                    until and unless it is proved that it acted with willful or wanton misfeasance or with gross
                    negligence and provided it acted in good faith and in a manner it reasonably believed to
                    be in or not opposed to the best interests of the Association, and with respect to any criminal
                    action or proceeding, had no reasonable cause to believe its conduct was unlawful. The
                    termination of any action, suit, or proceeding by judgment, order, settlement, conviction,
                    or upon a plea of nolo contendere or its equivalent shall not of itself create a presumption
                    that the Person did not act in good faith or in a manner it reasonably believed to be in or
                    not opposed to the best interests of the Association, or with respect to any criminal action
                    or proceeding. had reasonable cause to believe that its conduct was unlawful.

                                Board members are not liable to the victims of crimes that may occur on the
                    Property. Punitive damages may not be recovered against the Association but may be
                    recovered only from Persons whose intentional activities are proved to have resulted in
                    damages.

                                   (b)     Determination. Any indemnification that the Association has elected
                    to provide under this Section 4.07 (unless ordered by a court) shall be made by the Association
                    only as authorized in the specific case by a determination that indemnification of the officer.
                    director, employee. servant, °regent is proper in the circumstances because it has met the
                    applicable standard of conduct set forth in subsection 4.07(a). Such determination shall
                    be made: (i) by the Board by a majority vote of a quorum consisting of directors who were
                    not parties to such action, suit, or proceeding; or (ii) if such a quorum is not obtainable, or
                    even if obtainable and a quorum of disinterested directors so directs, by independent legal
                    counsel in a written opinion; provided, however, that if a director, officer, employee, servant,
                    or agent of the Association has been successful on the merits or otherwise in the defense
                    of any action, suit, or proceeding referred to in subsection 4.07(a). orin defense of any claim,
                    issue, or matter therein, then to the extent that the Association has elected to provide
                    indemnification, it shall automatically be indemnified against expenses (including attorneys'
                    fees) actually and reasonably incurred by it in connection therewith without the necessity
                    of any such determination that it has met the applicable standard of conduct set forth in
                    subsection 4.07(a).

                                   (c)     Payment in Advance. Expenses incurred in defending a civil orcriminal
                    action, suit, or proceeding may, upon action by the Board in accordance with subsection
                    4.07(b). be paid by the Association in advance of the final disposition of such action, suit,
                    or proceeding upon receipt of an undertaking by oron behalf of the director, officer, employee,
                    servant, or agent to repay such amount unless it shall ultimately be determined that it is entitled
                    to be indemnified by the Association as authorized in this Section 4.07.

                                  (d)   Insurance. The Board shall purchase and maintain, at its sole cost and
                     expense. insurance on behalf of any Person who is or was a director, officer, employee,

                     row sPeermn                                    23




CLARK,NV                                                Page 28 of 98                             Printed on 11/1/2016 4:58:41 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 735 of 807
Branch :FLV,User :EDLE                                   Comment:                                                        Station Id :X7QR




                                                                                                     200 14
                                                                                                      313
                                                                                                     .01

                   servant, or agent of the Association against any liability asserted against it or incurred by
                   it in any such capacity or arising out of its status as such, whether or not the Association
                   would have the power to indemnify it against such liability hereunder or otherwise.

                                  (e)    Other Coverage. The indemnification provided by this Section 4.07
                   shall not be deemed exclusive of any other rights to which anyone seeking indemnification
                   may be entitled under this Declaration, any agreement, vote of the Members, vote of
                   disinterested directors. Nevada law, or otherwise, both as to action in its official capacity
                   and as to action in another capacity while holding such office, and may continue as to a
                   Person who has ceased to be a director, officer, employee, servant, or agent and may inure
                   to the benefit of the heirs and personal representatives of such a Person.

                            4.08 Diseased Treas. The Association may enter upon any part of the Property
                   at any time to inspect for, prevent, and control diseased and insect infested trees and other
                   plant life. If any diseased or insect infested trees or other plant life are found, the Association
                   may spray, remove diseased trees and other plant life, or take such other remedial measures
                   as it deems expedient. The cost thereof applicable to privately owned property may be levied
                   by the Association as a special Assessment against such privately owned property pursuant
                   to Section 5.04 hereof.

                           4.09 Perimeter Walls. The Association may enter upon any part of the Property
                   at any time to inspect for, prevent, or control damageto any Perimeter Walls and to maintain,
                   repair, or replace, as necessary, the Perimeter Walls. Owners of Lots bounded by a Perimeter
                   Wall shall be responsible for the cost of maintenance to Perimeter Walls as set forth in
                   subsection 3.04(e)(vii) hereof. Notwithstanding the foregoing, an Owner causing any da mage
                   to any Perimeter Walls by its acts shall be solely responsible and liable for any maintenance,
                   repair, or replacement, as required. and for any cost or liability necessary to repair such
                   damaged Perimeter Walls.

                                  4.10 Rules.

                                  (a)      Rulemakino Power. The Board may, from time to time and subject to
                   the provisions of this Declaration, propose, enact, and amend rules and regulations to be
                   known as the"Rules a nd Regulations" that relate to the management, operation, and control
                   of the Association or the Common Area. The Rules and Regulations shall become effective
                   and binding on all Owners only after adoption by the Board. Such Rules and Regulations
                   may concern, but need not be limited to, matters pertaining to use of the Common Area;
                   signs; collection and disposal of refuse: minimum standards of maintenance of property:
                   parking and traffic restrictions; limitations on maintenance of landscaping or other Improvements
                   on any property: standards for Residences; limitations on the type of furniture, fixtures.
                   equipment, and other objects maintained on Lots in view of other Owners; limitations on
                   the number and type of animals that may be allowed on the Property; and any other subject
                   or matter within the jurisdiction of the Association as provided in this Declaration. The Rules
                   and Regulations may restrict and govern the use of the Common Area by any Member or


                    I   Iwo. tirabutt win   1,1                    24




CLARK,NV                                                Page 29 of 98                            Printed on 11/1/2016 4:58:41 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 736 of 807
Branch :FLV,User :EDLE                                    Comment:                                                        Station Id :X7QR




                                                                                                       200V5IG
                                                                                                       .01j13

                    Lessee, by the family of such Member or Lessee, or by any invitee. licensee, or guest of
                    such Member or Lessee. Declarant retains the right to establish rules relating to the use
                    of any portion of the Common Area owned by it until annexation and conveyance to the
                    Association, and the Association may incorporate such rules in its Rules and Regulations.
                    The righ t of an Owner or the Board to enforce Rules and Regulations is limited to those Owners
                    that are subject to this Declaration.

                                   (b)      Notification of Rules and Regulations. A copy of the Rules and Regulations,
                    as they may be from time to time adopted, amended, or repealed, shall be mailed or otherwise
                    delivered to each Member and may, but are not required to, be recorded. The adoption
                    of the Rules and Regulations shall have the same force and effect as if they were set forth
                    in and were a part of this Declaration. No Rules and Regulations may be adopted that materially
                    impair the rights, preferences, or privileges of any Owner as specifically set forth herein.

                             4.11 Breach of Rules, Regulations, or Restrictions. In the event of a breach
                    of any provision of the Rules and Regulations or of any of the restrictions contained in this
                    Declaration by an Owner its family, guests. employees, invitees, licensees, or tenants, the
                    Board, for and on behalf of itself and all other Owners, shall have the right to enforce the
                    obligations of each Owner to obey the Rules and Regulations or the restrictions of this
                    Declaration in any manner provided by law or in equity, including, but not limited to, appropriate
                    hiring of legal counsel, the pursuing of legal action, suspension of the Owners right to use
                    the facilities of the Common Area, or suspension of the Owners voting rights; provided.
                    however, such suspension for a nonrecurring violation of the Rules and Regulations may
                    not be for a period in excess of thirty (3n) Amys, after notice Anri hearing as herein provided.
                    Subject to Section 4.12 below and in addition to the other remedies herein set forth, including,
                    without limitation, assessing the cost of repair of any damage resulting from a violation of
                    the Rules and Regulations, the Board, by majority vote, may levy a fine against such Owner,
                    after appropriate notice and hearing as herein provided. Prior to imposing any penalty provided
                    herein for breach of the Rules and Regulations or of the restrictions contained in this
                    Declaration. the Board shall provide the Owner with reasonable notice and a hearing before
                    the Board, which notice must specify the nature of the violation. In the event that the Board
                    determines that a violation has occurred and that a penalty shall be imposed, the determination
                    of the Board shall be final, provided that a reasonable opportunity for a hearing before the
                    Board has been provided to the Owner. in the event legal counsel is retained or legal action
                    is instituted by the Board pursuant to this Section, any settlement prior to judgment or any
                    judgment rendered in any such action shall include costs of collection, court costs, and
                    reasonable attorneys' fees.

                             4.12 Fines. Every fine must be commensurate with the severity of the violation.
                    Additionally, if the violation does not threaten the health and welfare of the Development,
                    the fine must not exceed one hundred dollars ($100) for each violation or a total amount
                    of five hundred dollars ($500). whichever is less. The Rules and Regulations may be enforced
                    by the Assessment of a fine only if (a) the Person alleged to have violated the Rules and
                    Regulations has received notice of the alleged violation that informs him of his opportunity
                    to request a hearing on the alleged violation, and, (b)at least thirty (30) days before the alleged

                     P.. 11.,.    W.. Mr.                           25




CLARK,NV                                                Page 30 of 98                             Printed on 11/1/2016 4:58:41 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 737 of 807
Branch :FLV,User :EDLE                                   Comment:                                                      Station Id :X7QR




                                                                                                    2002051C
                                                                                                    .01313

                    violation, said Person was given written notice of the rule or regulation (or any amendment
                    to the rule or regulation) that the Person allegedly violated. If a fine is imposed pursuant
                    to this Section and the violation is not cured within fourteen (14) days or such longer cure
                    period as the Board establishes, the violation shall be deemed a continuing violation and
                    the Board may thereafterimpose additional fines for the violation not to exceed one hundred
                    dollars (5100) per each seven (7) day period or portion thereof that the violation remains
                    uncured. Any additional fine may be imposed without notice and an opportunity to be heard.
                    The S ecretary of the Association shall prepare and cause to be hand-delivered or sent prepaia
                    by United States mail to the mailing address of each Lot or to any other mailing address
                    designated in writing by the Lot Owner, a schedule of the lines that may be imposed for
                    particularviolations of the Declaration, Rules and Regulations, and other gove rning documents
                    of the Association. The Association may not foreclose a lien for the Assessment of a fine
                    for a violation of the Declaration, Bylaws, or Rules and Regulations, unless the violation
                    is of a type that threatens the health, safety, or welfare of the residents of the Development.

                            4,13 Liability of Members of Board. No memberof the Board shall be personally
                    liable to any of the other Board members, to the Members, or to any other Person, including
                    Declarant, for any error or omission of the Association, its representatives and employees,
                    or the Architecture Committee, provided that such Board member has, upon the basis of
                    such information as may be possessed by him or her, acted in good faith.

                           4.14 Amendment Notwithstanding anything to the contrary in Section 10.04, the
                    provisions of Sections 4.01. 4.02, 4.03, and 4.04 shall not be amended without the vote or
                    written consent of two-thirds (2/3rds) of the Owners.


                                                             ARTICLE V.

                                            Covenant for Maintenance Assessments

                            5.01 Assessments, The Owner of any Lot, by acceptance of s deed therefor.
                    covenants and agrees to pay to the Association annual Assessments and special Assessments
                    for capital Improvements, such Assessments to be established and collected as hereinafter
                    provided. The annual Assessment, special Assessment, interest, costs, and reasonable
                    attorneys' fees shall be a charge on the Lot and shall be a continuing lien upon the Lot against
                    which each such Assessment is made until paid. Each Assessment, together with interest,
                    costs, and reasonable attorneys' fees, shall also be the personal obligation of the Owner
                    of the Lot at the time when the Assessment became due. The personal obligation ford elinciuent
                    Assessments shall not be extinguished upon the sale or the conveyance of a Lot, but any
                    purchaser of a Lot shall not be liable for any unpaid Assessments or fee greater than the
                    amounts set forth in the statement of unpaid Assessments described in Section 5.07.

                          5.02 Purpose of Assessments. The Assessments levied by the Association shall
                    be used exclusively to promote the recreation, health, safety, and welfare of the residents


                    I tan




CLARIC,NV                                              Page 31 of 98                            Printed on 11/1/2016 4:58:41 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 738 of 807
Branch :FLV,User :EDLE                                     Comment:                                                          Station Id :X7QR




                                                                                                          20029510
                                                                                                          .01313

                    of the Property, for the improvement and maintenance of the Common Area, and for the
                    daily operating expenses of the Association.

                           5.03 Regular Assessments.

                                    (a)     Annual Assessment. The Board shall fix the annual Assessment at
                    an amount sufficient to cover the estimated budget of the Association prior to the beginning
                    of each fiscal year. The Board may increase theannual Assessment by upto fifteen percent
                    (15%) of the previous year's annual Assessment without the consent of the Owners. The
                    Board shall, not less than thirty (30)days or more than sixty (60)days before the beginning
                    of each fiscal year of the Association, prepare and distribute to each Owner a copy of the
                    budget for the daily operation of the Association. The budget must include, without limitation.
                    the estimated revenue and expenditures of the Association for the coming year and any
                    contributions to be made to the reserve funds established by subsection 5.03(b) hereof.
                    In lieu of distributing copies of the budget, the Board may distribute summaries of the budget,
                    accompanied by a written notice that the budget is available for review atthe business office
                    of the Association or other suitable location and that copies of the budget will be provided
                    upon request.

                                  (0)     Reserve. The annual Assessment of the Association shall, in addition
                    to being sufficient to cover anticipated expenses, include adequate reserves for the repair,
                    replacement, and restoration of the major components of the Common Area. The reserve
                    funds may be used only for those purposes and not for daily maintenance. Money in the
                    reserve accounts may not be withdrawn without the signatures of at least two (2) members
                    of the Board or the signatures of at least one (1) member of the Board and one (1) officer
                    of the Association who is not a member of the Board.

                                          The Board shall, not less than thirty (30) days or more than sixty (60)
                    days before the beginning of the fiscal year of the Association prepare and distribute to each
                    Owner a copy of the reserve budget. In lieu of distributing copies of the reserve budget,
                    the Board may distribute summaries of the budget. accompanied by a written notice that
                    the budget is available for review at the business office of the Association or other suitable
                    location and that copies of the budget will be provided upon request.

                                            The reserve budget must include, without limitation: (i) the current estimated
                    replacement cost, estimated remaining life, and estimated useful life of each major component
                    of the Common Area; (ii) as of the end of the fiscal year for which the budget is prepared,
                    the current estimate of the amount of cash reserves that are necessary, and the current
                    amount of accumulated cash reserves that are set aside, to repair. replace, or restore the
                    major components of the Common Area; (iii) a general statement describing the procedures
                    used for said estimation and accumulation of cash reserves, including, without limitation,
                    the qualifications of the Person responsible for the preparation of the reserve studies required
                    under this subsection; and (iv) a statement as to whether the Board has determined or
                    anticipates that the levy of one or more Special Assessments will be required to repair, replace.


                                                                     27




CLARK,NV                                                 Page 32 of 98                               Printed on 11/1/20164:58:41 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 739 of 807
Branch :FLV,User :EDLE                                    Comment:                                                       Station Id :X7QR




                                                                                                      200?05 10
                                                                                                      .01,513

                    or restore any major component of the Common Area or to provide adequate reserves for
                    that purpose.

                                            The Board shall cause to be conducted at least once every five (5) years,
                    a study of the reserves required to be maintained by this subsection, review the results of
                    that study at least annually to determine if those reserves are sufficient, and make any
                    adjustments it deems necessary to maintain the required reser/es. The study must be
                    conducted by a person qualified by training and experience to conduct such a study, including
                    a member of the Board, an Owner, or the manager of the Association who is so qualified.
                    The study must include, without limitation: (i) a summary of an inspection of the major
                    components of the Common Area that the Association is obliga ted to repair, replace, or restore:
                    (ii) an identification of the major components of the Common Area that the Association is
                    obligated to repair, replace. or restore which have a remaining useful life of less than thirty
                    (30)years; (iii) an estimate of the remaining useful life of each majorcomponent so identified;
                    (iv) an estimate of the cost of repair, replacement, or restoration of each major component
                    so identified; and (v) an estimate of the total annual Assessments that may be required to
                    cover the cost of repair, replacement, or restoration of the major components so identified
                    after subtracting the reserves of the Association as of the dale of the study.

                                  (c)     Increases of Annual Assessment, The annual Assessment may not
                    be increased by more than fifteen percent (15%) of the annual Assessment for the previous
                    year without a vote or written consent of fifty-one percent (51%) of the Members; provided,
                    however, that following the termination of the Declarant control period described in subsection
                    4.03(a) hereof, any such increase shall have the vote or written consent of; (i) fifty-one percent
                    (51%) of the Members, and (ii) fifty-one percent (51%) of the Members other than Declarant.

                                     (d)   Budget Ratification. The Board shall, within thirty (30) days after the
                    adoption of any proposed budget, provide a summary of the budget to all Owners and shall
                    set a date for a meeting of Owners to consider and ratify the budget not less than fourteen
                    (14) nor more than thirty (30) days after the mailing of the summary. Unless a majority of
                    all Owners at the meeting reject the budget (whether or not a quorum is present), the budget
                    is ratified. If the budget is rejected, the budget last ratified shall continue to be the budget
                    for the Association.

                                   (e)    Inadgouacy of Annual Assessment. In the Board's sole and absolute
                    discretion, should the annual Assessment be inadequate forany reason, including, without
                    limitation, nonpayment of any member's annual Assessment, to provide for the Association's
                    costs and expenses, the Board may at any time ancI from time to time levy furtherAssessments
                    in the same manner as described in subsection (a) of this Section 5.03.

                                  (f)    Financial Statement. A financial statement for the Association shall
                    be prepared each fiscal year, which shall include a balance sheet showing the profit and
                    loss of the Association and the funds held in reserve by the Association.



                     r,,p44;ra■      I                             28




CLARK,NV                                                Page 33 of 98                             Printed on 11/1/2016 4:58:41 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 740 of 807
Branch :FLV,User :EDLE                                   Comment:                                                      Station Id :X7QR




                                                                                                     2e25 10
                                                                                                     .01,513


                                   (g)     Initial Contribution. In addition to the allocable portion of the monthly
                    installment of the regular Assessment for the month escrow closes on the sale of a Lot by
                    Declarant to an Owner other than Declarant. each Owner shall be required to make at close
                    of escrow an initial capital contribution to the reserve fund described in subsection (b) above.
                    The initial reserve contribution shall be equal to twice the monthly installment of annual
                    Assessments allocable tolhe Owner's Lot. This initial capital contribution is not an advance
                    payment on the Owner's annual Assessments and is not refundable to the Owner or its
                    successors or assigns.

                            5.04 Special Assessments. In addition to the annual Assessments authorized
                    above, the Boa rdrnay levy special Assessments for the purpose of construction, reconstruction,
                    repair, or replacement of a capital Improvement upon the Common Area, including fixtures
                    and personal property related thereto. Any such Assessment must be approved by a majority
                    of the Members. The Association shall provide written notice to Owners of any meeting
                    at which an Assessment for capital Improvements is to be considered at least twenty-one
                    (21) calendar days before the meeting.

                             5.05 Notice of Specia I Assessme nts; Time for Payment. The Association may,
                    in its discretion, give written notice of special Assessments to each Owner, which notice
                    shall specify the amount of the special Assessment and the date or dates of payment of
                    the same. No payment shall be due fewer than fifteen (15) days after the written notice has
                    been given. Failure of the Association to give notice of the special Assessment shall not
                    affect the liability of the Owner of any Lot, but the date when payment shall become due
                    in such a case shall be deferred to a date fifteen (15)days after the notice shall have been
                    given.

                            5.06 Collection of Assessments. Annual Assessments shall commence with respect
                    to each Lot in the original Property on the first (1') day of the month immediately following
                    the first (1'`) close of escrow for the sale by Declarant to an Owner other than Declarant
                    of a Lot in the original Property. Annual Assessments shall so commence with respect to
                    each Lot in any Annexable Area annexed to the Property in ac.cordancewith Article IX hereof
                    on the first (1st) day of the month immediately following the first close of escrow for the sale
                    by Declarant to an Ownerotherthan Declarant of a Lot in that portion of the Annexable Area
                    so annexed.

                            5.07 Unpaid Assessments. The amount of any delinquent Assessment, whether
                    regular or special, assessed against any Lot, a late payment charge of five percent (5%)
                    of the delinquent Assessment, plus interest on such Assessment and late payment charge
                    at a rate not to exceed eighteen percent (18%) per annum simple interest, and the costs
                    of collecting such Assessment, late payment charge, and interest, including reasonable
                    attorneys' fees, shall be a lien upon the Lot assessed until paid. Such lien shall be prior
                    to any declaration of homestead, and except as provided in Section 5.08 hereof, such lien
                    shall survive and not be affected by the conveyance of the Lot subject to the delinquent
                    Assessment to a third-party purchaser. Such lien shall be created in accordance with NRS


                                                                   29




CLARK,NV                                               Page 34 of 98                            Printed on 11/1/2016 4:58:41 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 741 of 807
Branch :FLV,User :EDLE                                     Comment:                                                         Station Id :X7QR




                                                                                                        2Ur5 1

                    § 116.3116 and shall be foreclosed in the manner provided formn NRS § 116.31162-116.31168
                    as is now or hereafter may be in effect. A certificate executed and acknowledged by any
                    two (2) members of the Board stating the indebtedness secured by such lien shall be conclusive
                    upon the Association as to the amount of such indebtedness as of the date of the certificate
                    in favor of all Persons who rely thereon in good faith, and such certificate shall be furnished
                    to any Owner upon request at a reasonable fee not to exceed Ten Dollars ($10.00). In addition
                    to foreclosure of the Assessment lien, the Association may, but is not obligated to, bring
                    an action to recoverjudgment against the Member personally obligated to pay the delinquent
                    regular or special Assessment after having provided to that Member thirty (30) days' written
                    notice of the delinquency. The Board rnay suspend the voting rights in the Association
                    and right to use any of the recreational facilities of the Common Area of any Owner during
                    any period any Assessment due from Such Owner is unpaid. In the event an Assessment
                    is past due more than fifteen (15) days, the Board may declare immediately due and payable
                    the total amount assessed against the Ownerand the Lot for that fiscal year. The Association
                    may not foreclose a lien for the Assessment of a fine for a violation of this Declaration, the
                    Bylaws, or the Rules and Regulations, unless the violation is of a type that threatens the
                    health, safety, or welfare of the residents of the Development.

                             5.08 Mortgage Protection. Notwithstanding any other provision of this Declaration.
                    no lien created under this Article V or under any other Article of this Declaration, nor any
                    lien arising by reason of any breach of this Declaration, northe enforcement of any provision
                    of this Declaration. shall defeat or render invalid the rights of the beneficiary u nder any Recorded
                    Mortgage of first and senior priority now or hereafter upon a Lot, made in good faith and
                    forv&ue, TY2Tfint"1 before the IlAtP nn w hirth the AsAessmentAought to be enforced became
                    delinquent. However. afterthe foreclosure of any such first Mortgage. such Lot shall remain
                    subject to this Declaration and shall be liable for all regular Assessments and all special
                    Assessments levied subsequent to the date six (6) months priorto the institution of an action
                    to foreclose on any such first Mortgage.

                           5.09 Effect of Amendments on Mortgages. Notwithstanding the provisions of
                    Section 10.04 hereof. no a mendmentof Section 5.08 of this Declaration shall affect the rights
                    of any beneficiary whose Mortgage has senior priority as provided in Section 5.08 and who
                    does not join in the execution thereof, provided that its Mortgage is Recorded in the real
                    property records of Clark County, Nevada, prior to the Recordation of such amendment;
                    provided, however, that after foreclosure or conveyance in lieu of foreclosure, the property
                    that was subject to such Mortgage shall be subject to such amendment.

                            5.10 Annual Assessments Paid By Declarant. Declarant shall pay all Assessments
                    on all Lots owned by Declarant (but not on any Lots in any Annexable Area until both of
                    the following shall occur: (a) such Annexable Area is actually annexed to and becomes
                    a part of the Property; and (b) the first day of the month following the close of the first sale
                    by Developer to an Owner other than Developer of a Lot within that particular portion of the
                    Annexable Area): including those Lots owned by Declarant that have not been sold to Owners



                    I &a.    Adel      11....s                       30




CLARK,NV                                                 Page 35 of 98                              Printed on 11/1/2016 4:58:41 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 742 of 807
Branch :FLV,User :EDLE                                   Comment:                                                        Station Id :X7QR




                                                                                                      20010 p5310

                   other than Declarant; provided, however, that Declarant may receive as a credit the costs
                   or value of any maintenance or repair performed by Declarant on the Association Property.

                                                             ARTICLE VI.

                                                  Permitted Uses and Restrictions

                          In addition to all of the covenants contained herein, the use of the Property and each
                   Lot therein is subject to the following:

                         6.01 Improvements and Use. Except as expressly provided herein, the Lots shall
                   be used exclusively for single-family residential purposes. Timesharing is prohibited. No
                   mobile home may be placed or located on any Lot.

                         6.02 Animals. No animals of any kind shall be raised, bred, or kept on any Lot,
                   except that a reasonable number of dogs, cats, or other household pets may be kept on
                   a Lot provided that they are not kept, bred, or maintained for any commercial purpose nor
                   in violation of any applicable local ordinance or any other provision of this Declaration. A
                    reasonable number' shall ordinarily mean three (3) or fewer pets per Lot. All pets within
                   the Property shall be leashed or otherwise under the direct control of the pet owner when
                   not within an enclosed area of a Lot. It shall be the absolute duty and responsibility of each
                   Owner or Lessee to remove any solid animal waste after such animals have used any portion
                   of the Property orany public property in the vicinity of the Property. No pet shaft be permitted
                   to be kept within any portion of the Property if it makes excessive noise or is otherwise
                   determined by the Board to be a nuisance. If a pet is determined lobe a nuisance, the Board
                   may give notice to the Owner or Lessee to resolve the offending problem within seventy-two
                   (72) hours, and if the problem is not resolved during that period of time, order the removal
                   of the pet.

                           6.03 Commercial orOther Non-Residential Uses. No commercial, professional,
                   industrial, institutional, or other non-residential use (including residential day care facilities)
                   shall be conducted on any Lot without the written approval of the Board, except such tern porary
                   uses as shall be permitted by Declarant while the Development is being constructed and
                   Lots are being sold by Declarant. Any own erwishing to conduct any commercial, institutional,
                   or other non-residential uses on any Lot shall first apply to the Board for approval of such
                   use and shall provide to the Board any information deemed necessary bythe Board to evaluate
                   the impact of such use on the neighborhood, The Board shall determine if such use diminishes
                   the residential characterof the Lot or neighborhood or imposes a nuisance on the neighborhood.
                   The decision of the Board shall be final and conclusive. The Board may review, and repeal,
                   any such approval from time to time at the discretion of the Board if, in the opinion of the
                   Board, the use has changed or increased toe level not consistent with the original approval.
                   This provision may not be amended or deleted without the approval of all of the Members.




                   I !.Ð.. C414   %au MIR, 1..0                    31




CLARK,NV                                                Page 36 of 98                            Printed on 11/1/2016 4:58:41 PM
Document: CCR 2002.0510.1313
          Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 743 of 807
Branch :FLV,User :EDLE                                    Comment:                                                         Station Id :X7QR




                                                                                                       2002D510
                                                                                                       .01113

                            6.04 Utility Service. No lines, wires, or other devices for the communication or
                   transmission of electric current or power, including telephone, teievision, and radio signals,
                   shall be erected, placed, or maintained anywhere in or on any Lot unless the same shall
                   be contained in conduits or cables installed and maintained underground or concealed in,
                   under, or on buildings or other structures approved in writing by the Board. All temporary
                   utility outlets shall be installed and maintained in accordance with applicable provisions of
                   the Rules and Regulations. No provision hereof shall be deemed to forbid the erection of
                   the temporary poweror telephone installations incident to the construction of approved buildings
                   or structures.

                           6.05 Nuisances. No noxious, illegal, or offensive activity shall be carried out on
                   or upon any Lot or any part of the Property, nor shall anything be done thereon that may
                   be or may become an annoya nce or nuisance, public or private, to the neighborhood, that
                   shall in any way interfere with the quiet enjoyment of each of the Owners of their respective
                   Lots, or that shall in any way increase the rate of insurance for the Association or for the
                   Owners.

                           6.06 Garbage. No rubbish, trash, garbage, or other waste shall be kept except
                   in sanitary containers. All equipment for the storage or disposal of such materiels shall be
                   kept in a clean and sanitary condition and shall be enclosed so as not to be visible from
                   any public street or from any other Lot or the Common Area.

                           6.07 Antennae, Satellite Dishes and Solar Collectors. No Owner may erect or
                   maintain a television or radio receiving or transmitting antenna, satellite dish or similar implement
                   or apparatus, or solar collector panels or equipment upon any Lot unless such apparatus
                   is erected and maintained in such a way that it is screened from public view along the public
                   street right-of-way directly in front (and to the side, in the case of a corner Lot) of the house
                   erected on such Lot: and no such apparatus shall be erected without the priorwritten consent
                   of the Architecture Committee. The Architecture Committee, as designated in this Declaration,
                   shall have the absolute authority to determine whether an accessory is adequately screened
                   from public view. The provisions of this Section 6.07 and the authority of the Architecture
                   Committee in this matter shalt be subject to any regulations issued by the Federal
                   Communications Commission and any other applicable governmental authority.

                          6.08 Signs. No signs other than one (1) sign of customary and reasonable dimensions
                   advertising a Lot for sale or rent shall be displayed on any Lot so that it is visible from any
                   other Lot, public street. or the Common Area without prior written consent of the Board.
                   No signs shall be displayed on the Common Area except signs approved by the Board.

                          6.09 Equipment and Machinery. No power equipment or hobby shops shall be
                   permitted on the Property except with prior written approval of the Board. No equipment,
                   machinery, junk. debris, building materials, or similar matter shall be placed, stored, or kept
                   in or on any Lot, parking area, or street within or adjoining the Property.



                         Wa•                                        32




CLARK,NV                                                Page 37 of 98                             Printed on 11/1/2016 4:58:41 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 744 of 807
Branch :FLV,User :EDLE                                    Comment:                                                       Station Id :X7QR




                                                                                                      20 0205 10
                                                                                                      .01,513

                           6.10 Laundry. Outside clotheslines or other outside facilities for drying or airing
                    clothes shall not be erected, placed, or maintained on any Lot. No washing machine or dryer
                    shall be kept on any Lot, except within a Residence, without the prior written approval of
                    the Board.

                           6.11 Propane Tanks. Only propane tanks used in connection with barbecue grills
                    shall be permitted on any Lot; provided, however, that such tanks are in compliance with
                    all applicable codes and laws.

                           6.12 Maintenance of Lawn and Plants. AU Lots, landscaping, driveways, and
                    exteriors must be kept neat and tidy at all times. No landscape trimmings shall be placed
                    for removal on or near any public road within the Property or in a place upon the Lot where
                    they are visible from any other Lot or the Common Area.

                           6.13 Vehicle Parking.

                                    (a)    Owneeand OcCuDant Parking: Pfionties. It is the intent of this Subsection
                    to limit on-street parking within the Property. Accordingly, each Owner and the occupants
                    of his Residence shall park all of their vehicles first within the garage and then on the driveway
                    of the Owner's Lot; provided, however, that the number of vehicles parked on any Lot shall
                    not exceed the maximum number of vehicles that the garage and driveway were designed
                    to accommodate (e.g., if a Residence has a three (3) car garage and a driveway designed
                    to accommodate three (3) additional cars, then no more than six (6) cars may be parked
                    on the Lot). Garage doors must be kept closed at all times, except as reasonably required
                    for ingress and egress to and from the garage. Only after all parking areas first within the
                    garage and then on the driveway are full shall an Owner be allowed to park a vehicle on
                    the streets within the Project. In addition, no Owner shall park, store, or keep anywhere
                    within the Property any vehicle or vehicular equipment, mobile or otherwise, deemed to be
                    a nuisance by the Board, in its sole and absolute discretion.

                                   (b)     GuestParking. Notwithstanding the provisions of Subsection 6.13(a).
                    Persons other than Owners and occupants of the Property, including, without limitation, their
                    guests, invitees, and licensees, may park their vehicles on the streets of the Property between
                    the hours of 7:00 a.m. and 10:00 p.m. Pacific Standard Time. During times other than these
                    hours, including overnight stays, vehicles of such other persons must be parked in accordance
                    with the provisions of Subsection 6.13(a).

                                    (c) Campers. Boats. RVs. Trailers and Non-PassengerVehicies. No campers,
                    boats, trailers, trailer coaches, camp trailers. recreational vehicles, camper units, house/cars,
                    motor homes, mobNe homes, aircraft, jet skis, wave runners, four-wheelers, off-road vehicles,
                    buses, recreational trailers, non-passenger vehicles, or any other similar vehicles, rolling
                    stock, equipment, implements, or accessories shall be stored or kept on any Lot unless the
                    same are fully enclosed within the garage located on such Lot or are in operable condition,



                     P,,         avro4VAlts   ItS                  33




CLARK,NV                                                Page 38 of 98                            Printed on 11/1/2016 4:58:41 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 745 of 807
Branch :FLV,User :EDLE                                    Comment:                                                       Station Id :X7QR




                                                                                                       200n5 10
                                                                                                       .01313

                    located behind the side yard block wall and gate, and otherwise adequately screened from
                    view, all as determined by the Board in its sole and absolute discretion.

                                    (d) Commercial Vehicles. No large commercial vehicles, including, but not
                    limited to. any dump truck, cement mixer truck, oil or gas truck, or delivery truck, shall be
                    kept or stored on any Lot unless approval of the Board is granted. For purposes of this
                    Subsection 6.13(d). "large commercial vehicle" shall mean any vehicle larger than a nineteen
                    (19)foot van or three-quarter (3/4)ton pickup truck that bears commercial insignia, names,
                    or other common indicia indicating that the vehicle is used for commercial purposes, all as
                    determined by the Board in its sole and absolute discretion. Large commercial vehicles
                    that are temporarily parked on any Lot for the sole purpose of serving such Lot are exempt
                    from this restriction. The Board shall have the absolute authority to grant approval for storing
                    or keeping a large commercial vehicle on a Lot. Any Owner wishing to keep a large commercial
                    vehicle on any Lot shall apply for approval to the Board, and shall provide such information
                    as the Board, in its sole authority, may require. The Board may from time to time in its sole
                    discretion review the approval to keep a large commercial vehicle on any Lot to determine
                    if the vehicle complies with the intent of the original approval. Upon an adverse determination
                    by the Board, any vehicle shall be removed or otherwise brought into compliance with the
                    requirements of this Section 6.13.

                                  (e) Oisabled_Inoperable and Unregistered Vehicles. Nodisabled, inoperable
                    or unregistered vehicles, campers, boats, trailers, recreational vehicles, or other types of
                    non-passenger vehicles, equipment, implements, or accessories may be kept or stored on
                    any street within the Property for any period in excess of forty-eight (48) hours, nor placed
                    on any Lot unless fully screened from view.

                                  (f) Vehicle Maintenance. No dismantling, assembling or maintenance (other
                    than emergency maintenance) of motor vehicles, boats, trailers, recreational vehicles, or
                    other machinery, implements, accessories or equipment shall be permitted in the streets
                    within the Property, or in any parking area, driveway or yard adjacent to a street, or that is
                    not screened from view.

                                   (9) Authority to Review. The Board shall have the absolute authority to
                    determine from time to time whether a vehicle or accessory is operable, adequately screened
                    from public view. and otherwise in compliance with the provisions of this Section 6.13. Upon
                    an adverse determination by the Board, the vehicle or accessory shall be removed orotherwise
                    brought into compliance with this Section 6.13.

                                  (h)     ParkingRules and Regulations. The Board may adopt rules and regulations
                    consistent with this Section 6.1310 further regulate vehicle parking in the Property.

                           6.14 Leases. Any lease of a Lot shall be in writing and be of a term of at least six
                    (6)months, shall expressly provide that such lease is subject in all respects to this Declaration,
                    and that any failure of the Lessee to comply with any provisions of this Declaration shall
                    constitute a default under such lease. The Owner of a leased Lot shall be responsible for

                    I I,., 1,..t.da   Ko   1.14                    34




CLARK,NV                                                Page 39 of 98                            Printed on 11/1/2016 4:58:41 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 746 of 807
Branch :FLV,User :EDLE                                    Comment:                                                        Station Id :X7QR




                                                                                                       200'0510
                                                                                                       .01413

                    all Assessments, penalties, and costs imposed on said Lot. No Lot may be leased for hotel
                    or transient purposes. No portion of a Lot (less than the entire Lot) may be leased for any
                    period.

                           6.15 Resubdivislon. No Lot shall be resubdivided nor shalt less than an entire
                    Lot be sold.

                          6.16 Improvements. All Lot Improvements, including any species of plant material
                    and placement of plants, shall be subject to the control and approval of the Architecture
                    Committee as set forth in Article VII of this Declaration.

                           6.17 Taxes. Each Owner shall pay when due and before delinquency all taxes.
                    Assessments, levies, fees, and all other public charges and utility fees and charges of every
                    kind and nature imposed upon or assessed against its Lot.

                             6.18 Rules and Regulations. The Board is hereby expressly authorized to establish
                    all rules and regulations as it shall deem necessary for the purpose of implementing, enforcing,
                    and administering the purposes of this Declaration.

                           6.19 Hazardous Substances. No activity shall be permitted on any Lot orthe Common
                    Area that, in the sole opinion of the Board, will create or emit offensive, haYnrdous, orexcessive
                    quantities of dust, dirt, ash, smoke, noise, fumes, odors, or vibrations or create risk of fire,
                    explosion, or other hazards or is not in harmony and consistent with the Property. Activities
                    prohibited hereunder include, but are not limited to, activities that result in the disposal of
                    hazardous substances in any form upon the Property. Forthe purposes of this Declaration,
                    the term "Hazardous Substance" shall mean any product, substance, chemical, material.
                    orwaste whose presence, nature, quantity, or intensityof existence, use, manufacture, disposal
                    transportation, spill, release, or effect, either by itself or in connection with other materials
                    expected to be found upon any Lot, is either: (i) potentially injurious to the public health,
                    safety, or welfare or the environment or the Property: (ii) regulated or monitored by any
                    governmental authority: or (iii) a basis for liability of Declarant or any Ownerto any governmental
                    agency or third party under any applicable state or common law principle.

                            6.20 Party Walls. Owners of Party Walls shall share equally the responsibility and
                    cost of all maintenance, repair, or replacement, as necessary, of their respective Party Walls.
                    Notwithstanding the foregoing. an Owner causing any damage to any Party Walls by its acts
                    shall be solely responsible and liable for any maintenance, repair, or replacement, as required,
                    and for any cost or liability necessary to repair such damaged Party Walls.

                            6.21 Exterior Holiday Decorations. Lights or decorations may be erected on a
                    Lot in commemoration or celebration of publicly observed holidays provided that such lights
                    or decorations do not unreasonably disturb the peaceful enjoyment of Owners of adjacent
                    Lots by illuminating bedrooms, creating noise orattracting sight-seers. Holiday decorations
                    or lights for any publicly observed holiday between December 1 and December 31 of any


                     Yo. nAl• Cat l ...1•4                          3$




CLARK,NV                                                Page 40 of 98                             Printed on 11/1/2016 4:58:42 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 747 of 807
Branch :FLV,User :EDLE                                  Comment:                                                      Station Id :X7QR




                                                                                                    20020F.10
                                                                                                    .01313

                    year, may not be displayed before November 15 of any year. Forother holidays, decorations
                    or tights may not be displayed more than two (2) weeks in advance of the holiday. AH lights
                    and decorations that are not permanent fixtures of a Lot which are part of the original
                    construction or have been properly approved as permanent improvements by the Architecture
                    Committee shall be removed within thirty (30)days after the holiday has ended. The Board
                    shall have the right, upon thirty (30) days prior written notice to designate a party to enter
                    upon any Lot and summarily remove exterior lights or decorations displayed in violation of
                    this provision. The Board, and the individuals removing the lights and decorations, shall
                    not be liable to the Owner for trespass, conversion, or damages of any kind except intentional
                    misdeeds and gross negligence.

                                                            ARTICLE VII.

                                                     Architecture Committee

                            7.01 Establishment of Committee. There shall bean architecture and landscape
                    control committee (the "Architecture Committee"), established for the purpose of enforcing
                    the architectural standards of the community and approving or disapproving plans for
                    Improvements proposed for the Lots. No irnprovement shall be erected, altered, added
                    on or repaired on a Lot until plans and specifications showing the nature, kind, shape, colors.
                    materials, and location of the Improvement have been submitted to and approved in writing
                    by the Architecture Committee, provided, however, that Improvements erected, altered, added
                    onto or repaired on the Property by Declarant shall be exempt from the provisions of this
                    Article Vii.

                            7.02 Members of Committee. The Architecture Committee shall consist of three
                    (3) members, aii of whom shall 5rst be appointed by Declarant. There shall also be two
                    (2) alternate members of the Architecture Committee, who shall be designated by the
                    Architecture Committee, to act as substitutes on the Architecture Committee in the event
                    of absence or disability of any member. Each member of the Architecture Committee shall
                    hold office until such time as he or she has resigned or has been removed or his or her
                    Successor has been appointed, as provided herein. Members of the Architecture Committee
                    may be removed at any time with or without cause. Until ninety percent (90%) of all Lots
                    have been sold, Declarant shall have the sole power to appoint and remove the members
                    of the Architecture Committee, Thereafter, the Board Shall have the power to appoint and
                    remove ail members of the Architecture Committee and to determine the number of members
                    of the Architecture Committee: provided, however, that the Architecture Committee shall
                    at no time consist of less than three (3) members. Members of the Architecture Committee
                    need not be Members of the Association.

                           7.03 Architectural Design Guidelines. Prior to conveyance of the first Lot to an
                    Owner other than the Declarant, the Declarant may, in its sole discretion and without the
                    consent of anyone. adopt, amend or repeal rules and regulations to be known as "Design
                    Guidelines," which shall interpret and implement the provisions of this Declaration. set forth


                    I r4.•   MU, SO,                              36




CLARK,NV                                               Page 41 of 98                           Printed on 11/1/2016 4:58:42 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 748 of 807
Branch :FLV,User :EDLE                                      Comment:                                                     Station Id :X7QR




                                                                                                     20021510
                                                                                                     .01313

                    fees to be charged, and promulgate procedures and design and construction criteria to be
                    followed in submitting proposals to the Architecture Committee. Thereafter. the Architecture
                    Committee shall have the right to and may in its discretion, subject only to approval of the
                    Board, adopt, amend or repeal the Design Guidelines. No such actions shall affect any prior
                    Architecture Committee approval. A copy of the Design Guidelines as they may from time
                    to time be adopted, amended, or repeated, certified by any member of the Architecture
                    Committee, shall be maintained at the office of the Association and shall be available for
                    inspection and copying by any Member at any reasonable time during the business hours
                    of the Association. The following minimum standards and restrictions shall apply to all
                    Improvements made on the Property:

                                  (a)    all Improvements shall be constructed in full compliance with all applicable
                    zoning laws, building codes, and other laws, ordinances, and regulations applicable to the
                    construction, use, and occupancy of Improvements; and

                                   (b)         all Improvements shall be constructed in accordance with the Design
                     Guidelines.

                            7.04 Landscape Standards. Upon adoption of the Design Guidelines, the Architecture
                    Committee shall, as part of the Design Guidelines, establish guidelines for plant and landscaping
                    material that shall reflect desert landscaping to the extent practicable. Such guidelines may
                    restrict the species and placement of any tree, plant, bush, ground cover, or other growing
                    thing planted or placed on the Property. The Architecture Committee shall adopt a list of
                    approved plant species that may be altered or augmented from time to time.

                            7.05 Review of Proposed Improvements. Whenever in this Declaration or in any
                    supplemental declaration the approval of the Architecture Committee is required, it shall
                    have the right to considerall of the plans and specifications forthe Improvement or proposal
                    in question and all other facts that in its sole discretion are relevant. Except as provided
                    in Section 7.01, priorto commencement of construction of any Improvement upon the Property,
                    the plans and specifications therefor shall be submitted to the Architecture Committee, and
                    construction or placement thereof may not commence unless and until the Architecture
                    Committee has approved such plansand specifications in writing. The Architecture Committee
                    shall consider and act upon any and all plans and specifications submitted for its approval
                    pursuant to this Declaration and perform such other duties assigned to it by this Declaration
                    or as from time to time shall be assigned to it by the Board, including the inspection of
                    construction or placement in progress to assure its conformance with plans and specifications
                    approved by the Architecture Committee. The Architecture Committee shall approve plans
                    and specifications submitted for its approval only if it deems that the construction, alterations,
                    or additions contemplated thereby in the locations indicated will not be detrimental to the
                    surrounding area or to the Property as a whole, that the appearance of any structureaffected
                    thereby will be in harmony with the surrounding structures, and that the upkeep and
                    maintenance therefor will not become a burden on the Association. The Architect ure Committee
                    may condition its approval of plans and specifications on such changes therein as it deems
                    appropriate and may require submission of additional plans and specifications or other

                            out      AM. "of                         37




CLARK,NV                                                  Page 42 of 98                          Printed on 11/1/2016 4:58:42 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 749 of 807
Branch :FLV,User :EDLE                                   Comment:                                                      Station Id :X7QR




                                                                                                     20020',',10
                                                                                                     .01313

                    information prior to approving or disapproving the material submitted. The Architecture
                    Committee may also issue rules or guidelines regarding anything relevant to its functions,
                    including, but not limited to, minimum standards and pnoceduresfor the submission of plans
                    and specifications for approval. The Architecture Committee, in its sole discretion. may require
                    a reasonable fee to accompany each application for approval, which shall be used to cover
                    the Architecture Committee and its members' reasonable costs. The Architecture Committee
                    may require such detail in plans and specifications submitted for its review and such other
                    information as it deems proper.

                            7.06 Meetings of the Committee. The Architecture Committee shall meet from
                    time to time as necessary to perform its duties hereunder. but such meetings shall be held
                    at least annually. The vote of a majority of all of the members of the Architecture Committee
                    or the written consent of a majority of all of the members of the Architecture Committee taken
                    without a meeting shall constitute an act of the Architecture Committee. The Architecture
                    Committee may from time to time by resolution adopted in writing, delegate its duties, except
                    for the granting of variances pursuant to Section 7.11, or retain the services of a professional
                    engineer, architect, designer, inspector or other Person to assist in the performance of its
                    duties.

                           7.07 No Waiver of Future Approvals. The approval or consent of the Architecture
                    Committee to any plans or specifications for any work done or proposed or in connection
                    with any other matter requiring the approval or consent of the Architecture Committee shall
                    not be deemed to constitute a waiver of any right to withhold approval or consent as to any
                    plans or specifications or other matter whatsoever subsequently or additionally submitted
                    for approval or consent by the same or a different Person.

                           7.08 Compensation of Members. The members of the Architecture Committee
                    shall be entitled to reasonable compensation from the Association for services rendered,
                    together with reimbursement for expenses incurred by them in the performance of their d uties
                    hereunder. Such compensation shall be determined by Declarant while it has the right to
                    appoint or remove the members of the Architecture Committee pursuant to Section 7.02
                    hereof, and thereafter, such compensation shall be determined by the Board.

                           7.09 Inspection of Work.

                                   (a)  Completed Wort Inspection of completed work and correction of defects
                    therein shall proceed as follows:

                                          (I)     Upon the completion of any Improvement for which approved
                    plans or specifications are required under this Declaration. the Owner shall give written notice
                    of completion to the Architecture Committee within fifteen (15) days of completion.

                                         (ii)    Within such reasonable time as the Architecture Committee may
                     set, but not to exceed thirty (30) days thereafter, the Committee or its duly authorized


                                                                   38




CLARK,NV                                               Page 43 of 98                            Printed on 11/1/2016 4:58:42 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 750 of 807
Branch :FLV,User :EDLE                                   Comment:                                                        Station Id :X7QR




                                                                                                      2002'3510
                                                                                                      .01313

                    representative may inspect such improvement. If the Committee finds that such work was
                    not done in strict compliance with all approved plans and specifications submitted or required
                    lobe submitted fonts prior approval, it shall notifythe Owner in writing of such noncompliance
                    within such period, specifying in reasonable detail the particulars of noncompliance, and
                    shall require the Owner to remedy the same.

                                           (hi)   If, upon the expiration of thirty (30) days from the date of such
                    notification, the Owner shall have failed to remedy such noncompliance, the Architecture
                    Committee shall notify the Board in writing of such failure. Upon notice and hearing before
                    the Board, the Board shall issue a ruling determining whether there is a noncompliance,
                    and if such noncompliance is found to exist, the Board shall determine the estimated cost
                    of correcting or removing the same. The Owner shall remedy or remove the same within
                    a period of not more than forty-five (45) days from the date of announcement of the Board
                    ruling, If the Owner does not comply with the Board's ruling within such period, the Board.
                    at its option, may either remove the noncomplying Improvement or remedy the noncompliance.
                    and the Owner shall reimburse the Association upon demand for all expenses incurred in
                    connection therewith. If such expenses are not promptly repaid by the Owner to the Association,
                    the Board shall levy a special Assessment against such Owner and the Improvement in question
                    and the Lot upon which the Improvement is situated for reimbursement, and the special
                    Assessment shall constitute a lien upon such Lot and Improvement.

                                          (iv)    If for any reason after receipt of said written notice of completion
                    from the Owner, the Architecture Committee fails to notifythe Owner of any noncompliance
                    within the period provided in subsection 7.09(a)(ii) hereof, the Improvement shall be deemed
                    to be in accordance with said approved plans and specifications.

                                   (b)     Work in Progress, The Architecture Committee may inspect all work
                    in progress and give notice of noncompliance as provided above in subsection 7.09(a)(ii).
                    If the Owner denies that such noncompliance exists, the procedures set out in subsection
                    7-09(a)(iii) shall be followed, except that, pending resolution of the dispute, no further work
                    shall be done that would hamper correction of the noncompliance if the Board should find
                    that such noncompliance exists.

                            7.10 Nonliability of Committee Members. Neither the Architecture Committee
                    nor any member thereof nor the Board nor any member thereof shall be liable to theAssociation
                    or to any Owner or to any other Person for any loss, damage, or injury arising out of or in
                    any way connected with the performance of the Architecture Committee's or the Board's
                    respective duties under this Declaration, except for the willful misconduct or bad faith of
                    the Architecture Committee or its members or the Board or its members, as the case may
                    be. Except insofar as its duties may be extended with respect to a particular area by a
                    supplemental declaration filed by Declarant, the Architecture Committee shall review and
                    approve or disapprove all plans and specifications submitted to it for any proposed
                    Improvement, including the construction, alteration, or addition thereof or thereto, solely
                    on the basis of aesthetic considerations and the overall benefitordetrimentthatwould result
                    to the surrounding area and the Property generally. In granting its approval or disapproval

                    I                                              39




CLARK,NV                                                Page 44 of 98                            Printed on 11/1/2016 4:58:42 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 751 of 807
Branch :FLV,User :EDLE                                          Comment:                                                  Station Id :X7QR




                                                                                                      2002051p
                                                                                                      .01313

                   to plans and specifications for a proposed Improvement, the Architecture Committee shall
                   take into consideration the aesthetic aspects of the architectural designs, landscaping, color
                   schemes, exterior finishes, and materials and similarfeatures. The approval of the Architecture
                   Committee shall not be construed to be, nor shall the Architecture Committee be responsible
                   for, approval of the structural safety, engineering soundness. or conformance with zoning,
                   building, or other codes that may be applicable.

                           7.11 Variances. TheArchitectu re Committee may authorize variancesfrorn compliance
                   with any of the architectural provisions of this Declaration or any supplemental declaration,
                   including restrictions upon height, bulk, size, shape, land area, placement of structures,
                   setbacks, building envelopes, colors. materials, or similar restrictions when circumstances
                   such as topography, natural obstructions, hardship, or aesthetic or environmental considerations
                   may, in its sole and absolute discretion, warrant. Such variances must be consistent with
                   any and all applicable laws. Such variances must be evidenced in writing and must be signed
                   by at least a majority of all of the members of the Architecture Committee. If such a variance
                   is granted, no violation of the covenants, conditions, Or restrictions contained in this Declaration
                   or any supplemental declaration shall be deemed to have occurred with respect to the matter
                   for which the variance was granted. The granting of such a variance shall not operate to
                   waive any provisions of this Declaration. the Design Guidelines, or any supplemental declaration
                   for any purpose except as bathe particular property and particular provision and in the particular
                   instance covered by the variance.

                          7.12 Obligations with Respect to Zoning and Subdivisions. The Architecture
                   Committee shall require all Persons to comply fullywith the zoning and master plan designations
                   and anyspecial use permits and with all applica ble federal, state, and local laws, regulations,
                   and ordinances insofar as the same are applicable and as the same may hereafter be amended
                   from time to time.

                          7.1 3 Indemnification of Architecture Committee. The members of the Architecture
                   Committee shall be deemed the appointed agents of the Board, and the Architecture Committee
                   is hereby authorized to carryout and adhere to the provisions of this ArticleV I I, The Owners
                   hereby collectively agree that the members of the Architecture Committee shall be indemnified
                   and held harmless for any liability, damages, or other obligation (including reasonable attorneys'
                   fees) resulting from the reasonable and prudent exercise of their duties as members of the
                   Architecture Committee as specified in this Article VIL

                                                                  ARTICLE VIII.

                                                               Mortgagee Provisions

                          The following provisions are for the benefit of holders, insurers, and guarantors of
                   first Mortgages on Lots. The provisions of this Article apply to both this Declaration and
                   to the Bylaws notwithstanding any other provisions contained therein.



                   1     IV. (.11 oort   s,. ,!.I .# I   4,1            40




CLARK,NV                                                       Page 45 of 98                     Printed on 11/1/2016 4:58:42 PM
Document: CCR 2002.0510.1313
          Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 752 of 807
Branch :FLV,User :EDLE                                       Comment:                                                 Station Id :X7QR




                                                                                                     200N510
                                                                                                     .01313

                         8.01 Notices of Action. An institutional holder, insurer, or guarantor of a first Mortgage
                   who provides written request to the Association (such request to state the name and address
                   of such requestor and the street address of the Lot to which its interest relates, thereby
                   becoming an "Eligible Holder) will be entitled to timely written notice of:

                                 (a)    Any condemnation loss or any casualty loss that affects a material portion
                   of the Property or that affects any Lot on which there is a first Mortgage held, insured, or
                   guaranteed by such Eligible Holden

                                 (b)     Any delinquency in the payment of Assessments or charges owed by
                   an Owner of a Lot subject to the Mortgage of such Eligible Holder when such delinquency
                   has continued for a period of sixty (60) days, or any other violation of this Declaration or
                   the Bylaws relating to such Lot or the Owner that is not cured within sixty (60) days.
                   Notwithstanding this provision, any holderof a first Mortgage is entitled to written notice upon
                   request from the Association of any default in the performance by an Owner of a Lot of any
                   obligation under this Declaration or the Bylaws that is not cured within sixty (60) days;

                                (c)   Any lapse, cancellation, or material modification of any insurance policy
                   maintained by the Association; or

                               (d)     Any proposed action that would require the consent of a specified
                   percentage of Eligible Holders,

                         8.02 Special Provision. Unless at least sixty-seven percent (67%) of the Eligible
                   Holders and voting Members representing at least sixty-seven percent (67%) of the total
                   Association consent, the Association shall not:

                                   (a)      By act or omission seek to abandon, partition, subdivide, encumber,
                   sell, or transfer all or any portion of the real property comprising the Common Area thatthe
                   Association ownsdirectly or indirectly. The granting of easements for public utilities or other
                   similar purposes consistent with the intended usesof the Common Area shall not be deemed
                   a transfer within the meaning of this subsection:

                                 (b)   Chang e lhe method of determining the obligations. Assessments, dues,
                   or other charges that may be levied against an Owner of a Lot:

                                  (c)    By act or omission change, waive, or abandon the Subdivision Map
                   or this Declaration or change, waive, or abandon anyscheme of regulations orenforcement
                   relating to architectural design, exterior appearance, or maintenance of the Lots and the
                   Common Area. The issuance and amendment of architectural standards, procedures, rules
                   and regulations, or use restrictions shall not constitute a change, waiver, or abandonment
                   within the meaning of this provision:

                                  (d)          Fail to maintain insurance as required by this Declaration; or


                   I IWO.. C."      Ado ,,,,                          41




CLARK,NV                                                   Page 46 of 98                         Printed on 11/1/2016 4:58:42 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 753 of 807
Branch :FLV,User :EDLE                                   Comment:                                                      Station Id :X7QR




                                                                                                    20023510
                                                                                                    .01313

                                 (e)     Use hazard insurance proceeds for any Common Area losses for other
                   than the repair, replacement, or reconstruction of such property.

                           First Mortgagees may. jointly or singly, pay taxes or other charges that are in default
                   and that may or have become a charge against the Common Area and may pay overdue
                   premiums of property insurance policies, or secure new property insurance coverage upon
                   the lapse of an Association policy, and first Mortgagees making such payments shall be
                   entitled to immediate reimbursement from the Association.

                          8.03 OtberProvisionsforFirst Mortgages. To the extentpossible under Nevada
                   law:

                                  (a)   Any restoration or repair of the Property after a partial condemnation
                   or damage due to an insurable hazard shall be performed substantially in accordance with
                   this Declaration and the original plans and specifications unless the approval is obtained
                   of the Eligible Holders on Lots to which at least fifty-one percent (51%) of the votes of Lots
                   subject to Mortgages held by such Eligible Holders are allocated.

                                 (b)     Any election to terminate the Association after substantial destruction
                   or a substantial taking in condemnation shall require the approval of the Eligible Holders
                   on Lots to which at least fifty-one percent (51%) of the votes of Lots subject to Mortgages
                   held by such Eligible Holders are allocated.

                                  (c)    Any election to terminate the Association other than for the causes
                   described in subsection 8.03(b) shall require the approval of the Eligible Holders on Lots
                   to which at least sixty-seven percent (67%) of the votes of the Lots subject to the mortgages
                   held by such Eligible Holders are allocated.

                          8.04 No Priority. No provision of the Declaration or the Bylaws gives or should
                   be construed as giving any Owner or another party priority over any rights of the first Mortgagee
                   of any Lot in the case of distribution to such Owner of insurance proceeds or condemnation
                   awards for losses to or a taking of the Common Area.

                          8.05 Notice to Association. Upon request each Owner shall be obligated to furnish
                   to the Association the name and address of the holder of any Mortgage encumbering such
                   Owner's Lot.

                           8.06 Amendment by Board. Should the Federal National Mortgage Association
                   or the Federal Home Loan Mortgage Corporation subsequently delete any of its respective
                   requirements that necessitate the provisions of this Article or make any such requirements
                   less stringent, the Board, without the approval of the Owners, may Record an amendment
                   to this Article to reflect such changes.




                           non tow.04,44,401a ,,r4
                                                                  42




CLARK,NV                                               Page 47 of 98                           Printed on 11/1/2016 4:58:42 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 754 of 807
Branch :FLV,User :EDLE                                  Comment:                                                      Station Id :X7QR




                                                                                                   MI0510
                                                                                                   31,13
                          8.07 Applicability. Nothing contained in this Article shall be construed to reduce
                   the percentage vote that must otherwise be obtained under this Declaration, the Bylaws,
                   or Nevada law for any of the a cts set out in this Article.

                           6.08 Failure of Mortgagee to Respond. Any Mortgagee who receives a written
                   request from the Board to respond to or consent to any action' shall be deemed to have
                   approved such action if the Association does not receive a written response from the Mortgagee
                   within thirty (30) days of the date of such Mortgagee's receipt of the Association's request.
                   provided such request is delivered to the Mortgagee by certified or registered mail, return
                   receipt requested.

                                                           ARTICLE IX.

                                                            Annexation

                           9.01 Annexation of Additional Property by Association. Upon the approval of
                   two-thirds (213) or more of the tut embers of the Association, the owner of any real property
                   who desires to subject that property to the covenants, conditions, and restrictions of this
                   Declaration and subject that property to the jurisdiction of the Association may Record a
                   Declaration of Annexation. which shall extend the covenants, conditions, and restrictions
                   of this Declaration to such property.

                           9.02 Annexation by Declarant. Subject to Section 2.11 hereof, if within seven
                   (7) years of the date of the Recording of this Declaration in the Official Records of the Clark
                   County Recorder Declarant desires to develop additional phases in the Annexable Area
                   in its sole and absolute descretion, such additional phases or any portion thereof may be
                   added to the Property, be subjected to this Declaration, and be included within the jurisdiction
                   of the Association by action of Declarant without the consent of the Members or Eligible
                   Holders. All Common Area Improvements in each phase of the Annexable Area will be
                   substantially completed prior to annexation. Improvements constructed or located in the
                   Annexable Area shall be consistent in terms of quality of construction and architectural design
                   with the Improvements located elsewhere on the Property.

                          9.03 Procedure for Annexation. Any annexation may be accomplished by the
                   Recording of a Declaration of Annexation, which shalt state that Owners of Lots in the
                   Annexable Area shall also be Members. At the time of Recording of the Declaration of
                   Annexation, Declarant shall also by deed or assignment, as the case may be, transfer to
                   the Association the Association Property in the area being annexed. The obligation of an
                   Owner to pay Assessments or fees to the Association and the right of an Owner to exercise
                   voting rights in the Association in any Annexable Area shall not commence until both of the
                   following occur: (a) such portion of the Annexable Area containing the Lot owned by the
                   Owner is actually annexed to and becomes a part of the Property: and (b) the first day of
                   the month following the close of the first sale of a Lot by Declarant to an Owner other than
                   Declarant in that particular portion of the Annexable Area.


                   I 1.- W.   nfr,...A. I., •fl. •rl             43




CLARK,NV                                               Page 48 of 98                          Printed on 11/1/2016 4:58:42 PM
Document: CCR 2002.0510.1313
          Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 755 of 807
Branch :FLV,User :EDLE                                                 Comment:                                                         Station Id :X7QR




                                                                                                                     20405
                                                                                                                     .01'613

                           9.04 Deannexation. Declarant may delete all or any portion of the phase of
                    development from coverage of this Declaration and the jurisdiction of the Association so
                    long as Declarant is the owner of all of that phase and provided that:

                                 (a)     the Notice of Deannexation is Recorded in the same manner as the
                    applicable Declaration of Annexation was Recorded;

                                (b)                     Declarant has not exercised any rights to vote with respect to any portion
                    of such phase;

                                          (c)           Assessments have not yet commenced with respect to any portion of
                    such phase;

                                          (d)           no Lot has been sold in such phase to a member of the general public:
                    and

                                 (e)    the Association has not made any expenditures or incurred any obligation
                    respecting any portion of such phase.

                                                                           ARTICLE 7C.

                                                                       General Provisions

                            10.01 Term. This Declaration, including ..11of
                                                                         i'     the ex.venants, conditions, and restrictions
                    hereof, shall run until the date fifty (50) years hereafter, unless amended as herein provided.
                    After the date filly (50) years hereafter, this Declaration, including all such covenants, conditions.
                    and restrictions, shall be automatically extended for successive periods of ten (10) years
                    each, unless amended or extinguished by a written instrument executed by at least two thirds
                    (2)3) of the Owners and recorded in the Official Records of the County Recorder of Clark
                    County, Nevada.

                          10.02 Resale of Lots. The seller of any Lot shall furnish to the purchaser before
                    execution of any contract for the sale of the Lot or otherwise before conveyance:

                                          (a)           a copy of this Decl aration, the Articles, Bylaws, and Rules and Regulations;

                               (b)   a statement setting forth the amount of the annual Assessments for
                    common expenses and any unpaid Assessment of any kind currently due from the selling
                    Owner; and

                                          (c)           a copy of the current operating budget of the Association.

                           The selling Lot Owner shall also at such time notify the Association of the proposed
                    sale and provide the Association with the name and address of the new Owner and the


                    1 tiro 0.1747Coan   Rt. t [An S.*                            44




CLARK,NV                                                              Page 49 of 98                             Printed on 11/1/2016 4:58:42 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 756 of 807
Branch :FLV,User :EDLE                                                      Comment:                                                Station Id :X7QR




                                                                                                                  200205 10
                                                                                                                  .01313

                    proposed date of sale. Nothing in this Section 10.02 shall be construed to require any approval
                    by the Association of the sale of any Lot.

                               10.03 Lease of Property,

                                   (a)    In the event an Owner rents or leases any Lot, the Owner shall provide
                     the Lessee with a copy of this Declaration, the Articles, Bylaws, Rules and Regulations.
                    any rules and regulations adopted by the Architecture Committee, and a list of the members
                    of the Board. The lease or other agreement with the Lessee shall provide that the Lessee
                    shall abide by the provisions of this Declaration, the Articles, Bylaws, Rules and Regulations,
                    and any rules and regulations adopted by the Architecture Committee and that the lease
                    is subject to such provisions. The Association may, after notice to the Owner of the Lot and
                    in addition to any other rights or remedies it may have at law or equity, enforce against the
                    Lessee those remedies set forth in this Declaration and may evict the Lessee if within a twelve
                    (12) month period the Lessee commits three or more material violations of this Declaration,
                    the Articles, Bylaws. Rules and Regulations. or any rules and regulations adopted by the
                    Architecture Committee regardless of whether such violations are cured,

                                 (b)   Any Owner renting or leasing its Lot shall notify the Association of such
                    arrangement and provide the Association with the name of the Lessee and the term of the
                    Lease for occupancy.

                                  (c)     In the event the Association engages an attorney or takes any legal
                    action against a Lessee for violation of this Declaration. the Owner as well as the Lessee
                    shall be subject to the costs and expenses set forth in subsection 10.05(f) hereof.


                               10.04 Amendment.

                                   (a)    Majority Vote. Except as provided in subsection 10.04(c), no amendment
                    of this Declaration shall be effective unless adopted by a majority of the Members.
                    Notwithstanding the foregoing, the consent of sixty-seven percent (67%) of the Members
                    entitled to vote and of Declarant, so long as the Declarant owns any land subject to this
                    Declaration, and the approval of Eligible Holders on Lots to which at least fifty-one percent
                    (51%) of the votes of Lots subject to a Mortgage shall be required to materially amend any
                    provisions of this Declaration, the Bylaws, Articles. or to add any material provisio ns thereto
                    that establish, provide for, govern, or regulate any of the following:

                                                          (i)     voting:

                                                          (ii)    Assessments, Assessment liens, or subordination of such liens:

                                                          (iii)   reserves for maintenance, repair, and replacement of the Common
                    Area:


                     lweit ,..1lo."No.i.Nral.b.. ■ ...1                           45




CLARK,NV                                                               Page 50 of 98                          Printed on 11/1/2016 4:58:42 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 757 of 807
Branch :FLV,User :EDLE                                         Comment:                                                         Station Id :X7QR




                                                                                                             2M05 10
                                                                                                             ,41,513

                                                (iv)   insurance or fidelity bonds;

                                                (v)    rights to use the Common Area;

                                                (vi)   responsibility for maintenance and repair of the Property;

                                         (vii) expansion or contraction of the Property or the annexation or
                    withdrawal of real property to or from the jurisdiction of the Association;

                                                (viii) boundaries of any Lot;

                                                (ix)   leasing of Lots;

                                                (x)    imposition of any restrictions on an Owner's right to sell or transfer
                    its Lot;

                                      (xi) establishment of self-management by the Association after
                    professional management has been required by an Eligible Holder;

                                         (xii) any provisions in this Declaration, the Bylaws, or Articles that
                    are for the express benefit of Eligible Holders. guarantors, or insurers of first Mortgages on
                    Lots;

                                                (xiii) reallocation of interests in the Common Area: or

                                                (xiv) convertibility of Lots into Common Area or vice versa.

                                (b)    Recording of Amendment. Every amendment of this Declaration must
                    be Recorded in the Official Records of the Clark County Recorder, and no amendment of
                    this Declaration shall be effective until executed and so Recorded. Every amendment must
                    be indexed in the grantee's index in the name of the Association and in the grantor's index
                    in the name of the party executing the amendment. Every amendment of this Declaration
                    must be prepared, executed, Recorded, and certified on behalf of the Association by the
                    officer of the Association designated in the Bylaws for that purpose, or in the absence of
                    such designation, by the President of the Association.

                                (c)    Persons Entitled to Amend. This Declaration may be amended in
                    accordance with NRS §§ 116.2109,116.2110 by Declarant for the purpose of exercising
                    any developmental rights as set forth in this Declaration.

                                  (d)    Restrictiens on Amendment. Except to the extent expressly permitted
                    or required by the provisions of the Act, no amendment may change the boundaries of any
                    particular Lot, the allocated interests of a particular Lot, or the uses to which a particular
                    Lot is restricted in the absence of the consent of the Owner of the Lot affected and the consent
                    of a Majority of the Owners of the remaining Lots. No action to challenge the validity of an

                    10* Mu 116/Co.e......11..                             46




CLARK,NV                                                     Page 51 of 98                              Printed on 11/1/2016 4:58:42 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 758 of 807
Branch :FLV,User :EDLE                                     Comment:                                                           Station Id :X7QR




                                                                                                         20020516
                                                                                                         .0133

                    amendment adopted by the Association pursuant to NRS § 116.2117 may be brought more
                    than one (1) year after the amendment is recorded.

                                   (e)     Declarant Amendment. Notwithstanding any provision of this Declaration
                    to the contrary, for so long as Declarant owns any portion of the Property, but no later than
                    five (5) years from Recordation of this Declaration, Declarant may unilaterally amend this
                    Declaration by Recording a written instrument signed by Declarant in order to correct technical
                    errors, for clarification, and to conform this Declaration to the requirements of the City of
                    North Las Vegas. the Veterans Administration, the Department of Housing and Urban
                    Development. the Federal Housing Administration, the Federal Home Loan Mortgage
                    Corporation, FNMA. or GNMA.

                                  (f)    Delivery of Amendments to Owners. If any change is made to this
                    Declaration or any of the other governing documents of the Association, the Secretary of
                    the Association shah, within thirty (30) days after the change is made, prepare and cause
                    to be hand-delivered or sent prepaid by United States mail to the mailing address of each
                    Lot or to any other mailing address designated in writing by the Lot Owner, a copy of the
                    change that was made.

                              10.05 Enforcement and Nonwaiver.

                                     (a)      Right of Enforcement. Subject to NRS Chapter 38 and except as otherwise
                    provided herein. any Owner (at its own expense), Declarant, and the Board shall have the
                    right to enforce, by any pinrtpprilng At law or in equity and inolgOing arbitration proceedings
                    and other forms of mediation, all of the restrictions, conditions, covenants, reservations,
                    liens, and charges now or hereafter imposed by the provisions of this Declaration against
                    any property within the Property and the Owners thereof. Such right of enforcement shall
                    include both damages for and injunctive relief against the breach of any such provision.
                    The right of any Owner to so enforce such provisions shaft be equally applicable without
                    regard to whether the property (or other interest) of the Owner seeking such enforcement
                    or the property (or other interest)whereon o r with respect to which a violation of such provision
                    is alleged is initially set forth on Exhibit "A' or is hereafter subjected to this Declaration pursuant
                    to Article 1X hereof.

                                   (b)     Violation as a Nuisance. Every act or omission by which any provision
                    of this Declaration is violated in whole or in part is hereby declared to be a nuisance and
                    may be enjoined orabated by any Owner (at its own expense), by Declarant, orby the Board,
                    whether or not the relief sought is for negative or affirmative action. However, only Declarant,
                    the Board, and the duly authorized agents of either of them may enforce by self-help any
                    of the provisions of this Declaration and then only if such self-help is preceded by reasonable
                    notice to the Owner in question.

                                   (c)     Violation oft... Any violation of any federal, state, or local law, ordinance,
                    or regulation pertaining to the ownership, occupancy. °ruse of any property within the Property


                    P   tfl44t,l4ha.                                  47




CLARK,NV                                                  Page 52 of 98                              Printed on 11/1/2016 4:58:42 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 759 of 807
Branch :FLV,User :EDLE                                    Comment:                                                        Station Id :X7QR




                                                                                                       200?0510
                                                                                                       .01J13

                    is hereby declared to be a violation of this Declaration and subject to all of the enforcement
                    procedures set forth herein.

                                 (d)   Remedies Currwlative. Each remedy provided by this Declaration is
                    cumulative and not exclusive.

                                  (e)    Nonwaiver. The failure to enforce any provision of this Declaration at
                    any time shall not constitute a waiver of the right thereafter to enforce any such provision
                    or any other provision herein.

                                   (f)     Attomevs Fees. In the event the Board engages legal counsel or takes
                    any legal action, including, but not limited to, arbitration proceedings pursuant to NRS Chapter
                    38, to enforce the provisions of this Declaration, it shall be entitled to its costs, including
                    reasonable attorneys' fees, incurred in connection therewith.

                            10.06 Notices. Any notice or communication to be given under the terms of this
                    Declaration shall be in writing and shall be personally delivered or sent by faimile, overnight
                    delivery, or registered or certified mail, return receipt requested. Notice shall be effective:
                    (a) if personally delivered, when delivered; (b) if by facsimile, on the day of transmission
                    thereof on a proper facsimile machine with confirmed answerback; (c) if by overnight delivery.
                    on the day after delivery thereof to a reputable overnight courier service: and (d) if mailed,
                    at midnight on the third (3rd) business clay after deposit in the mail, postage prepaid. Notices
                    shall be addressed to the Person at the address given by such Person to the Association
                    for the purpose of service of notices or to the residence of such Person if no address has
                    been given to the Association. Such address may be changed from time to time by notice
                    in writing given by such Person to the Association.


                               10.07 Construction.

                                  (a)    Restrictions Severable. Each of the provisions of this Declaration shall
                    be deemed independent and severable, and the invalidity or partial invadity of any provision
                    or portion thereof shall not affect the validity or enforceability of any other provision.

                                   (b)    Sinoular Includes Plurl. Unless the context requires a contrary
                    construction, the singular shall include the plural and the plural the singular, and the masculine.
                    feminine, or neuter shall each include the masculine, feminine, and neuter.

                                    ( c)     _apt io ns . All captions and titles used in this Declaration are intended
                    solely for convenience of reference and shall not enlarge, limit, or otherwise affect that which
                    is set forth in any of the Sections or Articles hereof.

                                   (d)   Literal Construction. It is the intention of Declarant that this Declaration
                    be liberally construed to promote the purpose of a well-planned community, reserving to


                     tow 11w1~4,.....1.m. ItrAcx au                 48




CLARK,NV                                                Page 53 of 98                             Printed on 11/1/2016 4:58:42 PM
Document: CCR 2002.0510.1313
          Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 760 of 807
Branch :FLV,User :EDLE                                         Comment:                                                   Station Id :X7QR




                                                                                                         1Bi "
                                                                                                         8

                    Declarant the rights necessary to develop the Property and to insure the integrity of the
                    interrelated land uses.

                          10.08 State Law. The provisions of this Declaration shall be governed and interpreted
                    according to the laws of the State of Nevada.

                           10.09 Priorities, Inconsistencies. It there are conflicts or inconsistencies between
                    this Declaration and either the Articles or the Bylaws, the terms and provisions of this
                    Declaration shall prevail.

                                 Declarant has executed this Declaration this              day of May, 2002.

                                                                      DECLARANT

                                                                     Centex Homes of Nevada,
                                                                     a Nevada general,parlpership

                                                                     By:
                                                                                     (Signature)

                                                                     Name:         7      ±i
                                                                                  ____4FrintName)
                                                                                             Name)
                                                                              (
                                                                     Title:
                                                                                     (Print Title)


                    STATE OF NEVADA)
                                    ) ss:
                    COUNTY OF CLARK)

                           On the k (5442 day of May, 2002, before me, a Notary Public in and for said County
                    and State,..personally appeared ti c.                 -        known (or proved) to me
                    to be the 1                             of Centex Homes of Nevada, a Nevada general
                    partnership, and who acknowledged to me that he/she executed the within instrument.




                    r• rem Poss4ICK•son a no.CIL,kla I ■rp/             49




CLARK,NV                                                      Page 54 of 98                          Printed on 11/1/2016 4:58:42 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 761 of 807
Branch :FLV,User :EDLE                            Comment:                                           Station Id :X7QR




                                                                                    8 ii'll "
                                                                                    2

                                                     EXHIBIT "A"



                         LOTS 41-44 INCLUSIVE IN BLOCK 12 AND LOTS 26-33 INCLUSIVE IN BLOCK 9
                          OF RANCHO MIRAGE UNIT LI — PHASE 2, AS SHOWN BY MAP THEREOF ON
                           FILE IN BOOK 102 OF PLATS, PAGE 96, IN THE OFFICE OF THE COUNTY
                                        RECORDER OF CLARK COUNTY, NEVADA.




CLARK,NV                                         Page 55 of 98                  Printed on 11/1/2016 4:58:42 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 762 of 807
Branch :FLV,User :EDLE                              Comment:                                               Station Id :X7QR




                                                         Exhibit "B"

                                           Legal Description of the Annexable Area.
                                            including Contingent Annexable Alen



                      RANCHO MIRAGE UNIT H-PHASE 2. BEING A SUBDIVISION OF A PORTION
                      OF LOT 1 OF PARCEL MAP: FILE 96. PAGE 59. LOCATED WITHIN THE
                      SOUTHEAST QUARTER (SE Vs) OF THE SOUTHWEST QUARTER (SW 'A) OF
                      SECTION 27. TOWNSHIP 19 SOUTH. RANGE 61 EAST. M.D.M.. CITY OF NORTH
                      LAS VEGAS. CLARK COUNTY. NEVADA,

                         COMMENCING AT THE SOUTH CENTER SIXTEENTH CORNER OF SAID
                         SECTION 27: THENCE NORTH 88'47'34" WEST, ALONG THE NORTH LINE OF
                         THE SOUTHEAST QUARTER (SE 113) OF THE SOUTHWEST QUARTER (SW!/4)
                         OF SAID SECTION 27. A DISTANCE OF 331.08 FEET TO THE POINT OF
                         BEGINNING.

                         LOTS 21-25. BLOCK 9
                         LOTS 66-91. BLOCK 10
                         LOTS 45-56. BLOCK 12

                      RANCHO MIRAGE UNIT II-PHASE 1. BEING A SUBDIVISION OF A PORTION
                      OF LOT t OP AMENDED PARCEL MAP: FILE 96. PAGE 59. LOCATED WITHIN
                      THE SOUTHEAST QUARTER (SE 1/4) OF THE SOUTHWEST QUARTER (SW 1/4)
                      OF SECTION 27. TOWNSHIP 19 SOUTH, RANGE 61 EAST. M.D.M., CITY OF
                      NORTH LAS VEGAS. CLARK COUNTY NEVADA

                      LOTS 34-40, BLOCK 9
                      LOTS 57-65. BLOCK 10


                      PARCEL ONE: THAT PORTION OF THE SOUTH HALF (S 1/2) OF TI IE
                      SOUTHWEST QUARTER (SW 1/4) OF SECTION 27, TOWNSHIP 19 SOUTH.
                      RANGE 16 EAST, M.D.B.M. MORE PARTICULARLY AS FOLLOWS:

                     PARCEL ONE AS SHOWN BY MAP THEREOF ON FILE 96 OF PARCEL MAPS.
                     PAGE 59 IN THE OFFICE OF THE COUNTY RECORDER. CLARK COUNTY.
                     NEVADA. EXCEPTING THEREFROM PARCELS "A" 8a "B" SET FORTH BELOW:

                     PARCEL "A": LOTS 34 THRU 40. INCLUSIVE. IN BLOCK 9 AND 57 THRU 65,
                     INCLUSIVE. IN BLOCK 10 OF RANCHO MIRAGE UNIT H - PHASE I AS SHOWN
                     BY MAP THEREOF ON FILE 1N BOOK 102 OF PLATS, PAGE 95 IN THE OFFICE
                     OF THE COUNTY RECORDER. CLARK COUNTY. NEVADA.




CLARK,NV                                           Page 56 of 98                      Printed on 11/1/2016 4:58:42 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 763 of 807
Branch :FLV,User :EDLE                            Comment:                                           Station Id :X7QR




                                                                                   281i0iila


                         PARCEL "8": LOTS 21 THRU 33, INCLUSIVE, IN BLOCK 9, LOTS 66 THRU 91.
                         INCLUSIVE. IN BLAOCK 10 AND LOTS 41 THRU 56. INCLUSIVE, IN BLOCK 12
                         OF RANCHO MIRAGE uNn. B - PHASE 2, AS SHOWN BY THE MAP THREROF
                         ON FILE IN BOOK 102 OF PLATS, PAGE 96 IN THE OFFICE OF THE COUNTY
                         RECORDER. CLARK COUNTY. NEVADA.




CLARK,NV                                         Page 57 of 98                  Printed on 11/1/2016 4:58:43 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 764 of 807
Branch :FLV,User :EDLE                              Comment:                                                   Station Id :X7QR




                                                                                               18iP '0
                                                         Exhibit "C"

                                      Legal Description of the Contingent Annexable Area



                         PARCEL ONE: THAT PORTION OF THE SOUTH HALF (S 1/2) OF THE
                         SOUTHWEST QUARTER (SW 1/4) OF SECTION 27, TOWNSHIP 19 SOUTH.
                         RANGE 16 EAST. M,D.B.M, MORE PARTICULARLY AS FOLLOWS:

                         PARCEL ONE AS SHOWN BY MAP THEREOF ON FILE 96 OF PARCEL MAPS.
                         PAGE 59 IN THE OFFICE OF THE COUNTY RECORDER. CLARK COUNTY.
                         NEVADA. EXCEPTING THEREFROM PARCELS "A" & "B" SET FORTH BELOW:

                         PARCEL "A": LOTS 34 THRU 40. INCLUSIVE, IN BLOCK 9 AND 57 THRU 65.
                         INCLUSIVE, IN BLOCK 10 OF RANCHO MIRAGE UNIT II- PHASE 1 AS SHOWN
                         BY MAP THEREOF ON FILE IN BOOK 102 OF PLATS, PAGE 95 EN THE OFFICE
                         OF THE COUNTY RECORDER. CLARK COUNTY. NEVADA.

                         PARCEL "B": LOTS 21 THRU 33, INCLUSIVE, IN BLOCK 9, LOTS 66 THRU 91.
                         INCLUSIVE. IN BLAOCK 10 AND LOTS 41 THRU 56, INCLUSIVE. IN BLOCK 12
                         OF RANCHO MIRAGE UNIT II - PHASE 2, AS SHOWN BY THE MAP THREROF
                         ON FILE IN BOOK 102 OF PLATS, PAGE 96 IN THE OFFICE OF THE COUNTY
                         RECORDER. CLARK COUNTY, NEVADA.




CLARK,NV                                           Page 58 of 98                           Printed on 11/1/20164:58:43 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 765 of 807
Branch :FLV,User :EDLE                                     Comment:                                   Station Id :X7QR




                                                                                     40Z05 10
                                                                                     31313

                                                              Exhibit "D"

                                                         Site Development Plan




                         D*CGtteerv3.4.1.4PCA IGO .1.1




CLARK,NV                                                 Page 59 of 98           Printed on 11/1/2016 4:58:43 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 766 of 807
Branch :FLV,User :EDLE                        Comment:                                               Station Id :X7QR




                  -= APPROVED BY THE CLARK COUNTY DISTRICT BOARD OF HEALTH.
                _ CONCERNS SEWAGE DISPOSAL, WATER POLLUTION, WATER QUALITY           200p510
            SUPPLY FACILITIES AND IS PREDICATED UPON PLANS FOR A PUBLIC .0b13
            _Y AND A COMMUNITY SYSTEM FOR DISPOSAL OF SEWAGE.



                                                         Oil6Z7/i;j1
            DAR OF HEALTH — L.UALT6g.         Ra55                  DATE



            :NG COMMISSION APPROVAL
            ERTIFY THAT THIS MAP IS APPROVED AND ACCEPTED. ON BEHALF OF
            . ANY PARCELS OF LAND OFFERED FOR DEDICATION FOR PUBLIC USE IN
              WITH THE TERMS OF THE OFFER OF DEDICATION. FURTHERMORE, 1
            IS MAP IS IN SUBSTANTIAL UP IANCE WITH THE TEpTATIVE MAP AND
            IONS HAVE BEEN MET THIS            DAY OF        AN
                                                          -4-404-7             VAL



            T DIRECTOR




             OF _BEARING'S
            46' 41* WEST, BEING THE BEARING OF ANN ROAD, SAME          BEING THE
             SOUTH LINE OF THE SOUTHWEST QUARTER (SW 1/4) OF          SECT ION 27,
            19 SOUTH, RANGE 61 EAST, M. D, U., CLARK COUNTY,          NEVADA, AS
            THAT CERTAIN PARCEL MAP ON FILE IN THE OFFICE OF          THE COUNTY
            CLARK COUNTY, NEVADA. IN FILE 81 OF PARCEL MAPS.          AT PAGE 06.




               RECORDER'S NOTE                                .
                                                             No     oies/
            )UENT CHANGES TO THIS MAP SHOULD BE
            ND MAY BE DETERMINED BY REFERENCE                     FILED AT THE REQUEST OF
            4rf RECORDER'S CUMULATIVE MAP INDEX.                           YIN nevada
            5
                                                             DATED/k/eVadAY                    M
                                                             BOOK
                                                                          OF PLATS
                         W. 0...5-6-03-/ -                   OFFICIAL RECORDS BOOK.
                         SHEET 1 OF 2                         CLARK COUNTY, NEVADA RECORDS
                               VCL                            JUDITH A. VANDEVER. RECORDER

                                                             FEE $ or          DEPUTYL96#



CLARK,NV                                     Page 60 of 98                      Printed on 11/1/2016 4:58:43 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 767 of 807
Branch :FLV,User :EDLE                                Comment: .                                         Station Id :X7QR




                                               ViM       ILYUY


                                              LOT NUMBER / RESIDENTIAL LOTS = 16        2000 10
                                   17                COMMON ELEMENT LOTS = 2            .O31
                                                                TOTAL LOTS = 16

                                              BLOCK NUMBER


                                              FOUND MONUMENT AS INDICATED
                                     C25      CURVE NUMBER
                                     L22      COURSE NUMBER
                                    R19       RADIAL LINE NUMBER
                                     (R)      RADIAL
                                    S.F.      SQUARE FEET
                                  (PROD)      PRODUCED LIME
                                   (PRO)      POINT OF REVERSE CURVE
                                   (PCC)      POINT OF COMPOUND CURVE
                                   C.E.       COMMON ELEMENT
                                              SIGHT VISIBILITY RESTRICTION AREA
                                              NO VIEW OBSTRUCTIONS OVER
                                              30" ABOVE TOP OF CURB

                  NOTES;
                       1. ALL LOT CORNERS MUST BE SET WITH A TYPE III MONUMENT. IN THOSE
                           INSTANCES WHERE OFFSITE IMPROVEMENTS EXIST (LE., REAR PROPRTY
                           WALL AND FRONT CURB), A NAIL AND TAG SHALL BEE SET IN TLIE WALL
                           AT 111E BACK PROPERTY CORNER AND A SAC UT SHALL RF MADE IN
                           THE TOP OF THE FRONT CURB AT THE PROLONGATION OF THE SIDE
                           PROPERTY LINE.
                 * 2. DIRECT VEHICULAR AND/OR PEDESTRIAN ACCESS TO COMMERCE STREET
                        THROUGH COMMON ELEMENTS FROM ABUTTING LOTS IS PROHIBITED.

                       3. ALL CORNER LOT SETBACKS ARE CHAMFERED EQUAL TO 1/2 OF THE
                           PROPERTY LINE / RIGHT—OF—WAY CORNIER LOT RADIUS.




                            •••




             C.N,LV.
             CAP

                                                                     w.0.5503-1
                                                                     SHEET 2 OF 2
                                                                          VCL/KAK




CLARK,NV                                             Page 61 of 98                  Printed on 11/1/2016 4:58:43 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 768 of 807
Branch :FLV,User :EDLE                      Comment:                                        Station Id :X7QR




                                                                            2Q020510
                                                                            ,u131'J




                QUARTER (SE 1/4)
               CLARK COUNTY, NEVADA..
             !OR'S CERTIFICATE
                 RIEKKI. A PROFESSIONAL LAND SURVEYOR LICENSED IN THE
             EVADA, AS AN AGENT FOR VTN NEVADA, CERTIFY THAT

              PLAT REPRESENTS THE RESULTS OF A SURVEY CONDUCTED UNDER MY
             r SUPERVISION AT THE INSTANCE OF RANCHO MIRAGE I, L.L.C., A
               LIMITED LIABILITY COMPANY.

            ‘NDS SURVEYED LIE WITHIN A PORTION OF THE SE 1/4. OF THE SW
            )F SECTION 27, T. 19 S:, R. 61 E.. M.D. M.. CITY OF NORTH LAS
               CLARK COUNTY, NEVADA, AND THE SURVEY WAS COMPLETED ON
             /99.

              PLAT COMPLIES WITH THE APPLICABLE STATE STATUTES AND ANY
               ORDINANCES IN EFFECT ON THE DATE'TNAT THE GOVERNING BODY
             ITS FINAL APPROVAL.

            )NUMENTS DEPICTED ON THE PLAT WILL BE OF HE,CHARACTER SHOWN
            )CCUPY THE POSITIONS INDICATED BY:_.—/4.-   413—
            ‘N APPROPRIATE FINANCIAL GUARANTEE WILL BE' POSTED WITH THE
            41NG BODY BEFORE RECORDATION TO ASSURE THE INSTALLATION OF
            ENTS.




            !KKI, P. L. S.
            ENSE NO. 12469
                                                    011i
            N OF WATER RESOURCES CERTIFICATE
            - MAP IS APPROVED BY THE DIVISION OF WATER RESOURCES OF THE
             OF CONSERVATION AND NATURAL RESOURCES CONCERNING WATER
            JBJECT TO THE REVIEW OF APPROVAL ON FILE IN THIS OFFICE_




CLARK,NV                                   Page 62 of 98               Printed on 11/1/2016 4:58:43 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 769 of 807
Branch :FLV,User :EDLE                         Comment:                                   Station Id :X7QR




             T QUARTER (SE 1/4)
              CLARK COUNTY, NEVADA.




                 C.N.L.V. BRASS CAP IN
              CONCRETE LOCATED UNDER. AC
              TO BE RESTORED AS 'TYPE i1
              MONUMENT AL. CAP "VW PLS 12469"
              UPON COMPLETION OF CONSTRUCTION
              OR SET WELL MONUMENT OVER EXISTING
              W STILL IN PLACE




                                           GRAPHIC SCALE


                                                ( IN      )
                                              1 inch   40 it.




                               P.0.8.     POINT OF BEGINNING
                                          BOUNDARY LINE -
                                          LOT LINE
                                          RIGHT—OF—WAY LINE
                                          STREET CENTERLINE
                                          BUILDING SETBACK LINE
                               .     ..   FRONT = 1B. / REAR = 15
                                          SIDE =      CORNER = 10'
                                          SET TYPE Ill MONUMENT
                                   0 •    AL CAP -VIN PLS 12469"




CLARK,NV                                      Page 63 of 98          Printed on 11/1/2016 4:58:43 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 770 of 807
Branch :FLV,User :EDLE                                    Comment:                                             Station Id :X7QR




                 UNIT II - PHASE
              TEREST COMMUNITY)
              LAP: FILE 9&, PAGE.59.; LOCATED WITHIN THE SOUTHP
              TH, RANGE 61 EAST, M.D.M., CITY OF NORTH LAS VEG.
             R'S CERTIFICATE                                                                                   SUR
             ; VEGAS. COUNTY OF' CLARK. STATE OF NEVADA, DOES
             : HAVE EXAMINED THE FINAL MAP OF RANCHO MIRAGE                                                   STATE
                 THAT THE SUBDIVISION AS SHOWN HEREON IS
             4E AS IT APPEARS ON THE TENTATIVE MAP, AND ANY                                                    1.     I
              THEREOF. THAT ALL PROVISIONS Or THE PLANNING' AND
             kTE OF NEVADA AND ANY LOCAL ORDINANCES APPLICABLE
             )VAL OF THE TENTATIVE MAP HAVE BEEN COMPLIED WITH.
             kTISFIED THIS MAP IS TECHNICALLY CORRECT AND THAT,                                                a      7
             /E NOT BEEN SET, A PROPER FINANCIAL GUARANTEE HAS                                                        1
             kNTEEING THEIR SETTING ON OR BEFORE


                                                       41•17d3eW
                                                                                                               3.     1
             )AY OF ___bee .-1116/44--
                         ,-0
                                                                   •




             vormternit.. (CITY
                           L.Au          tom. .34..G06
             usLic,tooms                 ENGINEER. R. P. E. NO. 3334


             IPTION
             HO MIRAGE UNIT II - PHASE 1
                                                                                                              ALAN f
              OF A PORTION OF LOT i OF THAT CERTAIN AMENDED PLAT                                              NEVAD/
             ARCEL MAP (FILE 81, PAGE 06), ON FILE IN THE OFFICE
             ORDER, CLARK COUNTY, NEVADA. IN FILE % OF PARCEL
             OCATED WITHIN THE SOUTHEAST QUARTER (SE 1/4) OF THE
             SW 1/4) OF SECTION 27, TOWNSHIP 19 SOUTH, RANGE 61                                                DIVI
             Y OF NORTH LAS VEGAS, CLARK COUNTY. NEVADA, MORE
             BED, AS FOLLOWS:                                                                                  THIS
                                                                                                              DEPAR"
             RTHEAST CORNER OF SAID LOT 1, BEING A POINT ON THE                                               WANT:
             AY OF COMMERCE STREET: THENCE SOUTH 00"38V28* EAST,
             Y BOUNDARY OF SAID LOT L COINCIDENT WITH SAID
             ••• c." • a w 1•1.•$•••A •ro f•ni Crt warm Si rim ;am • rm." "t. C. a I 11




CLARK,NV                                                 Page 64 of 98                    Printed on 11/1/2016 4:58:43 PM
Document: CCR 2002.0510.1313
                                              •

           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 771 of 807
Branch :FLV,User :EDLE                                                                   Comment:                                                                                              Station Id :X7QR




                  UNIT II - PHASE 1
            TEREST COMMUNITY)
            ilAP: FILE cilt, .PAGE 53 LOCATED WITHIN THE SOUTH]
            ITH, RANGE 61 EAST, -1/I.D.M., CITY OF NORTH LAS VEG



            RCEL 2 PARCEL MAP FILE ..94, PAG`i.-:
                   A        1 4 e3 A     I}                 •1                       R
                  rt    l      •1  .1*   G.   I '""......0,11"."4,11....
                                                                                                                                              P.O.B.
                       S88'4734-E                                                                             2701.90'
                                                                                     281.06'
                                                                                                                                               50.03'
                                                          C10
            61                                                                               \                  SO       6.01'
           )2 S.F.                                                                              * -.
                                                                                                          5.972 S.F.            %sr
                                                                                                                            '01 CO
            / 95.25'
                            Ps3                                                                                  *           iq Of;
                                                                                                                             16 tr)
                                                                                                    \                        Csi
                                                                                                                             01
                                                                                                        N8923'31"E 85.04'
                                                                                            Lf.4
             82                                                                                 .
           414 S.F.                       (11                                                                 59
                                                                                                         5,443 S.F. (‘'
                                         06 o
                                                                       DEDICATION"




           31"W 112.62' - •
                                              t--4                                                                       6.0CY
                                         itl 44
                                 07           Er.1                                               N8823.31"E 100.00'
                63                        el       E--■
             5,485 S.F.                    a Co)
                        •    1                                                                            58                  cn -
                                                                                                       5,700 S.F.            -C,
                                                                                                                               10
                                                                                                                                 o
           —23'31"W. 107.00' •                                                                                                to •
                                                                                                                  0
                                                                                                                                                 PARCEL MAP: FILE




                                                                                                                  0
                                                                                                                  Z
                                                                                                                                                                    AMENDEDPARCEL MAP:




                                                                                            ,
                                                                                            •    N89.23.31"E 100.00'
                  64                              CC;
             5,350 S.F.                    4:1
                                           ors
                                                                                             •           57 ,/                     rss
           I.23'31"W 107.00' •                                                                        6,067 S.F. f                 (si
                                                  24.00' 24.00'                                           *       C11
                                           C4       tr)
                                                                                                 SEE DETAIL "A" I <Po,
                                                                                                'THIS SHEET
                                                                  . 0
                                                                                                                                                                                         a
                  65                                                                                    014      29-19\                                                                  a
             . •riol    c                               •        7n,                                                                     ro                                              93.

CLARK,NV                                                                             Page 65 of 98                                        Printed on 11/1/2016 4:58:43 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 772 of 807
Branch :FLV,User :EDLE                       Comment:                                                   Station Id :X7QR




            .e.
                                                                                                         THIS F
             ; THENCE NORTH 25' 47' 23" WEST, 48.00 FEET; THENCE
            ST, 4.75 FEET; THENCE NORTH 00' 36' 29" WEST. 159.20                        200i0510         THIS
            H 08' 03' 34" WEST, 153.61 FEET TO THE NORTHERLY
                                                                                        .01,03           AND WA
             LOT 1; THENCE SOUTH 88' 47' 34" EAST. ALONG SAID                                            WATER
             281.06 FEET TO THE POINT OF BEGINNING.

            CRES, MORE OR LESS, AS DETERMINED BY COMPUTER
                                                                                                         Lu46
                                                                                                         DISTRI
            SURVEY ANALYSIS
                    NOT TO SCALE
                                                                                                          PIA
                                                   FOUND 2" C.N.L.V.                                      I HERE
                                                   BRASS CAP
                                                   iN CONCRETE                                            THE Pt
            )5" .                                                                                         CONFOF
                                                                                                          CERT IF
            14"E                                                                                          ALL Ct
                                       2701.90'
                                                  949.28'


                                                 LOT 1
                                           PM FILE Irg , PAGE
                                                                                                   401m6DEVEL,




                                                                                                          JEW
                                                                                                          NORTH
                                                                                                          BEARD
                                                                          50.00'                          TOWNS/
                                                                                                          SHOWN
             RANCHO MIRAGE UNIT 7                                  LOT 2                                  RECORt
            OOK 65 OF PLATS, PAGE 09                        PM FILE      PAGE 4.9




                                                                                                          COI)
                                                                                                          ANY
            41"w                       2708.96'                                                           EXAiMN
                                                                                                          TO THE
                                                        ROAD                                              NRS 2'
            .SIS     OF BEAR I NGS"               FOUND 4" C.N.L.V.
                                                  ALUMINUM CAP




CLARIC,NV                                  Page 66 of 98                            Printed on 11/1/2016 4:58:43 PM
Document: CCR 2002.0510.1313
            Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 773 of 807
Branch :FLV,User :EDLE                                 Comment:                                               Station Id :X7QR




                                                                                                             NORTHEi
                                                                                               28994GLE OF 02' :
                                                                                               . 1 1 NORTH 64' 12 3:
                                                                                                     FEET: THENCE
                                                                                                     BOUNDARY OF
                                                                                                     NORTHERLY- BOUNC

                                                                                                  ; CONTAINING 3. '
            E ME ON g4/6(0457- /
                                                                                                    METHODS.
             SPECIALTY HOLDINGS, INC.. A
            I OF RANCHO MIRAGE I. L. L. C.,



                419-T9                                                                               FOUND 1-1/2"
                                                                                                     ALUMINUM CAP
                                            571-.T
                                                                                                     STAMPED "VIN Pt
            ND STATE                                    cru,
            ocio                             r54,Tag4
                                    .             ND. ssixbirg 11
                                                                 •
                                                                                                                   SE
                                                                                                             1371.51'
                                                                                      50.02'
        .   r       PIPIENTS
            •AND AGENCIES, APPROVE THE                                                                   • LOT S
                                                                                                    PM FILE 61, PAGE
                                                     .1"
            tzec
                     •2.-zo             —9?                                     or.



                                •   DAT

                                            "I
                                             t7tM
                                            J

                               éVe0/4 f bk
            &AO'
                                    DATE VIII'                                  C

                                                                                            LOT 2
                                                                                      PM FILE 79, PAGE 11
            o /7Fit Zdtle               T                    5
                                                                          tz4
                                /444/
            ION —                   DATE
                                                                      FOUND 3" \q"...                               NI
                                                                      BRASS CAP I
                                                                      ILLEGIBLE
                                                                                                       ANN




CLARK,NV                                              Page 67 of 98                      Printed on 11/1/2016 4:58:43 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 774 of 807
Branch :FLV,User :EDLE                     Comment:                                                 Station Id :X7QR




                     ! J.' JO
                                                                             ----Z
                                                                             2Q0M 1,9 ..- Li
                                                                             .DIM c5
                   36-21'58"    CACTUS SANDS AVENUE                      .              .;.':
                                                                                      . 0
                                                                                        P-


                                                                                                      r




             ■••




                                                                                                     Ui
                                                                                                    6
                                                                                                          589
                                                                                                    r
                                                                  i                                 o
                                                                                                    z

                                           DETAIL 71"
                                           NOT TO SCALE




                                  TYPICAL LOT SETBACKS
                                           NOT TO SCALE


                                           I
                                                                             1 '4 . I"' l . , .   PORTIC'.
                                               RADIUS I CHAMFER
                                                 15'      7.5'
                                                 20'      10'
                                                 25'      12.5'
                                                 30'      15'

                                                         b
                                                   00'   °
                                                         6




                                   NQTEt                  f
                                   CHAMFER DIMENSION AT ALL
                                   CORNER LOT SETBACKS EQUALS
                                   1/2 OF THE PROPERTY LINE/
                                   RIGHT—OF—WAY CORNER LOT RADIUS.



CLARK,NV                                Page 68 of 98                 Printed on 11/1/2016 4:58:43 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 775 of 807
Branch :FLV,User :EDLE                     Comment:                                 Station Id :X7QR




                                                 •
                                                      •   RANCHO MIRAG
                                                    (A COMMON   -
             )rvisioN OF A PORTION OF LOT 1 OF AMENDED PARCE
             $T QUARTER (SW 1/4) OF SECTION 27, TOWNSHIP 19
             ) DEDICATION                                              CITY ENGI/
                                                                      THE CITY OF NORT
                                                                      HEREBY CERTIFY T
            4EVADA LIMITED LIABILITY COMPANY,                         UNIT II — PHAS
            DWNER OF THE PARCgL OF LAND WHICH                         SUBSTANTIALLY TF
            RAGE UNIT II — PHASE 1, AND DESCRIBED                     APPROVED ALTERAT
            ,. AND DOES HEREBY CONSENT TO THE
             PLAT, AND DOES HEREBY OFFER AND                          ZONING ACT OF TI-
             EASEMENTS AND PUBLIC PLACES       AS                     AT THE TIME OF
            E REQUIREMENTS OF N.R.S. 278.010 TO                       FURTHERMORE, I
            ) TO THE CITY OF NORTH LAS VEGAS FOR                      IF THE MONUMENT
            E UNDERSIGNED OWNER OF THE WITHIN                         BEEN POSTED
            ) CONVEY TO THE CITY OF NORTH LAS
            'ORATION. NEVADA, POWER COMPANY,
            :OX COMMUNICATIONS LAS VEGAS,
             A PERMANENT EASEMENT AND RIHT—OF—
            STILITY EASEMENTS (P.U.E.). PRIVATE                       DATED THIS 40•72:1:
            EE FOOT (3') WIDE EASEMENT ON ALL
            RVICES TO * METER PANELS; A FIVE FOOT                                     •
             LINES ABUTTING PUBLIC AND PRIVATE
            kNSFORMER PADS AND ABOVE       GROUND
            ITH AND ADO4TIONAL TWO FEET (2')
            .THE .PLATTED LANDS FOR THE
              AND FINAL REMOVAL OF UNDERGROUND
              AND GAS LINES AND APPURTENANCES
            4ERETO: FURTHERMORE, THE UNDERSIGNED
            3S DOES HERER( WAIVE DIRECT ACCESS
              THIS SUBDIVISION INCLUDING BUT NOT
               THE FOLLOWING STREETS: COMMERCE
            ITS SHALL BE A COVENANT ATTACHED TO                        'LEGAL DE:
            EVERY PORTTON OF THE SUBDIVISION .AND
            )VENANT RUNNING WITH THE LAND.
                                                                        BEING A SUBDIV
                                                                        OF A PORTION
             7-          21_72                                          OF THE .COUNT'
                                                                        MAPS, AT PAGE :
                                                                        SOUTHWEST. QUAR
                                                                        EAST, M. D. M.,
             TED LIABMITY COMPANY, BY:                                  PARTICULARLY Di
             *ORATION, BY:
                                                                        BEGINNING AT TI
                                                                        WESTERLY RIGHT.
                                                                        ALONG THE EA:




CLARK,NV                                  Page 69 of 98        Printed on 11/1/2016 4:58:43 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 776 of 807
Branch :FLV,User :EDLE                                  Comment:                                         Station Id :X7QR




                                                                      RANCHO MIRAG
                                                     (A COMMON
            )IVISION OF A PORTION OF LOT 1 OF AMENDED PARCE
            ST QUARTER - (SW -1/4) OF SECTION 27, TOWNSHIP 19 f.

                                      RECORDER'S MEMO
                                FOSSELE POOR RECORD DUE 10                                             KS A
                                QUALITY OF ORIGINAL occutven.                                          I •/-1.




                                                                                                     N6847.34'
                                                   FOUND 1-1/2"
                                                   ALUMINUM CAP
                                                   STAMPED "NTIN PLS 9105"




                 DELTA
               0 '3940"
               3108'2D
               994200"
               801449"
               611255"
               411217"
               1O526
                405027"
                51'47'43"
                27238'11"
                40'3305"
              . 8959'59"                                                     rati
                492654"                                                •
                061241"
               251053"
               9612'41
               65.p.04-
                010757"
               11510'54"
                810701"               ..•■•■•■••


               08'52'59"                      •-•-- 29.19'
                                             S892331W
               17'39'08"
               O73145                .CACTUS SANDS AVENUE
               9000101"
               4Cr32'09"    1                          nomin:


CLARK,NV                                              Page 70 of 98                 Printed on 11/1/2016 4:58:43 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 777 of 807
Branch :FLV,User :EDLE                 Comment:                                      Station Id :X7QR




                                                                      N
                                                                     410
                                                                    .m1.4




                                                                     BEING A E
                                                                  OF THE SOU}
                                                      OWNER'S CERTIFICATE

                                                     RANCHO      MIRAGE    I,   L.L. C..
                                                     DOES HEREBY CERTIFY. THAT IT IS
                                                     IS SHOWN UPON THIS PLAT OF RAN(
                                                     IN THE SURVEYOR'S CERTIFICATE V
                                                     PREPARATION AND RECORDATION OF
                                                     DEDICATE ALL THE STREETS, Al
                                                     INDICATED AND OUTLINED HEREON, F
                                                     278.630, INCLUSIVE, AND TITLE 16.
                                                     THE USE OF THE PUBLIC; FURTHERMOE
                                                     PLATTED LANDS DOES HEREBY GRAV
                                                     VEGAS. NEVADA, SOUTHWEST GAS
                                                     CENTRAL TELEPHONE COMPANY, /
                                                     INC..    THEIR SUCCESSORS AND AS
                                                     WAY AS SHOWN HEREON AS PUBI.
                                                     STREETS.    AND COMMON ELEMENTS;
                                                     SIDE PROPERTY LINES AND UNOERGROI.
                                                     (5')   WIDE EASEMENT ON ALL PR(
                                                     STREETS AND ABOVE GROUND
                                                     TELEPHONE EQUIPMENT PADS TOGE7E
                                                     AROUND      TRANSFORMER PADS WI-
                                                     CONSTRUCTION,    MAINTENANCE, OPEE
                                                     POWER, TELEPHONE.     WATER, CABLE
                                                     TOGETHER WITH THE RIGHT OF'ACCEE
                                                     OWNER OF THE WITHIN PLATTE
                                                     RIGHTS FROM ABUTTING LOTS
                                                     LIMITED TO. VEHICULAR ACCES!
                                                     STREET. THIS WAIVER OF ACCESS
                                                     THE LAND AND PASS WITH EACE
                                                     SHALL.HAVE THE FORCE AND EFFECT E



                                                     'DATED THIS     Melt DAY OF


                                                     RANCHO MIRAGE .1. L. L. C., A NEVAD.
                                                     SPECIALTY HOLDNGS, INC.. A NEVA/




CLARK,NV                             Page 71 of 98              Printed on 11/1/2016 4:58:43 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 778 of 807
 Branch :FLV,User :EDLE                 Comment:                                    Station Id :X7QR




                                                                     BEING A
                                                                 OF THE SOUT:




                                                        CURVE TAKE
                                                        CURVE    RADIUS      LENGTH      TA
                                                          Cl     498.50'      23.15'      1
                                                          C2      44.00'     23.91'       1
                                                          03      44.00'      76.56'      5
                                                         C4       44.00'      61.63'      3
                                                          C5      44.00'      47.27'      2
                                                          C6      20.00'      14,38'
                                                          07     20.00'        3.70'
                                                         C8       20.00'      14.26'
                                                          C9      20.00'      18.08'
                                                         CI 0     44.00'     209.37'
                                                         C11      25.00'      17.69'       ,.
                                                         C12      25.00'      39.27'      2
                                                         C13 1 25.00'         21.58'      1
                                                         C14
                                                              H 274.00'       29.70'      1
                                                         015     250.03'     109.88'      5
                                                         C16      20.00'      33.58'      2
                                                         017      20-.00'     23.12'      1
                                                         018     274.05'       5.42'
                                                         C19     20.C'        40.21'      2
                                                         020 .-. 20.00'       28.32'      1
                                                         C21     226.30'      35.04'      1
                                                         C22     250.00'      77.02'      2
                                                         C23     250.00'      32.85'      1
                                                         C24      25.00'      39,27' .    2


CLARK,NV                              Page 72 of 98           Printed on 11/1/2016 4:58:43 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 779 of 807
Branch :FLV,User :EDLE                 Comment:                                        Station Id :X7QR




                                                                     MON
                                                                      01313
                                                       ACKNOWLEDGEMENT
                                                       STATE OF NEVADA )
                                                                         SS
                                                       COUNTY OF CLARK )
                                                       THIS INSTRUMENT WAS ACKNOWLEDGED
                                                       'IV BY JERRY .GOEDEN AS PRESIDEN1
                                                       NEVADA CORPORATION, AS MANAGING
                                                      . A NEVADA LIMITED LIABILITY C0MPA1,


                                                                           .-kOgrAi
                                                            ;14r7Aure/k/(4/tzt. •
                                                       NOTARY PUBLIC IN AND FOR SAID COL
                                                       MY COMMISSION EXPIRES: fiLLAC41.17




                                                      LzEnislawiala
                                                       WE, THE HERE/N NAMED UTILITY COMP
                                                       GRANT OF THE DESIGNATED EASEMENTS

                                                       L---yxaxtai
                                                       COX COMMUNICATIONg iA
                                                                          wAS VEGA% INC




                                                       7cliz4d'4 ,gmn.47ArAGA644A,
                                                       SPRINT




                                                       C TY 0 NORTH LAS YE ,
                                                       LAL441.44. .114..-au4kArg.




CLARK,NV                              Page 73 of 98               Printed on 11/1/2016 4:58:44 PM
Document: CCR 2002.0510.1313
            Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 780 of 807
 Branch :FLV,User :EDLE                 Comment:                                                        Station Id :X7QR




                                                                                                            "I
                                                                      033      - 40151         63.98'       39
                                                                               ■
                                                                      034        4   3         34.55'       18.
                                                                      035         20.00'       12.69'        6.




                                                                      RADIAJ, LitlE TABLE
                                                                  e
                                                                         UNE          BEARING           LEN Gil
                                                                         R1         1478•413.05E         13.00'
                                                                         R2         N3715.48"E           12.00'
                                                                         R3         N80'51'1,8W          13.00'
                                                                         R4         580-54'29E           13.00'
                                                                         R5          949'46'02"E         12.00'
                                                                         R6          550'03'23"E         13.00'
                                                                         R7         N1815.38"W           13.00'
                                                                         R8         NO 9'29.28"W         11.00'
                                                                         R9         N06•49.10W           12.00'
                                                                         R10        N24•39 '25"W         12.00'
                                                                         R11        N48•51 . 23"E        13.00'
                                                                         R12        935'20'28"E          12.00'
                                                                         R13        58133'32"W           13.00'
                                                                       R14          981'59'11E           13.00'
                                                                       R15          553'01'33W           12.00'
                                                                  t
                                                                       R16           98015'25E           13.00'
                                                                       R17           523'07'43"E ,       13.00'
                                                                  btosegasso.




                                                                      COURSE TABLE
                                                                  I      UNE
                                                                          Li
                                                                                      BEARING
                                                                                   N 6412'37"E.
                                                                                                        LENGTI.
                                                                                                         4.75'
                                                                         L2        N25"47'23"W          48.00'
                                                                         L3        N89"23' 31"E          7.54'
                                                                         L4         N89'23'31"E         4.42'
                                                                         L5         N00'36'29"W -       11.49'
                                                                         L6         90119'19W           16.47'




                                                 ACT - DATE       BY                                       RE


                                                  2   12/01/171   +JCL      REM= LOT MC BETWEEN LOT 34 A
                                                      e/23/92     KAK       ADD BYRE'S AND DETAIL. REV. wONIJ1




CLARK,NV                              Page 74 of 98                           Printed on 11/1/2016 4:58:44 PM
Document: CCR 2002.0510.1313
            Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 781 of 807
Branch :FLV,User :EDLE                                                   Comment:                                                      Station Id :X7QR




                      "0.       QS')"v1/4cp                              /           JSEE DETAIL "B"1
                                C,0".                    c.c>              TH1S SHEET       r`q-                         2
                                                         to                     - 40
                                              01,9                                       025
                                                                0..0
                                                                ta4 "-)-
                                                                       ' .
                                                                              6.440 S.F. \ ,....
                                                                 L11                          *                    La
                                                                          ed•    I
                                                                U.                                                 CI)
                                                                                 I                                 N
                                                         .a.,   ,Ct)                 N89'2331"E 100.00'          co
                                                                                                                 0,
                                                                                                                 0
                                                                                                                10
                                                                                                           6
                   34
             8,262 S.F.                 1      LD     C3 0 —
                                                      I■4 2
                                        C27
                                                      24.00'
                                                          _ 24,00
                                                             •
            .331"v4     113.40' r.          'lie
                                .629                                                    0            6.00'               0
                                                 (2
                                                                                        v-                                   se>
                                                                                     . (NI   38      71.                 W
             35                                                                       . — 5.350 S.F.
                                                                                                      -4- 1^,Z
            308, S.F.       ;                                                   0      \      *       Ft in
            W 88.45'                                                                   : N 8923'31 "E 88.03'



             36
            559 S.F.                                    C31

               '   131.76'
                            N 88'40' 41" W
                                                                                                                         (5400
                                                                                                                            03)




            . LOT 2 Cri" AM1:72,s4D'ErD PLAT OF PAI:(,' EL MAP
                II r" 30 PAGE

                                                                                   RECORDER'S MEMO
                                                                             POSSIBLE POOR RECORD DUE TO
                                                                             QUALITY OF ORIGINAL DOCUMENT


                                                                                -ANN                             ROAD
                                                                       N88'40.41"Yi                              2708.95'
                                FOUND 3"
                                BRASS CAP                                                                                                FOUN
                                ILLEGIBLE                       "BASIS °                     OF                BEARINGS"                 ALUM




 CLARK,NV                                                                Page 75 of 98                             Printed on 11/1/2016 4:58:44 PM
 Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 782 of 807
Branch :FLV,User :EDLE                          Comment:                                                       Station Id :X7QR




            mAr 4    rHuvtU By THE CLARK COUNTY DISTRICT BOARD OF HEAL*20q10
           )VAL CONCERNS SEWAGE DISPOSAL, WATER POLLUTION, WATER OUALITY.01311
           ;UPPLY FACILITIES AND IS PREDICATED UPON PLANS FOR A PUBLIC
           .Y AND A COMMUNITY SYSTEM FOR DISPOSAL OF SEWAGE,




            IARD OF EALTH —C.tvito-refa.   (3. koss    .                 DATE


            NG COMMISSION APPROVAL
           ERTIFY THAT THIS MAP IS APPROVED AND ACCEPTED, ON BEHALF OF
             ANY PARCELS OF LAND OFFERED FOR DEDICATION FOR PUBLIC USE IN
            WITH THE TERMS'OF THE OFFER OF DEDICATION. FURTHERMORE,
           IS MAP IS IN SUBSTANTIAL CZWNCE WITH THE TENTATIVE MAP AND
           IONS HAVE BEEN MET THIS .              DAY OF       Ne$043eit...


           „ oat4L
           *La
           I DIRECTOR



            OF BEARI,NGS
            0. 41" WEST. BEING THE BEARING OF ANN ROAD, SAME BEINc THE
            SOUTH LINE•or THE SOUTHWEST QUARTER (SW 1/4) OF SECTION 27,
            9 SOUTH, RANGE 83 EAST, m, D. m.. CLARK COUNTY, NEVADA. AS
           NAT CERTAIN PARCEL MAR ON FILE IN THE OFFICE OF THE COUNTY
           :LARK COUNTY. NEVADA, IN FILE 81 OF PARCEL MAPS, AT PAGE 06.




                                                           ■••••••■••••■•■•....



            • RECORDER'S NOTE                                  No                 0/ A.5 9
            UENT CHANGES TO THIS MAP SHOULD BE
            JO MAY BE DETERMINED BY REFERENCE
                                                                       FILED AT THE REQUEST OF :
            TV RECORDER'S CuMULATIVE MAP MDIDC                                     VTN nov•oda

                                                               DATED ,        g-YLI- 4!AT 10:3sr
                                                               BOOK              PAGE
                                                                           OF PLATS
                         W. O. 5503 ( 2)                       OFFICIAL RECORDS BOOK,            Neva,
                         SHEET 1 OF 3                           CLARK COUNTY. NEVADA RECORDS
                                                                JUDITH A. VANDEVER. RECORDER
                                                               FEES 740 DEPUTY‘SM




CLARK,NV                                       Page 76 of 98                              Printed on 11/1/2016 4:58:44 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 783 of 807
Branch :FLV,User :EDLE                                   Comment:                                          Station Id :X7QR




                                                                                          200 10
                                                 NAIL AND BRASS TAG 41VIN PLS 12469
                                                 SET PER "RANCHO MIRAGE,
                                                                      UNI- — PHASE ' 4
                                                 BOOK jalOF PLATS. PAGERS

                                  17             LOT NUMBER / TOTAL LOTS = 55

                                                 BLOCK NUMBER

                                                 FOUND MONUMENT AS INDICATED
                                  025            CURVE NUMBER
                                  L22            COURSE NUMBER
                                  R1S            RADIAL LINE NUMBER
                                  OR)            RADIAL
                                   S.F.          SQUARE FEET
                                  (PRC)          POINT OF REVERSE CURVE
                               ' (ROC)           POINT OF COMPOUND CURVE




                         TYPICAL LOT SETBACKS
                                   NOT TO SCALE
                                     15.00. REAR


                                   rr— • — • '
                                   ir RADIUS I CHAMFER
                                          15'    75
                                          20'    10



                                                 "o
                                                 om
                                    -.-10.00*
                                    \ \ CORNER




                         NOTE:      -
                         CHAMFER DIMENSION Al' ALL
                         CORNER LOT SETBACKS EQUALS
                         1/2 OF THE PROPERTY UNE/
                         RIHT—OF—WAY CORNER LOT RADIUS.




                                                                      W.O. 5503 (2)
                                                                      SHEET 2 OF 3
                                                                           VCL




CLARK,NV                                              Page 77 of 98                   Printed on 11/1/2016 4:58:44 PM
Document: CCR 2002.0510.1313
              Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 784 of 807
Branch :FLV,User :EDLE                         Comment:                                       Station Id :X7QR




                                                                              TM"


               AFTER (SE 1/40
               . CLARK COUNTY, NEVADA.
               ?DIV'S CERTIFICATE
               R. RIEKXI. A PROFESSIONAL LAND SURVEYOR LICENSED IN THE
               EVADA. AS AN AGENT FOR VTN NEVADA, CERTIFY THAT:

                PLAT REPRESENTS THE RESULTS OF A SURVEY CONDUCTED UNDER MY
               I SUPERVISION AT THE INSTANCE OF RANCHO MIRAGE I, L.L.C.. A
               A LIMITED LIABILITY COMPANY.

               ANDS SURVEYED LIE WITHIN A PORTION OF THE SE 1/4, OF THE SW
               OF SECTION 27, T. 19 S.. R. 61 E., M.D.M.. CITY OF NORTH LAS
               , CLARK COUNTY, NEcIADA, AND THE SURVEY WAS COMPLETED ON
               /9.0.

               'PLAT COMPLIES WITH THE APPLICABLE STATE STATUTES AND ANY
                 ORDINANCES IN EFFECT ON THE DATE THAT THE GOVERNING BODY
               ITS FINAL. APPROVAL.

               ONUMENTS DEPICTED ON THE PLAT WILL DE OF HE HARACTER SHOWN
               OCCUPY THE POSITIONS INDICATED By.
               AN APPROPRIATE FINANCIAL GUARANTEE WILL DE POSTED WITH THE
               NINC BODY BEFORE RECORDATION TO ASSURE THE INSTALLATION OF
               ENTs.




          '          F. L. S.
               ENSE NO. 12469
                                 #

               N OF WATER RESOURCES CERTIFICATE
               L MAP IS APPROVED BY THE DIVISION OF WATER RESOURCES OF THE '
                OF CONSERVATION AND NATURAL- RESOURCES CONCERNING WATER
               UBJECT TO THE REVIEW OF APPROVAL ON FILE IN THIS OFFICE.




CLARK,NV                                     Page 78 of 98              Printed on 11/1/2016 4:58:44 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 785 of 807
Branch :FLV,User :EDLE                 Comment:                                       Station Id :X7QR




                                                      W.O. 5503 (2)
                                                      SHEET 3 OF 3
                                                          va,




CLARK,NV                              Page 79 of 98              Printed on 11/1/2016 4:58:44 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 786 of 807
Branch :FLV,User :EDLE                                Comment:                                        Station Id :X7QR




                                                                                                  •




            IRTEIR (SE 1/4)
             CLARK COUNTY, NEVADA.


            -p.o.e.
                    /       1/16
                /
                         \ S27



                               2-  C.N.L.V. BRASS CAP IN
                               CONCRETE LOCATED UNDER Ac
                               TO BE RESTORED AS TYPE It
                               MONUMENT AL CAP '!VIN PLS 12469-
                               Ur-sON COMPLETIN OF CONS-TP.41'110N


              LI§              OR SET WELL MONUMENT OVER EXISTING
                               IF STILL IN PLACE



                                               GRAPHIC SCALE
                                               '
                          40                                                       1 OD

                                     101 NMI Mill100011111101 01W.C4W      ;;ASIge-0M
                           05          00.

                                                      inch   4D It.




                         LE¢END
                          • p.o.e.            POINT OF COMMENCEMENT
                               P. O. El.      POINT OF BEGINNING
                                              BOUNDARY UNE
                                              LOT UNE
                                              RIGMT—OF—WAY UNE
                                              STREET CENTERuNE
                                              BUILDING SBA•fa< UNE
                                              FRONT — .2C/77 REAR im 15.
                                              SIDE  5'   CORNER w* 10'
                                              SET TYPE in MONUMENT
                                              AL. CAP -NM PLS 12469-




CLARK,NV                                           Page 80 of 98                Printed on 11/1/2016 4:58:44 PM
Document: CCR 2002.0510A313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 787 of 807
Branch :FLV,User :EDLE                          Comment:                            Station Id :X7QR




                                                                  .40i410




              kRifER (SE 1/4)
              - CLARK COUNTY, NEVADA.




             pm_ LINE TABLE
                     -
            ,IE       BEARING       LENGTH
            1        S23'07'431      13.00'
             2       S16-57'1 rE     13.00'
             3       $1019!39"5     13.00'
             4       $0510'0 VE      13.00'
             ..1ic   S0735.397‘4    13.rIn'
             5       50'9'05.21-E ' 13.00'
             7       $01'04105"E     11.00"
            a          5•57'40"C     11.00'
             a       S58'09'55'7    12.00'
            10        8415'18-E _ 13.00'
            11       N62•46639"E    13.00'
            12       N30'3719T      13.00'
            13       N021 520W ' 13.00'
            ; A1     N3114.07-W     12.00'
            15       N33'3859"B     12.00'
            16       NI 9-24`50E    13.00'

            18       14e616'58-E     12.0,9'
            19       1472'0429E    • 13.00'




CLARK,NV                                       Page 81 of 98   Printed on 11/1/2016 4:58:44 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 788 of 807
Branch :FLV,User :EDLE                                  Comment:                                         Station Id :X7QR




                                                                                        2924510
                                                                                        .11313



                   UNIT II _PHASE 2
              ITEREST COMMUNITY)
               PILE 2.5., PAGE Ì, LOCATED WITHIN THE SOUTHEAST
              NH, RANGE 61 EAST, M.D.M., CITY OF NORTH LAS VE(
                         CERTIFICATE                                       •                               SUI
              ,S VEGAS, COUNTY OF CLARK. STATE OF NEVADA, DOES                                             I,
                I HAVE EXAMINED THE FINAL MAP OF RANCHO MIRAGE                                             STATE
                     THAT THE SUBDIVISION AS SHOWN HEREON IS
              4.4E AS IT APPEARS ON THE TENTATIVE 'MAP, AND ANY                                            1.
              ; THEREOF. THAT ALL PROVISIONS OF THE PLANNING AND
              'ATE OF NEVADA AND ANY LOCAL ORDINANCES APPLICABLE
             .OVAI. OF THE TENTATIVE MAP HAVE* BEEN COMPLIED WITH.
              :AT I SF IED THIS MAP Is TECHNICALLY CORRECT AND THAT,                                       2..
              ivE NOT BEEN SET. •A PROPER FINANCIAL GUARANTEE HAS
              tANTEEING THEIR SETTING ON OR BEFORE


                                                                                                           3.    •
              DAY oF.



                                                                                                           4.




             - .*1e DarEcnoti Cm, ENGINEER
             114,0.4,0o/tAS

             I 1PstION
             :HO MIRAGE UNIT II — PHASE 2 .
                                             64.410,




             ION OF A PORTION OF LOT 1 OF THAT CERTAIN " AMENDED
                                                                  •
                                                                      O.



                                                                                                          •ALAN
                                                                                                           NEVA
              OF PARCEL MAP (FILE- 81, PAGE .06) " ON FILE IN THE
             JNTY RECORDER. CLARK COUNTY. NEVADA. IN FILE %. OF
             3E 59 LOCATED WITHIN THE SOUTHEAST QUARTER ( SE 1/4)
              QUARTER ( SW 1/4) OF SECTION 27. TOWNSHIP 19 SOUTH.                                          DD
             ). M. , CITY OF NORTH LAS VEGAS. CCARK COUNTY. NEVADA,.
             )ESCRIBED AS FOLLOWS:                                                                         ,THIS
                                                                                                           DEP A
              SOUTH CENTER SIXTEENTH CORNER OF SAID SECTION 27:                                            OWN
             47' 34" WEST. ALONG THE NORTH LINE OF THE SOUTHEAST
               ■•••••
               •               asrso•vr.e.       • P•o%   dSJ.   notl.         n.0




CLARK,NV                                               Page 82 of 98                 Printed on 11/1/2016 4:58:44 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 789 of 807
Branch :FLV,User :EDLE                                               Comment:                                                                               Station Id :X7QR




                                                                                                                                                         •■••■••■•••■••■•■•■=0.




                 UNIT II - PHASE,                                                                                  .


            ITEREST COMMUNITY)
             FILE 96, PAGE 59, LOCATED WITHIN THE SOUTHEAST
            JTH, RANGE 61 EAST, M.D.M., CITY OF NORTH LAS VEC

           .E 94, PAGE Ç.
                                                                                                                               P.O.B.


                            2701.90'
                 701.16'
                               50,00'                50.00'                              90.95'                                          N813.47'34W fr
                                                                to"                                                                         331.08'
                                             0
                                             1'-                                                       'a                            co                        61
                                             0                                                        co-
           74                    73                   72        ai                  71                                               t.....,
           50 S.F.                                                                                                                    c..
                             5;350 S.F.            5,040 S.F. °2         6,142 S.F,                                                     c".
                                                                                                                                       rn
                     al                                        •/-                            •44,                                              mn=•■••• ....MOP    ••••■•

                                                                                              V.
                                                                                              "



                                                   7.34'


                                                                        C2,3
                              50.00'

           VENUE                                                                                                                       -.Ir.)
                                                                                                                       69               1.4.
           96'                                             (69.65')                                                                     at
                                                                                                     0%           5,000 S.F.                                   53
                                                             (57.16')                                Ct
                          DEDICATION*
                                                                                                     f.'.3.                  5.45'
                                                                                                            N139.23'31't • 88.88'
                                                                                                     ‘1310
                                                                                                                                        •
                                                                                                                   ' 68                            v./
                                       rsi                                                                        5.035 S.F.
                                       0                                                                                                           4s)
                                                                                    r                  12.40'
                             55                                                         (.7

                          5.100 S.F. 1,t
                                       :                                      No-       Lit           7'4489'2331"E 102.00'
                                                                              CV        0

                                       47)
                                                                      24.00' 24.00'
                                      .75                                                                           67
                                                                                                                5,100 S.F.
                                                                        tz■
                                                                        ,„...
                                                                        4r.1
                           50.00'                   62.76'       \      toy         I




CLARK,NV                                                        Page 83 of 98                                          Printed on 11/1/2016 4:58:44 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 790 of 807
Branch :FLV,User :EDLE                        Comment:                            Station Id :X7QR




                                                                20020'10



                 UNIT II - PHASE 2
             iTEREST COMMUNITY)
               FILE 96, PAGE 59, LOCATED WITHIN THE 'SOUTHEAST
                   RANGE 61 EAST, M.P:M., CITY • OF NORTH LAS VE(




                    'COURSE TABLE
                   I. LINE      BEARING  - LENGTH
                         Li    $6412'37W    4.75'
                         1'    52547'23E    48.00'




CLARK,NV                                     Page 84 of 98   Printed on 11/1/2016 4:58:44 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 791 of 807
Branch :FLV,User :EDLE                          Comment:                                           Station Id :X7QR




                                                                                nOiD510             THIS
           •. ANGLE OF 0239' 40"; THENCE SOUTH Or 19 19" WEST.
            . NORTHERLY BOUNDARY OF LOT 2 OF SAID "AMENDED PLAT •               ,u1313             THIS
            .CEL MAP ( FILE     .PAGE c 6) "; 1-HE'NCE NORTH 88' 40' 41."                          AND W.
             NORTHERLY BOUNDARY, 450, 00 FEET; THENCE ALONG THE                                    WATER
             COURSES: (1) SOUTH 003624.! EAST, 91,44 FEET; (2) '
            REST, 150.72 FEET; (3) • NORTH 00' 36 29" WEST, 20. 61
             23' 31" WEST, 100. 00 FEET: (5) ORTH 00' 36' 29" WEST,
             NORTH LINE OF THE SOUTHEAST OUAR.TER (SE 1/4) OF THE
             ( SW 1/4) OF SAID SECT/ON 27; THENCE SOUTH BB' 47' 34"                                .DISTR
            •RTH LINE, 701. 16 FEET TO THE POINT OF BEGINNING.

            CRES, MORE OR LESS. AS DETERMINED BY COMPUTER                                           PL
                                                                                                    I HER
                                                                                                    THE P
                                                                                                    CONFO
                                                                                                    CERT!
                                                                                                    ALL C




                                                                                    Ale.17j4 ogp    DEVEL




                                                                                                   NORTH
                                                                                                   BEAR!
                                                                                                   TOWNS
                                                                                                   SHOWN
                                                                                                   RECOR




                                                                                                    COI
                                                                                                    EXAMIP
                                                                                                    TO TH1
                                                                                                    NRS 2




CLARK,NV                                       Page 85 of 98                Printed on 11/1/2016 4:58:44 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 792 of 807
Branch :FLV,User :EDLE                                                     Comment:                                                           Station Id :X7QR




                                                                                       SLIL:
                                                                               Cs/


                                                 2.43'                     1Q.%
                         50.00'                                               co -4-
                                                   C5
                                                               1^4
                           AVENUE
                                                               C4

                  D ED IC A 710N"

            CO"            43.67' If                     C14
                                    CIO


                                                                                               CZ:                           33        '
                                                                                                           32             7.220 S.F.
                             29           '—       - 30                          31                    6,392 S.F.
                         5.500 S.F.                5,560 S.F.
                                          1:7)



                                                                                                                    cn
                                                                    cr,

            10'            50.00'
                                                                                                                            50.00'
                                                                450.00'


            • )             nc                              D I A'r
               1..■11           ■     rivt L...$     C-LJ   • 4..r.                            sa C. I..
                  -711 .7 Qa:        DA"...7..




            T BE SET WITH A TYPE DI MONUMENT. IN THOSE
            it IMPROVEMENTS EXIST        REAR PROPERTY
            , A NAIL AND TAG SHALL BEE SET IN 14-IE WALL
                CORNER AND A SAW CUT SHALL BE MADE IN
                CURB AT THE PROLONGATION OF THE SIDE

            .".ftš ARE CHAMFERED EQUAL TO 1/2 OF THE
             —OF—WAY CORNER LOT R AD iU S.                                                                       RECORDER'S MEMO
                                                                                                           POSSIBLE POOR RECORD DUE TO
            E. COURSE. AND RADIAL LINE TABLES.                                                             QUALITY OF ORIGINAL DOCUMENT




CLARK,NV                                                                  Page 86 of 98                                  Printed on 11/1/2016 4:58:44 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 793 of 807
Branch :FLV,User :EDLE                         Comment:                                                   Station Id :X7QR




                                                                                 •




            RTRVEY. ANALYSIS
                    NOT TO SCALE
                               2" 0.N.L.V. BRASS CAP TN
                               CONCRETE LOCATED UNDER AC
                               70 BE RESTORED AS TYPE 11
                               MONUMENT AL_ CAP VTN: FLS 12469"
            15"
                               UPON COMPLETION OF CONSTRUCTION
                               OR SET WELL MONUMENT OVER EXISTING
                               IF STILL IN PLACE                                     'N.
            4"E                            2701.9d'



                                                                                            50.03'




             RANCHO MIRAGE UNIT                                     LOT 2
            30K ES OF PLATS, PAGE 09                         PM FILE      PAGE   a


                           0                    •••


                           c;
                           Ui




                                         2.708.96'
                                                            ROAD
            SIS      OF BEARINGS"                     FOUND 4'. C.N.L.V.
                                                      ALUMINUM CAP




CLARK,NV                                     Page 87 of 98                           Printed on 11/1/20164:58:44 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 794 of 807
Branch :FLV,User :EDLE                        Comment:                                   Station Id :X7QR




             .11111111111■•■■




                                                             •RANCHO MIRÀ(
                                                     (A COMMO1
               SUBDIVISION OF A PORTION OF LOT 1 OF PARCEL Mi
             ;ST QUARTER (SW 1/4) OF SECTION 27, TOWNSHIP 19
                           ISEDICATION                           SCITY ENCli
            LIMITED LIABILITY COMPANY, DOES                                THE CITY OF NOF
             OF THE PARCEL OF LAND THAT IS                                 HEREBY CERTIFY
                                                                           UNIT 11 - PK/
             UNIT II - PHASE 2, AND DESCRIBED
            . AND DOES HEREBY CONSENT To THE                               SUBSTANTIALLY 1
            SLAT. AND DOES HEREBY OFFER AND                                APPROVED ALTER/
            EASEMENTS AND PUBLIC PLACES AS                                 ZONING ACT OF 1
            F. REQUIREMENTS OF N. R. S. 278. 010                           AT THE TIME OF
             16.050 TO THE CITY OF NORTH LAS                               FURTHERMORE, )
                                                                           IF THE MONUME),
                                                                           BEEN POSTED

              'THE WITHIN PLATTED LANDS DOES                                  /1114'
            7Y OF NORTH' LAS VEGAS. NEVADA,
            7WER COMPANY, CENTRAL TELEPHONE                                DATED THIS /44
            :GAS, INC., THEIR SUCCESSORS AND
            !GHT-OF-WAY.AS SHOWN .HEREON AS
                 PRIVATE STREETS, AND COMMON
            :NEW .ON ALL SIDE PROPERTY LINES
            %NEILS: A FIVE *FOOT -(5') WIDE
            10 PUBLIC AND pRivATE STREETS AND
            3oyE GROUND TELEPHONE EQUIPMENT
            :EET (2') AROUND TRANSFORMER PADS
            ;RUCTION, MAINTENANCE. OPERATION:
            FA, TELEPHONE, WATER. CABLE T. V..
            ;ETHER WITH THE RIGHT OF, ACCESS

                                                                           'LEGAL 'DE
            1- '1'HE WITHIN PLATTED LANDS DOES
            :ROM ABUTTING LOTS WITHIN THIS
            D To , VEHICULAR ACCESS, To THE                                  BEING A SUB
                                                                             PLAT OF A po
                                                                             OFFICE OF 7
            E A COVENANT ATTACHED TO THE LAND                                PARCEL MAPS.
            3F THE SUBDIVISION AND SHALL HAVE                                OF THE SUIT
            WING WITH 'THE LAND.                                             RANGE 61 EAS
                                                                             MORE PARTICUL
            :r                  79451
                                                                            -CommENcING A
            I/ED LIABILITY COMPANY. BY:                                      THENCE NORTH
                                                                                ....••••••• ewe •




CLARK,NV                                     Page 88 of 98        Printed on 11/1/2016 4:58:44 PM
Document: CCR 2002.0510.1313
            Case:EDLE
 Branch :FLV,User 2:21-cv-02120-JCM-BNW                                                            Document 1-1 Filed 11/29/21 Page 795 of 807
                                                                                                    Comment:                                                                                                      Station Id :X7QR




                                                nwoRoors tam
                                                                                                                                                                    7515r1"-m
                                    POSniaLE POOR RE-OORD DUCTO                                                                                                     .01313
                                    °our/ oF ORIGKAL 00aMENT



                                                                                                                         RANCHO MIRA(
                                                      (A COMMOI
                SUBDIVISION OF A PORTION OF LOT 1. OF PARCEL 1■4
               ST QUARTER (SW 1/4) OF SECTION 27, TOWNSHIP 19
                                                                                                                                                  pARcEl. 2 PARCEL MA
                                                                                                                                                       APt4 124-27

                                                            N8847'3411/          •
                                                                   • 586'47'34E
                              68.30'                          50.00'        50.00'                                                • 50.00'                        50.00'                                    50.00 .
               --\"/-
                   ..0
                    co                          in.
                    ..1.
                     -1.                                                                      't              .         b                         7:3                                           b                       e
                                                                                                                        0                         0                                             o                       c
                      ol                                                                      o                         r<                                                                                              rc
                   ' , 1,      80      ,,                         • 79                                                                                                                          o
                                                                                              -               78        -             77                            75                          -            75          -
                       ;---
                         73 5,036 S.F. '                     5,230 S.F.                               5,350 s. f.                5,350 S.F.              . 5,350 S.F.                                    :.1,350 S.F.
                           -.•                  ..-.
                                                 0                                                                      1.,,                      LI
                             co                                                                                                                                                                 1-‘1                    I.'
                             ..•                r
               .             '•0                S                                  ,                                    ir                        ;:ri                                          C T)                    '71;)
                              IA_               z                                             r-          .             r-                         —                                                                     r
                                                                                              S
                                                                             .                z                         Z                         z                                                                 .   2
                                                       Pc;                                                                                                                                      4
                                                       it
                                                                             22.79'                     50.00.                     .50.00'                        50.00'                                   50.00'
                                                            . "I
                      •                                                                        DUNE
                                       71.18')                                                                          588'47'34*E
                           11(.: (60.90')                                                     -9EFERED
                                                                ,

                                                                     -
                                                                  (4
                                                                     .1"
                                                                     —-




                                                                                                      50.00'       -             50,00'
                                                                                                                                                                  b




                                                                                                                          •
                                                                                                                                                                  e3




                                                                                                                                                                                                         50.00'
                                        LI




                                                                         ,ano tm.,6t4s LiOs




                                                                                                                  ' b                        70
                                                                                                                                                                         .00 tO lM.6 L,6t.LOS




                                                                                                                    o                        0                                                                      b
                                                                                                                    N                                                                                               0
                                     t




                                                                                                                                              (-4




                                                                                                                    0                        0                                                                      0
                                                                                                                   -                                                                                                -
                                                                4)




                                                                                                      50                           51        :
                                                                                                                                                                  IV




                                                                                                                                                                                                          53
                                                       to




                                                                                LA:




                                                                                                                               5.100 s.F. ,1a)
                                                                                                                                            --
                                                            0

                                                                                (4




                                                                                                   5.100 S.F. try,
                                                                                                                                                         . .. .




                                                                                                                                                                                                       5,100 S.F. ca;
                                       ,ze'cB




                                                                                                                   r-                        r-                                                                     in
                                                                                                                                                                                                                    r
                                                                                                                                                                                                                    —
                                                                                                                   6               S
                                                                                                                   v)              v)                                                                               2
                                                       • (::




                                                                                                              ,     - N6847'34.'N'i                                                                                  .1
                                            \
                                     __,,,,,_
                                      .




                                                                                                     tz0:0_0_ .
                                                         tot




                                                                                                                     11 ' 50.00'
                                                            --.




                                                                                                                                                                  0




                                                                                                                                                                                                        50.00'
                                                                                 ,




                                                                                                                                                                         I
                                                                                                                                                  ,.
                                                           4




CLARK,NV                                                                                      Page 89 of 98                                              Printed on 11/1/20164:58:44 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 796 of 807
Branch :FLV,User :EDLE                                          Comment:                               Station Id :X7QR




                                                                            RANCHO MIRA(
                                                         COMIVIO:
             4. SUBDIVISION OF. A PORTION OF LOT 1 OF PARCEL
           • ;ST QUARTER (SW 1/4) OF SECTION 27, TOWNSHIP 19

               re.




              amiftimis
              CURVE            RADIUS      LENGTH    TANGENT          DELTA
                Cl             409.50       23.15     11.58'         02'39'40"
                02             474.50'     138.31'     69.65"        16 42'01"
                03             474.50'     2Z4. &'    114.41'        27"06'42'.
                04             474.50'      56?"      43.23'         10-24'40"
                05             450 0'       42.38'
              . 06              20.00'      30.21'      18,83'       86'3124"
                07              20.00'     36.78'       26.23'       10521'11"
                CS             450.50'     77.28'       38.73'       09'49'43"
               09              498,50'     235.88'' . 120.19'       /7'06'42-
               010             498.50'      8.33      • 3.17'        00' 3'40"
               cli             408.50'   IMMEMIIIMIME                06'10' 6"
               012             498.50'     51.86'       25.95'       05'57'38"
                C13            498.50'     50.70'     - 25.37'       05'49'39"
                C14    •       498.50'     50i!         25.08'       05'45'38"
                C15-           _20.00'     32.09'      20.69'        91'55'48"
                016            20.00'      30.74'      19.34'        8804'12"
                017            25.00       14.16'       7.27'        32'26'33"
                018            35.00'      53.87'     j3.91'         881195"
              ' C19            61.50'     164.30'     256.85'       153'04'11"
                020            61.50'      28,00'      14.25'        -6'05'22"
                021            51.50'      35.39'       78.20'       32758'03"
                022            61,50'      34.51'      17.73'        32090"
                C23            .1   0        5.29'     16.15'        3    '39"
               024             61.50       31 11'      15.89'       2$''
                025            35:00'      56.09'      36.13'        914855"
              025              61.50'     158.0e     299.Z8'        156'42:0"
              027              61.50'      15.28'      7.6'          1414:09"
              028          .   61 50'      38.3'      19 1'          35' ' 3'
              C29              6$ 0'       35.60'      18.32'        3310'05"
              C.30             61.50'      34.26'    ' 17.59'        31'54'58"




CLARK,NV                                                  Page 90 of 98           Printed on 11/1/20164:58:45 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 797 of 807
Branch :FLV,User :EDLE                                                  Comment:                                     Station Id :X7QR




                    -Anspyl       1.411 • I.
                   1,
                                                                                                   .290i*THROUGH
                                                                                                           498. 50 Fl
                                                                                                    •8           A CI
                                                                                                           154.71 FEET '
                                                                                                           OF A PORTION I
                                                                                                           WEST. ALONG
                                                                                                           FOLLOWING -F I Vi
                                                                                                           SOUTH 89' 23' -
             )RE ME ON :/47   v6a...s7- /9                                                                 FEET; (4) SOU'
                                                                                                           598. 83 FEET Ti
              SPECIALTY HOLDINGS, INC. , A NEVADA
                                                                                                           SOUTHWEST CU.
              RANCHO MIRAGE I, L.L. C. , A NEVADA
                                                                                                           EAST, ALONG S.

                                                                                                           CONTAINING     9,
                                                                                                           METHODS.



             AND STATE              i!, ...).
                                    1.
                                                           .....t...::ell.'
                                                            -.. • l'1.::::74 GALL I
                                                                   ?•o. ir,-r56- 7, 11
                                    I  L ...,..t-zrant,rem ..7 4igro■ A.g. t. 2faX1


                   RCIPIENTS
            :S AND AGENCIES, APPROVE THE


                               9-7 —5., aii.1
            Phe/i. rei.za,                 DATE
                                                      •    -AegA


                               7.--i         ?
                                                                                      SO•11
            a iviin
              dr                           DATE                                          -LAO
                                                                          _
                                                                      tv
                                 -946.99 p;IP
                                           DATE
                                                                                   .1000
                                                                              1111A°

            gt../Ilreiheef4;4774t.                         1
                                                           0446P1
                                         .DATE'



            (SION —                        DATE




CLARK,NV                                                             Page 91 of 98              Printed on 11/1/2016 4:58:45 PM
Document: CCR 2002.0510.1313
            Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 798 of 807
 Branch :FLV,User :EDLE                                              Comment:                                                       Station Id :X7QR




                                                                                                              280     10
                                                                                                      2


                                                40.01'                50.00'               50.00'         50.00'           50.00'
                                                                                                           342.44'
                                                          CACTUS                                                      SANDS
                                                                         N88'40'41"W                                       34.98'
                                                        "OFFERED                                            FOft
                                                                                                           .339.47'
                                                     45.S1'                                                 50.00'           50.00'


                                                                                   b•
                                                                                   0                                                   0
                                                                                   0.
                                                     23                            — 25                       25               27 -
                                               6.651 S.F.                                  5,500 S.F.     5,500 S.F.        5,500 S.
                                                              •-•                  itzr)                            lC)
                                                                                   12)

                                                                                                                      to
                          C4 •                 62.98'
                                               S6923.31W                                     50.00'         50.00'           50.00'

                                                          22
                                                       5,637 S.F.

                                           N89/3'31 "E
                                                                                                                               PO RTI:



                                                                                                                    NOTES;
                                                          160.7Z                                                      1. ALL LOT CORNI
                            589-23'31"W                                                                                  INSTANCES WHE
                                                                                                                         WALL AND FROI%
              RTIt.N.N .OF L'OT 1                                                                                        AT TriE BACK F
              IA; OF' PARC:al...                                                                                         THE TOP OF TH
                                                                                                                         PROPERTY LINE.
               c   c      DArNc.•   •-,••• •     ,
                                                                                                                      2. ALL CORNER LC
                                                                                                                         'PROPERTY UNE
                                                                          RECORDERS MEMO
                                                                    POSSIBLE POOR RECORD DUE TO                       3. SEE SHEET 3 F
                                                                    OUALTCY OF ORIGINAL DOCUMENT




CLARIC,NV                                                       Page 92 of 98                             Printed on 11/1/2016 4:58:45 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 799 of 807
Branch :FLV,User :EDLE                                Comment:                            Station Id :X7QR




                                                                        S 1/16    FOUND 1-1/2"
                                                                      ■           ALUMINUM CAP
                                                                        S33.1-534 STAMPED "VIN F



                                                                                           1371.51



             ••■•
                                                                                         LOT 3
                                                                                  PM FILE 81, PAG




                                                                                    ANN:

                                                                               3' CRASS CAP ILL
                                                                               (MISSING DUE TO




            ••••■■••=www•■•■■••■loww■■••■■••••■■=1




CLARK,NV                                             Page 93 of 98   Printed on 11/1/2016 4:58:45 PM
Document: CCR 2002.0510.1313
            Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 800 of 807
 Branch :FLV,User :EDLE                 Comment:                                          Station Id :X7QR




                                                                              :
                                                                     OF TH SOCT1
                                                        OWNER'S eERTIFICAT1
                                                       RANCH) MIRAGE L L.L.C., A N'
                                                       HEREBY CERTIFY THAT IT IS THE
                                                       SHOWN UPON THIS PLAT OF RANCHO
                                                       IN' THE SURVEYOR:S CERTIFICATE
                                                       PREPARATION AND RECORDATION OF
                                                       DEDICATE. ALL THE STREETS, AL
                                                       INDICATED AND OUTLINED HEREON, I
                                                       TO 278.630, INCLUSIVE. AND 11"
                                                       VEGAS FOR THE USE OF THE PUBLIC;

                                                       FURTHERMORE. THE UNDERSIGNED 0‘
                                                       HEREBY GRANT AND CONVEY TO
                                                       SOUTHWEST GAS CORPORATION, NE)
                                                       COMPANY, AND CO( COMMUNICATIONS
                                                       ASSIGNS: A PERmANENT-,EASEmENT
                                                       "PUBLIC UTILITY EASEMENT'. 0
                                                      .ELEMENTS; . A THREE FOOT (3') WIC
                                                       AND UNDERGROUND SERVICES TO ME
                                                       EASEMENT ON ALL PROPERTY LINES )
                                                       ABOVE GROUND TRANSFORMER PADS
                                                       PADS TOGETHER WITH AN ADDITIONAL
                                                       WITHIN THE PLATTED LANDS FOR THE
                                                       AND FINAL REMOVAL OF UNOERGROUt
                                                       AND GAS LINES AND ARPURTENAN(
                                                       THERETO: .

                                                       FURTHERMORE. THE UNDERSIGNED 0'
                                                       HEREBY WAVE DIRECT ACCESS R
                                                       SUBDIVISION. INCLUDING BUT NOT I
                                                       FoLLowING sTREETS! (NONE).

                                                       THIS WAIVER OF ACCESS RIGHTS SI
                                                       AND. PASS WITH EACH AND EVERY Pp
                                                       THE FORCE AND EFFECT OF A COVEN.

                                                       DATED THIS    //171't DAY OF      _21
                                                       RANCHO MIRAGE I, L. L. C„ A NEVA)
                                                       SPECIALTY HOLDINGS, INC., A NEV.




CLARK,NV                              Page 94 of 98                 Printed on 11/1/2016 4:58:45 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 801 of 807
Branch :FLV,User :EDLE                 Comment:                                                         Station Id :X7QR




                                                                                   BED
                                                                           OF THE SUM




                                                              1669.66'

                                                  FOUND 1-1/2"
                                                  ALUMINUM CAP
                                                  STAMPED "ViN PLS 9105"
                                                                                                        81
                                                                                   Vs),
                                                                                                  9.228 S
                                                                                          Cs),
                                                                                            IP
                               tit                                                               C6')




                                                                                          82
                                                                                    6,736 S.F.



                                                                                                 0:0 844..


                                                                            o••            83
                                                                            to          5.013 S.F.
                                                                                                          rs.

                                                                                  S89-23.31-W_ 95.87



                                                                                                 84
                                                                                           5,007 S.F.

                                                                                  S89      31W 100.0


                                                                                                 86
                                                                                           5,000 S.F.

                                                                                  559 23.31 W 100. C




CLARK,NV                              Page 95 of 98                      Printed on 11/1/2016 4:58:45 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 802 of 807
Branch :FLV,User :EDLE                 Comment:                                   Station Id :X7QR




                                                                       BEI
                                                               OF THE SOT.




CLARK,NV                              Page 96 of 98          Printed on 11/1/2016 4:58:45 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 803 of 807
Branch :FLV,User :EDLE                 Comment:                                         Station Id :X7QR




                                                         ACKNOWLEDGEMENT
                                                        'STATE OF NEVADA )
                                                                            SS
                                                         -COUNTY OF CLARK )
                                                          TH INSTRUMENT WAS ACKNOWLEDGED
                                                         /kfl. BY JERRY GOEDEN AS PRESIDEN
                                                          COPORATION, AS MANAGING MEMBER
                                                          LIMITED LIABILITY COMPANY.
                                                                             . .




                                                         NOTARY PUBLIC IN AND FOR SAID CO
                                                         MY COMMISSION.EXPIRES:ANAP)S11,



                                                         CEliTIFIC,ATE OF EASE
                                                         WE. THE HEREIN NAMED UTILITY COM
                                                         GRANT OF THE DESIGNATED EASEMENT



                                                      , COX C0MMUNICATI01F          VECAt



                                                         NE   DA POWER COMPANY. )4,4APAAAN


                                                                          JANO' F. S7211C



                                                             4ip S CORPORATION
                                                         SouTHw


                                                           APO             44.e.
                                                          ITY *F NORTH LAS   AS, UTILIT'
                                                         LJMDLVAL -11- CORA&




CLARK,NV                              Page 97 of 98                 Printed on 11/1/2016 4:58:45 PM
Document: CCR 2002.0510.1313
           Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 804 of 807
Branch :FLV,User :EDLE                                  Comment:                                              Station Id :X7QR




                                                      3,LYC   LON(




             rl P.1'3{/IMJ
             N./11Z/ I
            • ••1.1. k I
             C      1



            9'0Z    .
           ..6Z.9£.000
           ro'so‘ m..tc.cz.sas
               Avoot

             'A'S 000'9


           )0001. M.I.C.C7,.68S

                    ODO'S
                       0
                  06 0 ci

          30'00 L PA.LE.Z.6111S

             'SS 000'S
               • 59
                                                -r
          00001, M.LC,CZ.68S
                                                                             RECOFIDERS MEMO
              '4'S 000S                                                POSSIBLE POOR RECORD DUE TO
                   99                                                  QUALITY OF ORIGINAL DOCUMENT
                                                c5
                                                25
                                                -4
          ,00'001. M.tt'SZ.69S                  5
              -XS 000'S           cffi
                                                0
                 L9                             -n
                                                                               CLARK COUNTY. NEVADA
                                                r-                         JUDITH A. VANDEVER, RECORDER
                                                b                            RECORDED AT REQUEST OF:
          .00001. M.I,Z,V..6BS           r-                            NEVADA TiTLE COMPANY
                                         PI
                                                                            -10-L:02(3600ecca                7
             :XS 000'S                    (1)
                                         1,71   0                       BOOK: mee51a mmm       01311
                   00                           -11                    FEE:     Ile. 00 PM                . eti




CLARK,NV                                               Page 98 of 98               Printed on 11/1/2016 4:58:45 PM
Document: CCR 2002.0510.1313
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 805 of 807




                        EXHIBIT 16




                        EXHIBIT 16
      Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 806 of 807




[      .��'.;�i�le guaranty company
                                                                                                    Tiki Velazquez
                                                                                           Claims Representative
                                                                                Stewart Title Guaranty Company
                                                                                    2055 West Army Trail Road
                                                                                                          Suite110
                                                                                                 Addison, IL 60101
                                                                                                    (630)889-4050
                                                                                               (630)629-7565 FAX
                                                                                    tiki. velazquez@stewarl.com

WrightFinlay & Zak
Attn: J. Stephen Dolembo
4665 MacArthur Court
Suite 200
Newport Beach, CA 92660


Re: STGC Claim Number:             S023-0279191-16
    Policy Number:                 M-9302-1363434
    Insured:                       Mountain View Mortgage Company
    Borrower:                      Ken Gregory


    Dear Mr. Doelembo:

Stewart Title Guaranty Company ("Stewart") has completed its review of your title claim and
has reached a coverage determination. You filed a claim with Stewart regarding an HOA lien in
the amount of$3,030.81 that was subsequently foreclosed, resulting in an extinguishrnent of the
insured lien. In your claim letter you are requesting Stewart to "take necessary steps to cure the
title issues."

Coverage under the Policy is subject to the stated conditions, exclusions and exceptions
contained therein. Your attention is directed to the Policy, specifically the Exclusions
from Coverage section that provides in pertinent part as follows:


          EXCLUSIONS FROM COVERAGE
          The following matters are expressly excluded from the coverage of this policy and the Company
          will not pay Joss or damage, costs, attorneys' fees or expenses, which arise by reason of:

          3.      Defects, liens, encumbrances, adverse claims or other matters:

                  (a)      created, suffered, assumed or agreed to by the Insured claimant;
Case 2:21-cv-02120-JCM-BNW Document 1-1 Filed 11/29/21 Page 807 of 807
